Case 20-41308       Doc 228     Filed 04/01/20 Entered 04/01/20 23:45:34           Main Document
                                          Pg 1 of 1005

                           UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

                                                           Chapter 11
        In re:
                                                           Case No. 20-41308-659
    FORESIGHT ENERGY LP, et al.,
                                                           Jointly Administered
                             Debtors.



                                    CERTIFICATE OF SERVICE

        I, Alex Orchowski, depose and say that I am employed by Prime Clerk LLC (“Prime
 Clerk”), the claims and noticing agent for the Debtors in the above-captioned chapter 11 cases.

        On March 23, 2020, at my direction and under my supervision, employees of Prime Clerk
 caused the following document to be served via overnight mail or next day business service on the
 banks, brokers, dealers agents, nominees or their agents (collectively, the “Nominees”) identified
 on the service list attached hereto as Exhibit A. The Nominees were provided with instructions
 and sufficient quantities to distribute the following document to the beneficial holders of the
 Debtors’ public securities:

    •     Notice and Instruction Form to the Holders of the 11.50% Second Priority Senior Secured
          Notes Due 2023 Issued Under that Certain Indenture, dated as of March 28, 2017, a copy
          of which is attached hereto as Exhibit B (the “DIP Syndication Notice and Instruction
          Form”)

         In addition to the hard copy service detailed above, on March 23, 2020, at my direction and
 under my supervision, employees of Prime Clerk caused the DIP Syndication Notice and
 Instruction Form to be served via Email on the service list attached hereto as Exhibit C.

         On March 24, 2020, at my direction and under my supervision, employees of Prime Clerk
 caused the DIP Syndication Notice and Instruction Form to be served via first class mail on the
 parties identified on the service list attached hereto as Exhibit D.

         On March 25, 2020, at my direction and under my supervision, employees of Prime Clerk
 caused the following documents to be served via overnight mail or next day business service on
 the banks, brokers, dealers agents, nominees or their agents (collectively, the “Nominees”)
 identified on the service list attached hereto as Exhibit A. The Nominees were provided with
 instructions and sufficient quantities to distribute the documents to the beneficial holders of the
 Debtors’ public securities:

    •     Important Notice of Update to the Notice and Instruction Form, a copy of which is attached
          hereto as Exhibit E (the “Notice of Amended DIP Syndication and Instruction Form”)
Case 20-41308      Doc 228     Filed 04/01/20 Entered 04/01/20 23:45:34            Main Document
                                         Pg 2 of 1005

    •   Notice and Instruction Form to the Holders of the 11.50% Second Priority Senior Secured
        Notes Due 2023 Issued Under that Certain Indenture, dated as of March 28, 2017, a copy
        of which is attached hereto as Exhibit F (the “ Amended DIP Syndication Notice and
        Instruction Form”)


        In addition to the hard copy service detailed above, on March 25, 2020, at my direction and
 under my supervision, employees of Prime Clerk caused the Notice of Amended DIP Syndication
 and Instruction Form and Amended DIP Syndication Notice and Instruction Form to be served via
 Email on the Nominees identified on the service list attached hereto as Exhibit G.

         On March 25, 2020, at my direction and under my supervision, employees of Prime Clerk
 caused the Notice of Amended DIP Syndication and Instruction Form and Amended DIP
 Syndication Notice and Instruction Form to be served via first class mail on the parties identified
 on the service list attached hereto as Exhibit D.

        In addition to the hard copy service detailed above, on March 25, 2020, at my direction and
 under my supervision, employees of Prime Clerk caused the Notice of Amended DIP Syndication
 and Instruction Form and Amended DIP Syndication Notice and Instruction Form to be served via
 Email on the service list attached hereto as Exhibit H .



 Dated: April 1, 2020



 State of New York
 County of New York

 Subscribed and sworn to (or affirmed) before me on April 1, 2020, by Alex Orchowski proved to
 me on the basis of satisfactory evidence to be the person who appeared before me.

 Signature:




                                                 2                        SRF 40946 40947 40861 40900
Case 20-41308   Doc 228   Filed 04/01/20 Entered 04/01/20 23:45:34   Main Document
                                    Pg 3 of 1005


                                    Exhibit A
                                                                    Case 20-41308      Doc 228    Filed 04/01/20 Entered 04/01/20 23:45:34        Main Document
                                                                                                            Pg 4 of 1005


                                                                                                               Exhibit A
                                                                                                         Nominees Service List
                                                                                         Served via Overnight Mail or Next Day Business Service

                               Name                                   Address 1                                       Address 2                        Address 3                 City           State   Postal Code   Country
BROADRIDGE                                          JOBS: E18264, E18265                              51 MERCEDES WAY                                                          EDGEWOOD         NY        11717
MEDIANT COMMUNICATIONS                              ATTN: STEPHANIE FITZHENRY/PROXY CENTER            100 DEMAREST DRIVE                                                          WAYNE         NJ        07470
DEPOSITORY TRUST CO.                                ATTN: ED HAIDUK                                   55 WATER STREET                           25TH FLOOR                       NEW YORK       NY        10041
DEPOSITORY TRUST CO.                                ATTN: HORACE DALEY                                55 WATER STREET                           25TH FLOOR                       NEW YORK       NY        10041
BANC OF AMERICA SECURITIES (0773)                   ATTN: JOHN DOLAN OR REORG MGR                     100 W. 33RD STREET                        3RD FLOOR                       NEW YORK        NY        10001
BNY MELLON/ NE TRUST (0954)                         ATTN: BETH STIFFLER OR REORG MGR                  525 WILLIAM PENN PLACE                    SUITE 300                      PITTSBURGH       PA        15259
BROWN BROTHERS HARRIMAN & CO. (0010)                ATTN: PAUL NONNON OR REORG MGR.                   525 WASHINGTON BLVD.                      NEW PORT TOWERS                JERSEY CITY      NJ      07310-1607
CHARLES SCHWAB & CO., INC. (0164)                   ATTN: DEBORAH JUNG OR REORG MGR.                  2423 EAST LINCOLN DRIVE                   1ST FLOOR                        PHOENIX        AZ      85016-1215
CHARLES SCHWAB & CO., INC. (0164)                   ATTN: NANCY BRIM OR REORG MGR.                    2423 EAST LINCOLN DRIVE                   PHX PEAK 02 K130                 PHOENIX        AZ      85016-1215
CHARLES SCHWAB & CO., INC. (0164)                   ATTN: CHRISTINA YOUNG OR REORG MGR.               2423 EAST LINCOLN DRIVE                                                    PHOENIX        AZ      85016-1215
CITIBANK, N.A. (0908)                               ATTN: CAROLYN TREBUS OR REORG MGR                 3800 CITIBANK CENTER B3-12                                                  TAMPA         FL        33610
CITIBANK, N.A. (0908)                               ATTN: EVENTS CREATION OR REORG MGR                3800 CITIBANK CENTER B3-12                                                  TAMPA         FL        33610
CITIBANK, N.A. (0908)                               ATTN: SANDRA HERNANDEZ OR REORG MGR               3800 CITIBANK CENTER B3-12                                                  TAMPA         FL        33610
CITIBANK, N.A. (0908)                               ATTN: SHERIDA SINANAN OR REORG MGR                3800 CITIBANK CENTER                      B/3RD FLOOR/ZONE 12               TAMPA         FL        33610
CITIGROUP GLOBAL MARKETS INC SALOMON (0418/0505)ATTN: MANETH CHAP OR REORG MGR                        3800 CITIBANK CENTER B3-12                                                  TAMPA         FL        33610
CITIGROUP GLOBAL MARKETS INC. (0418/0505)           ATTN: ROSE MARIE YODICE OR REORG MGR              388 GREENWHICH STREET 11TH FLOOR                                           NEW YORK       NY        10013
CREDIT SUISSE SECURITIES (0355)                     ATTN: ASHWINEE SAWH OR REORG MGR                  11 MADISON AVENUE                         23RD FLOOR                       NEW YORK       NY        10010
CREDIT SUISSE SECURITIES USA LLC - (0355)           ATTN: TIM JOHNSON OR REORG MGR.                   7033 LOUIS STEPHENS DRIVE                                          RESEARCH TRIANGLE PA   NC        27709
CREDIT SUISSE SECURITIES USA LLC - (0355)           ATTN: ANTHONY MILO OR REORG MGR.                  7033 LOUIS STEPHENS DRIVE                 GLOBAL PROXY SERVICES      SEARCH TRIANGLE PA   NC        27709
CREDIT SUISSE SECURITIES USA LLC - (0355)           ATTN: SARAH CHANDRIKA OR REORG MGR.               ONE MADISON AVE                                                            NEW YORK       NY        10010
DEUTSCHE BANK SECURITIES (0573)                     ATTN: REORG MGR.                                  5022 GATE PARKWAY                         SUITE 200                     JACKSONVILLE      FL        32256
GOLDMAN, SACHS & CO. (0005)                         ATTN: ALEX MUCHNIK OR REORG MGR                   30 HUDSON ST.                             PROXY DEPARTMENT                JERSEY CITY     NJ      07302-0000
HSBC BANK USA, N.A.-IPB (2122)                      ATTN: REORG OR CORP ACTIONS MGR                   452 5TH AVENUE                            6TH FLOOR                       NEW YORK        NY        10018
INTERACTIVE BROKERS RETAIL EQUITY CL -534           MARIA TARDIO OR REORG DEPT.                       1 PICKWICK PLAZA                                                         GREENWICH        CT        06830
INTERACTIVE BROKERS/TH (0534)                       ATTN: KARIN MCCARTHY OR REORG MGR                 8 GREENWICH OFFICE PARK                                                  GREENWICH        CT        06831
J.P. MORGAN CLEARING CORP. (0352)                   ATTN: ERIC OSZUSTOQICZ OR REORG MGR               3 CHASE METROTECH CENTER                  PROXY DEPT./NY1-H034            BROOKLYN        NY      11245-0001
J.P. MORGAN CLEARING CORP. (0352)                   ATTN: ABHISHEK KUMAR OR REORG MGR                 500 STANTON CHRISTIANA ROAD               3RD FLOOR                        NEWARK         DE        19713
J.P. MORGAN CLEARING CORP. (0352)                   ATTN: BRODERICK WALKER OR REORG MGR               DEPT. C, CASHIERS DEPARTMENT ONE METROTECENTER NORTH REORG DEPT 4T        BROOKLYN        NY      11201-3862
MERRILL LYNCH (0161/5198)                           ATTN: KASIA BANACH OR CORP ACTIONS NOTIFICATION   4804 DEAR LAKE DR E                                                     JACKSONVILLE      FL        32246
MORGAN STANLEY & CO. (0050)                         ATTN: IRVING CORUJO OR REORG MGR                  ONE NEW YORK PLAZA                        7TH FLOOR                       NEW YORK        NY        10004
MORGAN STANLEY & CO. INCORPORATED-50                ATTN: RAQUEL DEL MONTE OR REORG                   ONE NEW YORK PLAZA 7TH FLOOR                                               NEW YORK       NY        10004
MORGAN STANLEY SMITH BARNEY LLC (0015)              ATTN: JOHN BARRY OR REORG MGR                     1300 THAMES STREET WHARF                                                 BALTIMORE        MD        21231
NATIONAL FINANCIAL SERVICES LLC (0226)              ATTN: SEAN COLE OR REORG MGR                      499 WASHINGTON BLVD                       5TH FLOOR                       JERSEY CITY     NJ        07310
NATIONAL FINANCIAL SERVICES LLC (0226)              ATTN: KARL BAKER OR REORG MGR                     499 WASHINGTON BLVD                       5TH FLOOR                       JERSEY CITY     NJ        07310
NORTHERN TRUST CO (2669)                            ATTN: ROBERT VALENTIN OR REORG MGR                801 S CANAL STREET                        FLOOR C1N                        CHICAGO        IL        60607
NORTHERN TRUST CO (2669)                            ATTN: ANDREW LUSSEN OR REORG MGR                  801 S CANAL STREET                        FLOOR C1N                        CHICAGO        IL        60607
PERSHING LLC (0443)                                 ATTN: SILVY RODRIGUEZ OR REORG MGR                SECURITIES CORPORATION                    1 PERSHING PLAZA 7TH FLOOR -   JERSEY CITY      NJ        07399
PERSHING LLC (0443)                                 ATTN: AL HERNANDEZ OR REORG MGR                   SECURITIES CORPORATION 1 PERSHING PLAZA 7TH FLOOR -REORG.                 JERSEY CITY     NJ        07399
PERSHING LLC (0443)                                 ATTN: JOSEPH LAVARA OR REORG MGR                  1 PERSHING PLAZA                                                         JERSEY CITY      NJ        07399
SOUTHWEST SECURITIES, INC. (0279)                   ATTN: DORIS KRAJC OR REORG MGR                    1201 ELM STREET                           SUITE 3700                        DALLAS        TX        75270
SOUTHWEST SECURITIES, INC. (0279)                   ATTN: CHRISTINA FINZEN OR RORG MGR                1201 ELM STREET                           SUITE 3700                        DALLAS        TX        75270
SOUTHWEST SECURITIES, INC. (0279)                   ATTN: RHONDA JACKSON OR REORG MGR                 1201 ELM STREET                           SUITE 3500                        DALLAS        TX        75270
SSB - BLACKROCK TRUST (2767)                        ATTN: TRINA ESTREMERA OR REORG MGR                1776 HERITAGE DRIVE NORTH                                                   QUINCY        MA        02171
SSB- IBT/BGI (2767)                                 ATTN: TOM BRODERICK OR REORG MGR                  1776 HERITAGE DRIVE NORTH                                                   QUINCY        MA        02171
STATE STREET (0997)                                 ATTN: MIKE FEELEY/ROB RAY OR REORG MGR            CORP ACTIONS - JAB5E                      1776 HERITAGE DRIVE          NORTH QUINCY       MA        02171
STATE STREET BANK & TRUST/STATE STREET TOTAL ETF (2 ATTN: MIKE FEELEY/ROB RAY OR PROXY MGR            CORP ACTIONS - JAB5E 1776 HERITAGE DRIVE NORTH                              QUINCY        MA         2171
STATE STREET BANK AND TRUST (0997/2319)             ATTN: CHRISTINE SULLIVAN OR REORG MGR             CORP ACTIONS - JAB5E                      1776 HERITAGE DRIVE          NORTH QUINCY       MA        02171
STIFEL, NICOLAUS & CO (0793)                        ATTN: CHRIS WIEGAND OR REORG MGR                  501 N. BROADWAY                           7TH FLOOR STOCK RECORD DEP       ST. LOUIS      MO        63102
STIFEL, NICOLAUS & CO (0793)                        ATTN: CRAIG MCINTOSH OR REORG MGR                 501 N. BROADWAY                           REORG DEPT                       ST. LOUIS      MO        63102
TD AMERITRADE CLEARING, INC. (0188)                 ATTN: MANDI FOSTER OR REORG MGR                   1005 NORTH AMERITRADE PLACE                                                BELLEVUE       NE        68005
TD AMERITRADE CLEARING, INC. (0188)                 ATTN: GARY SWAIN OR REORG MGR                     1005 NORTH AMERITRADE PLACE                                                BELLEVUE       NE        68005
THE BANK OF NEW YORK MELLON (0901)                  ATTN: JENNIFER MAY OR REORG MGR                   525 WILLIAM PENN PLACE                    SUITE 153-0400                 PITTSBURGH       PA        15259
U.S. BANK N.A. (2803)                               ATTN: PAUL KUXHAUS OR REORG MGR                   1555 N. RIVER CENTER DRIVE SUITE 302                                     MILWAUKEE        WI        53212
US BANK (2803)                                      ATTN: PAUL KUXHAUS REORG MGR                      1555 N RIVERCENTER DR                     STE 302                        MILWAUKEE        WI        53212
VANGUARD (0062)                                     ATTN: CORPORATE ACTION                            100 VANGUARD BLVD                                                          MALVERN        PA        19355
VANGUARD (0062)                                     ATTN: BRANDON R MITCHAM                           OR CORPORATE ACTION                       14321 N. NORTHSIGHT BLVD       SCOTTSDALE       AZ        85260
WELLS BANK (2027)                                   ATTN: LORA DAHLE OR REORG MGR                     733 MARQUETTE AVE                         MAC N9306-057 5TH FLOOR       MINNEAPOLIS       MN        55479
WELLS FARGO SECURITIES, LLC (0250)                  ATTN: SCOTT NELLIS OR REORG MGR                   CORP ACTIONS - MAC D109-010 1525 WEST W.T. HARRRIS BLVD, 1B1              CHARLOTTE       NC        28262




In re: Foresight Energy LLC, et al .
Case No. 20-41308-659                                                                                          Page 1 of 2
                                                       Case 20-41308      Doc 228   Filed 04/01/20 Entered 04/01/20 23:45:34        Main Document
                                                                                              Pg 5 of 1005


                                                                                                 Exhibit A
                                                                                           Nominees Service List
                                                                           Served via Overnight Mail or Next Day Business Service

                               Name                      Address 1                                     Address 2                         Address 3     City      State   Postal Code   Country
WELLS FARGO SECURITIES, LLC (0250)     ATTN: STEVE TURNER OR REORG MGR                CORP ACTIONS - NC0675 1525 WEST W.T. HARRIS BLVD, 1B1          CHARLOTTE    NC       28262
WELLS FARGO SECURITIES, LLC (0250)     ATTN: ROBERT MATERA OR REORG MGR               CORP ACTIONS - NC0675 1525 WEST W.T. HARRIS BLVD, 1B1          CHARLOTTE    NC       28262




In re: Foresight Energy LLC, et al .
Case No. 20-41308-659                                                                           Page 2 of 2
Case 20-41308   Doc 228   Filed 04/01/20 Entered 04/01/20 23:45:34   Main Document
                                    Pg 6 of 1005


                                    Exhibit B
Case 20-41308      Doc 228       Filed 04/01/20 Entered 04/01/20 23:45:34                  Main Document
                                           Pg 7 of 1005
                                                                                EXECUTION VERSION


                                 NOTICE AND INSTRUCTION FORM

                         to the Holders (the “Prepetition Second Lien Holders”) of the
                        11.50% Second Priority Senior Secured Notes due 2023
        (CUSIP Nos. 345525 AE9, 345525 AF6 or U34550 AE0) (“Prepetition Second Lien Notes”)
                    issued under that certain Indenture, dated as of March 28, 2017
       (as amended, modified, restated or supplemented, the “Prepetition Second Lien Indenture”)

                                                    of

         FORESIGHT ENERGY LLC and FORESIGHT ENERGY FINANCE CORPORATION

                                                   and

           to the Lenders (the “Prepetition First Lien Lenders”) under that certain Credit and Guaranty
                                  Agreement , dated as of March 28, 2017

                                                   with

                                    FORESIGHT ENERGY LLC, as Borrower

       and the other parties thereto (as amended, modified, restated or supplemented, the “Prepetition First
     Lien Credit Agreement” and the obligations thereunder, the “Prepetition First Lien Obligations”)



                   with respect to the Opportunity to participate as a DIP Lender in the
                                              DIP Facility
Case 20-41308    Doc 228    Filed 04/01/20 Entered 04/01/20 23:45:34     Main Document
                                      Pg 8 of 1005


                                 IMPORTANT NOTICE
                    REGARDING THE OPPORTUNITY TO PARTICIPATE
                        AS A DIP LENDER IN THE DIP FACILITY
 IF YOU ELECT TO PARTICIPATE AS A DIP LENDER IN THE DIP FACILITY, YOU WILL BE ENTERING
 INTO A BINDING LEGAL COMMITMENT WITH FORESIGHT ENERGY LLC (THE “COMPANY”). IF YOU
 SUBMIT A COMMITMENT TO PARTICIPATE IN THE DIP FACILITY PURSUANT TO THIS NOTICE AND
 INSTRUCTION FORM BUT FAIL TO FUND YOUR SUBSCRIPTION FUNDING AMOUNT (AS SPECIFIED
 IN ITEM 2B OF THE SUBSCRIPTION FORM) ON OR PRIOR TO THE APPLICABLE EXPIRATION TIME AS
 DESCRIBED BELOW, YOU WILL NOT BE PERMITTED TO PARTICIPATE AS A LENDER IN THE DIP
 FACILITY PURSUANT TO THIS OPPORTUNITY.
 THE OPPORTUNITY IS NOT BEING GIVEN TO HOLDERS IN ANY JURISDICTION IN WHICH THE
 ACCEPTANCE OF THE OPPORTUNITY OR MAKING AN OFFER IN CONNECTION THEREWITH WOULD
 NOT BE IN COMPLIANCE WITH THE LAWS OF SUCH JURISDICTION.
 THE OPPORTUNITY IS BEING GIVEN ONLY TO AN ELIGIBLE HOLDER, WHICH IS AN ENTITY
 THAT IS (I) EITHER (A) A “QUALIFIED INSTITUTIONAL BUYER,” AS SUCH TERM IS DEFINED IN
 RULE 144A UNDER THE SECURITIES ACT, OR (B) AN INSTITUTIONAL “ACCREDITED
 INVESTOR” WITHIN THE MEANING OF RULE 501(A)(1), (2), (3) OR (7) UNDER THE SECURITIES
 ACT OR AN ENTITY IN WHICH ALL OF THE EQUITY INVESTORS ARE SUCH INSTITUTIONAL
 “ACCREDITED INVESTORS” UNDER THE SECURITIES ACT, (II) A PREPETITION FIRST LIEN
 LENDER AND/OR A BENEFICIAL HOLDER OF PREPETITION SECOND LIEN NOTES ON THE
 RECORD DATE, (III) NOT A BACKSTOP PARTY, AND (IV) NOT THE COMPANY OR AN AFFILIATE
 OF THE COMPANY.
                                   EXPIRATION TIME
 YOUR OPPORTUNITY TO ELECT TO BECOME A LENDER IN THE DIP FACILITY WILL EXPIRE
 (I) AT 5:00 P.M., NEW YORK CITY TIME, ON APRIL 1, 2020 (SUCH DATE AND TIME, AS THE SAME
 MAY BE EXTENDED OR EARLIER TERMINATED, THE “SUBSCRIPTION DEADLINE”)) TO THE
 EXTENT EACH OF THE SUBSCRIPTION DOCUMENTS (AS DEFINED BELOW) IS NOT DELIVERED
 TO THE INFORMATION AGENT ON OR PRIOR TO THE SUBSCRIPTION DEADLINE, OR (II) AT 5:00
 P.M., NEW YORK CITY TIME, ON APRIL 3, 2020 (SUCH DATE AND TIME, AS THE SAME MAY BE
 EXTENDED OR EARLIER TERMINATED, THE “FUNDING DEADLINE”, AND TOGETHER WITH
 THE SUBSCRIPTION DEADLINE, THE “EXPIRATION TIME”) TO THE EXTENT THE
 SUBSCRIPTION FUNDING AMOUNT (AS DEFINED BELOW) IS NOT FUNDED TO THE ESCROW
 ACCOUNT (AS DEFINED BELOW) ON OR PRIOR TO THE FUNDING DEADLINE, UNLESS THE
 APPLICABLE EXPIRATION TIME IS EXTENDED OR EARLIER TERMINATED BY MUTUAL
 AGREEMENT OF THE REQUIRED BACKSTOP PARTIES, THE DIP AGENT AND THE COMPANY.
 THERE ARE NO WITHDRAWAL RIGHTS ONCE THE SUBSCRIPTION FORM ATTACHED TO THIS
 NOTICE AND INSTRUCTION FORM IS VALIDLY DELIVERED.
 IF THE COMPANY AND THE REQUIRED BACKSTOP PARTIES DETERMINE TO ALLOW YOU TO
 WITHDRAW YOUR COMMITMENT, INCLUDING IN THE EVENT A MATERIAL CHANGE CAUSES
 THE COMPANY TO UPDATE THE INFORMATION RELATING TO THIS OPPORTUNITY TO
 PARTICIPATE AND EXTEND THE APPLICABLE EXPIRATION TIME, ANY SUCH WITHDRAWAL
 WILL BE LIMITED AS SET FORTH IN ANY NOTICE THEREOF.
 IMPORTANT NOTE FOR PREPETITION SECOND LIEN NOTEHOLDERS: YOUR SUBSCRIPTION
 DOCUMENTS MUST BE RECEIVED BY YOUR NOMINEE WITH SUFFICIENT TIME TO ALLOW
 YOUR NOMINEE TO COMPLETE THE NOMINEE CERTIFICATION ON YOUR BEHALF AND
 DELIVER IT TO THE INFORMATION AGENT BY THE SUBSCRIPTION DEADLINE.
 NO SUBSCRIPTION FORM SUBMISSIONS WILL BE VALID IF DELIVERED AFTER THE
 SUBSCRIPTION DEADLINE. THE COMPANY, THE DIP AGENT AND THE REQUIRED BACKSTOP
 PARTIES WILL DETERMINE WHETHER A SUBSCRIPTION FORM TRANSMITTING AN ELIGIBLE
 HOLDER’S COMMITMENT TO PARTICIPATE HAS BEEN VALIDLY SUBMITTED AND WHETHER
 TO ACCEPT ANY SUBSCRIPTION FORM THAT HAS NOT BEEN VALIDLY EXECUTED AND



                                            2
Case 20-41308         Doc 228       Filed 04/01/20 Entered 04/01/20 23:45:34             Main Document
                                              Pg 9 of 1005


 DELIVERED.
 NOTWITHSTANDING ANYTHING TO THE CONTRARY HEREIN, THE REQUIRED BACKSTOP
 PARTIES, THE DIP AGENT AND THE COMPANY MAY AMEND THE TERMS OF THE
 OPPORTUNITY, INCLUDING THIS SUBSCRIPTION FORM AND THE OTHER SUBSCRIPTION
 DOCUMENTS, AT ANY TIME UPON THEIR MUTUAL AGREEMENT.
 YOUR PARTICIPATION IN THE OPPORTUNITY IS SUBJECT TO YOU PROVIDING THE
 ADMINISTRATIVE QUESTIONNAIRE AND ALL KNOW-YOUR-CUSTOMER INFORMATION, TAX
 FORMS, AND OTHER DOCUMENTS REQUIRED BY THE DIP AGENT AND THE DIP AGENT’S
 SATISFACTORY REVIEW OF SUCH INFORMATION AND DOCUMENTS (AS DETERMINED IN THE
 SOLE DISCRETION OF THE DIP AGENT).
 TERMS USED IN THIS BOX SHALL HAVE THE MEANINGS SET FORTH IN THIS NOTICE AND
 INSTRUCTION FORM.

 Attachments to this Notice and Instruction Form:

 Annex I          Subscription Form
 Annex I-A        Instructions for Completing the Subscription Form
 Annex I-B        Nominee Certification (for Prepetition Second Lien Noteholders Only)
 Annex II         Master Joinder to the DIP Credit Agreement
 Annex III        Administrative Questionnaire
 Annex IV         Description of Required KYC Information
 Annex V          Description of Required Tax Forms
 Annex VI         Designation Notice
 Annex VII        RSA Joinder
 Exhibit A        Credit Agreement




                                                        3
Case 20-41308             Doc 228         Filed 04/01/20 Entered 04/01/20 23:45:34                 Main Document
                                                    Pg 10 of 1005


 To the Prepetition First Lien Lenders and the Prepetition Second Lien Noteholders:

          On March 10, 2020, Foresight Energy GP LLC, a Delaware limited liability company (the “General
 Partner”), Foresight Energy LP, a Delaware limited partnership (“Holdings”), Foresight Energy LLC, a Delaware
 limited liability company (the “Company”), and certain of their direct and indirect subsidiaries (together with the
 General Partner, Holdings and the Company, the “Debtors”) filed voluntary petitions (the “Chapter 11 Petitions”) for
 relief under the provisions of chapter 11 of title 11 of the United States Code (“Bankruptcy Code”) in the United
 States Bankruptcy Court for the Eastern District of Missouri (the “Bankruptcy Court”). In connection with the
 foregoing, on March 10, 2020, the Company entered into that certain Senior Secured Superpriority Debtor-in-
 Possession Credit and Guaranty Agreement (as amended, restated, supplemented or otherwise modified from time to
 time in accordance with the terms thereof, the “DIP Credit Agreement” and the commitments and extension of credit
 thereunder, the “DIP Facility”), by and among the Debtors, the Backstop Parties (as defined below) and Cortland
 Capital Market Services LLC, as Administrative Agent and Collateral Agent (in such capacities, the “DIP Agent”).
 Capitalized terms used herein and not otherwise defined herein shall have the meanings ascribed thereto in the DIP
 Credit Agreement, a copy of which is attached as Exhibit A to this Notice and Instruction Form.

           On March 10, 2020, the Debtors, certain Prepetition First Lien Lenders and certain Prepetition Second Lien
 Holders (collectively, the “Backstop Parties”, and the Backstop Parties holding backstop commitments of more than
 60% of the Initial Term Loans and the Delayed Draw Term Loans shall be referred to herein as the “Required Backstop
 Parties”) executed that certain Restructuring Support Agreement, dated as of March 10, 2020 (as amended, restated,
 supplemented or otherwise modified from time to time in accordance with the terms thereof, the “RSA”) 1, which
 annexes a term sheet that provides for the Opportunity (as defined below) for each Eligible Holder (as defined below)
 that is not a Backstop Party to participate in the DIP Facility in the aggregate principal amount of the Delayed Draw
 Term Loan Commitment not to exceed $15,099,979.91 (the “Syndicated DIP Term Loans”), subject to the procedures
 and documentation detailed herein.

          You have received this Notice and Instruction Form because you were a Prepetition Second Lien Noteholder
 and/or a Prepetition First Lien Lender as of March 23, 2020 (the “Record Date”). Pursuant to and subject to the terms
 hereof, you are being given notice of your opportunity (the “Opportunity”) to be a lender under the DIP Facility (a
 “DIP Lender”). Importantly, to the extent that you choose to participate in the Opportunity, you must also execute
 the enclosed RSA Joinder (as defined below), making you a party thereto, both in your capacity as a DIP Lender
 and a Prepetition Second Lien Noteholder and/or a Prepetition First Lien Lender (and in any other capacity in
 which you hold debt of the Debtors).

           The Opportunity provides Eligible Holders (which shall exclude, for the avoidance of doubt, the Backstop
 Parties), as of the Record Date, who are (i) Prepetition First Lien Lenders with the opportunity to (a) assume up to
 their pro rata portion of 32.1489% of the principal amount of the Delayed Draw Term Loan Commitment not to exceed
 $45,000,000 (the “Prepetition First Lien Allocation”) based on such Prepetition First Lien Lender’s outstanding
 principal amount of the Prepetition First Lien Obligations under the Prepetition First Lien Credit Agreement as of the
 Record Date, and (b) subject to the terms and conditions set forth in the DIP Credit Agreement and the Orders,
 substitute and exchange the Prepetition First Lien Obligations held by such Eligible Holder for loans under the DIP
 Credit Agreement (the “Roll-Up Loans”) in a principal amount equal to 0.808625 times the sum of (i) the aggregate
 principal amount of Initial Term Loans funded by such Eligible Holder (or one or more of its affiliates or any
 investment advisory client managed or advised by such Eligible Holder) on the Closing Date, if any, on account of its
 Prepetition First Lien Obligations, and (ii) the aggregate principal amount of Delayed Draw Term Loans funded by
 such Eligible Holder (or one or more of its affiliates or any investment advisory client managed or advised by such
 Eligible Holder) on the Delayed Draw Funding Date on account of its Prepetition First Lien Obligations (the “Roll-
 Up Amount”); provided that the aggregate principal amount of the Roll-Up Loans of all DIP Lenders shall not exceed
 $75,000,000, and/or (ii) Prepetition Second Lien Holders with the opportunity to purchase up to their pro rata portion
 of 1.4066% of the principal amount of the Delayed Draw Term Loan Commitment not to exceed $45,000,000 (the
 “Prepetition Second Lien Allocation”) based on such Prepetition Second Lien Holder’s outstanding principal amount
 of the Prepetition Second Lien Notes under the Prepetition Second Lien Indenture as of the Record Date. For the



 1   Foresight Energy LP, Current Report (Form 8-K/A) (March 10, 2020), Ex. 10.1.



                                                                4
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                        Main Document
                                                 Pg 11 of 1005


 avoidance of doubt, Eligible Holders will not receive the Put Option Premium as set forth in Section 2.09(c) of the
 DIP Credit Agreement.

           Notwithstanding the foregoing, only entities that are (i) either (a) “qualified institutional buyers” (“QIBs”),
 as such term is defined in Rule 144A under the Securities Act of 1933, as amended (the “Securities Act”), or
 (b) institutional “accredited investors” within the meaning of Rule 501(a)(1), (2), (3) or (7) under the Securities Act
 (“IAIs”) or an entity in which all of the equity investors are IAIs, (ii) a beneficial Holder of Prepetition Second Lien
 Notes and/or Prepetition First Lien Loans on the Record Date, (iii) not a Backstop Party and (iv) not the Company or
 an affiliate of the Company (all such entities, collectively, that meet the foregoing are referred to herein as “Eligible
 Holders”) may participate in the Opportunity. For the avoidance of doubt, natural persons shall not be Eligible Holders.
 If you are not an Eligible Holder, you may not participate in the Opportunity. The Company and the Required
 Backstop Parties shall mutually determine, in their absolute discretion, whether any entity is an Eligible Holder for
 purposes of participation in the Opportunity. Each Eligible Holder has the right to designate, using the Designation
 Notice attached as Annex VI (the “Designation Notice”), that one or more of its affiliates or funds or accounts that
 are managed, advised or sub-advised by such Eligible Holder or its affiliates (each, a “Related Lender”) participate
 as a DIP Lender for some or all of its pro rata portion of the Syndicated DIP Term Loans.

          In addition, to be able to participate in the Opportunity, the minimum participation amount of any Eligible
 Holder (together with any Eligible Holder under common control through common investment management and/or
 advisement with such Eligible Holder) is $350,000 (the “Minimum Amount”).

           Please use the subscription form attached hereto as Annex I (the “Subscription Form”) to transmit your
 election, if any. To participate in the Opportunity, you must (i) complete and duly execute (a) the Subscription Form,
 (b) the Master Joinder to the DIP Credit Agreement attached hereto as Annex II (the “DIP Joinder”), (c) an
 Administrative Questionnaire attached hereto as Annex III, (d) all know-your-customer information and other
 documents required by the DIP Agent as described in Annex IV hereto (the “KYC Information”), (e) the applicable
 tax forms as described in Annex V hereto, (f) a joinder to the RSA attached hereto as Annex VII (the “RSA Joinder”),
 and (g) such other documents as the DIP Agent may reasonably require (collectively, the “Subscription Documents”),
 (ii) deliver (or cause to be delivered) such Subscription Documents to Prime Clerk LLC (the “Information Agent”)
 on or before the Subscription Deadline as instructed below, and (iii) prior to the Funding Deadline, fund your entire
 Desired Participation Amount, as indicated in Item 2b of the Subscription Form (the “Subscription Funding
 Amount”), in each case as further described herein. If you are a Prepetition Second Lien Noteholder, you must provide
 the nominee holding your Prepetition Second Lien Notes with sufficient time to allow your nominee to complete the
 nominee certification attached hereto as Annex I-B (the “Nominee Certification”) on your behalf and deliver it to the
 Information Agent on or prior to the Subscription Deadline. If your Prepetition Second Lien Notes are held through
 more than one nominee, please have each nominee complete a Nominee Certification for the respective Prepetition
 Second Lien Notes held.

          The DIP Facility consists of (i) the Initial Term Loans in an aggregate principal amount not to exceed
 $55,000,000, (ii) the Delayed Draw Term Loans in an aggregate principal amount not to exceed $45,000,000 and (iii)
 the Roll-Up Loans in an aggregate amount not to exceed $75,000,000 (collectively, the “DIP Loans”). On March 11,
 2020, the Backstop Parties funded $55,000,000 of the Initial Term Loans pursuant to the DIP Credit Agreement and
 the RSA. Subject to the satisfaction or waiver of all applicable conditions precedent set forth in the DIP Credit
 Agreement, including entry by the Bankruptcy Court of the Final Order, (x) the Delayed Draw Term Lenders are
 obligated to fund the Delayed Draw Term Loans and (y) the aggregate amount of Prepetition First Lien Obligations
 held by each DIP Lender will be substituted and exchanged for (and prepaid by) and deemed to be the Roll-Up Loans
 issued and outstanding under the DIP Credit Agreement in an aggregate principal amount not to exceed $75,000,000.
 The DIP Credit Agreement is attached hereto as Exhibit A and also available at https://cases.primeclerk.com/foresight
 (by clicking on the link for “Syndication Materials”).

           The DIP Facility will mature on the date that is the earliest to occur of (i) the date that is 180 days following
 the Petition Date; provided, that, if such date is not a Business Day, such preceding Business Day, (ii) the date of the
 substantial consummation (as defined in section 1101(2) of the Bankruptcy Code, which for purposes hereof shall be
 no later than the effective date) of one or more plans of reorganization confirmed pursuant to a final order entered by
 the Bankruptcy Court (the “Plan Effective Date”), (iii) the consummation of a sale or other disposition of all or
 substantially all assets of the Debtors under the section 363 of the Bankruptcy Code, and (iv) the date on which the
 Obligations shall be accelerated in accordance with the provisions of the DIP Credit Agreement.


                                                             5
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                       Main Document
                                                 Pg 12 of 1005


          Interest on the DIP Loans will accrue at a rate of the Eurocurrency Rate plus 11.0% per annum or the Base
 Rate plus 10.0% per annum, and shall be payable in cash on (i) in the case of Eurocurrency Rate Loans, on the last
 day of each Interest Period applicable to such DIP Loans, and the Maturity Date and (ii) in the case of Base Rate
 Loans, the last Business Day of each March, June, September and December, and the Maturity Date. With respect to
 the DIP Facility, there is also a LIBOR floor of 1.00%, and a default interest of an additional 2.00% per annum during
 the continuance of an Event of Default.

           Pursuant to the DIP Credit Agreement, each DIP Lender funding the Delayed Draw Term Loans shall receive
 (i) an upfront fee in an amount equal to 3.00% of the principal amount of such DIP Lender’s Delayed Draw Term
 Loans, and (ii) a commitment fee on the Delayed Draw Term Loan Commitment (whether or not then available) of
 such DIP Lender accruing, during the period commencing from the Closing Date to the Delayed Draw Funding Date,
 at a rate per annum equal to the 1.00%, in each case, payable on the Delayed Draw Funding Date. Each Eligible
 Holder shall fund (or cause to be funded) its Subscription Funding Amount to the Escrow Account net of the upfront
 fee (but inclusive of the commitment fee), and the applicable commitment fee shall be paid by the DIP Agent to each
 Delayed Draw Term Lender on the Delayed Draw Funding Date. Therefore, the Subscription Funding Amount to be
 paid into the Escrow Account by each Eligible Holder will be equal to 97% of the principal amount of its pro rata
 portion of the Delayed Draw Term Loans.

            On the Plan Effective Date, the Company will pay to each DIP Lender (or any affiliate, or any affiliated
 investment fund, investment vehicle or entity that is managed, advised or sub-advised by such DIP Lender or such
 affiliate, in each case, designated by such DIP Lender in writing to the DIP Agent) an exit fee (the “Exit Fee”) in an
 aggregate amount equal to 1.0% of the aggregate principal amount of the Initial Term Loan Commitment existing
 immediately prior to any funding of the Initial Term Loans and the Delayed Draw Term Loan Commitment existing
 immediately prior to any funding of the Delayed Draw Term Loans, respectively, on a pro rata basis in accordance
 with the DIP Loans and any unfunded commitments under the DIP Credit Agreement then outstanding. The Exit Fee
 will be payable in the form of New Common Equity at a 35% discount to the Stated Equity Value, subject to dilution
 for the Management Incentive Plan; provided, however, that, after the exercise of remedies provided for in Section
 8.02 of the DIP Credit Agreement (or after the DIP Loans have automatically become immediately due and payable)
 upon the occurrence of any Event of Default or upon repayment of the DIP Loans in full and termination of all
 commitments thereunder without the occurrence of the Plan Effective Date, the Borrower will pay to each DIP Lender
 (or any affiliate, or any affiliated investment fund, investment vehicle or entity that is managed, advised or sub-advised
 by such DIP Lender or such affiliate, in each case, designated by such DIP Lender in writing to the DIP Agent) the
 Exit Fee in cash in an amount equal to $2,000,000, on a pro rata basis in accordance with the DIP Loans and any
 unfunded commitments under the DIP Credit Agreement then outstanding.

          The foregoing description of the DIP Facility is a summary only and does not purport to be complete. It
 is subject to and qualified in its entirety by reference to the DIP Credit Agreement and the Orders.

           Each Eligible Holder may fund the Syndicated DIP Term Loans in an amount equal to (i) (a) in the case of
 Prepetition First Lien Lenders, (x) the Prepetition First Lien Allocation, multiplied by (y) in a fraction, the numerator
 of which is the outstanding principal amount of the First Lien Obligations held by such Eligible Holder as of the
 Record Date and the denominator of which is the aggregate outstanding principal amount of all First Lien Obligations
 as of the Record Date, and (b) in the case of Prepetition Second Lien Noteholders, (x) the Prepetition Second Lien
 Allocation, multiplied by (y) a fraction, the numerator of which is the outstanding principal amount of the Second
 Lien Notes held by such Eligible Holder as of the Record Date and the denominator of which is the aggregate
 outstanding principal amount of all Second Lien Notes as of the Record Date, less (ii) the upfront fee described above
 in an amount equal to 3.0% of the aggregate principal of such Eligible Holder’s Syndicated DIP Term Loans; provided
 that the amount set forth in clause (i) is not less than the Minimum Amount.

           Eligible Holders will not have oversubscription rights. From the Record Date until the Delayed Draw
 Funding Date, no Eligible Holder may transfer, sell or assign any of its Prepetition First Lien Obligations or Prepetition
 Second Lien Notes, and any such transfer, sale or assignment shall be deemed null and void. Nothing in this paragraph
 shall be construed to permit any person other than an Eligible Holder to participate as a DIP Lender in the DIP Facility.

         Your commitment to participate may not be withdrawn, unless otherwise mutually determined by the
 Company, the DIP Agent and the Required Backstop Parties. Additionally, the Company, the DIP Agent and the
 Required Backstop Parties will determine whether any Holder is an Eligible Holder, has made the representations in


                                                             6
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                       Main Document
                                                 Pg 13 of 1005


 the Subscription Form, has properly executed and delivered the required documentation and funded its Subscription
 Funding Amount, and whether to reject or accept any subscription to participate that has not been properly completed
 and delivered.

          Your participation in the Opportunity is subject to you (or, if applicable, your designee) providing the
 administrative questionnaire, all know-your-customer information, tax forms and other documents required by the
 DIP Agent and the DIP Agent’s satisfactory review of such information and documents (as determined in the sole
 discretion of the DIP Agent).

           Each Eligible Holder that intends to participate in the Opportunity as a DIP Lender in the DIP Facility must,
 (i) on or prior to Subscription Deadline, deliver (or cause the delivery of) the duly executed Subscription Documents
 to the Information Agent and (ii) on or prior to the Funding Deadline, cause the Subscription Funding Amount to be
 funded by such Eligible Holder to be sent by wire transfer of immediately available federal funds to an escrow account
 (the “Escrow Account”) established by Cortland Capital Market Services LLC as escrow agent (in such capacity, the
 “Escrow Agent”), according to the wire instructions to be provided by the Information Agent to Eligible Holders (and
 made available at https://cases.primeclerk.com/foresight) at least one (1) business day prior to the Funding Deadline
 (or such earlier time, to the extent any Eligible Holder has submitted all Subscription Documents satisfactory to the
 DIP Agent). Funds held in the Escrow Account will not accrue interest. Subject to the terms of the escrow agreement,
 the Escrow Agent assumes no responsibility for the funds delivered to the Escrow Account and shall be entitled to
 rely solely on the direction of the Company and the Required Backstop Parties with respect to the disposition of such
 funds. Upon closing of the Opportunity and syndication, the Escrow Agent will promptly disburse the funds in the
 Escrow Account funded by participating Eligible Holders to the DIP Agent or the Company, as directed by the
 Company and the Required Backstop Parties, and the DIP Agent will update the register to reflect the consummation
 of the Delayed Draw Term Loans and the Roll-Up Loans.

           Although the Expiration Time occurs prior to the Delayed Draw Funding Date, it is important to note that
 the closing of the Opportunity and this syndication will occur on the Delayed Draw Funding Date, which is expected
 to occur within five (5) Business Days following entry of the Final DIP Order (as such date may be extended by the
 Company, the DIP Agent and the Required Backstop Parties). Accordingly, your Subscription Funding Amount,
 representing your pro rata share of the Delayed Draw Term Loans, will be held in escrow for an undetermined period
 of time and there can be no assurances as to when closing of the Opportunity and this syndication will occur. Funds
 held in escrow will not accrue interest, nor will you accrue any interest on account of your pro rata share of the Delayed
 Draw Term Loans until closing of the Opportunity and this syndication.

           The Bankruptcy Court has not yet approved the Roll-Up Loans. It is an Event of Default under the DIP Credit
 Agreement if, among other things, the Bankruptcy Court does not approve the “roll-up” of the Prepetition First Lien
 Loans in an aggregate principal amount equal to $75,000,000 and in a manner and on terms satisfactory to the Required
 Backstop Parties. There can be no assurances that the Bankruptcy Court will approve the Roll-Up Loans on the terms
 set forth herein and in the DIP Credit Agreement, including in the aggregate amount of $75,000,000, or at all. If the
 Bankruptcy Court does not approve the Roll-Up Loans, or approves such loans in an aggregate amount less than
 $75,000,000, you may still be required to purchase the Syndicated DIP Term Loans in the amounts specified in your
 Subscription Form if you choose to participate in this Opportunity because the Required Lenders have the ability to
 waive any such Event of Default under the DIP Credit Agreement. If this were to occur, your participation in the
 Opportunity and this syndication would not include the ability to “roll up” your existing Prepetition First Lien
 Obligations in the amounts specified herein, or at all. For the avoidance of doubt, your commitment to participate in
 the Opportunity may not be withdrawn by you for any reason, including if the Bankruptcy Court does not approve the
 Roll-Up Loans on the terms set forth herein and in the DIP Credit Agreement, or at all. Amendments, or modifications
 to, and/or waivers or consents under, the DIP Credit Agreement and the other Loan Documents may be made from
 time to time in accordance with the terms thereof without the consent or approval of any Eligible Holder electing to
 participate in the Opportunity. Provided that the Bankruptcy Court approves the Roll-Up Loans, it is expected that
 closing of the Roll-Up Loans will occur on the date on the Delayed Draw Funding Date.

           If the syndication process is terminated for any reason, the Subscription Documents submitted by
 participating Eligible Holders will terminate and the Escrow Agent will promptly return by wire, funds (without
 interest) transferred by such Eligible Holders to the Escrow Account. If an Eligible Holder is not permitted to
 participate in the Opportunity and has wired funds to the Escrow Account, the Escrow Agent will return by wire funds
 (without interest) transferred by such Eligible Holder to the Escrow Account. The Escrow Agent shall be authorized


                                                             7
Case 20-41308          Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                      Main Document
                                                Pg 14 of 1005


 to close the Escrow Account following the transfer of all funds held therein. All funds in the Escrow Account shall
 be held as cash on deposit and will not accrue interest.

          Before you deliver the executed Subscription Documents and wire funds to the Escrow Account, please
 carefully review (i) the filings on the Debtors’ docket with the Bankruptcy Court related to their Chapter 11 Cases,
 available at https://cases.primeclerk.com/foresight (the “Bankruptcy Filings”), (ii) the RSA, the Orders, and the DIP
 Credit Agreement and (iii) the Company’s current and periodic reports, including those listed below (the “Exchange
 Act Reports”), which were filed by the Company with the Securities and Exchange Commission (the “SEC”) pursuant
 to the Securities Exchange Act of 1934, as amended, and the rules and regulations promulgated thereunder, and which
 are available on the SEC’s website at www.sec.gov.

           Participating as a DIP Term Lender in the DIP Term Facility entails risks, including, but not limited to, the
 risk that the Company may be liquidated or may be unsuccessful executing its business plan, and as a result may be
 unable to repay all or part of your DIP Loans. The Debtors are operating as debtors-in-possession under bankruptcy
 protection under chapter 11 of the Bankruptcy Code. The continuation of the Company as a going concern is
 contingent upon, among other things, the Company’s ability to develop a plan of reorganization, to obtain approval of
 such plan under the applicable provisions of the Bankruptcy Code and to successfully execute its business plan upon
 its emergence from chapter 11, if any. The risks inherent in lending to a company operating under chapter 11 of the
 Bankruptcy Code are materially higher than normal and there is no assurance that any of the conditions described
 above will be met. There is a risk that the Company will not be able to develop a feasible plan of reorganization or
 obtain the necessary approvals thereof, in which case it may be unable to reorganize under chapter 11, and it may be
 liquidated. In addition, if the Company is unable to successfully execute its business plan, it may be unable to meet
 its obligations under the DIP Facility. In either case, the Company may be unable to repay loan amounts borrowed
 from you and you may lose all or part of your DIP Loans.

           This Notice and Instruction Form relates only to the Opportunity to participate as a DIP Lender in the DIP
 Facility (which, as noted above, will also require Holders to become a party to the RSA).

          Notwithstanding anything to the contrary herein, the Required Backstop Parties, the DIP Agent and
 the Company may amend or modify the terms of the Opportunity, including the Subscription Form and the
 other Subscription Documents, at any time, by filing a notice of such amendment or modification on the Debtors’
 docket with the Bankruptcy Court related to the Company’s Chapter 11 Cases; provided that nothing in this
 Notice and Instruction Form shall be construed to supersede the amendment and modification requirements
 set forth in the DIP Credit Agreement.




                                                           8
Case 20-41308          Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                         Main Document
                                                Pg 15 of 1005                                                Annex I to
                                                                                           Notice and Instruction Form

                                               SUBSCRIPTION FORM

                                                     IMPORTANT

 PLEASE READ AND FOLLOW THE ATTACHED INSTRUCTIONS CAREFULLY. YOU MUST (I)
 COMPLETE, SIGN, DATE AND DELIVER THIS SUBSCRIPTION FORM AND THE OTHER
 SUBSCRIPTION DOCUMENTS TO YOUR NOMINEE WITH SUFFICIENT TIME TO ALLOW YOUR
 NOMINEE TO COMPLETE THE NOMINEE CERTIFICATION ON YOUR BEHALF AND DELIVER IT
 TO THE INFORMATION AGENT BEFORE THE SUBSCRIPTION DEADLINE, WHICH DELIVERY
 WILL CONSTITUTE YOUR COMMITMENT AS A DIP LENDER AND (II) FUND YOUR
 SUBSCRIPTION FUNDING AMOUNT BY WIRING FUNDS TO THE ESCROW ACCOUNT BEFORE
 THE FUNDING DEADLINE.

 EACH ELIGIBLE HOLDER HAS THE RIGHT TO DESIGNATE, USING THE DESIGNATION NOTICE,
 THAT ONE OR MORE RELATED ENTITIES PARTICIPATE AS A DIP LENDER FOR SOME OR ALL
 OF ITS PRO RATA SHARE OF THE LOANS AND/OR COMMITMENTS UNDER THE DIP CREDIT
 AGREEMENT.

 IF SUCH SUBSCRIPTION DOCUMENTS ARE NOT COMPLETED, DULY EXECUTED AND
 RECEIVED BY THE INFORMATION AGENT AT OR BEFORE THE SUBSCRIPTION DEADLINE,
 AND/OR THE SUBSCRIPTION FUNDING AMOUNT IS NOT RECEIVED IN THE ESCROW ACCOUNT
 AT OR BEFORE THE FUNDING DEADLINE, THE INSTRUCTION TRANSMITTED BY THIS
 SUBSCRIPTION FORM WILL NOT BE COUNTED.

 YOU SHOULD REVIEW THE EXCHANGE ACT REPORTS, BANKRUPTCY FILINGS, NOTICE AND
 INSTRUCTION FORM AND THE INSTRUCTIONS CONTAINED HEREIN BEFORE YOU ELECT TO
 PARTICIPATE IN THE OPPORTUNITY. YOU MAY WISH TO SEEK LEGAL AND/OR FINANCIAL
 ADVICE CONCERNING THE OPPORTUNITY.


 Capitalized terms used herein but not defined herein have the meanings ascribed to them in the Notice and Instruction
 Form to which this Subscription Form is attached.

 Item 1. Representations of the Holder. The undersigned hereby represents and warrants that it:

     •   Is (i) either a “qualified institutional buyer” or an institutional “accredited investor” as such terms are defined
         under Rules 144A and 501(a)(1), (2), (3) and (7) under the Securities Act of 1933, as amended, respectively,
         or is an entity in which all of the equity investors are institutional “accredited investors” and (ii) not the
         Company or an affiliate of the Company;

     •   is not a natural person;

     •   is an “Eligible Assignee” as defined in the DIP Credit Agreement;

     •   is sophisticated with respect to the decision to participate as a lender in a commercial loan of the type
         represented by the DIP Loans and is, or the entity exercising discretion in making this decision to participate
         in the funding of the DIP Loans on behalf of such participant is, experienced in participating as a lender in
         such commercial loans;

     •   has received, or has been accorded the opportunity to receive or have access to, copies of the Final Order, the
         DIP Credit Agreement, the DIP Joinder, the RSA and the RSA Joinder, and has received, or has been
         accorded the opportunity to receive or have access to, to the extent available, copies of the most recent annual
         and quarterly financial statements of the Debtors and such other documents and information as it deems
         appropriate to make its own credit analysis and decision to participate in the funding of such DIP Facility
         and become a party to the RSA (including access to the docket of the Company’s Chapter 11 Cases); and




                                                           S-1
Case 20-41308             Doc 228         Filed 04/01/20 Entered 04/01/20 23:45:34                             Main Document
                                                    Pg 16 of 1005


      •    has (i) independently and without reliance on the DIP Agent, any other DIP Lender or potential DIP Lender,
           the Backstop Parties, any of the Debtors, any agent or trustee under the Prepetition First Lien Credit
           Agreement or the Prepetition Second Lien Notes, and (ii) based on such documents and information as it has
           deemed appropriate, made its own credit analysis and decision to participate in the funding of the DIP Facility
           and become a party to the RSA.

         Each Holder further authorizes the DIP Agent to act and rely upon (and acknowledges and agrees that the
 DIP Agent shall be fully protected in acting and relying upon) instructions and/or information from the Company, the
 Information Agent and/or the Required Backstop Parties and their counsel and advisors in effectuating the transactions
 contemplated by this Subscription Form.
 Item 2. Participation in the Opportunity. The undersigned certifies that, as of the Record Date, the undersigned
 (a) was an Eligible Holder of Prepetition First Lien Obligations and/or Prepetition Second Lien Notes in the following
 principal amounts (insert principal amount in the boxes below) and (b) wishes to make the following commitment
 (i.e., the “Desired Participation Amount”, as listed below in Item 2b, and as computed as set forth below) to participate
 in the Facility with regard to the Opportunity:

                                                                        Prepetition Second Lien
                                     Total Principal Amount of           Notes CUSIP (345525
                                       Prepetition First Lien             AE9, 345525 AF6 or         Total Principal Amount of
                                    Obligations as of the Record             U34550 AE0)              Prepetition Second Lien
          Name / Address                       Date 2                  ** please only include one    Notes as of the Record Date
                                                (P1)                         CUSIP in each                       (P2)
                                                                              box below**




           2 For purposes of determining beneficial ownership on the Record Date for participation in the Opportunity, such
 ownership shall be determined on the basis of both settled and unsettled trades, provided that, with respect to any unsettled trade
 of loans, the assignee shall provide evidence (such as a trade confirmation) reasonably satisfactory to counsel to the Company
 and the Required Backstop Parties, which evidence reasonably establishes ownership of such loans (subject to recordation of
 assignment by the agent under the Prepetition First Lien Credit Agreement).



                                                                 S-2
Case 20-41308          Doc 228         Filed 04/01/20 Entered 04/01/20 23:45:34                     Main Document
                                                 Pg 17 of 1005


 Item 2a. Calculation of the Maximum Participation Amount. You are entitled to participate up to your full pro
 rata portion of the Syndicated DIP Term Loans, or some smaller portion thereof. In order for you to understand the
 maximum for which you are entitled to participate, your maximum pro rata share of the Syndicated DIP Term Loans
 is calculated as follows:

 Each Eligible Holder may participate up to the following amount (round to nearest Dollar, which is the principal
 amount of Syndicated DIP Term Loans an Eligible Holder will receive (which includes the upfront fee and
 commitment fee payable in original issue discount; provided however, if such amount is less than the Minimum
 Amount, you may not participate in the Opportunity)

 With respect to your Prepetition First Lien Obligations:

                            (Line 1)          (S * (P1 / N)) = $_____________

 where

 S = $14,467,012.26 (the aggregate principal amount of Syndicated DIP Term Loans ($45,000,000), multiplied by
 Prepetition First Lien Allocation (32.1489%)

 P1 = your Total Principal Amount of Prepetition First Lien Obligations set forth in Item 2(a) above

 N = the aggregate outstanding amount of all Prepetition First Lien Obligations ($918,930,135.46)

 With respect to your Prepetition Second Lien Notes:

                            (Line 2)          (S * (P2 / N)) = $_____________

 where

 S = $632,967.65 (the aggregate amount of Syndicated DIP Term Loans ($45,000,000), multiplied by Prepetition
 Second Lien Allocation (1.4066%))

 P2 = your Total Principal Amount of Prepetition Second Lien Notes set forth in Item 2(a) above

 N = the aggregate outstanding principal amount of all Second Lien Notes ($425,000,000)

                                             Max Participation Amount

                                                    Line 1 + Line 2

                                       $__________________________________

 Item 2b. Calculation of the Subscription Amount and Subscription Funding Amount. Please specify your
 commitment to participate and the Subscription Funding Amount, as applicable in the spaces below:

 Each Eligible Holder is entitled to commit to participate for up to its pro rata portion of the Syndicated DIP Term
 Loans. Your commitment to participate, taken together with the commitment of other Eligible Holders under common
 control through common investment management and/or advisement with you, cannot be less than the Minimum
 Amount. Your commitment to participate cannot exceed the individual limit included in Line 1 above with respect to
 your Prepetition First Lien Obligations (if any), plus Line 2 above with respect to your Prepetition Second Lien Notes
 (if any). Please enter on the following Line 3 the principal amount of your commitment to participate in the Syndicated
 DIP Term Loan (which includes the upfront fee and commitment fee) (the “Subscription Amount”):

                      Subscription Amount (including the upfront fee and commitment fee):




                                                          S-3
Case 20-41308          Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                       Main Document
                                                Pg 18 of 1005


                    (Line 3)         $__________________________________



 To calculate your Subscription Funding Amount, take the Subscription Amount from Line 3 (“C”) and subtract the
 upfront fee (3%) using the following formula and enter it on Line 4 below (round to nearest Dollar).

                                           Subscription Funding Amount:

                                                     C – (0.03 * C)



                   (Line 4)          $__________________________________

 With respect to your Roll-Up Loans

 Subject to the terms and conditions set forth in the DIP Credit Agreement and the Orders, each Eligible Holder who
 are Prepetition First Lien Lenders as of the Record Date shall be entitled to “roll up” any Prepetition First Lien
 Obligations held by such Eligible Holder (or one or more of its affiliates or any investment advisory client managed
 or advised by such Eligible Holder) equal to 0.808625 times the sum of (i) the aggregate principal amount of Initial
 Term Loans funded by such Eligible Holder (or one or more of its affiliates or any investment advisory client managed
 or advised by such Eligible Holder) on the Closing Date on account of its Prepetition First Lien Obligations, if any,
 and (ii) the aggregate principal amount of Delayed Draw Term Loan funded by such Eligible Holder (or one or more
 of its affiliates or any investment advisory client managed or advised by such Eligible Holder) on the Delayed Draw
 Funding Date, if any, on account of its Prepetition First Lien Obligations; provided that the aggregate principal amount
 of the Roll-Up Loans cannot exceed $75,000,000.

 To illustrate:

 In the case of an Eligible Holder owning $50,000,000 in aggregate principal amount of the Prepetition First Lien
 Loans and $25,000,000 of Prepetition Second Lien Notes, such Eligible Holder would be entitled to participate as a
 DIP Lender in the DIP Facility in the maximum principal amount (Item 2a) of:

     1.   On account of such Eligible Holder’s Prepetition First Lien Loans:

              a.   $14,467,012.26 * ($50,000,000 / $918,930,135.46), or the maximum principal of $787,166.06 of
                   Delayed Draw Term Loans.

              b.   Subject to approval by the Bankruptcy Court, $787,166.06 * 0.808625, or the principal of
                   $636,522.15 of the Prepetition First Lien Obligations will be substituted and exchanged for (and
                   prepaid by) and deemed to be the Roll-Up Loans issued and outstanding under the DIP Facility.

     2.   On account of such Eligible Holder’s Prepetition Second Lien Notes:

              a.   $632,967.65 * ($25,000,000 / $425,000,000), or the maximum principal of $372,333.91 of Delayed
                   Draw Term Loans.

     3.   Maximum Participation Amount = $787,166.06 + $372,333.91 = $1,159,499.97

 If the Subscription Amount specified in Line 3 above is less than $350,000 and you are under common control through
 common investment management and/or advisement with other Eligible Holders that have submitted Subscription
 Forms, list such other Eligible Holders:

                                           ___________________________

                                           ___________________________



                                                           S-4
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                          Main Document
                                                 Pg 19 of 1005


                                            ___________________________

 The undersigned certifies that it is under common control through common investment management and/or
 advisement with the Eligible Holders listed above.

 Item 3. Certification. By signing this Subscription Form, the undersigned certifies that it understands that the right
 to participate in the Opportunity is subject to all the terms and conditions set forth in the Notice and Instruction Form,
 and agrees that the commitment to participate in the DIP Facility in an amount equal to the Subscription Amount
 specified in Line 3 of Item 2(b) above, constitutes an irrevocable offer by the undersigned to fund the Syndicated DIP
 Term Loans equal to the amount specified as the Subscription Funding Amount in Line 4 of Item 2(b) above.

                                                          Name of Eligible Holder:


                                                                                   (Print or Type)

                                                          Federal Tax I.D. No.:
                                                                                              (If Applicable)

                                                          Signature:

                                                          Print Name:

                                                          Title:

                                                          Facsimile Number:

                                                          E-mail Address:

                                                          Street Address:

                                                          City, State, Zip Code:

                                                          Telephone: ( )

                                                          Date Completed:

 THE SUBSCRIPTION DOCUMENTS MUST BE RECEIVED BY THE INFORMATION AGENT AT ITS
 EMAIL ADDRESS AT FORESIGHTDIP@PRIMECLERK.COM MUST BE RECEIVED BY THE
 INFORMATION AGENT BEFORE 5:00 P.M., NEW YORK CITY TIME, ON APRIL 1, 2020, OR THE
 INSTRUCTIONS TRANSMITTED HEREBY WILL NOT BE COUNTED.

                                    FORESIGHT DIP Syndication Processing
                                             c/o Prime Clerk LLC
                                            One Grand Central Place
                                               60 East 42nd Street
                                                   Suite 1440
                                              New York, NY 10165
                        Telephone: 877-720-6580 (domestic) or 646-998-7132 (international)




                                                            S-5
Case 20-41308          Doc 228       Filed 04/01/20 Entered 04/01/20 23:45:34                     Main Document
                                               Pg 20 of 1005


                     INSTRUCTIONS FOR COMPLETING THE SUBSCRIPTION FORM

 EXPIRATION TIME/INFORMATION AGENT:

      The Subscription Deadline for the receipt of instructions is 5:00 p.m., New York City Time, on April 3,
 2020, unless extended or earlier terminated. To elect to participate in the Opportunity, you must complete, sign,
 and return this Subscription Form and the other Subscription Documents to your nominee with sufficient time to
 allow your nominee to complete the Nominee Certification on your behalf so that it is received by the Information
 Agent at its email address at email address at foresightDIP@primeclerk.com, or at the following address, for receipt
 by the Information Agent no later than the Subscription Deadline:

                                    FORESIGHT DIP Syndication Processing
                                              c/o Prime Clerk LLC
                                            One Grand Central Place
                                               60 East 42nd Street
                                                   Suite 1440
                                             New York, NY 10165
                        Telephone: 877-720-6580 (domestic) or 646-998-7132 (international)

          To effect a subscription, you must take the following steps:

     a.   Review the representations in Item 1 of the Subscription Form;

     b.   In Item 2 of the Subscription Form, specify the amount of Prepetition First Lien Obligations and Prepetition
          Second Lien Notes you held as of the Record Date;

     c.   In Item 2(b) of the Subscription Form, (i) specify the Subscription Amount, the Subscription Funding Amount
          and the total amount to be wired and (ii) if the amount of the DIP Term Facility commitment specified in
          Line 1 of Item 2(b) is less than $350,000 and you are under common control through common investment
          management and/or advisement with other Eligible Holders that have submitted Subscription Forms,
          specify such other Eligible Holders;

     d.   Review the certification in Item 3 of the Subscription Form;

     e.   In Item 3, sign and date the Subscription Form, and provide the remaining information requested;

     f.   Complete, execute and deliver to the Information Agent before the Subscription Deadline (i) the DIP Joinder
          attached as Annex II to the Notice and Instruction Form, (ii) the Administrative Questionnaire attached as
          Annex III to the Notice and Instruction Form, (iii) relevant tax forms as described in Annex V to the Notice
          and Instruction Form, (iv) the Designation Notice attached as Annex VI to the Notice and Instruction
          Form to the extent you wish to designate a Related Lender to participate as a DIP Lender for some or all
          of the Subscription Amount, (v) the RSA Joinder attached as Annex VII to the Notice and Instruction
          Form, and
          (vi) such other documents as the DIP Agent reasonably requires;

     g.   Complete, execute (as necessary) and deliver to the Information Agent before the Subscription Deadline each
          of the documents specified in Annex IV to the Notice and Instruction Form as the KYC Information;

     h.   If you are a Prepetition Second Lien Noteholder, coordinate with the nominee holding your Prepetition
          Second Lien Notes to arrange for delivery of the completed Subscription Documents to its offices and
          instruct your nominee to complete the Nominee Certification attached as Annex I-B to the Notice and
          Instruction Form and deliver the completed, executed Subscription Documents so as to be received by the
          Information Agent before the Subscription Deadline;

     i.   Cause the Subscription Funding Amount as set forth in Item 2b to be funded to the Escrow Account on or
          before the Funding Deadline.




                                                          S-6
Case 20-41308         Doc 228       Filed 04/01/20 Entered 04/01/20 23:45:34                  Main Document
                                              Pg 21 of 1005


 PLEASE NOTE:

     IF YOU HAVE ANY QUESTIONS REGARDING THIS SUBSCRIPTION FORM, ANY OTHER
   SUBSCRIPTION DOCUMENTS OR THE PROCEDURES RELATED HERETO, PLEASE CALL THE
     INFORMATION AGENT AT 877-720-6580 (DOMESTIC) or 646-998-7132 (INTERNATIONAL).

 Your participation in the Opportunity is subject to you providing the administrative questionnaire, all know-
 your-customer information, tax forms and other documents required by the DIP Agent and the DIP Agent’s
 satisfactory review of such information and documents (as determined in the sole discretion of the DIP Agent).

 Foresight Energy LLC and certain of its affiliates have filed voluntary petitions for relief under chapter 11 of
 Title 11 of the United States Code, 11 U.S.C. §§ 101 et seq. (the “Bankruptcy Code”) and are operating their
 businesses and managing their property as debtors-in-possession pursuant to the Bankruptcy Code.

 Nothing herein, nor in any of the accompanying forms and letters, shall constitute or be deemed to constitute a
 solicitation by any party of votes to approve or reject a chapter 11 plan for any debtor. A solicitation with
 respect to votes to approve or reject a chapter 11 plan only may be commenced once a disclosure statement
 that complies with section 1125 of the Bankruptcy Code has been approved by the Bankruptcy Court.




                                                       S-7
Case 20-41308           Doc 228         Filed 04/01/20 Entered 04/01/20 23:45:34                         Main Document
                                                  Pg 22 of 1005                                            Annex I-B to
                                                                                           Notice and Instruction Form

                        NOMINEE’S CERTIFICATION OF RECORD DATE HOLDINGS

        Your ownership of Prepetition Second Lien Notes must be confirmed to participate in the Opportunity
 The nominee holding your Prepetition Second Lien Notes as of the Record Date, must complete Box A on your
 behalf. Box B is only required if any or all of your Prepetition Second Lien Notes were on loan as of the Record
 Date (as determined by your nominee). Please attach a separate Nominee Certification if your Prepetition Second
 Lien Notes are held through more than one nominee. Please also attach an authorized signatory list confirming that
 the beneficial holder listed below owned the position(s) listed in Box A and/or Box B as of the Record Date.

                          Box A                                                         Box B
                For Use Only by the Nominee                                  Nominee Proxy - Only if Needed



 DTC Participant Name: _______________________________      DTC Participant Name: ______________________________


 DTC Participant Number: ______________________________     DTC Participant Number: ____________________________



 Principal Amount of Prepetition Second Lien Notes          Principal Amount of Prepetition Second Lien Notes
 (CUSIP Nos. 345525 AE9, 345525 AF6 or U34550 AE0) held     (CUSIP Nos. 345525 AE9, 345525 AF6 or U34550 AE0) held on
 by this account as of the Record Date:                     behalf of, and hereby assigned to, the Nominee listed in Box A as of
                                                            the Record Date:

 $___________________________ principal amount in CUSIP
 345525 AE9                                                 $___________________________ principal amount in CUSIP
                                                            345525 AE9

 $___________________________ principal amount in CUSIP
 345525 AF6                                                 $___________________________ principal amount in CUSIP
                                                            345525 AF6

 $___________________________ principal amount in CUSIP
 U34550 AE0                                                 $___________________________ principal amount in CUSIP
                                                            U34550 AE0


                                                            Nominee authorized signatory:_____________________
 Nominee authorized signatory:_____________________

                                                            Nominee contact name:__________________________
 Nominee contact name:___________________________

                                                            Nominee contact email:__________________________
 Nominee contact email:___________________________
 Contact telephone number: ________________________         Contact telephone number: ______________________
 ________________________
 Beneficial holder name:__________________________          Beneficial holder name:__________________________
Case 20-41308   Doc 228   Filed 04/01/20 Entered 04/01/20 23:45:34    Main Document
                                    Pg 23 of 1005                            Annex II to
                                                            Notice and Instruction Form

                    MASTER JOINDER TO DIP CREDIT AGREEMENT

                                    [See attached]
Case 20-41308      Doc 228     Filed 04/01/20 Entered 04/01/20 23:45:34 Main Document
                                         Pg 24 of 1005
                                                                 EXECUTION VERSION

                    MASTER JOINDER TO DIP CREDIT AGREEMENT

        JOINDER TO DIP CREDIT AGREEMENT, dated as of [ ], 2020 (this “Agreement”),
 by and among the undersigned lenders (collectively, the “Additional Lenders” and each, an
 “Additional Lender”), FORESIGHT ENERGY GP LLC, a Delaware limited liability company,
 as a debtor and debtor-in-possession (the “General Partner”), FORESIGHT ENERGY LP, a
 Delaware limited partnership, as a debtor and debtor-in-possession (“Holdings”), FORESIGHT
 ENERGY LLC, a Delaware limited liability company, as a debtor and debtor-in-possession, as
 borrower (the “Borrower”), and Cortland Capital Market Services LLC, as administrative agent
 (in such capacity, the “Administrative Agent”) and collateral agent (in such capacity, the
 “Collateral Agent”) under the Credit Agreement (as defined below).

                                          RECITALS:

        WHEREAS, reference is hereby made to the Senior Secured Superpriority Debtor-in-
 Possession Credit and Guaranty Agreement, dated as of March 11, 2020 (as amended, restated,
 amended and restated, supplemented or otherwise modified from time to time, the “Credit
 Agreement”), among the General Partner, Holdings, the Borrower, certain subsidiaries of the
 Borrower, the lenders from time to time party thereto and the Administrative Agent and
 Collateral Agent (capitalized terms used but not defined herein having the meaning provided in
 the Credit Agreement);

        WHEREAS, pursuant to the syndication of Loans in accordance with the Restructuring
 Support Agreement and Section 10.06 of the Credit Agreement, the parties hereto desire that the
 Additional Lenders be joined as a party to the Credit Agreement;

       NOW, THEREFORE, in consideration of the premises and agreements, provisions and
 covenants herein contained, the parties hereto agree as follows:

         On and as of the date of this Agreement, each Additional Lender hereby agrees to join the
 Credit Agreement as a Lender and to provide Delayed Draw Term Loan Commitments pursuant
 to the terms of the DIP Credit Agreement, and to the extent applicable under the terms thereof,
 be deemed to have issued the Roll-Up Loans allocated to such Additional Lender in accordance
 with Section 2.01(b). Each Additional Lender, the Loan Parties and the Administrative Agent
 acknowledge and agree that the Delayed Draw Term Loan Commitments and, when issued or
 deemed issued, the Delayed Draw Term Loans and, if applicable, the Roll-Up Loans of such
 Additional Lender shall (i) constitute Delayed Draw Term Loan Commitments, and when issued
 or deemed issued, the Delayed Draw Term Loans and, if applicable, Roll-Up Loans, for all
 purposes of the Credit Agreement and the other Loan Documents and (ii) be bound by and
 subject to all of the terms and conditions in the Credit Agreement and the other Loan Documents,
 including the entry by the Bankruptcy Court of the Final Order in form and substance
 satisfactory to the Required Lenders. Each Additional Lender shall be entitled to all the benefits
 afforded by the Credit Agreement and the other Loan Documents, and shall, without limiting the
 foregoing, benefit equally and ratably from the Guaranty and security interests created by the
 Security Documents.

        Each Additional Lender (i) confirms that it has received a copy of the Credit Agreement
 and the other Loan Documents, together with such other documents and information as it has
Case 20-41308      Doc 228     Filed 04/01/20 Entered 04/01/20 23:45:34           Main Document
                                         Pg 25 of 1005


 deemed appropriate to make its own credit analysis and decision to enter into this Agreement;
 (ii) agrees that it will, independently and without reliance upon the Administrative Agent, the
 Collateral Agent, any Backstop Lender, or any other Lender and based on such documents and
 information as it shall deem appropriate at the time, continue to make its own credit decisions in
 taking or not taking action under the Credit Agreement; (iii) appoints and authorizes the
 Administrative Agent and Collateral Agent to take such action as administrative agent and
 collateral agent on its behalf and to exercise such powers and discretion under the Credit
 Agreement and the other Loan Documents as are delegated to the Administrative Agent and
 Collateral Agent by the terms thereof, together with such powers and discretion as are reasonably
 incidental thereto; and (iv) agrees that it will perform in accordance with their terms all of the
 obligations which by the terms of the Credit Agreement are required to be performed by it as a
 Lender.

         Upon the execution of a counterpart of this Agreement by each Additional Lender, the
 Administrative Agent, the Collateral Agent, and the Loan Parties (including by way of telecopy
 or other electronic transmission), such Additional Lender shall become a Lender under the Credit
 Agreement and the other Loan Documents as of the date of this Agreement.

         Each Additional Lender represents and warrants to the Administrative Agent, the
 Collateral Agent, the other Lenders and the Loan Parties that (i) it has full power and authority,
 and has taken all action necessary, to execute and deliver this Agreement and to consummate the
 transactions contemplated hereby and to become a Lender under the Credit Agreement and the
 other Loan Documents; and (ii) it has delivered herewith to the Administrative Agent (x) an
 Administrative Questionnaire completed by such Additional Lender, and (y) such documentation
 and other information under applicable “know your customer” and anti-money laundering rules
 and regulations that has been requested by the Administrative Agent and such documentation and
 other information required under Section 4.01(l) of the Credit Agreement.

        This Agreement may not be amended, modified or waived except by an instrument or
 instruments in writing signed and delivered on behalf of each of the parties hereto.

         This Agreement, the Credit Agreement and the other Loan Documents constitute the
 entire agreement among the parties with respect to the subject matter hereof and thereof and
 supersede all other prior agreements and understandings, both written and verbal, among the
 parties or any of them with respect to the subject matter hereof.

      THIS AGREEMENT AND THE RIGHTS AND OBLIGATIONS OF THE
 PARTIES HEREUNDER SHALL BE GOVERNED BY, AND CONSTRUED IN
 ACCORDANCE WITH, THE LAWS OF THE STATE OF NEW YORK AND (TO THE
 EXTENT APPLICABLE) THE BANKRUPTCY CODE, WITHOUT REGARD TO
 CONFLICT OF LAWS PRINCIPLES THEREOF THAT WOULD RESULT IN THE
 APPLICATION OF ANY LAW OTHER THAN THE LAW OF THE STATE OF NEW
 YORK AND (TO THE EXTENT APPLICABLE) THE BANKRUPTCY CODE.

         Any term or provision of this Agreement which is invalid or unenforceable in any
 jurisdiction shall, as to that jurisdiction, be ineffective to the extent of such invalidity or
 unenforceability without rendering invalid or unenforceable the remaining terms and provisions
 of this Agreement or affecting the validity or enforceability of any of the terms or provisions of
Case 20-41308      Doc 228     Filed 04/01/20 Entered 04/01/20 23:45:34           Main Document
                                         Pg 26 of 1005


 this Agreement in any other jurisdiction. If any provision of this Agreement is so broad as to be
 unenforceable, the provision shall be interpreted to be only so broad as would be enforceable.

         This Agreement may be executed in counterparts, each of which shall be deemed to be an
 original, but all of which shall constitute one and the same agreement.

                                     [signature pages follow]
Case 20-41308    Doc 228    Filed 04/01/20 Entered 04/01/20 23:45:34            Main Document
                                      Pg 27 of 1005



        IN WITNESS WHEREOF, each of the undersigned has caused its duly authorized officer
 to execute and deliver this Agreement as of the date first written above.



                                          [•]


                                          By:
                                                Name:
                                                Title:


                                          If a second signature is necessary:

                                          By:
                                                Name:
                                                Title:




                     [Signature Page to Joinder to DIP Credit Agreement]
Case 20-41308   Doc 228   Filed 04/01/20 Entered 04/01/20 23:45:34               Main Document
                                    Pg 28 of 1005




                                       FORESIGHT ENERGY LLC



                                       By:      __________________________________________
                                               Name: Robert D. Moore
                                               Title: President and Chief Executive Officer



                                       FORESIGHT ENERGY LP
                                       By


                                       Foresight Energy GP LLC, its general partner


                                       By:      __________________________________________
                                               Name: Robert D. Moore
                                               Title: President and Chief Executive Officer




                  [Signature Page to Joinder to DIP Credit Agreement]
Case 20-41308   Doc 228   Filed 04/01/20 Entered 04/01/20 23:45:34         Main Document
                                    Pg 29 of 1005


                                       FORESIGHT ENERGY GP, LLC
                                       ADENA RESOURCES, LLC
                                       AKIN ENERGY LLC
                                       AMERICAN CENTURY MINERAL LLC
                                       AMERICAN CENTURY TRANSPORT LLC
                                       COAL FIELD CONSTRUCTION COMPANY LLC
                                       COAL FIELD REPAIR SERVICES LLC
                                       FORESIGHT COAL SALES LLC
                                       FORESIGHT ENERGY EMPLOYEE SERVICES
                                       CORPORATION
                                       FORESIGHT ENERGY FINANCE CORPORATION
                                       FORESIGHT ENERGY LABOR LLC
                                       FORESIGHT ENERGY SERVICES LLC
                                       HILLSBORO TRANSPORT LLC
                                       LD LABOR COMPANY LLC
                                       LOGAN MINING LLC
                                       M-CLASS MINING, LLC
                                       MACH MINING, LLC
                                       MACOUPIN ENERGY LLC
                                       MARYAN MINING LLC
                                       OENEUS LLC (D/B/A SAVATRAN LLC)
                                       SENECA REBUILD LLC
                                       SITRAN LLC
                                       SUGAR CAMP ENERGY, LLC
                                       TANNER ENERGY LLC
                                       VIKING MINING LLC
                                       WILLIAMSON ENERGY, LLC
                                       HILLSBORO ENERGY LLC
                                       PATTON MINING LLC
                                       FORESIGHT RECEIVABLES LLC


                                       By:      __________________________________________
                                               Name: Robert D. Moore
                                               Title: President and Chief Executive Officer




                  [Signature Page to Joinder to DIP Credit Agreement]
Case 20-41308   Doc 228   Filed 04/01/20 Entered 04/01/20 23:45:34      Main Document
                                    Pg 30 of 1005


                                      Accepted:

                                      CORTLAND CAPITAL MARKET SERVICES LLC
                                      as Administrative Agent and Collateral Agent,



                                      By:   ______________________________________
                                            Name:
                                            Title:




                  [Signature Page to Joinder to DIP Credit Agreement]
Case 20-41308   Doc 228   Filed 04/01/20 Entered 04/01/20 23:45:34    Main Document
                                    Pg 31 of 1005                           Annex III to
                                                            Notice and Instruction Form

                          ADMINISTRATIVE QUESTIONNAIRE

                                    [See attached]
 Case 20-41308   Doc 228   Filed 04/01/20 Entered 04/01/20 23:45:34        Main Document
                                 [Fund Name]
                                     Pg 32 of 1005
                                   [Fund Address]
                                    Tax Payer ID:


                           Administrative Details

                           Payment Instructions
USD:                                Bank Name:
                                    ABA:
                                    Account Name:
                                    Account Number:
                                    Attn:


                             Signature Block

                                    [Fund Name:]

                                    By: ________________________________



                                   Contacts

Operations (Agent Notices):         [Fund Name]
                                    Address:

                                    Attn:
                                    Phone:
                                    Fax:
                                    E-mail:


Credit/Legal (Public/Private):      [Fund Name]
                                    Address:

                                    Attn:
                                    Phone:
                                    Fax:
                                    E-mail:
Case 20-41308         Doc 228       Filed 04/01/20 Entered 04/01/20 23:45:34                    Main Document
                                              Pg 33 of 1005                                          Annex IV to
                                                                                     Notice and Instruction Form

                            DESCRIPTION OF REQUIRED KYC INFORMATION

          The DIP Agent will be afforded sufficient time before closing of the syndication and in advance of any
 monies being funded to the Escrow Account to complete customary know-your-customer and tax withholding
 analyses, confirmation of wiring instructions, and other related administrative matters, including:

     1.   Administrative Questionnaire attached as Annex III (Operations/Credit Contact & Wire Instructions)

     2.   Formation Documents

              a.   Limited Liability Company: Recorded Articles of Organization
              b.   Limited Partnership: Certificate of Limited Partnership
              c.   Corporation: Recorded Articles of Incorporation
              d.   Trust: Trust Agreement and Trustee Certificate

     3.   Tax Forms described in Annex V
Case 20-41308      Doc 228   Filed 04/01/20 Entered 04/01/20 23:45:34    Main Document
                                       Pg 34 of 1005                            Annex V to
                                                               Notice and Instruction Form

                         DESCRIPTION OF REQUIRED TAX FORMS

 Tax Form W-9 or W-8
Case 20-41308   Doc 228   Filed 04/01/20 Entered 04/01/20 23:45:34    Main Document
                                    Pg 35 of 1005                           Annex VI to
                                                            Notice and Instruction Form

                                DESIGNATION FORM

                                    [See attached]
Case 20-41308        Doc 228       Filed 04/01/20 Entered 04/01/20 23:45:34 Main Document
                                             Pg 36 of 1005
                                                                     EXECUTION VERSION

                                         DESIGNATION NOTICE

 Date:   __, 2020
 To:     Prime Clerk LLC, as Information Agent
         Cortland Capital Market Services LLC as Administrative Agent
 cc:     FORESIGHT ENERGY LLC
 Re:     Designation by [ELIGIBLE HOLDER] (the “Eligible Holder”) of [RELATED LENDER]
         (the “Designee”)
         Reference is made to the Notice and Instruction Form, dated March 23, 2020 (the “Notice and
 Instruction Form”), sent to Eligible Holders by Foresight Energy LLC, a Delaware limited liability
 company (the “Company”). Capitalized terms used and not otherwise defined herein have the meanings
 ascribed to them in the Notice and Instruction Form.
          This constitutes notice that the Eligible Holder is designating the Designee as a Related Lender
 entitled to participate as a DIP Lender in the DIP Facility, and therefore the Syndicated DIP Term Loans
 (up to the Designated Participation Amount, as defined below) shall be registered in the name of the
 Designee, subject to the Designee completing and executing the Subscription Documents (other than the
 Subscription Form, which shall be completed by the Eligible Holder) and this Designation Notice,
 delivering such documents to the Information Agent prior to the Subscription Document Deadline, and
 funding the Subscription Funding Amount to the Escrow Account prior to the Funding Deadline. The
 designation to the Designee as provided hereunder is subject in all respects to the Designee providing the
 administrative questionnaire, all know-your-customer information, tax forms, and other documents
 required by the DIP Agent (including the documents described in Annex IV of the Notice and Instruction
 Form) and the DIP Agent’s satisfactory review of such information and documents.
         The Eligible Holder represents and warrants that its Desired Participation Amount is $[●]. Eligible
 Holder hereby designates $[●] of its Desired Participation Amount (the “Designated Participation
 Amount”) to Designee (with the remaining allocated to Eligible Holder to the extent applicable). If the
 Eligible Holder is entitled to receive Roll-Up Loans on account of its Desired Participation Amount, the
 Eligible Holder designates $[●] of such Roll-Up Loans (the “Designated Roll-Up Amount”) to Designee
 (with the remaining allocated to Eligible Holder to the extent applicable). The Eligible Holder and the
 Designee acknowledge and agree that the Designee shall participate as a DIP Lender in the DIP Facility in
 the Designated Participation Amount and the Designated Roll-Up Amount.
          Furthermore, the Designee hereby confirms that, as of the date hereof, each of the representations
 set forth in the Notice and Instruction Form (including those set forth in the Subscription Form) are accurate
 as applied to the Designee in the place of the Eligible Holder. Designee hereby agrees to be bound by the
 terms of the Notice and Instruction Form (including those set forth in the Subscription Form) as though
 Designee were an Eligible Holder, including, without limitation, the obligations to (i) deliver completed
 and executed Subscription Documents (other than the Subscription Form) and this Designation Notice to
 the Information Agent prior to Subscription Document Deadline and (ii) fund the Subscription Funding
 Amount to the Escrow Account prior to the Funding Deadline.
          Designee further confirms that it is (i) either (A) “qualified institutional buyers,” as such term is
 defined in Rule 144A under the Securities Act of 1933, as amended (the “Securities Act”), or (B)
 institutional “accredited investors” within the meaning of Rule 501(a)(1), (2), (3) or (7) under the Securities
 Act (“IAIs”) or an entity in which all of the equity investors are IAIs, and (ii) an “Eligible Assignee” as
 defined in the DIP Credit Agreement.
                                           [Signature page follows]
Case 20-41308       Doc 228   Filed 04/01/20 Entered 04/01/20 23:45:34   Main Document
                                        Pg 37 of 1005


 Sincerely,

  [ELIGIBLE HOLDER]



  By:
        Name:
        Title:



  [DESIGNEE]



 By:
       Name:
       Title:


 Federal Tax I.D. No.:
                          (If Applicable)

 Facsimile Number:

 E-mail Address:

 Street Address:

 City, State, Zip Code:

 Telephone: ( )

 Date Completed:
Case 20-41308   Doc 228   Filed 04/01/20 Entered 04/01/20 23:45:34    Main Document
                                    Pg 38 of 1005                          Annex VII to
                                                            Notice and Instruction Form

                                 JOINDER TO RSA

                                    [See attached]
Case 20-41308       Doc 228     Filed 04/01/20 Entered 04/01/20 23:45:34             Main Document
                                          Pg 39 of 1005


                                           Form of Joinder



 The undersigned (“Joinder Party”) hereby acknowledges that it has read and understands the
 Restructuring Support Agreement, dated as of March 10, 2020 (the “Agreement”), 1 by and among
 Foresight Energy LP and its affiliates bound thereto and the Consenting Stakeholders and agrees
 to be bound by the terms and conditions thereof to the extent the other Parties are thereby bound,
 and shall be deemed a “Consenting Stakeholder” and, as applicable, a “Consenting First Lien
 Lender” and/or “Consenting Second Lien Noteholder” under the terms of the Agreement.

         1.     The Joinder Party specifically agrees to be bound by the terms and conditions of
 the Agreement and makes all representations and warranties contained therein as of the date of this
 joinder and any further date specified in the Agreement.

         2.     DIP Commitment Election. The Joinder Party hereby represents and warrants that
 it holds Company Claims/Interests in the amount set forth below, and hereby commits to provide
 a share of the DIP Facility up to the Joinder Party’s pro rata percentage of 46.375% of the DIP
 Facility (with respect to all Consenting First Lien Lenders) and/or 3.625% (with respect to all
 Consenting Second Lien Lenders), and otherwise on the terms and conditions agreed to in the
 Agreement and/or the DIP Credit Agreement, as applicable.
         3.      Representations and Warranties. The Joinder Party hereby represents and warrants
 to each other Party to the Agreement that, as of the date hereof, such Joinder Party (a) is the legal
 or beneficial holder of, and has all necessary authority (including authority to bind any other legal
 or beneficial holder) with respect to, the Company Claims/Interests identified below its name on
 the signature page hereof, and (b) makes, as of the date hereof, the representations and warranties
 set forth in Section 10 and Section 11 of the Agreement to each other Party.

        4.     Governing Law. This Joinder Agreement shall be governed by and construed in
 accordance with the internal laws of the State of New York without regard to any conflicts of law
 provisions which would require the application of the law of any other jurisdiction.

       5.     Notice. All notices and other communications given or made pursuant to the
 Agreement shall be sent to:

                To the Joinder Party at:

                [JOINING PARTY]
                [ADDRESS]
                Attn:
                Facsimile: [FAX]
                EMAIL:


 1
  Capitalized terms not used but not otherwise defined in this joinder shall have the meanings
 ascribed to such terms in the Agreement.

                      [Joinder to the FELP Restructuring Support Agreement]
Case 20-41308      Doc 228      Filed 04/01/20 Entered 04/01/20 23:45:34       Main Document
                                          Pg 40 of 1005




 Date Executed:

 [JOINDER PARTY]


 By:

       Name:

       Title:


 Address:


 E-mail address(es):



  Aggregate Amounts Beneficially Owned or Managed on Account of:
  First Lien Facility Claims (Principal Amount)
  Second Lien Notes Claims (Principal Amount)
  Subordinated LP Units
  Common LP Units
  IDRs




                       [Joinder to the FELP Restructuring Support Agreement]
Case 20-41308   Doc 228   Filed 04/01/20 Entered 04/01/20 23:45:34    Main Document
                                    Pg 41 of 1005                           Exhibit A to
                                                            Notice and Instruction Form

                              DIP CREDIT AGREEMENT

                                    [See attached]
Case 20-41308   Doc 228   Filed 04/01/20 Entered 04/01/20 23:45:34    Main Document
                                    Pg 42 of 1005


                                                                    Execution Version


                      SENIOR SECURED SUPERPRIORITY

        DEBTOR-IN-POSSESSION CREDIT AND GUARANTY AGREEMENT

                                      among
                           FORESIGHT ENERGY LLC,

                                   as Borrower,
 FORESIGHT ENERGY LP AND CERTAIN SUBSIDIARIES OF FORESIGHT ENERGY
                                LLC,
                            as Guarantors,
                 CORTLAND CAPITAL MARKET SERVICES LLC,
                    as Administrative Agent and Collateral Agent,
                                        and
                           The Other Lenders Party Hereto
                             Dated as of March 11, 2020




                                       44789.00001
Case 20-41308                   Doc 228              Filed 04/01/20 Entered 04/01/20 23:45:34                                               Main Document
                                                               Pg 43 of 1005


                                                             TABLE OF CONTENTS
  Section                                                                                                                                               Page
 ARTICLE I DEFINITIONS AND ACCOUNTING TERMS ....................................................................................... 1
       1.01    Defined Terms .................................................................................................................................. 1
       1.02    Other Interpretive Provisions .......................................................................................................... 29
       1.03    Accounting Terms. .......................................................................................................................... 30
       1.04    Times of Day................................................................................................................................... 30
       1.05    LLC Division .................................................................................................................................. 30
 ARTICLE II THE COMMITMENTS AND CREDIT EXTENSIONS ....................................................................... 30
       2.01    The Loans........................................................................................................................................ 30
       2.02    Borrowings, Conversions and Continuations of the Loans. ............................................................ 31
       2.03    [Reserved]. ...................................................................................................................................... 32
       2.04    [Reserved]. ...................................................................................................................................... 32
       2.05    Prepayments. ................................................................................................................................... 32
       2.06    [Reserved]. ...................................................................................................................................... 34
       2.07    Repayment of Loans ....................................................................................................................... 34
       2.08    Interest. ........................................................................................................................................... 34
       2.09    Fees ................................................................................................................................................. 34
       2.10    Computation of Interest and Fees. .................................................................................................. 35
       2.11    Evidence of Debt............................................................................................................................. 36
       2.12    Payments Generally; Administrative Agent’s Clawback. ............................................................... 36
       2.13    Pro Rata; Sharing of Payments by Lenders ..................................................................................... 37
       2.14    [Reserved]. ...................................................................................................................................... 38
       2.15    [Reserved]. ...................................................................................................................................... 38
       2.16    [Reserved]. ...................................................................................................................................... 38
       2.17    [Reserved]. ...................................................................................................................................... 38
       2.18    Defaulting Lenders.......................................................................................................................... 38
       2.19    Priority and Liens; No Discharge. ................................................................................................... 39
 ARTICLE III TAXES, YIELD PROTECTION AND ILLEGALITY ........................................................................ 40
       3.01    Taxes. .............................................................................................................................................. 41
       3.02    Illegality .......................................................................................................................................... 43
       3.03    Inability to Determine Rates ........................................................................................................... 43
       3.04    Increased Costs; Reserves on Eurocurrency Rate Loans. ............................................................... 44
       3.05    Compensation for Losses ................................................................................................................ 46
       3.06    Mitigation Obligations; Replacement of Lenders. .......................................................................... 46
       3.07    Survival ........................................................................................................................................... 46
 ARTICLE IV CONDITIONS PRECEDENT .............................................................................................................. 47
       4.01   Conditions Precedent to the Closing Date....................................................................................... 47
       4.02   Conditions Precedent to Each Term Loan....................................................................................... 49
 ARTICLE V REPRESENTATIONS AND WARRANTIES ...................................................................................... 49
       5.01   Existence, Qualification and Power ................................................................................................ 50
       5.02   Authorization; No Contravention .................................................................................................... 50
       5.03   Governmental Authorization ........................................................................................................... 50
       5.04   Binding Effect ................................................................................................................................. 50
       5.05   Financial Conditions; No Material Adverse Effect. ........................................................................ 50
       5.06   Litigation. ........................................................................................................................................ 51
       5.07   No Default ....................................................................................................................................... 51
       5.08   Ownership and Identification of Property. ...................................................................................... 51
       5.09   Environmental Compliance ............................................................................................................. 52
       5.10   Insurance. ........................................................................................................................................ 52
       5.11   Taxes ............................................................................................................................................... 52
       5.12   ERISA Compliance ......................................................................................................................... 53
       5.13   Subsidiaries ..................................................................................................................................... 53
Case 20-41308                   Doc 228               Filed 04/01/20 Entered 04/01/20 23:45:34                                                     Main Document
                                                                Pg 44 of 1005


             5.14         Margin Regulations; Investment Company Act. ............................................................................. 53
             5.15         Disclosure ....................................................................................................................................... 53
             5.16         Compliance with Laws.................................................................................................................... 53
             5.17         Anti-Corruption; Sanctions; Terrorism Laws.................................................................................. 53
             5.18         Intellectual Property; Licenses, Etc................................................................................................. 54
             5.19         Security Interest in Collateral.......................................................................................................... 54
             5.20         Mines .............................................................................................................................................. 54
             5.21         [Reserved]. ...................................................................................................................................... 54
             5.22         Labor Relations ............................................................................................................................... 54
             5.23         Bankruptcy Related Matters. ........................................................................................................... 55
 ARTICLE VI AFFIRMATIVE COVENANTS .......................................................................................................... 55
       6.01   Financial Statements ....................................................................................................................... 55
       6.02   Certificates; Other Information ....................................................................................................... 56
       6.03   Notices ............................................................................................................................................ 57
       6.04   Payment of Tax Obligations............................................................................................................ 58
       6.05   Preservation of Existence, Etc......................................................................................................... 58
       6.06   Maintenance of Properties. ............................................................................................................. 58
       6.07   Maintenance of Insurance. .............................................................................................................. 58
       6.08   Compliance with Laws.................................................................................................................... 58
       6.09   Books and Records.......................................................................................................................... 59
       6.10   Inspection Rights ............................................................................................................................ 59
       6.11   Use of Proceeds............................................................................................................................... 59
       6.12   Additional Guarantors ..................................................................................................................... 59
       6.13   [Reserved]. ...................................................................................................................................... 59
       6.14   Preparation of Environmental Reports ............................................................................................ 59
       6.15   Certain Long Term Liabilities and Environmental Reserves .......................................................... 59
       6.16   Covenant to Give Security. ............................................................................................................. 60
       6.17   [Reserved] ....................................................................................................................................... 61
       6.18   Post Closing Covenants .................................................................................................................. 61
       6.19   ERISA ............................................................................................................................................. 61
       6.20   Lender Calls .................................................................................................................................... 61
       6.21   First and Second Day Orders .......................................................................................................... 61
       6.22   Milestones ....................................................................................................................................... 62
       6.23   Bankruptcy Notices ......................................................................................................................... 62
       6.24   Bankruptcy Related Matters ............................................................................................................ 62
       6.25   Chief Executive Officer .................................................................................................................. 63
 ARTICLE VII NEGATIVE COVENANTS................................................................................................................ 63
       7.01    Liens................................................................................................................................................ 63
       7.02    Investments ..................................................................................................................................... 66
       7.03    Indebtedness.................................................................................................................................... 67
       7.04    Fundamental Changes ..................................................................................................................... 69
       7.05    Dispositions..................................................................................................................................... 70
       7.06    Restricted Payments ........................................................................................................................ 71
       7.07    Change in Nature of Business ......................................................................................................... 71
       7.08    Transactions with Affiliates ............................................................................................................ 72
       7.09    Permitted Activities of General Partner and Holdings .................................................................... 72
       7.10    Use of Proceeds............................................................................................................................... 72
       7.11    [Reserved]. ...................................................................................................................................... 72
       7.12    Burdensome Agreements ................................................................................................................ 73
       7.13    [Reserved]. ...................................................................................................................................... 74
       7.14    Maximum Capital Expenditure ....................................................................................................... 74
       7.15    Fiscal Year ...................................................................................................................................... 74
       7.16    Sale and Lease-Backs...................................................................................................................... 74
       7.17    Amendments or Waivers of Organizational Documents ................................................................. 74
       7.18    Budget Variance.............................................................................................................................. 74


                                                                                      ii
Case 20-41308                   Doc 228              Filed 04/01/20 Entered 04/01/20 23:45:34                                                    Main Document
                                                               Pg 45 of 1005


             7.19         Minimum Liquidity ......................................................................................................................... 75
             7.20         [Reserved ........................................................................................................................................ 75
             7.21         Additional Bankruptcy Matters ....................................................................................................... 75
 ARTICLE VIII EVENTS OF DEFAULT AND REMEDIES..................................................................................... 76
       8.01    Events of Default ............................................................................................................................ 76
       8.02    Remedies Upon Event of Default ................................................................................................... 79
       8.03    [Reserved]. ...................................................................................................................................... 80
       8.04    Application of Funds....................................................................................................................... 80
 ARTICLE IX AGENTS .............................................................................................................................................. 80
       9.01   Appointment and Authority ............................................................................................................ 81
       9.02   Rights as a Lender ........................................................................................................................... 81
       9.03   Exculpatory Provisions ................................................................................................................... 81
       9.04   Reliance by Agents ......................................................................................................................... 82
       9.05   Delegation of Duties ....................................................................................................................... 83
       9.06   Resignation of Agent ...................................................................................................................... 83
       9.07   Non-Reliance on Agents and Other Lenders................................................................................... 84
       9.08   No Other Duties, Etc ....................................................................................................................... 84
       9.09   [Reserved]. ...................................................................................................................................... 84
       9.10   Guaranty and Collateral Matters. .................................................................................................... 84
       9.11   Withholding Tax ............................................................................................................................. 85
       9.12   Concerning the Collateral and Related Loan Documents ............................................................... 85
       9.13   Survival ........................................................................................................................................... 85
 ARTICLE X MISCELLANEOUS .............................................................................................................................. 85
       10.01 Amendments, Etc ............................................................................................................................ 85
       10.02 Notices; Effectiveness; Electronic Communication. ....................................................................... 87
       10.03 No Waiver; Cumulative Remedies.................................................................................................. 88
       10.04 Expenses; Indemnity; Damage Waiver. .......................................................................................... 89
       10.05 Marshalling; Payments Set Aside ................................................................................................... 90
       10.06 Successors and Assigns. .................................................................................................................. 91
       10.07 Treatment of Certain Information; Confidentiality ......................................................................... 94
       10.08 Right of Setoff................................................................................................................................. 95
       10.09 Usury Savings Clause ..................................................................................................................... 95
       10.10 Counterparts; Integration ................................................................................................................ 95
       10.11 Survival of Representations, Warranties and Agreements .............................................................. 95
       10.12 Severability ..................................................................................................................................... 96
       10.13 Replacement of Lenders.................................................................................................................. 96
       10.14 Governing Law; Jurisdiction; Etc. .................................................................................................. 97
       10.15 Waiver of Jury Trial ........................................................................................................................ 97
       10.16 USA PATRIOT Act Notice ............................................................................................................ 98
       10.17 Time of the Essence ........................................................................................................................ 98
       10.18 [Reserved]. ...................................................................................................................................... 98
       10.19 No Advisory or Fiduciary Responsibility ....................................................................................... 98
       10.20 [Reserved] ....................................................................................................................................... 98
       10.21 Release of Liens and Release from Guaranty. ................................................................................ 98
       10.22 Independence of Covenants ............................................................................................................ 99
       10.23 Independent Nature of Lenders’ Rights .......................................................................................... 99
       10.24 Acknowledgment and Consent to Bail-In of EEA Financial Institutions...................................... 100
 ARTICLE XI GUARANTY ...................................................................................................................................... 100
       11.01 Guaranty of the Obligations .......................................................................................................... 100
       11.02 [Reserved] ..................................................................................................................................... 100
       11.03 Payment by Guarantors ................................................................................................................. 100
       11.04 Liability of Guarantors Absolute .................................................................................................. 100
       11.05 Waivers by Guarantors.................................................................................................................. 102
       11.06 Guarantors’ Rights of Subrogation, Contribution, Etc .................................................................. 102


                                                                                     iii
Case 20-41308      Doc 228              Filed 04/01/20 Entered 04/01/20 23:45:34                                               Main Document
                                                  Pg 46 of 1005


      11.07   Subordination of Other Obligations .............................................................................................. 103
      11.08   Continuing Guaranty ..................................................................................................................... 103
      11.09   Authority of Guarantors or Borrower............................................................................................ 103
      11.10   Financial Condition of Borrower .................................................................................................. 103




                                                                      iv
Case 20-41308     Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34     Main Document
                                           Pg 47 of 1005


 SCHEDULES

     1.01(a)   Guarantors
        2.01   Commitments, Roll-Up Loans, Applicable Percentages
        2.02   Backstop Commitments
     5.08(b)   Fee Owned Material Real Property
     5.08(c)   Leased Material Real Property
        5.09   Environmental Matters
        5.13   Subsidiaries
        5.18   Intellectual Property
        5.20   Mines
        6.18   Post Closing Covenants
        7.01   Existing Liens
        7.02   Existing Investments
        7.03   Existing Indebtedness
        7.05   Specified Dispositions
        7.08   Transactions with Affiliates
        7.12   Burdensome Agreements
       10.02   Administrative Agent’s Office; Certain Addresses for Notices

 EXHIBITS

                Form of:
                 A   Borrowing Notice
                 B   Collateral Questionnaire
               C-1   Term Loan Note
               C-2   Roll-Up Loan Note
                 D   Compliance Certificate
                 E   Assignment and Assumption
                 F   [Reserved]
                 G   [Reserved]
                 H   Critical Vendor Report
                  I  Monthly Mine-Level Financial Report
                 J   Monthly Consolidated Financial Report
                 K   Interim Order
                 L   [Reserved]
               M-1   U.S. Tax Compliance Certificate
               M-2   U.S. Tax Compliance Certificate
               M-3   U.S. Tax Compliance Certificate
               M-4   U.S. Tax Compliance Certificate




                                                     v
Case 20-41308          Doc 228       Filed 04/01/20 Entered 04/01/20 23:45:34                     Main Document
                                               Pg 48 of 1005


                                SENIOR SECURED SUPERPRIORITY
                    DEBTOR-IN-POSSESSION CREDIT AND GUARANTY AGREEMENT

          This SENIOR SECURED SUPERPRIORITY DEBTOR-IN-POSSESSION CREDIT AND GUARANTY
 AGREEMENT (as amended, supplemented or otherwise modified, the “Agreement”) is entered into as of March 11,
 2020, among FORESIGHT ENERGY LLC, a Delaware limited liability company, as a debtor and debtor-in-
 possession, as borrower (the “Borrower”), FORESIGHT ENERGY GP LLC, a Delaware limited liability company,
 as a debtor and debtor-in-possession (the “General Partner”), FORESIGHT ENERGY LP, a Delaware limited
 partnership, as a debtor and debtor-in-possession (“Holdings”), CERTAIN SUBSIDIARIES OF BORROWER, each
 as a debtor and debtor-in-possession, as Guarantors, each lender from time to time party hereto (collectively, the
 “Lenders” and, individually, a “Lender”) and Cortland Capital Market Services LLC, as Administrative Agent and
 Collateral Agent.

                                          PRELIMINARY STATEMENTS

          WHEREAS, on March 10, 2020 (the “Petition Date”), the General Partner, Holdings, the Borrower and
 certain Subsidiaries of Borrower (collectively, the “Debtors” and each individually, a “Debtor”) have commenced
 cases (the “Chapter 11 Cases”) under Chapter 11 of the Bankruptcy Code in the Bankruptcy Court (as defined below)
 and the Debtors have retained possession of their assets and are authorized under the Bankruptcy Code to continue
 the operations of their businesses as debtors-in-possession;

           WHEREAS, the Debtors have asked the Lenders to make post-petition term loans and provide other financial
 or credit accommodations to the Borrower, and the Lenders have agreed, subject to the conditions set forth herein, to
 extend a senior secured multi-draw credit facility to the Borrower with all of the obligations with respect to the
 foregoing to be guaranteed by each Guarantor; and

           WHEREAS, the Lenders have severally, and not jointly, agreed to extend such credit to the Borrower subject
 to the terms and conditions hereinafter set forth;

         NOW, THEREFORE, in consideration of the premises and the agreements, provisions and covenants herein
 contained, the parties hereto agree as follows:

          In consideration of the mutual covenants and agreements herein contained, the parties hereto covenant and
 agree as follows:

                                               ARTICLE I
                                  DEFINITIONS AND ACCOUNTING TERMS

          1.01    Defined Terms. As used in this Agreement, the following terms shall have the meanings set forth
 below:

         “Acceptable Plan” means a Reorganization Plan of the Debtors that is consistent with the Restructuring
 Support Agreement or otherwise satisfactory to the Required Lenders (as the same may be amended, supplemented,
 or modified from time to time after entry thereof with the consent of the Required Lenders).

          “Accounting Change” means changes in accounting principles after the Closing Date required by the
 promulgation of any rule, regulation, pronouncement or opinion by the Financial Accounting Standards Board or, if
 applicable, the SEC.

           “Acceptable Disclosure Statement” means the Disclosure Statement relating to the Acceptable Plan in form
 and substance satisfactory to the Required Lenders (as the same may be amended, supplemented, or modified from
 time to time after the initial filing thereof with the consent of the Required Lenders).

          “Administrative Agent” means Cortland Capital Market Services LLC, in its capacity as the administrative
 agent, together with its successors and assigns.



                                                          1
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                       Main Document
                                                 Pg 49 of 1005


           “Administrative Agent’s Office” means the Administrative Agent’s address and, as appropriate, account as
 set forth on Schedule 10.02, or such other address or account as the Administrative Agent may from time to time
 notify to the Borrower and the Lenders.

         “Administrative Questionnaire” means an Administrative Questionnaire in a form supplied by the
 Administrative Agent.

          “Affiliate” means, with respect to any Person, another Person that directly, or indirectly through one or more
 intermediaries, Controls or is Controlled by or is under common Control with the Person specified.

          “Affiliated Lender” means any Lender that is an Affiliate of any Loan Party.

          “Agency Fee Letter” means a fee agreement separately agreed to by the Borrower and the Agents.

           “Agent Parties” has the meaning specified in Section 10.02(c).

          “Agents” means the Administrative Agent and the Collateral Agent.

          “Aggregate Commitments” means the Commitments of all of the Lenders.

          “Agreement” has the meaning specified in the introductory paragraph to this Agreement.

          “Anti-Corruption Laws” has the meaning specified in Section 5.17(c).

           “Applicable Percentage” means (i) (a) in respect of the Initial Term Loan Facility, with respect to any Term
 Lender at any time, the percentage (carried out to the tenth decimal place) of the aggregate principal amount of the
 Term Loan Facility represented by the principal amount of such Term Lender’s Initial Term Loan Commitment and/or
 Initial Term Loans outstanding at such time and (b) in respect of the Delayed Draw Term Loan Facility, with respect
 to any Term Lender at any time, the percentage (carried out to the tenth decimal place) of the aggregate principal
 amount of the Delayed Draw Term Loan Facility represented by the principal amount of such Term Lender’s Delayed
 Draw Term Loan Commitment and/or the Delayed Draw Term Loans outstanding at such time; provided that, if the
 commitment of each Term Lender to make Delayed Draw Term Loans have been terminated pursuant to Section 8.02,
 or if the Delayed Draw Term Loan Commitments have expired, then the Applicable Percentage of each Term Lender
 in respect of the Delayed Draw Term Loan Facility shall be determined based on the Applicable Percentage of such
 Lender in respect of the Delayed Draw Term Loan Facility most recently in effect, giving effect to any subsequent
 assignments, (ii) in respect of the Roll-Up Facility, with respect to any Roll-Up Lender, at any time, the percentage
 (carried out to the tenth decimal place) of the aggregate principal amount of the Roll-Up Facility represented by the
 principal amount of such Roll-Up Lender’s Roll-Up Loans at such time (the initial Applicable Percentage of each
 Roll-Up Lender as of the Closing Date in respect of the Roll-Up Facility is set forth on Schedule 2.01(a) and, thereafter,
 in the Assignment and Assumption pursuant to which such Lender becomes a party hereto, as applicable), and (iii)
 with respect to each Lender, the percentage (carried out to the tenth decimal place) of the aggregate principal amount
 of all Facilities represented by the principal amount of such Lender’s Loans and/or Commitment at such time.

           “Applicable Rate” means, in the case of any Loans, (i) 11.00% per annum for Eurocurrency Rate Loans and
 (ii) 10.00% per annum for Base Rate Loans.

          “Applicable Reserve Requirement” means, at any time, for any Eurocurrency Rate Loan, the maximum rate,
 expressed as a decimal, at which reserves (including any basic marginal, special, supplemental, emergency or other
 reserves) are required to be maintained with respect thereto against “Eurocurrency liabilities” (as such term is defined
 in Regulation D) under regulations issued from time to time by the Board of Governors or other applicable banking
 regulator. Without limiting the effect of the foregoing, the Applicable Reserve Requirement shall reflect any other
 reserves required to be maintained by such member banks with respect to (i) any category of liabilities which includes
 deposits by reference to which the applicable Eurocurrency Rate or any other interest rate of a Loan is to be
 determined, or (ii) any category of extensions of credit or other assets which include Eurocurrency Rate Loans. A
 Eurocurrency Rate Loan shall be deemed to constitute Eurocurrency liabilities and as such shall be deemed subject to



                                                             2
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                        Main Document
                                                 Pg 50 of 1005


 reserve requirements without benefits of credit for proration, exceptions or offsets that may be available from time to
 time to the applicable Lender. The rate of interest on Eurocurrency Rate Loans shall be adjusted automatically on and
 as of the effective date of any change in the Applicable Reserve Requirement.

         “Approved Fund” means any Fund that is administered or managed by (a) a Lender, (b) an Affiliate of a
 Lender or (c) an entity or an Affiliate of an entity that administers or manages a Lender.

        “Assignee Group” means two or more Eligible Assignees that are Affiliates of one another or two or more
 Approved Funds managed by the same investment advisor.

          “Assignment and Assumption” means an assignment and assumption entered into by a Lender and an Eligible
 Assignee (with the consent of any party whose consent is required by Section 10.06(b), and accepted by the
 Administrative Agent) in substantially the form of Exhibit E (with such modifications as are necessary to reflect any
 effective amendment, amendment and restatement or other modification of this Agreement at the time of delivery
 thereof) or any other form approved by the Administrative Agent, in accordance with Section 10.06(b).

          “Attributable Indebtedness” means, on any date, in respect of any Capital Lease Obligations of any Person,
 the capitalized amount thereof that would appear on a balance sheet of such Person prepared as of such date in
 accordance with GAAP.

          “Automatic Rejection Date” means with respect to any particular lease, the last day of the assumption period
 for the Loan Parties in the Chapter 11 Cases provided for in Section 365(d)(4) of the Bankruptcy Code, to the extent
 applicable (including as may have been extended in accordance with Section 365(d)(4) of the Bankruptcy Code).

          “Avoidance Action” has the meaning specified in Section 5.23(c).

        “Backstop Commitment” means, with respect to any Backstop Lender, the commitment to provide loans in
 an amount set forth opposite its name on Schedule 2.02.

          “Backstop Commitment Agreement” means “Backstop Commitment Agreement” as defined in the
 Restructuring Support Agreement.

           “Backstop Lenders” means the Lenders listed on Schedule 2.02 (collectively, on behalf of themselves or
 certain (i) of their affiliates or their affiliated investment funds, or (ii) investment funds, accounts, vehicles or other
 entities that are managed, advised or sub-advised by a member of the Backstop Lenders or their affiliate).

          “Bail-In Action” means the exercise of any Write-Down and Conversion Powers by the applicable EEA
 Resolution Authority in respect of any liability of an EEA Financial Institution.

         “Bail-In Legislation” means, with respect to any EEA Member Country implementing Article 55 of Directive
 2014/59/EU of the European Parliament and of the Council of the European Union, the implementing law for such
 EEA Member Country from time to time which is described in the EU Bail-In Legislation Schedule.

           “Bankruptcy Code” means Title 11 of the United States Code entitled “Bankruptcy,” as now and hereafter in
 effect, or any successor thereto.

          “Bankruptcy Court” means the United States Bankruptcy Court for the Eastern District of Missouri, or any
 other court having jurisdiction over the Chapter 11 Cases from time to time.

           “Base Rate” means for any day a fluctuating rate per annum equal to the highest of (a) the Federal Funds
 Rate plus 0.50%, (b) the Eurocurrency Rate (after giving effect to any Eurocurrency Rate “floor”) that would be
 payable on such day for a Eurocurrency Rate Loan with a one month Interest Period plus 1%, and (c) the Prime Rate
 in effect on such day. Any change in the Base Rate due to a change in the Prime Rate or the Federal Funds Rate shall
 be effective on the effective day of such change in the Prime Rate or the Federal Funds Rate, respectively. In no
 event, notwithstanding the rate determined pursuant to the foregoing, shall the Base Rate be less than 2.00%.



                                                             3
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                         Main Document
                                                 Pg 51 of 1005


          “Base Rate Loan” means any Loan that bears interest based on the Base Rate.

          “Beneficiary” means each Agent and Lender.

            “Board of Directors” means, (a) with respect to the Borrower, the board of directors of the General Partner
 and (b) with respect to any other Person, (i) if the Person is a corporation, the board of directors of the corporation,
 (ii) if the Person is a partnership, the board of directors of the general partner of the partnership and (iii) with respect
 to any other Person, the board, committee or other group or entity of such Person serving a similar function.

          “Borrower” has the meaning specified in the introductory paragraph hereto.

          “Borrower Materials” has the meaning specified in Section 6.02.

         “Borrowing” means a borrowing consisting of Term Loans of the same Type and, in the case of Eurocurrency
 Rate Loans, having the same Interest Period.

          “Borrowing Notice” means a written notice of a Borrowing in the form of Exhibit A attached hereto.

            “Budget Variance Report” means a weekly variance report, commencing with a variance report for the one
 week period following the Closing Date, the two week period following the Closing Date, the three week period
 following the Closing Date and the four week period following the Closing Date, and thereafter a weekly variance
 report for the one week period following the most recently delivered Cash Flow Forecast, the two week period
 following the most recently delivered Cash Flow Forecast, the three week period following the most recently delivered
 Cash Flow Forecast and the four week period following the most recently delivered Cash Flow Forecast, with the
 report for each week in a four week period including an individual report for such week and a cumulative report to
 date for such four week period (each such one week, two week, three week or four week cumulative period, a
 “Reporting Period”), in each case, setting forth for the applicable Reporting Period ended on the immediately
 preceding Friday prior to the delivery thereof (1) the negative variance (as compared to the applicable Cash Flow
 Forecast and the DIP Budget) of the operating cash receipts (on a line item by line item basis and an aggregate basis
 for all line items) of the Debtors for the applicable Reporting Period and for the last week of the applicable Reporting
 Period, (2) the positive variance (as compared to the applicable Cash Flow Forecast and the DIP Budget) of the
 disbursements (on a line item by line item basis and an aggregate basis for all line items) made by the Debtors set
 forth under “MEC Affiliate Disbursements” in the Cash Flow Forecast (including, without limitation, any payments
 pursuant to the Management Services Agreement) for the applicable Reporting Period and for the last week of the
 applicable Reporting Period, (3) the positive variance (as compared to the applicable Cash Flow Forecast and the DIP
 Budget) of the total disbursements (on a line item by line item basis and an aggregate basis for all line items) (excluding
 professional fees, interest payments and disbursements made by the Debtors set forth under “MEC Affiliate
 Disbursements” in the Cash Flow Forecast (including, without limitation, any payments pursuant to the Management
 Services Agreement)) made by the Debtors for the applicable Reporting Period and for the last week of the applicable
 Reporting Period and (4) an explanation, in reasonable detail, for any material negative variance (in the case of
 receipts) or material positive variance (in the case of disbursements) set forth in such variance report, certified by a
 Responsible Officer of the Borrower.

           “Building” means a Building as defined in 12 CFR Chapter III, Section 339.2.

          “Business” has the meaning specified in Section 5.09(b).

          “Business Day” means (i) any day excluding Saturday, Sunday and any day on which banking institutions
 located in the State of New York are authorized or required by Law or other governmental action to close and (ii) with
 respect to all notices, determinations, fundings and payments in connection with the Eurocurrency Rate or any
 Eurocurrency Rate Loans, the term “Business Day” means any day which is a Business Day described in clause (i)
 and which is also a day for trading by and between banks in Dollar deposits in the London interbank market.

         “Capital Expenditures” means, for any Person for any period, the sum of, without duplication, all
 expenditures made by such Person during such period that, in accordance with GAAP as in effect on March 28, 2017,



                                                              4
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                         Main Document
                                                 Pg 52 of 1005


 are or should be included in “purchase of property and equipment” or similar items, or which should otherwise be
 capitalized, reflected in the statement of cash flows of such Person; provided that Capital Expenditures shall not
 include any expenditure for replacements and substitutions for fixed assets, capital assets or equipment to the extent
 made with Net Insurance/Condemnation Proceeds invested pursuant to Section 2.05(h) or with Net Proceeds invested
 pursuant to Section 2.05(e) or the substantially concurrent trade-in of existing equipment (solely to the extent of the
 value of the trade-in).

          “Capital Lease” means, with respect to any Person, any lease of any property, which in conformity with
 GAAP as in effect on March 28, 2017, is required to be capitalized on the balance sheet of such Person; provided that
 the obligations of the Borrower or its Subsidiaries, or of a special purpose or other entity not consolidated with the
 Borrower and its Subsidiaries, either existing on the date hereof or created thereafter that (a) initially were not included
 on the consolidated balance sheet of the Borrower as a Capital Lease and were subsequently recharacterized as a
 Capital Lease or, in the case of such a special purpose or other entity becoming consolidated with the Borrower and
 its Subsidiaries were required to be characterized as a Capital Lease upon such consolidation, in either case, due to a
 change in accounting treatment or otherwise, or (b) did not exist on the date hereof and were required to be
 characterized as a Capital Lease but would not have been required to be treated as capital lease obligations on the date
 hereof had they existed at that time, shall for all purposes not be treated as a Capital Lease, Capital Lease Obligations
 or Indebtedness.

            “Capital Lease Obligations” means, with respect to any Person as of any date of determination, the aggregate
 liability of such Person under Capital Leases reflected on a balance sheet of such Person under GAAP as in effect on
 March 28, 2017; provided that the obligations of the Borrower or its Subsidiaries, or of a special purpose or other
 entity not consolidated with the Borrower and its Subsidiaries, either existing on the date hereof or created thereafter
 that (a) initially were not included on the consolidated balance sheet of the Borrower as a capital lease obligations and
 were subsequently recharacterized as capital lease obligations or, in the case of such a special purpose or other entity
 becoming consolidated with the Borrower and its Subsidiaries were required to be characterized as capital lease
 obligations upon such consolidation, in either case, due to a change in accounting treatment or otherwise, or (b) did
 not exist on the date hereof and were required to be characterized as capital lease obligations but would not have been
 required to be treated as capital lease obligations on the date hereof had they existed at that time, shall for all purposes
 not be treated as Capital Leases, Capital Lease Obligations or Indebtedness.

          “Capital Stock” means (a) in the case of a corporation, corporate stock, (b) in the case of an association or
 business entity, any and all shares, interests, participations rights or other equivalents (however designated) of
 corporate stock, (c) in the case of a partnership or limited liability company, partnership interests (whether general or
 limited) or membership interests, and (d) any other interest or participation that confers on a Person the right to receive
 a share of the profits and losses of, or distributions of assets of, the issuing Person, but excluding from all of the
 foregoing any debt securities convertible into Capital Stock, whether or not such debt securities include any right of
 participation with Capital Stock.

          “Carve Out” means the Carve Out as defined in the Interim Order or the Final Order, as applicable.

          “Cash Equivalents” means

          (a)       U.S. Government Obligations or certificates representing an ownership interest in U.S. Government
                    Obligations with maturities not exceeding two years from the date of acquisition,

          (b)       (i) demand deposits, (ii) time deposits and certificates of deposit with maturities of two years or less
                    from the date of acquisition, (iii) bankers’ acceptances with maturities not exceeding two years from
                    the date of acquisition, and (iv) overnight bank deposits, in each case with any bank or trust company
                    organized or licensed under the Laws of the United States or any state thereof (including any branch
                    of a foreign bank licensed under any such Laws) having capital, surplus and undivided profits in
                    excess of $250,000,000 (or the foreign currency equivalent thereof) whose short-term debt is rated
                    A-2 or higher by S&P or P-2 or higher by Moody’s,

          (c)       commercial paper maturing within 364 days from the date of acquisition thereof and having, at such
                    date of acquisition, ratings of at least A-1 by S&P or P-1 by Moody’s,


                                                              5
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                       Main Document
                                                 Pg 53 of 1005


          (d)      readily marketable direct obligations issued by any state, commonwealth or territory of the U.S. or
                   any political subdivision thereof, in each case rated at least A-1 by S&P or P-1 by Moody’s with
                   maturities not exceeding one year from the date of acquisition,

          (e)      bonds, debentures, notes or other obligations with maturities not exceeding two years from the date
                   of acquisition issued by any corporation, partnership, limited liability company or similar entity
                   whose long-term unsecured debt has a credit rating of A2 or better by Moody’s and A or better by
                   S&P;

          (f)      investment funds at least 95% of the assets of which consist of investments of the type described in
                   clauses (a) through (e) above (determined without regard to the maturity and duration limits for such
                   investments set forth in such clauses, provided that the weighted average maturity of all investments
                   held by any such fund is two years or less),

          (g)      fully collateralized repurchase agreements with a term of not more than 30 days for securities
                   described in clause (a) above and entered into with a financial institution satisfying the criteria
                   described in clause (b) above and

          (h)      in the case of a Subsidiary that is a Foreign Subsidiary, substantially similar investments, of
                   comparable credit quality, denominated in the currency of any jurisdiction in which such Person
                   conducts business.

          “Cash Flow Forecast” means a projected statement of sources and uses of cash for the Loan Parties, prepared
 in accordance with Section 6.01(d), for the current and following 13 calendar weeks (but not any preceding weeks),
 including the anticipated uses of the proceeds of any Borrowing for each week during such period. As used herein,
 “Cash Flow Forecast” shall initially refer to the 13-week cash flow forecast most recently delivered on or prior to the
 Petition Date and, thereafter, the most recent Cash Flow Forecast delivered by the Borrower in accordance with
 Section 6.01(d).

          “Cash Management Agreement” has the meaning specified in the definition of “Cash Management
 Obligations”.

         “Cash Management Motion” means the Debtors’ Motion for Entry of Interim and Final Orders (A)
 Authorizing Continued Use of the Debtors’ Existing Cash Management System; (B) Authorizing Use of Existing
 Bank Accounts And Business Forms; (C) Granting a Limited Waiver of Requirements of Section 345(B) of the
 Bankruptcy Code; (D) Authorizing Continuation of Ordinary Course Intercompany Transactions; (E) Granting
 Administrative Expense Priority Status to Postpetition Intercompany Claims; and (F) Granting Related Relief Docket
 No.4.

           “Cash Management Obligations” means any and all obligations of the Borrower or any Subsidiary arising
 out of (a) the execution or processing of electronic transfers of funds by automated clearing house transfer, wire
 transfer or otherwise to or from the deposit accounts of the Borrower and/or any Subsidiary now or hereafter
 maintained with any financial institution or affiliate thereof, (b) the acceptance for deposit or the honoring for payment
 of any check, draft or other item with respect to any such deposit accounts, (c) any other treasury, deposit,
 disbursement, overdraft, and cash management services afforded to the Borrower or any Subsidiary by any such
 financial institution or affiliate thereof, and (d) stored value card, commercial credit card and merchant card services
 (any agreement to provide services described in clause (a), (b), (c) and/or (d), a “Cash Management Agreement”) or
 otherwise arising under a Cash Management Obligations.

           “Change in Law” means the occurrence, after the date of this Agreement, of any of the following: (a) the
 adoption or taking effect of any law, rule, regulation or treaty, (b) any change in any law, rule, regulation or treaty or
 in the administration, interpretation or application thereof by any Governmental Authority or (c) the making or
 issuance of any request or directive (whether or not having the force of law) by any Governmental Authority required
 to be complied with by any Lender. For purposes of this definition, (x) the Dodd-Frank Act and any rules, regulations,
 orders, requests, guidelines and directives adopted, promulgated or implemented in connection therewith, and (y) all



                                                             6
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                        Main Document
                                                 Pg 54 of 1005


 requests, rules, guidelines or directives promulgated by the Bank for International Settlements, the Basel Committee
 on Banking Supervision (or any successor or similar authority) or the United States regulatory authorities, in each
 case pursuant to Basel III, shall in each case be deemed to have been adopted, issued, promulgated or implemented
 after the Closing Date, but shall be included as a Change in Law only to the extent a Lender is imposing applicable
 increased costs or costs in connection with capital adequacy and other requirements similar to those described in
 Sections 3.04(a) and 3.04(b) generally on other similarly situated borrowers of loans under United States credit
 facilities.

          “Change of Control” means

           (a)     the first day on which (i) 100% of the outstanding Capital Stock of Borrower ceases to be owned
 directly by Holdings, (ii) the direct or indirect sale, lease, transfer, conveyance or other disposition (other than by way
 of merger of consolidation), in one or a series of related transactions, of all or substantially all of the properties or
 assets of the Borrower and its Subsidiaries, taken as a whole, to any Person (including any “person” (as that term is
 used in Section 13(d)(3) of the Exchange Act)), or (iii) the adoption of a plan relating to the liquidation or dissolution
 of the Borrower; or

         (b)       the Borrower becomes aware (by way of a report or any other filings pursuant to Section 13(d) of
 the Exchange Act, proxy, vote, written notice or otherwise) that any “person” or “group” (as such terms are used for
 purposes of Sections 13(d) and 14(d) of the Exchange Act), other than any of the Permitted Holders, is or becomes
 the “beneficial owner” (as such term is used in Rule 13d-3 under the Exchange Act), directly or indirectly, of more
 than 50% of the total voting power of the Voting Stock of the Borrower or the General Partner.

          “Chapter 11 Cases” shall have the meaning assigned to such term in the recitals to this Agreement.

          “Closing Date” means the date on which all the conditions precedent in Section 4.01 are satisfied or waived
 in accordance with Section 10.01 and the Initial Term Loans are made.

          “Coal Liens” means:

           (1)      Liens incurred in the ordinary course of business on any specific coal producing property or any
 interest therein, construction thereon or improvement thereto to secure all or any part of the costs incurred for
 surveying, exploration, drilling, extraction, development, operation, production, construction, alteration, repair or
 improvement of, in, under or on such property and the plugging and abandonment of coal mines located thereon (it
 being understood that costs incurred for “development” shall include costs incurred for all facilities relating to such
 coal producing properties or to projects, ventures or other arrangements of which such properties form a part or which
 relate to such coal producing properties or interests) as long as such Liens do not secure obligations for the payment
 of borrowed money or other Indebtedness;

          (2)      Liens incurred in the ordinary course of business on a coal producing property to secure obligations
 incurred or guarantees of obligations incurred in connection with or necessarily incidental to commitments for the
 purchase or sale of, or the transportation or distribution of, the products derived from such coal producing property as
 long as such Liens do not secure obligations for the payment of borrowed money or other Indebtedness;

          (3)       Liens arising in the ordinary course of business under partnership agreements, coal leases,
 overriding royalty agreements, joint operating agreements or similar agreements, net profits agreements, production
 payment agreements, royalty trust agreements, incentive compensation programs on terms that are reasonably
 customary in the coal business for geologists, geophysicists and other providers of technical services to any of the
 Borrower or any of its Subsidiaries, master limited partnership agreements, farm-out agreements, farm-in agreements,
 division orders, contracts for the sale, purchase, exchange, transportation, gathering or processing of coal, unitizations
 and pooling designations, declarations, orders and agreements, development agreements, operating agreements,
 production sales contracts, area of mutual interest agreements, gas balancing or deferred production agreements,
 injection, repressuring and recycling agreements, salt water or other disposal agreements, seismic or geophysical
 permits or agreements, and other agreements which are customary in the coal business as long as such Liens do not




                                                             7
Case 20-41308          Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                        Main Document
                                                Pg 55 of 1005


 secure obligations for the payment of borrowed money or other Indebtedness and attach solely to the proceeds of sales
 of the products derived from such coal producing property; and

          (4)      Liens pursuant to contract mining agreements and leases granted in the ordinary course of business
 to others that do not interfere with the ordinary conduct of business of the Borrower or its Subsidiaries and do not
 secure obligations for the payment of borrowed money or other Indebtedness.

         “Code” means the Internal Revenue Code of 1986, as amended from time to time (unless as indicated
 otherwise).

           “Collateral” means, collectively, (i) all of the real, personal and mixed property and assets (including Equity
 Interests) in which Liens are purported to be granted pursuant to the Security Documents as security for all or any part
 of the Obligations (subject to exceptions contained in the Security Documents), in each case excluding any Excluded
 Assets, and (ii) “DIP Collateral” or words of similar intent, as defined in any Order.

          “Collateral Agent” means Cortland Capital Market Services LLC, in its capacity as the collateral agent,
 together with its successors and assigns.

          “Collateral Questionnaire” means a certificate in the form of Exhibit B that provides information with respect
 to the personal or mixed property of each Loan Party.

          “Commitment” means, with respect to any Lender, such Lender’s (i) Initial Term Loan Commitment and/or
 (ii) Delayed Draw Term Loan Commitment, as the context shall require.

         “Commodity Exchange Act” means the Commodity Exchange Act (7 U.S.C. § 1 et seq.), as amended and
 any successor statute.

         “Compliance Certificate” means a certificate substantially in the form of Exhibit D (with such modifications
 as are necessary to reflect any effective amendment, amendment and restatement or other modification of this
 Agreement at the time of delivery thereof).

         “Consenting First Lien Lender” means “Consenting First Lien Lender” as defined in the Restructuring
 Support Agreement.

        “Connection Income Taxes” means Other Connection Taxes that are imposed on or measured by net income
 (however denominated) or that are franchise Taxes or branch profits Taxes.

          “Contract” has the meaning specified in the definition of Excluded Assets.

          “Contractual Obligation” means, as to any Person, any provision of any security issued by such Person or of
 any agreement, instrument or other undertaking to which such Person is a party or by which it or any of its property
 is bound.

         “Control” means the possession, directly or indirectly, of the power to direct or cause the direction of the
 management or policies of a Person, whether through the ability to exercise voting power, by contract or otherwise.
 “Controlling” and “Controlled” have meanings correlative thereto.

          “Controlled Subsidiary” means, with respect to any consent, waiver or right to terminate or accelerate the
 obligations under a Contract, any Subsidiary that the Borrower directly or indirectly Controls for purposes of the
 provision of such consent, waiver or exercise of such right to terminate or accelerate the obligations under such
 Contract.

          “Credit Extension” means the making of a Loan.




                                                            8
Case 20-41308           Doc 228         Filed 04/01/20 Entered 04/01/20 23:45:34                         Main Document
                                                  Pg 56 of 1005


           “Critical Vendor Report” means a report, in a form acceptable to the Financial Advisor (it being agreed that
 the form previously provided to the Financial Advisor prior to the Closing Date is acceptable), describing in reasonable
 detail the matter set forth in Exhibit H.

           “Debtor Relief Laws” means (i) the Bankruptcy Code, (ii) any domestic or foreign law relating to liquidation,
 conservatorship, bankruptcy, assignment for the benefit of creditors, moratorium, rearrangement, receivership,
 insolvency, reorganization, or similar debtor relief Laws of the United States or other applicable jurisdictions from
 time to time in effect and affecting the rights of creditors generally, and (iii) any order made by a court of competent
 jurisdiction in respect of any of the foregoing.

          “Debtors” shall have the meaning assigned to such term in the recitals to this Agreement.

          “Declined Proceeds” has the meaning specified in Section 2.05(l).

           “Default” means any event or condition that constitutes an Event of Default or that, with the giving of any
 notice, the passage of time, or both, would be an Event of Default.

           “Default Rate” means, with respect to Obligations, an interest rate equal to (i) the Base Rate plus (ii) the
 Applicable Rate applicable to Base Rate Loans, plus (iii) 2% per annum; provided, however, that with respect to a
 Eurocurrency Rate Loan, the Default Rate shall be an interest rate equal to (i) the Eurocurrency Rate otherwise
 applicable to such Eurocurrency Rate Loan plus (ii) the Applicable Rate applicable to Eurocurrency Rate Loans plus
 (iii) 2% per annum.

           “Defaulting Lender” means, subject to the last paragraph of Section 2.18, any Lender that (a) has failed to (i)
 fund all or any portion of its Loans within two Business Days of the date such Loans were required to be funded
 hereunder unless such Lender notifies the Administrative Agent and the Borrower in writing that such failure is the
 result of such Lender’s determination that one or more conditions precedent to funding (each of which conditions
 precedent, together with any applicable default, shall be specifically identified in such writing) has not been satisfied,
 or (ii) pay to any Agent, or any other Lender any other amount required to be paid by it hereunder within two Business
 Days of the date when due, (b) has notified the Borrower and the Administrative Agent in writing that it does not
 intend to comply with its funding obligations hereunder, or has made a public statement to that effect (unless such
 writing or public statement relates to such Lender’s obligation to fund a Loan hereunder and states that such position
 is based on such Lender’s determination that a condition precedent to funding (which condition precedent, together
 with any applicable default, shall be specifically identified in such writing or public statement) cannot be satisfied),
 (c) has failed, within three Business Days after written request by the Administrative Agent or the Borrower, to
 confirm in writing to the Administrative Agent and the Borrower that it will comply with its prospective funding
 obligations hereunder (provided that such Lender shall cease to be a Defaulting Lender pursuant to this clause (c)
 upon receipt of such written confirmation by the Administrative Agent and the Borrower), or (d) has, or has a direct
 or indirect parent company that has, (i) become the subject of a proceeding under any Debtor Relief Law, (ii) had
 appointed for it a receiver, custodian, conservator, trustee, administrator, assignee for the benefit of creditors or similar
 Person charged with reorganization or liquidation of its business or assets, including the Federal Deposit Insurance
 Corporation or any other state or federal regulatory authority acting in such a capacity or (iii) become the subject of a
 Bail-In Action; provided that a Lender shall not be a Defaulting Lender solely by virtue of the ownership or acquisition
 of any equity interest in that Lender or any direct or indirect parent company thereof by a Governmental Authority so
 long as such ownership interest does not result in or provide such Lender with immunity from the jurisdiction of courts
 within the United States or from the enforcement of judgments or writs of attachment on its assets or permit such
 Lender (or such Governmental Authority) to reject, repudiate, disavow or disaffirm any contracts or agreements made
 with such Lender. Any determination by the Administrative Agent that a Lender is a Defaulting Lender under any
 one or more of clauses (a) through (d) above, and of the effective date of such status, shall be conclusive and binding
 absent manifest error, and such Lender shall be deemed to be a Defaulting Lender (subject to the last paragraph of
 Section 2.18) as of the date established therefor by the Administrative Agent in a written notice of such determination
 to the Borrower and each other Lender promptly following such determination.

           “Delayed Draw Funding Date” means the date on which all the conditions precedent in Section 4.02 are
 satisfied or waived in accordance with Section 10.01 and the Delayed Draw Term Loans are made.



                                                              9
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                         Main Document
                                                 Pg 57 of 1005


         “Delayed Draw Term Lender” means any Term Lender holding Delayed Draw Term Loan Commitment
 and/or Delayed Draw Term Loans.

          “Delayed Draw Term Loan” has the meaning set forth in Section 2.01(a).

          “Delayed Draw Term Loan Commitment” means, as to each Lender, its obligation to make Delayed Draw
 Term Loans to the Borrower pursuant to Section 2.01(b) in an aggregate principal amount at any one time outstanding
 not to exceed the amount set forth opposite such Lender’s name on Schedule 2.01 under the caption “Delayed Draw
 Term Loan Commitment” or opposite such caption in the Assignment and Assumption pursuant to which such Lender
 becomes a party hereto, as applicable, as such amount may be adjusted from time to time in accordance with this
 Agreement. The aggregate amount of Delayed Draw Term Loan Commitments as of the Closing Date is $45,000,000.

          “Delayed Draw Term Loan Commitment Fee” has the meaning set forth in Section 2.09(e).

          “Delayed Draw Term Loan Facility” means, at any time (a) prior to the funding of the Delayed Draw Term
 Loans on the Delayed Draw Funding Date, the aggregate Delayed Draw Term Loan Commitments at such time and
 (b) on and after the funding of the Delayed Draw Term Loans on the Delayed Draw Funding Date, the aggregate
 principal amount of the Delayed Draw Term Loans of all Lenders outstanding at such time.

          “Designated Letters of Credit” means letters of credit issued in the ordinary course of business with respect
 to Mine reclamation, workers’ compensation and other employee benefit liabilities.

          “DIP Budget” has the meaning specified in Section 4.01(g).

          “DIP Collateral” means the “DIP Collateral” as defined in the Orders.

        “Direct Debt Placement” means “Direct Debt Placement” as defined in the Restructuring Support
 Agreement.

          “Disclosure Statement” means “Disclosure Statement” as defined in the Restructuring Support Agreement.

          “Disposition” or “Dispose” means the sale, transfer or other disposition of any assets by any Person outside
 the ordinary course of business, including by means of a merger, consolidation or similar transaction and including
 any sale or issuance of the Equity Interests of any Subsidiary.

           “Disqualified Equity Interest” means Equity Interests that by their terms (or by the terms of any security into
 which such Equity Interests are convertible, or for which such Equity Interests are exchangeable, in each case at the
 option of the holder thereof) or upon the happening of any event (i) mature or are mandatorily redeemable, pursuant
 to a sinking fund obligation or otherwise, or are required to be redeemed or redeemable at the option of the holder for
 consideration other than Qualified Equity Interests, or (ii) are convertible at the option of the holder into Disqualified
 Equity Interests or exchangeable for Indebtedness, in each case of clauses (i) and (ii) prior to the date that is 91 days
 after the Stated Maturity Date hereunder, except, in the case of clauses (i) and (ii), if as a result of a change of control
 or asset sale, so long as the relevant provisions specifically state that such repurchase, payment or redemption upon
 the occurrence of such a change of control or asset sale event is subject to the prior payment in full of all Obligations
 and the termination of Commitments.

           “Disqualified Institution” means (i) any banks, financial institutions and institutional investors and
 competitors of the Borrower identified by the Borrower to the Administrative Agent by name in writing from time to
 time on or prior to the Petition Date or as the Borrower and the Administrative Agent shall from time to time mutually
 agree after such date, (ii) any affiliates of the foregoing that are (A) identified by the Borrower from time to time in
 writing or (B) readily identifiable solely on the basis of similarity of their names; provided that (x) “Disqualified
 Institutions” shall not include any bona fide diversified debt fund or a diversified investment vehicle that is engaged
 in the making, purchasing, holding or otherwise investing in, acquiring or trading commercial loans, bonds and similar
 extensions of credit in the ordinary course; (y) the Administrative Agent shall not have any responsibility for
 monitoring compliance with any provisions of this Agreement with respect to Disqualified Institutions and (z) updates



                                                             10
Case 20-41308           Doc 228       Filed 04/01/20 Entered 04/01/20 23:45:34                        Main Document
                                                Pg 58 of 1005


 to the Disqualified Institution schedule shall not retroactively invalidate or otherwise affect any (1) assignments or
 participations made to, (2) any trades entered into with or (3) information provided to any Person before it was
 designated as a Disqualified Institution. A schedule of the Disqualified Institutions shall be made available on the
 Closing Date (and updated from time to time) by the Borrower to all Lenders by delivering such schedule (and such
 updates) to the Administrative Agent; provided, that any additional Person identified pursuant to an updated schedule
 shall not be deemed a Disqualified Institution until such time as such update to the schedule is provided to the Lenders.

           “Disqualified Stock” means Capital Stock constituting Disqualified Equity Interests.

         “Dodd-Frank Act” means the Dodd—Frank Wall Street Reform and Consumer Protection Act (Pub.L. 111-
 203, H.R. 4173) signed into law on July 21, 2010, as amended from time to time.

           “Dollar” and “$” mean lawful money of the United States.

          “Domestic Subsidiary” means any Subsidiary that is organized under the Laws of the United States or any
 State thereof or the District of Columbia.

           “EEA Financial Institution” means (a) any credit institution or investment firm established in any EEA
 Member Country which is subject to the supervision of an EEA Resolution Authority, (b) any entity established in an
 EEA Member Country which is a parent of an institution described in clause (a) of this definition, or (c) any financial
 institution established in an EEA Member Country which is a subsidiary of an institution described in clauses (a) or
 (b) of this definition and is subject to consolidated supervision with its parent.

           “EEA Member Country” means any of the member states of the European Union, Iceland, Liechtenstein, and
 Norway.

         “EEA Resolution Authority” means any public administrative authority or any Person entrusted with public
 administrative authority of any EEA Member Country (including any delegee) having responsibility for the resolution
 of any EEA Financial Institution.

          “Eligible Assignee” means (i) a Lender, (ii) an Affiliate of a Lender and (iii) an Approved Fund (any two or
 more Approved Funds being treated as a single Eligible Assignee for all purposes hereof), and (iv) any other Person
 (other than a natural person) approved by (x) the Borrower unless an Event of Default has occurred and is continuing
 (such approval not to be unreasonably withheld or delayed); provided that the Borrower shall be deemed to have
 approved an assignment of Loans to a Person pursuant to this clause (iv) unless it shall have objected thereto by written
 notice to the Administrative Agent within three (3) Business Days after having received notice thereof and (y) the
 Administrative Agent; provided, that no Defaulting Lender, Disqualified Institution, any Loan Party or Affiliated
 Lender shall be an Eligible Assignee.

           “Environmental Laws” means any and all applicable current and future federal, state, local and foreign
 statutes, laws, regulations, ordinances, rules, judgments, orders, decrees, permits, concessions, grants, franchises,
 licenses, agreements or other governmental restrictions or common law causes of action relating to (a) protection of
 the environment or to emissions, discharges, releases or threatened releases of pollutants, contaminants, chemicals, or
 industrial, toxic or hazardous substances or wastes into the environment including ambient air, surface, water, ground
 water, or land, (b) human health as affected by Hazardous Materials, and (c) mining operations and activities to the
 extent relating to environmental protection or reclamation, including the Surface Mining Control and Reclamation
 Act, provided that “Environmental Laws” do not include any Laws relating to worker or retiree benefits, including
 benefits arising out of occupational diseases.

           “Environmental Liability” means any liability, contingent or otherwise (including any liability for damages,
 costs of environmental remediation, fines, penalties or indemnities), directly or indirectly resulting from or based upon
 (a) violation of any Environmental Law, (b) the generation, use, handling, transportation, storage, treatment or disposal
 of any Hazardous Materials, (c) exposure to any Hazardous Materials, (d) the release or threatened release of any
 Hazardous Materials into the environment or (e) any contract, agreement or other consensual arrangement pursuant to
 which liability is assumed or imposed with respect to any of the foregoing.



                                                            11
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                        Main Document
                                                 Pg 59 of 1005


          “Environmental Permits” means any and all permits, licenses, registrations, notifications, exemptions and
 any other authorization required under any applicable Environmental Law.

           “Equity Interests” means, with respect to any Person, all of the shares of Capital Stock of (or other ownership
 or profit interests in) such Person, all of the warrants, options or other rights for the purchase or acquisition from such
 Person of shares of Capital Stock of (or other ownership or profit interests in) such Person, and all of the other
 ownership or profit interests in such Person (including partnership, member or trust interests therein), whether voting
 or nonvoting, and whether or not such shares, warrants, options, rights or other interests are outstanding on any date
 of determination (but excluding any debt security that is convertible into, or exchangeable for, Equity Interests).

          “Exchange Act” means the Securities Exchange Act of 1934, as amended.

           “ERISA” means the Employee Retirement Income Security Act of 1974, as the same may be amended from
 time to time, the regulations promulgated thereunder and any successor statute.

          “ERISA Affiliate” means any trade or business (whether or not incorporated) under common control with
 the Borrower within the meaning of Section 414(b) or (c) of the Code (and Sections 414(m) and (o) of the Code for
 purposes of provisions relating to Section 412 of the Code).

           “ERISA Event” means (a) a Reportable Event with respect to a Pension Plan; (b) the failure to meet the
 minimum funding standards of Sections 412 or 430 of the Code or Sections 302 or 303 of ERISA with respect to any
 Pension Plan (whether or not waived in accordance with Section 412(c) of the Code or Section 302(c) of ERISA) or
 the failure to make by its due date a required installment under Section 430(j) of the Code with respect to any Pension
 Plan or the failure to make any required contribution to a Multiemployer Plan; (c) a determination that any Pension
 Plan is, or is expected to be, in “at risk” status (as defined in Section 430 of the Code or Section 303 of ERISA); (d) a
 determination that any Multiemployer Plan is, or is expected to be, in “critical” or “endangered” status under Section
 432 of the Code or Section 305 of ERISA; (e) a withdrawal by the Borrower or any ERISA Affiliate from a Pension
 Plan subject to Section 4063 of ERISA during a plan year in which it was a substantial employer (as defined in Section
 4001(a)(2) of ERISA) or a cessation of operations that is treated as such a withdrawal under Section 4062(e) of ERISA;
 (f) a complete or partial withdrawal by the Borrower or any ERISA Affiliate from a Multiemployer Plan or notification
 that a Multiemployer Plan is in reorganization; (g) the filing of a notice of intent to terminate, the treatment of a Plan
 amendment as a termination under Section 4041 or 4041A of ERISA, or the commencement of proceedings by the
 PBGC to terminate a Pension Plan or Multiemployer Plan; (h) an event or condition which constitutes grounds under
 Section 4042 of ERISA for the termination of, or the appointment of a trustee to administer, any Pension Plan or
 Multiemployer Plan; (i) the imposition of any liability under Title IV of ERISA, other than for PBGC premiums due
 but not delinquent under Section 4007 of ERISA, upon the Borrower or any ERISA Affiliate; (j) receipt from the IRS
 of notice of the failure of any Pension Plan (or any other Plan intended to be qualified under Section 401(a) of the
 Code) to qualify under Section 401(a) of the Code, or the failure of any trust forming part of any Pension Plan to
 qualify for exemption from taxation under Section 501(a) of the Code; (k) the imposition of a Lien pursuant to Section
 430(k) of the Code or Section 303(k) of ERISA or a violation of Section 436 of the Code with respect to any Pension
 Plan; or (l) the occurrence of any Foreign Plan Event.

          “EU Bail-In Legislation Schedule” means the EU Bail-In Legislation Schedule published by the Loan Market
 Association (or any successor Person), as in effect from time to time.

           “Eurocurrency Rate” means, for any Interest Rate Determination Date with respect to an Interest Period for
 a Eurocurrency Rate Loan, the rate per annum obtained by dividing (i) (a) the rate per annum equal to the rate
 determined by the Administrative Agent, to be the London interbank offered rate administered by the ICE Benchmark
 Administration (or any other person which takes over the administration of that rate) for deposits (for delivery on the
 first day of such period) with a term equivalent to such period in Dollars displayed on the ICE LIBOR USD page of
 the Bloomberg Screen (or any replacement page which displays that rate) or on the appropriate page of such other
 information service which publishes that rate from time to time in place of Bloomberg, determined as of approximately
 11:00 a.m. (London, England time) on such Interest Rate Determination Date, (b) in the event the rate referenced in
 the preceding clause (a) is not available, the rate per annum based on a substitute index reasonably selected by the
 Administrative Agent for Dollar deposits comparable to the principal amount of the applicable Loan for which the
 Eurocurrency Rate is then being determined with maturities comparable to such period as of approximately 11:00 a.m.


                                                             12
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                        Main Document
                                                 Pg 60 of 1005


 (London, England time) on such Interest Rate Determination Date, or (c) in the event that such rate is not ascertainable
 pursuant to the preceding clauses (a) or (b), the “Eurocurrency Rate” shall be the rate per annum determined by the
 Administrative Agent to be the average of the rates per annum at which deposits in Dollars are offered for such relevant
 Interest Period to major banks in the London interbank market in London, England at approximately 11:00 a.m.
 (London time) on the date that is two Business Days prior to the beginning of such Interest Period, by (ii) an amount
 equal to (a) one minus (b) the Applicable Reserve Requirement. In no event, notwithstanding the rate determined
 pursuant to the foregoing, shall the Eurocurrency Rate be less than 1.00%.

          “Eurocurrency Rate Loan” means a Loan that bears interest at a rate based on the Eurocurrency Rate.

          “Event of Default” has the meaning specified in Section 8.01.

          “Excess Proceeds” has the meaning specified in Section 2.05(e).

          “Excluded Assets” means

          (a)       (i) those assets over which the pledging or granting of a security interest in such assets (x) would be
 prohibited by any applicable law (other than any organizational document), rule or regulation (except to the extent
 such prohibition is unenforceable after giving effect to applicable anti-assignment provisions of the UCC, other than
 proceeds thereof, the assignment of which is expressly deemed effective under the UCC notwithstanding such
 prohibitions), (y) would be prohibited by, or cause a default under or result in a breach, violation or invalidation of,
 any lease, license or other written agreement or written obligation (each, a “Contract”) to which such assets are subject,
 or would give another Person (other than the Borrower or any Controlled Subsidiary) a right to terminate or accelerate
 the obligations under such Contract or to obtain a Lien to secure obligations owing to such Person (other than the
 Borrower or any Controlled Subsidiary) under such Contract (but only to the extent such assets are subject to such
 Contract and such Contract is not entered into for purposes of circumventing or avoiding the collateral requirements
 of the indenture), unless the Borrower or any Guarantor may unilaterally waive it (in each case, except to the extent
 any such prohibition is unenforceable after giving effect to applicable anti-assignment provisions of the UCC) or (z)
 would require obtaining the consent, approval, license or authorization of any Person (other than the Borrower or any
 Guarantor) or applicable Governmental Authority, except to the extent that such consent, approval, license or
 authorization has already been obtained, and (ii) any Contract or any property or other asset subject to Liens securing
 a purchase money security interest, Capital Lease Obligation or similar arrangement or sale and leaseback transaction
 to the extent that a grant of a security interest therein requires the consent of any Person (other than the Borrower or
 any Controlled Subsidiary) as a condition to the creating of another security interest, would violate or invalidate such
 Contract or purchase money, capital lease or similar arrangement or create a right of termination in favor of any other
 party thereto (other than the Borrower or a Controlled Subsidiary) after giving effect to the applicable anti-assignment
 provisions of the UCC), other than proceeds and receivables thereof, the assignment of which is expressly deemed
 effective under the Uniform Commercial Code notwithstanding such prohibition; provided, however, that the
 Collateral shall include (and such security interest shall attach) (x) immediately at such time as the contractual or legal
 prohibition shall no longer be applicable, (y) immediately at such time as such contractual or legal prohibition would
 be unenforceable due to applicable Debtor Relief Laws and (z) to the extent severable, immediately at such time to
 any portion of such lease, license, contract or agreement not subject to the prohibitions specified above;

         (b)     any “intent-to-use” application for registration of a trademark filed pursuant to Section 1(b) of the
 Lanham Act, 15 U.S.C. § 1051, prior to the filing and acceptance of a “Statement of Use” pursuant to Section 1(d) of
 the Lanham Act or an “Amendment to Allege Use” pursuant to Section 1(c) of the Lanham Act with respect thereto,
 and

           (c)      (i) margin stock, and (ii) any Equity Interests in any Subsidiary that is not a Wholly Owned Domestic
 Subsidiary (provided, that such term shall not include any FSHCO) by the Borrower or any Subsidiary or in a Joint
 Venture, if the granting of a security interest therein (A) would be prohibited by, cause a default under or result in a
 breach of, or would give another Person (other than the Borrower or any Controlled Subsidiary) a right to terminate,
 under any Organizational Document, shareholders, joint venture or similar agreement applicable to such Subsidiary
 or Joint Venture, or (B) would require obtaining the consent of any Person (other than the Borrower or any Controlled
 Subsidiary); provided, however, that the Collateral shall include (and such security interest shall attach) (x)
 immediately at such time as any such contractual limitations shall no longer be applicable, (y) immediately at such


                                                             13
Case 20-41308          Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                       Main Document
                                                Pg 61 of 1005


 time as such contractual limitations would be unenforceable due to applicable Debtor Relief Laws and (z) to the extent
 severable, immediately at such time to any portion of any Equity Interests not subject to the limitations specified
 above;

 provided that the Collateral shall include the replacements, substitutions and proceeds of any of the foregoing unless
 such replacements, substitutions or proceeds also constitute Excluded Assets.

           “Excluded Taxes” means any of the following Taxes imposed on or with respect to a Recipient or required
 to be withheld or deducted from a payment to a Recipient, (a) Taxes imposed on or measured by net income (however
 denominated), franchise Taxes, and branch profits Taxes, in each case, (i) imposed as a result of such Recipient being
 organized under the Laws of, or having its principal office or, in the case of any Lender, its applicable lending office
 located in, the jurisdiction imposing such Tax (or any political subdivision thereof) or (ii) that are Other Connection
 Taxes, (b) in the case of a Lender, U.S. federal withholding Taxes imposed on amounts payable to or for the account
 of such Lender with respect to an applicable interest in a Loan or Commitment pursuant to a Law in effect on the date
 on which (i) such Lender acquires such interest in the Loan or Commitment (other than pursuant to an assignment
 request by the Borrower under Section 10.13) or (ii) such Lender changes its lending office, except in each case to the
 extent that, pursuant to Section 3.01, amounts with respect to such Taxes were payable either to such Lender’s assignor
 immediately before such Lender became a party hereto or to such Lender immediately before it changed its lending
 office, (c) Taxes attributable to such Recipient’s failure or inability to comply with Section 3.01(e) and (d) any Taxes
 imposed under FATCA.

          “Facility” means any Term Loan Facility and the Roll-Up Facility.

           “FATCA” means Sections 1471 through 1474 of the Code, as of the date of this Agreement (or any amended
 or successor version that is substantively comparable and not materially more onerous to comply with), any current
 or future regulations or official interpretations thereof, any agreements entered into pursuant to Section 1471(b)(1) of
 the Code and any fiscal or regulatory legislation, rules or practices adopted pursuant to any intergovernmental
 agreement, treaty, or convention among Governmental Authorities and implementing such Sections of the Code.

          “Federal Funds Rate” means, for any day, the rate per annum equal to the weighted average of the rates on
 overnight Federal funds transactions with members of the Federal Reserve System on such day, as published by the
 Federal Reserve Bank of New York on the Business Day next succeeding such day; provided that (a) if such day is
 not a Business Day, the Federal Funds Rate for such day shall be such rate on such transactions on the next preceding
 Business Day as so published on the next succeeding Business Day, and (b) if no such rate is so published on such
 next succeeding Business Day, the Federal Funds Rate for such day shall be the average rate (rounded upward, if
 necessary, to a whole multiple of 1/100 of 1%) received from three federal funds brokers on such day on such
 transactions as determined by the Administrative Agent.

          “Final Order” means, collectively, the order of the Bankruptcy Court entered in the Chapter 11 Cases after a
 final hearing under Bankruptcy Rule 4001(c)(2) or such other procedures as approved by the Bankruptcy Court, which
 order shall be in the form of the Interim Order (with only such modifications thereto as are necessary to convert the
 Interim Order to a final order and such other modifications as are satisfactory to the Required Lenders (and with
 respect to modifications to the rights and duties of any Agent, such Agent)), and from which no appeal or motion to
 reconsider has been timely filed, or if timely filed, such appeal or motion to reconsider has been dismissed or denied
 with no further appeal and the time for filing such appeal has passed (unless the Required Lenders waive such
 requirement), together with all extensions, modifications, and amendments thereto, in form and substance satisfactory
 to the Required Lenders.

          “Final Order Entry Date” means the date on which the Final Order is entered by the Bankruptcy Court.

          “Financial Advisor” means, collectively, Lazard and Perella Weinberg Partners L.P., in their capacities as
 financial advisors to certain Backstop Lenders.

       “Flood Certificate” means a “Standard Flood Hazard Determination Form” of the Federal Emergency
 Management Agency and any successor Governmental Authority performing a similar function.



                                                           14
Case 20-41308          Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                       Main Document
                                                Pg 62 of 1005


          “Flood Hazard Property” means any Real Property that constitutes Collateral in favor of Collateral Agent,
 for the benefit of Secured Parties, with buildings or mobile homes located in a Flood Zone.

          “Flood Program” means the National Flood Insurance Program created by the U.S. Congress pursuant to the
 National Flood Insurance Act of 1968, the Flood Disaster Protection Act of 1973, the National Flood Insurance Reform
 Act of 1994 and the Flood Insurance Reform Act of 2004, in each case as amended from time to time, and any
 successor statutes.

          “Flood Zone” means areas having special flood hazards as described in the National Flood Insurance Act of
 1968, as amended from time to time, and any successor statute.

          “Foreign Lender” means any Lender that is not a “United States Person” as defined in Section 7701 (a)(30)
 of the Code.

          “Foreign Plan” means any employee benefit plan, program, policy, arrangement or agreement maintained or
 contributed to by any Loan Party or any of their respective Subsidiaries with respect to employees employed outside
 the United States and paid through a non-United States payroll.

           “Foreign Plan Event” means, with respect to any Foreign Plan, (a) the existence of unfunded liabilities in
 excess of the amount permitted under any applicable law, or in excess of the amount that would be permitted absent
 a waiver from a Governmental Authority, (b) the failure to make the required contributions or payments, under any
 applicable law, within the time permitted by Law for such contributions or payments, (c) the receipt of a notice from
 a Governmental Authority relating to the intention to terminate any such Foreign Plan or to appoint a trustee or similar
 official to administer any such Foreign Plan, or alleging the insolvency of any such Foreign Plan, (d) the incurrence
 of any liability by any Loan Party under applicable law on account of the complete or partial termination of such
 Foreign Plan or the complete or partial withdrawal of any participating employer therein, in each case, which could
 reasonably be expected to have a Material Adverse Effect, or (e) the occurrence of any transaction with respect to a
 Foreign Plan that is prohibited under any applicable law and that could reasonably be expected to result in the
 incurrence of any liability by any Loan Party, or the imposition on any Loan Party of any fine, excise tax or penalty
 with respect to a Foreign Plan resulting from any noncompliance with any applicable law, in each case which could
 reasonably be expected to have a Material Adverse Effect.

         “Foreign Subsidiary” means a Subsidiary that is organized under the laws of a jurisdiction other than the
 United States or any State thereof or the District of Columbia and any Subsidiary thereof.

          “Four-Week Test Period” means, at any time, the four-week period ended on the immediately preceding
 Friday; provided that only periods ending on the fourth Friday following the Closing Date and each fourth Friday
 thereafter shall constitute Four-Week Test Periods.

          “FRB” means the Board of Governors of the Federal Reserve System of the United States.

         “FSHCO” means any Domestic Subsidiary that has no material assets other than Equity Interests of (x) a
 Foreign Subsidiary or (y) any other FSHCO.

          “Fund” means any Person (other than a natural person) that is (or will be) engaged in making, purchasing,
 holding or otherwise investing in commercial loans and similar extensions of credit in the ordinary course of its
 business.

          “Funded Debt” means, with respect to any specified Person, any indebtedness of such Person (excluding
 accrued expenses and trade payables), whether or not contingent, (i) in respect of borrowed money or advances or (ii)
 evidenced by loan agreements, bonds, notes or debentures or similar instruments or letters of credit (solely to the
 extent such letters of credit or other similar instruments have been drawn and remain unreimbursed) or, without
 duplication, reimbursement agreements in respect thereof.




                                                           15
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                       Main Document
                                                 Pg 63 of 1005


          “GAAP” means generally accepted accounting principles in the United States, which are applicable to the
 circumstances as of the date of determination. The sources of accounting principles and the framework for selecting
 the principles used in the preparation of financial statements of nongovernmental entities that are presented in
 conformity with GAAP in the United States, are set forth in the Financial Accounting Standards Board’s Accounting
 Standards Codification.

          “General Partner” has the meaning specified in the introductory paragraph hereto, or any successor general
 partner of Holdings.

          “Governmental Authority” means the government of the United States or any other nation, or any political
 subdivision thereof, whether state or local, and any agency, authority, instrumentality, regulatory body, court, central
 bank or other entity exercising executive, legislative, judicial, taxing, regulatory or administrative powers or functions
 of or pertaining to government (including any supra-national bodies such as the European Union or the European
 Central Bank).

          “Guarantee” means, as to any Person (the “guaranteeing person”), any obligation of (a) the guaranteeing
 person or (b) another Person (including, without limitation, any bank under any letter of credit) to the extent the
 guaranteeing person has issued a reimbursement, counterindemnity or similar obligation in order to induce the creation
 of such obligation, in either case guaranteeing or in effect guaranteeing any Indebtedness, leases, dividends or other
 obligations (the “primary obligations”) of any other third Person (the “primary obligor”) in any manner, whether
 directly or indirectly, including, without limitation, reimbursement obligations under letters of credit and any
 obligation of the guaranteeing person, whether or not contingent, (i) to purchase any such primary obligation or any
 property constituting direct or indirect security therefor, (ii) to advance or supply funds (A) for the purchase or
 payment of any such primary obligation or (B) to maintain working capital or equity capital of the primary obligor or
 otherwise to maintain the net worth or solvency of the primary obligor, (iii) to purchase property, securities or services
 primarily for the purpose of assuring the owner of any such primary obligation of the ability of the primary obligor to
 make payment of such primary obligation or (iv) otherwise to assure or hold harmless the owner of any such primary
 obligation against loss in respect thereof; provided, however, that the term Guarantee obligation shall not include (i)
 indemnification or reimbursement obligations under or in respect of Surety Bonds or Designated Letters of Credit, (ii)
 ordinary course performance guarantees by any Loan Party of the obligations (other than for the payment of borrowed
 money) of any other Loan Party and (iii) endorsements of instruments for deposit or collection in the ordinary course
 of business. The amount of any Guarantee obligation of any guaranteeing person shall be deemed to be the lower of
 (a) an amount equal to the stated or determinable amount of the primary obligation in respect of which such Guarantee
 obligation is made and (b) the maximum amount for which such guaranteeing person may be liable pursuant to the
 terms of the instrument embodying such Guarantee obligation, unless such primary obligation and the maximum
 amount for which such guaranteeing person may be liable are not stated or determinable, in which case the amount of
 such Guarantee obligation shall be such guaranteeing person’s maximum reasonably anticipated liability in respect
 thereof as determined by the Borrower in good faith. The term “Guarantee” as a verb has a corresponding meaning.

          “Guaranteed Obligations” has the meaning specified in Section 11.01.

          “Guarantors” means each of the General Partner, Holdings and any Subsidiary that is a Wholly Owned
 Domestic Subsidiary; provided, that such term shall not include any FSHCO. As of the Closing Date, each of the
 Debtors (other than the Borrower) is a Guarantor. For the avoidance of doubt, no Foreign Subsidiary now owned or
 hereafter formed or acquired shall be a Guarantor.

          “Guaranty” means the guaranty of each Guarantor set forth in Article XI.

          “Hazardous Materials” means (i) any explosive or radioactive substances or wastes and (ii) any hazardous or
 toxic substances, materials or wastes, defined or regulated as such in or under, or that could reasonably be expected
 to give rise to liability under, any applicable Environmental Law, including, without limitation, asbestos,
 polychlorinated biphenyls, urea-formaldehyde insulation, gasoline or petroleum (including crude oil or any fraction
 thereof) or petroleum products or any coal ash, coal combustion by-products or waste, boiler slag, scrubber residue or
 flue desulphurization residue.




                                                            16
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                        Main Document
                                                 Pg 64 of 1005


           “Hedging Agreement” means any and all rate swap transactions, basis swaps, credit derivative transactions,
 forward rate transactions, commodity swaps, commodity options, forward commodity contracts, equity or equity index
 swaps or options, bond or bond price or bond index swaps or options or forward bond or forward bond price or forward
 bond index transactions, interest rate options, forward foreign exchange transactions, cap transactions, floor
 transactions, collar transactions, currency swap transactions, cross-currency rate swap transactions, currency options,
 spot contracts, or any other similar transactions or any combination of any of the foregoing (including any options to
 enter into any of the foregoing), whether or not any such transaction is governed by or subject to any master agreement
 (regardless of whether such agreement or instrument is classified as a “derivative” pursuant to FASB ASC Topic No.
 815 and required to be marked-to-market) and any other agreements or arrangements designed to manage interest rates
 or interest rate risk and other agreements or arrangements designed to protect such Person against fluctuations in
 currency exchange rates or commodity prices.

          For the avoidance of doubt, Hedging Agreements do not include coal sales contracts requiring the delivery
 of coal that is priced pursuant to an established index created for the purposes of establishing a market price for the
 underlying commodity.

           “Hedging Termination Value” means, in respect of any one or more Hedging Agreement, after taking into
 account the effect of any valid netting agreement relating to such Hedging Agreements, (a) for any date on or after the
 date such Hedging Agreements have been closed out and termination value(s) determined in accordance therewith,
 such termination value(s), and (b) for any date prior to the date referenced in clause (a), the amount(s) determined as
 the mark- to-market value(s) for such Hedging Agreements, as determined based upon one or more mid-market or
 other readily available quotations provided by any recognized dealer in such Hedging Agreements (which may include
 a Lender, an Agent or any Affiliate of a Lender or an Agent) (it being understood that any such termination values
 and marked-to-market values shall take into account any assets posted as collateral or security for the benefit of a
 party to the Hedging Agreement).

          “Highest Lawful Rate” means the maximum lawful interest rate, if any, that at any time or from time to time
 may be contracted for, charged, or received under the laws applicable to any Lender which are presently in effect or,
 to the extent allowed by law, under such applicable laws which may hereafter be in effect and which allow a higher
 maximum nonusurious interest rate than applicable laws now allow.

          “Historical Financial Statements” means as of the Closing Date, (i) the audited financial statements of
 Borrower and its Subsidiaries for the immediately preceding three fiscal years, consisting of balance sheets and the
 related consolidated statements of income, stockholders’ equity and cash flows for such fiscal years, (ii) the unaudited
 financial statements of Borrower and its Subsidiaries for each of the first three fiscal quarters ended after the date of
 the most recent audited financial statements and at least 45 days prior to the Closing Date, consisting of a balance
 sheet and the related consolidated statements of income, stockholders’ equity and cash flows for the three-, six- or
 nine-month period, as applicable, ending on such date.

         “Holdings” has the meaning specified in the introductory paragraph hereto and includes any successor to
 Holdings as contemplated by Section 7.09.

           “Huntington Cash Management Obligations” all of Huntington National Bank’s customary service charges,
 overdraft and returned item fees, transfer fees, account maintenance fees, reasonable and documented legal fees, and
 expenses relating to any account under any account agreements, including without limitation the prepetition and post-
 petition Bank Fees (as defined in the Cash Management Motion) and any chargebacks or other amounts owing to the
 Huntington National Bank from (i) any checks or other items or receipts deposited in any account are returned unpaid
 or otherwise dishonored for any reason, (ii) any overdrafts on any account, (iii) any automated clearing house, wire
 transfer or other electronic entries for deposit into any account that are returned or otherwise dishonored, or (iv) claims
 of breach of the UCC’s transfer or presentment warranties made against Huntington National Bank in connection with
 items deposited to any account.

          “Increased Amount” has the meaning specified in Section 7.03.

         “Incur” means, with respect to any Indebtedness, to incur, create, issue, assume or Guarantee such
 Indebtedness.


                                                             17
Case 20-41308          Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                        Main Document
                                                Pg 65 of 1005


          “Indebtedness” means, as to any Person, without duplication:

          (a)      all indebtedness of such Person for borrowed money;

           (b)     all obligations of such Person evidenced by bonds, debentures, notes or other similar instruments
 (other than any obligations in respect of performance bonds, bid bonds, appeal bonds, surety bonds, reclamation bonds
 and completion guarantees, bank guarantees and similar obligations under any Mining Law or Environmental Law or
 with respect to worker’s compensation benefits);

         (c)       all obligations of such Person arising under letters of credit, bankers’ acceptances or other similar
 instruments (solely to the extent such letters of credit, bankers’ acceptances or other similar instruments have been
 drawn and remain unreimbursed);

          (d)      all obligations of such Person to pay the deferred purchase price of property or services;

          (e)      the Attributable Indebtedness of such Person in respect of Capital Leases;

          (f)      all Indebtedness of other Persons Guaranteed by such Person to the extent so Guaranteed;

         (g)       all Indebtedness of other Persons secured by a Lien on any asset of such Person, whether or not such
 Indebtedness is assumed by such Person; and

          (h)      all obligations of such Person under Hedging Agreements;

 if and to the extent any of the preceding items (other than Guarantees referred to in clause (e)) would appear as a
 liability upon a balance sheet of the specified Person prepared in accordance with GAAP;

 provided that in no event shall Indebtedness include (i) asset retirement obligations, (ii) obligations (other than
 obligations with respect to Indebtedness for borrowed money or other Funded Debt) related to surface rights under an
 agreement for the acquisition of surface rights for the production of coal reserves in the ordinary course of business
 in a manner consistent with historical practice of the Borrower and its Subsidiaries, (iii) obligations under coal
 purchase and sale contracts, (iv) trade accounts payable and accrued expenses incurred in the ordinary course of
 business, (v) obligations under federal coal leases, (vi) obligations under coal leases which may be terminated at the
 discretion of the lessee, (vii) obligations for take-or-pay arrangements or (viii) royalties, the dedication of reserves
 under supply agreements or similar rights or interests granted, taken subject to, or otherwise imposed on properties
 consistent with customary practices in the mining industry.

          The amount of any obligation under any Hedging Agreement on any date shall be deemed to be the Hedging
 Termination Value thereof as of such date. The amount of any Indebtedness issued with original issue discount shall
 be deemed to be the face amount of such Indebtedness less the remaining unamortized portion of the original issue
 discount of such Indebtedness. The amount of any Indebtedness secured by a Lien on an asset of such Person but not
 otherwise the obligation, contingent or otherwise of such Person, shall be deemed to be the lesser of (x) the fair market
 value (as reasonably determined by the Borrower in good faith)of such asset on the date the Lien attached as
 determined in good faith by the Borrower and (y) the amount of such Indebtedness. The amount of any other
 Indebtedness shall be the outstanding principal amount thereof.

         “Indemnified Taxes” means (a) Taxes, other than Excluded Taxes, imposed on or with respect to any payment
 made by or on account of any obligation of any Loan Party under any Loan Document and (b) to the extent not
 otherwise described in (a), Other Taxes.

          “Indemnitees” has the meaning specified in Section 10.04(b).

          “Information” has the meaning specified in Section 10.07.

          “Initial Term Lender” means any Term Lender holding Initial Term Loans.



                                                            18
Case 20-41308          Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                       Main Document
                                                Pg 66 of 1005


          “Initial Term Loan” has the meaning set forth in Section 2.01(a).

          “Initial Term Loan Commitment” means, as to each Lender, its obligation to make Initial Term Loans to the
 Borrower pursuant to Section 2.01(a) in an aggregate principal amount at any one time outstanding not to exceed the
 amount set forth opposite such Lender’s name on Schedule 2.01 under the caption “Initial Term Loan Commitment”
 or opposite such caption in the Assignment and Assumption pursuant to which such Lender becomes a party hereto,
 as applicable, as such amount may be adjusted from time to time in accordance with this Agreement. The aggregate
 amount of Initial Term Loan Commitments as of the Closing Date is $55,000,000.

           “Initial Term Loan Facility” means, at any time (a) prior to the funding of the Initial Term Loans on the
 Closing Date, the aggregate Initial Term Loan Commitments at such time and (b) on and after the funding of the Initial
 Term Loans on the Closing Date, the aggregate principal amount of the Initial Term Loans of all Lenders outstanding
 at such time.

          “Interest Payment Date” means, (a) as to any Eurocurrency Rate Loan, the last day of each Interest Period
 applicable to such Loan and the Maturity Date (or, if sooner, the date on which the Obligations become due and
 payable pursuant to Section 8.02), and (b) as to any Base Rate Loan, the last Business Day of each March, June,
 September and December and the Maturity Date.

          “Interest Period” means, as to each Eurocurrency Rate Loan, the period commencing on the date such
 Eurocurrency Rate Loan is disbursed or converted to or continued as a Eurocurrency Rate Loan and ending on the
 date one month thereafter; provided that:

                           (i)       any Interest Period that would otherwise end on a day that is not a Business Day
          shall be extended to the next succeeding Business Day unless such Business Day falls in another calendar
          month, in which case such Interest Period shall end on the immediately preceding Business Day;

                             (ii)      any Interest Period that begins on the last Business Day of a calendar month (or
          on a day for which there is no numerically corresponding day in the calendar month at the end of such Interest
          Period) shall, subject to clause (iii) below, end on the last Business Day of a calendar month; and

                            (iii)    with respect to each Facility, no Interest Period shall extend beyond its applicable
          Maturity Date.

         “Interest Rate Determination Date” means, with respect to any Interest Period, the date that is two Business
 Days prior to the first day of such Interest Period.

          “Interim Order” means the order of the Bankruptcy Court entered in the Chapter 11 Cases after an interim
 hearing (assuming satisfaction of the standard prescribed in Bankruptcy Rule 4001 and other applicable law)
 substantially in the form of Exhibit K hereto or otherwise in form and substance satisfactory to the Required Lenders
 (and with respect to the rights and duties of each Agent, such Agent), which among other matters but not by way of
 limitation, authorizes, on an interim basis, the Borrower and the Guarantors to execute and perform under the terms
 of this Agreement and the other Loan Documents.

           “Investment” means, as to any Person, any direct or indirect acquisition or investment by such Person,
 whether by means of (a) the purchase or other acquisition of Capital Stock or other securities of another Person, (b) a
 loan, advance (excluding intercompany liabilities incurred in the ordinary course of business in connection with the
 cash management operations of the Borrower and its Subsidiaries) or capital contribution to, or purchase or other
 acquisition of any other debt or equity participation or interest in, another Person, including any partnership or joint
 venture interest in such other Person, or (c) the purchase or other acquisition (in one transaction or a series of
 transactions) of assets of another Person that constitute a business unit. For purposes of covenant compliance, the
 amount of any Investment shall be (i) the amount actually invested, as determined immediately prior to the time of
 each such Investment, without adjustment for subsequent increases or decreases in the value of such Investment minus
 (ii) the amount of dividends or distributions received in connection with such Investment and any return of capital and




                                                           19
Case 20-41308          Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                      Main Document
                                                Pg 67 of 1005


 any payment of principal received in respect of such Investment that in each case is received in cash or Cash
 Equivalents.

          “IP Rights” has the meaning specified in Section 5.18.

          “IRS” means the United States Internal Revenue Service.

         “Joint Venture” means any Person (a) other than a Subsidiary in which the Borrower or its Subsidiaries hold
 an ownership interest or (b) which is an unincorporated joint venture of the Borrower or any Subsidiary.

          “Junior Lien Indebtedness” means any other Indebtedness that is secured by a Lien on the Collateral (or any
 portion thereof) that is junior to the Liens on the Collateral securing the Obligations and that was permitted to be
 incurred and so secured hereunder.

           “Laws” means, as to any Person, collectively, all international, foreign, Federal, state and local statutes,
 treaties, rules, regulations, ordinances, codes, and determinations of arbitrators or courts or other Governmental
 Authorities, in each case applicable to or binding upon such Person or any of its property or to which such Person or
 any of its property is subject.

          “Leasehold Property” means any interest of any Loan Party as lessee or licensee in, to and under leases or
 licenses of land, improvements and/or fixtures.

        “Lender” has the meaning specified in the introductory paragraph hereto and shall include any Lender that
 may become a party hereto pursuant to an Assignment and Assumption or an amendment to this Agreement.

          “Lending Office” means, as to any Lender, the office or offices of such Lender described as such in such
 Lender’s Administrative Questionnaire, or such other office or offices as a Lender may from time to time notify the
 Borrower and the Administrative Agent.

           “Lien” means any mortgage, deed of trust, pledge, hypothecation, assignment, deposit arrangement,
 encumbrance, lien (statutory or other), charge, or preference, priority or other security interest or preferential
 arrangement in the nature of a security interest of any kind or nature whatsoever (including any conditional sale or
 other title retention agreement, any easement, right of way or other encumbrance on title to real property, and any
 Capital Lease having substantially the same economic effect as any of the foregoing).

           “Liquidity” means, the sum of (i) the aggregate amount of cash and Cash Equivalents on the consolidated
 balance sheet of the Borrower and its Subsidiaries that is “unrestricted” in accordance with GAAP and (ii) at all times
 prior to the Delayed Draw Funding Date, the Delayed Draw Term Loan Commitment.

            “LLC Division” means the statutory division of any limited liability company into two or more limited
 liability companies pursuant to Section 18.217 of the Delaware Limited Liability Company Act or a comparable
 provision of a different jurisdiction’s laws, as applicable.

          “Loan” or “Loans” means, individually or collectively as the context requires, a Term Loan and the Roll-Up
 Loans.

           “Loan Documents” means this Agreement, each Note, the Agency Fee Letter, each Security Document, any
 fee letter or other document relating to the fees referred to in Section 2.08, and all other documents, certificates,
 instruments or agreements executed and delivered by a Loan Party for the benefit of the Agent or any Lender in
 connection herewith.

          “Loan Parties” means, collectively, the Borrower and each Guarantor.

          “Management Services Agreement” means the Second Amended and Restated Services Agreement entered
 into as of April 30, 2015 by and between Foresight Energy GP LLC and Murray American Coal, Inc. (or their



                                                           20
Case 20-41308           Doc 228         Filed 04/01/20 Entered 04/01/20 23:45:34                         Main Document
                                                  Pg 68 of 1005


 respective successors), as amended, amended and restated, modified or replaced from time to time pursuant to one or
 more agreements.

         “Management Incentive Plan” means the “Management Incentive Plan” as defined in the Restructuring
 Support Agreement.

           “Material Adverse Effect” means any material adverse effect on (i) the business, condition (financial or
 otherwise), operations, performance, properties or contingent liabilities of the Debtors, taken as a whole (other than
 by virtue of the commencement and continuation of the Chapter 11 Cases and the events and circumstances giving
 rise thereto); (ii) the ability of the Loan Parties, taken as a whole, to fully and timely perform their respective material
 obligations under this Agreement and the Loan Documents; (iii) the legality, validity, binding effect or enforceability
 against a Loan Party of a Loan Document to which it is a party; or (iv) the rights, remedies and benefits available to,
 or conferred upon, any Agent and any Lender or any Secured Party under any Loan Document.

          “Material Indebtedness” has the meaning specified in Section 8.01(e).

            “Material Real Property” means (a) any fee owned or leased real property interest held by a Loan Party on
 the Closing Date that has a fair market value (as reasonably determined by the Borrower in good faith) in excess of
 $5,000,000 on the Closing Date, (b) any fee owned real property acquired by a Loan Party after the Closing Date that
 has a total fair market value (as reasonably determined by the Borrower in good faith) in excess of $5,000,000 as of
 the date acquired and (c) any leasehold interest in real property leased by a Loan Party after the Closing Date with a
 total fair market value (as reasonably determined by the Borrower in good faith) in excess of $5,000,000 as of the date
 of the lease thereof.

           “Maturity Date” means the first to occur of: (a) the date that is 180 days following the Petition Date (the
 “Stated Maturity Date”); provided, that, if such date is not a Business Day, the Maturity Date shall be the preceding
 Business Day, (b) the Plan Effective Date, (c) the consummation of a sale or other disposition of all or substantially
 all assets of the Debtors under the section 363 of the Bankruptcy Code, and (d) the date on which the Obligations
 hereunder shall be accelerated in accordance with the provisions of this Agreement.

          “Mine” means any excavation or opening into the earth in the United States now and hereafter made from
 which coal or other minerals are or can be extracted on or from any of the real properties in which any Loan Party
 holds an ownership, leasehold or other interest.

          “Mining Financial Assurances” means letters of credit or performance bonds for reclamation or otherwise,
 surety bonds or escrow agreements and any payment or prepayment made with respect to, or certificates of deposit or
 other sums or assets required to be posted by the Borrower under Mining Laws for reclamation or otherwise.

           “Mining Laws” means any and all current or future applicable federal, state, local and foreign statutes, laws,
 regulations, legally-binding guidance, ordinances, rules, judgments, orders, decrees or common law causes of action
 relating to mining operations and activities, including, but not be limited to, the Federal Coal Leasing Amendments
 Act; the Surface Mining Control and Reclamation Act; all other applicable land reclamation and use statutes and
 regulations; the Mineral Leasing Act of 1920; the Federal Mine Safety Act of 1977; the Black Lung Act; and the Coal
 Act; each as amended, and any comparable state and local laws or regulations.

           “Mining Lease” means a lease, license or other use agreement which provides the Borrower or any Subsidiary
 the real property and water rights, other interests in land, including coal, mining and surface rights, easements, rights
 of way and options, and rights to timber and natural gas (including coalbed methane and gob gas) necessary or integral
 in order to recover coal from any Mine. Leases (other than Capital Leases or operating leases of personal property
 even if such personal property would become fixtures) which provide the Borrower or any other Subsidiary the right
 to construct and operate a conveyor, crusher plant, silo, load out facility, rail spur, shops, offices and related facilities
 on the surface of the Real Property containing such reserves shall also be deemed a Mining Lease.

         “Monthly Mine-Level Financial Reports” means financial reports with respect to the Borrower and its
 Subsidiaries, substantially in the form that has been previously provided to the Financial Advisor or in the form of



                                                              21
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                       Main Document
                                                 Pg 69 of 1005


 Exhibit I for any fiscal month that set forth mine-level operational financial information and operating statistics
 delivered in accordance with Section 6.01(c).

         “Monthly Consolidated Financial Reports” means financial reports with respect to the Borrower and its
 Subsidiaries, substantially in the form of Exhibit J hereto for any fiscal month that set forth consolidated information
 and operating statistics delivered in accordance with Section 6.01(c).

          “Moody’s” means Moody’s Investors Service, Inc. and any successor thereto.

         “Mortgage” means a mortgage, deed to secure debt, deed of trust or similar instrument in form and substance
 reasonably satisfactory to the Collateral Agent and the Required Lenders.

          “Mortgaged Property” means all Real Property that constitutes Collateral.

         “Multiemployer Plan” means any employee benefit plan of the type described in Section 4001(a)(3) of
 ERISA, to which the Borrower or any ERISA Affiliate makes or is obligated to make contributions, or during the
 preceding five plan years, has made or been obligated to make contributions.

          “Murray Energy” means Murray Energy Corporation, an Ohio corporation.

          “Murray Energy Group” has the meaning specified in the definition of “Permitted Holders”.

          “Narrative Report” means, with respect to the financial statements for which such narrative report is required,
 a management’s summary describing the operations of the Borrower and its Subsidiaries for the applicable fiscal
 quarter and for the period from the beginning of the then current fiscal year to the end of such period to which such
 financial statements relate.

           “Net Insurance/Condemnation Proceeds” means an amount equal to: (i) any cash payments or proceeds
 received by the Borrower or any of its Subsidiaries (a) under any casualty insurance policy in respect of a covered
 loss thereunder or (b) as a result of the taking of any assets of the Borrower or any of its Subsidiaries by any Person
 pursuant to the power of eminent domain, condemnation or otherwise, or pursuant to a sale of any such assets to a
 purchaser with such power under threat of such a taking, minus (ii) (a) any actual and reasonable costs incurred by the
 Borrower or any of its Subsidiaries in connection with the adjustment or settlement of any claims of the Borrower or
 such Subsidiary in respect thereof, (b) any bona fide direct costs incurred in connection with any sale of such assets
 as referred to in clause (i)(b) of this definition, including Taxes paid or payable as a result of any gain recognized or
 otherwise in connection therewith and (c) any payment of the outstanding principal amount of, premium or penalty,
 if any, and interest on any Indebtedness that is secured by a Lien on the assets subject to the relevant event described
 in clause (i)(a) or (b) above that is required that to be repaid as a result of such event.

            “Net Proceeds” means, with respect to any Disposition pursuant to Sections 7.05(b) or 7.05(c), the sum of
 (a) cash payments or proceeds actually received by the Borrower or any of its Subsidiaries in connection with such
 Disposition (including any cash received by way of deferred payment (excluding, for avoidance of doubt, royalty
 payments customary in the mining industry) pursuant to, or by monetization of, Cash Equivalents or a note receivable
 or otherwise, but only as and when so received) minus (b) the sum of (i) (A) the principal amount, premium or penalty,
 if any, interest and other amounts of any Indebtedness that is secured by (1) a Lien on an asset that is not Collateral or
 by a Lien on an asset that is Collateral which Lien is senior in priority to the Lien on such Collateral that secures the
 Obligations and, in each case, that is required to be repaid in connection with such Disposition (other than Indebtedness
 under the Loan Documents) or (B) any other required debt payments or required payments of other obligations relating
 to the Disposition, in each case, with the proceeds thereof, (ii) the reasonable or customary out-of- pocket fees and
 expenses incurred by the Borrower or its Subsidiaries in connection with such Disposition (including attorneys’ fees,
 accountants’ fees, investment banking fees, real property related fees and charges and brokerage and consultant fees),
 (iii) all Taxes required to be paid or accrued or reasonably estimated to be required to be paid or accrued as a result
 thereof, (iv) in the case of any Disposition by a non-Wholly Owned Subsidiary, the pro rata portion of the Net Proceeds
 thereof (calculated without regard to this clause (iv)) attributable to minority or other third party interests and not
 available for distribution to or for the account of the Borrower or a Wholly Owned Subsidiary as a result thereof and



                                                            22
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                       Main Document
                                                 Pg 70 of 1005


 (v) the amount of any reasonable reserve established in accordance with GAAP against any adjustment to the sale
 price or any liabilities (x) related to any of the applicable assets and (y) retained by the Borrower or any Subsidiary
 including, without limitation, pension and other post- employment benefit liabilities and liabilities related to
 environmental matters or against any indemnification obligations (however, the amount of any subsequent reduction
 of such reserve (other than in connection with a payment in respect of any such liability) shall be deemed to be Net
 Proceeds of such Disposition occurring on the date of such reduction).

        “New Common Equity” means the equity securities of Reorganized Foresight to be issued upon
 consummation of the Acceptable Plan in accordance with the Restructuring Support Agreement.

          “Note” means a Term Loan Note and/or a Roll-Up Loan Note, as the context may require.

          “Obligations” means all advances to, and debts, liabilities and obligations of every nature of each Loan Party,
 including obligations from the time to time owed to any Agent (including any former Agent), Lenders or any other
 Secured Party, under any Loan Document or otherwise with respect to any Loan, whether direct or indirect (including
 those acquired by assumption), absolute or contingent, due or to become due, now existing or hereafter arising and
 including interest and fees that accrue after the commencement by or against any Loan Party or any Affiliate thereof
 of any proceeding under any Debtor Relief Laws naming such Person as the debtor in such proceeding, regardless of
 whether such interest and fees are allowed claims in such proceeding.

          “Obligee Guarantor” has the meaning specified in Section 11.07.

           “OPEB” means post-employment benefits other than pension benefits, including, as applicable, medical,
 dental, vision, life and accidental death and dismemberment.

          “Orders” means, collectively, the Interim Order and the Final Order.

           “Organizational Documents” means, (a) with respect to any corporation, the certificate or articles of
 incorporation and the bylaws (or equivalent or comparable constitutive documents with respect to any non-US
 jurisdiction); (b) with respect to any limited liability company, the certificate or articles of formation or organization
 and operating agreement; and (c) with respect to any partnership, joint venture, trust or other form of business entity,
 the partnership, joint venture or other applicable agreement of formation or organization and any agreement,
 instrument, filing or notice with respect thereto filed in connection with its formation or organization with the
 applicable Governmental Authority in the jurisdiction of its formation or organization and, if applicable, any certificate
 or articles of formation or organization of such entity.

         “Other Connection Taxes” means, with respect to any Recipient, Taxes imposed as a result of a present or
 former connection between such Recipient and the jurisdiction imposing such Tax (other than connections arising
 from such Recipient having executed, delivered, become a party to, performed its obligations under, received
 payments under, received or perfected a security interest under, engaged in any other transaction pursuant to or
 enforced any Loan Document, or sold or assigned an interest in any Loan or Loan Document).

           “Other Taxes” means all present or future stamp, court or documentary, intangible, recording, filing or similar
 Taxes that arise from any payment made under, from the execution, delivery, performance, enforcement or registration
 of, from the receipt or perfection of a security interest under, or otherwise with respect to, any Loan Document, except
 any such Taxes that are Other Connection Taxes imposed with respect to an assignment (other than an assignment
 made pursuant to Section 10.13).

          “Overnight Rate” means, for any day, the greater of (a) the Federal Funds Rate in the case of any amount
 denominated in Dollars and (b) an overnight rate determined by the Administrative Agent in accordance with banking
 industry rules on interbank compensation.

          “Parent” means any direct or indirect parent of the Borrower.

          “Participant” has the meaning specified in Section 10.06(e).



                                                            23
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                       Main Document
                                                 Pg 71 of 1005


          “Participant Register” has the meaning specified in Section 10.06(e).

          “PATRIOT Act” has the meaning specified in Section 5.17(b).

          “Payment in Full” means, the time at which no Lender shall have any Commitments, any Loan or other
 Obligations unpaid, unsatisfied or outstanding (other than in respect of contingent obligations, indemnities and
 expenses related thereto that are not then payable or in existence).

        “PBGC” means the Pension Benefit Guaranty Corporation established pursuant to Subtitle A of Title IV of
 ERISA, or any successor thereto.

          “Pension Plan” means any “employee pension benefit plan” (as such term is defined in Section 3(2) of
 ERISA), other than a Multiemployer Plan, that is subject to Title IV of ERISA and is sponsored or maintained by the
 Borrower or any ERISA Affiliate or to which the Borrower or any ERISA Affiliate contributes or has an obligation
 to contribute, or in the case of a plan described in Section 4064(a) of ERISA, has made contributions at any time
 during the immediately preceding five plan years.

           “Permitted Holders” means, collectively, (a) (i) Chris Cline and his children and other lineal descendants,
 Robert E. Murray, Brenda L. Murray, Robert Edward Murray (son), Jonathan Robert Murray, Ryan Michael Murray
 (or any of their estates, or heirs or beneficiaries by will) and any Related Party of a Permitted Holder; (ii) the spouses
 or former spouses, widows or widowers and estates of any of the Persons referred to in clause (i) above; (iii) any trust
 having as its sole beneficiaries one or more of the persons listed in clauses (i) and (ii) above; and (iv) any Person a
 majority of the voting power of the outstanding Equity Interest of which is owned by one or more of the Persons
 referred to in clauses (i), (ii) or (iii) above, (b) Murray Energy Corporation, an Ohio corporation, and its Subsidiaries
 (“Murray Energy Group”), (c) any group (within the meaning of Section 13(d)(3) or Section 14(d)(2) of the Exchange
 Act or any successor provision) of which any of the foregoing are members; provided that, in the case of such group
 and without giving effect to the existence of such group or any other group, such Persons referenced in clauses (a)
 through (b) above, collectively, have beneficial ownership of more than 50% of the total voting power of the voting
 units or stock of the Borrower or Holdings (or any Parent), (d) Foresight Reserves L.P., (e) Holdings and any Parent
 and (f) the General Partner.

          “Permitted Liens” means each of the Liens permitted pursuant to Section 7.01.

          “Permitted Payments to Parent” means, without duplication as to amounts, dividends, distributions or the
 making of loans to Holdings or the General Partner, in each case, to the extent paid in accordance with the Cash Flow
 Forecast (subject to Permitted Variance):

           (1)      in amounts required for such entity to pay (i) general corporate overhead expenses (including, but
 not limited to, franchise taxes, legal expenses, accounting expenses, expenses to maintain their corporate existence
 and administrative expenses) and (ii) directors’ fees and expense reimbursements under its charter or by-laws or
 pursuant to written agreements entered into prior to the Closing Date with any such Person to the extent relating to
 the Borrower and its Subsidiaries, in each case, when due; provided the aggregate amount set forth in this clause (1)
 shall not exceed $50,000 in any fiscal month;

           (2)       to pay customary indemnification obligations of Holdings’ or the General Partner’s owing to
 directors, officers, employees or other Persons under its charter or by-laws or pursuant to written agreements entered
 into prior to the Closing Date with any such Person to the extent relating to the Borrower and its Subsidiaries; and

          (3)     to pay obligations of Holdings or the General Partner in respect of director and officer insurance
 (including premiums therefor) to the extent relating to the Borrower and its Subsidiaries.

          “Permitted Real Estate Encumbrances” means the following encumbrances which do not, in any case,
 individually or in the aggregate, materially detract from the value of any Mine subject thereto or interfere with the
 ordinary conduct of the business or operations of the Borrower and its Subsidiaries as presently conducted on, at or
 with respect to such Mine and as to be conducted following the Closing Date: (a) encumbrances customarily found



                                                            24
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                        Main Document
                                                 Pg 72 of 1005


 upon real property used for mining purposes in the applicable jurisdiction in which the applicable real property is
 located to the extent such encumbrances would be permitted or granted by a prudent operator of mining property
 similar in use and configuration to such real property (e.g., surface rights agreements, wheelage agreements and
 reconveyance agreements); (b) rights and easements of (i) owners of undivided interests in any of the real property
 where the Borrower and its Subsidiaries own less than 100% of the fee interest, (ii) owners of interests in the surface
 of any real property where the applicable party does not own or lease such surface interest, (iii) lessees, if any, of coal
 or other minerals (including oil, gas and coal bed methane) where the Borrower and its Subsidiaries do not own such
 coal or other minerals, and (iv) lessees of other coal seams and other minerals (including oil, gas and coal bed methane)
 not owned or leased by such party; (c) with respect to any real property in which the Borrower or any Subsidiary holds
 a leasehold interest, terms, agreements, provisions, conditions, and limitations (other than royalty and other payment
 obligations which are otherwise permitted hereunder) contained in the leases granting such leasehold interest and the
 rights of lessors thereunder (and their heirs, executors, administrators, successors, and assigns), subject to any
 amendments or modifications set forth in any landlord consent delivered in connection with a Mortgage; (d) farm,
 grazing, hunting, recreational and residential leases with respect to which the Borrower or any Subsidiary is the lessor
 encumbering portions of the real properties to the extent such leases would be granted or permitted by, and contain
 terms and provisions that would be acceptable to, a prudent operator of mining properties similar in use and
 configuration to such real properties; (e) royalty and other payment obligations to sellers or transferors of fee coal or
 lease properties to the extent such obligations constitute a lien not yet delinquent; (f) rights of others to subjacent or
 lateral support and absence of subsidence rights or to the maintenance of barrier pillars or restrictions on mining within
 certain areas as provided by any mining lease, unless in each case waived by such other person; and (g) rights of
 repurchase or reversion when mining and reclamation are completed.

          “Permitted Variance” has the meaning specified in Section 7.18.

        “Person” means any natural person, corporation, limited liability company, trust, joint venture, association,
 company, partnership, Governmental Authority or other entity.

          “Petition Date” has the meaning specified in the recitals to this Agreement

          “Plan” means any “employee benefit plan” (as such term is defined in Section 3(3) of ERISA) established by
 the Borrower or, with respect to any such plan that is subject to Section 412 of the Code or Title IV of ERISA, by any
 ERISA Affiliate.

          “Plan Effective Date” means the date of the substantial consummation (as defined in section 1101(2) of the
 Bankruptcy Code, which for purposes hereof shall be no later than the effective date) of one or more plans of
 reorganization confirmed pursuant to a final order entered by the Bankruptcy Court.

          “Platform” has the meaning specified in Section 6.02.

        “Prepetition Agent” means the “Administrative Agent” as defined in the Prepetition First Lien Credit
 Agreement.

         “Prepetition Debt” means, collectively, the Indebtedness of each Debtor outstanding and unpaid on the date
 on which such Person becomes a Debtor.

            “Prepetition First Lien Credit Agreement” means the Credit and Guaranty Agreement, dated as of March 28
 2017, by and among the Borrower, Holdings and the other guarantors party thereto, The Huntington National Bank,
 as facilities administrative agent, Lord Securities Corporation, as term administrative agent, and the other lenders party
 thereto from time to time, as amended, restated, supplemented or otherwise modified from time to time.

          “Prepetition First Lien Lender” means a “Lender” as defined in the Prepetition First Lien Credit Agreement.

        “Prepetition First Lien Obligations” means the “Obligations” as defined in the Prepetition First Lien Credit
 Agreement.




                                                             25
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                       Main Document
                                                 Pg 73 of 1005


          “Prepetition Second Lien Indenture” means the Indenture, dated as of March 28, 2017 among Foresight
 Energy, LLC, Foresight Energy Finance Corporation, the guarantors party thereto and Wilmington Trust, National
 Association, as trustee.

           “Prime Rate” means the rate of interest quoted in the print edition of The Wall Street Journal, Money Rates
 Section as the Prime Rate (currently defined as the base rate on corporate loans posted by at least 75% of the nation’s
 thirty (30) largest banks), as in effect from time to time. The Prime Rate is a reference rate and does not necessarily
 represent the lowest or best rate actually charged to any customer. Any Lender may make commercial loans or other
 loans at rates of interest at, above or below the Prime Rate.

          “Production Payments” means with respect to any Person, all production payment obligations and other
 similar obligations with respect to coal and other natural resources of such Person that are recorded as a liability or
 deferred revenue on the financial statements of such Person in accordance with GAAP.

          “Properties” has the meaning specified in Section 5.09(a).

          “Public Lender” has the meaning specified in Section 6.02.

          “Qualified Equity Interests” means all Equity Interests of a Person other than Disqualified Equity Interests.

          “Qualified Stock” means all Capital Stock of a Person other than Disqualified Stock.

          “Real Properties” means, collectively, all right, title and interest of the Borrower or any Subsidiary (including
 any leasehold or mineral estate) in and to any and all parcels of real property owned or operated by the Borrower or
 any Subsidiary, whether by lease, license or other use agreement, including but not limited to, coal leases and surface
 use agreements, together with, in each case, all improvements and appurtenant fixtures (including all conveyors,
 preparation plants or other coal processing facilities, silos, shops and load out and other transportation facilities),
 easements and other property and rights incidental to the ownership, lease or operation thereof, including but not
 limited to, access rights, water rights and extraction rights for minerals.

          “Recipient” means any Agent or any Lender, as applicable.

          “Register” has the meaning specified in Section 10.06(d).

          “Related Parties” means, with respect to any Person, such Person’s Affiliates and the partners, members,
 directors, officers, employees, affiliated investment funds or investment vehicles, managed, advised or sub-advised
 accounts, funds or other entities, investment advisors, sub-advisors or managers, agents, representatives, attorneys,
 advisors or controlling persons of such Person and of such Person’s Affiliates.

          “Related Party of a Permitted Holder” means:

          (a)      any immediate family member of any Permitted Holder; or

          (b)      any trust, corporation, partnership, limited liability company or other entity, the beneficiaries,
 stockholders, partners, members, owners or Persons beneficially holding a majority (and controlling) interest of which
 consist of any one or more Permitted Holders and/or such other Persons referred to in the immediately preceding
 clause (a).

          “Reorganization Plan” means a plan of reorganization in any or all of the Chapter 11 Cases of the Debtors.

        “Reorganized Foresight” means Holdings (or any other holding company or ultimate parent entity)
 immediately after consummation of the Reorganization Plan.

         “Reportable Event” means any of the events set forth in Section 4043(c) of ERISA, other than events for
 which the 30 day notice period has been waived.



                                                            26
Case 20-41308          Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                        Main Document
                                                Pg 74 of 1005


          “Reporting Period” as defined in the definition of “Budget Variance Report”.

          “Required Lenders” means, as of any date of determination, Lenders having more than 60% of the aggregate
 outstanding principal amount of the Loans and unused Commitment of all Lenders; provided that Loans and unused
 Commitments held or deemed held by any Defaulting Lender shall be excluded for purposes of making a determination
 of Required Lenders.

          “Required Prepayment Date” has the meaning specified in Section 2.05(l).

           “Requirement of Law” means as to any Person, the Organizational Documents of such Person, and any law,
 treaty, rule or regulation or determination of an arbitrator or a court or other Governmental Authority, in each case
 applicable to or binding upon such Person or any of its property or to which such Person or any of its property is
 subject.

          “Responsible Officer” means the chief executive officer, president or any vice president of the Borrower,
 General Partner or Holdings or any applicable Subsidiary and, in addition, any Person holding a similar position or
 acting as a director or managing director with respect to any Foreign Subsidiary of the Borrower or, with respect to
 financial matters, the chief financial officer, treasurer or assistant treasurer of the Borrower, General Partner or
 Holdings.

           “Restricted Payment” means (a) any dividend or other distribution (whether in cash, securities or other
 property) by the Borrower or any Subsidiary with respect to its Capital Stock, or any payment (whether in cash,
 securities or other property) by the Borrower or any Subsidiary, including any sinking fund or similar deposit, on
 account of the purchase, redemption, retirement, acquisition, cancellation or termination of any of its Equity Interests,
 or on account of any return of capital to its stockholders, partners or members (or the equivalent Person thereof) and
 (b) any payment or prepayment of principal of, premium, if any, or interest on, or redemption, purchase, retirement,
 defeasance (including covenant or legal defeasance), sinking fund or similar payment with respect to, any unsecured
 Indebtedness for borrowed money, Subordinated Indebtedness or Junior Lien Indebtedness.

           “Restructuring Support Agreement” means that certain Restructuring Support Agreement dated as of March
 10, 2020, executed and delivered by the Loan Parties and the other parties thereto, as such agreement may be amended,
 restated, supplemented or otherwise modified from time to time in accordance with the terms thereof.

         “Roll-Up Amount” means, with respect to each Roll-Up Lender, the amount, if any, of the Prepetition First
 Lien Obligations held by such Roll-Up Lender (or one or more of its affiliates or any investment advisory client
 managed or advised by such Roll-Up Lender) equal to 0.808625 times the sum of (x) the amount of Initial Term Loans
 funded by such Roll-Up Lender (or one or more of its affiliates or any investment advisory client managed or advised
 by such Roll-Up Lender) on the Closing Date and (y) the amount of Delayed Draw Term Loan funded by such Roll-
 Up Lender (or one or more of its affiliates or any investment advisory client managed or advised by such Roll-Up
 Lender) on the Delayed Draw Funding Date. The aggregate Roll-Up Amount of all Roll-Up Lenders shall not exceed
 $75,000,000.

          “Roll-Up Facility” as defined in the recitals hereto.

           “Roll-Up Lender” means a Consenting First Lien Lender that is a Term Lender (or whose affiliates or whose
 affiliated investment funds, investment vehicles, investment advisory clients or other entities that are managed or
 advised by such Consenting First Lien Lender is a Term Lender), and any other Person that becomes a Roll-Up Lender
 pursuant to an Assignment and Assumption Agreement.

        “Roll-Up Loan Note” means a promissory note in the form of Exhibit C-2, as it may be amended, restated,
 supplemented or otherwise modified from time to time.

          “Roll-Up Loans” as defined in Section 2.01(b)(iii).

          “Roll-Up Notice” as defined in Section 2.01(b)(iii).



                                                            27
Case 20-41308          Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                        Main Document
                                                Pg 75 of 1005


          “Sale and Lease-Backs” has the meaning assigned to such term in Section 7.16.

         “S&P” means Standard & Poor’s Ratings Services, a division of The McGraw-Hill Companies, Inc. and any
 successor thereto.

          “Same Day Funds” means immediately available funds.

          “Sanctions” has the meaning specified in Section 5.17(a).

          “Sanctions Laws” has the meaning specified in Section 5.17(a).

           “SEC” means the Securities and Exchange Commission, or any Governmental Authority succeeding to any
 of its principal functions. “Secured Parties” means, collectively, the Agents and the Lenders.

           “Security Documents” means (i) the Orders, and (ii) to the extent requested by the Collateral Agent or the
 Required Lenders, any security agreement, pledge agreement, intellectual property security agreements, the Mortgages
 (if any), each of the supplements thereto and any other documents, agreements or instruments, in each case, in form
 and substance reasonably satisfactory to the Collateral Agent and the Required Lenders, delivered to the Collateral
 Agent and/or the Lenders pursuant to this Agreement or any other Loan Documents or the Orders in order to grant or
 purport to grant a Lien on any assets of the Borrower or any other Loan Party to secure the Obligations.

          “Similar Business” means any of the following, whether domestic or foreign: the mining, production,
 marketing, sale, trading and transportation (including, without limitation, any business related to terminals) of natural
 resources including coal, ancillary natural resources and mineral products, exploration of natural resources, any
 acquired business activity so long as a material portion of such acquired business was otherwise a Similar Business,
 and any business that is ancillary or complementary to the foregoing.

          “Stated Equity Value” means the “Stated Equity Value” as defined in the Restructuring Support Agreement.

          “Stated Maturity Date” has the meaning in clause (a) of the definition of “Maturity Date.”

           “Subordinated Indebtedness” means any Indebtedness of the Borrower or any Guarantor that is expressly
 subordinated in right of payment to the Indebtedness under the Loan Documents pursuant to a written agreement to
 that effect.

           “Subsidiary” means, with respect to any Person, any corporation, association, limited liability company or
 other business entity of which more than 50% of the outstanding Voting Stock is owned, directly or indirectly, by, or,
 in the case of a partnership, the sole general partner or the managing partner or the only general partners of which are,
 such Person and one or more Subsidiaries of such Person (or a combination thereof). Unless otherwise specified, all
 references herein to a “Subsidiary” or to “Subsidiaries” shall refer to a Subsidiary or Subsidiaries of the Borrower.

          “Superpriority Claim” means the “DIP Superpriority Claim” as defined in the Orders.

          “Surety Bonds” means surety bonds obtained by the Borrower or any Subsidiary consistent with market
 practice and the indemnification or reimbursement obligations of the Borrower or such Subsidiary in connection
 therewith.

          “Taxes” means all present or future taxes, levies, imposts, duties, deductions, withholdings (including backup
 withholding), assessments, fees or other charges imposed by any Governmental Authority, including any interest,
 additions to tax or penalties applicable thereto.

         “Term Lender” means each financial institution listed on the signature pages hereto as a Lender (other than
 a Roll-Up Lender) and any other Person that becomes a party hereto pursuant to an Assignment and Assumption
 Agreement, in each case, that has a Term Loan Commitment or is a holder of a Term Loan.




                                                            28
Case 20-41308          Doc 228       Filed 04/01/20 Entered 04/01/20 23:45:34                     Main Document
                                               Pg 76 of 1005


         “Term Loan” means the Initial Term Loan and the Delayed Draw Term Loan.

       “Term Loan Commitment” means the Initial Term Loan Commitment and the Delayed Draw Term Loan
 Commitment.

         “Term Loan Facility” means the Initial Term Loan Facility and/or the Delayed Draw Term Loan Facility.

        “Term Loan Note” means a promissory note in the form of Exhibit C-1, as it may be amended, restated,
 supplemented or otherwise modified from time to time.

         “Threshold Amount” means $5,000,000.

          “Transactions” means the transactions contemplated herein to occur on the Closing Date, including the
 funding of the Initial Term Loan Facility, the provision of the Delayed Draw Term Loan Facility, the deemed funding
 of the Roll-Up Loans, and the commencement of the Chapter 11 Cases.

          “Two-Week Test Period” means, at any time, the two-week period ended on the immediately preceding
 Friday; provided that only periods ending on the second Friday following the Closing Date and each second Friday
 thereafter shall constitute Two-Week Test Periods.

         “Type” means, with respect to a Loan, its character as a Base Rate Loan or a Eurocurrency Rate Loan.

         “UCC” means the Uniform Commercial Code as in effect in the applicable state of jurisdiction.

           “Unfunded Pension Liability” means the excess of a Pension Plan’s accrued benefit liabilities under Section
 4001 (a)(16) of ERISA, over the current value of that Pension Plan’s assets, determined in accordance with the
 actuarial assumptions used for funding the Pension Plan pursuant to Section 412 of the Code for the applicable plan
 year.

         “United States” and “U.S.” mean the United States of America.

         “U.S. Government Obligations” means obligations issued or directly and fully guaranteed or insured by the
 United States of America or by any agency or instrumentality thereof, provided that the full faith and credit of the
 United States of America is pledged in support thereof.

         “U.S. Tax Compliance Certificate” has the meaning specified in Section 3.01(e).

         “Voting Stock” means, with respect to any Person, Capital Stock of any class or kind ordinarily having the
 power to vote for the election of directors, managers or other voting members of the governing body of such Person.

         “Waivable Mandatory Prepayment” has the meaning specified in Section 2.05(l).

         “Wholly Owned” means, with respect to any Subsidiary, a Subsidiary all of the outstanding Capital Stock of
 which (other than any director’s qualifying shares) is owned by the Borrower and one or more Wholly Owned
 Subsidiaries (or a combination thereof).

         “Withholding Agent” means any Loan Party and the Administrative Agent.

          “Write-Down and Conversion Powers” means, with respect to any EEA Resolution Authority, the write-
 down and conversion powers of such EEA Resolution Authority from time to time under the Bail-In Legislation for
 the applicable EEA Member Country, which write-down and conversion powers are described in the EU Bail-In
 Legislation Schedule.

          1.02     Other Interpretive Provisions. With reference to this Agreement and each other Loan Document,
 unless otherwise specified herein or in such other Loan Document:



                                                          29
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                         Main Document
                                                 Pg 77 of 1005


           (a)      The definitions of terms herein shall apply equally to the singular and plural forms of the terms
 defined. Whenever the context may require, any pronoun shall include the corresponding masculine, feminine and
 neuter forms. The words “include,” “includes” and “including” shall be deemed to be followed by the phrase “without
 limitation.” The word “will” shall be construed to have the same meaning and effect as the word “shall.” Unless the
 context requires otherwise, (i) any definition of or reference to any agreement, instrument or other document
 (including any Organizational Document) shall be construed as referring to such agreement, instrument or other
 document as from time to time amended, supplemented or otherwise modified (subject to any restrictions on such
 amendments, supplements or modifications set forth herein or in any other Loan Document), (ii) any reference herein
 to any Person shall be construed to include such Person’s successors and assigns, (iii) the words “herein,” “hereof”,
 “hereto” and “hereunder,” and words of similar import when used in any Loan Document, shall be construed to refer
 to such Loan Document in its entirety and not to any particular provision thereof, (iv) all references in a Loan
 Document to Articles, Sections, Exhibits and Schedules shall be construed to refer to Articles and Sections of, and
 Exhibits and Schedules to, the Loan Document in which such references appear, (v) any reference to any law shall
 include all statutory and regulatory provisions consolidating, amending, replacing or interpreting such law and any
 reference to any law or regulation shall, unless otherwise specified, refer to such law or regulation as amended,
 modified or supplemented from time to time, and (vi) the words “asset” and “property” shall be construed to have the
 same meaning and effect and to refer to any and all tangible and intangible assets and properties, including cash,
 securities, accounts and contract rights.

          (b)      In the computation of periods of time from a specified date to a later specified date, the word “from”
 means “from and including;” the words “to” and “until” each mean “to but excluding;” and the word “through” means
 “to and including.”

          (c)       Section headings herein and in the other Loan Documents are included for convenience of reference
 only, shall not constitute a part hereof, shall not be given any substantive effect and shall not affect the interpretation
 of this Agreement or any other Loan Document.

          1.03      Accounting Terms.

         (a)      Generally. All accounting terms not specifically or completely defined herein shall be construed in
 conformity with, and all financial data (including financial ratios and other financial calculations) required to be
 submitted pursuant to this Agreement shall be prepared in conformity with GAAP applied on a consistent basis.

           (b)       Changes in GAAP. If at any time any Accounting Change would affect the computation of any
 financial ratio or requirement set forth in any Loan Document, and either the Borrower or the Required Lenders shall
 so request, the Administrative Agent, the Required Lenders and the Borrower shall negotiate in good faith to amend
 such ratio or requirement to preserve the original intent thereof in light of such Accounting Change as if such
 Accounting Change has not been made (subject to the approval of the Required Lenders); provided that, until so
 amended, all financial covenants, standards and terms in this Agreement shall continue to be calculated or construed
 as if such Accounting Change had not occurred.

         1.04    Times of Day. Unless otherwise specified, all references herein to times of day shall be references
 to New York City time (daylight or standard, as applicable).

           1.05     LLC Division. For all purposes under the Loan Documents, in connection with any division or plan
 of division under Delaware Law (including any LLC Division, or any comparable event under a different jurisdiction’s
 laws, as applicable): (a) if any asset, right, obligation or liability of any Person becomes the asset, right, obligation or
 liability of a different Person, then it shall be deemed to have been transferred from the original Person to the
 subsequent Person, and (b) if any new Person comes into existence, such new Person shall be deemed to have been
 organized on the first date of its existence by the holders of its Equity Interests.

                                            ARTICLE II
                               THE COMMITMENTS AND CREDIT EXTENSIONS

          2.01      The Loans.



                                                             30
Case 20-41308          Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                        Main Document
                                                Pg 78 of 1005


          (a)      Term Loans.

                    (i)      Subject to the terms and conditions set forth herein, each Term Lender agrees, severally
 and not jointly, to make a loan (“Initial Term Loan”) to the Borrower in Dollars, on the Closing Date in an aggregate
 principal amount not to exceed such Term Lender’s Initial Term Loan Commitment. Initial Term Loans may be Base
 Rate Loans or Eurocurrency Rate Loans, as further provided herein.

                    (ii)   Subject to the terms and conditions set forth herein, each Term Lender agrees, severally
 and not jointly, to make a loan (“Delayed Draw Term Loans”) to the Borrower in Dollars, on the Delayed Draw
 Funding Date in an aggregate principal amount not to exceed such Term Lender’s Delayed Draw Term Loan
 Commitment. Delayed Draw Term Loans may be Base Rate Loans or Eurocurrency Rate Loans, as further provided
 herein.

                      (iii)   Borrower may make only one Borrowing under the Initial Term Loan Commitment on the
 Closing Date, and Borrower may make only one Borrowing under the Delayed Draw Term Loan Commitment on the
 Delayed Draw Funding Date. Any amount borrowed under this Section 2.01(a) and subsequently repaid or prepaid
 may not be reborrowed. Each Term Lender’s Initial Term Loan Commitment or the Delayed Draw Term Loan
 Commitment shall terminate immediately and without any further action on the Closing Date or the Delayed Draw
 Funding Date, as applicable, after giving effect to the funding of such Term Lender’s Commitment on such date.
 Notwithstanding anything to the contrary, unless the Administrative Agent and the Borrower shall otherwise agree,
 the initial Interest Period of any Delayed Draw Term Loans that are Eurocurrency Rate Loans shall commence on the
 date of funding and shall end on the last day of the then-current Interest Period for all Eurocurrency Rate Loans that
 are Initial Term Loans then outstanding.

          (b)      Roll-Up Loan.

                    (i)       Subject to the terms and conditions set forth herein and the Orders, the Prepetition First
 Lien Obligations held by each Consenting First Lien Lender shall be automatically substituted and exchanged for (and
 prepaid by) loans hereunder (the “Roll-Up Loans”) in a principal amount equal to such Roll-Up Lender’s Roll-Up
 Amount on the Final Order Entry Date. Such Roll-Up Loans shall be deemed funded on the Final Order Entry, and
 shall constitute, and shall be deemed to be, Loans hereunder.

                   (ii)     No later than three (3) Business Days prior to the Final Order Entry, the Administrative
 Agent shall have received a written notice, in form and substance satisfactory to the Administrative Agent and the
 Required Lenders (the “Roll-Up Notice”), which shall (A) attach a schedule identifying each Roll-Up Lender and the
 principal amount of such Roll-Up Lender’s Roll-Up Loans deemed issued hereunder, (B) attach a joinder to this
 Agreement executed by such Roll-Up Lender, pursuant to which, inter alia, such Roll-Up Lender shall represent and
 warrant that it has delivered to the Administrative Agent a completed Administrative Questionnaire, such
 documentation and other information under applicable “know your customer” and anti-money laundering rules and
 regulations requested by the Administrative Agent and such documentation and other information required under
 Section 3.01, and (C) include a certification from the Borrower as to the accuracy of the information set forth in such
 schedule delivered pursuant to clause (A) of this Section 2.01(b)(ii).

                    (iii)     The parties hereto agree that the Administrative Agent and the Prepetition Agent may each
 conclusively rely on the Roll-Up Notice and this Section 2.01(b) in adjusting the Register and the Register (as defined
 in the Prepetition First Lien Credit Agreement) to reflect the cancellation of the Prepetition First Lien Obligations and
 the Roll-Up Loans to be received by the Roll-Up Lender on the Final Order Entry Date.

          2.02     Borrowings, Conversions and Continuations of the Loans.

           (a)      Each Borrowing, each conversion of Loans from one Type to the other, and each continuation of
 Eurocurrency Rate Loans shall be made by delivery by Borrower of an irrevocable Borrowing Notice, appropriately
 completed and signed by a Responsible Officer of the Borrower, to the Administrative Agent. Each Borrowing Notice
 must be received by the Administrative Agent, not later than 11:00 a.m., New York City time, (i) three Business Days
 (or, such shorter period as may be acceptable to the Administrative Agent) prior to the requested date of any Borrowing



                                                            31
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                        Main Document
                                                 Pg 79 of 1005


 of, conversion to or continuation of Eurocurrency Rate Loans or of any conversion of Eurocurrency Rate Loans, and
 (ii) one (1) Business Day prior to the requested date of any Borrowing of Base Rate Loans. Each Borrowing of,
 conversion to or continuation of Eurocurrency Rate Loans shall be in a principal amount of $1,000,000 or a whole
 multiple of $500,000 in excess thereof. Each Borrowing of or conversion to Base Rate Loans shall be in a principal
 amount of $500,000 or a whole multiple of $250,000 in excess thereof. Each Borrowing Notice shall specify (i)
 whether the requested Borrowing is to be a Base Rate Loan or Eurocurrency Rate Loan, (ii) the requested date of the
 Borrowing, a conversion of Loans from one Type to the other, or a continuation of Eurocurrency Rate Loans, as the
 case may be (which shall be a Business Day), (iii) the principal amount of Loans to be borrowed, converted or
 continued, (iv) the Type of Loans to be borrowed or to which existing Loans are to be converted and (v) wire
 instructions for where Loan funds should be sent. If the Borrower fails to specify a Type of Loan in a Borrowing
 Notice or if the Borrower fails to give a timely notice requesting a conversion or continuation of Eurocurrency Rate
 Loans, then the Loans shall be made as, or converted to, Base Rate Loans. Any such automatic conversion to Base
 Rate Loans shall be effective as of the last day of the Interest Period then in effect with respect to the applicable
 Eurocurrency Rate Loans.

           (b)      Following receipt of a Borrowing Notice, the Administrative Agent shall promptly notify each
 applicable Lender of the amount of its Applicable Percentage under the applicable Facility of the Loans, and if no
 timely notice of a conversion or continuation is provided by the Borrower, the Administrative Agent shall notify each
 applicable Lender of the details of any automatic conversion to Base Rate Loans as described in the preceding
 subsection. In the case of a Borrowing of any Term Loans, each applicable Lender shall make the amount of its Term
 Loan available to the Administrative Agent in immediately available funds at the Administrative Agent’s Office, not
 later than 1:00 p.m. on the Business Day specified in the applicable Borrowing Notice. Upon satisfaction of the
 applicable conditions set forth in Section 4.02 (and, if such Borrowing is the initial Credit Extension, Section 4.01),
 and receipt of all requested Loan funds, the Administrative Agent shall make all funds so received available to the
 Borrower in like funds as received by the Administrative Agent by wire transfer of such funds in accordance with
 instructions provided to (and reasonably acceptable to) the Administrative Agent by the Borrower.

          (c)       Except as otherwise provided herein, a Eurocurrency Rate Loan may be continued or converted only
 on the last day of an Interest Period for such Eurocurrency Rate Loan. During the existence of an Event of Default,
 no Loans of any Facility may be requested as, converted to or continued as Eurocurrency Rate Loans if the Required
 Lenders or the Administrative Agent so notify the Borrower.

          (d)      Promptly on each Interest Rate Determination Date, Administrative Agent shall determine (which
 determination shall, absent manifest error, be final, conclusive and binding upon all parties) the interest rate that shall
 apply to the Eurocurrency Rate Loans for which an interest rate is then being determined for the applicable Interest
 Period and shall promptly give notice thereof (in writing or by telephone confirmed in writing) to the Borrower and
 each Lender. At any time that Base Rate Loans are outstanding, the Administrative Agent shall notify the Borrower
 and the Lenders of any change in the Prime Rate used in determining the Base Rate promptly following the public
 announcement of such change.

          (e)      After giving effect to all Borrowings, all conversions of Loans from one type to the other, and all
 continuations of Loans as the same Type, there shall not be more than four (4) Interest Periods in effect hereunder in
 respect of the Loans.

          2.03     [Reserved].

          2.04     [Reserved].

          2.05     Prepayments.

          (a)      Voluntary Prepayments. The Borrower may, upon written notice to the Administrative Agent at
 any time or from time to time voluntarily prepay Loans, in each case, in whole or in part, subject to Section 2.09(c)
 and Section 2.09(d); provided that (i) such notice must be received by the Administrative Agent not later than 11:00
 a.m., New York City time (or such other later date and time which is acceptable to the Administrative Agent), (A)
 three Business Days prior to any date of prepayment of Eurocurrency Rate Loans, and (B) one Business Day prior to
 the date of prepayment of Base Rate Loans; (ii) any prepayment of Eurocurrency Rate Loans shall be in a principal


                                                             32
Case 20-41308          Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                        Main Document
                                                Pg 80 of 1005


 amount of $1,000,000 or a whole multiple of $500,000 in excess thereof; and (iii) any prepayment of Base Rate Loans
 shall be in a principal amount of $500,000 or a whole multiple of $250,000 in excess thereof or, in each case, the
 entire amount thereof then outstanding. Each such notice shall specify the date and amount of such prepayment and
 the Facility(ies) and Type(s) of Loans to be prepaid and, if Eurocurrency Rate Loans are to be prepaid, the Interest
 Period(s) of such Loans. The Administrative Agent will promptly notify each Lender of its receipt of each such notice
 and of the amount of such Lender’s ratable portion of such prepayment (based on such Lender’s Applicable Percentage
 in respect of the applicable Facility). If such notice is given by the Borrower, the Borrower shall make such
 prepayment and the payment amount specified in such notice shall be due and payable on the date specified therein;
 provided that any such notice may be contingent upon the consummation of a refinancing or other transactions and
 such notice may otherwise be extended or revoked by the Borrower by notice to the Administrative Agent prior to the
 specified effective date if such condition is not satisfied, in each case, with the requirements of Section 3.05 to apply
 to any failure of the contingency to occur and any such extension or revocation. Any prepayment of a Eurocurrency
 Rate Loan shall be accompanied by all accrued interest on the amount prepaid, together with any additional amounts
 required pursuant to Section 3.05. Each prepayment of the outstanding Loans pursuant to this Section 2.05(a) shall
 be applied as specified in Section 2.05(j), and each prepayment of Loans shall be paid to the Lenders in accordance
 with their respective Applicable Percentages.

          (b)      [Reserved].

          (c)      [Reserved].

          (d)      [Reserved].

           (e)     Asset Sales. No later than five Business Days following the consummation of any Disposition by
 the Borrower or a Subsidiary pursuant to Sections 7.05(b) or 7.05(c) that results in the amount of Net Proceeds (as of
 the date of such receipt) exceeding $250,000 in an aggregate amount of all Net Proceeds received since the Closing
 Date (such excess amount, the “Excess Proceeds”), the Borrower shall prepay the Loans in an aggregate amount equal
 to 100% of the Excess Proceeds. Any prepayment of a Eurocurrency Rate Loan shall be accompanied by all accrued
 interest on the amount prepaid, together with additional amounts required pursuant to Section 3.05.

          (f)      Issuance of Debt. On the first Business Day following receipt by Borrower or any of its Subsidiaries
 of any cash proceeds from the incurrence of any Indebtedness of Borrower or any of its Subsidiaries (other than with
 respect to Indebtedness permitted to be incurred pursuant to Section 7.03), Borrower shall prepay the Loans in an
 aggregate amount equal to 100% of such proceeds, net of underwriting discounts and commissions and other
 reasonable costs and expenses associated therewith, including reasonable legal fees and expenses.

          (g)      [Reserved].

         (h)      Insurance/Condemnation Proceeds. No later than five Business Days following the date of receipt
 by the Borrower or any of its Subsidiaries, or the Collateral Agent as loss payee, of any Net Insurance/Condemnation
 Proceeds, Borrower shall prepay the Loans in an aggregate amount equal to such Net Insurance/Condemnation
 Proceeds.

          (i)      [Reserved].

          (j)       Application of Prepayments. Each prepayment of the outstanding Loans (including all Base Rate
 Loans and all Eurocurrency Rate Loans) pursuant to this Section 2.05 shall be accompanied by accrued interest to the
 extent required by Section 2.08. Subject to the Carve Out, each prepayment of Loans pursuant to Section 2.05 shall
 be, subject to the Orders, remitted by the Borrower to the Administrative Agent and applied by the Administrative
 Agent in accordance with Section 8.04.

          (k)      [Reserved].

          (l)     Waivable Mandatory Prepayment. Anything contained herein to the contrary notwithstanding, in
 the event the Borrower is required to make any mandatory prepayment (a “Waivable Mandatory Prepayment”) not



                                                            33
Case 20-41308           Doc 228         Filed 04/01/20 Entered 04/01/20 23:45:34                         Main Document
                                                  Pg 81 of 1005


 less than five Business Days prior to the date (the “Required Prepayment Date”) on which the Borrower is required to
 make such Waivable Mandatory Prepayment, the Borrower shall notify the Administrative Agent in writing of the
 amount of such prepayment, and the Administrative Agent will promptly thereafter notify each Lender of the amount
 of such Lender’s Applicable Percentage of such Waivable Mandatory Prepayment. Each such Lender may exercise
 such option by giving written notice to the Borrower and the Administrative Agent of its election to do so on or before
 5:00 p.m., New York City time, on the third Business Day prior to the Required Prepayment Date (it being understood
 that any Lender which does not notify the Borrower and the Administrative Agent of its election to exercise such
 option on or before the third Business Day prior to the Required Prepayment Date shall be deemed to have elected, as
 of such date, not to exercise such option). On the Required Prepayment Date, (i) the Borrower shall pay to the
 Administrative Agent an amount equal to that portion of the Waivable Mandatory Prepayment that is payable to those
 Lenders that have elected not to exercise such option, to prepay the Loans of such Lenders (which prepayment shall
 be applied in accordance with the terms of this Section 2.05), and (ii) the portion of the Waivable Mandatory
 Prepayment otherwise payable to Lenders that have elected to exercise such option (“Declined Proceeds”) may be
 retained by the Borrower to be used for any purpose not prohibited hereunder.

          2.06      [Reserved].

         2.07      Repayment of Loans. The Borrower hereby unconditionally agrees to pay to the Administrative
 Agent for the account of each Lender the then unpaid principal amount of such Lender’s Loans, together with all other
 amounts owed hereunder with respect thereto, including all applicable fees in accordance with Section 2.09 on the
 Maturity Date.

          2.08      Interest.

          (a)      Subject to the provisions of subsection (b) below, (i) each Eurocurrency Rate Loan shall bear interest
 on the outstanding principal amount thereof for each Interest Period at a rate per annum equal to the Eurocurrency
 Rate for such Interest Period plus the Applicable Rate; and (ii) each Base Rate Loan shall bear interest on the
 outstanding principal amount thereof from the applicable borrowing date at a rate per annum equal to the Base Rate
 plus the Applicable Rate.

           (b)       If any amount of principal or interest of any Loan (or any other Obligations) is not paid when due
 (without regard to any applicable grace periods), whether at stated maturity, by acceleration or otherwise, such amount
 shall thereafter bear interest at a fluctuating interest rate per annum at all times equal to the Default Rate to the fullest
 extent permitted by applicable Laws. Accrued and unpaid interest on past due amounts (including interest on past due
 interest) shall be due and payable upon demand.

          (c)      Interest on each Loan shall be due and payable in arrears on each Interest Payment Date applicable
 thereto and at such other times as may be specified herein. Interest hereunder shall be due and payable in accordance
 with the terms hereof before and after judgment, and before and after the commencement of any proceeding under
 any Debtor Relief Law.

          2.09      Fees.

          (a)      Agency Fee. The Borrower shall pay to each Agent for its own account, in Dollars, fees in the
 amounts and at the times specified in the Agency Fee Letter. Such fees shall be fully earned when paid and shall not
 be refundable for any reason whatsoever.

           (b)     Upfront Fee. The Borrower shall pay to the Administrative Agent (i) on the Closing Date for the
 account of each Initial Term Lender, as fee compensation for the funding of such Initial Term Lender’s Initial Term
 Loan, an upfront fee in an amount equal to 3.00% of the aggregate principal amount of such Initial Term Lender’s
 Initial Term Loan Commitment, payable to such Initial Term Lender from the proceeds of its Initial Term Loan on
 the Closing Date, and (ii) on the Delayed Draw Funding Date for the account of each Delayed Draw Term Lender, as
 fee compensation for the funding of such Delayed Draw Term Lender’s Delayed Draw Term Loan, an upfront fee in
 an amount equal to 3.00% of the aggregate principal amount of such Delayed Draw Term Lender’s Delayed Draw
 Term Loan Commitment, payable to such Delayed Draw Term Lender from the proceeds of its Delayed Draw Term



                                                              34
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                       Main Document
                                                 Pg 82 of 1005


 Loan on the Delayed Draw Funding Date. Such upfront fees will be in all respects fully earned, due and payable upon
 the funding of the Initial Term Loans or the Delayed Draw Term Loans, as the case may be, and shall be non-
 refundable and non-creditable thereafter.

           (c)       Put Option Premium. The Borrower shall pay to each Backstop Lender (or any Affiliate, or any
 affiliated investment fund, investment vehicle or entity that is managed, advised or sub-advised by such Backstop
 Lender or such Affiliate, in each case, designated by such Backstop Lender in writing to the Administrative Agent) a
 put option premium in an amount equal to 5.0% of the aggregate principal amount of such Backstop Lender’s Backstop
 Commitments (as in effect immediately prior to the funding of Initial Term Loans), which shall be due on the Plan
 Effective Date and payable in the form of New Common Equity at a 35% discount to the Stated Equity Value, subject
 to dilution for the Management Incentive Plan; provided, however, that, after the exercise of remedies provided for in
 Section 8.02 (or after the Loans have automatically become immediately due and payable) upon the occurrence of any
 Event of Default under this Agreement or upon repayment of the Loans in full and termination of all Commitments
 without the occurrence of the Plan Effective Date, the Borrower shall pay to each Backstop Lender (or any Affiliate,
 or any affiliated investment fund, investment vehicle or entity that is managed, advised or sub-advised by such
 Backstop Lender or such Affiliate, in each case, designated by such Backstop Lender in writing to the Administrative
 Agent) in cash a put option premium in an amount equal to $10,000,000, ratably in accordance with their Backstop
 Commitments (as in effect immediately prior to the funding of the Initial Term Loans). Such put option premium will
 be fully earned in all respects on the Closing Date, and shall be non-refundable and non-creditable thereafter. The
 Agents shall have no responsibility for the distribution of any New Common Equity to the Backstop Lenders.

           (d)      Exit Fee. The Borrower shall pay to each Term Lender (or any Affiliate, or any affiliated investment
 fund, investment vehicle or entity that is managed, advised or sub-advised by such Term Lender or such Affiliate, in
 each case, designated by such Term Lender in writing to the Administrative Agent) an exit fee in an aggregate amount
 equal to 1.0% of the aggregate principal amount of the Term Loan Commitment (prior to any funding of Term Loans),
 which shall be due on the Plan Effective Date, ratably in accordance with Term Loans then outstanding and any
 unfunded Term Loan Commitments then outstanding, and payable in the form of New Common Equity at a 35%
 discount to the Stated Equity Value, subject to dilution for the Management Incentive Plan; provided, however, that,
 after the exercise of remedies provided for in Section 8.02 (or after the Loans have automatically become immediately
 due and payable) upon the occurrence of any Event of Default under this Agreement or upon repayment of the Loans
 in full and termination of all Commitments without the occurrence of the Plan Effective Date, the Borrower shall pay
 to each Term Lender (or any Affiliate, or any affiliated investment fund, investment vehicle or entity that is managed,
 advised or sub-advised by such Term Lender or such Affiliate, in each case, designated by such Term Lender in
 writing to the Administrative Agent) in cash an exit fee in an amount equal to $2,000,000, ratably in accordance with
 their Term Loans outstanding at such time. Such exit fees will be fully earned in all respects on the Closing Date, and
 shall be non-refundable and non-creditable thereafter. The Agents shall have no responsibility for the distribution of
 any New Common Equity to the Term Lenders.

           (e)      Delayed Draw Term Loan Commitment Fee. The Borrower shall pay to the Administrative Agent,
 for the account of each Delayed Draw Term Lender, as fee compensation for such Term Lender’s Delayed Draw Term
 Loan Commitment, a commitment fee (the “Delayed Draw Term Loan Commitment Fee”) on the Delayed Draw Term
 Loan Commitment (whether or not then available) of such Term Lender accruing, during the period commencing from
 the Closing Date to the Delayed Draw Funding Date, at a rate per annum equal to the 1.00%, payable to such Term
 Lender from the proceeds of its Delayed Draw Term Loan on the Delayed Draw Funding Date. Such Delayed Draw
 Term Loan Commitment Fee will be in all respects fully earned, due and payable upon the funding of the Delayed
 Draw Term Loans, and shall be non-refundable and non-creditable thereafter.

          2.10     Computation of Interest and Fees.

           (a)      All computations of interest for Base Rate Loans, where the rate of interest is calculated on the basis
 of the Prime Rate, shall be made on the basis of a year of 365 or 366 days, as the case may be, and actual days elapsed.
 All other computations of fees and interest shall be made on the basis of a 360-day year and actual days elapsed.
 Interest shall accrue on each Loan for the day on which the Loan is made, and shall not accrue on a Loan, or any
 portion thereof, for the day on which the Loan or such portion is paid; provided that any Loan that is repaid on the
 same day on which it is made shall, subject to Section 2.12(a), bear interest for one day. Each determination by an



                                                            35
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                       Main Document
                                                 Pg 83 of 1005


 Administrative Agent of an interest rate or fee hereunder shall be conclusive and binding for all purposes, absent
 manifest error.

          2.11     Evidence of Debt.

           (a)      The Credit Extensions made by each Lender shall be evidenced by one or more accounts or records
 maintained by such Lender and by the Administrative Agent in the ordinary course of business. The accounts or
 records maintained by the Administrative Agent and each Lender shall be conclusive absent manifest error of the
 amount of the Credit Extensions made by the Lenders to the Borrower and the interest and payments thereon. Any
 failure to so record or any error in doing so shall not, however, limit or otherwise affect the obligation of the Borrower
 hereunder to pay any amount owing with respect to the Obligations. In the event of any conflict between the accounts
 and records maintained by any Lender and the accounts and records of the Administrative Agent in respect of such
 matters, the accounts and records of the Administrative Agent shall control in the absence of manifest error. Upon
 the request of any Lender to the Borrower, the Borrower shall execute and deliver a Note to such Lender, which shall
 evidence such Lender’s Loans to the Borrower in addition to such accounts or records. Each Lender may attach
 schedules to a Note and endorse thereon the date, Type (if applicable), amount and maturity of its Loans and payments
 with respect thereto.

          2.12     Payments Generally; Administrative Agent’s Clawback.

          (a)       General. All payments to be made by the Borrower shall be made without condition or deduction
 for any counterclaim, defense, recoupment or setoff. Except as otherwise expressly provided herein, all payments by
 the Borrower hereunder shall be made to the Administrative Agent for the account of the Lenders, to which such
 payment is owed, at the Administrative Agent’s Office in Dollars and in Same Day Funds not later than 2:00 p.m.,
 New York City time, on the date specified herein. The Administrative Agent will promptly distribute to each
 applicable Lender its Applicable Percentage of such payment in like funds as received by wire transfer to such
 applicable Lender’s Lending Office. All payments received by the Administrative Agent after 2:00 p.m., New York
 City time, may, in Administrative Agent’s discretion, be deemed received on the next succeeding Business Day and
 any applicable interest or fee shall continue to accrue. If any payment to be made by the Borrower shall come due on
 a day other than a Business Day, payment shall be made on the next following Business Day, and such extension of
 time shall be reflected in computing interest or fees, as the case may be.

          (b)       (i)      Funding by Lenders; Presumption by Administrative Agent. Unless the Administrative
 Agent shall have received notice from a Lender prior to the proposed date of any Borrowing of Eurocurrency Rate
 Loans (or, in the case of any Borrowing of Base Rate Loans, prior to 12:00 noon., New York City time, on the date of
 such Borrowing) that such Lender will not make available to the Administrative Agent such Lender’s share of such
 Borrowing, the Administrative Agent may assume that such Lender has made such share available on such date in
 accordance with Section 2.02 (or, in the case of a Borrowing of Base Rate Loans, that such Lender has made such
 share available in accordance with and at the time required by Section 2.02) and may, in reliance upon such
 assumption, make available to the Borrower a corresponding amount. In such event, if an applicable Lender has not
 in fact made its share of the applicable Borrowing available to the Administrative Agent, then the applicable Lender
 and the Borrower severally agree to pay to the Administrative Agent forthwith on demand such corresponding amount
 in Same Day Funds with interest thereon, for each day from and including the date such amount is made available to
 the Borrower to but excluding the date of payment to the Administrative Agent, at (A) in the case of a payment to be
 made by such Lender, the Overnight Rate plus any administrative, processing or similar fees customarily charged by
 the Administrative Agent in connection with the foregoing, and (B) in the case of a payment to be made by the
 Borrower, the interest rate applicable to Base Rate Loans of the Facility and Type comprising such Borrowing. If the
 Borrower and such Lender shall pay such interest to the Administrative Agent for the same or an overlapping period,
 the Administrative Agent shall promptly remit to the Borrower the amount of such interest paid by the Borrower for
 such period. If such Lender pays its share of the applicable Borrowing to the Administrative Agent, then the amount
 so paid shall constitute such Lender’s Term Loan, included in such Borrowing. Any payment by the Borrower shall
 be without prejudice to any claim the Borrower may have against a Lender that shall have failed to make such payment
 to the Administrative Agent.

                 (ii)    Payments by Borrower; Presumptions by Administrative Agent. Unless the Administrative
 Agent shall have received notice from the Borrower prior to the date on which any payment is due to the


                                                            36
Case 20-41308          Doc 228       Filed 04/01/20 Entered 04/01/20 23:45:34                      Main Document
                                               Pg 84 of 1005


 Administrative Agent for the account of the applicable Lenders hereunder that the Borrower will not make such
 payment, the Administrative Agent may assume that the Borrower has made such payment on such date in accordance
 herewith and may, in reliance upon such assumption, distribute to the applicable Lenders, the amount due. In such
 event, if the Borrower has not in fact made such payment, then each of the applicable Lenders, severally agrees to
 repay to the Administrative Agent forthwith on demand the amount so distributed to such Lender, in Same Day Funds
 with interest thereon, for each day from and including the date such amount is distributed to it to but excluding the
 date of payment to the Administrative Agent at the Overnight Rate.

         A notice of the Administrative Agent to any applicable Lender or the Borrower with respect to any amount
 owing under this subsection (b) shall be conclusive, absent manifest error.

           (c)      Failure to Satisfy Conditions Precedent. If any Lender makes available to the Administrative Agent
 funds for any Loan to be made by such Lender to the Borrower as provided in the foregoing provisions of this Article
 II, and such funds are not made available to the Borrower by the Administrative Agent because the conditions set forth
 in Article IV are not satisfied or waived in accordance with the terms hereof, the Administrative Agent shall promptly
 return such funds (in like funds as received from such Lender) to such Lender, without interest.

           (d)     Obligations of Lenders Several. The obligations of the Lenders hereunder to make Term Loans and
 to make payments pursuant to Section 10.04(c) are several and not joint. The failure of any Lender to make any Term
 Loan or to make any payment under Section 10.04(c) on any date required hereunder shall not relieve any other Lender
 of its corresponding obligation to do so on such date, and no Lender shall be responsible for the failure of any other
 Lender to so make its Term Loan or to make its payment under Section 10.04(c).

          (e)      Funding Source. Nothing herein shall be deemed to obligate any Lender to obtain the funds for any
 Loan in any particular place or manner or to constitute a representation by any Lender that it has obtained or will
 obtain the funds for any Loan in any particular place or manner.

           2.13     Pro Rata; Sharing of Payments by Lenders. Except as otherwise expressly provided in this
 Agreement, each payment (including each prepayment) by the Borrower on account of principal of and interest on
 any Loans shall be allocated by the Administrative Agent pro rata according to the respective outstanding principal
 amounts of such Loans then held by the respective Lenders. If any Lender shall, by exercising any right of setoff or
 counterclaim or otherwise, obtain payment in respect of (a) Obligations due and payable to such Lender hereunder
 and under the other Loan Documents at such time in excess of its ratable share (according to the proportion of (i) the
 amount of such Obligations due and payable to such Lender at such time to (ii) the aggregate amount of the Obligations
 due and payable to all Lenders hereunder and under the other Loan Documents at such time) of payments on account
 of the Obligations due and payable to all Lenders hereunder and under the other Loan Documents at such time obtained
 by all the Lenders at such time or (b) Obligations owing (but not due and payable) to such Lender hereunder and under
 the other Loan Documents at such time in excess of its ratable share (according to the proportion of (i) the amount of
 such Obligations owing (but not due and payable) to such Lender at such time to (ii) the aggregate amount of the
 Obligations owing (but not due and payable) to all Lenders hereunder and under the other Loan Documents at such
 time) of payment on account of the Obligations owing (but not due and payable) to all Lenders hereunder and under
 the other Loan Documents at such time obtained by all of the Lenders at such time, then the Lender receiving such
 greater proportion shall (a) notify the Administrative Agent of such fact and (b) purchase (for cash at face value)
 participations in the Loans of the other Lenders, or make such other adjustments as shall be equitable, so that the
 benefit of all such payments shall be shared by the Lenders ratably in accordance with the aggregate amount of
 Obligations then due and payable to the Lenders or owing (but not due and payable) to the Lenders, as the case may
 be; provided that:

          (a)       if any such participations or subparticipations are purchased and all or any portion of the payment
 giving rise thereto is recovered, such participations or subparticipations shall be rescinded and the purchase price
 restored to the extent of such recovery, without interest; and

          (b)       the provisions of this Section shall not be construed to apply to (i) any payment made by the
 Borrower pursuant to and in accordance with the express terms of this Agreement (ii) any payment obtained by a
 Lender as consideration for the assignment of or sale of a participation in any of its Loans to any assignee or
 participant, other than to the Borrower or any Subsidiary thereof (as to which the provisions of this Section shall


                                                          37
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                       Main Document
                                                 Pg 85 of 1005


 apply), (iii) any payments pursuant to the Agency Fee Letter, or (iv) any payments made pursuant to Article III or
 Section 10.13.

          The Borrower consents to the foregoing and agrees, to the extent it may effectively do so under applicable
 law, that any Lender acquiring a participation pursuant to the foregoing arrangements may exercise against the
 Borrower rights of setoff and counterclaim with respect to such participation as fully as if such Lender were a direct
 creditor of the Borrower in the amount of such participation.

          2.14     [Reserved].

          2.15     [Reserved].

          2.16     [Reserved].

          2.17     [Reserved].

          2.18     Defaulting Lenders. Notwithstanding anything contained in this Agreement to the contrary, if any
 Lender becomes a Defaulting Lender, then, until such time as such Lender is no longer a Defaulting Lender, to the
 extent permitted by applicable Law:

           (a)      Defaulting Lender Waterfall. Any payment of principal, interest, fees or other amounts received by
 the Administrative Agent for the account of such Defaulting Lender (whether voluntary or mandatory, at maturity,
 pursuant to Article VIII or otherwise) or received by the Administrative Agent from a Defaulting Lender pursuant to
 Section 10.08 shall be applied at such time or times as may be determined by the Administrative Agent as follows:
 first, to the payment of any amounts owing by such Defaulting Lender to any Agent hereunder; second, as the
 Borrower may request (so long as no Default or Event of Default exists), to the funding of any Loan in respect of
 which such Defaulting Lender has failed to fund its portion thereof as required by this Agreement, as determined by
 the Administrative Agent; third, if so determined by the Administrative Agent and the Borrower, to be held in a deposit
 account and released pro rata in order to satisfy such Defaulting Lender’s potential future funding obligations with
 respect to Loans under this Agreement; fourth, to the payment of any amounts owing to the Lenders, as a result of any
 judgment of a court of competent jurisdiction obtained by any Lender, against such Defaulting Lender as a result of
 such Defaulting Lender’s breach of its obligations under this Agreement; fifth, so long as no Default or Event of
 Default exists, to the payment of any amounts owing to the Borrower as a result of any judgment of a court of
 competent jurisdiction obtained by the Borrower against such Defaulting Lender as a result of such Defaulting
 Lender’s breach of its obligations under this Agreement; and sixth, to such Defaulting Lender or as otherwise directed
 by a court of competent jurisdiction; provided that if such payment is a payment of the principal amount of any Loans
 in respect of which such Defaulting Lender has not fully funded its appropriate share, such payment shall be applied
 solely to pay the Loans of all non-Defaulting Lenders on a pro rata basis prior to being applied to the payment of any
 Loans of such Defaulting Lender until such time as all Loans are held by the Lenders pro rata in accordance with the
 Commitments hereunder. Any payments, prepayments or other amounts paid or payable to a Defaulting Lender that
 are applied (or held) to pay amounts owed by a Defaulting Lender shall be deemed paid to and redirected by such
 Defaulting Lender, and each Lender irrevocably consents hereto.

           A Lender that has become a Defaulting Lender because of an event referenced in the definition of Defaulting
 Lender may cure such status and shall no longer constitute a Defaulting Lender as a result of such event when (i) such
 Defaulting Lender shall have fully funded or paid, as applicable, all Loans or other amounts required to be funded or
 paid by it hereunder as to which it is delinquent (together, in each case, with such interest thereon as shall be required
 to any Person as otherwise provided in this Agreement), (ii) the Administrative Agent and each of the Borrower shall
 have received a certification by such Defaulting Lender of its ability and intent to comply with the provisions of this
 Agreement going forward, and (iii) each of the Administrative Agent and the Borrower shall have determined (and
 notified the Administrative Agent) that they are satisfied, in their sole discretion, that such Defaulting Lender intends
 to continue to perform its obligations as a Lender hereunder and has all approvals required to enable it, to continue to
 perform its obligations as a Lender hereunder. No reference in this subsection to an event being “cured” shall by itself
 preclude any claim by any Person against any Lender that becomes a Defaulting Lender for such damages as may
 otherwise be available to such Person arising from any failure to fund or pay any amount when due hereunder or from
 any other event that gave rise to such Lender’s status as a Defaulting Lender.


                                                            38
Case 20-41308           Doc 228         Filed 04/01/20 Entered 04/01/20 23:45:34                         Main Document
                                                  Pg 86 of 1005


          2.19      Priority and Liens; No Discharge.

          (a)      The relative priorities of the Liens with respect to the Collateral shall be as set forth in the Interim
 Order (and, when entered, the Final Order). Notwithstanding anything to the contrary in this Agreement or in any
 Loan Document, all of the Liens described herein shall be effective and perfected upon entry of the Interim Order
 without the necessity of the execution or recordation of filings by the Debtors of security agreements, mortgages,
 control agreements, pledge agreements, financing statements or other similar documents, or the possession or control
 by the Collateral Agent, as applicable, of, or over, any Collateral, as set forth in the Interim Order and, when entered,
 the Final Order.

          (b)

                   (i)      Each Loan Party that is a Debtor hereby confirms and acknowledges that, pursuant to the
 Interim Order (and, when entered, the Final Order), the Liens in favor of the Collateral Agent on behalf of and for the
 benefit of the Secured Parties in all of the Collateral and the proceeds thereof, which includes, without limitation, all
 of such Debtor’s Real Properties (other than Excluded Assets), now existing or hereafter acquired, shall be created
 and perfected without the recordation or filing in any land records or filing offices of any mortgage, assignment or
 similar instrument.

                     (ii)      Further to Section 2.19(b)(i) and the Interim Order (and, when entered, the Final Order),
 subject to Section 2.19(b)(iv) below, to secure the full and timely payment and performance of the Obligations, each
 Loan Party that is a Debtor hereby MORTGAGES, GRANTS, BARGAINS, ASSIGNS, SELLS, CONVEYS and
 CONFIRMS, to the Collateral Agent, for the ratable benefit of the Secured Parties, all or any Real Properties (in any
 case, excluding any Real Properties that are Excluded Assets), but which, for the avoidance of doubt, shall include all
 of such Loan Party’s right, title and interest now or hereafter acquired in and to (a) any and all easements, rights-of-
 way, reversions, sidewalks, strips and gores of land, drives, roads, curbs, streets, ways, alleys, passages, passageways,
 sewer rights, waters, water courses, water rights, mineral, gas and oil rights, as-extracted collateral and all power, air,
 light and other rights, estates, titles, interests, privileges, liberties, servitudes, licenses, tenements, hereditaments and
 appurtenances whatsoever, in any way belonging, relating or appertaining thereto, or any part thereof, or which
 hereafter shall in any way belong, relate or be appurtenant thereto; (b) the lessee’s interest and estate in, to and under
 any leases and subleases to which such Loan Party is a party (as such leases and subleases may be extended, amended,
 supplemented, modified or restated), together with any and all easements, rights-of-way, reversions, sidewalks, strips
 and gores of land, drives, roads, curbs, streets, ways, alleys, passages, passageways, sewer rights, waters, water
 courses, water rights, mineral, gas and oil rights, as-extracted collateral and all power, air, light and other rights,
 estates, titles, interests, privileges, liberties, servitudes, licenses, tenements, hereditaments and appurtenances
 whatsoever, in any way demised under such leases and subleases; (c) any and all tipples, loading and coal washing
 facilities, railroad tracks, buildings, foundations, structures and other fixtures and improvements and any and all
 alterations and all materials now or hereafter intended for construction, reconstruction or repair thereof; (d) any and
 all permits, certificates, authorizations, consents, approvals, licenses, franchises, waivers or other instruments now or
 hereafter required by any Governmental Authority to operate or use and occupy the Real Properties and related assets
 for its intended uses; (e) all materials, supplies, equipment, apparatus and other items of personal property now owned
 or hereafter acquired by such Loan Party, and water, gas, electrical, telephone, storm and sanitary sewer facilities and
 all other utilities whether or not situated in easements or used or useful in connection with mining coal or other
 minerals or in connection with any related activities or the maintenance or preservation thereof; (f) all goods, accounts,
 general intangibles, instruments, documents, chattel paper, as-extracted collateral and all other personal property of
 any kind or character, including such items of personal property as defined in the UCC; (g) all reserves, escrows or
 impounds and all deposit accounts; (h) such Loan Party’s right, title and interest as lessor, landlord, sublessor,
 sublandlord, franchisor, licensor or grantor, in all leases and subleases (including, without limitation, intercompany
 leases) of land or improvements, leases and subleases of space, oil, gas and mineral leases, franchise agreements,
 licenses, occupancy or concession agreements or other agreements which grant to any Person (other than such Loan
 Party) a possessory interest in, or the right to use any Real Properties, including, all rents, additional rents, royalties,
 cash, guaranties, letters of credit, bonds, sureties or securities deposited thereunder to secure performance of the
 lessee’s, sublessee’s, franchisee’s, licensee’s or obligee’s obligations thereunder, revenues, earnings, profits and
 income, advance rental or royalties, payments, payments incident to assignment, sublease or surrender of a lease,
 claims for forfeited deposits and claims for damages, now due or hereafter to become due, with respect to any lease,
 any indemnification against, or reimbursement for, sums paid and costs and expenses incurred by such Loan Party


                                                              39
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                        Main Document
                                                 Pg 87 of 1005


 under any lease or otherwise, and any award in the event of the bankruptcy of any tenant or lessee under or guarantor
 of a lease; (i) all other agreements, such as construction contracts, architects’ agreements, engineers’ contracts, utility
 contracts, maintenance agreements, management agreements, service contracts, listing agreements, guaranties,
 warranties, permits, licenses, certificates and entitlements in any way relating to the construction, use, occupancy,
 operation, maintenance, enjoyment or ownership of any Real Properties; (j) all rights, privileges, tenements,
 hereditaments, rights-of-way, easements, appendages and appurtenances appertaining to the foregoing; (k) all property
 tax refunds payable to such Loan Party; (l) all accessions, replacements and substitutions for any of the foregoing and
 all proceeds thereof; (m) all insurance policies, unearned premiums therefor and proceeds from such policies covering
 any of the above property now or hereafter acquired by such Loan Party; and (n) any awards, damages, remunerations,
 reimbursements, settlements or compensation heretofore made or hereafter to be made by any Governmental Authority
 pertaining to the Real Properties (BUT EXCLUDING from the foregoing grants, Excluded Assets), TO HAVE AND
 TO HOLD to the Collateral Agent, and such Loan Party does hereby bind itself, its successors and assigns to
 WARRANT AND FOREVER DEFEND the title to such property, assets and interests unto the Collateral Agent.

                    (iii)     Each Loan Party that is a Debtor further agrees that upon the request of the Collateral Agent
 (acting at the direction of the Required Lenders), such Loan Party shall execute and deliver to the Collateral Agent,
 as soon as reasonably practicable following such request but in any event within 45 days following such request (or
 such later date as may be extended by the Collateral Agent), with respect to Real Properties owned or leased by such
 Loan Party (in any case, excluding any Real Properties that are Excluded Assets) and identified by the Collateral
 Agent, the applicable Loan Party shall deliver:

                   1.        fully executed and notarized Mortgages, in proper form for recording in all appropriate
                             places in all applicable jurisdictions, encumbering each such Real Properties, and any
                             ancillary deliverables as reasonably requested by the Collateral Agent (including, without
                             limitation, memoranda of leases in recordable form, duly executed by the applicable
                             landlord and Loan Party);

                   2.        an opinion of counsel (which counsel shall be reasonably satisfactory to Collateral Agent)
                             in each state in which each such Real Property is located with respect to the enforceability
                             of the form(s) of Mortgages to be recorded in such state and such other matters as Collateral
                             Agent may reasonably request, in each case in form and substance reasonably satisfactory
                             to Collateral Agent; and

                   3.        (A) a completed Flood Certificate with respect to any Real Property that constitutes
                             Collateral and that is improved with structures eligible for flood insurance under the Flood
                             Program, which Flood Certificate shall (x) be addressed to the Collateral Agent and (y)
                             otherwise comply with the Flood Program; (B) if the Flood Certificate states that such Real
                             Property is located in a Flood Zone, Debtor’s written acknowledgment of receipt of written
                             notification from the Collateral Agent (x) as to the existence of each such Real Property
                             and (y) as to whether the community in which such Real Property is located is participating
                             in the Flood Program; and (C) if such Real Property is located in a Flood Zone and is
                             located in a community that participates in the Flood Program, evidence that Debtor has
                             obtained a policy of flood insurance that is in compliance with all applicable requirements
                             of the Flood Program.

                      (iv)     Each of the Loan Parties agrees that to the extent that its Obligations have not been Paid in
 Full, (i) its obligations shall not be discharged by any order confirming a Reorganization Plan (and each of the Loan
 Parties, pursuant to Section 1141(d)(4) of the Bankruptcy Code, hereby waives any such discharge) and (ii) the
 Superpriority Claim granted to the Secured Parties pursuant to the Orders and the Liens granted to the Secured Parties
 pursuant to the Orders shall not be affected in any manner by any order confirming a Reorganization Plan; provided
 that such Obligations shall be discharged upon such Payment in Full, and such Obligations may be otherwise treated
 in accordance with an Acceptable Plan and such treatment will provide for the discharge of the Obligations arising
 hereunder if so provided by such Acceptable Plan.

                                               ARTICLE III
                                TAXES, YIELD PROTECTION AND ILLEGALITY


                                                             40
Case 20-41308             Doc 228       Filed 04/01/20 Entered 04/01/20 23:45:34                     Main Document
                                                  Pg 88 of 1005


          3.01     Taxes.

          (a)      Payments Free of Taxes. Any and all payments by or on account of any Loan Party hereunder or
 under any other Loan Document shall be made without deduction or withholding for any Taxes, except as required by
 applicable Law. If any applicable Law (as determined in the good faith discretion of the applicable Withholding
 Agent) requires the deduction or withholding of any Tax from any such payment by a Withholding Agent, then the
 applicable Withholding Agent shall be entitled to make such deduction or withholding and shall timely pay the full
 amount deducted or withheld to the relevant Governmental Authority in accordance with applicable law and, if such
 Tax is an Indemnified Tax, then the sum payable by the applicable Loan Party shall be increased as necessary so that
 after such deduction or withholding has been made (including such deductions and withholdings applicable to
 additional sums payable under this Section 3.01(a)) the applicable Recipient receives an amount equal to the sum it
 would have received had no such deduction or withholding been made.

          (b)      Payment of Other Taxes by the Borrower. Without duplication of any obligation set forth in
 subsection (a) above, the Loan Parties shall timely pay to the relevant Governmental Authority in accordance with
 applicable law, or at the option of the Administrative Agent timely reimburse it for the payment of any Other Taxes.

           (c)      Indemnification by the Borrower. The Loan Parties shall jointly and severally indemnify each
 Recipient within 10 days after written demand therefor, for the full amount of any Indemnified Taxes (including
 Indemnified Taxes imposed or asserted on or attributable to amounts payable under this Section) payable or paid by
 such Recipient, or required to be withheld or deducted from a payment to such Recipient and any reasonable expenses
 arising therefrom or with respect thereto, whether or not such Indemnified Taxes were correctly or legally imposed or
 asserted by the relevant Governmental Authority. A certificate as to the amount of such payment or liability delivered
 to the Borrower by a Lender (with a copy to the Administrative Agent), or by the Administrative Agent on its own
 behalf or on behalf of an applicable Lender, shall be conclusive absent manifest error.

         (d)       Evidence of Payments. As soon as practicable after any payment of Taxes by any Loan Party to a
 Governmental Authority pursuant to this Section 3.01, the applicable Loan Party shall deliver to the Administrative
 Agent the original or a certified copy of a receipt issued by such Governmental Authority evidencing such payment,
 a copy of the return reporting such payment or other evidence of such payment reasonably satisfactory to the
 Administrative Agent.

          (e)      Status of Lenders.

                    (i)      Any Lender that is entitled to an exemption from or reduction of withholding Tax with
 respect to any payments made under any Loan Document shall deliver to the Borrower and the Administrative Agent,
 at the time or times prescribed by applicable Law and from time to time when reasonably requested by the Borrower
 or the Administrative Agent, such properly completed and executed documentation prescribed by applicable Law or
 reasonably requested by the Borrower or the Administrative Agent as will permit such payments to be made without
 withholding or at a reduced rate of withholding. In addition, any Lender, if reasonably requested by the Borrower or
 the Administrative Agent, shall deliver such other documentation prescribed by applicable Law or reasonably
 requested by the Borrower or the Administrative Agent as will enable the Borrower or the Administrative Agent to
 determine whether or not such Lender is subject to backup withholding or information reporting requirements.

                   (ii)      Without limiting the generality of the foregoing,

                           (A)       any Lender that is not a Foreign Lender shall deliver to the Borrower and
 Administrative Agent on or prior to the date on which such Lender becomes a Lender under this Agreement (and from
 time to time thereafter as prescribed by applicable Law or upon the reasonable request of the Borrower or the
 Administrative Agent), duly completed and executed copies of IRS Form W-9 certifying that such Lender is exempt
 from U.S. federal backup withholding tax;

                         (B)      any Foreign Lender, to the extent it is legally entitled to do so, shall deliver to the
 Borrower and the Administrative Agent (in such number of copies as shall be requested by the recipient) on or prior




                                                           41
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                        Main Document
                                                 Pg 89 of 1005


 to the date on which such Foreign Lender becomes a Lender under this Agreement (and from time to time thereafter
 upon the reasonable request of the Borrower or the Administrative Agent), whichever of the following is applicable:

                                       (1)       in the case of any Foreign Lender claiming the benefits of an income tax
                             treaty to which the United States is a party (x) with respect to payments of interest under
                             any Loan Document, duly completed and executed copies of IRS Form W-8BEN or IRS
                             Form W-8BEN-E, as applicable, establishing an exemption from, or reduction of, U.S.
                             federal withholding Tax pursuant to the “interest” article of such tax treaty and (y) with
                             respect to any other applicable payments under any Loan Document, IRS Form W-8BEN
                             or IRS Form W-8BEN-E, as applicable, establishing an exemption from, or reduction of,
                             U.S. federal withholding Tax pursuant to the “business profits” or “other income” article
                             of such tax treaty;

                                   (2)         duly completed and executed copies of IRS Form W-8ECI or IRS Form
                             W-8EXP;

                                      (3)       in the case of any Foreign Lender claiming the benefits of the exemption
                             for portfolio interest under Section 881(c) of the Code, (x) a certificate substantially in the
                             form of Exhibit M-1 to the effect that such Foreign Lender is not (A) a “bank” within the
                             meaning of Section 881(c)(3)(A) of the Code, (B) a “10 percent shareholder” of the
                             Borrower within the meaning of Section 881(c)(3)(B) of the Code, or (C) a “controlled
                             foreign corporation” related to a Loan Party as described in Section 881(c)(3)(C) of the
                             Code (a “U.S. Tax Compliance Certificate”) and (y) duly completed and executed copies
                             of IRS Form W-8BEN or IRS Form W-8BEN-E, as applicable;

                                       (4)      to the extent any Foreign Lender is not the beneficial owner, duly
                             completed and executed copies of IRS Form W-8IMY, accompanied by IRS Form W-
                             8ECI, IRS Form W-8EXP, IRS Form W-8BEN or IRS Form W-8BEN-E, as applicable, a
                             U.S. Tax Compliance Certificate substantially in the form of Exhibit M-2 or Exhibit M-3,
                             IRS Form W-9, and/or other certification documents from each beneficial owner, as
                             applicable; provided that if the Foreign Lender is a partnership and one or more direct or
                             indirect partners of such Foreign Lender are claiming the portfolio interest exemption, such
                             Foreign Lender may provide a U.S. Tax Compliance Certificate substantially in the form
                             of Exhibit M-4 on behalf of each such direct and indirect partner;

                             (C)      in addition, any Foreign Lender shall, to the extent it is legally entitled to do so,
 deliver to the Borrower and the Administrative Agent (in such number of copies as shall be requested by the recipient)
 on or prior to the date on which such Foreign Lender becomes a Lender under this Agreement (and from time to time
 thereafter upon the reasonable request of the Borrower or the Administrative Agent), duly completed and executed
 copies of any other form prescribed by applicable Law as a basis for claiming exemption from or a reduction in United
 States federal withholding Tax duly completed and executed together with such supplementary documentation as may
 be prescribed by applicable Law to permit the Borrower or Administrative Agent to determine the withholding or
 deduction required to be made; provided, that notwithstanding anything to the contrary in this Section 3.01(e); the
 completion, execution and submission of the documentation described in this subclause 3.01(e)(ii)(C) shall not be
 required if in the Lender’s reasonable judgment such completion, execution or submission would subject such Lender
 to any material unreimbursed cost or expense or would materially prejudice the legal or commercial position of such
 Lender; and

                            (D)      if a payment made to a Lender under any Loan Document would be subject to Tax
 imposed by FATCA if such Lender were to fail to comply with the applicable reporting requirements of FATCA
 (including those contained in Section 1471(b) or Section 1472(b) of the Code, as applicable), such Lender shall deliver
 to the Borrower and the Administrative Agent at the time or times as prescribed by Law and at such time or times as
 reasonably requested by the Borrower or the Administrative Agent such documentation prescribed by applicable Law
 (including as prescribed by Section 1471(b)(3)(C)(i) of the Code) and such additional documentation reasonably
 requested by the Borrower or the Administrative Agent as may be necessary for the Borrower and the Administrative
 Agent to comply with their obligations under FATCA and to determine that such Lender has complied with such


                                                            42
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                       Main Document
                                                 Pg 90 of 1005


 Lender’s obligations under FATCA or to determine the amount to deduct and withhold from such payment. Solely
 for the purposes of this subclause 3.01(e)(ii)(D), “FATCA” shall include any amendments made to FATCA after the
 date of this Agreement.

          Each Lender agrees that if any form or certification it previously delivered expires or becomes obsolete or
 inaccurate in any respect, it shall update such form or certification or promptly notify the Borrower and the
 Administrative Agent in writing of its legal inability to do so.

           (f)      Treatment of Certain Refunds. If any party determines, in its sole discretion exercised in good faith,
 that it has received a refund of any Taxes as to which it has been indemnified pursuant to this Section 3.01 (including
 by the payment of additional amounts pursuant to this Section 3.01), it shall pay to the indemnifying party an amount
 equal to such refund (but only to the extent of indemnity payments made under this Section with respect to the Taxes
 giving rise to such refund), net of all out-of-pocket expenses (including Taxes) of such indemnified party and without
 interest (other than any interest paid by the relevant Governmental Authority with respect to such refund); Such
 indemnifying party, upon the request of such indemnified party, shall repay to such indemnified party the amount paid
 over pursuant to this paragraph (f) (plus any penalties, interest or other charges imposed by the relevant Governmental
 Authority), in the event that such indemnified party is required to repay such refund to such Governmental Authority.
 Notwithstanding anything to the contrary in this paragraph (f), in no event will the indemnified party be required to
 pay any amount to an indemnifying party pursuant to this paragraph (f) the payment of which would place the
 indemnified party in a less favorable net after-Tax position than the indemnified party would have been in if the Tax
 subject to indemnification and giving rise to such refund had not been deducted, withheld or otherwise imposed and
 the indemnification payments or additional amounts with respect to such Tax had never been paid. This paragraph
 shall not be construed to require any indemnified party to make available its Tax returns (or any other information
 relating to its Taxes that it deems confidential) to the indemnifying or any other Person.

          (g)       Survival. Each party’s obligations under this Section 3.01 shall survive the resignation or
 replacement of any Agent or any assignment of rights by, or the replacement of, a Lender, the termination of the
 Commitments, the repayment, satisfaction or discharge of all obligations under any Loan Document, and the
 termination of this Agreement.

           3.02      Illegality. If any Lender determines that as a result of any Change in Law it becomes unlawful, or
 that any Governmental Authority asserts that it is unlawful, for any Lender or its applicable Lending Office to make,
 maintain or fund Eurocurrency Rate Loans, or to determine or charge interest rates based upon the Eurocurrency Rate,
 or any Governmental Authority has imposed material restrictions on the authority of such Lender to purchase or sell,
 or to take deposits of, Dollars in the applicable interbank market, then, on notice thereof by such Lender to the
 Borrower through the Administrative Agent, (a) any obligation of such Lender to make or continue Eurocurrency Rate
 Loans or to convert Base Rate Loan to Eurocurrency Rate Loans, shall be suspended and (b) if such notice asserts the
 illegality of such Lender making or maintaining Base Rate Loans the interest rate on which is determined by reference
 to the Eurocurrency Rate component of the Base Rate, the interest rate on Base Rate Loans of such Lender shall, if
 necessary to avoid such illegality, be determined by the Administrative Agent without reference to the Eurocurrency
 Rate component of the Base Rate, in each case, until such Lender notifies the Administrative Agent and the Borrower
 that the circumstances giving rise to such determination no longer exist. Upon receipt of such notice, (i) the Borrower
 shall, upon demand from such Lender (with a copy to the Administrative Agent), prepay or convert all such
 Eurocurrency Rate Loans of such Lender to Base Rate Loans (the interest rate on Base Rate Loans of such Lender
 shall, if necessary to avoid such illegality, be determined by the Administrative Agent without reference to the
 Eurocurrency Rate component of the Base Rate), either on the last day of the Interest Period therefor, if such Lender
 may lawfully continue to maintain such Eurocurrency Rate Loans to such day, or immediately, if such Lender may
 not lawfully continue to maintain such Eurocurrency Rate Loans and (ii) if such notice asserts the illegality of such
 Lender determining or charging interest rates based upon the Eurocurrency Rate, the Administrative Agent shall
 during the period of such suspension compute the Base Rate applicable to such Lender without reference to the
 Eurocurrency Rate component thereof until the Administrative Agent is advised in writing by such Lender, which it
 shall do as promptly as possible, that it is no longer illegal for such Lender to determine or charge interest rates based
 upon the Eurocurrency Rate. Upon any such prepayment or conversion, the Borrower shall also pay accrued interest
 on the amount so prepaid or converted.

          3.03     Inability to Determine Rates


                                                            43
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                       Main Document
                                                 Pg 91 of 1005


           (a)       If the Administrative Agent determines that for any reason in connection with any request for a
 Eurocurrency Rate Loan or a conversion to or continuation thereof that (i) adequate and reasonable means do not exist
 for determining the Eurocurrency Rate for any requested Interest Period with respect to a proposed Eurocurrency Rate
 Loan, or (ii) the Eurocurrency Rate for any requested Interest Period with respect to a proposed Eurocurrency Rate
 Loan does not adequately and fairly reflect the cost to such Lenders of funding such Eurocurrency Rate Loan, the
 Administrative Agent will promptly so notify the Borrower and each Lender. Thereafter, (x) the obligation of the
 Lenders to make or maintain Eurocurrency Rate Loans in the affected currency or currencies shall be suspended and
 (y) in the event of a determination described in the preceding sentence with respect to the Eurocurrency Rate
 component of the Base Rate, the utilization of the Eurocurrency Rate component in determining the Base Rate shall
 be suspended, in each case, until the Administrative Agent (upon the instruction of the Required Lenders, who agree
 to so instruct the Administrative Agent once the circumstances giving rise to the inability to determine rates no longer
 exist) revokes such notice. Upon receipt of such notice, the Borrower may revoke any pending request for a Borrowing
 of, conversion to or continuation of Eurocurrency Rate Loans or, failing that, will be deemed to have converted such
 request into a request for a Borrowing of Base Rate Loans in the amount specified therein.

          (b)       If at any time the Administrative Agent determines (which determination shall be conclusive absent
 manifest error) that (i) the circumstances set forth in Section 3.03(a)(i) have arisen and such circumstances are unlikely
 to be temporary or (ii) the circumstances set forth in Section 3.03(a)(i) have not arisen but the supervisor for the
 administrator of the Eurocurrency Rate or a Governmental Authority having jurisdiction over the Administrative
 Agent has made a public statement identifying a specific date after which the Eurocurrency Rate shall no longer be
 used for determining interest rates for loans, then the Administrative Agent and the Borrower shall endeavor to
 establish an alternate rate of interest to the Eurocurrency Rate that (x) gives due consideration to the then prevailing
 market convention for determining a rate of interest for syndicated loans of similar type in the United States at such
 time, and (y) is a rate that the Administrative Agent is able to calculate and administer, and the Borrower and the
 Administrative Agent shall enter into an amendment to this Agreement to effectuate such alternate rate of interest and
 such other changes to this Agreement as may be necessary or desirable in connection therewith. Notwithstanding
 anything to the contrary in Section 10.01, such amendment shall become effective without any further action or
 consent of any other party to this Agreement so long as the Administrative Agent shall not have received, within five
 Business Days of the date that notice of such alternate rate of interest is provided to the Lenders, a written notice from
 the Required Lenders stating that the Required Lenders object to such amendment. Until an alternate rate of interest
 shall be determined in accordance with this paragraph (b) (but in the case of the circumstances described in Section
 3.03(b)(ii), only to the extent the Eurocurrency Rate is not available or published at such time on a current basis),
 Sections 3.03(a)(i) and (ii) shall be applicable.

          3.04     Increased Costs; Reserves on Eurocurrency Rate Loans.

          (a)      Increased Costs Generally. If any Change in Law shall:

                   (i)      impose, modify or deem applicable any reserve, special deposit, compulsory loan,
 insurance charge or similar requirement against assets of, deposits with or for the account of, or credit extended or
 participated in by, any Lender (except any reserve requirement reflected in the Eurocurrency Rate contemplated by
 Section 3.04(e));

                    (ii)      subject any Recipient to Taxes (other than (A) Indemnified Taxes, (B) Taxes described in
 clauses (b) through (d) of the definition of Excluded Taxes and (C) Connection Income Taxes) on its loans, loan
 principal, letters of credit, commitments, or other obligations or its deposits, reserves, other liabilities or capital
 attributable thereto; or

                   (iii)     impose on any Lender or the London interbank market any other condition, cost or expense
 (other than Taxes) affecting this Agreement or Eurocurrency Rate Loans made by such Lender or participation therein;

 and the result of any of the foregoing shall be to increase the cost to such Lender of making or maintaining any
 Eurocurrency Rate Loan (or of maintaining its obligation to make any such Loan), or to reduce the amount of any sum
 received or receivable by such Lender hereunder (whether of principal, interest or any other amount) then, upon written
 request of such Lender setting forth in reasonable detail such increased costs, the Borrower will pay to such Lender,
 as the case may be, such additional amount or amounts as will compensate such Lender, as the case may be, for such


                                                            44
Case 20-41308          Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                        Main Document
                                                Pg 92 of 1005


 additional costs incurred or reduction suffered; provided that before making any such demand, each Lender agrees to
 use reasonable efforts (consistent with its internal policy and legal and regulatory restrictions and so long as such
 efforts would not be materially disadvantageous to it, in its reasonable discretion, in any legal, economic or regulatory
 manner) to designate a different Eurocurrency lending office if the making of such designation would allow the Lender
 or its Eurocurrency lending office to continue to perform its obligation to make Eurocurrency Rate Loans or to
 continue to fund or maintain Eurocurrency Rate Loans and avoid the need for, or reduce the amount of, such increased
 cost.

          (b)     Capital Requirements. If any Lender reasonably determines that any Change in Law affecting such
 Lender or any Lending Office of such Lender or such Lender’s holding company, if any, regarding capital
 requirements has the effect of reducing the rate of return on such Lender’s capital or on the capital of such Lender’s
 holding company, if any, as a consequence of this Agreement, the Commitments of such Lender or the Loans made
 by such Lender, to a level below that which such Lender or such Lender’s holding company could have achieved but
 for such Change in Law (taking into consideration such Lender’s policies and the policies of such Lender’s holding
 company with respect to capital adequacy), then from time to time, after submission to the Borrower (with a copy to
 the Administrative Agent) of a written request therefor setting forth in reasonable detail the change and the calculation
 of such reduced rate of return, the Borrower will pay to such Lender, such additional amount or amounts as will
 compensate such Lender or such Lender’s holding company for any such reduction suffered.

           (c)      Certificates for Reimbursement. A certificate of a Lender setting forth the amount or amounts
 necessary to compensate such Lender or its holding company, as the case may be, as specified in subsection (a) or (b)
 of this Section, describing the basis therefor and showing the calculation thereof in reasonable detail, and delivered to
 the Borrower shall be conclusive, absent manifest error. The Borrower shall pay such Lender, as the case may be, the
 amount shown as due on any such certificate within 30 days after receipt thereof.

           (d)       Delay in Requests. Failure or delay on the part of any Lender to demand compensation pursuant to
 the foregoing provisions of this Section shall not constitute a waiver of such Lender’s right to demand such
 compensation, provided that the Borrower shall not be required to compensate a Lender pursuant to the foregoing
 provisions of this Section for any increased costs incurred or reductions suffered more than 90 days prior to the date
 that such Lender, notifies the Borrower of the Change in Law giving rise to such increased costs or reductions and of
 such Lender’s intention to claim compensation therefor (except that, if the Change in Law giving rise to such increased
 costs or reductions is retroactive, then the 90-day period referred to above shall be extended to include the period of
 retroactive effect thereof).

          (e)      Additional Reserve Requirements. The Borrower shall pay to each Lender, (i) as long as such
 Lender shall be required to maintain reserves with respect to liabilities or assets consisting of or including
 Eurocurrency funds or deposits (currently known as “Eurocurrency liabilities”), additional interest on the unpaid
 principal amount of each Eurocurrency Rate Loan equal to the actual costs of such reserves allocated to such Loan by
 such Lender (as reasonably determined by such Lender in good faith, which determination shall be conclusive, absent
 manifest error), and (ii) as long as such Lender shall be required to comply with any reserve ratio requirement or
 analogous requirement of any other central banking or financial regulatory authority imposed in respect of the
 maintenance of the Commitments or the funding of the Eurocurrency Rate Loans, such additional costs (expressed as
 a percentage per annum and rounded upwards, if necessary, to the nearest five decimal places) equal to the actual costs
 allocated to such Commitment or Loan by such Lender (as determined by such Lender in good faith, which
 determination shall be conclusive, absent manifest error), which in each case shall be due and payable on each date
 on which interest is payable on such Loan, provided the Borrower shall have received at least 10 Business Days’ prior
 notice (with a copy to the Administrative Agent) of such additional interest or costs from such Lender describing the
 basis therefor and showing the calculation thereof, in each case, in reasonable detail. If a Lender fails to give notice
 10 Business Days prior to the relevant Interest Payment Date, such additional interest or costs shall be due and payable
 within 30 days from receipt of such notice.

          (f)      Certain Rules Relating to the Payment of Additional Amounts. If any Lender requests compensation
 pursuant to this Section 3.04, or the Borrower is required to pay any additional amount to any Lender or any
 Governmental Authority for the account of any Lender pursuant to Section 3.01, or if any Lender gives a notice
 pursuant to Section 3.02, such Lender shall either (A) forego payment of such additional amount from the Borrower
 or (B) reasonably afford the Borrower the opportunity to contest, and reasonably cooperate with the Borrower in


                                                            45
Case 20-41308          Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                        Main Document
                                                Pg 93 of 1005


 contesting, the imposition of any Indemnified Taxes or other amounts giving rise to such payment; provided that the
 Borrower shall reimburse such Lender for its reasonable and documented out-of-pocket costs, including reasonable
 and documented attorneys’ and accountants’ fees and disbursements incurred in so cooperating with the Borrower in
 contesting the imposition of such Indemnified Taxes or other amounts.

           3.05     Compensation for Losses. Upon demand of any Lender (with a copy to the Administrative Agent)
 from time to time, the Borrower shall promptly compensate such Lender for and hold such Lender harmless from any
 loss, cost or expense incurred by it as a result of:

          (a)       any continuation, conversion, payment or prepayment of any Loan other than a Base Rate Loan on
 a day other than the last day of the Interest Period for such Loan (whether voluntary, mandatory, automatic, by reason
 of acceleration, or otherwise);

          (b)     any failure by the Borrower (for a reason other than the failure of such Lender to make a Loan) to
 prepay, borrow, continue or convert any Loan other than a Base Rate Loan on the date or in the amount notified by
 the Borrower;

          (c)      [reserved]; or

          (d)       any assignment of a Eurocurrency Rate Loan on a day other than the last day of the Interest Period
 therefor as a result of a request by the Borrower pursuant to Section 10.13;

 including any foreign exchange losses and any loss or expense arising from the liquidation or reemployment of funds
 obtained by it to maintain such Loan, from fees payable to terminate the deposits from which such funds were obtained
 or from the performance of any foreign exchange contract, but excluding any loss of anticipated profits. The Borrower
 shall also pay any customary administrative fees charged by such Lender in connection with the foregoing.

         For purposes of calculating amounts payable by the Borrower to the Lenders under this Section 3.05, each
 Lender shall be deemed to have funded each Eurocurrency Rate Loan made by it at the Eurocurrency Rate used in
 determining the Eurocurrency Rate for such Loan by a matching deposit or other borrowing in the offshore interbank
 market for such currency for a comparable amount and for a comparable period, whether or not such Eurocurrency
 Rate Loan was in fact so funded.

          3.06     Mitigation Obligations; Replacement of Lenders.

           (a)     Designation of a Different Lending Office. If any Lender requests compensation under Section
 3.04, or the Borrower is required to pay any additional amount to any Lender or any Governmental Authority for the
 account of any Lender pursuant to Section 3.01, or if any Lender gives a notice pursuant to Section 3.02, then such
 Lender shall (i) use reasonable efforts to designate a different Lending Office for funding or booking its Loans
 hereunder or to assign its rights and obligations hereunder to another of its offices, branches or affiliates, if, in the
 reasonable judgment of such Lender, such designation or assignment (A) would eliminate or reduce amounts payable
 pursuant to Section 3.01 or 3.04, as the case may be, in the future, or eliminate the need for the notice pursuant to
 Section 3.02, as applicable, and (B) in each case, would not subject such Lender to any unreimbursed cost or expense
 and would not otherwise be disadvantageous to such Lender, as applicable, and (ii) promptly inform the Borrower and
 the Administrative Agent when the circumstances giving rise to the applicability of such Sections no longer exists.
 The Borrower hereby agrees to pay all reasonable and documented costs and expenses incurred by any Lender in
 connection with any such designation or assignment.

           (b)      Replacement of Lenders. If any Lender requests compensation under Section 3.04, if the Borrower
 is required to pay any additional amount to any Lender or any Governmental Authority for the account of any Lender
 pursuant to Section 3.01, if any Lender gives a notice pursuant to Section 3.02 or if any Lender is at such time a
 Defaulting Lender, then the Borrower may replace such Lender in accordance with Section 10.13.

         3.07     Survival. The parties’ obligations under this Article III shall survive the resignation or replacement
 of any Agent or any assignment of rights by, or the replacement of, a Lender, the termination of the Commitments,



                                                            46
Case 20-41308              Doc 228     Filed 04/01/20 Entered 04/01/20 23:45:34                     Main Document
                                                 Pg 94 of 1005


 the repayment, satisfaction or discharge of all obligations under any Loan Document, and the termination of this
 Agreement.

                                                 ARTICLE IV
                                            CONDITIONS PRECEDENT

           4.01     Conditions Precedent to the Closing Date. The effectiveness of this Agreement is subject to
 satisfaction of the following conditions precedent:

          (a)      Petition Date. The Petition Date shall have occurred and the Borrower and each Guarantor shall be
 a debtor and debtor-in-possession in the Chapter 11 Cases.

          (b)      Loan Documents. The Administrative Agent shall have received each Loan Document required to
 be delivered on the Closing Date, each of which shall be in form and substance reasonably acceptable to the Required
 Lenders, including:

                  (i)     this Agreement, executed and delivered by the Administrative Agent, the Borrower, each
 Guarantor and each Person that is a Lender as of the Closing Date;

                   (ii)       [reserved];

                   (iii)      the Agency Fee Letter, executed and delivered by the Agents and the Borrower;

                   (iv)       [reserved];

                   (v)        Notes, executed and delivered by the Borrower in favor of each Lender requesting any
 Note;

                    (vi)      a certificate of each Loan Party signed on behalf of such Loan Party by a Responsible
 Officer, dated the Closing Date (the statements made in which certificate shall be true on and as of the Closing Date),
 certifying as to (A) the Organizational Documents of each Loan Party, certified, to the extent applicable, by the
 applicable Governmental Authority, and the absence of any amendments to the Organizational Documents of such
 Loan Party since the date certified by such Governmental Authority, including a true and correct copy of the bylaws,
 limited liability company agreement, or partnership agreement of such Loan Party as in effect on the date on which
 the resolutions referred to in Section 4.01(b)(vi)(B) were adopted and on the Closing Date, (B) copies of resolutions
 of the board of directors and/or similar governing bodies of each Loan Party approving and authorizing the
 Transactions and the execution, delivery and performance of the Loan Documents to which it is a party, (C) the good
 standing or valid existence of such Loan Party as a corporation, limited liability company or partnership organized or
 formed under the laws of the jurisdiction of its incorporation or formation and the absence of any proceeding for the
 dissolution or liquidation of such Loan Party; and (D) the signatures and incumbency of each Responsible Officer of
 each Loan Party executing the Loan Documents to which it is a party; and

                   (vii)    a certificate signed by a Responsible Officer of the Borrower certifying (A) that the
 conditions specified in Sections 4.01 and 4.02 have been satisfied, and (B) that there has not occurred since December
 31, 2018, any Material Adverse Effect.

          (c)      Personal Property Collateral. Each Loan Party shall have delivered to the Collateral Agent:

                    (i)        evidence reasonably satisfactory to the Collateral Agent of the compliance by each Loan
 Party of their obligations under the Security Documents (including their obligations to execute or authorize, as
 applicable, and deliver UCC financing statements (including, without limitation, as-extracted financing statements),
 originals of securities, instruments and chattel paper, in each case, constituting Collateral, as provided therein);

                  (ii)     a completed Collateral Questionnaire dated the Closing Date and executed by a
 Responsible Officer of each Loan Party, together with all attachments contemplated thereby;



                                                           47
Case 20-41308              Doc 228     Filed 04/01/20 Entered 04/01/20 23:45:34                       Main Document
                                                 Pg 95 of 1005


                   (iii)      [reserved]; and

                   (iv)     evidence that each Loan Party shall have taken or caused to be taken any other action,
 executed and delivered or caused to be executed and delivered any other agreement, document and instrument
 (including any intercompany notes evidencing Indebtedness permitted to be incurred pursuant to Section 7.03) and
 made or caused to be made any other filing and recording (other than as set forth herein) reasonably required by the
 Collateral Agent or the Required Lenders.

           (d)      Approvals; No Restrictions. All governmental and third party approvals necessary or required in
 connection with the Transactions and the continuing operations of the Borrower and its Subsidiaries (including
 shareholder approvals, if any) shall have been obtained and be in full force and effect. The Loan Parties and their
 Affiliates shall not be subject to contractual or other restrictions that would be violated by the execution and delivery
 of the Loan Documents or the initial extension of credit hereunder and there shall not exist any action, suit,
 investigation, litigation, proceeding or hearing, pending or threatened in any court or before any arbitrator or
 Governmental Authority that affects the Transactions or otherwise impairs the ability of the Loan Parties to
 consummate the Transactions and no preliminary or permanent injunction or order by a state or federal court shall
 have been entered, in each case that would be material and adverse to the Agents or the Lenders.

         (e)       Fees; Expenses. Any fees required to be paid on or before the Closing Date to the Agents and/or
 the Lenders under this Agreement, the Agency Fee Letter, or otherwise in connection with the Facilities shall have
 been paid and, unless waived by the Agents and/or the Lenders, as applicable, the Borrower shall have paid all
 reasonable and documented costs and expenses of the Agents and the Lenders (including the reasonable and
 documented fees and expenses of (i) Akin Gump Strauss Hauer & Feld LLP, Milbank LLP, and Bryan Cave
 Leighton Paisner LLP, counsel to the Lenders, (ii) Lazard and Perella Weinberg Partners L.P., financial advisors to
 the Lenders, and (iii) Ropes & Gray LLP, counsel to the Agents).

           (f)       No Material Adverse Effect. Since December 31 2018, no Material Adverse Effect (after giving
 effect to the qualifications set forth in such definition) shall have occurred.

           (g)      Budget and Cash Flow Forecast. The Administrative Agent shall have received (x) weekly operating
 and cash flow projections for the Debtors for the period commencing on the Petition Date and ending on July 11,
 2020, in form and substance satisfactory to the Financial Advisor (the “DIP Budget”), and (y) the Cash Flow Forecast;
 provided that such Cash Flow Forecast may be amended, replaced, supplemented or otherwise modified from time to
 time to the extent such amended, replaced, supplemented or modified Cash Flow Forecast is in form and substance
 satisfactory to the Required Lenders in their sole discretion.

          (h)     Existing Indebtedness. Borrower and its Subsidiaries shall have no outstanding Indebtedness other
 than Indebtedness permitted under this Agreement.

           (i)       Financial Statements. Administrative Agent shall have received from Borrower (i) the Historical
 Financial Statements, (ii) a pro forma consolidated balance sheet of Borrower and its Subsidiaries on a consolidated
 basis as of the last day of the most recently completely four-fiscal quarter period for which financial statements were
 delivered under clause (i) of the definition of the term “Historical Financial Statements”, reflecting the related
 financings and the other transactions contemplated by the Loan Documents to occur on or prior to the Closing Date
 as if such transactions occurred as of such date.

          (j)      Interim Order. No later than five (5) days following the Petition Date (or such later date as the
 Required Lenders may agree), the Interim Order shall have been entered by the Bankruptcy Court in form and
 substance acceptable to the Required Lenders and the Administrative Agent shall have received a certified copy
 thereof; provided that the Interim Order shall not have been vacated, reversed, modified, amended or stayed in any
 respect without the prior written consent of the Required Lenders.

         (k)       First Day Orders. All “first day” orders intended to be entered by the Bankruptcy Court at or
 immediately after the Debtors’ “first day” shall have been entered by the Bankruptcy Court in form and substance
 acceptable to the Required Lenders.



                                                            48
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                       Main Document
                                                 Pg 96 of 1005


           (l)      Patriot Act. The Lenders and the Administrative Agent shall have received prior to the Closing Date
 all documentation and other information required by bank regulatory authorities under applicable “know your
 customer” and anti-money laundering rules and regulations, including the Patriot Act (which shall include, but not be
 limited to, a duly executed IRS Form W-9, or other applicable tax form); provided that such information is requested
 at least 3 Business Days prior to the Closing Date.

          Without limiting the generality of the provisions of Section 9.04, for purposes of determining compliance
 with the conditions specified in this Section 4.01 or Section 4.02, each Lender that has signed this Agreement shall be
 deemed to have consented to, approved or accepted or to be satisfied with, each document or other matter required
 thereunder to be consented to or approved by or acceptable or satisfactory to a Lender unless the Administrative Agent
 shall have received written notice from such Lender specifying its objection thereto.

          4.02      Conditions Precedent to Each Term Loan. The agreement of each Lender to make any extension
 of credit requested to be made by it on any date (including, without limitation, any Loans on the Closing Date) is
 subject to satisfaction of the following conditions precedent:

          (a)      No Default. There shall exist no Default or Event of Default under the Loan Documents.

           (b)      Representations and Warranties. The representations and warranties of the Borrower and each
 Guarantor herein and in the other Loan Documents shall be true and correct in all material respects (or in the case of
 representations and warranties with a “materiality” qualifier, true and correct in all respects) immediately prior to, and
 after giving effect to, such funding of the applicable Loans to the same extent as though made on and as of that date,
 except to the extent such representations and warranties specifically relate to an earlier date, in which case, such
 representations and warranties shall have been true and correct in all materials respects on and as of such earlier date;
 provided that in each case, such materiality qualifier shall not be applicable to any representations and warranties that
 already are qualified or modified by materiality in the text thereof. .

          (c)      Interim Order. At any time prior to the Final Order Entry Date, the Interim Order shall be in full
 force and effect and shall not have been vacated, reversed, modified, amended or stayed in any respect without the
 prior written consent of the Required Lenders.

           (d)     Final Order. With respect to any Credit Extension on or after the Final Order Entry Date, the Final
 Order shall be in full force and effect and shall not have been vacated or reversed, shall not be subject to a stay and
 shall not have been modified or amended in any respect without the prior written consent of the Required Lenders.

           (e)       Restructuring Support Agreement. The Restructuring Support Agreement (i) shall be in full force
 and effect, (ii) shall not have been amended or modified without the prior written consent of the Required Lenders,
 and (iii) no breach that would, after the expiration of any applicable notice or cure period, give rise to a right to
 terminate the Restructuring Support Agreement shall exist.

          (f)     Notice of Borrowing. The Administrative Agent shall have received a duly executed Borrowing
 Notice from the Borrower pursuant to and in accordance with Section 2.02(a).

          (g)        No Trustee. No trustee, receiver or examiner with expanded powers to operate or manage the
 financial affairs, the business, or reorganization of the Loan Parties shall have been appointed or designated.

        (h)      Dismissal; Conversion. None of the Chapter 11 Cases of any Debtors shall have been dismissed.
 The Chapter 11 Cases shall not have been converted to Chapter 7 of the Bankruptcy Code.

                                              ARTICLE V
                                    REPRESENTATIONS AND WARRANTIES

         In order to induce the Agents and the Lenders to enter into this Agreement and to make each Credit Extension
 to be made hereby, each Loan Party represents and warrants to the Agents and the Lenders that the following
 statements are true and correct:



                                                            49
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                       Main Document
                                                 Pg 97 of 1005


           5.01     Existence, Qualification and Power. Each Loan Party and its Subsidiaries (a) (i) is duly organized
 or formed and validly existing and (ii) is in good standing under the Laws of the jurisdiction of its incorporation or
 organization, if such legal concept is applicable in such jurisdiction, (b) subject to any restriction arising on account
 of Borrower’s or each of its Subsidiaries’ status as a “debtor” under the Bankruptcy Code, has all requisite power and
 authority and all requisite governmental licenses, authorizations, consents and approvals to (i) own or lease its assets
 and carry on its business and (ii) subject to entry of the Orders and the terms thereof, execute, deliver and perform its
 obligations under the Loan Documents to which it is a party, and (c) is duly qualified, licensed, and in good standing
 (to the extent good standing is an applicable legal concept in the relevant jurisdiction), under the Laws of each
 jurisdiction where its ownership, lease or operation of properties or the conduct of its business requires such
 qualification or license; where the failure to so qualify or be in good standing could not reasonably be expected to
 have a Material Adverse Effect.

           5.02     Authorization; No Contravention. Subject to entry of the Orders and the terms thereof, the
 execution, delivery and performance by each Loan Party of each Loan Document to which such Person is a party, (a)
 have been duly authorized by all necessary corporate or other organizational action and (b) do not and will not (i)
 contravene the terms of any of such Person’s Organizational Documents; (ii) except to the extent excused as a result
 of the Chapter 11 Cases, conflict with or result in any breach or contravention of, or the creation of, any Lien (other
 than Permitted Liens) under, or require any payment to be made under (A) any Contractual Obligation to which such
 Person is a party or affecting such Person or the properties of such Person or any of its Subsidiaries or (B) any order,
 injunction, writ or decree of any Governmental Authority to which such Person or its property is subject or (C) any
 arbitral award to which such Person or its property is subject; or (iii) violate any Law binding on such Loan Party,
 except in each case referred to in clauses (b)(ii) or (b)(iii) to the extent that failure to do so could not reasonably be
 expected to have a Material Adverse Effect.

          5.03      Governmental Authorization. Except for the entry of the Orders, (a) no approval, consent,
 exemption, authorization, or other action by, or notice to, or filing with, any Governmental Authority and (b) no
 material approval, consent, exemption, authorization, or other action by, or notice to, or filing with any other Person,
 in each case, is necessary or required in connection with the execution, delivery or performance by, or enforcement
 against, any Loan Party of this Agreement or any other Loan Document, except for those approvals, consents,
 exemptions, authorizations or other actions which have already been obtained, taken, given or made and are in full
 force and effect.

           5.04      Binding Effect. This Agreement has been, and each other Loan Document, when delivered
 hereunder, will have been, duly executed and delivered by each Loan Party that is party thereto. Subject to the entry
 of the Orders and the terms thereof, this Agreement constitutes, and each other Loan Document when so delivered
 will constitute, a legal, valid and binding obligation of such Loan Party enforceable against each Loan Party that is
 party thereto in accordance with its terms, subject to applicable bankruptcy, insolvency, fraudulent conveyance,
 reorganization, moratorium and other Laws relating to or affecting creditors’ rights generally, general principles of
 equity, regardless of whether considered in a proceeding in equity or at law and an implied covenant of good faith and
 fair dealing.

          5.05     Financial Conditions; No Material Adverse Effect.

           (a)      The Historical Financial Statements were prepared in accordance with GAAP consistently applied
 throughout the period covered thereby, except as otherwise expressly noted therein, and fairly present in all material
 respects the financial condition of the Borrower and its Subsidiaries as of such dates and their results of operations for
 the period covered thereby, subject, in the case of any unaudited financial statements, to the absence of footnotes and
 to normal year end adjustments.

          (b)       Since December 31, 2018, there has been no event or circumstance, either individually or in the
 aggregate, that has had or could reasonably be expected to have a Material Adverse Effect (after giving effect to the
 qualifications set forth in such definition).

           (c)      The financial projections and estimates and information of a general economic nature prepared, or
 as directed by, the Loan Parties or any of their representatives and that have been made available to any Lender or its
 Related Parties in connection with the Transactions or the other transactions contemplated by this Agreement as of


                                                            50
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                        Main Document
                                                 Pg 98 of 1005


 the date delivered in connection with this Agreement have been prepared in good faith on the basis of the assumptions
 stated therein, which assumptions were believed to be reasonable in light of the conditions existing at the time of
 delivery of such forecasts (it being understood that any such information is subject to significant uncertainties and
 contingencies, many of which are beyond the Borrower’s control, and that no assurance can be given that the future
 developments addressed in such information can be realized).

          5.06     Litigation.

           (a)      There are no actions, suits, proceedings, claims or disputes pending or, to the knowledge of the
 Borrower threatened, at law, in equity, by or before any Governmental Authority, by or against the Borrower or any
 of its Subsidiaries or against any of their properties or revenues that (a) purport to affect or pertain to this Agreement
 or any other Loan Document, or any of the transactions contemplated hereby, or (b) except as specifically disclosed
 in public filings prior to the date hereof, as to which there is a reasonable possibility of an adverse determination and
 that could reasonably be expected to have, individually or in the aggregate, a Material Adverse Effect.

          (b)       None of Borrower or any of its Subsidiaries or their respective properties or assets is in violation of
 (nor will the continued operation of their material properties and assets as currently conducted violate) any currently
 applicable Law (including any zoning, building or environmental law, mine safety law, ordinance, code or approval
 or any building permit) or any restriction of record or agreement affecting any Mortgaged Property, or is in default
 with respect to any judgment, writ, injunction or decree of any Governmental Authority, where such violation or
 default could reasonably be expected to have, individually or in the aggregate, a Material Adverse Effect.

           5.07     No Default. . Other than as a result of the commencement of the Chapter 11 Cases and the effects
 thereof, none of the Borrower or any of its Subsidiaries is in default under or with respect to any Contractual Obligation
 that could reasonably be expected to have a Material Adverse Effect. No Default or Event of Default has occurred
 and is continuing or would result from the consummation of the Transactions or any other transactions contemplated
 by this Agreement or any other Loan Document.

          5.08     Ownership and Identification of Property.

           (a)       The Borrower and its Subsidiaries have good record and marketable title in fee simple to, or valid
 leasehold interests in, all Real Property necessary or used in the ordinary conduct of its business, except for minor
 defects in title as could not reasonably be expected to have a Material Adverse Effect. As of the Closing Date, with
 respect to all real property listed on Schedule 5.08(c): (i) the Borrower and its Subsidiaries possess all leasehold
 interests necessary for the operation of the Mines currently being operated by each of them and included or purported
 to be included in the Collateral pursuant to the Security Documents, except where the failure to possess such leasehold
 interests could not reasonably be expected to have a Material Adverse Effect, (ii) each of their respective rights under
 the leases, contracts, rights-of-way and easements necessary for the operation of such Mines are in full force and
 effect, except to the extent that failure to maintain such leases, contracts, rights of way and easements in full force and
 effect could not reasonably be expected to have a Material Adverse Effect; and (iii) each of the Borrower and its
 Subsidiaries possesses all licenses, permits or franchises which are necessary to carry out its business as presently
 conducted at any Mine included or purported to be included in the Collateral pursuant to the Security Documents,
 except where failure to possess such licenses, permits or franchises could not, in the aggregate, be reasonably expected
 to have a Material Adverse Effect.

         (b)      Schedule 5.08(b) lists completely and correctly as of the Closing Date all Material Real Property
 fee owned by the Borrower and the other Loan Parties.

           (c)     Schedule 5.08(c) lists completely and correctly as of the Closing Date all Leasehold Properties
 constituting Material Real Property leased by the Borrower and the other Loan Parties and the lessors thereof.

         (d)       Except as could not be expected to have a Material Adverse Effect, there are no pending or, to the
 knowledge of any Loan Party, proposed special or other assessments for public improvements or otherwise affecting
 any material portion of any owned Real Property of the Loan parties, nor are there contemplated improvements to
 such owned Real Property of the Loan Parties that may result in such special or other assessments.



                                                             51
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                       Main Document
                                                 Pg 99 of 1005


         5.09     Environmental Compliance. Except as disclosed on Schedule 5.09, or as otherwise could not
 reasonably be expected to have a Material Adverse Effect:

          (a)     The facilities and properties currently or formerly owned, leased or operated by the Borrower, or
 any of its respective Subsidiaries (the “Properties”) do not contain any Hazardous Materials in amounts or
 concentrations which (i) constitute a violation of, or (ii) could reasonably be expected to give rise to liability under,
 any applicable Environmental Law.

         (b)       None of the Borrower, nor any of its respective Subsidiaries has received any notice of violation,
 alleged violation, non-compliance, liability or potential liability regarding compliance with or liability under
 Environmental Laws with regard to any of the Properties or the business operated by the Borrower, or any of its
 Subsidiaries (the “Business”), or any prior business for which the Borrower has retained liability under any
 Environmental Law.

          (c)       Hazardous Materials have not been transported or disposed of from the Properties in violation of,
 or in a manner or to a location which could reasonably be expected to give rise to liability under, any applicable
 Environmental Law, nor have any Hazardous Materials been generated, treated, stored or disposed of at, or under any
 of the Properties in violation of, or in a manner that could reasonably be expected to give rise to liability under, any
 applicable Environmental Law.

          (d)      No judicial proceeding or governmental or administrative action is pending or, to the knowledge of
 the Borrower, threatened under any Environmental Law to which the Borrower, or any of its Subsidiaries is or, to the
 knowledge of the Borrower, will be named as a party or with respect to the Properties or the Business, nor are there
 any consent decrees or other decrees, consent orders, administrative orders or other orders, or other similar
 administrative or judicial requirements outstanding under any Environmental Law with respect to the Properties or
 the Business.

           (e)     There has been no release or threat of release of Hazardous Materials at or from the Properties, or
 arising from or related to the operations of the Borrower, or any of its Subsidiaries in connection with the Properties
 or otherwise in connection with the Business, in violation of or in amounts or in a manner that could reasonably be
 expected to give rise to liability under any applicable Environmental Laws.

        (f)      The Properties and all operations at the Properties are in compliance with all applicable
 Environmental Laws.

          (g)      The Borrower and each of its Subsidiaries has obtained, and is in compliance with, all
 Environmental Permits required for the conduct of its businesses and operations, and the ownership, occupation,
 operation and use of its Property, and all such Environmental Permits are in full force and effect.

          5.10     Insurance.

          (a)      The properties of the Borrower and its Subsidiaries are insured with financially sound and reputable
 insurance companies which may be Affiliates of the Borrower, in such amounts (after giving effect to any self-
 insurance compatible with the following standards), with such deductibles and covering such risks as are customarily
 carried by companies engaged in similar businesses and owning similar properties in localities where the Borrower or
 the applicable Subsidiary operates.

         (b)       As to any Building located on Material Real Property and constituting Collateral, all flood hazard
 insurance policies required hereunder have been obtained and remain in full force and effect, and the premiums thereon
 have been paid in full.

           5.11      Taxes. The Borrower and its Subsidiaries have filed or caused to be filed all applicable U.S. federal,
 state, foreign and other material Tax returns and reports required to be filed, and have paid or caused to be paid all
 U.S. federal, state, foreign and other Taxes, assessments, fees and other governmental charges levied or imposed upon
 them or their properties, income or assets otherwise due and payable, in each case, except as otherwise permitted



                                                            52
Case 20-41308          Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                       Main Document
                                               Pg 100 of 1005


 under Section 6.04. No Tax Lien has been filed which would not be permitted under Section 7.01 and, to the
 knowledge of the Borrower, no claim is being asserted, with respect to any Tax, fee or other charge which could
 reasonably be expected to result in a Material Adverse Effect. As of the Closing Date, neither Borrower nor any
 Subsidiary thereof is party to any tax sharing agreement.

          5.12     ERISA Compliance. Except as could not reasonably be expected, individually or in the aggregate,
 to have a Material Adverse Effect:

          (a)      Each Plan is in material compliance in all respects with the applicable provisions of ERISA, the
 Code and other Federal or state Laws (except that with respect to any Multiemployer Plan which is a Plan, such
 representation is deemed made only to the knowledge of the Borrower), and each Foreign Plan is in material
 compliance in all respects with the applicable provisions of Laws applicable to such Foreign Plan.

          (b)       There has been no nonexempt “prohibited transaction” (as defined in Section 406 of ERISA) or
 violation of the fiduciary responsibility rules with respect to any Plan.

           (c)      (i) As of the Closing Date, no ERISA Event has occurred or is reasonably expected to occur; (ii) no
 Pension Plan has any Unfunded Pension Liability; and (iii) neither the Borrower nor any ERISA Affiliate has engaged
 in a transaction that could be subject to Section 4069 or 4212(c) of ERISA.

          5.13    Subsidiaries. As of the Closing Date, the Borrower has no Subsidiaries other than those specifically
 disclosed in Schedule 5.13.

          5.14     Margin Regulations; Investment Company Act.

          (a)      The Borrower is not engaged and will not engage, principally or as one of its important activities,
 in the business of purchasing or carrying margin stock (within the meaning of Regulation U issued by the FRB), or
 extending credit for the purpose of purchasing or carrying margin stock.

          (b)       None of the Borrower, any Person Controlling the Borrower, nor any Subsidiary is or is required to
 be registered as an “investment company” under the Investment Company Act of 1940.

           5.15     Disclosure. No report, financial statement, certificate or other information furnished in writing by
 any Loan Party to any Agent or any Lender in connection with the transactions contemplated hereby and the
 negotiation of this Agreement or delivered hereunder or under any other Loan Document, taken as whole with any
 other information furnished or publicly available, contains any material misstatement of fact or omits to state any
 material fact necessary to make the statements therein, in the light of the circumstances under which they were made,
 not materially misleading as of the date when made or delivered; provided that, with respect to any forecast, projection
 or other statement regarding future performance, future financial results or other future developments, the Borrower
 represents only that such information was prepared in good faith based upon assumptions believed to be reasonable at
 the time of delivery of such information (it being understood that any such information is subject to significant
 uncertainties and contingencies, many of which are beyond the Borrower’s control, and that no assurance can be given
 that the future developments addressed in such information can be realized).

          5.16      Compliance with Laws. Each of Holdings and its Subsidiaries is in compliance in all material
 respects with the requirements of all Laws (including any zoning, building, ordinance, code or approval or any building
 or mining permits and all orders, writs, injunctions and decrees applicable to it or to its properties), except in such
 instances in which (a) such requirement of Law or order, writ, injunction or decree is being contested in good faith by
 appropriate proceedings diligently conducted or (b) the failure to comply therewith could not reasonably be expected
 to have a Material Adverse Effect.

          5.17     Anti-Corruption; Sanctions; Terrorism Laws.

          (a)    None of the Borrower, any Subsidiary nor, to the knowledge of the Borrower, any director, officer,
 agent, employee or Affiliate of the Borrower or any Subsidiary is (i) a person on the list of “Specially Designated



                                                           53
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                         Main Document
                                                Pg 101 of 1005


 Nationals and Blocked Persons” or (ii) subject of any active sanctions administered or enforced by the U.S.
 Department of State or the U.S. Department of Treasury (including the Office of Foreign Assets Control) or any other
 applicable Governmental Authority (collectively, “Sanctions”, and the associated laws, rules, regulations and orders,
 collectively, “Sanctions Laws”); and the Borrower will not directly or, to the knowledge of the Borrower, indirectly
 use the proceeds of the Loans for the purpose of financing the activities of any Person that is the subject of, or in any
 country or territory that at such time is the subject of, any Sanctions.

           (b)      The Borrower and each Subsidiary is in compliance, in all material respects, with the (i) Trading
 with the Enemy Act, as amended, and each of the foreign assets control regulations of the United States Treasury
 Department (31 CFR, Subtitle B, Chapter V, as amended) and any other enabling legislation or executive order relating
 thereto, (ii) the USA PATRIOT Act (Title III of Pub. L. 107-56), as amended (the “PATRIOT Act”), (iii) Sanctions
 Laws and (iv) Anti-Corruption Laws.

           (c)      No part of the proceeds of any Loan will be used, directly or, to the knowledge of the Borrower,
 indirectly, for any payments to any governmental official or employee, political party, official of a political party,
 candidate for political office, or anyone else acting in an official capacity, in order to obtain, retain or direct business
 or obtain any improper advantage, in violation of the United States Foreign Corrupt Practices Act of 1977, as amended,
 or any other applicable anti-bribery or anti-corruption laws, rules, regulations and orders (collectively, “Anti-
 Corruption Laws”).

           5.18      Intellectual Property; Licenses, Etc. The Borrower and its Subsidiaries own, or possess the right
 to use, all of the trademarks, service marks, trade names, copyrights, patents, patent rights, franchises, licenses and
 other intellectual property rights (collectively, “IP Rights”) that are reasonably necessary for the operation of their
 respective businesses, except where the failure to own or possess the right to use such IP Rights could not reasonably
 be expected to have a Material Adverse Effect. To the best knowledge of the Borrower, the use of such IP Rights by
 the Borrower or any Subsidiary does not infringe upon any rights held by any other Person except for any infringement
 that could not reasonably be expected to have a Material Adverse Effect. Except as specifically disclosed in Schedule
 5.18, no claim or litigation regarding any of the foregoing is pending or, to the best knowledge of the Borrower,
 threatened, which could reasonably be expected to have a Material Adverse Effect.

          5.19      Security Interest in Collateral. Subject to the entry of the Order and the terms thereof, the
 provisions of the Orders, this Agreement and the other Loan Documents create legal and valid Liens on all Collateral
 in favor of the Collateral Agent, for the benefit of the Secured Parties, and upon entry of the Orders, such Liens
 constitute perfected and continuing Liens on the Collateral, securing the Obligations, enforceable (except as
 enforceability may be limited by bankruptcy, insolvency, fraudulent conveyance or similar laws affecting creditors’
 rights generally and general principles of equity (regardless of whether the application of such principles is considered
 in a proceeding in equity or at law)) against the applicable Loan Party and all third parties, and having priority with
 respect to other Liens on the Collateral as contemplated by the Orders.

          5.20     Mines. Schedule 5.20 sets forth a complete and accurate list of all Mines (including addresses and
 the owner thereof) owned or operated by the Borrower or any of its Subsidiaries as of the Closing Date and included
 or purported to be included in the Collateral.

          5.21      [Reserved].

          5.22      Labor Relations. Neither the Borrower nor any of its Subsidiaries is engaged in any unfair labor
 practice that could reasonably be expected to have a Material Adverse Effect. There is (a) no unfair labor practice
 complaint pending against the Borrower or any of its Subsidiaries, or to the best knowledge of the Borrower,
 threatened against any of them before the National Labor Relations Board and no grievance or arbitration proceeding
 arising out of or under any collective bargaining agreement that is so pending against the Borrower or any of its
 Subsidiaries or to the best knowledge of the Borrower, threatened against any of them, (b) no strike or work stoppage
 in existence or threatened involving the Borrower or any of its Subsidiaries, and (c) to the best knowledge of the
 Borrower, no union representation question existing with respect to the employees of the Borrower or any of its
 Subsidiaries and, to the best knowledge of the Borrower, no union organization activity that is taking place, except
 (with respect to any matter specified in clause (a), (b) or (c) above, either individually or in the aggregate) such as is
 not reasonably likely to have a Material Adverse Effect.


                                                             54
Case 20-41308           Doc 228         Filed 04/01/20 Entered 04/01/20 23:45:34                         Main Document
                                                 Pg 102 of 1005


          5.23      Bankruptcy Related Matters.

          (a)       The Chapter 11 Cases were commenced on the Petition Date in accordance with applicable law and
 proper notice thereof was given for (i) the motion seeking approval of the Loan Documents and the Interim Order and
 Final Order, (ii) the hearing for the entry of the Interim Order, and (iii) the hearing for the entry of the Final Order
 (provided that notice of the final hearing will be given as soon as reasonably practicable after such hearing has been
 scheduled).

           (b)       After the entry of the Interim Order, and pursuant to and to the extent provided in the Interim Order
 and the Final Order, the Obligations will constitute allowed administrative expense claims in the Chapter 11 Cases
 having priority over all administrative expense claims and unsecured claims against the Debtors now existing or
 hereafter arising, of any kind whatsoever, including all administrative expense claims of the kind specified in Sections
 105, 326, 330, 331, 503(b), 506(c), 507(a), 507(b), 546(c), 726, 1114 or any other provision of the Bankruptcy Code
 or otherwise, as provided under Section 364(c)(1) of the Bankruptcy Code, subject to (i) the Carve Out and (ii) the
 priorities set forth in the Interim Order or Final Order, as applicable.

           (c)        After the entry of the Interim Order and pursuant to and to the extent provided in the Interim Order
 and the Final Order, the Obligations will be secured by a valid and perfected Lien on all of the Collateral subject, as
 to priority, to the extent set forth in the Interim Order or the Final Order, and in any case, (i) subject to Permitted Liens
 and (ii) excluding claims and causes of action under sections 502(d), 544, 545, 547, 548, 550 and 553 of the
 Bankruptcy Code (collectively, “Avoidance Actions”) (but including, upon entry of the Final Order, the proceeds
 thereof).

          (d)      The Interim Order (with respect to the period on and after entry of the Interim Order and prior to
 entry of the Final Order) or the Final Order (with respect to the period on and after entry of the Final Order, as the
 case may be), is in full force and effect and has not been reversed, stayed (whether by statutory stay or otherwise),
 vacated, or without the Required Lenders’ (and with respect to any provision that affects the rights or duties of any
 Agent, such Agent’s) consent, modified or amended. The Loan Parties are in compliance in all material respects with
 the Orders.

           (e)     The DIP Budget, the Cash Flow Forecast, and all other projected consolidated balance sheets,
 income statements and cash flow statements of Borrower and its Subsidiaries delivered to the Administrative Agent
 were prepared in good faith on the basis of the assumptions stated therein, which assumptions were believed in good
 faith by the Borrower to be fair in light of the conditions existing at the time of delivery of such report or projections
 (it being understood that any projections or estimates made in the items described in this subsection (e) are not to be
 viewed as facts and are subject to significant uncertainties and contingencies, that no assurance can be given that any
 such projections or estimates will be realized, that actual results may differ from projected results and such differences
 may be material).

                                                   ARTICLE VI
                                             AFFIRMATIVE COVENANTS

          Until Payment in Full of all Obligations, the Borrower shall, and shall cause each of its Subsidiaries to:

           6.01      Financial Statements. Deliver to the Administrative Agent and each Lender, in form and detail
 reasonably satisfactory to the Financial Advisor (which shall be entitled to deliver such information to the Lenders in
 its sole discretion):

          (a)       Annual Financial Statements. Within 90 days after the end of each fiscal year of the Borrower
 (commencing with the fiscal year in which the Closing Date occurs) a consolidated balance sheet of the Borrower and
 its Subsidiaries as at the end of such fiscal year, and the related consolidated statements of income or operations,
 changes in shareholders’ equity and cash flows for such fiscal year, setting forth in each case in comparative form the
 figures for the previous fiscal year, all in reasonable detail (together with a Narrative Report), and prepared in
 accordance with GAAP; such consolidated statements shall be audited and accompanied by a report and opinion of
 an independent certified public accountant of nationally recognized standing, which report and opinion shall be



                                                              55
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                         Main Document
                                                Pg 103 of 1005


 prepared in accordance with generally accepted auditing standards and which may contain a “going concern”
 qualification.

           (b)      Quarterly Financial Statements. Within 45 days after the end of each fiscal quarter of each fiscal
 year of the Borrower (commencing with the fiscal quarter ended March 31, 2020), a consolidated balance sheet of the
 Borrower and its Subsidiaries as at the end of such fiscal quarter, and the related consolidated statements of income
 or operations, changes in shareholders’ equity and cash flows for such fiscal quarter and for the portion of the
 Borrower’s fiscal year then ended, setting forth in each case in comparative form the figures for the corresponding
 fiscal quarter of the previous fiscal year and the corresponding portion of the previous fiscal year, all in reasonable
 detail (together with a Narrative Report) and certified by a Responsible Officer of the Borrower as fairly presenting
 in all material respects the financial condition, results of operations, changes in shareholders’ equity and cash flows
 of the Borrower and its Subsidiaries in accordance with GAAP, subject only to normal year-end audit adjustments and
 the absence of footnotes.

           (c)      Monthly Financial Statements. (i) Within 30 days after the end of each month (commencing with
 the month ending March 31, 2020), the Monthly Consolidated Financial Report, certified by a Responsible Officer of
 the Borrower as fairly presenting in all material respects the financial condition as at the dates indicated and the results
 of their operations and their cash flows for the periods indicated, and (ii) within 30 days after the end of each month
 (commencing with the month ending March 31, 2020), the Monthly Mine-Level Financial Report, certified by a
 Responsible Officer of the Borrower as fairly presenting in all material respects the financial information reported
 therein.

          (d)      Cash Flow Forecast. No later than 12:00 p.m. on the Thursday following the end of every fourth
 calendar week, commencing with the Thursday of the fourth calendar week following the week in which the Petition
 Date occurs, a Cash Flow Forecast, substantially in the form of the initial Cash Flow Forecast provided pursuant to
 Section 4.01(g) or as otherwise reasonably satisfactory to the Financial Advisor.

          (e)     Budget Variance Report. No later than 7:00 p.m. on Thursday of each week after each Reporting
 Period (commencing with the Thursday of the first full week following the Petition Date), a Budget Variance Report
 for the immediately preceding Reporting Period. Each such report shall be certified by a Responsible Officer of the
 Borrower as being prepared in good faith and fairly presenting in all material respects the information set forth therein.

           (f)      Critical Vendor Report. No later than 7:00 p.m. on the Thursday of every other week (commencing
 with the Thursday of the first full week following the Petition Date), a Critical Vendor Report. Each such report shall
 be certified by a Responsible Officer of the Borrower as being prepared in good faith and fairly presenting in all
 material respects the information set forth therein.

         6.02      Certificates; Other Information.         Deliver to the Administrative Agent, in form and detail
 reasonably satisfactory to the Financial Advisor:

         (a)     concurrently with the delivery of the financial statements referred to in Section 6.01(a) and (b)
 (commencing with the delivery of the financial statements for the first full fiscal quarter ending March 31, 2019), a
 duly completed Compliance Certificate signed by a Responsible Officer of the Borrower;

          (b)       promptly after the same are available, copies of each annual report, proxy or financial statement or
 other report sent to the holders of Equity Interests in Holdings or Borrower, and copies of all annual, regular, periodic
 and special reports and registration statements which Holdings or Borrower may file or be required to file with the
 SEC under Section 13 or 15(d) of the Exchange Act, and not otherwise required to be delivered to the Administrative
 Agent pursuant hereto; and

          (c)      promptly, such additional information regarding the business, financial or corporate affairs of
 Holdings, the Borrower or any Subsidiary, or compliance with the terms of the Loan Documents, as the Administrative
 Agent or any Lender (through the Administrative Agent) may from time to time reasonably request that is reasonably
 available without undue cost or burden.




                                                             56
Case 20-41308          Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                        Main Document
                                               Pg 104 of 1005


          Documents required to be delivered pursuant to Section 6.01(a) or 6.01(b) or Section 6.02(b) may be
 delivered electronically and if so delivered, shall be deemed to have been delivered on the date (i) on which Holdings
 or the Borrower posts such documents, or provides a link thereto on Holdings’ or the Borrower’s website on the
 Internet at the website address listed on Schedule 10.02; (ii) on which such documents are posted on the Borrower’s
 behalf on an Internet or intranet website, if any, to which each Lender and the Administrative Agent have access
 (whether a commercial, third-party website or whether sponsored by the Administrative Agent); or (iii) on which such
 documents are filed for public availability on the SEC’s Electronic Data Gathering and Retrieval system.

           In the event that Holdings or any Parent reports on a consolidated basis, such consolidated reporting at
 Holdings or such Parent’s level in a manner consistent with that described in clauses 6.01(a) and 6.01(b) of this Section
 6.01 for the Borrower will satisfy the requirements of such clauses.

           The Borrower hereby acknowledges that (a) the Administrative Agent may make available to the Lenders
 materials and/or information provided by or on behalf of the Borrower hereunder (collectively, “Borrower Materials”)
 by posting the Borrower Materials on IntraLinks or another similar electronic system (the “Platform”) and (b) certain
 of the Lenders may be “public-side” Lenders (i.e., Lenders that do not wish to receive material non-public information
 with respect to the Borrower or its securities) (each, a “Public Lender”). The Borrower hereby agrees that (a) all
 Borrower Materials that are to be made available to Public Lenders shall be clearly and conspicuously marked
 “PUBLIC” which, at a minimum, shall mean that the word “PUBLIC” shall appear prominently on the first page
 thereof; (b) by marking Borrower Materials “PUBLIC,” the Borrower shall be deemed to have authorized the
 Administrative Agent and the Lenders to treat the Borrower Materials as not containing any material non- public
 information with respect to the Borrower or its securities for purposes of United States Federal and state securities
 laws (provided, however, that to the extent the Borrower Materials constitute Information, they shall be treated as set
 forth in Section 10.07); and (c) all Borrower Materials marked “PUBLIC” or not marked as containing material non-
 public information are permitted to be made available through a portion of the Platform designated “Public Investor.”
 Notwithstanding the foregoing, the Borrower shall not be under any obligation to mark the Borrower Materials
 “PUBLIC” or as containing material non-public information; provided, however, that the following Borrower
 Materials shall be deemed to be marked “PUBLIC” unless the Borrower notifies the Administrative Agent prior to
 posting that any such document contains material non-public information: (1) the Loan Documents, and (2) any
 notification of changes in the terms of the Facilities. The Borrower acknowledges and agrees that the list of
 Disqualified Institutions does not constitute non-public information and shall be posted to all Lenders by the
 Administrative Agent. In connection with the foregoing, each party hereto acknowledges and agrees that the
 foregoing provisions are not in derogation of their confidentiality obligations under Section 10.07.

          6.03     Notices. Notify the Administrative Agent:

         (a)      Promptly upon any Responsible Officer of the Borrower obtaining knowledge thereof, of the
 occurrence of any Default or Event of Default hereunder;

         (b)      Promptly upon any Responsible Officer of the Borrower obtaining knowledge thereof, of any event
 which could reasonably be expected to have a Material Adverse Effect;

           (c)     of the occurrence of any ERISA Event that, individually or in the aggregate, would be reasonably
 likely to have a Material Adverse Effect, promptly and in any event within 30 days after any Responsible Officer of
 the Borrower knows or has obtained notice thereof;

          (d)      within 15 days of the Borrower or any Guarantor changing its legal name, jurisdiction of
 organization or the location of its chief executive office or sole place of business; and

         (e)       promptly, as to any Building located on Material Real Property and constituting Collateral, of any
 redesignation of any such property on which such Building is located into or out of a special flood hazard area.

         Each notice pursuant to Sections 6.03(a)-(c) shall be accompanied by a statement of a Responsible Officer
 of the Borrower setting forth details of the occurrence referred to therein and stating what action the Borrower has
 taken and proposes to take with respect thereto.



                                                            57
Case 20-41308          Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                       Main Document
                                               Pg 105 of 1005


           6.04      Payment of Tax Obligations. Subject to the Bankruptcy Code, the terms of the applicable Orders
 and any required approval by the Bankruptcy Court, except where failure to do so could not reasonably be expected
 to result in a Material Adverse Effect, with respect to the Borrower and each of its Subsidiaries, pay and discharge all
 Tax liabilities, assessments and governmental charges or levies upon it or its properties or assets, unless the same are
 being contested in good faith by appropriate proceedings diligently conducted and adequate reserves in accordance
 with GAAP are being maintained by the Borrower or such Subsidiary.

          6.05    Preservation of Existence, Etc.; Activities of Foresight Energy Finance Corporation. Subject
 to the Bankruptcy Code, the terms of the applicable Orders and any required approval by the Bankruptcy Court,

          (a)      Preserve, renew and maintain in full force and effect its legal existence except in a transaction
 permitted by Section 7.04.

          (b)       With respect to Foresight Energy Finance Corporation, a Delaware corporation, cause such
 Subsidiary not to hold any material assets and not engage in any material business or activity other than maintaining
 its corporate existence.

          6.06     Maintenance of Properties.

          (a)      Maintain, preserve and protect all of its material properties and material equipment, including
 Collateral, necessary in the operation of its business in good working order and condition (ordinary wear and tear and
 damage by fire or other casualty or taking by condemnation excepted), except where the failure to do so could not
 reasonably be expected to have a Material Adverse Effect.

          (b)       Keep in full force and effect all of its material leases and other material contract rights, and all
 material rights of way, easements and privileges necessary or appropriate for the proper operation of the Mines being
 operated by the Borrower or a Subsidiary and included or purported to be included in the Collateral by the Security
 Documents, except where the failure to do so could not reasonably be expected to have a Material Adverse Effect.

          6.07     Maintenance of Insurance.

          (a)      Maintain with financially sound and reputable insurance companies which may be Affiliates of the
 Borrower, insurance with respect to its properties and business against loss or damage of the kinds customarily insured
 against by Persons engaged in the same or similar business, of such types and in such amounts (after giving effect to
 any self-insurance compatible with the following standards) as are customarily carried by companies engaged in
 similar businesses and owning similar properties in localities where the Borrower or the applicable Subsidiary
 operates, except to the extent the failure to do so could not reasonably be expected to have a Material Adverse Effect.

          (b)      With respect to any Building located on Material Real Property and constituting Collateral, the
 Borrower shall and shall cause each appropriate Loan Party to (i) maintain fully paid flood hazard insurance on any
 such Building that is located in a special flood hazard area, on such terms and in such amounts as required by The
 National Flood Insurance Reform Act of 1994 and (ii) furnish to the Collateral Agent an insurance certificate
 evidencing the renewal (and payment of renewal premiums therefor) of all such policies prior to the expiration or
 lapse thereof (or at such other time acceptable to the Collateral Agent). The Borrower shall cooperate with the
 Collateral Agent’s reasonable request for any information reasonably required by the Collateral Agent to comply with
 The National Flood Insurance Reform Act of 1994, as amended.

          6.08      Compliance with Laws. Except as otherwise excused by the Bankruptcy Code, comply in all
 respects with the requirements of all Laws (including the PATRIOT Act, Sanctions Laws, the Anti-Corruption Laws
 and Environmental Laws) and all orders, writs, injunctions and decrees applicable to it or to its business or property,
 except in such instances in which (a) such requirement of law or order, writ, injunction or decree is being contested in
 good faith by appropriate proceedings diligently conducted or (b) the failure to comply therewith could not reasonably
 be expected to have, individually or in the aggregate, a Material Adverse Effect (or, in the case of compliance with
 the PATRIOT Act, Sanctions Laws and the Anti-Corruption Laws, the failure to comply therewith is not material).




                                                           58
Case 20-41308          Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                       Main Document
                                               Pg 106 of 1005


          6.09       Books and Records. (a) Maintain proper books of record and account, in which in all material
 respects full, true and correct entries in conformity with GAAP shall be made of all material financial transactions and
 matters involving the assets and business of the Borrower or such Subsidiary, as the case may be; and (b) maintain
 such books of record and account in material conformity with all material requirements of any Governmental
 Authority having regulatory jurisdiction over the Borrower or such Subsidiary, as the case may be.

           6.10     Inspection Rights. Permit representatives and independent contractors of the Administrative Agent
 and each Lender (provided that, subject to no Event of Default having occurred or be continuing, such Lender to be
 accompanied by the Administrative Agent) to visit and inspect any of its properties, to examine its corporate, financial
 and operating records, and make copies thereof or abstracts therefrom (except to the extent (a) any such access is
 restricted by a Requirement of Law or (b) any such agreements, contracts or the like are subject to a written
 confidentiality agreement with a non-Affiliate that prohibits the Borrower or any of its Subsidiaries from granting
 such access to the Administrative Agent or the Lenders; provided that, with respect to such confidentiality restrictions
 affecting the Borrower or any of its Subsidiaries, a Responsible Officer is made available to the Administrative Agent
 and such Lender (provided that, subject to no Event of Default having occurred or be continuing, such Lender to be
 accompanied by the Administrative Agent) to discuss such confidential information to the extent permitted), and to
 discuss the business, finances and accounts with its officers and independent public accountants at such reasonable
 times during normal business hours and as often as may be reasonably desired, provided that the Administrative Agent
 or such Lender shall give the Borrower reasonable advance notice prior to any contact with such accountants and give
 the Borrower the opportunity to participate in such discussions, provided further that the costs of one such visit per
 calendar year (or an unlimited amount if an Event of Default has occurred and is continuing) for the Administrative
 Agent, the Lenders and their representatives as a group shall be the responsibility of the Borrower. In no event shall
 the Administrative Agent be required to bear any cost or expense hereunder.

          6.11     Use of Proceeds. The proceeds of the Loans shall be used in accordance with the terms of the Cash
 Flow Forecast (subject to Permitted Variances), including to (i) pay for the fees, costs and expenses incurred in
 connection with the Transactions and the Chapter 11 Cases and (ii) to fund working capital of the Loan Parties
 (including, without limitation, payments of fees and expenses to professionals under Section 328 and 331 of the
 Bankruptcy Code and administrative expenses of the kind specified in Section 503(b) of the Bankruptcy Code incurred
 in the ordinary course of business of the Loan Parties or otherwise approved by the Bankruptcy Court (and not
 otherwise prohibited under this Agreement)).

          6.12      Additional Guarantors. Within 10 days (or such longer period as the Administrative Agent may
 agree in its sole discretion) of a Person becoming a Subsidiary that is required to be a Guarantor by virtue of the
 definition of a Guarantor, the Borrower shall cause any such Subsidiary to become a Guarantor by executing and
 delivering to the Administrative Agent a counterpart of the Guaranty or such other documents as the Administrative
 Agent shall deem appropriate for such purpose.

          6.13     [Reserved].

          6.14     Preparation of Environmental Reports. If an Event of Default caused by reason of a breach under
 Sections 6.08 or 5.09 with respect to compliance with Environmental Laws shall have occurred and be continuing, at
 the reasonable request of the Required Lenders through the Administrative Agent, provide, in the case of the Borrower,
 to the Lenders within 60 days after such request, at the expense of the Borrower, an environmental or mining site
 assessment or audit report for the Properties which are the subject of such breach prepared by an environmental or
 mining consulting firm reasonably acceptable to the Required Lenders and indicating the presence or absence of
 Hazardous Materials and the estimated cost of any compliance or remedial action in connection with such Properties
 and the estimated cost of curing any violation or non-compliance of any Environmental Law.

           6.15      Certain Long Term Liabilities and Environmental Reserves. To the extent required by GAAP,
 maintain adequate reserves for (a) future costs associated with any lung disease claim alleging pneumoconiosis or
 silicosis or arising out of exposure or alleged exposure to coal dust or the coal mining environment, (b) future costs
 associated with retiree and health care benefits, (c) future costs associated with reclamation of disturbed acreage,
 removal of facilities and other closing costs in connection with closing its mining operations and (d) future costs
 associated with other potential environmental liabilities.



                                                           59
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                       Main Document
                                                Pg 107 of 1005


          6.16     Covenant to Give Security.

          (a)      Personal Property including IP of New Guarantors. Concurrently with any Subsidiary becoming a
 Guarantor pursuant to Section 6.12 (or a later date to which the Collateral Agent agrees), any property of such
 Subsidiary constituting Collateral shall automatically become subject to the Lien securing the Obligations pursuant to
 the Orders, and the Borrower shall, or cause such Subsidiary to, deliver any Security Document as the Collateral Agent
 or the Required Lenders may request, including the delivery of stock certificates, if any, representing the Capital Stock
 of such Subsidiary accompanied by undated stock powers or instruments of transfer executed in blank.

          (b)      Real Property of New Guarantors.

                  (i)       New Real Property Identification. With respect to any Subsidiary becoming a Guarantor
 pursuant to Section 6.12, concurrently with such Subsidiary becoming a Guarantor (or a later date to which the
 Collateral Agent agrees), furnish to the Collateral Agent a description of all Material Real Property fee owned or
 leased by such Subsidiary.

                    (ii)     Real Property. With respect to any Subsidiary becoming a Guarantor pursuant to Section
 6.12, any Real Property of such Subsidiary shall automatically become subject to the Lien securing the Obligations as
 provided in Section 2.19, and Section 2.19(b)(iii) shall apply to such Real Property. In addition to the foregoing,
 Borrower shall, at the reasonable request of the Collateral Agent or the Required Lenders, deliver to the Collateral
 Agent such appraisals as are required by law or regulation of Real Property with respect to which Collateral Agent
 has been granted a Lien, evidence of the filing of as-extracted UCC-1 financing statements in the appropriate
 jurisdiction, and such other instruments in connection therewith as the Collateral Agent or the Required Lenders shall
 reasonably require.

                    (iii)     Consents Related to Leaseholds Concerning Material Real Property. With respect to any
 leasehold interest of any Subsidiary becoming a Guarantor pursuant to Section 6.12 that would constitute Material
 Real Property but for the need to obtain the consent of another Person (other than the Borrower or any Controlled
 Subsidiary) in order to grant a security interest therein, upon the request of Collateral Agent or the Required Lenders,
 the Borrower and its Subsidiaries shall use commercially reasonable efforts to obtain such consent for the 120 day
 period commencing after such entity becomes a Guarantor, provided that there shall be no requirement to pay any
 sums to the applicable lessor other than customary legal fees and administrative expenses (it is understood, for
 avoidance of doubt, that, without limiting the foregoing obligations of the Borrower set forth in this Section
 6.16(b)(iii), any failure to grant a security interest in any such leasehold interest as a result of a failure to obtain a
 consent shall not be a Default hereunder, and, for avoidance of doubt, the Borrower and its Subsidiaries shall no longer
 be required to use commercially reasonable efforts to obtain any such consent after such above-mentioned time period
 to obtain a consent has elapsed).

          (c)      Personal Property (including IP) Acquired by Borrower or Guarantors. If requested by the Collateral
 Agent or the Required Lenders, the Borrower shall, or shall cause any Subsidiary, (i) to the extent that any Capital
 Stock in, or owned by, a Loan Party constitutes Collateral, promptly deliver stock certificates, if any, representing
 such Capital Stock accompanied by undated stock powers or instruments of transfer executed in blank to the Collateral
 Agent and/or execute and deliver to the Collateral Agent any Security Document as any Agent or the Required Lenders
 may request to pledge any such Capital Stock and (ii) to the extent that any intellectual property owned by a Loan
 Party constitutes Collateral, promptly deliver any Security Document or supplements thereto as may be requested by
 the Collateral Agent or the Required Lenders.

          (d)      Real Property Acquired by Borrower and Guarantors.

                    (i)       New Real Property Identification. Within 10 days (or such longer period as the Collateral
 Agent may agree in its sole discretion) of any acquisition of a new Real Property by any Loan Party, such Loan Party
 shall notify the Collateral Agent of the acquisition of any such Real Property (fee owned or leased by such Loan Party.

                  (ii)    Real Property. Any Real Property acquired by the Borrower or any Guarantor shall
 automatically become subject to the Lien as provided in Section 2.19, and Section 2.19(b)(iii) shall apply to such Real



                                                            60
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                         Main Document
                                                Pg 108 of 1005


 Property. In addition to the foregoing, Borrower shall, at the reasonable request of the Collateral Agent or the Required
 Lenders, deliver to the Collateral Agent such appraisals as are required by law or regulation of Real Property with
 respect to which Collateral Agent has been granted a Lien, evidence of the filing of as-extracted UCC-1 financing
 statements in the appropriate jurisdiction, and such other instruments in connection therewith as the Collateral Agent
 or the Required Lenders shall reasonably require.

                    (iii)     Consents Related to Leaseholds Concerning Material Real Property. With respect to the
 acquisition of any leasehold interest by any Subsidiary that would constitute Material Real Property but for the need
 to obtain the consent of another Person (other than the Borrower or any Controlled Subsidiary) in order to grant a
 security interest therein, upon the request of Collateral Agent or the Required Lenders, the Borrower and its
 Subsidiaries shall use commercially reasonable efforts to obtain such consent for the 120 day period commencing on
 the date of the notification provided pursuant to Section 6.16(d)(i), provided that there shall be no requirement to pay
 any sums to the applicable lessor other than customary legal fees and administrative expenses (it is understood, for
 avoidance of doubt, that, without limiting the foregoing obligations of the Borrower set forth in this Section
 6.16(d)(iii), any failure to grant a security interest in any such leasehold interest as a result of a failure to obtain a
 consent shall not be a Default hereunder, and, for avoidance of doubt, the Borrower and its Subsidiaries shall no longer
 be required to use commercially reasonable efforts to obtain any such consent after such above-mentioned time period
 to obtain a consent has elapsed).

          (e)      Further Assurances. Subject to any applicable limitation in any Security Document and
 subparagraph (f) below, upon request of the Collateral Agent or the Required Lenders, at the expense of the Borrower,
 promptly execute and deliver any and all further instruments and documents and take all such other action as the
 Collateral Agent or the Required Lenders may deem necessary or desirable in order to effect fully the purposes of the
 Orders and the Loan Documents, including the filing of financing statements necessary or advisable in the opinion of
 the Collateral Agent or the Required Lenders to perfect any security interests created under the Orders or any other
 Security Document.

          (f)       Collateral Principles. Notwithstanding anything to the contrary in any Loan Document, (i) no
 actions in any non-U.S. jurisdiction or required by the Requirement of Law of any non-U.S. jurisdiction shall be
 required in order to create any security interests in assets located or titled outside of the U.S. (it being understood that
 there shall be no security agreements or pledge agreements governed under the laws of any non-U.S. jurisdiction), (ii)
 the Collateral Agent in its discretion may grant extensions of time for the creation or perfection of security interests
 in, and Mortgages on, or taking other actions with respect to, particular assets where it reasonably determines in
 consultation with the Borrower, that the creation or perfection of security interests and Mortgages on, or taking other
 actions, cannot be accomplished without undue delay, burden or expense by the time or times at which it would
 otherwise be required by this Agreement or the Security Documents, and (iii) any Liens required to be granted from
 time to time pursuant to Security Documents and this Agreement on assets of the Loan Parties to secure to the
 Obligations shall exclude the Excluded Assets.

          6.17      [Reserved].

          6.18      Post Closing Covenants. Cause to be delivered or performed the documents and other agreements
 and actions set forth on Schedule 6.18 within the time frame specified on such Schedule 6.18.

           6.19     ERISA. Except, in each case, to the extent that the failure to do so could not reasonably be expected
 to result in a Material Adverse Effect, comply with the provisions of ERISA, the Code, and other Laws applicable to
 the Plans.

         6.20       Lender Calls. Borrower will participate in a telephonic conference call with (x) the Administrative
 Agent and the Lenders once during each two-week period at such time as may be agreed to by Borrower and
 Administrative Agent and (y) the Financial Advisor once during each week at such time as may be agreed to by
 Borrower and Financial Advisor, in each case, to discuss cash flows and operations of the Borrower and its
 Subsidiaries; it being understood and agreed that the calls in clauses (x) and (y) shall be conducted separately.

         6.21     First and Second Day Orders. The Borrower shall cause all proposed “first day” orders, “second
 day” orders and all other orders establishing procedures for administration of the Chapter 11 Cases or approving


                                                             61
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                        Main Document
                                                Pg 109 of 1005


 significant or outside the ordinary course of business transactions submitted to the Bankruptcy Court to be in
 accordance with and permitted by the terms of this Agreement and acceptable to the Required Lenders in all material
 respects, it being understood and agreed that the forms of orders approved by the Required Lenders prior to the Petition
 Date are in accordance with and permitted by the terms of this Agreement in all respects and are acceptable.

         6.22      Milestones. Comply with the following milestones (unless extended or waived by the Required
 Lenders):

           (a)     no later than thirty-five (35) calendar days after the Petition Date, (i) the Bankruptcy Court shall
 have entered the Final Order, and (ii) the Loan Parties shall have filed the Reorganization Plan and the Disclosure
 Statement (which shall include the Valuation Analysis (as defined in the Restructuring Support Agreement), which
 shall be acceptable to the Required Lenders in their sole and absolute discretion) with the Bankruptcy Court;

         (b)      no later than fifty (50) calendar days after the Petition Date, the Loan Parties shall have entered into
 each of Renegotiated Contracts/Leases (as defined in the Restructuring Support Agreement), in form and substance
 acceptable to the Loan Parties and the Required First Lien Lenders (as defined in the Restructuring Support
 Agreement);

          (c)      no later than seventy (70) calendar days after the Petition Date, the Bankruptcy Court shall have
 entered an order approving the Disclosure Statement in form and substance reasonably acceptable to the Loan Parties
 and the Required First Lien Lenders (as defined in the Restructuring Support Agreement) and, solely with respect to
 the economic treatment provided on account of the Second Lien Claims (as defined in the Restructuring Support
 Agreement), reasonably acceptable to the Required Second Lien Lenders (as defined in the Restructuring Support
 Agreement);

          (d)      no later than one hundred fifteen (115) calendar days after the Petition Date, the Bankruptcy Court
 shall have entered the Confirmation Order (as defined in the Restructuring Support Agreement) in form and substance
 acceptable to the Loan Parties and the Required First Lien Lenders (as defined in the Restructuring Support
 Agreement) and, solely with respect to the economic treatment provided on account of the Second Lien Claims (as
 defined in the Restructuring Support Agreement), reasonably acceptable to the Required Second Lien Lenders (as
 defined in the Restructuring Support Agreement); and

          (e)      no later than one hundred thirty (130) calendar days after the Petition Date, the Plan Effective Date
 shall have occurred.

         6.23    Bankruptcy Notices. The Borrower will furnish to the Financial Advisor, the Administrative
 Agent, and Akin Gump Strauss Hauer & Feld LLP and Milbank LLP, as counsel to the Backstop Lenders:

         (a)      copies of any informational packages provided to potential bidders, draft agency agreements,
 purchase agreements, status reports, and updated information related to the sale or any other transaction and copies of
 any such bids and any updates, modifications or supplements to such information and materials; and

           (b)      use commercially reasonable efforts to provide draft copies of all definitive documents and any
 other material motions or applications or other material documents to be filed in the Chapter 11 Cases to counsel to
 the Consenting Stakeholders, if reasonably practicable at least two (2) Business Days in advance of when the Loan
 Parties intend to file such documents, and, without limiting any approval rights set forth in this Agreement or the
 Restructuring Support Agreement, consult in good faith with counsel to the Consenting Stakeholders regarding the
 form and substance of any such proposed filing.

          6.24     Bankruptcy Related Matters. The Borrower will and will cause each of the other Loan Parties to:

           (a)     cause all proposed (i) “first day” orders, (ii) “second day” orders, (iii) orders related to or affecting
 the Loans and other Obligations, the Prepetition Debt and the Loan Documents, any other financing or use of cash
 collateral, any sale or other disposition of Collateral outside the ordinary course, cash management, adequate
 protection, any plan of reorganization and/or any disclosure statement related thereto, (iv) orders concerning the



                                                             62
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                         Main Document
                                                Pg 110 of 1005


 financial condition of the Borrower or any of its Subsidiaries or other Indebtedness of the Loan Parties or seeking
 relief under section 363,364 or 365 of the Bankruptcy Code or rule 9019 of the Federal Rules of Bankruptcy Procedure,
 (v) orders authorizing additional payments to critical vendors (outside of the relief approved in the “first day” and
 “second day” orders) and (vi) orders establishing procedures for administration of the Chapter 11 Cases or approving
 significant transactions submitted to the Bankruptcy Court, in each case, proposed by the Debtors to be in accordance
 with and permitted by the terms of this Agreement and acceptable to the Required Lenders (and (i) with respect to any
 provision that affects the rights or duties of any Agent, such Agent and (ii) with respect to any orders described in
 clause (v) above, acceptable to the Required Lenders in their reasonable discretion) in all respects, it being understood
 and agreed that the forms of orders approved by the Required Lenders (and with respect to any provision that affects
 the rights or duties of any Agent, such Agent) prior to the Petition Date are in accordance with and permitted by the
 terms of this Agreement and are acceptable in all respects;

         (b)      comply in all material respects with each order entered by the Bankruptcy Court in connection with
 the Chapter 11 Cases; and

          (c)     comply in a timely manner with their obligations and responsibilities as debtors in possession under
 the Bankruptcy Code, the Bankruptcy Rules, the Interim Order and the Final Order, as applicable, and any other order
 of the Bankruptcy Court.

        6.25       Chief Executive Officer. At all times following the Closing Date, the Borrower shall cause Robert
 D. Moore to hold the position of chief executive officer of the Borrower.

                                                   ARTICLE VII
                                               NEGATIVE COVENANTS

          Until Payment in Full, the Borrower shall not, nor shall it permit any Subsidiary to, directly or indirectly:

         7.01   Liens. Create, incur, assume or permit to exist any Lien upon any of its property, assets or revenues,
 whether now owned or hereafter acquired, other than the following:

         (a)    (i) Liens in favor of the Collateral Agent for the benefit of the Secured Parties granted pursuant to
 any Loan Document and (ii) Liens securing obligations in respect of Huntington Cash Management Obligations;

          (b)       (i) Liens existing on the Petition Date and set forth on Schedule 7.01 and (ii) any Lien in favor of
 non-affiliated third party existing on the Petition Date that is not set forth on Schedule 7.01 to the extent (x) the amount
 of obligations secured by such Liens do not exceed $2,000,000 individually or $5,000,000 in the aggregate, and (y) a
 revised Schedule 7.01 including such Lien is delivered to the Administrative Agent for distribution to the Lenders;

          (c)      Liens for Taxes or for pre-petition utilities, assessments or governmental charges or levies on the
 property of the Borrower or any Subsidiary if the same shall not at the time be delinquent as of the Petition Date and
 can be paid without penalty, or are being contested in good faith and by appropriate proceedings, provided that any
 reserve or appropriate provision that shall be required in conformity with GAAP shall have been made therefor;

          (d)      Liens imposed by law, such as landlord’s, carriers’, warehousemen’s, materialmen’s, construction
 and repairmen’s, vendors’ and mechanics’ Liens and other similar Liens, with respect to amounts which are not yet
 overdue for a period of more than 60 days or are being contested in good faith and by appropriate proceedings;

          (e)       [reserved];

          (f)      (i) Liens incurred, or pledges or deposits under or to secure the performance of bids, trade contracts
 and leases (other than Indebtedness), reclamation bonds, return of money bonds, insurance bonds, Mining Financial
 Assurances, statutory obligations or bonds, government contracts, health or social security benefits, unemployment or
 other insurance obligations, workers’ compensation claims, water treatment obligations, insurance obligations,
 reclamation obligations, obligations under Mining Laws or similar legislation, stay bonds, utility bonds, surety and
 appeal bonds (including surety bonds obtained as required in connection with federal coal leases), performance bonds,



                                                             63
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                        Main Document
                                                Pg 111 of 1005


 bid bonds, performance guarantees (including, without limitation, performance guarantees pursuant to coal supply
 agreements or equipment leases), bankers acceptances, completion guarantees, bank guarantees and letters of credit,
 customs duties and other obligations, including self-bonding arrangements, of a like nature incurred in the ordinary
 course of business, or (ii) Liens on assets to secure obligations under surety bonds obtained as required in connection
 with entering into of federal coal leases; provided that no more than $7,500,000 of cash may be posted following the
 Petition Date under this Section 7.01(f)

            (g)      survey exceptions, easements, rights-of-way, zoning restrictions, leases, subleases, licenses, other
 restrictions and other similar encumbrances which do not in any case materially detract from the value of the property
 subject thereto or materially interfere with the ordinary conduct of the business of the applicable Person, Liens set
 forth as exceptions to the Borrower’s or any Subsidiary’s title insurance policies and Liens as set forth as exceptions
 to the title opinions delivered;

          (h)      Liens granted to provide adequate protection pursuant to the Interim Order or the Final Order;

           (i)      Liens (including the interest of a lessor under a Capital Lease) on property and improvements that
 secure Indebtedness incurred pursuant to Section 7.03(j) for the purpose of financing all or any part of the purchase
 price or cost of construction or improvement of such property; provided that the Lien does not (i) extend to any
 additional property and (ii) secure any additional obligations, in each case other than the initial property so subject to
 such Lien and the Indebtedness and other obligations originally so secured (other than improvements on and
 accessions to such property, proceeds and products thereof, customary security deposits and any other assets pursuant
 to after-acquired property clauses in effect with respect to such Lien at the time of acquisition on property of the type
 that would have been subject to such Lien notwithstanding the occurrence of such acquisition);

          (j)      [reserved];

          (k)      [reserved];

          (l)      Liens as a result of the filing of UCC financing statements as precautionary measure in connection
 with leases, operating leases or consignment arrangements;

          (m)      [reserved];

          (n)      [reserved];

          (o)      [reserved];

          (p)      Liens in favor of collecting or payor banks having a right of setoff, revocation, refund or chargeback
 with respect to money or instruments of the Borrower or any Subsidiary on deposit with or in possession of such bank;

          (q)      [reserved];

          (r)      [reserved];

          (s)      customary Liens in favor of trustees, paying agents and escrow agents, and netting and setoff rights,
 bankers’ liens and the like in favor of financial institutions and counterparties to financial obligations and instruments,
 including Hedging Agreements;

          (t)      [reserved];

          (u)      Permitted Real Estate Encumbrances;

          (v)      [reserved];

          (w)      [reserved];



                                                             64
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                       Main Document
                                                Pg 112 of 1005


          (x)      Coal Liens;

          (y)      [reserved];

          (z)      Liens on insurance policies and proceeds thereof, or other deposits, to secure insurance premium
 financings;

           (aa)      (x) Production Payments, royalties, dedication of reserves under supply agreements or similar or
 related rights or interests granted, taken subject to, or otherwise imposed on properties or (y) cross charges, Liens or
 security arrangements entered into in respect of a Joint Venture for the benefit of a participant, manager or operator
 of such Joint Venture, in each case, consistent with normal practices in the mining industry;

          (bb)     other Liens securing Indebtedness or obligations in an aggregate principal amount at any time
 outstanding not to exceed $500,000;

          (cc)     [reserved];

          (dd)     [reserved];

          (ee)     Liens in the ordinary course of business securing obligations in respect of trade-related letters of
 credit permitted under Section 7.03(p) covering only the goods (or the documents of title in respect of such goods)
 financed by such letters of credit and the proceeds and products thereof;

          (ff)    Liens incurred or assumed in connection with the issuance of revenue bonds the interest on which
 is tax-exempt under the Code;

          (gg)      Liens in the ordinary course of business on specific items of inventory, equipment or other goods
 and proceeds of any Person securing such Person’s obligations in respect thereof or created for the account of such
 Person to facilitate the purchase, shipment or storage of such inventory or other goods;

            (hh)     deposits made in the ordinary course of business to secure reclamation liabilities, insurance
 liabilities and/or surety liabilities;

           (ii)     (x) surface use agreements, easements, zoning restrictions, rights of way, encroachments, pipelines,
 leases (other than Capital Lease Obligations), subleases, rights of use, licenses, special assessments, trackage rights,
 transmission and transportation lines related to Mining Leases or mineral rights or constructed coal mine assets or
 other Real Property including re-conveyance obligations to a surface owner following mining, royalty payments and
 other obligations under surface owner purchase or leasehold arrangements necessary to obtain surface disturbance
 rights to access the subsurface coal deposits and similar encumbrances on Real Property imposed by law or arising in
 the ordinary course of business that do not secure any monetary obligation and do not materially detract from the value
 of the affected property or interfere with the ordinary conduct of business of the Borrower or any Subsidiary and (y)
 Liens on the property of the Borrower or any Subsidiary, as tenant under a lease or sublease entered into in the ordinary
 course of business by such Person, in favor of the landlord under such lease or sublease, securing the tenant’s
 performance under such lease or sublease, as such Liens are provided to the landlord under applicable law and not
 waived by the landlord; and

         (jj)      Liens on deposits made to cash collateralize obligations in respect of letters of credit existing on the
 Closing Date.

 For purposes of determining compliance with this Section 7.01, (A) a Lien securing an item of Indebtedness need not
 be permitted solely by reference to one category of permitted Liens (or any portion thereof) described in Sections
 7.01(a) through (jj) but may be permitted in part under any combination thereof and (B) in the event that a Lien
 securing an item of Indebtedness (or any portion thereof) meets the criteria of one or more of the categories of
 permitted Liens (or any portion thereof) described in Sections 7.01(a) through (jj), the Borrower may, in its sole
 discretion, classify or reclassify, or later divide, classify or reclassify (as if incurred at such later time), such Lien



                                                            65
Case 20-41308          Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                        Main Document
                                               Pg 113 of 1005


 securing such item of Indebtedness (or any portion thereof) in any manner that complies with this Section 7.01 and at
 the time of incurrence, classification or reclassification will be entitled to only include the amount and type of such
 Lien or such item of Indebtedness secured by such Lien (or any portion thereof) in one of the above clauses (or any
 portion thereof). In addition, with respect to any Lien securing Indebtedness that was permitted to secure such
 Indebtedness at the time of the incurrence of such Indebtedness, such Lien shall also be permitted to secure any
 Increased Amount of such Indebtedness.

          7.02     Investments. Make any Investments, except:

          (a)      Investments held by the Borrower or any Subsidiary in cash or Cash Equivalents;

          (b)      to the extent made in accordance with the Cash Flow Forecast (subject to Permitted Variance), loans
 or advances, payroll, travel and other loans or advances to current or former officers, directors, employees, managers,
 directors or consultants of the Borrower or Holdings in an aggregate amount not to exceed $100,000 at any time
 outstanding, made in the ordinary course of business;

           (c)      Investments consisting of extensions of credit in the nature of accounts receivable or notes
 receivable arising from the grant of trade credit in the ordinary course of business, and Investments received in
 satisfaction or partial satisfaction thereof from financially troubled account debtors to the extent reasonably necessary
 in order to prevent or limit loss;

          (d)      Investments (including debt obligations and Capital Stock) received in satisfaction of judgments or
 in connection with the bankruptcy or reorganization of suppliers and customers of the Borrower and its Subsidiaries
 and in settlement of delinquent obligations of, and other disputes with, such customers and suppliers arising in the
 ordinary course of business;

        (e)       Investments in the nature of Production Payments, royalties, dedication of reserves under supply
 agreements or similar or related rights or interests granted, taken subject to, or otherwise imposed on properties;

           (f)      (i) Investments in existence on the Petition Date or made pursuant to a legally binding written
 commitment in existence on the Petition Date and listed on Schedule 7.02, and (ii) any Investment existing on the
 Petition Date that is not set forth on Schedule 7.02 to the extent (x) the amount of such Investment does not exceed
 $2,000,000 individually or $5,000,000 in the aggregate, and (y) a revised Schedule 7.02 including such Investment is
 delivered to the Administrative Agent for distribution to the Lenders; provided that the amount of any such Investment
 set forth in Schedule 7.02 may be increased (x) as required by the terms of such Investment as in existence on the date
 hereof or (y) as otherwise permitted hereunder;

           (g)       Investments received in compromise or resolution of (A) obligations of trade creditors or customers
 that were incurred in the ordinary course of business of the Borrower and its Subsidiaries, including pursuant to any
 plan of reorganization or similar arrangement upon the bankruptcy or insolvency of any trade creditor or customer,
 (B) litigation, arbitration or other disputes or (C) the foreclosure with respect to any secured investment or other
 transfer of title with respect to any secured investment;

          (h)      [reserved];

          (i)      Hedging Agreements or Cash Management Obligations permitted under this Agreement;

         (j)       Investments acquired solely in exchange for management services provided by the Borrower or a
 Subsidiary;

          (k)      Investments by the Borrower or any Subsidiary in any Debtor, and Investments by any Debtor in
 the Borrower;

          (l)      [reserved];




                                                            66
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                         Main Document
                                                Pg 114 of 1005


          (m)      to the extent made in accordance with the Cash Flow Forecast (subject to Permitted Variance),
 additional Investments by the Borrower or any Debtor in an aggregate amount not to exceed $1,000,000, but without
 duplication, the cash return thereon received after the date hereof as a result of any sale for cash, repayment, return,
 redemption, liquidating distribution or other cash realization not to exceed the amount of such Investments in such
 Person made after the date hereof in reliance on this Section 7.02(m) shall be deducted in determining the amount of
 Investments outstanding pursuant to this Section 7.02(m);

          (n)       [reserved];

          (o)       [reserved];

          (p)       (i) receivables owing to the Borrower or any Subsidiary if created or acquired in the ordinary course
 of business, (ii) endorsements for collection or deposit in the ordinary course of business and (iii) securities,
 instruments or other obligations received in compromise or settlement of debts created in the ordinary course of
 business, or by reason of a composition or readjustment of debts or reorganization of another Person, or in satisfaction
 of claims or judgments;

          (q)      Investments made pursuant to surety bonds, reclamation bonds, performance bonds, bid bonds,
 appeal bonds and related letters of credit or similar obligations, in each case, to the extent such surety bonds,
 reclamation bonds, performance bonds, bid bonds, substituting appeal bonds, related letters of credit and similar
 obligations are permitted under this Agreement;

           (r)      Investments consisting of indemnification obligations in respect of performance bonds, bid bonds,
 appeal bonds, surety bonds, reclamation bonds and completion guarantees and similar obligations in respect of coal
 sales contracts (and extensions or renewals thereof on similar terms), under any Mining Law, Environmental Law or
 other applicable law or with respect to workers’ compensation benefits, unemployment insurance and other social
 security laws or regulations or similar legislation, or to secure liabilities to insurance carriers under insurance
 arrangements in respect of such obligations, or good faith deposits, prepayments or cash payments in connection with
 bids, tenders, contracts or leases or to secure public or statutory obligations, customs duties and the like, or for payment
 of rent, in each case entered into in the ordinary course of business, and pledges or deposits made in the ordinary
 course of business in support of obligations under coal sales contracts (and extensions or renewals thereof on similar
 terms) or any other Indebtedness, or Liens securing Indebtedness, of the type referred to in Section 7.03(p);

          (s)       [reserved];

          (t)       [reserved];

          (u)      to the extent substituting an Investment, purchases and acquisitions, in the ordinary course of
 business, of inventory, supplies, material or equipment;

          (v)       Investments resulting from liens, pledges and deposits permitted under Section 7.01;

          (w)       [reserved]; and

         (x)     to the extent made in accordance with the Cash Flow Forecast (subject to Permitted Variance), any
 Permitted Payments to Parent, to the extent constituting an Investment.

          7.03      Indebtedness. Create, incur, assume or suffer to exist any Indebtedness except:

          (a)       Indebtedness arising under the Loan Documents;

          (b)     (i) Indebtedness outstanding on the Petition Date and listed on Schedule 7.03, and (ii) any
 Indebtedness outstanding on the Petition Date that is not set forth on Schedule 7.03 to the extent (x) the aggregate
 principal amount of such Indebtedness does not exceed $2,000,000 individually or $5,000,000 in the aggregate, and




                                                             67
Case 20-41308          Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                       Main Document
                                               Pg 115 of 1005


 (y) a revised Schedule 7.03 including such Indebtedness is delivered to the Administrative Agent for distribution to
 the Lenders;

          (c)      [reserved];

         (d)      (i) Indebtedness of the Borrower or any Subsidiary consisting of Guarantees of Indebtedness of any
 Subsidiary otherwise permitted under this Section 7.03 and (ii) Indebtedness of any Subsidiary consisting of
 Guarantees of Indebtedness of the Borrower otherwise permitted under this Section 7.03; provided that (i) if the
 Indebtedness being guaranteed is subordinated to or pari passu with the Obligations, then the guarantee must be
 subordinated or pari passu, as applicable, to the same extent as the Indebtedness guaranteed and (ii) if incurred by the
 Borrower or a Subsidiary, such guarantee shall be permitted as an Investment pursuant to Section 7.02;

           (e)     Indebtedness in respect of (i) Cash Management Obligations incurred in the ordinary course of
 business and consistent with past practice and (ii) Hedging Agreements that are not speculative in nature and incurred
 in the ordinary course of business and consistent with past practice, in each case of the Borrower or any Subsidiary;

          (f)      Indebtedness of the Borrower and any Debtor owed to any other Debtor and of any Debtor owed to
 the Borrower;

          (g)      [reserved];

          (h)      [reserved];

          (i)      [reserved];

          (j)     to the extent incurred in accordance with the Cash Flow Forecast (subject to Permitted Variance),
 Indebtedness of the Borrower or any Subsidiary incurred to finance all or any part of the acquisition, construction,
 development or improvement of any property or assets, including purchase money obligations, Capital Lease
 Obligations and any Indebtedness assumed in connection with the acquisition of any such assets or secured by a Lien
 on any such assets before the acquisition thereof, provided that the aggregate principal amount of any Indebtedness
 Incurred pursuant to this Section 7.03(j) and outstanding at the time of Incurrence, may not exceed $1,000,000;

          (k)      [reserved];

          (l)      [reserved];

          (m)      [reserved];

          (n)      [reserved];

          (o)      additional Indebtedness of the Loan Parties in an aggregate principal amount outstanding at the time
 of Incurrence, not to exceed $500,000;

          (p)       Indebtedness of the Borrower or any Subsidiary in connection with one or more standby or trade-
 related letters of credit, performance bonds, bid bonds, stay bonds, appeal bonds, bankers acceptances, Mining
 Financial Assurances, statutory obligations or bonds, health or social security benefits, unemployment or other
 insurance obligations, workers’ compensation claims, water treatment obligations, insurance obligations, reclamation
 obligations, bank guarantees, surety bonds, utility bonds, performance guarantees (including, without limitation,
 performance guarantees pursuant to coal supply agreements or equipment leases) completion guarantees or other
 similar bonds and obligations, including self-bonding arrangements, issued by or on behalf of the Borrower or a
 Subsidiary, in each case, in the ordinary course of business or pursuant to self- insurance obligations and not in
 connection with the borrowing of money or the obtaining of advances;

          (q)      [reserved];




                                                           68
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                        Main Document
                                                Pg 116 of 1005


           (r)     Indebtedness arising from the honoring by a bank or other financial institution of a check, draft or
 similar instrument drawn against insufficient funds in the ordinary course of business; and

        (s)        Indebtedness of the Borrower or any Subsidiary consisting of (i) the financing of insurance
 premiums or (ii) take-or-pay obligations contained in supply or other arrangements.

          For purposes of determining compliance with this Section 7.03 or Section 7.01, the amount of any
 Indebtedness denominated in any currency other than Dollars shall be calculated based on customary currency
 exchange rates in effect, in the case of such Indebtedness incurred (in respect of term Indebtedness) or committed (in
 respect of revolving Indebtedness) on or prior to the Closing Date, on the Closing Date and, in the case of such
 Indebtedness incurred (in respect of term Indebtedness) or committed (in respect of revolving Indebtedness) after the
 Closing Date, on the date on which such Indebtedness was incurred (in respect of term Indebtedness) or committed
 (in respect of revolving Indebtedness); provided, that if such Indebtedness is incurred to refinance other Indebtedness
 denominated in a currency other than Dollars (or in a different currency from the Indebtedness being refinanced), and
 such refinancing would cause the applicable Dollar-denominated restriction to be exceeded if calculated at the relevant
 currency exchange rate in effect on the date of such refinancing, such Dollar-denominated restriction shall be deemed
 not to have been exceeded so long as the principal amount of such refinancing Indebtedness does not exceed (i) the
 outstanding or committed principal amount, as applicable, of such Indebtedness being refinanced plus (ii) the
 aggregate amount of fees, underwriting discounts, premiums (including tender premiums), accrued interest,
 defeasance costs and other costs and expenses incurred in connection with such refinancing.

          Further, for purposes of determining compliance with this Section 7.03, in the event that an item of
 Indebtedness (or any portion thereof) meets the criteria of more than one of the categories set forth in Sections 7.03
 (a) through (u), the Borrower will be permitted to divide and classify such item of Indebtedness (or any portion thereof)
 on the date of its Incurrence, or later re-divide and reclassify all or a portion of such item of Indebtedness in any
 manner that complies with this Section 7.03.

           In addition, with respect to any Indebtedness that was permitted to be incurred hereunder on the date of such
 incurrence, any Increased Amount of such Indebtedness shall also be permitted hereunder after the date of such
 incurrence. “Increased Amount” of any Indebtedness shall mean any increase in the amount of such Indebtedness in
 connection with any accrual of interest, the accretion of accreted value, the amortization of original issue discount,
 the payment of interest in the form of additional Indebtedness, the accretion of original issue discount, or liquidation
 preference and increases in the amount of Indebtedness outstanding solely as a result of fluctuations in the exchange
 rate of currencies.

         This Agreement will not treat (1) unsecured Indebtedness as subordinated or junior to secured Indebtedness
 merely because it is unsecured and (2) senior Indebtedness as subordinated Indebtedness or junior to any other senior
 Indebtedness merely because it has junior priority with respect to the same collateral.

           7.04      Fundamental Changes. Subject to Section 10.21, merge, dissolve, liquidate, consolidate with or
 into another Person, or Dispose of (whether in one transaction or in a series of related transactions) all or substantially
 all of the assets (whether now owned or hereafter acquired) of the Borrower and its Subsidiaries, taken as a whole, to
 or in favor of any Person, except if no Default exists or would immediately result therefrom:

          (a)      any Subsidiary may merge or consolidate with (i) the Borrower, provided that the Borrower shall
 be the continuing or surviving Person or (ii) any one or more other Subsidiaries, provided that (A) when any Wholly
 Owned Subsidiary is merging with another Subsidiary, a Wholly Owned Subsidiary shall be the continuing or
 surviving Person, (B) when any Subsidiary is merging with any other Subsidiary, the continuing or surviving Person
 shall be a Subsidiary, (C) when any Foreign Subsidiary is merging with any Domestic Subsidiary, the continuing or
 surviving Person shall be the Domestic Subsidiary and (D) when any Guarantor is merging with any other Subsidiary,
 the continuing or surviving Person shall be a Guarantor;

          (b)       any Subsidiary may Dispose of all or substantially all of its assets (upon voluntary liquidation,
 dissolution or otherwise) to the Borrower or to another Subsidiary; provided that (i) if the transferor in such a
 transaction is a Subsidiary, then the transferee must either be the Borrower or another Subsidiary, (ii) if the transferor



                                                             69
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                        Main Document
                                                Pg 117 of 1005


 is a Domestic Subsidiary, then the transferee must either be the Borrower or another Domestic Subsidiary and (iii) if
 the transferor is a Guarantor, then the transferee must either be the Borrower or another Guarantor;

         (c)       the Borrower may Dispose of all or a portion of the Equity Interests of any of its Subsidiaries to a
 Guarantor (other than Holdings or General Partner);

         (d)     the Borrower and any Subsidiary may merge or consolidate with any other Person in a transaction
 in which the Borrower or the Subsidiary, as applicable, is the surviving or continuing Person; provided that, the
 Borrower may not merge or consolidate with any Subsidiary unless the Borrower is the surviving or continuing Person;
 and

           (e)      any Subsidiary may liquidate or dissolve if the Borrower determines in good faith that such
 liquidation or dissolution is in the best interests of the Borrower and the assets, if any, of any Subsidiary so liquidated
 or dissolved are transferred (x) to another Subsidiary or the Borrower and (y) to a Guarantor or the Borrower if such
 liquidated or dissolved Subsidiary is a Guarantor.

          7.05     Dispositions. Make any Disposition (other than Dispositions permitted pursuant to Sections 7.01,
 7.02, 7.04 and 7.06), except:

          (a)       (i) the sale or Disposition of damaged, obsolete, unusable or worn out equipment or equipment that
 is no longer needed in the conduct of the business of the Borrower and its Subsidiaries, (ii) sales or Dispositions of
 inventory, used or surplus equipment or reserves and Dispositions related to the burn-off of mines or (iii) the
 abandonment or allowance to lapse or expire or other disposition of intellectual property by the Borrower and its
 Subsidiaries in the ordinary course of business;

          (b)      sales, transfers or other dispositions of assets with respect to any Debtor pursuant to any order of
 the Bankruptcy Court, in form and substance reasonably satisfactory to the Required Lenders, permitting a de minimis
 asset disposition without further order of the Bankruptcy Court, so long as the proceeds thereof are applied in
 accordance with Section 2.05, if applicable;

          (c)      [reserved];

          (d)      Dispositions of cash and Cash Equivalents;

          (e)      [reserved];

          (f)      (A) the sale of defaulted receivables in the ordinary course of business and (B) Dispositions of
 receivables in connection with the compromise, settlement or collection thereof in the ordinary course of business or
 in bankruptcy or similar proceeding;

          (g)      any transfer of property or assets that consists of grants by the Borrower or its Subsidiaries in the
 ordinary course of business of licenses or sub-licenses, including with respect to intellectual property rights;

          (h)      [reserved];

           (i)      (A) the grant in the ordinary course of business of any non-exclusive easements, permits, licenses,
 rights of way, surface leases or other surface rights or interests and (B) any lease, sublease or license of assets (with a
 Loan Party as the lessor, sublessor or licensor) in the ordinary course of business;

          (j)      Dispositions of assets resulting from condemnation or casualty events;

          (k)      [reserved];

          (l)      [reserved];




                                                             70
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                       Main Document
                                                Pg 118 of 1005


          (m)      [reserved];

          (n)      [reserved];

          (o)       (i) any surrender or waiver of contractual rights or the settlement, release, or surrender of
 contractual, tort or other claims of any kind or (ii) any settlement, discount, write off, forgiveness, or cancellation of
 any Indebtedness owing by any present or former directors, officers, or employees of the Borrower or` any Subsidiary
 or any of their successors or assigns;

          (p)      the unwinding or termination of any Hedging Agreements;

          (q)      [reserved];

          (r)      [reserved];

          (s)      [reserved];

         (t)       exchanges or relocations of easements for pipelines, oil and gas infrastructure and similar
 arrangements in the ordinary course of business; and

           (u)     Dispositions of assets acquired in connection with an acquisition by the Borrower or any Subsidiary
 that are Disposed of for fair market value (as reasonably determined by the Borrower in good faith) within 90 days of
 such acquisition.

          7.06     Restricted Payments. Declare or make, directly or indirectly, any Restricted Payment, or incur
 any obligation (contingent or otherwise) to do so, or issue or sell any Equity Interests or accept any capital
 contributions, except that:

           (a)       dividends or distributions by a Subsidiary payable, on a pro rata basis or on a basis more favorable
 to the Borrower or a Subsidiary, to all holders of any class of Equity Interests of such Subsidiary a majority of which
 is held, directly or indirectly through Subsidiaries, by the Borrower;

          (b)       the Borrower and each Subsidiary may declare and make dividend payments or other distributions
 payable solely in the common stock or other Equity Interests of such Person or another Subsidiary;

         (c)     to the extent made in accordance with the Cash Flow Forecast (subject to Permitted Variance),
 Permitted Payments to Parent;

          (d)     to the extent made in accordance with the Cash Flow Forecast (subject to Permitted Variance), so
 long as no Event of Default shall have occurred and is continuing or would result therefrom, Restricted Payments
 made pursuant to this Section 7.06(d) in an amount not to exceed $100,000 in the aggregate; and

           (e)       to the extent made in accordance with the Cash Flow Forecast (subject to Permitted Variance),
 Restricted Payments made to Holdings (or any Parent) to enable Holdings (or any Parent) to pay (i) operating costs
 and expenses and other administrative fees and costs, in each case, to the extent expressly required to be paid pursuant
 to the Management Services Agreement, and (ii) after the entry of an order by the Bankruptcy Court (which order
 shall be in full force and effect and shall not have been vacated, reversed, modified, amended or stayed in any respect
 without the prior written consent of the Required Lenders), authorizing the Debtors’ entry into, or an assumption of,
 an amendment to the Management Services Agreement, in form and substance satisfactory to the Required Lenders,
 (x) management fees, to the extent expressly required to be paid pursuant to such amended terms of the Management
 Services Agreement, and (y) minimum royalty payments to Murray Energy Group on account of any Debtor’s coal
 mine leases with Colt LLC.

          7.07     Change in Nature of Business. Engage in any business other than a Similar Business.




                                                            71
Case 20-41308          Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                        Main Document
                                               Pg 119 of 1005


          7.08     Transactions with Affiliates. Enter into, renew or extend any transaction or arrangement,
 including the purchase, sale, lease or exchange of property or assets or the rendering of any service, with any Affiliate
 of the Borrower or any Subsidiary. Notwithstanding the foregoing, the foregoing restrictions shall not apply to the
 following:

                          (A)      transactions between or among the Borrower and any of its Subsidiaries or a
 Person that becomes a Subsidiary;

                            (B)     to the extent made in accordance with the Cash Flow Forecast (subject to
 Permitted Variance), the payment of reasonable and customary (as determined in good faith by the Borrower) regular
 fees, compensation, indemnification and other benefits to current, former and future directors of the Borrower, a
 Subsidiary, or Holdings, who are not employees of the Borrower, such Subsidiary or Holdings, including
 reimbursement or advancement of reasonable and documented out-of-pocket expenses and provisions of liability
 insurance;

                             (C)     to the extent made in accordance with the Cash Flow Forecast (subject to
 Permitted Variance), loans or advances to officers, directors or employees of the Borrower or Holdings in the ordinary
 course of business of the Borrower or its Subsidiaries or Holdings or Guarantees in respect thereof or otherwise made
 on their behalf (including payment on such Guarantees) but only to the extent permitted by applicable law and Section
 7.02(b);

                            (D)      transactions arising under any contract, agreement, instrument or other
 arrangement in effect on the Closing Date and set forth on Schedule 7.08;

                           (E)    to the extent made in accordance with the Cash Flow Forecast (subject to
 Permitted Variance), intercompany Investments permitted by Section 7.02 and Restricted Payments permitted by
 Section 7.06;

                            (F)       to the extent made in accordance with the Cash Flow Forecast (subject to
 Permitted Variance), after the entry of an order by the Bankruptcy Court (which order shall be in full force and effect
 and shall not have been vacated, reversed, modified, amended or stayed in any respect without the prior written consent
 of the Required Lenders), authorizing the Debtors’ entry into, or an assumption of, an amendment to the Management
 Services Agreement, in form and substance satisfactory to the Required Lenders, minimum royalty payments to
 Murray Energy Group on account of any Debtor’s coal mine leases with Colt LLC;

                              (G)     the Management Services Agreement (and transactions arising pursuant to the
 terms thereof) as in effect on the Closing Date; provided that any payment or distribution by any Debtor to any of its
 Affiliates pursuant to the Management Services Agreement shall only be made pursuant to Section 7.06(d); and

                            (H)       any agreements entered into in connection with the Transactions.

           7.09     Permitted Activities of General Partner and Holdings. (a) General Partner and Holdings shall
 not incur or permit to exist any Lien other than (i) Liens created under the Loan Documents and (ii) Liens not
 prohibited by Section 7.01 on any of the Equity Interests issued by the Borrower held by General Partner or Holdings
 and (b) General Partner and Holdings shall do or cause to be done all thing necessary to preserve, renew and keep in
 full force and effect its legal existence; provided, that so long as no Default has occurred and is continuing or would
 result therefrom, Holdings may merge with any other Person (and if it is not the survivor of such merger, the survivor
 shall assume Holdings’ obligations, as applicable, under the Loan Documents).

          7.10    Use of Proceeds. Use the proceeds of any Credit Extension, whether directly or indirectly, and
 whether immediately, incidentally or ultimately, for any purpose that entails a violation of any regulation of the FRB,
 including Regulations T, U and X.

          7.11     [Reserved].




                                                            72
Case 20-41308          Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                       Main Document
                                               Pg 120 of 1005


           7.12      Burdensome Agreements. Enter into any Contractual Obligation (other than any Loan Document)
 that (x) limits the ability of the Borrower or any Guarantor to create, incur, assume or suffer to exist any Lien upon
 any of its property to secure the Obligations hereunder or (y) limits the ability of any Subsidiary to make Restricted
 Payments to the Borrower or any Guarantor or to otherwise transfer property to the Borrower or any Guarantor;
 provided, however, that the foregoing clause shall not apply to Contractual Obligations which:

          (a)      exist as of the Petition Date and are set forth on Schedule 7.12;

          (b)      are binding on a Subsidiary at the time such Subsidiary first becomes a Subsidiary of the Borrower,
 so long as such Contractual Obligations were not entered into solely in contemplation of such Person becoming a
 Subsidiary of the Borrower;

          (c)       customary restrictions and conditions contained in the document relating to any Lien, so long as (i)
 such Lien is permitted by Section 7.01 and such restrictions or conditions relate only to the specific asset subject to
 such Lien and (ii) such restrictions and conditions are not created for the purpose of avoiding the restrictions imposed
 by this Section 7.12;

          (d)      [reserved];

          (e)      restrictions imposed by applicable law;

          (f)        any restriction on a Subsidiary imposed pursuant to an agreement entered into for the sale or
 Disposition of the Equity Interests or assets of a Subsidiary pending the closing of such sale or Disposition to the
 extent relating to the Equity Interests or assets that are then subject to such sale or Disposition;

          (g)       are customary provisions in joint venture agreements and other similar agreements applicable to
 joint ventures or the Equity Interests therein;

          (h)     are customary restrictions contained in leases, subleases, licenses or asset sale agreements otherwise
 permitted hereby so long as such restrictions relate to the assets subject thereto;

           (i)      are customary provisions restricting subletting or assignment of any lease governing a leasehold
 interest of the Borrower or any Subsidiary;

          (j)       are customary limitations (including financial maintenance covenants) existing under or by reason
 of leases entered into in the ordinary course of business;

          (k)      are restrictions on cash or other deposits imposed under contracts entered into in the ordinary course
 of business;

          (l)      are customary provisions restricting assignment of any agreements;

          (m)      [reserved];

         (n)      any restrictions imposed by any agreement relating to secured Indebtedness permitted by Section
 7.03 of this Agreement to the extent that such restrictions apply only to the property or assets securing such
 Indebtedness;

          (o)      [reserved];

          (p)       customary net worth provisions contained in Real Property leases entered into by Subsidiaries, so
 long as the Borrower has determined in good faith that such net worth provisions would not reasonably be expected
 to impair the ability of the Borrower and its Subsidiaries to meet their ongoing obligations; or




                                                             73
Case 20-41308          Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                       Main Document
                                               Pg 121 of 1005


           (q)      are set forth in any agreement evidencing an amendment, modification, restatement, renewal,
 increase, supplement, refunding, replacement or refinancing of the Contractual Obligations referred to in Sections
 7.12(a) through 7.12(p) above; provided, that such amendment, modification, restatement, renewal, increase,
 supplement, refunding, replacement or refinancing is, in the good faith judgment of the Borrower, not materially less
 favorable to the Loan Party with respect to such limitations than those applicable pursuant to such Contractual
 Obligations prior to such amendment, modification, restatement, renewal, increase, supplement, refunding,
 replacement or refinancing (it being understood that the introduction of any such limitation in a Contractual Obligation
 that did not previously contain any such limitation shall be deemed to be adverse in a material respect to the interest
 of the Lenders unless otherwise of the type permitted by this Section 7.12).

          7.13     [Reserved].

          7.14    Maximum Capital Expenditure. Make or incur Capital Expenditures, in any period indicated
 below in an aggregate amount for Borrower and its Subsidiaries in excess of the amount set forth below opposite such
 period:

                           Period                                        Maximum Capital Expenditures
           Petition Date through March 31, 2020                                 $16,200,000
           Petition Date through April 30, 2020                                 $19,410,000
            Petition Date through May 31, 2020                                  $20,540,000
            Petition Date through June 30, 2020                                 $27,490,000
            Petition Date through July 31, 2020                                 $28,500,000


          7.15     Fiscal Year. Change its fiscal year-end from December 31.

           7.16     Sale and Lease-Backs. Other than in respect of Sale and Lease-Backs in existence on the Closing
 Date, become or remain liable as lessee or as a guarantor or other surety with respect to any lease of any property
 (whether real, personal or mixed), whether now owned or hereafter acquired, which the Borrower or such Subsidiary
 (a) has sold or transferred to any other Person (other than the Borrower or any of its Subsidiaries) and (b) thereafter
 rents or leases such property that it intends to use for substantially the same purpose as the property which has been
 sold or transferred (collectively, the “Sale and Lease- Backs”).

          7.17    Amendments or Waivers of Organizational Documents. Amend, restate, supplement, modify or
 waive any provision of any of its Organizational Documents after the Closing Date, in each case, to the extent the
 same, taken as a whole, would be material and adverse to any Secured Party (in the good faith determination of the
 Borrower).

           7.18      Budget Variance. (a) As of the last day of each applicable Two-Week Test Period commencing
 with the last day of the first Two-Week Test Period ending after the Closing Date, for such Two-Week Test Period (i)
 the negative variance (as compared to the Cash Flow Forecast) of the actual aggregate operating cash receipts of the
 Debtors shall not exceed 15%, (ii) the positive variance (as compared to the applicable Cash Flow Forecast) of the
 aggregate operating disbursements (excluding professional fees, interest payments and disbursements made by the
 Debtors set forth under “MEC Affiliate Disbursements” in the Cash Flow Forecast (including, without limitation, any
 payments pursuant to the Management Services Agreement)) made by the Debtors shall not exceed 15% and (iii) the
 positive variance (as compared to the applicable Cash Flow Forecast) of the aggregate disbursements made by the
 Debtors set forth under “MEC Affiliate Disbursements” in the Cash Flow Forecast (including, without limitation, any
 payments pursuant to the Management Services Agreement)) shall not exceed 15%, and (b) beginning with the
 delivery of the third Budget Variance Report, as of the last day of each applicable Four-Week Test Period commencing
 with the last day of the first Four-Week Test Period ending after the Closing Date, for such Four-Week Test Period,
 (i) the negative variance (as compared to the applicable Cash Flow Forecast) of the actual aggregate operating cash
 receipts of the Debtors shall not exceed 10%, (ii) the positive variance (as compared to the applicable Cash Flow
 Forecast) of the aggregate operating disbursements (excluding professional fees, interest payments and disbursements
 made by the Debtors set forth under “MEC Affiliate Disbursements” in the Cash Flow Forecast (including, without
 limitation, any payments pursuant to the Management Services Agreement) made by the Debtors shall not exceed
 10% and (iii) the positive variance (as compared to the applicable Cash Flow Forecast) of the aggregate disbursements


                                                           74
Case 20-41308          Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                       Main Document
                                               Pg 122 of 1005


 made by the Debtors set forth under “MEC Affiliate Disbursements” in the Cash Flow Forecast (including, without
 limitation, any payments pursuant to the Management Services Agreement) shall not exceed 10% (such variance that
 does not breach this covenant, the “Permitted Variance”).

         7.19    Minimum Liquidity. Permit Liquidity at any time to be less than (i) prior to the Delayed Draw
 Funding Date, $20,000,000, and (ii) on or after the Delayed Draw Funding Date, $40,000,000.

          7.20     [Reserved].

          7.21     Additional Bankruptcy Matters. Permit any of its Subsidiaries to, without the Required Lenders’
 prior written consent, do any of the following:

                 (a)       use any portion or proceeds of the Loans or the Collateral, or disbursements set forth in the
 Cash Flow Forecast, for payments or purposes that would violate the terms of the Interim Order or the Final Order;

                   (b)     incur, create, assume, suffer to exist or permit any other superpriority administrative claim
 which is pari passu with or senior to the claim of the Secured Parties against any Loan Party, except for the Carve
 Out or as otherwise expressly permitted by the Orders;

                  (c)      subject to the Orders, assert, join, investigate, support or prosecute any claim or cause of
 action against any of the Secured Parties (in their capacities as such), unless such claim or cause of action is in
 connection with the enforcement of the Loan Documents against any of the Secured Parties;

                    (d)       other than as provided in any “first day” order, enter into any agreement to return any of
 its inventory to any of its creditors for application against any pre-petition Indebtedness, pre-petition trade payables
 or other pre-petition claims under Section 546(c) of the Bankruptcy Code or allow any creditor to take any setoff or
 recoupment against any of its pre-petition Indebtedness, pre-petition trade payables or other pre-petition claims based
 upon any such return pursuant to Section 553(b)(1) of the Bankruptcy Code or otherwise if, after giving effect to any
 such agreement, setoff or recoupment, the aggregate amount applied to pre-petition Indebtedness, pre-petition trade
 payables and other pre-petition claims subject to all such agreements, setoffs and recoupments since the Petition Date
 would exceed $250,000;

                    (e)     seek, consent to, or permit to exist, without the prior written consent of the Required
 Lenders, any order granting authority to take any action that is prohibited by the terms of this Agreement, the Interim
 Order, the Final Order or the other Loan Documents or refrain from taking any action that is required to be taken by
 the terms of this Agreement, the Interim Order, the Final Order or any of the other Loan Documents;

                   (f)      subject to the terms of the Orders and subject to Article VIII, object to, contest, delay,
 prevent or interfere with in any material manner the exercise of rights and remedies by the Agents, the Lenders or
 other Secured Parties with respect to the Collateral following the occurrence of an Event of Default, including without
 limitation a motion or petition by any Secured Party to lift an applicable stay of proceedings to do the foregoing
 (provided that any Loan Party may contest or dispute whether an Event of Default has occurred in accordance with
 the terms of the Orders);

                    (g)     except as expressly provided or permitted hereunder (including, without limitation, to the
 extent pursuant to any “first day” or “second day” orders complying with the terms of this Agreement) or, with the
 prior consent of the Required Lenders, make any payment or distribution to any non-Debtor Affiliate or insider of any
 Debtor unless otherwise contemplated in the Cash Flow Forecast (subject to Permitted Variances);

                    (h)      except for the Carve Out or as otherwise expressly permitted by the Orders, incur, create,
 assume, suffer to exist or permit (or file an application for the approval of) any other Superpriority Claim which is
 pari passu with or senior to the claims of the Administrative Agent, the Collateral Agent and Lenders against the Loan
 Parties or the adequate protection Liens or claims; or




                                                           75
Case 20-41308           Doc 228         Filed 04/01/20 Entered 04/01/20 23:45:34                         Main Document
                                                 Pg 123 of 1005


                 (i)          make or permit to be made any change to the Final Order without the consent of the
 Required Lenders.

                                                ARTICLE VIII
                                      EVENTS OF DEFAULT AND REMEDIES

         8.01       Events of Default. Any of the following shall constitute an Event of Default (each, an “Event of
 Default”):

          (a)      Non-Payment. The Borrower or any other Loan Party fails to pay (i) when and as required to be
 paid herein, any amount of principal of any Loan, or (ii) within five Business Days after the same becomes due and
 payable, any interest on any Loan, , or any fee due hereunder, any other amount payable hereunder or under any other
 Loan Document; or

          (b)       Specific Covenants. The Borrower fails to perform or observe any term, covenant or agreement
 contained in any of Sections 6.01(a), 6.01(b), 6.01(c), 6.01(d), 6.01(e), 6.01(f), 6.02(a), 6.03(a), 6.05, 6.11, 6.18 6.21
 6.22, 6.23 or Article VII; or

          (c)       Other Defaults. Any Loan Party fails to perform or observe any other covenant or agreement (not
 specified in subsection (a) or (b) above) contained in any Loan Document on its part to be performed or observed and
 such failure continues for 30 days; or

          (d)    Representations and Warranties. Any representation, warranty, certification or statement of fact
 made or deemed made by or on behalf of the Borrower or any other Loan Party herein, in any other Loan Document,
 or in any document delivered in connection herewith or therewith shall be incorrect or misleading in any material
 respect when made or deemed made; or

           (e)      Cross-Default. Unless the enforcement thereof is stayed by operation of the Chapter 11 Cases, any
 Loan Party or any Subsidiary thereof (A) fails to make any payment when due (whether by scheduled maturity,
 required prepayment, acceleration, demand, or otherwise) in respect of any Indebtedness or Guarantee (other than
 Indebtedness under the Loan Documents) in each case having an aggregate principal amount of more than the
 Threshold Amount (“Material Indebtedness”), beyond the period of grace, if any, provided in the instrument or
 agreement under which such Material Indebtedness was created or (B) fails to observe or perform any other agreement
 or condition relating to any such Material Indebtedness, or contained in any instrument or agreement evidencing,
 securing or relating thereto, or any other event occurs, the effect of which default or other event is to cause or to permit
 the holder or holders of such Material Indebtedness, or the beneficiary or beneficiaries of such Material Indebtedness
 (or a trustee or agent on behalf of such holder or holders or beneficiary or beneficiaries) to cause, with the giving of
 notice if required, such Indebtedness to become due prior to its stated maturity, or such Guarantee to become due or
 payable; provided, that this clause 8.01(e) shall not apply to any secured Indebtedness that becomes due as a result of
 the voluntary sale or transfer of the property or assets securing such Indebtedness if (i) such sale or transfer is permitted
 hereunder and under the documents providing for such Indebtedness, (ii) such Indebtedness becomes due substantially
 contemporaneously with the completion and closing of such voluntary sale and transfer (and not upon entry into the
 purchase or transfer agreement related thereto) and (iii) the process of such voluntary sale or transfer are applied to
 pay in full such Indebtedness substantially contemporaneously with such sale or transfer; or

           (f)      Insolvency Proceedings, Etc. Any Loan Party or Subsidiary that is not a Debtor institutes or
 consents to the institution of any proceeding under any Debtor Relief Law, or makes an assignment for the benefit of
 creditors; or applies for or consents to the appointment of any receiver, trustee, custodian, conservator, liquidator,
 rehabilitator or similar officer for it or for all or any material part of its property; or any receiver, trustee, custodian,
 conservator, liquidator, rehabilitator or similar officer is appointed without the application or consent of such Person
 and the appointment continues undischarged or unstayed for 30 calendar days; or any proceeding under any Debtor
 Relief Law relating to any such Person or to all or any material part of its property is instituted without the consent of
 such Person and continues undismissed or unstayed for 30 calendar days, or an order for relief is entered in any such
 proceeding; or




                                                              76
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                       Main Document
                                                Pg 124 of 1005


          (g)      [Reserved].

          (h)     Judgments. There is entered against any Loan Party or any Subsidiary a final judgment or order for
 the payment of money in an aggregate amount exceeding the Threshold Amount (to the extent not covered by
 independent third party insurance), and such judgments or orders shall not have been vacated, discharged, waived,
 stayed or bonded pending appeal within 60 days from the entry thereof; or

          (i)     ERISA. The occurrence of any of the following events that, individually or in the aggregate, could
 reasonably be expected to result in a Material Adverse Effect: (i) an ERISA Event occurs with respect to a Pension
 Plan or Multiemployer Plan which has resulted or could reasonably be expected to result in an actual obligation to pay
 money of the Borrower under Title IV of ERISA to the Pension Plan, Multiemployer Plan or the PBGC, or (ii) the
 Borrower or any ERISA Affiliate fails to pay when due, after the expiration of any applicable grace period, any
 installment payment with respect to its withdrawal liability under Section 4201 of ERISA under a Multiemployer
 Plan; or

          (j)       Invalidity of Loan Documents. Any Loan Document, at any time after its execution and delivery
 and for any reason other than as expressly permitted hereunder or Payment in Full, ceases to be in full force and effect;
 or any Loan Party contests in any manner the validity or enforceability of any Loan Document; or any Loan Party
 denies that it has any or further liability or obligation under any Loan Document, or purports to revoke, terminate or
 rescind any Loan Document; or any Security Document ceases to create a valid Lien with the priority required thereby
 on the Collateral covered thereby (other than (x) as to any immaterial portion of the Collateral or (y) as expressly
 permitted thereunder or solely as a result of the acts or omissions of any Agent); or

          (k)      Change of Control. There occurs any Change of Control; or

          (l)      Restructuring Support Agreement or Backstop Commitment Agreement Termination. (i) The
 bringing of a motion or taking of any action by any of the Loan Parties or any Subsidiary to terminate the Restructuring
 Support Agreement and/or the Backstop Commitment Agreement, or (ii) the Restructuring Support Agreement and/or
 the Backstop Commitment Agreement is terminated for any reason, or modified, amended or waived in any manner
 materially adverse to the Secured Parties without the prior consent of the Required Lenders; or

          (m)      Management Services Agreement Termination. (i) The bringing of a motion or taking of any action
 by any of the Loan Parties or any Subsidiary to terminate the Management Services Agreement or (ii) the Management
 Services Agreement is terminated for any reason, or modified, amended or waived in any manner materially adverse
 to the Secured Parties without the prior consent of the Required Lenders; or

          (n)       Guarantees, Security Documents and Loan Documents. At any time after the execution and delivery
 thereof, (i) the Guaranty for any reason, other than the Payment in Full of all Obligations (other than contingent
 indemnity obligations), shall cease to be in full force and effect (other than in accordance with its terms or in
 connection with a transaction permitted by Section 7.04) or shall be declared to be null and void or any Guarantor
 shall repudiate its obligations thereunder, (ii) any Security Document shall for any reason (other than pursuant to the
 terms thereof) cease to create a valid and perfected Lien (subject to Permitted Liens) on the Collateral purported to be
 covered thereby and with the priority contemplated by the Orders, and (iii) any Loan Party shall contest the validity
 or enforceability of any Loan Document or any Order in writing or repudiate or rescind (or purport to repudiate or
 rescind) or deny in writing that it has any further liability, including with respect to future advances by Lenders, under
 any provision of any Loan Document to which it is a party or shall contest the validity or perfection of any Lien in
 any Collateral purported to be covered by any Order or any other Security Document; or

          (o)      Chapter 11 Cases. There occurs any of the following in the Chapter 11 Cases:

                    (i)      the bringing of a motion or taking of any action by any of the Loan Parties or any Subsidiary
 (A) to grant any Lien other than Liens permitted pursuant to Section 7.01 upon or affecting any Collateral, or (B) to
 use cash collateral of the Agents and the other Secured Parties under section 363(c) of the Bankruptcy Code without
 the prior written consent of the Required Lenders, except as provided in the Interim Order or Final Order;




                                                            77
Case 20-41308             Doc 228      Filed 04/01/20 Entered 04/01/20 23:45:34                       Main Document
                                                Pg 125 of 1005


                   (ii)     the entry of an order in any of the Chapter 11 Cases confirming a Reorganization Plan that
 is not an Acceptable Plan;

                   (iii)     (A) the entry of an order amending, supplementing, staying, vacating or otherwise
 modifying the Interim Order or the Final Order in any material respect without the written consent of the Required
 Lenders, or the Interim Order or the Final Order shall otherwise not be in full force and effect or (B) any Loan Party
 or any Subsidiary shall fail to comply with the Orders in any material respect;

                   (iv)    the allowance of any claim or claims under Section 506(c) of the Bankruptcy Code or
 otherwise against, any Agent, any Lender, any other Secured Party or any of the Collateral;

                    (v)       (A) the appointment of a trustee, receiver or an examiner (other than a fee examiner) in
 the Chapter 11 Cases with expanded powers to operate or manage the financial affairs, the business, or reorganization
 of the Loan Parties, or (B) the sale without the Required Lenders’ consent of any material portion of the Debtors’
 assets either through a sale under Section 363 of the Bankruptcy Code, through a confirmed plan of reorganization in
 the Chapter 11 Cases or otherwise that does not result in Payment in Full in cash of all of the Obligations under this
 Agreement at the closing of such sale or initial payment of the purchase price or effectiveness of such plan of
 reorganization, as applicable;

                   (vi)    the dismissal of any Chapter 11 Case, or the conversion of any Chapter 11 Case from one
 under Chapter 11 to one under Chapter 7 of the Bankruptcy Code or any Loan Party shall file a motion or other
 pleading seeking the dismissal of the Chapter 11 Case under Section 1112 of the Bankruptcy Code or otherwise or the
 conversion of the Chapter 11 Cases to Chapter 7 of the Bankruptcy Code;

                    (vii)    any Loan Party shall file a motion seeking, or the Bankruptcy Court shall enter an order
 granting relief from or modifying the automatic stay under Section 362 of the Bankruptcy Code (A) to allow any
 creditor (other than the Agents) to execute upon or enforce a Lien on any Collateral, (B) approving any settlement or
 other stipulation not approved by the Required Lenders (which approval shall not be unreasonably withheld) with any
 secured creditor of any Loan Party providing for payments as adequate protection or otherwise to such secured
 creditor, (C) with respect to any Lien on or the granting of any Lien on any Collateral to any federal, state or local
 environmental or regulatory agency or authority or (D) to permit other actions that would have a Material Adverse
 Effect on the Debtors or their estates (taken as a whole);

                   (viii)    [reserved];

                  (ix)    the entry of an order in the Chapter 11 Cases avoiding or permitting recovery of any portion
 of the payments made on account of the Obligations owing under this Agreement;

                  (x)        the entry of an order in the Chapter 11 Cases terminating or modifying the exclusive right
 of any Loan Party to file a Reorganization Plan pursuant to Section 1121 of the Bankruptcy Code;

                   (xi)      the failure of any Loan Party to perform in all material respects any of its obligations under
 the Orders;

                   (xii)     the existence of any claims or charges, or the entry of any order of the Bankruptcy Court
 authorizing any claims or charges, other than the Obligations in, or as otherwise permitted under the applicable Loan
 Documents or permitted under the Orders, entitled to superpriority administrative expense claim status in any Chapter
 11 Case pursuant to Section 364(c)(1) of the Bankruptcy Code pari passu with or senior to the claims of the Agents
 and the Secured Parties under this Agreement and the other Loan Documents, or there shall arise or be granted by the
 Bankruptcy Court (A) any claim having priority over any or all administrative expenses of the kind specified in clause
 (b) of Section 503 of the Bankruptcy Code or clause (b) of Section 507 of the Bankruptcy Code (other than the Carve
 Out) or (B) any Lien on the Collateral having a priority senior to or pari passu with the Liens and security interests
 granted herein, except, in each case, as expressly provided in the Loan Documents or in the Orders then in effect (but
 only in the event specifically consented to by the Administrative Agent (at the direction of the Required Lenders)),
 whichever is in effect;



                                                            78
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                         Main Document
                                                Pg 126 of 1005


                    (xiii)   the Interim Order (prior to the Final Order Entry Date) or, on and after entry thereof, the
 Final Order shall cease to create a valid and perfected Lien on the Collateral or to be in full force and effect, shall have
 been reversed, modified, amended, stayed, vacated, or subject to stay pending appeal, in the case of modification or
 amendment, without prior written consent of the Required Lenders);

                    (xiv)     an order in the Chapter 11 Cases shall be entered limiting the extension under Section
 552(b) of the Bankruptcy Code of the Liens of the Prepetition Debt on the Collateral to any proceeds, products,
 offspring, or profits of the Collateral acquired by any Loan Party after the Petition Date;

                    (xv)     an order of the Bankruptcy Court shall be entered denying or terminating use of cash
 collateral by the Loan Parties;

                  (xvi)   an order materially adversely impacting the legal rights and interests of the Agents and the
 Lenders under the Loan Documents shall have been entered by the Bankruptcy Court or any other court of competent
 jurisdiction;

                   (xvii) any Loan Party shall challenge, support or encourage a challenge of any payments made to
 any Agent, any Lender, or any Secured Party with respect to the Obligations, or without the consent of the Required
 Lenders and, if required by Section 10.01, any other Secured Party, the filing of any motion by the Loan Parties
 seeking approval of (or the entry of an order by the Bankruptcy Court approving) adequate protection to any holder
 of Prepetition Debt that is inconsistent with an Order;

                     (xviii) without the Required Lenders’ consent, the entry of any order by the Bankruptcy Court
 granting, or the filing by any Loan Party or any of its Subsidiaries of any motion or other request with the Bankruptcy
 Court (in each case, other than the Orders and motions seeking entry thereof or permitted amendments or modifications
 thereto) seeking, authority to use any cash proceeds of any of the Collateral or to obtain any financing under Section
 364 of the Bankruptcy Code other than the Loan Documents or any other financing that results in the Payment in Full
 of the Obligations;

                   (xix)    any Loan Party or any person on behalf of any Loan Party shall file any motion seeking
 authority to (A) consummate a sale of assets (constituting Collateral or otherwise) outside the ordinary course of
 business or (B) reject any executory contract or unexpired lease (relating to property that constitutes Collateral or
 otherwise) without the consent of the Required Lenders, and in each case not otherwise permitted hereunder;

                   (xx)      any Loan Party shall make any payment (whether by way of adequate protection or
 otherwise) of principal or interest or otherwise on account of any Prepetition Debt or payables other than payments
 permitted under this Agreement to the extent authorized or required by one or more “first day” or “second day” orders
 or any of the Orders (or other orders with the consent of Required Lenders) and consistent with the Cash Flow Forecast
 (subject to Permitted Variances);

                    (xxi)    without the Required Lenders’ consent or as otherwise permitted by the Orders, any Loan
 Party or any Subsidiary thereof shall file any motion or other request with the Bankruptcy Court seeking (A) to grant
 or impose, under Section 364 of the Bankruptcy Code or otherwise, liens or security interests in any Collateral, whether
 senior, equal or subordinate to the Collateral Agent’s liens and security interests; or (B) to modify or affect any of the
 rights of the Agents, the Lenders or the Secured Parties under the Orders or the Loan Documents and related documents
 by any Reorganization Plan confirmed in the Chapter 11 Cases or subsequent order entered in the Chapter 11 Cases;
 and

                    (xxii)   the filing by any of the Loan Parties of any Reorganization Plan other than an Acceptable
 Plan.

          8.02     Remedies Upon Event of Default. If any Event of Default occurs and is continuing, the
 Administrative Agent shall, at the request of, or may, with the consent of, the Required Lenders, subject to the terms
 of the Orders, take any or all of the following actions:




                                                             79
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                       Main Document
                                                Pg 127 of 1005


        (a)     declare the commitment of each Lender to make Loans to be terminated, whereupon such
 commitments and obligation shall be terminated;

          (b)       declare the unpaid principal amount of all outstanding Loans, all interest accrued and unpaid
 thereon, and all other amounts owing or payable hereunder or under any other Loan Document to be immediately due
 and payable, without presentment, demand, protest or other notice of any kind, all of which are hereby expressly
 waived by the Borrower;

          (c)      [reserved]; and

           (d)     exercise on behalf of itself and the Lenders all rights and remedies available to it and the Lenders
 under the Loan Documents, any Order or applicable Law (including, but not limited to, the Bankruptcy Code and the
 UCC), including the right to set off any amounts held as cash collateral (including, without limitation, in any cash
 collateral account held for the benefit of the Secured Parties);

 provided, however, that upon the occurrence of an actual or deemed entry of an order for relief with respect to the
 Borrower under Debtor Relief Laws of the United States or any other Event of Default under Section 8.01(f) or (g)
 hereof, the obligation of each Lender to make Loans shall automatically terminate and the unpaid principal amount of
 all outstanding Loans and all interest and other amounts as aforesaid shall automatically become due and payable
 without further act of the Administrative Agent or any Lender.

          8.03     [Reserved].

          8.04      Application of Funds. Subject to the Orders, after the exercise of remedies provided for in Section
 8.02 (or after the Loans have automatically become immediately due and payable, any amounts received on account
 of the Obligations (including proceeds of Collateral) shall be applied by the Administrative Agent in the following
 order:

          First, to payment of that portion of the Obligations constituting fees, indemnities, expenses and other amounts
 (including reasonable fees, charges and disbursements of counsel to the Agents and amounts payable under Article
 III) payable to the Agents in their capacity as such;

          Second, to payment of that portion of the Obligations constituting fees, indemnities and other amounts
 payable to the Lenders (including fees, charges and disbursements of counsel to the respective Lenders (including fees
 and time charges for attorneys who may be employees of any Lender) and amounts payable under Article III, ratably
 among the Lenders in accordance with their respective Applicable Percentages;

         Third, to payment of that portion of the Obligations constituting accrued and unpaid interest in respect of the
 Loans and other Obligations, ratably among the Lenders in accordance with their respective Applicable Percentages;

         Fourth, to payment of that portion of the Obligations constituting unpaid principal of the Loans, ratably
 among the Lenders in accordance with their respective Applicable Percentages;

          Fifth, to payment of any remaining Obligations, ratably among the Lenders and the other Secured Parties,
 ratably among the Lenders in accordance with their respective Applicable Percentages; and

          Last, the balance, if any, after all of the Obligations have been indefeasibly Paid in Full, to the Borrower or
 as otherwise required by Law;

 provided, that the application to the Obligations of amounts received in respect of the Collateral is expressly subject
 to the priorities set forth in the Interim Order (and, when entered, the Final Order), and all such amounts shall first be
 allocated in accordance with such priorities.

                                                      ARTICLE IX
                                                       AGENTS



                                                            80
Case 20-41308          Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                       Main Document
                                               Pg 128 of 1005


          9.01     Appointment and Authority.

           (a)      Each of the Lenders hereby irrevocably appoints Cortland Capital Market Services LLC to act on
 its behalf as the Administrative Agent hereunder and under the other Loan Documents, and irrevocably authorizes the
 Administrative Agent to take such actions on its behalf and to exercise such powers, rights and remedies as are
 delegated or granted to the Administrative Agent by the terms hereof or thereof, together with such actions and powers
 as are reasonably incidental thereto. Except with respect to Section 9.06 and Section 9.10, the provisions of this
 Article are solely for the benefit of the Administrative Agent and the Lenders, and neither the Borrower, nor any other
 Loan Party shall have rights as a third party beneficiary of any of such provisions. In performing its functions and
 duties hereunder, the Administrative Agent shall act solely as an agent of the Lenders and does not assume and shall
 not be deemed to have assumed any obligation towards or relationship of agency or trust with or for the Borrower or
 any of its Subsidiaries.

           (b)      Each of the Lenders hereby irrevocably appoints Cortland Capital Market Services LLC to act on
 its behalf as the Collateral Agent hereunder and under the other Loan Documents for purposes of acquiring, holding
 and enforcing any and all Liens on Collateral granted by any of the Loan Parties to secure any of the Obligations,
 together with such powers and discretion as are reasonably incidental thereto. Without limiting the generality of the
 foregoing, the Lenders, and by accepting the benefits of the Loan Documents the other Secured Parties, hereby
 expressly authorize the Collateral Agent to (i) execute any and all documents with respect to the Collateral (including
 any amendment, supplement, modification or joinder with respect thereto) and the rights of the Secured Parties with
 respect thereto, as contemplated by and in accordance with the provisions of this Agreement and the Loan Documents
 and acknowledge and agree that any such action by the Collateral Agent shall bind the Secured Parties and (ii)
 negotiate, enforce or settle any claim, action or proceeding affecting the Lenders in their capacity as such, at the
 direction of the Required Lenders, which negotiation, enforcement or settlement will be binding upon each Lender.

          9.02      Rights as a Lender. The agency hereby created shall in no way impair or affect any of the rights
 and powers of, or impose any duties or obligations upon, any Agent in its individual capacity as a Lender hereunder.
 With respect to its participation in the Loans, the Person serving as an Agent hereunder shall have the same rights and
 powers in its capacity as a Lender as any other Lender and may exercise the same as though it were not an Agent and
 the term “Lender” or “Lenders” shall, unless otherwise expressly indicated or unless the context otherwise requires,
 include the Person serving as an Agent hereunder in its individual capacity. Such Person and its Affiliates may accept
 deposits from, lend money to, own securities of, act as the financial advisor or in any other advisory capacity for and
 generally engage in any kind of business with the Borrower or any Subsidiary or other Affiliate thereof as if such
 Person were not an Agent hereunder, and may accept fees and other considerations from the Borrower for service in
 connection herewith and otherwise without any duty to account therefor to the Lenders.

          9.03      Exculpatory Provisions. No Agent shall have any duties or obligations except those expressly set
 forth herein and in the other Loan Documents. Without limiting the generality of the foregoing, no Agent:

          (a)     shall be subject to any fiduciary or other implied duties, regardless of whether a Default or Event of
 Default has occurred and is continuing;

            (b)     shall have any duty to take any discretionary action or exercise any discretionary powers, except
 discretionary rights and powers expressly contemplated hereby or by the other Loan Documents that such Agent is
 required to exercise as directed in writing by the Required Lenders (or such other number or percentage of the Lenders
 as shall be necessary, or as such Agent shall believe in good faith shall be necessary, under the circumstances as
 provided in Section 10.01), provided that no Agent shall be required to take any action that, in its opinion or the
 opinion of its counsel, may expose such Agent to liability or that is contrary to any Loan Document or applicable law,
 including, for the avoidance of doubt, any action that, in its opinion or the opinion of its counsel, may violate the
 automatic stay under any Debtor Relief Law or that may effect a forfeiture, modification or termination of property
 of a Defaulting Lender in violation of any Debtor Relief Law; provided, further, that if any Agent so requests, it shall
 first be indemnified and provided with adequate security to its sole satisfaction (including reasonable advances as may
 be requested by such Agent) by the Lenders against any and all liability and expense that may be incurred by it by
 reason of taking or continuing to take any such directed action;




                                                           81
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                        Main Document
                                                Pg 129 of 1005


           (c)       shall, except as expressly set forth herein and in the other Loan Documents, have any duty to
 disclose, and shall not be liable for the failure to disclose, any information relating to the Borrower or any of its
 Affiliates that is communicated to or obtained by the Person serving as an Agent or any of its Affiliates in any capacity;

           (d)      shall be responsible or have any liability for or in connection with, or have any duty to ascertain,
 inquire into, monitor, maintain, update or enforce, compliance with the provisions hereof relating to Disqualified
 Institutions; and without limiting the generality of the foregoing, no Agent shall (x) be obligated to ascertain, monitor
 or inquire as to whether any Lender or Participant or prospective Lender or Participant is a Disqualified Institution or
 (y) have any liability with respect to or arising out of any assignment or participation of Loans, or disclosure of
 confidential information, to any Disqualified Institution;

            (e)      neither any Agent nor any of its Related Parties shall be liable for any action taken or not taken by
 it (i) with the consent or at the request of the Required Lenders (or such other number or percentage of the Lenders as
 shall be necessary, or as such Agent shall believe in good faith shall be necessary, under the circumstances as provided
 in Section 10.01) or (ii) in the absence of its own gross negligence or willful misconduct, as determined by a final,
 non-appealable judgment of a court of competent jurisdiction (which shall not include any action taken or omitted to
 be taken in accordance with clause (i), for which such Agent shall have no liability);

          (f)      shall be deemed to have knowledge of any Default or Event of Default unless and until written
 notice describing such Default and is labeled a “Notice of Default” is given to such Agent by the Borrower or a Lender;
 or

           (g)      shall be responsible for or have any duty to ascertain or inquire into (i) any recital, statement,
 warranty or representation made in or in connection with this Agreement or any other Loan Document or made in any
 written or oral statements made in connection with the Loan Documents and the transactions contemplated thereby,
 (ii) the contents of any financial or other statements, instruments, certificate, report or other document delivered
 hereunder or thereunder or in connection herewith or therewith, whether made by such Agent to the Lenders or by or
 on behalf of any Loan Party to such Agent or any Lender in connection with the Loan Documents and the transactions
 contemplated thereby, (iii) the financial condition or business affairs of any Loan Party or any other Person liable for
 the payment of any Obligations, (iv) the performance or observance of any of the covenants, agreements or other terms
 or conditions set forth herein or therein or the use of proceeds of the Loans or the occurrence or possible occurrence
 of any Default or Event of Default or to make any disclosures with respect to the foregoing, (v) the execution, validity,
 enforceability, effectiveness, genuineness, collectability or sufficiency of this Agreement, any other Loan Document
 or any other agreement, instrument or document or the creation, preservation, perfection, maintenance of perfection,
 or priority of any Lien purported to be created by the Loan Documents, (vi) the value or the sufficiency of any
 Collateral, (vii) whether the Collateral exists, is owned by Borrower or its Subsidiaries, is cared for, protected, or
 insured or has been encumbered, or meets the eligibility criteria applicable in respect thereof, or (viii) the satisfaction
 of any condition set forth in Article IV or elsewhere herein, other than to confirm receipt of items expressly required
 to be delivered to such Agent.

         Anything contained herein to the contrary notwithstanding, no Agent shall have any liability arising from
 confirmation of the amount of outstanding Loans or the component amounts thereof.

           For the avoidance of doubt, and without limiting the other protections set forth in this Article 9, with respect
 to any determination, designation, or judgment to be made by the Administrative Agent or the Collateral Agent herein
 or in the other Loan Documents, the Administrative Agent or the Collateral Agent, as applicable, shall be entitled to
 request that the Required Lenders (or such other number or percentage of the Lenders as shall be necessary, or as such
 Agent shall believe in good faith shall be necessary, under the circumstances as provided in Section 10.01) make or
 confirm such determination, designation, or judgment.

            9.04     Reliance by Agents. Each Agent shall be entitled to rely upon, and shall not incur any liability for
 relying upon, any notice, request, certificate, consent, statement, instrument, document or other writing (including any
 electronic message, Internet or intranet website posting or other distribution) believed by it to be genuine and to have
 been signed, sent or otherwise authenticated by the proper Person. Each Agent also may rely upon any statement
 made to it orally or by telephone and believed by it to have been made by the proper Person, and shall not incur any
 liability for relying thereon. In determining compliance with any condition hereunder to the making of a Loan that by


                                                             82
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                        Main Document
                                                Pg 130 of 1005


 its terms must be fulfilled to the satisfaction of a Lender, each Agent may presume that such condition is satisfactory
 to such Lender unless such Agent shall have received written notice to the contrary from such Lender prior to the
 making of such Loan and such Lender shall have not made its ratable portion of such Loan available to the
 Administrative Agent. Each Agent shall be entitled to rely on and may consult with legal counsel (who may be counsel
 for the Borrower), independent accountants and other experts selected by it, and shall not be liable for any action taken
 or not taken by it in accordance with the advice of any such counsel, accountants or experts.

           9.05      Delegation of Duties. Each Agent may perform any and all of its duties and exercise its rights and
 powers hereunder or under any other Loan Document by or through any one or more co-agents, sub-agents and
 attorneys-in-fact appointed by such Agent. Each Agent and any such co-agent, sub-agent and attorney-in-fact may
 perform any and all of its duties and exercise its rights and powers by or through their respective Related Parties. The
 rights, privileges, protections, immunities, and indemnities of this Article and Section 10.04 shall apply to any such
 co-agent, sub-agent or attorney-in-fact and to the Related Parties of such Agent and any such co-agent, sub-agent or
 attorney-in-fact, and shall apply to each of their respective activities in such capacities as if such co-agent, sub-agent
 or attorney-in-fact and Related Parties were named herein. Notwithstanding anything herein to the contrary, with
 respect to each co-agent, sub-agent or attorney-in-fact appointed by any Agent, (i) such co-agent, sub-agent or
 attorney-in-fact shall be a third party beneficiary under this Agreement with respect to all rights, privileges,
 protections, immunities, and indemnities of this Article and Section 10.04 and shall have all of the rights and benefits
 of a third party beneficiary, including an independent right of action to enforce such rights, privileges, protections,
 immunities, and indemnities of this Article and Section 10.04 directly, without the consent or joinder of any other
 Person, against any or all Loan Parties and the Lenders, (ii) rights, privileges, protections, immunities, and indemnities
 of this Article and Section 10.04 shall not be modified or amended without the consent of such co-agent, sub-agent or
 attorney-in-fact, and (iii) such co-agent, sub-agent or attorney-in-fact shall only have obligations to such Agent and
 not to any Loan Party, Lender or any other Person, and no Loan Party, Lender or any other Person shall have any
 rights, directly or indirectly, as a third party beneficiary or otherwise, against such co-agent, sub-agent or attorney-in-
 fact. No Agent shall be responsible for the negligence or misconduct of any such co-agents, sub-agents and attorneys-
 in-fact except to the extent that a court of competent jurisdiction determines in a final and non-appealable judgment
 that such Agent acted with gross negligence or willful misconduct in the selection of such co-agents, sub-agents and
 attorneys-in-fact.

           9.06     Resignation of Agent. Each Agent may at any time give notice of its resignation to the applicable
 Lenders, and the Borrower. Upon receipt of any such notice of resignation, the Required Lenders shall have the right,
 with the approval of the Borrower unless an Event of Default under Section 8.01(f) or (g) has occurred or is continuing
 (such approval not to be unreasonably withheld), to appoint a successor, which shall be a bank with an office in the
 United States, or an Affiliate of any such bank with an office in the United States. If no such successor shall have
 been so appointed by the Required Lenders and shall have accepted such appointment within 30 days after the retiring
 Agent gives notice of its resignation, then the retiring Agent may on behalf of the Lenders, appoint a successor Agent
 meeting the qualifications set forth above; provided that (x) in no event shall any successor Agent be a Defaulting
 Lender, a Disqualified Institution or an Affiliated Lender and (y) if such Agent shall notify the Borrower and the
 applicable Lenders that no qualifying Person has accepted such appointment, then such resignation shall nonetheless
 become effective in accordance with such notice and (1) the retiring Agent shall be discharged from its duties and
 obligations hereunder and under the other Loan Documents (except that in the case of any collateral security held by
 the retiring Collateral Agent on behalf of the Lenders under any of the Loan Documents, the retiring Collateral Agent
 shall continue to hold such collateral security until such time as a successor Collateral Agent is appointed) and (2) all
 payments, communications and determinations provided to be made by, to or through such retiring Agent shall instead
 be made by or to each applicable Lender directly, until such time as the Required Lenders appoint a successor Agent
 as provided for above in this Section. Upon the acceptance of a successor’s appointment as an Agent hereunder, such
 successor shall succeed to and become vested with all of the rights, powers, privileges and duties of the retiring (or
 retired) Agent, and the retiring Agent shall be discharged from all of its duties and obligations hereunder or under the
 other Loan Documents (if not already discharged therefrom as provided above in this Section). The fees payable by
 the Borrower to a successor Agent shall be the same as those payable to its applicable predecessor unless otherwise
 agreed between the Borrower and such successor. After the retiring Agent’s resignation hereunder and under the other
 Loan Documents, the provisions of this Article, Section 10.04, and all other rights, privileges, protections, immunities,
 and indemnities granted to such Agent hereunder or the other Loan Documents shall continue in effect for the benefit
 of such retiring Agent, its co-agents, sub-agents and attorneys-in-fact and their respective Related Parties in respect
 of any actions taken or omitted to be taken by any of them while the retiring Agent was acting as Agent.


                                                             83
Case 20-41308          Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                      Main Document
                                               Pg 131 of 1005


          9.07     Non-Reliance on Agents and Other Lenders.

           (a)     Each Lender acknowledges represents and warrants that it has, independently and without reliance
 upon any Agent or any other Lender or any of their Related Parties and based on such documents and information as
 it has deemed appropriate, made its own credit analysis and decision to enter into this Agreement. Each Lender also
 acknowledges that it will, independently and without reliance upon any Agent or any other Lender or any of their
 Related Parties and based on such documents and information as it shall from time to time deem appropriate, continue
 to make its own decisions in taking or not taking action under or based upon this Agreement, any other Loan Document
 or any related agreement or any document furnished hereunder or thereunder.

           (b)      Agent shall have any duty or responsibility, either initially or on a continuing basis, to make any
 such investigation or any such analysis on behalf of the Lenders or to provide any Lender with any credit or other
 information with respect thereto, whether coming into its possession before the making of the Loans or at any time or
 times thereafter, and no Agent shall have any responsibility with respect to the accuracy of or the completeness of any
 information provided to the Lenders. Each Lender, by delivering its signature page to this Agreement or an
 Assignment and Assumption, shall be deemed to have acknowledged receipt of, and consented to and approved, each
 Loan Document and each other document required to be approved by any Agent, Required Lenders, or Lenders, as
 applicable, on the Closing Date. Each Lender acknowledges that none of the Agents or their Related Parties have
 made any representation or warranty to it, and that no act by any Agent or its Related Parties hereinafter taken shall
 be deemed to constitute any representation or warranty by any Agent or its Related Parties to any Lender. Except for
 notices, reports, and other documents expressly herein required to be furnished to the Lenders by an Agent, no Agent
 or any of its Related Parties shall have any duty or responsibility to provide any Lender with any credit or other
 information concerning the business, prospects, operations, property, financial and other condition or creditworthiness
 of the Borrower or any other Person party to a Loan Document that may come into the possession or control of such
 Agent or its Related Parties.

          9.08     No Other Duties, Etc. Each Agent shall have only those duties and responsibilities that are
 expressly specified herein for such Agent and the other Loan Documents. Each Agent may exercise such powers,
 rights and remedies and perform such duties by or through its agents or employees. The duties of each Agent shall be
 mechanical and administrative in nature; and no Agent shall have, by reason hereof or any of the other Loan
 Documents, a fiduciary relationship in respect of any Lender or any other Person; and nothing herein or any of the
 other Loan Documents, expressed or implied, is intended to or shall be so construed as to impose upon such Agent
 any obligations in respect hereof or any of the other Loan Documents except as expressly set forth herein or therein.
 Without limiting the generality of the foregoing, the use of the term “agent” in this Agreement or the other Loan
 Documents with reference to any Agent is not intended to connote any fiduciary or other implied (or express)
 obligations arising under agency doctrine of any applicable law. Instead, such term is used merely as a matter of
 market custom, and is intended to create or reflect only a representative relationship between independent contracting
 parties.

          9.09     [Reserved].

          9.10     Guaranty and Collateral Matters.

          (a)       Each Secured Party hereby and/or by accepting the benefits of the Collateral authorizes each Agent,
 on behalf of and for the benefit of Secured Parties, to be the agent for and representative of Secured Parties with
 respect to the Guaranty, the Collateral and the Security Documents, as applicable. Subject to Section 10.01, without
 further written consent or authorization from any Secured Party, each Agent may execute any documents or
 instruments necessary to (i) under the circumstances described in clause (A) of Section 10.21(a), confirm or
 acknowledge that the Liens on the Collateral no longer secure the Obligations, (ii) in connection with a sale or
 disposition of assets permitted by this Agreement, release any Liens encumbering any item of Collateral that is the
 subject of such sale or other disposition of assets or to which the Required Lenders (or such other Lenders as may be
 required to give such consent under Section 10.01) have otherwise consented, (iii) release any Guarantor from the
 Guaranty pursuant to Section 10.21 or with respect to which Required Lenders (or such other Lenders as may be
 required to give such consent under Section 10.01) have otherwise consented or (iv) acknowledge and confirm that
 specified assets of the Loan Parties are Excluded Assets.



                                                           84
Case 20-41308          Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                        Main Document
                                               Pg 132 of 1005


          (b)      The Lenders irrevocably authorize the Administrative Agent to release any Guarantor from its
 obligations under the Guaranty in accordance with the terms of Section 10.21. Upon request by the Administrative
 Agent at any time, the Required Lenders will confirm in writing the Administrative Agent’s authority to release any
 Guarantor from its obligations under the Guaranty pursuant to this Section 9.10.

          (c)       The Lenders irrevocably authorize the Collateral Agent to release any Lien on any property granted
 to or held by the Collateral Agent under any Loan Document in accordance with the terms of Section 10.21. Upon
 request by the Collateral Agent at any time, the Required Lenders will confirm in writing the Collateral Agent’s
 authority to release its interest in particular types or items of property in accordance with this Section.

          9.11      Withholding Tax. To the extent required by any applicable law, the Administrative Agent may
 withhold from any payment to any Lender an amount equivalent to any applicable withholding Tax. Without limiting
 the provisions of Section 3.01 or 3.04, each Lender shall, and does hereby, indemnify the Administrative Agent, and
 shall make payable in respect thereof within 30 days after demand therefor, against any and all Taxes and any and all
 related losses, claims, liabilities and expenses (including fees, charges and disbursements of any counsel for the
 Administrative Agent) incurred by or asserted against the Administrative Agent by the IRS or any other Governmental
 Authority as a result of the failure of such Administrative Agent to properly withhold tax from amounts paid to or for
 the account of any applicable Lender for any reason (including, without limitation, because the appropriate form was
 not delivered or not properly executed, or because such Lender failed to notify the Administrative Agent of a change
 in circumstance that rendered the exemption from, or reduction of withholding tax ineffective), whether or not such
 Taxes were correctly or legally imposed or asserted by the relevant Governmental Authority. A certificate as to the
 amount of such payment or liability delivered to any applicable Lender by the Administrative Agent shall be
 conclusive absent manifest error. Each Lender hereby authorizes the Administrative Agent to set off and apply any
 and all amounts at any time owing to such Lender under this Agreement or any other Loan Document against any
 amount due to the Administrative Agent under this Section 9.11. The agreements in this Section 9.11 shall survive
 the resignation and/or replacement of the Administrative Agent, any assignment of rights by, or the replacement of, a
 Lender, the termination of the Commitments, the repayment, satisfaction or discharge of all obligations under any
 Loan Document, and the termination of this Agreement.

          9.12      Concerning the Collateral and Related Loan Documents. Each Lender authorizes and directs
 each Agent to enter into, and agrees to be bound by, this Agreement (and to make all representations, warranties,
 covenants, and agreements on behalf of the Lenders as set forth therein), the Security Documents, and the other Loan
 Documents, including, without limitation, each Loan Document to be executed by such Agent and set forth on
 Schedule 6.18 hereto. Each Lender hereby acknowledges and agrees that (x) the foregoing instructed actions constitute
 an instruction from all the Lenders under this Section and (y) this Article 9 and Section 10.04 and any other rights,
 privileges, protections, immunities, and indemnities in favor of any Agent hereunder apply to any and all actions taken
 or not taken by such Agent in accordance with such instruction. Each Lender agrees that any action taken by the
 Collateral Agent in accordance with the terms of this Agreement or the other Loan Documents relating to the Collateral
 and the exercise by the Collateral Agent of its powers set forth therein or herein, together with such other powers that
 are reasonably incidental thereto, shall be binding upon all of the Lenders.

           9.13     Survival. The agreements in this Article 9 shall survive the resignation or replacement of any Agent
 or any assignment of rights by, or the replacement of, a Lender, the termination of the Commitments, the repayment,
 satisfaction or discharge of all obligations under any Loan Document, and the termination of this Agreement.

                                                     ARTICLE X
                                                  MISCELLANEOUS

          10.01 Amendments, Etc. No amendment or waiver of any provision of this Agreement or any other Loan
 Document, and no consent to any departure by the Borrower, or any other Loan Party therefrom, shall be effective
 unless in writing signed by the Required Lenders and the Borrower, or the applicable Loan Party (in each case with a
 copy to the Agents), as the case may be, and each such waiver or consent shall be effective only in the specific instance
 and for the specific purpose for which given; provided, however, that no such amendment, waiver or consent shall:

          (a)      extend or increase the Commitment of any Lender (or reinstate any Commitment terminated
 pursuant to Section 8.02) without the written consent of such Lender;


                                                            85
Case 20-41308          Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                       Main Document
                                               Pg 133 of 1005


          (b)        postpone any date fixed by this Agreement or any other Loan Document for any payment of
 principal, interest, fees or other amounts due to the Lenders (or any of them) (it being understood that the waiver of,
 or amendment to the terms of, any mandatory prepayment shall not constitute such a postponement) without the
 written consent of each Lender directly affected thereby;

          (c)       waive, reduce or postpone the principal of, or the stated rate of interest specified herein on, any
 Loan, or (subject to clause (y) of the first proviso after clause 10.01(h) below) any fees or premiums or other amounts
 payable hereunder without the written consent of each Lender directly affected thereby; provided, however, that,
 without limiting the effect of clauses 10.01(h) below or the proviso directly below, only the consent of the Required
 Lenders shall be necessary to amend the definition of “Default Rate” or to waive any obligation of the Borrower to
 pay interest at the Default Rate;

          (d)      change Section 2.13 or Section 8.04 in a manner that would alter the pro rata sharing of payments
 required thereby in a manner that by its terms modifies the application of such payments required thereby to be on a
 non- pro rata basis without the written consent of each Lender adversely affected thereby;

          (e)      [reserved];

          (f)      change any provision of this Section 10.01 or the definitions of “Required Lenders,” or “Applicable
 Percentage” or any other provision hereof specifying the number or percentage of Lenders required to amend, waive
 or otherwise modify any rights hereunder or make any determination or grant any consent hereunder without the
 written consent of each Lender affected thereby; provided, with the consent of the applicable Required Lenders,
 additional extensions of credit pursuant hereto may be included in the determination of “Required Lenders” or
 “Applicable Percentage” on substantially the same basis as the Term Loans and the Roll-Up Loans, as applicable, are
 included on the Closing Date.

          (g)      other than as permitted by Section 9.10 and Section 10.21, release (i) all or substantially all of the
 Guarantors from the Guaranty (as measured by value, not by number) or all or substantially all of the Collateral, except
 as expressly provided in the Loan Documents and except in connection with a “credit bid” undertaken by the Collateral
 Agent at the direction of the Required Lenders pursuant to Section 363(k), Section 1129(b)(2)(a)(ii) or otherwise of
 the Bankruptcy Code or other sale or disposition of assets in connection with an enforcement action with respect to
 the Collateral permitted pursuant to the Loan Documents (in which case only the consent of the Required Lenders will
 be needed for such release) or (ii) all or substantially all of the Collateral covered by the Security Documents without
 the written consent of each Lender, in each case unless the release is permitted hereunder pursuant to Section 10.21;
 or

          (h)      [reserved];

 provided, that (x) no amendment, waiver or consent shall, unless in writing and signed by the applicable Agent in
 addition to the Lenders required above, affect the rights or duties of such Agent under this Agreement or any other
 Loan Document; and (y) any Agency Fee Letter may be amended, or rights or privileges thereunder waived, in a
 writing executed only by the parties to such Agency Fee Letter. Notwithstanding anything to the contrary herein, no
 Defaulting Lender shall have any right to approve or disapprove any amendment, waiver or consent hereunder, except
 that (i) the Commitment of such Lender may not be increased or extended and (ii) the principal of any Loan owed to
 such Lender may not be reduced without the consent of such Lender.

           Notwithstanding the foregoing, the Borrower and the Agents may amend this Agreement and the other Loan
 Documents without the consent of any Lender (a) to cure any ambiguity, omission, mistake, error, defect or
 inconsistency (as reasonably determined by the Borrower in consultation with the Agents), so long as such
 amendment, modification or supplement does not adversely affect the rights of any Lender or the Lenders shall have
 received at least five Business Days’ prior written notice thereof and the Administrative Agent shall not have received,
 within five Business Days of the date of such notice to the Lenders, a written notice from the Required Lenders stating
 that the Required Lenders object to such amendment, (b) to add a Guarantor with respect to the Loans or collateral to
 secure the Loans, (c) to make administrative changes that do not adversely affect the rights of any Lender, (d) to
 integrate any other Funded Debt of the Borrower and its Subsidiaries that is secured by Liens on the Collateral (or any
 portion thereof) that rank pari passu in right of security with the Liens on the Collateral securing the Obligations or


                                                           86
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                       Main Document
                                                Pg 134 of 1005


 (e) to make technical, administrative or other changes that do not adversely affect the rights of any Lender in respect
 of provisions relating to the respective rights, roles or responsibilities of the Agents.

           The Administrative Agent may, but shall have no obligation to, with the concurrence of any Lender, execute
 amendments, modifications, waivers or consents on behalf of such Lender. Any waiver or consent shall be effective
 only in the specific instance and for the specific purpose for which it was given. No notice to or demand on any Loan
 Party in any case shall entitle any Loan Party to any other or further notice or demand in similar or other circumstances.

           Any such waiver and any such amendment or modification pursuant to this Section 10.01 shall apply equally
 to each of the Lenders and shall be binding upon the Borrower, the Lenders, the Agents and all future holders of the
 Loans. In the case of any waiver, the Borrower, the Lenders and the Agents shall be restored to their former positions
 and rights hereunder and under the other Loan Documents, and any Default or Event of Default that is waived pursuant
 to this Section 10.01 shall be deemed to be cured and not continuing during the period of such waiver.

          10.02    Notices; Effectiveness; Electronic Communication.

          (a)       Notices Generally. Except in the case of notices and other communications expressly permitted to
 be given by telephone, all notices and other communications provided for herein shall be in writing and shall be
 delivered by hand or overnight courier service, mailed by certified or registered mail, sent by telecopier (except for
 any notices sent to any Agent) as follows or sent by electronic communication as provided in subsection (b) below,
 and all notices and other communications expressly permitted hereunder to be given by telephone shall be made to
 the applicable telephone number, as follows:

                 (i)       if to the Borrower or any Agent to the address, telecopier number, electronic mail address
 or telephone number specified for such Person on Schedule 10.02; and

                 (ii)     if to any other Lender, to the address, telecopier number, electronic mail address or
 telephone number specified on Schedule 10.02 or in its Administrative Questionnaire.

 Notices sent by hand or overnight courier service, or mailed by certified or registered mail, shall be deemed to have
 been given when received; notices sent by telecopier shall be deemed to have been given when sent (except that, if
 not sent during normal business hours for the recipient, shall be deemed to have been sent at the opening of business
 on the next business day for the recipient). Notices delivered through electronic communications to the extent
 provided in subsection (b) below, shall be effective as provided in such subsection (b). Notwithstanding the foregoing,
 (a) no notice to any Agent shall be effective until received by such Agent and (b) any such notice or other
 communication shall at the request of such Agent be provided to any co-agent, sub-agent or attorney-in-fact appointed
 pursuant to Section 9.03(c) as designated by such Agent from time to time.

          (b)       Electronic Communications. Notices and other communications to any Agent and the Lenders
 hereunder may be delivered or furnished by electronic communication (including e-mail and Internet or intranet
 websites, including the Platform) pursuant to procedures approved by the Administrative Agent, provided that the
 foregoing shall not apply to notices to any Lender pursuant to Article II if such Lender has notified the Administrative
 Agent that it is incapable of receiving notices under such Article by electronic communication. The Agents or the
 Borrower may, in their discretion, agree to accept notices and other communications to the Agents or the Borrower
 hereunder by electronic communications pursuant to procedures approved by the Administrative Agent or the
 Borrower, as applicable, provided that approval of such procedures may be limited to particular notices or
 communications.

          Unless the Administrative Agent otherwise prescribes, (i) notices and other communications sent to an e-
 mail address shall be deemed received upon the sender’s receipt of an acknowledgment from the intended recipient
 (such as by the “return receipt requested” function, as available, return e-mail or other written acknowledgment),
 provided that if such notice or other communication is not sent during the normal business hours of the recipient, such
 notice or communication shall be deemed to have been sent at the opening of business on the next business day for
 the recipient, and (ii) notices or communications posted to an Internet or intranet website shall be deemed received




                                                            87
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                       Main Document
                                                Pg 135 of 1005


 upon the deemed receipt by the intended recipient at its e-mail address as described in the foregoing clause (i) of
 notification that such notice or communication is available and identifying the website address therefor.

           (c)      The Platform. THE PLATFORM IS PROVIDED “AS IS” AND “AS AVAILABLE”. THE
 AGENT PARTIES (AS DEFINED BELOW) DO NOT WARRANT THE ACCURACY OR COMPLETENESS OF
 THE BORROWER MATERIALS OR THE ADEQUACY OF THE PLATFORM, AND EXPRESSLY DISCLAIM
 LIABILITY FOR ERRORS IN OR OMISSIONS FROM THE BORROWER MATERIALS. NO WARRANTY OF
 ANY KIND, EXPRESS, IMPLIED OR STATUTORY, INCLUDING ANY WARRANTY OF
 MERCHANTABILITY, FITNESS FOR A PARTICULAR PURPOSE, NON-INFRINGEMENT OF THIRD PARTY
 RIGHTS OR FREEDOM FROM VIRUSES OR OTHER CODE DEFECTS, IS MADE BY ANY AGENT PARTY
 IN CONNECTION WITH THE BORROWER MATERIALS OR THE PLATFORM. Each Loan Party understands
 that the distribution of material through an electronic medium is not necessarily secure and that there are
 confidentiality and other risks associated with such distribution. In no event shall any Agent or any of its Related
 Parties (collectively, the “Agent Parties”) have any liability to the Borrower, any Lender or any other Person for losses,
 claims, damages, liabilities or expenses of any kind (whether in tort, contract or otherwise) arising out of the
 Borrower’s or the such Agent’s transmission of Borrower Materials through the Internet, except to the extent that such
 losses, claims, damages, liabilities or expenses have resulted from the gross negligence or willful misconduct of such
 Agent Party, as determined by a final non- appealable judgment of a court of competent jurisdiction; provided,
 however, that in no event shall the Borrower or any Agent Party have any liability to the Borrower, any Lender or any
 other Person for indirect, special, incidental, consequential or punitive damages (as opposed to direct or actual
 damages); provided that such waiver shall not limit any Loan Party’s reimbursement or indemnification obligations
 under Sections 10.04(a) or 10.04(b), respectively. Each Loan Party, each Lender, and each Agent agrees that any
 Agent may, but shall not be obligated to, store any electronic communication on the Platform in accordance with such
 Agent’s customary document retention procedures and policies.

         (d)       Defaults. Any notice of Default or Event of Default may be provided by telephone if confirmed
 promptly thereafter by delivery of written notice thereof.

          (e)      Change of Address, Etc. The Borrower and any Agent may change its address, electronic mail
 address, telecopier or telephone number for notices and other communications hereunder by notice to the other parties
 hereto. Each other Lender may change its address, electronic mail address, telecopier or telephone number for notices
 and other communications hereunder by notice to the Borrower and the Administrative Agent. In addition, each
 Lender agrees to notify the Administrative Agent from time to time to ensure that the Administrative Agent has on
 record (i) an effective address, contact name, telephone number, telecopier number and electronic mail address to
 which notices and other communications may be sent and (ii) accurate wire instructions for such Lender.

          (f)      Reliance by Agents and Lenders. The Agents and the Lenders shall be entitled to rely and act upon
 any notices (including telephonic Borrowing Notices) purportedly given by or on behalf of the Borrower, even if (i)
 such notices were not made in a manner specified herein, were incomplete or were not preceded or followed by any
 other form of notice specified herein, or (ii) the terms thereof, as understood by the recipient, varied from any
 confirmation thereof. All telephonic notices to and other telephonic communications with any Agent may be recorded
 by such Agent, and each of the parties hereto hereby consents to such recording.

           (g)      Private Side Information Contacts. Each Public Lender agrees to cause at least one individual at or
 on behalf of such Public Lender to at all times have selected the “Private Side Information” or similar designation on
 the content declaration screen of the Platform in order to enable such Public Lender or its delegate, in accordance with
 such Public Lender’s compliance procedures and applicable law, including United States federal and state securities
 laws, to make reference to information that is not made available through the “Public-Side Information” portion of
 the Platform and that may contain Private-Side Information. In the event that any Public Lender has determined for
 itself to not access any information disclosed through the Platform or otherwise, such Public Lender acknowledges
 that (i) other Lenders may have availed themselves of such information and (ii) neither the Borrower nor any Agent
 has any responsibility for such Public Lender’s decision to limit the scope of the information it has obtained in
 connection with this Agreement and the other Loan Documents.

         10.03 No Waiver; Cumulative Remedies. No failure by any Lender or any Agent to exercise, and no
 delay by any such Person in exercising, any right, remedy, power or privilege hereunder or under any other Loan


                                                            88
Case 20-41308          Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                       Main Document
                                               Pg 136 of 1005


 Document shall impair such right, remedy, power or privilege or be construed to be a waiver of any default or
 acquiescence therein; nor shall any single or partial exercise of any right, remedy, power or privilege hereunder or
 under any other Loan Document preclude any other or further exercise thereof or the exercise of any other right,
 remedy, power or privilege. The rights, remedies, powers and privileges herein provided and in the other Loan
 Documents are cumulative and not exclusive of any rights, remedies, powers and privileges provided by law. Any
 forbearance or failure to exercise, and any delay in exercising, any right, power or remedy hereunder shall not impair
 any such right, power or remedy or be construed to be a waiver thereof, nor shall it preclude the further exercise of
 any such right, power or remedy.

          10.04    Expenses; Indemnity; Damage Waiver.

           (a)     Costs and Expenses. The Borrower shall pay (i) all reasonable and documented out-of-pocket legal
 and other expenses incurred by the Agents and their respective Affiliates (including the reasonable and documented
 fees, charges and disbursements of (x) Ropes & Gray LLP, as primary counsel for the Agents and their Affiliates,
 (x) Akin Gump Strauss Hauer & Feld LLP and Milbank LLP and Bryan Cave Leighton Paisner LLP, as counsel to
 the Backstop Lenders, (y) a single local counsel in each relevant jurisdiction and any special counsel reasonably
 deemed necessary by the Agents, and (z) a single local counsel in each relevant jurisdiction and any special counsel
 reasonably deemed necessary by the Lenders), in each case, in connection with the preparation, due diligence,
 negotiation, execution, delivery, administration and enforcement of this Agreement and the other Loan
 Documents or any amendments, modifications, consents, or waivers of the provisions hereof or thereof (whether or
 not the transactions contemplated hereby or thereby shall be consummated), (ii) [reserved] and (iii) all reasonable
 and documented out-of-pocket legal and other expenses (including the cost of any investigation or preparation)
 incurred by any Agent or any Lender (including the reasonable fees, charges and disbursements of (x) Ropes &
 Gray LLP, as primary counsel for the Agents and their Affiliates, (y) Akin Gump Strauss Hauer & Feld LLP and
 Milbank LLP, as counsel to the Backstop Lenders, (y) a single local counsel in each relevant jurisdiction and any
 special counsel reasonably deemed necessary by the Agents, and (z) a single local counsel in each relevant
 jurisdiction and any special counsel reasonably deemed necessary by the Lenders (and, in the case of an actual or
 perceived conflict of interest where the Indemnitees affected by such conflict notifies the Borrower of the existence
 of such conflict, of another firm of counsel for such affected Indemnitees and local counsel for the conflicted
 party)), in each case, in connection with the enforcement or protection of its rights (A) in connection with this
 Agreement and the other Loan Documents, including its rights under this Section, or (B) in connection with the
 Loans made hereunder, including all such reasonable and documented out-of-pocket expenses incurred during any
 workout, restructuring or negotiations in respect of such Loans.

            (b)      Indemnification by the Borrower. The Borrower shall indemnify the Agents (and any co-agent,
 sub-agent or attorney-in-fact thereof) and each Lender, and each Related Party of any of the foregoing Persons
 (each such Person being called an “Indemnitee”) against, and hold each Indemnitee harmless from, any and all
 losses, claims, damages, liabilities (including any Environmental Liability), obligations, penalties, actions,
 judgments, and related reasonable and documented out-of-pocket costs, fees and expenses (including the
 reasonable documented out-of-pocket fees, charges and disbursements of any counsel for any Indemnitee), incurred
 by any Indemnitee or asserted against any Indemnitee (whether or not such investigation, litigation, claim or
 proceeding is brought by the Borrower, the Borrower’s equity holders, affiliates or creditors or an Indemnitee and
 whether or not any such Indemnitee is otherwise a party thereto and without regard to the exclusive or
 contributory negligence of such Indemnitee) or by the Borrower or any other Loan Party arising out of, in
 connection with, or as a result of (i) the execution or delivery of this Agreement, any other Loan Document or
 any agreement or instrument contemplated hereby or thereby, the performance by the parties hereto of their
 respective obligations hereunder or thereunder, the consummation of the transactions contemplated hereby or
 thereby, or, in the case of any Agent (and any co-agent, sub-agent or attorney-in-fact thereof) and its Related Parties
 only, the administration and enforcement of this Agreement and the other Loan Documents, (ii) any Loan or the
 use or proposed use of the proceeds therefrom and (iii) any actual or prospective claim, litigation, investigation or
 proceeding relating to any of the foregoing, whether based on contract, tort or any other theory, whether brought by
 a third party or by the Borrower or any other Loan Party, and regardless of whether any Indemnitee is a party
 thereto and without regard to the exclusive or contributory negligence of such Indemnitee; provided that such
 indemnity shall not, as to any Indemnitee, be available to the extent that such losses, claims, damages,
 liabilities or related expenses are found in a final, non-appealable judgment by a court of competent
 jurisdiction to (x) have resulted from the gross negligence or willful misconduct of such Indemnitee (or any of such
 Indemnitee’s controlled affiliates or any of its or their respective officers, directors, employees, agents, controlling
 persons or members of any of the foregoing) or (y) have arisen out of or in connection with any claim, litigation,
 loss                                                       89
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                       Main Document
                                                Pg 137 of 1005


 or proceeding not involving an act or omission of the Borrower or any of its Related Parties and that is brought by an
 Indemnitee against another Indemnitee (other than any claims against an Indemnitee in its capacity or in fulfilling its
 role as an Agent or arranger or any similar role under this Agreement or any claims arising out of any act or omission
 of the Borrower or any of its Affiliates). The Borrower also agrees that no Indemnitee shall have any liability (whether
 direct or indirect, in contract, tort or whether based on such Indemnitee’s exclusive or contributory negligence or
 otherwise) to the Borrower for or in connection with this Agreement or the other Loan Documents, any transactions
 contemplated hereby or thereby or such Indemnitees’ role or services in connection herewith or therewith, except to
 the extent that any liability for losses, claims, demands, damages, liabilities or expenses incurred by the Borrower
 resulted from the gross negligence or willful misconduct of such Indemnitee, as determined by a court of competent
 jurisdiction in a final, non-appealable judgment. This Section 10.04(b) shall not apply with respect to Taxes other
 than any taxes that represent losses, claims, damages, etc. arising from any non-Tax claim.

            (c)     Reimbursement and Indemnification by Lenders. To the extent that the Borrower for any reason
 fails to indefeasibly pay any amount required under subsection (a) or (b) of this Section to be paid by it to the Agents
 (or any such co-agent, sub-agent or attorney-in-fact thereof) or any Related Party (and without limiting its obligation
 to do so), each Lender severally agrees to reimburse and indemnify the Agents (or any such co-agent, sub-agent or
 attorney-in-fact) or such Related Party, as the case may be, with respect to such Lender’s Applicable Percentage
 (determined as of the time that such reimbursement or indemnity is sought), for and against any and all liabilities,
 obligations, losses, damages, penalties, claims, actions, judgments, costs, expenses or disbursements of whatsoever
 kind or nature which may be imposed on, asserted against or incurred by any Agent (or any Affiliate thereof) in
 performing its duties hereunder or under any other Loan Document or in any way relating to or arising out of this
 Agreement or any other Loan Document; provided that no Lender shall be liable for any portion of such liabilities,
 obligations, losses, damages, penalties, claims, actions, judgments, suits, costs, expenses or disbursements resulting
 from such Agent’s (or such Affiliate’s) gross negligence or willful misconduct (as determined by a court of competent
 jurisdiction in a final and non-appealable decision). The obligations of the Lenders under this subsection (c) are
 subject to the provisions of Section 2.12(d).

          (d)        Waiver of Consequential Damages, Etc. To the fullest extent permitted by applicable law, no party
 hereto shall assert, and each hereby waives, any claim against the Borrower and its Affiliates or any Indemnitee, on
 any theory of liability, for special, indirect, consequential or punitive damages (as opposed to direct or actual damages)
 arising out of, in connection with, or as a result of, this Agreement, any other Loan Document or any agreement or
 instrument contemplated hereby, the transactions contemplated hereby or thereby, any Loan or the use of the proceeds
 thereof; provided that such waiver shall not limit any Loan Party’s reimbursement or indemnification obligations
 under Sections 10.04(a) or 10.04(b), respectively. No Indemnitee referred to in subsection (b) above or the Borrower
 and its Affiliates shall be liable for any damages arising from the use by unintended recipients of any information or
 other materials distributed by it through telecommunications, electronic or other information transmission systems in
 connection with this Agreement or the other Loan Documents or the transactions contemplated hereby or thereby,
 except to the extent such damages result from the gross negligence or willful misconduct of such Indemnitee.

          (e)     Payments. All amounts due under this Section shall be payable not later than ten Business Days
 after written demand therefor accompanied by reasonable documentation with respect to any reimbursement,
 indemnification or other amount requested.

           (f)      Survival. The agreements in this Section shall survive the resignation or replacement of any Agent
 or any assignment of rights by, or the replacement of, a Lender, the termination of the Commitments, the repayment,
 satisfaction or discharge of all obligations under any Loan Document, and the termination of this Agreement. The
 reimbursement, indemnity and contribution obligations of the Borrower under this Section 10.04 will be in addition
 to any liability which the Borrower may otherwise have, will extend upon the same terms and conditions to any
 affiliate of any Indemnitee and the partners, members, directors, agents, employees, and controlling persons (if any),
 as the case may be, of any Indemnitee and any such affiliate, and will be binding upon and inure to the benefit of any
 successors and assigns of the Borrower, any Indemnitee, any such affiliate, and any such Person.

          10.05 Marshalling; Payments Set Aside. Neither any Agent nor any Lender shall be under any
 obligation to marshal any assets in favor of any Loan Party or any other Person or against or in payment of any or all
 of the Obligations. To the extent that any payment by or on behalf of the Borrower is made to the Agents or any
 Lender, or the Agents or any Lender enforces any security interests or exercises its right of setoff, and such payment


                                                            90
Case 20-41308              Doc 228     Filed 04/01/20 Entered 04/01/20 23:45:34                       Main Document
                                                Pg 138 of 1005


 or the proceeds of such enforcement or setoff or any part thereof is subsequently invalidated, declared to be fraudulent
 or preferential, set aside or required (including pursuant to any settlement entered into by the Agents or such Lender
 in its discretion) to be repaid to a trustee, receiver or any other party, in connection with any proceeding under any
 Debtor Relief Law or otherwise, then (a) to the extent of such recovery, the obligation or part thereof originally
 intended to be satisfied, and all Liens, rights and remedies therefor or related thereto, shall be revived and continued
 in full force and effect as if such payment had not been made or such setoff had not occurred, and (b) each Lender
 severally agrees to pay to each Agent upon demand its applicable share (without duplication) of any amount so
 recovered from or repaid by such Agent, plus interest thereon from the date of such demand to the date such payment
 is made at a rate per annum equal to the applicable Overnight Rate from time to time in effect, in the applicable
 currency of such recovery or payment. The obligations of the Lenders under clause (b) of the preceding sentence shall
 survive Payment in Full and the termination of this Agreement.

          10.06    Successors and Assigns.

           (a)      Successors and Assigns Generally. The provisions of this Agreement shall be binding upon and
 inure to the benefit of the parties hereto and their respective successors and assigns permitted hereby, except that no
 Loan Party may assign or otherwise transfer any of its rights or obligations hereunder, except through a transaction
 permitted hereunder, without the prior written consent of the Agents and each Lender, and no Lender may assign or
 otherwise transfer any of its rights or obligations hereunder except (i) to an Eligible Assignee in accordance with the
 provisions of subsection (b) of this Section, (ii) by way of participation in accordance with the provisions of subsection
 (e) of this Section, (iii) by way of pledge or assignment of a security interest subject to the restrictions of subsection
 (f) of this Section or (iv) pursuant to the syndication of Loans in accordance with the Restructuring Support
 Agreement. Nothing in this Agreement, expressed or implied, shall be construed to confer upon any Person (other
 than the parties hereto, their respective successors and assigns permitted hereby, Participants to the extent provided in
 subsection (e) of this Section and, to the extent expressly contemplated hereby, the Related Parties of each of the
 Agents and the Lenders) any legal or equitable right, remedy or claim under or by reason of this Agreement.

          (b)       Assignments by Lenders. Any Lender may at any time sell, assign or transfer to one or more Eligible
 Assignees (and any assignee pursuant to syndication of Loans in accordance with the Restructuring Agreement), upon
 the giving of notice to the Borrower and the Administrative Agent, all or a portion of its rights and obligations under
 this Agreement (including all or a portion of its Commitment(s) and the Loans at the time owing to it or other
 Obligations); provided that:

                   (i)       except (a) in the case of an assignment of the entire remaining amount of the assigning
 Lender’s Commitment and the Loans at the time owing to it, which such amount is less than the applicable minimum
 transfer amount set forth below, (b) in the case of an assignment of Loans in connection with the syndication of Loans
 contemplated in the Restructuring Support Agreement, or (c) in the case of an assignment to a Lender or an Affiliate
 of a Lender or an Approved Fund with respect to a Lender, the aggregate amount of the Commitment (which for this
 purpose includes Loans outstanding thereunder) or, if the Commitment is not then in effect, the principal outstanding
 balance of the Loans of the assigning Lender subject to each such assignment, determined as of the date the
 Assignment and Assumption with respect to such assignment is delivered to the Administrative Agent, shall not be
 less than $1,000,000 in the case of an assignment of Loans and, unless each of the Administrative Agent and, so long
 as no Event of Default under Section 8.01(a), (f) or (g) has occurred and is continuing, the Borrower otherwise consents
 (each such consent not to be unreasonably withheld or delayed); provided that the Borrower shall be deemed to have
 consented to an assignment of Loans unless it shall have objected thereto by written notice to the Administrative Agent
 within seven (7) Business Days after having received notice thereof; provided, however, that concurrent assignments
 to members of an Assignee Group and concurrent assignments from members of an Assignee Group to a single
 Eligible Assignee (or to an Eligible Assignee and members of its Assignee Group) will be treated as a single
 assignment for purposes of determining whether such minimum amount has been met;

                  (ii)      each partial assignment shall be made as an assignment of a proportionate part of all the
 assigning Lender’s rights and obligations under this Agreement with respect to the Loans or the Commitment assigned;

                   (iii)      [reserved];




                                                            91
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                        Main Document
                                                Pg 139 of 1005


                     (iv)     the parties to each assignment shall execute and deliver to the Administrative Agent an
 Assignment and Assumption, together with a processing and recordation fee in the amount of $3,500 (provided
 however, that (i) the Administrative Agent may in its sole discretion, elect to waive such processing and recordation
 fee in the case of any assignment and (ii) the Administrative Agent does hereby waive such processing and recordation
 fee in connection with an assignment to an assignee which is already a Lender or is an affiliate or Approved Fund of
 a Lender or a Person under common management with a Lender) and the Eligible Assignee, if it shall not be a Lender,
 shall deliver to the Administrative Agent an Administrative Questionnaire and to the Administrative Agent and the
 Borrower any such know-your-customer documents, forms, certificate or other evidence, if any, as the assignee under
 such Assignment and Assumption, including that as may be required to deliver pursuant to Section 3.01;

                    (v)       in connection with any assignment of rights and obligations of any Defaulting Lender
 hereunder, no such assignment shall be effective unless and until, in addition to the other conditions thereto set forth
 herein, the parties to the assignment shall make such additional payments to the Administrative Agent in an aggregate
 amount sufficient, upon distribution thereof as appropriate (which may be outright payment, purchases by the assignee
 of participations or subparticipations, or other compensating actions, including funding, with the consent of the
 Borrower and the Administrative Agent, the applicable pro rata share of Loans previously requested but not funded
 by the Defaulting Lender, to each of which the applicable assignee and assignor hereby irrevocably consent), to (x)
 pay and satisfy in full all payment liabilities then owed by such Defaulting Lender to any Agent and any Lender
 hereunder (and interest accrued thereon) and (y) acquire (and fund as appropriate) its full pro rata share of all Loans
 in accordance with its Applicable Percentage. Notwithstanding the foregoing, in the event that any assignment of
 rights and obligations of any Defaulting Lender hereunder shall become effective under applicable Laws without
 compliance with the provisions of this paragraph, then the assignee of such interest shall be deemed to be a Defaulting
 Lender for all purposes of this Agreement until such compliance occurs; and

                  (vi)    pro rata assignments shall not be required and each assignment shall be of a uniform, and
 not varying, percentage of all rights and obligations under and in respect of any applicable Loan and related
 Commitments.

 Subject to acceptance and recording thereof in the applicable Register by the Administrative Agent pursuant to
 subsection (d) of this Section, from and after the closing date specified in each Assignment and Assumption, the
 Eligible Assignee thereunder shall be a party to this Agreement and, to the extent of the interest assigned by such
 Assignment and Assumption, have the rights and obligations of a Lender under this Agreement, and the assigning
 Lender thereunder shall, to the extent of the interest assigned by such Assignment and Assumption, be released from
 its obligations under this Agreement (and, in the case of an Assignment and Assumption covering all of the assigning
 Lender’s rights and obligations under this Agreement, such Lender shall cease to be a party hereto) but shall continue
 to be entitled to the benefits of Section 3.01 (subject to the requirements and limitations therein, including the
 requirements of Section 3.01(e)), 3.04, 3.05 and 10.04 with respect to facts and circumstances occurring prior to the
 closing date of such assignment. Upon request, the Borrower (at its expense) shall execute and deliver a Note to the
 assignee Lender. Any assignment or transfer by a Lender of rights or obligations under this Agreement that does not
 comply with this subsection shall be treated for purposes of this Agreement as a sale by such Lender of a participation
 in such rights and obligations in accordance with subsection (d) of this Section.

 Each Lender, upon execution and delivery hereof or upon succeeding to an interest in the Commitments and Loans,
 as the case may be, represents and warrants as of the Closing Date or as of the effective date of such Assignment and
 Assumption that (i) it is an Eligible Assignee; (ii) it has experience and expertise in the making of or investing in
 commitments or loans such as the applicable Commitments or Loans, as the case may be and (iii) it will make or
 invest in, as the case may be, its Commitments or Loans for its own account in the ordinary course and without a view
 to distribution of such Commitments or Loans within the meaning of the Securities Act or the Exchange Act or other
 federal securities laws (it being understood that, subject to the provisions of this Section 10.06, the disposition of such
 Commitments or Loans or any interests therein shall at all times remain within its exclusive control).

          (c)      [Reserved].

          (d)       Register. The Administrative Agent, acting solely for this purpose as a non-fiduciary agent of the
 Borrower, shall maintain at the Administrative Agent’s Office a copy of each Assignment and Assumption delivered
 to it and a register for the recordation of the names and addresses of the Lenders, and the Commitments of, and


                                                             92
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                         Main Document
                                                Pg 140 of 1005


 principal amounts of (and stated interest on) the Loans owing to, each Lender pursuant to the terms hereof from time
 to time (the “Register”). The entries in the Register shall be conclusive absent manifest error, and the Borrower, the
 Administrative Agent and the Lenders shall treat each Person whose name is recorded in the Register pursuant to the
 terms hereof as a Lender hereunder for all purposes of this Agreement, notwithstanding notice to the contrary. Any
 assignment of any Loan, whether or not evidenced by a Note, shall be effective only upon appropriate entries with
 respect thereto being made in the Register (and each Note shall expressly so provide). The Register shall be available
 for inspection by the Borrower and each Lender (solely as to the amount of Loans of such Lender) at any reasonable
 time and from time to time upon reasonable prior written notice.

           (e)      Participations. Any Lender may at any time, without the consent of, or notice to, the Borrower or
 any Agent, sell participations to any Person (other than a natural person or the Borrower or any of the Borrower’s
 Affiliates or Subsidiaries) (each, a “Participant”) in all or a portion of such Lender’s rights and/or obligations under
 this Agreement (including all or a portion of its Commitment and/or the Loans owing to it); provided that (i) such
 Lender’s obligations under this Agreement shall remain unchanged, (ii) such Lender shall remain solely responsible
 to the other parties hereto for the performance of such obligations and (iii) the Borrower, the Agents and the Lenders
 shall continue to deal solely and directly with such Lender in connection with such Lender’s rights and obligations
 under this Agreement.

           Any agreement or instrument pursuant to which a Lender sells such a participation shall provide that such
 Lender shall retain the sole right to enforce this Agreement and to approve any amendment, modification or waiver
 of any provision of this Agreement; provided that such agreement or instrument may provide that such Lender, to the
 extent that it has a consent right hereunder, will not, without the consent of the Participant, agree to any amendment,
 waiver or other modification described in clauses (a), (b), (c), (g) and (h) of the first proviso to Section 10.01 that
 affects such Participant (it being understood that a waiver of any Default or Event of Default or of a mandatory
 reduction in the Commitment shall not constitute a change in the terms of such participation, and that an increase in
 any Commitment or Loan shall be permitted without the consent of any participant if the participant’s participation is
 not increased as a result thereof). Subject to subsection (e) of this Section, the Borrower agrees that each Participant
 shall be entitled to the benefits of Section 3.01, 3.04 and 3.05 to the same extent as if it were a Lender and had acquired
 its interest by assignment, provided, that in the case of Section 3.01, such Participant shall have complied with the
 requirements of such section (it being understood that the documentation required under Section 3.01(e) shall be
 delivered to the participating Lender). To the extent permitted by law, each Participant also shall be entitled to the
 benefits of Section 10.08 as though it were a Lender; such Participant agrees to be subject to Section 2.13 as though
 it were a Lender.

           Each Lender that sells a participation, acting for this purpose as a non-fiduciary agent (solely for tax purposes)
 of the Borrower, shall maintain a register for the recordation of the names and addresses of the Participants and
 principal amount of (and stated interest on) each Participant’s interest in the Loans or other obligations under this
 Agreement (the “Participant Register”); provided that no Lender shall have any obligation to disclose all or any portion
 of the Participant Register (including the identity of any Participant or any information relating to a Participant’s
 interest in any commitments, loans, letters of credit or its other obligations under any Loan Document) to any Person
 except to the extent that the relevant parties, acting reasonably and in good faith, determine that such disclosure is
 necessary to establish that such commitment, loan, letter of credit or other obligation is in registered form under
 Section 5f.103-1(c) of the United States Treasury Regulations. The entries in the Participant Register shall be
 conclusive absent manifest error, and such Lender and each Loan Party shall treat each Person whose name is recorded
 in the Participant Register pursuant to the terms hereof as the owner of such participation for all purposes of this
 Agreement, notwithstanding notice to the contrary.

          (f)       Limitation upon Participant Rights. A Participant shall not be entitled to receive any greater
 payment under Section 3.01, 3.04 or 3.05 than the applicable Lender would have been entitled to receive with respect
 to the participation sold to such Participant, except to the extent such entitlement to receive a greater payment results
 from a Change in Law that occurs after the Participant acquired the applicable participation.

          (g)        Certain Pledges. Any Lender may at any time pledge or assign a security interest in all or any
 portion of its rights under this Agreement (including under its Note(s), if any) to secure obligations of such Lender to
 secure obligations to a Federal Reserve Bank or other central bank having jurisdiction over such Lender; provided that
 no such pledge or assignment shall release such Lender from any of its obligations hereunder or substitute any such


                                                             93
Case 20-41308           Doc 228         Filed 04/01/20 Entered 04/01/20 23:45:34                         Main Document
                                                 Pg 141 of 1005


 pledgee or assignee for such Lender as a party hereto; provided further, that in no event shall the applicable Federal
 Reserve Bank, pledgee or trustee, be considered to be a “Lender” or be entitled to require the assigning Lender to take
 or omit to take any action hereunder.

           (h)      Electronic Execution of Assignments. The words “execution,” “signed,” “signature,” and words of
 like import in any Assignment and Assumption shall be deemed to include electronic signatures or the keeping of
 records in electronic form, each of which shall be of the same legal effect, validity or enforceability as a manually
 executed signature or the use of a paper-based recordkeeping system, as the case may be, to the extent and as provided
 for in any applicable law, including the Federal Electronic Signatures in Global and National Commerce Act, the New
 York State Electronic Signatures and Records Act, or any other similar state Laws based on the Uniform Electronic
 Transactions Act.

            10.07 Treatment of Certain Information; Confidentiality. Each of the Agents and the Lenders agrees
 that it will treat as confidential (to the extent clearly identified at the time of delivery as confidential) all information
 provided to it hereunder or under any other Loan Document by or on behalf of the Borrower or any of its Subsidiaries
 or Affiliates (collectively, “Information”) in accordance with the Agents’ and the Lenders’ applicable customary
 procedures for handling confidential information of such nature, except to the extent such Information (a) is publicly
 available or becomes publicly available other than by reason of disclosure by the Agents or the Lenders, any of their
 respective affiliates or representatives in violation of this Agreement or the other Loan Documents, (b) was received
 by the Agents and the Lenders from a source (other than the Borrower or any of its affiliates, advisors, members,
 directors, employees, agents or other representatives) not known by the Agents and the Lenders to be prohibited from
 disclosing such Information to such Person by a legal, contractual or fiduciary obligation to the Borrower or (c) was
 already in the Agents’ and the Lenders’ possession from a source other than the Borrower or any of its affiliates,
 advisors, members, directors, employees, agents or other representatives or is independently developed by such Person
 without the use of or reference to any such confidential information; provided, however, that nothing herein will
 prevent the Agents and the Lenders from disclosing any such Information (including Information regarding
 Disqualified Institutions) (a) pursuant to the order of any court or administrative agency or in any pending legal or
 administrative proceeding, or otherwise as required by applicable Law or compulsory legal process (in which case
 such Person agrees to inform the Borrower promptly thereof to the extent not prohibited by law), (b) upon the request
 or demand of any regulatory authority or any self-regulatory authority having jurisdiction over such Person or any of
 its affiliates, (c) to such Person’s affiliates and such Person’s and affiliates’ respective officers, directors, partners,
 members, employees, affiliated investment funds or investment vehicles, managed, advised or sub-advised accounts,
 funds or other entities, investment advisors, sub-advisors or managers, legal counsel, independent auditors and other
 experts or agents who need to know such Information and on a confidential basis and who are informed of the
 confidential nature of the Information, (d) to existing Lenders and to potential and prospective Agents, Lenders,
 assignees, participants and any direct or indirect contractual counterparties to any Hedging Agreement relating to the
 Borrower or its obligations under this Agreement, in each case, subject to such recipient’s agreement (which
 agreement (other than Disqualified Institutions) may be in writing or by “click through” agreement or other affirmative
 action on the part of the recipient to access such Information and acknowledge its confidentiality obligations in respect
 thereof pursuant to customary practice) to keep such Information confidential on substantially the terms set forth in
 this Section 10.07, (e) to ratings agencies who have agreed to keep such Information confidential on terms no less
 restrictive than this Section 10.07 in any material respect or otherwise on terms acceptable to the Borrower in
 connection with obtaining ratings of the Loans, (f) for purposes of establishing a “due diligence” defense, (g) on a
 confidential basis, to the CUSIP Service Bureau or any similar agency in connection with the issuance and monitoring
 of CUSIP numbers with respect to the Loans, (h) in connection with the exercise of any remedies hereunder or under
 any other Loan Document or any action or proceeding relating to this Agreement or any other Loan Document or the
 enforcement of rights hereunder or thereunder or (i) upon Borrower’s prior written consent (which may be by email).
 In addition, the Agents may disclose the existence of this Agreement and Information about this Agreement to market
 data collectors, similar service providers to the lending industry, and service providers to the Agents in connection
 with the administration and management of this Agreement and the other Loan Documents.

          Each of the Agents and the Lenders acknowledges that (a) the Information may include material non-public
 information concerning the Borrower or a Subsidiary, as the case may be, (b) it has developed compliance procedures
 regarding the use of material non-public information and (c) it will handle such material non-public information in
 accordance with applicable Laws, including Federal and state securities laws.



                                                              94
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                         Main Document
                                                Pg 142 of 1005


           10.08 Right of Setoff. In addition to any rights now or hereafter granted under applicable law and not by
 way of limitation of any such rights, subject to the Orders, upon the occurrence of any Event of Default or at maturity
 each Lender and its Affiliates is hereby authorized by each Loan Party at any time or from time to time subject to the
 consent of the Administrative Agent (such consent not to be unreasonably withheld or delayed), without notice to any
 Loan Party or to any other Person (other than the Administrative Agent), any such notice being hereby expressly
 waived, to set off and to appropriate and to apply any and all deposits (general or special, including Indebtedness
 evidenced by certificates of deposit, whether matured or unmatured, but not including trust accounts) and any other
 Indebtedness at any time held or owing by such Lender to or for the credit or the account of any Loan Party against
 and on account of the obligations and liabilities of any Loan Party to such Lender hereunder, including all claims of
 any nature or description arising out of or connected hereto, irrespective of whether or not (a) such Lender shall have
 made any demand hereunder or (b) the principal of or the interest on the Loans or any other amounts due hereunder
 shall have become due and payable pursuant to Article II and although such obligations and liabilities, or any of them,
 may be contingent or unmatured; provided that in the event that any Defaulting Lender shall exercise any such right
 of setoff, (x) all amounts so set off shall be paid over immediately to the Administrative Agent for further application
 in accordance with the provisions of Sections 2.18 and 8.04 and, pending such payment, shall be segregated by such
 Defaulting Lender from its other funds and deemed held in trust for the benefit of the Administrative Agent and the
 Lenders, and (y) the Defaulting Lender shall provide promptly to the Administrative Agent a statement describing in
 reasonable detail the Obligations owing to such Defaulting Lender as to which it exercised such right of setoff. The
 rights of each Lender and its Affiliates under this Section 10.08 are in addition to other rights and remedies (including
 other rights of setoff) that such Lender or its Affiliates may have. Each Lender agrees to notify the Borrower and the
 Administrative Agent promptly after any such setoff and application, provided that the failure to give such notice shall
 not affect the validity of such setoff and application.

           10.09 Usury Savings Clause. Notwithstanding any other provision herein, the aggregate interest rate
 charged with respect to any of the Obligations, including all charges or fees in connection therewith deemed in the
 nature of interest under applicable law shall not exceed the Highest Lawful Rate. If the rate of interest (determined
 without regard to the preceding sentence) under this Agreement at any time exceeds the Highest Lawful Rate, the
 outstanding amount of the Loans made hereunder shall bear interest at the Highest Lawful Rate until the total amount
 of interest due hereunder equals the amount of interest which would have been due hereunder if the stated rates of
 interest set forth in this Agreement had at all times been in effect. In addition, if when the Loans made hereunder are
 repaid in full the total interest due hereunder (taking into account the increase provided for above) is less than the total
 amount of interest which would have been due hereunder if the stated rates of interest set forth in this Agreement had
 at all times been in effect, then to the extent permitted by law, the Borrower shall pay to the Administrative Agent an
 amount equal to the difference between the amount of interest paid and the amount of interest which would have been
 paid if the Highest Lawful Rate had at all times been in effect. Notwithstanding the foregoing, it is the intention of
 Lenders and the Borrower to conform strictly to any applicable usury laws. Accordingly, if any Lender contracts for,
 charges, or receives any consideration which constitutes interest in excess of the Highest Lawful Rate, then any such
 excess shall be cancelled automatically and, if previously paid, shall at such Lender’s option be applied to the
 outstanding amount of the Loans made hereunder or be refunded to the Borrower.

           10.10 Counterparts; Integration. This Agreement may be executed in counterparts (and by different
 parties hereto in different counterparts), each of which shall constitute an original, but all of which when taken together
 shall constitute a single contract. This Agreement and the other Loan Documents constitute the entire contract among
 the parties relating to the subject matter hereof and supersede any and all previous agreements and understandings,
 oral or written, relating to the subject matter hereof. Delivery of an executed counterpart of a signature page of this
 Agreement by telecopy or other electronic imaging means (i.e., “pdf” or “tif”) shall be effective as delivery of a
 manually executed counterpart of this Agreement.

          10.11 Survival of Representations, Warranties and Agreements. All representations, warranties and
 agreements made hereunder and in any other Loan Document or other document delivered pursuant hereto or thereto
 or in connection herewith or therewith shall survive the execution and delivery hereof and thereof and the funding of
 any Borrowing. Such representations, warranties and agreements have been or will be relied upon by each Agent and
 each Lender, regardless of any investigation made by any Agent or any Lender or on their behalf and notwithstanding
 that any Agent or any Lender may have had notice or knowledge of any Default at the time of any Borrowing, and
 shall continue in full force and effect as long as any Loan or any other Obligation hereunder shall remain unpaid or
 unsatisfied. Notwithstanding anything herein or implied by law to the contrary, the agreements of each Loan Party


                                                             95
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                        Main Document
                                                Pg 143 of 1005


 set forth in Sections 3.01, 3.04, 3.05, 10.04(a), 10.04(b) and 10.08 and the agreements of Lenders set forth in Sections
 2.13, 9.03, 9.12, 10.04(c), and 10.05 shall survive the resignation or replacement of any Agent or any assignment of
 rights by, or the replacement of, a Lender, the termination of the Commitments, the repayment, satisfaction or
 discharge of all obligations under any Loan Document, and the termination of this Agreement.

          10.12 Severability. If any provision of this Agreement or the other Loan Documents or any obligation
 hereunder or under any other Loan Document is held to be illegal, invalid or unenforceable, (a) the legality, validity
 and enforceability of the remaining provisions or obligations of this Agreement and the other Loan Documents shall
 not be affected or impaired thereby and (b) the parties shall endeavor in good faith negotiations to replace the illegal,
 invalid or unenforceable provisions or obligations with valid provisions or obligations the economic effect of which
 comes as close as possible to that of the illegal, invalid or unenforceable provisions or obligations. The invalidity of
 a provision or obligation in a particular jurisdiction shall not invalidate or render unenforceable such provision or
 obligation in any other jurisdiction.

           10.13 Replacement of Lenders. If (a) any Lender requests compensation under Section 3.04, (b) the
 Borrower is required to pay any Indemnified Taxes or additional amounts to any Lender or any Governmental
 Authority for the account of any Lender pursuant to Section 3.01, (c) any Lender is at such time a Defaulting Lender
 or has given notice pursuant to Section 3.02 or (d) any Lender becomes a “Nonconsenting Lender” (hereinafter
 defined), then the Borrower may, at its sole expense and effort, upon notice to such Lender and the Administrative
 Agent, require such Lender to (and such Lender shall) assign and delegate, without recourse (in accordance with and
 subject to the restrictions contained in, and consents required by, Section 10.06), all of its interest, rights (other than
 its existing rights to payments pursuant to Section 3.01 or 3.04) and obligations under this Agreement and the related
 Loan Documents to an assignee selected by the Borrower that shall assume such obligations (which assignee may be
 another Lender, if a Lender accepts such assignment), provided that:

          (a)     the Administrative Agent shall have received the assignment fee specified in Section 10.06(b) from
 the Borrower (provided however, that the Administrative Agent may in its sole discretion elect to waive such
 processing and recordation fee in the case of any assignment);

         (b)       such Lender shall have received payment of an amount equal to the outstanding principal of its
 Loans, accrued interest thereon, accrued fees and all other amounts payable to it hereunder and under the other Loan
 Documents (including any amounts under Section 3.05) from the assignee (to the extent of such outstanding principal
 and accrued interest and fees) or the Borrower (in the case of all other amounts);

        (c)       in the case of any such assignment resulting from a claim for compensation under Section 3.04 or
 payments required to be made pursuant to Section 3.01, such assignment will result in a reduction in such
 compensation or payments thereafter;

          (d)      such assignment does not conflict with applicable Laws,

          (e)      neither any Agent nor any Lender shall be obligated to be or to find the assignee; and

          (f)      in the case of an assignment resulting from a Lender becoming a Nonconsenting Lender, the
 applicable assignee shall have consented to the applicable amendment, waiver or consent.

          A Lender shall not be required to make any such assignment or delegation if, prior thereto, as a result of a
 waiver by such Lender or otherwise, the circumstances entitling the Borrower to require such assignment and
 delegation cease to apply. In the event that (x) the Borrower or the Administrative Agent has requested the Lenders
 to consent to a departure or waiver of any provisions of the Loan Documents or to agree to any amendment thereto
 and (y) the Required Lenders or Required Facility Lenders, as applicable, have agreed to such consent, waiver or
 amendment, then any such Lender, who does not agree to such consent, waiver or amendment and whose consent
 would otherwise be required for such departure, waiver or amendment, shall be deemed a “Nonconsenting Lender.”
 Any such replacement shall not be deemed a waiver of any rights that the Borrower shall have against the replaced
 Lender.




                                                             96
Case 20-41308          Doc 228       Filed 04/01/20 Entered 04/01/20 23:45:34                     Main Document
                                              Pg 144 of 1005


          Each Lender agrees that if the Borrower exercises its option hereunder to cause an assignment by such Lender
 as a Nonconsenting Lender or otherwise pursuant to this Section 10.13, such Lender shall, promptly after receipt of
 written notice of such election, execute and deliver all documentation necessary to effectuate such assignment in
 accordance with Section 10.06. In the event that a Lender does not comply with the requirements of the immediately
 preceding sentence within one Business Day after receipt of such notice, each Lender hereby authorizes and directs
 the Borrower to execute and deliver such documentation as may be required to give effect to an assignment in
 accordance with Section 10.06 on behalf of a Nonconsenting Lender or Lender replaced pursuant to this Section 10.13,
 and any such documentation so executed by the Borrower shall be effective for purposes of documenting an
 assignment pursuant to Section 10.06.

         10.14    Governing Law; Jurisdiction; Etc.

       (a)   GOVERNING LAW. THIS AGREEMENT AND THE RIGHTS AND OBLIGATIONS OF THE
 PARTIES HEREUNDER (INCLUDING, WITHOUT LIMITATION, ANY CLAIMS SOUNDING IN CONTRACT
 LAW OR TORT LAW ARISING OUT OF THE SUBJECT MATTER HEREOF AND ANY DETERMINATIONS
 WITH RESPECT TO POST-JUDGMENT INTEREST) SHALL BE GOVERNED BY, AND SHALL BE
 CONSTRUED AND ENFORCED IN ACCORDANCE WITH, THE LAWS OF THE STATE OF NEW YORK AND
 (TO THE EXTENT APPLICABLE) THE BANKRUPTCY CODE, WITHOUT REGARD TO CONFLICT OF
 LAWS PRINCIPLES THEREOF THAT WOULD RESULT IN THE APPLICATION OF ANY LAW OTHER
 THAN THE LAW OF THE STATE OF NEW YORK AND (TO THE EXTENT APPLICABLE) THE
 BANKRUPTCY CODE.

        (b)     CONSENT TO JURISDICTION. SUBJECT TO CLAUSE (E) OF THE FOLLOWING
 SENTENCE, ALL JUDICIAL PROCEEDINGS BROUGHT AGAINST ANY PARTY ARISING OUT OF OR
 RELATING HERETO OR ANY OTHER LOAN DOCUMENTS, OR ANY OF THE OBLIGATIONS, SHALL BE
 BROUGHT IN THE BANKRUPTCY COURT AND, IF THAT COURT DOES NOT HAVE (OR ABSTAINS
 FROM) JURISDICTION, ANY FEDERAL COURT OF THE UNITED STATES SITTING IN THE BOROUGH OF
 MANHATTAN OR, IF THAT COURT DOES NOT HAVE SUBJECT MATTER JURISDICTION, IN ANY STATE
 COURT LOCATED IN THE CITY AND COUNTY OF NEW YORK. BY EXECUTING AND DELIVERING THIS
 AGREEMENT, EACH LOAN PARTY, FOR ITSELF AND IN CONNECTION WITH ITS PROPERTIES,
 IRREVOCABLY (A) ACCEPTS GENERALLY AND UNCONDITIONALLY THE EXCLUSIVE (SUBJECT TO
 CLAUSE (E) BELOW) JURISDICTION AND VENUE OF SUCH COURTS; (B) WAIVES ANY DEFENSE OF
 FORUM NON CONVENIENS; (C) AGREES THAT SERVICE OF ALL PROCESS IN ANY SUCH PROCEEDING
 IN ANY SUCH COURT MAY BE MADE BY REGISTERED OR CERTIFIED MAIL, RETURN RECEIPT
 REQUESTED, TO THE APPLICABLE LOAN PARTY AT ITS ADDRESS PROVIDED IN ACCORDANCE WITH
 SECTION 10.02; (D) AGREES THAT SERVICE AS PROVIDED IN CLAUSE (C) ABOVE IS SUFFICIENT TO
 CONFER PERSONAL JURISDICTION OVER THE APPLICABLE LOAN PARTY IN ANY SUCH
 PROCEEDING IN ANY SUCH COURT, AND OTHERWISE CONSTITUTES EFFECTIVE AND BINDING
 SERVICE IN EVERY RESPECT; AND (E) AGREES THAT THE AGENTS AND LENDERS RETAIN THE
 RIGHT TO SERVE PROCESS IN ANY OTHER MANNER PERMITTED BY LAW OR TO BRING
 PROCEEDINGS AGAINST ANY LOAN PARTY IN THE COURTS OF ANY OTHER JURISDICTION IN
 CONNECTION WITH THE EXERCISE OF ANY RIGHTS UNDER ANY LOAN DOCUMENT OR AGAINST
 ANY COLLATERAL OR THE ENFORCEMENT OF ANY JUDGMENT, AND HEREBY SUBMITS TO THE
 JURISDICTION OF, AND CONSENTS TO VENUE IN, ANY SUCH COURT.

        10.15 Waiver of Jury Trial. EACH PARTY HERETO HEREBY IRREVOCABLY WAIVES, TO THE
 FULLEST EXTENT PERMITTED BY APPLICABLE LAW, ANY RIGHT IT MAY HAVE TO A TRIAL BY JURY
 OF ANY CLAIM OR CAUSE OF ACTION BASED UPON OR ARISING HEREUNDER OR UNDER ANY OF
 THE OTHER LOAN DOCUMENTS OR ANY DEALINGS BETWEEN THEM RELATING TO THE SUBJECT
 MATTER OF THIS LOAN TRANSACTION OR THE LENDER/BORROWER RELATIONSHIP THAT IS BEING
 ESTABLISHED. THE SCOPE OF THIS WAIVER IS INTENDED TO BE ALL ENCOMPASSING OF ANY AND
 ALL DISPUTES THAT MAY BE FILED IN ANY COURT AND THAT RELATE TO THE SUBJECT MATTER
 OF THIS TRANSACTION, INCLUDING CONTRACT CLAIMS, TORT CLAIMS, BREACH OF DUTY CLAIMS
 AND ALL OTHER COMMON LAW AND STATUTORY CLAIMS.                    EACH PARTY HERETO
 ACKNOWLEDGES THAT THIS WAIVER IS A MATERIAL INDUCEMENT TO ENTER INTO A BUSINESS
 RELATIONSHIP, THAT EACH HAS ALREADY RELIED ON THIS WAIVER IN ENTERING INTO THIS


                                                          97
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                       Main Document
                                                Pg 145 of 1005


 AGREEMENT, AND THAT EACH WILL CONTINUE TO RELY ON THIS WAIVER IN ITS RELATED
 FUTURE DEALINGS. EACH PARTY HERETO FURTHER WARRANTS AND REPRESENTS THAT IT HAS
 REVIEWED THIS WAIVER WITH ITS LEGAL COUNSEL AND THAT IT KNOWINGLY AND
 VOLUNTARILY WAIVES ITS JURY TRIAL RIGHTS FOLLOWING CONSULTATION WITH LEGAL
 COUNSEL. THIS WAIVER IS IRREVOCABLE, MEANING THAT IT MAY NOT BE MODIFIED EITHER
 ORALLY OR IN WRITING (OTHER THAN BY A MUTUAL WRITTEN WAIVER SPECIFICALLY
 REFERRING TO THIS SECTION 10.15 AND EXECUTED BY EACH OF THE PARTIES HERETO), AND THIS
 WAIVER SHALL APPLY TO ANY SUBSEQUENT AMENDMENTS, RENEWALS, SUPPLEMENTS OR
 MODIFICATIONS HERETO OR ANY OF THE OTHER LOAN DOCUMENTS OR TO ANY OTHER
 DOCUMENTS OR AGREEMENTS RELATING TO THE LOANS MADE HEREUNDER. IN THE EVENT OF
 LITIGATION, THIS AGREEMENT MAY BE FILED AS A WRITTEN CONSENT TO A TRIAL BY THE COURT.

          10.16 USA PATRIOT Act Notice. Each Lender that is subject to the Act (as hereinafter defined) and
 each Agent (for itself and not on behalf of any Lender) hereby notifies each Loan Party that pursuant to the
 requirements of the PATRIOT Act, it is required to obtain, verify and record information that identifies each Loan
 Party, which information includes the name and address of such Loan Party and other information that will allow such
 Lender or such Agent, as applicable, to identify such Loan Party in accordance with the PATRIOT Act.

          10.17    Time of the Essence. Time is of the essence of the Loan Documents.

          10.18    [Reserved].

           10.19 No Advisory or Fiduciary Responsibility. Each Loan Party agrees that nothing in the Loan
 Documents or otherwise will be deemed to create an advisory, fiduciary or agency relationship or fiduciary or other
 implied duty between any Agent or Lender, on the one hand, and such Loan Party, its stockholders or its affiliates, on
 the other. In connection with all aspects of each transaction contemplated hereby (including in connection with any
 amendment, waiver or other modification hereof or of any other Loan Document), the Borrower acknowledges and
 agrees, and acknowledges its Affiliates’ understanding, that: (i) (A) the arranging and other services regarding this
 Agreement provided by the Agents and the transactions contemplated by the Loan Documents (including the exercise
 of rights and remedies hereunder and thereunder) are arm’s-length commercial transactions between the Borrower and
 their Affiliates, on the one hand, and the Agents, on the other hand, (B) the Borrower has consulted its own legal,
 accounting, regulatory and tax advisors to the extent it has deemed appropriate, and (C) the Borrower is capable of
 evaluating, and understands and accepts, the terms, risks and conditions of the transactions contemplated hereby and
 by the other Loan Documents; (ii) (A) each Agent, and each Lender is and has been acting solely as a principal and,
 except as expressly agreed in writing by the relevant parties, has not been, is not, and will not be acting as an advisor,
 agent or fiduciary for any Loan Party, its management, stockholders, creditors or any of its affiliates or any other
 Person with respect to the transactions contemplated hereby (or the exercise of rights or remedies with respect thereto)
 or the process leading thereto (irrespective of whether any Lender has advised, is currently advising or will advise any
 Loan Party, its stockholders or its Affiliates on other matters) or any other obligation to any Loan Party except the
 obligations expressly set forth in the Loan Documents and (B) neither any of the Agents nor any Lender has any
 obligation to the Borrower or any of its respective Affiliates with respect to the transactions contemplated hereby
 except those obligations expressly set forth herein and in the other Loan Documents; and (iii) the Agents and the
 Lenders and their respective Affiliates may be engaged in a broad range of transactions that involve interests that
 conflict with those of the Borrower and its respective Affiliates, and neither any of the Agents nor any Lender has any
 obligation to disclose any of such interests to the Borrower or its respective Affiliates. Each Loan Party agrees that it
 will not claim that any Lender has rendered advisory services of any nature or respect, or owes a fiduciary or similar
 duty to such Loan Party, in connection with such transaction or the process leading thereto. To the fullest extent
 permitted by law, the Borrower hereby waives and releases any claims that it may have against the Agents with respect
 to any breach or alleged breach of agency or fiduciary duty in connection with any aspect of any transaction
 contemplated hereby.

          10.20    [Reserved]

          10.21    Release of Liens and Release from Guaranty.




                                                            98
Case 20-41308          Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                        Main Document
                                               Pg 146 of 1005


           (a)      Notwithstanding anything to the contrary contained herein or in any other Loan Document, but
 subject to the Orders, the Collateral Agent is hereby irrevocably authorized by each Lender to release any Lien on any
 property granted to or held by the Collateral Agent under any Loan Document or otherwise encumbering any item of
 Collateral (and to execute any documents or instruments necessary, advisable or otherwise required or reasonably
 requested by any Loan Party to do so) (A) after Payment in Full, (B) (i) upon any sale or other transfer by any Loan
 Party of any Collateral that is permitted under this Agreement (other than a sale or other transfer to a Loan Party or
 any other Person that is required to become a Loan Party) or (ii) upon effectiveness of any written consent to the
 release of the security interest created under any Security Document in any Collateral pursuant to Section 10.01, (C)
 upon the approval, authorization or ratification in writing by the Required Lenders (or such other percentage of the
 Lenders whose consent is required by Section 10.01) with respect to the release of such Collateral, (D) upon a
 Guarantor no longer being a Guarantor by virtue of the definition thereof or a transaction permitted hereunder, with
 respect to the Collateral owned by such Guarantor or (E) if an asset becomes an Excluded Asset. After any of (v)
 Payment in Full, (w) upon any sale or other transfer of a Loan Party that is permitted under this Agreement (other than
 a sale or other transfer to a Loan Party or any other Person that is required to become a Loan Party), (x) upon the
 approval, authorization or ratification in writing by the Required Lenders (or such other percentage of the Lenders
 whose consent is required by Section 10.01) with respect to the release of any Guarantor under the terms of the
 Guaranty or (y) upon a Guarantor no longer being a Guarantor by virtue of the definition thereof or a transaction
 permitted hereunder, each applicable Guarantor (or, in the case of clause (w) above, the applicable Guarantor so sold
 or transferred) shall automatically be released from the Guaranty, all without delivery of any instrument or
 performance of any act by any Person; provided that any such release of guarantee obligations shall be deemed subject
 to the provision that such guarantee obligations shall be reinstated if after such release any portion of any payment in
 respect of the Obligations guaranteed thereby shall be rescinded or must otherwise be restored or returned upon the
 insolvency, bankruptcy, dissolution, liquidation or reorganization of the Borrower or any Guarantor, or upon or as a
 result of the appointment of a receiver, intervenor or conservator of, or trustee or similar officer for, the Borrower or
 any Guarantor or any substantial part of its property, or otherwise, all as though such payment had not been made.

           (b)       Notwithstanding anything to the contrary contained herein or in any other Loan Document, subject
 to the Orders, in connection with any termination or release pursuant to this Section 10.21, the Administrative Agent
 and/or the Collateral Agent, as applicable, shall be, and are hereby irrevocably authorized by each Lender (without
 requirement of notice to or consent of any Lender) to execute and deliver, and shall promptly execute and deliver to
 the applicable Loan Party, at such Loan Party’s expense, all documents that such Loan Party shall reasonably request
 to evidence such termination or release (including (1) UCC termination statements and (2) in the case of a release of
 Mortgages, a partial release) or to confirm that an asset of a Loan Party is not Collateral (including returning to the
 Borrower any possessory Collateral that is in the possession of the Collateral Agent and is the subject of such release);
 provided, that (1) neither Agent shall be required to execute any document or take any action necessary to evidence
 such termination or release on terms that, in its opinion or the opinion of its counsel, could expose such Agent to
 liability or create any obligation or entail any consequence other than such termination or release without recourse,
 representation, or warranty, and (2) the Loan Parties shall have provided such Agent with such certifications or
 documents as such Agent shall reasonably request in order to demonstrate that the requested termination or release is
 permitted under this Section 10.21.

           (c)      Any execution and delivery of documents, or the taking of any other action, by any Agent pursuant
 to this Section 10.21 shall be without recourse to or representation or warranty by such Agent.

          10.22 Independence of Covenants. All covenants hereunder shall be given independent effect so that if
 a particular action or condition is not permitted by any of such covenants, the fact that it would be permitted by an
 exception to, or would otherwise be within the limitations of, another covenant shall not avoid the occurrence of a
 Default or an Event of Default if such action is taken or condition exists.

           10.23 Independent Nature of Lenders’ Rights. Nothing contained herein or in any other Loan
 Document, and no action taken by Lenders pursuant hereto or thereto, shall be deemed to constitute Lenders as a
 partnership, an association, a joint venture or any other kind of entity. The amounts payable at any time hereunder to
 each Lender shall be a separate and independent debt, and each Lender shall be entitled to protect and enforce its
 rights arising out hereof and it shall not be necessary for any other Lender to be joined as an additional party in any
 proceeding for such purpose.



                                                            99
Case 20-41308            Doc 228      Filed 04/01/20 Entered 04/01/20 23:45:34                          Main Document
                                               Pg 147 of 1005


          10.24 Acknowledgment and Consent to Bail-In of EEA Financial Institutions. Notwithstanding
 anything to the contrary in any Loan Document or in any other agreement, arrangement or understanding among any
 such parties, each party hereto acknowledges that any liability of any EEA Financial Institution arising under any
 Loan Document, to the extent such liability is unsecured, may be subject to the write-down and conversion powers of
 an EEA Resolution Authority and agrees and consents to, and acknowledges and agrees to be bound by:

          (a)        the application of any Write-Down and Conversion Powers by an EEA Resolution Authority to any
 such liabilities arising hereunder which may be payable to it by any party hereto that is an EEA Financial Institution;
 and

          (b)      the effects of any Bail-in Action on any such liability, including, if applicable:

                   (i)      a reduction in full or in part or cancellation of any such liability;

                   (ii)      a conversion of all, or a portion of, such liability into shares or other instruments of
 ownership in such EEA Financial Institution, its parent undertaking, or a bridge institution that may be issued to it or
 otherwise conferred on it, and that such shares or other instruments of ownership will be accepted by it in lieu of any
 rights with respect to any such liability under this Agreement or any other Loan Document; or

                  (iii)    the variation of the terms of such liability in connection with the exercise of the write-down
 and conversion powers of any EEA Resolution Authority.

                                                     ARTICLE XI
                                                     GUARANTY

          11.01 Guaranty of the Obligations. Guarantors jointly and severally hereby irrevocably and
 unconditionally guaranty to the Administrative Agent, for the ratable benefit of the Beneficiaries, the due and punctual
 payment in full of all Obligations when the same shall become due, whether at stated maturity, by required
 prepayment, declaration, acceleration, demand or otherwise (including amounts that would become due but for the
 operation of the automatic stay under Section 362(a) of the Bankruptcy Code, 11 U.S.C. § 362(a)) (collectively, the
 “Guaranteed Obligations”).

          11.02    [Reserved].

          11.03 Payment by Guarantors. Subject to Section 11.01, Guarantors hereby jointly and severally agree,
 in furtherance of the foregoing and not in limitation of any other right which any Beneficiary may have at law or in
 equity against any Guarantor by virtue hereof, that upon the failure of Borrower to pay any of the Guaranteed
 Obligations when and as the same shall become due, whether at stated maturity, by required prepayment, declaration,
 acceleration, demand or otherwise (including amounts that would become due but for the operation of the automatic
 stay under Section 362(a) of the Bankruptcy Code, 11 U.S.C. § 362(a)), Guarantors will upon demand pay, or cause
 to be paid, in cash, to the Administrative Agent for the ratable benefit of Beneficiaries, an amount equal to the sum of
 the unpaid principal amount of all Guaranteed Obligations then due as aforesaid, accrued and unpaid interest on such
 Guaranteed Obligations (including interest which, but for Borrower’s becoming the subject of a case under the
 Bankruptcy Code, would have accrued on such Guaranteed Obligations, whether or not a claim is allowed against
 Borrower for such interest in the related bankruptcy case) and all other Guaranteed Obligations then owed to
 Beneficiaries as aforesaid.

          11.04 Liability of Guarantors Absolute. Each Guarantor agrees that its obligations hereunder are
 irrevocable, absolute, independent and unconditional and shall not be affected by any circumstance which constitutes
 a legal or equitable discharge of a guarantor or surety other than payment in full of the Guaranteed Obligations. In
 furtherance of the foregoing and without limiting the generality thereof, each Guarantor agrees as follows:

         (a)      this Guaranty is a guaranty of payment when due and not of collectability. This Guaranty is a
 primary obligation of each Guarantor and not merely a contract of surety;




                                                           100
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                        Main Document
                                                Pg 148 of 1005


         (b)       Administrative Agent may enforce this Guaranty upon the occurrence, but only during the
 continuance, of an Event of Default notwithstanding the existence of any dispute between Borrower and any
 Beneficiary with respect to the existence of such Event of Default;

          (c)      the obligations of each Guarantor hereunder are independent of the obligations of Borrower and the
 obligations of any other guarantor (including any other Guarantor) of the obligations of Borrower, and a separate
 action or actions may be brought and prosecuted against such Guarantor whether or not any action is brought against
 Borrower or any of such other guarantors and whether or not Borrower is joined in any such action or actions;

           (d)      payment by any Guarantor of a portion, but not all, of the Guaranteed Obligations shall in no way
 limit, affect, modify or abridge any Guarantor’s liability for any portion of the Guaranteed Obligations which has not
 been paid. Without limiting the generality of the foregoing, if Administrative Agent is awarded a judgment in any
 suit brought to enforce any Guarantor’s covenant to pay a portion of the Guaranteed Obligations, such judgment shall
 not be deemed to release such Guarantor from its covenant to pay the portion of the Guaranteed Obligations that is
 not the subject of such suit, and such judgment shall not, except to the extent satisfied by such Guarantor, limit, affect,
 modify or abridge any other Guarantor’s liability hereunder in respect of the Guaranteed Obligations;

            (e)      any Beneficiary, upon such terms as it deems appropriate, without notice or demand and without
 affecting the validity or enforceability hereof or giving rise to any reduction, limitation, impairment, discharge or
 termination of any Guarantor’s liability hereunder, from time to time may (i) renew, extend, accelerate, increase the
 rate of interest on, or otherwise change the time, place, manner or terms of payment of the Guaranteed Obligations;
 (ii) settle, compromise, release or discharge, or accept or refuse any offer of performance with respect to, or
 substitutions for, the Guaranteed Obligations or any agreement relating thereto and/or subordinate the payment of the
 same to the payment of any other obligations; (iii) request and accept other guaranties of the Guaranteed Obligations
 and take and hold security for the payment hereof or the Guaranteed Obligations; (iv) release, surrender, exchange,
 substitute, compromise, settle, rescind, waive, alter, subordinate or modify, with or without consideration, any security
 for payment of the Guaranteed Obligations, any other guaranties of the Guaranteed Obligations, or any other obligation
 of any Person (including any other Guarantor) with respect to the Guaranteed Obligations; (v) enforce and apply any
 security now or hereafter held by or for the benefit of such Beneficiary in respect hereof or the Guaranteed Obligations
 and direct the order or manner of sale thereof, or exercise any other right or remedy that such Beneficiary may have
 against any such security, in each case as such Beneficiary in its discretion may determine consistent herewith or any
 applicable security agreement, including foreclosure on any such security pursuant to one or more judicial or
 nonjudicial sales, whether or not every aspect of any such sale is commercially reasonable, and even though such
 action operates to impair or extinguish any right of reimbursement or subrogation or other right or remedy of any
 Guarantor against any other Loan Party or any security for the Guaranteed Obligations; and (vi) exercise any other
 rights available to it under the Loan Documents; and

            (f)     this Guaranty and the obligations of Guarantors hereunder shall be valid and enforceable and shall
 not be subject to any reduction, limitation, impairment, discharge or termination for any reason (other than payment
 in full of the Guaranteed Obligations (other than contingent indemnity obligations not then due and payable), including
 the occurrence of any of the following, whether or not any Guarantor shall have had notice or knowledge of any of
 them: (i) any failure or omission to assert or enforce or agreement or election not to assert or enforce, or the stay or
 enjoining, by order of court, by operation of law or otherwise, of the exercise or enforcement of, any claim or demand
 or any right, power or remedy (whether arising under the Loan Documents, at law, in equity or otherwise) with respect
 to the Guaranteed Obligations or any agreement relating thereto, or with respect to any other guaranty of or security
 for the payment of the Guaranteed Obligations; (ii) any rescission, waiver, amendment or modification of, or any
 consent to departure from, any of the terms or provisions (including provisions relating to events of default) hereof,
 any of the other Loan Documents, any agreement or instrument executed pursuant thereto, or of any other guaranty or
 security for the Guaranteed Obligations, in each case whether or not in accordance with the terms hereof or such Loan
 Document, or any agreement relating to such other guaranty or security; (iii) the Guaranteed Obligations, or any
 agreement relating thereto, at any time being found to be illegal, invalid or unenforceable in any respect; (iv) the
 application of payments received from any source (other than payments received pursuant to the other Loan
 Documents, or from the proceeds of any security for the Guaranteed Obligations, except to the extent such security
 also serves as collateral for indebtedness other than the Guaranteed Obligations) to the payment of indebtedness other
 than the Guaranteed Obligations, even though any Beneficiary might have elected to apply such payment to any part
 or all of the Guaranteed Obligations; (v) any Beneficiary’s consent to the change, reorganization or termination of the


                                                            101
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                        Main Document
                                                Pg 149 of 1005


 corporate structure or existence of General Partner, Holdings (or any Parent) or any of its Subsidiaries and to any
 corresponding restructuring of the Guaranteed Obligations; (vi) any failure to perfect or continue perfection of a
 security interest in any collateral which secures any of the Guaranteed Obligations (subject to the limitations set forth
 in the Security Documents); (vii) any defenses, set-offs or counterclaims which Borrower may allege or assert against
 any Beneficiary in respect of the Guaranteed Obligations, including failure of consideration, breach of warranty,
 payment, statute of frauds, statute of limitations, accord and satisfaction and usury; and (viii) any other act or thing or
 omission, or delay to do any other act or thing, which may or might in any manner or to any extent vary the risk of
 any Guarantor as an obligor in respect of the Guaranteed Obligations.

           11.05 Waivers by Guarantors. Each Guarantor hereby waives, to the extent permitted by applicable law,
 for the benefit of Beneficiaries: (a) any right to require any Beneficiary, as a condition of payment or performance by
 such Guarantor, to (i) proceed against Borrower, any other guarantor (including any other Guarantor) of the
 Guaranteed Obligations or any other Person, (ii) proceed against or exhaust any security held from Borrower, any
 such other guarantor or any other Person, (iii) proceed against or have resort to any balance of any deposit account or
 credit on the books of any Beneficiary in favor of any Loan Party or any other Person, or (iv) pursue any other remedy
 in the power of any Beneficiary whatsoever; (b) any defense arising by reason of the incapacity, lack of authority or
 any disability or other defense of Borrower or any other Guarantor including any defense based on or arising out of
 the lack of validity or the unenforceability of the Guaranteed Obligations or any agreement or instrument relating
 thereto or by reason of the cessation of the liability of Borrower or any other Guarantor from any cause other than
 payment in full of the Guaranteed Obligations; (c) any defense based upon any statute or rule of law which provides
 that the obligation of a surety must be neither larger in amount nor in other respects more burdensome than that of the
 principal; (d) any defense based upon any Beneficiary’s errors or omissions in the administration of the Guaranteed
 Obligations, except behavior which amounts to bad faith; (e) (i) any principles or provisions of law, statutory or
 otherwise, which are or might be in conflict with the terms hereof and any legal or equitable discharge of such
 Guarantor’s obligations hereunder, (ii) the benefit of any statute of limitations affecting such Guarantor’s liability
 hereunder or the enforcement hereof, (iii) any rights to set-offs, recoupments and counterclaims, and (iv) promptness,
 diligence and any requirement that any Beneficiary protect, secure, perfect or insure any security interest or lien or
 any property subject thereto; (f) notices, demands, presentments, protests, notices of protest, notices of dishonor and
 notices of any action or inaction, including acceptance hereof, notices of default hereunder, notices under any
 agreement or instrument related thereto, notices of any renewal, extension or modification of the Guaranteed
 Obligations or any agreement related thereto, notices of any extension of credit to Borrower and notices of any of the
 matters referred to in Section 11.04 and any right to consent to any thereof; and (g) any defenses or benefits that may
 be derived from or afforded by law which limit the liability of or exonerate guarantors or sureties, or which may
 conflict with the terms hereof.

           11.06 Guarantors’ Rights of Subrogation, Contribution, Etc. Until the Payment in Full of the
 Guaranteed Obligations (other than contingent obligations under general indemnification provisions as to which no
 claim is pending), each Guarantor hereby waives, to the extent permitted by law, any claim, right or remedy, direct or
 indirect, that such Guarantor now has or may hereafter have against Borrower or any other Guarantor or any of its
 assets in connection with this Guaranty or the performance by such Guarantor of its obligations hereunder, in each
 case whether such claim, right or remedy arises in equity, under contract, by statute, under common law or otherwise
 and including (a) any right of subrogation, reimbursement or indemnification that such Guarantor now has or may
 hereafter have against Borrower with respect to the Guaranteed Obligations, (b) any right to enforce, or to participate
 in, any claim, right or remedy that any Beneficiary now has or may hereafter have against Borrower, and (c) any
 benefit of, and any right to participate in, any collateral or security now or hereafter held by any Beneficiary. In
 addition, until Payment in Full of the Guaranteed Obligations (other than contingent obligations under general
 indemnification provisions as to which no claim is pending), each Guarantor shall withhold exercise of any right of
 contribution such Guarantor may have against any other guarantor (including any other Guarantor) of the Guaranteed
 Obligations. Each Guarantor further agrees that, to the extent the waiver or agreement to withhold the exercise of its
 rights of subrogation, reimbursement, indemnification and contribution as set forth herein is found by a court of
 competent jurisdiction to be void or voidable for any reason, any rights of subrogation, reimbursement or
 indemnification such Guarantor may have against Borrower or against any collateral or security, and any rights of
 contribution such Guarantor may have against any such other guarantor, shall be junior and subordinate to any rights
 any Beneficiary may have against Borrower, to all right, title and interest any Beneficiary may have in any such
 collateral or security, and to any right any Beneficiary may have against such other guarantor. If any amount shall be
 paid to any Guarantor on account of any such subrogation, reimbursement, indemnification or contribution rights at


                                                            102
Case 20-41308          Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                      Main Document
                                               Pg 150 of 1005


 any time when the Payment in Full of all Guaranteed Obligations (other than contingent obligations under general
 indemnification provisions as to which no claim is pending) shall not have occurred, such amount shall, to the extent
 possible under applicable law, be held in trust for Administrative Agent on behalf of Beneficiaries and shall forthwith
 be paid over to the Administrative Agent for the benefit of Beneficiaries to be credited and applied against the
 Guaranteed Obligations, whether matured or unmatured, in accordance with the terms hereof.

           11.07 Subordination of Other Obligations. Any Indebtedness of Borrower or any Guarantor now or
 hereafter held by any Guarantor (the “Obligee Guarantor”) is hereby subordinated in right of payment to the
 Guaranteed Obligations, and any such Indebtedness collected or received by the Obligee Guarantor after an Event of
 Default has occurred and is continuing shall, to the extent permitted by applicable law, be held in trust for
 Administrative Agent on behalf of Beneficiaries and shall forthwith be paid over to the Administrative Agent for the
 benefit of Beneficiaries to be credited and applied against the Guaranteed Obligations but without affecting, impairing
 or limiting in any manner the liability of the Obligee Guarantor under any other provision hereof.

          11.08 Continuing Guaranty. This Guaranty is a continuing guaranty and shall remain in effect until the
 Payment in Full of all of the Guaranteed Obligations (other than contingent obligations under general indemnification
 provisions as to which no claim is pending). Each Guarantor hereby irrevocably waives, to the extent permitted by
 applicable law, any right to revoke this Guaranty as to future transactions giving rise to any Guaranteed Obligations.

          11.09 Authority of Guarantors or Borrower. It is not necessary for any Beneficiary to inquire into the
 capacity or powers of any Guarantor or Borrower or the officers, directors or any agents acting or purporting to act on
 behalf of any of them.

           11.10 Financial Condition of Borrower. Any Credit Extension may be made to Borrower or continued
 from time to time without notice to or authorization from any Guarantor regardless of the financial or other condition
 of Borrower at the time of any such grant or continuation. No Beneficiary shall have any obligation to disclose or
 discuss with any Guarantor its assessment, or any Guarantor’s assessment, of the financial condition of Borrower.
 Each Guarantor has adequate means to obtain information from Borrower on a continuing basis concerning the
 financial condition of Borrower and its ability to perform its obligations under the Loan Documents, and each
 Guarantor assumes the responsibility for being and keeping informed of the financial condition of Borrower and of
 all circumstances bearing upon the risk of nonpayment of the Guaranteed Obligations. Each Guarantor hereby waives,
 to the extent permitted by applicable law, and relinquishes any duty on the part of any Beneficiary to disclose any
 matter, fact or thing relating to the business, operations or conditions of Borrower now known or hereafter known by
 any Beneficiary.

                                               [Signature pages follow]




                                                          103
                                                                                                                             1




                                                 Schedule 1.01(a)

                                                   Guarantors




                                                                                                      Case 20-41308
                                                                              Jurisdiction of Organization
Guarantor                                         Type of Entity
Adena Resources, LLC                              Limited liability company   Delaware
Akin Energy LLC                                   Limited liability company   Delaware
American Century Mineral LLC                      Limited liability company   Delaware
American Century Transport LLC                    Limited liability company   Delaware
Coal Field Construction Company LLC               Limited liability company   Delaware




                                                                                                      Doc 228
Coal Field Repair Services LLC                    Limited liability company   Delaware
Foresight Coal Sales LLC                          Limited liability company   Delaware
Foresight Energy Employee Services Corporation    Corporation                 Delaware
Foresight Energy GP LLC                           Limited liability company   Delaware




                                                                                  Filed 04/01/20 Entered 04/01/20 23:45:34
Foresight Energy Finance Corporation              Corporation                 Delaware
Foresight Energy Labor LLC                        Limited liability company   Delaware
Foresight Energy LP                               Limited partnership         Delaware
Foresight Energy Services LLC                     Limited liability company   Delaware




                                                                                           Pg 151 of 1005
Foresight Receivables LLC                         Limited Liability Company   Delaware
Hillsboro Energy LLC                              Limited liability company   Delaware
Hillsboro Transport LLC                           Limited liability company   Delaware
LD Labor Company LLC                              Limited liability company   Delaware
Logan Mining LLC                                  Limited liability company   Delaware
M-Class Mining, LLC                               Limited liability company   Delaware
Mach Mining, LLC                                  Limited liability company   Delaware
Macoupin Energy LLC                               Limited liability company   Delaware
MaRyan Mining LLC                                 Limited liability company   Delaware
Oeneus LLC (d/b/a/ Savatran LLC)                  Limited liability company   Delaware
Patton Mining LLC                                 Limited liability company   Delaware
Seneca Rebuild LLC                                Limited liability company   Delaware




                                                                                                      Main Docum
                                                     Jurisdiction of Organization
Guarantor                Type of Entity
Sitran LLC               Limited liability company   Delaware
Sugar Camp Energy, LLC   Limited liability company   Delaware
Tanner Energy LLC        Limited liability company   Delaware




                                                                             Case 20-41308
Viking Mining LLC        Limited liability company   Delaware
Williamson Energy, LLC   Limited liability company   Delaware




                                                                             Doc 228
                                                         Filed 04/01/20 Entered 04/01/20 23:45:34
                                                                  Pg 152 of 1005
                                                                             Main Docum
Case 20-41308   Doc 228    Filed 04/01/20 Entered 04/01/20 23:45:34     Main Document
                                    Pg 153 of 1005
                                                                                3



                                        Schedule 2.01

                   Commitments, Roll-Up Loans, Applicable Percentages




                          [On file with the Administrative Agent]
Case 20-41308   Doc 228   Filed 04/01/20 Entered 04/01/20 23:45:34   Main Document
                                   Pg 154 of 1005
                                                                             7



                                      Schedule 2.02

                                Backstop Commitments



                          [On File with the Administrative Agent]
                                                                                                                                                                 8




                                                            Schedule 5.08(b)

                                                   Fee Owned Material Real Property




                                                                                                                           Case 20-41308
DEBTOR/GRANTOR:

MACOUPIN ENERGY LLC
14300 Brushy Mound Road
Carlinville, Illinois 62626

Macoupin County, Illinois




                                                                                                                           Doc 228
    Description/Title of                                         Brief Legal             Recording                                Owned or          Subject to
                                Date          Parties




                                                                                                       Filed 04/01/20 Entered 04/01/20 23:45:34
        Document                                                 Description            Information                                Leased           Mortgage

                                                                Various tracts of
                                                                surface and coal




                                                                                                                Pg 155 of 1005
                                                               reserves. The coal
                                          ExxonMobil Coal    reserves were sold to
                                            USA, Inc. to        WPP or Colt and
  Special Warranty Deed       1/22/2009                                               MA-0019 493145                                        Owned      Yes
                                          Macoupin Energy       leased back. The
                                               LLC            surface not required
                                                            for operations has been
                                                               conveyed to New
                                                              River Royalty LLC




                                                                                                                           Main Docum
DEBTOR/GRANTOR:

WILLIAMSON ENERGY, LLC
16468 Liberty School Road
Marion, IL 62959




                                                                                                                                             Case 20-41308
Williamson County, Illinois

Franklin County, Illinois (Coal Reserves only)



    Description/Title of    Date                   Parties              Brief Legal Description            Recording                                                Owned or   Subject to




                                                                                                                                             Doc 228
                                                                                                          Information                                                Leased    Mortgage

           Deed              8/12/2010          Williamson
                                              Development               Surface required for




                                                                                                                         Filed 04/01/20 Entered 04/01/20 23:45:34
                                                                                                            NOT
                                            Company, LLC and           Williamson Energy, LLC                                                                        Owned        Yes
                                                                                                         RECORDED
                                            Williamson Energy,               Operations2
                                                   LLC




                                                                                                                                  Pg 156 of 1005
         Easement            8/12/2010          Williamson
                                              Development             “Snake areas” required for
                                            Company, LLC and          Williamson Energy, LLC              WC 325-899                                                 Owned        Yes
                                            Williamson Energy,               Operations
                                                   LLC




2
  This excludes the real property released pursuant to that certain Fifth Amendment and Partial Release of Fee and Leasehold Mortgage, Assignment of Rents and
Leases, Security Agreement and Fixture Filing, dated as of September 26, 2016, by and between Williamson Energy, LLC, as Mortgagor, and Citibank, N.A., in
its capacity as Agent, consisting of approximately 28.55 acres of surface land.




                                                                                                                                             Main Docum
DEBTOR/GRANTOR:

SUGAR CAMP ENERGY, LLC
11351 N. Thompsonville Road
Macedonia, Illinois 62860




                                                                                                                               Case 20-41308
Franklin County, Illinois

Hamilton County, Illinois (Coal Reserves only)

Saline County, Illinois (Coal Reserves only)




                                                                                                                               Doc 228
                                                                                                                                                      Owned
  Description/Title of                                                                                Recording                                                Subject to
                            Date               Parties               Brief Legal Description                                                            or
      Document                                                                                       Information                                               Mortgage
                                                                                                                                                      Leased




                                                                                                           Filed 04/01/20 Entered 04/01/20 23:45:34
                                     Rodney Smith and Marta
                                                                  Pt. Lot 121 and Pt. Lot 122 in   Surface WC-0152,
    Warranty Deed        1/15/2009    Smith to Sugar Camp                                                                                             Owned       Yes
                                                                        Kokopelli Estates             WC481-772




                                                                                                                    Pg 157 of 1005
                                          Energy, LLC

                                     Glendall E Johnston a.k.a
                                     Glen Johnston and Carolyn
                                                                  NW NW Sec 1-6-4 and NWNE
                                     S. Johnston, a.k.a Carolyn                                     FC-0253 2010-
       Easement          3/4/2010                                  Sec 1-6-4 Franklin County,                                                         Owned       Yes
                                       Johnston, husband and                                            1056
                                                                             Illinois
                                        Wife to Sugar Camp
                                           Energy, LLC




                                                                                                                               Main Docum
                                                                                                                                                     Owned
Description/Title of                                                                                 Recording                                                Subject to
                         Date               Parties                Brief Legal Description                                                             or
    Document                                                                                        Information                                               Mortgage
                                                                                                                                                     Leased

                                   Morris R Clark and Karan




                                                                                                                              Case 20-41308
                                                                NWNE and W2E2NE Sec 2-6-           FC-0254 2010-
     Easement          3/4/2010     S. Clark to Sugar Camp                                                                                           Owned       Yes
                                                                   4 Franklin, Illinois                1057
                                         Energy, LLC

                                   David Blood and Melanie          Pt. E2NENE Sec 2-6-4
     Easement          3/1/2010    Blood, husband and wife to   Franklin County, Illinois 2010-      FC-0255                                         Owned       Yes
                                   Sugar Camp Energy, LLC                   1058




                                                                                                                              Doc 228
                                   Roger L. Sanders and Mary
                                                                W 10 ac N3/4 of NESE Sec 6-
     Easement          6/5/2010      Ellen Sanders to Sugar                                       HC-0078 221-117                                    Owned       Yes
                                                                6-5 Hamilton County, Illinois
                                      Camp Energy, LLC




                                                                                                          Filed 04/01/20 Entered 04/01/20 23:45:34
                                   Patrick G. Mascal and Lori
                                                                 W2NESW and E2S2NWSW
  Warranty Deed        6/1/2010     S. Mascal to Sugar Camp                                       HC-0075 277/311                                    Owned       Yes
                                                                 Sec 6-6-5 Hamilton Illinois
                                          Energy, LLC




                                                                                                                   Pg 158 of 1005
                                   Williamson Development
                                                                  Surface required for Sugar          NOT
       Deed            8/12/2010   Company LLC to Sugar                                                                                              Owned       Yes
                                                                Camp Energy, LLC Operations        RECORDED
                                     Camp Energy, LLC

                                   Williamson Development        Surface in Hamilton County
                                                                                                      NOT
       Deed            8/12/2010   Company LLC to Sugar           required for Sugar Camp                                                            Owned       Yes
                                                                                                   RECORDED
                                     Camp Energy, LLC             Energy, LLC Operations




                                                                                                                              Main Docum
                                                                                                                                           Owned
Description/Title of                                                                       Recording                                                Subject to
                         Date              Parties           Brief Legal Description                                                         or
    Document                                                                              Information                                               Mortgage
                                                                                                                                           Leased

                                   Williamson Development   Surface at former Akin site




                                                                                                                    Case 20-41308
                                                                                             NOT
       Deed            8/12/2010   Company LLC to Sugar      required for Sugar Camp                                                       Owned       Yes
                                                                                          RECORDED
                                     Camp Energy, LLC        Energy, LLC Operations




                                                                                                                    Doc 228
                                                                                                Filed 04/01/20 Entered 04/01/20 23:45:34
                                                                                                         Pg 159 of 1005
                                                                                                                    Main Docum
DEBTOR/GRANTOR:

SITRAN, LLC

                                                                                                                                                     Owned    Subject




                                                                                                                              Case 20-41308
Description/Title of                                                                                   Recording                                     or       to
Document               Date         Parties                        Brief Legal Description             Information                                   Leased   Mortgage
MOORAGE
OPTIONS/LEASE
S KENTUCKY

Deed of Correction     10/22/2009   Norberta Belle Williams,       An undivided l/4th: Certain         NOT                                           Owned    No
                                    Harold Alvin Williams and      property in the Ohio River known    RECORDED




                                                                                                                              Doc 228
                                    Sitran LLC                     as Karr Island, which property
                                                                   was granted to Hopson Karr and
                                                                   N.S. Karr by a governor’s patente
                                                                   on 12/21/1960 that is recorded in




                                                                                                          Filed 04/01/20 Entered 04/01/20 23:45:34
                                                                   the Henderson Co Bk 202 Pg 266

Deed of Correction     10/22/2009   Joyce Mae Hurley and Deon      An undivided l/4th: Certain         NOT                                           Owned    No
                                    H. Hurley and Sitran LLC       property in the Ohio River known    RECORDED




                                                                                                                   Pg 160 of 1005
                                                                   as Karr Island, which property
                                                                   was granted to Hopson Karr and
                                                                   N.S. Karr by a governor’s patente
                                                                   on 12/21/1960 that is recorded in
                                                                   the Henderson Co Bk 202 Pg 266

Deed of Conveyance     10/22/2009   Lisa Michelle Karr Hughes &    An undivided 2/15th: Certain        NOT                                           Owned    No
                                    Darrell C. Hughes and Sitran   property in the Ohio River known    RECORDED
                                    LLC                            as Karr Island, which property
                                                                   was granted to Hopson Karr and
                                                                   N.S. Karr by a governor’s patente
                                                                   on 12/21/1960 that is recorded in




                                                                                                                              Main Docum
                                                                                                                                                       Owned    Subject
Description/Title of                                                                                     Recording                                     or       to
Document               Date         Parties                          Brief Legal Description             Information                                   Leased   Mortgage
                                                                     the Henderson Co Bk 202 Pg 266




                                                                                                                                Case 20-41308
Deed of Conveyance     10/22/2009   Rise Karr and Sitran LLC         An undivided 2/15th: Certain        NOT                                           Owned    No
                                                                     property in the Ohio River known    RECORDED
                                                                     as Karr Island, which property
                                                                     was granted to Hopson Karr and
                                                                     N.S. Karr by a governor’s patente
                                                                     on 12/21/1960 that is recorded in
                                                                     the Henderson Co Bk 202 Pg 266




                                                                                                                                Doc 228
Deed of Conveyance     11/20/2009   Scott A. Peck & City Peck, his   An undivided 1/20th: Certain        HC-0011                                       Owned    No
                                    wife and Sitran LLC              property in the Ohio River known    (Ky) Book
                                                                     as Karr Island, which property      572 Pg 1006
                                                                     was granted to Hopson Karr and




                                                                                                            Filed 04/01/20 Entered 04/01/20 23:45:34
                                                                     N.S. Karr by a governor’s patente
                                                                     on 12/21/1960 that is recorded in
                                                                     the Henderson Co Bk 202 Pg 266




                                                                                                                     Pg 161 of 1005
Deed of Conveyance     11/20/2009   Stephen K. Peck and Sitran       An undivided 1/20th: Certain        HC-0012                                       Owned    No
                                    LLC                              property in the Ohio River known    (Ky) Book
                                                                     as Karr Island, which property      572 Pg 1010
                                                                     was granted to Hopson Karr and
                                                                     N.S. Karr by a governor’s patente
                                                                     on 12/21/1960 that is recorded in
                                                                     the Henderson Co Bk 202 Pg 266

EASEMENTS
INDIANA

Easement               3/4/2009     Kenneth W. Burgdorf, as          4.99 acres located in part of       PC-0005                                       Owned    No
                                    Trustee of the Kenneth W.        Northeast Quarter of Section 11,




                                                                                                                                Main Docum
                                                                                                                                                      Owned    Subject
Description/Title of                                                                                    Recording                                     or       to
Document               Date         Parties                         Brief Legal Description             Information                                   Leased   Mortgage
                                    Burgdorf Revocable Trust and    Township 7 South, Range 12          (IN)
                                    Marilyn T. Burgdorf, Trustee    West in Posey County Indiana.




                                                                                                                               Case 20-41308
                                    of the Marilyn T. Burgdorf
                                    Revocable Trust and Sitran
                                    LLC

Temporary              11/20/2008   Pauline Burgdorf and Sitran     4.99 acres located in part of the   PC-0011                                       Owned    No
Easement                            LLC                             Northeast Quarter of Section 11,    (IN)
                                                                    Township 7 South, Range 12          200804978
                                                                    West in Posey County Indiana.




                                                                                                                               Doc 228
Contract To Acquire    11/20/2008   Pauline Burgdorf and Sitran     4.99 acres located in part of the   PC-0011                                       Owned    No
Easement                            LLC                             Northeast Quarter of Section 11,    (IN)
                                                                    Township 7 South, Range 12          200804978




                                                                                                           Filed 04/01/20 Entered 04/01/20 23:45:34
                                                                    West in Posey County Indiana.       closing date
                                                                                                        01/15/2012

Non-Exclusive          10/20/2009   Southern Indiana Gas and        Part of Southeast Quarter of the    PC-0018                                       Owned    No




                                                                                                                    Pg 162 of 1005
Easement and                        Electric Company an Indiana     Southwest Quarter of Section 22     (IN)
Temporary                           public utility company doing    and part of the Northeast Quarter   200904540
Construction                        business as Vectren Energy      of the Northwest Quarter of
Easement                            Delivery of Indiana, Inc. and   Section 27 all being in Township
                                    Oeneus LLC d/b/a                6 South, Range 12 West in Posey
                                    SAVATRAN LLC and Sitran         County, Indiana
                                    LLC

Quit Claim Deed                     Southern Indiana Gas and        Part of the West Half of Section    PC-00                                         Owned    No
                                    Electric Company an Indiana     23, Township 7 South, Range 12
                                    public utility company doing    West in Posey County Indiana
                                    business as Vectren Energy
                                    Delivery of Indiana, Inc. and




                                                                                                                               Main Docum
                                                                                                                                Owned    Subject
Description/Title of                                                              Recording                                     or       to
Document               Date   Parties                   Brief Legal Description   Information                                   Leased   Mortgage
                              Oeneus LLC d/b/a
                              SAVATRAN LLC and Sitran




                                                                                                         Case 20-41308
                              LLC




                                                                                                         Doc 228
                                                                                     Filed 04/01/20 Entered 04/01/20 23:45:34
                                                                                              Pg 163 of 1005
                                                                                                         Main Docum
DEBTOR/GRANTOR:

OENEUS LLC D/B/A SAVATRAN LLC




                                                                                                                            Case 20-41308
 Description/Title of                                                                              Recording                                        Owned      Subject to
                         Date               Parties                   Legal Description
     Document                                                                                     Information                                      or Leased   Mortgage

  INDIANA RAIL
    LOOP AND
      DOCK




                                                                                                                            Doc 228
                                       Alfred A. Mohr, as
                                                                 Undivided 1/2 interest in: SE
      Personal                     Personal Representative of
                                                                 NW 14-7-12 except 5 feet on      PC-0001 (IN)
   Representatives      1/9/2009    the Estate of Aurelia F.                                                                                        Owned         Yes
                                                                  north side; NESW 14-7-12         200900228




                                                                                                        Filed 04/01/20 Entered 04/01/20 23:45:34
       Deed                           Mohr, deceased and
                                                                  81.742 acres Posey Co. IN
                                       SAVATRAN LLC

                                                                 Undivided 1/2 interest in: SE




                                                                                                                 Pg 164 of 1005
                                      Alfred A. Mohr and         NW 14-7-12 except 5 feet on      PC-0001 (IN)
   Warranty Deed        1/9/2009                                                                                                                    Owned         Yes
                                      SAVATRAN LLC                north side; NESW 14-7-12         200900227
                                                                  81.742 acres Posey Co. IN

                                   Catherine B. Elbert, Linda
                                   Kay Elbert and Catherine     45.949 acres As part of the W/2   PC-0002 (IN)
   Warranty Deed        1/8/2010   Charlene Elbert as General                                                                                       Owned         Yes
                                                                    23-7-12 Posey Co. IN           201000225
                                   Partners of the Charles R.
                                     Elbert Family Limited




                                                                                                                            Main Docum
Description/Title of                                                                               Recording                                         Owned      Subject to
                         Date                Parties                  Legal Description
    Document                                                                                      Information                                       or Leased   Mortgage

                                        Partnership and
                                       SAVATRAN LLC




                                                                                                                             Case 20-41308
                                    Catherine B. Elbert, Linda                                    PC-0002 (IN)
                                    Kay Elbert and Catherine                                    201000226. This
                                    Charlene Elbert as General   Pt. SE SW 14-7-12 23 acres &      deed replaces
   Corrective
                        1/8/2010    Partners of the Charles R.   Pt. NW/4 23-7-12 16.30 acres   WD 200900675                                         Owned         Yes
  Warranty Deed




                                                                                                                             Doc 228
                                      Elbert Family Limited              Posey Co. IN               because of
                                         Partnership and                                         surveyor's error
                                       SAVATRAN LLC                                               in description.




                                                                                                         Filed 04/01/20 Entered 04/01/20 23:45:34
                                       Old National Trust
                                      Company as Successor
                                    Trustee under the James L.    Pt. W/2 Section 23-7-12 70     PC-0003 (IN)
  Trustee's Deed       12/17/2008                                                                                                                    Owned         Yes
                                     Boerner Revocable Trust          acres Posey Co. IN          200805149




                                                                                                                  Pg 165 of 1005
                                         Agreement and
                                       SAVATRAN LLC




                                                                                                                             Main Docum
Description/Title of                                                                                 Recording                                        Owned      Subject to
                         Date                 Parties                   Legal Description
    Document                                                                                        Information                                      or Leased   Mortgage

                                     Kenneth J. Juncker Mary
                                    L. Juncker Emily A Moore




                                                                                                                              Case 20-41308
                                    Robert E Moore Jr. Joseph
                                     T. Yount, Beth Ann Folz,
                                     as Guardian ad Litem for
                                       Alexander A. Moore,
                                     Dana M Junker, Rebecca
                                      A. Wildeman, Anna L




                                                                                                                              Doc 228
                                     Blankenbaker (each afore
                                     mentioned signing as an
                                    individual and as a partner
                                                                  Pt. NWNW & NENW 14-7-12
                                      in JARD Group, Allyn
                                                                  72.741 acres & 27.986 acres off    PC-0007




                                                                                                          Filed 04/01/20 Entered 04/01/20 23:45:34
  Warranty Deed        12/15/2008        Simpson, Ronald                                                                                              Owned         Yes
                                                                   N side NWNW & Pt. N/2 14-        200804974
                                        Simpson, Edward L.
                                                                      7-12 Posey Co. Indiana
                                      Thompson, as personal
                                       Representative of the




                                                                                                                   Pg 166 of 1005
                                         Estate of Marilyn
                                      Thompson, Nathalie A.
                                        Elderkin, Charles A.
                                       Thompson, L. David
                                         Allyn, Jennifer L.
                                      Velasquez, Matthew D.
                                       Allyn and Michael L.
                                     Allyn and SAVATRAN
                                               LLC




                                                                                                                              Main Docum
Description/Title of                                                                               Recording                                          Owned      Subject to
                         Date                Parties                 Legal Description
    Document                                                                                      Information                                        or Leased   Mortgage

                                     Kenneth J. Juncker Mary
                                    L. Juncker Emily A Moore




                                                                                                                              Case 20-41308
                                    Robert E Moore Jr. Joseph
                                                                                                  PC-0007 (IN)
                                    T. Yount, Beth Ann Folz,
                                                                                                200804975 This
                                     as Guardian ad Litem for   5 feet on S Line of N/2 NW/4
                                                                                                  was an access
 Quitclaim Deed        12/15/2008      Alexander A. Moore,       14-7-12 a distance of 68 1/2                                                         Owned         Yes
                                                                                                road at the top of
                                     Dana M Junker, Rebecca        rods and 5 feet in width.
                                                                                                    the Allyn
                                      A. Wildeman, Anna L
                                                                                                    Property.




                                                                                                                              Doc 228
                                    Blankenbaker (each afore
                                     mentioned signing as an
                                        individual and as a

                                                                                                 PC-0007 (IN)




                                                                                                          Filed 04/01/20 Entered 04/01/20 23:45:34
                                                                                                   200805013
                                                                                                     Edward
                                                                                                   Thompson




                                                                                                                   Pg 167 of 1005
                                                                                                 inadvertently
                                      Edward l. Thompson,       5 feet on S Line of N/2 NW/4        signed as
   Correction
                       12/17/2009       Individually and         14-7-12 a distance of 68 1/2       Personal                                          Owned         Yes
 Quitclaim Deed
                                       SAVATRAN LLC                rods and 5 feet in width.    Representative of
                                                                                                  the Estate of
                                                                                                   Marilyn K.
                                                                                                 Thompson by
                                                                                                   PRD dated
                                                                                                   10/31/2008




                                                                                                                              Main Docum
Description/Title of                                                                            Recording                                         Owned      Subject to
                         Date             Parties               Legal Description
    Document                                                                                   Information                                       or Leased   Mortgage

                                                                                             PC-0007 (IN)
                                                                                               200805012




                                                                                                                          Case 20-41308
                                                                                                 Edward
                                                                                               Thompson
                                                                                             inadvertently
                                                          Pt. NWNW & NENW 14-7-12
                                    Edward l. Thompson,                                         signed as
   Correction                                             72.741 acres & 27.986 acres off
                       12/17/2009     Individually and                                          Personal                                          Owned         Yes
  Warranty Deed                                            N side NWNW & Pt. N/2 14-
                                     SAVATRAN LLC                                           Representative of
                                                              7-12 Posey Co. Indiana




                                                                                                                          Doc 228
                                                                                              the Estate of
                                                                                               Marilyn K.
                                                                                             Thompson by
                                                                                               PRD dated




                                                                                                      Filed 04/01/20 Entered 04/01/20 23:45:34
                                                                                               10/31/2008

                                                                                                 PC-0008
                                    Gerald G. Mohr and                                       (IN)200803305




                                                                                                               Pg 168 of 1005
                                                          6.89 acres within SW/4 south
  Rec Memo &                        Esther R. Mohr and                                       Option Expires
                       7/16/2008                          of Old State Rd. Section 11-7-                                                          Owned         Yes
Option to Purchase                  Oeneus LLC d/b/a                                         07/16/2010. We
                                                                 12 Posey Co. IN
                                     SAVATAN LLC                                            do not believe we
                                                                                            will close on this.

                                    Orval Ungethum and
                                                          Pt. W/2 SW/4 Section 14-7-12        PC-0009 (IN)
  Warranty Deed        3/26/2009     Oeneus LLC d/b/a                                                                                             Owned         Yes
                                                            29.302 acres Posey Co. IN          200901384
                                     SAVATRAN LLC




                                                                                                                          Main Docum
Description/Title of                                                                                    Recording                                         Owned      Subject to
                         Date                Parties                   Legal Description
    Document                                                                                           Information                                       or Leased   Mortgage

                                      Raymond W. Boerner,
                                                                    E/2 SWNW & NENWSW
                                      Evelyn Staples, Ronald




                                                                                                                                  Case 20-41308
                                                                  Section 14-7-12 & 1/2 interest
                                     Lee Boerner & Ruben F.
                                                                  to 5 feet on S Line N/2 NW/4        PC-0010 (IN)
  Warranty Deed        12/18/2008   Roehr as Personal Rep. of                                                                                             Owned         Yes
                                                                 14-7-2 a distance of 68 1/2 rods      200805150
                                    the Estate of Dorothy Mae
                                                                  and 5 feet in width. Posey Co.
                                     Roehr and SAVATRAN
                                                                         IN.30.675 acres
                                               LLC

                                     Margie J. Angermeier




                                                                                                                                  Doc 228
                                    (Life Estate), Glenda S.
                                                                                                      PC-0012 (IN)
                                     Elpers(1/3 remainder);
                                                                                                       200804520
                                    Paul L. Angermeier (1/3
  Rec Memo &                                                        8 acres as pt of S/2 SW/4            Expires
                       10/14/2008    remainder); Glenn V.                                                                                                 Owned         Yes




                                                                                                              Filed 04/01/20 Entered 04/01/20 23:45:34
Option to Purchase                                                Section 10-7-12 Posey Co IN        10/14/2010 We
                                        Angermeier (1/3
                                                                                                    do not believe we
                                    remainder) and Oeneus
                                                                                                    will close on this.
                                    LLC d/b/a SAVATRAN




                                                                                                                       Pg 169 of 1005
                                              LLC

                                                                                                       PC-00014 (IN)
                                                                                                         200901505
                                    Arthur W. Boerner, as life                                        Arthur reserves
                                                                  S/2 NWNE 14-7-12 & all of
                                       tenant, Elizabeth A.                                             life estate in
                                                                   SWNE east of Public Road
  Warranty Deed        3/31/2009     Howery and Sharon L.                                              house and 1 ac                                     Owned         Yes
                                                                 40.843 and 1acre part of SWNE
                                    Bauman and Oenues LLC                                            tract B. Reserves
                                                                    14-7-12 Posey Co Indiana
                                    d/b/a SAVATRAN LLC                                              road easement for
                                                                                                      access to house;
                                                                                                      right to farm for




                                                                                                                                  Main Docum
Description/Title of                                                                                Recording                                         Owned      Subject to
                         Date               Parties                   Legal Description
    Document                                                                                       Information                                       or Leased   Mortgage

                                                                                                 $1.00 any portion
                                                                                                     left after




                                                                                                                              Case 20-41308
                                                                                                   construction.




                                                                                                   PC-0014 (IN)
                                   Arthur W. Boerner, as life
                                                                                                 2009-01504 this
                                      tenant, Elizabeth A.       5 feet on S Line of N/2 NW/4




                                                                                                                              Doc 228
                                                                                                 is an access road
 Quitclaim Deed        3/31/2009    Howery and Sharon L.          14-7-12 a distance of 68 1/2                                                        Owned         Yes
                                                                                                 across the top of
                                   Bauman and Oenues LLC            rods and 5 feet in width.
                                                                                                   the Alyn heirs
                                   d/b/a SAVATRAN LLC
                                                                                                      property.




                                                                                                          Filed 04/01/20 Entered 04/01/20 23:45:34
                                                                                                   PC-0014 (IN)
                                                                                                   Boerner Heirs
                                   Arthur W. Boerner, as life
                                                                 S/2 NWNE 14-7-12 & all of         own minerals




                                                                                                                   Pg 170 of 1005
                                      tenant, Elizabeth A.
 Non-Penetration                                                  SWNE east of Public Road         would not sell
                       3/31/2009    Howery and Sharon L.                                                                                              Owned         Yes
   Agreement                                                    40.843 and 1acre part of SWNE     this keeps them
                                   Bauman and Oenues LLC
                                                                   14-7-12 Posey Co Indiana      from having any
                                   d/b/a SAVATRAN LLC
                                                                                                  development of
                                                                                                   the minerals.

                                                                 S/2 NWNE 14-7-12 & all of         PC-0014 (IN)
                                   Arthur W. Boerner, as life     SWNE east of Public Road          200901506
     Easement          3/31/2009      tenant, Elizabeth A.                                       Access easement                                      Owned         Yes
                                                                40.843 and 1acre part of SWNE
                                    Howery and Sharon L.           14-7-12 Posey Co Indiana      to house and 1 ac
                                                                                                  and access to 30




                                                                                                                              Main Docum
Description/Title of                                                                               Recording                                          Owned      Subject to
                         Date               Parties                   Legal Description
    Document                                                                                      Information                                        or Leased   Mortgage

                                   Bauman and Oenues LLC                                        acres that is land
                                   d/b/a SAVATRAN LLC                                              locked after




                                                                                                                              Case 20-41308
                                                                                                  construction.


                                                                                                 PC-0014 (IN)
                                                                                                   200901507
                                                                                                Promissory note
   Real Estate                                                                                    to Elizabeth




                                                                                                                              Doc 228
Mortgage, Security                 Arthur W. Boerner, as life                                     Howery and
                                                                 S/2 NWNE 14-7-12 & all of
   Agreement,                         tenant, Elizabeth A.                                          Sharon L
                                                                  SWNE east of Public Road
    Collateral         3/31/2009    Howery and Sharon L.                                            Bauman                                            Owned         Yes
                                                                40.843 and 1acre part of SWNE
 Assignment of                     Bauman and Oenues LLC                                        1,075,000. paid
                                                                   14-7-12 Posey Co Indiana




                                                                                                          Filed 04/01/20 Entered 04/01/20 23:45:34
Rents and Leases,                  d/b/a SAVATRAN LLC                                              as follows
and Fixture Filing                                                                               287,500 yr1,
                                                                                                 275,000 yr 2




                                                                                                                   Pg 171 of 1005
                                                                                                  262500 yr 3
                                                                                                    1075000

                                    Larry E. Orth 5/12 int.
                                   Agnes L. York as Trustee
                                     of the Agnes L. York
  Rec Memo &                            Revocable Trust          Pt. SWSE 11-7-12 containing       PC-0015
                       2/27/2009                                                                                                                      Owned         Yes
Option to Purchase                 Agreement 5/12 interest;              0.90 acres               200900926
                                      Vickie L. Orth 2/12
                                   interest and Oeneus LLC
                                   d/b/a SAVATRAN LLC




                                                                                                                              Main Docum
Description/Title of                                                                                   Recording                                        Owned      Subject to
                         Date                Parties                   Legal Description
    Document                                                                                          Information                                      or Leased   Mortgage

  EASEMENTS
   INDIANA




                                                                                                                                Case 20-41308
                                     Oeneus LLC to Southern                                          PC-0017 (IN)
                                     Indiana Gas and Electric    Pt. NE/4 14-7-12 Posey Co IN        Electric power
     Easement          9/16/2009    Company and Indiana corp      containing 0.28 acres more or      line easement                                      Owned         No
                                       d/b/a Vectren Energy                   less.                 Gibson to Brown
                                     Delivery of Indiana, Inc.                                          345 line.




                                                                                                                                Doc 228
                                    Southern Indiana Gas and
                                      Electric Company an        Part of Southeast Quarter of the
  Non-Exclusive                       Indiana public utility      Southwest Quarter of Section
  Easement and                      company doing business         22 and part of the Northeast
                                                                                                     PC-0018 (IN)




                                                                                                            Filed 04/01/20 Entered 04/01/20 23:45:34
    Temporary          10/20/2009      as Vectren Energy            Quarter of the Northwest                                                            Owned         No
                                                                                                      200904540
   Construction                     Delivery of Indiana, Inc.     Quarter of Section 27 all being
    Easement                         and Oeneus LLC d/b/a        in Township 6 South, Range 12




                                                                                                                     Pg 172 of 1005
                                     SAVATRAN LLC and            West in Posey County, Indiana
                                           Sitran LLC

                                    Savatran LLC, to Southern
                                     Indiana Gas and Electric
      Electric                         Company an Indiana          Pt N2 of NW Section 14,          PC-0021 (IN)
 Distribution Line     7/13/2010      public utility company      Township 7 South, Range 12        Need Recorded                                       Owned         No
    Easement                        doing business as Vectren     West Posey County, Indiana            Copy
                                       Energy Delivery of
                                           Indiana, Inc.




                                                                                                                                Main Docum
Description/Title of                                                                             Recording                                        Owned      Subject to
                         Date                Parties                 Legal Description
    Document                                                                                    Information                                      or Leased   Mortgage

                                    Southern Indiana Gas and
                                      Electric Company an




                                                                                                                          Case 20-41308
                                      Indiana public utility
      Electric                                                    Pt. W2 NE Section 14,        PC-0022 (IN)
                                    company doing business
 Distribution Line     7/13/2010                                Township 7 South, Range 12     Need Recorded                                      Owned         No
                                       as Vectren Energy
    Easement                                                    West. Posey County, Indiana        Copy
                                    Delivery of Indiana, Inc.
                                     and Oeneus LLC d/b/a
                                       SAVATRAN LLC




                                                                                                                          Doc 228
SUGAR CAMP
     TO
McLEANSBORO
  RAIL LINE




                                                                                                      Filed 04/01/20 Entered 04/01/20 23:45:34
  ILLINOIS

                                     Kelly Markus & Gina                                      HC-0001 BK 216
                                                                 Pt. NESE 3-5-5 Hamilton




                                                                                                               Pg 173 of 1005
     Easement          10/17/2008   Markus to Oeneus LLC                                      Pg 156 Rail Road                                    Owned         Yes
                                                                   County IL 4.87 acres
                                    d/b/a SAVATRAN LLC                                           Easement.

                                    Gerald Spihlman & Judith     Pt. NESE 3-5-5 Hamilton      HC-0001 BK 216
     Easement          10/17/2008   Spihlman to Oeneus LLC         County IL 4.87 acres       Pg 147 Rail Road                                    Owned         Yes
                                    d/b/a SAVATRAN LLC                  273-252                  Easement.

                                    Thomas Markus & Jeanete                                   HC-0001 Bk 216
                                                                 Pt. NESE 3-5-5 Hamilton
     Easement          10/24/2008    Markus to Oeneus LLC                                     Pg 163 Rail Road                                    Owned         Yes
                                                                   County IL 4.87 acres
                                     d/b/a SAVATRAN LLC                                           Easement




                                                                                                                          Main Docum
Description/Title of                                                                              Recording                                         Owned      Subject to
                         Date              Parties                 Legal Description
    Document                                                                                     Information                                       or Leased   Mortgage

                                                                                               HC-0002 Bk 217
                                                                                                Pg 732 Initial




                                                                                                                            Case 20-41308
                                     White Oak Resources        Pt. SW/4 & SE/4 6-5-5
                                                                                               Option was with
     Easement          7/24/2008   Land, LLC to Oeneus LLC   Hamilton County IL containing                                                          Owned         Yes
                                                                                               Larry Myers who
                                      d/b/a SAVATRAN                  11.45 acres
                                                                                                sold to White
                                                                                                     Oak.

                                                                                               HC-0004 Taded
                                                                                                65.63 acres and




                                                                                                                            Doc 228
                                                                                               8.73 acres of the
                                                                                               W/2 NW/4 28-5-
                                                                  Pt. W/2 NW/4 28-5-5             5 to Clark.
                                   Charles R. Moore & Nani
                                                             containing 3 acres more or Less   Traded 137 acres




                                                                                                        Filed 04/01/20 Entered 04/01/20 23:45:34
  Warranty Deed        2/4/2008    Sue Moore to Oeneus LLC                                                                                          Owned         Yes
                                                             Pt. SWNE 29-5-5 containing 13      in NE/4 29-5-5
                                    d/b/a SAVATRAN LLC
                                                                   acres more or less.         Hamilton Co. IL
                                                                                                   to Burris.




                                                                                                                 Pg 174 of 1005
                                                                                                  Remaining
                                                                                               property for wet
                                                                                               lands mitigation.

                                     David Bert Lemke &
                                                                Pt. N/2 SE/4 1-T5S-R5E
                                     Shirley K. Lemke to                                       HC-0005 Bk 215
     Easement          9/24/2009                               Hamilton Co. IL containing                                                           Owned         Yes
                                      Oeneus LLC d/b/a                                             Pg 801
                                                                        10.16 ac
                                      SAVATRAN LLC




                                                                                                                            Main Docum
Description/Title of                                                                              Recording                                         Owned      Subject to
                         Date               Parties                  Legal Description
    Document                                                                                     Information                                       or Leased   Mortgage

                                   Terri S. Irvin, Successor
                                                                                               HC-0006 Bk 273
                                  Trustee to the Kenneth C.    SW NW; NW SW 1-T5S-R5E;




                                                                                                                            Case 20-41308
                                                                                                Pg 22 Traded
                                  Myers and Eula P. Myers       40 acres within E/2 NE/4 and
  Warranty Deed        12/19/2007                                                                part of this                                       Owned         Yes
                                  Revocable Trust to Oeneus        E/2 NE/4 11-T5S-R5E
                                                                                                 property to
                                   LLC d/b/a SAVATRAN                  Hamilton Co IL
                                                                                               Kenneth Willis.
                                              LLC

                                                                                               HC-0008 Bk 273
                                    Grover C. Galloway and                                     Pg 812 6.10 acres




                                                                                                                            Doc 228
                                                               W/2 SWSE; and E/2 SW/4 3-
                                    Mildred F. Galloway to                                       used for rail.
  Warranty Deed        5/28/2008                                T5S-R5E Hamilton Co IL                                                              Owned         Yes
                                      Oeneus LLC d/b/a                                             Farming
                                                                  containing 100 acres
                                      SAVATRAN LLC                                             agreement Kenny
                                                                                                    Waier.




                                                                                                        Filed 04/01/20 Entered 04/01/20 23:45:34
                                      Kenneth P. Willis &
 Special Warranty                     Wilma June Willis to     South 5 acres of NESE 2-T5S-    HC-0011 Bk 273
                       4/21/2008                                                                                                                    Owned         Yes




                                                                                                                 Pg 175 of 1005
      Deed                             Oeneus LLC d/b/a            R5E Hamilton Co. IL             Pg614
                                         SAVATRAN

                                      Wilma June Willis to        Pt. NW SE 3-T5S-R5E
                                                                                               HC-0012 Bk 273
  Warranty Deed        2/28/2008       Oeneus LLC d/b/a        Hamilton County IL containing                                                        Owned         Yes
                                                                                                   Pg 321
                                       SAVATRAN LLC                     7.02 acres

                                     Garry R. Heil & Karla       Pt. W/2 SW 16-T5S-R5E
                                                                                               HC-0014 Bk216
     Easement          11/3/2008    Heil to Oeneus LLC d/b/a    Hamilton Co. IL containing                                                          Owned         Yes
                                                                                                  Pg 221
                                          SAVATRAN                     10.08 acres




                                                                                                                            Main Docum
Description/Title of                                                                              Recording                                          Owned      Subject to
                         Date              Parties                  Legal Description
    Document                                                                                     Information                                        or Leased   Mortgage

                                                                                               HC-0015 Bk 274
                                    David Willett & Robin     Undivided 1/2 interest pt SE/4
                                                                                                Pg 445 Willett




                                                                                                                             Case 20-41308
  Warranty Deed        9/15/2009    Willett to Oeneus LLC     9-T5S-R5E Hamilton Co. IL                                                              Owned         Yes
                                                                                                 retained first
                                     d/b/a SAVATRAN               containing 40 acres
                                                                                               right of refusal.

                                                                                               HC-0016 Bk 274
                                                                                                Pg 535 The rail
                                                                                               line goes through
                                     Rickey L. Denham to
                                                              Pt. SE/4 9-T5S-R5E Hamilton        Mr. Denham's




                                                                                                                             Doc 228
  Warranty Deed        9/30/2008      Oeneus LLC d/b/a                                                                                               Owned         Yes
                                                               Co. IL containing 3.36 acres    residence we had
                                      SAVATRAN LLC
                                                                                                 to replace the
                                                                                                 residence and
                                                                                                      barn.




                                                                                                         Filed 04/01/20 Entered 04/01/20 23:45:34
                                   Melinda Hunter to Oeneus    Undivided 1/5 interest to pt    HC-0017 Bk 273
  Warranty Deed        2/5/2008    LLC d/b/a SAVATRAN         NW SE 3-T5S-R5E Hamilton          Pg 290 Bennett                                       Owned         Yes




                                                                                                                  Pg 176 of 1005
                                            LLC                Co. IL containing 7 acres.           Heirs.

                                                                                               HC-0018 Bk 273
                                                                                                Pg 293 Bennett
                                                                                                Heirs. We deed
                                   Joyce Annette Medley to    Undivided 1/20 interest to pt     her oil and gas
  Warranty Deed        2/4/2008       Oeneus LLC d/b/a        NW SE 3-T5S-R5E Hamilton          back Quitclaim                                       Owned         Yes
                                      SAVATRAN LLC            Co. IL containing 7.02 acres      Deed 273/478
                                                                                                  We did not
                                                                                               option the oil and
                                                                                                      gas.




                                                                                                                             Main Docum
Description/Title of                                                                                Recording                                         Owned      Subject to
                         Date               Parties                  Legal Description
    Document                                                                                       Information                                       or Leased   Mortgage

                                                               Pt. SW/4 31-5-5 & pt NW/4 6-     HC-0019 Bk 275
                                      Hobart J. Campbell &     T5S-R5E containing 9.27 acres;   Pg 506 Both rail




                                                                                                                              Case 20-41308
                                      Helen B. Campbell to          Pt. SW/4 31-T5S-R5E         right of way and
  Warranty Deed         5/7/2009                                                                                                                      Owned         Yes
                                       Oeneus LLC d/b/a        containing 1.84 acres; Pt NW/4    extra footage at
                                       SAVATRAN LLC              6-T5S-R5E containing 1.28      Macedonia road
                                                                    acres Hamilton Co. IL           crossing.

                                                                                                     HC-0020
                                     Daniel R. Tennyson to       Pt. NWSE 6-T5S-R6E 3.21        Retained only rail




                                                                                                                              Doc 228
  Warranty Deed        10/10/2006     Oeneus LLC d/b/a              acres Hamilton Co. IL          right of way                                       Owned         Yes
                                      SAVATRAN LLC                        270-595               traded remainder
                                                                                                     to Kirsch.




                                                                                                          Filed 04/01/20 Entered 04/01/20 23:45:34
                                       Oeneus LLC d/b/a                                         HC-0020 Bk 270
 Special Warranty                                              Pt. NEWS 6-T5S-R6E 13.003
                       05/052009    SAVATRAN LLC to Alan                                         Pg 595 Portion                                       Owned         Yes
      Deed                                                         acres Hamilton Co. IL
                                    Kirsch and Denise Kirsch                                    traded to Kirsch.




                                                                                                                   Pg 177 of 1005
                                    Wendell Myers & Judith         Pt. NESW 1-T5S-R5E           HC-0021 Bk 216
     Easement          2/17/2009     Myers to Oeneus LLC         Hamilton Co. IL containing     Pg 654 Rail right                                     Owned         Yes
                                    d/b/a SAVATRAN LLC                     5.37                 of way easement

                                      Marilyn Ann Lynn to      Undivided 1/20 interest to pt    HC-0022 Bk 273
  Warranty Deed         2/5/2008       Oeneus LLC d/b/a        NW SE 3-T5S-R5E Hamilton          Pg 287 Bennett                                       Owned         Yes
                                       SAVATRAN LLC            Co. IL containing 7.02 acres          Heirs




                                                                                                                              Main Docum
Description/Title of                                                                            Recording                                         Owned      Subject to
                         Date               Parties               Legal Description
    Document                                                                                   Information                                       or Leased   Mortgage

                                                                                             HC-0023 Bk 274
                                                                                              Pg 667 Bennett




                                                                                                                          Case 20-41308
                                                                                                Heirs; Mr.
                                                                                              Bennett refused
                                     Roy Dean Bennett to      Undivided 1/5 interest to pt
                                                                                             to close we filed
  Warranty Deed        10/25/2008     Oeneus LLC d/b/a       NW SE 3-T5S-R5E Hamilton                                                             Owned         Yes
                                                                                                  Specific
                                      SAVATRAN LLC            Co. IL containing 7 acres.
                                                                                               Performance
                                                                                              Complaint Mr.




                                                                                                                          Doc 228
                                                                                               Bennett then
                                                                                             decided to close.

                                                                                             HC-0024 Bk 273
                                                                                             Pg. 342 Bennett




                                                                                                      Filed 04/01/20 Entered 04/01/20 23:45:34
                                    Mary Ellen Tennyson to    Undivided 1/5 interest to pt
                                                                                               Heirs/ Mrs.
  Warranty Deed        2/20/2008      Oeneus LLC d/b/a       NW SE 3-T5S-R5E Hamilton                                                             Owned         Yes
                                                                                              Bennett has the
                                     SAVATRAN LLC             Co. IL containing 7 acres.
                                                                                                option to




                                                                                                               Pg 178 of 1005
                                                                                               repurchase.

                                                                                             HC-0025 Bk 273
                                                                                             Pg. 318 Bennett
                                      Robert L Bennett to     Undivided 1/5 interest to pt
                                                                                                Heirs/ Mr.
  Warranty Deed        2/20/2008      Oeneus LLC d/b/a       NW SE 3-T5S-R5E Hamilton                                                             Owned         Yes
                                                                                              Bennett has the
                                      SAVATRAN LLC            Co. IL containing 7 acres.
                                                                                                option to
                                                                                               repurchase.

                                      Joseph Rexing &        22.68 acres all in Township 5   HC-0027 Bk 276
  Warranty Deed        12/11/2009                                                                                                                 Owned         Yes
                                     Liudmyla Rexing to      S. Range 5 E Hamilton Co IL      Pg 628 Mr.




                                                                                                                          Main Docum
Description/Title of                                                                            Recording                                          Owned      Subject to
                         Date               Parties                Legal Description
    Document                                                                                   Information                                        or Leased   Mortgage

                                       Oeneus LLC d/b/a                                       Rexing Refused
                                       SAVATRAN LLC                                          to close filed suit




                                                                                                                           Case 20-41308
                                                                                              forced to close
                                                                                                    etc.

                                                                                             HC-0027 Bk Pg
                                      Oeneus LLC d/b/a       Pt. E/2 SW & pt. SENW of 20-
 Special Warranty                                                                              Remainder of
                       12/11/2009    SAVATRAN LLC to           T5S-R5E Hamilton Co. IL                                                             Owned         Yes
      Deed                                                                                    Judith Gregory
                                       Joseph Rexing             containing 112.13 acres
                                                                                             traded to Rexing.




                                                                                                                           Doc 228
                                                                                             HC-0028 Bk 271
                                                                                              Pg 93 Retained
                                                                                             only rail right of
                                                             Surface only pt W/2 NW and N




                                                                                                       Filed 04/01/20 Entered 04/01/20 23:45:34
                                     Betty Gibbs to Oeneus                                      way traded
                                                              10 Ac NWSW 10-T5S-R5E
  Warranty Deed        2/14/2007    LLC d/b/a SAVATRAN                                         remaining to                                        Owned         Yes
                                                              Hamilton Co. IL containing
                                             LLC                                               Alan Kirsch
                                                                      11.83 acres




                                                                                                                Pg 179 of 1005
                                                                                             Special Warranty
                                                                                             Deed Bk. 275 Pg
                                                                                                   503

                                                                                             HC-0029 Bk 212
                                    Jim Holms & Ruth Holms   Pt. SW/4 & pt. W/2 SE/ 2-T5S-     Pg 209 Mr.
     Easement          11/28/2006     to Oeneus LLC d/b/a         R5E Hamilton Co. IL         Holms has the                                        Owned         Yes
                                       SAVATRAN LLC               containing 13.17 acres      right to put a
                                                                                              portion of his
                                                                                              property to us




                                                                                                                           Main Docum
Description/Title of                                                                                  Recording                                        Owned      Subject to
                        Date                Parties                    Legal Description
    Document                                                                                         Information                                      or Leased   Mortgage

                                                                                                   upon completion
                                                                                                      of the rail.




                                                                                                                               Case 20-41308
                                                                                                   HC-0030 Bk 274
                                                                                                    Pg 401 Kenny
                                     Judith A. Peters and
                                                                 Undivided 1/2 interest in South    Waier has 10
                                     Charles W. Peters to
  Warranty Deed        9/5/2009                                  28.25 acres of W/2 SW 3-T5S-        year farming                                      Owned         Yes
                                      Oeneus LLC d/b/a
                                                                     R5E Hamilton Co. IL              lease. Must




                                                                                                                               Doc 228
                                      SAVATRAN LLC
                                                                                                    relocate RLC
                                                                                                     water main.

                                  Jerry L. Stiverson; Paula J.                                     HC-0032 Bk 274




                                                                                                           Filed 04/01/20 Entered 04/01/20 23:45:34
                                    Stiverson as individuals                                        Pg 463 Kenny
                                                                 Undivided 1/2 interest in South
                                    and as co-trustees of the                                      Waier has 10 yr
  Warranty Deed        9/3/2009                                  28.25 acres of W/2 SW 3-T5S-                                                          Owned         Yes
                                   Paula J Stiverson Trust to                                       farming lease.
                                                                     R5E Hamilton Co. IL




                                                                                                                    Pg 180 of 1005
                                       Oeneus LLC d/b/a                                             Must relocate
                                       SAVATRAN LLC                                                RLC water main.

                                                                                                   HC-0033 Bk 274
                                   Michael Hutchcraft and
                                                                  Undivided 1/2 interest in pt      Pg 412 Deed
Corrected Warranty                 Melissa Hutchcraft to
                       9/5/2008                                  SE/4 of 9-T5S-R5E containing        Corrected to                                      Owned         Yes
       Deed                          Oeneus LLC d/b/a
                                                                   40 acres Hamilton Co IL         waive homestead
                                    SAVATRAN LLC
                                                                                                        rights.




                                                                                                                               Main Docum
Description/Title of                                                                              Recording                                        Owned      Subject to
                         Date              Parties                  Legal Description
    Document                                                                                     Information                                      or Leased   Mortgage

                                                                                               HC-0034 Bk 271
                                                                                                 Pg 494 Rail




                                                                                                                           Case 20-41308
                                                                                                 design went
                                                                                                 through Ms.
                                                                                                Dennis house;
                                                                                               house purchased
                                   Laura Dennis f/k/a Laura
                                                              Pt NW NW 21-T5s-R5E being         and moved by
  Warranty Deed        5/17/2007   Lane to Oeneus LLC d/b/a                                                                                        Owned         Yes
                                                              300ft x 160ft. Hamilton Co. IL   Garry Heil. 0.17
                                         SAVATRAN




                                                                                                                           Doc 228
                                                                                                 acres of this
                                                                                                 property was
                                                                                                 conveyed to
                                                                                               Dennis Smith by




                                                                                                       Filed 04/01/20 Entered 04/01/20 23:45:34
                                                                                               Special Warranty
                                                                                                Deed 275/537

                                    Katherine McRoy f/k/a




                                                                                                                Pg 181 of 1005
                                   Katherine Smith; Donald
                                                              Pt. NW NW & Pt. NENW 21-
                                   McRoy; Dennis L. Smith                                      HC-0035 Bk275
  Warranty Deed        5/8/2009                               T5S-R5E 3.37 acres Hamilton                                                          Owned         Yes
                                     and Judy A. Smith to                                         Pg 541
                                                                        Co. IL
                                      Oeneus LLC d/b/a
                                      SAVATRAN LLC

                                   Michael D. Burris & Tina   Pt. SW/4 21 & Pt. SW NW 21-
                                                                                               HC-0039 Bk 274
  Warranty Deed        7/30/2008    Burris to Oeneus LLC      T5S-R5E Hamilton County IL                                                           Owned         Yes
                                                                                                   Pg237
                                   d/b/a SAVATRAN LLC              containing 15.72 acres




                                                                                                                           Main Docum
Description/Title of                                                                              Recording                                         Owned      Subject to
                         Date              Parties                  Legal Description
    Document                                                                                     Information                                       or Leased   Mortgage

                                                                                               HC-0039 Bk 274
                                      Oeneus LLC d/b/a
                                                                                               Pg234 Traded pt




                                                                                                                            Case 20-41308
 Special Warranty                   SAVATRAN LLC to           Pt. NE/4 29-T5S-R5E Hamilton
                       7/30/2008                                                                Charlie Moore                                       Owned         Yes
      Deed                         Michael D. Burris & Tina   Co. IL containing 136.17 acres
                                                                                                property HC-
                                            Burris
                                                                                                    0004

                                                                                               HC-0040 274 Pg
                                                                                                   715 Deed
                                                                                                 restriction of




                                                                                                                            Doc 228
                                    Robert J. Gray & Denise                                     single family
                                                              Pt. SE/4 9-T5S-R5E Hamilton
  Warranty Deed        11/6/2008   Gray to Oeneus LLC d/b/a                                     residence and                                       Owned         Yes
                                                                  Co. IL containing 51.93
                                      SAVATRAN LLC                                              grain farming
                                                                                               only Mr. Gray's




                                                                                                        Filed 04/01/20 Entered 04/01/20 23:45:34
                                                                                                son has a first
                                                                                               right of refusal.




                                                                                                                 Pg 182 of 1005
                                     Charles M. Bowers &
                                                               NE SE; W/2 SE NE 30-T5S-
                                   Tammy Bowers to Oeneus                                      HC-0041 Bk 272
  Warranty Deed        7/26/2007                                 R5E Hamilton Co. IL                                                                Owned         Yes
                                    LLC d/b/a SAVATRAN                                              Pg 1
                                                                  containing 60 acres.
                                             LLC

                                     Jeffrey A. Lueke and
                                                               Pt. NW/4 16-T5S-R5E 2.65
                                     Michele L. Lueke to                                       HC-0042 Bk 274
  Warranty Deed        10/2/2008                               acres; PT SWSE 9-T5S-R5E                                                             Owned         Yes
                                      Oeneus LLC d/b/a                                             Pg 587
                                                                0.02 acre Hamilton Co. IL
                                      SAVATRAN LLC




                                                                                                                            Main Docum
Description/Title of                                                                             Recording                                          Owned      Subject to
                         Date              Parties                  Legal Description
    Document                                                                                    Information                                        or Leased   Mortgage

                                     Jeffrey A. Lueke and
                                     Michele L. Lueke to       Pt. NW/4 16-T5S-R5E 8.64         HC-0042 Bk




                                                                                                                            Case 20-41308
  Warranty Deed        11/6/2007                                                                                                                    Owned         Yes
                                      Oeneus LLC d/b/a            acres Hamilton Co. IL          272/710
                                      SAVATRAN LLC

                                     Alan Kirsch & Denise      Pt. NE/4 6-T5S-R6E & PT
                                                                                                  HC-0043
  Warranty Deed        5/5/2009      Kirsch to Oeneus LLC     SESE 31-T4S-R6E 2.61 acres                                                            Owned         Yes
                                                                                                 Bk275/534
                                    d/b/a SAVATRAN LLC              Hamilton Co. IL




                                                                                                                            Doc 228
                                                                8.33 acres pt SESE and E/2
                                     Alan Kirsch & Denise     SWSE 9-T5S-R5E; 7.36 acres
                                                                                                HC-0043 Bk
     Easement          5/5/2009      Kirsch to Oeneus LLC      pt NE/4 6-T5S-R6E & SESE                                                             Owned         No
                                                                                                 217/300
                                    d/b/a SAVATRAN LLC        31-T4S-R6E; 2.70 ac pt NE 6-




                                                                                                        Filed 04/01/20 Entered 04/01/20 23:45:34
                                                                T5S-R6E Hamilton Co. IL

                                                                Pt. W/2 NW/4 10-T5S-R5E         HC-0043 Bk
                                      Oeneus LLC d/b/a         Hamilton Co. IL containing     275/503 (Traded




                                                                                                                 Pg 183 of 1005
 Special Warranty
                       5/5/2009    SAVATRAN LLC to Alan       11.51 & Pt W/2 NW/4 10-T5S-     the Betty Gibbs                                       Owned         Yes
      Deed
                                   Kirsch and Denise Kirsch     R5E containing 66.12 acres    property less rail
                                                                     Hamilton Co. IL             to Kirsch)

                                                                                                HC-0043 Bk
                                                                                              275/499 (Traded
                                      Oeneus LLC d/b/a           Pt. NW SE 6-T5S-R6E
 Special Warranty                                                                             the remainder of
                       5/5/2009    SAVATRAN LLC to Alan       Hamilton County IL containing                                                         Owned         Yes
      Deed                                                                                      the Tennyson
                                   Kirsch and Denise Kirsch            13.03 acres;
                                                                                                 property to
                                                                                                   Kirsch)




                                                                                                                            Main Docum
Description/Title of                                                                            Recording                                         Owned      Subject to
                         Date              Parties                 Legal Description
    Document                                                                                   Information                                       or Leased   Mortgage

                                                                                                HC-0044
                                                                                             274/711 (Kenny




                                                                                                                          Case 20-41308
                                    Kenneth A. Waier a/k/a
                                                             Pt SWSW & NWSW 32-T4S-          Waier has 10 yr
                                   Kenneth Waier to Oeneus
  Warranty Deed        11/6/2008                                  R6E Hamilton Co IL             farming                                          Owned         Yes
                                   LLC d/b/a SAVATRAN
                                                                 containing 18.17 acres        agreement
                                            LLC
                                                                                                Galloway
                                                                                                property)

                                                                                               HC-0045 Bk




                                                                                                                          Doc 228
                                                                                             275/462 Rail line
                                     James Lee Maller to                                     went through Mr.
                                                             Pt SW/4 31-T5S-R5E Hamilton
  Warranty Deed        4/26/2009      Oeneus LLC d/b/a                                        Mallers house                                       Owned         Yes
                                                               Co IL containing 5.11 acres
                                      SAVATRAN LLC                                            and barn both




                                                                                                      Filed 04/01/20 Entered 04/01/20 23:45:34
                                                                                                have been
                                                                                                removed.




                                                                                                               Pg 184 of 1005
                                                                                              HC-0045 Bk
                                                                                               2009-1998
                                                                                               Property to
                                     Oeneus LLC d/b/a           Pt. NE SE 36-T5S-R5E
 Special Warranty                                                                              purchase by
                       4/26/2009    SAVATRAN LLC to           Franklin Co IL containing 5                                                         Owned         Yes
      Deed                                                                                     SAVATAN
                                     James Lee Maller                    acres
                                                                                              2009-1206 to
                                                                                               replace Mr.
                                                                                             Mallers homesite.




                                                                                                                          Main Docum
Description/Title of                                                                             Recording                                          Owned      Subject to
                         Date               Parties                  Legal Description
    Document                                                                                    Information                                        or Leased   Mortgage

                                     Norman D. Melvin &
                                                                 Pt. S/2 SE/4 20-T5S-R5E
                                     Patricia K. Melvin to                                      HC-0046 Bk




                                                                                                                            Case 20-41308
  Warranty Deed        3/25/2009                                 Hamilton Co IL containing                                                          Owned         Yes
                                      Oeneus LLC d/b/a                                           275/310
                                                                         12.14 acres
                                      SAVATRAN LLC

                                   Gary Kearnery a/k/a Gary
                                                                Pt. SWSW 20-T5S-R5E & pt
                                    W. Kearnery to Oeneus                                         HC-0047
  Warranty Deed        4/3/2009                                NWNW 29-T5S-R5E Hamilton                                                             Owned         Yes
                                   LLC d/b/a SAVATRAN                                            Bk275/362
                                                                  Co. IL containing 5acres
                                            LLC




                                                                                                                            Doc 228
                                                                                                  HC-0049
                                                                                               Bk274/873 We
                                    Dale Miller & Denise        Pt. E/2 NW/4 31-T5S-R5E
                                                                                               agreed by letter
  Warranty Deed        12/8/2008    Miller to Oeneus LLC        Hamilton Co. IL containing                                                          Owned         Yes




                                                                                                        Filed 04/01/20 Entered 04/01/20 23:45:34
                                                                                               to relocate Mr.
                                   d/b/a SAVATRAN LLC                    7.51 acres
                                                                                                Millers water
                                                                                                     line.




                                                                                                                 Pg 185 of 1005
                                                                                                HC-0050 Bk
                                                                                                 275/109 We
                                                                                               agreed to build
                                   John M. Zelhart to Oeneus
                                                               Pt. NE/4 30-T5S-R5E Hamilton     him an access
  Warranty Deed        2/6/2009     LLC d/b/a SAVATRAN                                                                                              Owned         Yes
                                                                   Co IL containing 1.0 acre   road and gave
                                             LLC
                                                                                                him perpetual
                                                                                                 access to his
                                                                                                   property.




                                                                                                                            Main Docum
Description/Title of                                                                                Recording                                          Owned      Subject to
                         Date                Parties                   Legal Description
    Document                                                                                       Information                                        or Leased   Mortgage

                                      Donald G. Zelhart &
                                                                                                    HC-0051 Bk
                                    Margaret R. Zelhart as co-




                                                                                                                               Case 20-41308
                                                                  Undivided 1/2 interest to pt    275/663 Agreed
                                     Trustees of Donald G.
  Warranty Deed         3/6/2009                                  NE/4 30-T5S-R5E Hamilton        to gravel access                                     Owned         Yes
                                     Zelhart Living Trust to
                                                                  Co IL containing 4.11 acres          road &
                                       Oeneus LLC d/b/a
                                                                                                 repurchase rights
                                       SAVATRAN LLC

                                                                                                   HC-0053 Bk
                                      Judith G. Gregory to                                        274/52 Traded




                                                                                                                               Doc 228
                                                                 6 acres pt SESW 20-T5S-R5E
  Warranty Deed        6/24/2008       Oeneus LLC d/b/a                                          112 acres of this                                     Owned         Yes
                                                                        Hamilton Co IL
                                       SAVATRAN LLC                                               property to Joe
                                                                                                     Rexing.




                                                                                                           Filed 04/01/20 Entered 04/01/20 23:45:34
                                                                                                    HC-0056
                                       David Williams &                                            Bk274/141
                                      Brandee Williams to          Pt. NWNW 29-T5S-R5E           Purchased house
  Warranty Deed        7/16/2008                                                                                                                       Owned         Yes




                                                                                                                    Pg 186 of 1005
                                       Oeneus LLC d/b/a            Hamilton Co IL 0.65 acres        rail going
                                       SAVATRAN LLC                                              through garage.
                                                                                                  House rented.

                                                                                                   HC-0058 Bk
                                                                                                   274/664 Mr.
                                     Alva James Bennett to       Undivided 1/20th Pt NW SE 3-
                                                                                                  Bennett would
  Warranty Deed        10/24/2008     Oeneus LLC d/b/a            T5S-R5E Hamilton Co. IL                                                              Owned         Yes
                                                                                                 not close. Filed
                                      SAVATRAN LLC                   containing 7.02 acres
                                                                                                 partition suite to
                                                                                                  force closing.




                                                                                                                               Main Docum
Description/Title of                                                                                 Recording                                          Owned      Subject to
                         Date                Parties                  Legal Description
    Document                                                                                        Information                                        or Leased   Mortgage

                                                                                                     HC-0059 Bk
                                    Wanda G. Downs & Cecil      Undivided 1/2 interest pt NE/4     275/667 Agreed




                                                                                                                                Case 20-41308
  Warranty Deed         3/7/2009    L Downs to Oeneus LLC       30-T5S-R5E Hamilton Co IL          to gravel access                                     Owned         Yes
                                    d/b/a SAVATRAN LLC              containing 4.11 acres               road &
                                                                                                  repurchase rights.

                                     Robert A. Williams &                                          FC-0023 2008-
Corrected Warranty                   Barbara A. Williams to     Pt. SENE 1-T6S-R4E Franklin       6300 purchased
                       11/17/2008                                                                                                                       Owned         Yes
       Deed                            Oeneus LLC d/b/a             Co IL containing 4.474        house; house has




                                                                                                                                Doc 228
                                      SAVATRAN LLC                                                 been removed.

                                    James Gregory Payne, as
                                    trustee of James Gregory    Pt. E/2 NE 11-T6S-R4E & pt
                                                                                                   FC-0024 2008-




                                                                                                            Filed 04/01/20 Entered 04/01/20 23:45:34
  Warranty Deed        10/10/2008     Payne Trust to Oeneus     W/2 NW 12-T6S-R4E Franklin                                                              Owned         Yes
                                                                                                       5818
                                    LLC d/b/a SAVATRAN          Co. IL containing 15.33 acres
                                               LLC




                                                                                                                     Pg 187 of 1005
                                     James Gregory Payne, as
                                                                   Pt. SW NE 11-T6S-R4E
                                      trustee of Zulene Payne                                     FC-0025 2008-
  Warranty Deed        10/10/2008                               Franklin Co. IL containing 6.44                                                         Owned         Yes
                                    Trust to Oeneus LLC d/b/a                                         5817
                                                                             acres
                                         SAVATRAN LLC

                                    Reba L. Stokes Revocable
                                                                Pt. SW NE; NWSE;SWSE &
                                     Living Trust by Reba L.
                                                                 SESW 1-T6S-R4E NWNE;              FC-0029 2008-
  Warranty Deed        1/11/2008      Stokes & Kenneth D.                                                                                               Owned         Yes
                                                                NENW; N3/4 SE NW 12-T6S-               0603
                                      Stokes to Oeneus LLC
                                                                   R4E Franklin County IL
                                     d/b/a SAVATRAN LLC




                                                                                                                                Main Docum
Description/Title of                                                                               Recording                                        Owned      Subject to
                         Date                Parties                  Legal Description
    Document                                                                                      Information                                      or Leased   Mortgage

                                    Morris R. Clark & Karan
                                                                NE NE 1-T6S-R4E Franklin Co     FC-0031 2008-
  Warranty Deed         3/6/2008    S. Clark to Oeneus LLC                                                                                          Owned         Yes




                                                                                                                            Case 20-41308
                                                                        IL 40 acres                 1248
                                    d/b/a SAVATRAN LLC

                                    Morris R. Clark & Karan
                                                                 0.685 of the SE SE 36 T5S-     FC-0031 2008-
     Easement           3/6/2008    S. Clark to Oeneus LLC                                                                                          Owned         Yes
                                                                     R4E Franklin Co IL             1249
                                    d/b/a SAVATRAN LLC

                                                                                                    FC-0031




                                                                                                                            Doc 228
                                      Oeneus LLC d/b/a/                                            Bk273/361
                                                                 Pt. W/2 NW/4 28 T5S-R5E
 Special Warranty                    SAVATRAN LLC to                                            Traded remained
                        3/6/2008                                 Hamilton Co. IL containing                                                         Owned         Yes
      Deed                          Morris R. Clark & Karan                                     of Charlie Moore
                                                                         74.36 acres
                                            S. Clark                                               HC-0004 to




                                                                                                        Filed 04/01/20 Entered 04/01/20 23:45:34
                                                                                                     Clarks.

                                    Louise Harrison to Oeneus   Pt. NW corner SE NE 1-T6S-         FC-0134
                                                                                                  #2008-1877




                                                                                                                 Pg 188 of 1005
 Quit Claim Deed        4/7/2008     LLC d/b/a SAVATRAN         R4E Franklin Co IL containing                                                       Owned         Yes
                                              LLC                           1.26                 Rec. 4/8/2008

                                    Louise Harrison to Oeneus                                      FC-0134
                                                                Pt. SE NE 1-T6S-R4E Franklin      #2009-5371
 Quit Claim Deed       10/28/2009    LLC d/b/a SAVATRAN                                                                                             Owned         Yes
                                                                            Co IL
                                              LLC                                               Rec. 11/2/2009

    POND CREEK TO SUGAR CAMP CONNECTOR
                   ROUTE




                                                                                                                            Main Docum
Description/Title of                                                                            Recording                                         Owned      Subject to
                         Date               Parties                 Legal Description
    Document                                                                                   Information                                       or Leased   Mortgage

                                                                                                FC-0086
                                                                                              Purchase rail




                                                                                                                          Case 20-41308
 Recording Memo                      John H. Wiegand and                                      right of way.
                                                               Pt. W/2 NE 10; Pt. NE NE10
  and Option to        9/14/2007      Oeneus LLC d/b/a                                                                                            Owned         No
                                                                T7S; R4E Franklin Co. IL
    Purchase                          SAVATRAN LLC                                            #2007-5356

                                                                                             Rec. 9/21/2007

                                                                                                 FC-0086




                                                                                                                          Doc 228
                                                                                               Purchase rail
 Recording Memo                      John H. Wiegand and                                    right of way opt 2
                                                               Pt. W/2 NE 10; Pt. NE NE10       or plan B.
  and Option to        1/15/2008      Oeneus LLC d/b/a                                                                                            Owned         No
                                                                T7S; R4E Franklin Co. IL
    Purchase                          SAVATRAN LLC
                                                                                              #2008-0338




                                                                                                      Filed 04/01/20 Entered 04/01/20 23:45:34
                                                                                             Rec. 1/17/2008

                                                                                                FC-0087




                                                                                                               Pg 189 of 1005
                                     Donald L. Bennett and                                    Purchase rail
 Recording Memo                                                                               right of way.
                                   Sharla Bennett and Oeneus   Pt. W/2 NW 14; Pt NW SW 14
  and Option to        9/18/2007                                                                                                                  Owned         No
                                    LLC d/b/a SAVATRAN            T6S R4E Franklin Co. IL
    Purchase                                                                                  #2007-5293
                                             LLC
                                                                                             Rec. 9/19/2007

 Recording Memo                                                                                 FC-0106
                                   Daniel E. Harmon & Terri      Pt. W/2 NW 2 T7S R4E
  and Option to        10/8/2007                                                              Purchase rail                                       Owned         No
                                    J. Harmon and Oeneus             Franklin Co. IL
    Purchase                                                                                  right of way.




                                                                                                                          Main Docum
Description/Title of                                                                            Recording                                          Owned      Subject to
                         Date               Parties                Legal Description
    Document                                                                                   Information                                        or Leased   Mortgage

                                     LLC d/b/a SAVATRAN                                        #2007-5836
                                              LLC




                                                                                                                           Case 20-41308
                                                                                             Rec.10/11/2007

                                                                                                 FC-0108
                                      Olen Max Harmon &                                        Purchase rail
 Recording Memo                                                                                right of way.
                                      Becky J Harmon and        Pt. W/2 SW 35 T6S R4E
  and Option to        10/10/2007                                                                                                                  Owned         No
                                       Oeneus LLC d/b/a              Franklin Co IL
    Purchase                                                                                   #2007-5930
                                       SAVATRAN LLC




                                                                                                                           Doc 228
                                                                                             Rec. 10/16/2007

 Recording Memo                      Michael Pike & Brenda                                       FC-0109
                                                                Pt. SE NE 27 T7S R4E
  and Option to        10/11/2007     Pike and Oeneus LLC                                      Purchase rail                                       Owned         No
                                                                    Franklin Co. IL




                                                                                                       Filed 04/01/20 Entered 04/01/20 23:45:34
    Purchase                         d/b/a SAVATRAN LLC                                        right of way.

                                                                                             FC-110 Purchase
                                     Marion Tow, George M.                                   rail right of way.




                                                                                                                Pg 190 of 1005
 Recording Memo
                                    Tow & Karen L Tow and    Pt. SESE 27 T7S R4E Franklin
  and Option to        10/12/2007                                                                                                                  Owned         No
                                    Oeneus LLC SAVATRAN                 Co. IL                 #2007-5931
    Purchase
                                             LLC
                                                                                             Rec. 10/16/2007

                                    Marion Tow, George M.                                    FC-110 Purchase
 Recording Memo
                                    Tow & Karen L Tow and    Pt. SE SE 22 T7S R4E Franklin    of 12.1 acres in
  and Option to         7/2/2008                                                                                                                   Owned         No
                                      Oeneus LLC d/b/a                   Co. IL              addition to right
    Purchase
                                      SAVATRAN LLC                                                of way.




                                                                                                                           Main Docum
Description/Title of                                                                             Recording                                         Owned      Subject to
                         Date                Parties                 Legal Description
    Document                                                                                    Information                                       or Leased   Mortgage

                                                                                                #2008-3632
                                                                                               Rec. 7/3/2008




                                                                                                                           Case 20-41308
                                                                                                   FC-0111
                                                                                               Purchase of old
                                                                                              rail bed. Hunting
                                    Carlton Heifner and Dixie
                                                                Pt. W/2 SW SW 22-T7S-R4E      Lease to Marion
  Warranty Deed        10/26/2007   Heifner and Oeneus LLC                                                                                         Owned         Yes
                                                                    Franklin Co. IL 6 acres    Tow along rail
                                    d/b/a SAVATRAN LLC
                                                                                                     bed.




                                                                                                                           Doc 228
                                                                                               FC 2007-6200
                                                                                                Rec. 10/29/07

                                                                                                 FC-0112




                                                                                                       Filed 04/01/20 Entered 04/01/20 23:45:34
                                                                                              Purchased house
                                    Andrew C. Julian & Susan
                                                                 Pt.SW SE 10- T7S-R4E         and rail right of
  Warranty Deed        4/25/2008    E. Julian and Oeneus LLC                                                                                       Owned         Yes
                                                                Franklin Co. IL 27.72 acres     way. House
                                     d/b/a SAVATRAN LLC




                                                                                                                Pg 191 of 1005
                                                                                               Rented to Eric
                                                                                                  Smith.

                                                                                                  FC-0113
 Recording Memo                     Gary L. Manis and Sharon                                    Purchase rail
                                                                 Pt. SW NW 26-T6S-R4E
  and Option to        10/15/2007   L. Manis and Oeneus LLC                                     right of way.                                      Owned         No
                                                                 Franklin Co. IL 4.65 acres
    Purchase                         d/b/a SAVATRAN LLC                                        FC 2007-5932
                                                                                               Rec. 10/16/07




                                                                                                                           Main Docum
Description/Title of                                                                                 Recording                                         Owned      Subject to
                         Date                Parties                   Legal Description
    Document                                                                                        Information                                       or Leased   Mortgage

                                                                                                      FC-0114
 Recording Memo                      Eddie Essary and Eliane                                        Purchase rail




                                                                                                                               Case 20-41308
                                                                    Pt. NWSW 2-T7S-R4E
  and Option to        10/19/2007    Essary and Oeneus LLC                                          right of way.                                      Owned         No
                                                                   Franklin Co. IL 2.25 acres
    Purchase                         d/b/a SAVATRAN LLC                                            FC 2007-6078
                                                                                                   Rec. 10/23/07

                                                                                                      FC-0115
                                                                                                    Purchase rail
 Recording Memo                     Cora Jane Taylor & Beth       Pt. S/2 NW 1; Pt.NWSW 11-
                                                                                                  right of way and




                                                                                                                               Doc 228
  and Option to        10/22/2007   Benns and Oeneus LLC         T6S-R4E Franklin Co IL 24.86                                                          Owned         No
                                                                                                  additional acres.
    Purchase                        d/b/a SAVATRAN LLC                       acres
                                                                                                   FC 2007-6252
                                                                                                    Rec. 10/31/07




                                                                                                           Filed 04/01/20 Entered 04/01/20 23:45:34
                                                                                                      FC-0122
                                                                     Pt.NWNE 15 T7S-R4E
 Recording Memo                     David R. Payne & Rhonda                                         Purchase rail
                                                                 containing 9 ac; Pt. NW NW 26
  and Option to        11/9/2007     Payne and Oeneus d/b/a                                         right of way.                                      Owned         No
                                                                 T7S-R4E containing 4.64 acres




                                                                                                                    Pg 192 of 1005
    Purchase                           SAVATRAN LLC                                                FC 2007-6524
                                                                         Franklin Co. IL
                                                                                                   Rec. 11/14/07

                                       Robert G. Buntin and
                                       Marjorie A. Buntin as                                         FC-0123
                                     Trustees of the Robert G.     Pt. SW/4 23-6-4 Franklin
                                                                                                   Purchase rail
                                      Buntin and Marjorie A.     County IL 7.07 acres; Pt. NW/4
  Warranty Deed        4/14/2008                                                                   right of way.                                       Owned         Yes
                                    Buntin Joint Living Trust,    23 and Pt. SW/14 T64-R4E
                                                                                                  FC-2008-2074
                                      and Michael M. Buntin         Franklin Co 16.14 acres
                                                                                                  Rec. 4/17/2008
                                       and Brenda Buntin as
                                    Trustees of the Michael M.




                                                                                                                               Main Docum
Description/Title of                                                                            Recording                                         Owned      Subject to
                         Date               Parties                Legal Description
    Document                                                                                   Information                                       or Leased   Mortgage

                                    Buntin and Brenda Buntin
                                     Joint Living Trust and




                                                                                                                          Case 20-41308
                                       Oeneus LLC d/b/a
                                          SAVATRAN




                                                                                                 FC-0125




                                                                                                                          Doc 228
                                                                                             Purchase of rail
 Recording Memo                     Ruth E. Sweet & Danny                                   right of way. Will
                                                                Pt. W/2 SW 35 T7S R4E
  and Option to        11/12/2007   Sweet and Oeneus LLC                                     plant trees along                                    Owned         No
                                                               Franklin Co. IL 7.48 acres
    Purchase                        d/b/a SAVATRAN LLC                                         right of way




                                                                                                      Filed 04/01/20 Entered 04/01/20 23:45:34
                                                                                              FC-2007-6522
                                                                                              Rec. 11/14/07




                                                                                                               Pg 193 of 1005
                                                                                                FC-0126
                                                                                             Purchase of rail
                                                                                              right of way.
 Recording Memo                     Ruth E. Sweet and Oeneus                                    Purchased
                                                                Pt.SWNW 35 T7S R4E
  and Option to        11/12/2007    LLC d/b/a SAVATRAN                                      modular home                                         Owned         No
                                                               Franklin Co. IL 0.63 acres
    Purchase                                  LLC                                           and then sold and
                                                                                               had moved.
                                                                                             FC 2007-6523
                                                                                              Rec. 11/14/07




                                                                                                                          Main Docum
Description/Title of                                                                                Recording                                         Owned      Subject to
                         Date                Parties                  Legal Description
    Document                                                                                       Information                                       or Leased   Mortgage

                                    James Gregory Payne, as                                         FC-0130
                                     trustee James Gregory       Pt. E/2 SE NW & SW/4 11         Purchase of rail




                                                                                                                              Case 20-41308
  Warranty Deed        4/23/2009    Payne Trust and Oeneus      T6S-R4E Franklin Co. Il 5.83      right of way.                                       Owned         Yes
                                    LLC d/b/a SAVATRAN                      acres                FC 2009-2110
                                               LLC                                                 Rec. 5/4/09

                                                                                                     FC-0131
                                                                                                 Purchase of rail
                                    Ted Lawrence as Trustee                                      right of way and




                                                                                                                              Doc 228
 Recording Memo
                                    of the Lawrence Trust and      Pt. W/2 SW 2 T7S-R4E            isolated land.
  and Option to        11/28/2007                                                                                                                     Owned         No
                                        Oeneus LLC d/b/a          Franklin Co. IL 9.52 acres     Must plant trees
    Purchase
                                        SAVATRAN LLC                                                 along rail
                                                                                                  FC 2007-6806




                                                                                                          Filed 04/01/20 Entered 04/01/20 23:45:34
                                                                                                   Rec. 11/28/07

                                                                                                    FC-0132
                                    Robert Leon McClerren &




                                                                                                                   Pg 194 of 1005
 Recording Memo                                                 Pt. NWSW 35 1.34 acres & Pt.     Purchase of rail
                                     Cynthia McClerren and
  and Option to        11/30/2007                               W/2 NW 35 T7S-R4E Franklin        right of way.                                       Owned         No
                                       Oeneus LLC d/b/a
    Purchase                                                             Co. IL                  FC 2007-6905
                                       SAVATRAN LLC
                                                                                                  Rec.12/4/07

                                                                                                       FC-0132
                                    Robert Leon McClerren &                                         Purchase rail
 Recording Memo
                                    Robert G. McClerren and     Pt. SW/4 & Pt. NW SE 15 T7S      right of way need
  and Option to         9/5/2008                                                                                                                      Owned         No
                                       Oeneus LLC d/b/a         R4E Franklin Co. IL 8.17 acres       to go around
    Purchase
                                       SAVATRAN LLC                                                 Jason Knight.
                                                                                                   FC 2008-5188




                                                                                                                              Main Docum
Description/Title of                                                                              Recording                                         Owned      Subject to
                         Date               Parties                  Legal Description
    Document                                                                                     Information                                       or Leased   Mortgage

                                                                                                Rec. 9/18/08




                                                                                                                            Case 20-41308
                                                                                                   FC-0133
                                    Robert Shane Croslin and
 Recording Memo                                                 pt. NWNW 35 4.53 acres; Pt.      Purchase rail
                                    Jodi Croslin and Oeneus
  and Option to        11/28/2007                               SWSW 26; Pt. NESE 27 4.71        right of way.                                      Owned         No
                                    LLC d/b/a SAVATRAN
    Purchase                                                   acres T7S-R4E Franklin Co IL     FC 2007-6904
                                              LLC
                                                                                                 Rec. 12/4/07




                                                                                                                            Doc 228
                                      Anita Miller, Trustee                                        FC-0136
                                     Anita Miller Revocable                                    Purchase of rail
                                    Living Trust, and Oneida                                   right of way and
                                                                  Pt. S/2 SW 11-T6S-R4E
                                    Ann Murphy as Trustee of                                   DESIGNATED
  Warranty Deed        8/13/2008                                 Franklin Co IL containing                                                          Owned         Yes




                                                                                                        Filed 04/01/20 Entered 04/01/20 23:45:34
                                     the John Robert Miller                                     WET LANDS
                                                                         57.31 acres.
                                     Revocable Living Trust                                         BANK
                                     and Oeneus LLC d/b/a                                       FC 2008-5406




                                                                                                                 Pg 195 of 1005
                                       SAVATRAN LLC                                              Rec. 8/14/08

                                                                                                  FC-0137
                                     Stewart B Hungate and     N/2 NE 27-T7S-4E Franklin Co    Purchase of rail
  Warranty Deed        2/27/2009       Oeneus LLC d/b/a          IL containing 80 acres & a     right of way.                                       Owned         Yes
                                       SAVATRAN LLC              perpetual access easement     FC 2009-1017
                                                                                                Rec. 2/27/09

                                                                                                   FC-0139
 Recording Memo        1/18/2008      R. Ernest Payne &         Pt. W/2 E/2 Section 15 T7S-    Purchase of rail                                     Owned         No
  and Option to                      Dorothy M. Payne and       R4E containing 12 acres; Pt.   right of way and
                                                                                               rail right of way




                                                                                                                            Main Docum
Description/Title of                                                                               Recording                                          Owned      Subject to
                         Date              Parties                  Legal Description
    Document                                                                                      Information                                        or Leased   Mortgage

  Purchase and                        Oeneus LLC d/b/a             NE/4 of 22 T7S-R4E             around Jason
 Amendment One                        SAVATRAN LLC                containing 23.33 acres             Knight.




                                                                                                                              Case 20-41308
                                                                                                 FC-2017-0389
                                                                                                 Rec. 1/18/08

                                                                                                    FC-0142
 Recording Memo                     Amos Clay Ing & Jo Ann       Pt. W/2 SE 10 T7S-R4E           Purchase of rail
  and Option to        2/19/2008   Ing and Oeneus LLC d/b/a   Franklin Co. IL containing 4.64     right of way.                                       Owned         No
    Purchase                           SAVATRAN LLC                        acres                 FC 2008-1101




                                                                                                                              Doc 228
                                                                                                  Rec. 2/28/08

                                                                                                    FC-0145
                                     Donald W. Manis &
 Recording Memo                                                Pt. W/2 NW 35; Pt. W/2 SW         Purchase of rail
                                     Delores J. Manis and




                                                                                                          Filed 04/01/20 Entered 04/01/20 23:45:34
  and Option to        3/5/2008                                26 T6S-R4E Franklin Co IL          right of way.                                       Owned         No
                                      Oeneus LLC d/b/a
    Purchase                                                           18.36 acres.              FC 2008-1225
                                      SAVATRAN LLC
                                                                                                   Rec. 3/5/08




                                                                                                                   Pg 196 of 1005
                                                                                                    FC-0152
                                    Dale Wes Williford &                                        Purchased for rail
                                                              N/2 NWNE 20 ac ±; N 10 ac
                                    Melissa R Williford to                                        loop at Sugar
  Warranty Deed        5/28/2008                              NE NE T6S-R4E Franklin Co                                                               Owned         Yes
                                     Oeneus LLC d/b/a                                                Camp.
                                                                         IL
                                     SAVATRAN LLC                                                FC 2008-2907
                                                                                                  Rec. 5/28/08




                                                                                                                              Main Docum
Description/Title of                                                                               Recording                                         Owned      Subject to
                         Date               Parties                  Legal Description
    Document                                                                                      Information                                       or Leased   Mortgage

                                                                                                   FC-0159
                                                               Pt. NW SW 22-T7S-R4E 4.60
                                                                                                Purchased rail




                                                                                                                             Case 20-41308
                                     Mauris D Kern a/k/a        ac; Pt. NW SW 22 T7S-R4E
                                                                                                 right of way
                                    Mauris Kern and Oeneus      3.86 ac; Pt. S/2 S/2 22 T7S-
  Warranty Deed        11/6/2009                                                                around Jason                                         Owned         Yes
                                    LLC d/b/a SAVATRAN         R4E 39.01 ac; Pt. S/2 S/2 22 &
                                                                                                    Knight.
                                             LLC                NE NW 27 T7S-R4E 57.69
                                                                                                FC 2009-5485
                                                                    acres Franklin Co IL
                                                                                                 Rec. 11/6/09

                                                                                                   FC-0160




                                                                                                                             Doc 228
                                                                                                Purchased rail
                                    Louis S Ison & Rose Ison                                     right of way
                                                                 Pt. W/2 NW 22 T7S-R4E
  Warranty Deed        11/3/2009     and Oeneus LLC d/b/a                                        around Jason                                        Owned         Yes
                                                                 Franklin Co IL 9.26 acres
                                       SAVATRAN LLC                                                 Knight.




                                                                                                         Filed 04/01/20 Entered 04/01/20 23:45:34
                                                                                                FC 2009-6069
                                                                                                Rec. 12/14/09




                                                                                                                  Pg 197 of 1005
                                    Kenneth D. Summers &                                            FC-0161
 Recording Memo                                                Pt. NE SE 22; Pt. NWSW 23
                                    Shelia K Summers and                                          Purchase rail
  and Option to         9/8/2008                               T6S-R4E Franklin Co IL 9.31                                                           Owned         No
                                      Oeneus LLC d/b/a                                          right of way and
    Purchase                                                              acres
                                      SAVATRAN LLC                                                isolated land.

                                                                                                    WC-0106
                                                                Pt. W/2 NW 2-T8S-R4E; Pt.
 Recording Memo                     Irene Wilkas and Oeneus                                       Purchase rail
                                                               NW SW 2 T8S-R4E; Pt. NESE
  and Option to        10/25/2007   LLC d/b/a SAVATRAN                                          right of way and                                     Owned         No
                                                               3 T8S-R4E Williamson County
    Purchase                                  LLC                                                 isolated land.
                                                                      IL 15.73 acres.
                                                                                                    FC 308-59




                                                                                                                             Main Docum
Description/Title of                                                                                Recording                                        Owned      Subject to
                         Date                Parties                   Legal Description
    Document                                                                                       Information                                      or Leased   Mortgage

                                      Central Illinois Public                                     WC-0142 rail
                                      Service d/b/a Ameren         Pt. NW NW 2 T8S-R4E            easement. FC




                                                                                                                             Case 20-41308
     Easement          6/30/2008                                                                                                                     Owned         Yes
                                      CIPS and Oeneus LLC          Williamson Co IL 0.36 ac       312-800 Rec.
                                     d/b/a SAVATRAN LLC                                              7/22/08

SHAWNEETOWN RAIL LINE

                                                                  Pt. S/2 NE & Pt. N/2 SE 20
                                                                                                  SC-0009 Farm
                                    Jeffrey J. Drone & Toni L.   T9S-R7E; W/2 NW 28; E/2 NE




                                                                                                                             Doc 228
                                                                                                  Leased to Jeff
  Warranty Deed         3/1/2007      Drone to Oeneus LLC         29 & access road T9S- R7E                                                          Owned         Yes
                                                                                                 Drone. FC 1900-
                                      d/b/a SAVATAN LLC           Saline Co. IL containing 227
                                                                                                 423 Rec. 3/2/07
                                                                              acres.




                                                                                                         Filed 04/01/20 Entered 04/01/20 23:45:34
                                                                                                  SC-0017 Farm
                                     Jimmie G. Rodgers &
                                                                                                  Leased to Jeff
                                    Billie Rodgers to Oeneus     E/2 NW 4 T9S-R6E Saline Co
  Warranty Deed        11/20/2007                                                                Drone. FC 1927-                                     Owned         Yes
                                    LLC d/b/a SAVATRAN                   IL 80 acres




                                                                                                                  Pg 198 of 1005
                                                                                                    505 Rec.
                                              LLC
                                                                                                    11/27/07

                                                                                                  SC-0017 Farm
                                       Oeneus LLC d/b/a
                                                                                                  Leased to Jeff
                                     SAVATRAN to Jimmie          Pt. SE 20 T9S-R7E Saline Co
  Warranty Deed        11/20/2007                                                                Drone. FC 1927-                                     Owned         Yes
                                      G. Rodgers & Billie               IL 89.864 acres
                                                                                                    509 Rec.
                                           Rodgers
                                                                                                    11/27/07

                                    James D. Kuhlman and         NW NE 3 T9S-R6E Saline Co         SC-0018 All
  Warranty Deed        8/29/2007                                                                                                                     Owned         Yes
                                    Andrew M. Freebourn to              IL 40 acres               woods no farm




                                                                                                                             Main Docum
Description/Title of                                                                            Recording                                         Owned      Subject to
                         Date             Parties                Legal Description
    Document                                                                                   Information                                       or Leased   Mortgage

                                     Oeneus LLC d/b/a                                         lease. FC 1921-
                                     SAVATRAN LLC                                            423 Rec. 8/30/07




                                                                                                                          Case 20-41308
                                                             six parcels lying in Gallatin      GC-0004
                                                            County beginning at Equality     Abandoned Rail
                                   CST Transportation Inc   and ending at Shawneetown          Line across
 Quit Claim Deed       5/23/2007                                                                                                                  Owned         Yes
                                   and SAVATRAN LLC           individually referred to as    Gallatin County.
                                                               Tracts 1,4,5A,6,8,and 42       501-111 Rec.
                                                               containing 21.809 acres           5/24/07




                                                                                                                          Doc 228
                                                                                                      Filed 04/01/20 Entered 04/01/20 23:45:34
                                                                                                               Pg 199 of 1005
                                                                                                                          Main Docum
Debtor Grantor:

ADENA RESOURCES, LLC




                                                                                                                            Case 20-41308
Description/Title of   Date       Parties                       Brief Legal Description              Recording                                     Owned       Subject
Document                                                                                             Information                                   or Leased   to
                                                                                                                                                               Mortgage
Easement               5/6/2009   Mason, Marilyn Trustee &      Pt. SW Sec 31-5-3 & Pt. NW Sec       Water &                                       Owned       No
                                  Adena Resources               6-6-3 as described                   power lines,
                                                                                                     Complete,
                                                                                                     FC-0213,
                                                                                                     FC2009-




                                                                                                                            Doc 228
                                                                                                     2758




                                                                                                        Filed 04/01/20 Entered 04/01/20 23:45:34
Debtor/ Grantor:

AMERICAN CENTURY TRANSPORT LLC




                                                                                                                 Pg 200 of 1005
                                                                                                                                                   Owned
Description/Title of   Date       Parties                       Brief Legal Description              Recording                                     or          Subject
Document                                                                                             Information                                   Leased      to
                                                                                                                                                               Mortgage
Special Warranty       1/8/2016   American Energy Corporation   See legal description set forth in   20160000042                                   Owned       Yes
Deed                              to American Century           the deed.                            7
                                  Transport LLC




                                                                                                                            Main Docum
                                                                                                                                                                      54



                                                             Schedule 5.08(c)

                                                       Leased Material Real Property




                                                                                                                            Case 20-41308
DEBTOR/GRANTOR:

HILLSBORO ENERGY LLC
12051 N. 9th Avenue
Hillsboro, IL 62049

Montgomery County, Illinois




                                                                                                                            Doc 228
Bond County, Illinois (Coal Reserves only)



 Description/Title of   Date                 Parties            Brief Legal Description    Recording                                               Owned or   Subject to




                                                                                                        Filed 04/01/20 Entered 04/01/20 23:45:34
     Document                                                                             Information                                               Leased    Mortgage

 Coal Mining Lease      10/10/2009      WPP LLC to                 No. 6 coal seam           NOT                                                    Leased




                                                                                                                 Pg 201 of 1005
   and Sublease                        Hillsboro Energy                                   RECORDED
    Agreement                                LLC

 Short Form of Lease    10/10/2009      WPP LLC to                 No. 6 coal seam        MC 1346-428                                               Leased
     (Hillsboro)                       Hillsboro Energy
                                             LLC

Amendment No. 1 to       1/11/2010      WPP LLC to                 No. 6 coal seam           NOT                                                    Leased
 the Coal Mining                       Hillsboro Energy                                   RECORDED
Lease and Sublease                           LLC
    Agreement




                                                                                                                            Main Docum
                                                                                                                                                              55



Description/Title of    Date             Parties        Brief Legal Description    Recording                                               Owned or   Subject to
    Document                                                                      Information                                               Leased    Mortgage

Short Form of Lease     1/11/2010     WPP LLC to           No. 6 coal seam        MC 1367-226                                               Leased
    (Hillsboro)                      Hillsboro Energy




                                                                                                                    Case 20-41308
                                           LLC

Amendment No. 2 to       10/4/2010    WPP LLC to           No. 6 coal seam           NOT                                                    Leased
 the Coal Mining                     Hillsboro Energy                             RECORDED
Lease and Sublease                         LLC
    Agreement




                                                                                                                    Doc 228
   Amended and          10/4/2010     WPP LLC to           No. 6 coal seam        MC 1412-134                                               Leased
Restated Short Form                  Hillsboro Energy
   of Lease After                          LLC                                    BC 917-329
   Closing 4 and




                                                                                                Filed 04/01/20 Entered 04/01/20 23:45:34
Closing 5 (Hillsboro)

Amendment No. 3 to      1/13/2011     WPP LLC to           No. 6 coal seam           NOT                                                    Leased
 the Coal Mining                     Hillsboro Energy                             RECORDED




                                                                                                         Pg 202 of 1005
Lease and Sublease                         LLC
    Agreement

   Amended and          1/13/2011     WPP LLC to           No. 6 coal seam        MC 1426-275                                               Leased
Restated Short Form                  Hillsboro Energy
   of Lease After                          LLC
Closing 3 (Hillsboro)




                                                                                                                    Main Docum
                                                                                                                                                                 56



Description/Title of    Date            Parties          Brief Legal Description      Recording                                               Owned or   Subject to
    Document                                                                         Information                                               Leased    Mortgage

   Amended and           2/2/2012    WPP LLC to             No. 6 coal seam          MC 1477-459                                               Leased
Restated Short Form                 Hillsboro Energy




                                                                                                                       Case 20-41308
   of Lease After                         LLC                                        BC 964-143
Closing 6 (Hillsboro)

   Amended and          8/21/2012    WPP LLC to             No. 6 coal seam             NOT                                                    Leased
Restated Short Form                 Hillsboro Energy                                 RECORDED
  of Lease After                          LLC




                                                                                                                       Doc 228
   Closing 7 & 8
    (Hillsboro)

 Coal Mining Lease      9/21/2007    Montgomery             No. 6 coal seam             NOT                                                    Leased
    Agreement                       Mineral LLC to                                   RECORDED




                                                                                                   Filed 04/01/20 Entered 04/01/20 23:45:34
                                    Hillsboro Energy
                                          LLC




                                                                                                            Pg 203 of 1005
    First Partial       9/9/2009     Montgomery        Terminated leasehold rights      NOT                                                    Leased
Termination of Lease                Mineral LLC to      to certain No. 6 coal seam   RECORDED
                                    Hillsboro Energy
                                          LLC

   Second Partial       1/8/2010     Montgomery        Terminated leasehold rights      NOT                                                    Leased
Termination of Lease                Mineral LLC to      to certain No. 6 coal seam   RECORDED
                                    Hillsboro Energy
                                          LLC




                                                                                                                       Main Docum
                                                                                                                                                                57



Description/Title of   Date            Parties          Brief Legal Description      Recording                                               Owned or   Subject to
    Document                                                                        Information                                               Leased    Mortgage

   Third Partial       10/4/2010    Montgomery        Terminated leasehold rights      NOT                                                    Leased
Termination of Lease               Mineral LLC to      to certain No. 6 coal seam   RECORDED




                                                                                                                      Case 20-41308
                                   Hillsboro Energy
                                         LLC

   Fourth Partial      1/13/2011    Montgomery        Terminated leasehold rights      NOT                                                    Leased
Termination of Lease               Mineral LLC to      to certain No. 6 coal seam   RECORDED
                                   Hillsboro Energy
                                         LLC




                                                                                                                      Doc 228
 Coal Mining Lease     8/12/2010     Colt LLC to           No. 6 coal seam             NOT                                                    Leased
(For “Reserve 1” and               Hillsboro Energy                                 RECORDED
    “Reserve 3”)                         LLC




                                                                                                  Filed 04/01/20 Entered 04/01/20 23:45:34
   Short Form or       8/12/2010     Colt LLC to           No. 6 coal seam          MC 1399-176                                               Leased
  Memorandum of                    Hillsboro Energy
 Coal Mining Lease                       LLC                                        BC 910-257




                                                                                                           Pg 204 of 1005
(For “Reserve 1” and
    “Reserve 3”)


 Coal Mining Lease     8/12/2010     Colt LLC to           No. 6 coal seam             NOT                                                    Leased
 (For “Reserve 2”)                 Hillsboro Energy                                 RECORDED
                                         LLC




                                                                                                                      Main Docum
                                                                                                                                                                       58



 Description/Title of   Date                Parties            Brief Legal Description      Recording                                               Owned or   Subject to
     Document                                                                              Information                                               Leased    Mortgage

   Short Form or         8/12/2010      Colt LLC to               No. 6 coal seam         MC 1399-135                                                Leased
  Memorandum of                       Hillsboro Energy




                                                                                                                             Case 20-41308
 Coal Mining Lease                          LLC                                            BC 910-286
 (For “Reserve 2”)

First Amendment to      8/21/2012    Colt LLC to                  No. 6 coal seam            NOT                                                     Leased
Colt Coal Lease 2                    Hillsboro Energy                                     RECORDED
                                     LLC




                                                                                                                             Doc 228
Short Form or           8/21/2012    Colt LLC to                  No. 6 coal seam         MC 1508-455                                                Leased
Memorandum of First                  Hillsboro Energy
Amendment to Colt                    LLC
Coal Lease 2




                                                                                                         Filed 04/01/20 Entered 04/01/20 23:45:34
                                     Montgomery Land                 Mine Site
                                     Company to
Deed                    8/12/2010                                    RDA 1 & 2            201000059726                                               Owned




                                                                                                                  Pg 205 of 1005
                                     Hillsboro Energy
                                     LLC                     Farmland & Bleeder Site #1

                                     Montgomery Land
                                     Company to              Corridor from Mine Site to
Easement                8/12/2010                                                         201000059723                                               Owned
                                     Hillsboro Energy             Bleeder Shaft #1
                                     LLC

                                     George & Martha
                                                            Corridor from Mine Site to
Easement                5/9/2011     Spinner to Hillsboro                                 201100063970                                               Owned
                                                            Bleeder Shaft #1
                                     Energy LLC




                                                                                                                             Main Docum
                                                                                                                                                                             59



 Description/Title of      Date                  Parties         Brief Legal Description         Recording                                               Owned or   Subject to
     Document                                                                                   Information                                               Leased    Mortgage

                                           Hillsboro Energy
Deed                       8/23/2013       LLC to Hillsboro             Loadout                201300003499                                               Owned




                                                                                                                                  Case 20-41308
                                           Transport, LLC




                                                                                                                                  Doc 228
DEBTOR/GRANTOR:




                                                                                                              Filed 04/01/20 Entered 04/01/20 23:45:34
MACOUPIN ENERGY LLC
14300 Brushy Mound Road
Carlinville, Illinois 62626




                                                                                                                       Pg 206 of 1005
Macoupin County, Illinois



    Description/Title of                                            Brief Legal               Recording                                  Owned or                   Subject to
                                  Date             Parties
        Document                                                    Description              Information                                  Leased                    Mortgage

                                               WPP LLC and
                                                                Macoupin South Mine
   Short Form of Lease         1/27/2009      Macoupin Energy                              NOT RECORDED                                             Leased             Yes
                                                                    Assignment
                                                   LLC




                                                                                                                                  Main Docum
                                                                                                                                                     60



 Description/Title of                                      Brief Legal          Recording                               Owned or            Subject to
                          Date           Parties
     Document                                              Description         Information                               Leased             Mortgage

                                      Colt LLC and
Coal Mining Lease and                                  Macoupin North Mine
                        8/12/2010    Macoupin Energy                           MA 503863                                           Leased      Yes




                                                                                                                 Case 20-41308
      Sublease                                             Assignment
                                          LLC

                                      Colt LLC and
                                                       Macoupin North Mine
 Short Form of Lease    8/12/2010    Macoupin Energy                         NOT RECORDED                                          Leased      Yes
                                                           Assignment
                                          LLC

                                      Colt LLC and
 First Amendment to                                    Macoupin North Mine




                                                                                                                 Doc 228
                        2/13/2013    Macoupin Energy                         NOT RECORDED                                          Leased      Yes
 Coal Mining Lease                                         Assignment
                                          LLC

                                      Colt LLC and
                                                        East Hornsby Mine




                                                                                             Filed 04/01/20 Entered 04/01/20 23:45:34
 Short Form of Lease    8/12/2010    Macoupin Energy                         NOT RECORDED                                          Leased      Yes
                                                           Assignment
                                          LLC

                                      HOD LLC and




                                                                                                      Pg 207 of 1005
        Lease           1/27/2009    Macoupin Energy        Rail Loop        NOT RECORDED                                          Leased      Yes
                                          LLC

                                      HOD LLC and
   Short Form or
                        1/27/2009    Macoupin Energy        Rail Loop          MA 506329                                           Leased      Yes
Memorandum of Lease
                                          LLC

                                      HOD LLC and
Amendment to Lease
                        12/29/2009   Macoupin Energy        Rail Loop        NOT RECORDED                                          Leased      Yes
   Agreement
                                          LLC




                                                                                                                 Main Docum
                                                                                                                                                        61



 Description/Title of                                       Brief Legal         Recording                                  Owned or            Subject to
                          Date            Parties
     Document                                               Description        Information                                  Leased             Mortgage

                                      HOD LLC and
        Lease           1/27/2009    Macoupin Energy       Rail Load Out     NOT RECORDED                                             Leased      Yes




                                                                                                                    Case 20-41308
                                          LLC

                                      HOD LLC and
   Short Form or
                        1/27/2009    Macoupin Energy       Rail Load Out       MA 506330                                              Leased      Yes
Memorandum of Lease
                                          LLC

                                      HOD LLC and
Amendment to Lease




                                                                                                                    Doc 228
                        12/29/2009   Macoupin Energy       Rail Load Out     NOT RECORDED                                             Leased      Yes
   Agreement
                                          LLC

                                     Jet Oil Company
  Option and Lease                                                           Volume 628, Page




                                                                                                Filed 04/01/20 Entered 04/01/20 23:45:34
                        2/28/1967     and Macoupin         Coal Reserves                                                              Leased      Yes
    Agreement                                                                     456
                                       Energy LLC

                                     Macoupin Energy




                                                                                                         Pg 208 of 1005
                                     LLC, as assignor,
Assignment of Leases    1/27/2009                          Coal Reserves     NOT RECORDED                                             Leased      Yes
                                     and WPP LLC, as
                                         assignee

                                      WPP LLC and
Coal Mining Lease and
                        1/27/2009    Macoupin Energy     Macoupin Reserves   NOT RECORDED                                             Leased      Yes
 Sublease Agreement
                                          LLC




                                                                                                                    Main Docum
                                                                                                                                                       62



    Description/Title of                                      Brief Legal         Recording                               Owned or            Subject to
                             Date           Parties
        Document                                              Description        Information                               Leased             Mortgage

     Short Form or
                                         WPP LLC and
   Memorandum of Coal




                                                                                                                   Case 20-41308
                           1/27/2009    Macoupin Energy   Macoupin Reserves      MA 506328                                           Leased      Yes
    Mining Lease and
                                             LLC
   Sublease Agreement

   First Amendment to                    WPP LLC and
  Coal Mining Lease and    11/03/2010   Macoupin Energy   Macoupin Reserves    NOT RECORDED                                          Leased      Yes
   Sublease Agreement                        LLC




                                                                                                                   Doc 228
  Second Amendment to                    WPP LLC and
  Coal Mining Lease and    03/28/2010   Macoupin Energy   Macoupin Reserves    NOT RECORDED                                          Leased      Yes
   Sublease Agreement                        LLC




                                                                                               Filed 04/01/20 Entered 04/01/20 23:45:34
                                        ExxonMobil Coal
                                         USA, Inc. and      Monterey Coal
   Assignment of Leases    1/22/2009                                             MA 487734                                           Leased      Yes
                                        Macoupin Energy   Company No. 1 Mine
                                             LLC




                                                                                                        Pg 209 of 1005
Clinton County, Illinois




                                                                                                                   Main Docum
                                                                                                                                                                     63



    Description/Title of                                              Brief Legal           Recording                                   Owned or            Subject to
                                Date             Parties
        Document                                                      Description          Information                                   Leased             Mortgage

                                           Colt LLC and
                                                                  New Memphis
    Coal Mining Lease         6/1/2012    Macoupin Energy                              NOT RECORDED                                                Leased      Yes




                                                                                                                                 Case 20-41308
                                                               /Monterey 2 Reserves
                                               LLC

     Short Form or                         Colt LLC and
                                                                  New Memphis
   Memorandum of Coal         6/1/2012    Macoupin Energy                               CC 2012R04931                                              Leased      Yes
                                                               /Monterey 2 Reserves
     Mining Lease                              LLC

                                           Colt LLC and
    First Amendment to                                            New Memphis




                                                                                                                                 Doc 228
                              2/13/2013   Macoupin Energy                              NOT RECORDED                                                Leased      Yes
    Coal Mining Lease                                          /Monterey 2 Reserves
                                               LLC




                                                                                                             Filed 04/01/20 Entered 04/01/20 23:45:34
            Lease                 2/7/2019        Foresight Energy,         Methane Gas lease            Document NOT                                       Leased
                                                  LLC/Macoupin to                                         RECORDED
                                                   Keyrock, LLC




                                                                                                                      Pg 210 of 1005
DEBTOR/GRANTOR:

WILLIAMSON ENERGY, LLC
16468 Liberty School Road
Marion, IL 62959

Williamson County, Illinois

Franklin County, Illinois (Coal Reserves only)




                                                                                                                                 Main Docum
                                                                                                                                                                     64




Description/Title of   Date              Parties           Brief Legal Description       Recording                                               Owned or   Subject to
                                                                                        Information                                               Leased    Mortgage




                                                                                                                          Case 20-41308
   Amended and         8/14/2006       WPP LLC to        Coal reserves in Williamson      NOT                                                     Leased       Yes
Restated Coal Mining                Williamson Energy,    and Franklin Counties, IL    RECORDED
 Lease Agreement                           LLC

   Short Form of       8/14/2006       WPP LLC to        Coal reserves in Williamson   WC Misc 301-                                               Leased       Yes
   Amended and                      Williamson Energy,    and Franklin Counties, IL       480
Restated Coal Mining                       LLC




                                                                                                                          Doc 228
 Lease Agreement                                                                       FC #2006-6571

 First Amendment to    5/19/2008       WPP LLC to        Coal reserves in Williamson      NOT                                                     Leased       Yes
    Amended and                     Williamson Energy,    and Franklin Counties, IL    RECORDED




                                                                                                      Filed 04/01/20 Entered 04/01/20 23:45:34
Restated Coal Mining                       LLC
  Lease Agreement

   Amendment to        12/18/2009      WPP LLC to        Coal reserves in Williamson      NOT                                                     Leased       Yes




                                                                                                               Pg 211 of 1005
   Amended and                      Williamson Energy,    and Franklin Counties, IL    RECORDED
Restated Coal Mining                       LLC
 Lease Agreement

Third Amendment to     08/12/2010      WPP LLC to        Coal reserves in Williamson      NOT                                                     Leased       Yes
   Amended and                      Williamson Energy,    and Franklin Counties, IL    RECORDED
Restated Coal Mining                       LLC
 Lease Agreement




                                                                                                                          Main Docum
                                                                                                                                                                      65



 Description/Title of   Date              Parties           Brief Legal Description       Recording                                               Owned or   Subject to
                                                                                         Information                                               Leased    Mortgage

 Short Form of First,   08/12/2010      WPP LLC to        Coal reserves in Williamson   WC Misc 327-                                               Leased       Yes
  Second and Third                   Williamson Energy,    and Franklin Counties, IL       780




                                                                                                                           Case 20-41308
   Amendment to                             LLC
   Amended and                                                                           2010-6467
Restated Coal Mining
  Lease Agreement

 Fourth Amendment       6/30/2011       WPP LLC to        Coal reserves in Williamson      NOT                                                     Leased       Yes
  to Amended and        (effective   Williamson Energy,    and Franklin Counties, IL    RECORDED




                                                                                                                           Doc 228
Restated Coal Mining    4/1/2011)           LLC
  Lease Agreement

Short Form of Fourth    6/30/2011       WPP LLC to        Coal reserves in Williamson   WC Misc 331-                                               Leased       Yes




                                                                                                       Filed 04/01/20 Entered 04/01/20 23:45:34
   Amendment to         (effective   Williamson Energy,    and Franklin Counties, IL       312
   Amended and          4/1/2011)           LLC
Restated Coal Mining




                                                                                                                Pg 212 of 1005
 Lease Agreement

Fifth Amendment to      3/20/2013       WPP LLC to        Coal reserves in Williamson      NOT                                                     Leased       Yes
   Amended and          (effective   Williamson Energy,    and Franklin Counties, IL    RECORDED
Restated Coal Mining    3/1/2013)           LLC
 Lease Agreement

 Short Form of Fifth    3/20/2013       WPP LLC to        Coal reserves in Williamson   WC Misc 341-                                               Leased       Yes
   Amendment to         (effective   Williamson Energy,    and Franklin Counties, IL       659
   Amended and          3/1/2013)           LLC




                                                                                                                           Main Docum
                                                                                                                                                                      66



 Description/Title of   Date              Parties           Brief Legal Description       Recording                                               Owned or   Subject to
                                                                                         Information                                               Leased    Mortgage

Restated Coal Mining
 Lease Agreement




                                                                                                                           Case 20-41308
First Amendment to      5/19/2008       WPP LLC to        Coal reserves in Williamson      NOT                                                     Leased       Yes
Amended and Coal                     Williamson Energy,    and Franklin Counties, IL    RECORDED
   Mining Lease                             LLC
     Agreement

   Amendment to         12/18/2009      WPP LLC to        Coal reserves in Williamson      NOT                                                     Leased       Yes




                                                                                                                           Doc 228
   Amended and                       Williamson Energy,           County, IL            RECORDED
Restated Coal Mining                        LLC
 Lease Agreement




                                                                                                       Filed 04/01/20 Entered 04/01/20 23:45:34
Third Amendment to      8/12/2010       WPP LLC to        Coal reserves in Williamson      NOT                                                     Leased       Yes
   Amended and                       Williamson Energy,    and Franklin Counties, IL    RECORDED
Restated Coal Mining                        LLC
 Lease Agreement




                                                                                                                Pg 213 of 1005
   Short Form or        8/12/2010       WPP LLC to        Coal reserves in Williamson   WC Misc 327-                                               Leased       Yes
Memorandum of First                  Williamson Energy,    and Franklin Counties, IL       780
Amendment, Second                           LLC
  Amendment and                                                                         FC #2010-5467
Third Amendment to
   Amended and
Restated Coal Mining
 Lease Agreement




                                                                                                                           Main Docum
                                                                                                                                                                         67



Description/Title of    Date              Parties            Brief Legal Description         Recording                                               Owned or   Subject to
                                                                                            Information                                               Leased    Mortgage

 Fourth Amendment       6/30/2011       WPP LLC to        Coal reserves in Williamson         NOT                                                     Leased       Yes
  to Amended and        (effective   Williamson Energy,           County, IL               RECORDED




                                                                                                                              Case 20-41308
Restated Coal Mining    4/1/2011)           LLC
  Lease Agreement

   Short Form or        6/30/2011       WPP LLC to        Coal reserves in Williamson      WC Misc 331-                                               Leased       Yes
  Memorandum of         (effective   Williamson Energy,           County, IL                  312
 Fourth Amendment       4/1/2011)           LLC
  to Amended and




                                                                                                                              Doc 228
Restated Coal Mining
  Lease Agreement

  Partial Release of   6/30/2011        WPP LLC to        Releases certain coal reserves   FC #2011-3006                                              Leased       Yes




                                                                                                          Filed 04/01/20 Entered 04/01/20 23:45:34
   Leased Premises     (effective    Williamson Energy,      in Franklin County, IL
 from Amended and      4/1/2011)            LLC
Restated Coal Mining




                                                                                                                   Pg 214 of 1005
  Lease Agreement

  Partial Release of   3/20/2013        WPP LLC to        Releases certain coal reserves   FC #2013-1637                                              Leased       Yes
   Leased Premises     (effective    Williamson Energy,      in Franklin County, IL
 from Amended and      9/1/2011)            LLC
Restated Coal Mining
  Lease Agreement

 Corrective Partial    4/5/2013         WPP LLC to        Releases certain coal reserves   FC #2013-2765                                              Leased       Yes
 Release of Leased     (effective    Williamson Energy,      in Franklin County, IL
  Premises from        3/1/2013)            LLC
  Amended and




                                                                                                                              Main Docum
                                                                                                                                                                    68



Description/Title of   Date             Parties           Brief Legal Description       Recording                                               Owned or   Subject to
                                                                                       Information                                               Leased    Mortgage

Restated Coal Mining
 Lease Agreement




                                                                                                                         Case 20-41308
Short Form of Lease    5/1/2005        Williamson       Coal reserves in Williamson   WC Misc 291-                                               Leased       Yes
   and Sublease                      Development                County, IL               461
                                    Company LLC to
                                   Williamson Energy,
                                          LLC




                                                                                                                         Doc 228
                                   Independence Land
 Coal Mining Lease                 Company, LLC and     Coal Reserves in Williamson      NOT
                       3/13/2006                                                                                                                 Leased       Yes
    Agreement                      Williamson Energy,         County, Illinois        RECORDED
                                          LLC




                                                                                                     Filed 04/01/20 Entered 04/01/20 23:45:34
                                   Independence Land
                                   Company, LLC and     Coal Reserves in Williamson   Misc 301Page
Short Form of Lease    3/13/2006                                                                                                                 Leased       Yes
                                   Williamson Energy,         County, Illinois            479




                                                                                                              Pg 215 of 1005
                                          LLC

  Lease (Coal Prep     5/1/2005        Williamson       Pond Creek Processing Plant   WC Misc 291-                                               Leased       Yes
       Plant)                        Development                                         463
                                   Company, LLC and
                                   Williamson Energy,
                                          LLC




                                                                                                                         Main Docum
                                                                                                                                                                         69



Description/Title of   Date              Parties            Brief Legal Description         Recording                                                Owned or   Subject to
                                                                                           Information                                                Leased    Mortgage

 First Amended and     10/15/2006       Williamson
Restated Lease (Coal                  Development




                                                                                                                              Case 20-41308
                                                                                             NOT
     Prep Plant)                    Company, LLC and     Pond Creek Processing Plant                                                                  Leased       Yes
                                                                                          RECORDED
                                    Williamson Energy,
                                           LLC

 Short Form of First   10/15/2006       Williamson
   Amended and                        Development
                                                                                          Misc 313 Page
Restated Lease (Coal                Company, LLC and     Pond Creek Processing Plant                                                                  Leased       Yes




                                                                                                                              Doc 228
                                                                                               620
     Prep Plant)                    Williamson Energy,
                                           LLC

Coal Mining Lease      8/12/2010       Colt LLC to       Coal Reserves in Williamson,        NOT                                                      Leased       Yes




                                                                                                          Filed 04/01/20 Entered 04/01/20 23:45:34
  and Sublease                      Williamson Energy,       Franklin, and Saline         RECORDED
                                           LLC                   Counties, IL

  Short Form or        8/12/2010       Colt LLC to       Coal Reserves in Williamson,     WC Misc 325-                                                Leased       Yes




                                                                                                                   Pg 216 of 1005
 Memorandum of                      Williamson Energy,       Franklin, and Saline            897
Coal Mining Lease                          LLC                   Counties, IL
  and Sublease                                                                            FC #2010-3874

                                                                                           SC 1981-610

 Partial Release of    6/30/2011      Colt LLC and       Releases certain coal reserves   WC Misc 331-                                                Leased       Yes
Premises from Coal     (effective   Williamson Energy,    in Williamson County, IL           310
 Mining Lease and      4/1/2011)           LLC
      Sublease




                                                                                                                              Main Docum
                                                                                                                                                                      70



Description/Title of   Date              Parties           Brief Legal Description        Recording                                               Owned or   Subject to
                                                                                         Information                                               Leased    Mortgage

First Amendment to     6/30/2011      Colt LLC and       Coal reserves in Williamson,      NOT                                                     Leased       Yes
Coal Mining Lease      (effective   Williamson Energy,       Franklin, and Saline       RECORDED




                                                                                                                           Case 20-41308
    and Sublease       4/1/2011)           LLC                   Counties, IL

   Short Form or       6/30/2011      Colt LLC and       Coal reserves in Williamson,   WC Misc 331-                                               Leased       Yes
Memorandum after       (effective   Williamson Energy,       Franklin, and Saline          311
First Amendment to     4/1/2011)           LLC                   Counties, IL
Coal Mining Lease                                                                       FC #2011-3008
    and Sublease




                                                                                                                           Doc 228
                                                                                         SC 2003-978

 Partial Release of    3/20/2013      Colt LLC and       Coal reserves in Williamson,   WC Misc 341-                                               Leased       Yes
Premises from Coal     (effective   Williamson Energy,       Franklin, and Saline          658
 Mining Lease and      3/1/2013)           LLC                   Counties, IL




                                                                                                       Filed 04/01/20 Entered 04/01/20 23:45:34
      Sublease

 Second Amendment      3/20/2013      Colt LLC and       Coal reserves in Williamson,      NOT                                                     Leased       Yes




                                                                                                                Pg 217 of 1005
to Coal Mining Lease   (effective   Williamson Energy,       Franklin, and Saline       RECORDED
    and Sublease       3/1/2013)           LLC                   Counties, IL

    Short Form or      3/20/2013      Colt LLC and       Coal reserves in Williamson,   FC 2013-1639                                               Leased       Yes
 Memorandum after      (effective   Williamson Energy,       Franklin, and Saline
 Second Amendment      3/1/2013)           LLC                   Counties, IL
to Coal Mining Lease
    and Sublease

       Lease           5/1/2005        Williamson         Pond Creek Rail Load Out      WC Misc 291-                                               Leased       Yes
                                      Development                                          462




                                                                                                                           Main Docum
                                                                                                                                                                    71



Description/Title of   Date              Parties          Brief Legal Description      Recording                                                Owned or   Subject to
                                                                                      Information                                                Leased    Mortgage

                                    Company, LLC (fka
                                         Steelhead




                                                                                                                         Case 20-41308
                                      Development
                                    Company LLC) and
                                    Williamson Energy,
                                           LLC

First Amended and                       Williamson
Restated Lease (Rail                  Development




                                                                                                                         Doc 228
                                                                                        NOT
 Load Out Lease)       10/15/2006   Company, LLC and     Pond Creek Rail Load Out                                                                Leased       Yes
                                                                                     RECORDED
                                    Williamson Energy,
                                           LLC




                                                                                                     Filed 04/01/20 Entered 04/01/20 23:45:34
Short Form of First                     Williamson
   Amended and                        Development
                                                                                     Misc 313 Page
Restated Lease (Rail   10/15/2006   Company, LLC and     Pond Creek Rail Load Out                                                                Leased       Yes
                                                                                          619




                                                                                                              Pg 218 of 1005
 Load Out Lease)                    Williamson Energy,
                                           LLC

                                        Eberhart to      Ground lease required for
                                                                                        NOT
   Ground Lease          1/1/2006       Williamson       Williamson Energy, LLC                                                                  Leased       Yes
                                                                                     RECORDED
                                      Transport, LLC            Operations

                                        Eberhart to      Ground lease required for
Memorandum of the                                                                    WC Misc 296-
                        1/20/2006       Williamson       Williamson Energy, LLC                                                                  Leased       Yes
 Eberhart Lease                                                                         404
                                      Transport, LLC            Operations




                                                                                                                         Main Docum
                                                                                                                                                                  72



Description/Title of   Date             Parties         Brief Legal Description       Recording                                               Owned or   Subject to
                                                                                     Information                                               Leased    Mortgage

                                       Williamson
                                    Transport LLC to    Ground lease required for




                                                                                                                       Case 20-41308
                                                                                    WC Misc 306-
Assignment of Rights   8/24/2007       Williamson       Williamson Energy, LLC                                                                 Leased       Yes
                                                                                       996
                                      Development              Operations
                                     Company LLC

                                       Williamson
                                     Development        Ground lease required for
                                                                                    WC Misc 325-
Assignment of Rights   8/24/2007    Company LLC to      Williamson Energy, LLC                                                                 Leased       Yes




                                                                                                                       Doc 228
                                                                                       900
                                   Williamson Energy,          Operations
                                          LLC

                                       Eberhart to




                                                                                                   Filed 04/01/20 Entered 04/01/20 23:45:34
                                       Williamson
                                     Development        Ground lease required for
                                                                                       NOT
   Ground Lease        8/12/2010    Company, LLC        Williamson Energy, LLC                                                                 Leased       Yes
                                                                                    RECORDED




                                                                                                            Pg 219 of 1005
                                       assigned to             Operations
                                   Williamson Energy,
                                          LLC

                                   Clara Summers and
                                                                                    WC Misc 297-
   Surface Lease       3/22/2006   Independence Land         Surface Lease                                                                     Leased       Yes
                                                                                       626
                                     Company LLC

                                   Independence Land                                WC Misc 327-
Assignment of Lease    8/12/2010                             Surface Lease                                                                     Leased       Yes
                                    Company LLC to                                     750




                                                                                                                       Main Docum
                                                                                                                                                               73



Description/Title of   Date             Parties        Brief Legal Description     Recording                                               Owned or   Subject to
                                                                                  Information                                               Leased    Mortgage

                                   Williamson Energy
                                          LLC




                                                                                                                    Case 20-41308
                                   Clara Summers and
                                                                                 WC Misc 297-
  Surface Lease        3/22/2006   Independence Land       Surface Lease
                                                                                    626
                                     Company LLC

                                      Williamson
                                     Development
 Grant of Surface                                                                WC Misc 325-




                                                                                                                    Doc 228
                       8/12/2010   Company LLC and       Surface Easement                                                                   Leased       Yes
    Easement                                                                        899
                                   Williamson Energy
                                          LLC




                                                                                                Filed 04/01/20 Entered 04/01/20 23:45:34
                                                                                                         Pg 220 of 1005
                                                                                                                    Main Docum
                                                                                                                                                 74



                               Diana S. Dulle to
                                                    Coal Reserves for Williamson
Warranty Deed   6/14/2018    Williamson Energy,                                    WC 2018-4356                                          Owned
                                                      Energy, LLC Operations
                                     LLC
                                Linda Duncan to
                                                    Coal Reserves for Williamson
Warranty Deed   7/13/2018    Williamson Energy,                                    WC 2018-5209                                          Owned
                                                      Energy, LLC Operations
                                     LLC




                                                                                                                  Case 20-41308
                              Jeremy W. Smith to
                                                    Coal Reserves for Williamson                                                         Owned
Warranty Deed   7/20/2018    Williamson Energy,                                    WC 2018-5434
                                                      Energy, LLC Operations
                                     LLC
                                Lora L. Jones to
                                                    Coal Reserves for Williamson
Warranty Deed   8/20/2018    Williamson Energy,                                    WC 2018-6259                                          Owned
                                                      Energy, LLC Operations
                                     LLC
                              Shirley N. Smith to
                                                    Coal Reserves for Williamson
Warranty Deed   8/20/2018    Williamson Energy,                                    WC 2018-6258                                          Owned




                                                                                                                  Doc 228
                                                      Energy, LLC Operations
                                     LLC
                             Debra Ellen Moser to
                                                    Coal Reserves for Williamson
Warranty Deed   9/4/2018     Williamson Energy,                                    WC 2018-6707                                          Owned
                                                      Energy, LLC Operations
                                     LLC
                            Larry Dean Bethard to




                                                                                              Filed 04/01/20 Entered 04/01/20 23:45:34
                                                    Coal Reserves for Williamson
Warranty Deed   9/4/2018     Williamson Energy,                                    WC 2018-6706                                          Owned
                                                      Energy, LLC Operations
                                     LLC
                              Jerry R. Harpole to
                                                    Coal Reserves for Williamson
Warranty Deed                Williamson Energy,                                    WC 2018-6705                                          Owned




                                                                                                       Pg 221 of 1005
                9/4/2018                              Energy, LLC Operations
                                     LLC
                             Wilma K. Harpole to
                                                    Coal Reserves for Williamson
Warranty Deed   9/4/2018     Williamson Energy,                                    WC 2018-6704                                          Owned
                                                      Energy, LLC Operations
                                     LLC
                             Kimberly A. Smith to
                                                    Coal Reserves for Williamson
Warranty Deed   9/4/2018     Williamson Energy,                                    WC 2018-6703                                          Owned
                                                      Energy, LLC Operations
                                     LLC
                            Gerald Lee Bethard to
                                                    Coal Reserves for Williamson
Warranty Deed   9/4/2018     Williamson Energy,                                    WC 2018-6702                                          Owned
                                                      Energy, LLC Operations
                                     LLC
                             Wendall Ray Bethard
                                                    Coal Reserves for Williamson
Warranty Deed   9/4/2018    to Williamson Energy,                                  WC 2018-6701                                          Owned
                                                      Energy, LLC Operations
                                     LLC




                                                                                                                  Main Docum
                                                                                                                                                  75



                               Edward W. Sursa to
                                                     Coal Reserves for Williamson
Warranty Deed   9/24/2018      Williamson Energy,                                   WC 2018-7338                                          Owned
                                                       Energy, LLC Operations
                                       LLC
                              Barbara Jean Newton
                                                     Coal Reserves for Williamson
Warranty Deed   9/24/2018    to Williamson Energy,                                  WC 2018-7337                                          Owned
                                                       Energy, LLC Operations
                                       LLC




                                                                                                                   Case 20-41308
                               Debra L. Caplick to
                                                     Coal Reserves for Williamson
Warranty Deed   9/24/2018      Williamson Energy,                                   WC 2018-7336                                          Owned
                                                       Energy, LLC Operations
                                       LLC
                                 Don N. Sursa to
                                                     Coal Reserves for Williamson
Warranty Deed   9/24/2018      Williamson Energy,                                   WC 2018-7335                                          Owned
                                                       Energy, LLC Operations
                                       LLC
                              Jim D. Glazebrook to
                                                     Coal Reserves for Williamson
Warranty Deed   9/24/2018      Williamson Energy,                                   WC 2018-7334                                          Owned




                                                                                                                   Doc 228
                                                       Energy, LLC Operations
                                       LLC
                              Susan Elaine Bethard
                                        to           Coal Reserves for Williamson
Warranty Deed   9/24/2018                                                           WC 2018-7333                                          Owned
                              Williamson Energy,       Energy, LLC Operations
                                       LLC




                                                                                               Filed 04/01/20 Entered 04/01/20 23:45:34
                              Jerry D. Brookman to
                                                     Coal Reserves for Williamson
Warranty Deed   9/24/2018     Williamson Energy,                                    WC 2018-7332                                          Owned
                                                       Energy, LLC Operations
                                       LLC
                                Linda E. Rector to




                                                                                                        Pg 222 of 1005
                                                     Coal Reserves for Williamson
Warranty Deed   9/24/2018     Williamson Energy,                                    WC 2018-7331                                          Owned
                                                       Energy, LLC Operations
                                       LLC
                             Marion E. Glazebrook
                                        to           Coal Reserves for Williamson
Warranty Deed   9/24/2018                                                           WC 2018-7330                                          Owned
                              Williamson Energy,       Energy, LLC Operations
                                       LLC
                               Sarah J. Glazebrook
                                     Perry to        Coal Reserves for Williamson
Warranty Deed   9/24/2018                                                           WC 2018-7329                                          Owned
                              Williamson Energy,       Energy, LLC Operations
                                       LLC
                                Michelle McCabe-
                                     Doyle to        Coal Reserves for Williamson
Warranty Deed   10/16/2018                                                          WC 2018-7977                                          Owned
                              Williamson Energy,       Energy, LLC Operations
                                       LLC




                                                                                                                   Main Docum
                                                                                                                                                   76



                             Richard R. Glazebrook
                                       to             Coal Reserves for Williamson
Warranty Deed   10/16/2018                                                           WC 2018-7976                                          Owned
                              Williamson Energy,        Energy, LLC Operations
                                     LLC
                             Robert Shon Smith to
                                                      Coal Reserves for Williamson
Warranty Deed   10/16/2018    Williamson Energy,                                     WC 2018-7975                                          Owned




                                                                                                                    Case 20-41308
                                                        Energy, LLC Operations
                                     LLC
                             Elizabeth Jeanne Culli
                                       to             Coal Reserves for Williamson
Warranty Deed   10/16/2018                                                           WC 2018-7974                                          Owned
                              Williamson Energy,        Energy, LLC Operations
                                     LLC
                                 Kathy Scott to
                                                      Coal Reserves for Williamson
Warranty Deed   10/23/2018    Williamson Energy,                                     WC 2018-8178                                          Owned
                                                        Energy, LLC Operations
                                     LLC




                                                                                                                    Doc 228
                             Roger W. Glazebrook
                                       to             Coal Reserves for Williamson
Warranty Deed   11/07/2018                                                           WC 2018-8581                                          Owned
                              Williamson Energy,        Energy, LLC Operations
                                     LLC
                              Tommy R. Sursa to




                                                                                                Filed 04/01/20 Entered 04/01/20 23:45:34
                                                      Coal Reserves for Williamson
Warranty Deed   11/27/2018    Williamson Energy,                                     WC 2018-9311                                          Owned
                                                        Energy, LLC Operations
                                     LLC
                             Allen E. Heinbokel to
                                                      Coal Reserves for Williamson
Warranty Deed   12/03/2018    Williamson Energy,                                     WC 2018-9490                                          Owned




                                                                                                         Pg 223 of 1005
                                                        Energy, LLC Operations
                                     LLC
                                Jeremiah Wesley
                                   Seaman to          Coal Reserves for Williamson
Warranty Deed   12/18/2018                                                           WC 2018-9920                                          Owned
                              Williamson Energy,        Energy, LLC Operations
                                     LLC
                                Alexandra Lewis
                                  DeMarino to         Coal Reserves for Williamson
Warranty Deed   12/18/2018                                                           WC 2018-9919                                          Owned
                              Williamson Energy,        Energy, LLC Operations
                                     LLC
                             Shannon Lee Brand to
                                                      Coal Reserves for Williamson
Warranty Deed   1/07/2019     Williamson Energy,                                     WC 2019-147                                           Owned
                                                        Energy, LLC Operations
                                     LLC
                             Michael James Lewis      Coal Reserves for Williamson
Warranty Deed   1/31/2019                                                            WC 2019-727                                           Owned
                                       to               Energy, LLC Operations




                                                                                                                    Main Docum
                                                                                                                                                     77



                            Williamson Energy,
                                    LLC
                            Karolyn Kay Fullerton
                                      to            Coal Reserves for Williamson
Warranty Deed   1/31/2019                                                          WC 2019-726                                              Owned
                            Williamson Energy,        Energy, LLC Operations
                                    LLC




                                                                                                                     Case 20-41308
                             Susan E. Denton to
                                                    Coal Reserves for Williamson
Mining Lease    3/5/2019    Williamson Energy,                                     WC 2019-1569                                             Leased
                                                      Energy, LLC Operations
                                    LLC
                             Ronald L. Smith to
                                                    Coal Reserves for Williamson
Warranty Deed   3/18/2019   Williamson Energy,                                     WC 2019-1877                                             Owned
                                                      Energy, LLC Operations
                                    LLC
                             Deloris J. Hoehn to
                                                    Coal Reserves for Williamson
Warranty Deed   8/27/2019   Williamson Energy,                                     WC 2019-6215                                             Owned




                                                                                                                     Doc 228
                                                      Energy, LLC Operations
                                    LLC
                            James Walter Hoyt to
                                                    Coal Reserves for Williamson
Warranty Deed   1/26/2018   Williamson Energy,                                     FC 2018-407                                              Owned
                                                      Energy, LLC Operations
                                    LLC
                            Brenda Dora Spencer




                                                                                                 Filed 04/01/20 Entered 04/01/20 23:45:34
                                      to            Coal Reserves for Williamson
Warranty Deed   2/13/2018                                                          FC 2018-633                                              Owned
                            Williamson Energy,        Energy, LLC Operations
                                    LLC
                             Patricia K. Dyer to




                                                                                                          Pg 224 of 1005
                                                    Coal Reserves for Williamson
Warranty Deed   3/21/2018   Williamson Energy,                                     FC 2018-1127                                             Owned
                                                      Energy, LLC Operations
                                    LLC
                             Diana L. Bischler to
                                                    Coal Reserves for Williamson
Warranty Deed   3/21/2018   Williamson Energy,                                     FC 2018-1126                                             Owned
                                                      Energy, LLC Operations
                                    LLC
                             Lisa M. Engeling to
                                                    Coal Reserves for Williamson
Mining Lease    3/23/2018   Williamson Energy,                                     FC 2018-1177                                             Leased
                                                      Energy, LLC Operations
                                    LLC
                             Jeanette Fortney to
                                                    Coal Reserves for Williamson
Warranty Deed   4/19/2018   Williamson Energy,                                     FC 2018-1539                                             Owned
                                                      Energy, LLC Operations
                                    LLC
                             Jerry K. Johnson to
                                                    Coal Reserves for Williamson
Mining Lease    7/13/2018   Williamson Energy,                                     FC 2018-2781                                             Leased
                                                      Energy, LLC Operations
                                    LLC




                                                                                                                     Main Docum
                                                                                                                                                        78



                             Lorna Lynn Hines to
                                                       Coal Reserves for Williamson
Warranty Deed    8/1/2018    Williamson Energy,                                       FC 2018-3095                                             Owned
                                                         Energy, LLC Operations
                                      LLC
                              Robbie L. Osteen to
                                                       Coal Reserves for Williamson
Warranty Deed    8/1/2018    Williamson Energy,                                       FC 2018-3094                                             Owned
                                                         Energy, LLC Operations
                                      LLC




                                                                                                                        Case 20-41308
                              Brian M. Johnson to
                                                       Coal Reserves for Williamson
Warranty Deed   8/10/2018    Williamson Energy,                                       FC 2018-3251                                             Owned
                                                         Energy, LLC Operations
                                      LLC
                             Paula T. Hartzel, et al
                                        to             Coal Reserves for Williamson
Mining Lease    8/29/2018                                                             FC 2018-3551                                             Leased
                             Williamson Energy,          Energy, LLC Operations
                                      LLC
                               Janet J. Griffin to




                                                                                                                        Doc 228
                                                       Coal Reserves for Williamson
Warranty Deed    9/5/2018    Williamson Energy,                                       FC 2018-3642                                             Owned
                                                         Energy, LLC Operations
                                      LLC
                              Gary P. Johnson to
                                                       Coal Reserves for Williamson
Warranty Deed    9/5/2018    Williamson Energy,                                       FC 2018-3641                                             Owned
                                                         Energy, LLC Operations
                                      LLC




                                                                                                    Filed 04/01/20 Entered 04/01/20 23:45:34
                                Barbara Giles to
                                                       Coal Reserves for Williamson
Warranty Deed    9/5/2018    Williamson Energy,                                       FC 2018-3640                                             Owned
                                                         Energy, LLC Operations
                                      LLC
                                Katherine Ann




                                                                                                             Pg 225 of 1005
                                   Bradley to          Coal Reserves for Williamson
Warranty Deed   9/18/2018                                                             FC 2018-3870                                             Owned
                             Williamson Energy,          Energy, LLC Operations
                                      LLC
                             Shirley Whitehead to
                                                       Coal Reserves for Williamson
Warranty Deed   10/17/2018   Williamson Energy,                                       FC 2018-4400                                             Owned
                                                         Energy, LLC Operations
                                      LLC
                             Barbara Faye Sharkey
                                        to             Coal Reserves for Williamson
Warranty Deed   10/23/2018                                                            FC 2018-4481                                             Owned
                             Williamson Energy,          Energy, LLC Operations
                                      LLC
                              Emma L. Stetson to
                                                       Coal Reserves for Williamson
Warranty Deed    2/1/2019    Williamson Energy,                                       FC 2019-335                                              Owned
                                                         Energy, LLC Operations
                                      LLC




                                                                                                                        Main Docum
                                                                                                                                                 79



                            Ronald L. Johnson to
                                                    Coal Reserves for Williamson
Warranty Deed   3/26/2019   Williamson Energy,                                     FC 2019-1004                                          Owned
                                                      Energy, LLC Operations
                                    LLC
                             Sarah Greenwade to
                                                    Coal Reserves for Williamson
Warranty Deed   4/2/2019    Williamson Energy,                                     FC 2019-1134                                          Owned
                                                      Energy, LLC Operations
                                    LLC




                                                                                                                  Case 20-41308
                             Susan L. Naucke to
                                                    Coal Reserves for Williamson
Warranty Deed   4/2/2019    Williamson Energy,                                     FC 2019-1154                                          Owned
                                                      Energy, LLC Operations
                                    LLC
                              Brock D. Harris to
                                                    Coal Reserves for Williamson
Warranty Deed   4/17/2019   Williamson Energy,                                     FC 2019-1351                                          Owned
                                                      Energy, LLC Operations
                                    LLC
                            James Keith Harris to
                                                    Coal Reserves for Williamson
Warranty Deed   4/17/2019   Williamson Energy,                                     FC 2019-1352                                          Owned




                                                                                                                  Doc 228
                                                      Energy, LLC Operations
                                    LLC
                             Marilyn S. Harris to
                                                    Coal Reserves for Williamson
Warranty Deed   4/23/2019   Williamson Energy,                                     FC 2019-1419                                          Owned
                                                      Energy, LLC Operations
                                    LLC
                            Miranda B. Harris to




                                                                                              Filed 04/01/20 Entered 04/01/20 23:45:34
                                                    Coal Reserves for Williamson
Warranty Deed   5/14/2019   Williamson Energy,                                     FC 2019-1752                                          Owned
                                                      Energy, LLC Operations
                                    LLC
                              Charlotte Jean to
                                                    Coal Reserves for Williamson
Warranty Deed   5/14/2019   Williamson Energy,                                     FC 2019-1751                                          Owned




                                                                                                       Pg 226 of 1005
                                                      Energy, LLC Operations
                                    LLC
                               Debra Krantz to
                                                    Coal Reserves for Williamson
Warranty Deed   7/1/2019    Williamson Energy,                                     FC 2019-2388                                          Owned
                                                      Energy, LLC Operations
                                    LLC
                              Mary Lou Zech to
                                                    Coal Reserves for Williamson
Mining Lease    7/17/2019   Williamson Energy,                                     FC 2019-2618                                          Owned
                                                      Energy, LLC Operations
                                    LLC
                            Judith A. Woodard to
                                                    Coal Reserves for Williamson
Warranty Deed   7/17/2019   Williamson Energy,                                     FC 2019-2617                                          Owned
                                                      Energy, LLC Operations
                                    LLC
                               Debra Krantz to
                                                    Coal Reserves for Williamson
Warranty Deed   7/17/2019   Williamson Energy,                                     FC 2019-2616                                          Owned
                                                      Energy, LLC Operations
                                    LLC




                                                                                                                  Main Docum
                                                                                                                                                    80



                                 Norma Adams
                                   Johnson to         Coal Reserves for Williamson
Warranty Deed   7/24/2019                                                            FC 2019-2732                                          Owned
                             Williamson Energy,         Energy, LLC Operations
                                      LLC
                              Phillip R. Erthall to
                                                      Coal Reserves for Williamson
Warranty Deed   7/30/2019    Williamson Energy,                                      FC 2019-2832                                          Owned




                                                                                                                    Case 20-41308
                                                        Energy, LLC Operations
                                      LLC
                             Robert H. Wilmert to
                                                      Coal Reserves for Williamson
Warranty Deed   7/30/2019    Williamson Energy,                                      FC 2019-2833                                          Owned
                                                        Energy, LLC Operations
                                      LLC
                             Kenneth L. Wilmert to
                                                      Coal Reserves for Williamson
Warranty Deed   8/13/2019    Williamson Energy,                                      FC 2019-3062                                          Owned
                                                        Energy, LLC Operations
                                      LLC
                              William Wilmert to




                                                                                                                    Doc 228
                                                      Coal Reserves for Williamson
Warranty Deed   8/13/2019    Williamson Energy,                                      FC 2019-3061                                          Owned
                                                        Energy, LLC Operations
                                      LLC
                                Linda S. Lear to
                                                      Coal Reserves for Williamson
Warranty Deed    9/4/2019    Williamson Energy,                                      FC 2019-3389                                          Owned
                                                        Energy, LLC Operations
                                      LLC




                                                                                                Filed 04/01/20 Entered 04/01/20 23:45:34
                             Steven H. Machura to
                                                      Coal Reserves for Williamson
    Deed        9/16/2019    Williamson Energy,                                      FC 2019-3554                                          Owned
                                                        Energy, LLC Operations
                                      LLC
                               Sharon A. Aiken-




                                                                                                         Pg 227 of 1005
                                  Peterson to         Coal Reserves for Williamson
Warranty Deed   10/17/2019                                                           FC 2019-3990                                          Owned
                             Williamson Energy,         Energy, LLC Operations
                                      LLC
                               Raven N. Fager to
                                                      Coal Reserves for Williamson
Warranty Deed   10/30/2019   Williamson Energy,                                      FC 2019-4153                                          Owned
                                                        Energy, LLC Operations
                                      LLC
                               Mary Lou Zech to
                                                      Coal Reserves for Williamson
Mining Lease    11/05/2019   Williamson Energy,                                      FC 2019-4251                                          Leased
                                                        Energy, LLC Operations
                                      LLC
                              Daniel L. Johnson to
                                                      Coal Reserves for Williamson
Warranty Deed   11/14/2019   Williamson Energy,                                      FC 2019-4371                                          Owned
                                                        Energy, LLC Operations
                                      LLC
                              Colleen L. Taylor to    Coal Reserves for Williamson
Warranty Deed   11/26/2019                                                           FC 2019-4559                                          Owned
                             Williamson Energy,         Energy, LLC Operations




                                                                                                                    Main Docum
                                                                                                                                                    81



                                    LLC
                             Paula Kay Osteen-
                                  Cortez to         Coal Reserves for Williamson
Warranty Deed   2/25/2020                                                          FC 2020-728                                              Owned
                            Williamson Energy,        Energy, LLC Operations
                                    LLC
                            Monta Ray Jennings to




                                                                                                                     Case 20-41308
                                                    Coal Reserves for Williamson
Warranty Deed   2/25/2020   Williamson Energy,                                     FC 2020-726                                              Owned
                                                      Energy, LLC Operations
                                    LLC
                             Robbie L. Osteen to
                                                    Coal Reserves for Williamson
Warranty Deed   2/25/2020   Williamson Energy,                                     FC 2020-727                                              Owned
                                                      Energy, LLC Operations
                                    LLC




                                                                                                                     Doc 228
                                                                                                 Filed 04/01/20 Entered 04/01/20 23:45:34
                                                                                                          Pg 228 of 1005
                                                                                                                     Main Docum
                                                                                                                                                                       82



DEBTOR/GRANTOR:

SUGAR CAMP ENERGY, LLC
11351 N. Thompsonville Road
Macedonia, Illinois 62860




                                                                                                                              Case 20-41308
Franklin County, Illinois

Hamilton County, Illinois (Coal Reserves only)

Saline County, Illinois (Coal Reserves only)




                                                                                                                              Doc 228
                                                                                                                                                     Owned
  Description/Title of                                                                               Recording                                                Subject to
                            Date               Parties             Brief Legal Description                                                             or
      Document                                                                                      Information                                               Mortgage
                                                                                                                                                     Leased




                                                                                                          Filed 04/01/20 Entered 04/01/20 23:45:34
                                       USA through TVA &
                                      Illinois Fuel Company      Properties located in Franklin     #2007-5822
  TVA Illinois Coal




                                                                                                                   Pg 229 of 1005
                         7/1/2002    LLC (as assigned to Ruger     County IL as described in                                                         Leased      Yes
       Lease                                                                                      Rec. 10/11/2007
                                      Coal Company, LLC),                  Exhibit A
                                     Sugar Camp Energy, LLC

                                       USA through TVA &
   Assignment of                      Illinois Fuel Company      Properties located in Franklin     #2009-4445
  TVA Illinois Coal      8/4/2009    LLC (as assigned to Ruger     County IL as described in                                                         Leased      Yes
       Lease                          Coal Company, LLC),                  Exhibit A              Rec. 9/10/2009
                                     Sugar Camp Energy, LLC




                                                                                                                              Main Docum
                                                                                                                                                                     83



                                                                                                                                                   Owned
Description/Title of                                                                               Recording                                                Subject to
                         Date               Parties               Brief Legal Description                                                            or
    Document                                                                                      Information                                               Mortgage
                                                                                                                                                   Leased

Amendment One to                                                Properties located in Franklin




                                                                                                                            Case 20-41308
                                     USA through TVA &
TVA Illinois Coal      4/17/2012                                  County IL as described in        FC-0027                                         Leased      Yes
                                   Ruger Coal Company LLC
     Lease                                                                Exhibit A

 Amendment Two                                                  Properties located in Franklin
                                     USA through TVA &                                              NOT
  to TVA Illinois      8/30/2012                                  County IL as described in                                                        Leased      Yes
                                   Ruger Coal Company LLC                                        RECORDED
    Coal Lease                                                            Exhibit A




                                                                                                                            Doc 228
 Letter Agreement                                               Properties located in Franklin
                                     USA through TVA &                                              NOT
  regarding TVA        8/30/2012                                  County IL as described in                                                        Leased      Yes
                                   Ruger Coal Company LLC                                        RECORDED
Illinois Coal Lease                                                       Exhibit A




                                                                                                        Filed 04/01/20 Entered 04/01/20 23:45:34
                                      USA through TVA &
                                   Ruger Coal Company, Inc.     Properties located in Franklin      NOT
 Franklin County                                                                                 RECORDED
                       7/1/2002    (as assigned to Ruger Coal     County IL as described in                                                        Leased      Yes
   Coal Lease
                                     Company, LLC), Sugar                 Exhibit A




                                                                                                                 Pg 230 of 1005
                                                                                                   FC-0027
                                       Camp Energy, LLC

                                      USA through TVA &
                                   Ruger Coal Company, Inc.     Properties located in Franklin    #2007-5132
  Assignment of
                       9/10/2007   (as assigned to Ruger Coal     County IL as described in                                                        Leased      Yes
      Lease                                                                                      Rec. 9/12/2007
                                     Company, LLC), Sugar                 Exhibit A
                                       Camp Energy, LLC




                                                                                                                            Main Docum
                                                                                                                                                                    84



                                                                                                                                                  Owned
Description/Title of                                                                              Recording                                                Subject to
                         Date              Parties             Brief Legal Description                                                              or
    Document                                                                                     Information                                               Mortgage
                                                                                                                                                  Leased

                                                            Properties located in Franklin




                                                                                                                           Case 20-41308
                                   RGGS Land & Minerals &                                       FC-0083 FC
Coal Mining Lease      7/29/2005                              County IL as described in                                                           Leased      Yes
                                   Sugar Camp Energy, LLC                                        2006-6919
                                                                      Exhibit A

                                                            Properties located in Franklin
 Memorandum of                     RGGS Land & Minerals &
                       7/29/2005                              County IL as described in        FC 2006-6919                                       Leased      Yes
Coal Mining Lease                  Sugar Camp Energy, LLC
                                                                      Exhibit A




                                                                                                                           Doc 228
  Supplemental                                              Properties located in Franklin
                                   RGGS Land & Minerals &
 Memorandum of         7/29/2005                              County IL as described in        FC 2008-4441                                       Leased      Yes
                                   Sugar Camp Energy, LLC
Coal Mining Lease                                                     Exhibit A




                                                                                                       Filed 04/01/20 Entered 04/01/20 23:45:34
                                                            Properties located in Franklin       #2012-6228
                                   Sugar Camp Energy, LLC
     Sublease          3/6/2012                               County IL as described in                                                           Leased      Yes
                                         & HOD LLC                                             Rec. 12/11/2012
                                                                      Exhibit A




                                                                                                                Pg 231 of 1005
 First Amendment                                            Properties located in Franklin       #2008-4441
                                   RGGS Land & Minerals &
  to Coal Mining       8/11/2008                              County IL as described in                                                           Leased      Yes
                                   Sugar Camp Energy, LLC                                      Rec. 8/12/2008
       Lease                                                          Exhibit A

                                    Ruger Coal Company,
                                                            Consent with respect to Illinois
 Consent to Mine       1/22/2010     LLC & Sugar Camp                                             FC-0233                                         Leased      Yes
                                                                    Fuels Lease
                                       Energy, LLC




                                                                                                                           Main Docum
                                                                                                                                                                  85



                                                                                                                                                Owned
Description/Title of                                                                            Recording                                                Subject to
                         Date              Parties             Brief Legal Description                                                            or
    Document                                                                                   Information                                               Mortgage
                                                                                                                                                Leased

                                   Ruger Coal Company LLC




                                                                                                                         Case 20-41308
Overriding Royalty                                          Right to mine on Illinois Fuels      NOT
                       8/12/2010    to Sugar Camp Energy,                                                                                       Leased      Yes
Interest Agreement                                                   TVA Lease                RECORDED
                                             LLC

                                   Ruger Coal Company LLC
Overriding Royalty                                            Right to mine on Franklin          NOT
                       8/12/2010    to Sugar Camp Energy,                                                                                       Leased      No
Interest Agreement                                              County TVA Lease              RECORDED
                                             LLC




                                                                                                                         Doc 228
                                   Ruger Coal Company LLC
   Coal Mining                                                                                   NOT
                       8/12/2010    to Sugar Camp Energy,           Coal Reserves                                                               Leased      Yes
     Lease`                                                                                   RECORDED
                                             LLC




                                                                                                     Filed 04/01/20 Entered 04/01/20 23:45:34
 Memorandum of                     Ruger Coal Company LLC
  Coal Mining          8/12/2010    to Sugar Camp Energy,           Coal Reserves             FC 2010-3825                                      Leased      Yes
    Lease`                                   LLC




                                                                                                              Pg 232 of 1005
 First Amendment                   Ruger Coal Company LLC
                                                                                                 NOT
  to Coal Mining       11/4/2011    to Sugar Camp Energy,           Coal Reserves                                                               Leased      Yes
                                                                                              RECORDED
       Lease`                                LLC

     Second
                                   Ruger Coal Company LLC
  Amendment to                                                                                   NOT
                         2012       to Sugar Camp Energy,           Coal Reserves                                                               Leased      Yes
   Coal Mining                                                                                RECORDED
                                             LLC
     Lease`




                                                                                                                         Main Docum
                                                                                                                                                                   86



                                                                                                                                                 Owned
Description/Title of                                                                             Recording                                                Subject to
                         Date              Parties             Brief Legal Description                                                             or
    Document                                                                                    Information                                               Mortgage
                                                                                                                                                 Leased

Memorandum after




                                                                                                                          Case 20-41308
 First and Second                  Ruger Coal Company LLC
                                                                                                  NOT
 Amendments to           2012       to Sugar Camp Energy,           Coal Reserves                                                                Leased      Yes
                                                                                               RECORDED
   Coal Mining                               LLC
       Lease`

                                   HOD LLC to Sugar Camp                                          NOT
 Lease Agreement       3/6/2012                              Sugar Camp Rail Load Out                                                            Leased      Yes
                                       Energy, LLC                                             RECORDED




                                                                                                                          Doc 228
 Memorandum of                     HOD LLC to Sugar Camp
                       3/6/2012                              Sugar Camp Rail Load Out          FC 2012-6228                                      Leased      Yes
 Lease Agreement                       Energy, LLC




                                                                                                      Filed 04/01/20 Entered 04/01/20 23:45:34
                                    Ruger Coal Company,
                                                            Consent with respect to Illinois
 Consent to Mine       1/22/2010     LLC & Sugar Camp                                            FC-0233                                         Leased      Yes




                                                                                                               Pg 233 of 1005
                                                                    Fuels Lease
                                       Energy, LLC

                                   Ruger Coal Company LLC
Overriding Royalty                                          Right to mine on Illinois Fuels
                       8/12/2010    to Sugar Camp Energy,                                          N/A                                           Leased      Yes
Interest Agreement                                                   TVA Lease
                                             LLC




                                                                                                                          Main Docum
                                                                                                                                                      87



                                 Ruger Coal Company LLC
Overriding Royalty                                        Right to mine on Franklin
                     8/12/2010    to Sugar Camp Energy,                                   N/A                                          Leased   No
Interest Agreement                                          County TVA Lease
                                           LLC

                                 Ruger Coal Company LLC




                                                                                                                Case 20-41308
   Coal Mining                                                                           NOT
                     8/12/2010    to Sugar Camp Energy,        Coal Reserves                                                           Leased   Yes
     Lease`                                                                           RECORDED
                                           LLC

 Memorandum of                   Ruger Coal Company LLC
  Coal Mining        8/12/2010    to Sugar Camp Energy,        Coal Reserves          FC 2010-3825                                     Leased   Yes
    Lease`                                 LLC




                                                                                                                Doc 228
First Amendment                  Ruger Coal Company LLC
                                                                                         NOT
 to Coal Mining      11/4/2011    to Sugar Camp Energy,        Coal Reserves                                                           Leased   Yes
                                                                                      RECORDED
      Lease`                               LLC




                                                                                            Filed 04/01/20 Entered 04/01/20 23:45:34
     Second
                                 Ruger Coal Company LLC
  Amendment to                                                                           NOT
                       2012       to Sugar Camp Energy,        Coal Reserves                                                           Leased   Yes
   Coal Mining                                                                        RECORDED
                                           LLC
     Lease`




                                                                                                     Pg 234 of 1005
Memorandum after
 First and Second                Ruger Coal Company LLC
                                                                                         NOT
 Amendments to         2012       to Sugar Camp Energy,        Coal Reserves                                                           Leased   Yes
                                                                                      RECORDED
   Coal Mining                             LLC
       Lease`




                                                                                                                Main Docum
                                                                                                                                                    88



                              HOD LLC to Sugar Camp                                    NOT
Lease Agreement    3/6/2012                             Sugar Camp Rail Load Out                                                     Leased   Yes
                                  Energy, LLC                                       RECORDED

Memorandum of                 HOD LLC to Sugar Camp
                   3/6/2012                             Sugar Camp Rail Load Out    FC 2012-6228                                     Leased   Yes
Lease Agreement                   Energy, LLC




                                                                                                              Case 20-41308
                              Roberts, Carol Ann
Mining Lease      01/04/18                             Sugar Camp Mine Plan        HC 2018-0008                                      Leased
                              Trustee to SCELLC




                                                                                                              Doc 228
                              Engstrom, Amy to
Mining Lease      01/04/18                             Sugar Camp Mine Plan        HC 2018-0011                                      Leased
                              SCELLC
                              Hayes, Marshall Jr. to
Mining Lease      01/04/18                             Sugar Camp Mine Plan        HC 2018-0013                                      Leased
                              SCELLC
                              Blanchard, Bonnie M.




                                                                                          Filed 04/01/20 Entered 04/01/20 23:45:34
Mining Lease      01/04/18                             Sugar Camp Mine Plan        HC 2018-0016                                      Leased
                              to SCELLC
                              Palmer, James to
Mining Lease      01/04/18                             Sugar Camp Mine Plan        HC 2018-0017                                      Leased
                              SCELLC




                                                                                                   Pg 235 of 1005
                              Moxley, Linda to
Mining Lease      01/04/18                             Sugar Camp Mine Plan        HC 2018-0018                                      Leased
                              SCELLC
                              Johnson, Susan L. to
Coal Deed         01/04/18                             Sugar Camp Mine Plan        HC 2018-0019                                      Owned
                              SCELLC
                              McFarland, Carol A. to
Mining Lease      01/30/18                             Sugar Camp Mine Plan        HC 2018-0110                                      Leased
                              SCELLC
                              Bowman, Debra Kate to
Mining Lease      01/30/18                             Sugar Camp Mine Plan        HC 2018-0111                                      Leased
                              SCELLC
                              Diaz, Donna J. to
Mining Lease      01/30/18                             Sugar Camp Mine Plan        HC 2018-0112                                      Leased
                              SCELLC




                                                                                                              Main Docum
                                                                                                                                     89



                          Flannigan, James T. to
Mining Lease   01/30/18                            Sugar Camp Mine Plan   HC 2018-0113                                      Leased
                          SCELLC
                          Leslie, Janet E. to
Mining Lease   01/30/18                            Sugar Camp Mine Plan   HC 2018-0114                                      Leased
                          SCELLC
                          Reid, Jon M. to




                                                                                                     Case 20-41308
Mining Lease   01/30/18                            Sugar Camp Mine Plan   HC 2018-0115                                      Leased
                          SCELLC
                          Webster, Linda to
Mining Lease   01/30/18                            Sugar Camp Mine Plan   HC 2018-0116                                      Leased
                          SCELLC
                          Henson, William to
Mining Lease   01/30/18                            Sugar Camp Mine Plan   HC 2018-0119                                      Leased
                          SCELLC
                          Wake, Amanda to
Coal Deed      01/30/18                            Sugar Camp Mine Plan   HC 2018-0120                                      Owned
                          SCELLC




                                                                                                     Doc 228
                          Trabant, Megan to
Coal Deed      01/30/18                            Sugar Camp Mine Plan   HC 2018-0121                                      Owned
                          SCELLC
                          Metheney, Pamela S. to
Coal Deed      01/30/18                            Sugar Camp Mine Plan   HC 2018-0122                                      Owned
                          SCELLC




                                                                                 Filed 04/01/20 Entered 04/01/20 23:45:34
                          Metheney, Rochelle to
Coal Deed      01/30/18                            Sugar Camp Mine Plan   HC 2018-0123                                      Owned
                          SCELLC
                          Bloomfield, Dora to
Mining Lease   01/30/18                            Sugar Camp Mine Plan   HC 2018-0123                                      Leased




                                                                                          Pg 236 of 1005
                          SCELLC
                          Flannigan, Donald to
Mining Lease   01/30/18                            Sugar Camp Mine Plan   HC 2018-0124                                      Leased
                          SCELLC
                          Smith, Sharon to
Mining Lease   01/30/18                            Sugar Camp Mine Plan   HC 2018-0126                                      Leased
                          SCELLC
                          Wood, Betty A. to
Mining Lease   02/08/18                            Sugar Camp Mine Plan   HC 2018-0171                                      Leased
                          SCELLC
                          Irish, Carol V. to
Mining Lease   02/08/18                            Sugar Camp Mine Plan   HC 2018-0172                                      Leased
                          SCELLC
                          Wicker, Darrell to
Mining Lease   02/08/18                            Sugar Camp Mine Plan   HC 2018-0173                                      Leased
                          SCELLC




                                                                                                     Main Docum
                                                                                                                                       90



                          Kathleen M. Wright to
Mining Lease   02/08/18                              Sugar Camp Mine Plan   HC 2018-0174                                      Leased
                          SCELLC
                          Irish, Lloyd Paul to
Mining Lease   02/08/18                              Sugar Camp Mine Plan   HC 2018-0175                                      Leased
                          SCELLC
                          Patterson, Paul J. to




                                                                                                       Case 20-41308
Mining Lease   02/08/18                              Sugar Camp Mine Plan   HC 2018-0176                                      Leased
                          SCELLC
                          Wicker, Paul R. to
Mining Lease   02/08/18                              Sugar Camp Mine Plan   HC 2018-0177                                      Leased
                          SCELLC
                          Krois, Bonnie C. to
Mining Lease   02/28/18                              Sugar Camp Mine Plan   HC 2018-0270                                      Leased
                          SCELLC
                          Tabor, Stephanie to
Coal Deed      02/28/18                              Sugar Camp Mine Plan   HC 2018-0271                                      Owned
                          SCELLC




                                                                                                       Doc 228
                          Petitte, Clyda to
Mining Lease   02/28/18                              Sugar Camp Mine Plan   HC 2018-0272                                      Leased
                          SCELLC
                          Patterson, Emily Jo to
Mining Lease   02/28/18                              Sugar Camp Mine Plan   HC 2018-0273                                      Leased
                          SCELLC




                                                                                   Filed 04/01/20 Entered 04/01/20 23:45:34
Mining Lease   02/28/18   Allen, Jane to SCELLC      Sugar Camp Mine Plan   HC 2018-0274                                      Leased
                          Spaven, Laverne to
Coal Deed      02/28/18                              Sugar Camp Mine Plan   HC 2018-0276                                      Owned




                                                                                            Pg 237 of 1005
                          SCELLC
                          Jackson, Patricia Snyder
Mining Lease   02/28/18                              Sugar Camp Mine Plan   HC 2018-0277                                      Leased
                          to SCELLC
                          Gioia, Virginia M. to
Mining Lease   02/28/18                              Sugar Camp Mine Plan   HC 2018-0278                                      Leased
                          SCELLC
                          Moffett, William R. to
Mining Lease   02/28/18                              Sugar Camp Mine Plan   HC 2018-0279                                      Leased
                          SCELLC
                          O'Dell, William to
Mining Lease   02/28/18                              Sugar Camp Mine Plan   HC 2018-0280                                      Leased
                          SCELLC
                          Reid, Dennis P. to
Mining Lease   02/28/18                              Sugar Camp Mine Plan   HC 2018-0281                                      Leased
                          SCELLC




                                                                                                       Main Docum
                                                                                                                                      91



                          Griffith, Janice Sue to
Coal Deed      02/28/18                             Sugar Camp Mine Plan   HC 2018-0284                                      Owned
                          SCELLC
                          Knight, Kenneth E. to
Mining Lease   02/28/18                             Sugar Camp Mine Plan   HC 2018-0287                                      Leased
                          SCELLC
                          Metheney, Rickie W. to




                                                                                                      Case 20-41308
Coal Deed      02/28/18                             Sugar Camp Mine Plan   HC 2018-0289                                      Owned
                          SCELLC
                          Olson, Ruth E. to
Mining Lease   02/28/18                             Sugar Camp Mine Plan   HC 2018-0291                                      Leased
                          SCELLC
                          Sandy, Susan E. to
Mining Lease   02/28/18                             Sugar Camp Mine Plan   HC 2018-0293                                      Leased
                          SCELLC
                          Miller, Micah A. &
Coal Deed      02/28/18                             Sugar Camp Mine Plan   HC 2019-2023                                      Owned
                          Marietta to SCELLC




                                                                                                      Doc 228
                          Mudge, Evelyn M. to
Mining Lease   04/06/18                             Sugar Camp Mine Plan   HC 2018-0806                                      Leased
                          SCELLC
                          Higginson, Leslie K. to
Mining Lease   04/12/18                             Sugar Camp Mine Plan   HC 2018-0527                                      Leased
                          SCELLC




                                                                                  Filed 04/01/20 Entered 04/01/20 23:45:34
                          Farris, Brenda K. to
Coal Deed      04/12/18                             Sugar Camp Mine Plan   HC 2018-0528                                      Owned
                          SCELLC
                          Cook, Becky Lynn to
Mining Lease   04/12/18                             Sugar Camp Mine Plan   HC 2018-0529                                      Leased




                                                                                           Pg 238 of 1005
                          SCELLC
                          Snyder, Diane M. to
Mining Lease   04/12/18                             Sugar Camp Mine Plan   HC 2018-0530                                      Leased
                          SCELLC
                          O'Dell, Kevin J. to
Mining Lease   04/12/18                             Sugar Camp Mine Plan   HC 2018-0531                                      Leased
                          SCELLC
                          Wohlers, Karen J. to
Mining Lease   04/12/18                             Sugar Camp Mine Plan   HC 2018-0532                                      Leased
                          SCELLC
                          Heckert, Lauri to
Mining Lease   04/12/18                             Sugar Camp Mine Plan   HC 2018-0533                                      Leased
                          SCELLC




                                                                                                      Main Docum
                                                                                                                                       92



                          Page, Mary Jane by
Mining Lease   04/12/18   Sidney Bennett III AIF     Sugar Camp Mine Plan   HC 2018-0534                                      Leased
                          to SCELLC
                          Comp ton, Paulette N. to
Mining Lease   04/12/18                              Sugar Camp Mine Plan   HC 2018-0535                                      Leased
                          SCELLC




                                                                                                       Case 20-41308
                          Taylor, Jennifer to
Mining Lease   04/12/18                              Sugar Camp Mine Plan   HC 2018-0536                                      Leased
                          SCELLC
                          O'Dell, Carol Lee to
Mining Lease   04/12/18                              Sugar Camp Mine Plan   HC 2018-0537                                      Leased
                          SCELLC
                          O'Dell, Casey Joel to
Mining Lease   04/12/18                              Sugar Camp Mine Plan   HC 2018-0538                                      Leased
                          SCELLC
                          Lowman, Timothy A. to




                                                                                                       Doc 228
Mining Lease   05/08/18                              Sugar Camp Mine Plan   HC 2018-0548                                      Leased
                          SCELLC
                          Neal, Douglas Allen to
Mining Lease   05/08/18                              Sugar Camp Mine Plan   HC 2018-0754                                      Leased
                          SCELLC
                          Williams, J. Mark to




                                                                                   Filed 04/01/20 Entered 04/01/20 23:45:34
Mining Lease   05/08/18                              Sugar Camp Mine Plan   HC 2018-0755                                      Leased
                          SCELLC
                          Barker, Lynne E. to
Mining Lease   05/08/18                              Sugar Camp Mine Plan   HC 2018-0756                                      Leased
                          SCELLC




                                                                                            Pg 239 of 1005
                          Knight, Stephen L. to
Mining Lease   05/08/18                              Sugar Camp Mine Plan   HC 2018-0757                                      Leased
                          SCELLC
                          Neal, Walter Blake to
Mining Lease   05/08/18                              Sugar Camp Mine Plan   HC 2018-0759                                      Leased
                          SCELLC
Coal Deed      05/11/18   Noma, Inc to SCELLC        Sugar Camp Mine Plan   HC 2018-1036                                      Owned
                          Hake, Gary R. to
Mining Lease   05/16/18                              Sugar Camp Mine Plan   HC 2018-0807                                      Leased
                          SCELLC
                          Hosner, Irene Neal to
Mining Lease   05/16/18                              Sugar Camp Mine Plan   HC 2018-0808                                      Leased
                          SCELLC




                                                                                                       Main Docum
                                                                                                                                        93



                          Duckworth, Nina Neal
Mining Lease   05/16/18                               Sugar Camp Mine Plan   HC 2018-0811                                      Leased
                          to SCELLC
                          Bailey, Velma Neal to
Mining Lease   05/16/18                               Sugar Camp Mine Plan   HC 2018-0812                                      Leased
                          SCELLC
                          Lovan, W. Robert to




                                                                                                        Case 20-41308
Mining Lease   05/16/18                               Sugar Camp Mine Plan   HC 2018-0813                                      Leased
                          SCELLC
                          Neal, William Jerry to
Mining Lease   05/16/18                               Sugar Camp Mine Plan   HC 2018-0814                                      Leased
                          SCELLC
                          Bow ton, Barbara G. to
Coal Deed      06/27/18                               Sugar Camp Mine Plan   HC 2018-1027                                      Owned
                          SCELLC
                          Whets tone, Dennis W.
Coal Deed      06/27/18                               Sugar Camp Mine Plan   HC 2018-1028                                      Owned
                          to SCELLC




                                                                                                        Doc 228
                          Whets tone, William R.
Coal Deed      06/27/18                               Sugar Camp Mine Plan   HC 2018-1029                                      Owned
                          to SCELLC
                          Smith, Bernice to
Coal Deed      06/27/18                               Sugar Camp Mine Plan   HC 2018-1030                                      Owned
                          SCELLC




                                                                                    Filed 04/01/20 Entered 04/01/20 23:45:34
                          Thompson, Beatrice %
Coal Deed      06/27/18   Billy E. Walker AIF to      Sugar Camp Mine Plan   HC 2018-1031                                      Owned
                          SCELLC




                                                                                             Pg 240 of 1005
                          First Church of the
Coal Deed      06/27/18                               Sugar Camp Mine Plan   HC 2018-1032                                      Owned
                          Nazarene to SCELLC
                          Linn, Karen R. to
Coal Deed      06/27/18                               Sugar Camp Mine Plan   HC 2018-1034                                      Owned
                          SCELLC
                          Seibert, Charles Ellis to
Mining Lease   06/27/18                               Sugar Camp Mine Plan   HC 2018-1037                                      Leased
                          SCELLC
                          Seibert, James Thomas
Mining Lease   06/27/18                               Sugar Camp Mine Plan   HC 2018-1038                                      Leased
                          to SCELLC
                          Drake, Terry W. to
Mining Lease   06/27/18                               Sugar Camp Mine Plan   HC 2018-1041                                      Leased
                          SCELLC




                                                                                                        Main Docum
                                                                                                                                     94



                          Scott, Betsy Dawn to
Mining Lease   06/27/18                            Sugar Camp Mine Plan   HC 2018-1042                                      Leased
                          SCELLC
                          Lane, John Bradley to
Mining Lease   06/27/18                            Sugar Camp Mine Plan   HC 2018-1045                                      Leased
                          SCELLC
                          Drake, Mark W. to




                                                                                                     Case 20-41308
Mining Lease   06/27/18                            Sugar Camp Mine Plan   HC 2018-1045                                      Leased
                          SCELLC
                          Mendyk, Julie to
Coal Deed      06/27/18                            Sugar Camp Mine Plan   HC 2018-1088                                      Owned
                          SCELLC
                          Wall, Joyce Ann to
Mining Lease   07/05/18                            Sugar Camp Mine Plan   HC 2018-1086                                      Leased
                          SCELLC
                          Metheney, Donald W. to
Mining Lease   07/05/18                            Sugar Camp Mine Plan   HC 2018-1084                                      Leased
                          SCELLC




                                                                                                     Doc 228
                          Sandidge, Joyce to
Coal Deed      07/05/18                            Sugar Camp Mine Plan   HC 2018-1085                                      Owned
                          SCELLC
                          Smith, Leon to
Coal Deed      07/05/18                            Sugar Camp Mine Plan   HC 2018-1087                                      Owned
                          SCELLC




                                                                                 Filed 04/01/20 Entered 04/01/20 23:45:34
                          Smith, Richard H. to
Coal Deed      07/05/18                            Sugar Camp Mine Plan   HC 2018-1088                                      Owned
                          SCELLC
                          Wall, Ronald M. to
Mining Lease   07/05/18                            Sugar Camp Mine Plan   HC 2018-1089                                      Leased




                                                                                          Pg 241 of 1005
                          SCELLC
                          Martin, Marianne B. to
Mining Lease   07/18/18                            Sugar Camp Mine Plan   HC 2018-1157                                      Leased
                          SCELLC
                          Wilkie, Mary Jean to
Mining Lease   07/18/18                            Sugar Camp Mine Plan   HC 2018-1158                                      Leased
                          SCELLC
                          Jones, Michael J. to
Mining Lease   07/18/18                            Sugar Camp Mine Plan   HC 2018-1159                                      Leased
                          SCELLC
                          Martin, Janet J. to
Mining Lease   07/18/18                            Sugar Camp Mine Plan   HC 2018-1160                                      Leased
                          SCELLC
                          Kleber, LLC to
Mining Lease   07/30/18                            Sugar Camp Mine Plan   HC 2018-1222                                      Leased
                          SCELLC




                                                                                                     Main Docum
                                                                                                                                      95



                          Vickers, Rhonda Lee to
Mining Lease   08/08/18                             Sugar Camp Mine Plan   HC 2018-1271                                      Leased
                          SCELLC
                          Pike, Brenda L. to
Mining Lease   08/08/18                             Sugar Camp Mine Plan   HC 2018-1272                                      Leased
                          SCELLC
                          Schwenn, Carolyn S. to




                                                                                                      Case 20-41308
Mining Lease   08/08/18                             Sugar Camp Mine Plan   HC 2018-1273                                      Leased
                          SCELLC
                          Lane, Juanita Dare to
Mining Lease   08/14/18                             Sugar Camp Mine Plan   HC 2018-1302                                      Leased
                          SCELLC
                          Metheney, Miranda to
Coal Deed      08/14/18                             Sugar Camp Mine Plan   HC 2018-1301                                      Owned
                          SCELLC
                          Yancey, George to
Mining Lease   08/14/18                             Sugar Camp Mine Plan   HC 2018-1303                                      Leased
                          SCELLC




                                                                                                      Doc 228
                          Knob Prairie Baptist
Mining Lease   08/28/18   Cemetery Association to   Sugar Camp Mine Plan   HC 2018-1040                                      Leased
                          SCELLC
                          Buchanan, Cynthia E. to




                                                                                  Filed 04/01/20 Entered 04/01/20 23:45:34
Coal Deed      09/12/18                             Sugar Camp Mine Plan   HC 2018-1439                                      Owned
                          SCELLC
                          Brophy, Romaine widow
Coal Deed      09/12/18   of James Brophy to        Sugar Camp Mine Plan   HC 2018-1440                                      Owned




                                                                                           Pg 242 of 1005
                          SCELLC
                          Wright, Donald L. to
Mining Lease   09/12/18                             Sugar Camp Mine Plan   HC 2018-1441                                      Leased
                          SCELLC
                          Dorion, Rhona to
Mining Lease   09/12/18                             Sugar Camp Mine Plan   HC 2018-1442                                      Leased
                          SCELLC
                          Wright, Laura to
Mining Lease   09/12/18                             Sugar Camp Mine Plan   HC 2018-1443                                      Leased
                          SCELLC
                          Simmons, Gavin T. to
Mining Lease   10/03/18                             Sugar Camp Mine Plan   HC 2018-1523                                      Leased
                          SCELLC
                          Wright, Curtis D. to
Mining Lease   10/03/18                             Sugar Camp Mine Plan   HC 2018-1524                                      Leased
                          SCELLC




                                                                                                      Main Docum
                                                                                                                                       96



                          Lane, Riley Elizabeth to
Mining Lease   10/03/18                             Sugar Camp Mine Plan    HC 2018-1525                                      Leased
                          SCELLC
                          Winter, Carrie L Trust to
Mining Lease   10/24/18                             Sugar Camp Mine Plan    HC 2018-1662                                      Leased
                          SCELLC




                                                                                                       Case 20-41308
Mining Lease   10/24/18   Smith, Brett to SCELLC     Sugar Camp Mine Plan   HC 2018-1663                                      Leased
                          Johnson, Flora Wymond
Mining Lease   10/24/18                              Sugar Camp Mine Plan   HC 2018-1665                                      Leased
                          to SCELLC
                          Collins, Sandra Lee to
Mining Lease   10/24/18                              Sugar Camp Mine Plan   HC 2018-1666                                      Leased
                          SCELLC
                          Koptez, Steven Gerald
Mining Lease   10/24/18                              Sugar Camp Mine Plan   HC 2018-1667                                      Leased
                          to SCELLC




                                                                                                       Doc 228
                          Decker, Mary Lee to
Mining Lease   10/24/18                              Sugar Camp Mine Plan   HC 2018-1783                                      Leased
                          SCELLC
                          Jenkins, Thomas R to
Coal Deed      10/30/18                              Sugar Camp Mine Plan   HC 2018-1692                                      Owned
                          SCELLC




                                                                                   Filed 04/01/20 Entered 04/01/20 23:45:34
                          Dry, Margaret Johnson
Mining Lease   10/30/18                              Sugar Camp Mine Plan   HC 2018-1693                                      Leased
                          to SCELLC
                          Lane, Sydney Drew to
Mining Lease   10/30/18                              Sugar Camp Mine Plan   HC 2018-1694                                      Leased




                                                                                            Pg 243 of 1005
                          SCELLC
                          touma, Elizabeth
Mining Lease   10/30/18                              Sugar Camp Mine Plan   HC 2018-1695                                      Leased
                          Johnson to SCELLC
                          Myers, Phyllis Ann to
Mining Lease   10/30/18                              Sugar Camp Mine Plan   HC 2018-1696                                      Leased
                          SCELLC
                          Palmer, Gary to
Mining Lease   11/19/18                              Sugar Camp Mine Plan   HC 2018-1785                                      Leased
                          SCELLC
                          Jordon, Flora Johnson to
Mining Lease   11/19/18                              Sugar Camp Mine Plan   HC 2018-1908                                      Leased
                          SCELLC
                          Waggoner, Amanda J to
Mining Lease   11/20/18                              Sugar Camp Mine Plan   FC 2018-4821                                      Leased
                          SCELLC




                                                                                                       Main Docum
                                                                                                                                      97



                          Bohannon, Barbara Ann
Mining Lease   11/20/18                             Sugar Camp Mine Plan   FC 2018-4822                                      Leased
                          to SCELLC
                          Otterson, Lloyd L. to
Mining Lease   11/20/18                             Sugar Camp Mine Plan   FC 2018-4823                                      Leased
                          SCELLC
                          Goforth, Heather J. to




                                                                                                      Case 20-41308
Mining Lease   12/11/18                             Sugar Camp Mine Plan   HC 2018-1905                                      Leased
                          SCELLC
                          Goforth, Matthew R. to
Mining Lease   12/11/18                             Sugar Camp Mine Plan   HC 2018-1906                                      Leased
                          SCELLC
                          Smith, Kerry to
Mining Lease   12/11/18                             Sugar Camp Mine Plan   HC 2018-1907                                      Leased
                          SCELLC
                          Johnson, Katherine
Mining Lease   12/11/18                             Sugar Camp Mine Plan   HC 2018-1908                                      Leased
                          Elizabeth to SCELLC




                                                                                                      Doc 228
                          Wright, Shelia P. to
Mining Lease   12/18/18                             Sugar Camp Mine Plan   HC 2018-1974                                      Leased
                          SCELLC
                          Wright, Richard A. to
Mining Lease   12/18/18                             Sugar Camp Mine Plan   HC 2018-1975                                      Leased
                          SCELLC




                                                                                  Filed 04/01/20 Entered 04/01/20 23:45:34
                          Wright, Michael S. to
Mining Lease   12/18/18                             Sugar Camp Mine Plan   HC 2018-1976                                      Leased
                          SCELLC
                          Brown, Gary R. to
Mining Lease   12/18/18                             Sugar Camp Mine Plan   HC 2018-1977                                      Leased




                                                                                           Pg 244 of 1005
                          SCELLC
                          Jenkins, Mike to
Coal Deed      01/09/19                             Sugar Camp Mine Plan   HC 2019-0057                                      Owned
                          SCELLC
                          Jenkins, Hellen to
Mining Lease   01/09/19                             Sugar Camp Mine Plan   HC 2019-0058                                      Leased
                          SCELLC
                          Bayne, Janet Jenkins to
Mining Lease   01/09/19                             Sugar Camp Mine Plan   HC 2019-0059                                      Leased
                          SCELLC
                          Jenkins, James J. to
Mining Lease   01/09/19                             Sugar Camp Mine Plan   HC 2019-0060                                      Leased
                          SCELLC
                          Wright, Steven Ray to
Mining Lease   01/16/19                             Sugar Camp Mine Plan   HC 2019-0097                                      Leased
                          SCELLC




                                                                                                      Main Docum
                                                                                                                                      98



                          Wright, Ida Louise to
Mining Lease   01/16/19                             Sugar Camp Mine Plan   HC 2019-0098                                      Leased
                          SCELLC
                          The Bonnie Camp
Coal Deed      01/29/19                             Sugar Camp Mine Plan   HC 2019-0150                                      Owned
                          Meeting to SCELLC
                          Barnhill, Ruth Eloise




                                                                                                      Case 20-41308
Coal Deed      02/01/19                             Sugar Camp Mine Plan   HC 2019-0168                                      Owned
                          Short to SCELLC
                          Rappe, John James to
Coal Deed      02/01/19                             Sugar Camp Mine Plan   HC 2019-0169                                      Owned
                          SCELLC
                          Willis, Bruce E. to
Mining Lease   02/01/19                             Sugar Camp Mine Plan   HC 2019-0172                                      Leased
                          SCELLC
                          Knott, Elaine Mae to
Mining Lease   02/01/19                             Sugar Camp Mine Plan   HC 2019-0173                                      Leased
                          SCELLC




                                                                                                      Doc 228
                          Seibert, John Walter to
Mining Lease   02/01/19                             Sugar Camp Mine Plan   HC 2019-0174                                      Leased
                          SCELLC
Coal Deed      02/08/19   Short, Leon to SCELLC     Sugar Camp Mine Plan   HC 2019-0210                                      Owned




                                                                                  Filed 04/01/20 Entered 04/01/20 23:45:34
                          Avolt, Kathleen Eagan
Coal Deed      02/08/19                             Sugar Camp Mine Plan   HC 2019-0218                                      Owned
                          to SCELLC
                          Avolt, Donna H. to
Coal Deed      02/08/19                             Sugar Camp Mine Plan   HC 2019-0219                                      Owned




                                                                                           Pg 245 of 1005
                          SCELLC
Mining Lease   02/13/19   Wall, Letitia to SCELLC Sugar Camp Mine Plan     HC 2019-0223                                      Leased
                          Rexing, Joseph L. to                             NOT
Mining Lease   02/14/19                             Sugar Camp Mine Plan                                                     Leased
                          SCELLC                                           RECORDED
                          Rexing, Joseph L. to                             NOT
Mining Lease   02/14/19                             Sugar Camp Mine Plan                                                     Leased
                          SCELLC                                           RECORDED
                          Hoffman, Elaine W. to
Mining Lease   02/19/19                             Sugar Camp Mine Plan   HC 2019-0245                                      Leased
                          SCELLC
                          Banning, David W. to
Coal Deed      03/12/19                             Sugar Camp Mine Plan   HC 2019-0368                                      Owned
                          SCELLC




                                                                                                      Main Docum
                                                                                                                                      99



                          Kinsey, Frances E. to
Mining Lease   03/22/19                             Sugar Camp Mine Plan   HC 2019-0416                                      Leased
                          SCELLC
                          Willis, George Darin to
Mining Lease   03/22/19                             Sugar Camp Mine Plan   HC 2019-0417                                      Leased
                          SCELLC
                          Burns, Lenore E. to




                                                                                                      Case 20-41308
Mining Lease   03/22/19                             Sugar Camp Mine Plan   HC 2019-0418                                      Leased
                          SCELLC
                          Gill, Lorella E. to
Mining Lease   03/22/19                             Sugar Camp Mine Plan   HC 2019-0419                                      Leased
                          SCELLC
                          Oberreiter, Jean Ann
Mining Lease   03/22/19                             Sugar Camp Mine Plan   HC 2019-0420                                      Leased
                          (Evans) to SCELLC
                          Doyle, Kymbra Drasil
Coal Deed      03/22/19                             Sugar Camp Mine Plan   HC 2019-0421                                      Owned
                          to SCELLC




                                                                                                      Doc 228
                          Higgins, Cynthia Ann to
Coal Deed      03/27/19                             Sugar Camp Mine Plan   HC 2019-0446                                      Owned
                          Elaine May Knott
Coal Deed      03/28/19   Short, Dian to SCELLC     Sugar Camp Mine Plan   HC 2019-0463                                      Owned




                                                                                  Filed 04/01/20 Entered 04/01/20 23:45:34
                          Short, Richard to
Coal Deed      03/28/19                             Sugar Camp Mine Plan   HC 2019-0464                                      Owned
                          SCELLC
                          South Side Christian
Coal Deed      04/03/19                             Sugar Camp Mine Plan   HC 2019-0507                                      Owned




                                                                                           Pg 246 of 1005
                          Church to SCELLC
                          Yorgan, Jennifer to
Mining Lease   04/10/19                             Sugar Camp Mine Plan   HC 2019-0558                                      Leased
                          SCELLC
                          Edmonds, James G. to
Mining Lease   04/10/19                             Sugar Camp Mine Plan   HC 2019-0559                                      Leased
                          SCELLC
                          Crowder, Nancee L. to
Mining Lease   04/23/19                             Sugar Camp Mine Plan   HC 2019-0669                                      Leased
                          SCELLC
                          Gunn, Patrick L. to
Mining Lease   04/23/19                             Sugar Camp Mine Plan   HC 2019-0671                                      Leased
                          SCELLC
                          Gunn, Scott L. to
Mining Lease   04/23/19                             Sugar Camp Mine Plan   HC 2019-0672                                      Leased
                          SCELLC




                                                                                                      Main Docum
                                                                                                                                      100



                          Gunn, Kenneth to
Mining Lease   04/23/19                             Sugar Camp Mine Plan   HC 2019-0673                                      Leased
                          SCELLC
                          Foresight Energy LP to                           NOT
Mining Lease   05/01/19                             Sugar Camp Mine Plan                                                     Leased
                          SCELLC                                           RECORDED
                          Camden, Randy to




                                                                                                      Case 20-41308
Mining Lease   05/08/19                             Sugar Camp Mine Plan   HC 2019-0750                                      Leased
                          SCELLC
                          Davis, Tamera L. to
Mining Lease   05/08/19                             Sugar Camp Mine Plan   HC 2019-0751                                      Leased
                          SCELLC
                          Fitts, David F. to
Mining Lease   05/30/19                             Sugar Camp Mine Plan   HC 2019-0851                                      Leased
                          SCELLC
                          Avolt, Geoffrey Barth
Coal Deed      06/03/19                             Sugar Camp Mine Plan   HC 2019-0870                                      Owned
                          to SCELLC




                                                                                                      Doc 228
                          Buchman, Diana Sue
Mining Lease   06/10/19                             Sugar Camp Mine Plan   HC 2019-0896                                      Leased
                          Wright to SCELLC
                          Willis, Robert James to
Mining Lease   06/10/19                             Sugar Camp Mine Plan   HC 2019-0897                                      Leased
                          SCELLC




                                                                                  Filed 04/01/20 Entered 04/01/20 23:45:34
                          Sears, James R. &
Mining Lease   06/10/19                             Sugar Camp Mine Plan   HC 2019-0898                                      Leased
                          Gloria to SCELLC
                          Wise, Melodie Lea to
Mining Lease   06/19/19                             Sugar Camp Mine Plan   HC 2019-0962                                      Leased




                                                                                           Pg 247 of 1005
                          SCELLC
                          Walker, Edwin N. to
Mining Lease   06/19/19                             Sugar Camp Mine Plan   HC 2019-0963                                      Leased
                          SCELLC
                          O'Dell, Paula J. to
Mining Lease   07/17/19                             Sugar Camp Mine Plan   HC 2019-1079                                      Leased
                          SCELLC
                          Walker, Ivan W. to
Mining Lease   07/17/19                             Sugar Camp Mine Plan   HC 2019-1080                                      Leased
                          SCELLC
                          Hut ton, Catherine Ann
Mining Lease   07/25/19                             Sugar Camp Mine Plan   HC 2019-1118                                      Leased
                          to SCELLC
                          Nuss, Richard E. Sr. to
Coal Deed      07/25/19                             Sugar Camp Mine Plan   HC 2019-1120                                      Owned
                          SCELLC




                                                                                                      Main Docum
                                                                                                                                        101



                          Miltenberger, Cheryl G.
Mining Lease   08/01/19                               Sugar Camp Mine Plan   HC 2019-1162                                      Leased
                          to SCELLC
                          Lohman, Sandra E. to
Mining Lease   08/01/19                               Sugar Camp Mine Plan   HC 2019-1163                                      Leased
                          SCELLC
                          Entwistle, Craig W. to




                                                                                                        Case 20-41308
Mining Lease   08/01/19                               Sugar Camp Mine Plan   HC 2019-1164                                      Leased
                          SCELLC
                          Society of St. Vincent de
Coal Deed      08/28/19   Paul Archdiocesan           Sugar Camp Mine Plan   HC 2019-1317                                      Owned
                          Council toSCELLC
                          Entwistle, Jacquelyn
Mining Lease   08/28/19                               Sugar Camp Mine Plan   HC 2019-1318                                      Leased
                          Marie to SCELLC
                          Oliver, Mil ton Donald




                                                                                                        Doc 228
Mining Lease   08/28/19                               Sugar Camp Mine Plan   HC 2019-1318                                      Leased
                          to SCELLC
                          Prusha, Thomas M. to
Mining Lease   09/24/19                               Sugar Camp Mine Plan   HC 2019-1584                                      Leased
                          SCELLC
                          Lowe, Debra Short to




                                                                                    Filed 04/01/20 Entered 04/01/20 23:45:34
Coal Deed      10/09/19                               Sugar Camp Mine Plan   HC 2019-1697                                      Owned
                          SCELLC
                          Lewis, Phyllis Ann to
Coal Deed      11/14/19                               Sugar Camp Mine Plan   HC 2019-1869                                      Owned
                          SCELLC




                                                                                             Pg 248 of 1005
                          Duncan, Barbara Joan
Coal Deed      11/14/19                               Sugar Camp Mine Plan   HC 2019-1870                                      Owned
                          to SCELLC
                          McKinney, Marsha to
Coal Deed      11/14/2019                             Sugar Camp Mine Plan   HC 2019-1871                                      Owned
                          SCELLC
                          Kniffen, Susan to
Coal Deed      11/14/2019                             Sugar Camp Mine Plan   HC 2019-1872                                      Owned
                          SCELLC
                          Blackwell, William
Coal Deed      11/14/19                               Sugar Camp Mine Plan   HC 2019-1873                                      Owned
                          Loyd to SCELLC
                          Flannigan, Monty D. to
Mining Lease   11/14/19                               Sugar Camp Mine Plan   HC 2019-1874                                      Leased
                          SCELLC




                                                                                                        Main Docum
                                                                                                                                          102



                             Irish, Wilmot Wheeler to
 Mining Lease     11/20/19                              Sugar Camp Mine Plan   HC 2019-1903                                      Leased
                             SCELLC
                             McIntosh, Mark E. to
 Coal Deed        11/26/19                              Sugar Camp Mine Plan   HC 2019-1945                                      Owned
                             SCELLC
                             Bergen County Animal




                                                                                                          Case 20-41308
 Mining Lease     12/10/19                              Sugar Camp Mine Plan   FC 2019-4869                                      Leased
                             Shelter to SCELLC
                             Moore, Carolyn F. to
 Mining Lease     01/16/20                              Sugar Camp Mine Plan   HC 2020-0098                                      Leased
                             SCELLC
                             Rucker, Lezlie J. to
 Mining Lease     01/16/20                              Sugar Camp Mine Plan   HC 2020-0099                                      Leased
                             SCELLC
                             Cooper, Rene F. to
 Mining Lease     01/16/20                              Sugar Camp Mine Plan   HC 2020-0100                                      Leased
                             SCELLC




                                                                                                          Doc 228
                             Drake, Roger to
 Coal Deed        01/21/20                              Sugar Camp Mine Plan   HC 2020-0109                                      Owned
                             SCELLC
                             Debow, Carolyn S. to
 Mining Lease     01/21/20                              Sugar Camp Mine Plan   HC 2020-0110                                      Leased
                             SCELLC




                                                                                      Filed 04/01/20 Entered 04/01/20 23:45:34
                             Drake, Daphne to
 Mining Lease     01/21/20                              Sugar Camp Mine Plan   HC 2020-0111                                      Leased
                             SCELLC
                             Rocky Mountain Lions




                                                                                               Pg 249 of 1005
                             Eye Institute
 Mining Lease     02/18/20                              Sugar Camp Mine Plan   HC 2020-0319                                      Leased
                             Foundation, Inc. to
                             SCELLC
                             Hoppe, Judy H. to
 Mining Lease     02/18/20                              Sugar Camp Mine Plan   HC 2020-0320                                      Leased
                             SCELLC
                             Musselman, James Jay
 Mining Lease     02/27/20                              Sugar Camp Mine Plan   HC 2020-0378                                      Leased
                             to SCELLC
DEBTOR/GRANTOR:

SITRAN, LLC




                                                                                                          Main Docum
                                                                                                                                                                       103



                                                                                                                                                                  Subject
Description/Title of                                                                                    Recording                                     Owned       to
Document               Date        Parties                          Brief Legal Description             Information                                   or Leased   Mortgage
MOORAGE
OPTIONS/LEASE




                                                                                                                               Case 20-41308
S KENTUCKY

Option To Lease        4/10/2009   Kay Karr Brooks and Sitran       An undivided 2/15th: Certain        NOT                                           Lease       No
                                   LLC                              property in the Ohio River known    RECORDE
                                                                    as Karr Island, which property      D
                                                                    was granted to Hopson Karr and
                                                                    N.S. Karr by a governor’s patente
                                                                    on 12/21/1960 that is recorded in




                                                                                                                               Doc 228
                                                                    the Henderson Co Bk 202 Pg 266

Option To Lease        4/10/2009   Robert Karr & Rebecca S.         An undivided 2/15th: Certain        NOT                                           Lease       No
                                   Karr, his wife, and Sitran LLC   property in the Ohio River known    RECORDE




                                                                                                           Filed 04/01/20 Entered 04/01/20 23:45:34
                                                                    as Karr Island, which property      D
                                                                    was granted to Hopson Karr and
                                                                    N.S. Karr by a governor’s patente
                                                                    on 12/21/1960 that is recorded in




                                                                                                                    Pg 250 of 1005
                                                                    the Henderson Co Bk 202 Pg 266




                                                                                                                               Main Docum
                                                                                                                                                      104



DEBTOR/GRANTOR:

OENEUS LLC D/B/A SAVATRAN LLC




                                                                                                             Case 20-41308
 Description/Title of                                                               Recording                                        Owned      Subject to
                          Date           Parties          Legal Description
     Document                                                                      Information                                      or Leased   Mortgage

 SUGAR CAMP TO McLEANSBORO RAIL LINE ILLINOIS

                                    SAVATRAN LLC to   Pt. NWNW 29-T5S-R5E         HC-57 Rented
  Rental Agreement      9/12/2008                                                                                                    Leased




                                                                                                             Doc 228
                                      William Webb    Hamilton Co IL 0.65 acres      house.




                                                                                         Filed 04/01/20 Entered 04/01/20 23:45:34
                                                                                                  Pg 251 of 1005
                                                                                                             Main Docum
Case 20-41308    Doc 228     Filed 04/01/20 Entered 04/01/20 23:45:34            Main Document
                                      Pg 252 of 1005
                                                                                           105



                                          Schedule 5.09

                                     Environmental Matters


       1. Macoupin Energy, Inc. entered into a Consent Order with the Illinois
          Environmental Protection Agency on September 14, 2015 requiring the
          implementation of a Groundwater Monitoring Zone to address groundwater
          contamination caused by the previous owner. This work is ongoing.

       2. Except as set out in the chart attached hereto as Annex I, none of the Borrower, nor
          any of its respective Subsidiaries has received any notice of violation, alleged
          violation, non-compliance, liability or potential liability regarding compliance with
          or liability under Environmental Laws with regard to any of the Properties or the
          business operated by the Borrower, or any of its Subsidiaries, or any prior business
          for which the Borrower has retained liability under any Environmental Law.

       3. Except as set out in the list attached hereto as Annex II, no judicial proceeding or
          governmental or administrative action is pending or, to the knowledge of the
          Borrower, threatened under any Environmental Law to which the Borrower, or any
          of its Subsidiaries is or, to the knowledge of the Borrower, will be named as a party
          or with respect to the Properties or the Business, nor are there any consent decrees
          or other decrees, consent orders, administrative orders or other orders, or other
          similar administrative or judicial requirements outstanding under any
          Environmental Law with respect to the Properties or the Business.

       4. Except as set out in the list attached hereto as Annex II, the Properties and all
          operations at the Properties are in compliance with all applicable Environmental
          Laws.

       5. Except as set out in the chart attached hereto as Annex III, the Borrower and each
          of its Subsidiaries has obtained, and is in compliance with, all Environmental
          Permits required for the conduct of its businesses and operations, and the
          ownership, occupation, operation and use of its Property, and all such
          Environmental Permits are in full force and effect.
    Case 20-41308                           Doc 228           Filed 04/01/20 Entered 04/01/20 23:45:34                                            Main Document
                                                                       Pg 253 of 1005
Schedule 5.09 (2)
FORESIGHT ENERGY
As of 3/6/20

    State               Company            Permit Number   Agency     Type       NOV Number       Issued     Status                              NOV Description

                                                                                                                       Permittee constructed a concrete foundation for a back-up
     IL            Hillsboro Energy, LLC        399        IDNR        NOV         78-02-20     2/20/2020    Issued    ventilation fan and concrete pilings with prior approval

                                                                                                                       The permitted conducted surface coal mining operations without
                                                                                                                       requesting or obtaining approval from the Department authorized
                                                                                                                       such operations to be conducted. The Permittee is disposing
                                                                                                                       underground mine water into the sealed Viking District #1. The
                                                                                                                       underground mine water is only approved to be disposed at Pond
     IL        Sugar Camp Energy, LLC           382        IDNR        NOV         85-03-20     2/18/2020    Issued    No. 1, RDA No. 1, and/or the RO plant on Permit 382.
                                                                                                                       On August 29, 2019, IEPA conducted compliance sampling inspection
                                                                                                                       at Pond Creek #1 Mine. At the time of inspection, water quality
     IL        Williamson Energy, LLC.       IL0077666      IEPA       NOV       W-2019-50223    2/6/2020    Issued    standard violations were noted

                                                                                                                       Water pumped from underground works escaped from Sugar Camp
                                                                                                                       support facilities at three separate locations. The mine water flows
     IL        Sugar Camp Energy, LLC           382        IDNR        NOV         85-02-20      2/5/2020    Issued    off-permit, contaminated nearby water and soils resources.

                                                                                                                       Failure to remove and segregate topsoil prior to disturbance. Topsoil
                                                                                                                       was not removed prior to placement of road construction material
                                                                                                                       for the trencher platform road. Failure to protect topsoil from
                                                                                                                       contamination. Operator's amd commutator's trucks were allowed to
                                                                                                                       drive across topsoil stockpile. Failure to follow the approved
                                                                                                                       operations plan. Alternate sediment control measures were not used
                                                                                                                       during installation of the groundwater migration control system.
                                                                                                                       Failure to conduct surface mining and reclamation operations only
                                                                                                                       within the approved permit area. Surface disturbance occurred
                                                                                                                       approximately sixty (60) feet outside of the approved permit area
     IL            Macoupin Energy, LLC      56 and 209    IDNR        NOV        38-04-2019     9/9/2019    Abated    (IBR No. 14).

                                                                                                                       Failure to follow the correct procedures for stockpiling and storing
                                                                                                                       topsoil, failure to protect a topsoil stockpile from contamination, and
                                                                                                                       failure to follow the permitted plan in the placement of a topsoil
                                                                                                                       stockpile. Specifically, the operator placed a topsoil stockpile in an
                                                                                                                       unapproved location on the south side of the IBR No 83; then,
                                                                                                                       improperly moved a portion of the stockpile to complete installation
                                                                                                                       of a utility borehole, and spilled concrete associated with the
     IL        Williamson Energy, LLC.          375        IDNR        NOV        67-04-2019     9/4/2019    Abated    borehole construction on the topsoil stockpile.
     IL        Sugar Camp Energy, LLC           382        IDNR     Show Cause     2019-02       8/6/2019    Settled   Pattern of Violations

                                                                                                                       Failure to notify Dept of the following surface water discharge
                                                                                                                       excursions within five days of receiving analytical results of water
     IL        Williamson Energy, LLC.          375        IDNR        NOV        67-03-2019     8/2/2019    Abated    sample: a) Outfall 002: Cl 690 mg/L; b) Outfall 002: SO4 1040 mg/L.
                                                                                                                       Water pumped from underground works escaped from a buried
     IL        Sugar Camp Energy, LLC           382        IDNR        NOV        63-06-2019     8/8/2019    Abated    pipeline and contaminated soil resources.
                                                                                                                       FAILURE TO INSTALL PIPELINE ON PERMITTED AREA. SECTIONS OF
                                                                                                                       UNDERGROUND, BURIED PIPELINE, IBR38 WERE INSTALLED OUTSIDE
     IL        Sugar Camp Energy, LLC           382        IDNR        NOV        63-05-2019     7/9/2019    Abated    APPROVED PERMIT AREA.
                                                                                                                       Non-compliant water was discharged from Outfall 013 into Middle
                                                                                                                       Fork Big Muddy River. Lab analysis of the discharge indicated pH
     IL        Sugar Camp Energy, LLC           434        IDNR        NOV        63-04-2019     7/1/2019    Abated    reading of 4.68.

                                                                                                                       Water pumped from underground works escaped from Sugar Camp
                                                                                                                       support facilities at three separate locations. The mine water flowed
     IL        Sugar Camp Energy, LLC           382        IDNR        NOV        63-03-2019    6/21/2019    Abated    off-permit, contaminating nearby water and soil resources.
                                                                                                                       Water pumped from underground works escaped from a buried
     IL        Sugar Camp Energy, LLC           382        IDNR        NOV        63-02-2019     6/4/2019    Abated    pipeline and contaminated soil resources.

                                                                                                                       Failure to report a surface water discharge excursion within five days
                                                                                                                       of receiving analytical results of the water sample from the Shay No.
     IL            Macoupin Energy, LLC         56         IDNR        NOV         38-03-19     4/16/2019    Abated    1 Mine, as outlined in 62 Ill. Adm. Code 1817.41€(2).
                                                                                                                       Failure to report surface water discharge excursion within five days
     IL            Macoupin Energy, LLC         56         IDNR        NOV        38-03-2019    4/16/2019    Abated    of receiving analytical results of the water sample.
                                                                                                                       IEPA site investigation regarding a spill of high chloride water. A
                                                                                                                       transmission line to RDA ruptured. Several violations noted during
     IL        Sugar Camp Energy, LLC        IL0078565      IEPA       NOV       W-2019-50002   3/25/2019    Issued    investigation.
                                                                                                                       Failed to follow the approved plan. Operator failed to remove
                                                                                                                       saturated clay prior to placement of coarse refuse material as
     IL        Williamson Energy, LLC.          417        IDNR        NOV        67-01-2019    3/13/2019    Abated    specified in Permit No. 471.

                                                                                                                       The Operator failed to publish a renewal application public notice
                                                                                                                       within the time frame to conduct an informal conference and allow
     IL            Hillsboro Energy, LLC        399        IDNR        NOV        38-02-2019    2/11/2019    Abated    time for issuance of the renewal decision prior to permit expiration.
                                                                                                                       Failure to report surface water discharge excursion within five days
     IL            Hillsboro Energy, LLC        399        IDNR        NOV        38-01-2019    1/16/2019    Abated    of receiving analytical results of the water sample.
                                                                                                                       Water from underground works escaped from a buried pipeline,
     IL        Sugar Camp Energy, LLC           382        IDNR        NOV        63-07-2018    10/24/2018   Abated    flowed off-permit and into a drainage ditch.
                                                                                                                       Water pumped from underground works escaped from a buried
                                                                                                                       pipeline, flowed off-permit and into a stream, contaminating
     IL        Sugar Camp Energy, LLC           382        IDNR        NOV        63-05-2018    10/18/2018   Abated    downstream water and soil resources.
                                                                                                                       Water pumped from underground works escaped from a buried
                                                                                                                       pipeline, flowed off-permit and into a stream, contaminating
     IL        Sugar Camp Energy, LLC           382        IDNR        NOV        63-06-2018    10/18/2018   Abated    downstream water and soil resources.
                                                                                                                       Failure to report surface water discharge excursion within five days
     IL            Hillsboro Energy, LLC        399        IDNR        NOV        38-01-2018    10/15/2018   Abated    of receiving analytical results of the water sample.
                                                                                                                       Failure to submit the required ownership and control information for
                                                                                                                       the permit renewal application to Permit No. 209 in a timely
     IL            Macoupin Energy, LLC         209        IDNR        NOV        78-01-2018    8/13/2018    Abated    manner.




                                                                                                                                                                                                 1
    Case 20-41308                           Doc 228           Filed 04/01/20 Entered 04/01/20 23:45:34                                           Main Document
                                                                       Pg 254 of 1005
Schedule 5.09 (2)
FORESIGHT ENERGY
As of 3/6/20

    State               Company            Permit Number   Agency     Type       NOV Number       Issued     Status                              NOV Description

                                                                                                                      The permittee conducted surface coal mining operations without
                                                                                                                      first obtaining a permit from the Department authorizing such
     IL        Sugar Camp Energy, LLC           382        IDNR        NOV        63-03-2018    8/10/2018    Abated   operations to be conducted upon the acreage involved.

                                                                                                                      High chloride mine water flowed approximately 200 feet down grade
     IL        Sugar Camp Energy, LLC           382        IDNR        NOV        63-02-2018    3/20/2018    Abated   from the source of the spill and off permit. (pipeline leak)
                                                                                                                      FAILED TO PROTECT SURFACE WATER AND FAILED TO MAINTAIN
     IL        Williamson Energy, LLC.          375        IDNR        NOV        67-01-2018    2/20/2018    Abated   SUPPORT FACILITIES.
                                                                                                                      Failure to follow approved plan for IBR No. 80 of Permit No. 382 by
     IL        Sugar Camp Energy, LLC           382        IDNR        NOV        63-01-2018     2/5/2018    Abated   affecting stream buffer zone with vehicular traffic.
                                                                                                                      Failure to notify the surface owner with a description of measures
                                                                                                                      that would be taken to prevent subsidence and/or to mitigate
     IL        Williamson Energy, LLC.          375        IDNR        NOV        67-04-2017    12/15/2017   Abated   subsidence damages which may occur.
                                                                                                                      Mining related materials (sodium silicate) were deposited within and
                                                                                                                      outside the permitted area in an uncontrolled manner, impacting an
                                                                                                                      adjacent road side drainage ditch and unnamed tributaries to Akin
     IL        Sugar Camp Energy, LLC           382        IDNR        NOV        63-05-2017    10/30/2017   Abated   Creek.

                                                                                                                      The permittee failed to properly plug and abandon groundwater
                                                                                                                      monitoring well MW-I as required and described under Condition I(a)
     IL        Sugar Camp Energy, LLC           382        IDNR        NOV        63-04-2017    10/3/2017    Abated   of the Department's June 8,2017 approval letter for IPR #50.

                                                                                                                      The permittee failed to follow the approved plan (lPR No. 50,
                                                                                                                      Condition 5(a)) by plugging groundwater monitoring wells MW-3 and
     IL        Sugar Camp Energy, LLC           382        IDNR        NOV        63-03-2017    9/11/2017    Abated   MW-47 without first obtaining Department approval to do so.

                                                                                                                      Failure to follow the approved plan; specifically, the operator
                                                                                                                      implemented a relocation of the specific areas where planned
                                                                                                                      subsidence was approved to occur prior to that plan change being
     IL        Williamson Energy, LLC.          375        IDNR        NOV        67-03-2017     9/6/2017    Abated   submitted to and approved by the Department.
                                                                                                                      Unauthorized surface area disturbance within 100' (in disaccord with
                                                                                                                      IBR No. 66) of the top of the bank of the normal channel of the
     IL        Sugar Camp Energy, LLC           382        IDNR        NOV        63-02-2017    7/11/2017    Abated   stream.
                                                                                                                      Failure to submit ground water monitoring data from wells MW-31
     IL        Sugar Camp Energy, LLC           434        IDNR        NOV        63-01-2017     5/5/2017    Abated   through MW-38R.
                                                                                                                      Failure to report flow from Smith Reservoir (NPDES Outfall 007) for
                                                                                                                      the month of November 2016 in the quarterly discharge monitoring
                                                                                                                      reports. (The Department documented flow during the Nov. 7, 2016
     IL            Macoupin Energy, LLC         56         IDNR        NOV        72-01-2017     3/7/2017    Abated   inspection.)
                                                                                                                      Failure to report flow from Sediment Basin 002 (NPDES Outfall 002)
                                                                                                                      for the month of November 2016 in the quarterly discharge
                                                                                                                      monitoring reports. (The Department documented flow during the
     IL            Hillsboro Energy, LLC        399        IDNR        NOV         38-01-17      3/3/2017    Abated   Nov. 10, 2016 inspection.)
                                                                                                                      2016 regarding discharge of contaminants that “cause or tend to
                                                                                                                      cause water pollution in Illinois, either alone or in combination with
     IL        Williamson Energy, LLC.       IL0077666     IEPA        NOV       W-2016-50022   8/18/2016    Abated   matter from other sources
     IL        Williamson Energy, LLC.          375        IDNR        NOV          62-3-16      5/3/2016    Abated   failure to follow approved drainage control plan
                                                                                                                      discharge at NPDES point 002 and 007 exceeding the daily maximum
     IL        Williamson Energy, LLC.          375        IDNR        NOV          62-2-16     4/18/2016    Abated   of 500 mg/L for Sulfate and Chloride
     IL        Sugar Camp Energy, LLC           382        IDNR        NOV          63-2-16      2/9/2016    Abated   failure to follow approved pre-plan
                                                                                                                      failure to notify department within five (5) days of surface water
     IL        Williamson Energy, LLC.          375        IDNR        NOV          62-1-16     1/26/2016    Abated   sample noncompliance
                                                                                                                      failure to pass affected area through a siltation structure before
     IL        Sugar Camp Energy, LLC           382        IDNR        NOV          63-1-16      1/7/2016    Abated   leaving the permit area
                                                                                                                      violations of permit conditions and failure to apply for and obtain
                                                                                                                      construction permit to allow for modification of crushing and
     IL            Hillsboro Energy, LLC     IL0078727      IEPA    Show Cause   A-2014-00319   1/14/2015    Abated   screening operations
                                                                                                                      failure to comply with effluent conditions of NPDES permit, discharge
     IL        Sugar Camp Energy, LLC        IL0078565      IEPA    Show Cause   M-2014-02002   10/23/2014   Abated   of contaminants and offensive conditions
                                                                                                                      discharging water in excess of NPDES limits for chlorides and sulfates
     IL         Hillsboro Energy, LLC           399        IDNR        NOV         38-04-14     9/12/2014    Abated   – corrective action was taken
     IL         Hillsboro Energy, LLC           424        IDNR        NOV         38-03-14     8/28/2014    Abated   failure to remove topsoil prior to disturbance
     IL        Sugar Camp Energy, LLC           382        IDNR        NOV         57-04-14     8/23/2014    Abated
     IL         Hillsboro Energy, LLC           424        IDNR        NOV         68-02-14      8/5/2014    Abated   failure to pass drainage through a sediment pond
     IL         Hillsboro Energy, LLC           424        IDNR        NOV         68-02-14      8/5/2014    Abated   failure to remove topsoil prior to disturbance

     IL        Sugar Camp Energy, LLC        IL0078565      IEPA    Show Cause   A-2014-00284   7/31/2014    Abated   failure to submit an Annual Emissions Report for calendar year 2013

                                                                                                                      failure to submit an Annual Emissions Report (“AER”) to the Illinois
     IL        Williamson Energy, LLC.       IL0077666      IEPA       NOV        A214-00285    7/31/2014    Abated   Environmental Protection Agency for calendar year 2013
                                                                                                                      failure to follow approved plan, placement of coal slurry in
     IL        Sugar Camp Energy, LLC           382        IDNR        NOV         57-02-14      7/9/2014    Abated   experimental Geotubes in an unapproved location
     IL        Williamson Energy, LLC.          375        IDNR        NOV          62-2-14      5/1/2014    Abated   failure to report a non-compliant discharge

                                                                                                                      failure to follow approved plan, failure to protect topsoil from
     IL            Hillsboro Energy, LLC        399        IDNR        NOV         38-02-14     4/28/2014    Abated   contamination and route all drainage to a sediment pond




                                                                                                                                                                                               2
    Case 20-41308                           Doc 228           Filed 04/01/20 Entered 04/01/20 23:45:34                                             Main Document
                                                                       Pg 255 of 1005
Schedule 5.09 (2)
FORESIGHT ENERGY
As of 3/6/20

    State               Company            Permit Number   Agency     Type       NOV Number      Issued      Status                                 NOV Description
                                                                                                                        failure to report discharge excursions to the Department and failure
                                                                                                                        to submit DMR’s and groundwater reports for the 3rd and 4th
     IL        Williamson Energy, LLC.          375        IDNR        NOV          62-1-14     3/20/2014    Abated     quarters of 2013
                                                                                                                        violation of Chloride water quality standards on September 18, 2013
     IL        Sugar Camp Energy, LLC        IL0078565      IEPA       NOV       W-2014-50014   3/14/2014    Abated     and November 26, 2013
                                                                                                                        failure to file renewal application within time frame required by the
     IL            Hillsboro Energy, LLC        399        IDNR        NOV         38-01-14     2/21/2014    Abated     regulations
                                                                                                                        Failure to get an approved UIC Permit prior to installation of injection
     IL        Sugar Camp Energy, LLC       UIC-016-SCM     IEPA       NOV       L-2014-01003   1/29/2014    Abated     boreholes.

                                                                                                                        Discharge of contaminants, offensive conditions, unauthorized
                                                                                                                        discharge, creating a water pollution hazard, failure to apply for a
                                                                                                                        construction permit and failure to comply with NPDES permit – all
     IL            Hillsboro Energy, LLC     IL0078727      IEPA       NOV       W-2014-50161   1/1/2014     Abated     water based issues have been corrected.
                                                                                                                        failed to report surface water discharge excursions within five days of
     IL            Hillsboro Energy, LLC        399        IDNR        NOV         38-07-13     11/1/2013    Abated     receiving analytical results

                                                                                                                        failure to notify Department of noncompliance surface water sample
     IL        Sugar Camp Energy, LLC           382        IDNR        NOV         57-03-13     7/25/2013    Abated     with five-day reporting period. Required letter submitted
                                                                                                                        failure to conduct surface coal mining and reclamation operation as
                                                                                                                        described in the approved application. The operator installed an
                                                                                                                        access road on the permit area without obtaining approval from the
     IL        Macoupin Energy, LLC              ?         IDNR        NOV         38-06-13      7/1/2013    Abated     Department
     IL        Williamson Energy, LLC.          375        IDNR        NOV         47-06-11     6/12/2013    Abated     failed to maintain adequate freeboard in a sediment basin
                                                                                                                        exceeding effluent limits and unpermitted mixing, dilution and
     IL        Sugar Camp Energy, LLC        IL0078565      IEPA       NOV       W-2013-50008   4/25/2013    Abated     discharge
                                                                                                                        exceeding effluent limits and unpermitted mixing, dilution and
     IL        Sugar Camp Energy, LLC        IL0078565      IEPA       NOV       W-2013-50133   4/5/2013     Abated     discharge
                                                                                                                        – discharging water from Outfall 008 with a chloride excursion of
     IL        Sugar Camp Energy, LLC           382        IDNR        NOV         57-01-13     3/5/2013     Abated     874.6 mg/L
                                                                                                                        failure to follow approved plan – clean coal stockpile expanded
     IL            Hillsboro Energy, LLC        399        IDNR        NOV         34-01-13     2/27/2013    Abated     beyond approved protective base

     IL            Macoupin Energy, LLC          ?         IDNR        NOV         38-05-12     7/2/2012     Abated     failed to conduct non-MSHA quarterly exam for sediment pond 003

                                                                                                                        failed to file renewal application public notice within the timeframe
     IL            Macoupin Energy, LLC          ?         IDNR        NOV         38-03-12     4/16/2012    Abated     to conduct a hearing and allow for issuance of renewal decision


     IL         Macoupin Energy, LLC         IL0056022     IEPA        NOV       W-2011-00040   9/12/2011    Abated     Exceed ground water standards
     IL        Sugar Camp Energy, LLC           382        IDNR        NOV         57-03-11     8/25/2011    Abated     failed to follow approved plan

     IL        Sugar Camp Energy, LLC           382        IDNR        NOV         57-02-11     7/27/2011    Abated     failed to notify IDNR of non-compliant surface water samples
     IL         Hillsboro Energy, LLC           399        IDNR        NOV         38-12-11     6/30/2011    Abated     Fail to construct and maintain sediment control
                                                                                                                        petroleum based contaminant observed on water surface in
     IL        Williamson Energy, LLC.          375        IDNR        NOV          47-2-11     4/27/2011    Abated     sediment basin 004

     IL        Williamson Energy, LLC.          375        IDNR        NOV          43-3-11     4/27/2011    Abated     failed to maintain adequate freeboard in a sediment basin 004

     IL        Sugar Camp Energy, LLC           382        IDNR        NOV          19-1-11     3/9/2011     Abated     failed to comply with required surface water sampling parameters

     IL        Sugar Camp Energy, LLC           382        IDNR        NOV          19-2-11      3/9/2011    Abated     failed to comply with required ground water sampling parameters
     IL         Hillsboro Energy, LLC           399        IDNR        NOV         38-04-11     2/10/2011    Abated     failed to follow approved mining plan
     IL         Hillsboro Energy, LLC           399        IDNR        NOV         38-05-11     2/10/2011    Abated     Failed to report impoundment exam report
     IL         Hillsboro Energy, LLC           399        IDNR        NOV         38-06-11     2/10/2011    Abated     Failed to complete field density testing
     IL         Hillsboro Energy, LLC           399        IDNR        NOV         38-03-11     2/10/2011    Abated     Failed to maintain ditch 7b
                                                                                                                        surface drainage flowing off permit without reporting to a sediment
     IL        Williamson Energy, LLC.          375        IDNR        NOV          47-6-10     11/8/2010    Abated     control structure
     IL        Williamson Energy, LLC.          375        IDNR        NOV          47-5-10     5/13/2010    Abated     failed to maintain freeboard in sediment basin
                                                                                                                        discharge from disturbed area did not pass through a siltation
     IL        Williamson Energy, LLC.          375        IDNR        NOV          47-4-10     5/13/2010    Abated     structure before leaving the permit
     IL        Williamson Energy, LLC.          375        IDNR        NOV          47-2-10      3/9/2010    Abated     disturbed within 100 feet of cemetery
     IL         Hillsboro Energy, LLC        IL0078727     IEPA        NOV       W-2010-30248    1/1/2010    Abated     failed to submit DMR’s at the required frequency
     IL         Hillsboro Energy, LLC           399        IDNR        NOV         38-04-09     9/14/2009    Abated     failed to follow approved mining plan
                                                                                                                        drainage leaving permit without passing through a sediment control
     IL        Williamson Energy, LLC.          375        IDNR        NOV         28-01-09      9/9/2009    Abated     structure
     IL        Sugar Camp Energy, LLC           382        IDNR        NOV         19-02-09      6/2/2009    Abated     failed to follow approved operations plan
     IL        Sugar Camp Energy, LLC           382        IDNR        NOV         19-01-09     4/27/2009    Abated     failed to construct siltation structure prior to disturbance

     IL        Williamson Energy, LLC.          375        IDNR        NOV          26-3-09     4/17/2009    Abated     failed to provide survey for buildings greater than 40 years old

     IL        Williamson Energy, LLC.          375        IDNR        NOV         26-2-09       4/8/2009    Abated     failed to submit fourth quarter subsidence control plan report
     IL        Williamson Energy, LLC.          375        IDNR        NOV         26-1-09       4/3/2009    Abated     failed to follow approve plan
     IL        Williamson Energy, LLC.          375        IDNR     Show Cause     2009-01      1/16/2009   Dismissed




                                                                                                                                                                                                   3
Case 20-41308       Doc 228     Filed 04/01/20 Entered 04/01/20 23:45:34              Main Document
                                         Pg 256 of 1005


                                       SCHEDULE 5.09(4)
                                   ENVIRONMENTAL MATTERS


 Consent Orders (Show Cause Orders):


 1.    IDNR – Office of Mines and Minerals – Williamson Energy, LLC Pond Creek Mine
       Permit No. 375 – Show Cause Order No. 2009-01 dated Jan. 16, 2009; Order dismissing
       Show Cause Order entered by Hearing Officer Michael O’Hara on June 8, 2009

 2.    People of the State of Illinois, ex rel. Lisa Madigan, Attorney General of the State of
       Illinois v. Macoupin Energy LLC, Circuit Court of the Seventh Judicial Circuit,
       Macoupin County, Illinois – Consent Order was signed and entered on September 14,
       2015

 3.    IDNR – Office of Mines & Minerals, Land Reclamation Division, In Re Sugar Camp
       Energy, LLC Permit No. 382 – Show Cause Order No. 2019-02 dated August 6, 2019;
       Settlement Agreement was entered into on Dec. 10, 2019; Agreed Order Approving
       Settlement Agreement with Modifications was entered on December 17, 2019 by ALJ
       Schuering

 4.    Pollution Control Board re Sugar Camp Energy PCB 2016-095 – Consent Order
       resolving allegations related to Underground Injection Control.

 Active Cases:

 1.    Mitchell/Roberts Partnership v. Williamson Energy, LLC, Case No. 14-MR-285; Circuit
       Court of the First Judicial District, Williamson County, IL

 2.    Jackson, et al. v. Williamson Energy, LLC, at al. Case No. 2016-CH-50, in the Circuit Court of
       the First Judicial District, Williamson County, IL

 3.    Williamson Energy and Mach Mining LLC/Noise Complaints – 15 separate Complaints, all
       pending in the Circuit Court of the First Judicial Circuit, Williamson County, IL:

       1.        James Turner v. Williamson Energy, LLC, et al., 2016-C-108;
       2.        Wayne Thompson v. Williamson Energy, LLC, et al., 2016-C-109;
       3.        Michael Ladd v. Williamson Energy, LLC, et al., 2016-C-110;
       4.        John Kibodeaux v. Williamson Energy, LLC, et al., 2016-C-111;
       5.        Allen Brown v. Williamson Energy, LLC, et al., 2016-C-112;
       6.        Tina Franklin v. Williamson Energy, LLC, et al., 2016-C-113;
       7.        Brenda Fleming v. Williamson Energy, LLC, et al., 2016-C-114;
       8.        John Howat v. Williamson Energy, LLC, et al., 2016-C-115;
       9.        Yuba Hunt v. Williamson Energy, LLC, et al., 2016-C-116;
       10.       Betty Jacobs v. Williamson Energy, LLC, et al., 2016-C-117;
       11.       Richard Jordan v. Williamson Energy, LLC, et al., 2016-C-118;
       12.       Scott Lee v. Williamson Energy, LLC, et al., 2016-C-119;
Case 20-41308    Doc 228      Filed 04/01/20 Entered 04/01/20 23:45:34             Main Document
                                       Pg 257 of 1005


      13.    Claude Vodrazka v. Williamson Energy, LLC, et al., 2016-C-120;
      14.    Brian Wolfe v. Williamson Energy, LLC, et al., 2016-C-121; and
      15.    Danny York v. Williamson Energy, LLC, et al., 2016-C-122

 4.   Reba L. Mitchell v. Williamson Energy, LLC, Case No. 2019-L-00030, Circuit Court of the First
      Judicial Circuit, Williamson County, IL

 5.   The Estate of Russell J. Inman, Deceased, by Carl R. Inman, Independent Executor v. Williamson
      Energy, LLC, Case No. 2018-L-129, Circuit Court of the First Judicial Circuit, Williamson
      County, IL
Case 20-41308              Doc 228      Filed 04/01/20 Entered 04/01/20 23:45:34                                   Main Document
                                                 Pg 258 of 1005
        FELP Permit List
        Schedule 5.09(7)
        as of 3/1/2020


                         Company            Mine/Operation   State     Permit #      Permit Type    Issuance Date Expiration Date

                     Foresight Energy          Hillsboro      IL       IL0078727       NPDES          12/13/14       05/13/23
                     Foresight Energy          Hillsboro      IL          399            UG           02/10/09       02/10/24
                     Foresight Energy          Hillsboro      IL          424           CRDA          05/19/14       05/19/24

                     Foresight Energy          Hillsboro      IL        8020066       Air Quality     02/25/09        Lifetime

                     Foresight Energy          Hillsboro      IL       C-0080-08         401          12/12/09          NA
                     Foresight Energy          Hillsboro      IL        P-2664           404          09/02/09          NA
                     Foresight Energy          Hillsboro      IL      DS2012025          Dam          04/18/12          NA
                     Foresight Energy          Hillsboro      IL      DS2013085          Dam          11/06/13          NA

                     Foresight Energy          Hillsboro      IL      ID#1211IL08        Dam          01/30/12          NA
                     Foresight Energy          Hillsboro      IL     IL08-03216-03       Dam          01/15/14          NA
                     Foresight Energy          Hillsboro      IL       IL0080039       NPDES          02/05/15        pending
                     Foresight Energy          Hillsboro      IL       IL0080039        CRDA          02/03/15        pending
                     Foresight Energy         Macoupin        IL       IL0056022       NPDES          08/18/15       09/30/21

                     Foresight Energy         Macoupin        IL          209           CRDA          07/09/09       03/05/25
                     Foresight Energy         Macoupin        IL          419          SMCRA          05/16/17       03/05/25
                     Foresight Energy         Macoupin        IL          265          SMCRA          07/18/17       03/05/25
                     Foresight Energy         Macoupin        IL          291          SMCRA          07/18/17       03/05/25
                     Foresight Energy         Macoupin        IL          56         UG and CRDA      07/19/09       03/05/25

                     Foresight Energy         Macoupin        IL      117803AAA       Air Quality     06/17/09        Lifetime

                     Foresight Energy         Macoupin        IL      DS2010040          Dam          04/29/10          NA
                     Foresight Energy           Sitran        IN       IN0063738       NPDES          03/15/11       03/09/24

                     Foresight Energy           Sitran        IN     129-29270-000    Air Quality     08/13/10        Lifetime
                     Foresight Energy        Sugar Camp       IL       IL0078565       NPDES          05/24/16       04/30/21

                     Foresight Energy        Sugar Camp       IL        P-2866           404          12/04/14       12/31/25
                     Foresight Energy        Sugar Camp       IL       18050018       Air Quality     10/23/18        Lifetime

                     Foresight Energy        Sugar Camp       IL       17110053       Air Quality     09/30/08        Lifetime
                     Foresight Energy        Sugar Camp       IL       C-0222-08         401          12/12/09          NA
                     Foresight Energy        Sugar Camp       IL       C-0719-13         401          09/03/15          NA

                     Foresight Energy        Sugar Camp       IL        P-2674           404          12/15/09          NA
                     Foresight Energy        Sugar Camp       IL      DS2012018          Dam          03/13/12          NA

                     Foresight Energy        Sugar Camp       IL       03189-03          Dam          01/06/12          NA
                     Foresight Energy        Sugar Camp       IL          460          SMCRA           pending          NA
                     Foresight Energy        Sugar Camp       IL     UIC-012-SCM         UIC          05/20/14          NA

                     Foresight Energy        Sugar Camp       IL      UIC-06-15EE        UIC          05/20/14          NA
                     Foresight Energy        Sugar Camp       IL          434            UG           08/26/15        pending

                     Foresight Energy        Sugar Camp       IL          382            UG           09/09/08        pending

                     Foresight Energy         Williamson      IL        P-2905           404          12/14/15       12/31/26
                     Foresight Energy         Williamson      IL        1790048       Air Quality     04/07/05        Lifetime

                     Foresight Energy         Williamson      IL       C-0202-13         401          01/19/16          NA
                     Foresight Energy         Williamson      IL     MVS-2005-4660       404          07/21/06          NA

                     Foresight Energy         Williamson      IL      DS2008111          Dam          11/25/08          NA
                     Foresight Energy         Williamson      IL      DS2010047          Dam          01/21/14          NA
                     Foresight Energy         Williamson      IL     IL08-03141-01       Dam          06/26/07          NA

                     Foresight Energy         Williamson      IL     IL08-03141-02       Dam          12/03/10          NA
                     Foresight Energy         Williamson      IL     IL08-03141-02       Dam          01/03/14          NA

                     Foresight Energy         Williamson      IL          456          SMCRA          12/05/19       12/04/24
                     Foresight Energy         Williamson      IL          375            UG           07/07/05        pending
                     Foresight Energy         Williamson      IL          417           CRDA          12/09/15        pending

                     Foresight Energy         Williamson      IL       IL0077666       NPDES          12/13/71        pending




                                                                                                                                    1
Case 20-41308     Doc 228      Filed 04/01/20 Entered 04/01/20 23:45:34            Main Document
                                        Pg 259 of 1005
                                                                                             106


                                             Schedule 5.13

                                              Subsidiaries

    (*)= indicates which Subsidiaries are Loan Parties as of the Closing Date.

     Issuer                     Juris. of    Address of               Taxpayer   Type of           % of
                                Org./For     Chief Executive          ID         Organization      Interest
                                m.           Office                   Number                       Owned
                                                                                                   by Loan
                                                                                                   Parties
     Adena Resources, LLC*      Delaware       211 North              20-        Limited           100
                                               Broadway               5004649    Liability
                                               Suite 2600                        Company
                                               St. Louis, MO
                                               63102
     Akin Energy LLC*           Delaware       211 North              20-        Limited           100
                                               Broadway               5231648    Liability
                                               Suite 2600                        Company
                                               St. Louis, MO
                                               63102
     American Century           Delaware       211 North              N/A        Limited           100
     Mineral LLC*                              Broadway                          Liability
                                               Suite 2600                        Company
                                               St. Louis, MO
                                               63102
     American Century           Delaware       211 North              N/A        Limited           100
     Transport LLC*                            Broadway                          Liability
                                               Suite 2600                        Company
                                               St. Louis, MO
                                               63102
     Coal Field Construction    Delaware       211 North              26-        Limited           100
     Company LLC*                              Broadway               3795694    Liability
                                               Suite 2600                        Company
                                               St. Louis, MO
                                               63102
     Coal Field Repair          Delaware       211 North              46-        Limited           100
     Services LLC*                             Broadway               2249179    Liability
                                               Suite 2600                        Company
                                               St. Louis, MO
                                               63102
     Foresight Coal Sales       Delaware       211 North              26-        Limited           100
     LLC*                                      Broadway               3318620    Liability
                                               Suite 2600                        Company
                                               St. Louis, MO
                                               63102
Case 20-41308     Doc 228     Filed 04/01/20 Entered 04/01/20 23:45:34     Main Document
                                       Pg 260 of 1005



     Issuer                   Juris. of   Address of        Taxpayer     Type of        % of
                              Org./For    Chief Executive   ID           Organization   Interest
                              m.          Office            Number                      Owned
                                                                                        by Loan
                                                                                        Parties
     Foresight Energy         Delaware     211 North        38-          Corporation    100
     Employee Services                     Broadway         3957023
     Corporation *                         Suite 2600
                                           St. Louis, MO
                                           63102
     Foresight Energy         Delaware     211 North        27-          Corporation    100
     Finance Corporation *                 Broadway         3135321
                                           Suite 2600
                                           St. Louis, MO
                                           63102
     Foresight Energy Labor   Delaware     211 North        32-          Limited        100
     LLC*                                  Broadway         0504176      Liability
                                           Suite 2600                    Company
                                           St. Louis, MO
                                           63102
     Foresight Energy         Delaware     211 North        90-          Limited        100
     Services LLC*                         Broadway         0776204      Liability
                                           Suite 2600                    Company
                                           St. Louis, MO
                                           63102
     Foresight Receivables    Delaware     211 North        38-          Limited        100
     LLC*                                  Broadway         3952250      Liability
                                           Suite 2600                    Company
                                           St. Louis, MO
                                           63102
     Hillsboro Energy LLC*    Delaware     211 North        20-          Limited        100
                                           Broadway         5231639      Liability
                                           Suite 2600                    Company
                                           St. Louis, MO
                                           63102
     Hillsboro Transport      Delaware     211 North        38-          Limited        100
     LLC*                                  Broadway         3916881      Liability
                                           Suite 2600                    Company
                                           St. Louis, MO
                                           63102
     LD Labor Company         Delaware     211 North        45-          Limited        100
     LLC*                                  Broadway         3848454      Liability
                                           Suite 2600                    Company
                                           St. Louis, MO
                                           63102
Case 20-41308    Doc 228    Filed 04/01/20 Entered 04/01/20 23:45:34     Main Document
                                     Pg 261 of 1005



     Issuer                 Juris. of   Address of        Taxpayer     Type of        % of
                            Org./For    Chief Executive   ID           Organization   Interest
                            m.          Office            Number                      Owned
                                                                                      by Loan
                                                                                      Parties
     Logan Mining LLC*      Delaware     211 North        47-          Limited        100
                                         Broadway         1762361      Liability
                                         Suite 2600                    Company
                                         St. Louis, MO
                                         63102
     M-Class Mining, LLC*   Delaware     211 North        26-          Limited        100
                                         Broadway         0645272      Liability
                                         Suite 2600                    Company
                                         St. Louis, MO
                                         63102
     Mach Mining LLC*       Delaware     211 North        73-          Limited        100
                                         Broadway         1734826      Liability
                                         Suite 2600                    Company
                                         St. Louis, MO
                                         63102
     Macoupin Energy LLC*   Delaware     211 North        26-          Limited        100
                                         Broadway         2809005      Liability
                                         Suite 2600                    Company
                                         St. Louis, MO
                                         63102
     MaRyan Mining, LLC*    Delaware     211 North        26-          Limited        100
                                         Broadway         4027085      Liability
                                         Suite 2600                    Company
                                         St. Louis, MO
                                         63102
     Oeneus LLC d/b/a       Delaware     211 North        30-          Limited        100
     Savatran LLC*                       Broadway         0306007      Liability
                                         Suite 2600                    Company
                                         St. Louis, MO
                                         63102
     Patton Mining LLC*     Delaware     211 North        26-          Limited        100
                                         Broadway         4027251      Liability
                                         Suite 2600                    Company
                                         St. Louis, MO
                                         63102
     Seneca Rebuild LLC*    Delaware     211 North        46-          Limited        100
                                         Broadway         3150958      Liability
                                         Suite 2600                    Company
                                         St. Louis, MO
                                         63102
Case 20-41308      Doc 228   Filed 04/01/20 Entered 04/01/20 23:45:34     Main Document
                                      Pg 262 of 1005



     Issuer                  Juris. of   Address of        Taxpayer     Type of        % of
                             Org./For    Chief Executive   ID           Organization   Interest
                             m.          Office            Number                      Owned
                                                                                       by Loan
                                                                                       Parties
     Sitran LLC*             Delaware     211 North        26-          Limited        100
                                          Broadway         1369962      Liability
                                          Suite 2600                    Company
                                          St. Louis, MO
                                          63102
     Sugar Camp Energy,      Delaware     211 North        41-          Limited        100
     LLC*                                 Broadway         2178049      Liability
                                          Suite 2600                    Company
                                          St. Louis, MO
                                          63102
     Tanner Energy LLC*      Delaware     211 North        38-          Limited        100
                                          Broadway         3940409      Liability
                                          Suite 2600                    Company
                                          St. Louis, MO
                                          63102
     Viking Mining LLC*      Delaware     211 North        46-          Limited        100
                                          Broadway         1264981      Liability
                                          Suite 2600                    Company
                                          St. Louis, MO
                                          63102
     Williamson Energy,      Delaware     211 North        81-          Limited        100
     LLC*                                 Broadway         0669143      Liability
                                          Suite 2600                    Company
                                          St. Louis, MO
                                          63102
Case 20-41308   Doc 228   Filed 04/01/20 Entered 04/01/20 23:45:34   Main Document
                                   Pg 263 of 1005
                                                                           110


                                    Schedule 5.18

                                 Intellectual Property
    None.
                                                                                                                                                               111




                                                        Schedule 5.20

                                                           Mines




                                                                                                                     Case 20-41308
Hillsboro Energy LLC

Deer Run Mine
12051 County Road 900 N.
Hillsboro, Illinois 62049

Material Properties:




                                                                                                                     Doc 228
 Description/Title of   Date             Parties        Brief Legal Description    Recording                                                Owned or   Subject to
     Document                                                                     Information                                                Leased    Mortgage




                                                                                                 Filed 04/01/20 Entered 04/01/20 23:45:34
 Coal Mining Lease      10/10/2009    WPP LLC to            No. 6 coal seam       Not recorded                                               Leased       NO
   and Sublease                      Hillsboro Energy
    Agreement                              LLC




                                                                                                          Pg 264 of 1005
 Short Form of Lease    10/10/2009    WPP LLC to            No. 6 coal seam       MC 1346-428                                                Leased       NO
     (Hillsboro)                     Hillsboro Energy
                                           LLC

Amendment No. 1 to       1/11/2010    WPP LLC to            No. 6 coal seam       Not recorded                                               Leased       NO
 the Coal Mining                     Hillsboro Energy
Lease and Sublease                         LLC
    Agreement




                                                                                                                     Main Docum
Description/Title of    Date             Parties        Brief Legal Description    Recording                                                Owned or   Subject to
    Document                                                                      Information                                                Leased    Mortgage

Short Form of Lease     1/11/2010     WPP LLC to           No. 6 coal seam        MC 1367-226                                                Leased       NO
    (Hillsboro)                      Hillsboro Energy




                                                                                                                     Case 20-41308
                                           LLC

Amendment No. 2 to       10/4/2010    WPP LLC to           No. 6 coal seam        Not recorded                                               Leased       NO
 the Coal Mining                     Hillsboro Energy
Lease and Sublease                         LLC
    Agreement




                                                                                                                     Doc 228
   Amended and          10/4/2010     WPP LLC to           No. 6 coal seam        MC 1412-134                                                Leased       NO
Restated Short Form                  Hillsboro Energy
   of Lease After                          LLC                                    BC 917-329
   Closing 4 and




                                                                                                 Filed 04/01/20 Entered 04/01/20 23:45:34
Closing 5 (Hillsboro)

Amendment No. 3 to      1/13/2011     WPP LLC to           No. 6 coal seam        Not recorded                                               Leased       NO
 the Coal Mining                     Hillsboro Energy




                                                                                                          Pg 265 of 1005
Lease and Sublease                         LLC
    Agreement

   Amended and          1/13/2011     WPP LLC to           No. 6 coal seam        MC 1426-275                                                Leased       NO
Restated Short Form                  Hillsboro Energy
   of Lease After                          LLC
Closing 3 (Hillsboro)




                                                                                                                     Main Docum
Description/Title of    Date            Parties          Brief Legal Description      Recording                                                Owned or   Subject to
    Document                                                                         Information                                                Leased    Mortgage

   Amended and           2/2/2012    WPP LLC to             No. 6 coal seam          MC 1477-459                                                Leased       NO
Restated Short Form                 Hillsboro Energy




                                                                                                                        Case 20-41308
   of Lease After                         LLC                                        BC 964-143
Closing 6 (Hillsboro)

   Amended and          8/21/2012    WPP LLC to             No. 6 coal seam          Not recorded                                               Leased       NO
Restated Short Form                 Hillsboro Energy
  of Lease After                          LLC                                        Not recorded




                                                                                                                        Doc 228
   Closing 7 & 8
    (Hillsboro)

 Coal Mining Lease      9/21/2007    Montgomery             No. 6 coal seam          Not recorded                                               Leased       NO
    Agreement                       Mineral LLC to




                                                                                                    Filed 04/01/20 Entered 04/01/20 23:45:34
                                    Hillsboro Energy
                                          LLC




                                                                                                             Pg 266 of 1005
    First Partial       9/9/2009     Montgomery        Terminated leasehold rights   Not recorded                                               Leased       NO
Termination of Lease                Mineral LLC to      to certain No. 6 coal seam
                                    Hillsboro Energy
                                          LLC

   Second Partial       1/8/2010     Montgomery        Terminated leasehold rights   Not recorded                                               Leased       NO
Termination of Lease                Mineral LLC to      to certain No. 6 coal seam
                                    Hillsboro Energy
                                          LLC




                                                                                                                        Main Docum
Description/Title of   Date            Parties          Brief Legal Description      Recording                                                Owned or   Subject to
    Document                                                                        Information                                                Leased    Mortgage

   Third Partial       10/4/2010    Montgomery        Terminated leasehold rights   Not recorded                                               Leased       NO
Termination of Lease               Mineral LLC to      to certain No. 6 coal seam




                                                                                                                       Case 20-41308
                                   Hillsboro Energy
                                         LLC

   Fourth Partial      1/13/2011    Montgomery        Terminated leasehold rights   Not recorded                                               Leased       NO
Termination of Lease               Mineral LLC to      to certain No. 6 coal seam
                                   Hillsboro Energy
                                         LLC




                                                                                                                       Doc 228
 Coal Mining Lease     8/12/2010     Colt LLC to           No. 6 coal seam          Not recorded                                               Leased       NO
(For “Reserve 1” and               Hillsboro Energy
    “Reserve 3”)                         LLC




                                                                                                   Filed 04/01/20 Entered 04/01/20 23:45:34
   Short Form or       8/12/2010     Colt LLC to           No. 6 coal seam          MC 1399-176                                                Leased       NO
  Memorandum of                    Hillsboro Energy
 Coal Mining Lease                       LLC                                        BC 910-257




                                                                                                            Pg 267 of 1005
(For “Reserve 1” and
    “Reserve 3”)


 Coal Mining Lease     8/12/2010     Colt LLC to           No. 6 coal seam          Not recorded                                               Leased       NO
 (For “Reserve 2”)                 Hillsboro Energy
                                         LLC




                                                                                                                       Main Docum
 Description/Title of   Date                Parties            Brief Legal Description      Recording                                               Owned or   Subject to
     Document                                                                              Information                                               Leased    Mortgage

   Short Form or         8/12/2010      Colt LLC to               No. 6 coal seam         MC 1399-135                                                Leased         NO
  Memorandum of                       Hillsboro Energy




                                                                                                                             Case 20-41308
 Coal Mining Lease                          LLC                                            BC 910-286
 (For “Reserve 2”)

First Amendment to      8/21/2012    Colt LLC to                  No. 6 coal seam         Not recorded                                               Leased         NO
Colt Coal Lease 2                    Hillsboro Energy
                                     LLC




                                                                                                                             Doc 228
Short Form or           8/21/2012    Colt LLC to                  No. 6 coal seam         MC 1508-455                                                Leased    NO
Memorandum of First                  Hillsboro Energy
Amendment to Colt                    LLC
Coal Lease 2




                                                                                                         Filed 04/01/20 Entered 04/01/20 23:45:34
                                     Montgomery Land                 Mine Site                                                                                 NO
                                     Company to
Deed                    8/12/2010                                    RDA 1 & 2            201000059726                                               Owned




                                                                                                                  Pg 268 of 1005
                                     Hillsboro Energy
                                     LLC                     Farmland & Bleeder Site #1

                                     Montgomery Land                                                                                                           NO
                                     Company to              Corridor from Mine Site to
Easement                8/12/2010                                                         201000059723                                               Owned
                                     Hillsboro Energy             Bleeder Shaft #1
                                     LLC

                                     George & Martha                                                                                                           NO
                                                            Corridor from Mine Site to
Easement                5/9/2011     Spinner to Hillsboro                                 201100063970                                               Owned
                                                            Bleeder Shaft #1
                                     Energy LLC




                                                                                                                             Main Docum
 Description/Title of    Date                Parties           Brief Legal Description           Recording                                               Owned or       Subject to
     Document                                                                                   Information                                               Leased        Mortgage

                                      Hillsboro Energy                                                                                                                     NO
Deed                     8/23/2013    LLC to Hillsboro                Loadout                 201300003499                                                Owned




                                                                                                                                  Case 20-41308
                                      Transport, LLC




Macoupin Energy LLC




                                                                                                                                  Doc 228
Shay No. 1 Mine
14300 Brushy Mound Road
Carlinville, Illinois 62626

Material Properties:




                                                                                                              Filed 04/01/20 Entered 04/01/20 23:45:34
  Description/Title of                                                                                     Recording                                         Owned      Subject to
                            Date                 Parties                 Brief Legal Description
      Document                                                                                            Information                                       or Leased   Mortgage
                                      WPP LLC and Macoupin Energy                                             NOT




                                                                                                                       Pg 269 of 1005
  Short Form of Lease      1/27/10                                   Macoupin South Mine Assignment                                                           Leased       Yes
                                                  LLC                                                     RECORDED
                                      Colt LLC and Macoupin Energy                                            NOT
  Short Form of Lease     8/12/2010                                  Macoupin North Mine Assignment                                                           Leased       Yes
                                                  LLC                                                     RECORDED
                                      Colt LLC and Macoupin Energy                                            NOT
  Short Form of Lease     8/12/2010                                   East Hornsby Mine Assignment                                                            Leased       Yes
                                                  LLC                                                     RECORDED
                                                                     Various tracts of surface and coal
                                                                      reserves. The coal reserves were
   Special Warranty                   ExxonMobil Coal USA, Inc and     sold to WPP or Colt and leased      MA-0019
                          1/22/2009                                                                                                                          Owned         Yes
        Deed                             Macoupin Energy LLC         back. The surface not required for     493145
                                                                      operations has been conveyed to
                                                                          New River Royalty LLC
                                      HOD LLC and Macoupin Energy                                            NOT
         Lease             1/27/10                                               Rail Loop                                                                    Leased       Yes
                                                 LLC                                                      RECORDED




                                                                                                                                  Main Docum
  Description/Title of                                                                                               Recording                                     Owned       Subject to
                           Date                   Parties                      Brief Legal Description
      Document                                                                                                      Information                                   or Leased    Mortgage
                                      HOD LLC and Macoupin Energy                                                       NOT
         Lease            1/27/10                                                    Rail Load Out                                                                 Leased         Yes
                                                   LLC                                                              RECORDED
   Option and Lease                   Jet Oil Company and Macoupin                                                  Volume 628,
                         2/28/1967                                                  Coal Reserves                                                                  Leased         Yes
     Agreement                                  Energy LLC                                                            Page 456




                                                                                                                                           Case 20-41308
Sugar Camp Energy, LLC

M-Class Mine
11351 N Thompsonville Road
Macedonia, Illinois 62860




                                                                                                                                           Doc 228
Material Properties:

  Description/Title of                                                                                                Recording                                     Owned or     Subject to
                            Date                   Parties                       Brief Legal Description
      Document                                                                                                       Information                                     Leased      Mortgage




                                                                                                                       Filed 04/01/20 Entered 04/01/20 23:45:34
                                      RGGS Land & Minerals & Sugar         Properties located in Franklin County     FC-0083 FC
   Coal Mining Lease      7/29/2005                                                                                                                                  Leased         Yes
                                            Camp Energy, LLC                   IL as described in Exhibit A           2006-6919
                                       Ruger Coal Company, LLC &           Consent with respect to Illinois Fuels
    Consent to Mine       1/22/2010                                                                                     FC-0233                                      Leased         Yes
                                        Sugar Camp Energy, LLC                             Lease




                                                                                                                                Pg 270 of 1005
                                                                                                                     Surface WC-
                                      Rodney Smith and Marta Smith to         PT Lot 121 and PT Lot 122 in
     Warranty Deed        1/15/2009                                                                                     0152,                                        Leased         Yes
                                         Sugar Camp Energy, LLC                    Kokopelli Estates
                                                                                                                     WC481-772
                                       Glendall E Johnston a.k.a. Glen
                                          Johnston and Carolyn S.
                                                                           NW NW Sec 1-6-4 and NWNE Sec                FC-0253
        Easement          3/4/2010    Johnston, a.k.a. Carolyn Johnston,                                                                                             Owned          Yes
                                                                            1-6-4 Franklin County, Illinois           2010-1056
                                      husband and Wife to Sugar Camp
                                                Energy, LLC
                                        Morris R. Clark and Karan S.
                                                                             NWNE and W2E2NE Sec 2-6-4                 FC-0254
        Easement          3/4/2010      Clark to Sugar Camp Energy,                                                                                                  Owned          Yes
                                                                                 Franklin, Illinois                   2010-1057
                                                     LLC




                                                                                                                                           Main Docum
 Description/Title of                                                                                          Recording                                   Owned or   Subject to
                           Date                  Parties                    Brief Legal Description
     Document                                                                                                 Information                                   Leased    Mortgage
                                     David Blood and Melanie Blood,
                                                                         Pt E2NENE Sec 2-6-4 Franklin
      Easement           3/1/2010    husband and wife to Sugar Camp                                              FC-0255                                    Owned        Yes
                                                                           County, Illinois 2010-1058
                                               Energy, LLC
                                     Roger L. Sanders and Mary Ellen




                                                                                                                                    Case 20-41308
                                                                        W 10 ac N3/4 of NESE Sec 6-6-5         HC-0078
      Easement           6/5/2010    Sanders to Sugar Camp Energy,                                                                                          Owned        Yes
                                                                           Hamilton County, Illinois           221-117
                                                  LLC
                                       Patrick G Mascal and Lori S.
                                                                       W2NESW and E2S2NWSW Sec 6-              HC-0075
   Warranty Deed         6/1/2010     Mascal to Sugar Camp Energy,                                                                                          Owned        Yes
                                                                           6-5 Hamilton Illinois               277/311
                                                  LLC
  Overriding Royalty                  Ruger Coal Company LLC to        Right to mine on Illinois Fuels TVA
                         8/12/2010                                                                                              N/A                         Leased       Yes
  Interest Agreement                    Sugar Camp Energy, LLC                        Lease
  Overriding Royalty                  Ruger Coal Company LLC to         Right to Mine on Franklin County




                                                                                                                                    Doc 228
                         8/12/2010                                                                                              N/A                         Leased       No
  Interest Agreement                    Sugar Camp Energy, LLC                     TVA Lease
                                        Williamson Development
                                                                        Surface required for Sugar Camp          NOT
        Deed             8/12/2010    Company LLC to Sugar Camp                                                                                             Owned        Yes
                                                                            Energy, LLC Operations            RECORDED
                                               Energy, LLC
                                        Williamson Development         Surface in Hamilton County required




                                                                                                                Filed 04/01/20 Entered 04/01/20 23:45:34
                                                                                                                 NOT
        Deed             8/12/2010    Company LLC to Sugar Camp           for Sugar Camp Energy, LLC                                                        Owned        Yes
                                                                                                              RECORDED
                                               Energy, LLC                          Operations
                                        Williamson Development         Surface at former Akin site required
                                                                                                                 NOT
        Deed             8/12/2010    Company LLC to Sugar Camp           for Sugar Camp Energy, LLC                                                        Owned        Yes




                                                                                                                         Pg 271 of 1005
                                                                                                              RECORDED
                                               Energy, LLC                          Operations
                                      Ruger Coal Company LLC to                                                  NOT
  Coal Mining Lease      8/12/2010                                                Coal Reserves                                                             Leased       Yes
                                        Sugar Camp Energy, LLC                                                RECORDED


Mining Lease            01/04/18     Roberts, Carol Ann Trustee to     Sugar Camp Mine Plan                   HC 2018-                                     Leased
                                     SCELLC                                                                   0008
Mining Lease            01/04/18     Engstrom, Amy to SCELLC           Sugar Camp Mine Plan                   HC 2018-                                     Leased
                                                                                                              0011
Mining Lease            01/04/18     Hayes, Marshall Jr. to SCELLC     Sugar Camp Mine Plan                   HC 2018-                                     Leased
                                                                                                              0013
Mining Lease            01/04/18     Blanchard, Bonnie M. to           Sugar Camp Mine Plan                   HC 2018-                                     Leased
                                     SCELLC                                                                   0016




                                                                                                                                    Main Docum
Mining Lease   01/04/18   Palmer, James to SCELLC         Sugar Camp Mine Plan   HC 2018-                                     Leased
                                                                                 0017
Mining Lease   01/04/18   Moxley, Linda to SCELLC         Sugar Camp Mine Plan   HC 2018-                                     Leased
                                                                                 0018
Coal Deed      01/04/18   Johnson, Susan L. to SCELLC     Sugar Camp Mine Plan   HC 2018-                                     Owned
                                                                                 0019




                                                                                                       Case 20-41308
Mining Lease   01/30/18   McFarland, Carol A. to SCELLC   Sugar Camp Mine Plan   HC 2018-                                     Leased
                                                                                 0110
Mining Lease   01/30/18   Bowman, Debra Kate to           Sugar Camp Mine Plan   HC 2018-                                     Leased
                          SCELLC                                                 0111
Mining Lease   01/30/18   Diaz, Donna J. to SCELLC        Sugar Camp Mine Plan   HC 2018-                                     Leased
                                                                                 0112
Mining Lease   01/30/18   Flannigan, James T. to SCELLC   Sugar Camp Mine Plan   HC 2018-                                     Leased
                                                                                 0113




                                                                                                       Doc 228
Mining Lease   01/30/18   Leslie, Janet E. to SCELLC      Sugar Camp Mine Plan   HC 2018-                                     Leased
                                                                                 0114
Mining Lease   01/30/18   Reid, Jon M. to SCELLC          Sugar Camp Mine Plan   HC 2018-                                     Leased
                                                                                 0115
Mining Lease   01/30/18   Webster, Linda to SCELLC        Sugar Camp Mine Plan   HC 2018-                                     Leased




                                                                                   Filed 04/01/20 Entered 04/01/20 23:45:34
                                                                                 0116
Mining Lease   01/30/18   Henson, William to SCELLC       Sugar Camp Mine Plan   HC 2018-                                     Leased
                                                                                 0119
Coal Deed      01/30/18   Wake, Amanda to SCELLC          Sugar Camp Mine Plan   HC 2018-                                     Owned




                                                                                            Pg 272 of 1005
                                                                                 0120
Coal Deed      01/30/18   Trabant, Megan to SCELLC        Sugar Camp Mine Plan   HC 2018-                                     Owned
                                                                                 0121
Coal Deed      01/30/18   Metheney, Pamela S. to SCELLC   Sugar Camp Mine Plan   HC 2018-                                     Owned
                                                                                 0122
Coal Deed      01/30/18   Metheney, Rochelle to SCELLC    Sugar Camp Mine Plan   HC 2018-                                     Owned
                                                                                 0123
Mining Lease   01/30/18   Bloomfield, Dora to SCELLC      Sugar Camp Mine Plan   HC 2018-                                     Leased
                                                                                 0123
Mining Lease   01/30/18   Flannigan, Donald to SCELLC     Sugar Camp Mine Plan   HC 2018-                                     Leased
                                                                                 0124
Mining Lease   01/30/18   Smith, Sharon to SCELLC         Sugar Camp Mine Plan   HC 2018-                                     Leased
                                                                                 0126




                                                                                                       Main Docum
Mining Lease   02/08/18   Wood, Betty A. to SCELLC        Sugar Camp Mine Plan   HC 2018-                                     Leased
                                                                                 0171
Mining Lease   02/08/18   Irish, Carol V. to SCELLC       Sugar Camp Mine Plan   HC 2018-                                     Leased
                                                                                 0172
Mining Lease   02/08/18   Wicker, Darrell to SCELLC       Sugar Camp Mine Plan   HC 2018-                                     Leased
                                                                                 0173




                                                                                                       Case 20-41308
Mining Lease   02/08/18   Kathleen M. Wright to SCELLC    Sugar Camp Mine Plan   HC 2018-                                     Leased
                                                                                 0174
Mining Lease   02/08/18   Irish, Lloyd Paul to SCELLC     Sugar Camp Mine Plan   HC 2018-                                     Leased
                                                                                 0175
Mining Lease   02/08/18   Patterson, Paul J. to SCELLC    Sugar Camp Mine Plan   HC 2018-                                     Leased
                                                                                 0176
Mining Lease   02/08/18   Wicker, Paul R. to SCELLC       Sugar Camp Mine Plan   HC 2018-                                     Leased
                                                                                 0177




                                                                                                       Doc 228
Mining Lease   02/28/18   Krois, Bonnie C. to SCELLC      Sugar Camp Mine Plan   HC 2018-                                     Leased
                                                                                 0270
Coal Deed      02/28/18   Tabor, Stephanie to SCELLC      Sugar Camp Mine Plan   HC 2018-                                     Owned
                                                                                 0271
Mining Lease   02/28/18   Petitte, Clyda to SCELLC        Sugar Camp Mine Plan   HC 2018-                                     Leased




                                                                                   Filed 04/01/20 Entered 04/01/20 23:45:34
                                                                                 0272
Mining Lease   02/28/18   Patterson, Emily Jo to SCELLC   Sugar Camp Mine Plan   HC 2018-                                     Leased
                                                                                 0273
Mining Lease   02/28/18   Allen, Jane to SCELLC           Sugar Camp Mine Plan   HC 2018-                                     Leased




                                                                                            Pg 273 of 1005
                                                                                 0274
Coal Deed      02/28/18   Spaven, Laverne to SCELLC       Sugar Camp Mine Plan   HC 2018-                                     Owned
                                                                                 0276
Mining Lease   02/28/18   Jackson, Patricia Snyder to     Sugar Camp Mine Plan   HC 2018-                                     Leased
                          SCELLC                                                 0277
Mining Lease   02/28/18   Gioia, Virginia M. to SCELLC    Sugar Camp Mine Plan   HC 2018-                                     Leased
                                                                                 0278
Mining Lease   02/28/18   Moffett, William R. to SCELLC   Sugar Camp Mine Plan   HC 2018-                                     Leased
                                                                                 0279
Mining Lease   02/28/18   O'Dell, William to SCELLC       Sugar Camp Mine Plan   HC 2018-                                     Leased
                                                                                 0280
Mining Lease   02/28/18   Reid, Dennis P. to SCELLC       Sugar Camp Mine Plan   HC 2018-                                     Leased
                                                                                 0281




                                                                                                       Main Docum
Coal Deed      02/28/18   Griffith, Janice Sue to SCELLC   Sugar Camp Mine Plan   HC 2018-                                     Owned
                                                                                  0284
Mining Lease   02/28/18   Knight, Kenneth E. to SCELLC     Sugar Camp Mine Plan   HC 2018-                                     Leased
                                                                                  0287
Coal Deed      02/28/18   Metheney, Rickie W. to           Sugar Camp Mine Plan   HC 2018-                                     Owned
                          SCELLC                                                  0289




                                                                                                        Case 20-41308
Mining Lease   02/28/18   Olson, Ruth E. to SCELLC         Sugar Camp Mine Plan   HC 2018-                                     Leased
                                                                                  0291
Mining Lease   02/28/18   Sandy, Susan E. to SCELLC        Sugar Camp Mine Plan   HC 2018-                                     Leased
                                                                                  0293
Coal Deed      02/28/18   Miller, Micah A. & Marietta to   Sugar Camp Mine Plan   HC 2019-                                     Owned
                          SCELLC                                                  2023
Mining Lease   04/06/18   Mudge, Evelyn M. to SCELLC       Sugar Camp Mine Plan   HC 2018-                                     Leased
                                                                                  0806




                                                                                                        Doc 228
Mining Lease   04/12/18   Higginson, Leslie K. to SCELLC   Sugar Camp Mine Plan   HC 2018-                                     Leased
                                                                                  0527
Coal Deed      04/12/18   Farris, Brenda K. to SCELLC      Sugar Camp Mine Plan   HC 2018-                                     Owned
                                                                                  0528
Mining Lease   04/12/18   Cook, Becky Lynn to SCELLC       Sugar Camp Mine Plan   HC 2018-                                     Leased




                                                                                    Filed 04/01/20 Entered 04/01/20 23:45:34
                                                                                  0529
Mining Lease   04/12/18   Snyder, Diane M. to SCELLC       Sugar Camp Mine Plan   HC 2018-                                     Leased
                                                                                  0530
Mining Lease   04/12/18   O'Dell, Kevin J. to SCELLC       Sugar Camp Mine Plan   HC 2018-                                     Leased




                                                                                             Pg 274 of 1005
                                                                                  0531
Mining Lease   04/12/18   Wohlers, Karen J. to SCELLC      Sugar Camp Mine Plan   HC 2018-                                     Leased
                                                                                  0532
Mining Lease   04/12/18   Heckert, Lauri to SCELLC         Sugar Camp Mine Plan   HC 2018-                                     Leased
                                                                                  0533
Mining Lease   04/12/18   Page, Mary Jane by Sidney        Sugar Camp Mine Plan   HC 2018-                                     Leased
                          Bennett III AIF to SCELLC                               0534
Mining Lease   04/12/18   Comp ton, Paulette N. to         Sugar Camp Mine Plan   HC 2018-                                     Leased
                          SCELLC                                                  0535
Mining Lease   04/12/18   Taylor, Jennifer to SCELLC       Sugar Camp Mine Plan   HC 2018-                                     Leased
                                                                                  0536
Mining Lease   04/12/18   O'Dell, Carol Lee to SCELLC      Sugar Camp Mine Plan   HC 2018-                                     Leased
                                                                                  0537




                                                                                                        Main Docum
Mining Lease   04/12/18   O'Dell, Casey Joel to SCELLC    Sugar Camp Mine Plan   HC 2018-                                     Leased
                                                                                 0538
Mining Lease   05/08/18   Lowman, Timothy A. to SCELLC    Sugar Camp Mine Plan   HC 2018-                                     Leased
                                                                                 0548
Mining Lease   05/08/18   Neal, Douglas Allen to SCELLC   Sugar Camp Mine Plan   HC 2018-                                     Leased
                                                                                 0754




                                                                                                       Case 20-41308
Mining Lease   05/08/18   Williams, J. Mark to SCELLC     Sugar Camp Mine Plan   HC 2018-                                     Leased
                                                                                 0755
Mining Lease   05/08/18   Barker, Lynne E. to SCELLC      Sugar Camp Mine Plan   HC 2018-                                     Leased
                                                                                 0756
Mining Lease   05/08/18   Knight, Stephen L. to SCELLC    Sugar Camp Mine Plan   HC 2018-                                     Leased
                                                                                 0757
Mining Lease   05/08/18   Neal, Walter Blake to SCELLC    Sugar Camp Mine Plan   HC 2018-                                     Leased
                                                                                 0759




                                                                                                       Doc 228
Coal Deed      05/11/18   Noma, Inc to SCELLC             Sugar Camp Mine Plan   HC 2018-                                     Owned
                                                                                 1036
Mining Lease   05/16/18   Hake, Gary R. to SCELLC         Sugar Camp Mine Plan   HC 2018-                                     Leased
                                                                                 0807
Mining Lease   05/16/18   Hosner, Irene Neal to SCELLC    Sugar Camp Mine Plan   HC 2018-                                     Leased




                                                                                   Filed 04/01/20 Entered 04/01/20 23:45:34
                                                                                 0808
Mining Lease   05/16/18   Duckworth, Nina Neal to         Sugar Camp Mine Plan   HC 2018-                                     Leased
                          SCELLC                                                 0811
Mining Lease   05/16/18   Bailey, Velma Neal to SCELLC    Sugar Camp Mine Plan   HC 2018-                                     Leased




                                                                                            Pg 275 of 1005
                                                                                 0812
Mining Lease   05/16/18   Lovan, W. Robert to SCELLC      Sugar Camp Mine Plan   HC 2018-                                     Leased
                                                                                 0813
Mining Lease   05/16/18   Neal, William Jerry to SCELLC   Sugar Camp Mine Plan   HC 2018-                                     Leased
                                                                                 0814
Coal Deed      06/27/18   Bow ton, Barbara G. to SCELLC   Sugar Camp Mine Plan   HC 2018-                                     Owned
                                                                                 1027
Coal Deed      06/27/18   Whets tone, Dennis W. to        Sugar Camp Mine Plan   HC 2018-                                     Owned
                          SCELLC                                                 1028
Coal Deed      06/27/18   Whets tone, William R. to       Sugar Camp Mine Plan   HC 2018-                                     Owned
                          SCELLC                                                 1029
Coal Deed      06/27/18   Smith, Bernice to SCELLC        Sugar Camp Mine Plan   HC 2018-                                     Owned
                                                                                 1030




                                                                                                       Main Docum
Coal Deed      06/27/18   Thompson, Beatrice % Billy E.      Sugar Camp Mine Plan   HC 2018-                                    Owned
                          Walker AIF to SCELLC                                      1031
Coal Deed      06/27/18   First Church of the Nazarene to    Sugar Camp Mine Plan   HC 2018-                                    Owned
                          SCELLC                                                    1032
Coal Deed      06/27/18   Linn, Karen R. to SCELLC           Sugar Camp Mine Plan   HC 2018-                                    Owned
                                                                                    1034




                                                                                                         Case 20-41308
Mining Lease   06/27/18   Seibert, Charles Ellis to SCELLC   Sugar Camp Mine Plan   HC 2018-                                    Leased
                                                                                    1037
Mining Lease   06/27/18   Seibert, James Thomas to           Sugar Camp Mine Plan   HC 2018-                                    Leased
                          SCELLC                                                    1038
Mining Lease   06/27/18   Drake, Terry W. to SCELLC          Sugar Camp Mine Plan   HC 2018-                                    Leased
                                                                                    1041
Mining Lease   06/27/18   Scott, Betsy Dawn to SCELLC        Sugar Camp Mine Plan   HC 2018-                                    Leased
                                                                                    1042




                                                                                                         Doc 228
Mining Lease   06/27/18   Lane, John Bradley to SCELLC       Sugar Camp Mine Plan   HC 2018-                                    Leased
                                                                                    1045
Mining Lease   06/27/18   Drake, Mark W. to SCELLC           Sugar Camp Mine Plan   HC 2018-                                    Leased
                                                                                    1045
Coal Deed      06/27/18   Mendyk, Julie to SCELLC            Sugar Camp Mine Plan   HC 2018-                                    Owned




                                                                                     Filed 04/01/20 Entered 04/01/20 23:45:34
                                                                                    1088
Mining Lease   07/05/18   Wall, Joyce Ann to SCELLC          Sugar Camp Mine Plan   HC 2018-                                    Leased
                                                                                    1086
Mining Lease   07/05/18   Metheney, Donald W. to             Sugar Camp Mine Plan   HC 2018-                                    Leased




                                                                                              Pg 276 of 1005
                          SCELLC                                                    1084
Coal Deed      07/05/18   Sandidge, Joyce to SCELLC          Sugar Camp Mine Plan   HC 2018-                                    Owned
                                                                                    1085
Coal Deed      07/05/18   Smith, Leon to SCELLC              Sugar Camp Mine Plan   HC 2018-                                    Owned
                                                                                    1087
Coal Deed      07/05/18   Smith, Richard H. to SCELLC        Sugar Camp Mine Plan   HC 2018-                                    Owned
                                                                                    1088
Mining Lease   07/05/18   Wall, Ronald M. to SCELLC          Sugar Camp Mine Plan   HC 2018-                                    Leased
                                                                                    1089
Mining Lease   07/18/18   Martin, Marianne B. to SCELLC      Sugar Camp Mine Plan   HC 2018-                                    Leased
                                                                                    1157
Mining Lease   07/18/18   Wilkie, Mary Jean to SCELLC        Sugar Camp Mine Plan   HC 2018-                                    Leased
                                                                                    1158




                                                                                                         Main Docum
Mining Lease   07/18/18   Jones, Michael J. to SCELLC       Sugar Camp Mine Plan   HC 2018-                                    Leased
                                                                                   1159
Mining Lease   07/18/18   Martin, Janet J. to SCELLC        Sugar Camp Mine Plan   HC 2018-                                    Leased
                                                                                   1160
Mining Lease   07/30/18   Kleber, LLC to SCELLC             Sugar Camp Mine Plan   HC 2018-                                    Leased
                                                                                   1222




                                                                                                        Case 20-41308
Mining Lease   08/08/18   Vickers, Rhonda Lee to SCELLC     Sugar Camp Mine Plan   HC 2018-                                    Leased
                                                                                   1271
Mining Lease   08/08/18   Pike, Brenda L. to SCELLC         Sugar Camp Mine Plan   HC 2018-                                    Leased
                                                                                   1272
Mining Lease   08/08/18   Schwenn, Carolyn S. to SCELLC     Sugar Camp Mine Plan   HC 2018-                                    Leased
                                                                                   1273
Mining Lease   08/14/18   Lane, Juanita Dare to SCELLC      Sugar Camp Mine Plan   HC 2018-                                    Leased
                                                                                   1302




                                                                                                        Doc 228
Coal Deed      08/14/18   Metheney, Miranda to SCELLC       Sugar Camp Mine Plan   HC 2018-                                    Owned
                                                                                   1301
Mining Lease   08/14/18   Yancey, George to SCELLC          Sugar Camp Mine Plan   HC 2018-                                    Leased
                                                                                   1303
Mining Lease   08/28/18   Knob Prairie Baptist Cemetery     Sugar Camp Mine Plan   HC 2018-                                    Leased




                                                                                    Filed 04/01/20 Entered 04/01/20 23:45:34
                          Association to SCELLC                                    1040
Coal Deed      09/12/18   Buchanan, Cynthia E. to           Sugar Camp Mine Plan   HC 2018-                                    Owned
                          SCELLC                                                   1439
Coal Deed      09/12/18   Brophy, Romaine widow of          Sugar Camp Mine Plan   HC 2018-                                    Owned




                                                                                             Pg 277 of 1005
                          James Brophy to SCELLC                                   1440
Mining Lease   09/12/18   Wright, Donald L. to SCELLC       Sugar Camp Mine Plan   HC 2018-                                    Leased
                                                                                   1441
Mining Lease   09/12/18   Dorion, Rhona to SCELLC           Sugar Camp Mine Plan   HC 2018-                                    Leased
                                                                                   1442
Mining Lease   09/12/18   Wright, Laura to SCELLC           Sugar Camp Mine Plan   HC 2018-                                    Leased
                                                                                   1443
Mining Lease   10/03/18   Simmons, Gavin T. to SCELLC       Sugar Camp Mine Plan   HC 2018-                                    Leased
                                                                                   1523
Mining Lease   10/03/18   Wright, Curtis D. to SCELLC       Sugar Camp Mine Plan   HC 2018-                                    Leased
                                                                                   1524
Mining Lease   10/03/18   Lane, Riley Elizabeth to SCELLC   Sugar Camp Mine Plan   HC 2018-                                    Leased
                                                                                   1525




                                                                                                        Main Docum
Mining Lease   10/24/18   Winter, Carrie L Trust to       Sugar Camp Mine Plan   HC 2018-                                     Leased
                          SCELLC                                                 1662
Mining Lease   10/24/18   Smith, Brett to SCELLC          Sugar Camp Mine Plan   HC 2018-                                     Leased
                                                                                 1663
Mining Lease   10/24/18   Johnson, Flora Wymond to        Sugar Camp Mine Plan   HC 2018-                                     Leased
                          SCELLC                                                 1665




                                                                                                       Case 20-41308
Mining Lease   10/24/18   Collins, Sandra Lee to SCELLC   Sugar Camp Mine Plan   HC 2018-                                     Leased
                                                                                 1666
Mining Lease   10/24/18   Koptez, Steven Gerald to        Sugar Camp Mine Plan   HC 2018-                                     Leased
                          SCELLC                                                 1667
Mining Lease   10/24/18   Decker, Mary Lee to SCELLC      Sugar Camp Mine Plan   HC 2018-                                     Leased
                                                                                 1783
Coal Deed      10/30/18   Jenkins, Thomas R to SCELLC     Sugar Camp Mine Plan   HC 2018-                                     Owned
                                                                                 1692




                                                                                                       Doc 228
Mining Lease   10/30/18   Dry, Margaret Johnson to        Sugar Camp Mine Plan   HC 2018-                                     Leased
                          SCELLC                                                 1693
Mining Lease   10/30/18   Lane, Sydney Drew to SCELLC     Sugar Camp Mine Plan   HC 2018-                                     Leased
                                                                                 1694
Mining Lease   10/30/18   touma, Elizabeth Johnson to     Sugar Camp Mine Plan   HC 2018-                                     Leased




                                                                                   Filed 04/01/20 Entered 04/01/20 23:45:34
                          SCELLC                                                 1695
Mining Lease   10/30/18   Myers, Phyllis Ann to SCELLC    Sugar Camp Mine Plan   HC 2018-                                     Leased
                                                                                 1696
Mining Lease   11/19/18   Palmer, Gary to SCELLC          Sugar Camp Mine Plan   HC 2018-                                     Leased




                                                                                            Pg 278 of 1005
                                                                                 1785
Mining Lease   11/19/18   Jordon, Flora Johnson to        Sugar Camp Mine Plan   HC 2018-                                     Leased
                          SCELLC                                                 1908
Mining Lease   11/20/18   Waggoner, Amanda J to SCELLC    Sugar Camp Mine Plan   FC 2018-                                     Leased
                                                                                 4821
Mining Lease   11/20/18   Bohannon, Barbara Ann to        Sugar Camp Mine Plan   FC 2018-                                     Leased
                          SCELLC                                                 4822
Mining Lease   11/20/18   Otterson, Lloyd L. to SCELLC    Sugar Camp Mine Plan   FC 2018-                                     Leased
                                                                                 4823
Mining Lease   12/11/18   Goforth, Heather J. to SCELLC   Sugar Camp Mine Plan   HC 2018-                                     Leased
                                                                                 1905
Mining Lease   12/11/18   Goforth, Matthew R. to SCELLC   Sugar Camp Mine Plan   HC 2018-                                     Leased
                                                                                 1906




                                                                                                       Main Docum
Mining Lease   12/11/18   Smith, Kerry to SCELLC            Sugar Camp Mine Plan   HC 2018-                                     Leased
                                                                                   1907
Mining Lease   12/11/18   Johnson, Katherine Elizabeth to   Sugar Camp Mine Plan   HC 2018-                                     Leased
                          SCELLC                                                   1908
Mining Lease   12/18/18   Wright, Shelia P. to SCELLC       Sugar Camp Mine Plan   HC 2018-                                     Leased
                                                                                   1974




                                                                                                         Case 20-41308
Mining Lease   12/18/18   Wright, Richard A. to SCELLC      Sugar Camp Mine Plan   HC 2018-                                     Leased
                                                                                   1975
Mining Lease   12/18/18   Wright, Michael S. to SCELLC      Sugar Camp Mine Plan   HC 2018-                                     Leased
                                                                                   1976
Mining Lease   12/18/18   Brown, Gary R. to SCELLC          Sugar Camp Mine Plan   HC 2018-                                     Leased
                                                                                   1977
Coal Deed      01/09/19   Jenkins, Mike to SCELLC           Sugar Camp Mine Plan   HC 2019-                                     Owned
                                                                                   0057




                                                                                                         Doc 228
Mining Lease   01/09/19   Jenkins, Hellen to SCELLC         Sugar Camp Mine Plan   HC 2019-                                     Leased
                                                                                   0058
Mining Lease   01/09/19   Bayne, Janet Jenkins to SCELLC    Sugar Camp Mine Plan   HC 2019-                                     Leased
                                                                                   0059
Mining Lease   01/09/19   Jenkins, James J. to SCELLC       Sugar Camp Mine Plan   HC 2019-                                     Leased




                                                                                     Filed 04/01/20 Entered 04/01/20 23:45:34
                                                                                   0060
Mining Lease   01/16/19   Wright, Steven Ray to SCELLC      Sugar Camp Mine Plan   HC 2019-                                     Leased
                                                                                   0097
Mining Lease   01/16/19   Wright, Ida Louise to SCELLC      Sugar Camp Mine Plan   HC 2019-                                     Leased




                                                                                              Pg 279 of 1005
                                                                                   0098
Coal Deed      01/29/19   The Bonnie Camp Meeting to        Sugar Camp Mine Plan   HC 2019-                                     Owned
                          SCELLC                                                   0150
Coal Deed      02/01/19   Barnhill, Ruth Eloise Short to    Sugar Camp Mine Plan   HC 2019-                                     Owned
                          SCELLC                                                   0168
Coal Deed      02/01/19   Rappe, John James to SCELLC       Sugar Camp Mine Plan   HC 2019-                                     Owned
                                                                                   0169
Mining Lease   02/01/19   Willis, Bruce E. to SCELLC        Sugar Camp Mine Plan   HC 2019-                                     Leased
                                                                                   0172
Mining Lease   02/01/19   Knott, Elaine Mae to SCELLC       Sugar Camp Mine Plan   HC 2019-                                     Leased
                                                                                   0173
Mining Lease   02/01/19   Seibert, John Walter to SCELLC    Sugar Camp Mine Plan   HC 2019-                                     Leased
                                                                                   0174




                                                                                                         Main Docum
Coal Deed      02/08/19   Short, Leon to SCELLC             Sugar Camp Mine Plan   HC 2019-                                    Owned
                                                                                   0210
Coal Deed      02/08/19   Avolt, Kathleen Eagan to          Sugar Camp Mine Plan   HC 2019-                                    Owned
                          SCELLC                                                   0218
Coal Deed      02/08/19   Avolt, Donna H. to SCELLC         Sugar Camp Mine Plan   HC 2019-                                    Owned
                                                                                   0219




                                                                                                        Case 20-41308
Mining Lease   02/13/19   Wall, Letitia to SCELLC           Sugar Camp Mine Plan   HC 2019-                                    Leased
                                                                                   0223
Mining Lease   02/14/19   Rexing, Joseph L. to SCELLC       Sugar Camp Mine Plan   NOT                                         Leased
                                                                                   RECORDED
Mining Lease   02/14/19   Rexing, Joseph L. to SCELLC       Sugar Camp Mine Plan   NOT                                         Leased
                                                                                   RECORDED
Mining Lease   02/19/19   Hoffman, Elaine W. to SCELLC      Sugar Camp Mine Plan   HC 2019-                                    Leased
                                                                                   0245




                                                                                                        Doc 228
Coal Deed      03/12/19   Banning, David W. to SCELLC       Sugar Camp Mine Plan   HC 2019-                                    Owned
                                                                                   0368
Mining Lease   03/22/19   Kinsey, Frances E. to SCELLC      Sugar Camp Mine Plan   HC 2019-                                    Leased
                                                                                   0416
Mining Lease   03/22/19   Willis, George Darin to SCELLC    Sugar Camp Mine Plan   HC 2019-                                    Leased




                                                                                    Filed 04/01/20 Entered 04/01/20 23:45:34
                                                                                   0417
Mining Lease   03/22/19   Burns, Lenore E. to SCELLC        Sugar Camp Mine Plan   HC 2019-                                    Leased
                                                                                   0418
Mining Lease   03/22/19   Gill, Lorella E. to SCELLC        Sugar Camp Mine Plan   HC 2019-                                    Leased




                                                                                             Pg 280 of 1005
                                                                                   0419
Mining Lease   03/22/19   Oberreiter, Jean Ann (Evans) to   Sugar Camp Mine Plan   HC 2019-                                    Leased
                          SCELLC                                                   0420
Coal Deed      03/22/19   Doyle, Kymbra Drasil to           Sugar Camp Mine Plan   HC 2019-                                    Owned
                          SCELLC                                                   0421
Coal Deed      03/27/19   Higgins, Cynthia Ann to Elaine    Sugar Camp Mine Plan   HC 2019-                                    Owned
                          May Knott                                                0446
Coal Deed      03/28/19   Short, Dian to SCELLC             Sugar Camp Mine Plan   HC 2019-                                    Owned
                                                                                   0463
Coal Deed      03/28/19   Short, Richard to SCELLC          Sugar Camp Mine Plan   HC 2019-                                    Owned
                                                                                   0464
Coal Deed      04/03/19   South Side Christian Church to    Sugar Camp Mine Plan   HC 2019-                                    Owned
                          SCELLC                                                   0507




                                                                                                        Main Docum
Mining Lease   04/10/19   Yorgan, Jennifer to SCELLC       Sugar Camp Mine Plan   HC 2019-                                    Leased
                                                                                  0558
Mining Lease   04/10/19   Edmonds, James G. to SCELLC      Sugar Camp Mine Plan   HC 2019-                                    Leased
                                                                                  0559
Mining Lease   04/23/19   Crowder, Nancee L. to SCELLC     Sugar Camp Mine Plan   HC 2019-                                    Leased
                                                                                  0669




                                                                                                       Case 20-41308
Mining Lease   04/23/19   Gunn, Patrick L. to SCELLC       Sugar Camp Mine Plan   HC 2019-                                    Leased
                                                                                  0671
Mining Lease   04/23/19   Gunn, Scott L. to SCELLC         Sugar Camp Mine Plan   HC 2019-                                    Leased
                                                                                  0672
Mining Lease   04/23/19   Gunn, Kenneth to SCELLC          Sugar Camp Mine Plan   HC 2019-                                    Leased
                                                                                  0673
Mining Lease   05/01/19   Foresight Energy LP to SCELLC    Sugar Camp Mine Plan   NOT                                         Leased
                                                                                  RECORDED




                                                                                                       Doc 228
Mining Lease   05/08/19   Camden, Randy to SCELLC          Sugar Camp Mine Plan   HC 2019-                                    Leased
                                                                                  0750
Mining Lease   05/08/19   Davis, Tamera L. to SCELLC       Sugar Camp Mine Plan   HC 2019-                                    Leased
                                                                                  0751
Mining Lease   05/30/19   Fitts, David F. to SCELLC        Sugar Camp Mine Plan   HC 2019-                                    Leased




                                                                                   Filed 04/01/20 Entered 04/01/20 23:45:34
                                                                                  0851
Coal Deed      06/03/19   Avolt, Geoffrey Barth to         Sugar Camp Mine Plan   HC 2019-                                    Owned
                          SCELLC                                                  0870
Mining Lease   06/10/19   Buchman, Diana Sue Wright to     Sugar Camp Mine Plan   HC 2019-                                    Leased




                                                                                            Pg 281 of 1005
                          SCELLC                                                  0896
Mining Lease   06/10/19   Willis, Robert James to SCELLC   Sugar Camp Mine Plan   HC 2019-                                    Leased
                                                                                  0897
Mining Lease   06/10/19   Sears, James R. & Gloria to      Sugar Camp Mine Plan   HC 2019-                                    Leased
                          SCELLC                                                  0898
Mining Lease   06/19/19   Wise, Melodie Lea to SCELLC      Sugar Camp Mine Plan   HC 2019-                                    Leased
                                                                                  0962
Mining Lease   06/19/19   Walker, Edwin N. to SCELLC       Sugar Camp Mine Plan   HC 2019-                                    Leased
                                                                                  0963
Mining Lease   07/17/19   O'Dell, Paula J. to SCELLC       Sugar Camp Mine Plan   HC 2019-                                    Leased
                                                                                  1079
Mining Lease   07/17/19   Walker, Ivan W. to SCELLC        Sugar Camp Mine Plan   HC 2019-                                    Leased
                                                                                  1080




                                                                                                       Main Docum
Mining Lease   07/25/19     Hut ton, Catherine Ann to        Sugar Camp Mine Plan   HC 2019-                                     Leased
                            SCELLC                                                  1118
Coal Deed      07/25/19     Nuss, Richard E. Sr. to SCELLC   Sugar Camp Mine Plan   HC 2019-                                     Owned
                                                                                    1120
Mining Lease   08/01/19     Miltenberger, Cheryl G. to       Sugar Camp Mine Plan   HC 2019-                                     Leased
                            SCELLC                                                  1162




                                                                                                          Case 20-41308
Mining Lease   08/01/19     Lohman, Sandra E. to SCELLC      Sugar Camp Mine Plan   HC 2019-                                     Leased
                                                                                    1163
Mining Lease   08/01/19     Entwistle, Craig W. to SCELLC    Sugar Camp Mine Plan   HC 2019-                                     Leased
                                                                                    1164
Coal Deed      08/28/19     Society of St. Vincent de Paul   Sugar Camp Mine Plan   HC 2019-                                     Owned
                            Archdiocesan Council                                    1317
                            toSCELLC
Mining Lease   08/28/19     Entwistle, Jacquelyn Marie to    Sugar Camp Mine Plan   HC 2019-                                     Leased




                                                                                                          Doc 228
                            SCELLC                                                  1318
Mining Lease   08/28/19     Oliver, Mil ton Donald to        Sugar Camp Mine Plan   HC 2019-                                     Leased
                            SCELLC                                                  1318
Mining Lease   09/24/19     Prusha, Thomas M. to SCELLC      Sugar Camp Mine Plan   HC 2019-                                     Leased
                                                                                    1584




                                                                                      Filed 04/01/20 Entered 04/01/20 23:45:34
Coal Deed      10/09/19     Lowe, Debra Short to SCELLC      Sugar Camp Mine Plan   HC 2019-                                     Owned
                                                                                    1697
Coal Deed      11/14/19     Lewis, Phyllis Ann to SCELLC     Sugar Camp Mine Plan   HC 2019-                                     Owned
                                                                                    1869




                                                                                               Pg 282 of 1005
Coal Deed      11/14/19     Duncan, Barbara Joan to          Sugar Camp Mine Plan   HC 2019-                                     Owned
                            SCELLC                                                  1870
Coal Deed      11/14/2019   McKinney, Marsha to SCELLC       Sugar Camp Mine Plan   HC 2019-                                     Owned
                                                                                    1871
Coal Deed      11/14/2019   Kniffen, Susan to SCELLC         Sugar Camp Mine Plan   HC 2019-                                     Owned
                                                                                    1872
Coal Deed      11/14/19     Blackwell, William Loyd to       Sugar Camp Mine Plan   HC 2019-                                     Owned
                            SCELLC                                                  1873
Mining Lease   11/14/19     Flannigan, Monty D. to SCELLC    Sugar Camp Mine Plan   HC 2019-                                     Leased
                                                                                    1874
Mining Lease   11/20/19     Irish, Wilmot Wheeler to         Sugar Camp Mine Plan   HC 2019-                                     Leased
                            SCELLC                                                  1903




                                                                                                          Main Docum
Coal Deed      11/26/19   McIntosh, Mark E. to SCELLC       Sugar Camp Mine Plan   HC 2019-                                     Owned
                                                                                   1945
Mining Lease   12/10/19   Bergen County Animal Shelter to   Sugar Camp Mine Plan   FC 2019-                                     Leased
                          SCELLC                                                   4869
Mining Lease   01/16/20   Moore, Carolyn F. to SCELLC       Sugar Camp Mine Plan   HC 2020-                                     Leased
                                                                                   0098




                                                                                                         Case 20-41308
Mining Lease   01/16/20   Rucker, Lezlie J. to SCELLC       Sugar Camp Mine Plan   HC 2020-                                     Leased
                                                                                   0099
Mining Lease   01/16/20   Cooper, Rene F. to SCELLC         Sugar Camp Mine Plan   HC 2020-                                     Leased
                                                                                   0100
Coal Deed      01/21/20   Drake, Roger to SCELLC            Sugar Camp Mine Plan   HC 2020-                                     Owned
                                                                                   0109
Mining Lease   01/21/20   Debow, Carolyn S. to SCELLC       Sugar Camp Mine Plan   HC 2020-                                     Leased
                                                                                   0110




                                                                                                         Doc 228
Mining Lease   01/21/20   Drake, Daphne to SCELLC           Sugar Camp Mine Plan   HC 2020-                                     Leased
                                                                                   0111
Mining Lease   02/18/20   Rocky Mountain Lions Eye          Sugar Camp Mine Plan   HC 2020-                                     Leased
                          Institute Foundation, Inc. to                            0319
                          SCELLC




                                                                                     Filed 04/01/20 Entered 04/01/20 23:45:34
Mining Lease   02/18/20   Hoppe, Judy H. to SCELLC          Sugar Camp Mine Plan   HC 2020-                                     Leased
                                                                                   0320
Mining Lease   02/27/20   Musselman, James Jay to           Sugar Camp Mine Plan   HC 2020-                                     Leased
                          SCELLC                                                   0378




                                                                                              Pg 283 of 1005
                                                                                                         Main Docum
Williamson Energy, LLC

Pond Creek No. 1 Mine
16468 Liberty School Road
Marion, IL 62959




                                                                                                                             Case 20-41308
Material Properties:

 Description/Title of                                                                             Recording                                         Owned or   Subject to
                           Date               Parties            Brief Legal Description
     Document                                                                                    Information                                         Leased    Mortgage
                                                                                               Franklin County:
                                                                                                Doc 2006-6571
Short Form of Lease as                WPP LLC and Williamson    Coal Reserves in Williamson
                         8/14/2006                                                                                                                   Leased       Yes




                                                                                                                             Doc 228
       amended                             Energy, LLC                County, Illinois
                                                                                              Williamson County:
                                                                                              Misc. 301 page 480
                                      Williamson Development
 Short Form of Lease                                            Coal Reserves in Williamson
                          5/1/2005      Company LLC and                                       Misc 291 page 461                                      Leased       Yes
    and Sublease                                                      County, Illinois
                                      Williamson Energy LLC




                                                                                                         Filed 04/01/20 Entered 04/01/20 23:45:34
                                         Independence Land
                                                                Coal Reserves in Williamson
 Short Form of Lease     3/13/2006       Company, LLC and                                     Misc 301 Page 479                                      Leased       Yes
                                                                      County, Illinois
                                      Williamson Energy, LLC
  First Amended and                   Williamson Development




                                                                                                                  Pg 284 of 1005
 Restated Lease (Coal    10/15/2006     Company, LLC and        Pond Creek Processing Plant   Misc 313 Page 620                                      Leased       Yes
      Prep Plant)                     Williamson Energy, LLC
Coal Mining Lease and                 Colt LLC and Williamson   Coal Reserves in Williamson
                          8/12/10                                                                  325-897                                           Leased       Yes
        Sublease                            Energy, LLC                 County, Il
  First Amended and                   Williamson Development
 Restated Lease (Rail    10/15/2006     Company, LLC and         Pond Creek Rail Load Out     Misc 313 Page 619                                      Leased       Yes
   Load Out Lease)                    Williamson Energy, LLC




                                                                                                                             Main Docum
    Description/Title of                                                                                         Recording                                          Owned or   Subject to
                             Date                  Parties                 Brief Legal Description
        Document                                                                                                Information                                          Leased    Mortgage
                                         Williamson Development
                                                                       Surface required for Williamson
           Deed             8/12/10        Company, LLC and                                                     WC 486-333                                           Owned        Yes
                                                                          Energy, LLC Operations3
                                         Williamson Energy, LLC
                                         Williamson Development           “Snake areas” required for




                                                                                                                                             Case 20-41308
         Easement           8/12/10        Company, LLC and               Williamson Energy, LLC                WC 325-899                                           Owned        Yes
                                         Williamson Energy, LLC                  Operations
                                          Eberhart to Williamson
                                                                           Ground lease required for
                                         Development Company,
       Ground Lease         8/12/10                                        Williamson Energy, LLC               WC 325-900                                           Leased       Yes
                                             LLC assigned to
                                                                                  Operations
                                         Williamson Energy, LLC
                                         Summers to Independence           Ground lease required for
       Ground Lease         8/12/10       Land Company, LLC to             Williamson Energy, LLC               WC 327-750                                           Leased       Yes




                                                                                                                                             Doc 228
                                         Williamson Energy, LLC                   Operations


       Warranty Deed        6/14/2018         Diana S. Dulle to          Coal Reserves for Williamson           WC 2018-4356                                          Owned
                                           Williamson Energy, LLC          Energy, LLC Operations




                                                                                                                         Filed 04/01/20 Entered 04/01/20 23:45:34
       Warranty Deed        7/13/2018          Linda Duncan to           Coal Reserves for Williamson           WC 2018-5209                                          Owned
                                           Williamson Energy, LLC          Energy, LLC Operations
       Warranty Deed        7/20/2018        Jeremy W. Smith to          Coal Reserves for Williamson           WC 2018-5434                                          Owned
                                           Williamson Energy, LLC          Energy, LLC Operations




                                                                                                                                  Pg 285 of 1005
       Warranty Deed        8/20/2018          Lora L. Jones to          Coal Reserves for Williamson           WC 2018-6259                                          Owned
                                           Williamson Energy, LLC          Energy, LLC Operations
       Warranty Deed        8/20/2018        Shirley N. Smith to         Coal Reserves for Williamson           WC 2018-6258                                          Owned
                                           Williamson Energy, LLC          Energy, LLC Operations
       Warranty Deed         9/4/2018       Debra Ellen Moser to         Coal Reserves for Williamson           WC 2018-6707                                          Owned
                                           Williamson Energy, LLC          Energy, LLC Operations
       Warranty Deed         9/4/2018       Larry Dean Bethard to        Coal Reserves for Williamson           WC 2018-6706                                          Owned
                                           Williamson Energy, LLC          Energy, LLC Operations


3
  This excludes the real property released pursuant to that certain Fifth Amendment and Partial Release of Fee and Leasehold Mortgage, Assignment of Rents and
Leases, Security Agreement and Fixture Filing, dated as of September 26, 2016, by and between Williamson Energy, LLC, as Mortgagor, and Citibank, N.A., in
its capacity as Agent, consisting of approximately 28.55 acres of surface land.




                                                                                                                                             Main Docum
Warranty Deed                   Jerry R. Harpole to      Coal Reserves for Williamson   WC 2018-6705                                      Owned
                 9/4/2018    Williamson Energy, LLC        Energy, LLC Operations
Warranty Deed    9/4/2018      Wilma K. Harpole to       Coal Reserves for Williamson   WC 2018-6704                                      Owned
                             Williamson Energy, LLC        Energy, LLC Operations
Warranty Deed    9/4/2018      Kimberly A. Smith to      Coal Reserves for Williamson   WC 2018-6703                                      Owned
                             Williamson Energy, LLC        Energy, LLC Operations




                                                                                                                   Case 20-41308
Warranty Deed    9/4/2018      Gerald Lee Bethard to     Coal Reserves for Williamson   WC 2018-6702                                      Owned
                             Williamson Energy, LLC        Energy, LLC Operations
Warranty Deed    9/4/2018     Wendall Ray Bethard to     Coal Reserves for Williamson   WC 2018-6701                                      Owned
                             Williamson Energy, LLC        Energy, LLC Operations
Warranty Deed   9/24/2018       Edward W. Sursa to       Coal Reserves for Williamson   WC 2018-7338                                      Owned
                             Williamson Energy, LLC        Energy, LLC Operations
Warranty Deed   9/24/2018     Barbara Jean Newton to     Coal Reserves for Williamson   WC 2018-7337                                      Owned
                             Williamson Energy, LLC        Energy, LLC Operations




                                                                                                                   Doc 228
Warranty Deed   9/24/2018       Debra L. Caplick to      Coal Reserves for Williamson   WC 2018-7336                                      Owned
                             Williamson Energy, LLC        Energy, LLC Operations
Warranty Deed   9/24/2018         Don N. Sursa to        Coal Reserves for Williamson   WC 2018-7335                                      Owned
                             Williamson Energy, LLC        Energy, LLC Operations
Warranty Deed   9/24/2018      Jim D. Glazebrook to      Coal Reserves for Williamson   WC 2018-7334                                      Owned




                                                                                               Filed 04/01/20 Entered 04/01/20 23:45:34
                             Williamson Energy, LLC        Energy, LLC Operations
Warranty Deed   9/24/2018     Susan Elaine Bethard to    Coal Reserves for Williamson   WC 2018-7333                                      Owned
                             Williamson Energy, LLC        Energy, LLC Operations
Warranty Deed   9/24/2018      Jerry D. Brookman to      Coal Reserves for Williamson   WC 2018-7332                                      Owned




                                                                                                        Pg 286 of 1005
                             Williamson Energy, LLC        Energy, LLC Operations
Warranty Deed   9/24/2018        Linda E. Rector to      Coal Reserves for Williamson   WC 2018-7331                                      Owned
                             Williamson Energy, LLC        Energy, LLC Operations
Warranty Deed   9/24/2018     Marion E. Glazebrook to    Coal Reserves for Williamson   WC 2018-7330                                      Owned
                             Williamson Energy, LLC        Energy, LLC Operations
Warranty Deed   9/24/2018    Sarah J. Glazebrook Perry   Coal Reserves for Williamson   WC 2018-7329                                      Owned
                                         to                Energy, LLC Operations
                             Williamson Energy, LLC
Warranty Deed   10/16/2018   Michelle McCabe-Doyle to    Coal Reserves for Williamson   WC 2018-7977                                      Owned
                             Williamson Energy, LLC        Energy, LLC Operations
Warranty Deed   10/16/2018   Richard R. Glazebrook to    Coal Reserves for Williamson   WC 2018-7976                                      Owned
                             Williamson Energy, LLC        Energy, LLC Operations
Warranty Deed   10/16/2018     Robert Shon Smith to      Coal Reserves for Williamson   WC 2018-7975                                      Owned




                                                                                                                   Main Docum
                              Williamson Energy, LLC         Energy, LLC Operations
Warranty Deed   10/16/2018     Elizabeth Jeanne Culli to   Coal Reserves for Williamson   WC 2018-7974                                      Owned
                              Williamson Energy, LLC         Energy, LLC Operations
Warranty Deed   10/23/2018          Kathy Scott to         Coal Reserves for Williamson   WC 2018-8178                                      Owned
                              Williamson Energy, LLC         Energy, LLC Operations
Warranty Deed   11/07/2018     Roger W. Glazebrook to      Coal Reserves for Williamson   WC 2018-8581                                      Owned




                                                                                                                     Case 20-41308
                              Williamson Energy, LLC         Energy, LLC Operations
Warranty Deed   11/27/2018        Tommy R. Sursa to        Coal Reserves for Williamson   WC 2018-9311                                      Owned
                              Williamson Energy, LLC         Energy, LLC Operations
Warranty Deed   12/03/2018      Allen E. Heinbokel to      Coal Reserves for Williamson   WC 2018-9490                                      Owned
                              Williamson Energy, LLC         Energy, LLC Operations
Warranty Deed   12/18/2018   Jeremiah Wesley Seaman to     Coal Reserves for Williamson   WC 2018-9920                                      Owned
                              Williamson Energy, LLC         Energy, LLC Operations
Warranty Deed   12/18/2018   Alexandra Lewis DeMarino      Coal Reserves for Williamson   WC 2018-9919                                      Owned




                                                                                                                     Doc 228
                               to Williamson Energy,         Energy, LLC Operations
                                         LLC
Warranty Deed   1/07/2019       Shannon Lee Brand to       Coal Reserves for Williamson   WC 2019-147                                       Owned
                              Williamson Energy, LLC         Energy, LLC Operations
Warranty Deed   1/31/2019      Michael James Lewis to      Coal Reserves for Williamson   WC 2019-727                                       Owned




                                                                                                 Filed 04/01/20 Entered 04/01/20 23:45:34
                              Williamson Energy, LLC         Energy, LLC Operations
Warranty Deed   1/31/2019     Karolyn Kay Fullerton to     Coal Reserves for Williamson   WC 2019-726                                       Owned
                              Williamson Energy, LLC         Energy, LLC Operations
Mining Lease     3/5/2019         Susan E. Denton to       Coal Reserves for Williamson   WC 2019-1569                                      Leased




                                                                                                          Pg 287 of 1005
                              Williamson Energy, LLC         Energy, LLC Operations
Warranty Deed   3/18/2019         Ronald L. Smith to       Coal Reserves for Williamson   WC 2019-1877                                      Owned
                              Williamson Energy, LLC         Energy, LLC Operations
Warranty Deed   8/27/2019         Deloris J. Hoehn to      Coal Reserves for Williamson   WC 2019-6215                                      Owned
                              Williamson Energy, LLC         Energy, LLC Operations
Warranty Deed   1/26/2018       James Walter Hoyt to       Coal Reserves for Williamson   FC 2018-407                                       Owned
                              Williamson Energy, LLC         Energy, LLC Operations
Warranty Deed   2/13/2018      Brenda Dora Spencer to      Coal Reserves for Williamson   FC 2018-633                                       Owned
                              Williamson Energy, LLC         Energy, LLC Operations
Warranty Deed   3/21/2018         Patricia K. Dyer to      Coal Reserves for Williamson   FC 2018-1127                                      Owned
                              Williamson Energy, LLC         Energy, LLC Operations
Warranty Deed   3/21/2018        Diana L. Bischler to      Coal Reserves for Williamson   FC 2018-1126                                      Owned
                              Williamson Energy, LLC         Energy, LLC Operations




                                                                                                                     Main Docum
Mining Lease    3/23/2018      Lisa M. Engeling to        Coal Reserves for Williamson   FC 2018-1177                                      Leased
                             Williamson Energy, LLC         Energy, LLC Operations
Warranty Deed   4/19/2018       Jeanette Fortney to       Coal Reserves for Williamson   FC 2018-1539                                      Owned
                             Williamson Energy, LLC         Energy, LLC Operations
Mining Lease    7/13/2018       Jerry K. Johnson to       Coal Reserves for Williamson   FC 2018-2781                                      Leased
                             Williamson Energy, LLC         Energy, LLC Operations




                                                                                                                    Case 20-41308
Warranty Deed    8/1/2018      Lorna Lynn Hines to        Coal Reserves for Williamson   FC 2018-3095                                      Owned
                             Williamson Energy, LLC         Energy, LLC Operations
Warranty Deed    8/1/2018      Robbie L. Osteen to        Coal Reserves for Williamson   FC 2018-3094                                      Owned
                             Williamson Energy, LLC         Energy, LLC Operations
Warranty Deed   8/10/2018      Brian M. Johnson to        Coal Reserves for Williamson   FC 2018-3251                                      Owned
                             Williamson Energy, LLC         Energy, LLC Operations
Mining Lease    8/29/2018    Paula T. Hartzel, et al to   Coal Reserves for Williamson   FC 2018-3551                                      Leased
                             Williamson Energy, LLC         Energy, LLC Operations




                                                                                                                    Doc 228
Warranty Deed    9/5/2018        Janet J. Griffin to      Coal Reserves for Williamson   FC 2018-3642                                      Owned
                             Williamson Energy, LLC         Energy, LLC Operations
Warranty Deed    9/5/2018       Gary P. Johnson to        Coal Reserves for Williamson   FC 2018-3641                                      Owned
                             Williamson Energy, LLC         Energy, LLC Operations
Warranty Deed    9/5/2018         Barbara Giles to        Coal Reserves for Williamson   FC 2018-3640                                      Owned




                                                                                                Filed 04/01/20 Entered 04/01/20 23:45:34
                             Williamson Energy, LLC         Energy, LLC Operations
Warranty Deed   9/18/2018    Katherine Ann Bradley to     Coal Reserves for Williamson   FC 2018-3870                                      Owned
                             Williamson Energy, LLC         Energy, LLC Operations
Warranty Deed   10/17/2018    Shirley Whitehead to        Coal Reserves for Williamson   FC 2018-4400                                      Owned




                                                                                                         Pg 288 of 1005
                             Williamson Energy, LLC         Energy, LLC Operations
Warranty Deed   10/23/2018   Barbara Faye Sharkey to      Coal Reserves for Williamson   FC 2018-4481                                      Owned
                             Williamson Energy, LLC         Energy, LLC Operations
Warranty Deed    2/1/2019      Emma L. Stetson to         Coal Reserves for Williamson   FC 2019-335                                       Owned
                             Williamson Energy, LLC         Energy, LLC Operations
Warranty Deed   3/26/2019     Ronald L. Johnson to        Coal Reserves for Williamson   FC 2019-1004                                      Owned
                             Williamson Energy, LLC         Energy, LLC Operations
Warranty Deed    4/2/2019      Sarah Greenwade to         Coal Reserves for Williamson   FC 2019-1134                                      Owned
                             Williamson Energy, LLC         Energy, LLC Operations
Warranty Deed    4/2/2019       Susan L. Naucke to        Coal Reserves for Williamson   FC 2019-1154                                      Owned
                             Williamson Energy, LLC         Energy, LLC Operations
Warranty Deed   4/17/2019       Brock D. Harris to        Coal Reserves for Williamson   FC 2019-1351                                      Owned
                             Williamson Energy, LLC         Energy, LLC Operations




                                                                                                                    Main Docum
Warranty Deed   4/17/2019      James Keith Harris to    Coal Reserves for Williamson   FC 2019-1352                                      Owned
                             Williamson Energy, LLC       Energy, LLC Operations
Warranty Deed   4/23/2019       Marilyn S. Harris to    Coal Reserves for Williamson   FC 2019-1419                                      Owned
                             Williamson Energy, LLC       Energy, LLC Operations
Warranty Deed   5/14/2019       Miranda B. Harris to    Coal Reserves for Williamson   FC 2019-1752                                      Owned
                             Williamson Energy, LLC       Energy, LLC Operations




                                                                                                                  Case 20-41308
Warranty Deed   5/14/2019        Charlotte Jean to      Coal Reserves for Williamson   FC 2019-1751                                      Owned
                             Williamson Energy, LLC       Energy, LLC Operations
Warranty Deed    7/1/2019         Debra Krantz to       Coal Reserves for Williamson   FC 2019-2388                                      Owned
                             Williamson Energy, LLC       Energy, LLC Operations
Mining Lease    7/17/2019        Mary Lou Zech to       Coal Reserves for Williamson   FC 2019-2618                                      Owned
                             Williamson Energy, LLC       Energy, LLC Operations
Warranty Deed   7/17/2019      Judith A. Woodard to     Coal Reserves for Williamson   FC 2019-2617                                      Owned
                             Williamson Energy, LLC       Energy, LLC Operations




                                                                                                                  Doc 228
Warranty Deed   7/17/2019         Debra Krantz to       Coal Reserves for Williamson   FC 2019-2616                                      Owned
                             Williamson Energy, LLC       Energy, LLC Operations
Warranty Deed   7/24/2019    Norma Adams Johnson to     Coal Reserves for Williamson   FC 2019-2732                                      Owned
                             Williamson Energy, LLC       Energy, LLC Operations
Warranty Deed   7/30/2019       Phillip R. Erthall to   Coal Reserves for Williamson   FC 2019-2832                                      Owned




                                                                                              Filed 04/01/20 Entered 04/01/20 23:45:34
                             Williamson Energy, LLC       Energy, LLC Operations
Warranty Deed   7/30/2019      Robert H. Wilmert to     Coal Reserves for Williamson   FC 2019-2833                                      Owned
                             Williamson Energy, LLC       Energy, LLC Operations
Warranty Deed   8/13/2019      Kenneth L. Wilmert to    Coal Reserves for Williamson   FC 2019-3062                                      Owned




                                                                                                       Pg 289 of 1005
                             Williamson Energy, LLC       Energy, LLC Operations
Warranty Deed   8/13/2019       William Wilmert to      Coal Reserves for Williamson   FC 2019-3061                                      Owned
                             Williamson Energy, LLC       Energy, LLC Operations
Warranty Deed    9/4/2019         Linda S. Lear to      Coal Reserves for Williamson   FC 2019-3389                                      Owned
                             Williamson Energy, LLC       Energy, LLC Operations
    Deed        9/16/2019      Steven H. Machura to     Coal Reserves for Williamson   FC 2019-3554                                      Owned
                             Williamson Energy, LLC       Energy, LLC Operations
Warranty Deed   10/17/2019   Sharon A. Aiken-Peterson   Coal Reserves for Williamson   FC 2019-3990                                      Owned
                              to Williamson Energy,       Energy, LLC Operations
                                        LLC
Warranty Deed   10/30/2019       Raven N. Fager to      Coal Reserves for Williamson   FC 2019-4153                                      Owned
                             Williamson Energy, LLC       Energy, LLC Operations
Mining Lease    11/05/2019       Mary Lou Zech to       Coal Reserves for Williamson   FC 2019-4251                                      Leased




                                                                                                                  Main Docum
                             Williamson Energy, LLC         Energy, LLC Operations
Warranty Deed   11/14/2019      Daniel L. Johnson to      Coal Reserves for Williamson   FC 2019-4371                                      Owned
                             Williamson Energy, LLC         Energy, LLC Operations
Warranty Deed   11/26/2019      Colleen L. Taylor to      Coal Reserves for Williamson   FC 2019-4559                                      Owned
                             Williamson Energy, LLC         Energy, LLC Operations
Warranty Deed   2/25/2020    Paula Kay Osteen-Cortez to   Coal Reserves for Williamson   FC 2020-728                                       Owned




                                                                                                                    Case 20-41308
                             Williamson Energy, LLC         Energy, LLC Operations
Warranty Deed   2/25/2020      Monta Ray Jennings to      Coal Reserves for Williamson   FC 2020-726                                       Owned
                             Williamson Energy, LLC         Energy, LLC Operations
Warranty Deed   2/25/2020       Robbie L. Osteen to       Coal Reserves for Williamson   FC 2020-727                                       Owned
                             Williamson Energy, LLC         Energy, LLC Operations




                                                                                                                    Doc 228
                                                                                                Filed 04/01/20 Entered 04/01/20 23:45:34
                                                                                                         Pg 290 of 1005
                                                                                                                    Main Docum
Case 20-41308   Doc 228   Filed 04/01/20 Entered 04/01/20 23:45:34   Main Document
                                   Pg 291 of 1005
                                                                           138




                                    Schedule 6.18

                                Post-Closing Covenants

    None.
Case 20-41308       Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34        Main Document
                                            Pg 292 of 1005



                                                 Schedule 7.01

                                           Existing Liens
       1. Liens pursuant to items 1 and 2 on Schedule 7.03.

       2. Liens as set forth in the below chart:

       FILING                         FILE                        DEBTOR (as       SECURED
                       TYPE                          FILE #
       OFFICE                         DATE                          found)           PARTY
                                                                                DEPARTMENT
       St. Louis                                                                     OF THE
                                                                  COAL FIELD
         City        Federal Tax                   11042019-                     TREASURY -
                                     11/4/2019                   CONSTRUCTION
      Recorder of       Lien                         0184                         INTERNAL
                                                                 COMPANY LLC
      Deeds, MO                                                                    REVENUE
                                                                                    SERVICE
                                                                                DEPARTMENT
       St. Louis                                                                     OF THE
                                                                  COAL FIELD
         City        Federal Tax                   03252019-                     TREASURY -
                                     3/25/2019                   CONSTRUCTION
      Recorder of       Lien                         0090                         INTERNAL
                                                                 COMPANY LLC
      Deeds, MO                                                                    REVENUE
                                                                                    SERVICE
                                                                                  U.S. BANK
                       UCC-1                         2014          FORESIGHT
       DE SOS                        6/3/2014                                    EQUIPMENT
                       Initial                      2161685       ENERGY LLC
                                                                                   FINANCE
                                                                                  U.S. BANK
                       UCC-1                         2014          FORESIGHT
       DE SOS                        6/3/2014                                    EQUIPMENT
                       Initial                      2161685       ENERGY LLC
                                                                                   FINANCE
                                                                                  U.S. BANK
                       UCC-1                         2014          FORESIGHT
       DE SOS                        6/3/2014                                    EQUIPMENT
                       Initial                      2161685       ENERGY LLC
                                                                                   FINANCE
                                                                                CATERPILLAR
                                                                  FORESIGHT
                       UCC-1                         2014                         FINANCIAL
       DE SOS                        11/7/2014                     ENERGY
                       Initial                      4513891                        SERVICES
                                                                 SERVICES LLC
                                                                                CORPORATION
                                                                   FORESIGHT          PNC
                       UCC-1                         2014
       DE SOS                       11/13/2014                      ENERGY       EQUIPMENT
                       Initial                      4575627
                                                                 SERVICES LLC   FINANCE, LLC
                                                                   FORESIGHT     FIRSTMERIT
                       UCC-1                         2014
       DE SOS                       11/18/2014                      ENERGY       EQUIPMENT
                       Initial                      4648655
                                                                 SERVICES LLC    FINANCE INC
                                                                  HILLSBORO
                                                                 ENERGY LLC;
                                                                                WELLS FARGO
                       UCC-1                         2012        WILLIAMSON
       DE SOS                        3/29/2012                                   EQUIPMENT
                       Initial                      1213901      ENERGY, LLC;
                                                                                FINANCE, INC.
                                                                 SUGAR CAMP
                                                                 ENERGY, LLC
                                                                  HILLSBORO
                                                                 ENERGY LLC;
                                                                                WELLS FARGO
                       UCC-1                         2012        WILLIAMSON
       DE SOS                        3/29/2012                                   EQUIPMENT
                       Initial                      1213943      ENERGY, LLC;
                                                                                FINANCE, INC.
                                                                 SUGAR CAMP
                                                                 ENERGY, LLC
                       UCC-1                         2012         HILLSBORO     CATERPILLAR
       DE SOS                        9/13/2012
                       Initial                      3528744       ENERGY LLC     FINANCIAL
Case 20-41308       Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34       Main Document
                                            Pg 293 of 1005


       FILING                         FILE                       DEBTOR (as      SECURED
                       TYPE                        FILE #
       OFFICE                         DATE                         found)         PARTY
                                                                                 SERVICES
                                                                               CORPORATION
                                                                 HILLSBORO
                                                                                JOY GLOBAL
                       UCC-1                        2013        ENERGY LLC;
       DE SOS                        4/11/2013                                 UNDERGROUND
                       Initial                     1400705        PATTON
                                                                                MINING LLC
                                                                MINING LLC
                                                                 HILLSBORO
                                                                                JOY GLOBAL
                       UCC-1                        2013        ENERGY LLC;
       DE SOS                        4/11/2013                                 UNDERGROUND
                       Initial                     1401034        PATTON
                                                                                MINING LLC
                                                                MINING LLC
                                                                 HILLSBORO
                                                                                JOY GLOBAL
                       UCC-1                        2013        ENERGY LLC;
       DE SOS                        4/11/2013                                 UNDERGROUND
                       Initial                     1401661        PATTON
                                                                                MINING LLC
                                                                MINING LLC
                                                                                DEPARTMENT
                                                 07172019-
       St. Louis                                                MACH MINING,        OF THE
                                                    0125
         City        Federal Tax                                 LLC; CLINE      TREASURY -
                                     7/17/2019    (Amount
      Recorder of       Lien                                    CHRISTOPHER       INTERNAL
                                                    owed
      Deeds, MO                                                     MBR            REVENUE
                                                 $55,530.03)
                                                                                   SERVICE
                                                                                    STRATA
                       UCC-1                        2018         MACOUPIN
       DE SOS                        11/5/2018                                      SAFETY
                       Initial                     7646793      ENERGY LLC
                                                                               PRODUCTS, LLC
                                                                                DEPARTMENT
                                                  12062019-
       St. Louis                                                  M-CLASS           OF THE
                                                     0063
         City        Federal Tax                                MINING LLC;      TREASURY -
                                     12/6/2019     (Amount
      Recorder of       Lien                                    DAVID JUDE        INTERNAL
                                                     owed
      Deeds, MO                                                  SOLE MBR          REVENUE
                                                 $38,2441.13)
                                                                                   SERVICE
                                                                                DEPARTMENT
                                                 01142020-
       St. Louis                                                  M-CLASS           OF THE
                                                    0113
         City        Federal Tax                                MINING LLC;      TREASURY -
                                     1/14/2020    (Amount
      Recorder of       Lien                                    DAVID JUDE        INTERNAL
                                                    owed
      Deeds, MO                                                  SOLE MBR          REVENUE
                                                 $60,037.65)
                                                                                   SERVICE

                                                                                JOY GLOBAL
                       UCC-1                        2015        SUGAR CAMP
       DE SOS                        5/18/2015                                 UNDERGROUND
                       Initial                     2109279      ENERGY, LLC
                                                                                MINING LLC

                                                                                JOY GLOBAL
                       UCC-1                        2015        SUGAR CAMP
       DE SOS                        5/18/2015                                 UNDERGROUND
                       Initial                     2109378      ENERGY, LLC
                                                                                MINING LLC
                                                                                JOY GLOBAL
                       UCC-1                        2015        SUGAR CAMP
       DE SOS                        5/18/2015                                 UNDERGROUND
                       Initial                     2109584      ENERGY, LLC
                                                                                MINING LLC
                                                                                  MOTION
                       UCC-1                        2017        SUGAR CAMP
       DE SOS                       11/16/2017                                  INDUSTRIES,
                       Initial                     7614433      ENERGY, LLC
                                                                                    INC.
                                                                                  MOTION
                       UCC-1                        2016        WILLIAMSON
       DE SOS                        8/3/2016                                   INDUSTRIES,
                       Initial                     4714489      ENERGY, LLC
                                                                                    INC.
Case 20-41308   Doc 228     Filed 04/01/20 Entered 04/01/20 23:45:34   Main Document
                                     Pg 294 of 1005


       FILING                  FILE                 DEBTOR (as      SECURED
                  TYPE                    FILE #
       OFFICE                  DATE                   found)         PARTY
                                                                     MOTION
                  UCC-1                    2016     WILLIAMSON
       DE SOS                 9/27/2016                            INDUSTRIES,
                  Initial                 5932171   ENERGY, LLC
                                                                      INC.
Case 20-41308     Doc 228      Filed 04/01/20 Entered 04/01/20 23:45:34           Main Document
                                        Pg 295 of 1005



                                             Schedule 7.02

                                        Existing Investments


       1. Investments in the entities listed on Schedule 5.13.

       2. Financing provided by American Century Transport LLC and American Century Minerals
          LLC pursuant to (i) the Lease Agreement between American Century Transport LLC and
          American Energy Corporation dated as of April 16, 2015 and (ii) the Overriding Royalty
          Agreement among American Century Minerals LLC, American Energy Corporation and
          Consolidated Land Company dated as of April 16, 2015.
Case 20-41308    Doc 228      Filed 04/01/20 Entered 04/01/20 23:45:34               Main Document
                                       Pg 296 of 1005



                                            Schedule 7.03

                                       Existing Indebtedness



       1. Indebtedness in respect of the Prepetition First Lien Credit Agreement.
       2. Indebtedness in respect of the Indenture, dated as of March 28, 2017 (as amended,
          supplemented or otherwise modified), among Foresight Energy LLC (the “Company”) and
          Foresight Energy Finance Corporation, the guarantors from time to time parties thereto and
          Wilmington Trust, National Association, as trustee (the “Trustee”), governing the 11.50%
          Second Lien Senior Secured Notes due 2023.
       3. All surety bonds with third parties to secure reclamation and other performance
          commitments by Foresight Energy LLC set out in the chart attached hereto as Annex I.
       4. Indebtedness in respect of the sale-leaseback financing arrangements in connection with
          (1) the sales agreement entered into by Macoupin Energy, WPP, LLC and HOD, LLC
          (subsidiaries of Natural Resource Partners LP) and (2) the sales agreement entered into by
          Sugar Camp Energy, LLC and HOD, LLC.
       5. Indebtedness in respect of the commercial insurance premium finance and security
          agreement with BankDirect Capital Finance with an outstanding balance of $2,543,480.
                                                                                      FORESIGHT ENERGY LP
                                                                              ARGO SURETY rewritten to INIC 12/10/2019
                                                                                      Bond List as 2/26/2020

                                                                                                                                Bond                                                            Effective Expiration
Foresight Company        Obligee                                                   Bond Type                    Grouped As:    Amount                                            Premium          Date      Date               Permit #
Hillsboro Energy, LLC    IL DOT                                                    Road                         Reclamation     $157,150.00                                            $3,929   12/10/2019   12/10/2020
Hillsboro Energy, LLC    IL DNR, Office of Mines and Minerals                      Reclamation                  Reclamation    $6,701,424.00                                         $167,536   12/10/2019   12/10/2020          424
Hillsboro Energy, LLC    IL DNR, Office of Mines and Minerals                      Reclamation                  Reclamation       $28,500.00                                            $613    12/10/2019   12/10/2020     399 Revision #7
Hillsboro Energy, LLC    IL DNR, Office of Mines and Minerals                      Reclamation                  Reclamation       $80,750.00                                           $2,019   12/10/2019   12/10/2020     399 Revision #8
Hillsboro Energy, LLC    IL DNR, Office of Mines and Minerals                      Reclamation                  Reclamation       $16,150.00                                            $404    12/10/2019   12/10/2020     399 Revision #9
Hillsboro Energy, LLC    IL DOT                                                    Road                         Reclamation     $408,590.00                                           $10,215   12/10/2019   12/10/2020
Hillsboro Energy, LLC    IL DNR, Office of Mines and Minerals                      Reclamation                  Reclamation        $5,500.00                                            $138    12/10/2019   12/10/2020     399 Revision #11
Hillsboro Energy, LLC    IL DNR, Office of Mines and Minerals                      Reclamation                  Reclamation        $2,330.00                                            $125    12/10/2019   12/10/2020     399 Revision #10
Hillsboro Energy, LLC    IL DNR, Office of Mines and Minerals                      Reclamation                  Reclamation       $33,200.00                                            $830    12/10/2019   12/10/2020     399 Revision #14
Hillsboro Energy, LLC    IL DNR, Office of Mines and Minerals                      Reclamation                  Reclamation       $25,200.00                                            $630    12/10/2019   12/10/2020     399 Revision #16
Hillsboro Energy, LLC    IL DOT                                                    Reclamation                  Reclamation        $5,000.00                                            $125    12/10/2019   12/10/2020         6-33621
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals                      Reclamation                  Reclamation       $33,900.00                                            $848    12/10/2019   12/10/2020     382 Revision #35
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals                      Reclamation                  Reclamation    $7,125,800.00                                         $178,145   12/10/2019   12/10/2020           382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals                      Reclamation                  Reclamation    $1,015,423.00                                          $25,386   12/10/2019   12/10/2020           382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals                      Reclamation                  Reclamation       $40,600.00                                           $1,015   12/10/2019   12/10/2020           382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals                      Reclamation                  Reclamation     $161,900.00                                            $4,048   12/10/2019   12/10/2020           382
Sugar Camp Energy, LLC   IL EPA                                                    Financial Guarantee                          $462,786.00                                           $11,570   12/10/2019   12/10/2020
Sugar Camp Energy, LLC   IL EPA                                                    Financial Guarantee                          $462,786.00                                            $9,256    8/25/2019    8/25/2020
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals                      Reclamation                  Reclamation       $70,200.00                                           $1,755   12/10/2019   12/10/2020       382 IBR #33




                                                                                                                                                              Case 20-41308
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals                      Reclamation                  Reclamation       $70,400.00                                           $1,760   12/10/2019   12/10/2020
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals                      Reclamation                  Reclamation       $19,760.00                                            $494    12/10/2019   12/10/2020           382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals                      Reclamation                  Reclamation       $57,800.00                                           $1,445   12/10/2019   12/10/2020           382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals                      Reclamation                  Reclamation       $49,003.00                                           $1,225   12/10/2019   12/10/2020           382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals                      Reclamation                  Reclamation    $1,460,400.00                                          $36,510   12/10/2019   12/10/2020           382
Sugar Camp Energy, LLC   IL EPA                                                    Financial Guarantee                          $462,786.00                                           $11,570   12/10/2019   12/10/2020
Sugar Camp Energy, LLC   IL EPA                                                    Financial Guarantee                          $462,786.00                                            $9,256    1/21/2019    1/21/2020
Sugar Camp Energy, LLC   IL, DNR, Office of Mines and Minerals                     Reclamation                  Reclamation       $17,300.00                                            $433    12/10/2019   12/10/2020           382




                                                                                                                                                              Doc 228
Sugar Camp Energy, LLC   IL, DNR, Office of Mines and Minerals                     Reclamation                  Reclamation        $5,400.00                                            $135    12/10/2019   12/10/2020     382 Revision #41
Sugar Camp Energy, LLC   IL, DNR, Office of Mines and Minerals                     Reclamation                  Reclamation       $33,670.00                                            $842    12/10/2019   12/10/2020       382 IBR #42
Sugar Camp Energy, LLC   IL, DNR, Office of Mines and Minerals                     Reclamation                  Reclamation       $26,200.00                                            $655    12/10/2019   12/10/2020       382 IPR #43
Sugar Camp Energy, LLC   IL, DNR, Office of Mines and Minerals                     Reclamation                  Reclamation       $38,800.00                                            $970    12/10/2019   12/10/2020       382 IBR #43
                                                                                                                                  $11,340.00                                                    12/10/2019




                                                                                                                                          Filed 04/01/20 Entered 04/01/20 23:45:34
Sugar Camp Energy, LLC   IL, DNR, Office of Mines and Minerals                     Reclamation                  Reclamation                                                             $284                 12/10/2020       382 IBR #35
Sugar Camp Energy, LLC   IL, DNR, Office of Mines and Minerals                     Reclamation                  Reclamation       $46,300.00                                           $1,158   12/10/2019   12/10/2020       382 IBR #36
Sugar Camp Energy, LLC   IL, DNR, Office of Mines and Minerals                     Reclamation                  Reclamation       $35,800.00                                            $895    12/10/2019   12/10/2020       382 IBR #37
Sugar Camp Energy, LLC   IL, DNR, Office of Mines and Minerals                     Reclamation                  Reclamation       $39,600.00                                            $990    12/10/2019   12/10/2020       382 IPR #39




                                                                                                                                                   Pg 297 of 1005
Sugar Camp Energy, LLC   IL, DNR, Office of Mines and Minerals                     Reclamation                  Reclamation     $233,380.00                                            $5,835   12/10/2019   12/10/2020     382 Revision #44
Sugar Camp Energy, LLC   IL, DNR, Office of Mines and Minerals                     Reclamation                  Reclamation       $50,600.00                                           $1,265   12/10/2019   12/10/2020       382 IBR #45
Sugar Camp Energy, LLC   IL, DNR, Office of Mines and Minerals                     Reclamation                  Reclamation       $15,600.00                                            $390    12/10/2019   12/10/2020       382 IBR #46
Sugar Camp Energy, LLC   IL, DNR, Office of Mines and Minerals                     Reclamation                  Reclamation   $16,481,266.00                                         $412,032   12/10/2019   12/10/2020           434
Sugar Camp Energy, LLC   IL, DNR, Office of Mines and Minerals                     Reclamation                  Reclamation     $251,200.00                                            $6,280   12/10/2019   12/10/2020           382
Sugar Camp Energy, LLC   IL, DNR, Office of Mines and Minerals                     Reclamation                  Reclamation       $23,800.00                                            $595    12/10/2019   12/10/2020           382
Sugar Camp Energy, LLC   Dept of the Army, St. Louis District Corps of Engineers   Reclamation                  Reclamation     $467,485.00                                           $11,687   12/10/2019   12/10/2020   P-2866 MVS-2013-724
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals                      Reclamation                  Reclamation        $7,000.00                                            $175    12/10/2019   12/10/2020           382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals                      Reclamation                  Reclamation       $50,100.00                                           $1,253   12/10/2019   12/10/2020           382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals                      Reclamation                  Reclamation     $101,470.00                                            $2,537   12/10/2019   12/10/2020           382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals                      Reclamation                  Reclamation       $13,300.00                                            $333    12/10/2019   12/10/2020           382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals                      Reclamation                  Reclamation     $288,377.00                                            $7,209   12/10/2019   12/10/2020           382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals                      Reclamation                  Reclamation       $43,100.00                                           $1,078   12/10/2019   12/10/2020           382


                                                                                                                                                              Main
                                                                                                                                    Bond                                                            Effective Expiration
Foresight Company        Obligee                                                   Bond Type                        Grouped As:    Amount                                            Premium          Date      Date               Permit #
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals                      Reclamation                      Reclamation       $46,200.00                                           $1,155   12/10/2019   12/10/2020            382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals                      Reclamation                      Reclamation       $80,240.00                                           $2,006   12/10/2019   12/10/2020            382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals                      Reclamation                      Reclamation       $58,500.00                                           $1,463   12/10/2019   12/10/2020            382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals                      Reclamation                      Reclamation       $23,500.00                                            $588    12/10/2019   12/10/2020            382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals                      Reclamation                      Reclamation       $69,840.00                                           $1,746   12/10/2019   12/10/2020            382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals                      Reclamation                      Reclamation       $68,860.00                                           $1,722   12/10/2019   12/10/2020            382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals                      Reclamation                      Reclamation       $22,800.00                                            $570    12/10/2019   12/10/2020            434
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals                      Reclamation                      Reclamation       $66,420.00                                           $1,661   12/10/2019   12/10/2020            382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals                      Reclamation                      Reclamation        $7,900.00                                            $198    12/10/2019   12/10/2020            382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals                      Reclamation                      Reclamation       $49,000.00                                           $1,225   12/10/2019   12/10/2020            382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals                      Reclamation                      Reclamation       $48,080.00                                           $1,202   12/10/2019   12/10/2020            382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals                      Reclamation                      Reclamation       $12,900.00                                            $323    12/10/2019   12/10/2020            382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals                      Reclamation                      Reclamation     $147,800.00                                            $3,695   12/10/2019   12/10/2020            382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals                      Reclamation                      Reclamation       $38,600.00                                            $965    12/10/2019   12/10/2020            382
Williamson Energy, LLC   IL DNR, Office of Mines and Minerals                      Reclamation                      Reclamation    $4,623,100.00                                         $115,578   12/10/2019   12/10/2020            375
Williamson Energy, LLC   IL DNR, Office of Mines and Minerals                      Reclamation                      Reclamation    $1,858,337.00                                          $46,458   12/10/2019   12/10/2020            375
Williamson Energy, LLC   IL DNR, Office of Mines and Minerals                      Reclamation                      Reclamation       $28,220.00                                            $706    12/10/2019   12/10/2020            375
Williamson Energy, LLC   IL DNR, Office of Mines and Minerals                      Reclamation                      Reclamation        $3,690.00                                            $125    12/10/2019   12/10/2020      375 Revision #56
Williamson Energy, LLC   IL DNR, Office of Mines and Minerals                      Reclamation                      Reclamation       $37,600.00                                            $940    12/10/2019   12/10/2020            375
Williamson Energy, LLC   IL DNR, Office of Mines and Minerals                      Reclamation                      Reclamation     $368,992.00                                            $9,225   12/10/2019   12/10/2020      375 Revision #47
Williamson Energy, LLC   IL DNR, Office of Mines and Minerals                      Reclamation                      Reclamation       $53,600.00                                           $1,340   12/10/2019   12/10/2020      375 Revision #45
Williamson Energy, LLC   IL DNR, Office of Mines and Minerals                      Reclamation                      Reclamation       $26,800.00                                            $670    12/10/2019   12/10/2020      375 Revision #58
Williamson Energy, LLC   IL DNR, Office of Mines and Minerals                      Reclamation                      Reclamation        $5,300.00                                            $133    12/10/2019   12/10/2020      375 Revision #48
Williamson Energy, LLC   IL DNR, Office of Mines and Minerals                      Reclamation                      Reclamation        $8,300.00                                            $208    12/10/2019   12/10/2020            375




                                                                                                                                                                  Case 20-41308
Williamson Energy, LLC   IL DNR, Office of Mines and Minerals                      Reclamation                      Reclamation       $10,620.00                                            $266    12/10/2019   12/10/2020            375
Williamson Energy, LLC   IL DNR, Office of Mines and Minerals                      Reclamation                      Reclamation       $21,700.00                                            $543    12/10/2019   12/10/2020            375
Williamson Energy, LLC   IL DNR, Office of Mines and Minerals                      Reclamation                      Reclamation    $6,013,494.00                                         $150,337   12/10/2019   12/10/2020            417
Williamson Energy, LLC   IL DNR, Office of Mines and Minerals                      Reclamation                      Reclamation       $95,840.00                                           $2,396   12/10/2019   12/10/2020            375
Williamson Energy, LLC   IL DNR, Office of Mines and Minerals                      Reclamation                      Reclamation       $33,100.00                                            $828    12/10/2019   12/10/2020            375
Williamson Energy, LLC   IL DNR, Office of Mines and Minerals                      Reclamation                      Reclamation        $8,300.00                                            $208    12/10/2019   12/10/2020            375
Williamson Energy, LLC   IL DNR, Office of Mines and Minerals                      Reclamation                      Reclamation       $19,400.00                                            $485    12/10/2019   12/10/2020            375
Williamson Energy, LLC   IL DNR, Office of Mines and Minerals                      Reclamation                      Reclamation       $72,500.00                                           $1,813   12/10/2019   12/10/2020            375




                                                                                                                                                                  Doc 228
Williamson Energy, LLC   IL DNR, Office of Mines and Minerals                      Reclamation                      Reclamation        $5,500.00                                            $138    12/10/2019   12/10/2020            375
Williamson Energy, LLC   Dept of the Army, St. Louis District Corps of Engineers   Performance Bond                                 $274,898.00                                            $6,872   12/10/2019   12/10/2020   P-2905-MVS-2013-315
Williamson Energy, LLC   IL DOT                                                    Utility Bond                                     $175,000.00                                            $4,375   12/10/2019   12/10/2020        9U-2609-17
Williamson Energy, LLC   IL DOT                                                    Utility Bond                                       $75,000.00                                           $1,875   12/10/2019   12/10/2020        9U-2610-17




                                                                                                                                              Filed 04/01/20 Entered 04/01/20 23:45:34
Adena Resources, LLC     IL DOT                                                    Individual Utility Permit Bond                     $50,000.00                                           $1,250   12/10/2019   12/10/2020        9U-1751-11
Adena Resources, LLC     IL DOT                                                    Individual Utility Permit Bond                     $25,000.00                                            $625    12/10/2019   12/10/2020        9U-1738-11
Adena Resources, LLC     IL DOT                                                    Individual Utility Permit Bond                     $25,000.00                                            $625    12/10/2019   12/10/2020        9U-1737-11
Hillsboro Energy, LLC    IL DNR, Office of Mines and Minerals                      Reclamation                      Reclamation   $10,375,000.00                                         $259,375   12/10/2019   12/10/2020            399




                                                                                                                                                       Pg 298 of 1005
Hillsboro Energy, LLC    IL DNR, Office of Mines and Minerals                      Reclamation                      Reclamation     $251,440.00                                            $6,286   12/10/2019   12/10/2020            399
Hillsboro Energy, LLC    IL DNR, Office of Mines and Minerals                      Reclamation                      Reclamation     $503,500.00                                           $12,588   12/10/2019   12/10/2020            399
Hillsboro Energy, LLC    IL DNR, Office of Mines and Minerals                      Reclamation                      Reclamation       $92,350.00                                           $2,309   12/10/2019   12/10/2020            399
Hillsboro Energy, LLC    IL DNR, Office of Mines and Minerals                      Reclamation                      Reclamation       $29,800.00                                            $745    12/10/2019   12/10/2020            399
Hillsboro Energy, LLC    IL DNR, Office of Mines and Minerals                      Reclamation                      Reclamation       $65,340.00                                           $1,634   12/10/2019   12/10/2020            399
Hillsboro Energy, LLC    IL DNR, Office of Mines and Minerals                      Reclamation                      Reclamation     $694,458.00                                           $17,361   12/10/2019   12/10/2020            424
Hillsboro Energy, LLC    IL DNR, Office of Mines and Minerals                      Reclamation                      Reclamation     $218,340.00                                            $5,459   12/10/2019   12/10/2020            399
Hillsboro Energy, LLC    IL DNR, Office of Mines and Minerals                      Reclamation                      Reclamation        $5,900.00                                            $148    12/10/2019   12/10/2020            399
Hillsboro Energy, LLC    IL DNR                                                    Financial Security Bond                            $25,000.00                                            $625    12/10/2019   12/10/2020            399
Hillsboro Energy, LLC    City of Hillsboro, IL                                     Performance Bond                                 $100,000.00                                            $2,500   12/10/2019   12/10/2020
Hillsboro Energy, LLC    East Fork Township, IL                                    Performance Bond                                 $100,000.00                                            $2,500   12/10/2019   12/10/2020
Hillsboro Energy, LLC    East Fork Township, IL                                    Performance Bond                                 $100,000.00                                            $2,000     6/5/2019     6/5/2020
Hillsboro Energy, LLC    EJ Water Company, LLC                                     Performance Bond                                   $25,000.00                                            $625    12/10/2019   12/10/2020


                                                                                                                                                                  Main
                                                                                                                Bond                                                            Effective Expiration
Foresight Company        Obligee                                Bond Type                        Grouped As:   Amount                                            Premium          Date      Date          Permit #
Hillsboro Energy, LLC    IL DNR                                 Reclamation                      Reclamation   $2,617,318.00                                          $65,433   12/10/2019   12/10/2020     424
Hillsboro Energy, LLC    IL DNR                                 Reclamation                      Reclamation   $1,723,050.00                                          $43,076   12/10/2019   12/10/2020     399
Macoupin Energy, LLC     IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation      $57,600.00                                           $1,440   12/10/2019   12/10/2020      56
Macoupin Energy, LLC     IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation   $5,256,500.00                                         $131,413   12/10/2019   12/10/2020      56
Macoupin Energy, LLC     IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation   $5,932,800.00                                         $148,320   12/10/2019   12/10/2020     209
Macoupin Energy, LLC     IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation      $36,310.00                                            $908    12/10/2019   12/10/2020     209
Macoupin Energy, LLC     IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation      $23,860.00                                            $597    12/10/2019   12/10/2020     291
Macoupin Energy, LLC     IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation       $8,600.00                                            $215    12/10/2019   12/10/2020     302
Macoupin Energy, LLC     IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation    $339,910.00                                            $8,498   12/10/2019   12/10/2020     419
Macoupin Energy, LLC     IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation      $22,580.00                                            $565    12/10/2019   12/10/2020     291
Macoupin Energy, LLC     IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation       $8,680.00                                            $217    12/10/2019   12/10/2020      56
Macoupin Energy, LLC     IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation   $1,833,850.00                                          $45,846   12/10/2019   12/10/2020      56
Macoupin Energy, LLC     IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation    $356,280.00                                            $8,907   12/10/2019   12/10/2020      56
Macoupin Energy, LLC     IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation      $13,900.00                                            $348    12/10/2019   12/10/2020   56 & 209
Macoupin Energy, LLC     IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation      $36,100.00                                            $903    12/10/2019   12/10/2020     291
Macoupin Energy, LLC     IL DNR                                 Financial Security Bond                           $25,000.00                                            $625    12/10/2019   12/10/2020
Macoupin Energy, LLC     IL DNR, Office of Mines and Minerals   Surety Bond                                       $55,160.00                                           $1,379   12/10/2019   12/10/2020     209
Macoupin Energy, LLC     IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation   $2,346,260.00                                          $58,657   12/10/2019   12/10/2020     209
Macoupin Energy, LLC     IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation      $68,916.00                                           $1,723   12/10/2019   12/10/2020     56
Macoupin Energy, LLC     IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation      $48,600.00                                           $1,215   12/10/2019   12/10/2020     56
Macoupin Energy, LLC     IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation      $50,400.00                                           $1,260   12/10/2019   12/10/2020
Macoupin Energy, LLC     IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation      $64,080.00                                           $1,602   12/10/2019   12/10/2020     56
Savatran, LLC            Eastern Township                       Performance Bond                                $160,000.00                                            $4,000   12/10/2019   12/10/2020
Savatran, LLC            IL DOT                                 Individual Utility Permit Bond                    $50,000.00                                           $1,250   12/10/2019   12/10/2020   6-31336




                                                                                                                                              Case 20-41308
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation      $23,700.00                                            $593    12/10/2019   12/10/2020     382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation      $17,700.00                                            $443    12/10/2019   12/10/2020     382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation      $28,500.00                                            $713    12/10/2019   12/10/2020     382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation      $40,600.00                                           $1,015   12/10/2019   12/10/2020     382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation       $5,600.00                                            $140    12/10/2019   12/10/2020     382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation       $8,100.00                                            $203    12/10/2019   12/10/2020     382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation       $2,100.00                                            $125    12/10/2019   12/10/2020     382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation      $22,900.00                                            $573    12/10/2019   12/10/2020     382




                                                                                                                                              Doc 228
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation       $2,218.00                                            $125    12/10/2019   12/10/2020     382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation       $3,500.00                                            $125    12/10/2019   12/10/2020     382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation    $353,180.00                                            $8,830   12/10/2019   12/10/2020     382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation       $3,200.00                                            $125    12/10/2019   12/10/2020     382




                                                                                                                          Filed 04/01/20 Entered 04/01/20 23:45:34
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation       $5,879.00                                            $147    12/10/2019   12/10/2020     382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation    $107,632.00                                            $2,691   12/10/2019   12/10/2020     382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation       $2,200.00                                            $125    12/10/2019   12/10/2020     382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation       $2,200.00                                            $125    12/10/2019   12/10/2020     382




                                                                                                                                   Pg 299 of 1005
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation      $12,120.00                                            $303    12/10/2019   12/10/2020     382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation       $8,500.00                                            $213    12/10/2019   12/10/2020     382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation      $25,500.00                                            $638    12/10/2019   12/10/2020     382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation      $26,820.00                                            $671    12/10/2019   12/10/2020     382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation      $24,370.00                                            $609    12/10/2019   12/10/2020     382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation      $49,870.00                                           $1,247   12/10/2019   12/10/2020     382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation       $3,800.00                                            $125    12/10/2019   12/10/2020     382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation      $71,400.00                                           $1,785   12/10/2019   12/10/2020     382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation    $135,200.00                                            $3,380   12/10/2019   12/10/2020     382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation      $25,180.00                                            $630    12/10/2019   12/10/2020     382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation      $62,960.00                                           $1,574   12/10/2019   12/10/2020     382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation      $13,670.00                                            $342    12/10/2019   12/10/2020     382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation      $28,880.00                                            $722    12/10/2019   12/10/2020     382


                                                                                                                                              Main
                                                                                                                Bond                                                           Effective Expiration
Foresight Company        Obligee                                Bond Type                        Grouped As:   Amount                                            Premium         Date      Date           Permit #
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation    $161,900.00                                           $4,048   12/10/2019   12/10/2020       382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation       $6,180.00                                           $155    12/10/2019   12/10/2020       382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation      $33,960.00                                           $849    12/10/2019   12/10/2020       382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation      $11,700.00                                           $293    12/10/2019   12/10/2020       382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation      $48,200.00                                          $1,205   12/10/2019   12/10/2020       382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation      $15,040.00                                           $376    12/10/2019   12/10/2020       382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation      $78,800.00                                          $1,970   12/10/2019   12/10/2020       382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation       $7,320.00                                           $183    12/10/2019   12/10/2020       382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation      $29,650.00                                           $741    12/10/2019   12/10/2020       382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation    $139,420.00                                           $3,486   12/10/2019   12/10/2020       382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation      $66,100.00                                          $1,653   12/10/2019   12/10/2020       382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation    $377,000.00                                           $9,425   12/10/2019   12/10/2020       382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation      $65,600.00                                          $1,640   12/10/2019   12/10/2020       382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation      $70,800.00                                          $1,770   12/10/2019   12/10/2020       382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation      $19,700.00                                           $493    12/10/2019   12/10/2020       382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation      $72,620.00                                          $1,816   12/10/2019   12/10/2020       382
Sugar Camp Energy, LLC   IL DNR, Division of Oil and Gas        Financial Security Bond                           $25,000.00                                           $625    12/10/2019   12/10/2020
Sugar Camp Energy, LLC   IL DOT                                 Continuous Highway Permit Bond                    $50,000.00                                          $1,250   12/10/2019   12/10/2020   RR-D9-09-001
Sugar Camp Energy, LLC   IL DOT                                 Continuous Highway Permit Bond                    $50,000.00                                          $1,250   12/10/2019   12/10/2020   RR-D9-09-002
Sugar Camp Energy, LLC   Hamilton County Highway Department     Highway                                         $100,000.00                                           $2,500   12/10/2019   12/10/2020       N/A
Sugar Camp Energy, LLC   People of the State of Illinois        Reclamation                      Reclamation    $252,930.00                                           $6,323   12/10/2019   12/10/2020       382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation      $12,200.00                                           $305    12/10/2019   12/10/2020       382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation    $361,600.00                                           $9,040   12/10/2019   12/10/2020       382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation      $95,500.00                                          $2,388   12/10/2019   12/10/2020       382




                                                                                                                                              Case 20-41308
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation      $23,100.00                                           $578    12/10/2019   12/10/2020       382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation       $1,369.00                                           $125    12/10/2019   12/10/2020       382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation      $15,800.00                                           $395    12/10/2019   12/10/2020       382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation    $100,470.00                                           $2,512   12/10/2019   12/10/2020       382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation    $105,720.00                                           $2,643   12/10/2019   12/10/2020       382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation      $44,280.00                                          $1,107   12/10/2019   12/10/2020       382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation      $21,330.00                                           $533    12/10/2019   12/10/2020       382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation       $2,600.00                                           $125    12/10/2019   12/10/2020       382




                                                                                                                                              Doc 228
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation    $147,800.00                                           $3,695   12/10/2019   12/10/2020       382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation       $3,290.00                                           $125    12/10/2019   12/10/2020       382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation      $77,280.00                                          $1,932   12/10/2019   12/10/2020       382
Sugar Camp Energy, LLC   IL DOT                                 Subsidence                       Subsidence     $250,000.00                                           $6,250   12/10/2019   12/10/2020




                                                                                                                          Filed 04/01/20 Entered 04/01/20 23:45:34
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation      $78,860.00                                          $1,972   12/10/2019   12/10/2020       382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation      $99,905.00                                          $2,498   12/10/2019   12/10/2020       382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation      $49,300.00                                          $1,233   12/10/2019   12/10/2020       382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation    $267,348.00                                           $6,684   12/10/2019   12/10/2020       382




                                                                                                                                   Pg 300 of 1005
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation      $23,600.00                                           $590    12/10/2019   12/10/2020       382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation      $10,960.00                                           $274     10/4/2019     10/04/20       382
Williamson Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation   $3,090,379.00                                         $77,259   12/10/2019   12/10/2020       375
Williamson Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation       $4,200.00                                           $125    12/10/2019   12/10/2020       375
Williamson Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation       $1,908.00                                           $125    12/10/2019   12/10/2020       375
Williamson Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation      $35,449.00                                           $886    12/10/2019   12/10/2020       375
Williamson Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation      $55,387.00                                          $1,385   12/10/2019   12/10/2020       375
Williamson Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation    $287,500.00                                           $7,188   12/10/2019   12/10/2020       375
Williamson Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation       $9,900.00                                           $248    12/10/2019   12/10/2020       375
Williamson Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation      $17,754.00                                           $444    12/10/2019   12/10/2020       375
Williamson Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation      $31,384.00                                           $785    12/10/2019   12/10/2020       375
Williamson Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation      $11,548.00                                           $289    12/10/2019   12/10/2020       375
Williamson Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation      $27,595.00                                           $690    12/10/2019   12/10/2020       375


                                                                                                                                              Main
                                                                                                                   Bond                                                          Effective Expiration
Foresight Company              Obligee                                   Bond Type                 Grouped As:    Amount                                           Premium         Date      Date          Permit #
Williamson Energy, LLC         IL DNR, Office of Mines and Minerals      Reclamation               Reclamation      $46,000.00                                          $1,150   12/10/2019   12/10/2020     375
Williamson Energy, LLC         IL DNR, Office of Mines and Minerals      Reclamation               Reclamation       $6,128.00                                           $153    12/10/2019   12/10/2020     375
Williamson Energy, LLC         IL DNR, Office of Mines and Minerals      Reclamation               Reclamation       $7,440.00                                           $186    12/10/2019   12/10/2020     375
Williamson Energy, LLC         IL DNR, Office of Mines and Minerals      Reclamation               Reclamation       $2,807.00                                           $125    12/10/2019   12/10/2020     375
Williamson Energy, LLC         IL DNR, Office of Mines and Minerals      Reclamation               Reclamation      $10,080.00                                           $252    12/10/2019   12/10/2020     375
Williamson Energy, LLC         IL DNR, Office of Mines and Minerals      Reclamation               Reclamation      $32,760.00                                           $819    12/10/2019   12/10/2020     375
Williamson Energy, LLC         IL DNR, Office of Mines and Minerals      Reclamation               Reclamation      $28,264.00                                           $707    12/10/2019   12/10/2020     375
Williamson Energy, LLC         IL DNR, Office of Mines and Minerals      Reclamation               Reclamation      $25,840.00                                           $646    12/10/2019   12/10/2020     375
Williamson Energy, LLC         IL DNR, Office of Mines and Minerals      Reclamation               Reclamation       $5,300.00                                           $133    12/10/2019   12/10/2020     375
Williamson Energy, LLC         IL DNR, Office of Mines and Minerals      Reclamation               Reclamation      $15,960.00                                           $399    12/10/2019   12/10/2020     375
Williamson Energy, LLC         IL DNR, Office of Mines and Minerals      Reclamation               Reclamation      $37,537.00                                           $938    12/10/2019   12/10/2020     375
Williamson Energy, LLC         IL DNR                                    Financial Security Bond                    $25,000.00                                           $625    12/10/2019   12/10/2020
Williamson Energy, LLC         County of Williamson, State of Illinois   Performance Bond                         $150,000.00                                           $3,750   12/10/2019   12/10/2020
Williamson Energy, LLC         County of Williamson, State of Illinois   Performance Bond                        $1,050,000.00                                         $26,250   12/10/2019   12/10/2020
Williamson Energy, LLC         IL DNR, Office of Mines and Minerals      Reclamation               Reclamation      $87,200.00                                          $2,180   12/10/2019   12/10/2020     375
Williamson Energy, LLC         IL DNR, Office of Mines and Minerals      Reclamation               Reclamation      $11,000.00                                           $275    12/10/2019   12/10/2020     375
Williamson Energy, LLC         IL DNR, Office of Mines and Minerals      Reclamation               Reclamation       $8,100.00                                           $203    12/10/2019   12/10/2020     375
Williamson Energy, LLC         IL DNR, Office of Mines and Minerals      Reclamation               Reclamation      $79,430.00                                          $1,986   12/10/2019   12/10/2020     375
Williamson Energy, LLC         IL DNR, Office of Mines and Minerals      Reclamation               Reclamation      $26,500.00                                           $663    12/10/2019   12/10/2020     375
Williamson Energy, LLC         IL DNR, Office of Mines and Minerals      Reclamation               Reclamation    $258,830.00                                           $6,471   12/10/2019   12/10/2020     375
Williamson Energy, LLC         IL DNR, Office of Mines and Minerals      Reclamation               Reclamation       $2,100.00                                           $125    12/10/2019   12/10/2020     375
Williamson Energy, LLC         IL DNR, Office of Mines and Minerals      Reclamation               Reclamation      $21,200.00                                           $530    12/10/2019   12/10/2020     375
Williamson Energy, LLC         IL DNR, Office of Mines and Minerals      Reclamation               Reclamation      $29,630.00                                           $741    12/10/2019   12/10/2020     375
Williamson Energy, LLC         IL DNR, Office of Mines and Minerals      Reclamation               Reclamation      $19,316.00                                           $483    12/10/2019   12/10/2020     375




                                                                                                                                                Case 20-41308
Williamson Energy, LLC         IL DNR, Office of Mines and Minerals      Reclamation               Reclamation    $253,500.00                                           $6,338   12/10/2019   12/10/2020     375
Williamson Energy, LLC         IL DNR, Office of Mines and Minerals      Reclamation               Reclamation       $8,876.00                                           $222    12/10/2019   12/10/2020     375
M Class Mining Health Protecti Jeffrey Watkins and Katelynn Watkins      Appeal Bond               Other         $1,310,958.00                                         $32,774   12/10/2019   12/10/2020
M Class Mining Health Protecti Jeffrey Watkins and Katelynn Watkins      Appeal Bond               Other         $1,310,958.00                                         $32,774    8/10/2019    8/10/2020
Williamson Energy, LLC         IL DNR, Office of Mines and Minerals      Reclamation               Reclamation      $13,300.00                                           $333    12/10/2019   12/10/2020     375
Williamson Energy, LLC         IL DNR, Office of Mines and Minerals      Reclamation               Reclamation      $79,540.00                                          $1,989   12/10/2019   12/10/2020     375
Williamson Energy, LLC         IL DNR, Office of Mines and Minerals      Reclamation               Reclamation    $488,440.00                                          $12,211    12/4/2019    12/4/2020     456
Sugar Camp Energy, LLC         IL DNR, Office of Mines and Minerals      Reclamation               Reclamation      $29,910.00                                           $748     12/4/2019    12/4/2020     382




                                                                                                                                                Doc 228
                                                                                                                            Filed 04/01/20 Entered 04/01/20 23:45:34
                                                                                                                 $99,729,644 $2,488,963




                                                                                                                                     Pg 301 of 1005
                                                                                                                                                Main
Case 20-41308   Doc 228   Filed 04/01/20 Entered 04/01/20 23:45:34   Main Document
                                   Pg 302 of 1005



                                    Schedule 7.05

                                Specified Dispositions
    None.
Case 20-41308    Doc 228     Filed 04/01/20 Entered 04/01/20 23:45:34             Main Document
                                      Pg 303 of 1005



                                          Schedule 7.08

                                   Transactions With Affiliates


       1. Coal Mining Lease and Sublease (Unassigned Reserves) dated August 12, 2010 by and
          between Colt LLC as lessor and Macoupin Energy LLC as lessee, as amended.
       2. Coal Mining Lease and Sublease (Macoupin North Mine Assignment) dated August 12,
          2010 by and between Colt LLC as lessor and Macoupin Energy LLC as lessee, as
          amended.
       3. Coal Mining Lease and Sublease dated August 12, 2010 by and between Colt LLC as
          lessor and Williamson Energy, LLC as lessee, as amended.
       4. Coal Mining Lease (New Memphis/Monterey 2 Reserves) between Colt LLC and
          Macoupin Energy LLC dated June 1, 2012, as amended.
       5. Coal Mining Lease dated August 12, 2010 by and between Ruger Coal Company LLC as
          lessor and Sugar Camp Energy, LLC as lessee.
       6. Contract Mining and Overriding Royalty Agreement dated August 12, 2010 by and
          between Ruger Coal Company LLC and Sugar Camp Energy, LLC, as amended.
       7. Coal Mining Lease (For “Reserve 2”) dated August 12, 2010 by and between Colt LLC
          as lessor and Hillsboro Energy LLC as lessee, as amended.
       8. Coal Mining Lease (For “Reserve 1” and “Reserve 3”) dated August 12, 2010 by and
          between Colt LLC as lessor and Hillsboro Energy LLC as lessee, as amended.
       9. Amended and Restated Coal Mining Lease Agreement dated August 14, 2006 between
          WPP LLC, Lessor and Williamson Energy, LLC, Lessee, as amended.
       10. Partial Release of Premises from Coal Mining Lease and Sublease dated March 20, 2013
           between Williamson Energy, LLC and Colt LLC.
       11. Coal Mining Lease Agreement between Independence Land Company, LLC and
           Williamson Energy, LLC (5000-Foot Extension) dated March 13, 2006, as amended.
       12. First Amended and Restated Lease (Rail Load Out Lease) dated October 15, 2006
           between Williamson Development Company LLC, Lessor and Williamson Transport
           LLC, Lessee.
       13. First Amended and Restated Lease (Coal Prep Plant) dated October 15, 2006 between
           Williamson Energy, LLC and Williamson Development Company LLC.
       14. Amended and Restated Surface Sublease and Operation Agreement dated October 15,
           2006 between Williamson Energy, LLC and Williamson Transport, LLC.
       15. Amended and Restated Surface Sublease and Operation Agreement dated October 15,
           2006 between Williamson Energy, LLC and Williamson Track LLC.
Case 20-41308    Doc 228     Filed 04/01/20 Entered 04/01/20 23:45:34            Main Document
                                      Pg 304 of 1005



       16. Overriding Royalty Agreement (except 5000-Foot Extension) between Independence
           Land Co. and Williamson Energy, LLC dated March 13, 2006, as amended.
       17. Coal Mining Lease and Sublease Agreement dated January 27, 2009 between WPP, LLC,
           Lessor and Macoupin Energy LLC, Lessee.
       18. Lease Agreement dated January 27, 2009 between HOD, LLC, Lessor and Macoupin
           Energy LLC (Macoupin Rail Loop Lease), as amended.
       19. Lease Agreement dated January 27, 2009 between HOD, LLC, Lessor and Macoupin
           Energy LLC, Lessee (Macoupin Rail Loadout), as amended.
       20. Coal Mining Lease and Sublease Agreement dated September 10, 2009 between WPP
           LLC, Lessor and Hillsboro Energy LLC, Lessee, as amended.
       21. Assignment of Service Agreement by and among Foresight Reserves, LP, Foresight
           Energy LLC and FRLP No. 2 LLC dated January 14, 2013.
       22. Mitigation Agreement between Hillsboro Energy LLC and New River Royalty, LLC
           dated August 12, 2010.
       23. Mitigation Agreement between New River Royalty, LLC and Sugar Camp Energy, LLC
           dated August 12, 2010.
       24. Mitigation Agreement between Williamson Energy, LLC and New River Royalty, LLC
           dated August 12, 2010.
       25. Surface Lease and Operation Agreement between Oeneus LLC d/b/a Savatran LLC and
           Sitran LLC dated January 1, 2011.
       26. Lease Agreement between HOD LLC and Sugar Camp Energy, LLC dated March 6,
           2012, as amended.
       27. Surface Sublease between HOD LLC and Sugar Camp Energy, LLC dated March 6,
           2012.
       28. Overriding Royalty Agreement between Sugar Camp Energy, LLC and Ruger Coal
           Company, LLC (TVA Franklin County) dated August 12, 2010.
       29. Overriding Royalty Agreement between Sugar Camp Energy, LLC and Ruger Coal
           Company, LLC (TVA Illinois) dated August 12, 2010.
       30. Development Agreement between Hillsboro Energy LLC and Colt LLC dated as of
           August 23, 2013.
       31. Development Agreement between Macoupin Energy LLC and Colt LLC dated as of
           August 23, 2013.
       32. Development Agreement between Sugar Camp Energy, LLC and Ruger Coal Company,
           LLC dated as of August 23, 2013.
       33. Lease Agreement between American Century Transport LLC and American Energy
           Corporation dated as of April 16, 2015.
Case 20-41308    Doc 228     Filed 04/01/20 Entered 04/01/20 23:45:34          Main Document
                                      Pg 305 of 1005



       34. Overriding Royalty Agreement among American Century Minerals LLC, American
           Energy Corporation and Consolidated Land Company dated as of April 16, 2015.
Case 20-41308     Doc 228      Filed 04/01/20 Entered 04/01/20 23:45:34   Main Document
                                        Pg 306 of 1005



                                            Schedule 7.12

                                      Burdensome Agreements


    Agreements relating to items disclosed on Schedules 7.01 and 7.03.
Case 20-41308    Doc 228    Filed 04/01/20 Entered 04/01/20 23:45:34             Main Document
                                     Pg 307 of 1005



                                        Schedule 10.02

                  Administrative Agent’s Office; Certain Addresses for Notices


     Party:                  Address:                                  Payment Instructions (if
                                                                       applicable)
     Borrower                Foresight Energy LLC                      N/A
                             211 North Broadway, Suite 2600
                             St. Louis, Missouri 63102
                             Attention: Cody E. Nett
                             Telephone: (314) 932-6103
                             codynett@coalsource.com


    Borrower’s website: www.foresight.com

     Party:                  Address:                                  Payment Instructions (if
                                                                       applicable)
     Administrative Agent    Cortland Capital Market Services LLC      N/A
     and Collateral Agent    225 W Washington Street, 9th Floor
                             Chicago, IL 60606
                             Attn: Legal Department & CPC Agency
                             E-mail: legal@cortlandglobal.com;
                             cpcagency@cortlandglobal.com
                             Telephone: 312-564-5100
                             Telecopier: 312-376-0751
Case 20-41308              Doc 228         Filed 04/01/20 Entered 04/01/20 23:45:34 Main Document
                                                    Pg 308 of 1005
                                                                             EXECUTION VERSION

                                                                                                              EXHIBIT A

                                            FORM OF BORROWING NOTICE

 Date:    ,
 To:      Cortland Capital Market Services LLC, as Administrative Agent

 Ladies and Gentlemen:

          Reference is made to that certain Senior Secured Superpriority Debtor-in-Possession Credit and Guaranty
 Agreement, dated as of March 11, 2020 (as it may be amended, restated, supplemented or otherwise modified from
 time to time, the “Credit Agreement”; the terms defined therein being used herein as therein defined), among
 FORESIGHT ENERGY LLC, a Delaware limited liability company, as a debtor and debtor-in-possession, as borrower
 (the “Borrower”), FORESIGHT ENERGY GP LLC, a Delaware limited liability company, as a debtor and debtor-in-
 possession (the “General Partner”), FORESIGHT ENERGY LP, a Delaware limited partnership, as a debtor and
 debtor-in-possession (“Holdings”), CERTAIN SUBSIDIARIES OF BORROWER, each as a debtor and debtor-in-
 possession, as Guarantors, each lender from time to time party hereto (collectively, the “Lenders” and, individually, a
 “Lender”) and Cortland Capital Market Services LLC, as Administrative Agent and Collateral Agent

          The Borrower hereby requests (select one):

  ☐ A Borrowing of [Initial Term Loan][Delayed Draw Term Loan].

  ☐ Initial election of Type of Loan with respect to Roll-Up Loans.

  ☐ A continuation of Eurocurrency Rate Loans.

  ☐ A conversion of [Term Loans] [Roll-Up Loans].
  1.          On                                                             (a Business Day).

  2.          In the principal amount of                                     .1

  3.          Comprised of                                                   .
                                [Type of Loan requested2]

  4.          For Eurocurrency Rate Loans: with an Interest Period of                   one (1) month

  5.          Wire instructions for the account into which funds are to be disbursed (if applicable):

              [        ]

           [The representations and warranties of the Borrower and each Guarantor herein and in the other Loan
 Documents shall be true and correct in all material respects (or in the case of representations and warranties with a
 “materiality” qualifier, true and correct in all respects) immediately prior to, and after giving effect to, such funding
 of the applicable Loans to the same extent as though made on and as of that date, except to the extent such
 representations and warranties specifically relate to an earlier date, in which case, such representations and warranties
 shall have been true and correct in all materials respects on and as of such earlier date; provided that in each case, such
 materiality qualifier shall not be applicable to any representations and warranties that already are qualified or modified




          1
                   Each Borrowing of, conversion to or continuation of Eurocurrency Rate Loans shall be in a principal
 amount of $1,000,000 or a whole multiple of $500,000 in excess thereof. Each Borrowing of or conversion to Base
 Rate Loans shall be in a principal amount of $500,000 or a whole multiple of $250,000 in excess thereof.
         2
                   “Eurocurrency Rate Loan” or “Base Rate Loan.”
Case 20-41308         Doc 228       Filed 04/01/20 Entered 04/01/20 23:45:34                    Main Document
                                             Pg 309 of 1005


 by materiality in the text thereof. No Default or Event of Default exists, or would result immediately, from the
 proposed Borrowing or the application of proceeds thereof.]3

                                            [Signature page to follow]




           3
                    Each Request for Borrowing (other than a Borrowing Notice requesting only a conversion of Loans
 to the other Type or a continuation of Eurocurrency Rate Loans) submitted by the Borrower shall be deemed to be a
 representation and warranty that the conditions specified in Sections 4.02(a) and (b) of the Credit Agreement have
 been satisfied on and as of the date of the applicable Borrowing.


                                                       A- 2
Case 20-41308   Doc 228   Filed 04/01/20 Entered 04/01/20 23:45:34       Main Document
                                   Pg 310 of 1005


                                      FORESIGHT ENERGY LLC


                                      By:      __________________________________________
                                      Name:    __________________________________________
                                      Title:   __________________________________________




                                       A- 3
Case 20-41308   Doc 228   Filed 04/01/20 Entered 04/01/20 23:45:34   Main Document
                                   Pg 311 of 1005


                                                                        EXHIBIT B

                           COLLATERAL QUESTIONNAIRE

                                    [See attached]




                                        B-1
Case 20-41308          Doc 228    Filed 04/01/20 Entered 04/01/20 23:45:34 Main Document
                                           Pg 312 of 1005
                                                                   EXECUTION VERSION


                                 COLLATERAL QUESTIONNAIRE

                                         Dated: March 11, 2020

                 Reference is made to the Senior Secured Superpriority Debtor-in-Possession Credit
 and Guaranty Agreement, dated as of the date hereof (the “Credit Agreement”), among Foresight
 Energy LLC, a Delaware limited liability company (the “Company”), Foresight Energy GP LLC,
 a Delaware limited liability company (“General Partner”), Foresight Energy LP, a Delaware
 limited partnership (“Holdings”), each subsidiary guarantor party thereto (collectively, the
 “Guarantors” and, together with the Company, the “Grantors”), each lender party thereto
 (collectively, the “Lenders” and, individually, a “Lender”), and Cortland Capital Market Services
 LLC, as Administrative Agent and Collateral Agent. Capitalized terms used but not defined herein
 shall have the meanings set forth in the Credit Agreement.

                 Unless otherwise defined in this Certificate or in the Credit Agreement, terms
 defined in Article 8 or 9 of the Uniform Commercial Code as in effect in the State of New York
 are used in this Certificate as such terms are defined in such Article 8 or 9.

                  Each Grantor hereby certifies as follows as of the date hereof:

                 1.      Investment Property. Set forth on Schedule I hereto is a true and correct list
 of all shares of stock and other Pledged Equity Interests owned by such Grantor, all Pledged Debt
 owed to such Grantor and all other investment property (including, without limitation, all (A)
 securities, whether certificated or uncertificated, (B) security entitlements and commodity
 contracts having a value in excess of $100,000 that are not held in securities accounts or
 commodity accounts, (C) securities accounts having a value in excess of $100,000 and (D)
 commodity accounts having a value in excess of $100,000 of such Grantor), setting forth (i) in
 Part I of Schedule I all shares of stock or other Pledged Equity Interests owned by such Grantor,
 the issuer thereof, class of equity interest and percentage of the issued and outstanding Pledged
 Equity Interests of the issuers thereof, (ii) in Part II of Schedule I all such indebtedness having a
 value in excess of (x) $500,000 individually and (y) $5,000,000 in the aggregate owed to such
 Grantor, the issuer thereof, description thereof, debt certificate number(s), final maturity and
 outstanding principal amount of such indebtedness, (iii) in Part III of Schedule I, all other
 investment property having a value in excess of (x) $500,000 individually and (y) $5,000,000 in
 the aggregate owned by such Grantor, the issuer thereof, name of investment, certificate
 number(s), amount and other identification of such investment property and (iv) in Part IV of
 Schedule I, a true and correct list of all securities accounts and commodities accounts, in each case,
 having a value in excess of $100,000 (consistent with clauses (C) and (D) above).

                2.     Deposit Accounts. Set forth on Schedule II hereto is a true and correct list
 of all deposit accounts of such Grantor existing on the date hereof setting forth for each such
 deposit account the type of account, name and address of the depositary bank and the account
 number.

                  3.      Intellectual Property. Set forth on Schedule III hereto is a true and correct
 list of:




 US-DOCS\81066853.3
Case 20-41308          Doc 228    Filed 04/01/20 Entered 04/01/20 23:45:34             Main Document
                                           Pg 313 of 1005


                (i)       all registered patents and patent applications of such Grantor;

                (ii)      all registered trademarks and trademark applications of such Grantor;

                (iii)     all registered copyrights and copyright applications of such Grantor; and

                (iv)    all material agreements, permits, consents, orders and franchises relating to
        the license, development, use or disclosure of any intellectual property to which such
        Grantor is a party or a beneficiary.

                4.      Commercial Tort Claims. Set forth on Schedule IV hereto is a true and
 correct description of all commercial tort claims with a value in excess of $1,000,000 of such
 Grantor.

                 5.     Identity, Etc. of Grantors. Set forth on Schedule V hereto is a true and
 correct list showing such Grantor’s exact legal name (as it appears in its certificate or articles of
 incorporation, limited liability membership agreement or similar organizational document, in each
 case as amended to the date hereof), location, address of chief executive office (and, if different,
 principal place of business), type of organization, jurisdiction of organization and organizational
 I.D. number (including taxpayer identification number).

                 6.     Changes in Name, Location Etc. Set forth on Schedule VI hereto is a true
 and correct description of any changes in the name of such Grantor, changes in location or
 jurisdiction, changes in corporate structure (including by way of merger or consolidation) or in
 any other information as to such Grantor reflected on Schedule VI hereto during the five years
 preceding the date hereof.

                7.       Location of Equipment and Inventory. Set forth on Schedule VII hereto is
 a true and correct list of the locations of such Grantor’s equipment and inventory with a value in
 excess of $1,000,000 individually and $3,000,000 in the aggregate, other than such Grantor’s
 equipment or inventory that may be in transit, with a third party in connection with preparation for
 shipment or for rehabilitation or refurbishment.

                 8.       Letters of Credit. Set forth on Schedule VIII hereto is a true and correct list
 of all letters of credit with a value in excess of $1,000,000 individually and $3,000,000 in the
 aggregate of which such Grantor is a beneficiary or assignee, showing for each such letter of credit
 the issuer thereof, nominated person (if any), account party, number, maximum available amount
 and date.

                  9.     Warehousemen and Bailees. Set forth on Schedule IX hereto is a true and
 correct list of all warehousemen and bailees that have possession of any assets with a fair market
 value in excess of $1,000,000 individually and $3,000,000 in the aggregate of such Grantor,
 showing as to each warehouseman and bailee the assets so held, fair market value and address.

                10.     Location of Books and Records. Set forth on Schedule X hereto is a list of
 all locations where the Grantors maintain any books or records relating to Accounts Receivable
 (with each location at which chattel paper, if any, is kept being indicated by an “*”).


                                                    2
Case 20-41308       Doc 228     Filed 04/01/20 Entered 04/01/20 23:45:34             Main Document
                                         Pg 314 of 1005


                  11.     Real Property. Set forth on Schedule XI hereto is a true and correct list of
 all interests in material owned real property of such Grantor or any of its subsidiaries, showing as
 to each such real property the record owner, record information, acquisition date, brief legal
 description of the property and mortgagee (if any) and lessee (if any).

                12.     Leaseholds. Set forth on Schedule XII hereto is a true and correct list of all
 interests in material leased real property of such Grantor as lessee, showing as to each such
 leasehold a description of the lease and premises, date of and parties to the lease, record
 information and mortgage (if any).

                13.     Mining Facilities; Mining Leases. Set forth on Schedule XIII-A hereto is a
 true and correct list of (a) the locations of such Grantor’s Mining Facilities owned, leased or
 operated by such Grantor and (b) all material related or ancillary properties that are required for
 the business and operations of such Grantor, including a brief legal description of the lease, record
 information and mortgage (if any). Schedule XIII-B hereto sets forth a true and correct list of all
 Mining Leases to which Grantor is a party.

                  14.    Schedule of Filings. Attached as Schedule XIV hereto is a true and correct
 list of each Uniform Commercial Code filing office in the jurisdiction in which each Grantor is
 located and, to the extent any of the collateral located at Material Owned Real Property, Material
 Leased Real Property or Mining Facility is comprised of fixtures, timber to be cut or as extracted
 collateral from the wellhead or minehead, the appropriate local jurisdiction in which financing
 statements with respect to such collateral comprised of fixtures, timber to cut or as extracted
 collateral that is not covered by the applicable mortgage that serves as a fixture filing should be
 filed.

               15.     Railcars. Set forth on Schedule XV hereto is a true and correct list of all
 railcars owned by such Grantor and registered or to be registered with any Governmental
 Authority, showing as to each such item a description thereof, fair market value and mortgagee (if
 any) and mortgage description (if any) (including mortgage amount) thereof.

                16.    Unusual Transactions. Except as set forth on Schedule XVI, no unusual
 transactions have occurred in the past five years, all Accounts have been originated by such
 Grantor and all Inventory or Equipment has been acquired by Grantor in the ordinary course of
 business.




                                                  3
Case 20-41308   Doc 228    Filed 04/01/20 Entered 04/01/20 23:45:34             Main Document
                                    Pg 315 of 1005



               IN WITNESS WHEREOF, the undersigned have caused this Collateral
 Questionnaire to be executed by their officers thereunto duly authorized.



                                    FORESIGHT ENERGY LLC
                                    FORESIGHT ENERGY FINANCE CORPORATION
                                    FORESIGHT ENERGY GP LLC
                                    ADENA RESOURCES, LLC
                                    AKIN ENERGY LLC
                                    AMERICAN CENTURY MINERAL LLC
                                    AMERICAN CENTURY TRANSPORT LLC COAL
                                    FIELD CONSTRUCTION COMP ANY LLC COAL
                                    FIELD REPAIR SERVICES LLC FORESIGHT
                                    COAL SALES LLC
                                    FORESIGHT ENERGY EMPLOYEE SERVICES
                                    CORPORATION
                                    FORESIGHT ENERGY LABOR LLC FORESIGHT
                                    ENERGY SERVICES LLC FORESIGHT
                                    RECEIVABLES LLC HILLSBORO ENERGY LLC
                                    HILLSBORO TRANSPORT LLC
                                    LD LABOR COMPANY LLC
                                    LOGAN MINING LLC
                                    M-CLASS MINING, LLC
                                    MACH MINING, LLC
                                    MACOUPIN ENERGY LLC
                                    MARY AN MINING LLC
                                    OENEUS LLC d/b/a SAVA TRAN LLC PATTON
                                    MINING LLC
                                    SENECA REBUILD LLC
                                    SITRAN LLC
                                    SUGAR CAMP ENERGY, LLC
                                    TANNER ENERGY LLC
                                    VIKING MINING LLC
                                    WILLIAMSON ENER , LLC
                                                      \\

                                    By:�\\-
                                       Name: Robert D. Moore
                                       Title: President and Chief Executive Officer




                          [Signature Page to Collateral Questionnaire]
Case 20-41308           Doc 228         Filed 04/01/20 Entered 04/01/20 23:45:34                      Main Document
                                                 Pg 316 of 1005


                                                                                                     Schedule I to
                                                                                         Collateral Questionnaire

                                          INVESTMENT PROPERTY
                                                         Part I
                                         Initial Pledged Equity Interests


          Grantor              Issuer         Juris. of            Address of              Taxpayer         Type of           % of
                                               Org/          Chief Executive Office       ID Number          Org. 1          Interest
                                             Formation
     Foresight Energy      Adena             Delaware         211 North Broadway         XX-XXXXXXX       Limited            100
     LLC                   Resources,                         Suite 2600                                  Liability
                           LLC                                St. Louis, MO                               Company
                                                              63102
     Foresight Energy      Akin Energy       Delaware         211 North Broadway         XX-XXXXXXX       Limited            100
     LLC                   LLC                                Suite 2600                                  Liability
                                                              St. Louis, MO 63102                         Company

     Foresight Energy      American          Delaware         211 North Broadway         N/A              Limited            100
     LLC                   Century                            Suite 2600                                  Liability
                           Mineral LLC                        St. Louis, MO                               Company
                                                              63102
     Foresight Energy      American          Delaware         211 North Broadway         N/A              Limited            100
     LLC                   Century                            Suite 2600                                  Liability
                           Transport LLC                      St. Louis, MO                               Company
                                                              63102
     Foresight Energy      Foresight Coal    Delaware         211 North Broadway         XX-XXXXXXX       Limited            100
     LLC                   Sales LLC                          Suite 2600                                  Liability
                                                              St. Louis, MO 63102                         Company

     Foresight Energy      Foresight         Delaware         211 North Broadway         XX-XXXXXXX       Corporation        100
     LLC                   Energy                             Suite 2600
                           Employee                           St. Louis, MO 63102
                           Services
                           Corporation

     Foresight Energy      Foresight         Delaware         211 North Broadway         XX-XXXXXXX       Corporation        100
     LLC                   Energy                             Suite 2600
                           Finance                            St. Louis, MO 63102
                           Corporation

     Foresight Energy      Foresight         Delaware         211 North Broadway         XX-XXXXXXX       Limited            100
     LP                    Energy LLC                         Suite 2600                                  Liability
                                                              St. Louis, MO 63102                         Company




 1
  Indicate each limited liability company or limited partnership that has opted into Article 8 of the UCC with an asterisk
 (“*”)
Case 20-41308         Doc 228       Filed 04/01/20 Entered 04/01/20 23:45:34           Main Document
                                             Pg 317 of 1005


       Grantor             Issuer        Juris. of         Address of          Taxpayer      Type of     % of
                                          Org/       Chief Executive Office   ID Number       Org. 1    Interest
                                        Formation
  Foresight Energy                                                                         Limited      99.99
  LLC                                                                                      Liability
                       Foresight
                                                       211 North Broadway                  Company
                       Energy Labor      Delaware                             XX-XXXXXXX
  Foresight Energy                                          Suite 2600                                  0.01
                       LLC
  Employee Services                                    St. Louis, MO 63102
  Corporation

  Foresight Energy                                                                                      99.99
  LLC
                          Foresight                                                          Limited
                                                       211 North Broadway
                           Energy        Delaware                             XX-XXXXXXX    Liability
  Foresight Energy                                          Suite 2600                                  0.01
                        Services LLC                                                        Company
  Employee Services                                    St. Louis, MO 63102
  Corporation

  Foresight Energy     Hillsboro        Delaware      211 North Broadway      XX-XXXXXXX   Limited      100
  LLC                  Energy LLC                     Suite 2600                           Liability
                                                      St. Louis, MO 63102                  Company

  Foresight Energy     Hillsboro        Delaware      211 North Broadway      XX-XXXXXXX   Limited      100
  LLC                  Transport LLC                  Suite 2600                           Liability
                                                      St. Louis, MO 63102                  Company

  Foresight Energy     Macoupin         Delaware      211 North Broadway      XX-XXXXXXX   Limited      100
  LLC                  Energy LLC                     Suite 2600                           Liability
                                                      St. Louis, MO 63102                  Company

  Foresight Energy     Oeneus LLC       Delaware      211 North Broadway      XX-XXXXXXX   Limited      100
  LLC                  d/b/a Savatran                 Suite 2600                           Liability
                       LLC                            St. Louis, MO 63102                  Company

  Foresight Energy     Seneca           Delaware      211 North Broadway      XX-XXXXXXX   Limited      100
  LLC                  Rebuild LLC                    Suite 2600                           Liability
                                                      St. Louis, MO 63102                  Company

  Foresight Energy     Sitran LLC       Delaware      211 North Broadway      XX-XXXXXXX   Limited      100
  LLC                                                 Suite 2600                           Liability
                                                      St. Louis, MO 63102                  Company

  Foresight Energy     Sugar Camp       Delaware      211 North Broadway      XX-XXXXXXX   Limited      100
  LLC                  Energy, LLC                    Suite 2600                           Liability
                                                      St. Louis, MO 63102                  Company

  Foresight Energy     Tanner Energy    Delaware      211 North Broadway      XX-XXXXXXX   Limited      100
  LLC                  LLC                            Suite 2600                           Liability
                                                      St. Louis, MO                        Company
                                                      63102
  Foresight Energy     Williamson       Delaware      211 North Broadway      XX-XXXXXXX   Limited      100
  LLC                  Energy, LLC                    Suite 2600                           Liability
                                                      St. Louis, MO 63102                  Company
Case 20-41308        Doc 228      Filed 04/01/20 Entered 04/01/20 23:45:34           Main Document
                                           Pg 318 of 1005


       Grantor           Issuer        Juris. of         Address of          Taxpayer      Type of    % of
                                        Org/       Chief Executive Office   ID Number       Org. 1   Interest
                                      Formation
  Foresight Energy    Foresight       Delaware      211 North Broadway      XX-XXXXXXX   Limited     100
  LLC                 Receivables                   Suite 2600                           Liability
                      LLC                           St. Louis, MO 63102                  Company

  Foresight Energy    Coal Field      Delaware      211 North Broadway      XX-XXXXXXX   Limited     100
  Labor LLC           Construction                  Suite 2600                           Liability
                      Company LLC                   St. Louis, MO 63102                  Company

  Foresight Energy    Coal Field      Delaware      211 North Broadway      XX-XXXXXXX   Limited     100
  Labor LLC           Repair                        Suite 2600                           Liability
                      Services LLC                  St. Louis, MO 63102                  Company

  Foresight Energy    LD Labor        Delaware      211 North Broadway      XX-XXXXXXX   Limited     100
  Labor LLC           Company LLC                   Suite 2600                           Liability
                                                    St. Louis, MO 63102                  Company

  Foresight Energy    Logan Mining    Delaware      211 North Broadway      XX-XXXXXXX   Limited     100
  Labor LLC           LLC                           Suite 2600                           Liability
                                                    St. Louis, MO 63102                  Company

  Foresight Energy    M-Class         Delaware      211 North Broadway      XX-XXXXXXX   Limited     100
  Labor LLC           Mining, LLC                   Suite 2600                           Liability
                                                    St. Louis, MO 63102                  Company

  Foresight Energy    Mach Mining,    Delaware      211 North Broadway      XX-XXXXXXX   Limited     100
  Labor LLC           LLC                           Suite 2600                           Liability
                                                    St. Louis, MO 63102                  Company

  Foresight Energy    MaRyan          Delaware      211 North Broadway      XX-XXXXXXX   Limited     100
  Labor LLC           Mining LLC                    Suite 2600                           Liability
                                                    St. Louis, MO 63102                  Company

  Foresight Energy    Patton Mining   Delaware      211 North Broadway      XX-XXXXXXX   Limited     100
  Labor LLC           LLC                           Suite 2600                           Liability
                                                    St. Louis, MO 63102                  Company

  Foresight Energy    Viking Mining   Delaware      211 North Broadway      XX-XXXXXXX   Limited     100
  Labor LLC           LLC                           Suite 2600                           Liability
                                                    St. Louis, MO 63102                  Company
Case 20-41308   Doc 228   Filed 04/01/20 Entered 04/01/20 23:45:34   Main Document
                                   Pg 319 of 1005


                                      Part II

                                Initial Pledged Debt


                                       None.



                                      Part III

                             Other Investment Property

                                       None.
Case 20-41308    Doc 228   Filed 04/01/20 Entered 04/01/20 23:45:34   Main Document
                                    Pg 320 of 1005


                                      Part IV

                SECURITY ACCOUNTS AND COMMODITY ACCOUNTS

 Security Accounts:
 None.



 Commodity Accounts:
 None.
Case 20-41308    Doc 228      Filed 04/01/20 Entered 04/01/20 23:45:34     Main Document
                                       Pg 321 of 1005


                                                                             Schedule II to
                                                                  Collateral Questionnaire

                                  DEPOSIT ACCOUNTS

                                                                             Account No.
  No.          Entity              Bank Name             Account Type
                                                                              (Ending)

        Foresight Energy       The Huntington
 1.                                                  Concentration          9601
        LLC                    National Bank

        Foresight              The Huntington
 2.                                                  Receipts               6973
        Receivables LLC        National Bank

        Foresight Energy       The Huntington
 3.                                                  Receipts               6694
        LLC                    National Bank

        Foresight Energy       The Huntington        Disbursements –
 4.                                                                         6681
        LLC                    National Bank         Accounts Payable

        Foresight Energy       The Huntington        Disbursements –
 5.                                                                         8214
        LLC                    National Bank         Payroll

        Foresight Energy       The Huntington        Disbursements –
 6.                                                                         6539
        Services LLC           National Bank         Payroll

                               CNB Bank & Trust,
 7.     MaRyan Mining LLC                            Petty Cash             4605
                               N.A.

 8.     Mach Mining LLC        First Southern Bank   Petty Cash             4129

        Hillsboro Energy       The Huntington
 9.                                                  Operating              5031
        LLC                    National Bank

                               CNB Bank & Trust,
 10.    Patton Mining LLC                            Petty Cash             6394
                               N.A.

                               F.N.B. Wealth
 11.    Foresight Energy LP                          Collateral             7011
                               Management
Case 20-41308     Doc 228   Filed 04/01/20 Entered 04/01/20 23:45:34   Main Document
                                     Pg 322 of 1005


                                                                       Schedule III to
                                                             Collateral Questionnaire

                            INTELLECTUAL PROPERTY



 I. Patents

 None.

 II. Domain Names and Trademarks

 None.

 III. Trade Names

 None.

 IV. Copyrights

 None.

 V. IP Agreements

 None.
Case 20-41308   Doc 228   Filed 04/01/20 Entered 04/01/20 23:45:34   Main Document
                                   Pg 323 of 1005


                                                                     Schedule IV to
                                                           Collateral Questionnaire

                          COMMERCIAL TORT CLAIMS


                                      None.
Case 20-41308            Doc 228     Filed 04/01/20 Entered 04/01/20 23:45:34                 Main Document
                                              Pg 324 of 1005


                                                                                             Schedule V to
                                                                                  Collateral Questionnaire

      LOCATION, CHIEF EXECUTIVE OFFICE, TYPE OF ORGANIZATION,
 JURISDICATION OF ORGANIZATION AND ORGANIZATIONAL IDENTIFICATION
                             NUMBER 2

                          Jurisdiction of       Type of                                     Chief Executive
         Grantor           Organization       Organization        Organizational I.D.           Office
     Foresight Energy       Delaware        Limited Liability          4214815            211 North Broadway,
           LLC                                 Company                                         Suite 2600
                                                                                          St. Louis, MO 63102

     Foresight Energy       Delaware        Limited Liability          5100772            211 North Broadway,
         GP LLC                                Company                                         Suite 2600
                                                                                          St. Louis, MO 63102

     Adena Resources,       Delaware        Limited Liability          4113123            211 North Broadway,
          LLC                                  Company                                         Suite 2600
                                                                                          St. Louis, MO 63102

     Akin Energy LLC        Delaware        Limited Liability          4191654            211 North Broadway,
                                               Company                                         Suite 2600
                                                                                          St. Louis, MO 63102

     American Century       Delaware        Limited Liability          5725788            211 North Broadway,
      Mineral LLC                              Company                                         Suite 2600
                                                                                          St. Louis, MO 63102

     American Century       Delaware        Limited Liability          5725786            211 North Broadway,
      Transport LLC                            Company                                         Suite 2600
                                                                                          St. Louis, MO 63102

        Coal Field          Delaware        Limited Liability          4628487            211 North Broadway,
       Construction                            Company                                         Suite 2600
      Company LLC                                                                         St. Louis, MO 63102

     Coal Field Repair      Delaware        Limited Liability          5299754            211 North Broadway,
      Services LLC                             Company                                         Suite 2600
                                                                                          St. Louis, MO 63102

      Foresight Coal        Delaware        Limited Liability          4591069            211 North Broadway,
        Sales LLC                              Company                                         Suite 2600
                                                                                          St. Louis, MO 63102

     Foresight Energy       Delaware           Corporation             5528848            211 North Broadway,
        Employee                                                                               Suite 2600
         Services                                                                         St. Louis, MO 63102
       Corporation



 2
         The taxpayer identification number of (i) Foresight Energy LLC is XX-XXXXXXX (ii) Foresight Energy GP
 LLC is XX-XXXXXXX, and (ii) each other Grantor, if any, is set forth on Schedule I.
Case 20-41308        Doc 228     Filed 04/01/20 Entered 04/01/20 23:45:34            Main Document
                                          Pg 325 of 1005


                      Jurisdiction of      Type of                                  Chief Executive
     Grantor           Organization      Organization       Organizational I.D.         Office
  Foresight Energy      Delaware          Corporation            4853884          211 North Broadway,
      Finance                                                                          Suite 2600
    Corporation                                                                   St. Louis, MO 63102

  Foresight Energy      Delaware        Limited Liability        5810632          211 North Broadway,
    Labor LLC                              Company                                     Suite 2600
                                                                                  St. Louis, MO 63102

  Foresight Energy      Delaware           Limited               5100773          211 North Broadway,
         LP                               Partnership                                  Suite 2600
                                                                                  St. Louis, MO 63102

  Foresight Energy      Delaware        Limited Liability        5065292          211 North Broadway,
   Services LLC                            Company                                     Suite 2600
                                                                                  St. Louis, MO 63102

     Foresight          Delaware        Limited Liability        5665546          211 North Broadway,
  Receivables LLC                          Company                                     Suite 2600
                                                                                  St. Louis, MO 63102

  Hillsboro Energy      Delaware        Limited Liability        4191652          211 North Broadway,
        LLC                                Company                                     Suite 2600
                                                                                  St. Louis, MO 63102

     Hillsboro          Delaware        Limited Liability        5373240          211 North Broadway,
   Transport LLC                           Company                                     Suite 2600
                                                                                  St. Louis, MO 63102

     LD Labor           Delaware        Limited Liability        5068132          211 North Broadway,
   Company LLC                             Company                                     Suite 2600
                                                                                  St. Louis, MO 63102

   Logan Mining         Delaware        Limited Liability        5582699          211 North Broadway,
       LLC                                 Company                                     Suite 2600
                                                                                  St. Louis, MO 63102

  M-Class Mining,       Delaware        Limited Liability        4388185          211 North Broadway,
       LLC                                 Company                                     Suite 2600
                                                                                  St. Louis, MO 63102

   Mach Mining,         Delaware        Limited Liability        3960666          211 North Broadway,
      LLC                                  Company                                     Suite 2600
                                                                                  St. Louis, MO 63102

  Macoupin Energy       Delaware        Limited Liability        4562185          211 North Broadway,
       LLC                                 Company                                     Suite 2600
                                                                                  St. Louis, MO 63102

  MaRyan Mining         Delaware        Limited Liability        4642527          211 North Broadway,
      LLC                                  Company                                     Suite 2600
                                                                                  St. Louis, MO 63102
Case 20-41308        Doc 228     Filed 04/01/20 Entered 04/01/20 23:45:34            Main Document
                                          Pg 326 of 1005


                      Jurisdiction of      Type of                                  Chief Executive
      Grantor          Organization      Organization       Organizational I.D.         Office
  Oeneus LLC d/b/a      Delaware        Limited Liability        3943786          211 North Broadway,
   Savatran LLC                            Company                                     Suite 2600
                                                                                  St. Louis, MO 63102

   Patton Mining        Delaware        Limited Liability        4643432          211 North Broadway,
        LLC                                Company                                     Suite 2600
                                                                                  St. Louis, MO 63102

   Seneca Rebuild       Delaware        Limited Liability        5354365          211 North Broadway,
        LLC                                Company                                     Suite 2600
                                                                                  St. Louis, MO 63102

     Sitran LLC         Delaware        Limited Liability        4450382          211 North Broadway,
                                           Company                                     Suite 2600
                                                                                  St. Louis, MO 63102

    Sugar Camp          Delaware        Limited Liability        3982892          211 North Broadway,
    Energy, LLC                            Company                                     Suite 2600
                                                                                  St. Louis, MO 63102

   Tanner Energy        Delaware        Limited Liability        5582701          211 North Broadway,
       LLC                                 Company                                     Suite 2600
                                                                                  St. Louis, MO 63102

   Viking Mining        Delaware        Limited Liability        5153856          211 North Broadway,
        LLC                                Company                                     Suite 2600
                                                                                  St. Louis, MO 63102

     Williamson         Delaware        Limited Liability        3953041          211 North Broadway,
    Energy, LLC                            Company                                     Suite 2600
                                                                                  St. Louis, MO 63102
Case 20-41308      Doc 228      Filed 04/01/20 Entered 04/01/20 23:45:34                     Main Document
                                         Pg 327 of 1005


                                                                                         Schedule VI to
                                                                               Collateral Questionnaire

                           CHANGES IN NAME, LOCATION, ETC.



    Grantor                         Nature of Change                      Issue Date
    Akin Energy LLC                 Akin Energy LLC merged with and       February 8, 2013
                                    into FRLP 2008 No. 1 LLC and
                                    Locust Grove Energy LLC, each a
                                    Delaware limited liability company,
                                    with Akin Energy LLC as the
                                    surviving company
    Foresight Energy Services LLC   Foresight Energy Supply LLC           December 31, 2013
                                    merged with and into Foresight
                                    Energy Services LLC with
                                    Foresight Energy Services LLC as
                                    the surviving company
    Patton Mining LLC               Principal place of business changed   August 1, 2016
                                    from Beckley, West Virginia to St.
                                    Louis, Missouri
    Foresight Receivables LLC       Corporation Structure. Per terms of   December 2017 / September 27,
                                    the LLC Agreement, which              2019
                                    required one Independent Director
                                    until the Final Payment under the
                                    Financing Agreement was made.

                                    Mr. Burns resigned September 27,
                                    2019.
    Viking Mining LLC               • Viking Coal Mining LLC              • November 13, 2012
                                      changed its name to Drott
                                      Mining Company LLC
                                    • Drott Mining Company LLC            • February 14, 2013
                                      changed its name to Viking Coal
                                      Mining LLC
                                    • Viking Coal Mining LLC              • May 8, 2013
                                      changed its name to Viking
                                      Mining LLC
                                    • Principal place of business         • August 1, 2016
                                      changed from Beckley, West
                                      Virginia to St. Louis, Missouri
Case 20-41308      Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34             Main Document
                                           Pg 328 of 1005


                                                                                  Schedule VII to
                                                                         Collateral Questionnaire

                     LOCATION OF EQUIPMENT AND COLLATERAL


           Name of Grantor                  Location of Inventory, Equipment, Other Collateral
         Adena Resources, LLC                         211 North Broadway, Suite 2600
                                                           St. Louis, MO 63102

           Akin Energy LLC                            211 North Broadway, Suite 2600
                                                           St. Louis, MO 63102

  Coal Field Construction Company LLC                  11351 N. Thompsonville Road
                                                           Macedonia, IL 62860

     Foresight Energy Services LLC                    211 North Broadway, Suite 2600
                                                           St. Louis, MO 63102

         Hillsboro Energy LLC                           12051 County Road 900 N.
                                                           Hillsboro, IL 62049

                                                               Sitran LLC
                                                         10016 Darnell School Rd
                                                         Mount Vernon, IN 47620

        Hillsboro Transport LLC                         12051 County Road 900 N.
                                                           Hillsboro, IL 62049

         Macoupin Energy LLC                            14300 Brushy Mound Road
                                                           Carlinville, IL 62626

                                                               Sitran LLC
                                                         10016 Darnell School Rd
                                                         Mount Vernon, IN 47620

    Oeneus LLC d/b/a Savatran LLC                     211 North Broadway, Suite 2600
                                                           St. Louis, MO 63102

          Seneca Rebuild LLC                           11550 N. Thompsonville Road
                                                           Macedonia, IL 62860

              Sitran LLC                                 10016 Darnell School Rd
                                                         Mount Vernon, IN 47620

       Sugar Camp Energy, LLC                          11351 N. Thompsonville Road
                                                           Macedonia, IL 62860

                                                       13643 N. Thompsonville Road
                                                           Macedonia, IL 62860

                                                               Sitran LLC
                                                         10016 Darnell School Rd
Case 20-41308    Doc 228       Filed 04/01/20 Entered 04/01/20 23:45:34          Main Document
                                        Pg 329 of 1005


         Name of Grantor                 Location of Inventory, Equipment, Other Collateral
                                                      Mount Vernon, IN 47620


      Williamson Energy, LLC                         16468 Liberty School Road
                                                         Marion, IL 62959

                                                            Sitran LLC
                                                      10016 Darnell School Rd
                                                      Mount Vernon, IN 47620

                                                      Convent Marine Terminal
                                                       7790 LA Highway 44
                                                      Convent, Louisiana 70723
Case 20-41308          Doc 228       Filed 04/01/20 Entered 04/01/20 23:45:34                              Main Document
                                              Pg 330 of 1005


                                                                                                  Schedule VIII to
                                                                                          Collateral Questionnaire
                                                  LETTERS OF CREDIT




                                                                                               Original
                                                                                     Issue     Expiry
     Beneficiary       LC Number        Amount           Purpose         Location    Date       Date          Renewals       Notification

                                                                                                            Automatic
  Rockwood                                             Workers          Credit      4/18/201                successive one
  Casualty            OSB.009726     $ 4,500,000.00    Compensation     Facility           7   6/30/2018    year periods     60 days
                                                                                                            Automatic
  Argonaut                                                              Credit      7/28/201                successive one
  Insurance Co.       OSB.009853     $ 4,500,000.00    Surety Bonds     Facility           7   7/31/2018    year periods     60 days
                                                                                                            Automatic
  Argonaut                                                              Credit      8/10/201                successive one
  Insurance Co.       OSB.010277     $ 1,310,958.39    Appeal Bond      Facility           8   8/10/2019    year periods     60 days
                                                                                                            Amendment
  Canadian National                                                     Credit      5/29/201                needed to
  Railway             OSB.010199-1   $ 2,000,000.00    Transportation   Facility           8    6/1/2019    extend           15 days



                      Total          $ 12,310,958.39
Case 20-41308      Doc 228    Filed 04/01/20 Entered 04/01/20 23:45:34               Main Document
                                       Pg 331 of 1005


                                                                                 Schedule IX to
                                                                       Collateral Questionnaire

                             WAREHOUSEMEN AND BAILEES



 Grantor                  Warehouseman/Bailee and Location   Assets and Value (as of1/31/2020)

 Hillsboro Energy LLC                Sitran LLC              Clean Coal $106,655
                               10016 Darnell School Rd
                               Mount Vernon, IN 47620

 Macoupin Energy LLC                 Sitran LLC              Clean Coal $1,621,205
                               10016 Darnell School Rd
                               Mount Vernon, IN 47620

 Sugar Camp Energy, LLC              Sitran LLC              Clean Coal $26,372,171
                               10016 Darnell School Rd
                               Mount Vernon, IN 47620
Case 20-41308      Doc 228   Filed 04/01/20 Entered 04/01/20 23:45:34            Main Document
                                      Pg 332 of 1005


                                                                               Schedule X to
                                                                    Collateral Questionnaire

                        LOCATION OF BOOKS AND RECORDS

                       RELATING TO ACCOUNTS RECEIVABLE




                                           Location of Books and Records Relating to
 Name of Grantor                                      Accounts Receivable
 All Grantors                                   211 North Broadway, Suite 2600
                                                   St. Louis, Missouri 63102
                   Case 20-41308          Doc 228   Filed 04/01/20 Entered 04/01/20 23:45:34           Main Document
                                                             Pg 333 of 1005




                                                                                                               Schedule XI and XII to
                                                                                                              Collateral Questionnaire

DEBTOR/GRANTOR:

MACOUPIN ENERGY LLC
14300 Brushy Mound Road
Carlinville, Illinois 62626

Macoupin County, Illinois


     Description/Title of                                                                Recording                          Subject to
                                Date            Parties       Brief Legal Description                     Owned or Leased
         Document                                                                       Information                         Mortgage
                                             WPP LLC and
                                                              Macoupin South Mine
    Short Form of Lease       1/27/2009     Macoupin Energy                             Not Recorded          Leased           Yes
                                                                  Assignment
                                                 LLC
                                             Colt LLC and
   Coal Mining Lease and                                      Macoupin North Mine
                              8/12/2010     Macoupin Energy                             MA 503863             Leased           Yes
         Sublease                                                 Assignment
                                                 LLC
                                             Colt LLC and
                                                              Macoupin North Mine
    Short Form of Lease       8/12/2010     Macoupin Energy                             Not Recorded          Leased           Yes
                                                                  Assignment
                                                 LLC
                                             Colt LLC and
  First Amendment to Coal                                     Macoupin North Mine
                              2/13/2013     Macoupin Energy                             Not Recorded          Leased           Yes
        Mining Lease                                              Assignment
                                                 LLC
                                             Colt LLC and
                                                                East Hornsby Mine
    Short Form of Lease       8/12/2010     Macoupin Energy                             Not Recorded          Leased           Yes
                                                                   Assignment
                                                 LLC
                Case 20-41308        Doc 228     Filed 04/01/20 Entered 04/01/20 23:45:34                 Main Document
                                                          Pg 334 of 1005




 Description/Title of                                                                       Recording                          Subject to
                          Date               Parties         Brief Legal Description                         Owned or Leased
     Document                                                                              Information                         Mortgage
                                                             Various tracts of surface
                                                               and coal reserves. The
                                                              coal reserves were sold
                                        ExxonMobil Coal
                                                                to WPP or Colt and
                                          USA, Inc. to
Special Warranty Deed   1/22/2009                            leased back. The surface    MA-0019 493145          Owned            Yes
                                        Macoupin Energy
                                                                  not required for
                                             LLC
                                                                operations has been
                                                              conveyed to New River
                                                                   Royalty LLC
                                          HOD LLC and
        Lease           1/27/2009        Macoupin Energy            Rail Loop             Not Recorded           Leased           Yes
                                                LLC
                                          HOD LLC and
   Short Form or
                        1/27/2009        Macoupin Energy            Rail Loop              MA 506329             Leased           Yes
Memorandum of Lease
                                                LLC
                                          HOD LLC and
Amendment to Lease
                        12/29/2009       Macoupin Energy            Rail Loop             Not Recorded           Leased           Yes
   Agreement
                                                LLC
                                          HOD LLC and
        Lease           1/27/2009        Macoupin Energy          Rail Load Out           Not Recorded           Leased           Yes
                                                LLC
                                          HOD LLC and
   Short Form or
                        1/27/2009        Macoupin Energy          Rail Load Out            MA 506330             Leased           Yes
Memorandum of Lease
                                                LLC
                                          HOD LLC and
Amendment to Lease
                        12/29/2009       Macoupin Energy          Rail Load Out           Not Recorded           Leased           Yes
   Agreement
                                                LLC
                                       Jet Oil Company and
  Option and Lease                                                                       Volume 628, Page
                        2/28/1967        Macoupin Energy          Coal Reserves                                  Leased           Yes
    Agreement                                                                                 456
                                                LLC
                                         Macoupin Energy
                                         LLC, as assignor,
Assignment of Leases    1/27/2009                                 Coal Reserves           Not Recorded           Leased           Yes
                                         and WPP LLC, as
                                              assignee
                  Case 20-41308          Doc 228   Filed 04/01/20 Entered 04/01/20 23:45:34            Main Document
                                                            Pg 335 of 1005




    Description/Title of                                                                 Recording                          Subject to
                              Date             Parties       Brief Legal Description                      Owned or Leased
        Document                                                                        Information                         Mortgage
                                            WPP LLC and
   Coal Mining Lease and
                            1/27/2009      Macoupin Energy    Macoupin Reserves         Not Recorded          Leased           Yes
    Sublease Agreement
                                                LLC
        Short Form or
                                            WPP LLC and
   Memorandum of Coal
                            1/27/2009      Macoupin Energy    Macoupin Reserves         MA 506328             Leased           Yes
      Mining Lease and
                                                LLC
    Sublease Agreement
  First Amendment to Coal                   WPP LLC and
      Mining Lease and      11/03/2010     Macoupin Energy    Macoupin Reserves         Not Recorded          Leased           Yes
    Sublease Agreement                          LLC
   Second Amendment to                      WPP LLC and
   Coal Mining Lease and    03/28/2010     Macoupin Energy    Macoupin Reserves         Not Recorded          Leased           Yes
    Sublease Agreement                          LLC
                                           ExxonMobil Coal
                                            USA, Inc. and      Monterey Coal
   Assignment of Leases     1/22/2009                                                   MA 487734             Leased           Yes
                                           Macoupin Energy   Company No. 1 Mine
                                                LLC



Clinton County, Illinois

    Description/Title of                                                                 Recording                          Subject to
                              Date             Parties       Brief Legal Description                      Owned or Leased
        Document                                                                        Information                         Mortgage
                                            Colt LLC and
                                                                New Memphis
     Coal Mining Lease       6/1/2012      Macoupin Energy                              Not Recorded          Leased           Yes
                                                             /Monterey 2 Reserves
                                                LLC
     Short Form or                          Colt LLC and
                                                                New Memphis
   Memorandum of Coal        6/1/2012      Macoupin Energy                             CC 2012R04931          Leased           Yes
                                                             /Monterey 2 Reserves
     Mining Lease                               LLC
                                            Colt LLC and
  First Amendment to Coal                                       New Memphis
                            2/13/2013      Macoupin Energy                              Not Recorded          Leased           Yes
        Mining Lease                                         /Monterey 2 Reserves
                                                LLC
                   Case 20-41308      Doc 228     Filed 04/01/20 Entered 04/01/20 23:45:34                Main Document
                                                           Pg 336 of 1005




DEBTOR/GRANTOR:

WILLIAMSON ENERGY, LLC
16468 Liberty School Road
Marion, IL 62959
Williamson County, Illinois
Franklin County, Illinois (Coal Reserves only)

  Description/Title of   Date               Parties             Brief Legal Description          Recording       Owned or   Subject to
                                                                                                Information       Leased    Mortgage
 Amended and Restated    8/14/2006        WPP LLC to        Coal reserves in Williamson and     Not recorded      Leased      Yes
  Coal Mining Lease                    Williamson Energy,        Franklin Counties, IL
     Agreement                                LLC

     Short Form of       8/14/2006        WPP LLC to        Coal reserves in Williamson and   WC Misc 301-480     Leased       Yes
 Amended and Restated                  Williamson Energy,        Franklin Counties, IL         FC #2006-6571
   Coal Mining Lease                          LLC
       Agreement
  First Amendment to     5/19/2008        WPP LLC to        Coal reserves in Williamson and     Not recorded      Leased       Yes
 Amended and Restated                  Williamson Energy,        Franklin Counties, IL
   Coal Mining Lease                          LLC
       Agreement
     Amendment to        12/18/2009       WPP LLC to        Coal reserves in Williamson and     Not recorded      Leased       Yes
 Amended and Restated                  Williamson Energy,        Franklin Counties, IL
   Coal Mining Lease                          LLC
       Agreement
  Third Amendment to     08/12/2010       WPP LLC to        Coal reserves in Williamson and     Not recorded      Leased       Yes
 Amended and Restated                  Williamson Energy,        Franklin Counties, IL
   Coal Mining Lease                          LLC
       Agreement
  Short Form of First,   08/12/2010       WPP LLC to        Coal reserves in Williamson and   WC Misc 327-780     Leased       Yes
   Second and Third                    Williamson Energy,        Franklin Counties, IL          2010-6467
     Amendment to                             LLC
 Amended and Restated
   Coal Mining Lease
       Agreement
                  Case 20-41308      Doc 228     Filed 04/01/20 Entered 04/01/20 23:45:34                Main Document
                                                          Pg 337 of 1005




 Description/Title of   Date               Parties             Brief Legal Description          Recording       Owned or   Subject to
                                                                                               Information       Leased    Mortgage
Fourth Amendment to     6/30/2011        WPP LLC to        Coal reserves in Williamson and     Not recorded      Leased      Yes
Amended and Restated    (effective    Williamson Energy,        Franklin Counties, IL
 Coal Mining Lease      4/1/2011)            LLC
      Agreement
Short Form of Fourth    6/30/2011        WPP LLC to        Coal reserves in Williamson and   WC Misc 331-312     Leased       Yes
    Amendment to        (effective    Williamson Energy,        Franklin Counties, IL
Amended and Restated    4/1/2011)            LLC
 Coal Mining Lease
      Agreement
 Fifth Amendment to     3/20/2013        WPP LLC to        Coal reserves in Williamson and     Not recorded      Leased       Yes
Amended and Restated    (effective    Williamson Energy,        Franklin Counties, IL
 Coal Mining Lease      3/1/2013)            LLC
      Agreement
 Short Form of Fifth    3/20/2013        WPP LLC to        Coal reserves in Williamson and   WC Misc 341-659     Leased       Yes
    Amendment to        (effective    Williamson Energy,        Franklin Counties, IL
Amended and Restated    3/1/2013)            LLC
 Coal Mining Lease
      Agreement
 First Amendment to     5/19/2008        WPP LLC to        Coal reserves in Williamson and     Not recorded      Leased       Yes
 Amended and Coal                     Williamson Energy,        Franklin Counties, IL
     Mining Lease                            LLC
      Agreement

  Amendment to          12/18/2009       WPP LLC to          Coal reserves in Williamson       Not recorded      Leased       Yes
Amended and Restated                  Williamson Energy,             County, IL
 Coal Mining Lease                           LLC
    Agreement

 Third Amendment to      8/12/2010       WPP LLC to        Coal reserves in Williamson and     Not recorded      Leased       Yes
Amended and Restated                  Williamson Energy,        Franklin Counties, IL
  Coal Mining Lease                          LLC
      Agreement
                  Case 20-41308        Doc 228     Filed 04/01/20 Entered 04/01/20 23:45:34                  Main Document
                                                            Pg 338 of 1005




 Description/Title of    Date                Parties             Brief Legal Description            Recording       Owned or   Subject to
                                                                                                   Information       Leased    Mortgage
   Short Form or          8/12/2010        WPP LLC to        Coal reserves in Williamson and     WC Misc 327-780     Leased      Yes
Memorandum of First                     Williamson Energy,        Franklin Counties, IL           FC #2010-5467
 Amendment, Second                             LLC
Amendment and Third
   Amendment to
Amended and Restated
 Coal Mining Lease
    Agreement

Fourth Amendment to       6/30/2011        WPP LLC to          Coal reserves in Williamson         Not recorded      Leased       Yes
Amended and Restated      (effective    Williamson Energy,             County, IL
 Coal Mining Lease        4/1/2011)            LLC
     Agreement

   Short Form or          6/30/2011        WPP LLC to          Coal reserves in Williamson       WC Misc 331-312     Leased       Yes
Memorandum of Fourth      (effective    Williamson Energy,             County, IL
   Amendment to           4/1/2011)            LLC
Amended and Restated
 Coal Mining Lease
    Agreement

  Partial Release of    6/30/2011          WPP LLC to        Releases certain coal reserves in    FC #2011-3006      Leased       Yes
Leased Premises from    (effective      Williamson Energy,        Franklin County, IL
Amended and Restated    4/1/2011)              LLC
 Coal Mining Lease
     Agreement
  Partial Release of    3/20/2013          WPP LLC to        Releases certain coal reserves in    FC #2013-1637      Leased       Yes
Leased Premises from    (effective      Williamson Energy,        Franklin County, IL
Amended and Restated    9/1/2011)              LLC
 Coal Mining Lease
     Agreement
  Corrective Partial    4/5/2013           WPP LLC to        Releases certain coal reserves in    FC #2013-2765      Leased       Yes
 Release of Leased      (effective      Williamson Energy,        Franklin County, IL
   Premises from        3/1/2013)              LLC
Amended and Restated
                   Case 20-41308       Doc 228     Filed 04/01/20 Entered 04/01/20 23:45:34            Main Document
                                                            Pg 339 of 1005




 Description/Title of     Date               Parties           Brief Legal Description        Recording       Owned or   Subject to
                                                                                             Information       Leased    Mortgage
  Coal Mining Lease
     Agreement

 Short Form of Lease       5/1/2005         Williamson       Coal reserves in Williamson   WC Misc 291-461     Leased       Yes
    and Sublease                          Development                County, IL
                                         Company LLC to
                                        Williamson Energy,
                                               LLC

                                        Independence Land
  Coal Mining Lease                     Company, LLC and     Coal Reserves in Williamson
                          3/13/2006                                                          Not recorded      Leased       Yes
     Agreement                          Williamson Energy,         County, Illinois
                                               LLC
                                        Independence Land
                                        Company, LLC and     Coal Reserves in Williamson
 Short Form of Lease      3/13/2006                                                        Misc 301Page 479    Leased       Yes
                                        Williamson Energy,         County, Illinois
                                               LLC

Lease (Coal Prep Plant)    5/1/2005         Williamson       Pond Creek Processing Plant   WC Misc 291-463     Leased       Yes
                                          Development
                                        Company, LLC and
                                        Williamson Energy,
                                               LLC
  First Amended and       10/15/2006        Williamson
 Restated Lease (Coal                     Development
      Prep Plant)                       Company, LLC and     Pond Creek Processing Plant     Not recorded      Leased       Yes
                                        Williamson Energy,
                                               LLC
  Short Form of First     10/15/2006        Williamson
Amended and Restated                      Development
                                                                                            Misc 313 Page
Lease (Coal Prep Plant)                 Company, LLC and     Pond Creek Processing Plant                       Leased       Yes
                                                                                                 620
                                        Williamson Energy,
                                               LLC
                  Case 20-41308      Doc 228     Filed 04/01/20 Entered 04/01/20 23:45:34                  Main Document
                                                          Pg 340 of 1005




 Description/Title of   Date               Parties             Brief Legal Description            Recording       Owned or   Subject to
                                                                                                 Information       Leased    Mortgage
Coal Mining Lease and   8/12/2010        Colt LLC to        Coal Reserves in Williamson,         WC 325-897        Leased      Yes
      Sublease                        Williamson Energy,    Franklin, and Saline Counties,
                                             LLC                          IL

  Short Form or         8/12/2010        Colt LLC to        Coal Reserves in Williamson,       WC Misc 325-897     Leased       Yes
Memorandum of Coal                    Williamson Energy,    Franklin, and Saline Counties,      FC #2010-3874
 Mining Lease and                            LLC                          IL                     SC 1981-610
     Sublease

  Partial Release of    6/30/2011       Colt LLC and       Releases certain coal reserves in   WC Misc 331-310     Leased       Yes
 Premises from Coal     (effective    Williamson Energy,       Williamson County, IL
  Mining Lease and      4/1/2011)            LLC
      Sublease

 First Amendment to     6/30/2011       Colt LLC and        Coal reserves in Williamson,         Not recorded      Leased       Yes
Coal Mining Lease and   (effective    Williamson Energy,    Franklin, and Saline Counties,
       Sublease         4/1/2011)            LLC                          IL

    Short Form or       6/30/2011       Colt LLC and        Coal reserves in Williamson,       WC Misc 331-311     Leased       Yes
 Memorandum after       (effective    Williamson Energy,    Franklin, and Saline Counties,      FC #2011-3008
 First Amendment to     4/1/2011)            LLC                          IL                     SC 2003-978
Coal Mining Lease and
       Sublease
  Partial Release of    3/20/2013       Colt LLC and        Coal reserves in Williamson,       WC Misc 341-658     Leased       Yes
 Premises from Coal     (effective    Williamson Energy,    Franklin, and Saline Counties,
  Mining Lease and      3/1/2013)            LLC                          IL
       Sublease
Second Amendment to     3/20/2013       Colt LLC and        Coal reserves in Williamson,         Not recorded      Leased       Yes
Coal Mining Lease and   (effective    Williamson Energy,    Franklin, and Saline Counties,
       Sublease         3/1/2013)            LLC                          IL
    Short Form or       3/20/2013       Colt LLC and        Coal reserves in Williamson,        FC 2013-1639       Leased       Yes
 Memorandum after       (effective    Williamson Energy,    Franklin, and Saline Counties,
Second Amendment to     3/1/2013)            LLC                          IL
                    Case 20-41308          Doc 228       Filed 04/01/20 Entered 04/01/20 23:45:34                    Main Document
                                                                  Pg 341 of 1005




  Description/Title of      Date                   Parties               Brief Legal Description            Recording           Owned or         Subject to
                                                                                                           Information           Leased          Mortgage
 Coal Mining Lease and
       Sublease
        Lease                5/1/2005           Williamson             Pond Creek Rail Load Out        WC Misc 291-462           Leased             Yes
                                              Development
                                            Company, LLC (fka
                                                 Steelhead
                                              Development
                                            Company LLC) and
                                            Williamson Energy,
                                                   LLC

  First Amended and                              Williamson
  Restated Lease (Rail                         Development
   Load Out Lease)         10/15/2006        Company, LLC and          Pond Creek Rail Load Out           Not recorded           Leased             Yes
                                             Williamson Energy,
                                                    LLC
  Short Form of First                            Williamson
 Amended and Restated                          Development
                                                                                                         Misc 313 Page
 Lease (Rail Load Out      10/15/2006        Company, LLC and          Pond Creek Rail Load Out                                  Leased             Yes
                                                                                                              619
        Lease)                               Williamson Energy,
                                                    LLC

          Deed               8/12/2010           Williamson
                                               Development
                                                                     Surface required for Williamson
                                             Company, LLC and                                             WC 486-333             Owned              Yes
                                                                        Energy, LLC Operations 3
                                             Williamson Energy,
                                                    LLC




3
         This excludes the real property released pursuant to that certain Fifth Amendment and Partial Release of Fee and Leasehold Mortgage, Assignment of
Rents and Leases, Security Agreement and Fixture Filing, dated as of September 26, 2016, by and between Williamson Energy, LLC, as Mortgagor, and
Citibank, N.A., in its capacity as Agent, consisting of approximately 28.55 acres of surface land.
                   Case 20-41308     Doc 228      Filed 04/01/20 Entered 04/01/20 23:45:34           Main Document
                                                           Pg 342 of 1005




Description/Title of    Date                Parties           Brief Legal Description        Recording      Owned or   Subject to
                                                                                            Information      Leased    Mortgage
     Easement            8/12/2010        Williamson
                                        Development          “Snake areas” required for
                                      Company, LLC and        Williamson Energy, LLC        WC 325-899       Owned        Yes
                                      Williamson Energy,             Operations
                                             LLC

                                          Eberhardt to       Ground lease required for
   Ground Lease          1/1/2006    Williamson Transport,   Williamson Energy, LLC        Not Recorded      Leased       Yes
                                              LLC                   Operations
                                           Eberhart to       Ground lease required for
Memorandum of the
                         1/20/2006   Williamson Transport,   Williamson Energy, LLC       WC Misc 296-404    Leased       Yes
 Eberhardt Lease
                                              LLC                   Operations
                                     Williamson Transport
                                                             Ground lease required for
                                      LLC to Williamson
Assignment of Rights     8/24/2007                           Williamson Energy, LLC       WC Misc 306-996    Leased       Yes
                                         Development
                                                                    Operations
                                        Company LLC
                                          Williamson
                                         Development         Ground lease required for
Assignment of Rights     8/24/2007     Company LLC to        Williamson Energy, LLC          WC Misc         Leased       Yes
                                      Williamson Energy,            Operations
                                              LLC
                                           Eberhart to
                                          Williamson
                                         Development         Ground lease required for
   Ground Lease          8/12/2010      Company, LLC         Williamson Energy, LLC         WC 325-900       Leased       Yes
                                           assigned to              Operations
                                      Williamson Energy,
                                              LLC

                                      Clara Summers and
   Surface Lease        3/22/2006     Independence Land            Surface Lease          WC Misc 297-626    Leased       Yes
                                        Company LLC
                                      Independence Land
Assignment of Lease     8/12/2010                                  Surface Lease          WC Misc 327-750    Leased       Yes
                                       Company LLC to
                  Case 20-41308     Doc 228     Filed 04/01/20 Entered 04/01/20 23:45:34        Main Document
                                                         Pg 343 of 1005




Description/Title of   Date               Parties          Brief Legal Description      Recording      Owned or   Subject to
                                                                                       Information      Leased    Mortgage
                                     Williamson Energy
                                            LLC
                                     Clara Summers and
  Surface Lease        3/22/2006     Independence Land         Surface Lease         WC Misc 297-626
                                       Company LLC

                                        Williamson
                                       Development
 Grant of Surface
                        8/12/2010    Company LLC and         Surface Easement        WC Misc 325-899    Leased       Yes
    Easement
                                     Williamson Energy
                                            LLC
                    Case 20-41308      Doc 228       Filed 04/01/20 Entered 04/01/20 23:45:34             Main Document
                                                              Pg 344 of 1005




DEBTOR/GRANTOR:

SUGAR CAMP ENERGY, LLC
11351 N. Thompsonville Road
Macedonia, Illinois 62860
Franklin County, Illinois
Hamilton County, Illinois (Coal Reserves only)
Saline County, Illinois (Coal Reserves only)


                                                                                                                      Owned
   Description/Title of                                                                                  Recording             Subject to
                            Date                Parties                Brief Legal Description                          or
       Document                                                                                         Information            Mortgage
                                                                                                                      Leased
                                      USA through TVA & Illinois
                                        Fuel Company LLC (as        Properties located in Franklin
   TVA Illinois Coal
                          7/1/2002      assigned to Ruger Coal     County IL as described in Exhibit   FC 2007-5822   Leased      Yes
        Lease
                                      Company, LLC), Sugar Camp                   A
                                             Energy, LLC
                                      USA through TVA & Illinois
                                        Fuel Company LLC (as        Properties located in Franklin
  Assignment of TVA
                          8/4/2009      assigned to Ruger Coal     County IL as described in Exhibit   FC 2009-4445   Leased      Yes
  Illinois Coal Lease
                                      Company, LLC), Sugar Camp                   A
                                             Energy, LLC
   Amendment One to                                                 Properties located in Franklin
                                      USA through TVA & Ruger
   TVA Illinois Coal      4/17/2012                                County IL as described in Exhibit     FC-0027      Leased      Yes
                                        Coal Company LLC
        Lease                                                                     A
  Amendment Two to                                                  Properties located in Franklin
                                      USA through TVA & Ruger
   TVA Illinois Coal      8/30/2012                                County IL as described in Exhibit   Not recorded   Leased      Yes
                                        Coal Company LLC
        Lease                                                                     A
    Letter Agreement                                                Properties located in Franklin
                                      USA through TVA & Ruger
     regarding TVA        8/30/2012                                County IL as described in Exhibit   Not recorded   Leased      Yes
                                        Coal Company LLC
   Illinois Coal Lease                                                            A
                                      USA through TVA & Ruger       Properties located in Franklin
    Franklin County
                          7/1/2002     Coal Company, Inc. (as      County IL as described in Exhibit   Not recorded   Leased      Yes
      Coal Lease
                                        assigned to Ruger Coal                    A
                 Case 20-41308      Doc 228       Filed 04/01/20 Entered 04/01/20 23:45:34                Main Document
                                                           Pg 345 of 1005




                                                                                                                        Owned
Description/Title of                                                                                    Recording                Subject to
                         Date                Parties                 Brief Legal Description                              or
    Document                                                                                           Information               Mortgage
                                                                                                                        Leased
                                   Company, LLC), Sugar Camp
                                         Energy, LLC

                                    USA through TVA & Ruger
                                     Coal Company, Inc. (as       Properties located in Franklin
Assignment of Lease    9/10/2007      assigned to Ruger Coal     County IL as described in Exhibit    FC 2007-5132      Leased      Yes
                                   Company, LLC), Sugar Camp                    A
                                           Energy, LLC
                                                                  Properties located in Franklin
                                    RGGS Land & Minerals &
Coal Mining Lease      7/29/2005                                 County IL as described in Exhibit       FC-0083        Leased      Yes
                                    Sugar Camp Energy, LLC
                                                                                A
                                                                  Properties located in Franklin
 Memorandum of                      RGGS Land & Minerals &
                       7/29/2005                                 County IL as described in Exhibit    FC 2006-6919      Leased      Yes
Coal Mining Lease                   Sugar Camp Energy, LLC
                                                                                A
  Supplemental                                                    Properties located in Franklin
                                    RGGS Land & Minerals &
 Memorandum of         7/29/2005                                 County IL as described in Exhibit    FC 2008-4441      Leased      Yes
                                    Sugar Camp Energy, LLC
Coal Mining Lease                                                               A
                                                                  Properties located in Franklin
                                   Sugar Camp Energy, LLC &
     Sublease          3/6/2012                                  County IL as described in Exhibit    FC 2012-6228      Leased      Yes
                                           HOD LLC
                                                                                A
                                                                  Properties located in Franklin
First Amendment to                  RGGS Land & Minerals &
                       8/11/2008                                 County IL as described in Exhibit    FC 2008-4441      Leased      Yes
Coal Mining Lease                   Sugar Camp Energy, LLC
                                                                                A
                                   Ruger Coal Company, LLC &      Consent with respect to Illinois
  Consent to Mine      1/22/2010                                                                         FC-0233        Leased      Yes
                                    Sugar Camp Energy, LLC                Fuels Lease
                                     Rodney Smith and Marta
                                                                  Pt. Lot 121 and Pt. Lot 122 in     Surface WC-0152,
  Warranty Deed        1/15/2009   Smith to Sugar Camp Energy,                                                          Owned       Yes
                                                                        Kokopelli Estates               WC481-772
                                               LLC
                 Case 20-41308      Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                   Main Document
                                                            Pg 346 of 1005




                                                                                                                             Owned
Description/Title of                                                                                         Recording                Subject to
                         Date                 Parties                   Brief Legal Description                                or
    Document                                                                                                Information               Mortgage
                                                                                                                             Leased
                                     Glendall E Johnston a.k.a
                                   Glen Johnston and Carolyn S.
                                                                    NW NW Sec 1-6-4 and NWNE
     Easement          3/4/2010       Johnston, a.k.a Carolyn                                            FC-0253 2010-1056   Owned       Yes
                                                                   Sec 1-6-4 Franklin County, Illinois
                                   Johnston, husband and Wife
                                   to Sugar Camp Energy, LLC
                                   Morris R Clark and Karan S.
                                                                    NWNE and W2E2NE Sec 2-6-4
     Easement          3/4/2010    Clark to Sugar Camp Energy,                                           FC-0254 2010-1057   Owned       Yes
                                                                        Franklin, Illinois
                                               LLC
                                     David Blood and Melanie
                                                                    Pt. E2NENE Sec 2-6-4 Franklin
     Easement          3/1/2010     Blood, husband and wife to                                               FC-0255         Owned       Yes
                                                                      County, Illinois 2010-1058
                                    Sugar Camp Energy, LLC
                                    Roger L. Sanders and Mary
                                                                   W 10 ac N3/4 of NESE Sec 6-6-5
     Easement          6/5/2010    Ellen Sanders to Sugar Camp                                           HC-0078 221-117     Owned       Yes
                                                                      Hamilton County, Illinois
                                           Energy, LLC
                                   Patrick G. Mascal and Lori S.
                                                                   W2NESW and E2S2NWSW Sec
  Warranty Deed        6/1/2010       Mascal to Sugar Camp                                               HC-0075 277/311     Owned       Yes
                                                                      6-6-5 Hamilton Illinois
                                           Energy, LLC
Overriding Royalty                 Ruger Coal Company LLC to        Right to mine on Illinois Fuels
                       8/12/2010                                                                           Not Recorded      Leased      Yes
Interest Agreement                  Sugar Camp Energy, LLC                    TVA Lease
Overriding Royalty                 Ruger Coal Company LLC to       Right to mine on Franklin County
                       8/12/2010                                                                           Not Recorded      Leased      No
Interest Agreement                  Sugar Camp Energy, LLC                    TVA Lease
                                     Williamson Development
                                                                   Surface required for Sugar Camp
       Deed            8/12/2010      Company LLC to Sugar                                                 Not Recorded      Owned       Yes
                                                                       Energy, LLC Operations
                                        Camp Energy, LLC
                                     Williamson Development           Surface in Hamilton County
       Deed            8/12/2010      Company LLC to Sugar         required for Sugar Camp Energy,         Not Recorded      Owned       Yes
                                        Camp Energy, LLC                   LLC Operations
                                     Williamson Development           Surface at former Akin site
       Deed            8/12/2010      Company LLC to Sugar         required for Sugar Camp Energy,         Not Recorded      Owned       Yes
                                        Camp Energy, LLC                   LLC Operations
                                   Ruger Coal Company LLC to
Coal Mining Lease`     8/12/2010                                             Coal Reserves                 Not Recorded      Leased      Yes
                                    Sugar Camp Energy, LLC
                 Case 20-41308      Doc 228      Filed 04/01/20 Entered 04/01/20 23:45:34     Main Document
                                                          Pg 347 of 1005




                                                                                                          Owned
Description/Title of                                                                         Recording             Subject to
                         Date               Parties             Brief Legal Description                     or
    Document                                                                                Information            Mortgage
                                                                                                          Leased
  Memorandum of                    Ruger Coal Company LLC to
                       8/12/2010                                    Coal Reserves         FC 2010-3825    Leased      Yes
Coal Mining Lease`                  Sugar Camp Energy, LLC
First Amendment to                 Ruger Coal Company LLC to
                       11/4/2011                                    Coal Reserves         Not Recorded    Leased      Yes
Coal Mining Lease`                  Sugar Camp Energy, LLC
Second Amendment
                                   Ruger Coal Company LLC to
   to Coal Mining        2012                                       Coal Reserves         Not Recorded    Leased      Yes
                                    Sugar Camp Energy, LLC
        Lease`
 Memorandum after
  First and Second                 Ruger Coal Company LLC to
                         2012                                       Coal Reserves         Not Recorded    Leased      Yes
Amendments to Coal                  Sugar Camp Energy, LLC
   Mining Lease`
                                    HOD LLC to Sugar Camp
 Lease Agreement       3/6/2012                                Sugar Camp Rail Load Out   Not Recorded    Leased      Yes
                                        Energy, LLC
 Memorandum of                      HOD LLC to Sugar Camp
                       3/6/2012                                Sugar Camp Rail Load Out   FC 2012-6228    Leased      Yes
 Lease Agreement                        Energy, LLC
                  Case 20-41308     Doc 228       Filed 04/01/20 Entered 04/01/20 23:45:34                    Main Document
                                                           Pg 348 of 1005




DEBTOR/GRANTOR:

SITRAN, LLC

Description/Title of                                                                                           Recording    Owned or   Subject to
    Document             Date                   Parties                     Brief Legal Description           Information    Leased    Mortgage
  MOORAGE
OPTIONS/LEASES
  KENTUCKY


 Deed of Correction    10/22/2009   Norberta Belle Williams, Harold    An undivided l/4th: Certain property      Not         Owned        No
                                    Alvin Williams and Sitran LLC        in the Ohio River known as Karr       Recorded
                                                                      Island, which property was granted to
                                                                          Hopson Karr and N.S. Karr by a
                                                                         governor’s patente on 12/21/1960
                                                                       that is recorded in the Henderson Co
                                                                                   Bk 202 Pg 266

 Deed of Correction    10/22/2009   Joyce Mae Hurley and Deon H.      An undivided l/4th: Certain property       Not         Owned        No
                                        Hurley and Sitran LLC            in the Ohio River known as Karr       Recorded
                                                                      Island, which property was granted to
                                                                          Hopson Karr and N.S. Karr by a
                                                                         governor’s patente on 12/21/1960
                                                                       that is recorded in the Henderson Co
                                                                                   Bk 202 Pg 266

Deed of Conveyance     10/22/2009    Lisa Michelle Karr Hughes &          An undivided 2/15th: Certain           Not         Owned        No
                                     Darrell C. Hughes and Sitran     property in the Ohio River known as      Recorded
                                                 LLC                    Karr Island, which property was
                                                                        granted to Hopson Karr and N.S.
                                                                        Karr by a governor’s patente on
                                                                       12/21/1960 that is recorded in the
                                                                         Henderson Co Bk 202 Pg 266
                    Case 20-41308     Doc 228      Filed 04/01/20 Entered 04/01/20 23:45:34                  Main Document
                                                            Pg 349 of 1005




Description/Title of                                                                                          Recording    Owned or   Subject to
    Document               Date                  Parties                     Brief Legal Description         Information    Leased    Mortgage
Deed of Conveyance      10/22/2009      Rise Karr and Sitran LLC           An undivided 2/15th: Certain          Not        Owned        No
                                                                       property in the Ohio River known as    Recorded
                                                                         Karr Island, which property was
                                                                         granted to Hopson Karr and N.S.
                                                                         Karr by a governor’s patente on
                                                                        12/21/1960 that is recorded in the
                                                                          Henderson Co Bk 202 Pg 266

  Option To Lease       4/10/2009    Kay Karr Brooks and Sitran LLC        An undivided 2/15th: Certain         Not         Lease        No
                                                                       property in the Ohio River known as    Recorded
                                                                         Karr Island, which property was
                                                                         granted to Hopson Karr and N.S.
                                                                         Karr by a governor’s patente on
                                                                        12/21/1960 that is recorded in the
                                                                          Henderson Co Bk 202 Pg 266

  Option To Lease       4/10/2009    Robert Karr & Rebecca S. Karr,        An undivided 2/15th: Certain         Not         Lease        No
                                        his wife, and Sitran LLC       property in the Ohio River known as    Recorded
                                                                         Karr Island, which property was
                                                                         granted to Hopson Karr and N.S.
                                                                         Karr by a governor’s patente on
                                                                        12/21/1960 that is recorded in the
                                                                          Henderson Co Bk 202 Pg 266

Deed of Conveyance      11/20/2009    Scott A. Peck & City Peck, his       An undivided 1/20th: Certain        HC-0011      Owned        No
                                           wife and Sitran LLC         property in the Ohio River known as    (Ky) Book
                                                                         Karr Island, which property was     572 Pg 1006
                                                                         granted to Hopson Karr and N.S.
                                                                         Karr by a governor’s patente on
                                                                        12/21/1960 that is recorded in the
                                                                          Henderson Co Bk 202 Pg 266

Deed of Conveyance      11/20/2009   Stephen K. Peck and Sitran LLC       An undivided 1/20th: Certain         HC-0012      Owned        No
                                                                       property in the Ohio River known as    (Ky) Book
                                                                         Karr Island, which property was
                    Case 20-41308     Doc 228       Filed 04/01/20 Entered 04/01/20 23:45:34                     Main Document
                                                             Pg 350 of 1005




 Description/Title of                                                                                             Recording     Owned or   Subject to
     Document             Date                    Parties                     Brief Legal Description            Information     Leased    Mortgage
                                                                          granted to Hopson Karr and N.S.        572 Pg 1010
                                                                           Karr by a governor’s patente on
                                                                          12/21/1960 that is recorded in the
                                                                            Henderson Co Bk 202 Pg 266


   EASEMENTS
    INDIANA


      Easement           3/4/2009    Kenneth W. Burgdorf, as Trustee        4.99 acres located in part of        PC-0005 (IN)    Owned        No
                                        of the Kenneth W. Burgdorf         Northeast Quarter of Section 11,
                                     Revocable Trust and Marilyn T.      Township 7 South, Range 12 West in
                                     Burgdorf, Trustee of the Marilyn          Posey County Indiana.
                                     T. Burgdorf Revocable Trust and
                                                Sitran LLC

Temporary Easement      11/20/2008   Pauline Burgdorf and Sitran LLC       4.99 acres located in part of the     PC-0011 (IN)    Owned        No
                                                                           Northeast Quarter of Section 11,       200804978
                                                                         Township 7 South, Range 12 West in
                                                                               Posey County Indiana.

 Contract To Acquire    11/20/2008   Pauline Burgdorf and Sitran LLC       4.99 acres located in part of the     PC-0011 (IN)    Owned        No
      Easement                                                             Northeast Quarter of Section 11,       200804978
                                                                         Township 7 South, Range 12 West in      Closing date
                                                                               Posey County Indiana.              01/15/2012

   Non-Exclusive        10/20/2009   Southern Indiana Gas and Electric     Part of Southeast Quarter of the      PC-0018 (IN)    Owned        No
    Easement and                     Company an Indiana public utility   Southwest Quarter of Section 22 and      200904540
     Temporary                           company doing business as        part of the Northeast Quarter of the
Construction Easement                   Vectren Energy Delivery of       Northwest Quarter of Section 27 all
                                       Indiana, Inc. and Oeneus LLC       being in Township 6 South, Range
                                        d/b/a SAVATRAN LLC and            12 West in Posey County, Indiana
                   Case 20-41308    Doc 228       Filed 04/01/20 Entered 04/01/20 23:45:34                     Main Document
                                                           Pg 351 of 1005




Description/Title of                                                                                            Recording    Owned or   Subject to
    Document             Date                   Parties                      Brief Legal Description           Information    Leased    Mortgage
                                              Sitran LLC

 Quit Claim Deed                   Southern Indiana Gas and Electric    Part of the West Half of Section 23,     PC-00        Owned        No
                                   Company an Indiana public utility   Township 7 South, Range 12 West in
                                       company doing business as               Posey County Indiana
                                      Vectren Energy Delivery of
                                     Indiana, Inc. and Oeneus LLC
                                      d/b/a SAVATRAN LLC and
                                               Sitran LLC
                  Case 20-41308      Doc 228       Filed 04/01/20 Entered 04/01/20 23:45:34                  Main Document
                                                            Pg 352 of 1005




DEBTOR/GRANTOR:

OENEUS LLC D/B/A SAVATRAN LLC


 Description/Title of                                                                                     Recording          Owned or   Subject to
                         Date                 Parties                     Legal Description
     Document                                                                                            Information          Leased    Mortgage
  INDIANA RAIL
 LOOP AND DOCK


                                   Alfred A. Mohr, as Personal     Undivided 1/2 interest in: SE NW
       Personal                     Representative of the Estate     14-7-12 except 5 feet on north     PC-0001 (IN)
                        1/9/2009                                                                                              Owned        Yes
 Representatives Deed              of Aurelia F. Mohr, deceased    side; NESW 14-7-12 81.742 acres       200900228
                                      and SAVATRAN LLC                       Posey Co. IN

                                                                   Undivided 1/2 interest in: SE NW
                                       Alfred A. Mohr and            14-7-12 except 5 feet on north     PC-0001 (IN)
    Warranty Deed       1/9/2009                                                                                              Owned        Yes
                                       SAVATRAN LLC                side; NESW 14-7-12 81.742 acres       200900227
                                                                             Posey Co. IN

                                    Catherine B. Elbert, Linda
                                     Kay Elbert and Catherine
                                    Charlene Elbert as General
                                                                    45.949 acres As part of the W/2      PC-0002 (IN)
    Warranty Deed       1/8/2010     Partners of the Charles R.                                                               Owned        Yes
                                                                        23-7-12 Posey Co. IN              201000225
                                       Elbert Family Limited
                                   Partnership and SAVATRAN
                                                LLC
                                    Catherine B. Elbert, Linda
                                                                                                         PC-0002 (IN)
                                     Kay Elbert and Catherine
                                                                                                        201000226. This
                                    Charlene Elbert as General     Pt. SE SW 14-7-12 23 acres & Pt.
  Corrective Warranty                                                                                  deed replaces WD
                        1/8/2010     Partners of the Charles R.    NW/4 23-7-12 16.30 acres Posey                             Owned        Yes
         Deed                                                                                         200900675 because
                                       Elbert Family Limited                   Co. IN
                                                                                                       of surveyor's error
                                   Partnership and SAVATRAN
                                                                                                         in description.
                                                LLC
                 Case 20-41308        Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34               Main Document
                                                              Pg 353 of 1005




Description/Title of                                                                                      Recording     Owned or   Subject to
                         Date                  Parties                      Legal Description
    Document                                                                                             Information     Leased    Mortgage
                                    Old National Trust Company
                                     as Successor Trustee under
                                                                     Pt. W/2 Section 23-7-12 70 acres    PC-0003 (IN)
  Trustee's Deed       12/17/2008       the James L. Boerner                                                             Owned        Yes
                                                                              Posey Co. IN                200805149
                                     Revocable Trust Agreement
                                       and SAVATRAN LLC
                                     Kenneth J. Juncker Mary L.
                                      Juncker Emily A Moore
                                    Robert E Moore Jr. Joseph T.
                                      Yount, Beth Ann Folz, as
                                       Guardian ad Litem for
                                     Alexander A. Moore, Dana
                                        M Junker, Rebecca A.
                                         Wildeman, Anna L
                                      Blankenbaker (each afore
                                      mentioned signing as an
                                                                       Pt. NWNW & NENW 14-7-12
                                    individual and as a partner in
                                                                     72.741 acres & 27.986 acres off N     PC-0007
  Warranty Deed        12/15/2008        JARD Group, Allyn                                                               Owned        Yes
                                                                      side NWNW & Pt. N/2 14-7-12         200804974
                                     Simpson, Ronald Simpson,
                                                                             Posey Co. Indiana
                                      Edward L. Thompson, as
                                     personal Representative of
                                        the Estate of Marilyn
                                       Thompson, Nathalie A.
                                         Elderkin, Charles A.
                                     Thompson, L. David Allyn,
                                       Jennifer L. Velasquez,
                                       Matthew D. Allyn and
                                        Michael L. Allyn and
                                          SAVATRAN LLC
                 Case 20-41308        Doc 228      Filed 04/01/20 Entered 04/01/20 23:45:34                   Main Document
                                                            Pg 354 of 1005




Description/Title of                                                                                        Recording        Owned or   Subject to
                         Date                 Parties                      Legal Description
    Document                                                                                               Information        Leased    Mortgage
                                    Kenneth J. Juncker Mary L.
                                      Juncker Emily A Moore
                                    Robert E Moore Jr. Joseph T.
                                     Yount, Beth Ann Folz, as                                             PC-0007 (IN)
                                       Guardian ad Litem for       5 feet on S Line of N/2 NW/4 14-      200804975 This
  Quitclaim Deed       12/15/2008    Alexander A. Moore, Dana      7-12 a distance of 68 1/2 rods and   was an access road    Owned        Yes
                                       M Junker, Rebecca A.                  5 feet in width.            at the top of the
                                        Wildeman, Anna L                                                 Allyn Property.
                                     Blankenbaker (each afore
                                      mentioned signing as an
                                         individual and as a
                                                                                                           PC-0007 (IN)
                                                                                                        200805013 Edward
                                                                                                             Thompson
                                                                                                           inadvertently
                                       Edward l. Thompson,         5 feet on S Line of N/2 NW/4 14-
Correction Quitclaim                                                                                    signed as Personal
                       12/17/2009        Individually and          7-12 a distance of 68 1/2 rods and                         Owned        Yes
        Deed                                                                                             Representative of
                                        SAVATRAN LLC                         5 feet in width.
                                                                                                            the Estate of
                                                                                                             Marilyn K.
                                                                                                        Thompson by PRD
                                                                                                         dated 10/31/2008
                                                                                                           PC-0007 (IN)
                                                                                                        200805012 Edward
                                                                                                             Thompson
                                                                     Pt. NWNW & NENW 14-7-12               inadvertently
                                       Edward l. Thompson,
Correction Warranty                                                72.741 acres & 27.986 acres off N    signed as Personal
                       12/17/2009        Individually and                                                                     Owned        Yes
       Deed                                                         side NWNW & Pt. N/2 14-7-12          Representative of
                                        SAVATRAN LLC
                                                                           Posey Co. Indiana                the Estate of
                                                                                                             Marilyn K.
                                                                                                        Thompson by PRD
                                                                                                         dated 10/31/2008
                 Case 20-41308        Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                      Main Document
                                                              Pg 355 of 1005




Description/Title of                                                                                             Recording         Owned or   Subject to
                         Date                  Parties                       Legal Description
    Document                                                                                                    Information         Leased    Mortgage
                                                                                                                  PC-0008
                                                                                                             (IN)200803305
                                     Gerald G. Mohr and Esther        6.89 acres within SW/4 south of
Rec Memo & Option                                                                                             Option Expires
                       7/16/2008     R. Mohr and Oeneus LLC            Old State Rd. Section 11-7-12                                Owned        Yes
    to Purchase                                                                                             07/16/2010. We do
                                      d/b/a SAVATAN LLC                        Posey Co. IN
                                                                                                            not believe we will
                                                                                                               close on this.
                                    Orval Ungethum and Oeneus
                                                                       Pt. W/2 SW/4 Section 14-7-12           PC-0009 (IN)
  Warranty Deed        3/26/2009      LLC d/b/a SAVATRAN                                                                            Owned        Yes
                                                                         29.302 acres Posey Co. IN             200901384
                                               LLC

                                       Raymond W. Boerner,
                                                                     E/2 SWNW & NENWSW Section
                                     Evelyn Staples, Ronald Lee
                                                                     14-7-12 & 1/2 interest to 5 feet on
                                    Boerner & Ruben F. Roehr as                                               PC-0010 (IN)
  Warranty Deed        12/18/2008                                    S Line N/2 NW/4 14-7-2 a distance                              Owned        Yes
                                    Personal Rep. of the Estate of                                             200805150
                                                                      of 68 1/2 rods and 5 feet in width.
                                      Dorothy Mae Roehr and
                                                                          Posey Co. IN.30.675 acres
                                         SAVATRAN LLC

                                     Margie J. Angermeier (Life
                                    Estate), Glenda S. Elpers(1/3                                             PC-0012 (IN)
                                         remainder); Paul L.                                                200804520 Expires
Rec Memo & Option                                                     8 acres as pt of S/2 SW/4 Section
                       10/14/2008   Angermeier (1/3 remainder);                                             10/14/2010 We do        Owned        Yes
    to Purchase                                                             10-7-12 Posey Co IN
                                     Glenn V. Angermeier (1/3                                               not believe we will
                                    remainder) and Oeneus LLC                                                  close on this.
                                      d/b/a SAVATRAN LLC
                                                                                                               PC-00014 (IN)
                                                                                                            200901505 Arthur
                                     Arthur W. Boerner, as life                                             reserves life estate
                                                                        S/2 NWNE 14-7-12 & all of
                                    tenant, Elizabeth A. Howery                                              in house and 1 ac
                                                                     SWNE east of Public Road 40.843
  Warranty Deed        3/31/2009     and Sharon L. Bauman and                                                tract B. Reserves      Owned        Yes
                                                                      and 1acre part of SWNE 14-7-12
                                         Oenues LLC d/b/a                                                   road easement for
                                                                             Posey Co Indiana
                                         SAVATRAN LLC                                                         access to house;
                                                                                                              right to farm for
                                                                                                            $1.00 any portion
                 Case 20-41308      Doc 228       Filed 04/01/20 Entered 04/01/20 23:45:34                   Main Document
                                                           Pg 356 of 1005




Description/Title of                                                                                      Recording          Owned or   Subject to
                         Date                Parties                    Legal Description
    Document                                                                                             Information          Leased    Mortgage
                                                                                                           left after
                                                                                                         construction.




                                                                                                          PC-0014 (IN)
                                    Arthur W. Boerner, as life
                                                                                                       2009-01504 this is
                                   tenant, Elizabeth A. Howery   5 feet on S Line of N/2 NW/4 14-
                                                                                                         an access road
 Quitclaim Deed        3/31/2009    and Sharon L. Bauman and     7-12 a distance of 68 1/2 rods and                           Owned        Yes
                                                                                                        across the top of
                                        Oenues LLC d/b/a                   5 feet in width.
                                                                                                          the Alyn heirs
                                        SAVATRAN LLC
                                                                                                             property.
                                                                                                          PC-0014 (IN)
                                    Arthur W. Boerner, as life                                        Boerner Heirs own
                                                                    S/2 NWNE 14-7-12 & all of
                                   tenant, Elizabeth A. Howery                                        minerals would not
 Non-Penetration                                                 SWNE east of Public Road 40.843
                       3/31/2009    and Sharon L. Bauman and                                          sell this keeps them    Owned        Yes
   Agreement                                                      and 1acre part of SWNE 14-7-12
                                        Oenues LLC d/b/a                                                from having any
                                                                         Posey Co Indiana
                                        SAVATRAN LLC                                                  development of the
                                                                                                             minerals.
                                                                                                          PC-0014 (IN)
                                    Arthur W. Boerner, as life                                        200901506 Access
                                                                    S/2 NWNE 14-7-12 & all of
                                   tenant, Elizabeth A. Howery                                         easement to house
                                                                 SWNE east of Public Road 40.843
     Easement          3/31/2009    and Sharon L. Bauman and                                          and 1 ac and access     Owned        Yes
                                                                  and 1acre part of SWNE 14-7-12
                                        Oenues LLC d/b/a                                               to 30 acres that is
                                                                         Posey Co Indiana
                                        SAVATRAN LLC                                                    land locked after
                                                                                                           construction.
                  Case 20-41308       Doc 228       Filed 04/01/20 Entered 04/01/20 23:45:34                    Main Document
                                                             Pg 357 of 1005




 Description/Title of                                                                                          Recording        Owned or   Subject to
                          Date                 Parties                      Legal Description
     Document                                                                                                 Information        Leased    Mortgage
                                                                                                            PC-0014 (IN)
                                                                                                              200901507
                                                                                                          Promissory note to
    Real Estate
                                     Arthur W. Boerner, as life                                           Elizabeth Howery
 Mortgage, Security                                                    S/2 NWNE 14-7-12 & all of
                                    tenant, Elizabeth A. Howery                                              and Sharon L
Agreement, Collateral                                               SWNE east of Public Road 40.843
                        3/31/2009    and Sharon L. Bauman and                                             Bauman 1,075,000.      Owned        Yes
Assignment of Rents                                                  and 1acre part of SWNE 14-7-12
                                         Oenues LLC d/b/a                                                   paid as follows
  and Leases, and                                                           Posey Co Indiana
                                         SAVATRAN LLC                                                        287,500 yr1,
   Fixture Filing
                                                                                                             275,000 yr 2
                                                                                                              262500 yr 3
                                                                                                                1075000
                                    Larry E. Orth 5/12 int. Agnes
                                      L. York as Trustee of the
                                     Agnes L. York Revocable
Rec Memo & Option                                                   Pt. SWSE 11-7-12 containing 0.90           PC-0015
                        2/27/2009       Trust Agreement 5/12                                                                     Owned        Yes
    to Purchase                                                                  acres                        200900926
                                    interest; Vickie L. Orth 2/12
                                      interest and Oeneus LLC
                                      d/b/a SAVATRAN LLC

   EASEMENTS
    INDIANA

                                      Oeneus LLC to Southern
                                                                                                             PC-0017 (IN)
                                      Indiana Gas and Electric
                                                                      Pt. NE/4 14-7-12 Posey Co IN        Electric power line
      Easement          9/16/2009    Company and Indiana corp                                                                    Owned        No
                                                                    containing 0.28 acres more or less.   easement Gibson to
                                        d/b/a Vectren Energy
                                                                                                            Brown 345 line.
                                      Delivery of Indiana, Inc.
                 Case 20-41308         Doc 228       Filed 04/01/20 Entered 04/01/20 23:45:34                   Main Document
                                                              Pg 358 of 1005




Description/Title of                                                                                          Recording       Owned or   Subject to
                          Date                  Parties                      Legal Description
    Document                                                                                                 Information       Leased    Mortgage

                                       Southern Indiana Gas and
                                                                       Part of Southeast Quarter of the
                                     Electric Company an Indiana
  Non-Exclusive                                                       Southwest Quarter of Section 22
                                     public utility company doing
  Easement and                                                        and part of the Northeast Quarter
                                      business as Vectren Energy                                            PC-0018 (IN)
    Temporary           10/20/2009                                       of the Northwest Quarter of                           Owned        No
                                     Delivery of Indiana, Inc. and                                           200904540
   Construction                                                      Section 27 all being in Township 6
                                          Oeneus LLC d/b/a
    Easement                                                           South, Range 12 West in Posey
                                     SAVATRAN LLC and Sitran
                                                                               County, Indiana
                                                  LLC

                                      Savatran LLC, to Southern
                                       Indiana Gas and Electric
                                                                        Pt N2 of NW Section 14,
Electric Distribution                 Company an Indiana public                                           PC-0021 (IN) Need
                        7/13/2010                                    Township 7 South, Range 12 West                           Owned        No
  Line Easement                         utility company doing                                              Recorded Copy
                                                                         Posey County, Indiana
                                      business as Vectren Energy
                                       Delivery of Indiana, Inc.
                                       Southern Indiana Gas and
                                     Electric Company an Indiana
                                     public utility company doing    Pt. W2 NE Section 14, Township 7
Electric Distribution                                                                                     PC-0022 (IN) Need
                        7/13/2010     business as Vectren Energy        South, Range 12 West. Posey                            Owned        No
  Line Easement                                                                                            Recorded Copy
                                     Delivery of Indiana, Inc. and            County, Indiana
                                          Oeneus LLC d/b/a
                                          SAVATRAN LLC

SUGAR CAMP TO
 McLEANSBORO
   RAIL LINE
   ILLINOIS

                                       Kelly Markus & Gina                                                HC-0001 BK 216
                                                                     Pt. NESE 3-5-5 Hamilton County
     Easement           10/17/2008   Markus to Oeneus LLC d/b/a                                           Pg 156 Rail Road     Owned        Yes
                                                                              IL 4.87 acres
                                         SAVATRAN LLC                                                        Easement.
                 Case 20-41308       Doc 228       Filed 04/01/20 Entered 04/01/20 23:45:34                Main Document
                                                            Pg 359 of 1005




Description/Title of                                                                                    Recording          Owned or   Subject to
                         Date                 Parties                    Legal Description
    Document                                                                                           Information          Leased    Mortgage
                                     Gerald Spihlman & Judith                                        HC-0001 BK 216
                                                                  Pt. NESE 3-5-5 Hamilton County
     Easement          10/17/2008    Spihlman to Oeneus LLC                                          Pg 147 Rail Road       Owned        Yes
                                                                           IL 4.87 acres
                                     d/b/a SAVATRAN LLC                                                 Easement.
                                     Thomas Markus & Jeanete                                          HC-0001 Bk 216
                                                                  Pt. NESE 3-5-5 Hamilton County
     Easement          10/24/2008   Markus to Oeneus LLC d/b/a                                        Pg 163 Rail Road      Owned        Yes
                                                                           IL 4.87 acres
                                        SAVATRAN LLC                                                      Easement
                                                                                                      HC-0002 Bk 217
                                    White Oak Resources Land,                                            Pg 732 Initial
                                                                  Pt. SW/4 & SE/4 6-5-5 Hamilton
     Easement          7/24/2008    LLC to Oeneus LLC d/b/a                                           Option was with       Owned        Yes
                                                                  County IL containing 11.45 acres
                                          SAVATRAN                                                    Larry Myers who
                                                                                                     sold to White Oak.
                                                                                                      HC-0004 Traded
                                                                                                       65.63 acres and
                                                                                                      8.73 acres of the
                                                                                                     W/2 NW/4 28-5-5
                                                                  Pt. W/2 NW/4 28-5-5 containing 3    to Clark. Traded
                                    Charles R. Moore & Nani
                                                                  acres more or Less Pt. SWNE 29-    137 acres in NE/4
  Warranty Deed         2/4/2008    Sue Moore to Oeneus LLC                                                                 Owned        Yes
                                                                   5-5 containing 13 acres more or    29-5-5 Hamilton
                                     d/b/a SAVATRAN LLC
                                                                                less.                 Co. IL to Burris.
                                                                                                          Remaining
                                                                                                       property for wet
                                                                                                       lands mitigation
                                                                                                           273-252
                                    David Bert Lemke & Shirley
                                                                  Pt. N/2 SE/4 1-T5S-R5E Hamilton    HC-0005 Bk 215
     Easement          9/24/2009     K. Lemke to Oeneus LLC                                                                 Owned        Yes
                                                                       Co. IL containing 10.16 ac        Pg 801
                                      d/b/a SAVATRAN LLC
                                      Terri S. Irvin, Successor
                                     Trustee to the Kenneth C.                                       HC-0006 Bk 273
                                                                  SW NW; NW SW 1-T5S-R5E; 40
                                      Myers and Eula P. Myers                                        Pg 22 Traded part
  Warranty Deed        12/19/2007                                  acres within E/2 NE/4 and E/2                            Owned        Yes
                                     Revocable Trust to Oeneus                                       of this property to
                                                                  NE/4 11-T5S-R5E Hamilton Co IL
                                      LLC d/b/a SAVATRAN                                              Kenneth Willis.
                                                 LLC
                 Case 20-41308       Doc 228       Filed 04/01/20 Entered 04/01/20 23:45:34                    Main Document
                                                            Pg 360 of 1005




Description/Title of                                                                                        Recording           Owned or   Subject to
                         Date                 Parties                      Legal Description
    Document                                                                                               Information           Leased    Mortgage
                                                                                                         HC-0008 Bk 273
                                     Grover C. Galloway and
                                                                   W/2 SWSE; and E/2 SW/4 3-T5S-         Pg 812 6.10 acres
                                     Mildred F. Galloway to
  Warranty Deed        5/28/2008                                    R5E Hamilton Co IL containing          used for rail.        Owned        Yes
                                       Oeneus LLC d/b/a
                                                                             100 acres                  Farming agreement
                                       SAVATRAN LLC
                                                                                                          Kenny Waier.
                                    Kenneth P. Willis & Wilma
 Special Warranty                                                  South 5 acres of NESE 2-T5S-R5E       HC-0011 Bk 273
                       4/21/2008    June Willis to Oeneus LLC                                                                    Owned        Yes
      Deed                                                                  Hamilton Co. IL                  Pg614
                                        d/b/a SAVATRAN
                                   Wilma June Willis to Oeneus
                                                                    Pt. NW SE 3-T5S-R5E Hamilton         HC-0012 Bk 273
  Warranty Deed        2/28/2008    LLC d/b/a SAVATRAN                                                                           Owned        Yes
                                                                    County IL containing 7.02 acres          Pg 321
                                              LLC
                                   Garry R. Heil & Karla Heil to
                                                                   Pt. W/2 SW 16-T5S-R5E Hamilton        HC-0014 Bk216
     Easement          11/3/2008        Oeneus LLC d/b/a                                                                         Owned        Yes
                                                                      Co. IL containing 10.08 acres         Pg 221
                                          SAVATRAN
                                                                                                         HC-0015 Bk 274
                                     David Willett & Robin          Undivided 1/2 interest pt SE/4 9-
                                                                                                           Pg 445 Willett
  Warranty Deed        9/15/2009   Willett to Oeneus LLC d/b/a        T5S-R5E Hamilton Co. IL                                    Owned        Yes
                                                                                                         retained first right
                                           SAVATRAN                       containing 40 acres
                                                                                                             of refusal.
                                                                                                         HC-0016 Bk 274
                                                                                                          Pg 535 The rail
                                   Rickey L. Denham to Oeneus                                            line goes through
                                                                   Pt. SE/4 9-T5S-R5E Hamilton Co.
  Warranty Deed        9/30/2008     LLC d/b/a SAVATRAN                                                    Mr. Denham's          Owned        Yes
                                                                        IL containing 3.36 acres
                                              LLC                                                       residence we had to
                                                                                                             replace the
                                                                                                        residence and barn.

                                    Melinda Hunter to Oeneus        Undivided 1/5 interest to pt NW      HC-0017 Bk 273
  Warranty Deed        2/5/2008     LLC d/b/a SAVATRAN              SE 3-T5S-R5E Hamilton Co. IL          Pg 290 Bennett         Owned        Yes
                                             LLC                          containing 7 acres.                 Heirs.
                 Case 20-41308       Doc 228       Filed 04/01/20 Entered 04/01/20 23:45:34                 Main Document
                                                            Pg 361 of 1005




Description/Title of                                                                                      Recording         Owned or   Subject to
                         Date                 Parties                    Legal Description
    Document                                                                                             Information         Leased    Mortgage
                                                                                                       HC-0018 Bk 273
                                                                                                        Pg 293 Bennett
                                                                                                      Heirs. We deed her
                                     Joyce Annette Medley to     Undivided 1/20 interest to pt NW
                                                                                                       oil and gas back
  Warranty Deed         2/4/2008        Oeneus LLC d/b/a         SE 3-T5S-R5E Hamilton Co. IL                                Owned        Yes
                                                                                                        Quitclaim Deed
                                        SAVATRAN LLC                  containing 7.02 acres
                                                                                                       273/478 We did
                                                                                                       not option the oil
                                                                                                            and gas.

                                                                   Pt. SW/4 31-5-5 & pt NW/4 6-        HC-0019 Bk 275
                                                                 T5S-R5E containing 9.27 acres; Pt.    Pg 506 Both rail
                                    Hobart J. Campbell & Helen
                                                                 SW/4 31-T5S-R5E containing 1.84       right of way and
  Warranty Deed         5/7/2009    B. Campbell to Oeneus LLC                                                                Owned        Yes
                                                                     acres; Pt NW/4 6-T5S-R5E           extra footage at
                                      d/b/a SAVATRAN LLC
                                                                 containing 1.28 acres Hamilton Co.    Macedonia road
                                                                                 IL                        crossing.

                                                                                                      HC-0020 Retained
                                       Daniel R. Tennyson to     Pt. NW SE 6-T5S-R6E 3.21 acres        only rail right of
  Warranty Deed        10/10/2006       Oeneus LLC d/b/a                Hamilton Co. IL                   way traded         Owned        Yes
                                        SAVATRAN LLC                        270-595                      remainder to
                                                                                                            Kirsch.
                                        Oeneus LLC d/b/a                                              HC-0020 Bk 270
 Special Warranty                                                  Pt. NEWS 6-T5S-R6E 13.003
                       05/052009     SAVATRAN LLC to Alan                                               Pg 595 Portion       Owned        Yes
      Deed                                                             acres Hamilton Co. IL
                                     Kirsch and Denise Kirsch                                          traded to Kirsch.
                                     Wendell Myers & Judith                                           HC-0021 Bk 216
                                                                  Pt. NESW 1-T5S-R5E Hamilton
     Easement          2/17/2009    Myers to Oeneus LLC d/b/a                                         Pg 654 Rail right      Owned        Yes
                                                                       Co. IL containing 5.37
                                       SAVATRAN LLC                                                   of way easement

                                    Marilyn Ann Lynn to Oeneus   Undivided 1/20 interest to pt NW      HC-0022 Bk 273
  Warranty Deed         2/5/2008     LLC d/b/a SAVATRAN          SE 3-T5S-R5E Hamilton Co. IL           Pg 287 Bennett       Owned        Yes
                                               LLC                    containing 7.02 acres                 Heirs
                 Case 20-41308       Doc 228      Filed 04/01/20 Entered 04/01/20 23:45:34                  Main Document
                                                           Pg 362 of 1005




Description/Title of                                                                                        Recording        Owned or   Subject to
                         Date                Parties                     Legal Description
    Document                                                                                               Information        Leased    Mortgage
                                                                                                       HC-0023 Bk 274
                                                                                                        Pg 667 Bennett
                                                                                                     Heirs; Mr. Bennett
                                    Roy Dean Bennett to Oeneus    Undivided 1/5 interest to pt NW    refused to close we
  Warranty Deed        10/25/2008    LLC d/b/a SAVATRAN           SE 3-T5S-R5E Hamilton Co. IL            filed Specific      Owned        Yes
                                              LLC                       containing 7 acres.               Performance
                                                                                                         Complaint Mr.
                                                                                                          Bennett then
                                                                                                       decided to close.
                                                                                                       HC-0024 Bk 273
                                      Mary Ellen Tennyson to      Undivided 1/5 interest to pt NW       Pg. 342 Bennett
  Warranty Deed        2/20/2008        Oeneus LLC d/b/a          SE 3-T5S-R5E Hamilton Co. IL       Heirs/ Mrs. Bennett      Owned        Yes
                                       SAVATRAN LLC                     containing 7 acres.            has the option to
                                                                                                           repurchase.
                                                                                                       HC-0025 Bk 273
                                    Robert L Bennett to Oeneus    Undivided 1/5 interest to pt NW       Pg. 318 Bennett
  Warranty Deed        2/20/2008     LLC d/b/a SAVATRAN           SE 3-T5S-R5E Hamilton Co. IL       Heirs/ Mr. Bennett       Owned        Yes
                                              LLC                       containing 7 acres.            has the option to
                                                                                                           repurchase.
                                                                                                       HC-0027 Bk 276
                                    Joseph Rexing & Liudmyla                                         Pg 628 Mr. Rexing
                                                                  22.68 acres all in Township 5 S.
  Warranty Deed        12/11/2009   Rexing to Oeneus LLC d/b/a                                          Refused to close      Owned        Yes
                                                                    Range 5 E Hamilton Co IL
                                        SAVATRAN LLC                                                 filed suit forced to
                                                                                                             close etc.
                                                                                                      HC-0027 Bk Pg
                                       Oeneus LLC d/b/a           Pt. E/2 SW & pt. SENW of 20-
 Special Warranty                                                                                         Remainder of
                       12/11/2009   SAVATRAN LLC to Joseph          T5S-R5E Hamilton Co. IL                                   Owned        Yes
      Deed                                                                                               Judith Gregory
                                           Rexing                     containing 112.13 acres
                                                                                                       traded to Rexing.
                                                                                                       HC-0028 Bk 271
                                                                                                        Pg 93 Retained
                                                                 Surface only pt W/2 NW and N 10
                                    Betty Gibbs to Oeneus LLC                                           only rail right of
  Warranty Deed        2/14/2007                                 Ac NWSW 10-T5S-R5E Hamilton                                  Owned        Yes
                                     d/b/a SAVATRAN LLC                                                     way traded
                                                                   Co. IL containing 11.83 acres
                                                                                                      remaining to Alan
                                                                                                         Kirsch Special
                 Case 20-41308        Doc 228       Filed 04/01/20 Entered 04/01/20 23:45:34                    Main Document
                                                             Pg 363 of 1005




Description/Title of                                                                                        Recording           Owned or   Subject to
                         Date                  Parties                      Legal Description
    Document                                                                                               Information           Leased    Mortgage
                                                                                                         Warranty Deed Bk.
                                                                                                            275 Pg 503




                                                                                                          HC-0029 Bk 212
                                                                                                         Pg 209 Mr. Holms
                                    Jim Holms & Ruth Holms to        Pt. SW/4 & pt. W/2 SE/ 2-T5S-       has the right to put
     Easement          11/28/2006        Oeneus LLC d/b/a            R5E Hamilton Co. IL containing        a portion of his      Owned        Yes
                                        SAVATRAN LLC                          13.17 acres                property to us upon
                                                                                                          completion of the
                                                                                                                 rail.
                                                                                                          HC-0030 Bk 274
                                                                                                           Pg 401 Kenny
                                    Judith A. Peters and Charles      Undivided 1/2 interest in South
                                                                                                          Waier has 10 year
  Warranty Deed         9/5/2009     W. Peters to Oeneus LLC        28.25 acres of W/2 SW 3-T5S-R5E                              Owned        Yes
                                                                                                           farming lease.
                                      d/b/a SAVATRAN LLC                     Hamilton Co. IL
                                                                                                         Must relocate RLC
                                                                                                             water main.
                                     Jerry L. Stiverson; Paula J.                                         HC-0032 Bk 274
                                    Stiverson as individuals and                                           Pg 463 Kenny
                                                                      Undivided 1/2 interest in South
                                    as co-trustees of the Paula J                                          Waier has 10 yr
  Warranty Deed         9/3/2009                                    28.25 acres of W/2 SW 3-T5S-R5E                              Owned        Yes
                                     Stiverson Trust to Oeneus                                             farming lease.
                                                                             Hamilton Co. IL
                                      LLC d/b/a SAVATRAN                                                 Must relocate RLC
                                                 LLC                                                         water main.
                                       Michael Hutchcraft and                                             HC-0033 Bk 274
                                                                     Undivided 1/2 interest in pt SE/4
Corrected Warranty                  Melissa Hutchcraft to Oeneus                                            Pg 412 Deed
                        9/5/2008                                    of 9-T5S-R5E containing 40 acres                             Owned        Yes
       Deed                           LLC d/b/a SAVATRAN                                                 Corrected to waive
                                                                            Hamilton Co IL
                                                 LLC                                                      homestead rights.
                 Case 20-41308      Doc 228       Filed 04/01/20 Entered 04/01/20 23:45:34               Main Document
                                                           Pg 364 of 1005




Description/Title of                                                                                  Recording           Owned or   Subject to
                         Date                Parties                   Legal Description
    Document                                                                                         Information           Leased    Mortgage
                                                                                                   HC-0034 Bk 271
                                                                                                  Pg 494 Rail design
                                                                                                  went through Ms.
                                                                                                    Dennis house;
                                                                                                   house purchased
                                    Laura Dennis f/k/a Laura                                        and moved by
                                                                 Pt NW NW 21-T5s-R5E being
  Warranty Deed        5/17/2007    Lane to Oeneus LLC d/b/a                                       Garry Heil. 0.17        Owned        Yes
                                                                 300ft x 160ft. Hamilton Co. IL
                                          SAVATRAN                                                   acres of this
                                                                                                     property was
                                                                                                     conveyed to
                                                                                                   Dennis Smith by
                                                                                                   Special Warranty
                                                                                                    Deed 275/537
                                     Katherine McRoy f/k/a
                                    Katherine Smith; Donald
                                   McRoy; Dennis L. Smith and   Pt. NW NW & Pt. NENW 21-T5S-       HC-0035 Bk275
  Warranty Deed        5/8/2009                                                                                            Owned        Yes
                                    Judy A. Smith to Oeneus      R5E 3.37 acres Hamilton Co. IL       Pg 541
                                    LLC d/b/a SAVATRAN
                                              LLC

                                    Michael D. Burris & Tina     Pt. SW/4 21 & Pt. SW NW 21-
                                                                                                   HC-0039 Bk 274
  Warranty Deed        7/30/2008   Burris to Oeneus LLC d/b/a    T5S-R5E Hamilton County IL                                Owned        Yes
                                                                                                       Pg237
                                       SAVATRAN LLC                   containing 15.72 acres

                                       Oeneus LLC d/b/a                                            HC-0039 Bk 274
 Special Warranty                    SAVATRAN LLC to             Pt. NE/4 29-T5S-R5E Hamilton       Pg234 Traded pt
                       7/30/2008                                                                                           Owned        Yes
      Deed                          Michael D. Burris & Tina     Co. IL containing 136.17 acres      Charlie Moore
                                             Burris                                                property HC-0004
                                                                                                    HC-0040 274 Pg
                                                                                                        715 Deed
                                     Robert J. Gray & Denise
                                                                Pt. SE/4 9-T5S-R5E Hamilton Co.   restriction of single
  Warranty Deed        11/6/2008    Gray to Oeneus LLC d/b/a                                                               Owned        Yes
                                                                       IL containing 51.93          family residence
                                       SAVATRAN LLC
                                                                                                   and grain farming
                                                                                                    only Mr. Gray's
                 Case 20-41308       Doc 228      Filed 04/01/20 Entered 04/01/20 23:45:34                  Main Document
                                                           Pg 365 of 1005




Description/Title of                                                                                     Recording           Owned or   Subject to
                         Date                Parties                     Legal Description
    Document                                                                                            Information           Leased    Mortgage
                                                                                                     son has a first right
                                                                                                         of refusal.




                                      Charles M. Bowers &
                                                                  NE SE; W/2 SE NE 30-T5S-R5E
                                    Tammy Bowers to Oeneus                                            HC-0041 Bk 272
  Warranty Deed        7/26/2007                                   Hamilton Co. IL containing 60                              Owned        Yes
                                     LLC d/b/a SAVATRAN                                                    Pg 1
                                                                              acres.
                                              LLC

                                   Jeffrey A. Lueke and Michele   Pt. NW/4 16-T5S-R5E 2.65 acres;
                                                                                                      HC-0042 Bk 274
  Warranty Deed        10/2/2008     L. Lueke to Oeneus LLC        PT SWSE 9-T5S-R5E 0.02 acre                                Owned        Yes
                                                                                                          Pg 587
                                      d/b/a SAVATRAN LLC                  Hamilton Co. IL

                                   Jeffrey A. Lueke and Michele
                                                                  Pt. NW/4 16-T5S-R5E 8.64 acres        HC-0042 Bk
  Warranty Deed        11/6/2007     L. Lueke to Oeneus LLC                                                                   Owned        Yes
                                                                         Hamilton Co. IL                 272/710
                                      d/b/a SAVATRAN LLC
                                   Alan Kirsch & Denise Kirsch    Pt. NE/4 6-T5S-R6E & PT SESE
                                                                                                          HC-0043
  Warranty Deed        5/5/2009        to Oeneus LLC d/b/a        31-T4S-R6E 2.61 acres Hamilton                              Owned        Yes
                                                                                                         Bk275/534
                                        SAVATRAN LLC                          Co. IL

                                                                  8.33 acres pt SESE and E/2 SWSE
                                   Alan Kirsch & Denise Kirsch    9-T5S-R5E; 7.36 acres pt NE/4 6-
                                                                                                        HC-0043 Bk
     Easement          5/5/2009        to Oeneus LLC d/b/a         T5S-R6E & SESE 31-T4S-R6E;                                 Owned        No
                                                                                                         217/300
                                        SAVATRAN LLC                  2.70 ac pt NE 6-T5S-R6E
                                                                           Hamilton Co. IL

                                                                    Pt. W/2 NW/4 10-T5S-R5E              HC-0043 Bk
                                       Oeneus LLC d/b/a           Hamilton Co. IL containing 11.51    275/503 (Traded
 Special Warranty
                       5/5/2009     SAVATRAN LLC to Alan           & Pt W/2 NW/4 10-T5S-R5E            the Betty Gibbs        Owned        Yes
      Deed
                                    Kirsch and Denise Kirsch      containing 66.12 acres Hamilton    property less rail to
                                                                              Co. IL                       Kirsch)
                 Case 20-41308       Doc 228      Filed 04/01/20 Entered 04/01/20 23:45:34                 Main Document
                                                           Pg 366 of 1005




Description/Title of                                                                                       Recording       Owned or   Subject to
                         Date                Parties                     Legal Description
    Document                                                                                              Information       Leased    Mortgage
                                                                                                         HC-0043 Bk
                                       Oeneus LLC d/b/a                                                275/499 (Traded
 Special Warranty                                                Pt. NW SE 6-T5S-R6E Hamilton
                       5/5/2009     SAVATRAN LLC to Alan                                               the remainder of     Owned        Yes
      Deed                                                       County IL containing 13.03 acres;
                                    Kirsch and Denise Kirsch                                             the Tennyson
                                                                                                     property to Kirsch)
                                                                                                      HC-0044 274/711
                                     Kenneth A. Waier a/k/a
                                                                 Pt SWSW & NWSW 32-T4S-R6E            (Kenny Waier has
                                    Kenneth Waier to Oeneus
  Warranty Deed        11/6/2008                                 Hamilton Co IL containing 18.17         10 yr farming      Owned        Yes
                                    LLC d/b/a SAVATRAN
                                                                              acres                        agreement
                                             LLC
                                                                                                     Galloway property)
                                                                                                         HC-0045 Bk
                                                                                                       275/462 Rail line
                                   James Lee Maller to Oeneus
                                                                 Pt SW/4 31-T5S-R5E Hamilton Co       went through Mr.
  Warranty Deed        4/26/2009     LLC d/b/a SAVATRAN                                                                     Owned        Yes
                                                                      IL containing 5.11 acres        Mallers house and
                                              LLC
                                                                                                        barn both have
                                                                                                        been removed.
                                                                                                     HC-0045 Bk 2009-
                                                                                                       1998 Property to
                                      Oeneus LLC d/b/a
 Special Warranty                                                 Pt. NE SE 36-T5S-R5E Franklin           purchase by
                       4/26/2009   SAVATRAN LLC to James                                                                    Owned        Yes
      Deed                                                            Co IL containing 5 acres        SAVATAN 2009-
                                         Lee Maller
                                                                                                     1206 to replace Mr.
                                                                                                      Mallers homesite.
                                   Norman D. Melvin & Patricia      Pt. S/2 SE/4 20-T5S-R5E
                                                                                                        HC-0046 Bk
  Warranty Deed        3/25/2009    K. Melvin to Oeneus LLC      Hamilton Co IL containing 12.14                            Owned        Yes
                                                                                                         275/310
                                     d/b/a SAVATRAN LLC                       acres

                                   Gary Kearnery a/k/a Gary W.     Pt. SWSW 20-T5S-R5E & pt
                                                                                                          HC-0047
  Warranty Deed        4/3/2009     Kearnery to Oeneus LLC        NWNW 29-T5S-R5E Hamilton                                  Owned        Yes
                                                                                                         Bk275/362
                                     d/b/a SAVATRAN LLC              Co. IL containing 5acres

                                                                                                          HC-0049
                                   Dale Miller & Denise Miller      Pt. E/2 NW/4 31-T5S-R5E           Bk274/873 We
  Warranty Deed        12/8/2008      to Oeneus LLC d/b/a         Hamilton Co. IL containing 7.51    agreed by letter to    Owned        Yes
                                       SAVATRAN LLC                           acres                     relocate Mr.
                                                                                                     Millers water line.
                 Case 20-41308       Doc 228       Filed 04/01/20 Entered 04/01/20 23:45:34                 Main Document
                                                            Pg 367 of 1005




Description/Title of                                                                                       Recording        Owned or   Subject to
                         Date                 Parties                    Legal Description
    Document                                                                                              Information        Leased    Mortgage
                                                                                                         HC-0050 Bk
                                                                                                      275/109 We agreed
                                    John M. Zelhart to Oeneus                                           to build him an
                                                                   Pt. NE/4 30-T5S-R5E Hamilton
  Warranty Deed         2/6/2009     LLC d/b/a SAVATRAN                                                 access road and      Owned        Yes
                                                                       Co IL containing 1.0 acre
                                              LLC                                                     gave him perpetual
                                                                                                          access to his
                                                                                                            property.
                                       Donald G. Zelhart &
                                     Margaret R. Zelhart as co-                                          HC-0051 Bk
                                                                  Undivided 1/2 interest to pt NE/4
                                      Trustees of Donald G.                                           275/663 Agreed to
  Warranty Deed         3/6/2009                                   30-T5S-R5E Hamilton Co IL                                 Owned        Yes
                                      Zelhart Living Trust to                                         gravel access road
                                                                       containing 4.11 acres
                                        Oeneus LLC d/b/a                                              & repurchase rights
                                       SAVATRAN LLC
                                                                                                         HC-0053 Bk
                                    Judith G. Gregory to Oeneus                                       274/52 Traded 112
                                                                   6 acres pt SESW 20-T5S-R5E
  Warranty Deed        6/24/2008      LLC d/b/a SAVATRAN                                                  acres of this      Owned        Yes
                                                                          Hamilton Co IL
                                                LLC                                                     property to Joe
                                                                                                            Rexing.
                                                                                                            HC-0056
                                                                                                           Bk274/141
                                    David Williams & Brandee
                                                                  Pt. NWNW 29-T5S-R5E Hamilton         Purchased house
  Warranty Deed        7/16/2008     Williams to Oeneus LLC                                                                  Owned        Yes
                                                                         Co IL 0.65 acres             rail going through
                                     d/b/a SAVATRAN LLC
                                                                                                        garage. House
                                                                                                             rented.
                                       SAVATRAN LLC to            Pt. NWNW 29-T5S-R5E Hamilton          HC-57 Rented
Rental Agreement       9/12/2008                                                                                             Leased       No
                                         William Webb                    Co IL 0.65 acres                    house.
                                                                                                         HC-0058 Bk
                                                                                                          274/664 Mr.
                                      Alva James Bennett to        Undivided 1/20th Pt NW SE 3-
                                                                                                      Bennett would not
  Warranty Deed        10/24/2008      Oeneus LLC d/b/a             T5S-R5E Hamilton Co. IL                                  Owned        Yes
                                                                                                          close. Filed
                                       SAVATRAN LLC                    containing 7.02 acres
                                                                                                       partition suite to
                                                                                                         force closing.
                 Case 20-41308        Doc 228       Filed 04/01/20 Entered 04/01/20 23:45:34                   Main Document
                                                             Pg 368 of 1005




Description/Title of                                                                                         Recording        Owned or   Subject to
                         Date                  Parties                      Legal Description
    Document                                                                                                Information        Leased    Mortgage
                                                                                                            HC-0059 Bk
                                    Wanda G. Downs & Cecil L        Undivided 1/2 interest pt NE/4 30-   275/667 Agreed to
  Warranty Deed         3/7/2009    Downs to Oeneus LLC d/b/a          T5S-R5E Hamilton Co IL            gravel access road    Owned        Yes
                                       SAVATRAN LLC                       containing 4.11 acres             & repurchase
                                                                                                               rights.
                                         Robert A. Williams &                                              FC-0023 2008-
Corrected Warranty                      Barbara A. Williams to      Pt. SENE 1-T6S-R4E Franklin Co        6300 purchased
                       11/17/2008                                                                                              Owned        Yes
       Deed                                Oeneus LLC d/b/a                IL containing 4.474            house; house has
                                          SAVATRAN LLC                                                     been removed.
                                       James Gregory Payne, as
                                                                    Pt. E/2 NE 11-T6S-R4E & pt W/2
                                       trustee of James Gregory                                           FC-0024 2008-
  Warranty Deed        10/10/2008                                   NW 12-T6S-R4E Franklin Co. IL                              Owned        Yes
                                     Payne Trust to Oeneus LLC                                                5818
                                                                          containing 15.33 acres
                                       d/b/a SAVATRAN LLC
                                       James Gregory Payne, as
                                    trustee of Zulene Payne Trust   Pt. SW NE 11-T6S-R4E Franklin         FC-0025 2008-
  Warranty Deed        10/10/2008                                                                                              Owned        Yes
                                         to Oeneus LLC d/b/a           Co. IL containing 6.44 acres           5817
                                          SAVATRAN LLC
                                     Reba L. Stokes Revocable
                                                                     Pt. SW NE; NWSE;SWSE &
                                      Living Trust by Reba L.
                                                                      SESW 1-T6S-R4E NWNE;                FC-0029 2008-
  Warranty Deed        1/11/2008    Stokes & Kenneth D. Stokes                                                                 Owned        Yes
                                                                     NENW; N3/4 SE NW 12-T6S-                 0603
                                       to Oeneus LLC d/b/a
                                                                        R4E Franklin County IL
                                        SAVATRAN LLC
                                    Morris R. Clark & Karan S.
                                                                    NE NE 1-T6S-R4E Franklin Co IL        FC-0031 2008-
  Warranty Deed         3/6/2008    Clark to Oeneus LLC d/b/a                                                                  Owned        Yes
                                                                              40 acres                        1248
                                        SAVATRAN LLC
                                    Morris R. Clark & Karan S.
                                                                     0.685 of the SE SE 36 T5S-R4E        FC-0031 2008-
     Easement           3/6/2008    Clark to Oeneus LLC d/b/a                                                                  Owned        Yes
                                                                             Franklin Co IL                   1249
                                        SAVATRAN LLC
                                                                                                              FC-0031
                                        Oeneus LLC d/b/a/             Pt. W/2 NW/4 28 T5S-R5E            Bk273/361 Traded
 Special Warranty
                        3/6/2008    SAVATRAN LLC to Morris          Hamilton Co. IL containing 74.36        remained of        Owned        Yes
      Deed
                                     R. Clark & Karan S. Clark                   acres                   Charlie Moore HC-
                                                                                                          0004 to Clarks.
                 Case 20-41308        Doc 228      Filed 04/01/20 Entered 04/01/20 23:45:34                Main Document
                                                            Pg 369 of 1005




Description/Title of                                                                                     Recording         Owned or   Subject to
                         Date                 Parties                     Legal Description
    Document                                                                                            Information         Leased    Mortgage
                                     Louise Harrison to Oeneus
                                                                   Pt. NW corner SE NE 1-T6S-R4E
  Quit Claim Deed       4/7/2008      LLC d/b/a SAVATRAN                                               FC 2008-1877         Owned        Yes
                                                                    Franklin Co IL containing 1.26
                                               LLC
                                     Louise Harrison to Oeneus
                                                                   Pt. SE NE 1-T6S-R4E Franklin Co
  Quit Claim Deed                     LLC d/b/a SAVATRAN                                               FC 2009-5371         Owned        Yes
                                                                                 IL
                                               LLC



 POND CREEK TO SUGAR CAMP CONNECTOR ROUTE

                                    John H. Wiegand and Oeneus                                       FC-0086 Purchase
Recording Memo and                                                 Pt. W/2 NE 10; Pt. NE NE10 T7S;
                       9/14/2007      LLC d/b/a SAVATRAN                                              rail right of way.    Owned        No
 Option to Purchase                                                      R4E Franklin Co. IL
                                               LLC                                                       2007-5356
                                                                                                     FC-0086 Purchase
                                    John H. Wiegand and Oeneus
Recording Memo and                                                 Pt. W/2 NE 10; Pt. NE NE10 T7S;    rail right of way
                       1/15/2008      LLC d/b/a SAVATRAN                                                                    Owned        No
 Option to Purchase                                                      R4E Franklin Co. IL           opt 2 or plan B.
                                               LLC
                                                                                                         2008-0338
                                    Donald L. Bennett and Sharla                                     FC-0087 Purchase
Recording Memo and                                                  Pt. W/2 NW 14; Pt NW SW 14
                       9/18/2007     Bennett and Oeneus LLC                                           rail right of way.    Owned        No
 Option to Purchase                                                    T6S R4E Franklin Co. IL
                                      d/b/a SAVATRAN LLC                                                 2007-5293
                                    Daniel E. Harmon & Terri J.                                      FC-0106 Purchase
Recording Memo and                                                 Pt. W/2 NW 2 T7S R4E Franklin
                       10/8/2007     Harmon and Oeneus LLC                                            rail right of way.    Owned        No
 Option to Purchase                                                           Co. IL
                                     d/b/a SAVATRAN LLC                                                  2007-5836
                                    Olen Max Harmon & Becky                                          FC-0108 Purchase
Recording Memo and                                                 Pt. W/2 SW 35 T6S R6E Franklin
                       10/10/2007   J Harmon and Oeneus LLC                                           rail right of way.    Owned        No
 Option to Purchase                                                            Co IL
                                      d/b/a SAVATRAN LLC                                                 2007-5930
                                    Michael Pike & Brenda Pike
Recording Memo and                                                  Pt. SE NE 27 T7S R4E Franklin    FC-0109 Purchase
                       10/11/2007     and Oeneus LLC d/b/a                                                                  Owned        No
 Option to Purchase                                                             Co. IL                rail right of way.
                                        SAVATRAN LLC
                 Case 20-41308        Doc 228      Filed 04/01/20 Entered 04/01/20 23:45:34                 Main Document
                                                            Pg 370 of 1005




Description/Title of                                                                                      Recording         Owned or   Subject to
                         Date                 Parties                    Legal Description
    Document                                                                                             Information         Leased    Mortgage
                                    Marion Tow, George M. Tow                                         FC-110 Purchase
Recording Memo and                                                Pt. SESE 22 T7S R4E Franklin Co.
                       10/12/2007   & Karen L Tow and Oeneus                                          rail right of way.     Owned        No
 Option to Purchase                                                              IL
                                     LLC SAVATRAN LLC                                                     2007-5931
                                                                                                      FC-110 Purchase
                                    Marion Tow, George M. Tow
                                                                                                       of 12.1 acres in
Recording Memo and                  & Karen L Tow and Oeneus       Pt. SE SE 22 T7S R4E Franklin
                        7/2/2008                                                                     addition to right of    Owned        No
 Option to Purchase                  LLC d/b/a SAVATRAN                        Co. IL
                                                                                                             way.
                                              LLC
                                                                                                          2008-3632
                                                                                                     FC-0111 Purchase
                                                                                                       of old rail bed.
                                     Carlton Heifner and Dixie
                                                                    Pt. W/2 SW SW 22-T7S-R4E          Hunting Lease to
  Warranty Deed        10/26/2007    Heifner and Oeneus LLC                                                                  Owned        Yes
                                                                        Franklin Co. IL 6 acres      Marion Tow along
                                     d/b/a SAVATRAN LLC
                                                                                                           rail bed.
                                                                                                          2007-6200
                                                                                                     FC-0112 Purchased
                                    Andrew C. Julian & Susan E.                                      house and rail right
                                                                   Pt.SW SE 10- T7S-R4E Franklin
  Warranty Deed        4/25/2008    Julian and Oeneus LLC d/b/a                                        of way. House         Owned        Yes
                                                                         Co. IL 27.72 acres
                                         SAVATRAN LLC                                                  Rented to Eric
                                                                                                            Smith.
                                    Gary L. Manis and Sharon L.                                      FC-0113 Purchase
Recording Memo and                                                Pt. SW NW 26-T6S-R4E Franklin
                       10/15/2007   Manis and Oeneus LLC d/b/a                                        rail right of way.     Owned        No
 Option to Purchase                                                      Co. IL 4.65 acres
                                        SAVATRAN LLC                                                      2007-5932
                                      Eddie Essary and Eliane                                        FC-0114 Purchase
Recording Memo and                                                 Pt. NWSW 2-T7S-R4E Franklin
                       10/19/2007     Essary and Oeneus LLC                                           rail right of way.     Owned        No
 Option to Purchase                                                      Co. IL 2.25 acres
                                      d/b/a SAVATRAN LLC                                                 2007-6073
                                                                                                     FC-0115 Purchase
                                      Cora Jane Taylor & Beth                                         rail right of way
Recording Memo and                                                Pt. S/2 NW 1; Pt.NWSW 11-T6S-
                       10/22/2007   Benns and Oeneus LLC d/b/a                                         and additional        Owned        No
 Option to Purchase                                                R4E Franklin Co IL 24.86 acres
                                        SAVATRAN LLC                                                         acres.
                                                                                                         2007-6252
                 Case 20-41308       Doc 228       Filed 04/01/20 Entered 04/01/20 23:45:34                    Main Document
                                                            Pg 371 of 1005




Description/Title of                                                                                         Recording          Owned or   Subject to
                         Date                 Parties                      Legal Description
    Document                                                                                                Information          Leased    Mortgage
                                                                   Pt.NWNE 15 T7S-R4E containing
                                     David R. Payne & Rhonda                                            FC-0122 Purchase
Recording Memo and                                                   9 ac; Pt. NW NW 26 T7S-R4E
                       11/9/2007      Payne and Oeneus d/b/a                                             rail right of way.      Owned        No
 Option to Purchase                                                containing 4.64 acres Franklin Co.
                                        SAVATRAN LLC                                                        2007-6524
                                                                                   IL
                                        Robert G. Buntin and
                                        Marjorie A. Buntin as
                                      Trustees of the Robert G.
                                       Buntin and Marjorie A.
                                                                    Pt. SW/4 23-6-4 Franklin County
                                      Buntin Joint Living Trust,                                        FC-0123 Purchase
                                                                   IL 7.07 acres; Pt. NW/4 23 and Pt.
  Warranty Deed        4/14/2008    and Michael M. Buntin and                                            rail right of way.      Owned        Yes
                                                                      SW/14 T64-R4E Franklin Co
                                    Brenda Buntin as Trustees of                                            2008-2074
                                                                              16.14 acres
                                     the Michael M. Buntin and
                                     Brenda Buntin Joint Living
                                    Trust and Oeneus LLC d/b/a
                                            SAVATRAN
                                                                                                        FC-0125 Purchase
                                      Ruth E. Sweet & Danny                                             of rail right of way.
Recording Memo and                                                 Pt. W/2 SW 35 T7S R4E Franklin
                       11/12/2007   Sweet and Oeneus LLC d/b/a                                            Will plant trees       Owned        No
 Option to Purchase                                                        Co. IL 7.48 acres
                                        SAVATRAN LLC                                                    along right of way
                                                                                                             2007-6522
                                                                                                        FC-0126 Purchase
                                                                                                        of rail right of way.
                                     Ruth E. Sweet and Oeneus
Recording Memo and                                                 Pt.SWNW 35 T7S R4E Franklin          Purchased modular
                       11/12/2007     LLC d/b/a SAVATRAN                                                                         Owned        No
 Option to Purchase                                                      Co. IL 0.63 acres              home and then sold
                                               LLC
                                                                                                          and had moved.
                                                                                                             2007-6523
                                      James Gregory Payne, as
                                                                                                        FC-0130 Purchase
                                    trustee James Gregory Payne    Pt. E/2 SE NW & SW/4 11 T6S-
  Warranty Deed        4/23/2009                                                                        of rail right of way.    Owned        Yes
                                    Trust and Oeneus LLC d/b/a      R4E Franklin Co. Il 5.83 acres
                                                                                                             2009-2110
                                          SAVATRAN LLC
                                     Ted Lawrence as Trustee of                                         FC-0131 Purchase
Recording Memo and                     the Lawrence Trust and      Pt. W/2 SW 2 T7S-R4E Franklin        of rail right of way
                       11/28/2007                                                                                                Owned        No
 Option to Purchase                       Oeneus LLC d/b/a                Co. IL 9.52 acres              and isolated land.
                                          SAVATRAN LLC                                                    Must plant trees
                 Case 20-41308        Doc 228      Filed 04/01/20 Entered 04/01/20 23:45:34                    Main Document
                                                            Pg 372 of 1005




Description/Title of                                                                                         Recording          Owned or   Subject to
                         Date                 Parties                     Legal Description
    Document                                                                                                Information          Leased    Mortgage
                                                                                                              along rail
                                                                                                             2007-6806

                                     Robert Leon McClerren &
                                                                   Pt. NWSW 35 1.34 acres & Pt.         FC-0132 Purchase
Recording Memo and                    Cynthia McClerren and
                       11/30/2007                                  W/2 NW 35 T7S-R4E Franklin           of rail right of way.    Owned        No
 Option to Purchase                     Oeneus LLC d/b/a
                                                                            Co. IL                           2007-6905
                                        SAVATRAN LLC
                                                                                                        FC-0132 Purchase
                                     Robert Leon McClerren &
                                                                                                         rail right of way
Recording Memo and                   Robert G. McClerren and       Pt. SW/4 & Pt. NW SE 15 T7S
                        9/5/2008                                                                        need to go around        Owned        No
 Option to Purchase                     Oeneus LLC d/b/a           R4E Franklin Co. IL 7.42 acres
                                                                                                          Jason Knight.
                                        SAVATRAN LLC
                                                                                                            2008-5188

                                      Robert Shane Croslin and      pt. NWNW 35 4.53 acres; Pt.         FC-0133 Purchase
Recording Memo and
                       11/28/2007   Jodi Croslin and Oeneus LLC   SWSW 26; Pt. NESE 27 4.71 acres        rail right of way.      Owned        No
 Option to Purchase
                                      d/b/a SAVATRAN LLC              T7S-R4E Franklin Co IL                2007-6904

                                    Anita Miller, Trustee Anita
                                                                                                        FC-0136 Purchase
                                     Miller Revocable Living
                                                                                                        of rail right of way
                                      Trust, and Oneida Ann
                                                                                                                 and
                                     Murphy as Trustee of the     Pt. S/2 SW 11-T6S-R4E Franklin
  Warranty Deed        8/13/2008                                                                         DESIGNATED              Owned        Yes
                                        John Robert Miller          Co IL containing 57.31 acres.
                                                                                                          WET LANDS
                                    Revocable Living Trust and
                                                                                                               BANK
                                        Oeneus LLC d/b/a
                                                                                                            2008-5406
                                        SAVATRAN LLC

                                      Stewart B Hungate and       N/2 NE 27-T7S-4E Franklin Co IL       FC-0137 Purchase
  Warranty Deed        2/27/2009        Oeneus LLC d/b/a          containing 80 acres & a perpetual     of rail right of way.    Owned        Yes
                                        SAVATRAN LLC                      access easement                    2009-1017

                                                                                                        FC-0139 Purchase
                                                                                                        of rail right of way
Recording Memo and                   R. Ernest Payne & Dorothy     Pt. W/2 E/2 Section 15 T7S-R4E
                                                                                                         and rail right of
 Option to Purchase    1/18/2008     M. Payne and Oeneus LLC      containing 12 acres; Pt. NE/4 of 22                            Owned        No
                                                                                                        way around Jason
and Amendment One                     d/b/a SAVATRAN LLC           T7S-R4E containing 23.33 acres
                                                                                                              Knight.
                                                                                                            2008-0389
                 Case 20-41308       Doc 228       Filed 04/01/20 Entered 04/01/20 23:45:34                Main Document
                                                            Pg 373 of 1005




Description/Title of                                                                                     Recording          Owned or   Subject to
                         Date                 Parties                   Legal Description
    Document                                                                                            Information          Leased    Mortgage
                                    Amos Clay Ing & Jo Ann Ing                                      FC-0142 Purchase
Recording Memo and                                               Pt. W/2 SE 10 T7S-R4E Franklin
                       2/19/2008      and Oeneus LLC d/b/a                                          of rail right of way.    Owned        No
 Option to Purchase                                                 Co. IL containing 4.64 acres
                                        SAVATRAN LLC                                                   FC 2008-1101
                                    Donald W. Manis & Delores    Pt. W/2 NW 35; Pt. W/2 SW 26       FC-0145 Purchase
Recording Memo and
                        3/5/2008     J. Manis and Oeneus LLC     T6S-R4E Franklin Co IL 18.36       of rail right of way.    Owned        No
 Option to Purchase
                                      d/b/a SAVATRAN LLC                    acres.                     FC 2008-1225
                                        Dale Wes Williford &                                        FC-0152 Purchased
                                       Melissa R Williford to    N/2 NWNE 20 ac ±; N 10 ac NE          for rail loop at
  Warranty Deed        5/28/2008                                                                                             Owned        Yes
                                         Oeneus LLC d/b/a         NE T6S-R4E Franklin Co IL             Sugar Camp.
                                         SAVATRAN LLC                                                  FC 2008-2907

                                                                 Pt. NW SW 22-T7S-R4E 4.60 ac;      FC-0159 Purchased
                                    Mauris D Kern a/k/a Mauris   Pt. NW SW 22 T7S-R4E 3.86 ac;       rail right of way
  Warranty Deed        11/6/2009    Kern and Oeneus LLC d/b/a    Pt. S/2 S/2 22 T7S-R4E 39.01 ac;      around Jason          Owned        Yes
                                        SAVATRAN LLC             Pt. S/2 S/2 22 & NE NW 27 T7S-           Knight.
                                                                  R4E 57.69 acres Franklin Co IL      FC 2009-5485

                                                                                                    FC-0160 Purchased
                                     Louis S Ison & Rose Ison                                         rail right of way
                                                                 Pt. W/2 NW 22 T7S-R4E Franklin
  Warranty Deed        11/3/2009      and Oeneus LLC d/b/a                                              around Jason         Owned        Yes
                                                                         Co IL 9.26 acres
                                        SAVATRAN LLC                                                       Knight.
                                                                                                       FC 2009-6069
                                      Kenneth D. Summers &                                          FC-0161 Purchase
Recording Memo and                    Shelia K Summers and       Pt. NE SE 22; Pt. NWSW 23 T6S-       rail right of way
                        9/8/2008                                                                                             Owned        No
 Option to Purchase                     Oeneus LLC d/b/a           R4E Franklin Co IL 9.31 acres     and isolated land.
                                        SAVATRAN LLC                                                   FC 2008-5187

                                                                 Pt. W/2 NW 2-T8S-R4E; Pt. NW       WC-0106 Purchase
                                     Irene Wilkas and Oeneus
Recording Memo and                                               SW 2 T8S-R4E; Pt. NESE 3 T8S-       rail right of way
                       10/25/2007    LLC d/b/a SAVATRAN                                                                      Owned        No
 Option to Purchase                                              R4E Williamson County IL 15.73     and isolated land.
                                               LLC
                                                                             acres.                        308-59
                 Case 20-41308       Doc 228      Filed 04/01/20 Entered 04/01/20 23:45:34                 Main Document
                                                           Pg 374 of 1005




Description/Title of                                                                                     Recording       Owned or   Subject to
                         Date                Parties                    Legal Description
    Document                                                                                            Information       Leased    Mortgage
                                      Central Illinois Public
                                                                                                       WC-0142 rail
                                    Service d/b/a Ameren CIPS       Pt. NW NW 2 T8S-R4E
     Easement          6/30/2008                                                                        easement.         Owned        Yes
                                      and Oeneus LLC d/b/a          Williamson Co IL 0.28 ac
                                                                                                         312-800
                                        SAVATRAN LLC

SHAWNEETOWN RAIL LINE


                                                                 Pt. S/2 NE & Pt. N/2 SE 20 T9S-      SC-0009 Farm
                                    Jeffrey J. Drone & Toni L.
                                                                 R7E; W/2 NW 28; E/2 NE 29 &          Leased to Jeff
  Warranty Deed         3/1/2007    Drone to Oeneus LLC d/b/a                                                             Owned        Yes
                                                                 access road T9S- R7E Saline Co.         Drone.
                                         SAVATAN LLC
                                                                      IL containing 227 acres.          1900-923

                                                                                                      SC-0017 Farm
                                    Jimmie G. Rodgers & Billie
                                                                 E/2 NW 4 T9S-R6E Saline Co IL        Leased to Jeff
  Warranty Deed        11/20/2007     Rodgers to Oeneus LLC                                                               Owned        Yes
                                                                           80 acres                      Drone.
                                      d/b/a SAVATRAN LLC
                                                                                                        1927-505
                                                                                                      SC-0017 Farm
                                       Oeneus LLC d/b/a
                                                                 Pt. SE 20 T9S-R7E Saline Co IL       Leased to Jeff
  Warranty Deed        11/20/2007   SAVATRAN to Jimmie G.                                                                 Owned        Yes
                                                                           89.864 acres                  Drone.
                                    Rodgers & Billie Rodgers
                                                                                                        1927-508
                                     James D. Kuhlman and                                              SC-0018 All
                                     Andrew M. Freebourn to      NW NE 3 T9S-R6E Saline Co IL         woods no farm
  Warranty Deed        8/29/2007                                                                                          Owned        Yes
                                       Oeneus LLC d/b/a                   40 acres                        lease.
                                       SAVATRAN LLC                                                     1921-463

                                                                    six parcels lying in Gallatin
                                                                                                         GC-0004
                                                                 County beginning at Equality and
                                                                                                      Abandoned Rail
                                    CSX Transportation Inc and        ending at Shawneetown
 Quit Claim Deed       5/23/2007                                                                        Line across       Owned        Yes
                                       SAVATRAN LLC              individually referred to as Tracts
                                                                                                      Gallatin County.
                                                                   1,4,5A,6,8,and 42 containing
                                                                                                          501-111
                                                                            21.809 acres
Case 20-41308   Doc 228   Filed 04/01/20 Entered 04/01/20 23:45:34   Main Document
                                   Pg 375 of 1005
                    Case 20-41308    Doc 228      Filed 04/01/20 Entered 04/01/20 23:45:34                    Main Document
                                                           Pg 376 of 1005




Debtor Grantor:

ADENA RESOURCES, LLC


 Description/Title of     Date                  Parties                    Brief Legal Description              Recording     Owned or   Subject to
     Document                                                                                                  Information     Leased    Mortgage
     Easement            5/6/2009   Mason, Marilyn Trustee & Adena   Pt. SW Sec 31-5-3 & Pt. NW Sec 6-           Water &       Owned        No
                                              Resources                       6-3 as described                 power lines,
                                                                                                                Complete,
                                                                                                                FC-0213,
                                                                                                              FC2009-2758


Debtor/ Grantor:

AMERICAN CENTURY TRANSPORT LLC

                                                                                                                               Owned
 Description/Title of     Date                  Parties                    Brief Legal Description              Recording        or      Subject to
      Document                                                                                                 Information     Leased    Mortgage
Special Warranty Deed    1/8/2016   American Energy Corporation to   See legal description set forth in the   201600000427     Owned       Yes
                                    American Century Transport LLC                  deed.
                  Case 20-41308      Doc 228       Filed 04/01/20 Entered 04/01/20 23:45:34     Main Document
                                                            Pg 377 of 1005




DEBTOR/GRANTOR:

HILLSBORO ENERGY LLC
12051 N. 9th Avenue
Hillsboro, IL 62049

Montgomery County, Illinois

Bond County, Illinois (Coal Reserves only)



 Description/Title of   Date                 Parties         Brief Legal Description    Recording     Owned or   Subject to
     Document                                                                          Information     Leased    Mortgage

 Coal Mining Lease      10/10/2009      WPP LLC to              No. 6 coal seam        Not recorded    Leased
   and Sublease                        Hillsboro Energy
    Agreement                                LLC

 Short Form of Lease    10/10/2009      WPP LLC to              No. 6 coal seam        MC 1346-428     Leased
     (Hillsboro)                       Hillsboro Energy
                                             LLC

Amendment No. 1 to       1/11/2010      WPP LLC to              No. 6 coal seam        Not recorded    Leased
 the Coal Mining                       Hillsboro Energy
Lease and Sublease                           LLC
    Agreement

 Short Form of Lease     1/11/2010      WPP LLC to              No. 6 coal seam        MC 1367-226     Leased
     (Hillsboro)                       Hillsboro Energy
                                             LLC
                 Case 20-41308       Doc 228    Filed 04/01/20 Entered 04/01/20 23:45:34     Main Document
                                                         Pg 378 of 1005




Description/Title of    Date              Parties         Brief Legal Description    Recording     Owned or   Subject to
    Document                                                                        Information     Leased    Mortgage

Amendment No. 2 to       10/4/2010     WPP LLC to            No. 6 coal seam        Not recorded    Leased
 the Coal Mining                      Hillsboro Energy
Lease and Sublease                          LLC
    Agreement

   Amended and          10/4/2010      WPP LLC to            No. 6 coal seam        MC 1412-134     Leased
Restated Short Form                   Hillsboro Energy
   of Lease After                           LLC                                     BC 917-329
   Closing 4 and
Closing 5 (Hillsboro)

Amendment No. 3 to      1/13/2011      WPP LLC to            No. 6 coal seam        Not recorded    Leased
 the Coal Mining                      Hillsboro Energy
Lease and Sublease                          LLC
    Agreement

   Amended and          1/13/2011      WPP LLC to            No. 6 coal seam        MC 1426-275     Leased
Restated Short Form                   Hillsboro Energy
   of Lease After                           LLC
Closing 3 (Hillsboro)

   Amended and           2/2/2012      WPP LLC to            No. 6 coal seam        MC 1477-459     Leased
Restated Short Form                   Hillsboro Energy
   of Lease After                           LLC                                     BC 964-143
Closing 6 (Hillsboro)
                 Case 20-41308     Doc 228    Filed 04/01/20 Entered 04/01/20 23:45:34        Main Document
                                                       Pg 379 of 1005




Description/Title of   Date             Parties          Brief Legal Description      Recording     Owned or   Subject to
    Document                                                                         Information     Leased    Mortgage

   Amended and         8/21/2012     WPP LLC to             No. 6 coal seam          Not recorded    Leased
Restated Short Form                 Hillsboro Energy
  of Lease After                          LLC
   Closing 7 & 8
    (Hillsboro)

 Coal Mining Lease     9/21/2007     Montgomery             No. 6 coal seam          Not recorded    Leased
    Agreement                       Mineral LLC to
                                    Hillsboro Energy
                                          LLC

    First Partial      9/9/2009      Montgomery        Terminated leasehold rights   Not recorded    Leased
Termination of Lease                Mineral LLC to      to certain No. 6 coal seam
                                    Hillsboro Energy
                                          LLC

   Second Partial      1/8/2010      Montgomery        Terminated leasehold rights   Not recorded    Leased
Termination of Lease                Mineral LLC to      to certain No. 6 coal seam
                                    Hillsboro Energy
                                          LLC

   Third Partial       10/4/2010     Montgomery        Terminated leasehold rights   Not recorded    Leased
Termination of Lease                Mineral LLC to      to certain No. 6 coal seam
                                    Hillsboro Energy
                                          LLC
                 Case 20-41308     Doc 228    Filed 04/01/20 Entered 04/01/20 23:45:34        Main Document
                                                       Pg 380 of 1005




Description/Title of   Date             Parties          Brief Legal Description      Recording     Owned or   Subject to
    Document                                                                         Information     Leased    Mortgage

   Fourth Partial      1/13/2011     Montgomery        Terminated leasehold rights   Not recorded    Leased
Termination of Lease                Mineral LLC to      to certain No. 6 coal seam
                                    Hillsboro Energy
                                          LLC

 Coal Mining Lease     8/12/2010      Colt LLC to           No. 6 coal seam          Not recorded    Leased
(For “Reserve 1” and                Hillsboro Energy
    “Reserve 3”)                          LLC

   Short Form or       8/12/2010      Colt LLC to           No. 6 coal seam          MC 1399-176     Leased
  Memorandum of                     Hillsboro Energy
 Coal Mining Lease                        LLC                                        BC 910-257
(For “Reserve 1” and
    “Reserve 3”)


 Coal Mining Lease     8/12/2010      Colt LLC to           No. 6 coal seam          Not recorded    Leased
 (For “Reserve 2”)                  Hillsboro Energy
                                          LLC

   Short Form or       8/12/2010      Colt LLC to           No. 6 coal seam          MC 1399-135     Leased
  Memorandum of                     Hillsboro Energy
 Coal Mining Lease                        LLC                                        BC 910-286
 (For “Reserve 2”)
                  Case 20-41308     Doc 228     Filed 04/01/20 Entered 04/01/20 23:45:34           Main Document
                                                         Pg 381 of 1005




 Description/Title of   Date              Parties             Brief Legal Description      Recording     Owned or   Subject to
     Document                                                                             Information     Leased    Mortgage

First Amendment to      8/21/2012   Colt LLC to                  No. 6 coal seam                          Leased
Colt Coal Lease 2                   Hillsboro Energy
                                    LLC

Short Form or       8/21/2012       Colt LLC to                  No. 6 coal seam         MC 1508-455      Leased
Memorandum of First                 Hillsboro Energy
Amendment to Colt                   LLC
Coal Lease 2

                                    Montgomery Land                 Mine Site
                                    Company to
Deed                    8/12/2010                                  RDA 1 & 2             201000059726     Owned
                                    Hillsboro Energy
                                    LLC                     Farmland & Bleeder Site #1

                                    Montgomery Land
                                    Company to              Corridor from Mine Site to
Easement                8/12/2010                                                        201000059723     Owned
                                    Hillsboro Energy             Bleeder Shaft #1
                                    LLC

                                    George & Martha
                                                           Corridor from Mine Site to
Easement                5/9/2011    Spinner to Hillsboro                                 201100063970     Owned
                                                           Bleeder Shaft #1
                                    Energy LLC

                                    Hillsboro Energy
Deed                    8/23/2013   LLC to Hillsboro                 Loadout             201300003499     Owned
                                    Transport, LLC
                       Case 20-41308      Doc 228     Filed 04/01/20 Entered 04/01/20 23:45:34                Main Document
                                                               Pg 382 of 1005




                                                                                                                                  Schedule XIII-A to
                                                                                                                            Collateral Questionnaire
                                                LOCATIONS OF MINES AND MINING FACILITIES

ALL MATERIAL RENTS ARE DISCLOSED IN COMBINED SCHEDULES XI AND XII


Macoupin Energy LLC

Say No. 1 Mine
14300 Brushy Mound Road
Carlinville, Illinois 62626


Material Properties:

  Description/Title of                                                                                         Recording     Owned      Subject to
                                Date                Parties                  Brief Legal Description
      Document                                                                                                Information   or Leased   Mortgage
                                          WPP LLC and Macoupin Energy
  Short Form of Lease          1/27/10                                   Macoupin South Mine Assignment                       Leased        Yes
                                                      LLC
                                          Colt LLC and Macoupin Energy                                           Not
  Short Form of Lease         8/12/2010                                  Macoupin North Mine Assignment                       Leased        Yes
                                                      LLC                                                      Recorded
                                          Colt LLC and Macoupin Energy                                           Not
  Short Form of Lease         8/12/2010                                   East Hornsby Mine Assignment                        Leased        Yes
                                                      LLC                                                      Recorded
                                                                         Various tracts of surface and coal
                                                                          reserves. The coal reserves were
    Special Warranty                      ExxonMobil Coal USA, Inc and     sold to WPP or Colt and leased      MA-0019
                              1/22/2009                                                                                       Owned         Yes
         Deed                                Macoupin Energy LLC         back. The surface not required for     493145
                                                                          operations has been conveyed to
                                                                              New River Royalty LLC
                                          HOD LLC and Macoupin Energy                                            Not
         Lease                 1/27/10                                               Rail Loop                                Leased        Yes
                                                       LLC                                                     Recorded
                                          HOD LLC and Macoupin Energy
         Lease                 1/27/10                                            Rail Load Out                  Not          Leased        Yes
                                                       LLC
    Option and Lease                      Jet Oil Company and Macoupin                                        Volume 628,
                              2/28/1967                                           Coal Reserves                               Leased        Yes
      Agreement                                     Energy LLC                                                 Page 456
                       Case 20-41308    Doc 228       Filed 04/01/20 Entered 04/01/20 23:45:34                        Main Document
                                                               Pg 383 of 1005




  Description/Title of                                                                                                 Recording       Owned      Subject to
                             Date                   Parties                      Brief Legal Description
      Document                                                                                                        Information     or Leased   Mortgage
                                             Foresight Energy,                                                         Document
         Lease              2/7/2019                                                Methane Gas lease                                  Leased
                                        LLC/Macoupin to Keyrock, LLC                                                  not recorded


Sugar Camp Energy, LLC

M-Class Mine
11351 N Thompsonville Road
Macedonia, Illinois 62860

Material Properties:

   Description/Title of       Date                   Parties                       Brief Legal Description                Recording        Owned     Subject to
       Document                                                                                                          Information         or      Mortgage
                                                                                                                                           Leased
    Coal Mining Lease       7/29/2005      RGGS Land & Minerals &            Properties located in Franklin County        2006-6919        Leased       Yes
                                                  SCELLC                         IL as described in Exhibit A
     Consent to Mine        1/22/2010    Ruger Coal Company, LLC &           Consent with respect to Illinois Fuels        FC-0233         Leased       Yes
                                                  SCELLC                                     Lease
      Warranty Deed         1/15/2009   Rodney Smith and Marta Smith to         PT Lot 121 and PT Lot 122 in             Surface WC-       Leased       Yes
                                                  SCELLC                               Kokopelli Estates                0152, WC481-
                                                                                                                              772
        Easement             3/4/2010    Glendall E Johnston a.k.a. Glen     NW NW Sec 1-6-4 and NWNE Sec               FC-0253 2010-      Owned        Yes
                                             Johnston and Carolyn S.          1-6-4 Franklin County, Illinois                1056
                                        Johnston, a.k.a. Carolyn Johnston,
                                          husband and Wife to SCELLC
        Easement             3/4/2010     Morris R. Clark and Karan S.        NWNE and W2E2NE Sec 2-6-4                 FC-0254 2010-      Owned        Yes
                                                 Clark to SCELLC                     Franklin, Illinois                     1057
        Easement             3/1/2010   David Blood and Melanie Blood,        Pt E2NENE Sec 2-6-4 Franklin                FC-0255          Owned        Yes
                                          husband and wife to SCELLC            County, Illinois 2010-1058
        Easement             6/5/2010   Roger L. Sanders and Mary Ellen      W 10 ac N3/4 of NESE Sec 6-6-5             HC-0078 221-       Owned        Yes
                                               Sanders to SCELLC                 Hamilton County, Illinois                  117
      Warranty Deed          6/1/2010      Patrick G Mascal and Lori S.      W2NESW and E2S2NWSW Sec 6-                  HC-0075           Owned        Yes
                                                Mascal to SCELLC                   6-5 Hamilton Illinois                  277/311
                  Case 20-41308    Doc 228      Filed 04/01/20 Entered 04/01/20 23:45:34                   Main Document
                                                         Pg 384 of 1005




Description/Title of     Date                 Parties                    Brief Legal Description              Recording    Owned    Subject to
    Document                                                                                                 Information     or     Mortgage
                                                                                                                           Leased
Overriding Royalty     8/12/2010    Ruger Coal Company LLC to       Right to mine on Illinois Fuels TVA     Not Recorded   Leased      Yes
Interest Agreement                           SCELLC                                Lease
Overriding Royalty     8/12/2010    Ruger Coal Company LLC to        Right to Mine on Franklin County       Not Recorded   Leased      No
Interest Agreement                           SCELLC                              TVA Lease
       Deed            8/12/2010      Williamson Development           Surface required for SCELLC          Not Recorded   Owned       Yes
                                     Company LLC to SCELLC                       Operations
       Deed            8/12/2010      Williamson Development        Surface in Hamilton County required     Not Recorded   Owned       Yes
                                     Company LLC to SCELLC                for SCELLC Operations
       Deed            8/12/2010      Williamson Development        Surface at former Akin site required    Not Recorded   Owned       Yes
                                     Company LLC to SCELLC                for SCELLC Operations
Coal Mining Lease      8/12/2010    Ruger Coal Company LLC to                  Coal Reserves                Not Recorded   Leased      Yes
                                             SCELLC

   Mining Lease         01/04/18    Roberts, Carol Ann Trustee to         Sugar Camp Mine Plan              HC 2018-0008   Leased
                                              SCELLC
   Mining Lease         01/04/18     Engstrom, Amy to SCELLC              Sugar Camp Mine Plan              HC 2018-0011   Leased
   Mining Lease         01/04/18   Hayes, Marshall Jr. to SCELLC          Sugar Camp Mine Plan              HC 2018-0013   Leased
   Mining Lease         01/04/18      Blanchard, Bonnie M. to             Sugar Camp Mine Plan              HC 2018-0016   Leased
                                              SCELLC
   Mining Lease         01/04/18     Palmer, James to SCELLC              Sugar Camp Mine Plan              HC 2018-0017   Leased
   Mining Lease         01/04/18     Moxley, Linda to SCELLC              Sugar Camp Mine Plan              HC 2018-0018   Leased
    Coal Deed           01/04/18    Johnson, Susan L. to SCELLC           Sugar Camp Mine Plan              HC 2018-0019   Owned
   Mining Lease         01/30/18   McFarland, Carol A. to SCELLC          Sugar Camp Mine Plan              HC 2018-0110   Leased
   Mining Lease         01/30/18      Bowman, Debra Kate to               Sugar Camp Mine Plan              HC 2018-0111   Leased
                                             SCELLC
   Mining Lease         01/30/18     Diaz, Donna J. to SCELLC             Sugar Camp Mine Plan              HC 2018-0112   Leased
   Mining Lease         01/30/18   Flannigan, James T. to SCELLC          Sugar Camp Mine Plan              HC 2018-0113   Leased
   Mining Lease         01/30/18     Leslie, Janet E. to SCELLC           Sugar Camp Mine Plan              HC 2018-0114   Leased
   Mining Lease         01/30/18      Reid, Jon M. to SCELLC              Sugar Camp Mine Plan              HC 2018-0115   Leased
   Mining Lease         01/30/18     Webster, Linda to SCELLC             Sugar Camp Mine Plan              HC 2018-0116   Leased
                  Case 20-41308    Doc 228     Filed 04/01/20 Entered 04/01/20 23:45:34      Main Document
                                                        Pg 385 of 1005




Description/Title of     Date                 Parties              Brief Legal Description      Recording    Owned    Subject to
    Document                                                                                   Information     or     Mortgage
                                                                                                             Leased
   Mining Lease         01/30/18    Henson, William to SCELLC      Sugar Camp Mine Plan       HC 2018-0119   Leased
    Coal Deed           01/30/18     Wake, Amanda to SCELLC        Sugar Camp Mine Plan       HC 2018-0120   Owned
    Coal Deed           01/30/18     Trabant, Megan to SCELLC      Sugar Camp Mine Plan       HC 2018-0121   Owned
    Coal Deed           01/30/18   Metheney, Pamela S. to SCELLC   Sugar Camp Mine Plan       HC 2018-0122   Owned
    Coal Deed           01/30/18   Metheney, Rochelle to SCELLC    Sugar Camp Mine Plan       HC 2018-0123   Owned
   Mining Lease         01/30/18    Bloomfield, Dora to SCELLC     Sugar Camp Mine Plan       HC 2018-0123   Leased
   Mining Lease         01/30/18    Flannigan, Donald to SCELLC    Sugar Camp Mine Plan       HC 2018-0124   Leased
   Mining Lease         01/30/18     Smith, Sharon to SCELLC       Sugar Camp Mine Plan       HC 2018-0126   Leased
   Mining Lease         02/08/18     Wood, Betty A. to SCELLC      Sugar Camp Mine Plan       HC 2018-0171   Leased
   Mining Lease         02/08/18     Irish, Carol V. to SCELLC     Sugar Camp Mine Plan       HC 2018-0172   Leased
   Mining Lease         02/08/18     Wicker, Darrell to SCELLC     Sugar Camp Mine Plan       HC 2018-0173   Leased
   Mining Lease         02/08/18   Kathleen M. Wright to SCELLC    Sugar Camp Mine Plan       HC 2018-0174   Leased
   Mining Lease         02/08/18    Irish, Lloyd Paul to SCELLC    Sugar Camp Mine Plan       HC 2018-0175   Leased
   Mining Lease         02/08/18    Patterson, Paul J. to SCELLC   Sugar Camp Mine Plan       HC 2018-0176   Leased
   Mining Lease         02/08/18     Wicker, Paul R. to SCELLC     Sugar Camp Mine Plan       HC 2018-0177   Leased
   Mining Lease         02/28/18     Krois, Bonnie C. to SCELLC    Sugar Camp Mine Plan       HC 2018-0270   Leased
    Coal Deed           02/28/18    Tabor, Stephanie to SCELLC     Sugar Camp Mine Plan       HC 2018-0271   Owned
   Mining Lease         02/28/18      Petitte, Clyda to SCELLC     Sugar Camp Mine Plan       HC 2018-0272   Leased
   Mining Lease         02/28/18   Patterson, Emily Jo to SCELLC   Sugar Camp Mine Plan       HC 2018-0273   Leased
   Mining Lease         02/28/18       Allen, Jane to SCELLC       Sugar Camp Mine Plan       HC 2018-0274   Leased
    Coal Deed           02/28/18    Spaven, Laverne to SCELLC      Sugar Camp Mine Plan       HC 2018-0276   Owned
   Mining Lease         02/28/18     Jackson, Patricia Snyder to   Sugar Camp Mine Plan       HC 2018-0277   Leased
                                               SCELLC
   Mining Lease         02/28/18    Gioia, Virginia M. to SCELLC   Sugar Camp Mine Plan       HC 2018-0278   Leased
   Mining Lease         02/28/18   Moffett, William R. to SCELLC   Sugar Camp Mine Plan       HC 2018-0279   Leased
   Mining Lease         02/28/18     O'Dell, William to SCELLC     Sugar Camp Mine Plan       HC 2018-0280   Leased
                  Case 20-41308    Doc 228      Filed 04/01/20 Entered 04/01/20 23:45:34       Main Document
                                                         Pg 386 of 1005




Description/Title of     Date                  Parties               Brief Legal Description      Recording    Owned    Subject to
    Document                                                                                     Information     or     Mortgage
                                                                                                               Leased
   Mining Lease         02/28/18     Reid, Dennis P. to SCELLC       Sugar Camp Mine Plan       HC 2018-0281   Leased
    Coal Deed           02/28/18   Griffith, Janice Sue to SCELLC    Sugar Camp Mine Plan       HC 2018-0284   Owned
   Mining Lease         02/28/18    Knight, Kenneth E. to SCELLC     Sugar Camp Mine Plan       HC 2018-0287   Leased
    Coal Deed           02/28/18       Metheney, Rickie W. to        Sugar Camp Mine Plan       HC 2018-0289   Owned
                                              SCELLC
   Mining Lease         02/28/18      Olson, Ruth E. to SCELLC       Sugar Camp Mine Plan       HC 2018-0291   Leased
   Mining Lease         02/28/18     Sandy, Susan E. to SCELLC       Sugar Camp Mine Plan       HC 2018-0293   Leased
    Coal Deed           02/28/18    Miller, Micah A. & Marietta to   Sugar Camp Mine Plan       HC 2019-2023   Owned
                                               SCELLC
   Mining Lease         04/06/18    Mudge, Evelyn M. to SCELLC       Sugar Camp Mine Plan       HC 2018-0806   Leased
   Mining Lease         04/12/18   Higginson, Leslie K. to SCELLC    Sugar Camp Mine Plan       HC 2018-0527   Leased
    Coal Deed           04/12/18    Farris, Brenda K. to SCELLC      Sugar Camp Mine Plan       HC 2018-0528   Owned
   Mining Lease         04/12/18    Cook, Becky Lynn to SCELLC       Sugar Camp Mine Plan       HC 2018-0529   Leased
   Mining Lease         04/12/18    Snyder, Diane M. to SCELLC       Sugar Camp Mine Plan       HC 2018-0530   Leased
   Mining Lease         04/12/18     O'Dell, Kevin J. to SCELLC      Sugar Camp Mine Plan       HC 2018-0531   Leased
   Mining Lease         04/12/18    Wohlers, Karen J. to SCELLC      Sugar Camp Mine Plan       HC 2018-0532   Leased
   Mining Lease         04/12/18      Heckert, Lauri to SCELLC       Sugar Camp Mine Plan       HC 2018-0533   Leased
   Mining Lease         04/12/18   Page, Mary Jane by Sidney         Sugar Camp Mine Plan       HC 2018-0534   Leased
                                   Bennett III AIF to SCELLC
   Mining Lease         04/12/18       Comp ton, Paulette N. to      Sugar Camp Mine Plan       HC 2018-0535   Leased
                                                SCELLC
   Mining Lease         04/12/18     Taylor, Jennifer to SCELLC      Sugar Camp Mine Plan       HC 2018-0536   Leased
   Mining Lease         04/12/18    O'Dell, Carol Lee to SCELLC      Sugar Camp Mine Plan       HC 2018-0537   Leased
   Mining Lease         04/12/18    O'Dell, Casey Joel to SCELLC     Sugar Camp Mine Plan       HC 2018-0538   Leased
   Mining Lease         05/08/18   Lowman, Timothy A. to SCELLC      Sugar Camp Mine Plan       HC 2018-0548   Leased
   Mining Lease         05/08/18   Neal, Douglas Allen to SCELLC     Sugar Camp Mine Plan       HC 2018-0754   Leased
   Mining Lease         05/08/18    Williams, J. Mark to SCELLC      Sugar Camp Mine Plan       HC 2018-0755   Leased
   Mining Lease         05/08/18     Barker, Lynne E. to SCELLC      Sugar Camp Mine Plan       HC 2018-0756   Leased
                  Case 20-41308    Doc 228      Filed 04/01/20 Entered 04/01/20 23:45:34        Main Document
                                                         Pg 387 of 1005




Description/Title of     Date                  Parties                Brief Legal Description      Recording    Owned    Subject to
    Document                                                                                      Information     or     Mortgage
                                                                                                                Leased
   Mining Lease         05/08/18    Knight, Stephen L. to SCELLC      Sugar Camp Mine Plan       HC 2018-0757   Leased
   Mining Lease         05/08/18   Neal, Walter Blake to SCELLC       Sugar Camp Mine Plan       HC 2018-0759   Leased
    Coal Deed           05/11/18       Noma, Inc to SCELLC            Sugar Camp Mine Plan       HC 2018-1036   Owned



   Mining Lease         05/16/18      Hake, Gary R. to SCELLC         Sugar Camp Mine Plan       HC 2018-0807   Leased
   Mining Lease         05/16/18    Hosner, Irene Neal to SCELLC      Sugar Camp Mine Plan       HC 2018-0808   Leased
   Mining Lease         05/16/18      Duckworth, Nina Neal to         Sugar Camp Mine Plan       HC 2018-0811   Leased
                                              SCELLC
   Mining Lease         05/16/18   Bailey, Velma Neal to SCELLC       Sugar Camp Mine Plan       HC 2018-0812   Leased
   Mining Lease         05/16/18    Lovan, W. Robert to SCELLC        Sugar Camp Mine Plan       HC 2018-0813   Leased
   Mining Lease         05/16/18   Neal, William Jerry to SCELLC      Sugar Camp Mine Plan       HC 2018-0814   Leased
    Coal Deed           06/27/18   Bow ton, Barbara G. to SCELLC      Sugar Camp Mine Plan       HC 2018-1027   Owned
    Coal Deed           06/27/18      Whets tone, Dennis W. to        Sugar Camp Mine Plan       HC 2018-1028   Owned
                                              SCELLC
    Coal Deed           06/27/18     Whets tone, William R. to        Sugar Camp Mine Plan       HC 2018-1029   Owned
                                              SCELLC
    Coal Deed           06/27/18     Smith, Bernice to SCELLC         Sugar Camp Mine Plan       HC 2018-1030   Owned
    Coal Deed           06/27/18   Thompson, Beatrice % Billy E.      Sugar Camp Mine Plan       HC 2018-1031   Owned
                                       Walker AIF to SCELLC
    Coal Deed           06/27/18   First Church of the Nazarene to    Sugar Camp Mine Plan       HC 2018-1032   Owned
                                              SCELLC
    Coal Deed           06/27/18     Linn, Karen R. to SCELLC         Sugar Camp Mine Plan       HC 2018-1034   Owned
   Mining Lease         06/27/18   Seibert, Charles Ellis to SCELLC   Sugar Camp Mine Plan       HC 2018-1037   Leased
   Mining Lease         06/27/18      Seibert, James Thomas to        Sugar Camp Mine Plan       HC 2018-1038   Leased
                                               SCELLC
   Mining Lease         06/27/18     Drake, Terry W. to SCELLC        Sugar Camp Mine Plan       HC 2018-1041   Leased
   Mining Lease         06/27/18    Scott, Betsy Dawn to SCELLC       Sugar Camp Mine Plan       HC 2018-1042   Leased
   Mining Lease         06/27/18   Lane, John Bradley to SCELLC       Sugar Camp Mine Plan       HC 2018-1045   Leased
                  Case 20-41308    Doc 228      Filed 04/01/20 Entered 04/01/20 23:45:34      Main Document
                                                         Pg 388 of 1005




Description/Title of     Date                 Parties               Brief Legal Description      Recording    Owned    Subject to
    Document                                                                                    Information     or     Mortgage
                                                                                                              Leased
   Mining Lease         06/27/18     Drake, Mark W. to SCELLC       Sugar Camp Mine Plan       HC 2018-1045   Leased
    Coal Deed           06/27/18     Mendyk, Julie to SCELLC        Sugar Camp Mine Plan       HC 2018-1088   Owned
   Mining Lease         07/05/18    Wall, Joyce Ann to SCELLC       Sugar Camp Mine Plan       HC 2018-1086   Leased
   Mining Lease         07/05/18      Metheney, Donald W. to        Sugar Camp Mine Plan       HC 2018-1084   Leased
                                             SCELLC
    Coal Deed           07/05/18    Sandidge, Joyce to SCELLC       Sugar Camp Mine Plan       HC 2018-1085   Owned
    Coal Deed           07/05/18      Smith, Leon to SCELLC         Sugar Camp Mine Plan       HC 2018-1087   Owned
    Coal Deed           07/05/18    Smith, Richard H. to SCELLC     Sugar Camp Mine Plan       HC 2018-1088   Owned
   Mining Lease         07/05/18    Wall, Ronald M. to SCELLC       Sugar Camp Mine Plan       HC 2018-1089   Leased
   Mining Lease         07/18/18   Martin, Marianne B. to SCELLC    Sugar Camp Mine Plan       HC 2018-1157   Leased
   Mining Lease         07/18/18    Wilkie, Mary Jean to SCELLC     Sugar Camp Mine Plan       HC 2018-1158   Leased
   Mining Lease         07/18/18    Jones, Michael J. to SCELLC     Sugar Camp Mine Plan       HC 2018-1159   Leased
   Mining Lease         07/18/18     Martin, Janet J. to SCELLC     Sugar Camp Mine Plan       HC 2018-1160   Leased
   Mining Lease         07/30/18      Kleber, LLC to SCELLC         Sugar Camp Mine Plan       HC 2018-1222   Leased
   Mining Lease         08/08/18   Vickers, Rhonda Lee to SCELLC    Sugar Camp Mine Plan       HC 2018-1271   Leased
   Mining Lease         08/08/18     Pike, Brenda L. to SCELLC      Sugar Camp Mine Plan       HC 2018-1272   Leased
   Mining Lease         08/08/18   Schwenn, Carolyn S. to SCELLC    Sugar Camp Mine Plan       HC 2018-1273   Leased
   Mining Lease         08/14/18    Lane, Juanita Dare to SCELLC    Sugar Camp Mine Plan       HC 2018-1302   Leased
    Coal Deed           08/14/18   Metheney, Miranda to SCELLC      Sugar Camp Mine Plan       HC 2018-1301   Owned
   Mining Lease         08/14/18     Yancey, George to SCELLC       Sugar Camp Mine Plan       HC 2018-1303   Leased
   Mining Lease         08/28/18    Knob Prairie Baptist Cemetery   Sugar Camp Mine Plan       HC 2018-1040   Leased
                                      Association to SCELLC
    Coal Deed           09/12/18      Buchanan, Cynthia E. to       Sugar Camp Mine Plan       HC 2018-1439   Owned
                                              SCELLC
    Coal Deed           09/12/18     Brophy, Romaine widow of       Sugar Camp Mine Plan       HC 2018-1440   Owned
                                     James Brophy to SCELLC
                  Case 20-41308    Doc 228      Filed 04/01/20 Entered 04/01/20 23:45:34       Main Document
                                                         Pg 389 of 1005




Description/Title of     Date                  Parties               Brief Legal Description      Recording     Owned    Subject to
    Document                                                                                     Information      or     Mortgage
                                                                                                                Leased
   Mining Lease         09/12/18    Wright, Donald L. to SCELLC      Sugar Camp Mine Plan       HC 2018-1441    Leased
   Mining Lease         09/12/18      Dorion, Rhona to SCELLC        Sugar Camp Mine Plan       HC 2018-1442    Leased
   Mining Lease         09/12/18      Wright, Laura to SCELLC        Sugar Camp Mine Plan       HC 2018-1443    Leased
   Mining Lease         10/03/18   Simmons, Gavin T. to SCELLC       Sugar Camp Mine Plan       HC 2018-1523    Leased
   Mining Lease         10/03/18    Wright, Curtis D. to SCELLC      Sugar Camp Mine Plan       HC 2018-1524    Leased
   Mining Lease         10/03/18   Lane, Riley Elizabeth to SCELLC   Sugar Camp Mine Plan       HC 2018-1525    Leased
   Mining Lease         10/24/18       Winter, Carrie L Trust to     Sugar Camp Mine Plan       HC 2018-1662    Leased
                                              SCELLC
   Mining Lease         10/24/18       Smith, Brett to SCELLC        Sugar Camp Mine Plan       HC 2018-1663    Leased
   Mining Lease         10/24/18     Johnson, Flora Wymond to        Sugar Camp Mine Plan       HC 2018-1665    Leased
                                              SCELLC
   Mining Lease         10/24/18   Collins, Sandra Lee to SCELLC     Sugar Camp Mine Plan       HC 2018-1666    Leased
   Mining Lease         10/24/18      Koptez, Steven Gerald to       Sugar Camp Mine Plan       HC 2018-1667    Leased
                                             SCELLC
   Mining Lease         10/24/18    Decker, Mary Lee to SCELLC       Sugar Camp Mine Plan       HC 2018-1783    Leased
    Coal Deed           10/30/18   Jenkins, Thomas R to SCELLC       Sugar Camp Mine Plan       HC 2018-1692    Owned
   Mining Lease         10/30/18      Dry, Margaret Johnson to       Sugar Camp Mine Plan       HC 2018-1693    Leased
                                             SCELLC
   Mining Lease         10/30/18   Lane, Sydney Drew to SCELLC       Sugar Camp Mine Plan       HC 2018-1694    Leased
   Mining Lease         10/30/18    touma, Elizabeth Johnson to      Sugar Camp Mine Plan       HC 2018-1695    Leased
                                             SCELLC
   Mining Lease         10/30/18   Myers, Phyllis Ann to SCELLC      Sugar Camp Mine Plan       HC 2018-1696    Leased
   Mining Lease         11/19/18      Palmer, Gary to SCELLC         Sugar Camp Mine Plan       HC 2018-1785    Leased
   Mining Lease         11/19/18      Jordon, Flora Johnson to       Sugar Camp Mine Plan       HC 2018-1908    Leased
                                             SCELLC
   Mining Lease         11/20/18   Waggoner, Amanda J to SCELLC      Sugar Camp Mine Plan        FC 2018-4821   Leased
   Mining Lease         11/20/18     Bohannon, Barbara Ann to        Sugar Camp Mine Plan        FC 2018-4822   Leased
                                               SCELLC
   Mining Lease         11/20/18    Otterson, Lloyd L. to SCELLC     Sugar Camp Mine Plan        FC 2018-4823   Leased
                  Case 20-41308    Doc 228      Filed 04/01/20 Entered 04/01/20 23:45:34       Main Document
                                                         Pg 390 of 1005




Description/Title of     Date                 Parties                Brief Legal Description      Recording    Owned    Subject to
    Document                                                                                     Information     or     Mortgage
                                                                                                               Leased
   Mining Lease         12/11/18   Goforth, Heather J. to SCELLC     Sugar Camp Mine Plan       HC 2018-1905   Leased
   Mining Lease         12/11/18   Goforth, Matthew R. to SCELLC     Sugar Camp Mine Plan       HC 2018-1906   Leased
   Mining Lease         12/11/18      Smith, Kerry to SCELLC         Sugar Camp Mine Plan       HC 2018-1907   Leased
   Mining Lease         12/11/18   Johnson, Katherine Elizabeth to   Sugar Camp Mine Plan       HC 2018-1908   Leased
                                             SCELLC
   Mining Lease         12/18/18    Wright, Shelia P. to SCELLC      Sugar Camp Mine Plan       HC 2018-1974   Leased
   Mining Lease         12/18/18   Wright, Richard A. to SCELLC      Sugar Camp Mine Plan       HC 2018-1975   Leased
   Mining Lease         12/18/18    Wright, Michael S. to SCELLC     Sugar Camp Mine Plan       HC 2018-1976   Leased
   Mining Lease         12/18/18     Brown, Gary R. to SCELLC        Sugar Camp Mine Plan       HC 2018-1977   Leased
    Coal Deed           01/09/19      Jenkins, Mike to SCELLC        Sugar Camp Mine Plan       HC 2019-0057   Owned
   Mining Lease         01/09/19     Jenkins, Hellen to SCELLC       Sugar Camp Mine Plan       HC 2019-0058   Leased
   Mining Lease         01/09/19   Bayne, Janet Jenkins to SCELLC    Sugar Camp Mine Plan       HC 2019-0059   Leased
   Mining Lease         01/09/19    Jenkins, James J. to SCELLC      Sugar Camp Mine Plan       HC 2019-0060   Leased
   Mining Lease         01/16/19   Wright, Steven Ray to SCELLC      Sugar Camp Mine Plan       HC 2019-0097   Leased
   Mining Lease         01/16/19    Wright, Ida Louise to SCELLC     Sugar Camp Mine Plan       HC 2019-0098   Leased
    Coal Deed           01/29/19    The Bonnie Camp Meeting to       Sugar Camp Mine Plan       HC 2019-0150   Owned
                                               SCELLC
    Coal Deed           02/01/19    Barnhill, Ruth Eloise Short to   Sugar Camp Mine Plan       HC 2019-0168   Owned
                                               SCELLC
    Coal Deed           02/01/19   Rappe, John James to SCELLC       Sugar Camp Mine Plan       HC 2019-0169   Owned
   Mining Lease         02/01/19     Willis, Bruce E. to SCELLC      Sugar Camp Mine Plan       HC 2019-0172   Leased
   Mining Lease         02/01/19    Knott, Elaine Mae to SCELLC      Sugar Camp Mine Plan       HC 2019-0173   Leased
   Mining Lease         02/01/19   Seibert, John Walter to SCELLC    Sugar Camp Mine Plan       HC 2019-0174   Leased
    Coal Deed           02/08/19      Short, Leon to SCELLC          Sugar Camp Mine Plan       HC 2019-0210   Owned

    Coal Deed           02/08/19      Avolt, Kathleen Eagan to       Sugar Camp Mine Plan       HC 2019-0218   Owned
                                              SCELLC
                  Case 20-41308    Doc 228      Filed 04/01/20 Entered 04/01/20 23:45:34       Main Document
                                                         Pg 391 of 1005




Description/Title of     Date                 Parties                Brief Legal Description      Recording     Owned    Subject to
    Document                                                                                     Information      or     Mortgage
                                                                                                                Leased
    Coal Deed           02/08/19    Avolt, Donna H. to SCELLC        Sugar Camp Mine Plan       HC 2019-0219    Owned

   Mining Lease         02/13/19      Wall, Letitia to SCELLC        Sugar Camp Mine Plan       HC 2019-0223    Leased
   Mining Lease         02/14/19    Rexing, Joseph L. to SCELLC      Sugar Camp Mine Plan        not recorded   Leased
   Mining Lease         02/14/19    Rexing, Joseph L. to SCELLC      Sugar Camp Mine Plan        not recorded   Leased
   Mining Lease         02/19/19   Hoffman, Elaine W. to SCELLC      Sugar Camp Mine Plan       HC 2019-0245    Leased
    Coal Deed           03/12/19   Banning, David W. to SCELLC       Sugar Camp Mine Plan       HC 2019-0368    Owned
   Mining Lease         03/22/19   Kinsey, Frances E. to SCELLC      Sugar Camp Mine Plan       HC 2019-0416    Leased
   Mining Lease         03/22/19   Willis, George Darin to SCELLC    Sugar Camp Mine Plan       HC 2019-0417    Leased
   Mining Lease         03/22/19    Burns, Lenore E. to SCELLC       Sugar Camp Mine Plan       HC 2019-0418    Leased
   Mining Lease         03/22/19     Gill, Lorella E. to SCELLC      Sugar Camp Mine Plan       HC 2019-0419    Leased
   Mining Lease         03/22/19   Oberreiter, Jean Ann (Evans) to   Sugar Camp Mine Plan       HC 2019-0420    Leased
                                               SCELLC
    Coal Deed           03/22/19      Doyle, Kymbra Drasil to        Sugar Camp Mine Plan       HC 2019-0421    Owned
                                               SCELLC
    Coal Deed           03/27/19   Higgins, Cynthia Ann to Elaine    Sugar Camp Mine Plan       HC 2019-0446    Owned
                                             May Knott
    Coal Deed           03/28/19      Short, Dian to SCELLC          Sugar Camp Mine Plan       HC 2019-0463    Owned
    Coal Deed           03/28/19     Short, Richard to SCELLC        Sugar Camp Mine Plan       HC 2019-0464    Owned
    Coal Deed           04/03/19   South Side Christian Church to    Sugar Camp Mine Plan       HC 2019-0507    Owned
                                              SCELLC
   Mining Lease         04/10/19    Yorgan, Jennifer to SCELLC       Sugar Camp Mine Plan       HC 2019-0558    Leased
   Mining Lease         04/10/19   Edmonds, James G. to SCELLC       Sugar Camp Mine Plan       HC 2019-0559    Leased
   Mining Lease         04/23/19   Crowder, Nancee L. to SCELLC      Sugar Camp Mine Plan       HC 2019-0669    Leased
   Mining Lease         04/23/19    Gunn, Patrick L. to SCELLC       Sugar Camp Mine Plan       HC 2019-0671    Leased
   Mining Lease         04/23/19     Gunn, Scott L. to SCELLC        Sugar Camp Mine Plan       HC 2019-0672    Leased
   Mining Lease         04/23/19     Gunn, Kenneth to SCELLC         Sugar Camp Mine Plan       HC 2019-0673    Leased
   Mining Lease         05/01/19   Foresight Energy LP to SCELLC     Sugar Camp Mine Plan        not recorded   Leased
                  Case 20-41308    Doc 228      Filed 04/01/20 Entered 04/01/20 23:45:34       Main Document
                                                         Pg 392 of 1005




Description/Title of     Date                 Parties                Brief Legal Description      Recording    Owned    Subject to
    Document                                                                                     Information     or     Mortgage
                                                                                                               Leased
   Mining Lease         05/08/19     Camden, Randy to SCELLC         Sugar Camp Mine Plan       HC 2019-0750   Leased
   Mining Lease         05/08/19    Davis, Tamera L. to SCELLC       Sugar Camp Mine Plan       HC 2019-0751   Leased
   Mining Lease         05/30/19     Fitts, David F. to SCELLC       Sugar Camp Mine Plan       HC 2019-0851   Leased
    Coal Deed           06/03/19      Avolt, Geoffrey Barth to       Sugar Camp Mine Plan       HC 2019-0870   Owned
                                              SCELLC
   Mining Lease         06/10/19   Buchman, Diana Sue Wright to      Sugar Camp Mine Plan       HC 2019-0896   Leased
                                              SCELLC
   Mining Lease         06/10/19   Willis, Robert James to SCELLC    Sugar Camp Mine Plan       HC 2019-0897   Leased
   Mining Lease         06/10/19    Sears, James R. & Gloria to      Sugar Camp Mine Plan       HC 2019-0898   Leased
                                             SCELLC
   Mining Lease         06/19/19   Wise, Melodie Lea to SCELLC       Sugar Camp Mine Plan       HC 2019-0962   Leased
   Mining Lease         06/19/19    Walker, Edwin N. to SCELLC       Sugar Camp Mine Plan       HC 2019-0963   Leased
   Mining Lease         07/17/19     O'Dell, Paula J. to SCELLC      Sugar Camp Mine Plan       HC 2019-1079   Leased
   Mining Lease         07/17/19    Walker, Ivan W. to SCELLC        Sugar Camp Mine Plan       HC 2019-1080   Leased
   Mining Lease         07/25/19      Hut ton, Catherine Ann to      Sugar Camp Mine Plan       HC 2019-1118   Leased
                                              SCELLC
    Coal Deed           07/25/19   Nuss, Richard E. Sr. to SCELLC    Sugar Camp Mine Plan       HC 2019-1120   Owned
   Mining Lease         08/01/19     Miltenberger, Cheryl G. to      Sugar Camp Mine Plan       HC 2019-1162   Leased
                                             SCELLC
   Mining Lease         08/01/19   Lohman, Sandra E. to SCELLC       Sugar Camp Mine Plan       HC 2019-1163   Leased
   Mining Lease         08/01/19   Entwistle, Craig W. to SCELLC     Sugar Camp Mine Plan       HC 2019-1164   Leased
    Coal Deed           08/28/19    Society of St. Vincent de Paul   Sugar Camp Mine Plan       HC 2019-1317   Owned
                                       Archdiocesan Council
                                             toSCELLC
   Mining Lease         08/28/19    Entwistle, Jacquelyn Marie to    Sugar Camp Mine Plan       HC 2019-1318   Leased
                                              SCELLC
   Mining Lease         08/28/19      Oliver, Mil ton Donald to      Sugar Camp Mine Plan       HC 2019-1318   Leased
                                              SCELLC
   Mining Lease         09/24/19   Prusha, Thomas M. to SCELLC       Sugar Camp Mine Plan       HC 2019-1584   Leased
    Coal Deed           10/09/19   Lowe, Debra Short to SCELLC       Sugar Camp Mine Plan       HC 2019-1697   Owned
                  Case 20-41308     Doc 228      Filed 04/01/20 Entered 04/01/20 23:45:34       Main Document
                                                          Pg 393 of 1005




Description/Title of     Date                   Parties               Brief Legal Description      Recording     Owned    Subject to
    Document                                                                                      Information      or     Mortgage
                                                                                                                 Leased
    Coal Deed           11/14/19    Lewis, Phyllis Ann to SCELLC      Sugar Camp Mine Plan       HC 2019-1869    Owned
    Coal Deed           11/14/19      Duncan, Barbara Joan to         Sugar Camp Mine Plan       HC 2019-1870    Owned
                                              SCELLC
    Coal Deed          11/14/2019   McKinney, Marsha to SCELLC        Sugar Camp Mine Plan       HC 2019-1871    Owned
    Coal Deed          11/14/2019     Kniffen, Susan to SCELLC        Sugar Camp Mine Plan       HC 2019-1872    Owned
    Coal Deed           11/14/19      Blackwell, William Loyd to      Sugar Camp Mine Plan       HC 2019-1873    Owned
                                               SCELLC
   Mining Lease         11/14/19    Flannigan, Monty D. to SCELLC     Sugar Camp Mine Plan       HC 2019-1874    Leased
   Mining Lease         11/20/19      Irish, Wilmot Wheeler to        Sugar Camp Mine Plan       HC 2019-1903    Leased
                                              SCELLC
    Coal Deed           11/26/19    McIntosh, Mark E. to SCELLC       Sugar Camp Mine Plan       HC 2019-1945    Owned
   Mining Lease         12/10/19    Bergen County Animal Shelter to   Sugar Camp Mine Plan        FC 2019-4869   Leased
                                              SCELLC
   Mining Lease         01/16/20     Moore, Carolyn F. to SCELLC      Sugar Camp Mine Plan       HC 2020-0098    Leased
   Mining Lease         01/16/20     Rucker, Lezlie J. to SCELLC      Sugar Camp Mine Plan       HC 2020-0099    Leased
   Mining Lease         01/16/20      Cooper, Rene F. to SCELLC       Sugar Camp Mine Plan       HC 2020-0100    Leased
    Coal Deed           01/21/20       Drake, Roger to SCELLC         Sugar Camp Mine Plan       HC 2020-0109    Owned
   Mining Lease         01/21/20    Debow, Carolyn S. to SCELLC       Sugar Camp Mine Plan       HC 2020-0110    Leased
   Mining Lease         01/21/20      Drake, Daphne to SCELLC         Sugar Camp Mine Plan       HC 2020-0111    Leased
   Mining Lease         02/18/20      Rocky Mountain Lions Eye        Sugar Camp Mine Plan       HC 2020-0319    Leased
                                      Institute Foundation, Inc. to
                                                SCELLC
   Mining Lease         02/18/20      Hoppe, Judy H. to SCELLC        Sugar Camp Mine Plan       HC 2020-0320    Leased
   Mining Lease         02/27/20       Musselman, James Jay to        Sugar Camp Mine Plan       HC 2020-0378    Leased
                                             SCELLC
                       Case 20-41308       Doc 228       Filed 04/01/20 Entered 04/01/20 23:45:34                    Main Document
                                                                  Pg 394 of 1005




Williamson Energy, LLC

Pond Creek No. 1 Mine
16468 Liberty School Road
Marion, IL 62959

Material Properties:

    Description/Title of                                                                                         Recording           Owned or      Subject to
                              Date                 Parties                 Brief Legal Description
        Document                                                                                                Information           Leased       Mortgage
                                                                                                              Franklin County:
                                                                                                               Doc 2006-6571
Short Form of Lease as                   WPP LLC and Williamson          Coal Reserves in Williamson
                            8/14/2006                                                                                                  Leased         Yes
       amended                                Energy, LLC                      County, Illinois
                                                                                                            Williamson County:
                                                                                                            Misc. 301 page 480
                                         Williamson Development
    Short Form of Lease                                                  Coal Reserves in Williamson
                            5/1/2005       Company LLC and                                                   Misc 291 page 461         Leased         Yes
       and Sublease                                                            County, Illinois
                                         Williamson Energy LLC
                                            Independence Land
                                                                         Coal Reserves in Williamson
    Short Form of Lease     3/13/2006       Company, LLC and                                                 Misc 301 Page 479         Leased         Yes
                                                                               County, Illinois
                                         Williamson Energy, LLC
  First Amended and                      Williamson Development
 Restated Lease (Coal      10/15/2006      Company, LLC and              Pond Creek Processing Plant         Misc 313 Page 620         Leased         Yes
      Prep Plant)                        Williamson Energy, LLC
Coal Mining Lease and                    Colt LLC and Williamson         Coal Reserves in Williamson
                             8/12/10                                                                                TBD                Leased         Yes
        Sublease                               Energy, LLC                       County, Il
  First Amended and                      Williamson Development
 Restated Lease (Rail      10/15/2006      Company, LLC and               Pond Creek Rail Load Out           Misc 313 Page 619         Leased         Yes
   Load Out Lease)                       Williamson Energy, LLC
                                         Williamson Development
                                                                        Surface required for Williamson
           Deed              8/12/10       Company, LLC and                                                         TBD                Owned          Yes
                                                                           Energy, LLC Operations 4
                                         Williamson Energy, LLC


4
  This excludes the real property released pursuant to that certain Fifth Amendment and Partial Release of Fee and Leasehold Mortgage, Assignment of Rents and
Leases, Security Agreement and Fixture Filing, dated as of September 26, 2016, by and between Williamson Energy, LLC, as Mortgagor, and Citibank, N.A., in
its capacity as Agent, consisting of approximately 28.55 acres of surface land.
                  Case 20-41308     Doc 228      Filed 04/01/20 Entered 04/01/20 23:45:34       Main Document
                                                          Pg 395 of 1005




Description/Title of                                                                         Recording     Owned or   Subject to
                         Date              Parties             Brief Legal Description
    Document                                                                                Information     Leased    Mortgage
                                   Williamson Development      “Snake areas” required for
     Easement           8/12/10      Company, LLC and           Williamson Energy, LLC      Not Recorded    Owned        Yes
                                   Williamson Energy, LLC              Operations
                                    Eberhart to Williamson
                                                               Ground lease required for
                                   Development Company,
   Ground Lease         8/12/10                                Williamson Energy, LLC       WC 325-900      Leased       Yes
                                       LLC assigned to
                                                                      Operations
                                   Williamson Energy, LLC
                                   Summers to Independence     Ground lease required for
   Ground Lease         8/12/10     Land Company, LLC to       Williamson Energy, LLC       WC 327-750      Leased       Yes
                                   Williamson Energy, LLC             Operations
                                       Diana S. Dulle to     Coal Reserves for Williamson
  Warranty Deed        6/14/2018                                                            WC 2018-4356    Owned
                                   Williamson Energy, LLC      Energy, LLC Operations
                                        Linda Duncan to      Coal Reserves for Williamson
  Warranty Deed        7/13/2018                                                            WC 2018-5209    Owned
                                   Williamson Energy, LLC      Energy, LLC Operations
                                      Jeremy W. Smith to     Coal Reserves for Williamson                   Owned
  Warranty Deed        7/20/2018                                                            WC 2018-5434
                                   Williamson Energy, LLC      Energy, LLC Operations
                                        Lora L. Jones to     Coal Reserves for Williamson
  Warranty Deed        8/20/2018                                                            WC 2018-6259    Owned
                                   Williamson Energy, LLC      Energy, LLC Operations
                                      Shirley N. Smith to    Coal Reserves for Williamson
  Warranty Deed        8/20/2018                                                            WC 2018-6258    Owned
                                   Williamson Energy, LLC      Energy, LLC Operations
                                     Debra Ellen Moser to    Coal Reserves for Williamson
  Warranty Deed        9/4/2018                                                             WC 2018-6707    Owned
                                   Williamson Energy, LLC      Energy, LLC Operations
                                    Larry Dean Bethard to    Coal Reserves for Williamson
  Warranty Deed        9/4/2018                                                             WC 2018-6706    Owned
                                   Williamson Energy, LLC      Energy, LLC Operations
                                      Jerry R. Harpole to    Coal Reserves for Williamson
  Warranty Deed                                                                             WC 2018-6705    Owned
                       9/4/2018    Williamson Energy, LLC      Energy, LLC Operations
                                     Wilma K. Harpole to     Coal Reserves for Williamson
  Warranty Deed        9/4/2018                                                             WC 2018-6704    Owned
                                   Williamson Energy, LLC      Energy, LLC Operations
                                     Kimberly A. Smith to    Coal Reserves for Williamson
  Warranty Deed        9/4/2018                                                             WC 2018-6703    Owned
                                   Williamson Energy, LLC      Energy, LLC Operations
                                     Gerald Lee Bethard to   Coal Reserves for Williamson
  Warranty Deed        9/4/2018                                                             WC 2018-6702    Owned
                                   Williamson Energy, LLC      Energy, LLC Operations
                                    Wendall Ray Bethard to   Coal Reserves for Williamson
  Warranty Deed        9/4/2018                                                             WC 2018-6701    Owned
                                   Williamson Energy, LLC      Energy, LLC Operations
                  Case 20-41308       Doc 228       Filed 04/01/20 Entered 04/01/20 23:45:34          Main Document
                                                             Pg 396 of 1005




Description/Title of                                                                               Recording     Owned or   Subject to
                         Date                 Parties                Brief Legal Description
    Document                                                                                      Information     Leased    Mortgage
                                        Edward W. Sursa to         Coal Reserves for Williamson
  Warranty Deed        9/24/2018                                                                  WC 2018-7338    Owned
                                     Williamson Energy, LLC          Energy, LLC Operations
                                      Barbara Jean Newton to       Coal Reserves for Williamson
  Warranty Deed        9/24/2018                                                                  WC 2018-7337    Owned
                                     Williamson Energy, LLC          Energy, LLC Operations
                                        Debra L. Caplick to        Coal Reserves for Williamson
  Warranty Deed        9/24/2018                                                                  WC 2018-7336    Owned
                                     Williamson Energy, LLC          Energy, LLC Operations
                                          Don N. Sursa to          Coal Reserves for Williamson
  Warranty Deed        9/24/2018                                                                  WC 2018-7335    Owned
                                     Williamson Energy, LLC          Energy, LLC Operations
                                       Jim D. Glazebrook to        Coal Reserves for Williamson
  Warranty Deed        9/24/2018                                                                  WC 2018-7334    Owned
                                     Williamson Energy, LLC          Energy, LLC Operations
                                      Susan Elaine Bethard to      Coal Reserves for Williamson
  Warranty Deed        9/24/2018                                                                  WC 2018-7333    Owned
                                     Williamson Energy, LLC          Energy, LLC Operations
                                       Jerry D. Brookman to        Coal Reserves for Williamson
  Warranty Deed        9/24/2018                                                                  WC 2018-7332    Owned
                                     Williamson Energy, LLC          Energy, LLC Operations
                                         Linda E. Rector to        Coal Reserves for Williamson
  Warranty Deed        9/24/2018                                                                  WC 2018-7331    Owned
                                     Williamson Energy, LLC          Energy, LLC Operations
                                     Marion E. Glazebrook to       Coal Reserves for Williamson
  Warranty Deed        9/24/2018                                                                  WC 2018-7330    Owned
                                     Williamson Energy, LLC          Energy, LLC Operations
                                    Sarah J. Glazebrook Perry to   Coal Reserves for Williamson
  Warranty Deed        9/24/2018                                                                  WC 2018-7329    Owned
                                     Williamson Energy, LLC          Energy, LLC Operations
                                    Michelle McCabe-Doyle to       Coal Reserves for Williamson
  Warranty Deed        10/16/2018                                                                 WC 2018-7977    Owned
                                     Williamson Energy, LLC          Energy, LLC Operations
                                     Richard R. Glazebrook to      Coal Reserves for Williamson
  Warranty Deed        10/16/2018                                                                 WC 2018-7976    Owned
                                     Williamson Energy, LLC          Energy, LLC Operations
                                       Robert Shon Smith to        Coal Reserves for Williamson
  Warranty Deed        10/16/2018                                                                 WC 2018-7975    Owned
                                     Williamson Energy, LLC          Energy, LLC Operations
                                     Elizabeth Jeanne Culli to     Coal Reserves for Williamson
  Warranty Deed        10/16/2018                                                                 WC 2018-7974    Owned
                                     Williamson Energy, LLC          Energy, LLC Operations
                                           Kathy Scott to          Coal Reserves for Williamson
  Warranty Deed        10/23/2018                                                                 WC 2018-8178    Owned
                                     Williamson Energy, LLC          Energy, LLC Operations
                                      Roger W. Glazebrook to       Coal Reserves for Williamson
  Warranty Deed        11/07/2018                                                                 WC 2018-8581    Owned
                                     Williamson Energy, LLC          Energy, LLC Operations
                                        Tommy R. Sursa to          Coal Reserves for Williamson
  Warranty Deed        11/27/2018                                                                 WC 2018-9311    Owned
                                     Williamson Energy, LLC          Energy, LLC Operations
                  Case 20-41308       Doc 228      Filed 04/01/20 Entered 04/01/20 23:45:34        Main Document
                                                            Pg 397 of 1005




Description/Title of                                                                            Recording     Owned or   Subject to
                         Date                Parties              Brief Legal Description
    Document                                                                                   Information     Leased    Mortgage
                                       Allen E. Heinbokel to    Coal Reserves for Williamson
  Warranty Deed        12/03/2018                                                              WC 2018-9490    Owned
                                     Williamson Energy, LLC       Energy, LLC Operations
                                    Jeremiah Wesley Seaman to   Coal Reserves for Williamson
  Warranty Deed        12/18/2018                                                              WC 2018-9920    Owned
                                     Williamson Energy, LLC       Energy, LLC Operations
                                    Alexandra Lewis DeMarino
                                                                Coal Reserves for Williamson
  Warranty Deed        12/18/2018     to Williamson Energy,                                    WC 2018-9919    Owned
                                                                  Energy, LLC Operations
                                                LLC
                                       Shannon Lee Brand to     Coal Reserves for Williamson
  Warranty Deed        1/07/2019                                                               WC 2019-147     Owned
                                     Williamson Energy, LLC       Energy, LLC Operations
                                      Michael James Lewis to    Coal Reserves for Williamson
  Warranty Deed        1/31/2019                                                               WC 2019-727     Owned
                                     Williamson Energy, LLC       Energy, LLC Operations
                                     Karolyn Kay Fullerton to   Coal Reserves for Williamson
  Warranty Deed        1/31/2019                                                               WC 2019-726     Owned
                                     Williamson Energy, LLC       Energy, LLC Operations
                                        Susan E. Denton to      Coal Reserves for Williamson
   Mining Lease         3/5/2019                                                               WC 2019-1569    Leased
                                     Williamson Energy, LLC       Energy, LLC Operations
                                        Ronald L. Smith to      Coal Reserves for Williamson
  Warranty Deed        3/18/2019                                                               WC 2019-1877    Owned
                                     Williamson Energy, LLC       Energy, LLC Operations
                                        Deloris J. Hoehn to     Coal Reserves for Williamson
  Warranty Deed        8/27/2019                                                               WC 2019-6215    Owned
                                     Williamson Energy, LLC       Energy, LLC Operations
                                       James Walter Hoyt to     Coal Reserves for Williamson
  Warranty Deed        1/26/2018                                                               FC 2018-407     Owned
                                     Williamson Energy, LLC       Energy, LLC Operations
                                      Brenda Dora Spencer to    Coal Reserves for Williamson
  Warranty Deed        2/13/2018                                                               FC 2018-633     Owned
                                     Williamson Energy, LLC       Energy, LLC Operations
                                         Patricia K. Dyer to    Coal Reserves for Williamson
  Warranty Deed        3/21/2018                                                               FC 2018-1127    Owned
                                     Williamson Energy, LLC       Energy, LLC Operations
                                        Diana L. Bischler to    Coal Reserves for Williamson
  Warranty Deed        3/21/2018                                                               FC 2018-1126    Owned
                                     Williamson Energy, LLC       Energy, LLC Operations
                                        Lisa M. Engeling to     Coal Reserves for Williamson
   Mining Lease        3/23/2018                                                               FC 2018-1177    Leased
                                     Williamson Energy, LLC       Energy, LLC Operations
                                         Jeanette Fortney to    Coal Reserves for Williamson
  Warranty Deed        4/19/2018                                                               FC 2018-1539    Owned
                                     Williamson Energy, LLC       Energy, LLC Operations
                                        Jerry K. Johnson to     Coal Reserves for Williamson
   Mining Lease        7/13/2018                                                               FC 2018-2781    Leased
                                     Williamson Energy, LLC       Energy, LLC Operations
                  Case 20-41308      Doc 228       Filed 04/01/20 Entered 04/01/20 23:45:34         Main Document
                                                            Pg 398 of 1005




Description/Title of                                                                             Recording     Owned or   Subject to
                         Date                Parties               Brief Legal Description
    Document                                                                                    Information     Leased    Mortgage
                                      Lorna Lynn Hines to        Coal Reserves for Williamson
  Warranty Deed         8/1/2018                                                                FC 2018-3095    Owned
                                    Williamson Energy, LLC         Energy, LLC Operations
                                      Robbie L. Osteen to        Coal Reserves for Williamson
  Warranty Deed         8/1/2018                                                                FC 2018-3094    Owned
                                    Williamson Energy, LLC         Energy, LLC Operations
                                      Brian M. Johnson to        Coal Reserves for Williamson
  Warranty Deed        8/10/2018                                                                FC 2018-3251    Owned
                                    Williamson Energy, LLC         Energy, LLC Operations
                                    Paula T. Hartzel, et al to   Coal Reserves for Williamson
   Mining Lease        8/29/2018                                                                FC 2018-3551    Leased
                                    Williamson Energy, LLC         Energy, LLC Operations
                                        Janet J. Griffin to      Coal Reserves for Williamson
  Warranty Deed         9/5/2018                                                                FC 2018-3642    Owned
                                    Williamson Energy, LLC         Energy, LLC Operations
                                       Gary P. Johnson to        Coal Reserves for Williamson
  Warranty Deed         9/5/2018                                                                FC 2018-3641    Owned
                                    Williamson Energy, LLC         Energy, LLC Operations
                                         Barbara Giles to        Coal Reserves for Williamson
  Warranty Deed         9/5/2018                                                                FC 2018-3640    Owned
                                    Williamson Energy, LLC         Energy, LLC Operations
                                    Katherine Ann Bradley to     Coal Reserves for Williamson
  Warranty Deed        9/18/2018                                                                FC 2018-3870    Owned
                                    Williamson Energy, LLC         Energy, LLC Operations
                                     Shirley Whitehead to        Coal Reserves for Williamson
  Warranty Deed        10/17/2018                                                               FC 2018-4400    Owned
                                    Williamson Energy, LLC         Energy, LLC Operations
                                    Barbara Faye Sharkey to      Coal Reserves for Williamson
  Warranty Deed        10/23/2018                                                               FC 2018-4481    Owned
                                    Williamson Energy, LLC         Energy, LLC Operations
                                      Emma L. Stetson to         Coal Reserves for Williamson
  Warranty Deed         2/1/2019                                                                FC 2019-335     Owned
                                    Williamson Energy, LLC         Energy, LLC Operations
                                     Ronald L. Johnson to        Coal Reserves for Williamson
  Warranty Deed        3/26/2019                                                                FC 2019-1004    Owned
                                    Williamson Energy, LLC         Energy, LLC Operations
                                      Sarah Greenwade to         Coal Reserves for Williamson
  Warranty Deed         4/2/2019                                                                FC 2019-1134    Owned
                                    Williamson Energy, LLC         Energy, LLC Operations
                                       Susan L. Naucke to        Coal Reserves for Williamson
  Warranty Deed         4/2/2019                                                                FC 2019-1154    Owned
                                    Williamson Energy, LLC         Energy, LLC Operations
                                       Brock D. Harris to        Coal Reserves for Williamson
  Warranty Deed        4/17/2019                                                                FC 2019-1351    Owned
                                    Williamson Energy, LLC         Energy, LLC Operations
                                     James Keith Harris to       Coal Reserves for Williamson
  Warranty Deed        4/17/2019                                                                FC 2019-1352    Owned
                                    Williamson Energy, LLC         Energy, LLC Operations
                                      Marilyn S. Harris to       Coal Reserves for Williamson
  Warranty Deed        4/23/2019                                                                FC 2019-1419    Owned
                                    Williamson Energy, LLC         Energy, LLC Operations
                  Case 20-41308      Doc 228      Filed 04/01/20 Entered 04/01/20 23:45:34        Main Document
                                                           Pg 399 of 1005




Description/Title of                                                                           Recording     Owned or   Subject to
                         Date               Parties              Brief Legal Description
    Document                                                                                  Information     Leased    Mortgage
                                       Miranda B. Harris to    Coal Reserves for Williamson
  Warranty Deed        5/14/2019                                                              FC 2019-1752    Owned
                                    Williamson Energy, LLC       Energy, LLC Operations
                                        Charlotte Jean to      Coal Reserves for Williamson
  Warranty Deed        5/14/2019                                                              FC 2019-1751    Owned
                                    Williamson Energy, LLC       Energy, LLC Operations
                                         Debra Krantz to       Coal Reserves for Williamson
  Warranty Deed         7/1/2019                                                              FC 2019-2388    Owned
                                    Williamson Energy, LLC       Energy, LLC Operations
                                        Mary Lou Zech to       Coal Reserves for Williamson
   Mining Lease        7/17/2019                                                              FC 2019-2618    Owned
                                    Williamson Energy, LLC       Energy, LLC Operations
                                      Judith A. Woodard to     Coal Reserves for Williamson
  Warranty Deed        7/17/2019                                                              FC 2019-2617    Owned
                                    Williamson Energy, LLC       Energy, LLC Operations
                                         Debra Krantz to       Coal Reserves for Williamson
  Warranty Deed        7/17/2019                                                              FC 2019-2616    Owned
                                    Williamson Energy, LLC       Energy, LLC Operations
                                    Norma Adams Johnson to     Coal Reserves for Williamson
  Warranty Deed        7/24/2019                                                              FC 2019-2732    Owned
                                    Williamson Energy, LLC       Energy, LLC Operations
                                       Phillip R. Erthall to   Coal Reserves for Williamson
  Warranty Deed        7/30/2019                                                              FC 2019-2832    Owned
                                    Williamson Energy, LLC       Energy, LLC Operations
                                      Robert H. Wilmert to     Coal Reserves for Williamson
  Warranty Deed        7/30/2019                                                              FC 2019-2833    Owned
                                    Williamson Energy, LLC       Energy, LLC Operations
                                      Kenneth L. Wilmert to    Coal Reserves for Williamson
  Warranty Deed        8/13/2019                                                              FC 2019-3062    Owned
                                    Williamson Energy, LLC       Energy, LLC Operations
                                       William Wilmert to      Coal Reserves for Williamson
  Warranty Deed        8/13/2019                                                              FC 2019-3061    Owned
                                    Williamson Energy, LLC       Energy, LLC Operations
                                         Linda S. Lear to      Coal Reserves for Williamson
  Warranty Deed         9/4/2019                                                              FC 2019-3389    Owned
                                    Williamson Energy, LLC       Energy, LLC Operations
                                      Steven H. Machura to     Coal Reserves for Williamson
       Deed            9/16/2019                                                              FC 2019-3554    Owned
                                    Williamson Energy, LLC       Energy, LLC Operations
                                    Sharon A. Aiken-Peterson
                                                               Coal Reserves for Williamson
  Warranty Deed        10/17/2019    to Williamson Energy,                                    FC 2019-3990    Owned
                                                                 Energy, LLC Operations
                                               LLC
                                        Raven N. Fager to      Coal Reserves for Williamson
  Warranty Deed        10/30/2019                                                             FC 2019-4153    Owned
                                    Williamson Energy, LLC       Energy, LLC Operations
                                        Mary Lou Zech to       Coal Reserves for Williamson
   Mining Lease        11/05/2019                                                             FC 2019-4251    Leased
                                    Williamson Energy, LLC       Energy, LLC Operations
                       Case 20-41308      Doc 228      Filed 04/01/20 Entered 04/01/20 23:45:34                      Main Document
                                                                Pg 400 of 1005




 Description/Title of                                                                                            Recording          Owned or   Subject to
                             Date                Parties                 Brief Legal Description
     Document                                                                                                   Information          Leased    Mortgage
                                           Daniel L. Johnson to      Coal Reserves for Williamson
    Warranty Deed          11/14/2019                                                                          FC 2019-4371          Owned
                                        Williamson Energy, LLC         Energy, LLC Operations
                                           Colleen L. Taylor to      Coal Reserves for Williamson
    Warranty Deed          11/26/2019                                                                          FC 2019-4559          Owned
                                        Williamson Energy, LLC         Energy, LLC Operations
                                        Paula Kay Osteen-Cortez to   Coal Reserves for Williamson
    Warranty Deed          2/25/2020                                                                           FC 2020-728           Owned
                                        Williamson Energy, LLC         Energy, LLC Operations
                                          Monta Ray Jennings to      Coal Reserves for Williamson
    Warranty Deed          2/25/2020                                                                           FC 2020-726           Owned
                                        Williamson Energy, LLC         Energy, LLC Operations
                                           Robbie L. Osteen to       Coal Reserves for Williamson
    Warranty Deed          2/25/2020                                                                           FC 2020-727           Owned
                                        Williamson Energy, LLC         Energy, LLC Operations


American Century Transport LLC

Preparation Plant
43521 Mayhugh Hill Rd, Beallsville
OH 43716

Material Properties:

 Description/Title of        Date                    Parties                     Brief Legal Description              Recording       Owned    Subject to
     Document                                                                                                        Information        or     Mortgage
                                                                                                                                      Leased
Special Warranty Deed       1/8/2016    American Energy Corporation to      See legal description set forth in the   201600000427     Owned       Yes
                                        American Century Transport LLC                     deed.
Case 20-41308      Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                     Main Document
                                           Pg 401 of 1005



                                                               Schedule XIII-B to Collateral Questionnaire


                                              MINING LEASES


    WILLIAMSON ENERGY, LLC:

       1.   Amended and Restated Coal Mining Lease Agreement dated August 14, 2006 between WPP LLC,
            Lessor and Williamson Energy, LLC, Lessee, as amended.

       2.   Coal Mining Lease and Sublease between Steelhead Development Company LLC (n/k/a
            Williamson Development Company LLC) and Williamson Energy, LLC dated May 1, 2005, as
            amended.

       3.   Coal Mining Lease Agreement between Independence Land Company, LLC and Williamson
            Energy, LLC (5000-Foot Extension) dated March 13, 2006, as amended.

       4.   First Amended and Restated Lease (Coal Prep Plant) dated October 15, 2006 between Williamson
            Energy, LLC and Williamson Development Company LLC.

       5.   Amended and Restated Surface Sublease and Operation Agreement dated October 15, 2006
            between Williamson Energy, LLC and Williamson Transport, LLC.

       6.   Amended and Restated Surface Sublease and Operation Agreement dated October 15, 2006
            between Williamson Energy, LLC and Williamson Track LLC.

       7.   Coal Mining Lease and Sublease dated August 12, 2010 by and between Colt LLC as lessor and
            Williamson Energy, LLC as lessee, as amended.

    SUGAR CAMP ENERGY, LLC:

       1.   Coal Mining Lease dated July 29, 2005 between RGGS Land & Minerals LTD., L.P., Lessor and
            Sugar Camp Energy, LLC, Lessee, as amended. FC 2006-6919

       2.   First Amendment to Coal Mining Lease dated August 11, 2008 between RGGS Land & Minerals,
            LTD, L.P. and Sugar Camp Energy, LLC. FC 2008-4441

       3.   Illinois Coal Lease dated July 1, 2002 between United States of America, acting through its legal
            agent, the Tennessee Valley Authority, Lessor, and Illinois Fuel Company, LLC, Lessee (as
            assigned to Ruger Coal Company, LLC under that Assignment and Assumption Agreement
            dated August 4, 2009 by and among the United States of America, acting through its legal
            agent, the Tennessee Valley Authority, Lessor, Illinois Fuel Company, LLC, Assignor, and
            Ruger Coal Company, LLC, Assignee, and expressly granting Sugar Camp Energy LLC the
            right to mine the reserves subject to the Lease). FC 2007-5822

       4.   Coal Mining Lease dated August 12, 2010 by and between Ruger Coal Company LLC as
            lessor and Sugar Camp Energy, LLC as lessee. FC 0283

       5.   Contract Mining and Overriding Royalty Agreement dated August 12, 2010 by and between
            Ruger Coal Company LLC and Sugar Camp Energy, LLC (related to Illinois Fuels lease). FC
            0290
Case 20-41308      Doc 228      Filed 04/01/20 Entered 04/01/20 23:45:34                Main Document
                                         Pg 402 of 1005


       6.   Contract Mining and Overriding Royalty Agreement dated August 12, 2010 by and between
            Ruger Coal Company LLC and Sugar Camp Energy, LLC, as amended (related to Franklin
            County lease). FC 0283

       7.   Franklin County Coal Lease dated July 1, 2002 between United States of America, acting
            through its legal agent, the Tennessee Valley Authority, Lessor, and Ruger Coal Company,
            Inc., Lessee, as assigned by Ruger Coal Company, Inc. to Ruger Coal Company, LLC, as
            amended. FC 2007-5132

    MACOUPIN ENERGY LLC:

       1.   Coal Mining Lease and Sublease Agreement dated January 27, 2009 between WPP, LLC,
            Lessor and Macoupin Energy LLC, Lessee.

       2.   Lease Agreement dated January 27, 2009 between HOD, LLC, Lessor and Macoupin Energy
            LLC (Macoupin Rail Loop Lease), as amended.

       3.   Lease Agreement dated January 27, 2009 between HOD, LLC, Lessor and Macoupin Energy
            LLC, Lessee (Macoupin Rail Loadout), as amended.

       4.   Option and Lease Agreement made and entered into as of February 28, 1967, by and between
            Jet Oil Company, as Lessor, and James F. Gatewood, Trustee, under trust established by an
            agreement dated January 13, 1967 and known as the Gatewood-J Trust, as Lessee, a short
            form of which was recorded in Volume 628, Page 456 of the Macoupin County, Illinois
            Miscellaneous Records, as amended and/or assigned (the “SEIP Lease” or “Jet Lease”).

       5.   Assignment of Leases dated January 27, 2009 between Macoupin Energy LLC, Assignor and
            WPP LLC, Assignee.

       6.   Corrective Assignment of Leases dated August 12, 2010 between Macoupin Energy LLC,
            Assignor and WPP LLC, Assignee.

       7.   Coal Mining Lease and Sublease (Unassigned Reserves) dated August 12, 2010 by and
            between Colt LLC as lessor and Macoupin Energy LLC as lessee, as amended.

       8.   Coal Mining Lease and Sublease (Macoupin North Mine Assignment) dated August 12, 2010
            by and between Colt LLC as lessor and Macoupin Energy LLC as lessee.
Case 20-41308      Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34           Main Document
                                           Pg 403 of 1005


                                                                                    Schedule XIV to
                                                                            Collateral Questionnaire
                                    FILINGS AND JURISDICTION

                                                                                        Filing
               Grantor                      Collateral             Instrument        Jurisdiction
         Foresight Energy LLC            Personal Property       UCC-1 Financing      Delaware
                                                                    Statement        Secretary of
                                                                                        State
       Foresight Energy GP LLC           Personal Property       UCC-1 Financing      Delaware
                                                                   Statement         Secretary of
                                                                                        State
        Adena Resources, LLC           Owned and Leased Real     Fee and Leasehold     Franklin
                                             Property            Mortgage/Deed of      County,
                                                                 Trust and Fixture     Illinois
                                                                       Filing
        Adena Resources, LLC           As-Extracted Collateral    UCC-1 Fixture        Franklin
                                                                       Filing          County,
                                                                                        Illinois
        Adena Resources, LLC             Personal Property       UCC-1 Financing      Delaware
                                                                   Statement         Secretary of
                                                                                         State
           Akin Energy LLC               Personal Property       UCC-1 Financing      Delaware
                                                                   Statement         Secretary of
                                                                                         State
      American Century Mineral           Personal Property       UCC-1 Financing      Delaware
               LLC                                                 Statement         Secretary of
                                                                                         State
      American Century Transport        Owned Real Property             Fee            Belmont
                LLC                                              Mortgage/Deed of    County, Ohio
                                                                 Trust and Fixture
                                                                       Filing
      American Century Transport         Personal Property       UCC-1 Financing       Delaware
                LLC                                                 Statement         Secretary of
                                                                                         State
        Coal Field Construction          Personal Property       UCC-1 Financing       Delaware
            Company LLC                                            Statement          Secretary of
                                                                                         State
       Coal Field Repair Services        Personal Property       UCC-1 Financing       Delaware
                  LLC                                              Statement          Secretary of
                                                                                         State
       Foresight Coal Sales LLC          Personal Property.      UCC-1 Financing       Delaware
                                                                   Statement          Secretary of
                                                                                         State
      Foresight Energy Employee          Personal Property.      UCC-1 Financing       Delaware
         Services Corporation                                      Statement          Secretary of
                                                                                         State
       Foresight Energy Finance          Personal Property.      UCC-1 Financing       Delaware
             Corporation                                           Statement          Secretary of
                                                                                         State
      Foresight Energy Labor LLC         Personal Property.      UCC-1 Financing       Delaware
                                                                   Statement          Secretary of
                                                                                         State
Case 20-41308    Doc 228         Filed 04/01/20 Entered 04/01/20 23:45:34           Main Document
                                          Pg 404 of 1005


                                                                                       Filing
              Grantor                      Collateral             Instrument        Jurisdiction
      Foresight Energy Services         Personal Property       UCC-1 Financing      Delaware
                 LLC                                               Statement        Secretary of
                                                                                       State
      Foresight Receivables LLC         Personal Property       UCC-1 Financing     Secretary of
                                                                  Statement            State
        Hillsboro Energy LLC            Personal Property       UCC-1 Financing      Delaware
                                                                  Statement         Secretary of
                                                                                       State
       Hillsboro Transport LLC          Personal Property       UCC-1 Financing      Delaware
                                                                  Statement         Secretary of
                                                                                       State
       LD Labor Company LLC             Personal Property       UCC-1 Financing      Delaware
                                                                  Statement         Secretary of
                                                                                       State
         Logan Mining LLC               Personal Property       UCC-1 Financing      Delaware
                                                                  Statement         Secretary of
                                                                                       State
        M-Class Mining, LLC             Personal Property       UCC-1 Financing      Delaware
                                                                  Statement         Secretary of
                                                                                       State
         Mach Mining, LLC               Personal Property       UCC-1 Financing      Delaware
                                                                  Statement         Secretary of
                                                                                       State
        Macoupin Energy LLC           Owned and Leased Real     Fee and Leasehold    Macoupin
                                            Property            Mortgage/Deed of      County,
                                                                Trust and Fixture     Illinois
                                                                      Filing
        Macoupin Energy LLC           As-Extracted Collateral    UCC-1 Fixture       Macoupin
                                                                      Filing          County,
                                                                                      Illinois
        Macoupin Energy LLC             Personal Property       UCC-1 Financing      Delaware
                                                                  Statement         Secretary of
                                                                                       State
        MaRyan Mining LLC               Personal Property       UCC-1 Financing      Delaware
                                                                  Statement         Secretary of
                                                                                       State
      Oeneus LLC d/b/a Savatran       Owned and Leased Real     Fee and Leasehold    Hamilton,
               LLC                          Property            Mortgage/Deed of     Franklin,
                                                                Trust and Fixture   Williamson,
                                                                      Filing        Gallatin and
                                                                                       Saline
                                                                                     Counties,
                                                                                      Illinois
      Oeneus LLC d/b/a Savatran         Personal Property       UCC-1 Financing      Delaware
               LLC                                                Statement         Secretary of
                                                                                       State
         Patton Mining LLC              Personal Property       UCC-1 Financing      Delaware
                                                                  Statement         Secretary of
                                                                                       State
         Seneca Rebuild LLC             Personal Property       UCC-1 Financing      Delaware
                                                                  Statement         Secretary of
                                                                                       State
             Sitran LLC                 Personal Property       UCC-1 Financing      Delaware
Case 20-41308    Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34           Main Document
                                         Pg 405 of 1005


                                                                                       Filing
              Grantor                      Collateral             Instrument       Jurisdiction
                                                                   Statement       Secretary of
                                                                                       State
       Sugar Camp Energy, LLC        Owned and Leased Real     Fee and Leasehold   Franklin and
                                           Property            Mortgage/Deed of        Saline
                                                               Trust and Fixture    Counties,
                                                                     Filing           Illinois
       Sugar Camp Energy, LLC        As-Extracted Collateral    UCC-1 Fixture      Franklin and
                                                                     Filing            Saline
                                                                                    Counties,
                                                                                      Illinois
       Sugar Camp Energy, LLC          Personal Property       UCC-1 Financing      Delaware
                                                                 Statement         Secretary of
                                                                                       State
         Tanner Energy LLC             Personal Property       UCC-1 Financing      Delaware
                                                                 Statement         Secretary of
                                                                                       State
         Viking Mining LLC             Personal Property       UCC-1 Financing      Delaware
                                                                 Statement         Secretary of
                                                                                       State
       Williamson Energy, LLC        Owned and Leased Real     Fee and Leasehold   Williamson
                                           Property            Mortgage/Deed of    Franklin and
                                                               Trust and Fixture       Saline
                                                                     Filing         Counties,
                                                                                      Illinois
       Williamson Energy, LLC        As-Extracted Collateral    UCC-1 Fixture      Williamson
                                                                   Filing          Franklin and
                                                                                       Saline
                                                                                    Counties,
                                                                                      Illinois
       Williamson Energy, LLC          Personal Property       UCC-1 Financing      Delaware
                                                                 Statement         Secretary of
                                                                                       State
Case 20-41308      Doc 228     Filed 04/01/20 Entered 04/01/20 23:45:34                   Main Document
                                        Pg 406 of 1005


                                                                                            Schedule XV
                                                                             to Collateral Questionnaire

                                             RAILCARS




                                                                                               Owned
      Description/                                                         Brief Legal
                                           Parties                                               or
   Title of Document                                                       Description
                                                                                               Leased
                           THE AMERICAN COAL COMPANY to
    Rental Agreement                                                       220 railcars        Leased
                                      SAVATRAN LLC
                        RLH1LLC to OENEUS LLC d/b/a SAVATRAN               98 railcars -
    Rental Agreement                                                                           Leased
                                             LLC                         expired/returning
                             ALF P-I, Inc. to OENEUS LLC d/b/a
    Rental Agreement                                                       113 railcars        Leased
                                      SAVATRAN LLC
   Rental Agreement -   CIT RAILCAR FUNDING COMPANY, LLC to                296 railcars -
                                                                                               Leased
    Schedule No. 2                    SAVATRAN LLC                       expired/returning
   Rental Agreement -      INFINITY TRANSPORT 2018-1, LLC to
                                                                            90 railcars        Leased
    Schedule No. 3                    SAVATRAN LLC
   Rental Agreement -   THE CIT GROUP/EQUIPMENT FINANCING,
                                                                           115 railcars        Leased
    Schedule No. 5               INC to SAVATRAN LLC
   Rental Agreement -   CIT RAILCAR FUNDING COMPANY, LLC to
                                                                            11 railcars        Leased
    Schedule No. 6                    SAVATRAN LLC
   Rental Agreement -
                             CIT BANK, N.A. to SAVATRAN LLC                 27 railcars        Leased
    Schedule No. 7
   Rental Agreement -   THE CIT GROUP/EQUIPMENT FINANCING,
                                                                            40 railcars        Leased
    Schedule No. 8                INC to SAVATRAN LLC
   Rental Agreement -   THE CIT GROUP/EQUIPMENT FINANCING,
                                                                            25 railcars        Leased
    Schedule No. 9                INC to SAVATRAN LLC
   Rental Agreement -   CIT RAILCAR FUNDING COMPANY, LLC to
                                                                            80 railcars        Leased
    Schedule No. 10                   SAVATRAN LLC
   Rental Agreement -   CIT RAILCAR FUNDING COMPANY, LLC to
                                                                           150 railcars        Leased
    Schedule No. 13                   SAVATRAN LLC
   Rental Agreement -   THE CIT GROUP/EQUIPMENT FINANCING,
                                                                           108 railcars        Leased
    Schedule No. 14               INC to SAVATRAN LLC
   Rental Agreement -   CIT RAILCAR FUNDING COMPANY, LLC to
                                                                            42 railcars        Leased
    Schedule No. 15                   SAVATRAN LLC
                          Riverside Rail ILLC, as ultimate assignee of
    Rental Agreement                                                       119 railcars        Leased
                               BBRX Five LLC to Savatan LLC
                         NBinv Riverside Cars 1, LLC, CCIX LLC and
    Rental Agreement     DCM RAIL LLC and Riverside Rail I LLC to          124 railcars        Leased
                                        Savatran LLC
Case 20-41308       Doc 228       Filed 04/01/20 Entered 04/01/20 23:45:34                 Main Document
                                           Pg 407 of 1005


                                                                                               Schedule XVI
                                                                                 To Collateral Questionnaire

                                       UNUSUAL TRANSACTIONS


   1.   On August 23, 2013, the Company distributed 100% of its ownership interest in Adena Resources, LLC,
        Sitran LLC and Hillsboro Energy LLC to its members. During the first quarter of 2015, Foresight
        Reserves, LP and a member of the Company’s management contributed their 100% equity interest in
        Adena Resources, LLC, Akin Energy LLC, Hillsboro Transport LLC and Sitran LLC to the Company.
Case 20-41308          Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                        Main Document
                                               Pg 408 of 1005


                                                                                                          EXHIBIT C-1

                                           FORM OF TERM LOAN NOTE

          FOR VALUE RECEIVED, FORESIGHT ENERGY LLC, a Delaware limited liability company (the
 “Borrower”), hereby promises to pay to [ ] or registered assigns (the “Lender”), in accordance with the provisions
 of the Credit Agreement (as hereinafter defined), the principal amount of $[ ] or so much thereof as shall constitute
 the aggregate principal amount of Term Loans made by the Lender to the Borrower under that certain Senior Secured
 Superpriority Debtor-in-Possession Credit and Guaranty Agreement, dated as of March 11, 2020 (as it may be
 amended, restated, supplemented or otherwise modified from time to time, the “Credit Agreement”; the terms defined
 therein being used herein as therein defined), among FORESIGHT ENERGY LLC, a Delaware limited liability
 company, as a debtor and debtor-in-possession, as borrower (the “Borrower”), FORESIGHT ENERGY GP LLC, a
 Delaware limited liability company, as a debtor and debtor-in-possession (the “General Partner”), FORESIGHT
 ENERGY LP, a Delaware limited partnership, as a debtor and debtor-in-possession (“Holdings”), CERTAIN
 SUBSIDIARIES OF BORROWER, each as a debtor and debtor-in-possession, as Guarantors, each lender from time
 to time party hereto (collectively, the “Lenders” and, individually, a “Lender”) and Cortland Capital Market Services
 LLC, as Administrative Agent and Collateral Agent.

           The Borrower promises to pay interest on the unpaid principal amount of each Term Loan from the date of
 such Term Loan until such principal amount is paid in full, at such interest rates and at such times as provided in the
 Credit Agreement. All payments of principal and interest shall be made to the Administrative Agent for the account
 of the Lender in Dollars and in Same Day Funds at the Administrative Agent’s Office. If any amount is not paid in
 full when due hereunder, such unpaid amount shall bear interest, to be paid upon demand, from the due date thereof
 until the date of actual payment (and before as well as after judgment) computed at the per annum rate set forth in the
 Credit Agreement.

          This Note is one of the Term Loan Notes (as defined in the Credit Agreement) referred to in the Credit
 Agreement, is entitled to the benefits thereof and may be prepaid in whole or in part subject to the terms and conditions
 provided therein. This Note is also entitled to the benefits of the Guaranty. Upon the occurrence and continuation of
 one or more of the Events of Default specified in the Credit Agreement, all amounts then remaining unpaid on this
 Note may either become or be declared to be immediately due and payable all as provided in the Credit Agreement.
 Term Loans made by the Lender shall be evidenced by one or more loan accounts or records maintained by the Lender
 in the ordinary course of business. The Lender may also attach schedules to this Note and endorse thereon the date,
 amount, currency and maturity of its Term Loans and payments with respect thereto.

        The Borrower, for itself, its successors and assigns, hereby waives diligence, presentment, protest and
 demand and notice of protest, demand, dishonor and non-payment of this Note.

       THIS NOTE SHALL BE GOVERNED BY AND CONSTRUED IN ACCORDANCE WITH THE LAWS
 OF THE STATE OF NEW YORK.




                                                         C-1 - 1
Case 20-41308   Doc 228   Filed 04/01/20 Entered 04/01/20 23:45:34        Main Document
                                   Pg 409 of 1005


                                      FORESIGHT ENERGY LLC



                                      By:       __________________________________________
                                      Name:     __________________________________________
                                      Title:    __________________________________________




                                      C-1 - 2
Case 20-41308   Doc 228    Filed 04/01/20 Entered 04/01/20 23:45:34    Main Document
                                    Pg 410 of 1005


                   LOANS AND PAYMENTS WITH RESPECT THERETO

                                                 Amount of      Outstandi
                                                 Principal or      ng
                          Amount of    End of      Interest     Principal
            Type of         Loan      Interest    Paid This      Balance    Notation
 Date      Loan Made       Made        Period       Date        This Date   Made By




                                       C-1 - 3
Case 20-41308          Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                        Main Document
                                               Pg 411 of 1005


                                                                                                          EXHIBIT C-2

                                         FORM OF ROLL-UP LOAN NOTE

           FOR VALUE RECEIVED, FORESIGHT ENERGY LLC, a Delaware limited liability company (the
 “Borrower”), hereby promises to pay to [ ] or registered assigns (the “Lender”), in accordance with the provisions
 of the Credit Agreement (as hereinafter defined), the principal amount of $[ ] or so much thereof as shall constitute
 the aggregate principal amount of Roll-Up Loans made by the Lender to the Borrower under that certain Senior
 Secured Superpriority Debtor-in-Possession Credit and Guaranty Agreement, dated as of March 11, 2020 (as it may
 be amended, restated, supplemented or otherwise modified from time to time, the “Credit Agreement”; the terms
 defined therein being used herein as therein defined), among FORESIGHT ENERGY LLC, a Delaware limited
 liability company, as a debtor and debtor-in-possession, as borrower (the “Borrower”), FORESIGHT ENERGY GP
 LLC, a Delaware limited liability company, as a debtor and debtor-in-possession (the “General Partner”),
 FORESIGHT ENERGY LP, a Delaware limited partnership, as a debtor and debtor-in-possession (“Holdings”),
 CERTAIN SUBSIDIARIES OF BORROWER, each as a debtor and debtor-in-possession, as Guarantors, each lender
 from time to time party hereto (collectively, the “Lenders” and, individually, a “Lender”) and Cortland Capital Market
 Services LLC, as Administrative Agent and Collateral Agent.

           The Borrower promises to pay interest on the unpaid principal amount of each Roll-Up Loan from the date
 of such Roll-Up Loan until such principal amount is paid in full, at such interest rates and at such times as provided
 in the Credit Agreement. All payments of principal and interest shall be made to the Administrative Agent for the
 account of the Lender in Dollars and in Same Day Funds at the Administrative Agent’s Office. If any amount is not
 paid in full when due hereunder, such unpaid amount shall bear interest, to be paid upon demand, from the due date
 thereof until the date of actual payment (and before as well as after judgment) computed at the per annum rate set
 forth in the Credit Agreement.

          This Note is one of the Roll-Up Loan Notes (as defined in the Credit Agreement) referred to in the Credit
 Agreement, is entitled to the benefits thereof and may be prepaid in whole or in part subject to the terms and conditions
 provided therein. This Note is also entitled to the benefits of the Guaranty. Upon the occurrence and continuation of
 one or more of the Events of Default specified in the Credit Agreement, all amounts then remaining unpaid on this
 Note may either become or be declared to be immediately due and payable all as provided in the Credit Agreement.
 Roll-Up Loans made by the Lender shall be evidenced by one or more loan accounts or records maintained by the
 Lender in the ordinary course of business. The Lender may also attach schedules to this Note and endorse thereon the
 date, amount, currency and maturity of its Roll-Up Loans and payments with respect thereto.

        The Borrower, for itself, its successors and assigns, hereby waives diligence, presentment, protest and
 demand and notice of protest, demand, dishonor and non-payment of this Note.

       THIS NOTE SHALL BE GOVERNED BY AND CONSTRUED IN ACCORDANCE WITH THE LAWS
 OF THE STATE OF NEW YORK.




                                                         C-2 - 1
Case 20-41308   Doc 228   Filed 04/01/20 Entered 04/01/20 23:45:34        Main Document
                                   Pg 412 of 1005


                                      FORESIGHT ENERGY LLC


                                      By:       __________________________________________
                                      Name:     __________________________________________
                                      Title:    __________________________________________




                                      C-2 - 2
Case 20-41308   Doc 228    Filed 04/01/20 Entered 04/01/20 23:45:34    Main Document
                                    Pg 413 of 1005


                   LOANS AND PAYMENTS WITH RESPECT THERETO

                                                 Amount of      Outstandi
                                                 Principal or      ng
                          Amount of    End of      Interest     Principal
            Type of         Loan      Interest    Paid This      Balance    Notation
 Date      Loan Made       Made        Period       Date        This Date   Made By




                                       C-2 - 3
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                        Main Document
                                                Pg 414 of 1005


                                                                                                              EXHIBIT D



                                     FORM OF COMPLIANCE CERTIFICATE



 To:      Cortland Capital Market Services LLC, as Administrative Agent

 Ladies and Gentlemen:

          Reference is made to that certain Senior Secured Superpriority Debtor-in-Possession Credit and Guaranty
 Agreement, dated as of March 11, 2020 (as it may be amended, restated, supplemented or otherwise modified from
 time to time, the “Credit Agreement”; the terms defined therein being used herein as therein defined), among
 FORESIGHT ENERGY LLC, a Delaware limited liability company, as a debtor and debtor-in-possession, as borrower
 (the “Borrower”), FORESIGHT ENERGY GP LLC, a Delaware limited liability company, as a debtor and debtor-in-
 possession (the “General Partner”), FORESIGHT ENERGY LP, a Delaware limited partnership, as a debtor and
 debtor-in-possession (“Holdings”), CERTAIN SUBSIDIARIES OF BORROWER, each as a debtor and debtor-in-
 possession, as Guarantors, each lender from time to time party hereto (collectively, the “Lenders” and, individually, a
 “Lender”) and Cortland Capital Market Services LLC, as Administrative Agent and Collateral Agent.

          The undersigned Responsible Officer hereby certifies as of the date hereof that he/she is the       of   the
 Borrower, and that, as such, he/she is authorized to execute and deliver this Certificate to the Administrative Agent
 on the behalf of the Borrower, and that:

                          [Use following paragraph 1 for fiscal year-end financial statements]

          1.       Attached hereto as Schedule 1 are the year-end audited financial statements required by Section
 6.01(a) of the Credit Agreement for the fiscal year of the Borrower ended as of the above date, together with the report
 and opinion of an independent certified public accountant required by such section.4

                        [Use following paragraph 1 for fiscal quarter-end financial statements]

           2.        Attached hereto as Schedule 1 are the unaudited financial statements required by Section 6.01(b) of
 the Credit Agreement for the fiscal quarter of the Borrower ended as of the above date. Such financial statements
 fairly present in all material respects the financial condition, results of operations, changes in shareholders’ equity and
 cash flows of the Borrower and its Subsidiaries in accordance with GAAP as at such date and for such period, subject
 only to normal year-end audit adjustments and the absence of footnotes.

          3.       The undersigned has reviewed and is familiar with the terms of the Credit Agreement and has made,
 or has caused to be made under his/her supervision, a review of the financial condition of the Borrower during the
 accounting period covered by the attached financial statements.

          4.       A review of the activities of the Borrower during such fiscal period has been made under the
 supervision of the undersigned with a view to determining whether during such fiscal period the Borrower performed
 and observed all of its Obligations under the Loan Documents, and

                                                       [select one:]




          4
                   In the event that Holdings or any Parent reports on a consolidated basis, such consolidated reporting
 at Holdings or such Parent’s level in a manner consistent with that described in clauses (a) and (b) of this Section 6.01
 for the Borrower will satisfy the requirements of such clauses.


                                                           D-1
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                       Main Document
                                                Pg 415 of 1005


          [to the best knowledge of the undersigned during such fiscal period, the Borrower performed and
 observed each covenant of the Loan Documents applicable to it and no Default or Event of Default has occurred
 and is continuing.]

                                                          —or—

         [the following covenants have not been performed or observed and the following is a list of each such
 Default or Event of Default and its nature and status:]

           [5.      Except for the following Subsidiaries which are in the process of complying with the requirements
 of Section 6.12 of the Credit Agreement, as of the date hereof, there is no Subsidiary that is required to be a Guarantor,
 by virtue of the definition of Guarantor.]5

          [[6].    Since the [Closing Date][date of the last Compliance Certificate delivered by the Borrower pursuant
 to Section 6.02(a)], the Loan Parties have acquired the following Material Real Property:]6

         [7].     Unless as stated otherwise in a certificate of a Responsible Officer attached hereto, there has been
 no material change in accounting policies or financial reporting practices by the Borrower or any Subsidiary.




          5
                    To include only if any Subsidiary that is not a Guarantor is required to become a Guarantor by virtue
 of the definition thereof as of the date of the Compliance Certificate.
          6
                    To be included if any Material Real Property is acquired during the period specified, listing
 applicable Loan Party, nature of interest, location and, if leased, name and address of lessor.


                                                          D-2
Case 20-41308     Doc 228      Filed 04/01/20 Entered 04/01/20 23:45:34             Main Document
                                        Pg 416 of 1005


      IN WITNESS WHEREOF, the undersigned has executed this Certificate as of   ,   .

                                               FORESIGHT ENERGY LLC


                                               By:      __________________________________________

                                               Name:    __________________________________________

                                               Title:   __________________________________________




                                                D-3
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                        Main Document
                                                Pg 417 of 1005


                                                        For the Quarter/Year ended                     (“Statement Date”)

                                                     SCHEDULE 1
                                              to the Compliance Certificate

                                                       [See attached]

                                                                                                              EXHIBIT E

                                  FORM OF ASSIGNMENT AND ASSUMPTION

          This Assignment and Assumption Agreement (this “Assignment”) is dated as of the Closing Date set forth
 below and is entered into by and between [Insert name of Assignor] (the “Assignor”) and [Insert name of Assignee]
 (the “Assignee”). Capitalized terms used but not defined herein shall have the meanings given to them in the Credit
 Agreement identified below (as it may be amended, restated, supplemented or otherwise modified from time to time,
 the “Credit Agreement”), receipt of a copy of which is hereby acknowledged by the Assignee. The Standard Terms
 and Conditions set forth in Annex 1 attached hereto (the “Standard Terms and Conditions”) are hereby agreed to and
 incorporated herein by reference and made a part of this Assignment as if set forth herein in full.

           For an agreed consideration, the Assignor hereby irrevocably sells and assigns to the Assignee, and the
 Assignee hereby irrevocably purchases and assumes from the Assignor, subject to and in accordance with the Standard
 Terms and Conditions and the Credit Agreement, as of the Closing Date inserted by the Administrative Agent as
 contemplated below (i) all of the Assignor’s rights and obligations in its capacity as a Lender under the Credit
 Agreement and any other documents or instruments delivered pursuant thereto to the extent related to the amount and
 percentage interest identified below of all of the outstanding rights and obligations of the Assignor under the respective
 facilities identified below (including, without limitation, guarantees included in such facility) and (ii) to the extent
 permitted to be assigned under applicable law, all claims, suits, causes of action and any other right of the Assignor
 (in its capacity as a Lender) against any Person, whether known or unknown, arising under or in connection with the
 Credit Agreement, any other documents or instruments delivered pursuant thereto or the loan transactions governed
 thereby or in any way based on or related to any of the foregoing, including, but not limited to, contract claims, tort
 claims, malpractice claims, statutory claims and all other claims at law or in equity related to the rights and obligations
 sold and assigned pursuant to clause (i) above (the rights and obligations sold and assigned by the Assignor to the
 Assignee pursuant to clauses (i) and (ii) above being referred to herein collectively as, the “Assigned Interest”). Such
 sale and assignment is without recourse to the Assignor and, except as expressly provided in this Assignment and the
 Credit Agreement, without representation or warranty by the Assignor.

 1.       Assignor:

 2.       Assignee:                             [and is an Affiliate/Approved Fund of [identify Lender]7]

 3.       Borrower:                             FORESIGHT ENERGY LLC

 4.       Administrative Agent: Cortland Capital Market Services LLC, as the Administrative Agent under the
          Credit Agreement

 5.       Credit Agreement:                  Senior Secured Superpriority Debtor-in-Possession Credit and Guaranty
          Agreement, dated as of March [ ], 2020 (as amended, restated, supplemented, or otherwise modified from
          time to time, the “Credit Agreement”; the terms defined therein being used herein as therein defined), among
          FORESIGHT ENERGY LLC, a Delaware limited liability company, as a debtor and debtor-in-possession,
          as borrower (the “Borrower”), FORESIGHT ENERGY GP LLC, a Delaware limited liability company, as a
          debtor and debtor-in-possession (the “General Partner”), FORESIGHT ENERGY LP, a Delaware limited
          partnership, as a debtor and debtor-in-possession (“Holdings”), CERTAIN SUBSIDIARIES OF
          BORROWER, each as a debtor and debtor-in-possession, as Guarantors, each lender from time to time party



          7
                   Select as applicable.



                                                           E-1
Case 20-41308               Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                     Main Document
                                                    Pg 418 of 1005


              hereto (collectively, the “Lenders” and, individually, a “Lender”) and Cortland Capital Market Services LLC,
              as Administrative Agent and Collateral Agent.

              1.            Assigned Interest:

                                               Aggregate Amount of        Amount of              Percentage Assigned
                                                Commitment/Loans       Commitment/Loans                  of
 Facility Assigned                                for all Lenders          Assigned              Commitment/Loans8
                                          9
                                              $                        $                         $                   %
                                              $                        $                         $                   %
                                              $                        $                         $                   %

 [7.          Trade Date:                          ]10

 Closing Date: , 20 [TO BE INSERTED BY ADMINISTRATIVE AGENT AND WHICH SHALL BE THE
 CLOSING DATE OF RECORDATION OF TRANSFER IN THE REGISTER THEREFOR.]

              The terms set forth in this Assignment and Assumption are hereby agreed to:

                                                           ASSIGNOR
                                                           [NAME OF ASSIGNOR]
                                                           By:
                                                                 Title:

                                                           ASSIGNEE
                                                           [NAME OF ASSIGNEE]
                                                           By:
                                                                 Title:

 [Consented to and]11 Accepted:

 Cortland Capital Market Services LLC, as the Administrative Agent under the Credit Agreement]

 By: ______________________________________________
     Title:

 [Consented to:

 FORESIGHT ENERGY LLC


 By:
 Title: ]12


              8
                    Set forth, to at least 10 decimals, as a percentage of the Commitment/Loans of all Lenders thereunder.
              9
                    Fill in the appropriate terminology for the types of facilities under the Credit Agreement that are being
 assigned under this Assignment (e.g. “Initial Term Loan”, “Delayed Draw Term Loan Commitment”, “Delayed Draw Term
 Loan”, “Roll-Up Loan”, etc.)
           10
                    To be completed if the Assignor and the Assignee intend that the minimum assignment amount is to be
 determined as of the Trade Date.
           11
                    To be added only if the consent of the Administrative Agent is required by the terms of the Credit
 Agreement.
           12
                    To be added only if the consent of the Borrower is required by the terms of the Credit Agreement. Note
 that the Borrower shall be deemed to have consented to an assignment unless it shall have objected thereto by written notice
 to the Administrative Agent within three (3) Business Days after having received notice thereof.



                                                            E-2
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                        Main Document
                                                Pg 419 of 1005


                                                                   ANNEX 1 TO ASSIGNMENT AND ASSUMPTION

                                                CREDIT AGREEMENT

                                   STANDARD TERMS AND CONDITIONS FOR

                                         ASSIGNMENT AND ASSUMPTION

                   1.        Representations and Warranties.

                      1.1.     Assignor. The Assignor (a) represents and warrants that (i) it is the legal and beneficial
 owner of the Assigned Interest, (ii) the Assigned Interest is free and clear of any lien, encumbrance or other adverse
 claim and (iii) it has full power and authority, and has taken all action necessary, to execute and deliver this Assignment
 and Assumption and to consummate the transactions contemplated hereby; and (b) assumes no responsibility with
 respect to (i) any statements, warranties or representations made in or in connection with the Credit Agreement or any
 other Loan Document, (ii) the execution, legality, validity, enforceability, genuineness, sufficiency or value of the
 Loan Documents or any collateral thereunder, (iii) the financial condition of the Borrower, any of its Subsidiaries or
 Affiliates or any other Person obligated in respect of any Loan Document or (iv) the performance or observance by
 the Borrower, any of its Subsidiaries or Affiliates or any other Person of any of their respective obligations under any
 Loan Document.

                    1.2.     Assignee. The Assignee (a) represents and warrants that (i) it has full power and authority,
 and has taken all action necessary, to execute and deliver this Assignment and Assumption and to consummate the
 transactions contemplated hereby and to become a Lender under the Credit Agreement, (ii) it meets all requirements
 of an Eligible Assignee under the Credit Agreement (subject to receipt of such consents as may be required under the
 Credit Agreement) and is not a Defaulting Lender, Disqualified Institution, a Loan Party or Affiliated Lender,
 (iii) from and after the Closing Date, it shall be bound by the provisions of the Credit Agreement as a Lender
 thereunder and, to the extent of the Assigned Interest, shall have the obligations of a Lender thereunder, (iv) it has
 received a copy of the Credit Agreement, together with copies of the most recent financial statements delivered
 pursuant to Section 6.01 thereof, as applicable, and such other documents and information as it has deemed appropriate
 to make its own credit analysis and decision to enter into this Assignment and Assumption and to purchase the
 Assigned Interest on the basis of which it has made such analysis and decision independently and without reliance on
 any Agent or any other Lender, and (v) if it is not an existing Lender, attached hereto is any documentation required
 to be delivered by it pursuant to the terms of the Credit Agreement, duly completed and executed by the Assignee
 (including an Administrative Questionnaire, all documentation and other information required by bank regulatory
 authorities under applicable “know your customer” and anti-money laundering rules and regulations, and all applicable
 tax forms); and (b) agrees that (i) it will, independently and without reliance on the Administrative Agent, the Assignor
 or any other Lender, and based on such documents and information as it shall deem appropriate at the time, continue
 to make its own credit decisions in taking or not taking action under the Loan Documents, and (ii) it will perform in
 accordance with their terms all of the obligations which by the terms of the Loan Documents are required to be
 performed by it as a Lender.

                  2.        Payments. From and after the Closing Date, the Administrative Agent shall make all
 payments in respect of the Assigned Interest (including payments of principal, interest, fees and other amounts) to the
 Assignor for amounts which have accrued to but excluding the Closing Date and to the Assignee for amounts which
 have accrued from and after the Closing Date.

                    3.        General Provisions. This Assignment and Assumption shall be binding upon, and inure to
 the benefit of, the parties hereto and their respective successors and assigns. This Assignment and Assumption may
 be executed in any number of counterparts, which together shall constitute one instrument. Delivery of an executed
 counterpart of a signature page of this Assignment and Assumption by telecopy shall be effective as delivery of a
 manually executed counterpart of this Assignment and Assumption. This Assignment and Assumption shall be
 governed by, and construed in accordance with, the law of the State of New York.




                                                           E-3
Case 20-41308   Doc 228   Filed 04/01/20 Entered 04/01/20 23:45:34   Main Document
                                   Pg 420 of 1005


                                                                         EXHIBIT F



                                   [RESERVED]
Case 20-41308   Doc 228   Filed 04/01/20 Entered 04/01/20 23:45:34   Main Document
                                   Pg 421 of 1005


                                                                        EXHIBIT G



                                   [RESERVED]
Case 20-41308   Doc 228    Filed 04/01/20 Entered 04/01/20 23:45:34   Main Document
                                    Pg 422 of 1005


                                                                         EXHIBIT H

                          FORM OF CRITICAL VENDOR REPORT



                                    [See Attached]




                                        H-1
Foresight Energy LP
Postpetition Payments of Prepetition Liabilities
Summary

                                                                                                    Amount Paid                                                                                                               Estimated
                                                                                                    Week Ending                                                                                            Cumulative         Prepetition
FDM Categories                                         14‐Mar         21‐Mar         28‐Mar         4‐Apr         11‐Apr         18‐Apr         25‐Apr         2‐May                                         Total             Liability       Motion Cap
Employee Wage & Benefits                                        ‐              ‐              ‐             ‐              ‐              ‐              ‐                                          ‐                   ‐        17,065,000             N/A
Customer Obligations                                            ‐              ‐              ‐             ‐              ‐              ‐              ‐                                          ‐                   ‐           360,000             N/A

  Shippers, Warehousemen and Service Providers                  ‐              ‐              ‐             ‐              ‐              ‐              ‐                                          ‐                   ‐       12,800,000             N/A
  Critical Vendor                                               ‐              ‐              ‐             ‐              ‐              ‐              ‐                                          ‐                   ‐       27,400,000             N/A




                                                                                                                                                                                    Case 20-41308
  503(b)(9)                                                     ‐              ‐              ‐             ‐              ‐              ‐              ‐                                          ‐                   ‐        2,900,000             N/A
Trade                                                                                                                                                                                                                           43,100,000       43,100,000

Royalty and Leasehold Claims                                    ‐              ‐              ‐             ‐              ‐              ‐              ‐                                          ‐                   ‐       14,500,000       14,500,000
Taxes                                                           ‐              ‐              ‐             ‐              ‐              ‐              ‐                                          ‐                   ‐       13,085,000       13,085,000
Insurance Programs                                              ‐              ‐              ‐             ‐              ‐              ‐              ‐                                          ‐                   ‐             N/A              N/A
Cash Management                                                 ‐              ‐              ‐             ‐              ‐              ‐              ‐                                          ‐                   ‐             N/A              N/A
Executory Contracts                                             ‐              ‐              ‐             ‐              ‐              ‐              ‐                                          ‐                   ‐                ‐
Surety Bonds ‐ Premiums / Fees                                  ‐              ‐              ‐             ‐              ‐              ‐              ‐                                          ‐                   ‐             N/A              N/A
Surety Bonds ‐ Collateral                                       ‐              ‐              ‐             ‐              ‐              ‐              ‐                                          ‐                   ‐        2,000,000        2,000,000
Total                                              $            ‐ $            ‐ $            ‐ $           ‐ $            ‐ $            ‐ $            ‐ $                                        ‐ $                 ‐ $     90,110,000 $     72,685,000




                                                                                                                                                                                    Doc 228
                                                                                                                                                                Filed 04/01/20 Entered 04/01/20 23:45:34
                                                                                                                                                                         Pg 423 of 1005
                                                                                                                                                                                    Main Docum
Case 20-41308   Doc 228   Filed 04/01/20 Entered 04/01/20 23:45:34   Main Document
                                   Pg 424 of 1005


                                                                         EXHIBIT I

                 FORM OF MONTHLY MINE-LEVEL FINANCIAL REPORT

                                   [See Attached]




                                       I-1
Case 20-41308                    Doc 228                Filed 04/01/20 Entered 04/01/20 23:45:34                                                       Main Document
                                                                 Pg 425 of 1005

                                           [TBD] Mine 1
                           Statement of Operations / Operating Cash Flow
                                          March 31, 2020

                                                                            MONTH‐TO‐DATE

                                                                      DOLLARS                 PER TON

   Operational Statistics
    Ton produced                                                                      ‐                   NA
    Tons sold                                                                         ‐                   NA

   Revenues
     Coal sales                                                  $                ‐       $               ‐
     Other revenue                                                                    ‐                       ‐
       Total revenues                                                                 ‐                       ‐

   Operating Expenses
    Cost of coal sales
      Labor ‐ salary                                                                  ‐                       ‐
      Labor ‐ hourly                                                                  ‐                       ‐
      Supplies                                                                        ‐                       ‐
      Repairs & maintenance                                                           ‐                       ‐
      Power & utilities                                                               ‐                       ‐
      Property & subsidence                                                           ‐                       ‐
      Temporary mine closure costs                                                    ‐                       ‐
      Longwall panel amortization                                                     ‐                       ‐
      Allocations and Other Expenses                                                  ‐                       ‐
      Overhead                                                                        ‐                       ‐
      Inventory change                                                                ‐                       ‐
      Capitalized costs ‐ cost of coal sales                                          ‐                       ‐
        Total cost of coal sales                                                      ‐                       ‐
       Cost of coal purchased                                                         ‐                       ‐
       Depreciation, depletion & amortization                                         ‐                       ‐
       Accretion on asset retirement obligations                                      ‐                       ‐
       Amortization of sales contracts, net                                           ‐                       ‐
       Transportation expense                                                         ‐                       ‐
       Other (income) / expense                                                       ‐                       ‐
       Selling, general & administrative expenses                                     ‐                       ‐
         Total Operating Expenses                                                     ‐                       ‐

   Operating income                                                                   ‐                       ‐
    Interest expense, net                                                             ‐                       ‐
      Net income (loss)                                                               ‐                       ‐

   Add:
     DD&A                                                                             ‐                       ‐
     Amortization of sales contracts, net                                             ‐                       ‐
     Accretion on AROs                                                                ‐                       ‐
       Operating cash flow                                                            ‐                       ‐
   Less:
     Capital expenditures                                                             ‐                       ‐
       Operating cash flow less capital                                               ‐                       ‐
     Debt service (principal)                                                         ‐                       ‐
       Net cash flow                                                                  ‐                       ‐

   Adjusted EBITDA
    Net income (loss)                                                                 ‐                       ‐
    DD&A                                                                              ‐                       ‐
    Accretion on AROs                                                                 ‐                       ‐
    Amortization of sales contracts, net                                              ‐                       ‐
    Equity‐based compensation‐salary                                                  ‐                       ‐
    Non‐controlling interest                                                          ‐                       ‐
    Interest expense, net                                                             ‐                       ‐
       Adjusted EBITDA                                           $                ‐       $               ‐

   1
    Represents Statement of Operations / Operating Cash Flow template that will be provided monthly for the following six locations: (i) Williamson
   Mine, (ii) Sugar Camp Complex ‐ M Class Mine, (iii) Sugar Camp Complex ‐ Viking Mine, (iv) Hillsboro Mine, (v) Macoupin Mine, and (vi) the Sitran
   Dock/Terminal.
Case 20-41308   Doc 228   Filed 04/01/20 Entered 04/01/20 23:45:34   Main Document
                                   Pg 426 of 1005


                                                                         EXHIBIT J

                FORM OF MONTHLY CONSOLIDATED FINANCIAL REPORT

                                   [See Attached]




                                       J-1
Case 20-41308         Doc 228       Filed 04/01/20 Entered 04/01/20 23:45:34   Main Document
                                             Pg 427 of 1005


                                             Foresight Energy LP
                                   Unaudited Consolidated Balance Sheets
                                                (In Thousands)


                                                                               March 31,
                                                                                 2020
 Assets
 Current assets:
   Cash and cash equivalents                                               $               —
   Accounts receivable                                                                     —
   Due from affiliates                                                                     —
   Financing receivables - affiliate                                                       —
   Inventories, net                                                                        —
   Prepaid royalties                                                                       —
   Deferred longwall costs                                                                 —
   Other prepaid expenses and current assets                                               —
   Contract-based intangibles                                                              —
     Total current assets                                                                  —
 Property, plant, equipment, and development, net                                          —
 Due from affiliates                                                                       —
 Financing receivables - affiliate                                                         —
 Prepaid royalties                                                                         —
 Other assets                                                                              —
 Contract-based intangibles                                                                —
          Total assets                                                     $               —
 Liabilities and partners’ capital
 Current liabilities:
   Current portion of long-term debt and finance lease obligations         $               —
   Current portion of sale-leaseback financing arrangements                                —
   Accrued interest                                                                        —
   Accounts payable                                                                        —
   Accrued expenses and other current liabilities                                          —
   Asset retirement obligations                                                            —
   Due to affiliates                                                                       —
   Contract-based intangibles                                                              —
     Total current liabilities                                                             —
 Long-term debt and finance lease obligations                                              —
 Sale-leaseback financing arrangements                                                     —
 Asset retirement obligations                                                              —
 Other long-term liabilities                                                               —
 Contract-based intangibles                                                                —
     Total liabilities not subject to compromise                                           —
     Liabilities subject to compromise                                                     —
        Total liabilities                                                                  —
 Limited partners' capital:
        Total limited partners' capital                                                    —
          Total liabilities and partners' capital                          $               —
             Case 20-41308                Doc 228          Filed 04/01/20 Entered 04/01/20 23:45:34               Main Document
                                                                    Pg 428 of 1005


                                                      Foresight Energy LP
                                       Unaudited Consolidated Statements of Operations
                                                         (In Thousands)


                                                                                             Month Ended
                                                                                             March 31, 2020

Revenues
    Coal sales                                                                           $                    —
    Other revenues                                                                                            —
Total revenues                                                                                                —

Costs and expenses
    Cost of coal produced (excluding depreciation, depletion and amortization)                                —
    Cost of coal purchased                                                                                    —
    Transportation                                                                                            —
    Depreciation, depletion and amortization                                                                  —
    Contract amortization                                                                                     —
    Accretion and changes in estimates on asset retirement obligations                                        —
    Selling, general and administrative                                                                       —
    Long-lived asset impairments                                                                              —
    Other operating (income) expense, net                                                                     —
Operating income                                                                                              —
Other expenses
    Interest expense, net                                                                                     —
    Interest (benefit) expense, net - sale-leaseback financing arrangements                                   —
    Reorganization items, net                                                                                 —
Net loss                                                                                 $                    —
Case 20-41308   Doc 228   Filed 04/01/20 Entered 04/01/20 23:45:34   Main Document
                                   Pg 429 of 1005


                                                                         EXHIBIT K

                                 INTERIM ORDER

                                    [See attached]




                                       K-1
Case 20-41308          Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                        Main Document
                                               Pg 430 of 1005


                               UNITED STATES BANKRUPTCY COURT
                                 EASTERN DISTRICT OF MISSOURI
                                       EASTERN DIVISION

  In re:                                                    )    Chapter 11
                                                            )
  FORESIGHT ENERGY LP, et al.,                              )    Case No. 20-41308-659
                                                            )
                              Debtors. 1                    )    (Joint Administration Requested)
                                                            )

    INTERIM ORDER (I) AUTHORIZING THE DEBTORS TO (A) OBTAIN POST-
   PETITION FINANCING, (B) GRANT SENIOR SECURED PRIMING LIENS AND
 SUPERPRIORITY ADMINISTRATIVE EXPENSE CLAIMS, AND (C) UTILIZE CASH
 COLLATERAL; (II) GRANTING ADEQUATE PROTECTION TO THE PREPETITION
       SECURED PARTIES; (III) MODIFYING THE AUTOMATIC STAY; (IV)
     SCHEDULING FINAL HEARING; AND (V) GRANTING RELATED RELIEF

           Upon the motion, dated March 10, 2020 (the “Motion”), of Foresight Energy L.P.

 (“FELP”) and its affiliated debtors and debtors in possession (collectively, the “Debtors”) in the

 above-captioned chapter 11 cases (the “Cases”) commenced on March 10, 2020 (the “Petition

 Date”) for interim (this “Interim Order”) and final orders under sections 105, 361, 362, 363, 364,

 503, 506(c) and 507 of title 11 of the United States Code, 11 U.S.C. §§ 101, et seq. (as amended,

 the “Bankruptcy Code”), Rules 2002, 4001, 6003, 6004 and 9014 of the Federal Rules of

 Bankruptcy Procedure (as amended, the “Bankruptcy Rules”), and the Local Bankruptcy Rules for




 1
           The Debtors in these cases are each incorporated or organized in the state of Delaware, and along with the
 last four digits of each Debtor’s federal tax identification number (or SEC filing number if unavailable), are: Foresight
 Energy LP (8894); Foresight Energy GP LLC (8332); Foresight Energy LLC (7685); Foresight Energy Employee
 Services Corporation (7023); Foresight Energy Services LLC (6204); Foresight Receivables LLC (2250); Sugar Camp
 Energy, LLC (8049); Macoupin Energy LLC (9005); Williamson Energy, LLC (9143); Foresight Coal Sales LLC
 (8620); Tanner Energy LLC (0409); Sitran LLC (9962); Seneca Rebuild LLC (0958); Oeneus LLC (6007); Adena
 Resources, LLC (4649); Hillsboro Transport LLC (6881); American Century Transport LLC (SEC No. 5786); Akin
 Energy LLC (1648); American Century Mineral LLC (SEC No. 5788); Foresight Energy Finance Corporation (5321);
 Foresight Energy Labor LLC (4176); Viking Mining LLC (4981); M-Class Mining, LLC (5272); MaRyan Mining
 LLC (7085); Mach Mining, LLC (4826); Logan Mining LLC (2361); LD Labor Company LLC (8454); Coal Field
 Repair Services LLC (9179); Coal Field Construction Company LLC (5694); Hillsboro Energy LLC (1639); and
 Patton Mining LLC (7251). The address of the Debtors’ corporate headquarters is One Metropolitan Square, 211
 North Broadway, Suite 2600, St. Louis, Mirepossouri 63102.
Case 20-41308     Doc 228     Filed 04/01/20 Entered 04/01/20 23:45:34             Main Document
                                       Pg 431 of 1005


 the United States Bankruptcy Court for the Eastern District of Missouri (this “Court”) seeking,

 among other things,

        (a)    authorization for Foresight Energy LLC, in its capacity as borrower (the
               “Borrower”), to obtain postpetition financing, and for each of the other Debtors to
               guarantee unconditionally (the “Guarantors”), on a joint and several basis, the
               Borrower’s obligations in connection with a debtor-in-possession financing,
               comprising a superpriority senior secured multiple-draw term loan facility in an
               aggregate principal amount of up to $175,000,000.00 (the “DIP Facility”), which
               consists of, (i) new money multi-draw term loan facility in an aggregate principal
               amount of $100,000,000.00 (the commitments thereunder, the “New Money DIP
               Commitments” and the loans advanced thereunder, the “New Money DIP Loans”)
               to be funded by certain Prepetition First Lien Lenders (as defined herein) and
               Prepetition Second Lien Noteholders (as defined herein), and (ii) a term loan
               facility in an aggregate principal amount of $75,000,000.00, which shall (A) roll-
               up the Prepetition First Lien Debt (as defined herein), as further described in the
               DIP Facility and the Restructuring Support Agreement (as defined below), held by
               the participating Prepetition First Lien Lenders (or one or more of their respective
               affiliates or any investment advisory client managed or advised by such
               participating Prepetition First Lien Lenders) into the DIP Facility on a pro rata
               basis based on each such participating Prepetition First Lien Lender’s New Money
               DIP Commitments (such rolled-up debt, the “Roll-Up Loans” and, together with
               the New Money DIP Loans, the “DIP Loans”), (C) be issued under the DIP Facility
               on a pari passu basis with the New Money DIP Loans, and (D) be approved in its
               entirety upon entry of and pursuant to the Final Order;

        (b)    authorization for the Debtors to enter into that certain Senior Secured Superpriority
               Debtor-In-Possession Credit and Guaranty Agreement among the Borrower, the
               Guarantors, the lenders from time to time party thereto (collectively, the “DIP
               Lenders”), and Cortland Capital Market Services LLC, as administrative agent and
               collateral agent (in such capacities, the “DIP Agent” and, together with the DIP
               Lenders, the “DIP Parties”) (as amended, restated or otherwise modified from time
               to time in accordance with the terms thereof, the “DIP Credit Agreement,” together
               with all agreements, documents, and instruments delivered or executed in
               connection therewith, including, without limitation, that certain Restructuring
               Support Agreement, dated as of March 10, 2020 (the “Restructuring Support
               Agreement”), as it relates to the commitments of the Backstop Parties (as defined
               herein) to fund the New Money DIP Commitments, the “DIP Documents”), which
               shall be in substantially the same form attached hereto as Exhibit 2, and to perform
               their respective obligations thereunder and all such other and further acts as may be
               necessary, appropriate, or desirable in connection with the DIP Documents;

        (c)    authorization for the Debtors (x) to use the proceeds of the New Money DIP Loans
               and the Prepetition Collateral (as defined herein), including Cash Collateral (as
               defined herein), in accordance with the terms hereof, including pursuant to the Cash
               Flow Forecast (as defined herein) as further described herein, to pay fees and



                                                 2
Case 20-41308   Doc 228     Filed 04/01/20 Entered 04/01/20 23:45:34              Main Document
                                     Pg 432 of 1005


            interest under the DIP Facility, to cash collateralize certain letters of credit issued
            and outstanding under the Prepetition First Lien Credit Documents (as defined
            herein) to provide working capital for, and for other general corporate purposes of,
            the Debtors, including for payment of any Adequate Protection Obligations (as
            defined herein) and (y) to effectuate the Roll-Up Loans;

      (d)   the granting of adequate protection to (x) the term lenders (the “Prepetition First
            Lien Term Loan Lenders”) and revolving lenders (the “Prepetition First Lien
            Revolving Lenders” and, collectively with the Prepetition First Lien Term Loan
            Lenders, the “Prepetition First Lien Lenders”) under the Credit and Guaranty
            Agreement, dated as of March 28, 2017 (as amended, restated, amended and
            restated, waived, supplemented, or otherwise modified, the “Prepetition First Lien
            Credit Agreement” and, all security, pledge and guaranty agreements and all other
            documentation executed in connection with the foregoing, each as amended,
            supplemented or otherwise modified, the “Prepetition First Lien Credit
            Documents”), by and among Foresight Energy LLC, as borrower, the guarantors
            party thereto, (collectively with the borrower, the “Obligors”), The Huntington
            National Bank, as facilities administrative agent (in such capacity, the “Prepetition
            First Lien Administrative Agent”), Lord Securities Corporation, as term
            administrative agent (in such capacity, the “Prepetition First Lien Term Loan
            Agent,” and together with Lord Securities Corporation in its capacity as collateral
            trustee under the Collateral Trust Agreement (as defined below), the “Prepetition
            Collateral Trustee” and the Prepetition First Lien Administrative Agent, the
            “Prepetition First Lien Agents”; and the Prepetition First Lien Agents, together with
            the Prepetition First Lien Lenders, the “Prepetition First Lien Parties”), and the
            Prepetition First Lien Lenders and (y) the noteholders (collectively, the “Prepetition
            Second Lien Noteholders”) under the Indenture, dated as of March 28, 2017 (as
            amended, supplemented or otherwise modified, the “Prepetition Second Lien
            Indenture” and, together with all security, pledge and guaranty agreements and all
            other documentation executed in connection with the foregoing, each as amended,
            supplemented or otherwise modified, the “Prepetition Second Lien Documents”
            and, together with the First Lien Credit Documents, the “Prepetition Credit
            Documents”) among Foresight Energy LLC and Foresight Energy Finance
            Corporation, as co-issuers, the guarantors party thereto and Wilmington Trust,
            National Association as trustee for the Prepetition Second Lien Noteholders
            (together with the collateral agent for the Prepetition Second Lien Noteholders, the
            “Prepetition Second Lien Indenture Trustee” and together with the Prepetition
            Second Lien Noteholders, the “Prepetition Second Lien Parties,” and the
            Prepetition Second Lien Indenture Trustee, together with the Prepetition First Lien
            Agents, the “Prepetition Agents”; and the Prepetition Agents collectively with the
            Prepetition First Lien Lenders, and the Prepetition Second Lien Noteholders, the
            “Prepetition Secured Parties”);

      (e)   granting of adequate protection to the Prepetition Secured Parties with respect to,
            among other things, the use of their Cash Collateral and the Prepetition Collateral
            (as defined below);




                                              3
Case 20-41308   Doc 228     Filed 04/01/20 Entered 04/01/20 23:45:34               Main Document
                                     Pg 433 of 1005


      (f)   authorization for the Debtors to pay, on a final and irrevocable basis, the principal,
            interest, fees, expenses, and other amounts payable under the DIP Documents as
            such become earned, due and payable, including, without limitation, the Upfront
            Fee (as defined herein), the Put Option Premium (as defined herein), the Exit
            Premium (as defined herein), the Delayed Draw Term Loan Commitment Fee (as
            defined herein), letter of credit fees, agency fees, audit fees, appraisal fees,
            valuation fees, administrative and collateral agents’ fees, and the reasonable fees
            and disbursements of the DIP Agents’ and DIP Lenders’ attorneys, advisors,
            accountants, appraisers, bankers and other consultants, all to the extent provided in,
            and in accordance with, the DIP Documents;

      (g)   the granting of valid, enforceable, non-avoidable and fully perfected first priority
            liens on and senior security interests in all of the property, assets and other interests
            in property and assets of the Debtors that is not subject to a valid and perfected lien
            on the Petition Date (such property and assets, the “Unencumbered Assets”), except
            as otherwise specifically provided herein, whether such property is presently owned
            or after-acquired, and all other “property of the estate” (within the meaning of the
            Bankruptcy Code) of the Debtors, of any kind or nature whatsoever, real or
            personal, tangible, intangible or mixed, now existing or hereafter acquired or
            created, whether existing prior to or arising after the Petition Date, including, upon
            entry of the Final Order, the proceeds of Avoidance Actions (as defined herein),
            subject only to the Carve Out (as defined herein) and, if any, the Permitted Liens
            (as defined herein) on the terms and conditions set forth herein and in the DIP
            Documents;

      (h)   the granting of valid, enforceable, non-avoidable and fully perfected first priority
            priming liens on and senior security interests in all of the property, assets and other
            interests in property and assets of the Debtors, except as otherwise specifically
            provided herein, whether such property is presently owned or after-acquired, and
            all other “property of the estate” (within the meaning of the Bankruptcy Code) of
            the Debtors, of any kind or nature whatsoever, real or personal, tangible, intangible
            or mixed, now existing or hereafter acquired or created, whether existing prior to
            or arising after the Petition Date, subject only to the Carve Out and, if any, the
            Permitted Liens on the terms and conditions set forth herein and in the DIP
            Documents;

      (i)   the granting of valid, enforceable, non-avoidable and fully perfected liens on and
            junior security interests in all of the property, assets and other interests in property
            and assets of the Debtors, except as otherwise specifically provided herein, whether
            such property is presently owned or after-acquired, and all other “property of the
            estate” (within the meaning of the Bankruptcy Code) of the Debtors, of any kind or
            nature whatsoever, real or personal, tangible, intangible or mixed, now existing or
            hereafter acquired or created, whether existing prior to or arising after the Petition
            Date, that is subject to valid and perfected security interests in and liens on such
            property in favor of third parties existing on the Petition Date, excluding the
            Prepetition Liens, subject only to the Carve Out and, if any, the Permitted Liens on
            the terms and conditions set forth herein and in the DIP Documents;



                                               4
Case 20-41308          Doc 228       Filed 04/01/20 Entered 04/01/20 23:45:34                   Main Document
                                              Pg 434 of 1005


          (j)      the granting of superpriority administrative expense claims against each of the
                   Debtors’ estates to the DIP Agent and the DIP Lenders, with respect to the DIP
                   Obligations (as defined herein) with priority over any and all administrative
                   expenses of any kind or nature subject and subordinate only to the Carve Out on
                   the terms and conditions set forth herein and in the DIP Documents;

          (k)      the waiver of the Debtors’ and the estates’ right to surcharge against the Prepetition
                   Collateral pursuant to Bankruptcy Code section 506(c), subject to entry of the Final
                   Order (but retroactive to the Petition Date);

          (l)      authorization for the DIP Agent and the DIP Lenders to exercise remedies under
                   the DIP Documents on the terms described herein upon the occurrence and during
                   the continuance of a Termination Event (as defined herein);

          (m)      the modification of the automatic stay imposed pursuant to Bankruptcy Code
                   section 362 to the extent necessary to implement and effectuate the terms of this
                   Interim Order;

          (n)      pursuant to Bankruptcy Rule 4001, that an interim hearing (the “Interim Hearing”)
                   on the Motion be held before this Court to consider entry of this Interim Order,
                   among other things, (1) authorizing the Borrower, on an interim basis, to borrow
                   from the DIP Lenders under the DIP Documents in a single draw up to an aggregate
                   principal amount not to exceed $55,000,000.00 in New Money DIP Loans (subject
                   to any limitations of borrowing under the DIP Documents) (the “Initial DIP Term
                   Loans”); (2) upon entry of the Final Order (as defined below), to borrow from the
                   DIP Lenders under the DIP Documents (x) in a single draw New Money DIP Loans,
                   in an aggregate principal amount, not to exceed $100,000,000.00 (less the Initial
                   DIP Loans) (the “Delayed Draw DIP Term Loans”), and (y) the Roll-Up Loans for
                   a total aggregate principal amount not to exceed $175,000,000.00; (3) authorizing
                   the Guarantors to guaranty the DIP Obligations, (4) authorizing the Debtors’ use of
                   Cash Collateral, and (5) granting the adequate protection described in this Interim
                   Order; and

          (o)      that this Court schedule a final hearing (the “Final Hearing”) to consider entry of a
                   final order (the “Final Order”) authorizing and approving, on a final basis, among
                   other things, the Borrower’s borrowing from the DIP Lenders under the DIP
                   Documents up to an aggregate principal amount of $100,000,000.00 in New Money
                   DIP Loans, the Roll-Up Loans and the continued use of Cash Collateral and
                   granting adequate protection, in each case, as described in the Motion and set forth
                   in the DIP Documents.

          The Court having considered the Motion, the Herman Declaration, 2 the evidence submitted

 or proffered and the arguments of counsel made at Interim Hearing; and proper and sufficient


 2
     Declaration of Seth Herman in Support of Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing
     the Debtors to (A) Obtain Post-Petition Financing, (B) Grant Senior Secured Priming Liens and Superpriority



                                                         5
Case 20-41308          Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                      Main Document
                                               Pg 435 of 1005


 notice of the Motion and the Interim Hearing having been given in accordance with Bankruptcy

 Rules 2002, 4001(b), (c) and (d), and 9014; and the Interim Hearing to consider the relief requested

 in the Motion having been held and concluded; and all objections, if any, to the relief requested in

 the Motion and to the entry of this Order having been withdrawn, resolved, or overruled by the

 Court; and it appearing to the Court that granting the relief requested is fair and reasonable and in

 the best interests of the Debtors, their estates, creditors and parties in interest; and after due

 deliberation and consideration, and for good and sufficient cause appearing therefor;

 IT IS FOUND, DETERMINED, ORDERED AND ADJUDGED, that: 3

          1.       Disposition. The Motion is GRANTED on an interim basis in accordance with the

 terms of this Interim Order. Any objections to the Motion with respect to the entry of this Interim

 Order that have not been withdrawn, waived, or settled, and all reservation of rights included

 therein, are hereby denied and overruled.

          2.       Jurisdiction. This Court has core jurisdiction over the Cases commenced on

 Petition Date, the Motion, and the parties and property affected hereby pursuant to 28 U.S.C.

 §§ 157 and 1334. Venue is proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

          3.       Notice. Under the circumstances, the notice given by the Debtors of, and as

 described in, the Motion, the relief requested therein, and the Interim Hearing constitutes due and

 sufficient notice thereof and complies with Bankruptcy Rules 4001(b) and (c) and the Local Rules,

 and no further notice of the relief sought at the Interim Hearing and the relief granted herein is

 necessary or required.


     Administrative Expense Claims, and (C) Utilize Cash Collateral; (II) Granting Adequate Protection to the
     Prepetition Secured Parties; (III) Modifying the Automatic Stay; (IV) Scheduling Final Hearing; and (V) Granting
     Related Relief (the “Herman Declaration”)
 3
     Findings of fact shall be construed as conclusions of law, and conclusions of law shall be construed as findings of
     fact.




                                                            6
Case 20-41308       Doc 228     Filed 04/01/20 Entered 04/01/20 23:45:34             Main Document
                                         Pg 436 of 1005


        4.      Debtors’ Stipulations. Without prejudice to the rights of any other party, but

 subject to the limitations thereon contained in paragraphs 29 and 30 of this Interim Order, the

 Debtors represent, admit, stipulate, and agree as follows:

        (a)     Prepetition First Lien Obligations. As of the Petition Date, the Obligors, without

 defense, counterclaim, or offset of any kind, were jointly and severally indebted and liable to the

 Prepetition First Lien Parties under the Prepetition First Lien Credit Documents in the aggregate

 amount of not less than $900,285,564.62, which consists of (x) approximately $157,000,000 in

 principal amount of revolving loans and $743,285,564.62 in principal amounts of term loans

 advanced under the Prepetition First Lien Credit Agreement, plus (y) no less than approximately

 $18,644,570.84 on account of accrued and unpaid interest thereon as of the Petition Date ((x) and

 (y) together, the “Prepetition First Lien Obligations Amount”), plus all other fees, costs, expenses,

 indemnification obligations, reimbursement obligations (including on account of issued and

 undrawn letters of credit), charges, premiums, if any, additional interest, any other “Obligations”

 (as defined on the Prepetition First Lien Credit Agreement) and all other obligations of whatever

 nature owing, whether or not contingent, whenever arising, accrued, accruing, due, owing or

 chargeable under the Prepetition First Lien Credit Documents (collectively, including the

 Prepetition First Lien Obligations Amount, the “Prepetition First Lien Obligations”).           The

 Prepetition First Lien Obligations constitute legal, valid, binding and non-avoidable obligations

 against each of the Debtors and are not subject to any avoidance, recharacterization, effect,

 counterclaim, defense, offset, subordination, other claim, cause of action or other challenge of any

 kind under the Bankruptcy Code, under applicable non-bankruptcy law or otherwise. No payments

 or transfers made to or for the benefit of (or obligations incurred to or for the benefit of) the

 Prepetition First Lien Agents or Prepetition First Lien Parties by or on behalf of any of the Debtors




                                                  7
Case 20-41308       Doc 228      Filed 04/01/20 Entered 04/01/20 23:45:34              Main Document
                                          Pg 437 of 1005


 prior to the Petition Date under or in connection with any of the Petition First Lien Credit

 Documents is subject to avoidance, recharacterization, effect, counterclaim, defense, offset,

 subordination, other claim, cause of action or other challenge of any kind or nature under the

 Bankruptcy Code, under applicable non-bankruptcy law or otherwise.

        (b)     Prepetition First Liens. Pursuant to the Prepetition First Lien Credit Documents,

 the Prepetition First Lien Obligations are secured by valid, binding, perfected and enforceable first

 priority liens on and security interests in (the “Prepetition First Liens”) the “Collateral” (as defined

 in the Prepetition First Lien Credit Documents) (the “Prepetition Collateral”), subject only to

 certain Permitted Liens as permitted under the Prepetition First Lien Credit Documents. The

 Prepetition First Liens (i) are valid, binding, perfected, and enforceable first priority liens and

 security interests in the Prepetition Collateral, (ii) are not subject, pursuant to the Bankruptcy Code

 or other applicable law, to avoidance, recharacterization, recovery, subordination, attack, offset,

 counterclaim, defense, or “claim” (as defined in the Bankruptcy Code) of any kind, (iii) as of the

 Petition Date are subject and/or subordinate only to certain Permitted Liens (if any) as permitted

 by the terms of the Prepetition First Lien Credit Documents and (iv) constitute the legal, valid, and

 binding obligation of the Loan Parties (as defined in the Prepetition First Lien Credit Documents),

 enforceable in accordance with the terms of the applicable Prepetition First Lien Credit

 Documents.

        (c)     Prepetition Second Lien Obligations. As of the Petition Date, the Obligors, without

 defense, counterclaim, or offset of any kind, were jointly and severally indebted and liable to the

 Prepetition Second Lien Parties under the Prepetition Second Lien Documents in the aggregate

 amount of not less than approximately $472,121,609.38, which consists of (x) $425,000,000 in

 principal amount outstanding under the Prepetition Second Lien Indenture, plus (y) no less than




                                                    8
Case 20-41308       Doc 228     Filed 04/01/20 Entered 04/01/20 23:45:34              Main Document
                                         Pg 438 of 1005


 approximately $47,121,609.38 on account of accrued and unpaid interest thereon as of the Petition

 Date ((x) and (y) together, the “Prepetition Second Lien Obligations Amount”), plus all other fees,

 costs, expenses, indemnification obligations, charges, premiums, if any, additional interest, any

 other “Obligations” as defined in the Prepetition Second Lien Indenture and all other obligations

 of whatever nature owing, whether or not contingent, whenever arising, accrued, accruing, due,

 owing or chargeable under the Prepetition Second Lien Documents (collectively, including the

 Prepetition Second Lien Obligations Amount, the “Prepetition Second Lien Obligations” and,

 together with the Prepetition First Lien Obligations, the “Prepetition Secured Obligations”). The

 Prepetition Second Lien Obligations constitute legal, valid, binding and non-avoidable obligations

 against each of the Obligors and are not subject to any avoidance, recharacterization, effect,

 counterclaim, defense, offset, subordination, other claim, cause of action or other challenge of any

 kind under the Bankruptcy Code, under applicable non-bankruptcy law or otherwise. No payments

 or transfers made to or for the benefit of (or obligations incurred to or for the benefit of) the

 Prepetition Second Lien Indenture Trustee or Prepetition Second Lien Parties by or on behalf of

 any of the Debtors prior to the Petition Date under or in connection with any of the Prepetition

 Second Lien Documents is subject to avoidance, recharacterization, effect, counterclaim, defense,

 offset, subordination, other claim, cause of action or other challenge of any kind or nature under

 the Bankruptcy Code, under applicable non-bankruptcy law or otherwise.

        (d)     Prepetition Second Liens. Pursuant to the Prepetition Second Lien Documents, the

 Prepetition Second Lien Obligations are secured by valid, binding, perfected and enforceable

 second priority liens on and security interests in the Prepetition Collateral (the “Prepetition Second

 Liens” and, together with the Prepetition First Liens, the “Prepetition Liens”), which Prepetition

 Second Liens are subject and subordinate only to the Prepetition First Liens and certain Permitted




                                                   9
Case 20-41308        Doc 228      Filed 04/01/20 Entered 04/01/20 23:45:34               Main Document
                                           Pg 439 of 1005


 Liens. The Prepetition Second Liens (i) are valid, binding, perfected, and enforceable second

 priority liens and security interests in the Prepetition Collateral, (ii) are not subject, pursuant to the

 Bankruptcy Code or other applicable law, to avoidance, recharacterization, recovery,

 subordination, attack, offset, counterclaim, defense, or “claim” (as defined in the Bankruptcy

 Code) of any kind, (iii) as of the Petition Date are subject and/or subordinate only to the Prepetition

 First Liens and certain Permitted Liens (if any) as permitted by the terms of the Prepetition Second

 Lien Documents and (iv) constitute the legal, valid, and binding obligation of the Grantors (as

 defined in the Prepetition Second Lien Documents), enforceable in accordance with the terms of

 the applicable Prepetition Second Lien Documents.

         (e)     Collateral Trust Agreement. As of the Petition Date, the Borrower was party to that

 certain Collateral Trust Agreement, dated as of March 28, 2017 (as amended, supplemented,

 amended and restated or otherwise modified from time to time prior to the date of this Interim

 Order, the “Collateral Trust Agreement”) among the Prepetition First Lien Administrative Agent,

 the Prepetition Collateral Trustee and the Prepetition Second Lien Indenture Trustee. The

 Collateral Trust Agreement governs the respective rights, interests, obligations, priority, and

 positions of the Prepetition Secured Parties with respect to the Prepetition Collateral. The Obligors

 have acknowledged and agreed to, and are bound by, the Collateral Trust Agreement.

         (f)     Cash Collateral. Any and all of the Debtors’ cash, including cash and other

 amounts on deposit or maintained in any account or accounts by the Debtors, and any amounts

 generated by the collection of accounts receivable or other disposition of the Prepetition Collateral

 (as defined herein) existing as of the Petition Date or from time to time, and the proceeds of any




                                                    10
Case 20-41308          Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                     Main Document
                                               Pg 440 of 1005


 of the foregoing, is the Prepetition Secured Parties’ cash collateral within the meaning of

 Bankruptcy Code section 363(a) (the “Cash Collateral”). 4

          5.       Findings Regarding the DIP Facility and Use of Cash Collateral.

          (a)      Good cause has been shown for the entry of this Interim Order.

          (b)      As set forth in the Herman Declaration, the Debtors have an immediate need to

 obtain the DIP Facility and to use the Cash Collateral in each case on an interim basis, in order to,

 among other things: (i) permit the orderly continuation of their respective businesses; (ii) maintain

 business relationships with their vendors, suppliers, customers, and other parties; (iii) make

 payroll; (iv) make capital expenditures; (v) make adequate protection payments; and (vi) pay the

 costs of the administration of the Cases and satisfy other working capital and general corporate

 purposes of the Debtors. The Debtors require immediate access to sufficient working capital and

 liquidity through the incurrence of the new indebtedness for borrowed money and other financial

 accommodations to avoid irreparable harm by, among other things, preserving and maintaining

 the going concern value of the Debtors’ business. The Debtors will not have sufficient sources of

 working capital and financing to operate their business or maintain their properties in the ordinary

 course of business throughout the Cases without the DIP Facility and authorized use of Cash

 Collateral.

          (c)      As set forth in the Herman Declaration, the Debtors are unable to obtain financing

 on more favorable terms from sources other than the DIP Lenders under the DIP Documents and


 4
     As noted in the Debtors’ Motion for Entry of Interim and Final Orders (A) Authorizing Continued Use of the
     Debtors’ Existing Cash Management System; (B) Authorizing Use of Existing Bank Accounts and Business Forms;
     (C) Granting A Limited Waiver of Requirements of Section 345(b) of the Bankruptcy Code; (D) Authorizing
     Continuation of Ordinary Course Intercompany Transactions; (E) Granting Administrative Expense Priority
     Status to Postpetition Intercompany Claims; and (F) Granting Related Relief (the “Cash Management Motion”),
     the Debtors receive coal sale proceeds into an account maintained by Foresight Receivable LLC with the
     Prepetition First Lien Administrative Agent, which proceeds are then swept into a concentration account on a daily
     basis.




                                                          11
Case 20-41308      Doc 228      Filed 04/01/20 Entered 04/01/20 23:45:34            Main Document
                                         Pg 441 of 1005


 are unable to obtain adequate unsecured credit allowable under Bankruptcy Code section 503(b)(1)

 as an administrative expense. Other than with respect to the Unencumbered Assets, the Debtors

 are also unable to obtain secured credit allowable under Bankruptcy Code sections 364(c)(1),

 364(c)(2), and 364(c)(3) for the purposes set forth in the DIP Documents without the Debtors

 granting to the DIP Agent, for the benefit of itself and the DIP Lenders, subject to the Carve Out

 as provided for herein and the Permitted Liens (if any), the DIP Liens (as defined herein) and the

 DIP Superpriority Claims (as defined herein) and, subject to the Carve Out, incurring the Adequate

 Protection Obligations (as defined herein), in each case, under the terms and conditions set forth

 in this Interim Order and the DIP Documents. For the avoidance of doubt, the DIP Liens include

 liens on and security interests in the Unencumbered Assets pursuant to Bankruptcy Code section

 364(c)(2).

        (d)     The terms of the DIP Facility, the DIP Documents, and the use of Cash Collateral

 are fair and reasonable, reflect the Debtors’ exercise of prudent business judgment consistent with

 their fiduciary duties and constitute reasonably equivalent value and fair consideration.

        (e)     The DIP Facility has been negotiated in good faith and at arm’s length among the

 Debtors, the DIP Agent and the DIP Lenders (including the Backstop Parties (as defined herein)),

 and all of the Debtors’ obligations and indebtedness arising under, in respect of, or in connection

 with the DIP Facility and the DIP Documents including, without limitation, all loans (including,

 upon entry of the Final Order, the Roll-Up Loans) made to and guarantees issued by the Debtors

 pursuant to the DIP Documents and all other Obligations (as defined in the DIP Credit Agreement)

 (collectively, the “DIP Obligations”) shall be deemed to have been extended by the DIP Agent and

 the DIP Lenders in good faith as that term is used in Bankruptcy Code section 364(e) and in express

 reliance upon the protections offered by Bankruptcy Code section 364(e). The DIP Obligations,




                                                 12
Case 20-41308       Doc 228     Filed 04/01/20 Entered 04/01/20 23:45:34             Main Document
                                         Pg 442 of 1005


 the DIP Liens and the DIP Superpriority Claims shall be entitled to the full protection of

 Bankruptcy Code section 364(e) in the event that this Interim Order or any provision hereof is

 vacated, reversed, or modified on appeal or otherwise and any liens or claims granted to the DIP

 Agent or the DIP Lenders hereunder arising prior to the effective date of any such vacatur, reversal

 or modification of this Interim Order shall be governed in all respects by the original provisions

 of this Interim Order, including entitlement to all rights, remedies, privileges and benefits granted

 herein.

           (f)   Subject to entry of the Final Order, the Roll-Up Loans as provided for under the

 DIP Facility are appropriate and the DIP Lenders would not be willing to provide the New Money

 DIP Loans or extend credit to the Debtors thereunder without the inclusion of the Roll-Up Loans

 within the DIP Facility.

           (g)   The Debtors have requested entry of this Interim Order pursuant to Bankruptcy

 Rules 4001(b)(2) and 4001(c)(2) and the Local Rules. For the reasons set forth in the Motion, the

 declarations filed in support of the Motion, and the record presented to the Court at the Interim

 Hearing, absent granting the relief sought by this Interim Order, the Debtors’ estates will be

 immediately and irreparably harmed. Consummation of the DIP Facility and authorization of the

 use of the Prepetition Collateral (including the Cash Collateral) in accordance with this Interim

 Order and the DIP Documents are, therefore, in the best interests of the Debtors’ estates and are

 consistent with the Debtors’ fiduciary duties.

           (h)   Pursuant to section 2.8 of the Collateral Trust Agreement and as set forth in the

 Restructuring Support Agreement, (x) the Prepetition Second Lien Noteholders have consented or

 are deemed to have consented to the terms of the DIP Facility and this Interim Order, (y) the

 Prepetition Second Liens and the Second Lien Adequate Protection Liens are subordinate to the




                                                  13
Case 20-41308      Doc 228     Filed 04/01/20 Entered 04/01/20 23:45:34            Main Document
                                        Pg 443 of 1005


 Carve Out, the Permitted Liens, the DIP Liens, the First Lien Adequate Protection Liens (as

 defined herein) and Prepetition First Liens, and (z) the Prepetition Second Lien Obligations are

 subject to the Carve Out and the Permitted Liens and the prior payment in full of the DIP

 Obligations, the First Lien Adequate Protection Obligations and, solely as provided in the

 Collateral Trust Agreement, the Prepetition First Lien Obligations.

        6.      Authorization of the DIP Facility and the DIP Documents.

        (a)     The Debtors are hereby expressly authorized and empowered to execute and deliver

 and, on such execution and delivery, directed to perform under the DIP Documents, including the

 DIP Credit Agreement, which is hereby approved and incorporated herein by reference.

        (b)     Upon entry of this Interim Order, the Borrower is hereby authorized to borrow, and

 the Guarantors are hereby authorized to guaranty, borrowings up to an aggregate principal amount

 of $55,000,000.00 in New Money DIP Loans (plus interest, fees, indemnities, and other expenses

 and other amounts provided for in the DIP Credit Agreement), subject to and in accordance with

 this Interim Order and the DIP Documents.

        (c)     Proceeds of the DIP Loans and Cash Collateral shall be used solely for the purposes

 permitted under the DIP Credit Agreement, this Interim Order and in accordance with the Cash

 Flow Forecast (as defined below), the DIP Documents, and this Interim Order.

        (d)     In furtherance of the foregoing and without further approval of this Court, each

 Debtor is authorized, and the automatic stay imposed by Bankruptcy Code section 362 is hereby

 lifted to the extent necessary and applicable, to perform all acts and to make, execute and deliver

 all instruments and documents (including, without limitation, the DIP Credit Agreement and any

 collateral documents contemplated thereby), and to pay all fees, expenses, indemnities, and other




                                                 14
Case 20-41308      Doc 228     Filed 04/01/20 Entered 04/01/20 23:45:34             Main Document
                                        Pg 444 of 1005


 amounts contemplated thereby or that may be reasonably required or necessary for the Debtors’

 performance of their obligations under the DIP Facility including, without limitation:

        (i)     the execution, delivery, and performance of the DIP Documents, including, without

                limitation, the DIP Credit Agreement and any collateral documents contemplated

                thereby;

        (ii)    the execution, delivery and performance of one or more amendments, waivers,

                consents or other modifications to and under the DIP Documents (in each case in

                accordance with the terms of the DIP Documents and in such form as the Debtors,

                the DIP Agent and the Required Lenders (as defined in the DIP Credit Agreement)

                may agree), it being understood that no further approval of the Court shall be

                required for any amendments, waivers, consents or other modifications to and under

                the DIP Documents or the Cash Flow Forecast, except that any modifications or

                amendments to the DIP Documents that shorten the maturity thereof or increase the

                aggregate commitments thereunder or the rate of interest payable with respect

                thereto shall be on notice and subject to a hearing and Court approval, as necessary;

        (iii)   the non-refundable and, upon entry of this Interim Order, irrevocable payment to

                each of the DIP Lenders or the DIP Agent, as applicable, of the fees referred to in

                the DIP Documents (which fees, in each case, shall be, and shall be deemed to have

                been, approved upon entry of this Interim Order, and which fees shall not be subject

                to any challenge, contest, attack, rejection, recoupment, reduction, defense,

                counterclaim, offset, subordination, recharacterization, avoidance or other claim,

                cause of action or other challenge of any nature under the Bankruptcy Code, under

                applicable non-bankruptcy law or otherwise) and any amounts due (or that may




                                                 15
Case 20-41308   Doc 228    Filed 04/01/20 Entered 04/01/20 23:45:34          Main Document
                                    Pg 445 of 1005


            become due) in respect of any indemnification obligations under the DIP

            Documents, including:

                   •   an upfront fee of 3.0% of the aggregate principal amount of New Money
                       DIP Commitments (the “Upfront Fee”), which shall be structured as
                       original issue discount against the New Money DIP Loans when
                       advanced;

                   •   an exit premium of 1.0% of the aggregate principal amount of the New
                       Money DIP Commitments (the “Exit Premium”), payable in the form of
                       equity in reorganized FELP upon the Plan Effective Date (as defined in
                       the DIP Credit Agreement) pursuant to the terms and conditions set
                       forth in the DIP Credit Agreement and the Restructuring Support
                       Agreement; provided, however, that upon the occurrence of an Event of
                       Default under the DIP Credit Agreement or upon repayment of the DIP
                       Loans in full and termination of all New Money DIP Commitments
                       without the occurrence of the Plan Effective Date, the Exit Premium
                       shall be immediately payable in cash in an amount equal to
                       $2,000,000.00;

                   •   a put option premium of 5.0% of the aggregate principal amount of the
                       New Money DIP Commitments of the Backstop Parties (as defined
                       herein) (the “Put Option Premium”), payable in the form of equity in
                       the reorganized FELP upon the Plan Effective Date pursuant to the
                       terms and conditions set forth in the DIP Credit Agreement, the
                       Restructuring Support Agreement and related backstop commitment
                       arrangements; provided, however, that upon the occurrence of an Event
                       of Default under the DIP Credit Agreement or upon repayment of the
                       DIP Loans in full and termination of all New Money DIP Commitments
                       without the occurrence of the Plan Effective Date, the Put Option
                       Premium shall be immediately payable in cash in an amount equal to
                       $10,000,000.00;

                   •   a commitment fee on each DIP Lender’s commitment to fund the
                       Delayed Draw DIP Term Loans (the “Delayed Draw Term Loan
                       Commitment Fee”) at a rate per annum equal to 1.00%, payable
                       pursuant to the terms and conditions set forth in the DIP Credit
                       Agreement; and

                   •   all reasonable costs and expenses as may be due from time to time under
                       the DIP Documents, the Restructuring Support Agreement and this
                       Interim Order, including, without limitation, fees and expenses of
                       counsel, financial advisors and other professionals retained by the DIP
                       Agent and the DIP Lenders as provided for in the DIP Documents and
                       this Interim Order, subject to the provisions of paragraph 28 hereof;




                                            16
Case 20-41308       Doc 228     Filed 04/01/20 Entered 04/01/20 23:45:34           Main Document
                                         Pg 446 of 1005


        (iv)     make the payments on account of the First Lien Adequate Protection Obligations

                 provided for in this Interim Order; and

        (v)      the performance of all other acts required under or in connection with the DIP

                 Documents.

        (e)      Upon execution and delivery of the DIP Credit Agreement and the other DIP

 Documents, such DIP Documents shall constitute valid, binding, and non-avoidable obligations of

 the Debtors enforceable against each Debtor party thereto in accordance with their respective terms

 and the terms of this Interim Order for all purposes during the Cases, any subsequently converted

 Case of any Debtor to a case under chapter 7 of the Bankruptcy Code, or after the dismissal of any

 Case. No obligation, payment, transfer, or grant of security under the DIP Credit Agreement, the

 other DIP Documents or this Interim Order shall be stayed, restrained, voidable, avoidable or

 recoverable under the Bankruptcy Code or under any applicable law (including without limitation,

 under Bankruptcy Code sections 502(d), 548 or 549 or under any applicable state Uniform

 Fraudulent Transfer Act, Uniform Fraudulent Conveyance Act, Uniform Voidable Transaction Act

 or similar statute or common law), or subject to any defense, reduction, setoff, recoupment or

 counterclaim.

        (f)      The Guarantors hereby are authorized and directed to jointly, severally and

 unconditionally guarantee in full all of the DIP Obligations of the Borrower and to incur any DIP

 Obligations and DIP Liens in connection therewith.

        7.       The Backstop DIP Parties and Syndication Procedures.

        (a)      Funds and/or accounts affiliated with, or managed and/or advised by, Benefit Street

 Partners, LLC, DoubleLine Capital LP, GoldenTree Asset Management LP, Ivy Investments

 Management Company, KKR Credit Advisors (US) LLC, and Davidson Kempner Capital




                                                 17
Case 20-41308      Doc 228      Filed 04/01/20 Entered 04/01/20 23:45:34            Main Document
                                         Pg 447 of 1005


 Management LP (together with their respective successors and permitted assignees, each a

 “Backstop Party” and collectively, the “Backstop Parties”) will, severally and not jointly, backstop

 the DIP Facility in the amounts set forth in the DIP Documents and the Restructuring Support

 Agreement. Subject to entry of this Interim Order, (i) all eligible Prepetition First Lien Lenders

 (which, for the avoidance of doubt, includes any Backstop Party) shall be offered the right to

 participate in funding up to 46.375% of the New Money DIP Commitments based ratably on each

 such lender’s holdings of Prepetition First Lien Debt and (ii) all eligible Prepetition Second Lien

 Noteholders (which, for the avoidance of doubt, includes any Backstop Party) shall be offered the

 right to participate in funding up to 3.625% of the New Money DIP Commitments based ratably

 on such noteholder’s holdings of Prepetition Second Lien Debt, all as further set forth in the DIP

 Documents, the Restructuring Support Agreement and procedures satisfactory to the DIP Agent

 and the Backstop Parties, which shall include, among other things, a provision that any such

 participating Prepetition First Lien Lender or Prepetition Second Lien Noteholder agree to be

 bound by the Restructuring Support Agreement.

        8.      Budget.

        (a)     Except as otherwise provided herein or in the DIP Documents, the Debtors may
                only use Cash Collateral and the proceeds of the DIP Facility in accordance with a
                projected statement of sources and uses of cash for the Debtors for the current and
                following 13 calendar weeks (but not any preceding weeks) attached hereto as
                Exhibit 1 (as may be amended, replaced, supplemented or otherwise modified in
                accordance with the terms of this Interim Order and the DIP Documents, the “Cash
                Flow Forecast”), including without limitation, for: (A) working capital
                requirements; (B) general corporate purposes; (C) to cash collateralize existing
                letters of credit; and (D) the costs and expenses (including making payments on
                account of the Adequate Protection Obligations hereunder and payment of the
                allowed fees and expenses of professionals retained by the Debtors’ estates) of
                administering the Cases (including payments under the Carve Out as provided
                herein). On the Thursday of the fourth calendar week following the week in which
                the Petition Date occurs, and thereafter on the Thursday following the end of every
                fourth calendar week, the Debtors shall deliver an updated Cash Flow Forecast, in
                each case substantially in the form attached hereto as Exhibit 1 (with only such




                                                 18
Case 20-41308         Doc 228       Filed 04/01/20 Entered 04/01/20 23:45:34                  Main Document
                                             Pg 448 of 1005


                  changes thereto as the Required Lenders shall agree in their sole discretion) or is
                  otherwise in form and substance satisfactory to the Required Lenders in their sole
                  discretion.

         (b)      On the first Thursday of the first full week following the Petition Date, and every
                  Thursday thereafter, the Debtors shall deliver to (i) the DIP Agent, (ii) Akin Gump
                  Strauss Hauer & Feld LLP (“Akin Gump”) and Lazard Frères & Co. LLC (“Lazard”
                  and, together with Akin Gump, the “Ad Hoc First Lien Advisors”), and (iii)
                  Milbank LLP (“Milbank”) and Perella Weinberg Partners L.P. (“Perella” and,
                  together with Milbank, the “Ad Hoc Crossover Advisors”), a weekly variance
                  report for the one week period following the Closing Date, the two week period
                  following the Closing Date, the three week period following the Closing Date and
                  the four week period following the Closing Date, and thereafter, a weekly variance
                  report for the one week period following the most recently delivered Cash Flow
                  Forecast, the two week period following the most recently delivered Cash Flow
                  Forecast, the three week period following the most recently delivered Cash Flow
                  Forecast and the four week period following the most recently delivered Cash Flow
                  Forecast, with the report for each week in a four week period including an
                  individual report for such week and a cumulative report to date for such four week
                  period (each such one week, two week, three week or four week cumulative period,
                  a “Reporting Period”), in each case, setting forth for the applicable Reporting
                  Period, ended on the immediately preceding Friday prior to the delivery thereof, (i)
                  the negative variance (as compared to the applicable Cash Flow Forecast and the
                  Budget 5) of the operating cash receipts (on a line item by line item basis and an
                  aggregate basis for all line items) of the Debtors for the applicable Reporting Period
                  and for the last week of the applicable Reporting Period, (2) the positive variance
                  (as compared to the applicable Cash Flow Forecast and the Budget) of the
                  disbursements (on a line item by line item basis and an aggregate basis for all line
                  items) made by the Debtors set forth under “MEC Affiliate Disbursements” in the
                  Cash Flow Forecast (including, without limitation, any payments pursuant to the
                  Management Services Agreement (as defined in the DIP Credit Agreement)) for
                  the applicable Reporting Period and for the last week of the applicable Reporting
                  Period, (3) the positive variance (as compared to the applicable Cash Flow Forecast
                  and the Budget) of the total disbursements (on a line item by line item basis and an
                  aggregate basis for all line items) (excluding professional fees, interest payments
                  and disbursements made by the Debtors set forth under “MEC Affiliate
                  Disbursements” in the Cash Flow Forecast (including, without limitation, any
                  payments pursuant to the Management Services Agreement)) made by the Debtors
                  for the applicable Reporting Period and for the last week of the applicable
                  Reporting Period and (4) an explanation, in reasonable detail, for any material
                  negative variance (in the case of receipts) or material positive variance (in the case
                  of disbursements) set forth in such variance report, certified by an Authorized
                  Officer of the Borrower (the “Budget Variance Report”). Without giving effect to
                  the making of DIP Loans or the repayments or prepayments of DIP Loans, in no

 5
         As used herein, the term “Budget” shall have the meaning assigned to the term “DIP Budget” in the DIP
 Credit Agreement



                                                       19
Case 20-41308      Doc 228     Filed 04/01/20 Entered 04/01/20 23:45:34          Main Document
                                        Pg 449 of 1005


               event shall (a) beginning with the delivery of the initial Budget Variance Report
               and tested, as of the last day of each applicable two-week period commencing with
               the last day of the first two-week period ending after the Closing Date, for such
               two-week period (i) the negative variance (as compared to the applicable Cash Flow
               Forecast) of the actual aggregate operating cash receipts of the Debtors exceed 15%
               and (ii) the positive variance (as compared to the applicable Cash Flow Forecast)
               of the aggregate operating disbursements (excluding professional fees, interest
               payments and disbursements made by the Debtors set forth under “MEC Affiliate
               Disbursements” in the Cash Flow Forecast (including, without limitation, any
               payments pursuant to the Management Services Agreement)) made by the Debtors
               shall exceed 15%, and (iii) the positive variance (as compared to the applicable
               Cash Flow Forecast) of the aggregate disbursements made by the Debtors set forth
               under “MEC Affiliate Disbursements” in the Cash Flow Forecast (including,
               without limitation, any payments pursuant to the Management Services
               Agreement)) exceed 15%, and (b) beginning with the delivery of the third Budget
               Variance Report, as of the last day of each applicable four-week period
               commencing with the last day of the first four-week period ending after the Closing
               Date, for such four-week period, (i) the negative variance (as compared to the
               applicable Cash Flow Forecast) of the actual aggregate operating cash receipts of
               the Debtors exceed 10%, (ii) the positive variance (as compared to the applicable
               Cash Flow Forecast) of the aggregate operating disbursements (excluding
               professional fees, interest payments and disbursements made by the Debtors set
               forth under “MEC Affiliate Disbursements” in the Cash Flow Forecast (including,
               without limitation, any payments pursuant to the Management Services Agreement)
               made by the Debtors exceed 10%, and (iii) the positive variance (as compared to
               the applicable Cash Flow Forecast) of the aggregate disbursements made by the
               Debtors set forth under “MEC Affiliate Disbursements” in the Cash Flow Forecast
               (including, without limitation, any payments pursuant to the Management Services
               Agreement) exceed 10%.

        (c)    The consent of the DIP Lenders to the Budget or any applicable Cash Flow Forecast
               shall not be construed as consent to the use of any Cash Collateral or DIP Loans
               after the occurrence of an Event of Default (as defined in the DIP Credit
               Agreement), regardless of whether the aggregate funds shown on the Budget or any
               applicable Cash Flow Forecast have been expended.

        9.     Reporting Requirements/Access to Records. The Debtors shall provide the DIP

 Lenders, the Ad Hoc First Lien Advisors, and the Ad Hoc Crossover Advisors with all reporting

 and other information required to be provided to the DIP Agent under the DIP Documents. In

 addition to, and without limiting, whatever rights to access the DIP Agent and the DIP Lenders

 have under the DIP Documents, upon reasonable notice, at reasonable times during normal

 business hours, the Debtors shall permit representatives, agents, and employees of the DIP Agent



                                               20
Case 20-41308       Doc 228     Filed 04/01/20 Entered 04/01/20 23:45:34             Main Document
                                         Pg 450 of 1005


 and the DIP Lenders to: (i) have access to and inspect the Debtors’ assets; (ii) examine the Debtors’

 books and records; and (iii) discuss the Debtors’ affairs, finances, and condition with the Debtors’

 officers and financial advisors.

        10.     DIP Superpriority Claims. Pursuant to Bankruptcy Code section 364(c)(1), all of

 the DIP Obligations shall constitute allowed senior administrative expense claims of the DIP Agent

 and the DIP Lenders, against each of the Debtors’ estates (the “DIP Superpriority Claims”),

 without the need to file any proof of claim or request for payment of administrative expenses, with

 priority over any and all administrative expenses, adequate protection claims, diminution claims

 and all other claims against the Debtors, now existing or hereafter arising, of any kind whatsoever,

 including, without limitation, all administrative expenses of the kind specified in Bankruptcy Code

 sections 503(b) and 507(b), and over any and all administrative expenses or other claims arising

 under Bankruptcy Code sections 105, 326, 328, 330, 331, 503(b), 506(c), 507(a), 507(b), 726,

 1113, or 1114 or otherwise, whether or not such expenses or claims may become secured by a

 judgment lien or other non-consensual lien, levy or attachment, which allowed claims shall for the

 purposes of Bankruptcy Code section 1129(a)(9)(A) be considered administrative expenses

 allowed under Bankruptcy Code section 503(b) and which shall be payable from and have recourse

 to all prepetition and postpetition property of the Debtors and all proceeds thereof, including, upon

 entry of the Final Order, the proceeds of any claims or causes of action arising under chapter 5 of

 the Bankruptcy Code (the “Avoidance Actions”), subject only to the payment of the Carve Out to

 the extent specifically provided for herein. Except as set forth in, or permitted by, this Interim

 Order, no other superpriority claims shall be granted or allowed in these Cases.

        11.     DIP Liens. As security for the DIP Obligations, effective and automatically

 perfected upon the date of this Interim Order, and without the necessity of the execution,




                                                  21
Case 20-41308       Doc 228      Filed 04/01/20 Entered 04/01/20 23:45:34               Main Document
                                          Pg 451 of 1005


 recordation of filings by the Debtors of mortgages, security agreements, control agreements,

 pledge agreements, financing statements or other similar documents, or the possession or control

 by the DIP Agent or any DIP Lender of, or over, any DIP Collateral (as defined herein), the

 following security interests and liens are hereby granted by the Debtors to the DIP Agent, for the

 benefit of the DIP Agent and the DIP Lenders (all property identified in clauses (a), (b) and (c)

 below being collectively referred to as the “DIP Collateral”), subject only to the payment of the

 Carve Out to the extent specifically provided for herein and the Permitted Liens (if any) (all such

 liens and security interests granted to the DIP Agent, for the benefit of the DIP Agent and the DIP

 Lenders, pursuant to this Interim Order and the DIP Documents, the “DIP Liens”):

         (a)     First Lien on Unencumbered Property. Pursuant to Bankruptcy Code section

 364(c)(2), a valid, binding, continuing, enforceable, fully-perfected first priority senior security

 interest in and lien upon all prepetition and postpetition property of the Debtors, whether existing

 on the Petition Date or thereafter acquired, that, on or as of the Petition Date is not subject to valid,

 perfected and non-avoidable liens (or perfected after the Petition Date to the extent permitted by

 Bankruptcy Code section 546(b)), including, without limitation, any unencumbered cash of the

 Debtors (whether maintained with the DIP Agent or otherwise) and any investment of such cash,

 accounts, inventory, goods, contract rights, mineral rights, instruments, documents, chattel paper,

 patents, trademarks, copyrights, and licenses therefor, accounts receivable, receivables and

 receivables records, general intangibles, payment intangibles, tax or other refunds, insurance

 proceeds, letters of credit, intercompany claims, contracts, owned real estate, real property

 leaseholds, fixtures, deposit accounts, commercial tort claims, securities accounts, instruments,

 investment property, letter-of-credit rights, supporting obligations, vehicles, machinery and

 equipment, real property, leases (and proceeds from the disposition thereof), all of the issued and




                                                    22
Case 20-41308       Doc 228     Filed 04/01/20 Entered 04/01/20 23:45:34              Main Document
                                         Pg 452 of 1005


 outstanding capital stock of each Debtor, other equity or ownership interests, including equity

 interests in subsidiaries and non-wholly-owned subsidiaries, money, investment property, causes

 of action (including, upon entry of the Final Order, the proceeds of Avoidance Actions), and all

 cash and non-cash proceeds, rents, products, substitutions, accessions, profits and supporting

 obligations of any of the collateral described above, whether in existence on the Petition Date or

 thereafter created, acquired, or arising and wherever located.

        (b)     Liens Priming the Prepetition Liens.        Pursuant to Bankruptcy Code section

 364(d)(1), a valid, binding, continuing, enforceable, fully-perfected first priority senior priming

 security interest in and lien upon all prepetition and postpetition property of the Debtors including,

 without limitation, the Prepetition Collateral, Cash Collateral, and any investment of such cash,

 accounts, inventory, goods, contract rights, mineral rights, instruments, documents, chattel paper,

 patents, trademarks, copyrights, and licenses therefor, accounts receivable, receivables and

 receivables records, general intangibles, payment intangibles, tax or other refunds, insurance

 proceeds, letters of credit, intercompany claims, contracts, owned real estate, real property

 leaseholds, fixtures, deposit accounts, commercial tort claims, securities accounts, instruments,

 investment property, letter-of-credit rights, supporting obligations, vehicles, machinery and

 equipment, real property, leases (and proceeds from the disposition thereof), all of the issued and

 outstanding capital stock of each Debtor, other equity or ownership interests, including equity

 interests in subsidiaries and non-wholly-owned subsidiaries, money, investment property, causes

 of action, and all cash and non-cash proceeds, rents, products, substitutions, accessions, profits and

 supporting obligations of any of the collateral described above, whether in existence on the Petition

 Date or thereafter created, acquired, or arising and wherever located, that is subject to any of the

 Prepetition Liens securing the Prepetition Secured Obligations.




                                                  23
Case 20-41308         Doc 228       Filed 04/01/20 Entered 04/01/20 23:45:34                   Main Document
                                             Pg 453 of 1005


          (c)      Liens Junior to Certain Other Liens.                   Pursuant to Bankruptcy Code

 section 364(c)(3), a valid, binding, continuing, enforceable, fully-perfected security interest in and

 lien upon all prepetition and postpetition property of the Debtors (other than the property described

 in clauses (a) or (b) of this paragraph 11, as to which the liens and security interests in favor of the

 DIP Agent will be as described in such clauses), whether now existing or hereafter acquired, that

 is subject to valid, perfected and unavoidable liens in existence immediately prior to the Petition

 Date, if any, that are senior to the liens securing the Prepetition First Lien Obligations or to valid

 and unavoidable liens in existence immediately prior to the Petition Date, if any, that are perfected

 subsequent to the Petition Date as permitted by Bankruptcy Code section 546(b) that are senior to

 the liens securing the Prepetition First Lien Obligations, which security interests and liens in favor

 of the DIP Agent and the DIP Lenders are junior only to such valid, perfected and unavoidable

 liens (collectively, the “Permitted Liens”). 6

          12.      Carve Out.

          (a)      Carve Out. As used in this Interim Order, the “Carve Out” means the sum of (i) all

 fees required to be paid to the Clerk of the Court and to the Office of the U.S. Trustee under section

 1930(a) of title 28 of the United States Code plus interest at the statutory rate (without regard to

 the notice set forth in (iii) below); (ii) all reasonable fees and expenses up to $25,000.00 incurred

 by a trustee under Bankruptcy Code section 726(b) (without regard to the notice set forth in

 (iii) below); (iii) to the extent allowed, whether by interim order, procedural order, or otherwise,

 all unpaid fees and expenses (the “Allowed Professional Fees”) incurred by persons or firms

 retained by the Debtors pursuant to section 327, 328, or 363 of the Bankruptcy Code (the “Debtor


 6
     For the avoidance of doubt, “Permitted Liens” shall also include liens securing all pre and postpetition Cash
     Management Obligations (as defined in the DIP Credit Agreement) of the Debtors.




                                                        24
Case 20-41308       Doc 228     Filed 04/01/20 Entered 04/01/20 23:45:34             Main Document
                                         Pg 454 of 1005


 Professionals”) and, subject to the Committee Monthly Cap, an official committee of unsecured

 creditors (the “Creditors’ Committee”) pursuant to Bankruptcy Code section 328 or 1103

 (the “Committee Professionals” and, together with the Debtor Professionals, the “Professional

 Persons”) at any time before or on the first business day following delivery by the DIP Agent or

 the Required Lenders of a Carve Out Trigger Notice (as defined herein), whether allowed by the

 Court prior to or after delivery of a Carve Out Trigger Notice; and (iv) Allowed Professional Fees

 of Professional Persons, in an aggregate amount not to exceed an amount to be agreed prior to the

 Final Hearing between the Debtors and the Required Lenders, incurred after the first business day

 following delivery by the DIP Agent or the Required Lenders of the Carve Out Trigger Notice, to

 the extent allowed, whether by interim order, procedural order, or otherwise (the amounts set forth

 in this clause (iv) being the “Post-Carve Out Trigger Notice Cap”). For purposes of the foregoing,

 “Carve Out Trigger Notice” shall mean a written notice delivered by email (or other electronic

 means) by the DIP Agent or the Required Lenders to the Debtors, their lead restructuring counsel,

 the U.S. Trustee, and lead counsel to the Creditors’ Committee providing that a Termination Event

 (as defined herein) has occurred and stating that the Post-Carve Out Trigger Notice Cap has been

 invoked.

        (b)     Carve Out Reserves. On the day on which a Carve Out Trigger Notice is delivered

 (the “Termination Declaration Date”), the Carve Out Trigger Notice shall constitute a demand to

 the Debtors to utilize all cash on hand as of such date and any available cash thereafter held by any

 Debtor to fund a reserve in an amount equal to the then unpaid amounts of (i) the Allowed

 Professional Fees of Debtor Professionals, (ii) subject to the Committee Monthly Cap, the Allowed

 Professionals Fees of the Committee Professionals, and (iii) the obligations accrued as of the

 Termination Declaration Date with respect to clauses (i) and (ii) of the definition of Carve Out set




                                                  25
Case 20-41308       Doc 228     Filed 04/01/20 Entered 04/01/20 23:45:34             Main Document
                                         Pg 455 of 1005


 forth in paragraph 12(a) (the “Additional Carve Out Obligations”). The Debtors shall deposit and

 hold such amounts in a segregated account in a manner reasonably acceptable to the Required

 Lenders in trust to pay such then unpaid Allowed Professional Fees and Additional Carve Out

 Obligations (the “Pre-Carve Out Trigger Notice Reserve”) prior to the use of such reserve to pay

 any other claims. On the Termination Declaration Date, after funding the Pre-Carve Out Trigger

 Notice Reserve, the Debtors shall utilize all remaining cash on hand as of such date and any

 available cash thereafter held by any Debtor to fund a reserve in an amount equal to the Post-Carve

 Out Trigger Notice Cap (the “Post-Carve Out Trigger Notice Reserve” and, together with the Pre-

 Carve Out Trigger Notice Reserve, the “Carve Out Reserves”) prior to the use of such reserve to

 pay any other claims. All funds in the Pre-Carve Out Trigger Notice Reserve shall be used first to

 pay the obligations set forth in clauses (i) through (iii) of the definition of Carve Out set forth

 above in paragraph 12(a) (the “Pre-Carve Out Amounts”), but not, for the avoidance of doubt, the

 Post-Carve Out Trigger Notice Cap, until paid in full, and then, to the extent the Pre-Carve Out

 Trigger Notice Reserve has not been reduced to zero, to pay the DIP Agent for the benefit of itself

 and the DIP Lenders, unless the DIP Obligations have been indefeasibly paid in full, in cash, and

 all commitments under the DIP Facility have been terminated, in which case any such excess shall

 be paid to the Prepetition Secured Parties in accordance with their rights and priorities as provided

 in the Prepetition Credit Documents, the Collateral Trust Agreement, and this Interim Order. All

 funds in the Post-Carve Out Trigger Notice Reserve shall be used first to pay the obligations set

 forth in clause (iv) of the definition of Carve Out set forth above (the “Post-Carve Out Amounts”),

 and then, to the extent the Post-Carve Out Trigger Notice Reserve has not been reduced to zero, to

 pay the DIP Agent for the benefit of itself and the DIP Lenders, unless the DIP Obligations have

 been indefeasibly paid in full, in cash, and all commitments under the DIP Facility have been




                                                  26
Case 20-41308       Doc 228      Filed 04/01/20 Entered 04/01/20 23:45:34              Main Document
                                          Pg 456 of 1005


 terminated, in which case any such excess shall be paid to the Prepetition Secured Parties in

 accordance with their rights and priorities as provided in the Prepetition Credit Documents, the

 Collateral Trust Agreement, and this Interim Order. Notwithstanding anything to the contrary in

 the DIP Documents, or this Interim Order, if either of the Carve Out Reserves is not funded in full

 in the amounts set forth in this paragraph 12, then, any excess funds in one of the Carve Out

 Reserves following the payment of the Pre-Carve Out Amounts and Post-Carve Out Amounts,

 respectively, shall be used to fund the other Carve Out Reserve, up to the applicable amount set

 forth in this paragraph 12, prior to making any payments to the DIP Agent or the Prepetition

 Secured Parties, as applicable. Notwithstanding anything to the contrary in the DIP Documents or

 this Interim Order, following delivery of a Carve Out Trigger Notice, the DIP Agent and the

 Prepetition First Lien Agents shall not sweep or foreclose on cash (including cash received as a

 result of the sale or other disposition of any assets) of the Debtors until the Carve Out Reserves

 have been fully funded, but shall have a valid and perfected security interest in any residual interest

 in the Carve Out Reserves, with any excess paid to the DIP Agent for application in accordance

 with the DIP Documents and this Interim Order. Further, notwithstanding anything to the contrary

 in this Interim Order, (i) disbursements by the Debtors from the Carve Out Reserves shall not

 increase or reduce the DIP Obligations, or constitute additional DIP Loans (unless, for the

 avoidance of doubt, additional DIP Loans are used to fund the Carve Out Reserves), (ii) the failure

 of the Carve Out Reserves to satisfy in full the Allowed Professional Fees shall not affect the

 priority of the Carve Out, and (iii) in no way shall the Cash Flow Forecast, Carve Out, Post-Carve

 Out Trigger Notice Cap or the Carve Out Reserves, or any of the foregoing, be construed as a cap

 or limitation on the amount of the Allowed Professional Fees due and payable by the Debtors to

 the Debtors’ Professionals. For the avoidance of doubt and notwithstanding anything to the




                                                   27
Case 20-41308      Doc 228     Filed 04/01/20 Entered 04/01/20 23:45:34             Main Document
                                        Pg 457 of 1005


 contrary in this Interim Order, the DIP Facility or in any Prepetition Credit Document, the Carve

 Out shall be senior to all liens and claims securing the DIP Facility, the First Lien Adequate

 Protection Liens, the Second Lien Adequate Protection Liens, the First Lien Adequate Protection

 Superpriority Claim, the Second Lien Adequate Protection Superpriority Claim, the Prepetition

 Liens, the Prepetition Secured Obligations and any and all other forms of adequate protection,

 liens, or claims securing the DIP Obligations or the Prepetition Secured Obligations.

        (c)     Payment of Allowed Professional Fees Prior to the Termination Declaration

 Date. Any payment or reimbursement made prior to the occurrence of the Termination Declaration

 Date in respect of any Allowed Professional Fees shall not reduce the Carve Out.

        (d)     No Direct Obligation To Pay Allowed Professional Fees. None of the DIP Agent,

 DIP Lenders, or the Prepetition Secured Parties shall be responsible for the payment or

 reimbursement of any fees or disbursements of any Professional Person incurred in connection

 with the Cases or any successor cases under any chapter of the Bankruptcy Code. Nothing in this

 Interim Order or otherwise shall be construed to obligate the DIP Agent, the DIP Lenders, or the

 Prepetition Secured Parties, in any way, to pay compensation to, or to reimburse expenses of, any

 Professional Person or to guarantee that the Debtors have sufficient funds to pay such

 compensation or reimbursement.

        (e)     Payment of Carve Out On or After the Termination Declaration Date. Any

 payment or reimbursement made on or after the occurrence of the Termination Declaration Date

 in respect of any Allowed Professional Fees shall permanently reduce the Carve Out on a dollar-

 for-dollar basis. Any funding of the Carve Out under the DIP Facility shall be added to, and made

 a part of, the DIP Obligations secured by the DIP Collateral and shall be otherwise entitled to the




                                                 28
Case 20-41308       Doc 228     Filed 04/01/20 Entered 04/01/20 23:45:34              Main Document
                                         Pg 458 of 1005


 protections granted under this Interim Order, the DIP Documents, the Bankruptcy Code, and

 applicable law.

        13.     Limitation on Charging Expenses Against Collateral. Subject to entry of the Final

 Order (but retroactive to the Petition Date), no expenses of administration of the Cases or any

 future proceeding that may result therefrom, including liquidation in bankruptcy or other

 proceedings under the Bankruptcy Code, shall be charged against or recovered from the Prepetition

 Collateral or the DIP Collateral (except to the extent of the Carve Out), the DIP Agent, the DIP

 Lenders, or the Prepetition Secured Parties pursuant to Bankruptcy Code sections 105(a) or 506(c)

 or any similar principle of law or equity, without the prior written consent of the DIP Agent, the

 DIP Lenders, and the Prepetition Secured Parties, as applicable, and no such consent shall be

 implied from any other action, inaction, or acquiescence by the DIP Agent, the DIP Lenders, or

 the Prepetition Secured Parties.      Notwithstanding the foregoing, nothing contained in this

 paragraph shall affect or otherwise impact the charging lien available to the Prepetition First Lien

 Agents with respect to the Prepetition Collateral or any additional collateral subject to First Lien

 Adequate Protection Liens (as defined below) or funds or other property otherwise subject to

 distribution to recover payment of any unpaid fees, expenses or other amounts to which it is

 entitled under the Prepetition First Lien Credit Documents or the Collateral Trust Agreement,

 subject to the priority of the DIP Liens and DIP Claims in accordance with this Order.

        14.     No Marshaling/Application of Proceeds. Subject to entry of the Final Order (but

 retroactive to the Petition Date), the DIP Agent and the Prepetition Agents shall be entitled to apply

 the payments or proceeds of the DIP Collateral and the Prepetition Collateral in accordance with

 the provisions of the Interim Order or Final Order, as applicable, the DIP Documents and the

 Prepetition Credit Documents, as applicable, and in no event shall the DIP Agent, the DIP Lenders,




                                                  29
Case 20-41308       Doc 228       Filed 04/01/20 Entered 04/01/20 23:45:34            Main Document
                                           Pg 459 of 1005


 or any of the Prepetition Secured Parties be subject to the equitable doctrine of “marshaling” or

 any other similar doctrine with respect to any of the DIP Collateral or Prepetition Collateral.

        15.     Equities of the Case. Subject to entry of the Final Order (but retroactive to the

 Petition Date), (i) the DIP Agent, the DIP Lenders, and the Prepetition Secured Parties shall be

 entitled to all of the rights and benefits of Bankruptcy Code section 552(b) and (ii) the “equities of

 the case” exception under Bankruptcy Code section 552(b) shall not apply to such parties with

 respect to the proceeds, products, offspring or profits of any of the Prepetition Collateral or the

 DIP Collateral, as applicable.

        16.     Use of Cash Collateral. The Debtors are hereby authorized to use all Cash

 Collateral solely in accordance with this Interim Order, the DIP Documents and the Cash Flow

 Forecast including, without limitation, to make payments on account of the Adequate Protection

 Obligations provided for in this Interim Order, from the date of this Interim Order through and

 including the date of the Final Hearing. Except on the terms and conditions of this Interim Order,

 the Debtors shall be enjoined and prohibited from at any time using the Cash Collateral.

        17.     Adequate Protection for the Prepetition First Lien Parties. Subject only to the

 Carve Out and the terms of this Interim Order, pursuant to Bankruptcy Code sections 361, 363(e),

 and 364, and in consideration of the stipulations and consents set forth herein, as adequate

 protection of their interests in the Prepetition Collateral (including Cash Collateral), for and equal

 in amount to the aggregate postpetition diminution in value of such interests (each such diminution,

 a “Diminution in Value”), resulting from the imposition of the priming DIP Liens on the

 Prepetition Collateral, the Carve Out, the Debtors’ sale, lease or use of the Prepetition Collateral

 (including Cash Collateral), the imposition of the automatic stay, and/or any other reason for which

 adequate protection may be granted under the Bankruptcy Code, the Prepetition First Lien Agents,




                                                  30
Case 20-41308       Doc 228     Filed 04/01/20 Entered 04/01/20 23:45:34             Main Document
                                         Pg 460 of 1005


 for the benefit of themselves and the Prepetition First Lien Lenders, are hereby granted the

 following (collectively, the “First Lien Adequate Protection Obligations”):

        (a)     First Lien Adequate Protection Liens. As security for and solely to the extent of

 any Diminution in Value, additional and replacement valid, binding, enforceable non-avoidable,

 and effective and automatically perfected postpetition security interests in, and liens on, as of the

 date of this Interim Order (the “First Lien Adequate Protection Liens”), without the necessity of

 the execution by the Debtors (or recordation or other filing) of security agreements, control

 agreements, pledge agreements, financing statements, mortgages, or other similar documents, all

 DIP Collateral. Subject to the terms of this Interim Order, the First Lien Adequate Protection

 Liens shall be subordinate only to the (A) Carve Out, (B) the DIP Liens and (C) the Permitted

 Liens (if any). The First Lien Adequate Protection Liens shall otherwise be senior to all other

 security interests in, liens on, or claims against any of the DIP Collateral (including, for the

 avoidance of doubt, the Prepetition Liens, the Second Lien Adequate Protection Liens and any lien

 or security interest that is avoided and preserved for the benefit of the Debtors and their estates

 under Bankruptcy Code section 551).

        (b)     First Lien Adequate Protection Superpriority Claim.            As further adequate

 protection, and to the extent provided by Bankruptcy Code sections 503(b) and 507(b), an allowed

 administrative expense claim in the Cases to the extent of any postpetition Diminution in Value

 ahead of and senior to any and all other administrative expense claims in such Cases, except the

 Carve Out and the DIP Superpriority Claims (the “First Lien Adequate Protection Superpriority

 Claim”). The First Lien Adequate Protection Superpriority Claim shall be payable from and have

 recourse to all prepetition and postpetition property of the Debtors and all proceeds thereof

 (excluding Avoidance Actions, but including, subject to entry of the Final Order, the Avoidance




                                                  31
Case 20-41308       Doc 228     Filed 04/01/20 Entered 04/01/20 23:45:34              Main Document
                                         Pg 461 of 1005


 Proceeds). Subject to the Carve Out and the DIP Superpriority Claims in all respects, the First

 Lien Adequate Protection Superpriority Claim will not be junior to any claims and shall have

 priority over all administrative expense claims against each of the Debtors, now existing or

 hereafter arising, of any kind or nature whatsoever, including, without limitation, administrative

 expense claims of the kinds specified in or ordered pursuant to Bankruptcy Code sections 105,

 326, 328, 330, 331, 365, 503(a), 503(b), 506(c) (subject to entry of the Final Order), 507(a), 507(b),

 546(d), 726, 1113 and 1114. The Prepetition First Lien Parties shall not receive or retain any

 payments, property or other amounts in respect of the First Lien Adequate Protection Superpriority

 Claims under Bankruptcy Code section 507(b) granted hereunder unless and until the DIP

 Obligations have been indefeasibly paid in full, in cash, or satisfied in a manner otherwise agreed

 to by the Required Lenders, in each case as provided in the DIP Documents.

        (c)     Fees and Expenses. As further adequate protection, the Debtors are authorized and

 directed to pay, without further Court order, reasonable and documented fees and expenses (the

 “First Lien Adequate Protection Fees”), whether incurred before or after the Petition Date, of the

 Prepetition First Lien Agents, and the Ad Hoc First Lien Group (as defined below), and the Ad

 Hoc Crossover Group (as defined below), including, without limitation, the reasonable and

 documented fees and expenses of (a) Sullivan & Worcester LLP, counsel to the Prepetition First

 Lien Term Loan Agent and the Prepetition Collateral Trustee, (b) Buchanan Ingersoll & Rooney

 PC, counsel to the Prepetition First Lien Administrative Agent, together with one local counsel to

 the Prepetition First Lien Agents, (c) in accordance with its engagement letter, Conway McKenzie,

 Inc., as financial advisor to the Prepetition First Lien Administrative Agent, (d) one local counsel,

 Thompson Coburn LLP, and one lead counsel, Akin Gump, as counsel to the ad hoc group of

 certain Prepetition First Lien Lenders (the “Ad Hoc First Lien Group”), (e) in accordance with its




                                                  32
Case 20-41308      Doc 228      Filed 04/01/20 Entered 04/01/20 23:45:34           Main Document
                                         Pg 462 of 1005


 engagement letter, one financial advisor, Lazard, as financial advisors to Ad Hoc First Lien Group,

 (f) one local counsel, Bryan Cave Leighton Paisner LLP, and one lead counsel, Milbank LLP, as

 counsel to the ad hoc group of certain Prepetition First Lien Lenders and Prepetition Second Lien

 Noteholders (the “Ad Hoc Crossover Group”), and (g) in accordance with its engagement letter,

 one financial advisor, Perella Weinberg Partners LP, as financial advisor Ad Hoc Crossover

 Group. The invoices for such fees and expenses shall not be required to comply with any particular

 format, may be in summary form only, and may include redactions. The applicable professional

 shall serve copies of the invoices supporting the First Lien Adequate Protection Fees on counsel

 to the Debtors, the U.S. Trustee and counsel to the Creditors’ Committee (if any), and any First

 Lien Adequate Protection Fees shall be subject to prior ten day review by the Debtors, the U.S.

 Trustee and the Creditors’ Committee (if any), and in the event the Debtors, the U.S. Trustee or

 the Creditors’ Committee shall file with this Court an objection to any such legal invoice, the

 portion of such legal invoice subject to such objection shall not be paid until resolution of such

 objection by this Court. If no objection is filed within such ten day review period, such invoice

 shall be paid without further order of the Court within five days following the expiration of the

 foregoing review period and shall not be subject to any further review, challenge, or disgorgement.

 For the avoidance doubt, the provision of such invoices shall not constitute a waiver of attorney-

 client privilege or any benefits of the attorney work product doctrine.

        (d)     First Lien Accrued Adequate Protection Payments. As further adequate protection,

 the Prepetition First Lien Agents, on behalf of the Prepetition First Lien Lenders, shall receive,

 upon entry of this Interim Order, monthly adequate protection payments (the “First Lien Accrued

 Adequate Protection Payments”) payable in-kind on the thirtieth day of each month equal to the

 interest at the Applicable Rate (as defined in the Prepetition First Lien Credit Agreement) that




                                                 33
Case 20-41308        Doc 228    Filed 04/01/20 Entered 04/01/20 23:45:34             Main Document
                                         Pg 463 of 1005


 would otherwise be owed to the Prepetition First Lien Lenders under the Prepetition First Lien

 Credit Agreement during such monthly period in respect of the Prepetition First Lien Obligations

 that are not Roll-Up Loans, until such time as the full Prepetition First Lien Obligations Amount

 is paid in full, in cash.

         (e)     Information Rights. The Debtors shall promptly provide the Prepetition First Lien

 Agents and the Ad Hoc First Lien Advisors, respectively, as well as the Ad Hoc Crossover

 Advisors, with all required financial reporting and other periodic reporting that is required to be

 provided to the DIP Agent or the DIP Lenders under the DIP Documents.

         18.     Adequate Protection for the Prepetition Second Lien Noteholders. Subject only to

 the Carve Out, the Permitted Liens, the DIP Liens, the Prepetition First Liens, the First Lien

 Adequate Protection Liens, and the terms of this Interim Order, pursuant to Bankruptcy Code

 sections 361, 363(e) and 364, and in consideration of the stipulations and consents set forth herein,

 as adequate protection of their interests in the Prepetition Collateral (including Cash Collateral),

 for and equal in amount to the aggregate postpetition Diminution in Value of such interests,

 resulting from the imposition of the priming DIP Liens on the Prepetition Collateral, the Carve

 Out, the Debtors’ sale, lease or use of the Prepetition Collateral (including Cash Collateral), the

 imposition of the automatic stay and/or any other reason for which adequate protection may be

 granted under the Bankruptcy Code, the Prepetition Second Lien Noteholders are hereby granted

 the following (collectively, the “Second Lien Adequate Protection Obligations” and, together with

 the First Lien Adequate Protection Obligations, the “Adequate Protection Obligations”):

         (a)     Second Lien Adequate Protection Liens. As security for and solely to the extent of

 any Diminution in Value, additional and replacement valid, binding, enforceable non-avoidable,

 and effective and automatically perfected postpetition security interests in, and liens on, as of the




                                                  34
Case 20-41308       Doc 228     Filed 04/01/20 Entered 04/01/20 23:45:34              Main Document
                                         Pg 464 of 1005


 date of this Interim Order (the “Second Lien Adequate Protection Liens” and, together with the

 First Lien Adequate Protection Liens, the “Adequate Protection Liens”), without the necessity of

 the execution by the Debtors (or recordation or other filing) of security agreements, control

 agreements, pledge agreements, financing statements, mortgages, or other similar documents, all

 DIP Collateral. Subject to the terms of this Interim Order, the Second Lien Adequate Protection

 Liens shall be subordinate only to the (A) Carve Out, (B) the DIP Liens, (C) the First Lien

 Adequate Protection Liens, (D) the Prepetition First Liens and (E) the Permitted Liens (if any).

 The Second Lien Adequate Protection Liens shall otherwise be senior to all other security interests

 in, liens on, or claims against any of the DIP Collateral.

        (b)     Second Lien Adequate Protection Superpriority Claim.            As further adequate

 protection, and to the extent provided by Bankruptcy Code sections 503(b) and 507(b), an allowed

 administrative expense claim in the Cases ahead of and senior to any and all other administrative

 expense claims in such Cases to the extent of any postpetition Diminution in Value (the “Second

 Lien Adequate Protection Superpriority Claim” and, together with the First Lien Adequate

 Protection Superpriority Claim, the “Adequate Protection Superpriority Claims”), except the

 Carve Out, the DIP Superpriority Claims and the First Lien Adequate Protection Superpriority

 Claim. Subject to the Carve Out, the DIP Superpriority Claims, the First Lien Adequate Protection

 Superpriority Claims, and the Prepetition First Lien Obligations in all respects, the Second Lien

 Adequate Protection Superpriority Claim will not be junior to any other claims and shall have

 priority over all administrative expense claims against each of the Debtors, now existing or

 hereafter arising, of any kind or nature whatsoever, including, without limitation, administrative

 expense claims of the kinds specified in or ordered pursuant to Bankruptcy Code sections 105,

 326, 328, 330, 331, 365, 503(a), 503(b), 506(c) (subject to entry of the Final Order), 507(a), 507(b),




                                                  35
Case 20-41308       Doc 228      Filed 04/01/20 Entered 04/01/20 23:45:34               Main Document
                                          Pg 465 of 1005


 546(d), 726, 1113 and 1114. The Prepetition Second Lien Noteholders shall not receive or retain

 any payments, property or other amounts in respect of the Second Lien Adequate Protection

 Superpriority Claim under Bankruptcy Code section 507(b) granted hereunder unless and until the

 DIP Obligations, the Prepetition First Lien Obligations and the First Lien Adequate Protection

 Obligations have been indefeasibly paid in full, in cash, in each case as provided in the DIP

 Documents.

         19.     Section 507(b) Reservation. Subject in all respects to the terms of the Collateral

 Trust Agreement, nothing herein shall impair or modify the application of Bankruptcy Code

 section 507(b) in the event that the adequate protection provided to the Prepetition Secured Parties

 is insufficient to compensate for any Diminution in Value of their interests in the Prepetition

 Collateral during the Cases. Nothing contained herein shall be deemed a finding by the Court, or

 an acknowledgment by any of the Prepetition Secured Parties that the adequate protection granted

 herein does in fact adequately protect any of the Prepetition Secured Parties against any diminution

 in value of their respective interests in the Prepetition Collateral (including the Cash Collateral).

         20.     Restrictions on Disposition of Material Assets Outside the Ordinary Course of

 Business. Except as expressly permitted under the “first day” pleadings or the DIP Documents,

 the Debtors shall not use, sell or lease any material assets outside the ordinary course of business,

 or seek authority of this Court to the extent required by Bankruptcy Code section 363, without

 obtaining the prior written consent of the Required Lenders at least five days (or such shorter

 period as the DIP Agent, at the direction of the Required Lenders, may agree) prior to the date on

 which the Debtors seek the Court’s authority for such use, sale, or lease. Except as otherwise

 provided under the DIP Documents, subject to the Carve Out and Permitted Liens, in the event of

 any such sale, lease, transfer, license, or other disposition of property of the Debtors that constitutes




                                                    36
Case 20-41308       Doc 228      Filed 04/01/20 Entered 04/01/20 23:45:34              Main Document
                                          Pg 466 of 1005


 DIP Collateral outside the ordinary course of business (to the extent permitted by the DIP

 Documents and this Interim Order), the Debtors are authorized and shall promptly pay, without

 further notice or order of this Court, the DIP Agent, for the benefit of the DIP Parties, 100% of the

 net cash proceeds resulting therefrom no later than the second business day following receipt of

 such proceeds. Upon payment in full of the DIP Obligations, subject to the Carve Out and

 Permitted Liens, the Debtors are authorized and shall promptly pay, without further notice or order

 of this Court, the Prepetition First Lien Agents, for the benefit of the Prepetition First Lien Lenders,

 100% of the net cash proceeds resulting from any such sale, lease, transfer, license, or other

 disposition of property of the Debtors that constitutes DIP Collateral outside the ordinary course

 of business (to the extent permitted by the DIP Documents and this Interim Order) no later than

 the second business day following receipt of such proceeds. Except as otherwise provided under

 the DIP Documents, subject to the Carve Out and Permitted Liens, in the event of any casualty,

 condemnation, or similar event with respect to property that constitutes DIP Collateral, the Debtors

 are authorized and shall promptly pay to the DIP Agent, for the benefit of the DIP Parties, any

 insurance proceeds, condemnation award, or similar payment (excluding any amounts on account

 of any D&O policies) no later than the second business day following receipt of payment by the

 Debtors, unless the Required Lenders consent, each in its sole discretion, in writing, to the funds

 being reinvested by the Debtors.

         21.     Insurance. At all times the Debtors shall maintain casualty and loss insurance

 coverage for the Prepetition Collateral and the DIP Collateral on substantially the same basis as

 maintained prior to the Petition Date. Upon entry of this Interim Order, the DIP Agent shall be,

 and shall be deemed to be, without any further action or notice, named as additional insured and




                                                   37
Case 20-41308       Doc 228     Filed 04/01/20 Entered 04/01/20 23:45:34              Main Document
                                         Pg 467 of 1005


 lender’s loss payee on each insurance policy maintained by the Debtors which in any way relates

 to the DIP Collateral.

        22.     Reservation of Rights of the DIP Agent, DIP Lenders, and Prepetition Secured

 Parties. Notwithstanding any other provision in this Interim Order to the contrary, the entry of

 this Interim Order is without prejudice to, and does not constitute a waiver of, expressly or

 implicitly, or otherwise impair: (a) any of the rights of any of the Prepetition Secured Parties to

 seek any other or supplemental relief in respect of the Debtors including the right to seek additional

 adequate protection in all respects subject to the Collateral Trust Agreement; provided that any

 such further or different adequate protection shall at all times be subordinate and junior to the

 claims and liens of the DIP Agent and the DIP Lenders granted under this Interim Order and the

 DIP Documents; (b) any of the rights of the DIP Agent, the DIP Lenders, or the Prepetition Secured

 Parties under the Bankruptcy Code or under non-bankruptcy law, including, without limitation,

 the right of any of the DIP Agent, the DIP Lenders, or the Prepetition First Lien Parties to (i)

 request modification of the automatic stay of Bankruptcy Code section 362, (ii) request dismissal

 of any of the Cases, conversion of any of the Cases to cases under chapter 7, or appointment of a

 chapter 11 trustee or examiner with expanded powers in any of the Cases, (iii) seek to propose,

 subject to the provisions of Bankruptcy Code section 1121, a chapter 11 plan or plans; or (c) any

 other rights, claims, or privileges (whether legal, equitable, or otherwise) of any of the DIP Agent,

 the DIP Lenders, or the Prepetition Secured Parties (in the case of the Prepetition Secured Parties,

 in all respects subject to the Collateral Trust Agreement). The delay in or failure of the DIP Agent,

 the DIP Lenders and/or the Prepetition Secured Parties to seek relief or otherwise exercise their

 rights and remedies shall not constitute a waiver of any of the DIP Agent’s, the DIP Lenders’ or

 the Prepetition First Lien Parties’ rights and remedies.




                                                  38
Case 20-41308      Doc 228      Filed 04/01/20 Entered 04/01/20 23:45:34            Main Document
                                         Pg 468 of 1005


        23.     Termination Event. Subject to paragraph 24, the Debtors’ authorization to use Cash

 Collateral and the proceeds of the DIP Facility pursuant to this Interim Order shall automatically

 terminate, and the DIP Obligations shall become due and payable, without further notice or action

 by the Court following the earliest to occur of any of the following (each a “Termination Event”):

 (a) the occurrence of an Event of Default (as defined in the DIP Credit Agreement), which are

 explicitly incorporated by reference into this Interim Order; (b) the Debtors’ failure to (i) comply

 with any provision of this Interim Order, (ii) comply with any other covenant or agreement

 specified in this Interim Order or the DIP Credit Agreement (which covenants and agreements,

 together with any applicable grace periods, are explicitly incorporated by reference into this

 Interim Order), or (iii) comply with any of the Milestones (as defined in, and as set forth in, the

 DIP Credit Agreement); (c) termination of the Restructuring Support Agreement or the Backstop

 Commitment Agreement (as defined in the DIP Credit Agreement), in either case, other than as a

 result of a breach by the DIP Lenders thereunder; or (d) the occurrence of the Maturity Date (as

 defined in the DIP Credit Agreement).

        24.     Remedies Upon a Termination Event. The Debtors shall immediately provide

 notice to counsel to the DIP Agent, the DIP Lenders, the Prepetition First Lien Agents, the Ad Hoc

 First Lien Group, and the Ad Hoc Crossover Group (with a copy to counsel to the Creditors’

 Committee (if any)), of the occurrence of any Termination Event, at which time the Debtors’

 ability to use Cash Collateral hereunder shall terminate (subject to the proviso at the end of this

 paragraph 24) and the DIP Obligations shall become due and payable. Upon the occurrence of a

 Termination Event and following the giving of not less than three business days’ advance written

 notice, which may be by email (the “Enforcement Notice”), to counsel to the Debtors, the U.S.

 Trustee, and counsel to the Creditors’ Committee (if any) (the “Notice Period”), (a) the DIP Agent




                                                 39
Case 20-41308       Doc 228     Filed 04/01/20 Entered 04/01/20 23:45:34              Main Document
                                         Pg 469 of 1005


 and the DIP Lenders may exercise any rights and remedies against the DIP Collateral available to

 them under this Interim Order, the DIP Documents, and applicable non-bankruptcy law, including

 but not limited to terminating all commitments to extend credit under the DIP Facility and (b) the

 Prepetition First Lien Parties may exercise any rights and remedies to satisfy the Prepetition First

 Lien Obligations, the First Lien Adequate Protection Superpriority Claims and any other First Lien

 Adequate Protection Obligations, subject to the DIP Obligations, the DIP Superpriority Claims,

 Permitted Liens and, in each case, the Carve Out. The only permissible basis for the Debtors, the

 Prepetition Second Lien Noteholders, the Creditors’ Committee (if any), or any other party to

 contest, challenge or object to an Enforcement Notice shall be solely with respect to the validity

 of the Termination Event(s) giving rise to such Enforcement Notice (i.e., whether such

 Termination Event validly occurred and has not been cured or waived in accordance with this

 Interim Order).     The automatic stay pursuant to Bankruptcy Code section 362 shall be

 automatically terminated with respect to the DIP Agent, the DIP Lenders, and the Prepetition First

 Lien Parties at the end of the Notice Period, without further notice or order of the Court, unless the

 DIP Agent, the DIP Lenders, the Prepetition First Lien Agents, and the Prepetition First Lien

 Lenders elect otherwise in a written notice to the Debtors, which may be by email. Upon

 termination of the automatic stay, the DIP Agent, the DIP Lenders, and the Prepetition First Lien

 Parties shall be permitted to exercise all rights and remedies set forth herein, in the DIP Documents,

 and the Prepetition First Lien Credit Documents, as applicable, and as otherwise available at law

 against the DIP Collateral and/or Prepetition Collateral, without any further order of or application

 or motion to the Court, and without restriction or restraint imposed by any stay under Bankruptcy

 Code sections 362 or 105, or otherwise, against (x) the enforcement of the liens and security

 interests in the DIP Collateral or the Prepetition Collateral, or (y) the pursuit of any other rights




                                                  40
Case 20-41308      Doc 228      Filed 04/01/20 Entered 04/01/20 23:45:34           Main Document
                                         Pg 470 of 1005


 and remedies granted to the DIP Agent, the DIP Lenders, or the Prepetition First Lien Parties

 pursuant to the DIP Documents, the Prepetition First Lien Credit Documents, or this Interim Order;

 provided that during the Notice Period the Debtors may use the proceeds of the DIP Facility (to

 the extent drawn prior to the occurrence of a Termination Event) or Cash Collateral only to (i)

 fund operations in accordance with the DIP Credit Agreement and the Cash Flow Forecast and (ii)

 to fund the Carve Out Reserves; provided further that during the Notice Period the Debtors, the

 DIP Lenders, and the DIP Agent consent to a hearing on an expedited basis to consider whether a

 Termination Event has occurred; provided further, that if a hearing to consider the foregoing is

 requested to be heard before the end of the Notice Period but is scheduled for a later date by the

 Court, the Notice Period shall be automatically extended to the date of such hearing, but in no

 event later than five business days after delivery of the Enforcement Notice; provided further that

 any fees and expenses incurred by the Debtors or the Committee during the Notice Period shall

 permanently reduce the Post-Carve Out Trigger Notice Cap. Any party in interest shall be entitled

 to seek an emergency hearing for the purpose of contesting whether assets constitute assets of the

 Debtors’ estates and nothing in this Interim Order shall affect any party in interest’s rights or

 positions at such hearing.

        25.     No Waiver for Failure to Seek Relief. The failure or delay of the DIP Agent, the

 DIP Lenders or any of the Prepetition Secured Parties to exercise rights and remedies under this

 Interim Order, the DIP Documents, the Prepetition First Lien Credit Documents, the Prepetition

 Second Lien Documents, or applicable law, as the case may be, shall not constitute a waiver of

 their respective rights hereunder, thereunder or otherwise.

        26.     Perfection of the DIP Liens and Adequate Protection Liens.




                                                 41
Case 20-41308       Doc 228      Filed 04/01/20 Entered 04/01/20 23:45:34              Main Document
                                          Pg 471 of 1005


        (a)     Subject to the limitations in paragraph 27(a) of this Interim Order, the DIP Agent

 and the Prepetition Agents are hereby authorized, but not required, to file or record (and to execute

 in the name of the Debtors, as their true and lawful attorneys, with full power of substitution, to

 the maximum extent permitted by law) financing statements, intellectual property filings,

 mortgages, depository account control agreements, notices of lien, or similar instruments in any

 jurisdiction in order to validate and perfect the liens and security interests granted hereunder.

 Whether or not the DIP Agent or the Prepetition Agents shall, in their sole discretion, choose to

 file such financing statements, intellectual property filings, mortgages, notices of lien, or similar

 instruments, such liens and security interests shall be deemed valid, automatically perfected,

 allowed, enforceable, non-avoidable and not subject to challenge, dispute or subordination (subject

 to the priorities set forth in this Interim Order), at the time and on the date of entry of this Interim

 Order. Upon the request of the DIP Agent, the Prepetition Collateral Trustee, or the Prepetition

 Second Lien Indenture Trustee, as applicable, each of the Prepetition Secured Parties and the

 Debtors, without any further consent of any party, is authorized to take, execute, deliver, and file

 such instruments (in the case of the Prepetition Secured Parties, without representation or warranty

 of any kind) to enable the DIP Agent, the Prepetition Collateral Trustee, or the Prepetition Second

 Lien Indenture Trustee to further validate, perfect, preserve, and enforce the DIP Liens and the

 applicable Adequate Protection Liens, respectively. All such documents will be deemed to have

 been recorded and filed as of the Petition Date.

        (b)     A certified copy of this Interim Order may, in the discretion of the DIP Agent or

 the applicable Prepetition Agents, be filed with or recorded in filing or recording offices in addition

 to or in lieu of such financing statements, mortgages, notices of lien or similar instruments, and all

 filing offices are hereby authorized to accept such certified copy of this Interim Order for filing




                                                    42
Case 20-41308       Doc 228     Filed 04/01/20 Entered 04/01/20 23:45:34              Main Document
                                         Pg 472 of 1005


 and recording; provided, however, that notwithstanding the date of any such filing, the date of such

 perfection shall be the date of this Interim Order.

        (c)     Effective upon entry of the Final Order, any provision of any lease or other license,

 contract or other agreement that requires (i) the consent or approval of one or more landlords or

 other parties or (ii) the payment of any fees or obligations to any governmental entity, in order for

 any Debtor to pledge, grant, sell, assign, or otherwise transfer any such leasehold interest, or the

 proceeds thereof, or other collateral related thereto, is hereby deemed to be inconsistent with the

 applicable provisions of the Bankruptcy Code. Thereupon, any such provision shall have no force

 and effect with respect to the granting of the DIP Liens and the Adequate Protection Liens on such

 leasehold interest or the proceeds of any assignment, and/or sale thereof by any Debtor in

 accordance with the terms of the DIP Credit Agreement or this Interim Order.

        27.     Preservation of Rights Granted Under this Interim Order.

        (a)     Unless and until all DIP Obligations, Prepetition First Lien Obligations, and First

 Lien Adequate Protection Obligations are indefeasibly paid in full, in cash, and all commitments

 to extend credit under the DIP Facility are terminated, the Prepetition Second Lien Noteholders

 shall, in each case solely to the extent provided for in the Collateral Trust Agreement and

 applicable law: (i) take no action to foreclose upon, or recover in connection with, the liens granted

 thereto pursuant to the Prepetition Second Lien Documents or this Interim Order, or otherwise

 seek to exercise or enforce any rights or remedies against such DIP Collateral; and (ii) be restricted

 from exercising any rights and remedies or taking any other actions in respect of the DIP Collateral

 to the extent provided by the Collateral Trust Agreement and applicable law.

        (b)     Subject to the Carve Out, other than as set forth in this Interim Order, neither the

 DIP Liens nor the First Lien Adequate Protection Liens shall be made subject to or pari passu with




                                                  43
Case 20-41308       Doc 228     Filed 04/01/20 Entered 04/01/20 23:45:34              Main Document
                                         Pg 473 of 1005


 any lien or security interest granted in any of the Cases or arising after the Petition Date, and

 neither the DIP Liens nor the First Lien Adequate Protection Liens shall be subject or junior to any

 lien or security interest that is avoided and preserved for the benefit of the Debtors’ estates under

 Bankruptcy Code section 551.

        (c)     In the event this Interim Order or any provision hereof is vacated, reversed, or

 modified on appeal or otherwise, any liens or claims granted to the Prepetition Secured Parties

 hereunder arising prior to the effective date of any such vacatur, reversal, or modification of this

 Interim Order shall be governed in all respects by the original provisions of this Interim Order,

 including entitlement to all rights, remedies, privileges, and benefits granted herein, and the

 Prepetition Secured Parties shall be entitled to the protections afforded in Bankruptcy Code section

 363(m) with respect to all uses of the Prepetition Collateral (including the Cash Collateral) and all

 Adequate Protection Obligations.

        (d)     Subject to the Carve Out, unless and until all DIP Obligations, Prepetition First

 Lien Obligations, Prepetition Second Lien Obligations, and Adequate Protection Obligations are

 indefeasibly paid in full, in cash, and all commitments to extend credit under the DIP Facility are

 terminated, the Debtors irrevocably waive the right to seek and shall not seek or consent to, directly

 or indirectly (i) except as permitted under the DIP Documents and with the prior written consent

 of the DIP Agent and the Required Lenders (x) any modification, stay, vacatur, or amendment of

 this Interim Order, (y) a priority claim for any administrative expense, secured claim or unsecured

 claim against any of the Debtors (now existing or hereafter arising of any kind or nature

 whatsoever, including, without limitation, any administrative expense of the kind specified in

 Bankruptcy Code sections 503(b), 507(a) or 507(b)) in any of the Cases, equal or superior to the

 DIP Superpriority Claims, the Adequate Protection Superpriority Claims, the Prepetition First Lien




                                                  44
Case 20-41308       Doc 228      Filed 04/01/20 Entered 04/01/20 23:45:34             Main Document
                                          Pg 474 of 1005


 Obligations, and the Prepetition Second Lien Obligations (or the liens and security interests

 securing such claims and obligations), or (z) any other order allowing use of the DIP Collateral;

 (ii) except as permitted under the DIP Documents, any lien on any of the DIP Collateral or the

 Prepetition Collateral with priority equal or superior to the DIP Liens, the Adequate Protection

 Liens, the Prepetition First Liens, or the Prepetition Second Liens, as the case may be; (iii) the use

 of Cash Collateral for any purpose other than as permitted in the DIP Documents and this Interim

 Order; (iv) except as set forth in the DIP Documents, the return of goods pursuant to section 546(h)

 of the Bankruptcy Code (or other return of goods on account of any prepetition indebtedness) to

 any creditor of any Debtor; (v) an order converting or dismissing any of the Cases; (vi) an order

 appointing a chapter 11 trustee in any of the Cases; or (vii) an order appointing an examiner with

 enlarged powers in any of the Cases.

        (e)     Notwithstanding any order dismissing any of the Cases under Bankruptcy Code

 section 1112 or otherwise entered at any time, (x) the DIP Liens, the DIP Superpriority Claims,

 the Adequate Protection Liens, the Adequate Protection Superpriority Claims, and the other

 administrative claims granted pursuant to this Interim Order, shall continue in full force and effect

 and shall maintain their priorities as provided in this Interim Order until all DIP Obligations and

 Adequate Protection Obligations are indefeasibly paid in full, in cash (and such DIP Liens, DIP

 Superpriority Claims, Adequate Protection Liens, Adequate Protection Superpriority Claims, and

 the other administrative claims granted pursuant to this Interim Order, shall, notwithstanding such

 dismissal, remain binding on all parties in interest); and (y) the Court shall retain jurisdiction,

 notwithstanding such dismissal, for the purposes of enforcing the claims, liens and security

 interests referred to in clause (x) above.




                                                  45
Case 20-41308       Doc 228     Filed 04/01/20 Entered 04/01/20 23:45:34             Main Document
                                         Pg 475 of 1005


        (f)     Except as expressly provided in this Interim Order or in the DIP Documents, the

 DIP Liens, the DIP Superpriority Claims, the Adequate Protection Liens, the Adequate Protection

 Superpriority Claims, and all other rights and remedies of the DIP Agent, the DIP Lenders, the

 Prepetition First Lien Agents, and the Prepetition First Lien Lenders granted by the provisions of

 this Interim Order and the DIP Documents shall survive, shall maintain their priority as provided

 in this Interim Order, and shall not be modified, impaired or discharged by (i) the entry of an order

 converting any of the Cases to a case under chapter 7, dismissing any of the Cases, terminating the

 joint administration of these Cases or by any other act or omission, (ii) the entry of an order

 approving the sale of any Prepetition Collateral or DIP Collateral pursuant to Bankruptcy Code

 section 363(b) or (iii) the entry of an order confirming a plan of reorganization in any of the Cases

 and, pursuant to Bankruptcy Code section 1141(d)(4), the Debtors have waived any discharge as

 to any remaining DIP Obligations or Adequate Protection Obligations. The terms and provisions

 of this Interim Order and the DIP Documents shall continue in these Cases, in any successor cases

 if these Cases cease to be jointly administered, or in any superseding chapter 7 cases under the

 Bankruptcy Code. The DIP Liens, the DIP Superpriority Claims, the Adequate Protection Liens

 and Adequate Protection Superpriority Claims and all other rights and remedies of the DIP Parties

 and the Prepetition Secured Parties granted by the provisions of this Interim Order shall continue

 in full force and effect until the DIP Obligations and the Adequate Protection Obligations are

 indefeasibly paid in full, in cash (or, with respect to the DIP Obligations, otherwise satisfied in a

 manner agreed to by the Required Lenders).

        28.     Expenses and Indemnification.

        (a)     All (i) reasonable and documented out-of-pocket fees and expenses incurred by

 professionals or consultants retained by the DIP Agent and the DIP Lenders, including (x) the Ad




                                                  46
Case 20-41308       Doc 228      Filed 04/01/20 Entered 04/01/20 23:45:34              Main Document
                                          Pg 476 of 1005


 Hoc First Lien Advisors and (z) the Ad Hoc Crossover Group Advisors (collectively, the “DIP

 Professionals”), incurred in connection with the Cases (in any capacity) and the DIP Facility,

 whether or not the DIP Facility is successfully consummated, and (ii) reasonable and documented

 out-of-pocket expenses (including, without limitation, fees, disbursements and other charges of

 DIP Professionals) of the DIP Agent and the DIP Lenders, for enforcement costs and documentary

 taxes associated with the DIP Facility and the transactions contemplated thereby, are to be paid by

 the Debtors. All fees and expenses described above shall be payable by the Debtors (whether

 accrued or incurred prior to, on, or after the Petition Date) within ten calendar days after the

 delivery of invoices (which invoices shall not be required to comply with any particular format

 and may be in summary form only and may be in redacted form to protect privileged and

 confidential information) to the Debtors, the U.S. Trustee, and the Creditors’ Committee (if any),

 without the necessity of filing motions or fee applications and such fees and expenses shall not be

 subject to any further review, challenge, or disgorgement following the expiration of such period.

        (b)     As set forth in the DIP Facility, the Debtors will, jointly and severally, indemnify

 the DIP Lenders, the DIP Agent, and their respective affiliates, successors and assigns and the

 officers, directors, employees, agents, advisors, controlling persons, and members of each of the

 foregoing (each an “Indemnified Person”), and hold them harmless from and against any and all

 losses, claims, damages, costs, expenses (including but not limited to reasonable and documented

 legal fees and expenses), and liabilities arising out of or relating to the execution or delivery of the

 DIP Credit Agreement and other DIP Documents, transactions contemplated hereby and thereby,

 and any actual or proposed use of the proceeds of any loans made under the DIP Facility in

 accordance with the terms of the DIP Credit Agreement; provided that no such person will be

 indemnified for costs, expenses, or liabilities to the extent determined by a final, non-appealable




                                                   47
Case 20-41308       Doc 228      Filed 04/01/20 Entered 04/01/20 23:45:34              Main Document
                                          Pg 477 of 1005


 judgment of a court of competent jurisdiction to have been incurred solely by reason of the actual

 fraud, gross negligence, or willful misconduct of such person (or their related persons). No

 Indemnified Person shall have any liability (whether direct or indirect, in contract, tort or

 otherwise) to the Debtors or any shareholders or creditors of the Debtors for or in connection with

 the transactions contemplated hereby, except to the extent such liability is found in an final non-

 appealable judgment by a court of competent jurisdiction to have resulted solely from such

 Indemnified Person’s actual fraud, gross negligence or willful misconduct, and in no event shall

 any Indemnified Person be liable on any theory of liability for any special, indirect, consequential,

 or punitive damages.

         29.     Limitation on Use of DIP Facility Proceeds, DIP Collateral, and Cash Collateral

         (a)     Notwithstanding anything to the contrary set forth in this Interim Order or in any

 other order of this Court to the contrary, none of the DIP Facility, the DIP Collateral, the

 Prepetition Collateral or the proceeds thereof, including Cash Collateral, shall be used to pay fees

 or expenses in excess of $150,000.00 per month in the aggregate on account of all Committee

 Professionals (the “Committee Monthly Cap”); provided that any unused amounts may be carried

 forward to a subsequent month.

         (b)     Notwithstanding anything to the contrary set forth in this Interim Order, none of

 the DIP Facility, the DIP Collateral, the Prepetition Collateral or the proceeds thereof, including

 Cash Collateral, or the Carve Out may be used: (a) to investigate (except as expressly provided

 herein), initiate, prosecute, join, or finance the initiation or prosecution of any claim, counterclaim,

 action, suit, arbitration, proceeding, application, motion, objection, defense, or other litigation of

 any type (i) against any of the DIP Agent, the DIP Lenders, or the Prepetition Secured Parties

 (each in their capacities as such) or seeking relief that would impair the rights and remedies of the




                                                   48
Case 20-41308       Doc 228     Filed 04/01/20 Entered 04/01/20 23:45:34              Main Document
                                         Pg 478 of 1005


 DIP Agent, the DIP Lenders, or the Prepetition Secured Parties (each in their capacities as such)

 under the DIP Documents, this Interim Order, or the Prepetition Credit Documents to the extent

 permitted or provided hereunder, including, without limitation, for the payment of any services

 rendered by the professionals retained by the Debtors or any Creditors’ Committee in connection

 with the assertion of or joinder in any claim, counterclaim, action, proceeding, application, motion,

 objection, defense, or other contested matter, the purpose of which is to seek, or the result of which

 would be to obtain, any order, judgment, determination, declaration, or similar relief that would

 impair the ability of any of the DIP Agent, the DIP Lenders, or the Prepetition Secured Parties to

 recover on the DIP Collateral or the Prepetition Collateral, as provided for herein, or seeking

 affirmative relief against any of the DIP Agent, the DIP Lenders, or the Prepetition Secured Parties

 related to the DIP Obligations, or the Prepetition Secured Obligations, (ii) seeking to invalidate,

 set aside, avoid, or subordinate, in whole or in part, the DIP Obligations, the DIP Superpriority

 Claims, or the DIP Agent’s and the DIP Lenders’ liens or security interests in the DIP Collateral,

 the Prepetition Secured Obligations or the Prepetition Liens, or (iii) for monetary, injunctive, or

 other affirmative relief against the DIP Agent, the DIP Lenders, or the Prepetition Secured Parties

 (each in their capacities as such), or their respective liens on or security interests in the DIP

 Collateral or the Prepetition Collateral, or the DIP Superpriority Claims, that would impair the

 ability of any of the DIP Agent, the DIP Lenders, or the Prepetition Secured Parties to assert or

 enforce any lien, claim, right, or security interest or to realize or recover on the DIP Obligations

 or the Prepetition Secured Obligations to the extent permitted or provided hereunder; (b) for

 objecting to or challenging in any way the legality, validity, priority, perfection, or enforceability

 of the claims, liens, or interests (including the Prepetition Liens) held by or on behalf of each of

 the Prepetition Secured Parties related to the Prepetition Secured Obligations, or by or on behalf




                                                  49
Case 20-41308       Doc 228      Filed 04/01/20 Entered 04/01/20 23:45:34              Main Document
                                          Pg 479 of 1005


 of the DIP Agent and the DIP Lenders related to the DIP Obligations; (c) for asserting,

 commencing, or prosecuting any claims or causes of action whatsoever, including, without

 limitation, any Avoidance Actions (as defined herein) related to the DIP Obligations, the DIP

 Superpriority Claims, the DIP Liens, the Prepetition Secured Obligations, or the Prepetition Liens;

 (d) for prosecuting an objection to, contesting in any manner, or raising any defenses to, the

 validity, extent, amount, perfection, priority, or enforceability of: (x) any of the DIP Liens, the DIP

 Superpriority Claims, or any other rights or interests of the DIP Agent or the DIP Lenders related

 to the DIP Obligations or the DIP Liens, or (y) any of the Prepetition Liens or any other rights or

 interests of any of the Prepetition Secured Parties related to the Prepetition Secured Obligations or

 the Prepetition Liens; and (e) assert any claims, defenses, or any other causes of action any non-

 Debtor affiliates with respect to prepetition relationships with the Debtors; provided that (i) no

 more than $25,000.00 of the proceeds of the DIP Facility, the DIP Collateral, or the Prepetition

 Collateral, including the Cash Collateral, in the aggregate, may be used by the Creditors’

 Committee, if appointed, solely to investigate the foregoing matters with respect to the Prepetition

 Secured Obligations, and the Prepetition Liens within the Challenge Period (as defined herein);

 and (ii) no more than $25,000.00 of the proceeds of the DIP Facility, the DIP Collateral, or the

 Prepetition Collateral, including the Cash Collateral, in the aggregate, may be used by the

 Creditors’ Committee, if appointed, solely to investigate the any claims or causes of action against




                                                   50
Case 20-41308       Doc 228      Filed 04/01/20 Entered 04/01/20 23:45:34              Main Document
                                          Pg 480 of 1005


 non-Debtor affiliates within the Challenge Period (clauses (i) and (ii), collectively, the “Challenge

 Budget”).

        (c)     All fees and expenses of the Committee Professionals in excess of (i) the

 Committee Monthly Cap and/or (ii) the Challenge Budget, as applicable, shall not be entitled to

 administrative expense priority pursuant to section 503(b) of the Bankruptcy Code or otherwise.

        30.     Effect of Stipulations on Third Parties.

        (a)     The Debtors’ acknowledgments, stipulations, admissions, waivers, and releases set

 forth in this Interim Order shall be binding on the Debtors, their respective representatives,

 successors and assigns upon entry of this Interim Order. The acknowledgments, stipulations,

 admissions, waivers, and releases contained in this Interim Order shall also be binding upon the

 Debtors’ estate and all other parties in interest, including the Creditors’ Committee (if any), or any

 chapter 7 or chapter 11 trustee appointed or elected for any of the Debtors (a “Trustee”), unless (a)

 such party with requisite standing, has duly filed an adversary proceeding challenging the validity,

 perfection, priority, extent, or enforceability of the Prepetition Liens, or the Prepetition Secured

 Obligations, or otherwise asserting or prosecuting any Avoidance Actions or any other claims,

 counterclaims or causes of action, objections, contests, or defenses (collectively, the “Claims and

 Defenses”) against the Prepetition Secured Parties in connection with any matter related to the

 Prepetition Collateral, the Prepetition Liens or the Prepetition Secured Obligations by no later than

 (i) with respect to any Creditors’ Committee, the date that is 60 days after the Creditors’

 Committee’s formation or (ii) with respect to other parties in interest, no later than the date that is

 75 days after the entry of this Interim Order (the time period established by the later of the

 foregoing clauses (i) and (ii), the “Challenge Period”); provided that in the event that, prior to the

 expiration of the Challenge Period, (x) these chapter 11 cases are converted to chapter 7 or (y) a




                                                   51
Case 20-41308       Doc 228     Filed 04/01/20 Entered 04/01/20 23:45:34             Main Document
                                         Pg 481 of 1005


 chapter 11 trustee is appointed in these chapter 11 cases, then, in each such case, the Challenge

 Period shall be extended for a period of 60 days solely with respect to any Trustee, commencing

 on the occurrence of either of the events described in the foregoing clauses (x) and (y); and (b) an

 order is entered by a court of competent jurisdiction and becomes final and non-appealable in favor

 of the plaintiff sustaining any such challenge or claim in any such duly filed adversary proceeding.

 If no such adversary proceeding is timely filed prior to the expiration of the Challenge Period,

 without further order of this Court: (x) the Prepetition Secured Obligations shall constitute allowed

 claims, not subject to any Claims and Defenses (whether characterized as a counterclaim, setoff,

 subordination, recharacterization, defense, avoidance, contest, attack, objection, recoupment,

 reclassification, reduction, disallowance, recovery, disgorgement, attachment, “claim” (as defined

 by Bankruptcy Code section 101(5)), impairment, subordination (whether equitable, contractual

 or otherwise), or other challenge of any kind pursuant to the Bankruptcy Code or applicable non-

 bankruptcy law), for all purposes in these Cases and any subsequent chapter 7 cases, if any; (y) the

 Prepetition Liens shall be deemed to have been, as of the Petition Date, legal, valid, binding,

 perfected and of the priority specified in paragraphs 4(b) and 4(d), not subject to setoff,

 subordination, defense, avoidance, impairment, disallowance, recharacterization, reduction,

 recoupment, or recovery; and (z) the Prepetition Secured Obligations, the Prepetition Liens on the

 Prepetition Collateral and the Prepetition Secured Parties (in their capacities as such) shall not be

 subject to any other or further challenge and any party in interest shall be forever enjoined and

 barred from seeking to exercise the rights of the Debtors’ estates or taking any such action,

 including any successor thereto (including any estate representative or a Trustee, whether such

 Trustee is appointed or elected prior to or following the expiration of the Challenge Period). If

 any such adversary proceeding is timely filed prior to the expiration of the Challenge Period, (a)




                                                  52
Case 20-41308       Doc 228      Filed 04/01/20 Entered 04/01/20 23:45:34             Main Document
                                          Pg 482 of 1005


 the stipulations and admissions contained in this Interim Order shall nonetheless remain binding

 and preclusive on the Creditors’ Committee (if any) and any other party in these cases, including

 any Trustee, except as to any stipulations or admissions that are specifically and expressly

 challenged in such adversary proceeding and (b) any Claims and Defenses not brought in such

 adversary proceeding shall be forever barred; provided that, if and to the extent any challenges to

 a particular stipulation or admission are withdrawn, denied or overruled by a final non-appealable

 order, such stipulation also shall be binding on the Debtors’ estates and all parties in interest.

        (b)     Nothing in this Interim Order vests or confers on any person (as defined in the

 Bankruptcy Code), including any Creditors’ Committee, standing or authority to pursue any cause

 of action belonging to the Debtors or their estates, including, without limitation, any challenge

 with respect to the Prepetition Credit Documents or the Prepetition Secured Obligations.

        31.     Release. Subject to the rights and limitations set forth in paragraphs 29 and 30 of

 this Interim Order, each of the Debtors and the Debtors’ estates, on its own behalf and on behalf

 of each of their predecessors, their successors, and assigns shall to the maximum extent permitted

 by applicable law, unconditionally, irrevocably and fully forever release, remise, acquit,

 relinquish, irrevocably waive and discharge each of the DIP Lenders, the DIP Agent, the

 Prepetition Secured Parties, and each of their respective former, current or future officers,

 employees, directors, agents, representatives, owners, members, partners, affiliated investment

 funds or investment vehicles, managed, advised or sub-advised accounts, funds or other entities,

 investment advisors, sub-advisors or managers, financial advisors, legal advisors, shareholders,

 managers, consultants, accountants, attorneys, affiliates, and predecessors in interest, each in their

 capacity as such, of and from any and all claims, demands, liabilities, responsibilities, disputes,

 remedies, causes of action, indebtedness and obligations, rights, assertions, allegations, actions,




                                                   53
Case 20-41308       Doc 228     Filed 04/01/20 Entered 04/01/20 23:45:34              Main Document
                                         Pg 483 of 1005


 suits, controversies, proceedings, losses, damages, injuries, attorneys’ fees, costs, expenses, or

 judgments of every type, whether known, unknown, asserted, unasserted, suspected, unsuspected,

 accrued, unaccrued, fixed, contingent, pending, or threatened including, without limitation, all

 legal and equitable theories of recovery, arising under common law, statute or regulation or by

 contract, of every nature and description that exist on the date hereof with respect to or relating to

 the DIP Obligations, the DIP Superpriority Claims, the DIP Liens, the Prepetition Secured

 Obligations or the Prepetition Liens, as applicable, including, without limitation, (i) any so-called

 “lender liability” or equitable subordination claims or defenses, (ii) any and all claims and causes

 of action arising under the Bankruptcy Code, and (iii) any and all claims and causes of action

 regarding the validity, priority, extent, enforceability, perfection or avoidability of the liens or

 claims of the DIP Agent, the DIP Lenders, and the Prepetition Secured Parties.

        32.     Collateral Trust Agreement. The rights of the Prepetition Secured Parties shall at

 all times remain subject to the Collateral Trust Agreement.

        33.     Credit Bidding. (a) The DIP Agent, or any assignee or designee of the DIP Agent,

 acting at the direction of the Required Lenders and on behalf of the DIP Parties, shall have the

 unqualified right to credit bid up to the full amount of any DIP Obligations in the sale of any of

 the Debtors’ assets, including pursuant to (i) Bankruptcy Code section 363, (ii) a plan of

 reorganization or a plan of liquidation under Bankruptcy Code section 1129, or (iii) a sale or

 disposition by a chapter 7 trustee for any Debtor under Bankruptcy Code section 725, and (b)

 subject to the indefeasible payment in full in cash of the DIP Obligations, the Prepetition First Lien

 Agents (on behalf of the Prepetition First Lien Lenders) shall have the right to credit bid (x) up to

 the full amount of the Prepetition First Lien Obligations and (y) the First Lien Adequate Protection

 Obligations in the sale of any of the Debtors’ assets, including, but not limited to, pursuant to (i)




                                                  54
Case 20-41308       Doc 228     Filed 04/01/20 Entered 04/01/20 23:45:34              Main Document
                                         Pg 484 of 1005


 Bankruptcy Code section 363, (ii) a plan of reorganization or a plan of liquidation under

 Bankruptcy Code section 1129, or (iii) a sale or disposition by a chapter 7 trustee for any Debtor

 under Bankruptcy Code section 725. The DIP Agent, at the direction of the Required Lenders,

 and on behalf of the DIP Parties, shall have the absolute right to assign, sell, or otherwise dispose

 of its right to credit bid in connection with any credit bid by or on behalf of the DIP Parties to any

 acquisition entity or joint venture formed in connection with such bid.

        34.     Prepetition Undrawn Letter of Credit. Subject to the Cash Flow Forecast in all

 respects, (i) within ten (10) days from entry of this Interim Order, the Debtors shall (i) post cash

 collateral with the Prepetition First Lien Administrative Agent equal to 103% of the face amount

 of that issued and undrawn letter of credit in favor of Rockwood Insurance (relating to the Debtors’

 workers’ compensation program) (the “Prepetition Undrawn Letter of Credit”) and (ii) within

 thirty (30) days from entry of this Interim Order, provide the Prepetition First Lien Administrative

 Agent with evidence of the release and/or cancellation of all other issued and undrawn letters of

 credit in existence as of the Petition Date. Notwithstanding anything to the contrary set forth in

 this Interim Order or in the Final Order, the Prepetition First Lien Administrative Agent (for the

 benefit of the Prepetition First Lien Revolving Lenders) shall have a first priority lien and security

 interest in and to such cash collateral as security for any unreimbursed obligations owing to the

 Prepetition First Lien Revolving Lenders on account of any draws or presentments on such letters

 of credit. In the event of any presentment of the Prepetition Undrawn Letter of Credit which are

 not immediately reimbursed by the Debtors pursuant to the terms of the Prepetition First Lien

 Credit Agreement, the Prepetition First Lien Administrative Agent is authorized to apply such cash

 collateral to the payment of such unreimbursed obligations.




                                                  55
Case 20-41308       Doc 228      Filed 04/01/20 Entered 04/01/20 23:45:34              Main Document
                                          Pg 485 of 1005


        35.     Interim Order Governs. In the event of any inconsistency between the provisions

 of this Interim Order or the DIP Documents, the provisions of this Interim Order shall govern.

        36.     Binding Effect; Successors and Assigns. The DIP Documents and the provisions

 of this Interim Order, including all findings herein, shall be binding upon all parties in interest in

 these Cases, including without limitation, the DIP Agent, the DIP Lenders, the Prepetition Secured

 Parties, any Creditors’ Committee appointed in these Cases, and the Debtors and their respective

 successors and assigns (including any chapter 7 or chapter 11 trustee hereinafter appointed or

 elected for the estate of any of the Debtors, an examiner appointed pursuant to Bankruptcy Code

 section 1104, or any other fiduciary appointed as a legal representative of any of the Debtors or

 with respect to the property of the estate of any of the Debtors) and shall inure to the benefit of the

 DIP Agent, the DIP Lenders, and the Prepetition First Lien Parties, provided that, except to the

 extent expressly set forth in this Interim Order, the Prepetition First Lien Parties shall have no

 obligation to permit the use of Cash Collateral or to extend any financing to any chapter 7 trustee

 or similar responsible person appointed for the estates of the Debtors.

        37.     Limitation of Liability. In determining to make any loan under the DIP Documents,

 permitting the use of Cash Collateral, or exercising any rights or remedies as and when permitted

 pursuant to this Interim Order, the DIP Documents, the Prepetition First Lien Credit Documents,

 or the Prepetition Second Lien Documents, the DIP Agent, the DIP Lenders, and the Prepetition

 Secured Parties shall not be deemed to be in control of the operations of the Debtors or to be acting

 as a “responsible person” or “owner or operator” with respect to the operation or management of

 the Debtors or their respective business (as such terms, or any similar terms, are used in the United

 States Comprehensive Environmental Response, Compensation and Liability Act, 42 U.S.C.

 §§ 9601 et seq. as amended, or any similar federal or state statute), nor shall they owe any fiduciary




                                                   56
Case 20-41308       Doc 228      Filed 04/01/20 Entered 04/01/20 23:45:34              Main Document
                                          Pg 486 of 1005


 duty to any of the Debtors, their creditors or estates, or constitute or be deemed to constitute a joint

 venture or partnership with any of the Debtors. Furthermore, nothing in this Interim Order, the

 DIP Documents or the Prepetition Credit Documents shall in any way be construed or interpreted

 to impose or allow the imposition upon the DIP Agent, the DIP Lenders or the Prepetition Secured

 Parties of any liability for any claims arising from the prepetition or postpetition activities of any

 of the Debtors and their respective affiliates (as defined in Bankruptcy Code section 101(2)).

        38.     Effectiveness. This Interim Order shall constitute findings of fact and conclusions

 of law and shall take effect and be fully enforceable nunc pro tunc to the Petition Date immediately

 upon entry hereof. Notwithstanding Bankruptcy Rules 4001(a)(3), 6004(h), 6006(d), 7062 or 9024

 or any other Bankruptcy Rule, or Rule 62(a) of the Federal Rules of Civil Procedure, this Interim

 Order shall be immediately effective and enforceable upon its entry and there shall be no stay of

 execution or effectiveness of this Interim Order.

        39.     Final Hearing. The Final Hearing is scheduled for [___] at [___], prevailing

 Central time, before this Court. The Debtors shall promptly transmit copies of this Interim Order

 (which shall constitute adequate notice of the Final Hearing) to the parties having been given notice

 of the Interim Hearing, to any party that has filed a request for notices with this Court and to any

 Creditors’ Committee after the same has been appointed, or Creditors’ Committee counsel, if the

 same shall have been appointed. Any party in interest objecting to the relief sought at the Final

 Hearing shall serve and file a written objection thereto, which shall be served upon the Notice

 Parties, and shall also be filed with the Clerk of the United States Bankruptcy Court, Eastern

 District of Missouri, in each case to allow actual receipt by the foregoing no later than [___] at

 [___], prevailing Central Time.

 Dated: _________________, 2020




                                                   57
Case 20-41308   Doc 228   Filed 04/01/20 Entered 04/01/20 23:45:34   Main Document
                                   Pg 487 of 1005



                                      THE HONORABLE KATHY SURRATT-STATES
                                      UNITED STATES BANKRUPTCY JUDGE




                                        58
Case 20-41308   Doc 228   Filed 04/01/20 Entered 04/01/20 23:45:34   Main Document
                                   Pg 488 of 1005



                                     Exhibit 1

                                Cash Flow Forecast
Case 20-41308   Doc 228   Filed 04/01/20 Entered 04/01/20 23:45:34   Main Document
                                   Pg 489 of 1005


                                      Exhibit 2

                               DIP Credit Agreement
Case 20-41308   Doc 228   Filed 04/01/20 Entered 04/01/20 23:45:34   Main Document
                                   Pg 490 of 1005


                                                                         EXHIBIT L

                                   [RESERVED]




                                       L- 1
Case 20-41308          Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                        Main Document
                                               Pg 491 of 1005




                                                                                                          EXHIBIT M-1

                             FORM OF U.S. TAX COMPLIANCE CERTIFICATE
               (For Foreign Lenders That Are Not Partnerships For U.S. Federal Income Tax Purposes)

          Reference is hereby made to the Senior Secured Superpriority Debtor-in-Possession Credit and Guaranty
 Agreement, dated as of March 11, 2020 (as it may be amended, restated, supplemented or otherwise modified from
 time to time, the “Credit Agreement”; the terms defined therein being used herein as therein defined), among
 FORESIGHT ENERGY LLC, a Delaware limited liability company, as a debtor and debtor-in-possession, as borrower
 (the “Borrower”), FORESIGHT ENERGY GP LLC, a Delaware limited liability company, as a debtor and debtor-in-
 possession (the “General Partner”), FORESIGHT ENERGY LP, a Delaware limited partnership, as a debtor and
 debtor-in-possession (“Holdings”), CERTAIN SUBSIDIARIES OF BORROWER, each as a debtor and debtor-in-
 possession, as Guarantors, each lender from time to time party hereto (collectively, the “Lenders” and, individually, a
 “Lender”) and Cortland Capital Market Services LLC, as Administrative Agent and Collateral Agent.

             Pursuant to the provisions of Section 3.01 of the Credit Agreement, the undersigned hereby certifies that (i)
 it is the sole record and beneficial owner of the Loan(s) (as well as any Note(s) evidencing such Loan(s)) in respect
 of which it is providing this certificate, (ii) it is not a bank within the meaning of Section 881(c)(3)(A) of the Code,
 (iii) it is not a ten percent shareholder of the Borrower within the meaning of Section 871(h)(3)(B) of the Code and
 (iv) it is not a controlled foreign corporation related to the Borrower as described in Section 881(c)(3)(C) of the Code.

           The undersigned has furnished the Administrative Agent and the Borrower with a certificate of its non-U.S.
 Person status on IRS Form W-8BEN or W-8BENE-E. By executing this certificate, the undersigned agrees that (1)
 if the information provided on this certificate changes, the undersigned shall promptly so inform the Borrower and the
 Administrative Agent, and (2) the undersigned shall have at all times furnished the Borrower and the Administrative
 Agent with a properly completed and currently effective certificate in either the calendar year in which each payment
 is to be made to the undersigned, or in either of the two calendar years preceding such payments.

        Unless otherwise defined herein, terms defined in the Credit Agreement and used herein shall have the
 meanings given to them in the Credit Agreement.

 [NAME OF LENDER]



 By: ______________________________________________
     Name:
     Title:

 Date: , 20[ ]




                                                         M-1-1
Case 20-41308           Doc 228         Filed 04/01/20 Entered 04/01/20 23:45:34                         Main Document
                                                 Pg 492 of 1005


                                                                                                             EXHIBIT M-2

                              FORM OF U.S. TAX COMPLIANCE CERTIFICATE
              (For Foreign Participants That Are Not Partnerships For U.S. Federal Income Tax Purposes)

          Reference is hereby made to the Senior Secured Superpriority Debtor-in-Possession Credit and Guaranty
 Agreement, dated as of March 11, 2020 (as amended, restated, supplemented or otherwise modified from time to time)
 (the “Credit Agreement”; the terms defined therein being used herein as therein defined), among FORESIGHT
 ENERGY LLC, a Delaware limited liability company, as a debtor and debtor-in-possession, as borrower (the
 “Borrower”), FORESIGHT ENERGY GP LLC, a Delaware limited liability company, as a debtor and debtor-in-
 possession (the “General Partner”), FORESIGHT ENERGY LP, a Delaware limited partnership, as a debtor and
 debtor-in-possession (“Holdings”), CERTAIN SUBSIDIARIES OF BORROWER, each as a debtor and debtor-in-
 possession, as Guarantors, each lender from time to time party hereto (collectively, the “Lenders” and, individually, a
 “Lender”) and Cortland Capital Market Services LLC, as Administrative Agent and Collateral Agent.

            Pursuant to the provisions of Section 3.01 of the Credit Agreement, the undersigned hereby certifies that (i)
 it is the sole record and beneficial owner of the participation in respect of which it is providing this certificate, (ii) it
 is not a bank within the meaning of Section 881(c)(3)(A) of the Code, (iii) it is not a ten percent shareholder of the
 Borrower within the meaning of Section 871(h)(3)(B) of the Code, and (iv) it is not a controlled foreign corporation
 related to the Borrower as described in Section 881(c)(3)(C) of the Code.

           The undersigned has furnished its participating Lender with a certificate of its non-U.S. Person status on IRS
 Form W-8BEN or W-8BEN-E. By executing this certificate, the undersigned agrees that (1) if the information
 provided on this certificate changes, the undersigned shall promptly so inform such Lender in writing, and (2) the
 undersigned shall have at all times furnished such Lender with a properly completed and currently effective certificate
 in either the calendar year in which each payment is to be made to the undersigned, or in either of the two calendar
 years preceding such payments.

        Unless otherwise defined herein, terms defined in the Credit Agreement and used herein shall have the
 meanings given to them in the Credit Agreement.

 [NAME OF PARTICIPANT]



 By: ______________________________________________
     Name:
     Title:

 Date: , 20[ ]




                                                           M-2-1
Case 20-41308            Doc 228         Filed 04/01/20 Entered 04/01/20 23:45:34                            Main Document
                                                  Pg 493 of 1005


                                                                                                                 EXHIBIT M-3

                               FORM OF U.S. TAX COMPLIANCE CERTIFICATE
                 (For Foreign Participants That Are Partnerships For U.S. Federal Income Tax Purposes)

          Reference is hereby made to the Senior Secured Superpriority Debtor-in-Possession Credit and Guaranty
 Agreement, dated as of March 11, 2020 (as amended, restated, supplemented or otherwise modified from time to time)
 (the “Credit Agreement”; the terms defined therein being used herein as therein defined), among FORESIGHT
 ENERGY LLC, a Delaware limited liability company, as a debtor and debtor-in-possession, as borrower (the
 “Borrower”), FORESIGHT ENERGY GP LLC, a Delaware limited liability company, as a debtor and debtor-in-
 possession (the “General Partner”), FORESIGHT ENERGY LP, a Delaware limited partnership, as a debtor and
 debtor-in-possession (“Holdings”), CERTAIN SUBSIDIARIES OF BORROWER, each as a debtor and debtor-in-
 possession, as Guarantors, each lender from time to time party hereto (collectively, the “Lenders” and, individually, a
 “Lender”) and Cortland Capital Market Services LLC, as Administrative Agent and Collateral Agent.

            Pursuant to the provisions of Section 3.01 of the Credit Agreement, the undersigned hereby certifies that (i)
 it is the sole record owner of the participation in respect of which it is providing this certificate, (ii) its direct or indirect
 partners/members are the sole beneficial owners of such participation, (iii) with respect such participation, neither the
 undersigned nor any of its direct or indirect partners/members is a bank extending credit pursuant to a loan agreement
 entered into in the ordinary course of its trade or business within the meaning of Section 881(c)(3)(A) of the Code,
 (iv) none of its direct or indirect partners/members is a ten percent shareholder of the Borrower within the meaning of
 Section 871(h)(3)(B) of the Code and (v) none of its direct or indirect partners/members is a controlled foreign
 corporation related to the Borrower as described in Section 881(c)(3)(C) of the Code.

           The undersigned has furnished its participating Lender with IRS Form W-8IMY accompanied by one of the
 following forms from each of its partners/members that is claiming the portfolio interest exemption: (i) an IRS Form
 W-8BEN or W-8BEN-E or (ii) an IRS Form W-8IMY accompanied by an IRS Form W-8BEN or W-8BEN-E from
 each of such partner’s/member’s beneficial owners that is claiming the portfolio interest exemption. By executing
 this certificate, the undersigned agrees that (1) if the information provided on this certificate changes, the undersigned
 shall promptly so inform such Lender and (2) the undersigned shall have at all times furnished such Lender with a
 properly completed and currently effective certificate in either the calendar year in which each payment is to be made
 to the undersigned, or in either of the two calendar years preceding such payments.

        Unless otherwise defined herein, terms defined in the Credit Agreement and used herein shall have the
 meanings given to them in the Credit Agreement.

 [NAME OF PARTICIPANT]



 By: ______________________________________________
     Name:
     Title:

 Date: , 20[ ]




                                                             M-3-1
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                        Main Document
                                                Pg 494 of 1005


                                                                                                           EXHIBIT M-4

                              FORM OF U.S. TAX COMPLIANCE CERTIFICATE
                  (For Foreign Lenders That Are Partnerships For U.S. Federal Income Tax Purposes)

          Reference is hereby made to the Senior Secured Superpriority Debtor-in-Possession Credit and Guaranty
 Agreement, dated as of March 11, 2020 (as amended, restated, supplemented or otherwise modified from time to time)
 (the “Credit Agreement”; the terms defined therein being used herein as therein defined), among FORESIGHT
 ENERGY LLC, a Delaware limited liability company, as a debtor and debtor-in-possession, as borrower (the
 “Borrower”), FORESIGHT ENERGY GP LLC, a Delaware limited liability company, as a debtor and debtor-in-
 possession (the “General Partner”), FORESIGHT ENERGY LP, a Delaware limited partnership, as a debtor and
 debtor-in-possession (“Holdings”), CERTAIN SUBSIDIARIES OF BORROWER, each as a debtor and debtor-in-
 possession, as Guarantors, each lender from time to time party hereto (collectively, the “Lenders” and, individually, a
 “Lender”) and Cortland Capital Market Services LLC, as Administrative Agent and Collateral Agent.

            Pursuant to the provisions of Section 3.01 of the Credit Agreement, the undersigned hereby certifies that (i)
 it is the sole record owner of the Loan(s) (as well as any Note(s) evidencing such Loan(s)) in respect of which it is
 providing this certificate, (ii) its direct or indirect partners/members are the sole beneficial owners of such Loan(s) (as
 well as any Note(s) evidencing such Loan(s)), (iii) with respect to the extension of credit pursuant to this Credit
 Agreement or any other Loan Document, neither the undersigned nor any of its direct or indirect partners/members is
 a bank extending credit pursuant to a loan agreement entered into in the ordinary course of its trade or business within
 the meaning of Section 881 (c)(3)(A) of the Code, (iv) none of its direct or indirect partners/members is a ten percent
 shareholder of the Borrower within the meaning of Section 871(h)(3)(B) of the Code and (v) none of its direct or
 indirect partners/members is a controlled foreign corporation related to the Borrower as described in Section
 881(c)(3)(C) of the Code.

         The undersigned has furnished the Administrative Agent and the Borrower with IRS Form W-8IMY
 accompanied by one of the following forms from each of its partners/members that is claiming the portfolio interest
 exemption: (i) an IRS Form W-8BEN or W-8BEN-E or (ii) an IRS Form W-8IMY accompanied by an IRS

           Form W-8BEN or W-8BEN-E from each of such partner’s/member’s beneficial owners that is claiming the
 portfolio interest exemption. By executing this certificate, the undersigned agrees that (1) if the information provided
 on this certificate changes, the undersigned shall promptly so inform the Borrower and the Administrative Agent, and
 (2) the undersigned shall have at all times furnished the Borrower and the Administrative Agent with a properly
 completed and currently effective certificate in either the calendar year in which each payment is to be made to the
 undersigned, or in either of the two calendar years preceding such payments.

        Unless otherwise defined herein, terms defined in the Credit Agreement and used herein shall have the
 meanings given to them in the Credit Agreement.

 [NAME OF LENDER]



 By: ______________________________________________
 Name:
 Title:

 Date: , 20[ ]




                                                          M-4-1
Case 20-41308   Doc 228   Filed 04/01/20 Entered 04/01/20 23:45:34   Main Document
                                   Pg 495 of 1005


                                    Exhibit C
                            Case 20-41308   Doc 228   Filed 04/01/20 Entered 04/01/20 23:45:34        Main Document
                                                               Pg Exhibit C
                                                                  496 of 1005
                                                            Depository Service List
                                                              Served via Email

                             Name                                                             Email
 Broadridge                                       SpecialProcessing@broadridge.com; BankruptcyJobs@broadridge.com
                                                  nathalie.chataigner@clearstream.com; cherifa.maameri@clearstream.com;
                                                  CA_Luxembourg@clearstream.com; david.mccauley@clearstream.com;
 Clearstream                                      ca_mandatory.events@clearstream.com; hulya.din@clearstream.com

                                                  MandatoryReorgAnnouncements@dtcc.com; voluntaryreorgannouncements@dtcc.com;
 DTC                                              LegalAndTaxNotices@dtcc.com; rgiordano@dtcc.com;
 Euro Clear                                       drit@euroclear.com; 'JPMorganInformation.Services@jpmorgan.com'; eb.ca@euroclear.com
                                                  darchangel@mediantonline.com'; mtaylor@mediantonline.com; mdickens@mediantonline.com;
                                                  'mhamdan@mediantonline.com' 'mkoester@mediantonline.com';
 Mediant                                          'documents@mediantonline.com'
 SIS                                              ca.notices@six-securities-services.com




In re: Foresight Energy LP, et al.
Case No. 20-41308-659                                             Page 1 of 1
Case 20-41308   Doc 228   Filed 04/01/20 Entered 04/01/20 23:45:34   Main Document
                                   Pg 497 of 1005


                                    Exhibit D
                                                 Case 20-41308       Doc 228      Filed 04/01/20 Entered 04/01/20 23:45:34                Main Document
                                                                                           Pg Exhibit D
                                                                                              498 of 1005
                                                                                          Lenders Service List
                                                                                       Served via First Class Mail

                        NAME                                      ADDRESS 1                                        ADDRESS 2                        CITY     STATE        ZIP     COUNTRY
                                              ATTN:Austin Penland, Pete Gross, Alexander Watts,
                                              Kevin Brown, Lauren Lountzis, Peter Gross, Alejandro
                                              Agudelo, Loryanna Shand, Margaret Sang
BANK OF AMERICA N.A                                                                                  214 North Tryon St., NC1-027-14-01                     Charlotte      NC      28255
                                              ATTN:Neil Hanson, David Keogh
BARCLAYS BANK PLC NY                          John Parsons                                           700 Prides Crossing                                     Newark       DE       19713
                                              ATTN:Andrew Lask, David Mew, Barry Rosenthal, Eric
BLUEMOUNTAIN CLO 2013-1 LTD                   Albert, Joshua Moskow                                  280 Park Avenue                                        New York      NY       10020
                                              ATTN:Andrew Lask, David Mew, Barry Rosenthal, Eric
BLUEMOUNTAIN CLO 2014-2 LTD                   Albert, Joshua Moskow                                  280 Park Avenue                                        New York      NY       10020
                                              ATTN:Andrew Lask, David Mew, Barry Rosenthal, Eric
BLUEMOUNTAIN CLO 2015-1 LTD                   Albert, Joshua Moskow                                  280 Park Avenue                                        New York      NY       10020
                                              ATTN:Andrew Lask, David Mew, Barry Rosenthal, Eric
BLUEMOUNTAIN CLO 2015-2 LTD                   Albert, Joshua Moskow                                  280 Park Avenue                                        New York      NY       10020
                                              ATTN:Andrew Lask, David Mew, Barry Rosenthal, Eric
BLUEMOUNTAIN CLO 2015-3 LTD                   Albert, Joshua Moskow                                  280 Park Avenue                                        New York      NY       10020
                                              ATTN:Andrew Lask, David Mew, Barry Rosenthal, Eric
BLUEMOUNTAIN CLO 2015-4 LTD                   Albert, Joshua Moskow                                  280 Park Avenue                                        New York      NY       10020
                                              ATTN:Andrew Lask, David Mew, Barry Rosenthal, Eric
BLUEMOUNTAIN CLO 2016-1 LTD                   Albert, Joshua Moskow                                  280 Park Avenue                                        New York      NY       10020
                                              ATTN:Andrew Lask, David Mew, Barry Rosenthal, Eric
BLUEMOUNTAIN CLO 2016-3 LTD                   Albert, Joshua Moskow                                  280 Park Avenue                                        New York      NY       10020
                                              ATTN:Andrew Lask, David Mew, Barry Rosenthal, Eric
BLUEMOUNTAIN CLO 2018-1 LTD                   Albert, Joshua Moskow                                  280 Park Avenue                                        New York      NY       10020
                                              ATTN:Andrew Lask, David Mew, Barry Rosenthal, Eric
BLUEMOUNTAIN CLO 2018-2 LTD                   Albert, Joshua Moskow                                  280 Park Avenue                                        New York      NY       10020
                                              ATTN:Andrew Lask, David Mew, Barry Rosenthal, Eric
BLUEMOUNTAIN CLO 2018-3 LTD                   Albert, Joshua Moskow                                  280 Park Avenue                                        New York      NY       10020
                                              ATTN:Andrew Lask, David Mew, Barry Rosenthal, Eric
BLUEMOUNTAIN FUJI US CLO II                   Albert, Joshua Moskow                                  280 Park Avenue                                        New York       NY      10020
                                              ATTN:Joanna Palmer, Maria Giannavola, Sadia                                                                                 Grand
VENTURE XXVIII CLO                            Thavarajan, Jakub Dec                                  Queensgate House, South Church Street                 George Town   Cayman   KY1-1102
                                              ATTN:Angela J. Jarasunas
CENT CLO 19 LIMITED                                                                                  100 N. Pacific Coast Highway, Suite 650               El Segundo     CA       90245
                                              ATTN:Angela J. Jarasunas
CENT CLO 21 LIMITED                                                                                  100 N. Pacific Coast Highway, Suite 650               El Segundo     CA       90245
                                              ATTN:Angela J. Jarasunas
CENT CLO 24 LIMITED                                                                                  100 N. Pacific Coast Highway, Suite 650               El Segundo     CA       90245
                                              ATTN:Angela J. Jarasunas
COLUMBIA CENT CLO 27 LTD                                                                             100 N. Pacific Coast Highway, Suite 650               El Segundo     CA       90245
                                              ATTN:Angela J. Jarasunas
COLUMBIA CENT CLO 28 LIMITED                                                                         100 N. Pacific Coast Highway, Suite 650               El Segundo     CA       90245


        In re: Foresight Energy LLC, et al.
        Case No. 20-41308-659                                                                   Page 1 of 5
                                                 Case 20-41308       Doc 228      Filed 04/01/20 Entered 04/01/20 23:45:34            Main Document
                                                                                           Pg Exhibit D
                                                                                              499 of 1005
                                                                                          Lenders Service List
                                                                                       Served via First Class Mail

                        NAME                                      ADDRESS 1                                       ADDRESS 2                     CITY     STATE        ZIP     COUNTRY
                                              ATTN:Angela J. Jarasunas
COLUMBIA FLOATING RATE FUND                                                                        100 N. Pacific Coast Highway, Suite 650             El Segundo      CA      90245
CORBIN ERISA OPPORTUNITY FUND                 ATTN:Daniel Friedman, Zachary Bader                  590 Madison Avenue, 31st Floor                       New York       NY      10022
CORBIN OPPORTUNITY FUND LP                    ATTN:Daniel Friedman, Zachary Bader                  590 Madison Avenue, 31st Floor                       New York       NY      10022
CREDIT SUISSE LOAN FUNDING LLC                Eleven Madison Avenue                                                                                     New York       NY      10010
                                              ATTN:CVP CLO, Joseph Cambareri                                                                                          Grand
CVP CLO 2017-2 LTD                                                                                 Clifton House, 75 Fort Street                       George Town   Cayman   KY1-1108
                                              ATTN:CVP CLO, Joseph Cambareri                                                                                          Grand
CVP CLO 2017-1 LTD                                                                                 Clifton House, 75 Fort Street                       George Town   Cayman   KY1-1108
DEUTSCHE BANK AG CAYMAN ISLAND                ATTN:Edward Schaffer; Howard Lee                     60 WALL STREET, 2ND FLOOR                            New York       NY      10005
                                              ATTN:Eamon Trebilcock, Hilary Langworthy, Hekeani
                                              Mathieu, Jake Gomolinski-Ekel, Rich Daley
ELLINGTON CLO I                                                                                    53 Forest Avenue                                     Greenwich      CT      06870
                                              ATTN:Eamon Trebilcock, Hilary Langworthy, Hekeani
                                              Mathieu, Jake Gomolinski-Ekel, Rich Daley
ELLINGTON CLO II LTD                                                                               53 Forest Avenue                                     Greenwich      CT      06870
                                              ATTN:Eamon Trebilcock, Hilary Langworthy, Hekeani
                                              Mathieu, Jake Gomolinski-Ekel, Rich Daley
ELLINGTON CLO III LTD                                                                              53 Forest Avenue                                     Greenwich      CT      06870
                                              ATTN:Eamon Trebilcock, Hilary Langworthy, Hekeani
                                              Mathieu, Jake Gomolinski-Ekel, Rich Daley
ELLINGTON CLO IV LTD                                                                               53 Forest Avenue                                     Greenwich     CT       06870
NEWSTAR FAIRFIELD FUND CLO LTD                ATTN:Brian A. Senatore, Justin P. Connolly           800 Connecticut Avenue, Suite 1W05                    Norwalk      CT       06854
NEWSTAR EXETER FUND CLO LLC                   ATTN:Brian A. Senatore, Justin P. Connolly           800 Connecticut Avenue, Suite 1W05                    Norwalk      CT       06854
GOLDMAN SACHS LENDING PTNRS                   200 West Street - Tax Dept.                                                                               New York      NY       10282
MARATHON CLO IX LTD                           ATTN:Richard Hom, Ronny Sirizzotti, Peter Chin       One Bryant Park, 38th Floor                          New York      NY       10036
MARATHON CLO V LTD                            ATTN:Richard Hom, Ronny Sirizzotti, Peter Chin       One Bryant Park, 38th Floor                          New York      NY       10036
MARATHON CLO VI, LTD                          ATTN:Richard Hom, Ronny Sirizzotti, Peter Chin       One Bryant Park, 38th Floor                          New York      NY       10036
MARATHON CLO VII, LTD                         ATTN:Richard Hom, Ronny Sirizzotti, Peter Chin       One Bryant Park, 38th Floor                          New York      NY       10036
MARATHON CLO VIII, LTD                        ATTN:Richard Hom, Ronny Sirizzotti, Peter Chin       One Bryant Park, 38th Floor                          New York      NY       10036
MARATHON CLO X LTD                            ATTN:Richard Hom, Ronny Sirizzotti, Peter Chin       One Bryant Park, 38th Floor                          New York      NY       10036
MARATHON CLO XI LTD                           ATTN:Richard Hom, Ronny Sirizzotti, Peter Chin       One Bryant Park, 38th Floor                          New York      NY       10036
QUAMVIS SCA SICAV-FIS: CMAB                   ATTN:Richard Hom, Ronny Sirizzotti, Peter Chin       One Bryant Park, 38th Floor                          New York      NY       10036
MEADOWVEST FUNDING LLC                        5400 Westheimer Court, Ste 760                                                                             Houston      TX       77056
VENTURE 28A CLO LIMITED                       ATTN:Atha Baugh                                      12 E. 49th Street 29th Floor                         New York      NY       10017
VENTURE 35 CLO LIMITED                        ATTN:Atha Baugh                                      12 E. 49th Street 29th Floor                         New York      NY       10017
VENTURE 36 CLO                                ATTN:Atha Baugh                                      12 E. 49th Street 29th Floor                         New York      NY       10017
VENTURE XII CLO LIMITED                       ATTN:Atha Baugh                                      12 E. 49th Street 29th Floor                         New York      NY       10017
VENTURE XIII CLO LIMITED                      ATTN:Atha Baugh                                      12 E. 49th Street 29th Floor                         New York      NY       10017
VENTURE XIV CLO LIMITED                       ATTN:Atha Baugh                                      12 E. 49th Street 29th Floor                         New York      NY       10017



        In re: Foresight Energy LLC, et al.
        Case No. 20-41308-659                                                                  Page 2 of 5
                                                  Case 20-41308        Doc 228      Filed 04/01/20 Entered 04/01/20 23:45:34             Main Document
                                                                                             Pg Exhibit D
                                                                                                500 of 1005
                                                                                            Lenders Service List
                                                                                         Served via First Class Mail

                         NAME                                       ADDRESS 1                                          ADDRESS 2                   CITY     STATE       ZIP   COUNTRY
VENTURE XIX CLO LIMITED                        ATTN:Atha Baugh                                          12 E. 49th Street 29th Floor                       New York     NY     10017
VENTURE XV CLO LIMITED                         ATTN:Atha Baugh                                          12 E. 49th Street 29th Floor                       New York     NY     10017
VENTURE XVI CLO LIMITED                        ATTN:Atha Baugh                                          12 E. 49th Street 29th Floor                       New York     NY     10017
VENTURE XVII CLO LIMITED                       ATTN:Atha Baugh                                          12 E. 49th Street 29th Floor                       New York     NY     10017
VENTURE XVIII CLO LIMITED                      ATTN:Atha Baugh                                          12 E. 49th Street 29th Floor                       New York     NY     10017
VENTURE XX CLO LIMITED                         ATTN:Atha Baugh                                          12 E. 49th Street 29th Floor                       New York     NY     10017
VENTURE XXI CLO LIMITED                        ATTN:Atha Baugh                                          12 E. 49th Street 29th Floor                       New York     NY     10017
VENTURE XXII CLO LIMITED                       ATTN:Atha Baugh                                          12 E. 49th Street 29th Floor                       New York     NY     10017
VENTURE XXIII CLO LIMITED                      ATTN:Atha Baugh                                          12 E. 49th Street 29th Floor                       New York     NY     10017
VENTURE XXIV CLO LIMITED                       ATTN:Atha Baugh                                          12 E. 49th Street 29th Floor                       New York     NY     10017
VENTURE XXIX CLO LIMITED                       ATTN:Atha Baugh                                          12 E. 49th Street 29th Floor                       New York     NY     10017
VENTURE XXV CLO LIMITED                        ATTN:Atha Baugh                                          12 E. 49th Street 29th Floor                       New York     NY     10017
VENTURE XXVI CLO LIMITED                       ATTN:Atha Baugh                                          12 E. 49th Street 29th Floor                       New York     NY     10017
VENTURE XXVII CLO LIMITED                      ATTN:Atha Baugh                                          12 E. 49th Street 29th Floor                       New York     NY     10017
                                               ATTN:Andrew Park; Armen Panossian; Cisco Salomon;
                                               Lin Tien; Lindsay Berz; Peter Deschner; Ronnie Kaplan;
OAKTREE CLO 2014-1 LTD.                        Timothy Fairty                                           333 South Grand Avenue, 28th Floor                Los Angeles   CA     90071
                                               ATTN:Andrew Park; Armen Panossian; Cisco Salomon;
                                               Lin Tien; Lindsay Berz; Peter Deschner; Ronnie Kaplan;
OAKTREE CLO 2015-1 LTD                         Timothy Fairty                                           333 South Grand Avenue, 28th Floor                Los Angeles   CA     90071
                                               ATTN:Andrew Park; Armen Panossian; Cisco Salomon;
                                               Lin Tien; Lindsay Berz; Peter Deschner; Ronnie Kaplan;
OAKTREE CLO 2018-1 LTD                         Timothy Fairty                                           333 South Grand Avenue, 28th Floor                Los Angeles   CA     90071
                                               ATTN:Andrew Park; Armen Panossian; Cisco Salomon;
                                               Lin Tien; Lindsay Berz; Peter Deschner; Ronnie Kaplan;
OAKTREE CLO 2019-1 LTD                         Timothy Fairty                                           333 South Grand Avenue, 28th Floor                Los Angeles   CA     90071
                                               ATTN:Andrew Park; Armen Panossian; Cisco Salomon;
                                               Lin Tien; Lindsay Berz; Peter Deschner; Ronnie Kaplan;
OAKTREE EIF III SERIES I, LTD                  Timothy Fairty                                           333 South Grand Avenue, 28th Floor                Los Angeles   CA     90071
                                               ATTN:Andrew Park; Armen Panossian; Cisco Salomon;
                                               Lin Tien; Lindsay Berz; Peter Deschner; Ronnie Kaplan;
OAKTREE EIF III SERIES II                      Timothy Fairty                                           333 South Grand Avenue, 28th Floor                Los Angeles   CA     90071
                                               ATTN:Andrew Park; Armen Panossian; Cisco Salomon;
                                               Lin Tien; Lindsay Berz; Peter Deschner; Ronnie Kaplan;
OAKTREE SENIOR LOAN FUND                       Timothy Fairty                                           333 South Grand Avenue, 28th Floor                Los Angeles   CA     90071
                                               ATTN:Andrew Park; Armen Panossian; Cisco Salomon;
                                               Lin Tien; Lindsay Berz; Peter Deschner; Ronnie Kaplan;
OAKTREE CLO 2019-2 LTD                         Timothy Fairty                                           333 South Grand Avenue, 28th Floor                Los Angeles   CA     90071
THE MANGROVE PARTNERS MST FD                   645 Madison Ave, 14th Floor                                                                                 New York     NY     10022
B&M CLO 2014-1 LTD                             ATTN:John Heitkemper                                     555 W. 5th Street, Suite 3700                     Los Angeles   CA     90013
TICP CLO VI 2016-2 FUNDING LTD                 5400 Westheimer Court, Ste 760                                                                              Houston      TX     77056


         In re: Foresight Energy LLC, et al.
         Case No. 20-41308-659                                                                    Page 3 of 5
                                                 Case 20-41308       Doc 228      Filed 04/01/20 Entered 04/01/20 23:45:34       Main Document
                                                                                           Pg Exhibit D
                                                                                              501 of 1005
                                                                                          Lenders Service List
                                                                                       Served via First Class Mail

                        NAME                                      ADDRESS 1                                          ADDRESS 2             CITY   STATE    ZIP   COUNTRY
                                              ATTN:Dania Piscetta, David Marshak, Jeffrey Heuer,
                                              Richard T. Crawford, Matt Stafford, Chuck Goring,
AIG SENIOR FLOAT RATE                         Emily Babalas, Matthew Burrows                           280 Congress Street                        Boston   MA     02210
                                              ATTN:Dania Piscetta, David Marshak, Jeffrey Heuer,
                                              Richard T. Crawford, Matt Stafford, Chuck Goring,
BRITISH COAL STAFF SUP ANN SCH                Emily Babalas, Matthew Burrows                           280 Congress Street                        Boston   MA     02210
                                              ATTN:Dania Piscetta, David Marshak, Jeffrey Heuer,
                                              Richard T. Crawford, Matt Stafford, Chuck Goring,
HARTFORD TOTAL RETURN BOND ETF                Emily Babalas, Matthew Burrows                           280 Congress Street                        Boston   MA     02210
                                              ATTN:Dania Piscetta, David Marshak, Jeffrey Heuer,
                                              Richard T. Crawford, Matt Stafford, Chuck Goring,
HARTFORD TOTAL RETURN BOND HLS                Emily Babalas, Matthew Burrows                           280 Congress Street                        Boston   MA     02210
                                              ATTN:Dania Piscetta, David Marshak, Jeffrey Heuer,
                                              Richard T. Crawford, Matt Stafford, Chuck Goring,
METROPOLITAN SERIES FUND - MET                Emily Babalas, Matthew Burrows                           280 Congress Street                        Boston   MA     02210
                                              ATTN:Dania Piscetta, David Marshak, Jeffrey Heuer,
                                              Richard T. Crawford, Matt Stafford, Chuck Goring,
MINEWORKERS PENSION SCHEME                    Emily Babalas, Matthew Burrows                           280 Congress Street                        Boston   MA     02210
                                              ATTN:Dania Piscetta, David Marshak, Jeffrey Heuer,
                                              Richard T. Crawford, Matt Stafford, Chuck Goring,
SAEV MASTERFONDS WELLINGTON GL                Emily Babalas, Matthew Burrows                           280 Congress Street                        Boston   MA     02210
                                              ATTN:Dania Piscetta, David Marshak, Jeffrey Heuer,
                                              Richard T. Crawford, Matt Stafford, Chuck Goring,
SAFETY INSURANCE COMPANY                      Emily Babalas, Matthew Burrows                           280 Congress Street                        Boston   MA     02210
                                              ATTN:Dania Piscetta, David Marshak, Jeffrey Heuer,
                                              Richard T. Crawford, Matt Stafford, Chuck Goring,
SEASONS SERIES TRUST-SA MULTI                 Emily Babalas, Matthew Burrows                           280 Congress Street                        Boston   MA     02210
                                              ATTN:Dania Piscetta, David Marshak, Jeffrey Heuer,
                                              Richard T. Crawford, Matt Stafford, Chuck Goring,
THE HARTFORD FLOAT RATE FUND                  Emily Babalas, Matthew Burrows                           280 Congress Street                        Boston   MA     02210
                                              ATTN:Dania Piscetta, David Marshak, Jeffrey Heuer,
                                              Richard T. Crawford, Matt Stafford, Chuck Goring,
THE HARTFORD FLOAT RATE HIGH                  Emily Babalas, Matthew Burrows                           280 Congress Street                        Boston   MA     02210
                                              ATTN:Dania Piscetta, David Marshak, Jeffrey Heuer,
                                              Richard T. Crawford, Matt Stafford, Chuck Goring,
THE HARTFORD STRATEGIC INC FD                 Emily Babalas, Matthew Burrows                           280 Congress Street                        Boston   MA     02210
                                              ATTN:THE HARTFORD TOTAL RETURN BONDATTN:
THE HARTFORD TOTAL RETURN BOND                                                                         280 Congress Street                        Boston   MA     02210
WCF MUTUAL INSURANCE COMPANY                  ATTN:WCF MUTUAL INSURANCE COMPANYATTN:                   280 Congress Street                        Boston   MA     02210
WELLINGTON MULTI-SECTOR CR FD                 ATTN:WELLINGTON MULTI-SECTOR CR FDATTN:                  280 Congress Street                        Boston   MA     02210
WELLINGTON TS CO MULSEC CRD II                ATTN:WELLINGTON TS CO MULSEC CRD IIATTN:                 280 Congress Street                        Boston   MA     02210



        In re: Foresight Energy LLC, et al.
        Case No. 20-41308-659                                                                      Page 4 of 5
                                                Case 20-41308      Doc 228   Filed 04/01/20 Entered 04/01/20 23:45:34          Main Document
                                                                                      Pg Exhibit D
                                                                                         502 of 1005
                                                                                   Lenders Service List
                                                                                 Served via First Class Mail

                        NAME                                    ADDRESS 1                                  ADDRESS 2                     CITY   STATE     ZIP   COUNTRY
WELLINGTON TST CO NAMCIF TSTII                ATTN:WELLINGTON TST CO NAMCIF TSTIIATTN:       280 Congress Street                                Boston    MA     02210
WELLINGTON TST CO NAMCTFT CBP                 ATTN:WELLINGTON TST CO NAMCTFT CBPATTN:        280 Congress Street                                Boston    MA     02210
WELLINGTON TST CO NAMCTFT OFIA                ATTN:WELLINGTON TST CO NAMCTFT OFIAATTN:       280 Congress Street                                Boston    MA     02210
WELLINGTON TST CO NAMCTFT OISB                ATTN:WELLINGTON TST CO NAMCTFT OISBATTN:       280 Congress Street                                Boston    MA     02210
WELLINGTON WORLD BOND FUND                    ATTN:WELLINGTON WORLD BOND FUNDATTN:           280 Congress Street                                Boston    MA     02210
JOHN HANCOCK VARIABLE INS TST                 ATTN:JOHN HANCOCK VARIABLE INS TSTATTN:        280 Congress Street                                Boston    MA     02210
                                              ATTN:ZAIS CLO 1 LTDATTN:
ZAIS CLO 1 LTD                                                                               101 Crawfords Corner Road, Suite 1206              Holmdel   NJ     07733
                                              ATTN:ZAIS CLO 11 LTDATTN:
ZAIS CLO 11 LTD                                                                              101 Crawfords Corner Road, Suite 1206              Holmdel   NJ     07733
                                              ATTN:ZAIS CLO 13 LTDATTN:
ZAIS CLO 13 LTD                                                                              101 Crawfords Corner Road, Suite 1206              Holmdel   NJ     07733
                                              ATTN:ZAIS CLO 2 LTDATTN:
ZAIS CLO 2 LTD                                                                               101 Crawfords Corner Road, Suite 1206              Holmdel   NJ     07733
                                              ATTN:ZAIS CLO 3 LTDATTN:
ZAIS CLO 3 LTD                                                                               101 Crawfords Corner Road, Suite 1206              Holmdel   NJ     07733
                                              ATTN:ZAIS CLO 5 LTDATTN:
ZAIS CLO 5 LTD                                                                               101 Crawfords Corner Road, Suite 1206              Holmdel   NJ     07733
                                              ATTN:ZAIS CLO 6 LTDATTN:
ZAIS CLO 6 LTD                                                                               101 Crawfords Corner Road, Suite 1206              Holmdel   NJ     07733
                                              ATTN:ZAIS CLO 7 LTDATTN:
ZAIS CLO 7 LTD                                                                               101 Crawfords Corner Road, Suite 1206              Holmdel   NJ     07733
                                              ATTN:ZAIS CLO 8 LIMITEDATTN:
ZAIS CLO 8 LIMITED                                                                           101 Crawfords Corner Road, Suite 1206              Holmdel   NJ     07733
                                              ATTN:ZAIS CLO 9 LTDATTN:
ZAIS CLO 9 LTD                                                                               101 Crawfords Corner Road, Suite 1206              Holmdel   NJ     07733




        In re: Foresight Energy LLC, et al.
        Case No. 20-41308-659                                                            Page 5 of 5
Case 20-41308   Doc 228   Filed 04/01/20 Entered 04/01/20 23:45:34   Main Document
                                   Pg 503 of 1005


                                    Exhibit E
Case 20-41308      Doc 228      Filed 04/01/20 Entered 04/01/20 23:45:34           Main Document
                                         Pg 504 of 1005
                                                                                   March 25, 2020

                                   IMPORTANT NOTICE OF
                  UPDATE TO THE NOTICE AND INSTRUCTION FORM
 To: the Holders (the “Prepetition Second Lien Holders”) of the 11.50% Second Priority Senior
 Secured Notes due 2023 (CUSIP Nos. 345525 AE9, 345525 AF6 or U34550 AE0) (“Prepetition
 Second Lien Notes”) of FORESIGHT ENERGY LLC and FORESIGHT ENERGY FINANCE
 CORPORATION

 To: Lenders (the “Prepetition First Lien Lenders”) under that certain Credit and Guaranty
 Agreement , dated as of March 28, 2017, by and among FORESIGHT ENERGY LLC, as
 Borrower and the other parties thereto (as amended, modified, restated or supplemented, the
 “Prepetition First Lien Credit Agreement”)

 Re: Clerical Error in the Notice and Instruction Form

 Please be advised that the Notice and Instruction Form contained a clerical error in Item 2a of the
 Subscription Form attached thereto as Annex I.

 In light of the foregoing, please be advised that the Subscription Form is hereby amended to
 delete the stricken text (indicated textually in the same manner as the following example:
 stricken text) and to add the double-underlined text (indicated textually in the same manner as
 the following example: double-underlined text) as set forth in the pages attached hereto as
 Exhibit A.

 An updated version of the Notice and Instruction Form, correcting the clerical error referenced in
 Exhibit A has been made available at https://cases.primeclerk.com/foresightenergy.




                                                  1
Case 20-41308   Doc 228   Filed 04/01/20 Entered 04/01/20 23:45:34   Main Document
                                   Pg 505 of 1005


                                    Exhibit A

                                   [see attached]




                                         2
Case 20-41308          Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                    Main Document
                                               Pg 506 of 1005


 Item 2a. Calculation of the Maximum Participation Amount. You are entitled to participate up to your full pro
 rata portion of the Syndicated DIP Term Loans, or some smaller portion thereof. In order for you to understand the
 maximum for which you are entitled to participate, your maximum pro rata share of the Syndicated DIP Term
 Loans is calculated as follows:

 Each Eligible Holder may participate up to the following amount (round to nearest Dollar, which is the principal
 amount of Syndicated DIP Term Loans an Eligible Holder will receive (which includes the upfront fee and
 commitment fee payable in original issue discount; provided however, if such amount is less than the Minimum
 Amount, you may not participate in the Opportunity)

 With respect to your Prepetition First Lien Obligations:

                           (Line 1)          (S * (P1 / N)) = $_____________

 where

 S = $14,467,012.26 (the aggregate principal amount of Syndicated DIP Term Loans ($45,000,000), multiplied by
 Prepetition First Lien Allocation (32.1489%)

 P1 = your Total Principal Amount of Prepetition First Lien Obligations set forth in Item 2(a) above

 N = the aggregate outstanding amount of all Prepetition First Lien Obligations ($918,930,135.46held by all Eligible
 Holders ($286,666,814.79)

 With respect to your Prepetition Second Lien Notes:

                           (Line 2)          (S * (P2 / N)) = $_____________

 where

 S = $632,967.65 (the aggregate amount of Syndicated DIP Term Loans ($45,000,000), multiplied by Prepetition
 Second Lien Allocation (1.4066%))

 P2 = your Total Principal Amount of Prepetition Second Lien Notes set forth in Item 2(a) above

 N = the aggregate outstanding principal amount of all Second Lien Notes ($425,000,000held by all Eligible Holders
 ($82,437,987.37)

                                            Max Participation Amount

                                                   Line 1 + Line 2

                                      $__________________________________

 Item 2b. Calculation of the Subscription Amount and Subscription Funding Amount. Please specify your
 commitment to participate and the Subscription Funding Amount, as applicable in the spaces below:

 Each Eligible Holder is entitled to commit to participate for up to its pro rata portion of the Syndicated DIP Term
 Loans. Your commitment to participate, taken together with the commitment of other Eligible Holders under
 common control through common investment management and/or advisement with you, cannot be less than the
 Minimum Amount. Your commitment to participate cannot exceed the individual limit included in Line 1 above
 with respect to your Prepetition First Lien Obligations (if any), plus Line 2 above with respect to your Prepetition
 Second Lien Notes (if any). Please enter on the following Line 3 the principal amount of your commitment to
 participate in the Syndicated DIP Term Loan (which includes the upfront fee and commitment fee) (the
 “Subscription Amount”):



                                                         S-3
Case 20-41308          Doc 228       Filed 04/01/20 Entered 04/01/20 23:45:34                     Main Document
                                              Pg 507 of 1005



                     Subscription Amount (including the upfront fee and commitment fee):



                   (Line 3)         $__________________________________



 To calculate your Subscription Funding Amount, take the Subscription Amount from Line 3 (“C”) and subtract the
 upfront fee (3%) using the following formula and enter it on Line 4 below (round to nearest Dollar).

                                          Subscription Funding Amount:

                                                    C – (0.03 * C)



                   (Line 4)         $__________________________________

 With respect to your Roll-Up Loans

 Subject to the terms and conditions set forth in the DIP Credit Agreement and the Orders, each Eligible Holder who
 are Prepetition First Lien Lenders as of the Record Date shall be entitled to “roll up” any Prepetition First Lien
 Obligations held by such Eligible Holder (or one or more of its affiliates or any investment advisory client managed
 or advised by such Eligible Holder) equal to 0.808625 times the sum of (i) the aggregate principal amount of Initial
 Term Loans funded by such Eligible Holder (or one or more of its affiliates or any investment advisory client
 managed or advised by such Eligible Holder) on the Closing Date on account of its Prepetition First Lien
 Obligations, if any, and (ii) the aggregate principal amount of Delayed Draw Term Loan funded by such Eligible
 Holder (or one or more of its affiliates or any investment advisory client managed or advised by such Eligible
 Holder) on the Delayed Draw Funding Date, if any, on account of its Prepetition First Lien Obligations; provided
 that the aggregate principal amount of the Roll-Up Loans cannot exceed $75,000,000.

 To illustrate:

 In the case of an Eligible Holder owning $50,000,000 in aggregate principal amount of the Prepetition First Lien
 Loans and $25,000,000 of Prepetition Second Lien Notes, such Eligible Holder would be entitled to participate as a
 DIP Lender in the DIP Facility in the maximum principal amount (Item 2a) of:

     1.   On account of such Eligible Holder’s Prepetition First Lien Loans:

              a.   $14,467,012.26 * ($50,000,000 / $918,930,135.46286,666,814.79), or the maximum principal of
                   $787,166.062,523,314.79 of Delayed Draw Term Loans.

              b.   Subject to approval by the Bankruptcy Court, $787,166.062,523,314.79 * 0.808625, or the
                   principal of $636,522.152,040,415.42 of the Prepetition First Lien Obligations will be substituted
                   and exchanged for (and prepaid by) and deemed to be the Roll-Up Loans issued and outstanding
                   under the DIP Facility.

     2.   On account of such Eligible Holder’s Prepetition Second Lien Notes:

              a.   $632,967.65 * ($25,000,000 / $425,000,00082,437,987.37), or the maximum principal of
                   $372,333.91191,952.66 of Delayed Draw Term Loans.

     3.   Maximum Participation Amount = $787,166.06 + $372,333.91 = $1,159,499.972,523,314.79 +
          $191,952.66 = $2,715,267.45




                                                         S-4
Case 20-41308   Doc 228   Filed 04/01/20 Entered 04/01/20 23:45:34   Main Document
                                   Pg 508 of 1005


                                    Exhibit F
Case 20-41308      Doc 228       Filed 04/01/20 Entered 04/01/20 23:45:34                  Main Document
                                          Pg 509 of 1005
                                                                                EXECUTION VERSION


                                 NOTICE AND INSTRUCTION FORM

                         to the Holders (the “Prepetition Second Lien Holders”) of the
                        11.50% Second Priority Senior Secured Notes due 2023
        (CUSIP Nos. 345525 AE9, 345525 AF6 or U34550 AE0) (“Prepetition Second Lien Notes”)
                    issued under that certain Indenture, dated as of March 28, 2017
       (as amended, modified, restated or supplemented, the “Prepetition Second Lien Indenture”)

                                                    of

         FORESIGHT ENERGY LLC and FORESIGHT ENERGY FINANCE CORPORATION

                                                   and

           to the Lenders (the “Prepetition First Lien Lenders”) under that certain Credit and Guaranty
                                  Agreement , dated as of March 28, 2017

                                                   with

                                    FORESIGHT ENERGY LLC, as Borrower

       and the other parties thereto (as amended, modified, restated or supplemented, the “Prepetition First
     Lien Credit Agreement” and the obligations thereunder, the “Prepetition First Lien Obligations”)



                   with respect to the Opportunity to participate as a DIP Lender in the
                                              DIP Facility
Case 20-41308    Doc 228    Filed 04/01/20 Entered 04/01/20 23:45:34     Main Document
                                     Pg 510 of 1005


                                 IMPORTANT NOTICE
                    REGARDING THE OPPORTUNITY TO PARTICIPATE
                        AS A DIP LENDER IN THE DIP FACILITY
 IF YOU ELECT TO PARTICIPATE AS A DIP LENDER IN THE DIP FACILITY, YOU WILL BE ENTERING
 INTO A BINDING LEGAL COMMITMENT WITH FORESIGHT ENERGY LLC (THE “COMPANY”). IF YOU
 SUBMIT A COMMITMENT TO PARTICIPATE IN THE DIP FACILITY PURSUANT TO THIS NOTICE AND
 INSTRUCTION FORM BUT FAIL TO FUND YOUR SUBSCRIPTION FUNDING AMOUNT (AS SPECIFIED
 IN ITEM 2B OF THE SUBSCRIPTION FORM) ON OR PRIOR TO THE APPLICABLE EXPIRATION TIME AS
 DESCRIBED BELOW, YOU WILL NOT BE PERMITTED TO PARTICIPATE AS A LENDER IN THE DIP
 FACILITY PURSUANT TO THIS OPPORTUNITY.
 THE OPPORTUNITY IS NOT BEING GIVEN TO HOLDERS IN ANY JURISDICTION IN WHICH THE
 ACCEPTANCE OF THE OPPORTUNITY OR MAKING AN OFFER IN CONNECTION THEREWITH WOULD
 NOT BE IN COMPLIANCE WITH THE LAWS OF SUCH JURISDICTION.
 THE OPPORTUNITY IS BEING GIVEN ONLY TO AN ELIGIBLE HOLDER, WHICH IS AN ENTITY
 THAT IS (I) EITHER (A) A “QUALIFIED INSTITUTIONAL BUYER,” AS SUCH TERM IS DEFINED IN
 RULE 144A UNDER THE SECURITIES ACT, OR (B) AN INSTITUTIONAL “ACCREDITED
 INVESTOR” WITHIN THE MEANING OF RULE 501(A)(1), (2), (3) OR (7) UNDER THE SECURITIES
 ACT OR AN ENTITY IN WHICH ALL OF THE EQUITY INVESTORS ARE SUCH INSTITUTIONAL
 “ACCREDITED INVESTORS” UNDER THE SECURITIES ACT, (II) A PREPETITION FIRST LIEN
 LENDER AND/OR A BENEFICIAL HOLDER OF PREPETITION SECOND LIEN NOTES ON THE
 RECORD DATE, (III) NOT A BACKSTOP PARTY, AND (IV) NOT THE COMPANY OR AN AFFILIATE
 OF THE COMPANY.
                                   EXPIRATION TIME
 YOUR OPPORTUNITY TO ELECT TO BECOME A LENDER IN THE DIP FACILITY WILL EXPIRE
 (I) AT 5:00 P.M., NEW YORK CITY TIME, ON APRIL 1, 2020 (SUCH DATE AND TIME, AS THE SAME
 MAY BE EXTENDED OR EARLIER TERMINATED, THE “SUBSCRIPTION DEADLINE”)) TO THE
 EXTENT EACH OF THE SUBSCRIPTION DOCUMENTS (AS DEFINED BELOW) IS NOT DELIVERED
 TO THE INFORMATION AGENT ON OR PRIOR TO THE SUBSCRIPTION DEADLINE, OR (II) AT 5:00
 P.M., NEW YORK CITY TIME, ON APRIL 3, 2020 (SUCH DATE AND TIME, AS THE SAME MAY BE
 EXTENDED OR EARLIER TERMINATED, THE “FUNDING DEADLINE”, AND TOGETHER WITH
 THE SUBSCRIPTION DEADLINE, THE “EXPIRATION TIME”) TO THE EXTENT THE
 SUBSCRIPTION FUNDING AMOUNT (AS DEFINED BELOW) IS NOT FUNDED TO THE ESCROW
 ACCOUNT (AS DEFINED BELOW) ON OR PRIOR TO THE FUNDING DEADLINE, UNLESS THE
 APPLICABLE EXPIRATION TIME IS EXTENDED OR EARLIER TERMINATED BY MUTUAL
 AGREEMENT OF THE REQUIRED BACKSTOP PARTIES, THE DIP AGENT AND THE COMPANY.
 THERE ARE NO WITHDRAWAL RIGHTS ONCE THE SUBSCRIPTION FORM ATTACHED TO THIS
 NOTICE AND INSTRUCTION FORM IS VALIDLY DELIVERED.
 IF THE COMPANY AND THE REQUIRED BACKSTOP PARTIES DETERMINE TO ALLOW YOU TO
 WITHDRAW YOUR COMMITMENT, INCLUDING IN THE EVENT A MATERIAL CHANGE CAUSES
 THE COMPANY TO UPDATE THE INFORMATION RELATING TO THIS OPPORTUNITY TO
 PARTICIPATE AND EXTEND THE APPLICABLE EXPIRATION TIME, ANY SUCH WITHDRAWAL
 WILL BE LIMITED AS SET FORTH IN ANY NOTICE THEREOF.
 IMPORTANT NOTE FOR PREPETITION SECOND LIEN NOTEHOLDERS: YOUR SUBSCRIPTION
 DOCUMENTS MUST BE RECEIVED BY YOUR NOMINEE WITH SUFFICIENT TIME TO ALLOW
 YOUR NOMINEE TO COMPLETE THE NOMINEE CERTIFICATION ON YOUR BEHALF AND
 DELIVER IT TO THE INFORMATION AGENT BY THE SUBSCRIPTION DEADLINE.
 NO SUBSCRIPTION FORM SUBMISSIONS WILL BE VALID IF DELIVERED AFTER THE
 SUBSCRIPTION DEADLINE. THE COMPANY, THE DIP AGENT AND THE REQUIRED BACKSTOP
 PARTIES WILL DETERMINE WHETHER A SUBSCRIPTION FORM TRANSMITTING AN ELIGIBLE
 HOLDER’S COMMITMENT TO PARTICIPATE HAS BEEN VALIDLY SUBMITTED AND WHETHER
 TO ACCEPT ANY SUBSCRIPTION FORM THAT HAS NOT BEEN VALIDLY EXECUTED AND



                                            2
Case 20-41308         Doc 228       Filed 04/01/20 Entered 04/01/20 23:45:34             Main Document
                                             Pg 511 of 1005


 DELIVERED.
 NOTWITHSTANDING ANYTHING TO THE CONTRARY HEREIN, THE REQUIRED BACKSTOP
 PARTIES, THE DIP AGENT AND THE COMPANY MAY AMEND THE TERMS OF THE
 OPPORTUNITY, INCLUDING THIS SUBSCRIPTION FORM AND THE OTHER SUBSCRIPTION
 DOCUMENTS, AT ANY TIME UPON THEIR MUTUAL AGREEMENT.
 YOUR PARTICIPATION IN THE OPPORTUNITY IS SUBJECT TO YOU PROVIDING THE
 ADMINISTRATIVE QUESTIONNAIRE AND ALL KNOW-YOUR-CUSTOMER INFORMATION, TAX
 FORMS, AND OTHER DOCUMENTS REQUIRED BY THE DIP AGENT AND THE DIP AGENT’S
 SATISFACTORY REVIEW OF SUCH INFORMATION AND DOCUMENTS (AS DETERMINED IN THE
 SOLE DISCRETION OF THE DIP AGENT).
 TERMS USED IN THIS BOX SHALL HAVE THE MEANINGS SET FORTH IN THIS NOTICE AND
 INSTRUCTION FORM.

 Attachments to this Notice and Instruction Form:

 Annex I          Subscription Form
 Annex I-A        Instructions for Completing the Subscription Form
 Annex I-B        Nominee Certification (for Prepetition Second Lien Noteholders Only)
 Annex II         Master Joinder to the DIP Credit Agreement
 Annex III        Administrative Questionnaire
 Annex IV         Description of Required KYC Information
 Annex V          Description of Required Tax Forms
 Annex VI         Designation Notice
 Annex VII        RSA Joinder
 Exhibit A        Credit Agreement




                                                        3
Case 20-41308             Doc 228         Filed 04/01/20 Entered 04/01/20 23:45:34                 Main Document
                                                   Pg 512 of 1005


 To the Prepetition First Lien Lenders and the Prepetition Second Lien Noteholders:

          On March 10, 2020, Foresight Energy GP LLC, a Delaware limited liability company (the “General
 Partner”), Foresight Energy LP, a Delaware limited partnership (“Holdings”), Foresight Energy LLC, a Delaware
 limited liability company (the “Company”), and certain of their direct and indirect subsidiaries (together with the
 General Partner, Holdings and the Company, the “Debtors”) filed voluntary petitions (the “Chapter 11 Petitions”) for
 relief under the provisions of chapter 11 of title 11 of the United States Code (“Bankruptcy Code”) in the United
 States Bankruptcy Court for the Eastern District of Missouri (the “Bankruptcy Court”). In connection with the
 foregoing, on March 10, 2020, the Company entered into that certain Senior Secured Superpriority Debtor-in-
 Possession Credit and Guaranty Agreement (as amended, restated, supplemented or otherwise modified from time to
 time in accordance with the terms thereof, the “DIP Credit Agreement” and the commitments and extension of credit
 thereunder, the “DIP Facility”), by and among the Debtors, the Backstop Parties (as defined below) and Cortland
 Capital Market Services LLC, as Administrative Agent and Collateral Agent (in such capacities, the “DIP Agent”).
 Capitalized terms used herein and not otherwise defined herein shall have the meanings ascribed thereto in the DIP
 Credit Agreement, a copy of which is attached as Exhibit A to this Notice and Instruction Form.

           On March 10, 2020, the Debtors, certain Prepetition First Lien Lenders and certain Prepetition Second Lien
 Holders (collectively, the “Backstop Parties”, and the Backstop Parties holding backstop commitments of more than
 60% of the Initial Term Loans and the Delayed Draw Term Loans shall be referred to herein as the “Required Backstop
 Parties”) executed that certain Restructuring Support Agreement, dated as of March 10, 2020 (as amended, restated,
 supplemented or otherwise modified from time to time in accordance with the terms thereof, the “RSA”) 1, which
 annexes a term sheet that provides for the Opportunity (as defined below) for each Eligible Holder (as defined below)
 that is not a Backstop Party to participate in the DIP Facility in the aggregate principal amount of the Delayed Draw
 Term Loan Commitment not to exceed $15,099,979.91 (the “Syndicated DIP Term Loans”), subject to the procedures
 and documentation detailed herein.

          You have received this Notice and Instruction Form because you were a Prepetition Second Lien Noteholder
 and/or a Prepetition First Lien Lender as of March 23, 2020 (the “Record Date”). Pursuant to and subject to the terms
 hereof, you are being given notice of your opportunity (the “Opportunity”) to be a lender under the DIP Facility (a
 “DIP Lender”). Importantly, to the extent that you choose to participate in the Opportunity, you must also execute
 the enclosed RSA Joinder (as defined below), making you a party thereto, both in your capacity as a DIP Lender
 and a Prepetition Second Lien Noteholder and/or a Prepetition First Lien Lender (and in any other capacity in
 which you hold debt of the Debtors).

           The Opportunity provides Eligible Holders (which shall exclude, for the avoidance of doubt, the Backstop
 Parties), as of the Record Date, who are (i) Prepetition First Lien Lenders with the opportunity to (a) assume up to
 their pro rata portion of 32.1489% of the principal amount of the Delayed Draw Term Loan Commitment not to exceed
 $45,000,000 (the “Prepetition First Lien Allocation”) based on such Prepetition First Lien Lender’s outstanding
 principal amount of the Prepetition First Lien Obligations under the Prepetition First Lien Credit Agreement as of the
 Record Date, and (b) subject to the terms and conditions set forth in the DIP Credit Agreement and the Orders,
 substitute and exchange the Prepetition First Lien Obligations held by such Eligible Holder for loans under the DIP
 Credit Agreement (the “Roll-Up Loans”) in a principal amount equal to 0.808625 times the sum of (i) the aggregate
 principal amount of Initial Term Loans funded by such Eligible Holder (or one or more of its affiliates or any
 investment advisory client managed or advised by such Eligible Holder) on the Closing Date, if any, on account of its
 Prepetition First Lien Obligations, and (ii) the aggregate principal amount of Delayed Draw Term Loans funded by
 such Eligible Holder (or one or more of its affiliates or any investment advisory client managed or advised by such
 Eligible Holder) on the Delayed Draw Funding Date on account of its Prepetition First Lien Obligations (the “Roll-
 Up Amount”); provided that the aggregate principal amount of the Roll-Up Loans of all DIP Lenders shall not exceed
 $75,000,000, and/or (ii) Prepetition Second Lien Holders with the opportunity to purchase up to their pro rata portion
 of 1.4066% of the principal amount of the Delayed Draw Term Loan Commitment not to exceed $45,000,000 (the
 “Prepetition Second Lien Allocation”) based on such Prepetition Second Lien Holder’s outstanding principal amount
 of the Prepetition Second Lien Notes under the Prepetition Second Lien Indenture as of the Record Date. For the



 1   Foresight Energy LP, Current Report (Form 8-K/A) (March 10, 2020), Ex. 10.1.



                                                                4
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                        Main Document
                                                Pg 513 of 1005


 avoidance of doubt, Eligible Holders will not receive the Put Option Premium as set forth in Section 2.09(c) of the
 DIP Credit Agreement.

           Notwithstanding the foregoing, only entities that are (i) either (a) “qualified institutional buyers” (“QIBs”),
 as such term is defined in Rule 144A under the Securities Act of 1933, as amended (the “Securities Act”), or
 (b) institutional “accredited investors” within the meaning of Rule 501(a)(1), (2), (3) or (7) under the Securities Act
 (“IAIs”) or an entity in which all of the equity investors are IAIs, (ii) a beneficial Holder of Prepetition Second Lien
 Notes and/or Prepetition First Lien Loans on the Record Date, (iii) not a Backstop Party and (iv) not the Company or
 an affiliate of the Company (all such entities, collectively, that meet the foregoing are referred to herein as “Eligible
 Holders”) may participate in the Opportunity. For the avoidance of doubt, natural persons shall not be Eligible Holders.
 If you are not an Eligible Holder, you may not participate in the Opportunity. The Company and the Required
 Backstop Parties shall mutually determine, in their absolute discretion, whether any entity is an Eligible Holder for
 purposes of participation in the Opportunity. Each Eligible Holder has the right to designate, using the Designation
 Notice attached as Annex VI (the “Designation Notice”), that one or more of its affiliates or funds or accounts that
 are managed, advised or sub-advised by such Eligible Holder or its affiliates (each, a “Related Lender”) participate
 as a DIP Lender for some or all of its pro rata portion of the Syndicated DIP Term Loans.

          In addition, to be able to participate in the Opportunity, the minimum participation amount of any Eligible
 Holder (together with any Eligible Holder under common control through common investment management and/or
 advisement with such Eligible Holder) is $350,000 (the “Minimum Amount”).

           Please use the subscription form attached hereto as Annex I (the “Subscription Form”) to transmit your
 election, if any. To participate in the Opportunity, you must (i) complete and duly execute (a) the Subscription Form,
 (b) the Master Joinder to the DIP Credit Agreement attached hereto as Annex II (the “DIP Joinder”), (c) an
 Administrative Questionnaire attached hereto as Annex III, (d) all know-your-customer information and other
 documents required by the DIP Agent as described in Annex IV hereto (the “KYC Information”), (e) the applicable
 tax forms as described in Annex V hereto, (f) a joinder to the RSA attached hereto as Annex VII (the “RSA Joinder”),
 and (g) such other documents as the DIP Agent may reasonably require (collectively, the “Subscription Documents”),
 (ii) deliver (or cause to be delivered) such Subscription Documents to Prime Clerk LLC (the “Information Agent”)
 on or before the Subscription Deadline as instructed below, and (iii) prior to the Funding Deadline, fund your entire
 Desired Participation Amount, as indicated in Item 2b of the Subscription Form (the “Subscription Funding
 Amount”), in each case as further described herein. If you are a Prepetition Second Lien Noteholder, you must provide
 the nominee holding your Prepetition Second Lien Notes with sufficient time to allow your nominee to complete the
 nominee certification attached hereto as Annex I-B (the “Nominee Certification”) on your behalf and deliver it to the
 Information Agent on or prior to the Subscription Deadline. If your Prepetition Second Lien Notes are held through
 more than one nominee, please have each nominee complete a Nominee Certification for the respective Prepetition
 Second Lien Notes held.

          The DIP Facility consists of (i) the Initial Term Loans in an aggregate principal amount not to exceed
 $55,000,000, (ii) the Delayed Draw Term Loans in an aggregate principal amount not to exceed $45,000,000 and (iii)
 the Roll-Up Loans in an aggregate amount not to exceed $75,000,000 (collectively, the “DIP Loans”). On March 11,
 2020, the Backstop Parties funded $55,000,000 of the Initial Term Loans pursuant to the DIP Credit Agreement and
 the RSA. Subject to the satisfaction or waiver of all applicable conditions precedent set forth in the DIP Credit
 Agreement, including entry by the Bankruptcy Court of the Final Order, (x) the Delayed Draw Term Lenders are
 obligated to fund the Delayed Draw Term Loans and (y) the aggregate amount of Prepetition First Lien Obligations
 held by each DIP Lender will be substituted and exchanged for (and prepaid by) and deemed to be the Roll-Up Loans
 issued and outstanding under the DIP Credit Agreement in an aggregate principal amount not to exceed $75,000,000.
 The DIP Credit Agreement is attached hereto as Exhibit A and also available at https://cases.primeclerk.com/
 foresightenergy (by clicking on the link for “Syndication Materials”).

           The DIP Facility will mature on the date that is the earliest to occur of (i) the date that is 180 days following
 the Petition Date; provided, that, if such date is not a Business Day, such preceding Business Day, (ii) the date of the
 substantial consummation (as defined in section 1101(2) of the Bankruptcy Code, which for purposes hereof shall be
 no later than the effective date) of one or more plans of reorganization confirmed pursuant to a final order entered by
 the Bankruptcy Court (the “Plan Effective Date”), (iii) the consummation of a sale or other disposition of all or
 substantially all assets of the Debtors under the section 363 of the Bankruptcy Code, and (iv) the date on which the
 Obligations shall be accelerated in accordance with the provisions of the DIP Credit Agreement.


                                                             5
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                       Main Document
                                                Pg 514 of 1005


          Interest on the DIP Loans will accrue at a rate of the Eurocurrency Rate plus 11.0% per annum or the Base
 Rate plus 10.0% per annum, and shall be payable in cash on (i) in the case of Eurocurrency Rate Loans, on the last
 day of each Interest Period applicable to such DIP Loans, and the Maturity Date and (ii) in the case of Base Rate
 Loans, the last Business Day of each March, June, September and December, and the Maturity Date. With respect to
 the DIP Facility, there is also a LIBOR floor of 1.00%, and a default interest of an additional 2.00% per annum during
 the continuance of an Event of Default.

           Pursuant to the DIP Credit Agreement, each DIP Lender funding the Delayed Draw Term Loans shall receive
 (i) an upfront fee in an amount equal to 3.00% of the principal amount of such DIP Lender’s Delayed Draw Term
 Loans, and (ii) a commitment fee on the Delayed Draw Term Loan Commitment (whether or not then available) of
 such DIP Lender accruing, during the period commencing from the Closing Date to the Delayed Draw Funding Date,
 at a rate per annum equal to the 1.00%, in each case, payable on the Delayed Draw Funding Date. Each Eligible
 Holder shall fund (or cause to be funded) its Subscription Funding Amount to the Escrow Account net of the upfront
 fee (but inclusive of the commitment fee), and the applicable commitment fee shall be paid by the DIP Agent to each
 Delayed Draw Term Lender on the Delayed Draw Funding Date. Therefore, the Subscription Funding Amount to be
 paid into the Escrow Account by each Eligible Holder will be equal to 97% of the principal amount of its pro rata
 portion of the Delayed Draw Term Loans.

            On the Plan Effective Date, the Company will pay to each DIP Lender (or any affiliate, or any affiliated
 investment fund, investment vehicle or entity that is managed, advised or sub-advised by such DIP Lender or such
 affiliate, in each case, designated by such DIP Lender in writing to the DIP Agent) an exit fee (the “Exit Fee”) in an
 aggregate amount equal to 1.0% of the aggregate principal amount of the Initial Term Loan Commitment existing
 immediately prior to any funding of the Initial Term Loans and the Delayed Draw Term Loan Commitment existing
 immediately prior to any funding of the Delayed Draw Term Loans, respectively, on a pro rata basis in accordance
 with the DIP Loans and any unfunded commitments under the DIP Credit Agreement then outstanding. The Exit Fee
 will be payable in the form of New Common Equity at a 35% discount to the Stated Equity Value, subject to dilution
 for the Management Incentive Plan; provided, however, that, after the exercise of remedies provided for in Section
 8.02 of the DIP Credit Agreement (or after the DIP Loans have automatically become immediately due and payable)
 upon the occurrence of any Event of Default or upon repayment of the DIP Loans in full and termination of all
 commitments thereunder without the occurrence of the Plan Effective Date, the Borrower will pay to each DIP Lender
 (or any affiliate, or any affiliated investment fund, investment vehicle or entity that is managed, advised or sub-advised
 by such DIP Lender or such affiliate, in each case, designated by such DIP Lender in writing to the DIP Agent) the
 Exit Fee in cash in an amount equal to $2,000,000, on a pro rata basis in accordance with the DIP Loans and any
 unfunded commitments under the DIP Credit Agreement then outstanding.

          The foregoing description of the DIP Facility is a summary only and does not purport to be complete. It
 is subject to and qualified in its entirety by reference to the DIP Credit Agreement and the Orders.

           Each Eligible Holder may fund the Syndicated DIP Term Loans in an amount equal to (i) (a) in the case of
 Prepetition First Lien Lenders, (x) the Prepetition First Lien Allocation, multiplied by (y) in a fraction, the numerator
 of which is the outstanding principal amount of the First Lien Obligations held by such Eligible Holder as of the
 Record Date and the denominator of which is the aggregate outstanding principal amount of all First Lien Obligations
 as of the Record Date, and (b) in the case of Prepetition Second Lien Noteholders, (x) the Prepetition Second Lien
 Allocation, multiplied by (y) a fraction, the numerator of which is the outstanding principal amount of the Second
 Lien Notes held by such Eligible Holder as of the Record Date and the denominator of which is the aggregate
 outstanding principal amount of all Second Lien Notes as of the Record Date, less (ii) the upfront fee described above
 in an amount equal to 3.0% of the aggregate principal of such Eligible Holder’s Syndicated DIP Term Loans; provided
 that the amount set forth in clause (i) is not less than the Minimum Amount.

           Eligible Holders will not have oversubscription rights. From the Record Date until the Delayed Draw
 Funding Date, no Eligible Holder may transfer, sell or assign any of its Prepetition First Lien Obligations or Prepetition
 Second Lien Notes, and any such transfer, sale or assignment shall be deemed null and void. Nothing in this paragraph
 shall be construed to permit any person other than an Eligible Holder to participate as a DIP Lender in the DIP Facility.

         Your commitment to participate may not be withdrawn, unless otherwise mutually determined by the
 Company, the DIP Agent and the Required Backstop Parties. Additionally, the Company, the DIP Agent and the
 Required Backstop Parties will determine whether any Holder is an Eligible Holder, has made the representations in


                                                             6
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                       Main Document
                                                Pg 515 of 1005


 the Subscription Form, has properly executed and delivered the required documentation and funded its Subscription
 Funding Amount, and whether to reject or accept any subscription to participate that has not been properly completed
 and delivered.

          Your participation in the Opportunity is subject to you (or, if applicable, your designee) providing the
 administrative questionnaire, all know-your-customer information, tax forms and other documents required by the
 DIP Agent and the DIP Agent’s satisfactory review of such information and documents (as determined in the sole
 discretion of the DIP Agent).

           Each Eligible Holder that intends to participate in the Opportunity as a DIP Lender in the DIP Facility must,
 (i) on or prior to Subscription Deadline, deliver (or cause the delivery of) the duly executed Subscription Documents
 to the Information Agent and (ii) on or prior to the Funding Deadline, cause the Subscription Funding Amount to be
 funded by such Eligible Holder to be sent by wire transfer of immediately available federal funds to an escrow account
 (the “Escrow Account”) established by Cortland Capital Market Services LLC as escrow agent (in such capacity, the
 “Escrow Agent”), according to the wire instructions to be provided by the Information Agent to Eligible Holders (and
 made available at https://cases.primeclerk.com/foresightenergy) at least one (1) business day prior to the Funding
 Deadline (or such earlier time, to the extent any Eligible Holder has submitted all Subscription Documents
 satisfactory to the DIP Agent). Funds held in the Escrow Account will not accrue interest. Subject to the terms of the
 escrow agreement, the Escrow Agent assumes no responsibility for the funds delivered to the Escrow Account and
 shall be entitled to rely solely on the direction of the Company and the Required Backstop Parties with respect to the
 disposition of such funds. Upon closing of the Opportunity and syndication, the Escrow Agent will promptly
 disburse the funds in the Escrow Account funded by participating Eligible Holders to the DIP Agent or the
 Company, as directed by the Company and the Required Backstop Parties, and the DIP Agent will update the
 register to reflect the consummation of the Delayed Draw Term Loans and the Roll-Up Loans.

           Although the Expiration Time occurs prior to the Delayed Draw Funding Date, it is important to note that
 the closing of the Opportunity and this syndication will occur on the Delayed Draw Funding Date, which is expected
 to occur within five (5) Business Days following entry of the Final DIP Order (as such date may be extended by the
 Company, the DIP Agent and the Required Backstop Parties). Accordingly, your Subscription Funding Amount,
 representing your pro rata share of the Delayed Draw Term Loans, will be held in escrow for an undetermined period
 of time and there can be no assurances as to when closing of the Opportunity and this syndication will occur. Funds
 held in escrow will not accrue interest, nor will you accrue any interest on account of your pro rata share of the Delayed
 Draw Term Loans until closing of the Opportunity and this syndication.

           The Bankruptcy Court has not yet approved the Roll-Up Loans. It is an Event of Default under the DIP Credit
 Agreement if, among other things, the Bankruptcy Court does not approve the “roll-up” of the Prepetition First Lien
 Loans in an aggregate principal amount equal to $75,000,000 and in a manner and on terms satisfactory to the Required
 Backstop Parties. There can be no assurances that the Bankruptcy Court will approve the Roll-Up Loans on the terms
 set forth herein and in the DIP Credit Agreement, including in the aggregate amount of $75,000,000, or at all. If the
 Bankruptcy Court does not approve the Roll-Up Loans, or approves such loans in an aggregate amount less than
 $75,000,000, you may still be required to purchase the Syndicated DIP Term Loans in the amounts specified in your
 Subscription Form if you choose to participate in this Opportunity because the Required Lenders have the ability to
 waive any such Event of Default under the DIP Credit Agreement. If this were to occur, your participation in the
 Opportunity and this syndication would not include the ability to “roll up” your existing Prepetition First Lien
 Obligations in the amounts specified herein, or at all. For the avoidance of doubt, your commitment to participate in
 the Opportunity may not be withdrawn by you for any reason, including if the Bankruptcy Court does not approve the
 Roll-Up Loans on the terms set forth herein and in the DIP Credit Agreement, or at all. Amendments, or modifications
 to, and/or waivers or consents under, the DIP Credit Agreement and the other Loan Documents may be made from
 time to time in accordance with the terms thereof without the consent or approval of any Eligible Holder electing to
 participate in the Opportunity. Provided that the Bankruptcy Court approves the Roll-Up Loans, it is expected that
 closing of the Roll-Up Loans will occur on the date on the Delayed Draw Funding Date.

           If the syndication process is terminated for any reason, the Subscription Documents submitted by
 participating Eligible Holders will terminate and the Escrow Agent will promptly return by wire, funds (without
 interest) transferred by such Eligible Holders to the Escrow Account. If an Eligible Holder is not permitted to
 participate in the Opportunity and has wired funds to the Escrow Account, the Escrow Agent will return by wire funds
 (without interest) transferred by such Eligible Holder to the Escrow Account. The Escrow Agent shall be authorized


                                                             7
Case 20-41308          Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                      Main Document
                                               Pg 516 of 1005


 to close the Escrow Account following the transfer of all funds held therein. All funds in the Escrow Account shall
 be held as cash on deposit and will not accrue interest.

          Before you deliver the executed Subscription Documents and wire funds to the Escrow Account, please
 carefully review (i) the filings on the Debtors’ docket with the Bankruptcy Court related to their Chapter 11 Cases,
 available at https://cases.primeclerk.com/foresightenergy (the “Bankruptcy Filings”), (ii) the RSA, the Orders, and
 the DIP Credit Agreement and (iii) the Company’s current and periodic reports, including those listed below (the
 “Exchange Act Reports”), which were filed by the Company with the Securities and Exchange Commission (the
 “SEC”) pursuant to the Securities Exchange Act of 1934, as amended, and the rules and regulations promulgated
 thereunder, and which are available on the SEC’s website at www.sec.gov.

           Participating as a DIP Term Lender in the DIP Term Facility entails risks, including, but not limited to, the
 risk that the Company may be liquidated or may be unsuccessful executing its business plan, and as a result may be
 unable to repay all or part of your DIP Loans. The Debtors are operating as debtors-in-possession under bankruptcy
 protection under chapter 11 of the Bankruptcy Code. The continuation of the Company as a going concern is
 contingent upon, among other things, the Company’s ability to develop a plan of reorganization, to obtain approval of
 such plan under the applicable provisions of the Bankruptcy Code and to successfully execute its business plan upon
 its emergence from chapter 11, if any. The risks inherent in lending to a company operating under chapter 11 of the
 Bankruptcy Code are materially higher than normal and there is no assurance that any of the conditions described
 above will be met. There is a risk that the Company will not be able to develop a feasible plan of reorganization or
 obtain the necessary approvals thereof, in which case it may be unable to reorganize under chapter 11, and it may be
 liquidated. In addition, if the Company is unable to successfully execute its business plan, it may be unable to meet
 its obligations under the DIP Facility. In either case, the Company may be unable to repay loan amounts borrowed
 from you and you may lose all or part of your DIP Loans.

           This Notice and Instruction Form relates only to the Opportunity to participate as a DIP Lender in the DIP
 Facility (which, as noted above, will also require Holders to become a party to the RSA).

          Notwithstanding anything to the contrary herein, the Required Backstop Parties, the DIP Agent and
 the Company may amend or modify the terms of the Opportunity, including the Subscription Form and the
 other Subscription Documents, at any time, by filing a notice of such amendment or modification on the Debtors’
 docket with the Bankruptcy Court related to the Company’s Chapter 11 Cases; provided that nothing in this
 Notice and Instruction Form shall be construed to supersede the amendment and modification requirements
 set forth in the DIP Credit Agreement.




                                                           8
Case 20-41308          Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                         Main Document
                                               Pg 517 of 1005                                                Annex I to
                                                                                           Notice and Instruction Form

                                               SUBSCRIPTION FORM

                                                     IMPORTANT

 PLEASE READ AND FOLLOW THE ATTACHED INSTRUCTIONS CAREFULLY. YOU MUST (I)
 COMPLETE, SIGN, DATE AND DELIVER THIS SUBSCRIPTION FORM AND THE OTHER
 SUBSCRIPTION DOCUMENTS TO YOUR NOMINEE WITH SUFFICIENT TIME TO ALLOW YOUR
 NOMINEE TO COMPLETE THE NOMINEE CERTIFICATION ON YOUR BEHALF AND DELIVER IT
 TO THE INFORMATION AGENT BEFORE THE SUBSCRIPTION DEADLINE, WHICH DELIVERY
 WILL CONSTITUTE YOUR COMMITMENT AS A DIP LENDER AND (II) FUND YOUR
 SUBSCRIPTION FUNDING AMOUNT BY WIRING FUNDS TO THE ESCROW ACCOUNT BEFORE
 THE FUNDING DEADLINE.

 EACH ELIGIBLE HOLDER HAS THE RIGHT TO DESIGNATE, USING THE DESIGNATION NOTICE,
 THAT ONE OR MORE RELATED ENTITIES PARTICIPATE AS A DIP LENDER FOR SOME OR ALL
 OF ITS PRO RATA SHARE OF THE LOANS AND/OR COMMITMENTS UNDER THE DIP CREDIT
 AGREEMENT.

 IF SUCH SUBSCRIPTION DOCUMENTS ARE NOT COMPLETED, DULY EXECUTED AND
 RECEIVED BY THE INFORMATION AGENT AT OR BEFORE THE SUBSCRIPTION DEADLINE,
 AND/OR THE SUBSCRIPTION FUNDING AMOUNT IS NOT RECEIVED IN THE ESCROW ACCOUNT
 AT OR BEFORE THE FUNDING DEADLINE, THE INSTRUCTION TRANSMITTED BY THIS
 SUBSCRIPTION FORM WILL NOT BE COUNTED.

 YOU SHOULD REVIEW THE EXCHANGE ACT REPORTS, BANKRUPTCY FILINGS, NOTICE AND
 INSTRUCTION FORM AND THE INSTRUCTIONS CONTAINED HEREIN BEFORE YOU ELECT TO
 PARTICIPATE IN THE OPPORTUNITY. YOU MAY WISH TO SEEK LEGAL AND/OR FINANCIAL
 ADVICE CONCERNING THE OPPORTUNITY.


 Capitalized terms used herein but not defined herein have the meanings ascribed to them in the Notice and Instruction
 Form to which this Subscription Form is attached.

 Item 1. Representations of the Holder. The undersigned hereby represents and warrants that it:

     •   Is (i) either a “qualified institutional buyer” or an institutional “accredited investor” as such terms are defined
         under Rules 144A and 501(a)(1), (2), (3) and (7) under the Securities Act of 1933, as amended, respectively,
         or is an entity in which all of the equity investors are institutional “accredited investors” and (ii) not the
         Company or an affiliate of the Company;

     •   is not a natural person;

     •   is an “Eligible Assignee” as defined in the DIP Credit Agreement;

     •   is sophisticated with respect to the decision to participate as a lender in a commercial loan of the type
         represented by the DIP Loans and is, or the entity exercising discretion in making this decision to participate
         in the funding of the DIP Loans on behalf of such participant is, experienced in participating as a lender in
         such commercial loans;

     •   has received, or has been accorded the opportunity to receive or have access to, copies of the Final Order, the
         DIP Credit Agreement, the DIP Joinder, the RSA and the RSA Joinder, and has received, or has been
         accorded the opportunity to receive or have access to, to the extent available, copies of the most recent annual
         and quarterly financial statements of the Debtors and such other documents and information as it deems
         appropriate to make its own credit analysis and decision to participate in the funding of such DIP Facility
         and become a party to the RSA (including access to the docket of the Company’s Chapter 11 Cases); and




                                                           S-1
Case 20-41308             Doc 228         Filed 04/01/20 Entered 04/01/20 23:45:34                             Main Document
                                                   Pg 518 of 1005


      •    has (i) independently and without reliance on the DIP Agent, any other DIP Lender or potential DIP Lender,
           the Backstop Parties, any of the Debtors, any agent or trustee under the Prepetition First Lien Credit
           Agreement or the Prepetition Second Lien Notes, and (ii) based on such documents and information as it has
           deemed appropriate, made its own credit analysis and decision to participate in the funding of the DIP Facility
           and become a party to the RSA.

         Each Holder further authorizes the DIP Agent to act and rely upon (and acknowledges and agrees that the
 DIP Agent shall be fully protected in acting and relying upon) instructions and/or information from the Company, the
 Information Agent and/or the Required Backstop Parties and their counsel and advisors in effectuating the transactions
 contemplated by this Subscription Form.
 Item 2. Participation in the Opportunity. The undersigned certifies that, as of the Record Date, the undersigned
 (a) was an Eligible Holder of Prepetition First Lien Obligations and/or Prepetition Second Lien Notes in the following
 principal amounts (insert principal amount in the boxes below) and (b) wishes to make the following commitment
 (i.e., the “Desired Participation Amount”, as listed below in Item 2b, and as computed as set forth below) to participate
 in the Facility with regard to the Opportunity:

                                                                        Prepetition Second Lien
                                     Total Principal Amount of           Notes CUSIP (345525
                                       Prepetition First Lien             AE9, 345525 AF6 or         Total Principal Amount of
                                    Obligations as of the Record             U34550 AE0)              Prepetition Second Lien
          Name / Address                       Date 2                  ** please only include one    Notes as of the Record Date
                                                (P1)                         CUSIP in each                       (P2)
                                                                              box below**




           2 For purposes of determining beneficial ownership on the Record Date for participation in the Opportunity, such
 ownership shall be determined on the basis of both settled and unsettled trades, provided that, with respect to any unsettled trade
 of loans, the assignee shall provide evidence (such as a trade confirmation) reasonably satisfactory to counsel to the Company
 and the Required Backstop Parties, which evidence reasonably establishes ownership of such loans (subject to recordation of
 assignment by the agent under the Prepetition First Lien Credit Agreement).



                                                                 S-2
Case 20-41308          Doc 228         Filed 04/01/20 Entered 04/01/20 23:45:34                     Main Document
                                                Pg 519 of 1005


 Item 2a. Calculation of the Maximum Participation Amount. You are entitled to participate up to your full pro
 rata portion of the Syndicated DIP Term Loans, or some smaller portion thereof. In order for you to understand the
 maximum for which you are entitled to participate, your maximum pro rata share of the Syndicated DIP Term Loans
 is calculated as follows:

 Each Eligible Holder may participate up to the following amount (round to nearest Dollar, which is the principal
 amount of Syndicated DIP Term Loans an Eligible Holder will receive (which includes the upfront fee and
 commitment fee payable in original issue discount; provided however, if such amount is less than the Minimum
 Amount, you may not participate in the Opportunity)

 With respect to your Prepetition First Lien Obligations:

                            (Line 1)          (S * (P1 / N)) = $_____________

 where

 S = $14,467,012.26 (the aggregate principal amount of Syndicated DIP Term Loans ($45,000,000), multiplied by
 Prepetition First Lien Allocation (32.1489%)

 P1 = your Total Principal Amount of Prepetition First Lien Obligations set forth in Item 2(a) above

 N = the aggregate outstanding amount of all Prepetition First Lien Obligations held by all Eligible Holders
 ($286,666,814.79)

 With respect to your Prepetition Second Lien Notes:

                            (Line 2)          (S * (P2 / N)) = $_____________

 where

 S = $632,967.65 (the aggregate amount of Syndicated DIP Term Loans ($45,000,000), multiplied by Prepetition
 Second Lien Allocation (1.4066%))

 P2 = your Total Principal Amount of Prepetition Second Lien Notes set forth in Item 2(a) above

 N = the aggregate outstanding principal amount of all Second Lien Notes held by all Eligible Holders ($82,437,987.37)

                                             Max Participation Amount

                                                    Line 1 + Line 2

                                       $__________________________________

 Item 2b. Calculation of the Subscription Amount and Subscription Funding Amount. Please specify your
 commitment to participate and the Subscription Funding Amount, as applicable in the spaces below:

 Each Eligible Holder is entitled to commit to participate for up to its pro rata portion of the Syndicated DIP Term
 Loans. Your commitment to participate, taken together with the commitment of other Eligible Holders under common
 control through common investment management and/or advisement with you, cannot be less than the Minimum
 Amount. Your commitment to participate cannot exceed the individual limit included in Line 1 above with respect to
 your Prepetition First Lien Obligations (if any), plus Line 2 above with respect to your Prepetition Second Lien Notes
 (if any). Please enter on the following Line 3 the principal amount of your commitment to participate in the Syndicated
 DIP Term Loan (which includes the upfront fee and commitment fee) (the “Subscription Amount”):

                      Subscription Amount (including the upfront fee and commitment fee):




                                                          S-3
Case 20-41308          Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                       Main Document
                                               Pg 520 of 1005




                    (Line 3)         $__________________________________



 To calculate your Subscription Funding Amount, take the Subscription Amount from Line 3 (“C”) and subtract the
 upfront fee (3%) using the following formula and enter it on Line 4 below (round to nearest Dollar).

                                           Subscription Funding Amount:

                                                     C – (0.03 * C)



                   (Line 4)          $__________________________________

 With respect to your Roll-Up Loans

 Subject to the terms and conditions set forth in the DIP Credit Agreement and the Orders, each Eligible Holder who
 are Prepetition First Lien Lenders as of the Record Date shall be entitled to “roll up” any Prepetition First Lien
 Obligations held by such Eligible Holder (or one or more of its affiliates or any investment advisory client managed
 or advised by such Eligible Holder) equal to 0.808625 times the sum of (i) the aggregate principal amount of Initial
 Term Loans funded by such Eligible Holder (or one or more of its affiliates or any investment advisory client managed
 or advised by such Eligible Holder) on the Closing Date on account of its Prepetition First Lien Obligations, if any,
 and (ii) the aggregate principal amount of Delayed Draw Term Loan funded by such Eligible Holder (or one or more
 of its affiliates or any investment advisory client managed or advised by such Eligible Holder) on the Delayed Draw
 Funding Date, if any, on account of its Prepetition First Lien Obligations; provided that the aggregate principal amount
 of the Roll-Up Loans cannot exceed $75,000,000.

 To illustrate:

 In the case of an Eligible Holder owning $50,000,000 in aggregate principal amount of the Prepetition First Lien
 Loans and $25,000,000 of Prepetition Second Lien Notes, such Eligible Holder would be entitled to participate as a
 DIP Lender in the DIP Facility in the maximum principal amount (Item 2a) of:

     1.   On account of such Eligible Holder’s Prepetition First Lien Loans:

              a.   $14,467,012.26 * ($50,000,000 / $286,666,814.79), or the maximum principal of $2,523,314.79 of
                   Delayed Draw Term Loans.

              b.   Subject to approval by the Bankruptcy Court, $2,523,314.79 * 0.808625, or the principal of
                   $2,040,415.42 of the Prepetition First Lien Obligations will be substituted and exchanged for (and
                   prepaid by) and deemed to be the Roll-Up Loans issued and outstanding under the DIP Facility.

     2.   On account of such Eligible Holder’s Prepetition Second Lien Notes:

              a.   $632,967.65 * ($25,000,000 / $82,437,987.37), or the maximum principal of $191,952.66 of
                   Delayed Draw Term Loans.

     3.   Maximum Participation Amount = $2,523,314.79 + $191,952.66 = $2,715,267.45

 If the Subscription Amount specified in Line 3 above is less than $350,000 and you are under common control through
 common investment management and/or advisement with other Eligible Holders that have submitted Subscription
 Forms, list such other Eligible Holders:

                                           ___________________________



                                                           S-4
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                          Main Document
                                                Pg 521 of 1005


                                            ___________________________

                                            ___________________________

 The undersigned certifies that it is under common control through common investment management and/or
 advisement with the Eligible Holders listed above.

 Item 3. Certification. By signing this Subscription Form, the undersigned certifies that it understands that the right
 to participate in the Opportunity is subject to all the terms and conditions set forth in the Notice and Instruction Form,
 and agrees that the commitment to participate in the DIP Facility in an amount equal to the Subscription Amount
 specified in Line 3 of Item 2(b) above, constitutes an irrevocable offer by the undersigned to fund the Syndicated DIP
 Term Loans equal to the amount specified as the Subscription Funding Amount in Line 4 of Item 2(b) above.

                                                          Name of Eligible Holder:


                                                                                   (Print or Type)

                                                          Federal Tax I.D. No.:
                                                                                              (If Applicable)

                                                          Signature:

                                                          Print Name:

                                                          Title:

                                                          Facsimile Number:

                                                          E-mail Address:

                                                          Street Address:

                                                          City, State, Zip Code:

                                                          Telephone: ( )

                                                          Date Completed:

 THE SUBSCRIPTION DOCUMENTS MUST BE RECEIVED BY THE INFORMATION AGENT AT ITS
 EMAIL ADDRESS AT FORESIGHTDIP@PRIMECLERK.COM MUST BE RECEIVED BY THE
 INFORMATION AGENT BEFORE 5:00 P.M., NEW YORK CITY TIME, ON APRIL 1, 2020, OR THE
 INSTRUCTIONS TRANSMITTED HEREBY WILL NOT BE COUNTED.

                                    FORESIGHT DIP Syndication Processing
                                             c/o Prime Clerk LLC
                                            One Grand Central Place
                                               60 East 42nd Street
                                                   Suite 1440
                                              New York, NY 10165
                        Telephone: 877-720-6580 (domestic) or 646-998-7132 (international)




                                                            S-5
Case 20-41308          Doc 228       Filed 04/01/20 Entered 04/01/20 23:45:34                      Main Document
                                              Pg 522 of 1005


                     INSTRUCTIONS FOR COMPLETING THE SUBSCRIPTION FORM

 EXPIRATION TIME/INFORMATION AGENT:

      The Subscription Deadline for the receipt of instructions is 5:00 p.m., New York City Time, on April 3,
 2020, unless extended or earlier terminated. To elect to participate in the Opportunity, you must complete, sign,
 and return this Subscription Form and the other Subscription Documents to your nominee with sufficient time to
 allow your nominee to complete the Nominee Certification on your behalf so that it is received by the Information
 Agent at its email address at email address at foresightDIP@primeclerk.com, or at the following address, for receipt
 by the Information Agent no later than the Subscription Deadline:

                                    FORESIGHT DIP Syndication Processing
                                              c/o Prime Clerk LLC
                                            One Grand Central Place
                                               60 East 42nd Street
                                                   Suite 1440
                                             New York, NY 10165
                        Telephone: 877-720-6580 (domestic) or 646-998-7132 (international)

          To effect a subscription, you must take the following steps:

     a.   Review the representations in Item 1 of the Subscription Form;

     b.   In Item 2 of the Subscription Form, specify the amount of Prepetition First Lien Obligations and Prepetition
          Second Lien Notes you held as of the Record Date;

     c.   In Item 2(b) of the Subscription Form, (i) specify the Subscription Amount, the Subscription Funding Amount
          and the total amount to be wired and (ii) if the amount of the DIP Term Facility commitment specified in
          Line 1 of Item 2(b) is less than $350,000 and you are under common control through common investment
          management and/or advisement with other Eligible Holders that have submitted Subscription Forms, specify
          such other Eligible Holders;

     d.   Review the certification in Item 3 of the Subscription Form;

     e.   In Item 3, sign and date the Subscription Form, and provide the remaining information requested;

     f.   Complete, execute and deliver to the Information Agent before the Subscription Deadline (i) the DIP Joinder
          attached as Annex II to the Notice and Instruction Form, (ii) the Administrative Questionnaire attached as
          Annex III to the Notice and Instruction Form, (iii) relevant tax forms as described in Annex V to the Notice
          and Instruction Form, (iv) the Designation Notice attached as Annex VI to the Notice and Instruction Form
          to the extent you wish to designate a Related Lender to participate as a DIP Lender for some or all of the
          Subscription Amount, (v) the RSA Joinder attached as Annex VII to the Notice and Instruction Form, and
          (vi) such other documents as the DIP Agent reasonably requires;

     g.   Complete, execute (as necessary) and deliver to the Information Agent before the Subscription Deadline each
          of the documents specified in Annex IV to the Notice and Instruction Form as the KYC Information;

     h.   If you are a Prepetition Second Lien Noteholder, coordinate with the nominee holding your Prepetition
          Second Lien Notes to arrange for delivery of the completed Subscription Documents to its offices and instruct
          your nominee to complete the Nominee Certification attached as Annex I-B to the Notice and Instruction
          Form and deliver the completed, executed Subscription Documents so as to be received by the Information
          Agent before the Subscription Deadline;

     i.   Cause the Subscription Funding Amount as set forth in Item 2b to be funded to the Escrow Account on or
          before the Subscription Deadline.




                                                          S-6
Case 20-41308         Doc 228       Filed 04/01/20 Entered 04/01/20 23:45:34                  Main Document
                                             Pg 523 of 1005


 PLEASE NOTE:

     IF YOU HAVE ANY QUESTIONS REGARDING THIS SUBSCRIPTION FORM, ANY OTHER
   SUBSCRIPTION DOCUMENTS OR THE PROCEDURES RELATED HERETO, PLEASE CALL THE
     INFORMATION AGENT AT 877-720-6580 (DOMESTIC) or 646-998-7132 (INTERNATIONAL).

 Your participation in the Opportunity is subject to you providing the administrative questionnaire, all know-
 your-customer information, tax forms and other documents required by the DIP Agent and the DIP Agent’s
 satisfactory review of such information and documents (as determined in the sole discretion of the DIP Agent).

 Foresight Energy LLC and certain of its affiliates have filed voluntary petitions for relief under chapter 11 of
 Title 11 of the United States Code, 11 U.S.C. §§ 101 et seq. (the “Bankruptcy Code”) and are operating their
 businesses and managing their property as debtors-in-possession pursuant to the Bankruptcy Code.

 Nothing herein, nor in any of the accompanying forms and letters, shall constitute or be deemed to constitute a
 solicitation by any party of votes to approve or reject a chapter 11 plan for any debtor. A solicitation with
 respect to votes to approve or reject a chapter 11 plan only may be commenced once a disclosure statement
 that complies with section 1125 of the Bankruptcy Code has been approved by the Bankruptcy Court.




                                                       S-7
Case 20-41308           Doc 228         Filed 04/01/20 Entered 04/01/20 23:45:34                          Main Document
                                                 Pg 524 of 1005                                             Annex I-B to
                                                                                            Notice and Instruction Form

                        NOMINEE’S CERTIFICATION OF RECORD DATE HOLDINGS

        Your ownership of Prepetition Second Lien Notes must be confirmed to participate in the Opportunity
 The nominee holding your Prepetition Second Lien Notes as of the Record Date, must complete Box A on your
 behalf. Box B is only required if any or all of your Prepetition Second Lien Notes were on loan as of the Record
 Date (as determined by your nominee). Please attach a separate Nominee Certification if your Prepetition Second
 Lien Notes are held through more than one nominee. Please also attach an authorized signatory list confirming that
 the beneficial holder listed below owned the position(s) listed in Box A and/or Box B as of the Record Date.

                          Box A                                                          Box B
                For Use Only by the Nominee                                   Nominee Proxy - Only if Needed



 DTC Participant Name: _______________________________       DTC Participant Name: ______________________________


 DTC Participant Number: ______________________________      DTC Participant Number: ____________________________



 Principal Amount of Prepetition Second Lien Notes           Principal Amount of Prepetition Second Lien Notes
 (CUSIP Nos. 345525 AE9, 345525 AF6 or U34550 AE0) held by   (CUSIP Nos. 345525 AE9, 345525 AF6 or U34550 AE0) held on
 this account as of the Record Date:                         behalf of, and hereby assigned to, the Nominee listed in Box A as of
                                                             the Record Date:

 $___________________________ principal amount in CUSIP
 345525 AE9                                                  $___________________________ principal amount in CUSIP
                                                             345525 AE9

 $___________________________ principal amount in CUSIP
 345525 AF6                                                  $___________________________ principal amount in CUSIP
                                                             345525 AF6

 $___________________________ principal amount in CUSIP
 U34550 AE0                                                  $___________________________ principal amount in CUSIP
                                                             U34550 AE0


                                                             Nominee authorized signatory:_____________________
 Nominee authorized signatory:_____________________

                                                             Nominee contact name:__________________________
 Nominee contact name:___________________________

                                                             Nominee contact email:__________________________
 Nominee contact email:___________________________

 Contact telephone number: ________________________          Contact telephone number: ______________________
 ________________________

 Beneficial holder name:__________________________           Beneficial holder name:__________________________
Case 20-41308   Doc 228   Filed 04/01/20 Entered 04/01/20 23:45:34    Main Document
                                   Pg 525 of 1005                            Annex II to
                                                            Notice and Instruction Form

                    MASTER JOINDER TO DIP CREDIT AGREEMENT

                                    [See attached]
Case 20-41308      Doc 228     Filed 04/01/20 Entered 04/01/20 23:45:34 Main Document
                                        Pg 526 of 1005
                                                                 EXECUTION VERSION

                    MASTER JOINDER TO DIP CREDIT AGREEMENT

        JOINDER TO DIP CREDIT AGREEMENT, dated as of [ ], 2020 (this “Agreement”),
 by and among the undersigned lenders (collectively, the “Additional Lenders” and each, an
 “Additional Lender”), FORESIGHT ENERGY GP LLC, a Delaware limited liability company,
 as a debtor and debtor-in-possession (the “General Partner”), FORESIGHT ENERGY LP, a
 Delaware limited partnership, as a debtor and debtor-in-possession (“Holdings”), FORESIGHT
 ENERGY LLC, a Delaware limited liability company, as a debtor and debtor-in-possession, as
 borrower (the “Borrower”), and Cortland Capital Market Services LLC, as administrative agent
 (in such capacity, the “Administrative Agent”) and collateral agent (in such capacity, the
 “Collateral Agent”) under the Credit Agreement (as defined below).

                                          RECITALS:

        WHEREAS, reference is hereby made to the Senior Secured Superpriority Debtor-in-
 Possession Credit and Guaranty Agreement, dated as of March 11, 2020 (as amended, restated,
 amended and restated, supplemented or otherwise modified from time to time, the “Credit
 Agreement”), among the General Partner, Holdings, the Borrower, certain subsidiaries of the
 Borrower, the lenders from time to time party thereto and the Administrative Agent and
 Collateral Agent (capitalized terms used but not defined herein having the meaning provided in
 the Credit Agreement);

        WHEREAS, pursuant to the syndication of Loans in accordance with the Restructuring
 Support Agreement and Section 10.06 of the Credit Agreement, the parties hereto desire that the
 Additional Lenders be joined as a party to the Credit Agreement;

       NOW, THEREFORE, in consideration of the premises and agreements, provisions and
 covenants herein contained, the parties hereto agree as follows:

         On and as of the date of this Agreement, each Additional Lender hereby agrees to join the
 Credit Agreement as a Lender and to provide Delayed Draw Term Loan Commitments pursuant
 to the terms of the DIP Credit Agreement, and to the extent applicable under the terms thereof,
 be deemed to have issued the Roll-Up Loans allocated to such Additional Lender in accordance
 with Section 2.01(b). Each Additional Lender, the Loan Parties and the Administrative Agent
 acknowledge and agree that the Delayed Draw Term Loan Commitments and, when issued or
 deemed issued, the Delayed Draw Term Loans and, if applicable, the Roll-Up Loans of such
 Additional Lender shall (i) constitute Delayed Draw Term Loan Commitments, and when issued
 or deemed issued, the Delayed Draw Term Loans and, if applicable, Roll-Up Loans, for all
 purposes of the Credit Agreement and the other Loan Documents and (ii) be bound by and
 subject to all of the terms and conditions in the Credit Agreement and the other Loan Documents,
 including the entry by the Bankruptcy Court of the Final Order in form and substance
 satisfactory to the Required Lenders. Each Additional Lender shall be entitled to all the benefits
 afforded by the Credit Agreement and the other Loan Documents, and shall, without limiting the
 foregoing, benefit equally and ratably from the Guaranty and security interests created by the
 Security Documents.

        Each Additional Lender (i) confirms that it has received a copy of the Credit Agreement
 and the other Loan Documents, together with such other documents and information as it has
Case 20-41308      Doc 228     Filed 04/01/20 Entered 04/01/20 23:45:34           Main Document
                                        Pg 527 of 1005


 deemed appropriate to make its own credit analysis and decision to enter into this Agreement;
 (ii) agrees that it will, independently and without reliance upon the Administrative Agent, the
 Collateral Agent, any Backstop Lender, or any other Lender and based on such documents and
 information as it shall deem appropriate at the time, continue to make its own credit decisions in
 taking or not taking action under the Credit Agreement; (iii) appoints and authorizes the
 Administrative Agent and Collateral Agent to take such action as administrative agent and
 collateral agent on its behalf and to exercise such powers and discretion under the Credit
 Agreement and the other Loan Documents as are delegated to the Administrative Agent and
 Collateral Agent by the terms thereof, together with such powers and discretion as are reasonably
 incidental thereto; and (iv) agrees that it will perform in accordance with their terms all of the
 obligations which by the terms of the Credit Agreement are required to be performed by it as a
 Lender.

         Upon the execution of a counterpart of this Agreement by each Additional Lender, the
 Administrative Agent, the Collateral Agent, and the Loan Parties (including by way of telecopy
 or other electronic transmission), such Additional Lender shall become a Lender under the Credit
 Agreement and the other Loan Documents as of the date of this Agreement.

         Each Additional Lender represents and warrants to the Administrative Agent, the
 Collateral Agent, the other Lenders and the Loan Parties that (i) it has full power and authority,
 and has taken all action necessary, to execute and deliver this Agreement and to consummate the
 transactions contemplated hereby and to become a Lender under the Credit Agreement and the
 other Loan Documents; and (ii) it has delivered herewith to the Administrative Agent (x) an
 Administrative Questionnaire completed by such Additional Lender, and (y) such documentation
 and other information under applicable “know your customer” and anti-money laundering rules
 and regulations that has been requested by the Administrative Agent and such documentation and
 other information required under Section 4.01(l) of the Credit Agreement.

        This Agreement may not be amended, modified or waived except by an instrument or
 instruments in writing signed and delivered on behalf of each of the parties hereto.

         This Agreement, the Credit Agreement and the other Loan Documents constitute the
 entire agreement among the parties with respect to the subject matter hereof and thereof and
 supersede all other prior agreements and understandings, both written and verbal, among the
 parties or any of them with respect to the subject matter hereof.

      THIS AGREEMENT AND THE RIGHTS AND OBLIGATIONS OF THE
 PARTIES HEREUNDER SHALL BE GOVERNED BY, AND CONSTRUED IN
 ACCORDANCE WITH, THE LAWS OF THE STATE OF NEW YORK AND (TO THE
 EXTENT APPLICABLE) THE BANKRUPTCY CODE, WITHOUT REGARD TO
 CONFLICT OF LAWS PRINCIPLES THEREOF THAT WOULD RESULT IN THE
 APPLICATION OF ANY LAW OTHER THAN THE LAW OF THE STATE OF NEW
 YORK AND (TO THE EXTENT APPLICABLE) THE BANKRUPTCY CODE.

         Any term or provision of this Agreement which is invalid or unenforceable in any
 jurisdiction shall, as to that jurisdiction, be ineffective to the extent of such invalidity or
 unenforceability without rendering invalid or unenforceable the remaining terms and provisions
 of this Agreement or affecting the validity or enforceability of any of the terms or provisions of
Case 20-41308      Doc 228     Filed 04/01/20 Entered 04/01/20 23:45:34           Main Document
                                        Pg 528 of 1005


 this Agreement in any other jurisdiction. If any provision of this Agreement is so broad as to be
 unenforceable, the provision shall be interpreted to be only so broad as would be enforceable.

         This Agreement may be executed in counterparts, each of which shall be deemed to be an
 original, but all of which shall constitute one and the same agreement.

                                     [signature pages follow]
Case 20-41308    Doc 228    Filed 04/01/20 Entered 04/01/20 23:45:34            Main Document
                                     Pg 529 of 1005



        IN WITNESS WHEREOF, each of the undersigned has caused its duly authorized officer
 to execute and deliver this Agreement as of the date first written above.



                                          [•]


                                          By:
                                                Name:
                                                Title:


                                          If a second signature is necessary:

                                          By:
                                                Name:
                                                Title:




                     [Signature Page to Joinder to DIP Credit Agreement]
Case 20-41308   Doc 228   Filed 04/01/20 Entered 04/01/20 23:45:34               Main Document
                                   Pg 530 of 1005




                                       FORESIGHT ENERGY LLC



                                       By:      __________________________________________
                                               Name: Robert D. Moore
                                               Title: President and Chief Executive Officer



                                       FORESIGHT ENERGY LP
                                       By


                                       Foresight Energy GP LLC, its general partner


                                       By:      __________________________________________
                                               Name: Robert D. Moore
                                               Title: President and Chief Executive Officer




                  [Signature Page to Joinder to DIP Credit Agreement]
Case 20-41308   Doc 228   Filed 04/01/20 Entered 04/01/20 23:45:34         Main Document
                                   Pg 531 of 1005


                                       FORESIGHT ENERGY GP, LLC
                                       ADENA RESOURCES, LLC
                                       AKIN ENERGY LLC
                                       AMERICAN CENTURY MINERAL LLC
                                       AMERICAN CENTURY TRANSPORT LLC
                                       COAL FIELD CONSTRUCTION COMPANY LLC
                                       COAL FIELD REPAIR SERVICES LLC
                                       FORESIGHT COAL SALES LLC
                                       FORESIGHT ENERGY EMPLOYEE SERVICES
                                       CORPORATION
                                       FORESIGHT ENERGY FINANCE CORPORATION
                                       FORESIGHT ENERGY LABOR LLC
                                       FORESIGHT ENERGY SERVICES LLC
                                       HILLSBORO TRANSPORT LLC
                                       LD LABOR COMPANY LLC
                                       LOGAN MINING LLC
                                       M-CLASS MINING, LLC
                                       MACH MINING, LLC
                                       MACOUPIN ENERGY LLC
                                       MARYAN MINING LLC
                                       OENEUS LLC (D/B/A SAVATRAN LLC)
                                       SENECA REBUILD LLC
                                       SITRAN LLC
                                       SUGAR CAMP ENERGY, LLC
                                       TANNER ENERGY LLC
                                       VIKING MINING LLC
                                       WILLIAMSON ENERGY, LLC
                                       HILLSBORO ENERGY LLC
                                       PATTON MINING LLC
                                       FORESIGHT RECEIVABLES LLC


                                       By:      __________________________________________
                                               Name: Robert D. Moore
                                               Title: President and Chief Executive Officer




                  [Signature Page to Joinder to DIP Credit Agreement]
Case 20-41308   Doc 228   Filed 04/01/20 Entered 04/01/20 23:45:34      Main Document
                                   Pg 532 of 1005


                                      Accepted:

                                      CORTLAND CAPITAL MARKET SERVICES LLC
                                      as Administrative Agent and Collateral Agent,



                                      By:   ______________________________________
                                            Name:
                                            Title:




                  [Signature Page to Joinder to DIP Credit Agreement]
Case 20-41308   Doc 228   Filed 04/01/20 Entered 04/01/20 23:45:34    Main Document
                                   Pg 533 of 1005                           Annex III to
                                                            Notice and Instruction Form

                          ADMINISTRATIVE QUESTIONNAIRE

                                    [See attached]
 Case 20-41308   Doc 228   Filed 04/01/20 Entered 04/01/20 23:45:34        Main Document
                                 [Fund Name]
                                    Pg 534 of 1005
                                   [Fund Address]
                                    Tax Payer ID:


                           Administrative Details

                           Payment Instructions
USD:                                Bank Name:
                                    ABA:
                                    Account Name:
                                    Account Number:
                                    Attn:


                             Signature Block

                                    [Fund Name:]

                                    By: ________________________________



                                   Contacts

Operations (Agent Notices):         [Fund Name]
                                    Address:

                                    Attn:
                                    Phone:
                                    Fax:
                                    E-mail:


Credit/Legal (Public/Private):      [Fund Name]
                                    Address:

                                    Attn:
                                    Phone:
                                    Fax:
                                    E-mail:
Case 20-41308         Doc 228       Filed 04/01/20 Entered 04/01/20 23:45:34                    Main Document
                                             Pg 535 of 1005                                          Annex IV to
                                                                                     Notice and Instruction Form

                            DESCRIPTION OF REQUIRED KYC INFORMATION

          The DIP Agent will be afforded sufficient time before closing of the syndication and in advance of any
 monies being funded to the Escrow Account to complete customary know-your-customer and tax withholding
 analyses, confirmation of wiring instructions, and other related administrative matters, including:

     1.   Administrative Questionnaire attached as Annex III (Operations/Credit Contact & Wire Instructions)

     2.   Formation Documents

              a.   Limited Liability Company: Recorded Articles of Organization
              b.   Limited Partnership: Certificate of Limited Partnership
              c.   Corporation: Recorded Articles of Incorporation
              d.   Trust: Trust Agreement and Trustee Certificate

     3.   Tax Forms described in Annex V
Case 20-41308      Doc 228   Filed 04/01/20 Entered 04/01/20 23:45:34    Main Document
                                      Pg 536 of 1005                            Annex V to
                                                               Notice and Instruction Form

                         DESCRIPTION OF REQUIRED TAX FORMS

 Tax Form W-9 or W-8
Case 20-41308   Doc 228   Filed 04/01/20 Entered 04/01/20 23:45:34    Main Document
                                   Pg 537 of 1005                           Annex VI to
                                                            Notice and Instruction Form

                                DESIGNATION FORM

                                    [See attached]
Case 20-41308        Doc 228       Filed 04/01/20 Entered 04/01/20 23:45:34 Main Document
                                            Pg 538 of 1005
                                                                     EXECUTION VERSION

                                         DESIGNATION NOTICE

 Date:   __, 2020
 To:     Prime Clerk LLC, as Information Agent
         Cortland Capital Market Services LLC as Administrative Agent
 cc:     FORESIGHT ENERGY LLC
 Re:     Designation by [ELIGIBLE HOLDER] (the “Eligible Holder”) of [RELATED LENDER]
         (the “Designee”)
         Reference is made to the Notice and Instruction Form, dated March 23, 2020 (the “Notice and
 Instruction Form”), sent to Eligible Holders by Foresight Energy LLC, a Delaware limited liability
 company (the “Company”). Capitalized terms used and not otherwise defined herein have the meanings
 ascribed to them in the Notice and Instruction Form.
          This constitutes notice that the Eligible Holder is designating the Designee as a Related Lender
 entitled to participate as a DIP Lender in the DIP Facility, and therefore the Syndicated DIP Term Loans
 (up to the Designated Participation Amount, as defined below) shall be registered in the name of the
 Designee, subject to the Designee completing and executing the Subscription Documents (other than the
 Subscription Form, which shall be completed by the Eligible Holder) and this Designation Notice,
 delivering such documents to the Information Agent prior to the Subscription Document Deadline, and
 funding the Subscription Funding Amount to the Escrow Account prior to the Funding Deadline. The
 designation to the Designee as provided hereunder is subject in all respects to the Designee providing the
 administrative questionnaire, all know-your-customer information, tax forms, and other documents
 required by the DIP Agent (including the documents described in Annex IV of the Notice and Instruction
 Form) and the DIP Agent’s satisfactory review of such information and documents.
         The Eligible Holder represents and warrants that its Desired Participation Amount is $[●]. Eligible
 Holder hereby designates $[●] of its Desired Participation Amount (the “Designated Participation
 Amount”) to Designee (with the remaining allocated to Eligible Holder to the extent applicable). If the
 Eligible Holder is entitled to receive Roll-Up Loans on account of its Desired Participation Amount, the
 Eligible Holder designates $[●] of such Roll-Up Loans (the “Designated Roll-Up Amount”) to Designee
 (with the remaining allocated to Eligible Holder to the extent applicable). The Eligible Holder and the
 Designee acknowledge and agree that the Designee shall participate as a DIP Lender in the DIP Facility in
 the Designated Participation Amount and the Designated Roll-Up Amount.
          Furthermore, the Designee hereby confirms that, as of the date hereof, each of the representations
 set forth in the Notice and Instruction Form (including those set forth in the Subscription Form) are accurate
 as applied to the Designee in the place of the Eligible Holder. Designee hereby agrees to be bound by the
 terms of the Notice and Instruction Form (including those set forth in the Subscription Form) as though
 Designee were an Eligible Holder, including, without limitation, the obligations to (i) deliver completed
 and executed Subscription Documents (other than the Subscription Form) and this Designation Notice to
 the Information Agent prior to Subscription Document Deadline and (ii) fund the Subscription Funding
 Amount to the Escrow Account prior to the Funding Deadline.
          Designee further confirms that it is (i) either (A) “qualified institutional buyers,” as such term is
 defined in Rule 144A under the Securities Act of 1933, as amended (the “Securities Act”), or (B)
 institutional “accredited investors” within the meaning of Rule 501(a)(1), (2), (3) or (7) under the Securities
 Act (“IAIs”) or an entity in which all of the equity investors are IAIs, and (ii) an “Eligible Assignee” as
 defined in the DIP Credit Agreement.
                                           [Signature page follows]
Case 20-41308       Doc 228   Filed 04/01/20 Entered 04/01/20 23:45:34   Main Document
                                       Pg 539 of 1005


 Sincerely,

  [ELIGIBLE HOLDER]



  By:
        Name:
        Title:



  [DESIGNEE]



 By:
       Name:
       Title:


 Federal Tax I.D. No.:
                          (If Applicable)

 Facsimile Number:

 E-mail Address:

 Street Address:

 City, State, Zip Code:

 Telephone: ( )

 Date Completed:
Case 20-41308   Doc 228   Filed 04/01/20 Entered 04/01/20 23:45:34    Main Document
                                   Pg 540 of 1005                          Annex VII to
                                                            Notice and Instruction Form

                                 JOINDER TO RSA

                                    [See attached]
Case 20-41308       Doc 228     Filed 04/01/20 Entered 04/01/20 23:45:34             Main Document
                                         Pg 541 of 1005


                                           Form of Joinder



 The undersigned (“Joinder Party”) hereby acknowledges that it has read and understands the
 Restructuring Support Agreement, dated as of March 10, 2020 (the “Agreement”), 1 by and among
 Foresight Energy LP and its affiliates bound thereto and the Consenting Stakeholders and agrees
 to be bound by the terms and conditions thereof to the extent the other Parties are thereby bound,
 and shall be deemed a “Consenting Stakeholder” and, as applicable, a “Consenting First Lien
 Lender” and/or “Consenting Second Lien Noteholder” under the terms of the Agreement.

         1.     The Joinder Party specifically agrees to be bound by the terms and conditions of
 the Agreement and makes all representations and warranties contained therein as of the date of this
 joinder and any further date specified in the Agreement.

         2.     DIP Commitment Election. The Joinder Party hereby represents and warrants that
 it holds Company Claims/Interests in the amount set forth below, and hereby commits to provide
 a share of the DIP Facility up to the Joinder Party’s pro rata percentage of 46.375% of the DIP
 Facility (with respect to all Consenting First Lien Lenders) and/or 3.625% (with respect to all
 Consenting Second Lien Lenders), and otherwise on the terms and conditions agreed to in the
 Agreement and/or the DIP Credit Agreement, as applicable.
         3.      Representations and Warranties. The Joinder Party hereby represents and warrants
 to each other Party to the Agreement that, as of the date hereof, such Joinder Party (a) is the legal
 or beneficial holder of, and has all necessary authority (including authority to bind any other legal
 or beneficial holder) with respect to, the Company Claims/Interests identified below its name on
 the signature page hereof, and (b) makes, as of the date hereof, the representations and warranties
 set forth in Section 10 and Section 11 of the Agreement to each other Party.

        4.     Governing Law. This Joinder Agreement shall be governed by and construed in
 accordance with the internal laws of the State of New York without regard to any conflicts of law
 provisions which would require the application of the law of any other jurisdiction.

       5.     Notice. All notices and other communications given or made pursuant to the
 Agreement shall be sent to:

                To the Joinder Party at:

                [JOINING PARTY]
                [ADDRESS]
                Attn:
                Facsimile: [FAX]
                EMAIL:


 1
  Capitalized terms not used but not otherwise defined in this joinder shall have the meanings
 ascribed to such terms in the Agreement.

                      [Joinder to the FELP Restructuring Support Agreement]
Case 20-41308      Doc 228      Filed 04/01/20 Entered 04/01/20 23:45:34       Main Document
                                         Pg 542 of 1005




 Date Executed:

 [JOINDER PARTY]


 By:

       Name:

       Title:


 Address:


 E-mail address(es):



  Aggregate Amounts Beneficially Owned or Managed on Account of:
  First Lien Facility Claims (Principal Amount)
  Second Lien Notes Claims (Principal Amount)
  Subordinated LP Units
  Common LP Units
  IDRs




                       [Joinder to the FELP Restructuring Support Agreement]
Case 20-41308   Doc 228   Filed 04/01/20 Entered 04/01/20 23:45:34    Main Document
                                   Pg 543 of 1005                           Exhibit A to
                                                            Notice and Instruction Form

                              DIP CREDIT AGREEMENT

                                    [See attached]
Case 20-41308   Doc 228   Filed 04/01/20 Entered 04/01/20 23:45:34    Main Document
                                   Pg 544 of 1005


                                                                    Execution Version


                      SENIOR SECURED SUPERPRIORITY

        DEBTOR-IN-POSSESSION CREDIT AND GUARANTY AGREEMENT

                                      among
                           FORESIGHT ENERGY LLC,

                                   as Borrower,
 FORESIGHT ENERGY LP AND CERTAIN SUBSIDIARIES OF FORESIGHT ENERGY
                                LLC,
                            as Guarantors,
                 CORTLAND CAPITAL MARKET SERVICES LLC,
                    as Administrative Agent and Collateral Agent,
                                        and
                           The Other Lenders Party Hereto
                             Dated as of March 11, 2020




                                       44789.00001
Case 20-41308                   Doc 228              Filed 04/01/20 Entered 04/01/20 23:45:34                                               Main Document
                                                              Pg 545 of 1005


                                                             TABLE OF CONTENTS
  Section                                                                                                                                               Page
 ARTICLE I DEFINITIONS AND ACCOUNTING TERMS ....................................................................................... 1
       1.01    Defined Terms .................................................................................................................................. 1
       1.02    Other Interpretive Provisions .......................................................................................................... 29
       1.03    Accounting Terms. .......................................................................................................................... 30
       1.04    Times of Day................................................................................................................................... 30
       1.05    LLC Division .................................................................................................................................. 30
 ARTICLE II THE COMMITMENTS AND CREDIT EXTENSIONS ....................................................................... 30
       2.01    The Loans........................................................................................................................................ 30
       2.02    Borrowings, Conversions and Continuations of the Loans. ............................................................ 31
       2.03    [Reserved]. ...................................................................................................................................... 32
       2.04    [Reserved]. ...................................................................................................................................... 32
       2.05    Prepayments. ................................................................................................................................... 32
       2.06    [Reserved]. ...................................................................................................................................... 34
       2.07    Repayment of Loans ....................................................................................................................... 34
       2.08    Interest. ........................................................................................................................................... 34
       2.09    Fees ................................................................................................................................................. 34
       2.10    Computation of Interest and Fees. .................................................................................................. 35
       2.11    Evidence of Debt............................................................................................................................. 36
       2.12    Payments Generally; Administrative Agent’s Clawback. ............................................................... 36
       2.13    Pro Rata; Sharing of Payments by Lenders ..................................................................................... 37
       2.14    [Reserved]. ...................................................................................................................................... 38
       2.15    [Reserved]. ...................................................................................................................................... 38
       2.16    [Reserved]. ...................................................................................................................................... 38
       2.17    [Reserved]. ...................................................................................................................................... 38
       2.18    Defaulting Lenders.......................................................................................................................... 38
       2.19    Priority and Liens; No Discharge. ................................................................................................... 39
 ARTICLE III TAXES, YIELD PROTECTION AND ILLEGALITY ........................................................................ 40
       3.01    Taxes. .............................................................................................................................................. 41
       3.02    Illegality .......................................................................................................................................... 43
       3.03    Inability to Determine Rates ........................................................................................................... 43
       3.04    Increased Costs; Reserves on Eurocurrency Rate Loans. ............................................................... 44
       3.05    Compensation for Losses ................................................................................................................ 46
       3.06    Mitigation Obligations; Replacement of Lenders. .......................................................................... 46
       3.07    Survival ........................................................................................................................................... 46
 ARTICLE IV CONDITIONS PRECEDENT .............................................................................................................. 47
       4.01   Conditions Precedent to the Closing Date....................................................................................... 47
       4.02   Conditions Precedent to Each Term Loan....................................................................................... 49
 ARTICLE V REPRESENTATIONS AND WARRANTIES ...................................................................................... 49
       5.01   Existence, Qualification and Power ................................................................................................ 50
       5.02   Authorization; No Contravention .................................................................................................... 50
       5.03   Governmental Authorization ........................................................................................................... 50
       5.04   Binding Effect ................................................................................................................................. 50
       5.05   Financial Conditions; No Material Adverse Effect. ........................................................................ 50
       5.06   Litigation. ........................................................................................................................................ 51
       5.07   No Default ....................................................................................................................................... 51
       5.08   Ownership and Identification of Property. ...................................................................................... 51
       5.09   Environmental Compliance ............................................................................................................. 52
       5.10   Insurance. ........................................................................................................................................ 52
       5.11   Taxes ............................................................................................................................................... 52
       5.12   ERISA Compliance ......................................................................................................................... 53
       5.13   Subsidiaries ..................................................................................................................................... 53
Case 20-41308                   Doc 228               Filed 04/01/20 Entered 04/01/20 23:45:34                                                     Main Document
                                                               Pg 546 of 1005


             5.14         Margin Regulations; Investment Company Act. ............................................................................. 53
             5.15         Disclosure ....................................................................................................................................... 53
             5.16         Compliance with Laws.................................................................................................................... 53
             5.17         Anti-Corruption; Sanctions; Terrorism Laws.................................................................................. 53
             5.18         Intellectual Property; Licenses, Etc................................................................................................. 54
             5.19         Security Interest in Collateral.......................................................................................................... 54
             5.20         Mines .............................................................................................................................................. 54
             5.21         [Reserved]. ...................................................................................................................................... 54
             5.22         Labor Relations ............................................................................................................................... 54
             5.23         Bankruptcy Related Matters. ........................................................................................................... 55
 ARTICLE VI AFFIRMATIVE COVENANTS .......................................................................................................... 55
       6.01   Financial Statements ....................................................................................................................... 55
       6.02   Certificates; Other Information ....................................................................................................... 56
       6.03   Notices ............................................................................................................................................ 57
       6.04   Payment of Tax Obligations............................................................................................................ 58
       6.05   Preservation of Existence, Etc......................................................................................................... 58
       6.06   Maintenance of Properties. ............................................................................................................. 58
       6.07   Maintenance of Insurance. .............................................................................................................. 58
       6.08   Compliance with Laws.................................................................................................................... 58
       6.09   Books and Records.......................................................................................................................... 59
       6.10   Inspection Rights ............................................................................................................................ 59
       6.11   Use of Proceeds............................................................................................................................... 59
       6.12   Additional Guarantors ..................................................................................................................... 59
       6.13   [Reserved]. ...................................................................................................................................... 59
       6.14   Preparation of Environmental Reports ............................................................................................ 59
       6.15   Certain Long Term Liabilities and Environmental Reserves .......................................................... 59
       6.16   Covenant to Give Security. ............................................................................................................. 60
       6.17   [Reserved] ....................................................................................................................................... 61
       6.18   Post Closing Covenants .................................................................................................................. 61
       6.19   ERISA ............................................................................................................................................. 61
       6.20   Lender Calls .................................................................................................................................... 61
       6.21   First and Second Day Orders .......................................................................................................... 61
       6.22   Milestones ....................................................................................................................................... 62
       6.23   Bankruptcy Notices ......................................................................................................................... 62
       6.24   Bankruptcy Related Matters ............................................................................................................ 62
       6.25   Chief Executive Officer .................................................................................................................. 63
 ARTICLE VII NEGATIVE COVENANTS................................................................................................................ 63
       7.01    Liens................................................................................................................................................ 63
       7.02    Investments ..................................................................................................................................... 66
       7.03    Indebtedness.................................................................................................................................... 67
       7.04    Fundamental Changes ..................................................................................................................... 69
       7.05    Dispositions..................................................................................................................................... 70
       7.06    Restricted Payments ........................................................................................................................ 71
       7.07    Change in Nature of Business ......................................................................................................... 71
       7.08    Transactions with Affiliates ............................................................................................................ 72
       7.09    Permitted Activities of General Partner and Holdings .................................................................... 72
       7.10    Use of Proceeds............................................................................................................................... 72
       7.11    [Reserved]. ...................................................................................................................................... 72
       7.12    Burdensome Agreements ................................................................................................................ 73
       7.13    [Reserved]. ...................................................................................................................................... 74
       7.14    Maximum Capital Expenditure ....................................................................................................... 74
       7.15    Fiscal Year ...................................................................................................................................... 74
       7.16    Sale and Lease-Backs...................................................................................................................... 74
       7.17    Amendments or Waivers of Organizational Documents ................................................................. 74
       7.18    Budget Variance.............................................................................................................................. 74


                                                                                      ii
Case 20-41308                   Doc 228              Filed 04/01/20 Entered 04/01/20 23:45:34                                                    Main Document
                                                              Pg 547 of 1005


             7.19         Minimum Liquidity ......................................................................................................................... 75
             7.20         [Reserved ........................................................................................................................................ 75
             7.21         Additional Bankruptcy Matters ....................................................................................................... 75
 ARTICLE VIII EVENTS OF DEFAULT AND REMEDIES..................................................................................... 76
       8.01    Events of Default ............................................................................................................................ 76
       8.02    Remedies Upon Event of Default ................................................................................................... 79
       8.03    [Reserved]. ...................................................................................................................................... 80
       8.04    Application of Funds....................................................................................................................... 80
 ARTICLE IX AGENTS .............................................................................................................................................. 80
       9.01   Appointment and Authority ............................................................................................................ 81
       9.02   Rights as a Lender ........................................................................................................................... 81
       9.03   Exculpatory Provisions ................................................................................................................... 81
       9.04   Reliance by Agents ......................................................................................................................... 82
       9.05   Delegation of Duties ....................................................................................................................... 83
       9.06   Resignation of Agent ...................................................................................................................... 83
       9.07   Non-Reliance on Agents and Other Lenders................................................................................... 84
       9.08   No Other Duties, Etc ....................................................................................................................... 84
       9.09   [Reserved]. ...................................................................................................................................... 84
       9.10   Guaranty and Collateral Matters. .................................................................................................... 84
       9.11   Withholding Tax ............................................................................................................................. 85
       9.12   Concerning the Collateral and Related Loan Documents ............................................................... 85
       9.13   Survival ........................................................................................................................................... 85
 ARTICLE X MISCELLANEOUS .............................................................................................................................. 85
       10.01 Amendments, Etc ............................................................................................................................ 85
       10.02 Notices; Effectiveness; Electronic Communication. ....................................................................... 87
       10.03 No Waiver; Cumulative Remedies.................................................................................................. 88
       10.04 Expenses; Indemnity; Damage Waiver. .......................................................................................... 89
       10.05 Marshalling; Payments Set Aside ................................................................................................... 90
       10.06 Successors and Assigns. .................................................................................................................. 91
       10.07 Treatment of Certain Information; Confidentiality ......................................................................... 94
       10.08 Right of Setoff................................................................................................................................. 95
       10.09 Usury Savings Clause ..................................................................................................................... 95
       10.10 Counterparts; Integration ................................................................................................................ 95
       10.11 Survival of Representations, Warranties and Agreements .............................................................. 95
       10.12 Severability ..................................................................................................................................... 96
       10.13 Replacement of Lenders.................................................................................................................. 96
       10.14 Governing Law; Jurisdiction; Etc. .................................................................................................. 97
       10.15 Waiver of Jury Trial ........................................................................................................................ 97
       10.16 USA PATRIOT Act Notice ............................................................................................................ 98
       10.17 Time of the Essence ........................................................................................................................ 98
       10.18 [Reserved]. ...................................................................................................................................... 98
       10.19 No Advisory or Fiduciary Responsibility ....................................................................................... 98
       10.20 [Reserved] ....................................................................................................................................... 98
       10.21 Release of Liens and Release from Guaranty. ................................................................................ 98
       10.22 Independence of Covenants ............................................................................................................ 99
       10.23 Independent Nature of Lenders’ Rights .......................................................................................... 99
       10.24 Acknowledgment and Consent to Bail-In of EEA Financial Institutions...................................... 100
 ARTICLE XI GUARANTY ...................................................................................................................................... 100
       11.01 Guaranty of the Obligations .......................................................................................................... 100
       11.02 [Reserved] ..................................................................................................................................... 100
       11.03 Payment by Guarantors ................................................................................................................. 100
       11.04 Liability of Guarantors Absolute .................................................................................................. 100
       11.05 Waivers by Guarantors.................................................................................................................. 102
       11.06 Guarantors’ Rights of Subrogation, Contribution, Etc .................................................................. 102


                                                                                     iii
Case 20-41308      Doc 228              Filed 04/01/20 Entered 04/01/20 23:45:34                                               Main Document
                                                 Pg 548 of 1005


      11.07   Subordination of Other Obligations .............................................................................................. 103
      11.08   Continuing Guaranty ..................................................................................................................... 103
      11.09   Authority of Guarantors or Borrower............................................................................................ 103
      11.10   Financial Condition of Borrower .................................................................................................. 103




                                                                      iv
Case 20-41308     Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34     Main Document
                                          Pg 549 of 1005


 SCHEDULES

     1.01(a)   Guarantors
        2.01   Commitments, Roll-Up Loans, Applicable Percentages
        2.02   Backstop Commitments
     5.08(b)   Fee Owned Material Real Property
     5.08(c)   Leased Material Real Property
        5.09   Environmental Matters
        5.13   Subsidiaries
        5.18   Intellectual Property
        5.20   Mines
        6.18   Post Closing Covenants
        7.01   Existing Liens
        7.02   Existing Investments
        7.03   Existing Indebtedness
        7.05   Specified Dispositions
        7.08   Transactions with Affiliates
        7.12   Burdensome Agreements
       10.02   Administrative Agent’s Office; Certain Addresses for Notices

 EXHIBITS

                Form of:
                 A   Borrowing Notice
                 B   Collateral Questionnaire
               C-1   Term Loan Note
               C-2   Roll-Up Loan Note
                 D   Compliance Certificate
                 E   Assignment and Assumption
                 F   [Reserved]
                 G   [Reserved]
                 H   Critical Vendor Report
                  I  Monthly Mine-Level Financial Report
                 J   Monthly Consolidated Financial Report
                 K   Interim Order
                 L   [Reserved]
               M-1   U.S. Tax Compliance Certificate
               M-2   U.S. Tax Compliance Certificate
               M-3   U.S. Tax Compliance Certificate
               M-4   U.S. Tax Compliance Certificate




                                                     v
Case 20-41308          Doc 228       Filed 04/01/20 Entered 04/01/20 23:45:34                     Main Document
                                              Pg 550 of 1005


                                SENIOR SECURED SUPERPRIORITY
                    DEBTOR-IN-POSSESSION CREDIT AND GUARANTY AGREEMENT

          This SENIOR SECURED SUPERPRIORITY DEBTOR-IN-POSSESSION CREDIT AND GUARANTY
 AGREEMENT (as amended, supplemented or otherwise modified, the “Agreement”) is entered into as of March 11,
 2020, among FORESIGHT ENERGY LLC, a Delaware limited liability company, as a debtor and debtor-in-
 possession, as borrower (the “Borrower”), FORESIGHT ENERGY GP LLC, a Delaware limited liability company,
 as a debtor and debtor-in-possession (the “General Partner”), FORESIGHT ENERGY LP, a Delaware limited
 partnership, as a debtor and debtor-in-possession (“Holdings”), CERTAIN SUBSIDIARIES OF BORROWER, each
 as a debtor and debtor-in-possession, as Guarantors, each lender from time to time party hereto (collectively, the
 “Lenders” and, individually, a “Lender”) and Cortland Capital Market Services LLC, as Administrative Agent and
 Collateral Agent.

                                          PRELIMINARY STATEMENTS

          WHEREAS, on March 10, 2020 (the “Petition Date”), the General Partner, Holdings, the Borrower and
 certain Subsidiaries of Borrower (collectively, the “Debtors” and each individually, a “Debtor”) have commenced
 cases (the “Chapter 11 Cases”) under Chapter 11 of the Bankruptcy Code in the Bankruptcy Court (as defined below)
 and the Debtors have retained possession of their assets and are authorized under the Bankruptcy Code to continue
 the operations of their businesses as debtors-in-possession;

           WHEREAS, the Debtors have asked the Lenders to make post-petition term loans and provide other financial
 or credit accommodations to the Borrower, and the Lenders have agreed, subject to the conditions set forth herein, to
 extend a senior secured multi-draw credit facility to the Borrower with all of the obligations with respect to the
 foregoing to be guaranteed by each Guarantor; and

           WHEREAS, the Lenders have severally, and not jointly, agreed to extend such credit to the Borrower subject
 to the terms and conditions hereinafter set forth;

         NOW, THEREFORE, in consideration of the premises and the agreements, provisions and covenants herein
 contained, the parties hereto agree as follows:

          In consideration of the mutual covenants and agreements herein contained, the parties hereto covenant and
 agree as follows:

                                               ARTICLE I
                                  DEFINITIONS AND ACCOUNTING TERMS

          1.01    Defined Terms. As used in this Agreement, the following terms shall have the meanings set forth
 below:

         “Acceptable Plan” means a Reorganization Plan of the Debtors that is consistent with the Restructuring
 Support Agreement or otherwise satisfactory to the Required Lenders (as the same may be amended, supplemented,
 or modified from time to time after entry thereof with the consent of the Required Lenders).

          “Accounting Change” means changes in accounting principles after the Closing Date required by the
 promulgation of any rule, regulation, pronouncement or opinion by the Financial Accounting Standards Board or, if
 applicable, the SEC.

           “Acceptable Disclosure Statement” means the Disclosure Statement relating to the Acceptable Plan in form
 and substance satisfactory to the Required Lenders (as the same may be amended, supplemented, or modified from
 time to time after the initial filing thereof with the consent of the Required Lenders).

          “Administrative Agent” means Cortland Capital Market Services LLC, in its capacity as the administrative
 agent, together with its successors and assigns.



                                                          1
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                       Main Document
                                                Pg 551 of 1005


           “Administrative Agent’s Office” means the Administrative Agent’s address and, as appropriate, account as
 set forth on Schedule 10.02, or such other address or account as the Administrative Agent may from time to time
 notify to the Borrower and the Lenders.

         “Administrative Questionnaire” means an Administrative Questionnaire in a form supplied by the
 Administrative Agent.

          “Affiliate” means, with respect to any Person, another Person that directly, or indirectly through one or more
 intermediaries, Controls or is Controlled by or is under common Control with the Person specified.

          “Affiliated Lender” means any Lender that is an Affiliate of any Loan Party.

          “Agency Fee Letter” means a fee agreement separately agreed to by the Borrower and the Agents.

           “Agent Parties” has the meaning specified in Section 10.02(c).

          “Agents” means the Administrative Agent and the Collateral Agent.

          “Aggregate Commitments” means the Commitments of all of the Lenders.

          “Agreement” has the meaning specified in the introductory paragraph to this Agreement.

          “Anti-Corruption Laws” has the meaning specified in Section 5.17(c).

           “Applicable Percentage” means (i) (a) in respect of the Initial Term Loan Facility, with respect to any Term
 Lender at any time, the percentage (carried out to the tenth decimal place) of the aggregate principal amount of the
 Term Loan Facility represented by the principal amount of such Term Lender’s Initial Term Loan Commitment and/or
 Initial Term Loans outstanding at such time and (b) in respect of the Delayed Draw Term Loan Facility, with respect
 to any Term Lender at any time, the percentage (carried out to the tenth decimal place) of the aggregate principal
 amount of the Delayed Draw Term Loan Facility represented by the principal amount of such Term Lender’s Delayed
 Draw Term Loan Commitment and/or the Delayed Draw Term Loans outstanding at such time; provided that, if the
 commitment of each Term Lender to make Delayed Draw Term Loans have been terminated pursuant to Section 8.02,
 or if the Delayed Draw Term Loan Commitments have expired, then the Applicable Percentage of each Term Lender
 in respect of the Delayed Draw Term Loan Facility shall be determined based on the Applicable Percentage of such
 Lender in respect of the Delayed Draw Term Loan Facility most recently in effect, giving effect to any subsequent
 assignments, (ii) in respect of the Roll-Up Facility, with respect to any Roll-Up Lender, at any time, the percentage
 (carried out to the tenth decimal place) of the aggregate principal amount of the Roll-Up Facility represented by the
 principal amount of such Roll-Up Lender’s Roll-Up Loans at such time (the initial Applicable Percentage of each
 Roll-Up Lender as of the Closing Date in respect of the Roll-Up Facility is set forth on Schedule 2.01(a) and, thereafter,
 in the Assignment and Assumption pursuant to which such Lender becomes a party hereto, as applicable), and (iii)
 with respect to each Lender, the percentage (carried out to the tenth decimal place) of the aggregate principal amount
 of all Facilities represented by the principal amount of such Lender’s Loans and/or Commitment at such time.

           “Applicable Rate” means, in the case of any Loans, (i) 11.00% per annum for Eurocurrency Rate Loans and
 (ii) 10.00% per annum for Base Rate Loans.

          “Applicable Reserve Requirement” means, at any time, for any Eurocurrency Rate Loan, the maximum rate,
 expressed as a decimal, at which reserves (including any basic marginal, special, supplemental, emergency or other
 reserves) are required to be maintained with respect thereto against “Eurocurrency liabilities” (as such term is defined
 in Regulation D) under regulations issued from time to time by the Board of Governors or other applicable banking
 regulator. Without limiting the effect of the foregoing, the Applicable Reserve Requirement shall reflect any other
 reserves required to be maintained by such member banks with respect to (i) any category of liabilities which includes
 deposits by reference to which the applicable Eurocurrency Rate or any other interest rate of a Loan is to be
 determined, or (ii) any category of extensions of credit or other assets which include Eurocurrency Rate Loans. A
 Eurocurrency Rate Loan shall be deemed to constitute Eurocurrency liabilities and as such shall be deemed subject to



                                                             2
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                        Main Document
                                                Pg 552 of 1005


 reserve requirements without benefits of credit for proration, exceptions or offsets that may be available from time to
 time to the applicable Lender. The rate of interest on Eurocurrency Rate Loans shall be adjusted automatically on and
 as of the effective date of any change in the Applicable Reserve Requirement.

         “Approved Fund” means any Fund that is administered or managed by (a) a Lender, (b) an Affiliate of a
 Lender or (c) an entity or an Affiliate of an entity that administers or manages a Lender.

        “Assignee Group” means two or more Eligible Assignees that are Affiliates of one another or two or more
 Approved Funds managed by the same investment advisor.

          “Assignment and Assumption” means an assignment and assumption entered into by a Lender and an Eligible
 Assignee (with the consent of any party whose consent is required by Section 10.06(b), and accepted by the
 Administrative Agent) in substantially the form of Exhibit E (with such modifications as are necessary to reflect any
 effective amendment, amendment and restatement or other modification of this Agreement at the time of delivery
 thereof) or any other form approved by the Administrative Agent, in accordance with Section 10.06(b).

          “Attributable Indebtedness” means, on any date, in respect of any Capital Lease Obligations of any Person,
 the capitalized amount thereof that would appear on a balance sheet of such Person prepared as of such date in
 accordance with GAAP.

          “Automatic Rejection Date” means with respect to any particular lease, the last day of the assumption period
 for the Loan Parties in the Chapter 11 Cases provided for in Section 365(d)(4) of the Bankruptcy Code, to the extent
 applicable (including as may have been extended in accordance with Section 365(d)(4) of the Bankruptcy Code).

          “Avoidance Action” has the meaning specified in Section 5.23(c).

        “Backstop Commitment” means, with respect to any Backstop Lender, the commitment to provide loans in
 an amount set forth opposite its name on Schedule 2.02.

          “Backstop Commitment Agreement” means “Backstop Commitment Agreement” as defined in the
 Restructuring Support Agreement.

           “Backstop Lenders” means the Lenders listed on Schedule 2.02 (collectively, on behalf of themselves or
 certain (i) of their affiliates or their affiliated investment funds, or (ii) investment funds, accounts, vehicles or other
 entities that are managed, advised or sub-advised by a member of the Backstop Lenders or their affiliate).

          “Bail-In Action” means the exercise of any Write-Down and Conversion Powers by the applicable EEA
 Resolution Authority in respect of any liability of an EEA Financial Institution.

         “Bail-In Legislation” means, with respect to any EEA Member Country implementing Article 55 of Directive
 2014/59/EU of the European Parliament and of the Council of the European Union, the implementing law for such
 EEA Member Country from time to time which is described in the EU Bail-In Legislation Schedule.

           “Bankruptcy Code” means Title 11 of the United States Code entitled “Bankruptcy,” as now and hereafter in
 effect, or any successor thereto.

          “Bankruptcy Court” means the United States Bankruptcy Court for the Eastern District of Missouri, or any
 other court having jurisdiction over the Chapter 11 Cases from time to time.

           “Base Rate” means for any day a fluctuating rate per annum equal to the highest of (a) the Federal Funds
 Rate plus 0.50%, (b) the Eurocurrency Rate (after giving effect to any Eurocurrency Rate “floor”) that would be
 payable on such day for a Eurocurrency Rate Loan with a one month Interest Period plus 1%, and (c) the Prime Rate
 in effect on such day. Any change in the Base Rate due to a change in the Prime Rate or the Federal Funds Rate shall
 be effective on the effective day of such change in the Prime Rate or the Federal Funds Rate, respectively. In no
 event, notwithstanding the rate determined pursuant to the foregoing, shall the Base Rate be less than 2.00%.



                                                             3
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                         Main Document
                                                Pg 553 of 1005


          “Base Rate Loan” means any Loan that bears interest based on the Base Rate.

          “Beneficiary” means each Agent and Lender.

            “Board of Directors” means, (a) with respect to the Borrower, the board of directors of the General Partner
 and (b) with respect to any other Person, (i) if the Person is a corporation, the board of directors of the corporation,
 (ii) if the Person is a partnership, the board of directors of the general partner of the partnership and (iii) with respect
 to any other Person, the board, committee or other group or entity of such Person serving a similar function.

          “Borrower” has the meaning specified in the introductory paragraph hereto.

          “Borrower Materials” has the meaning specified in Section 6.02.

         “Borrowing” means a borrowing consisting of Term Loans of the same Type and, in the case of Eurocurrency
 Rate Loans, having the same Interest Period.

          “Borrowing Notice” means a written notice of a Borrowing in the form of Exhibit A attached hereto.

            “Budget Variance Report” means a weekly variance report, commencing with a variance report for the one
 week period following the Closing Date, the two week period following the Closing Date, the three week period
 following the Closing Date and the four week period following the Closing Date, and thereafter a weekly variance
 report for the one week period following the most recently delivered Cash Flow Forecast, the two week period
 following the most recently delivered Cash Flow Forecast, the three week period following the most recently delivered
 Cash Flow Forecast and the four week period following the most recently delivered Cash Flow Forecast, with the
 report for each week in a four week period including an individual report for such week and a cumulative report to
 date for such four week period (each such one week, two week, three week or four week cumulative period, a
 “Reporting Period”), in each case, setting forth for the applicable Reporting Period ended on the immediately
 preceding Friday prior to the delivery thereof (1) the negative variance (as compared to the applicable Cash Flow
 Forecast and the DIP Budget) of the operating cash receipts (on a line item by line item basis and an aggregate basis
 for all line items) of the Debtors for the applicable Reporting Period and for the last week of the applicable Reporting
 Period, (2) the positive variance (as compared to the applicable Cash Flow Forecast and the DIP Budget) of the
 disbursements (on a line item by line item basis and an aggregate basis for all line items) made by the Debtors set
 forth under “MEC Affiliate Disbursements” in the Cash Flow Forecast (including, without limitation, any payments
 pursuant to the Management Services Agreement) for the applicable Reporting Period and for the last week of the
 applicable Reporting Period, (3) the positive variance (as compared to the applicable Cash Flow Forecast and the DIP
 Budget) of the total disbursements (on a line item by line item basis and an aggregate basis for all line items) (excluding
 professional fees, interest payments and disbursements made by the Debtors set forth under “MEC Affiliate
 Disbursements” in the Cash Flow Forecast (including, without limitation, any payments pursuant to the Management
 Services Agreement)) made by the Debtors for the applicable Reporting Period and for the last week of the applicable
 Reporting Period and (4) an explanation, in reasonable detail, for any material negative variance (in the case of
 receipts) or material positive variance (in the case of disbursements) set forth in such variance report, certified by a
 Responsible Officer of the Borrower.

           “Building” means a Building as defined in 12 CFR Chapter III, Section 339.2.

          “Business” has the meaning specified in Section 5.09(b).

          “Business Day” means (i) any day excluding Saturday, Sunday and any day on which banking institutions
 located in the State of New York are authorized or required by Law or other governmental action to close and (ii) with
 respect to all notices, determinations, fundings and payments in connection with the Eurocurrency Rate or any
 Eurocurrency Rate Loans, the term “Business Day” means any day which is a Business Day described in clause (i)
 and which is also a day for trading by and between banks in Dollar deposits in the London interbank market.

         “Capital Expenditures” means, for any Person for any period, the sum of, without duplication, all
 expenditures made by such Person during such period that, in accordance with GAAP as in effect on March 28, 2017,



                                                              4
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                         Main Document
                                                Pg 554 of 1005


 are or should be included in “purchase of property and equipment” or similar items, or which should otherwise be
 capitalized, reflected in the statement of cash flows of such Person; provided that Capital Expenditures shall not
 include any expenditure for replacements and substitutions for fixed assets, capital assets or equipment to the extent
 made with Net Insurance/Condemnation Proceeds invested pursuant to Section 2.05(h) or with Net Proceeds invested
 pursuant to Section 2.05(e) or the substantially concurrent trade-in of existing equipment (solely to the extent of the
 value of the trade-in).

          “Capital Lease” means, with respect to any Person, any lease of any property, which in conformity with
 GAAP as in effect on March 28, 2017, is required to be capitalized on the balance sheet of such Person; provided that
 the obligations of the Borrower or its Subsidiaries, or of a special purpose or other entity not consolidated with the
 Borrower and its Subsidiaries, either existing on the date hereof or created thereafter that (a) initially were not included
 on the consolidated balance sheet of the Borrower as a Capital Lease and were subsequently recharacterized as a
 Capital Lease or, in the case of such a special purpose or other entity becoming consolidated with the Borrower and
 its Subsidiaries were required to be characterized as a Capital Lease upon such consolidation, in either case, due to a
 change in accounting treatment or otherwise, or (b) did not exist on the date hereof and were required to be
 characterized as a Capital Lease but would not have been required to be treated as capital lease obligations on the date
 hereof had they existed at that time, shall for all purposes not be treated as a Capital Lease, Capital Lease Obligations
 or Indebtedness.

            “Capital Lease Obligations” means, with respect to any Person as of any date of determination, the aggregate
 liability of such Person under Capital Leases reflected on a balance sheet of such Person under GAAP as in effect on
 March 28, 2017; provided that the obligations of the Borrower or its Subsidiaries, or of a special purpose or other
 entity not consolidated with the Borrower and its Subsidiaries, either existing on the date hereof or created thereafter
 that (a) initially were not included on the consolidated balance sheet of the Borrower as a capital lease obligations and
 were subsequently recharacterized as capital lease obligations or, in the case of such a special purpose or other entity
 becoming consolidated with the Borrower and its Subsidiaries were required to be characterized as capital lease
 obligations upon such consolidation, in either case, due to a change in accounting treatment or otherwise, or (b) did
 not exist on the date hereof and were required to be characterized as capital lease obligations but would not have been
 required to be treated as capital lease obligations on the date hereof had they existed at that time, shall for all purposes
 not be treated as Capital Leases, Capital Lease Obligations or Indebtedness.

          “Capital Stock” means (a) in the case of a corporation, corporate stock, (b) in the case of an association or
 business entity, any and all shares, interests, participations rights or other equivalents (however designated) of
 corporate stock, (c) in the case of a partnership or limited liability company, partnership interests (whether general or
 limited) or membership interests, and (d) any other interest or participation that confers on a Person the right to receive
 a share of the profits and losses of, or distributions of assets of, the issuing Person, but excluding from all of the
 foregoing any debt securities convertible into Capital Stock, whether or not such debt securities include any right of
 participation with Capital Stock.

          “Carve Out” means the Carve Out as defined in the Interim Order or the Final Order, as applicable.

          “Cash Equivalents” means

          (a)       U.S. Government Obligations or certificates representing an ownership interest in U.S. Government
                    Obligations with maturities not exceeding two years from the date of acquisition,

          (b)       (i) demand deposits, (ii) time deposits and certificates of deposit with maturities of two years or less
                    from the date of acquisition, (iii) bankers’ acceptances with maturities not exceeding two years from
                    the date of acquisition, and (iv) overnight bank deposits, in each case with any bank or trust company
                    organized or licensed under the Laws of the United States or any state thereof (including any branch
                    of a foreign bank licensed under any such Laws) having capital, surplus and undivided profits in
                    excess of $250,000,000 (or the foreign currency equivalent thereof) whose short-term debt is rated
                    A-2 or higher by S&P or P-2 or higher by Moody’s,

          (c)       commercial paper maturing within 364 days from the date of acquisition thereof and having, at such
                    date of acquisition, ratings of at least A-1 by S&P or P-1 by Moody’s,


                                                              5
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                       Main Document
                                                Pg 555 of 1005


          (d)      readily marketable direct obligations issued by any state, commonwealth or territory of the U.S. or
                   any political subdivision thereof, in each case rated at least A-1 by S&P or P-1 by Moody’s with
                   maturities not exceeding one year from the date of acquisition,

          (e)      bonds, debentures, notes or other obligations with maturities not exceeding two years from the date
                   of acquisition issued by any corporation, partnership, limited liability company or similar entity
                   whose long-term unsecured debt has a credit rating of A2 or better by Moody’s and A or better by
                   S&P;

          (f)      investment funds at least 95% of the assets of which consist of investments of the type described in
                   clauses (a) through (e) above (determined without regard to the maturity and duration limits for such
                   investments set forth in such clauses, provided that the weighted average maturity of all investments
                   held by any such fund is two years or less),

          (g)      fully collateralized repurchase agreements with a term of not more than 30 days for securities
                   described in clause (a) above and entered into with a financial institution satisfying the criteria
                   described in clause (b) above and

          (h)      in the case of a Subsidiary that is a Foreign Subsidiary, substantially similar investments, of
                   comparable credit quality, denominated in the currency of any jurisdiction in which such Person
                   conducts business.

          “Cash Flow Forecast” means a projected statement of sources and uses of cash for the Loan Parties, prepared
 in accordance with Section 6.01(d), for the current and following 13 calendar weeks (but not any preceding weeks),
 including the anticipated uses of the proceeds of any Borrowing for each week during such period. As used herein,
 “Cash Flow Forecast” shall initially refer to the 13-week cash flow forecast most recently delivered on or prior to the
 Petition Date and, thereafter, the most recent Cash Flow Forecast delivered by the Borrower in accordance with
 Section 6.01(d).

          “Cash Management Agreement” has the meaning specified in the definition of “Cash Management
 Obligations”.

         “Cash Management Motion” means the Debtors’ Motion for Entry of Interim and Final Orders (A)
 Authorizing Continued Use of the Debtors’ Existing Cash Management System; (B) Authorizing Use of Existing
 Bank Accounts And Business Forms; (C) Granting a Limited Waiver of Requirements of Section 345(B) of the
 Bankruptcy Code; (D) Authorizing Continuation of Ordinary Course Intercompany Transactions; (E) Granting
 Administrative Expense Priority Status to Postpetition Intercompany Claims; and (F) Granting Related Relief Docket
 No.4.

           “Cash Management Obligations” means any and all obligations of the Borrower or any Subsidiary arising
 out of (a) the execution or processing of electronic transfers of funds by automated clearing house transfer, wire
 transfer or otherwise to or from the deposit accounts of the Borrower and/or any Subsidiary now or hereafter
 maintained with any financial institution or affiliate thereof, (b) the acceptance for deposit or the honoring for payment
 of any check, draft or other item with respect to any such deposit accounts, (c) any other treasury, deposit,
 disbursement, overdraft, and cash management services afforded to the Borrower or any Subsidiary by any such
 financial institution or affiliate thereof, and (d) stored value card, commercial credit card and merchant card services
 (any agreement to provide services described in clause (a), (b), (c) and/or (d), a “Cash Management Agreement”) or
 otherwise arising under a Cash Management Obligations.

           “Change in Law” means the occurrence, after the date of this Agreement, of any of the following: (a) the
 adoption or taking effect of any law, rule, regulation or treaty, (b) any change in any law, rule, regulation or treaty or
 in the administration, interpretation or application thereof by any Governmental Authority or (c) the making or
 issuance of any request or directive (whether or not having the force of law) by any Governmental Authority required
 to be complied with by any Lender. For purposes of this definition, (x) the Dodd-Frank Act and any rules, regulations,
 orders, requests, guidelines and directives adopted, promulgated or implemented in connection therewith, and (y) all



                                                             6
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                        Main Document
                                                Pg 556 of 1005


 requests, rules, guidelines or directives promulgated by the Bank for International Settlements, the Basel Committee
 on Banking Supervision (or any successor or similar authority) or the United States regulatory authorities, in each
 case pursuant to Basel III, shall in each case be deemed to have been adopted, issued, promulgated or implemented
 after the Closing Date, but shall be included as a Change in Law only to the extent a Lender is imposing applicable
 increased costs or costs in connection with capital adequacy and other requirements similar to those described in
 Sections 3.04(a) and 3.04(b) generally on other similarly situated borrowers of loans under United States credit
 facilities.

          “Change of Control” means

           (a)     the first day on which (i) 100% of the outstanding Capital Stock of Borrower ceases to be owned
 directly by Holdings, (ii) the direct or indirect sale, lease, transfer, conveyance or other disposition (other than by way
 of merger of consolidation), in one or a series of related transactions, of all or substantially all of the properties or
 assets of the Borrower and its Subsidiaries, taken as a whole, to any Person (including any “person” (as that term is
 used in Section 13(d)(3) of the Exchange Act)), or (iii) the adoption of a plan relating to the liquidation or dissolution
 of the Borrower; or

         (b)       the Borrower becomes aware (by way of a report or any other filings pursuant to Section 13(d) of
 the Exchange Act, proxy, vote, written notice or otherwise) that any “person” or “group” (as such terms are used for
 purposes of Sections 13(d) and 14(d) of the Exchange Act), other than any of the Permitted Holders, is or becomes
 the “beneficial owner” (as such term is used in Rule 13d-3 under the Exchange Act), directly or indirectly, of more
 than 50% of the total voting power of the Voting Stock of the Borrower or the General Partner.

          “Chapter 11 Cases” shall have the meaning assigned to such term in the recitals to this Agreement.

          “Closing Date” means the date on which all the conditions precedent in Section 4.01 are satisfied or waived
 in accordance with Section 10.01 and the Initial Term Loans are made.

          “Coal Liens” means:

           (1)      Liens incurred in the ordinary course of business on any specific coal producing property or any
 interest therein, construction thereon or improvement thereto to secure all or any part of the costs incurred for
 surveying, exploration, drilling, extraction, development, operation, production, construction, alteration, repair or
 improvement of, in, under or on such property and the plugging and abandonment of coal mines located thereon (it
 being understood that costs incurred for “development” shall include costs incurred for all facilities relating to such
 coal producing properties or to projects, ventures or other arrangements of which such properties form a part or which
 relate to such coal producing properties or interests) as long as such Liens do not secure obligations for the payment
 of borrowed money or other Indebtedness;

          (2)      Liens incurred in the ordinary course of business on a coal producing property to secure obligations
 incurred or guarantees of obligations incurred in connection with or necessarily incidental to commitments for the
 purchase or sale of, or the transportation or distribution of, the products derived from such coal producing property as
 long as such Liens do not secure obligations for the payment of borrowed money or other Indebtedness;

          (3)       Liens arising in the ordinary course of business under partnership agreements, coal leases,
 overriding royalty agreements, joint operating agreements or similar agreements, net profits agreements, production
 payment agreements, royalty trust agreements, incentive compensation programs on terms that are reasonably
 customary in the coal business for geologists, geophysicists and other providers of technical services to any of the
 Borrower or any of its Subsidiaries, master limited partnership agreements, farm-out agreements, farm-in agreements,
 division orders, contracts for the sale, purchase, exchange, transportation, gathering or processing of coal, unitizations
 and pooling designations, declarations, orders and agreements, development agreements, operating agreements,
 production sales contracts, area of mutual interest agreements, gas balancing or deferred production agreements,
 injection, repressuring and recycling agreements, salt water or other disposal agreements, seismic or geophysical
 permits or agreements, and other agreements which are customary in the coal business as long as such Liens do not




                                                             7
Case 20-41308          Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                        Main Document
                                               Pg 557 of 1005


 secure obligations for the payment of borrowed money or other Indebtedness and attach solely to the proceeds of sales
 of the products derived from such coal producing property; and

          (4)      Liens pursuant to contract mining agreements and leases granted in the ordinary course of business
 to others that do not interfere with the ordinary conduct of business of the Borrower or its Subsidiaries and do not
 secure obligations for the payment of borrowed money or other Indebtedness.

         “Code” means the Internal Revenue Code of 1986, as amended from time to time (unless as indicated
 otherwise).

           “Collateral” means, collectively, (i) all of the real, personal and mixed property and assets (including Equity
 Interests) in which Liens are purported to be granted pursuant to the Security Documents as security for all or any part
 of the Obligations (subject to exceptions contained in the Security Documents), in each case excluding any Excluded
 Assets, and (ii) “DIP Collateral” or words of similar intent, as defined in any Order.

          “Collateral Agent” means Cortland Capital Market Services LLC, in its capacity as the collateral agent,
 together with its successors and assigns.

          “Collateral Questionnaire” means a certificate in the form of Exhibit B that provides information with respect
 to the personal or mixed property of each Loan Party.

          “Commitment” means, with respect to any Lender, such Lender’s (i) Initial Term Loan Commitment and/or
 (ii) Delayed Draw Term Loan Commitment, as the context shall require.

         “Commodity Exchange Act” means the Commodity Exchange Act (7 U.S.C. § 1 et seq.), as amended and
 any successor statute.

         “Compliance Certificate” means a certificate substantially in the form of Exhibit D (with such modifications
 as are necessary to reflect any effective amendment, amendment and restatement or other modification of this
 Agreement at the time of delivery thereof).

         “Consenting First Lien Lender” means “Consenting First Lien Lender” as defined in the Restructuring
 Support Agreement.

        “Connection Income Taxes” means Other Connection Taxes that are imposed on or measured by net income
 (however denominated) or that are franchise Taxes or branch profits Taxes.

          “Contract” has the meaning specified in the definition of Excluded Assets.

          “Contractual Obligation” means, as to any Person, any provision of any security issued by such Person or of
 any agreement, instrument or other undertaking to which such Person is a party or by which it or any of its property
 is bound.

         “Control” means the possession, directly or indirectly, of the power to direct or cause the direction of the
 management or policies of a Person, whether through the ability to exercise voting power, by contract or otherwise.
 “Controlling” and “Controlled” have meanings correlative thereto.

          “Controlled Subsidiary” means, with respect to any consent, waiver or right to terminate or accelerate the
 obligations under a Contract, any Subsidiary that the Borrower directly or indirectly Controls for purposes of the
 provision of such consent, waiver or exercise of such right to terminate or accelerate the obligations under such
 Contract.

          “Credit Extension” means the making of a Loan.




                                                            8
Case 20-41308           Doc 228         Filed 04/01/20 Entered 04/01/20 23:45:34                         Main Document
                                                 Pg 558 of 1005


           “Critical Vendor Report” means a report, in a form acceptable to the Financial Advisor (it being agreed that
 the form previously provided to the Financial Advisor prior to the Closing Date is acceptable), describing in reasonable
 detail the matter set forth in Exhibit H.

           “Debtor Relief Laws” means (i) the Bankruptcy Code, (ii) any domestic or foreign law relating to liquidation,
 conservatorship, bankruptcy, assignment for the benefit of creditors, moratorium, rearrangement, receivership,
 insolvency, reorganization, or similar debtor relief Laws of the United States or other applicable jurisdictions from
 time to time in effect and affecting the rights of creditors generally, and (iii) any order made by a court of competent
 jurisdiction in respect of any of the foregoing.

          “Debtors” shall have the meaning assigned to such term in the recitals to this Agreement.

          “Declined Proceeds” has the meaning specified in Section 2.05(l).

           “Default” means any event or condition that constitutes an Event of Default or that, with the giving of any
 notice, the passage of time, or both, would be an Event of Default.

           “Default Rate” means, with respect to Obligations, an interest rate equal to (i) the Base Rate plus (ii) the
 Applicable Rate applicable to Base Rate Loans, plus (iii) 2% per annum; provided, however, that with respect to a
 Eurocurrency Rate Loan, the Default Rate shall be an interest rate equal to (i) the Eurocurrency Rate otherwise
 applicable to such Eurocurrency Rate Loan plus (ii) the Applicable Rate applicable to Eurocurrency Rate Loans plus
 (iii) 2% per annum.

           “Defaulting Lender” means, subject to the last paragraph of Section 2.18, any Lender that (a) has failed to (i)
 fund all or any portion of its Loans within two Business Days of the date such Loans were required to be funded
 hereunder unless such Lender notifies the Administrative Agent and the Borrower in writing that such failure is the
 result of such Lender’s determination that one or more conditions precedent to funding (each of which conditions
 precedent, together with any applicable default, shall be specifically identified in such writing) has not been satisfied,
 or (ii) pay to any Agent, or any other Lender any other amount required to be paid by it hereunder within two Business
 Days of the date when due, (b) has notified the Borrower and the Administrative Agent in writing that it does not
 intend to comply with its funding obligations hereunder, or has made a public statement to that effect (unless such
 writing or public statement relates to such Lender’s obligation to fund a Loan hereunder and states that such position
 is based on such Lender’s determination that a condition precedent to funding (which condition precedent, together
 with any applicable default, shall be specifically identified in such writing or public statement) cannot be satisfied),
 (c) has failed, within three Business Days after written request by the Administrative Agent or the Borrower, to
 confirm in writing to the Administrative Agent and the Borrower that it will comply with its prospective funding
 obligations hereunder (provided that such Lender shall cease to be a Defaulting Lender pursuant to this clause (c)
 upon receipt of such written confirmation by the Administrative Agent and the Borrower), or (d) has, or has a direct
 or indirect parent company that has, (i) become the subject of a proceeding under any Debtor Relief Law, (ii) had
 appointed for it a receiver, custodian, conservator, trustee, administrator, assignee for the benefit of creditors or similar
 Person charged with reorganization or liquidation of its business or assets, including the Federal Deposit Insurance
 Corporation or any other state or federal regulatory authority acting in such a capacity or (iii) become the subject of a
 Bail-In Action; provided that a Lender shall not be a Defaulting Lender solely by virtue of the ownership or acquisition
 of any equity interest in that Lender or any direct or indirect parent company thereof by a Governmental Authority so
 long as such ownership interest does not result in or provide such Lender with immunity from the jurisdiction of courts
 within the United States or from the enforcement of judgments or writs of attachment on its assets or permit such
 Lender (or such Governmental Authority) to reject, repudiate, disavow or disaffirm any contracts or agreements made
 with such Lender. Any determination by the Administrative Agent that a Lender is a Defaulting Lender under any
 one or more of clauses (a) through (d) above, and of the effective date of such status, shall be conclusive and binding
 absent manifest error, and such Lender shall be deemed to be a Defaulting Lender (subject to the last paragraph of
 Section 2.18) as of the date established therefor by the Administrative Agent in a written notice of such determination
 to the Borrower and each other Lender promptly following such determination.

           “Delayed Draw Funding Date” means the date on which all the conditions precedent in Section 4.02 are
 satisfied or waived in accordance with Section 10.01 and the Delayed Draw Term Loans are made.



                                                              9
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                         Main Document
                                                Pg 559 of 1005


         “Delayed Draw Term Lender” means any Term Lender holding Delayed Draw Term Loan Commitment
 and/or Delayed Draw Term Loans.

          “Delayed Draw Term Loan” has the meaning set forth in Section 2.01(a).

          “Delayed Draw Term Loan Commitment” means, as to each Lender, its obligation to make Delayed Draw
 Term Loans to the Borrower pursuant to Section 2.01(b) in an aggregate principal amount at any one time outstanding
 not to exceed the amount set forth opposite such Lender’s name on Schedule 2.01 under the caption “Delayed Draw
 Term Loan Commitment” or opposite such caption in the Assignment and Assumption pursuant to which such Lender
 becomes a party hereto, as applicable, as such amount may be adjusted from time to time in accordance with this
 Agreement. The aggregate amount of Delayed Draw Term Loan Commitments as of the Closing Date is $45,000,000.

          “Delayed Draw Term Loan Commitment Fee” has the meaning set forth in Section 2.09(e).

          “Delayed Draw Term Loan Facility” means, at any time (a) prior to the funding of the Delayed Draw Term
 Loans on the Delayed Draw Funding Date, the aggregate Delayed Draw Term Loan Commitments at such time and
 (b) on and after the funding of the Delayed Draw Term Loans on the Delayed Draw Funding Date, the aggregate
 principal amount of the Delayed Draw Term Loans of all Lenders outstanding at such time.

          “Designated Letters of Credit” means letters of credit issued in the ordinary course of business with respect
 to Mine reclamation, workers’ compensation and other employee benefit liabilities.

          “DIP Budget” has the meaning specified in Section 4.01(g).

          “DIP Collateral” means the “DIP Collateral” as defined in the Orders.

        “Direct Debt Placement” means “Direct Debt Placement” as defined in the Restructuring Support
 Agreement.

          “Disclosure Statement” means “Disclosure Statement” as defined in the Restructuring Support Agreement.

          “Disposition” or “Dispose” means the sale, transfer or other disposition of any assets by any Person outside
 the ordinary course of business, including by means of a merger, consolidation or similar transaction and including
 any sale or issuance of the Equity Interests of any Subsidiary.

           “Disqualified Equity Interest” means Equity Interests that by their terms (or by the terms of any security into
 which such Equity Interests are convertible, or for which such Equity Interests are exchangeable, in each case at the
 option of the holder thereof) or upon the happening of any event (i) mature or are mandatorily redeemable, pursuant
 to a sinking fund obligation or otherwise, or are required to be redeemed or redeemable at the option of the holder for
 consideration other than Qualified Equity Interests, or (ii) are convertible at the option of the holder into Disqualified
 Equity Interests or exchangeable for Indebtedness, in each case of clauses (i) and (ii) prior to the date that is 91 days
 after the Stated Maturity Date hereunder, except, in the case of clauses (i) and (ii), if as a result of a change of control
 or asset sale, so long as the relevant provisions specifically state that such repurchase, payment or redemption upon
 the occurrence of such a change of control or asset sale event is subject to the prior payment in full of all Obligations
 and the termination of Commitments.

           “Disqualified Institution” means (i) any banks, financial institutions and institutional investors and
 competitors of the Borrower identified by the Borrower to the Administrative Agent by name in writing from time to
 time on or prior to the Petition Date or as the Borrower and the Administrative Agent shall from time to time mutually
 agree after such date, (ii) any affiliates of the foregoing that are (A) identified by the Borrower from time to time in
 writing or (B) readily identifiable solely on the basis of similarity of their names; provided that (x) “Disqualified
 Institutions” shall not include any bona fide diversified debt fund or a diversified investment vehicle that is engaged
 in the making, purchasing, holding or otherwise investing in, acquiring or trading commercial loans, bonds and similar
 extensions of credit in the ordinary course; (y) the Administrative Agent shall not have any responsibility for
 monitoring compliance with any provisions of this Agreement with respect to Disqualified Institutions and (z) updates



                                                             10
Case 20-41308           Doc 228       Filed 04/01/20 Entered 04/01/20 23:45:34                        Main Document
                                               Pg 560 of 1005


 to the Disqualified Institution schedule shall not retroactively invalidate or otherwise affect any (1) assignments or
 participations made to, (2) any trades entered into with or (3) information provided to any Person before it was
 designated as a Disqualified Institution. A schedule of the Disqualified Institutions shall be made available on the
 Closing Date (and updated from time to time) by the Borrower to all Lenders by delivering such schedule (and such
 updates) to the Administrative Agent; provided, that any additional Person identified pursuant to an updated schedule
 shall not be deemed a Disqualified Institution until such time as such update to the schedule is provided to the Lenders.

           “Disqualified Stock” means Capital Stock constituting Disqualified Equity Interests.

         “Dodd-Frank Act” means the Dodd—Frank Wall Street Reform and Consumer Protection Act (Pub.L. 111-
 203, H.R. 4173) signed into law on July 21, 2010, as amended from time to time.

           “Dollar” and “$” mean lawful money of the United States.

          “Domestic Subsidiary” means any Subsidiary that is organized under the Laws of the United States or any
 State thereof or the District of Columbia.

           “EEA Financial Institution” means (a) any credit institution or investment firm established in any EEA
 Member Country which is subject to the supervision of an EEA Resolution Authority, (b) any entity established in an
 EEA Member Country which is a parent of an institution described in clause (a) of this definition, or (c) any financial
 institution established in an EEA Member Country which is a subsidiary of an institution described in clauses (a) or
 (b) of this definition and is subject to consolidated supervision with its parent.

           “EEA Member Country” means any of the member states of the European Union, Iceland, Liechtenstein, and
 Norway.

         “EEA Resolution Authority” means any public administrative authority or any Person entrusted with public
 administrative authority of any EEA Member Country (including any delegee) having responsibility for the resolution
 of any EEA Financial Institution.

          “Eligible Assignee” means (i) a Lender, (ii) an Affiliate of a Lender and (iii) an Approved Fund (any two or
 more Approved Funds being treated as a single Eligible Assignee for all purposes hereof), and (iv) any other Person
 (other than a natural person) approved by (x) the Borrower unless an Event of Default has occurred and is continuing
 (such approval not to be unreasonably withheld or delayed); provided that the Borrower shall be deemed to have
 approved an assignment of Loans to a Person pursuant to this clause (iv) unless it shall have objected thereto by written
 notice to the Administrative Agent within three (3) Business Days after having received notice thereof and (y) the
 Administrative Agent; provided, that no Defaulting Lender, Disqualified Institution, any Loan Party or Affiliated
 Lender shall be an Eligible Assignee.

           “Environmental Laws” means any and all applicable current and future federal, state, local and foreign
 statutes, laws, regulations, ordinances, rules, judgments, orders, decrees, permits, concessions, grants, franchises,
 licenses, agreements or other governmental restrictions or common law causes of action relating to (a) protection of
 the environment or to emissions, discharges, releases or threatened releases of pollutants, contaminants, chemicals, or
 industrial, toxic or hazardous substances or wastes into the environment including ambient air, surface, water, ground
 water, or land, (b) human health as affected by Hazardous Materials, and (c) mining operations and activities to the
 extent relating to environmental protection or reclamation, including the Surface Mining Control and Reclamation
 Act, provided that “Environmental Laws” do not include any Laws relating to worker or retiree benefits, including
 benefits arising out of occupational diseases.

           “Environmental Liability” means any liability, contingent or otherwise (including any liability for damages,
 costs of environmental remediation, fines, penalties or indemnities), directly or indirectly resulting from or based upon
 (a) violation of any Environmental Law, (b) the generation, use, handling, transportation, storage, treatment or disposal
 of any Hazardous Materials, (c) exposure to any Hazardous Materials, (d) the release or threatened release of any
 Hazardous Materials into the environment or (e) any contract, agreement or other consensual arrangement pursuant to
 which liability is assumed or imposed with respect to any of the foregoing.



                                                            11
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                        Main Document
                                                Pg 561 of 1005


          “Environmental Permits” means any and all permits, licenses, registrations, notifications, exemptions and
 any other authorization required under any applicable Environmental Law.

           “Equity Interests” means, with respect to any Person, all of the shares of Capital Stock of (or other ownership
 or profit interests in) such Person, all of the warrants, options or other rights for the purchase or acquisition from such
 Person of shares of Capital Stock of (or other ownership or profit interests in) such Person, and all of the other
 ownership or profit interests in such Person (including partnership, member or trust interests therein), whether voting
 or nonvoting, and whether or not such shares, warrants, options, rights or other interests are outstanding on any date
 of determination (but excluding any debt security that is convertible into, or exchangeable for, Equity Interests).

          “Exchange Act” means the Securities Exchange Act of 1934, as amended.

           “ERISA” means the Employee Retirement Income Security Act of 1974, as the same may be amended from
 time to time, the regulations promulgated thereunder and any successor statute.

          “ERISA Affiliate” means any trade or business (whether or not incorporated) under common control with
 the Borrower within the meaning of Section 414(b) or (c) of the Code (and Sections 414(m) and (o) of the Code for
 purposes of provisions relating to Section 412 of the Code).

           “ERISA Event” means (a) a Reportable Event with respect to a Pension Plan; (b) the failure to meet the
 minimum funding standards of Sections 412 or 430 of the Code or Sections 302 or 303 of ERISA with respect to any
 Pension Plan (whether or not waived in accordance with Section 412(c) of the Code or Section 302(c) of ERISA) or
 the failure to make by its due date a required installment under Section 430(j) of the Code with respect to any Pension
 Plan or the failure to make any required contribution to a Multiemployer Plan; (c) a determination that any Pension
 Plan is, or is expected to be, in “at risk” status (as defined in Section 430 of the Code or Section 303 of ERISA); (d) a
 determination that any Multiemployer Plan is, or is expected to be, in “critical” or “endangered” status under Section
 432 of the Code or Section 305 of ERISA; (e) a withdrawal by the Borrower or any ERISA Affiliate from a Pension
 Plan subject to Section 4063 of ERISA during a plan year in which it was a substantial employer (as defined in Section
 4001(a)(2) of ERISA) or a cessation of operations that is treated as such a withdrawal under Section 4062(e) of ERISA;
 (f) a complete or partial withdrawal by the Borrower or any ERISA Affiliate from a Multiemployer Plan or notification
 that a Multiemployer Plan is in reorganization; (g) the filing of a notice of intent to terminate, the treatment of a Plan
 amendment as a termination under Section 4041 or 4041A of ERISA, or the commencement of proceedings by the
 PBGC to terminate a Pension Plan or Multiemployer Plan; (h) an event or condition which constitutes grounds under
 Section 4042 of ERISA for the termination of, or the appointment of a trustee to administer, any Pension Plan or
 Multiemployer Plan; (i) the imposition of any liability under Title IV of ERISA, other than for PBGC premiums due
 but not delinquent under Section 4007 of ERISA, upon the Borrower or any ERISA Affiliate; (j) receipt from the IRS
 of notice of the failure of any Pension Plan (or any other Plan intended to be qualified under Section 401(a) of the
 Code) to qualify under Section 401(a) of the Code, or the failure of any trust forming part of any Pension Plan to
 qualify for exemption from taxation under Section 501(a) of the Code; (k) the imposition of a Lien pursuant to Section
 430(k) of the Code or Section 303(k) of ERISA or a violation of Section 436 of the Code with respect to any Pension
 Plan; or (l) the occurrence of any Foreign Plan Event.

          “EU Bail-In Legislation Schedule” means the EU Bail-In Legislation Schedule published by the Loan Market
 Association (or any successor Person), as in effect from time to time.

           “Eurocurrency Rate” means, for any Interest Rate Determination Date with respect to an Interest Period for
 a Eurocurrency Rate Loan, the rate per annum obtained by dividing (i) (a) the rate per annum equal to the rate
 determined by the Administrative Agent, to be the London interbank offered rate administered by the ICE Benchmark
 Administration (or any other person which takes over the administration of that rate) for deposits (for delivery on the
 first day of such period) with a term equivalent to such period in Dollars displayed on the ICE LIBOR USD page of
 the Bloomberg Screen (or any replacement page which displays that rate) or on the appropriate page of such other
 information service which publishes that rate from time to time in place of Bloomberg, determined as of approximately
 11:00 a.m. (London, England time) on such Interest Rate Determination Date, (b) in the event the rate referenced in
 the preceding clause (a) is not available, the rate per annum based on a substitute index reasonably selected by the
 Administrative Agent for Dollar deposits comparable to the principal amount of the applicable Loan for which the
 Eurocurrency Rate is then being determined with maturities comparable to such period as of approximately 11:00 a.m.


                                                             12
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                        Main Document
                                                Pg 562 of 1005


 (London, England time) on such Interest Rate Determination Date, or (c) in the event that such rate is not ascertainable
 pursuant to the preceding clauses (a) or (b), the “Eurocurrency Rate” shall be the rate per annum determined by the
 Administrative Agent to be the average of the rates per annum at which deposits in Dollars are offered for such relevant
 Interest Period to major banks in the London interbank market in London, England at approximately 11:00 a.m.
 (London time) on the date that is two Business Days prior to the beginning of such Interest Period, by (ii) an amount
 equal to (a) one minus (b) the Applicable Reserve Requirement. In no event, notwithstanding the rate determined
 pursuant to the foregoing, shall the Eurocurrency Rate be less than 1.00%.

          “Eurocurrency Rate Loan” means a Loan that bears interest at a rate based on the Eurocurrency Rate.

          “Event of Default” has the meaning specified in Section 8.01.

          “Excess Proceeds” has the meaning specified in Section 2.05(e).

          “Excluded Assets” means

          (a)       (i) those assets over which the pledging or granting of a security interest in such assets (x) would be
 prohibited by any applicable law (other than any organizational document), rule or regulation (except to the extent
 such prohibition is unenforceable after giving effect to applicable anti-assignment provisions of the UCC, other than
 proceeds thereof, the assignment of which is expressly deemed effective under the UCC notwithstanding such
 prohibitions), (y) would be prohibited by, or cause a default under or result in a breach, violation or invalidation of,
 any lease, license or other written agreement or written obligation (each, a “Contract”) to which such assets are subject,
 or would give another Person (other than the Borrower or any Controlled Subsidiary) a right to terminate or accelerate
 the obligations under such Contract or to obtain a Lien to secure obligations owing to such Person (other than the
 Borrower or any Controlled Subsidiary) under such Contract (but only to the extent such assets are subject to such
 Contract and such Contract is not entered into for purposes of circumventing or avoiding the collateral requirements
 of the indenture), unless the Borrower or any Guarantor may unilaterally waive it (in each case, except to the extent
 any such prohibition is unenforceable after giving effect to applicable anti-assignment provisions of the UCC) or (z)
 would require obtaining the consent, approval, license or authorization of any Person (other than the Borrower or any
 Guarantor) or applicable Governmental Authority, except to the extent that such consent, approval, license or
 authorization has already been obtained, and (ii) any Contract or any property or other asset subject to Liens securing
 a purchase money security interest, Capital Lease Obligation or similar arrangement or sale and leaseback transaction
 to the extent that a grant of a security interest therein requires the consent of any Person (other than the Borrower or
 any Controlled Subsidiary) as a condition to the creating of another security interest, would violate or invalidate such
 Contract or purchase money, capital lease or similar arrangement or create a right of termination in favor of any other
 party thereto (other than the Borrower or a Controlled Subsidiary) after giving effect to the applicable anti-assignment
 provisions of the UCC), other than proceeds and receivables thereof, the assignment of which is expressly deemed
 effective under the Uniform Commercial Code notwithstanding such prohibition; provided, however, that the
 Collateral shall include (and such security interest shall attach) (x) immediately at such time as the contractual or legal
 prohibition shall no longer be applicable, (y) immediately at such time as such contractual or legal prohibition would
 be unenforceable due to applicable Debtor Relief Laws and (z) to the extent severable, immediately at such time to
 any portion of such lease, license, contract or agreement not subject to the prohibitions specified above;

         (b)     any “intent-to-use” application for registration of a trademark filed pursuant to Section 1(b) of the
 Lanham Act, 15 U.S.C. § 1051, prior to the filing and acceptance of a “Statement of Use” pursuant to Section 1(d) of
 the Lanham Act or an “Amendment to Allege Use” pursuant to Section 1(c) of the Lanham Act with respect thereto,
 and

           (c)      (i) margin stock, and (ii) any Equity Interests in any Subsidiary that is not a Wholly Owned Domestic
 Subsidiary (provided, that such term shall not include any FSHCO) by the Borrower or any Subsidiary or in a Joint
 Venture, if the granting of a security interest therein (A) would be prohibited by, cause a default under or result in a
 breach of, or would give another Person (other than the Borrower or any Controlled Subsidiary) a right to terminate,
 under any Organizational Document, shareholders, joint venture or similar agreement applicable to such Subsidiary
 or Joint Venture, or (B) would require obtaining the consent of any Person (other than the Borrower or any Controlled
 Subsidiary); provided, however, that the Collateral shall include (and such security interest shall attach) (x)
 immediately at such time as any such contractual limitations shall no longer be applicable, (y) immediately at such


                                                             13
Case 20-41308          Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                       Main Document
                                               Pg 563 of 1005


 time as such contractual limitations would be unenforceable due to applicable Debtor Relief Laws and (z) to the extent
 severable, immediately at such time to any portion of any Equity Interests not subject to the limitations specified
 above;

 provided that the Collateral shall include the replacements, substitutions and proceeds of any of the foregoing unless
 such replacements, substitutions or proceeds also constitute Excluded Assets.

           “Excluded Taxes” means any of the following Taxes imposed on or with respect to a Recipient or required
 to be withheld or deducted from a payment to a Recipient, (a) Taxes imposed on or measured by net income (however
 denominated), franchise Taxes, and branch profits Taxes, in each case, (i) imposed as a result of such Recipient being
 organized under the Laws of, or having its principal office or, in the case of any Lender, its applicable lending office
 located in, the jurisdiction imposing such Tax (or any political subdivision thereof) or (ii) that are Other Connection
 Taxes, (b) in the case of a Lender, U.S. federal withholding Taxes imposed on amounts payable to or for the account
 of such Lender with respect to an applicable interest in a Loan or Commitment pursuant to a Law in effect on the date
 on which (i) such Lender acquires such interest in the Loan or Commitment (other than pursuant to an assignment
 request by the Borrower under Section 10.13) or (ii) such Lender changes its lending office, except in each case to the
 extent that, pursuant to Section 3.01, amounts with respect to such Taxes were payable either to such Lender’s assignor
 immediately before such Lender became a party hereto or to such Lender immediately before it changed its lending
 office, (c) Taxes attributable to such Recipient’s failure or inability to comply with Section 3.01(e) and (d) any Taxes
 imposed under FATCA.

          “Facility” means any Term Loan Facility and the Roll-Up Facility.

           “FATCA” means Sections 1471 through 1474 of the Code, as of the date of this Agreement (or any amended
 or successor version that is substantively comparable and not materially more onerous to comply with), any current
 or future regulations or official interpretations thereof, any agreements entered into pursuant to Section 1471(b)(1) of
 the Code and any fiscal or regulatory legislation, rules or practices adopted pursuant to any intergovernmental
 agreement, treaty, or convention among Governmental Authorities and implementing such Sections of the Code.

          “Federal Funds Rate” means, for any day, the rate per annum equal to the weighted average of the rates on
 overnight Federal funds transactions with members of the Federal Reserve System on such day, as published by the
 Federal Reserve Bank of New York on the Business Day next succeeding such day; provided that (a) if such day is
 not a Business Day, the Federal Funds Rate for such day shall be such rate on such transactions on the next preceding
 Business Day as so published on the next succeeding Business Day, and (b) if no such rate is so published on such
 next succeeding Business Day, the Federal Funds Rate for such day shall be the average rate (rounded upward, if
 necessary, to a whole multiple of 1/100 of 1%) received from three federal funds brokers on such day on such
 transactions as determined by the Administrative Agent.

          “Final Order” means, collectively, the order of the Bankruptcy Court entered in the Chapter 11 Cases after a
 final hearing under Bankruptcy Rule 4001(c)(2) or such other procedures as approved by the Bankruptcy Court, which
 order shall be in the form of the Interim Order (with only such modifications thereto as are necessary to convert the
 Interim Order to a final order and such other modifications as are satisfactory to the Required Lenders (and with
 respect to modifications to the rights and duties of any Agent, such Agent)), and from which no appeal or motion to
 reconsider has been timely filed, or if timely filed, such appeal or motion to reconsider has been dismissed or denied
 with no further appeal and the time for filing such appeal has passed (unless the Required Lenders waive such
 requirement), together with all extensions, modifications, and amendments thereto, in form and substance satisfactory
 to the Required Lenders.

          “Final Order Entry Date” means the date on which the Final Order is entered by the Bankruptcy Court.

          “Financial Advisor” means, collectively, Lazard and Perella Weinberg Partners L.P., in their capacities as
 financial advisors to certain Backstop Lenders.

       “Flood Certificate” means a “Standard Flood Hazard Determination Form” of the Federal Emergency
 Management Agency and any successor Governmental Authority performing a similar function.



                                                           14
Case 20-41308          Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                       Main Document
                                               Pg 564 of 1005


          “Flood Hazard Property” means any Real Property that constitutes Collateral in favor of Collateral Agent,
 for the benefit of Secured Parties, with buildings or mobile homes located in a Flood Zone.

          “Flood Program” means the National Flood Insurance Program created by the U.S. Congress pursuant to the
 National Flood Insurance Act of 1968, the Flood Disaster Protection Act of 1973, the National Flood Insurance Reform
 Act of 1994 and the Flood Insurance Reform Act of 2004, in each case as amended from time to time, and any
 successor statutes.

          “Flood Zone” means areas having special flood hazards as described in the National Flood Insurance Act of
 1968, as amended from time to time, and any successor statute.

          “Foreign Lender” means any Lender that is not a “United States Person” as defined in Section 7701 (a)(30)
 of the Code.

          “Foreign Plan” means any employee benefit plan, program, policy, arrangement or agreement maintained or
 contributed to by any Loan Party or any of their respective Subsidiaries with respect to employees employed outside
 the United States and paid through a non-United States payroll.

           “Foreign Plan Event” means, with respect to any Foreign Plan, (a) the existence of unfunded liabilities in
 excess of the amount permitted under any applicable law, or in excess of the amount that would be permitted absent
 a waiver from a Governmental Authority, (b) the failure to make the required contributions or payments, under any
 applicable law, within the time permitted by Law for such contributions or payments, (c) the receipt of a notice from
 a Governmental Authority relating to the intention to terminate any such Foreign Plan or to appoint a trustee or similar
 official to administer any such Foreign Plan, or alleging the insolvency of any such Foreign Plan, (d) the incurrence
 of any liability by any Loan Party under applicable law on account of the complete or partial termination of such
 Foreign Plan or the complete or partial withdrawal of any participating employer therein, in each case, which could
 reasonably be expected to have a Material Adverse Effect, or (e) the occurrence of any transaction with respect to a
 Foreign Plan that is prohibited under any applicable law and that could reasonably be expected to result in the
 incurrence of any liability by any Loan Party, or the imposition on any Loan Party of any fine, excise tax or penalty
 with respect to a Foreign Plan resulting from any noncompliance with any applicable law, in each case which could
 reasonably be expected to have a Material Adverse Effect.

         “Foreign Subsidiary” means a Subsidiary that is organized under the laws of a jurisdiction other than the
 United States or any State thereof or the District of Columbia and any Subsidiary thereof.

          “Four-Week Test Period” means, at any time, the four-week period ended on the immediately preceding
 Friday; provided that only periods ending on the fourth Friday following the Closing Date and each fourth Friday
 thereafter shall constitute Four-Week Test Periods.

          “FRB” means the Board of Governors of the Federal Reserve System of the United States.

         “FSHCO” means any Domestic Subsidiary that has no material assets other than Equity Interests of (x) a
 Foreign Subsidiary or (y) any other FSHCO.

          “Fund” means any Person (other than a natural person) that is (or will be) engaged in making, purchasing,
 holding or otherwise investing in commercial loans and similar extensions of credit in the ordinary course of its
 business.

          “Funded Debt” means, with respect to any specified Person, any indebtedness of such Person (excluding
 accrued expenses and trade payables), whether or not contingent, (i) in respect of borrowed money or advances or (ii)
 evidenced by loan agreements, bonds, notes or debentures or similar instruments or letters of credit (solely to the
 extent such letters of credit or other similar instruments have been drawn and remain unreimbursed) or, without
 duplication, reimbursement agreements in respect thereof.




                                                           15
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                       Main Document
                                                Pg 565 of 1005


          “GAAP” means generally accepted accounting principles in the United States, which are applicable to the
 circumstances as of the date of determination. The sources of accounting principles and the framework for selecting
 the principles used in the preparation of financial statements of nongovernmental entities that are presented in
 conformity with GAAP in the United States, are set forth in the Financial Accounting Standards Board’s Accounting
 Standards Codification.

          “General Partner” has the meaning specified in the introductory paragraph hereto, or any successor general
 partner of Holdings.

          “Governmental Authority” means the government of the United States or any other nation, or any political
 subdivision thereof, whether state or local, and any agency, authority, instrumentality, regulatory body, court, central
 bank or other entity exercising executive, legislative, judicial, taxing, regulatory or administrative powers or functions
 of or pertaining to government (including any supra-national bodies such as the European Union or the European
 Central Bank).

          “Guarantee” means, as to any Person (the “guaranteeing person”), any obligation of (a) the guaranteeing
 person or (b) another Person (including, without limitation, any bank under any letter of credit) to the extent the
 guaranteeing person has issued a reimbursement, counterindemnity or similar obligation in order to induce the creation
 of such obligation, in either case guaranteeing or in effect guaranteeing any Indebtedness, leases, dividends or other
 obligations (the “primary obligations”) of any other third Person (the “primary obligor”) in any manner, whether
 directly or indirectly, including, without limitation, reimbursement obligations under letters of credit and any
 obligation of the guaranteeing person, whether or not contingent, (i) to purchase any such primary obligation or any
 property constituting direct or indirect security therefor, (ii) to advance or supply funds (A) for the purchase or
 payment of any such primary obligation or (B) to maintain working capital or equity capital of the primary obligor or
 otherwise to maintain the net worth or solvency of the primary obligor, (iii) to purchase property, securities or services
 primarily for the purpose of assuring the owner of any such primary obligation of the ability of the primary obligor to
 make payment of such primary obligation or (iv) otherwise to assure or hold harmless the owner of any such primary
 obligation against loss in respect thereof; provided, however, that the term Guarantee obligation shall not include (i)
 indemnification or reimbursement obligations under or in respect of Surety Bonds or Designated Letters of Credit, (ii)
 ordinary course performance guarantees by any Loan Party of the obligations (other than for the payment of borrowed
 money) of any other Loan Party and (iii) endorsements of instruments for deposit or collection in the ordinary course
 of business. The amount of any Guarantee obligation of any guaranteeing person shall be deemed to be the lower of
 (a) an amount equal to the stated or determinable amount of the primary obligation in respect of which such Guarantee
 obligation is made and (b) the maximum amount for which such guaranteeing person may be liable pursuant to the
 terms of the instrument embodying such Guarantee obligation, unless such primary obligation and the maximum
 amount for which such guaranteeing person may be liable are not stated or determinable, in which case the amount of
 such Guarantee obligation shall be such guaranteeing person’s maximum reasonably anticipated liability in respect
 thereof as determined by the Borrower in good faith. The term “Guarantee” as a verb has a corresponding meaning.

          “Guaranteed Obligations” has the meaning specified in Section 11.01.

          “Guarantors” means each of the General Partner, Holdings and any Subsidiary that is a Wholly Owned
 Domestic Subsidiary; provided, that such term shall not include any FSHCO. As of the Closing Date, each of the
 Debtors (other than the Borrower) is a Guarantor. For the avoidance of doubt, no Foreign Subsidiary now owned or
 hereafter formed or acquired shall be a Guarantor.

          “Guaranty” means the guaranty of each Guarantor set forth in Article XI.

          “Hazardous Materials” means (i) any explosive or radioactive substances or wastes and (ii) any hazardous or
 toxic substances, materials or wastes, defined or regulated as such in or under, or that could reasonably be expected
 to give rise to liability under, any applicable Environmental Law, including, without limitation, asbestos,
 polychlorinated biphenyls, urea-formaldehyde insulation, gasoline or petroleum (including crude oil or any fraction
 thereof) or petroleum products or any coal ash, coal combustion by-products or waste, boiler slag, scrubber residue or
 flue desulphurization residue.




                                                            16
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                        Main Document
                                                Pg 566 of 1005


           “Hedging Agreement” means any and all rate swap transactions, basis swaps, credit derivative transactions,
 forward rate transactions, commodity swaps, commodity options, forward commodity contracts, equity or equity index
 swaps or options, bond or bond price or bond index swaps or options or forward bond or forward bond price or forward
 bond index transactions, interest rate options, forward foreign exchange transactions, cap transactions, floor
 transactions, collar transactions, currency swap transactions, cross-currency rate swap transactions, currency options,
 spot contracts, or any other similar transactions or any combination of any of the foregoing (including any options to
 enter into any of the foregoing), whether or not any such transaction is governed by or subject to any master agreement
 (regardless of whether such agreement or instrument is classified as a “derivative” pursuant to FASB ASC Topic No.
 815 and required to be marked-to-market) and any other agreements or arrangements designed to manage interest rates
 or interest rate risk and other agreements or arrangements designed to protect such Person against fluctuations in
 currency exchange rates or commodity prices.

          For the avoidance of doubt, Hedging Agreements do not include coal sales contracts requiring the delivery
 of coal that is priced pursuant to an established index created for the purposes of establishing a market price for the
 underlying commodity.

           “Hedging Termination Value” means, in respect of any one or more Hedging Agreement, after taking into
 account the effect of any valid netting agreement relating to such Hedging Agreements, (a) for any date on or after the
 date such Hedging Agreements have been closed out and termination value(s) determined in accordance therewith,
 such termination value(s), and (b) for any date prior to the date referenced in clause (a), the amount(s) determined as
 the mark- to-market value(s) for such Hedging Agreements, as determined based upon one or more mid-market or
 other readily available quotations provided by any recognized dealer in such Hedging Agreements (which may include
 a Lender, an Agent or any Affiliate of a Lender or an Agent) (it being understood that any such termination values
 and marked-to-market values shall take into account any assets posted as collateral or security for the benefit of a
 party to the Hedging Agreement).

          “Highest Lawful Rate” means the maximum lawful interest rate, if any, that at any time or from time to time
 may be contracted for, charged, or received under the laws applicable to any Lender which are presently in effect or,
 to the extent allowed by law, under such applicable laws which may hereafter be in effect and which allow a higher
 maximum nonusurious interest rate than applicable laws now allow.

          “Historical Financial Statements” means as of the Closing Date, (i) the audited financial statements of
 Borrower and its Subsidiaries for the immediately preceding three fiscal years, consisting of balance sheets and the
 related consolidated statements of income, stockholders’ equity and cash flows for such fiscal years, (ii) the unaudited
 financial statements of Borrower and its Subsidiaries for each of the first three fiscal quarters ended after the date of
 the most recent audited financial statements and at least 45 days prior to the Closing Date, consisting of a balance
 sheet and the related consolidated statements of income, stockholders’ equity and cash flows for the three-, six- or
 nine-month period, as applicable, ending on such date.

         “Holdings” has the meaning specified in the introductory paragraph hereto and includes any successor to
 Holdings as contemplated by Section 7.09.

           “Huntington Cash Management Obligations” all of Huntington National Bank’s customary service charges,
 overdraft and returned item fees, transfer fees, account maintenance fees, reasonable and documented legal fees, and
 expenses relating to any account under any account agreements, including without limitation the prepetition and post-
 petition Bank Fees (as defined in the Cash Management Motion) and any chargebacks or other amounts owing to the
 Huntington National Bank from (i) any checks or other items or receipts deposited in any account are returned unpaid
 or otherwise dishonored for any reason, (ii) any overdrafts on any account, (iii) any automated clearing house, wire
 transfer or other electronic entries for deposit into any account that are returned or otherwise dishonored, or (iv) claims
 of breach of the UCC’s transfer or presentment warranties made against Huntington National Bank in connection with
 items deposited to any account.

          “Increased Amount” has the meaning specified in Section 7.03.

         “Incur” means, with respect to any Indebtedness, to incur, create, issue, assume or Guarantee such
 Indebtedness.


                                                             17
Case 20-41308          Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                        Main Document
                                               Pg 567 of 1005


          “Indebtedness” means, as to any Person, without duplication:

          (a)      all indebtedness of such Person for borrowed money;

           (b)     all obligations of such Person evidenced by bonds, debentures, notes or other similar instruments
 (other than any obligations in respect of performance bonds, bid bonds, appeal bonds, surety bonds, reclamation bonds
 and completion guarantees, bank guarantees and similar obligations under any Mining Law or Environmental Law or
 with respect to worker’s compensation benefits);

         (c)       all obligations of such Person arising under letters of credit, bankers’ acceptances or other similar
 instruments (solely to the extent such letters of credit, bankers’ acceptances or other similar instruments have been
 drawn and remain unreimbursed);

          (d)      all obligations of such Person to pay the deferred purchase price of property or services;

          (e)      the Attributable Indebtedness of such Person in respect of Capital Leases;

          (f)      all Indebtedness of other Persons Guaranteed by such Person to the extent so Guaranteed;

         (g)       all Indebtedness of other Persons secured by a Lien on any asset of such Person, whether or not such
 Indebtedness is assumed by such Person; and

          (h)      all obligations of such Person under Hedging Agreements;

 if and to the extent any of the preceding items (other than Guarantees referred to in clause (e)) would appear as a
 liability upon a balance sheet of the specified Person prepared in accordance with GAAP;

 provided that in no event shall Indebtedness include (i) asset retirement obligations, (ii) obligations (other than
 obligations with respect to Indebtedness for borrowed money or other Funded Debt) related to surface rights under an
 agreement for the acquisition of surface rights for the production of coal reserves in the ordinary course of business
 in a manner consistent with historical practice of the Borrower and its Subsidiaries, (iii) obligations under coal
 purchase and sale contracts, (iv) trade accounts payable and accrued expenses incurred in the ordinary course of
 business, (v) obligations under federal coal leases, (vi) obligations under coal leases which may be terminated at the
 discretion of the lessee, (vii) obligations for take-or-pay arrangements or (viii) royalties, the dedication of reserves
 under supply agreements or similar rights or interests granted, taken subject to, or otherwise imposed on properties
 consistent with customary practices in the mining industry.

          The amount of any obligation under any Hedging Agreement on any date shall be deemed to be the Hedging
 Termination Value thereof as of such date. The amount of any Indebtedness issued with original issue discount shall
 be deemed to be the face amount of such Indebtedness less the remaining unamortized portion of the original issue
 discount of such Indebtedness. The amount of any Indebtedness secured by a Lien on an asset of such Person but not
 otherwise the obligation, contingent or otherwise of such Person, shall be deemed to be the lesser of (x) the fair market
 value (as reasonably determined by the Borrower in good faith)of such asset on the date the Lien attached as
 determined in good faith by the Borrower and (y) the amount of such Indebtedness. The amount of any other
 Indebtedness shall be the outstanding principal amount thereof.

         “Indemnified Taxes” means (a) Taxes, other than Excluded Taxes, imposed on or with respect to any payment
 made by or on account of any obligation of any Loan Party under any Loan Document and (b) to the extent not
 otherwise described in (a), Other Taxes.

          “Indemnitees” has the meaning specified in Section 10.04(b).

          “Information” has the meaning specified in Section 10.07.

          “Initial Term Lender” means any Term Lender holding Initial Term Loans.



                                                            18
Case 20-41308          Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                       Main Document
                                               Pg 568 of 1005


          “Initial Term Loan” has the meaning set forth in Section 2.01(a).

          “Initial Term Loan Commitment” means, as to each Lender, its obligation to make Initial Term Loans to the
 Borrower pursuant to Section 2.01(a) in an aggregate principal amount at any one time outstanding not to exceed the
 amount set forth opposite such Lender’s name on Schedule 2.01 under the caption “Initial Term Loan Commitment”
 or opposite such caption in the Assignment and Assumption pursuant to which such Lender becomes a party hereto,
 as applicable, as such amount may be adjusted from time to time in accordance with this Agreement. The aggregate
 amount of Initial Term Loan Commitments as of the Closing Date is $55,000,000.

           “Initial Term Loan Facility” means, at any time (a) prior to the funding of the Initial Term Loans on the
 Closing Date, the aggregate Initial Term Loan Commitments at such time and (b) on and after the funding of the Initial
 Term Loans on the Closing Date, the aggregate principal amount of the Initial Term Loans of all Lenders outstanding
 at such time.

          “Interest Payment Date” means, (a) as to any Eurocurrency Rate Loan, the last day of each Interest Period
 applicable to such Loan and the Maturity Date (or, if sooner, the date on which the Obligations become due and
 payable pursuant to Section 8.02), and (b) as to any Base Rate Loan, the last Business Day of each March, June,
 September and December and the Maturity Date.

          “Interest Period” means, as to each Eurocurrency Rate Loan, the period commencing on the date such
 Eurocurrency Rate Loan is disbursed or converted to or continued as a Eurocurrency Rate Loan and ending on the
 date one month thereafter; provided that:

                           (i)       any Interest Period that would otherwise end on a day that is not a Business Day
          shall be extended to the next succeeding Business Day unless such Business Day falls in another calendar
          month, in which case such Interest Period shall end on the immediately preceding Business Day;

                             (ii)      any Interest Period that begins on the last Business Day of a calendar month (or
          on a day for which there is no numerically corresponding day in the calendar month at the end of such Interest
          Period) shall, subject to clause (iii) below, end on the last Business Day of a calendar month; and

                            (iii)    with respect to each Facility, no Interest Period shall extend beyond its applicable
          Maturity Date.

         “Interest Rate Determination Date” means, with respect to any Interest Period, the date that is two Business
 Days prior to the first day of such Interest Period.

          “Interim Order” means the order of the Bankruptcy Court entered in the Chapter 11 Cases after an interim
 hearing (assuming satisfaction of the standard prescribed in Bankruptcy Rule 4001 and other applicable law)
 substantially in the form of Exhibit K hereto or otherwise in form and substance satisfactory to the Required Lenders
 (and with respect to the rights and duties of each Agent, such Agent), which among other matters but not by way of
 limitation, authorizes, on an interim basis, the Borrower and the Guarantors to execute and perform under the terms
 of this Agreement and the other Loan Documents.

           “Investment” means, as to any Person, any direct or indirect acquisition or investment by such Person,
 whether by means of (a) the purchase or other acquisition of Capital Stock or other securities of another Person, (b) a
 loan, advance (excluding intercompany liabilities incurred in the ordinary course of business in connection with the
 cash management operations of the Borrower and its Subsidiaries) or capital contribution to, or purchase or other
 acquisition of any other debt or equity participation or interest in, another Person, including any partnership or joint
 venture interest in such other Person, or (c) the purchase or other acquisition (in one transaction or a series of
 transactions) of assets of another Person that constitute a business unit. For purposes of covenant compliance, the
 amount of any Investment shall be (i) the amount actually invested, as determined immediately prior to the time of
 each such Investment, without adjustment for subsequent increases or decreases in the value of such Investment minus
 (ii) the amount of dividends or distributions received in connection with such Investment and any return of capital and




                                                           19
Case 20-41308          Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                      Main Document
                                               Pg 569 of 1005


 any payment of principal received in respect of such Investment that in each case is received in cash or Cash
 Equivalents.

          “IP Rights” has the meaning specified in Section 5.18.

          “IRS” means the United States Internal Revenue Service.

         “Joint Venture” means any Person (a) other than a Subsidiary in which the Borrower or its Subsidiaries hold
 an ownership interest or (b) which is an unincorporated joint venture of the Borrower or any Subsidiary.

          “Junior Lien Indebtedness” means any other Indebtedness that is secured by a Lien on the Collateral (or any
 portion thereof) that is junior to the Liens on the Collateral securing the Obligations and that was permitted to be
 incurred and so secured hereunder.

           “Laws” means, as to any Person, collectively, all international, foreign, Federal, state and local statutes,
 treaties, rules, regulations, ordinances, codes, and determinations of arbitrators or courts or other Governmental
 Authorities, in each case applicable to or binding upon such Person or any of its property or to which such Person or
 any of its property is subject.

          “Leasehold Property” means any interest of any Loan Party as lessee or licensee in, to and under leases or
 licenses of land, improvements and/or fixtures.

        “Lender” has the meaning specified in the introductory paragraph hereto and shall include any Lender that
 may become a party hereto pursuant to an Assignment and Assumption or an amendment to this Agreement.

          “Lending Office” means, as to any Lender, the office or offices of such Lender described as such in such
 Lender’s Administrative Questionnaire, or such other office or offices as a Lender may from time to time notify the
 Borrower and the Administrative Agent.

           “Lien” means any mortgage, deed of trust, pledge, hypothecation, assignment, deposit arrangement,
 encumbrance, lien (statutory or other), charge, or preference, priority or other security interest or preferential
 arrangement in the nature of a security interest of any kind or nature whatsoever (including any conditional sale or
 other title retention agreement, any easement, right of way or other encumbrance on title to real property, and any
 Capital Lease having substantially the same economic effect as any of the foregoing).

           “Liquidity” means, the sum of (i) the aggregate amount of cash and Cash Equivalents on the consolidated
 balance sheet of the Borrower and its Subsidiaries that is “unrestricted” in accordance with GAAP and (ii) at all times
 prior to the Delayed Draw Funding Date, the Delayed Draw Term Loan Commitment.

            “LLC Division” means the statutory division of any limited liability company into two or more limited
 liability companies pursuant to Section 18.217 of the Delaware Limited Liability Company Act or a comparable
 provision of a different jurisdiction’s laws, as applicable.

          “Loan” or “Loans” means, individually or collectively as the context requires, a Term Loan and the Roll-Up
 Loans.

           “Loan Documents” means this Agreement, each Note, the Agency Fee Letter, each Security Document, any
 fee letter or other document relating to the fees referred to in Section 2.08, and all other documents, certificates,
 instruments or agreements executed and delivered by a Loan Party for the benefit of the Agent or any Lender in
 connection herewith.

          “Loan Parties” means, collectively, the Borrower and each Guarantor.

          “Management Services Agreement” means the Second Amended and Restated Services Agreement entered
 into as of April 30, 2015 by and between Foresight Energy GP LLC and Murray American Coal, Inc. (or their



                                                           20
Case 20-41308           Doc 228         Filed 04/01/20 Entered 04/01/20 23:45:34                         Main Document
                                                 Pg 570 of 1005


 respective successors), as amended, amended and restated, modified or replaced from time to time pursuant to one or
 more agreements.

         “Management Incentive Plan” means the “Management Incentive Plan” as defined in the Restructuring
 Support Agreement.

           “Material Adverse Effect” means any material adverse effect on (i) the business, condition (financial or
 otherwise), operations, performance, properties or contingent liabilities of the Debtors, taken as a whole (other than
 by virtue of the commencement and continuation of the Chapter 11 Cases and the events and circumstances giving
 rise thereto); (ii) the ability of the Loan Parties, taken as a whole, to fully and timely perform their respective material
 obligations under this Agreement and the Loan Documents; (iii) the legality, validity, binding effect or enforceability
 against a Loan Party of a Loan Document to which it is a party; or (iv) the rights, remedies and benefits available to,
 or conferred upon, any Agent and any Lender or any Secured Party under any Loan Document.

          “Material Indebtedness” has the meaning specified in Section 8.01(e).

            “Material Real Property” means (a) any fee owned or leased real property interest held by a Loan Party on
 the Closing Date that has a fair market value (as reasonably determined by the Borrower in good faith) in excess of
 $5,000,000 on the Closing Date, (b) any fee owned real property acquired by a Loan Party after the Closing Date that
 has a total fair market value (as reasonably determined by the Borrower in good faith) in excess of $5,000,000 as of
 the date acquired and (c) any leasehold interest in real property leased by a Loan Party after the Closing Date with a
 total fair market value (as reasonably determined by the Borrower in good faith) in excess of $5,000,000 as of the date
 of the lease thereof.

           “Maturity Date” means the first to occur of: (a) the date that is 180 days following the Petition Date (the
 “Stated Maturity Date”); provided, that, if such date is not a Business Day, the Maturity Date shall be the preceding
 Business Day, (b) the Plan Effective Date, (c) the consummation of a sale or other disposition of all or substantially
 all assets of the Debtors under the section 363 of the Bankruptcy Code, and (d) the date on which the Obligations
 hereunder shall be accelerated in accordance with the provisions of this Agreement.

          “Mine” means any excavation or opening into the earth in the United States now and hereafter made from
 which coal or other minerals are or can be extracted on or from any of the real properties in which any Loan Party
 holds an ownership, leasehold or other interest.

          “Mining Financial Assurances” means letters of credit or performance bonds for reclamation or otherwise,
 surety bonds or escrow agreements and any payment or prepayment made with respect to, or certificates of deposit or
 other sums or assets required to be posted by the Borrower under Mining Laws for reclamation or otherwise.

           “Mining Laws” means any and all current or future applicable federal, state, local and foreign statutes, laws,
 regulations, legally-binding guidance, ordinances, rules, judgments, orders, decrees or common law causes of action
 relating to mining operations and activities, including, but not be limited to, the Federal Coal Leasing Amendments
 Act; the Surface Mining Control and Reclamation Act; all other applicable land reclamation and use statutes and
 regulations; the Mineral Leasing Act of 1920; the Federal Mine Safety Act of 1977; the Black Lung Act; and the Coal
 Act; each as amended, and any comparable state and local laws or regulations.

           “Mining Lease” means a lease, license or other use agreement which provides the Borrower or any Subsidiary
 the real property and water rights, other interests in land, including coal, mining and surface rights, easements, rights
 of way and options, and rights to timber and natural gas (including coalbed methane and gob gas) necessary or integral
 in order to recover coal from any Mine. Leases (other than Capital Leases or operating leases of personal property
 even if such personal property would become fixtures) which provide the Borrower or any other Subsidiary the right
 to construct and operate a conveyor, crusher plant, silo, load out facility, rail spur, shops, offices and related facilities
 on the surface of the Real Property containing such reserves shall also be deemed a Mining Lease.

         “Monthly Mine-Level Financial Reports” means financial reports with respect to the Borrower and its
 Subsidiaries, substantially in the form that has been previously provided to the Financial Advisor or in the form of



                                                              21
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                       Main Document
                                                Pg 571 of 1005


 Exhibit I for any fiscal month that set forth mine-level operational financial information and operating statistics
 delivered in accordance with Section 6.01(c).

         “Monthly Consolidated Financial Reports” means financial reports with respect to the Borrower and its
 Subsidiaries, substantially in the form of Exhibit J hereto for any fiscal month that set forth consolidated information
 and operating statistics delivered in accordance with Section 6.01(c).

          “Moody’s” means Moody’s Investors Service, Inc. and any successor thereto.

         “Mortgage” means a mortgage, deed to secure debt, deed of trust or similar instrument in form and substance
 reasonably satisfactory to the Collateral Agent and the Required Lenders.

          “Mortgaged Property” means all Real Property that constitutes Collateral.

         “Multiemployer Plan” means any employee benefit plan of the type described in Section 4001(a)(3) of
 ERISA, to which the Borrower or any ERISA Affiliate makes or is obligated to make contributions, or during the
 preceding five plan years, has made or been obligated to make contributions.

          “Murray Energy” means Murray Energy Corporation, an Ohio corporation.

          “Murray Energy Group” has the meaning specified in the definition of “Permitted Holders”.

          “Narrative Report” means, with respect to the financial statements for which such narrative report is required,
 a management’s summary describing the operations of the Borrower and its Subsidiaries for the applicable fiscal
 quarter and for the period from the beginning of the then current fiscal year to the end of such period to which such
 financial statements relate.

           “Net Insurance/Condemnation Proceeds” means an amount equal to: (i) any cash payments or proceeds
 received by the Borrower or any of its Subsidiaries (a) under any casualty insurance policy in respect of a covered
 loss thereunder or (b) as a result of the taking of any assets of the Borrower or any of its Subsidiaries by any Person
 pursuant to the power of eminent domain, condemnation or otherwise, or pursuant to a sale of any such assets to a
 purchaser with such power under threat of such a taking, minus (ii) (a) any actual and reasonable costs incurred by the
 Borrower or any of its Subsidiaries in connection with the adjustment or settlement of any claims of the Borrower or
 such Subsidiary in respect thereof, (b) any bona fide direct costs incurred in connection with any sale of such assets
 as referred to in clause (i)(b) of this definition, including Taxes paid or payable as a result of any gain recognized or
 otherwise in connection therewith and (c) any payment of the outstanding principal amount of, premium or penalty,
 if any, and interest on any Indebtedness that is secured by a Lien on the assets subject to the relevant event described
 in clause (i)(a) or (b) above that is required that to be repaid as a result of such event.

            “Net Proceeds” means, with respect to any Disposition pursuant to Sections 7.05(b) or 7.05(c), the sum of
 (a) cash payments or proceeds actually received by the Borrower or any of its Subsidiaries in connection with such
 Disposition (including any cash received by way of deferred payment (excluding, for avoidance of doubt, royalty
 payments customary in the mining industry) pursuant to, or by monetization of, Cash Equivalents or a note receivable
 or otherwise, but only as and when so received) minus (b) the sum of (i) (A) the principal amount, premium or penalty,
 if any, interest and other amounts of any Indebtedness that is secured by (1) a Lien on an asset that is not Collateral or
 by a Lien on an asset that is Collateral which Lien is senior in priority to the Lien on such Collateral that secures the
 Obligations and, in each case, that is required to be repaid in connection with such Disposition (other than Indebtedness
 under the Loan Documents) or (B) any other required debt payments or required payments of other obligations relating
 to the Disposition, in each case, with the proceeds thereof, (ii) the reasonable or customary out-of- pocket fees and
 expenses incurred by the Borrower or its Subsidiaries in connection with such Disposition (including attorneys’ fees,
 accountants’ fees, investment banking fees, real property related fees and charges and brokerage and consultant fees),
 (iii) all Taxes required to be paid or accrued or reasonably estimated to be required to be paid or accrued as a result
 thereof, (iv) in the case of any Disposition by a non-Wholly Owned Subsidiary, the pro rata portion of the Net Proceeds
 thereof (calculated without regard to this clause (iv)) attributable to minority or other third party interests and not
 available for distribution to or for the account of the Borrower or a Wholly Owned Subsidiary as a result thereof and



                                                            22
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                       Main Document
                                                Pg 572 of 1005


 (v) the amount of any reasonable reserve established in accordance with GAAP against any adjustment to the sale
 price or any liabilities (x) related to any of the applicable assets and (y) retained by the Borrower or any Subsidiary
 including, without limitation, pension and other post- employment benefit liabilities and liabilities related to
 environmental matters or against any indemnification obligations (however, the amount of any subsequent reduction
 of such reserve (other than in connection with a payment in respect of any such liability) shall be deemed to be Net
 Proceeds of such Disposition occurring on the date of such reduction).

        “New Common Equity” means the equity securities of Reorganized Foresight to be issued upon
 consummation of the Acceptable Plan in accordance with the Restructuring Support Agreement.

          “Note” means a Term Loan Note and/or a Roll-Up Loan Note, as the context may require.

          “Obligations” means all advances to, and debts, liabilities and obligations of every nature of each Loan Party,
 including obligations from the time to time owed to any Agent (including any former Agent), Lenders or any other
 Secured Party, under any Loan Document or otherwise with respect to any Loan, whether direct or indirect (including
 those acquired by assumption), absolute or contingent, due or to become due, now existing or hereafter arising and
 including interest and fees that accrue after the commencement by or against any Loan Party or any Affiliate thereof
 of any proceeding under any Debtor Relief Laws naming such Person as the debtor in such proceeding, regardless of
 whether such interest and fees are allowed claims in such proceeding.

          “Obligee Guarantor” has the meaning specified in Section 11.07.

           “OPEB” means post-employment benefits other than pension benefits, including, as applicable, medical,
 dental, vision, life and accidental death and dismemberment.

          “Orders” means, collectively, the Interim Order and the Final Order.

           “Organizational Documents” means, (a) with respect to any corporation, the certificate or articles of
 incorporation and the bylaws (or equivalent or comparable constitutive documents with respect to any non-US
 jurisdiction); (b) with respect to any limited liability company, the certificate or articles of formation or organization
 and operating agreement; and (c) with respect to any partnership, joint venture, trust or other form of business entity,
 the partnership, joint venture or other applicable agreement of formation or organization and any agreement,
 instrument, filing or notice with respect thereto filed in connection with its formation or organization with the
 applicable Governmental Authority in the jurisdiction of its formation or organization and, if applicable, any certificate
 or articles of formation or organization of such entity.

         “Other Connection Taxes” means, with respect to any Recipient, Taxes imposed as a result of a present or
 former connection between such Recipient and the jurisdiction imposing such Tax (other than connections arising
 from such Recipient having executed, delivered, become a party to, performed its obligations under, received
 payments under, received or perfected a security interest under, engaged in any other transaction pursuant to or
 enforced any Loan Document, or sold or assigned an interest in any Loan or Loan Document).

           “Other Taxes” means all present or future stamp, court or documentary, intangible, recording, filing or similar
 Taxes that arise from any payment made under, from the execution, delivery, performance, enforcement or registration
 of, from the receipt or perfection of a security interest under, or otherwise with respect to, any Loan Document, except
 any such Taxes that are Other Connection Taxes imposed with respect to an assignment (other than an assignment
 made pursuant to Section 10.13).

          “Overnight Rate” means, for any day, the greater of (a) the Federal Funds Rate in the case of any amount
 denominated in Dollars and (b) an overnight rate determined by the Administrative Agent in accordance with banking
 industry rules on interbank compensation.

          “Parent” means any direct or indirect parent of the Borrower.

          “Participant” has the meaning specified in Section 10.06(e).



                                                            23
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                       Main Document
                                                Pg 573 of 1005


          “Participant Register” has the meaning specified in Section 10.06(e).

          “PATRIOT Act” has the meaning specified in Section 5.17(b).

          “Payment in Full” means, the time at which no Lender shall have any Commitments, any Loan or other
 Obligations unpaid, unsatisfied or outstanding (other than in respect of contingent obligations, indemnities and
 expenses related thereto that are not then payable or in existence).

        “PBGC” means the Pension Benefit Guaranty Corporation established pursuant to Subtitle A of Title IV of
 ERISA, or any successor thereto.

          “Pension Plan” means any “employee pension benefit plan” (as such term is defined in Section 3(2) of
 ERISA), other than a Multiemployer Plan, that is subject to Title IV of ERISA and is sponsored or maintained by the
 Borrower or any ERISA Affiliate or to which the Borrower or any ERISA Affiliate contributes or has an obligation
 to contribute, or in the case of a plan described in Section 4064(a) of ERISA, has made contributions at any time
 during the immediately preceding five plan years.

           “Permitted Holders” means, collectively, (a) (i) Chris Cline and his children and other lineal descendants,
 Robert E. Murray, Brenda L. Murray, Robert Edward Murray (son), Jonathan Robert Murray, Ryan Michael Murray
 (or any of their estates, or heirs or beneficiaries by will) and any Related Party of a Permitted Holder; (ii) the spouses
 or former spouses, widows or widowers and estates of any of the Persons referred to in clause (i) above; (iii) any trust
 having as its sole beneficiaries one or more of the persons listed in clauses (i) and (ii) above; and (iv) any Person a
 majority of the voting power of the outstanding Equity Interest of which is owned by one or more of the Persons
 referred to in clauses (i), (ii) or (iii) above, (b) Murray Energy Corporation, an Ohio corporation, and its Subsidiaries
 (“Murray Energy Group”), (c) any group (within the meaning of Section 13(d)(3) or Section 14(d)(2) of the Exchange
 Act or any successor provision) of which any of the foregoing are members; provided that, in the case of such group
 and without giving effect to the existence of such group or any other group, such Persons referenced in clauses (a)
 through (b) above, collectively, have beneficial ownership of more than 50% of the total voting power of the voting
 units or stock of the Borrower or Holdings (or any Parent), (d) Foresight Reserves L.P., (e) Holdings and any Parent
 and (f) the General Partner.

          “Permitted Liens” means each of the Liens permitted pursuant to Section 7.01.

          “Permitted Payments to Parent” means, without duplication as to amounts, dividends, distributions or the
 making of loans to Holdings or the General Partner, in each case, to the extent paid in accordance with the Cash Flow
 Forecast (subject to Permitted Variance):

           (1)      in amounts required for such entity to pay (i) general corporate overhead expenses (including, but
 not limited to, franchise taxes, legal expenses, accounting expenses, expenses to maintain their corporate existence
 and administrative expenses) and (ii) directors’ fees and expense reimbursements under its charter or by-laws or
 pursuant to written agreements entered into prior to the Closing Date with any such Person to the extent relating to
 the Borrower and its Subsidiaries, in each case, when due; provided the aggregate amount set forth in this clause (1)
 shall not exceed $50,000 in any fiscal month;

           (2)       to pay customary indemnification obligations of Holdings’ or the General Partner’s owing to
 directors, officers, employees or other Persons under its charter or by-laws or pursuant to written agreements entered
 into prior to the Closing Date with any such Person to the extent relating to the Borrower and its Subsidiaries; and

          (3)     to pay obligations of Holdings or the General Partner in respect of director and officer insurance
 (including premiums therefor) to the extent relating to the Borrower and its Subsidiaries.

          “Permitted Real Estate Encumbrances” means the following encumbrances which do not, in any case,
 individually or in the aggregate, materially detract from the value of any Mine subject thereto or interfere with the
 ordinary conduct of the business or operations of the Borrower and its Subsidiaries as presently conducted on, at or
 with respect to such Mine and as to be conducted following the Closing Date: (a) encumbrances customarily found



                                                            24
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                        Main Document
                                                Pg 574 of 1005


 upon real property used for mining purposes in the applicable jurisdiction in which the applicable real property is
 located to the extent such encumbrances would be permitted or granted by a prudent operator of mining property
 similar in use and configuration to such real property (e.g., surface rights agreements, wheelage agreements and
 reconveyance agreements); (b) rights and easements of (i) owners of undivided interests in any of the real property
 where the Borrower and its Subsidiaries own less than 100% of the fee interest, (ii) owners of interests in the surface
 of any real property where the applicable party does not own or lease such surface interest, (iii) lessees, if any, of coal
 or other minerals (including oil, gas and coal bed methane) where the Borrower and its Subsidiaries do not own such
 coal or other minerals, and (iv) lessees of other coal seams and other minerals (including oil, gas and coal bed methane)
 not owned or leased by such party; (c) with respect to any real property in which the Borrower or any Subsidiary holds
 a leasehold interest, terms, agreements, provisions, conditions, and limitations (other than royalty and other payment
 obligations which are otherwise permitted hereunder) contained in the leases granting such leasehold interest and the
 rights of lessors thereunder (and their heirs, executors, administrators, successors, and assigns), subject to any
 amendments or modifications set forth in any landlord consent delivered in connection with a Mortgage; (d) farm,
 grazing, hunting, recreational and residential leases with respect to which the Borrower or any Subsidiary is the lessor
 encumbering portions of the real properties to the extent such leases would be granted or permitted by, and contain
 terms and provisions that would be acceptable to, a prudent operator of mining properties similar in use and
 configuration to such real properties; (e) royalty and other payment obligations to sellers or transferors of fee coal or
 lease properties to the extent such obligations constitute a lien not yet delinquent; (f) rights of others to subjacent or
 lateral support and absence of subsidence rights or to the maintenance of barrier pillars or restrictions on mining within
 certain areas as provided by any mining lease, unless in each case waived by such other person; and (g) rights of
 repurchase or reversion when mining and reclamation are completed.

          “Permitted Variance” has the meaning specified in Section 7.18.

        “Person” means any natural person, corporation, limited liability company, trust, joint venture, association,
 company, partnership, Governmental Authority or other entity.

          “Petition Date” has the meaning specified in the recitals to this Agreement

          “Plan” means any “employee benefit plan” (as such term is defined in Section 3(3) of ERISA) established by
 the Borrower or, with respect to any such plan that is subject to Section 412 of the Code or Title IV of ERISA, by any
 ERISA Affiliate.

          “Plan Effective Date” means the date of the substantial consummation (as defined in section 1101(2) of the
 Bankruptcy Code, which for purposes hereof shall be no later than the effective date) of one or more plans of
 reorganization confirmed pursuant to a final order entered by the Bankruptcy Court.

          “Platform” has the meaning specified in Section 6.02.

        “Prepetition Agent” means the “Administrative Agent” as defined in the Prepetition First Lien Credit
 Agreement.

         “Prepetition Debt” means, collectively, the Indebtedness of each Debtor outstanding and unpaid on the date
 on which such Person becomes a Debtor.

            “Prepetition First Lien Credit Agreement” means the Credit and Guaranty Agreement, dated as of March 28
 2017, by and among the Borrower, Holdings and the other guarantors party thereto, The Huntington National Bank,
 as facilities administrative agent, Lord Securities Corporation, as term administrative agent, and the other lenders party
 thereto from time to time, as amended, restated, supplemented or otherwise modified from time to time.

          “Prepetition First Lien Lender” means a “Lender” as defined in the Prepetition First Lien Credit Agreement.

        “Prepetition First Lien Obligations” means the “Obligations” as defined in the Prepetition First Lien Credit
 Agreement.




                                                             25
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                       Main Document
                                                Pg 575 of 1005


          “Prepetition Second Lien Indenture” means the Indenture, dated as of March 28, 2017 among Foresight
 Energy, LLC, Foresight Energy Finance Corporation, the guarantors party thereto and Wilmington Trust, National
 Association, as trustee.

           “Prime Rate” means the rate of interest quoted in the print edition of The Wall Street Journal, Money Rates
 Section as the Prime Rate (currently defined as the base rate on corporate loans posted by at least 75% of the nation’s
 thirty (30) largest banks), as in effect from time to time. The Prime Rate is a reference rate and does not necessarily
 represent the lowest or best rate actually charged to any customer. Any Lender may make commercial loans or other
 loans at rates of interest at, above or below the Prime Rate.

          “Production Payments” means with respect to any Person, all production payment obligations and other
 similar obligations with respect to coal and other natural resources of such Person that are recorded as a liability or
 deferred revenue on the financial statements of such Person in accordance with GAAP.

          “Properties” has the meaning specified in Section 5.09(a).

          “Public Lender” has the meaning specified in Section 6.02.

          “Qualified Equity Interests” means all Equity Interests of a Person other than Disqualified Equity Interests.

          “Qualified Stock” means all Capital Stock of a Person other than Disqualified Stock.

          “Real Properties” means, collectively, all right, title and interest of the Borrower or any Subsidiary (including
 any leasehold or mineral estate) in and to any and all parcels of real property owned or operated by the Borrower or
 any Subsidiary, whether by lease, license or other use agreement, including but not limited to, coal leases and surface
 use agreements, together with, in each case, all improvements and appurtenant fixtures (including all conveyors,
 preparation plants or other coal processing facilities, silos, shops and load out and other transportation facilities),
 easements and other property and rights incidental to the ownership, lease or operation thereof, including but not
 limited to, access rights, water rights and extraction rights for minerals.

          “Recipient” means any Agent or any Lender, as applicable.

          “Register” has the meaning specified in Section 10.06(d).

          “Related Parties” means, with respect to any Person, such Person’s Affiliates and the partners, members,
 directors, officers, employees, affiliated investment funds or investment vehicles, managed, advised or sub-advised
 accounts, funds or other entities, investment advisors, sub-advisors or managers, agents, representatives, attorneys,
 advisors or controlling persons of such Person and of such Person’s Affiliates.

          “Related Party of a Permitted Holder” means:

          (a)      any immediate family member of any Permitted Holder; or

          (b)      any trust, corporation, partnership, limited liability company or other entity, the beneficiaries,
 stockholders, partners, members, owners or Persons beneficially holding a majority (and controlling) interest of which
 consist of any one or more Permitted Holders and/or such other Persons referred to in the immediately preceding
 clause (a).

          “Reorganization Plan” means a plan of reorganization in any or all of the Chapter 11 Cases of the Debtors.

        “Reorganized Foresight” means Holdings (or any other holding company or ultimate parent entity)
 immediately after consummation of the Reorganization Plan.

         “Reportable Event” means any of the events set forth in Section 4043(c) of ERISA, other than events for
 which the 30 day notice period has been waived.



                                                            26
Case 20-41308          Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                        Main Document
                                               Pg 576 of 1005


          “Reporting Period” as defined in the definition of “Budget Variance Report”.

          “Required Lenders” means, as of any date of determination, Lenders having more than 60% of the aggregate
 outstanding principal amount of the Loans and unused Commitment of all Lenders; provided that Loans and unused
 Commitments held or deemed held by any Defaulting Lender shall be excluded for purposes of making a determination
 of Required Lenders.

          “Required Prepayment Date” has the meaning specified in Section 2.05(l).

           “Requirement of Law” means as to any Person, the Organizational Documents of such Person, and any law,
 treaty, rule or regulation or determination of an arbitrator or a court or other Governmental Authority, in each case
 applicable to or binding upon such Person or any of its property or to which such Person or any of its property is
 subject.

          “Responsible Officer” means the chief executive officer, president or any vice president of the Borrower,
 General Partner or Holdings or any applicable Subsidiary and, in addition, any Person holding a similar position or
 acting as a director or managing director with respect to any Foreign Subsidiary of the Borrower or, with respect to
 financial matters, the chief financial officer, treasurer or assistant treasurer of the Borrower, General Partner or
 Holdings.

           “Restricted Payment” means (a) any dividend or other distribution (whether in cash, securities or other
 property) by the Borrower or any Subsidiary with respect to its Capital Stock, or any payment (whether in cash,
 securities or other property) by the Borrower or any Subsidiary, including any sinking fund or similar deposit, on
 account of the purchase, redemption, retirement, acquisition, cancellation or termination of any of its Equity Interests,
 or on account of any return of capital to its stockholders, partners or members (or the equivalent Person thereof) and
 (b) any payment or prepayment of principal of, premium, if any, or interest on, or redemption, purchase, retirement,
 defeasance (including covenant or legal defeasance), sinking fund or similar payment with respect to, any unsecured
 Indebtedness for borrowed money, Subordinated Indebtedness or Junior Lien Indebtedness.

           “Restructuring Support Agreement” means that certain Restructuring Support Agreement dated as of March
 10, 2020, executed and delivered by the Loan Parties and the other parties thereto, as such agreement may be amended,
 restated, supplemented or otherwise modified from time to time in accordance with the terms thereof.

         “Roll-Up Amount” means, with respect to each Roll-Up Lender, the amount, if any, of the Prepetition First
 Lien Obligations held by such Roll-Up Lender (or one or more of its affiliates or any investment advisory client
 managed or advised by such Roll-Up Lender) equal to 0.808625 times the sum of (x) the amount of Initial Term Loans
 funded by such Roll-Up Lender (or one or more of its affiliates or any investment advisory client managed or advised
 by such Roll-Up Lender) on the Closing Date and (y) the amount of Delayed Draw Term Loan funded by such Roll-
 Up Lender (or one or more of its affiliates or any investment advisory client managed or advised by such Roll-Up
 Lender) on the Delayed Draw Funding Date. The aggregate Roll-Up Amount of all Roll-Up Lenders shall not exceed
 $75,000,000.

          “Roll-Up Facility” as defined in the recitals hereto.

           “Roll-Up Lender” means a Consenting First Lien Lender that is a Term Lender (or whose affiliates or whose
 affiliated investment funds, investment vehicles, investment advisory clients or other entities that are managed or
 advised by such Consenting First Lien Lender is a Term Lender), and any other Person that becomes a Roll-Up Lender
 pursuant to an Assignment and Assumption Agreement.

        “Roll-Up Loan Note” means a promissory note in the form of Exhibit C-2, as it may be amended, restated,
 supplemented or otherwise modified from time to time.

          “Roll-Up Loans” as defined in Section 2.01(b)(iii).

          “Roll-Up Notice” as defined in Section 2.01(b)(iii).



                                                            27
Case 20-41308          Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                        Main Document
                                               Pg 577 of 1005


          “Sale and Lease-Backs” has the meaning assigned to such term in Section 7.16.

         “S&P” means Standard & Poor’s Ratings Services, a division of The McGraw-Hill Companies, Inc. and any
 successor thereto.

          “Same Day Funds” means immediately available funds.

          “Sanctions” has the meaning specified in Section 5.17(a).

          “Sanctions Laws” has the meaning specified in Section 5.17(a).

           “SEC” means the Securities and Exchange Commission, or any Governmental Authority succeeding to any
 of its principal functions. “Secured Parties” means, collectively, the Agents and the Lenders.

           “Security Documents” means (i) the Orders, and (ii) to the extent requested by the Collateral Agent or the
 Required Lenders, any security agreement, pledge agreement, intellectual property security agreements, the Mortgages
 (if any), each of the supplements thereto and any other documents, agreements or instruments, in each case, in form
 and substance reasonably satisfactory to the Collateral Agent and the Required Lenders, delivered to the Collateral
 Agent and/or the Lenders pursuant to this Agreement or any other Loan Documents or the Orders in order to grant or
 purport to grant a Lien on any assets of the Borrower or any other Loan Party to secure the Obligations.

          “Similar Business” means any of the following, whether domestic or foreign: the mining, production,
 marketing, sale, trading and transportation (including, without limitation, any business related to terminals) of natural
 resources including coal, ancillary natural resources and mineral products, exploration of natural resources, any
 acquired business activity so long as a material portion of such acquired business was otherwise a Similar Business,
 and any business that is ancillary or complementary to the foregoing.

          “Stated Equity Value” means the “Stated Equity Value” as defined in the Restructuring Support Agreement.

          “Stated Maturity Date” has the meaning in clause (a) of the definition of “Maturity Date.”

           “Subordinated Indebtedness” means any Indebtedness of the Borrower or any Guarantor that is expressly
 subordinated in right of payment to the Indebtedness under the Loan Documents pursuant to a written agreement to
 that effect.

           “Subsidiary” means, with respect to any Person, any corporation, association, limited liability company or
 other business entity of which more than 50% of the outstanding Voting Stock is owned, directly or indirectly, by, or,
 in the case of a partnership, the sole general partner or the managing partner or the only general partners of which are,
 such Person and one or more Subsidiaries of such Person (or a combination thereof). Unless otherwise specified, all
 references herein to a “Subsidiary” or to “Subsidiaries” shall refer to a Subsidiary or Subsidiaries of the Borrower.

          “Superpriority Claim” means the “DIP Superpriority Claim” as defined in the Orders.

          “Surety Bonds” means surety bonds obtained by the Borrower or any Subsidiary consistent with market
 practice and the indemnification or reimbursement obligations of the Borrower or such Subsidiary in connection
 therewith.

          “Taxes” means all present or future taxes, levies, imposts, duties, deductions, withholdings (including backup
 withholding), assessments, fees or other charges imposed by any Governmental Authority, including any interest,
 additions to tax or penalties applicable thereto.

         “Term Lender” means each financial institution listed on the signature pages hereto as a Lender (other than
 a Roll-Up Lender) and any other Person that becomes a party hereto pursuant to an Assignment and Assumption
 Agreement, in each case, that has a Term Loan Commitment or is a holder of a Term Loan.




                                                            28
Case 20-41308          Doc 228       Filed 04/01/20 Entered 04/01/20 23:45:34                     Main Document
                                              Pg 578 of 1005


         “Term Loan” means the Initial Term Loan and the Delayed Draw Term Loan.

       “Term Loan Commitment” means the Initial Term Loan Commitment and the Delayed Draw Term Loan
 Commitment.

         “Term Loan Facility” means the Initial Term Loan Facility and/or the Delayed Draw Term Loan Facility.

        “Term Loan Note” means a promissory note in the form of Exhibit C-1, as it may be amended, restated,
 supplemented or otherwise modified from time to time.

         “Threshold Amount” means $5,000,000.

          “Transactions” means the transactions contemplated herein to occur on the Closing Date, including the
 funding of the Initial Term Loan Facility, the provision of the Delayed Draw Term Loan Facility, the deemed funding
 of the Roll-Up Loans, and the commencement of the Chapter 11 Cases.

          “Two-Week Test Period” means, at any time, the two-week period ended on the immediately preceding
 Friday; provided that only periods ending on the second Friday following the Closing Date and each second Friday
 thereafter shall constitute Two-Week Test Periods.

         “Type” means, with respect to a Loan, its character as a Base Rate Loan or a Eurocurrency Rate Loan.

         “UCC” means the Uniform Commercial Code as in effect in the applicable state of jurisdiction.

           “Unfunded Pension Liability” means the excess of a Pension Plan’s accrued benefit liabilities under Section
 4001 (a)(16) of ERISA, over the current value of that Pension Plan’s assets, determined in accordance with the
 actuarial assumptions used for funding the Pension Plan pursuant to Section 412 of the Code for the applicable plan
 year.

         “United States” and “U.S.” mean the United States of America.

         “U.S. Government Obligations” means obligations issued or directly and fully guaranteed or insured by the
 United States of America or by any agency or instrumentality thereof, provided that the full faith and credit of the
 United States of America is pledged in support thereof.

         “U.S. Tax Compliance Certificate” has the meaning specified in Section 3.01(e).

         “Voting Stock” means, with respect to any Person, Capital Stock of any class or kind ordinarily having the
 power to vote for the election of directors, managers or other voting members of the governing body of such Person.

         “Waivable Mandatory Prepayment” has the meaning specified in Section 2.05(l).

         “Wholly Owned” means, with respect to any Subsidiary, a Subsidiary all of the outstanding Capital Stock of
 which (other than any director’s qualifying shares) is owned by the Borrower and one or more Wholly Owned
 Subsidiaries (or a combination thereof).

         “Withholding Agent” means any Loan Party and the Administrative Agent.

          “Write-Down and Conversion Powers” means, with respect to any EEA Resolution Authority, the write-
 down and conversion powers of such EEA Resolution Authority from time to time under the Bail-In Legislation for
 the applicable EEA Member Country, which write-down and conversion powers are described in the EU Bail-In
 Legislation Schedule.

          1.02     Other Interpretive Provisions. With reference to this Agreement and each other Loan Document,
 unless otherwise specified herein or in such other Loan Document:



                                                          29
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                         Main Document
                                                Pg 579 of 1005


           (a)      The definitions of terms herein shall apply equally to the singular and plural forms of the terms
 defined. Whenever the context may require, any pronoun shall include the corresponding masculine, feminine and
 neuter forms. The words “include,” “includes” and “including” shall be deemed to be followed by the phrase “without
 limitation.” The word “will” shall be construed to have the same meaning and effect as the word “shall.” Unless the
 context requires otherwise, (i) any definition of or reference to any agreement, instrument or other document
 (including any Organizational Document) shall be construed as referring to such agreement, instrument or other
 document as from time to time amended, supplemented or otherwise modified (subject to any restrictions on such
 amendments, supplements or modifications set forth herein or in any other Loan Document), (ii) any reference herein
 to any Person shall be construed to include such Person’s successors and assigns, (iii) the words “herein,” “hereof”,
 “hereto” and “hereunder,” and words of similar import when used in any Loan Document, shall be construed to refer
 to such Loan Document in its entirety and not to any particular provision thereof, (iv) all references in a Loan
 Document to Articles, Sections, Exhibits and Schedules shall be construed to refer to Articles and Sections of, and
 Exhibits and Schedules to, the Loan Document in which such references appear, (v) any reference to any law shall
 include all statutory and regulatory provisions consolidating, amending, replacing or interpreting such law and any
 reference to any law or regulation shall, unless otherwise specified, refer to such law or regulation as amended,
 modified or supplemented from time to time, and (vi) the words “asset” and “property” shall be construed to have the
 same meaning and effect and to refer to any and all tangible and intangible assets and properties, including cash,
 securities, accounts and contract rights.

          (b)      In the computation of periods of time from a specified date to a later specified date, the word “from”
 means “from and including;” the words “to” and “until” each mean “to but excluding;” and the word “through” means
 “to and including.”

          (c)       Section headings herein and in the other Loan Documents are included for convenience of reference
 only, shall not constitute a part hereof, shall not be given any substantive effect and shall not affect the interpretation
 of this Agreement or any other Loan Document.

          1.03      Accounting Terms.

         (a)      Generally. All accounting terms not specifically or completely defined herein shall be construed in
 conformity with, and all financial data (including financial ratios and other financial calculations) required to be
 submitted pursuant to this Agreement shall be prepared in conformity with GAAP applied on a consistent basis.

           (b)       Changes in GAAP. If at any time any Accounting Change would affect the computation of any
 financial ratio or requirement set forth in any Loan Document, and either the Borrower or the Required Lenders shall
 so request, the Administrative Agent, the Required Lenders and the Borrower shall negotiate in good faith to amend
 such ratio or requirement to preserve the original intent thereof in light of such Accounting Change as if such
 Accounting Change has not been made (subject to the approval of the Required Lenders); provided that, until so
 amended, all financial covenants, standards and terms in this Agreement shall continue to be calculated or construed
 as if such Accounting Change had not occurred.

         1.04    Times of Day. Unless otherwise specified, all references herein to times of day shall be references
 to New York City time (daylight or standard, as applicable).

           1.05     LLC Division. For all purposes under the Loan Documents, in connection with any division or plan
 of division under Delaware Law (including any LLC Division, or any comparable event under a different jurisdiction’s
 laws, as applicable): (a) if any asset, right, obligation or liability of any Person becomes the asset, right, obligation or
 liability of a different Person, then it shall be deemed to have been transferred from the original Person to the
 subsequent Person, and (b) if any new Person comes into existence, such new Person shall be deemed to have been
 organized on the first date of its existence by the holders of its Equity Interests.

                                            ARTICLE II
                               THE COMMITMENTS AND CREDIT EXTENSIONS

          2.01      The Loans.



                                                             30
Case 20-41308          Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                        Main Document
                                               Pg 580 of 1005


          (a)      Term Loans.

                    (i)      Subject to the terms and conditions set forth herein, each Term Lender agrees, severally
 and not jointly, to make a loan (“Initial Term Loan”) to the Borrower in Dollars, on the Closing Date in an aggregate
 principal amount not to exceed such Term Lender’s Initial Term Loan Commitment. Initial Term Loans may be Base
 Rate Loans or Eurocurrency Rate Loans, as further provided herein.

                    (ii)   Subject to the terms and conditions set forth herein, each Term Lender agrees, severally
 and not jointly, to make a loan (“Delayed Draw Term Loans”) to the Borrower in Dollars, on the Delayed Draw
 Funding Date in an aggregate principal amount not to exceed such Term Lender’s Delayed Draw Term Loan
 Commitment. Delayed Draw Term Loans may be Base Rate Loans or Eurocurrency Rate Loans, as further provided
 herein.

                      (iii)   Borrower may make only one Borrowing under the Initial Term Loan Commitment on the
 Closing Date, and Borrower may make only one Borrowing under the Delayed Draw Term Loan Commitment on the
 Delayed Draw Funding Date. Any amount borrowed under this Section 2.01(a) and subsequently repaid or prepaid
 may not be reborrowed. Each Term Lender’s Initial Term Loan Commitment or the Delayed Draw Term Loan
 Commitment shall terminate immediately and without any further action on the Closing Date or the Delayed Draw
 Funding Date, as applicable, after giving effect to the funding of such Term Lender’s Commitment on such date.
 Notwithstanding anything to the contrary, unless the Administrative Agent and the Borrower shall otherwise agree,
 the initial Interest Period of any Delayed Draw Term Loans that are Eurocurrency Rate Loans shall commence on the
 date of funding and shall end on the last day of the then-current Interest Period for all Eurocurrency Rate Loans that
 are Initial Term Loans then outstanding.

          (b)      Roll-Up Loan.

                    (i)       Subject to the terms and conditions set forth herein and the Orders, the Prepetition First
 Lien Obligations held by each Consenting First Lien Lender shall be automatically substituted and exchanged for (and
 prepaid by) loans hereunder (the “Roll-Up Loans”) in a principal amount equal to such Roll-Up Lender’s Roll-Up
 Amount on the Final Order Entry Date. Such Roll-Up Loans shall be deemed funded on the Final Order Entry, and
 shall constitute, and shall be deemed to be, Loans hereunder.

                   (ii)     No later than three (3) Business Days prior to the Final Order Entry, the Administrative
 Agent shall have received a written notice, in form and substance satisfactory to the Administrative Agent and the
 Required Lenders (the “Roll-Up Notice”), which shall (A) attach a schedule identifying each Roll-Up Lender and the
 principal amount of such Roll-Up Lender’s Roll-Up Loans deemed issued hereunder, (B) attach a joinder to this
 Agreement executed by such Roll-Up Lender, pursuant to which, inter alia, such Roll-Up Lender shall represent and
 warrant that it has delivered to the Administrative Agent a completed Administrative Questionnaire, such
 documentation and other information under applicable “know your customer” and anti-money laundering rules and
 regulations requested by the Administrative Agent and such documentation and other information required under
 Section 3.01, and (C) include a certification from the Borrower as to the accuracy of the information set forth in such
 schedule delivered pursuant to clause (A) of this Section 2.01(b)(ii).

                    (iii)     The parties hereto agree that the Administrative Agent and the Prepetition Agent may each
 conclusively rely on the Roll-Up Notice and this Section 2.01(b) in adjusting the Register and the Register (as defined
 in the Prepetition First Lien Credit Agreement) to reflect the cancellation of the Prepetition First Lien Obligations and
 the Roll-Up Loans to be received by the Roll-Up Lender on the Final Order Entry Date.

          2.02     Borrowings, Conversions and Continuations of the Loans.

           (a)      Each Borrowing, each conversion of Loans from one Type to the other, and each continuation of
 Eurocurrency Rate Loans shall be made by delivery by Borrower of an irrevocable Borrowing Notice, appropriately
 completed and signed by a Responsible Officer of the Borrower, to the Administrative Agent. Each Borrowing Notice
 must be received by the Administrative Agent, not later than 11:00 a.m., New York City time, (i) three Business Days
 (or, such shorter period as may be acceptable to the Administrative Agent) prior to the requested date of any Borrowing



                                                            31
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                        Main Document
                                                Pg 581 of 1005


 of, conversion to or continuation of Eurocurrency Rate Loans or of any conversion of Eurocurrency Rate Loans, and
 (ii) one (1) Business Day prior to the requested date of any Borrowing of Base Rate Loans. Each Borrowing of,
 conversion to or continuation of Eurocurrency Rate Loans shall be in a principal amount of $1,000,000 or a whole
 multiple of $500,000 in excess thereof. Each Borrowing of or conversion to Base Rate Loans shall be in a principal
 amount of $500,000 or a whole multiple of $250,000 in excess thereof. Each Borrowing Notice shall specify (i)
 whether the requested Borrowing is to be a Base Rate Loan or Eurocurrency Rate Loan, (ii) the requested date of the
 Borrowing, a conversion of Loans from one Type to the other, or a continuation of Eurocurrency Rate Loans, as the
 case may be (which shall be a Business Day), (iii) the principal amount of Loans to be borrowed, converted or
 continued, (iv) the Type of Loans to be borrowed or to which existing Loans are to be converted and (v) wire
 instructions for where Loan funds should be sent. If the Borrower fails to specify a Type of Loan in a Borrowing
 Notice or if the Borrower fails to give a timely notice requesting a conversion or continuation of Eurocurrency Rate
 Loans, then the Loans shall be made as, or converted to, Base Rate Loans. Any such automatic conversion to Base
 Rate Loans shall be effective as of the last day of the Interest Period then in effect with respect to the applicable
 Eurocurrency Rate Loans.

           (b)      Following receipt of a Borrowing Notice, the Administrative Agent shall promptly notify each
 applicable Lender of the amount of its Applicable Percentage under the applicable Facility of the Loans, and if no
 timely notice of a conversion or continuation is provided by the Borrower, the Administrative Agent shall notify each
 applicable Lender of the details of any automatic conversion to Base Rate Loans as described in the preceding
 subsection. In the case of a Borrowing of any Term Loans, each applicable Lender shall make the amount of its Term
 Loan available to the Administrative Agent in immediately available funds at the Administrative Agent’s Office, not
 later than 1:00 p.m. on the Business Day specified in the applicable Borrowing Notice. Upon satisfaction of the
 applicable conditions set forth in Section 4.02 (and, if such Borrowing is the initial Credit Extension, Section 4.01),
 and receipt of all requested Loan funds, the Administrative Agent shall make all funds so received available to the
 Borrower in like funds as received by the Administrative Agent by wire transfer of such funds in accordance with
 instructions provided to (and reasonably acceptable to) the Administrative Agent by the Borrower.

          (c)       Except as otherwise provided herein, a Eurocurrency Rate Loan may be continued or converted only
 on the last day of an Interest Period for such Eurocurrency Rate Loan. During the existence of an Event of Default,
 no Loans of any Facility may be requested as, converted to or continued as Eurocurrency Rate Loans if the Required
 Lenders or the Administrative Agent so notify the Borrower.

          (d)      Promptly on each Interest Rate Determination Date, Administrative Agent shall determine (which
 determination shall, absent manifest error, be final, conclusive and binding upon all parties) the interest rate that shall
 apply to the Eurocurrency Rate Loans for which an interest rate is then being determined for the applicable Interest
 Period and shall promptly give notice thereof (in writing or by telephone confirmed in writing) to the Borrower and
 each Lender. At any time that Base Rate Loans are outstanding, the Administrative Agent shall notify the Borrower
 and the Lenders of any change in the Prime Rate used in determining the Base Rate promptly following the public
 announcement of such change.

          (e)      After giving effect to all Borrowings, all conversions of Loans from one type to the other, and all
 continuations of Loans as the same Type, there shall not be more than four (4) Interest Periods in effect hereunder in
 respect of the Loans.

          2.03     [Reserved].

          2.04     [Reserved].

          2.05     Prepayments.

          (a)      Voluntary Prepayments. The Borrower may, upon written notice to the Administrative Agent at
 any time or from time to time voluntarily prepay Loans, in each case, in whole or in part, subject to Section 2.09(c)
 and Section 2.09(d); provided that (i) such notice must be received by the Administrative Agent not later than 11:00
 a.m., New York City time (or such other later date and time which is acceptable to the Administrative Agent), (A)
 three Business Days prior to any date of prepayment of Eurocurrency Rate Loans, and (B) one Business Day prior to
 the date of prepayment of Base Rate Loans; (ii) any prepayment of Eurocurrency Rate Loans shall be in a principal


                                                             32
Case 20-41308          Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                        Main Document
                                               Pg 582 of 1005


 amount of $1,000,000 or a whole multiple of $500,000 in excess thereof; and (iii) any prepayment of Base Rate Loans
 shall be in a principal amount of $500,000 or a whole multiple of $250,000 in excess thereof or, in each case, the
 entire amount thereof then outstanding. Each such notice shall specify the date and amount of such prepayment and
 the Facility(ies) and Type(s) of Loans to be prepaid and, if Eurocurrency Rate Loans are to be prepaid, the Interest
 Period(s) of such Loans. The Administrative Agent will promptly notify each Lender of its receipt of each such notice
 and of the amount of such Lender’s ratable portion of such prepayment (based on such Lender’s Applicable Percentage
 in respect of the applicable Facility). If such notice is given by the Borrower, the Borrower shall make such
 prepayment and the payment amount specified in such notice shall be due and payable on the date specified therein;
 provided that any such notice may be contingent upon the consummation of a refinancing or other transactions and
 such notice may otherwise be extended or revoked by the Borrower by notice to the Administrative Agent prior to the
 specified effective date if such condition is not satisfied, in each case, with the requirements of Section 3.05 to apply
 to any failure of the contingency to occur and any such extension or revocation. Any prepayment of a Eurocurrency
 Rate Loan shall be accompanied by all accrued interest on the amount prepaid, together with any additional amounts
 required pursuant to Section 3.05. Each prepayment of the outstanding Loans pursuant to this Section 2.05(a) shall
 be applied as specified in Section 2.05(j), and each prepayment of Loans shall be paid to the Lenders in accordance
 with their respective Applicable Percentages.

          (b)      [Reserved].

          (c)      [Reserved].

          (d)      [Reserved].

           (e)     Asset Sales. No later than five Business Days following the consummation of any Disposition by
 the Borrower or a Subsidiary pursuant to Sections 7.05(b) or 7.05(c) that results in the amount of Net Proceeds (as of
 the date of such receipt) exceeding $250,000 in an aggregate amount of all Net Proceeds received since the Closing
 Date (such excess amount, the “Excess Proceeds”), the Borrower shall prepay the Loans in an aggregate amount equal
 to 100% of the Excess Proceeds. Any prepayment of a Eurocurrency Rate Loan shall be accompanied by all accrued
 interest on the amount prepaid, together with additional amounts required pursuant to Section 3.05.

          (f)      Issuance of Debt. On the first Business Day following receipt by Borrower or any of its Subsidiaries
 of any cash proceeds from the incurrence of any Indebtedness of Borrower or any of its Subsidiaries (other than with
 respect to Indebtedness permitted to be incurred pursuant to Section 7.03), Borrower shall prepay the Loans in an
 aggregate amount equal to 100% of such proceeds, net of underwriting discounts and commissions and other
 reasonable costs and expenses associated therewith, including reasonable legal fees and expenses.

          (g)      [Reserved].

         (h)      Insurance/Condemnation Proceeds. No later than five Business Days following the date of receipt
 by the Borrower or any of its Subsidiaries, or the Collateral Agent as loss payee, of any Net Insurance/Condemnation
 Proceeds, Borrower shall prepay the Loans in an aggregate amount equal to such Net Insurance/Condemnation
 Proceeds.

          (i)      [Reserved].

          (j)       Application of Prepayments. Each prepayment of the outstanding Loans (including all Base Rate
 Loans and all Eurocurrency Rate Loans) pursuant to this Section 2.05 shall be accompanied by accrued interest to the
 extent required by Section 2.08. Subject to the Carve Out, each prepayment of Loans pursuant to Section 2.05 shall
 be, subject to the Orders, remitted by the Borrower to the Administrative Agent and applied by the Administrative
 Agent in accordance with Section 8.04.

          (k)      [Reserved].

          (l)     Waivable Mandatory Prepayment. Anything contained herein to the contrary notwithstanding, in
 the event the Borrower is required to make any mandatory prepayment (a “Waivable Mandatory Prepayment”) not



                                                            33
Case 20-41308           Doc 228         Filed 04/01/20 Entered 04/01/20 23:45:34                         Main Document
                                                 Pg 583 of 1005


 less than five Business Days prior to the date (the “Required Prepayment Date”) on which the Borrower is required to
 make such Waivable Mandatory Prepayment, the Borrower shall notify the Administrative Agent in writing of the
 amount of such prepayment, and the Administrative Agent will promptly thereafter notify each Lender of the amount
 of such Lender’s Applicable Percentage of such Waivable Mandatory Prepayment. Each such Lender may exercise
 such option by giving written notice to the Borrower and the Administrative Agent of its election to do so on or before
 5:00 p.m., New York City time, on the third Business Day prior to the Required Prepayment Date (it being understood
 that any Lender which does not notify the Borrower and the Administrative Agent of its election to exercise such
 option on or before the third Business Day prior to the Required Prepayment Date shall be deemed to have elected, as
 of such date, not to exercise such option). On the Required Prepayment Date, (i) the Borrower shall pay to the
 Administrative Agent an amount equal to that portion of the Waivable Mandatory Prepayment that is payable to those
 Lenders that have elected not to exercise such option, to prepay the Loans of such Lenders (which prepayment shall
 be applied in accordance with the terms of this Section 2.05), and (ii) the portion of the Waivable Mandatory
 Prepayment otherwise payable to Lenders that have elected to exercise such option (“Declined Proceeds”) may be
 retained by the Borrower to be used for any purpose not prohibited hereunder.

          2.06      [Reserved].

         2.07      Repayment of Loans. The Borrower hereby unconditionally agrees to pay to the Administrative
 Agent for the account of each Lender the then unpaid principal amount of such Lender’s Loans, together with all other
 amounts owed hereunder with respect thereto, including all applicable fees in accordance with Section 2.09 on the
 Maturity Date.

          2.08      Interest.

          (a)      Subject to the provisions of subsection (b) below, (i) each Eurocurrency Rate Loan shall bear interest
 on the outstanding principal amount thereof for each Interest Period at a rate per annum equal to the Eurocurrency
 Rate for such Interest Period plus the Applicable Rate; and (ii) each Base Rate Loan shall bear interest on the
 outstanding principal amount thereof from the applicable borrowing date at a rate per annum equal to the Base Rate
 plus the Applicable Rate.

           (b)       If any amount of principal or interest of any Loan (or any other Obligations) is not paid when due
 (without regard to any applicable grace periods), whether at stated maturity, by acceleration or otherwise, such amount
 shall thereafter bear interest at a fluctuating interest rate per annum at all times equal to the Default Rate to the fullest
 extent permitted by applicable Laws. Accrued and unpaid interest on past due amounts (including interest on past due
 interest) shall be due and payable upon demand.

          (c)      Interest on each Loan shall be due and payable in arrears on each Interest Payment Date applicable
 thereto and at such other times as may be specified herein. Interest hereunder shall be due and payable in accordance
 with the terms hereof before and after judgment, and before and after the commencement of any proceeding under
 any Debtor Relief Law.

          2.09      Fees.

          (a)      Agency Fee. The Borrower shall pay to each Agent for its own account, in Dollars, fees in the
 amounts and at the times specified in the Agency Fee Letter. Such fees shall be fully earned when paid and shall not
 be refundable for any reason whatsoever.

           (b)     Upfront Fee. The Borrower shall pay to the Administrative Agent (i) on the Closing Date for the
 account of each Initial Term Lender, as fee compensation for the funding of such Initial Term Lender’s Initial Term
 Loan, an upfront fee in an amount equal to 3.00% of the aggregate principal amount of such Initial Term Lender’s
 Initial Term Loan Commitment, payable to such Initial Term Lender from the proceeds of its Initial Term Loan on
 the Closing Date, and (ii) on the Delayed Draw Funding Date for the account of each Delayed Draw Term Lender, as
 fee compensation for the funding of such Delayed Draw Term Lender’s Delayed Draw Term Loan, an upfront fee in
 an amount equal to 3.00% of the aggregate principal amount of such Delayed Draw Term Lender’s Delayed Draw
 Term Loan Commitment, payable to such Delayed Draw Term Lender from the proceeds of its Delayed Draw Term



                                                              34
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                       Main Document
                                                Pg 584 of 1005


 Loan on the Delayed Draw Funding Date. Such upfront fees will be in all respects fully earned, due and payable upon
 the funding of the Initial Term Loans or the Delayed Draw Term Loans, as the case may be, and shall be non-
 refundable and non-creditable thereafter.

           (c)       Put Option Premium. The Borrower shall pay to each Backstop Lender (or any Affiliate, or any
 affiliated investment fund, investment vehicle or entity that is managed, advised or sub-advised by such Backstop
 Lender or such Affiliate, in each case, designated by such Backstop Lender in writing to the Administrative Agent) a
 put option premium in an amount equal to 5.0% of the aggregate principal amount of such Backstop Lender’s Backstop
 Commitments (as in effect immediately prior to the funding of Initial Term Loans), which shall be due on the Plan
 Effective Date and payable in the form of New Common Equity at a 35% discount to the Stated Equity Value, subject
 to dilution for the Management Incentive Plan; provided, however, that, after the exercise of remedies provided for in
 Section 8.02 (or after the Loans have automatically become immediately due and payable) upon the occurrence of any
 Event of Default under this Agreement or upon repayment of the Loans in full and termination of all Commitments
 without the occurrence of the Plan Effective Date, the Borrower shall pay to each Backstop Lender (or any Affiliate,
 or any affiliated investment fund, investment vehicle or entity that is managed, advised or sub-advised by such
 Backstop Lender or such Affiliate, in each case, designated by such Backstop Lender in writing to the Administrative
 Agent) in cash a put option premium in an amount equal to $10,000,000, ratably in accordance with their Backstop
 Commitments (as in effect immediately prior to the funding of the Initial Term Loans). Such put option premium will
 be fully earned in all respects on the Closing Date, and shall be non-refundable and non-creditable thereafter. The
 Agents shall have no responsibility for the distribution of any New Common Equity to the Backstop Lenders.

           (d)      Exit Fee. The Borrower shall pay to each Term Lender (or any Affiliate, or any affiliated investment
 fund, investment vehicle or entity that is managed, advised or sub-advised by such Term Lender or such Affiliate, in
 each case, designated by such Term Lender in writing to the Administrative Agent) an exit fee in an aggregate amount
 equal to 1.0% of the aggregate principal amount of the Term Loan Commitment (prior to any funding of Term Loans),
 which shall be due on the Plan Effective Date, ratably in accordance with Term Loans then outstanding and any
 unfunded Term Loan Commitments then outstanding, and payable in the form of New Common Equity at a 35%
 discount to the Stated Equity Value, subject to dilution for the Management Incentive Plan; provided, however, that,
 after the exercise of remedies provided for in Section 8.02 (or after the Loans have automatically become immediately
 due and payable) upon the occurrence of any Event of Default under this Agreement or upon repayment of the Loans
 in full and termination of all Commitments without the occurrence of the Plan Effective Date, the Borrower shall pay
 to each Term Lender (or any Affiliate, or any affiliated investment fund, investment vehicle or entity that is managed,
 advised or sub-advised by such Term Lender or such Affiliate, in each case, designated by such Term Lender in
 writing to the Administrative Agent) in cash an exit fee in an amount equal to $2,000,000, ratably in accordance with
 their Term Loans outstanding at such time. Such exit fees will be fully earned in all respects on the Closing Date, and
 shall be non-refundable and non-creditable thereafter. The Agents shall have no responsibility for the distribution of
 any New Common Equity to the Term Lenders.

           (e)      Delayed Draw Term Loan Commitment Fee. The Borrower shall pay to the Administrative Agent,
 for the account of each Delayed Draw Term Lender, as fee compensation for such Term Lender’s Delayed Draw Term
 Loan Commitment, a commitment fee (the “Delayed Draw Term Loan Commitment Fee”) on the Delayed Draw Term
 Loan Commitment (whether or not then available) of such Term Lender accruing, during the period commencing from
 the Closing Date to the Delayed Draw Funding Date, at a rate per annum equal to the 1.00%, payable to such Term
 Lender from the proceeds of its Delayed Draw Term Loan on the Delayed Draw Funding Date. Such Delayed Draw
 Term Loan Commitment Fee will be in all respects fully earned, due and payable upon the funding of the Delayed
 Draw Term Loans, and shall be non-refundable and non-creditable thereafter.

          2.10     Computation of Interest and Fees.

           (a)      All computations of interest for Base Rate Loans, where the rate of interest is calculated on the basis
 of the Prime Rate, shall be made on the basis of a year of 365 or 366 days, as the case may be, and actual days elapsed.
 All other computations of fees and interest shall be made on the basis of a 360-day year and actual days elapsed.
 Interest shall accrue on each Loan for the day on which the Loan is made, and shall not accrue on a Loan, or any
 portion thereof, for the day on which the Loan or such portion is paid; provided that any Loan that is repaid on the
 same day on which it is made shall, subject to Section 2.12(a), bear interest for one day. Each determination by an



                                                            35
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                       Main Document
                                                Pg 585 of 1005


 Administrative Agent of an interest rate or fee hereunder shall be conclusive and binding for all purposes, absent
 manifest error.

          2.11     Evidence of Debt.

           (a)      The Credit Extensions made by each Lender shall be evidenced by one or more accounts or records
 maintained by such Lender and by the Administrative Agent in the ordinary course of business. The accounts or
 records maintained by the Administrative Agent and each Lender shall be conclusive absent manifest error of the
 amount of the Credit Extensions made by the Lenders to the Borrower and the interest and payments thereon. Any
 failure to so record or any error in doing so shall not, however, limit or otherwise affect the obligation of the Borrower
 hereunder to pay any amount owing with respect to the Obligations. In the event of any conflict between the accounts
 and records maintained by any Lender and the accounts and records of the Administrative Agent in respect of such
 matters, the accounts and records of the Administrative Agent shall control in the absence of manifest error. Upon
 the request of any Lender to the Borrower, the Borrower shall execute and deliver a Note to such Lender, which shall
 evidence such Lender’s Loans to the Borrower in addition to such accounts or records. Each Lender may attach
 schedules to a Note and endorse thereon the date, Type (if applicable), amount and maturity of its Loans and payments
 with respect thereto.

          2.12     Payments Generally; Administrative Agent’s Clawback.

          (a)       General. All payments to be made by the Borrower shall be made without condition or deduction
 for any counterclaim, defense, recoupment or setoff. Except as otherwise expressly provided herein, all payments by
 the Borrower hereunder shall be made to the Administrative Agent for the account of the Lenders, to which such
 payment is owed, at the Administrative Agent’s Office in Dollars and in Same Day Funds not later than 2:00 p.m.,
 New York City time, on the date specified herein. The Administrative Agent will promptly distribute to each
 applicable Lender its Applicable Percentage of such payment in like funds as received by wire transfer to such
 applicable Lender’s Lending Office. All payments received by the Administrative Agent after 2:00 p.m., New York
 City time, may, in Administrative Agent’s discretion, be deemed received on the next succeeding Business Day and
 any applicable interest or fee shall continue to accrue. If any payment to be made by the Borrower shall come due on
 a day other than a Business Day, payment shall be made on the next following Business Day, and such extension of
 time shall be reflected in computing interest or fees, as the case may be.

          (b)       (i)      Funding by Lenders; Presumption by Administrative Agent. Unless the Administrative
 Agent shall have received notice from a Lender prior to the proposed date of any Borrowing of Eurocurrency Rate
 Loans (or, in the case of any Borrowing of Base Rate Loans, prior to 12:00 noon., New York City time, on the date of
 such Borrowing) that such Lender will not make available to the Administrative Agent such Lender’s share of such
 Borrowing, the Administrative Agent may assume that such Lender has made such share available on such date in
 accordance with Section 2.02 (or, in the case of a Borrowing of Base Rate Loans, that such Lender has made such
 share available in accordance with and at the time required by Section 2.02) and may, in reliance upon such
 assumption, make available to the Borrower a corresponding amount. In such event, if an applicable Lender has not
 in fact made its share of the applicable Borrowing available to the Administrative Agent, then the applicable Lender
 and the Borrower severally agree to pay to the Administrative Agent forthwith on demand such corresponding amount
 in Same Day Funds with interest thereon, for each day from and including the date such amount is made available to
 the Borrower to but excluding the date of payment to the Administrative Agent, at (A) in the case of a payment to be
 made by such Lender, the Overnight Rate plus any administrative, processing or similar fees customarily charged by
 the Administrative Agent in connection with the foregoing, and (B) in the case of a payment to be made by the
 Borrower, the interest rate applicable to Base Rate Loans of the Facility and Type comprising such Borrowing. If the
 Borrower and such Lender shall pay such interest to the Administrative Agent for the same or an overlapping period,
 the Administrative Agent shall promptly remit to the Borrower the amount of such interest paid by the Borrower for
 such period. If such Lender pays its share of the applicable Borrowing to the Administrative Agent, then the amount
 so paid shall constitute such Lender’s Term Loan, included in such Borrowing. Any payment by the Borrower shall
 be without prejudice to any claim the Borrower may have against a Lender that shall have failed to make such payment
 to the Administrative Agent.

                 (ii)    Payments by Borrower; Presumptions by Administrative Agent. Unless the Administrative
 Agent shall have received notice from the Borrower prior to the date on which any payment is due to the


                                                            36
Case 20-41308          Doc 228       Filed 04/01/20 Entered 04/01/20 23:45:34                      Main Document
                                              Pg 586 of 1005


 Administrative Agent for the account of the applicable Lenders hereunder that the Borrower will not make such
 payment, the Administrative Agent may assume that the Borrower has made such payment on such date in accordance
 herewith and may, in reliance upon such assumption, distribute to the applicable Lenders, the amount due. In such
 event, if the Borrower has not in fact made such payment, then each of the applicable Lenders, severally agrees to
 repay to the Administrative Agent forthwith on demand the amount so distributed to such Lender, in Same Day Funds
 with interest thereon, for each day from and including the date such amount is distributed to it to but excluding the
 date of payment to the Administrative Agent at the Overnight Rate.

         A notice of the Administrative Agent to any applicable Lender or the Borrower with respect to any amount
 owing under this subsection (b) shall be conclusive, absent manifest error.

           (c)      Failure to Satisfy Conditions Precedent. If any Lender makes available to the Administrative Agent
 funds for any Loan to be made by such Lender to the Borrower as provided in the foregoing provisions of this Article
 II, and such funds are not made available to the Borrower by the Administrative Agent because the conditions set forth
 in Article IV are not satisfied or waived in accordance with the terms hereof, the Administrative Agent shall promptly
 return such funds (in like funds as received from such Lender) to such Lender, without interest.

           (d)     Obligations of Lenders Several. The obligations of the Lenders hereunder to make Term Loans and
 to make payments pursuant to Section 10.04(c) are several and not joint. The failure of any Lender to make any Term
 Loan or to make any payment under Section 10.04(c) on any date required hereunder shall not relieve any other Lender
 of its corresponding obligation to do so on such date, and no Lender shall be responsible for the failure of any other
 Lender to so make its Term Loan or to make its payment under Section 10.04(c).

          (e)      Funding Source. Nothing herein shall be deemed to obligate any Lender to obtain the funds for any
 Loan in any particular place or manner or to constitute a representation by any Lender that it has obtained or will
 obtain the funds for any Loan in any particular place or manner.

           2.13     Pro Rata; Sharing of Payments by Lenders. Except as otherwise expressly provided in this
 Agreement, each payment (including each prepayment) by the Borrower on account of principal of and interest on
 any Loans shall be allocated by the Administrative Agent pro rata according to the respective outstanding principal
 amounts of such Loans then held by the respective Lenders. If any Lender shall, by exercising any right of setoff or
 counterclaim or otherwise, obtain payment in respect of (a) Obligations due and payable to such Lender hereunder
 and under the other Loan Documents at such time in excess of its ratable share (according to the proportion of (i) the
 amount of such Obligations due and payable to such Lender at such time to (ii) the aggregate amount of the Obligations
 due and payable to all Lenders hereunder and under the other Loan Documents at such time) of payments on account
 of the Obligations due and payable to all Lenders hereunder and under the other Loan Documents at such time obtained
 by all the Lenders at such time or (b) Obligations owing (but not due and payable) to such Lender hereunder and under
 the other Loan Documents at such time in excess of its ratable share (according to the proportion of (i) the amount of
 such Obligations owing (but not due and payable) to such Lender at such time to (ii) the aggregate amount of the
 Obligations owing (but not due and payable) to all Lenders hereunder and under the other Loan Documents at such
 time) of payment on account of the Obligations owing (but not due and payable) to all Lenders hereunder and under
 the other Loan Documents at such time obtained by all of the Lenders at such time, then the Lender receiving such
 greater proportion shall (a) notify the Administrative Agent of such fact and (b) purchase (for cash at face value)
 participations in the Loans of the other Lenders, or make such other adjustments as shall be equitable, so that the
 benefit of all such payments shall be shared by the Lenders ratably in accordance with the aggregate amount of
 Obligations then due and payable to the Lenders or owing (but not due and payable) to the Lenders, as the case may
 be; provided that:

          (a)       if any such participations or subparticipations are purchased and all or any portion of the payment
 giving rise thereto is recovered, such participations or subparticipations shall be rescinded and the purchase price
 restored to the extent of such recovery, without interest; and

          (b)       the provisions of this Section shall not be construed to apply to (i) any payment made by the
 Borrower pursuant to and in accordance with the express terms of this Agreement (ii) any payment obtained by a
 Lender as consideration for the assignment of or sale of a participation in any of its Loans to any assignee or
 participant, other than to the Borrower or any Subsidiary thereof (as to which the provisions of this Section shall


                                                          37
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                       Main Document
                                                Pg 587 of 1005


 apply), (iii) any payments pursuant to the Agency Fee Letter, or (iv) any payments made pursuant to Article III or
 Section 10.13.

          The Borrower consents to the foregoing and agrees, to the extent it may effectively do so under applicable
 law, that any Lender acquiring a participation pursuant to the foregoing arrangements may exercise against the
 Borrower rights of setoff and counterclaim with respect to such participation as fully as if such Lender were a direct
 creditor of the Borrower in the amount of such participation.

          2.14     [Reserved].

          2.15     [Reserved].

          2.16     [Reserved].

          2.17     [Reserved].

          2.18     Defaulting Lenders. Notwithstanding anything contained in this Agreement to the contrary, if any
 Lender becomes a Defaulting Lender, then, until such time as such Lender is no longer a Defaulting Lender, to the
 extent permitted by applicable Law:

           (a)      Defaulting Lender Waterfall. Any payment of principal, interest, fees or other amounts received by
 the Administrative Agent for the account of such Defaulting Lender (whether voluntary or mandatory, at maturity,
 pursuant to Article VIII or otherwise) or received by the Administrative Agent from a Defaulting Lender pursuant to
 Section 10.08 shall be applied at such time or times as may be determined by the Administrative Agent as follows:
 first, to the payment of any amounts owing by such Defaulting Lender to any Agent hereunder; second, as the
 Borrower may request (so long as no Default or Event of Default exists), to the funding of any Loan in respect of
 which such Defaulting Lender has failed to fund its portion thereof as required by this Agreement, as determined by
 the Administrative Agent; third, if so determined by the Administrative Agent and the Borrower, to be held in a deposit
 account and released pro rata in order to satisfy such Defaulting Lender’s potential future funding obligations with
 respect to Loans under this Agreement; fourth, to the payment of any amounts owing to the Lenders, as a result of any
 judgment of a court of competent jurisdiction obtained by any Lender, against such Defaulting Lender as a result of
 such Defaulting Lender’s breach of its obligations under this Agreement; fifth, so long as no Default or Event of
 Default exists, to the payment of any amounts owing to the Borrower as a result of any judgment of a court of
 competent jurisdiction obtained by the Borrower against such Defaulting Lender as a result of such Defaulting
 Lender’s breach of its obligations under this Agreement; and sixth, to such Defaulting Lender or as otherwise directed
 by a court of competent jurisdiction; provided that if such payment is a payment of the principal amount of any Loans
 in respect of which such Defaulting Lender has not fully funded its appropriate share, such payment shall be applied
 solely to pay the Loans of all non-Defaulting Lenders on a pro rata basis prior to being applied to the payment of any
 Loans of such Defaulting Lender until such time as all Loans are held by the Lenders pro rata in accordance with the
 Commitments hereunder. Any payments, prepayments or other amounts paid or payable to a Defaulting Lender that
 are applied (or held) to pay amounts owed by a Defaulting Lender shall be deemed paid to and redirected by such
 Defaulting Lender, and each Lender irrevocably consents hereto.

           A Lender that has become a Defaulting Lender because of an event referenced in the definition of Defaulting
 Lender may cure such status and shall no longer constitute a Defaulting Lender as a result of such event when (i) such
 Defaulting Lender shall have fully funded or paid, as applicable, all Loans or other amounts required to be funded or
 paid by it hereunder as to which it is delinquent (together, in each case, with such interest thereon as shall be required
 to any Person as otherwise provided in this Agreement), (ii) the Administrative Agent and each of the Borrower shall
 have received a certification by such Defaulting Lender of its ability and intent to comply with the provisions of this
 Agreement going forward, and (iii) each of the Administrative Agent and the Borrower shall have determined (and
 notified the Administrative Agent) that they are satisfied, in their sole discretion, that such Defaulting Lender intends
 to continue to perform its obligations as a Lender hereunder and has all approvals required to enable it, to continue to
 perform its obligations as a Lender hereunder. No reference in this subsection to an event being “cured” shall by itself
 preclude any claim by any Person against any Lender that becomes a Defaulting Lender for such damages as may
 otherwise be available to such Person arising from any failure to fund or pay any amount when due hereunder or from
 any other event that gave rise to such Lender’s status as a Defaulting Lender.


                                                            38
Case 20-41308           Doc 228         Filed 04/01/20 Entered 04/01/20 23:45:34                         Main Document
                                                 Pg 588 of 1005


          2.19      Priority and Liens; No Discharge.

          (a)      The relative priorities of the Liens with respect to the Collateral shall be as set forth in the Interim
 Order (and, when entered, the Final Order). Notwithstanding anything to the contrary in this Agreement or in any
 Loan Document, all of the Liens described herein shall be effective and perfected upon entry of the Interim Order
 without the necessity of the execution or recordation of filings by the Debtors of security agreements, mortgages,
 control agreements, pledge agreements, financing statements or other similar documents, or the possession or control
 by the Collateral Agent, as applicable, of, or over, any Collateral, as set forth in the Interim Order and, when entered,
 the Final Order.

          (b)

                   (i)      Each Loan Party that is a Debtor hereby confirms and acknowledges that, pursuant to the
 Interim Order (and, when entered, the Final Order), the Liens in favor of the Collateral Agent on behalf of and for the
 benefit of the Secured Parties in all of the Collateral and the proceeds thereof, which includes, without limitation, all
 of such Debtor’s Real Properties (other than Excluded Assets), now existing or hereafter acquired, shall be created
 and perfected without the recordation or filing in any land records or filing offices of any mortgage, assignment or
 similar instrument.

                     (ii)      Further to Section 2.19(b)(i) and the Interim Order (and, when entered, the Final Order),
 subject to Section 2.19(b)(iv) below, to secure the full and timely payment and performance of the Obligations, each
 Loan Party that is a Debtor hereby MORTGAGES, GRANTS, BARGAINS, ASSIGNS, SELLS, CONVEYS and
 CONFIRMS, to the Collateral Agent, for the ratable benefit of the Secured Parties, all or any Real Properties (in any
 case, excluding any Real Properties that are Excluded Assets), but which, for the avoidance of doubt, shall include all
 of such Loan Party’s right, title and interest now or hereafter acquired in and to (a) any and all easements, rights-of-
 way, reversions, sidewalks, strips and gores of land, drives, roads, curbs, streets, ways, alleys, passages, passageways,
 sewer rights, waters, water courses, water rights, mineral, gas and oil rights, as-extracted collateral and all power, air,
 light and other rights, estates, titles, interests, privileges, liberties, servitudes, licenses, tenements, hereditaments and
 appurtenances whatsoever, in any way belonging, relating or appertaining thereto, or any part thereof, or which
 hereafter shall in any way belong, relate or be appurtenant thereto; (b) the lessee’s interest and estate in, to and under
 any leases and subleases to which such Loan Party is a party (as such leases and subleases may be extended, amended,
 supplemented, modified or restated), together with any and all easements, rights-of-way, reversions, sidewalks, strips
 and gores of land, drives, roads, curbs, streets, ways, alleys, passages, passageways, sewer rights, waters, water
 courses, water rights, mineral, gas and oil rights, as-extracted collateral and all power, air, light and other rights,
 estates, titles, interests, privileges, liberties, servitudes, licenses, tenements, hereditaments and appurtenances
 whatsoever, in any way demised under such leases and subleases; (c) any and all tipples, loading and coal washing
 facilities, railroad tracks, buildings, foundations, structures and other fixtures and improvements and any and all
 alterations and all materials now or hereafter intended for construction, reconstruction or repair thereof; (d) any and
 all permits, certificates, authorizations, consents, approvals, licenses, franchises, waivers or other instruments now or
 hereafter required by any Governmental Authority to operate or use and occupy the Real Properties and related assets
 for its intended uses; (e) all materials, supplies, equipment, apparatus and other items of personal property now owned
 or hereafter acquired by such Loan Party, and water, gas, electrical, telephone, storm and sanitary sewer facilities and
 all other utilities whether or not situated in easements or used or useful in connection with mining coal or other
 minerals or in connection with any related activities or the maintenance or preservation thereof; (f) all goods, accounts,
 general intangibles, instruments, documents, chattel paper, as-extracted collateral and all other personal property of
 any kind or character, including such items of personal property as defined in the UCC; (g) all reserves, escrows or
 impounds and all deposit accounts; (h) such Loan Party’s right, title and interest as lessor, landlord, sublessor,
 sublandlord, franchisor, licensor or grantor, in all leases and subleases (including, without limitation, intercompany
 leases) of land or improvements, leases and subleases of space, oil, gas and mineral leases, franchise agreements,
 licenses, occupancy or concession agreements or other agreements which grant to any Person (other than such Loan
 Party) a possessory interest in, or the right to use any Real Properties, including, all rents, additional rents, royalties,
 cash, guaranties, letters of credit, bonds, sureties or securities deposited thereunder to secure performance of the
 lessee’s, sublessee’s, franchisee’s, licensee’s or obligee’s obligations thereunder, revenues, earnings, profits and
 income, advance rental or royalties, payments, payments incident to assignment, sublease or surrender of a lease,
 claims for forfeited deposits and claims for damages, now due or hereafter to become due, with respect to any lease,
 any indemnification against, or reimbursement for, sums paid and costs and expenses incurred by such Loan Party


                                                              39
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                        Main Document
                                                Pg 589 of 1005


 under any lease or otherwise, and any award in the event of the bankruptcy of any tenant or lessee under or guarantor
 of a lease; (i) all other agreements, such as construction contracts, architects’ agreements, engineers’ contracts, utility
 contracts, maintenance agreements, management agreements, service contracts, listing agreements, guaranties,
 warranties, permits, licenses, certificates and entitlements in any way relating to the construction, use, occupancy,
 operation, maintenance, enjoyment or ownership of any Real Properties; (j) all rights, privileges, tenements,
 hereditaments, rights-of-way, easements, appendages and appurtenances appertaining to the foregoing; (k) all property
 tax refunds payable to such Loan Party; (l) all accessions, replacements and substitutions for any of the foregoing and
 all proceeds thereof; (m) all insurance policies, unearned premiums therefor and proceeds from such policies covering
 any of the above property now or hereafter acquired by such Loan Party; and (n) any awards, damages, remunerations,
 reimbursements, settlements or compensation heretofore made or hereafter to be made by any Governmental Authority
 pertaining to the Real Properties (BUT EXCLUDING from the foregoing grants, Excluded Assets), TO HAVE AND
 TO HOLD to the Collateral Agent, and such Loan Party does hereby bind itself, its successors and assigns to
 WARRANT AND FOREVER DEFEND the title to such property, assets and interests unto the Collateral Agent.

                    (iii)     Each Loan Party that is a Debtor further agrees that upon the request of the Collateral Agent
 (acting at the direction of the Required Lenders), such Loan Party shall execute and deliver to the Collateral Agent,
 as soon as reasonably practicable following such request but in any event within 45 days following such request (or
 such later date as may be extended by the Collateral Agent), with respect to Real Properties owned or leased by such
 Loan Party (in any case, excluding any Real Properties that are Excluded Assets) and identified by the Collateral
 Agent, the applicable Loan Party shall deliver:

                   1.        fully executed and notarized Mortgages, in proper form for recording in all appropriate
                             places in all applicable jurisdictions, encumbering each such Real Properties, and any
                             ancillary deliverables as reasonably requested by the Collateral Agent (including, without
                             limitation, memoranda of leases in recordable form, duly executed by the applicable
                             landlord and Loan Party);

                   2.        an opinion of counsel (which counsel shall be reasonably satisfactory to Collateral Agent)
                             in each state in which each such Real Property is located with respect to the enforceability
                             of the form(s) of Mortgages to be recorded in such state and such other matters as Collateral
                             Agent may reasonably request, in each case in form and substance reasonably satisfactory
                             to Collateral Agent; and

                   3.        (A) a completed Flood Certificate with respect to any Real Property that constitutes
                             Collateral and that is improved with structures eligible for flood insurance under the Flood
                             Program, which Flood Certificate shall (x) be addressed to the Collateral Agent and (y)
                             otherwise comply with the Flood Program; (B) if the Flood Certificate states that such Real
                             Property is located in a Flood Zone, Debtor’s written acknowledgment of receipt of written
                             notification from the Collateral Agent (x) as to the existence of each such Real Property
                             and (y) as to whether the community in which such Real Property is located is participating
                             in the Flood Program; and (C) if such Real Property is located in a Flood Zone and is
                             located in a community that participates in the Flood Program, evidence that Debtor has
                             obtained a policy of flood insurance that is in compliance with all applicable requirements
                             of the Flood Program.

                      (iv)     Each of the Loan Parties agrees that to the extent that its Obligations have not been Paid in
 Full, (i) its obligations shall not be discharged by any order confirming a Reorganization Plan (and each of the Loan
 Parties, pursuant to Section 1141(d)(4) of the Bankruptcy Code, hereby waives any such discharge) and (ii) the
 Superpriority Claim granted to the Secured Parties pursuant to the Orders and the Liens granted to the Secured Parties
 pursuant to the Orders shall not be affected in any manner by any order confirming a Reorganization Plan; provided
 that such Obligations shall be discharged upon such Payment in Full, and such Obligations may be otherwise treated
 in accordance with an Acceptable Plan and such treatment will provide for the discharge of the Obligations arising
 hereunder if so provided by such Acceptable Plan.

                                               ARTICLE III
                                TAXES, YIELD PROTECTION AND ILLEGALITY


                                                             40
Case 20-41308             Doc 228       Filed 04/01/20 Entered 04/01/20 23:45:34                     Main Document
                                                 Pg 590 of 1005


          3.01     Taxes.

          (a)      Payments Free of Taxes. Any and all payments by or on account of any Loan Party hereunder or
 under any other Loan Document shall be made without deduction or withholding for any Taxes, except as required by
 applicable Law. If any applicable Law (as determined in the good faith discretion of the applicable Withholding
 Agent) requires the deduction or withholding of any Tax from any such payment by a Withholding Agent, then the
 applicable Withholding Agent shall be entitled to make such deduction or withholding and shall timely pay the full
 amount deducted or withheld to the relevant Governmental Authority in accordance with applicable law and, if such
 Tax is an Indemnified Tax, then the sum payable by the applicable Loan Party shall be increased as necessary so that
 after such deduction or withholding has been made (including such deductions and withholdings applicable to
 additional sums payable under this Section 3.01(a)) the applicable Recipient receives an amount equal to the sum it
 would have received had no such deduction or withholding been made.

          (b)      Payment of Other Taxes by the Borrower. Without duplication of any obligation set forth in
 subsection (a) above, the Loan Parties shall timely pay to the relevant Governmental Authority in accordance with
 applicable law, or at the option of the Administrative Agent timely reimburse it for the payment of any Other Taxes.

           (c)      Indemnification by the Borrower. The Loan Parties shall jointly and severally indemnify each
 Recipient within 10 days after written demand therefor, for the full amount of any Indemnified Taxes (including
 Indemnified Taxes imposed or asserted on or attributable to amounts payable under this Section) payable or paid by
 such Recipient, or required to be withheld or deducted from a payment to such Recipient and any reasonable expenses
 arising therefrom or with respect thereto, whether or not such Indemnified Taxes were correctly or legally imposed or
 asserted by the relevant Governmental Authority. A certificate as to the amount of such payment or liability delivered
 to the Borrower by a Lender (with a copy to the Administrative Agent), or by the Administrative Agent on its own
 behalf or on behalf of an applicable Lender, shall be conclusive absent manifest error.

         (d)       Evidence of Payments. As soon as practicable after any payment of Taxes by any Loan Party to a
 Governmental Authority pursuant to this Section 3.01, the applicable Loan Party shall deliver to the Administrative
 Agent the original or a certified copy of a receipt issued by such Governmental Authority evidencing such payment,
 a copy of the return reporting such payment or other evidence of such payment reasonably satisfactory to the
 Administrative Agent.

          (e)      Status of Lenders.

                    (i)      Any Lender that is entitled to an exemption from or reduction of withholding Tax with
 respect to any payments made under any Loan Document shall deliver to the Borrower and the Administrative Agent,
 at the time or times prescribed by applicable Law and from time to time when reasonably requested by the Borrower
 or the Administrative Agent, such properly completed and executed documentation prescribed by applicable Law or
 reasonably requested by the Borrower or the Administrative Agent as will permit such payments to be made without
 withholding or at a reduced rate of withholding. In addition, any Lender, if reasonably requested by the Borrower or
 the Administrative Agent, shall deliver such other documentation prescribed by applicable Law or reasonably
 requested by the Borrower or the Administrative Agent as will enable the Borrower or the Administrative Agent to
 determine whether or not such Lender is subject to backup withholding or information reporting requirements.

                   (ii)      Without limiting the generality of the foregoing,

                           (A)       any Lender that is not a Foreign Lender shall deliver to the Borrower and
 Administrative Agent on or prior to the date on which such Lender becomes a Lender under this Agreement (and from
 time to time thereafter as prescribed by applicable Law or upon the reasonable request of the Borrower or the
 Administrative Agent), duly completed and executed copies of IRS Form W-9 certifying that such Lender is exempt
 from U.S. federal backup withholding tax;

                         (B)      any Foreign Lender, to the extent it is legally entitled to do so, shall deliver to the
 Borrower and the Administrative Agent (in such number of copies as shall be requested by the recipient) on or prior




                                                           41
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                        Main Document
                                                Pg 591 of 1005


 to the date on which such Foreign Lender becomes a Lender under this Agreement (and from time to time thereafter
 upon the reasonable request of the Borrower or the Administrative Agent), whichever of the following is applicable:

                                       (1)       in the case of any Foreign Lender claiming the benefits of an income tax
                             treaty to which the United States is a party (x) with respect to payments of interest under
                             any Loan Document, duly completed and executed copies of IRS Form W-8BEN or IRS
                             Form W-8BEN-E, as applicable, establishing an exemption from, or reduction of, U.S.
                             federal withholding Tax pursuant to the “interest” article of such tax treaty and (y) with
                             respect to any other applicable payments under any Loan Document, IRS Form W-8BEN
                             or IRS Form W-8BEN-E, as applicable, establishing an exemption from, or reduction of,
                             U.S. federal withholding Tax pursuant to the “business profits” or “other income” article
                             of such tax treaty;

                                   (2)         duly completed and executed copies of IRS Form W-8ECI or IRS Form
                             W-8EXP;

                                      (3)       in the case of any Foreign Lender claiming the benefits of the exemption
                             for portfolio interest under Section 881(c) of the Code, (x) a certificate substantially in the
                             form of Exhibit M-1 to the effect that such Foreign Lender is not (A) a “bank” within the
                             meaning of Section 881(c)(3)(A) of the Code, (B) a “10 percent shareholder” of the
                             Borrower within the meaning of Section 881(c)(3)(B) of the Code, or (C) a “controlled
                             foreign corporation” related to a Loan Party as described in Section 881(c)(3)(C) of the
                             Code (a “U.S. Tax Compliance Certificate”) and (y) duly completed and executed copies
                             of IRS Form W-8BEN or IRS Form W-8BEN-E, as applicable;

                                       (4)      to the extent any Foreign Lender is not the beneficial owner, duly
                             completed and executed copies of IRS Form W-8IMY, accompanied by IRS Form W-
                             8ECI, IRS Form W-8EXP, IRS Form W-8BEN or IRS Form W-8BEN-E, as applicable, a
                             U.S. Tax Compliance Certificate substantially in the form of Exhibit M-2 or Exhibit M-3,
                             IRS Form W-9, and/or other certification documents from each beneficial owner, as
                             applicable; provided that if the Foreign Lender is a partnership and one or more direct or
                             indirect partners of such Foreign Lender are claiming the portfolio interest exemption, such
                             Foreign Lender may provide a U.S. Tax Compliance Certificate substantially in the form
                             of Exhibit M-4 on behalf of each such direct and indirect partner;

                             (C)      in addition, any Foreign Lender shall, to the extent it is legally entitled to do so,
 deliver to the Borrower and the Administrative Agent (in such number of copies as shall be requested by the recipient)
 on or prior to the date on which such Foreign Lender becomes a Lender under this Agreement (and from time to time
 thereafter upon the reasonable request of the Borrower or the Administrative Agent), duly completed and executed
 copies of any other form prescribed by applicable Law as a basis for claiming exemption from or a reduction in United
 States federal withholding Tax duly completed and executed together with such supplementary documentation as may
 be prescribed by applicable Law to permit the Borrower or Administrative Agent to determine the withholding or
 deduction required to be made; provided, that notwithstanding anything to the contrary in this Section 3.01(e); the
 completion, execution and submission of the documentation described in this subclause 3.01(e)(ii)(C) shall not be
 required if in the Lender’s reasonable judgment such completion, execution or submission would subject such Lender
 to any material unreimbursed cost or expense or would materially prejudice the legal or commercial position of such
 Lender; and

                            (D)      if a payment made to a Lender under any Loan Document would be subject to Tax
 imposed by FATCA if such Lender were to fail to comply with the applicable reporting requirements of FATCA
 (including those contained in Section 1471(b) or Section 1472(b) of the Code, as applicable), such Lender shall deliver
 to the Borrower and the Administrative Agent at the time or times as prescribed by Law and at such time or times as
 reasonably requested by the Borrower or the Administrative Agent such documentation prescribed by applicable Law
 (including as prescribed by Section 1471(b)(3)(C)(i) of the Code) and such additional documentation reasonably
 requested by the Borrower or the Administrative Agent as may be necessary for the Borrower and the Administrative
 Agent to comply with their obligations under FATCA and to determine that such Lender has complied with such


                                                            42
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                       Main Document
                                                Pg 592 of 1005


 Lender’s obligations under FATCA or to determine the amount to deduct and withhold from such payment. Solely
 for the purposes of this subclause 3.01(e)(ii)(D), “FATCA” shall include any amendments made to FATCA after the
 date of this Agreement.

          Each Lender agrees that if any form or certification it previously delivered expires or becomes obsolete or
 inaccurate in any respect, it shall update such form or certification or promptly notify the Borrower and the
 Administrative Agent in writing of its legal inability to do so.

           (f)      Treatment of Certain Refunds. If any party determines, in its sole discretion exercised in good faith,
 that it has received a refund of any Taxes as to which it has been indemnified pursuant to this Section 3.01 (including
 by the payment of additional amounts pursuant to this Section 3.01), it shall pay to the indemnifying party an amount
 equal to such refund (but only to the extent of indemnity payments made under this Section with respect to the Taxes
 giving rise to such refund), net of all out-of-pocket expenses (including Taxes) of such indemnified party and without
 interest (other than any interest paid by the relevant Governmental Authority with respect to such refund); Such
 indemnifying party, upon the request of such indemnified party, shall repay to such indemnified party the amount paid
 over pursuant to this paragraph (f) (plus any penalties, interest or other charges imposed by the relevant Governmental
 Authority), in the event that such indemnified party is required to repay such refund to such Governmental Authority.
 Notwithstanding anything to the contrary in this paragraph (f), in no event will the indemnified party be required to
 pay any amount to an indemnifying party pursuant to this paragraph (f) the payment of which would place the
 indemnified party in a less favorable net after-Tax position than the indemnified party would have been in if the Tax
 subject to indemnification and giving rise to such refund had not been deducted, withheld or otherwise imposed and
 the indemnification payments or additional amounts with respect to such Tax had never been paid. This paragraph
 shall not be construed to require any indemnified party to make available its Tax returns (or any other information
 relating to its Taxes that it deems confidential) to the indemnifying or any other Person.

          (g)       Survival. Each party’s obligations under this Section 3.01 shall survive the resignation or
 replacement of any Agent or any assignment of rights by, or the replacement of, a Lender, the termination of the
 Commitments, the repayment, satisfaction or discharge of all obligations under any Loan Document, and the
 termination of this Agreement.

           3.02      Illegality. If any Lender determines that as a result of any Change in Law it becomes unlawful, or
 that any Governmental Authority asserts that it is unlawful, for any Lender or its applicable Lending Office to make,
 maintain or fund Eurocurrency Rate Loans, or to determine or charge interest rates based upon the Eurocurrency Rate,
 or any Governmental Authority has imposed material restrictions on the authority of such Lender to purchase or sell,
 or to take deposits of, Dollars in the applicable interbank market, then, on notice thereof by such Lender to the
 Borrower through the Administrative Agent, (a) any obligation of such Lender to make or continue Eurocurrency Rate
 Loans or to convert Base Rate Loan to Eurocurrency Rate Loans, shall be suspended and (b) if such notice asserts the
 illegality of such Lender making or maintaining Base Rate Loans the interest rate on which is determined by reference
 to the Eurocurrency Rate component of the Base Rate, the interest rate on Base Rate Loans of such Lender shall, if
 necessary to avoid such illegality, be determined by the Administrative Agent without reference to the Eurocurrency
 Rate component of the Base Rate, in each case, until such Lender notifies the Administrative Agent and the Borrower
 that the circumstances giving rise to such determination no longer exist. Upon receipt of such notice, (i) the Borrower
 shall, upon demand from such Lender (with a copy to the Administrative Agent), prepay or convert all such
 Eurocurrency Rate Loans of such Lender to Base Rate Loans (the interest rate on Base Rate Loans of such Lender
 shall, if necessary to avoid such illegality, be determined by the Administrative Agent without reference to the
 Eurocurrency Rate component of the Base Rate), either on the last day of the Interest Period therefor, if such Lender
 may lawfully continue to maintain such Eurocurrency Rate Loans to such day, or immediately, if such Lender may
 not lawfully continue to maintain such Eurocurrency Rate Loans and (ii) if such notice asserts the illegality of such
 Lender determining or charging interest rates based upon the Eurocurrency Rate, the Administrative Agent shall
 during the period of such suspension compute the Base Rate applicable to such Lender without reference to the
 Eurocurrency Rate component thereof until the Administrative Agent is advised in writing by such Lender, which it
 shall do as promptly as possible, that it is no longer illegal for such Lender to determine or charge interest rates based
 upon the Eurocurrency Rate. Upon any such prepayment or conversion, the Borrower shall also pay accrued interest
 on the amount so prepaid or converted.

          3.03     Inability to Determine Rates


                                                            43
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                       Main Document
                                                Pg 593 of 1005


           (a)       If the Administrative Agent determines that for any reason in connection with any request for a
 Eurocurrency Rate Loan or a conversion to or continuation thereof that (i) adequate and reasonable means do not exist
 for determining the Eurocurrency Rate for any requested Interest Period with respect to a proposed Eurocurrency Rate
 Loan, or (ii) the Eurocurrency Rate for any requested Interest Period with respect to a proposed Eurocurrency Rate
 Loan does not adequately and fairly reflect the cost to such Lenders of funding such Eurocurrency Rate Loan, the
 Administrative Agent will promptly so notify the Borrower and each Lender. Thereafter, (x) the obligation of the
 Lenders to make or maintain Eurocurrency Rate Loans in the affected currency or currencies shall be suspended and
 (y) in the event of a determination described in the preceding sentence with respect to the Eurocurrency Rate
 component of the Base Rate, the utilization of the Eurocurrency Rate component in determining the Base Rate shall
 be suspended, in each case, until the Administrative Agent (upon the instruction of the Required Lenders, who agree
 to so instruct the Administrative Agent once the circumstances giving rise to the inability to determine rates no longer
 exist) revokes such notice. Upon receipt of such notice, the Borrower may revoke any pending request for a Borrowing
 of, conversion to or continuation of Eurocurrency Rate Loans or, failing that, will be deemed to have converted such
 request into a request for a Borrowing of Base Rate Loans in the amount specified therein.

          (b)       If at any time the Administrative Agent determines (which determination shall be conclusive absent
 manifest error) that (i) the circumstances set forth in Section 3.03(a)(i) have arisen and such circumstances are unlikely
 to be temporary or (ii) the circumstances set forth in Section 3.03(a)(i) have not arisen but the supervisor for the
 administrator of the Eurocurrency Rate or a Governmental Authority having jurisdiction over the Administrative
 Agent has made a public statement identifying a specific date after which the Eurocurrency Rate shall no longer be
 used for determining interest rates for loans, then the Administrative Agent and the Borrower shall endeavor to
 establish an alternate rate of interest to the Eurocurrency Rate that (x) gives due consideration to the then prevailing
 market convention for determining a rate of interest for syndicated loans of similar type in the United States at such
 time, and (y) is a rate that the Administrative Agent is able to calculate and administer, and the Borrower and the
 Administrative Agent shall enter into an amendment to this Agreement to effectuate such alternate rate of interest and
 such other changes to this Agreement as may be necessary or desirable in connection therewith. Notwithstanding
 anything to the contrary in Section 10.01, such amendment shall become effective without any further action or
 consent of any other party to this Agreement so long as the Administrative Agent shall not have received, within five
 Business Days of the date that notice of such alternate rate of interest is provided to the Lenders, a written notice from
 the Required Lenders stating that the Required Lenders object to such amendment. Until an alternate rate of interest
 shall be determined in accordance with this paragraph (b) (but in the case of the circumstances described in Section
 3.03(b)(ii), only to the extent the Eurocurrency Rate is not available or published at such time on a current basis),
 Sections 3.03(a)(i) and (ii) shall be applicable.

          3.04     Increased Costs; Reserves on Eurocurrency Rate Loans.

          (a)      Increased Costs Generally. If any Change in Law shall:

                   (i)      impose, modify or deem applicable any reserve, special deposit, compulsory loan,
 insurance charge or similar requirement against assets of, deposits with or for the account of, or credit extended or
 participated in by, any Lender (except any reserve requirement reflected in the Eurocurrency Rate contemplated by
 Section 3.04(e));

                    (ii)      subject any Recipient to Taxes (other than (A) Indemnified Taxes, (B) Taxes described in
 clauses (b) through (d) of the definition of Excluded Taxes and (C) Connection Income Taxes) on its loans, loan
 principal, letters of credit, commitments, or other obligations or its deposits, reserves, other liabilities or capital
 attributable thereto; or

                   (iii)     impose on any Lender or the London interbank market any other condition, cost or expense
 (other than Taxes) affecting this Agreement or Eurocurrency Rate Loans made by such Lender or participation therein;

 and the result of any of the foregoing shall be to increase the cost to such Lender of making or maintaining any
 Eurocurrency Rate Loan (or of maintaining its obligation to make any such Loan), or to reduce the amount of any sum
 received or receivable by such Lender hereunder (whether of principal, interest or any other amount) then, upon written
 request of such Lender setting forth in reasonable detail such increased costs, the Borrower will pay to such Lender,
 as the case may be, such additional amount or amounts as will compensate such Lender, as the case may be, for such


                                                            44
Case 20-41308          Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                        Main Document
                                               Pg 594 of 1005


 additional costs incurred or reduction suffered; provided that before making any such demand, each Lender agrees to
 use reasonable efforts (consistent with its internal policy and legal and regulatory restrictions and so long as such
 efforts would not be materially disadvantageous to it, in its reasonable discretion, in any legal, economic or regulatory
 manner) to designate a different Eurocurrency lending office if the making of such designation would allow the Lender
 or its Eurocurrency lending office to continue to perform its obligation to make Eurocurrency Rate Loans or to
 continue to fund or maintain Eurocurrency Rate Loans and avoid the need for, or reduce the amount of, such increased
 cost.

          (b)     Capital Requirements. If any Lender reasonably determines that any Change in Law affecting such
 Lender or any Lending Office of such Lender or such Lender’s holding company, if any, regarding capital
 requirements has the effect of reducing the rate of return on such Lender’s capital or on the capital of such Lender’s
 holding company, if any, as a consequence of this Agreement, the Commitments of such Lender or the Loans made
 by such Lender, to a level below that which such Lender or such Lender’s holding company could have achieved but
 for such Change in Law (taking into consideration such Lender’s policies and the policies of such Lender’s holding
 company with respect to capital adequacy), then from time to time, after submission to the Borrower (with a copy to
 the Administrative Agent) of a written request therefor setting forth in reasonable detail the change and the calculation
 of such reduced rate of return, the Borrower will pay to such Lender, such additional amount or amounts as will
 compensate such Lender or such Lender’s holding company for any such reduction suffered.

           (c)      Certificates for Reimbursement. A certificate of a Lender setting forth the amount or amounts
 necessary to compensate such Lender or its holding company, as the case may be, as specified in subsection (a) or (b)
 of this Section, describing the basis therefor and showing the calculation thereof in reasonable detail, and delivered to
 the Borrower shall be conclusive, absent manifest error. The Borrower shall pay such Lender, as the case may be, the
 amount shown as due on any such certificate within 30 days after receipt thereof.

           (d)       Delay in Requests. Failure or delay on the part of any Lender to demand compensation pursuant to
 the foregoing provisions of this Section shall not constitute a waiver of such Lender’s right to demand such
 compensation, provided that the Borrower shall not be required to compensate a Lender pursuant to the foregoing
 provisions of this Section for any increased costs incurred or reductions suffered more than 90 days prior to the date
 that such Lender, notifies the Borrower of the Change in Law giving rise to such increased costs or reductions and of
 such Lender’s intention to claim compensation therefor (except that, if the Change in Law giving rise to such increased
 costs or reductions is retroactive, then the 90-day period referred to above shall be extended to include the period of
 retroactive effect thereof).

          (e)      Additional Reserve Requirements. The Borrower shall pay to each Lender, (i) as long as such
 Lender shall be required to maintain reserves with respect to liabilities or assets consisting of or including
 Eurocurrency funds or deposits (currently known as “Eurocurrency liabilities”), additional interest on the unpaid
 principal amount of each Eurocurrency Rate Loan equal to the actual costs of such reserves allocated to such Loan by
 such Lender (as reasonably determined by such Lender in good faith, which determination shall be conclusive, absent
 manifest error), and (ii) as long as such Lender shall be required to comply with any reserve ratio requirement or
 analogous requirement of any other central banking or financial regulatory authority imposed in respect of the
 maintenance of the Commitments or the funding of the Eurocurrency Rate Loans, such additional costs (expressed as
 a percentage per annum and rounded upwards, if necessary, to the nearest five decimal places) equal to the actual costs
 allocated to such Commitment or Loan by such Lender (as determined by such Lender in good faith, which
 determination shall be conclusive, absent manifest error), which in each case shall be due and payable on each date
 on which interest is payable on such Loan, provided the Borrower shall have received at least 10 Business Days’ prior
 notice (with a copy to the Administrative Agent) of such additional interest or costs from such Lender describing the
 basis therefor and showing the calculation thereof, in each case, in reasonable detail. If a Lender fails to give notice
 10 Business Days prior to the relevant Interest Payment Date, such additional interest or costs shall be due and payable
 within 30 days from receipt of such notice.

          (f)      Certain Rules Relating to the Payment of Additional Amounts. If any Lender requests compensation
 pursuant to this Section 3.04, or the Borrower is required to pay any additional amount to any Lender or any
 Governmental Authority for the account of any Lender pursuant to Section 3.01, or if any Lender gives a notice
 pursuant to Section 3.02, such Lender shall either (A) forego payment of such additional amount from the Borrower
 or (B) reasonably afford the Borrower the opportunity to contest, and reasonably cooperate with the Borrower in


                                                            45
Case 20-41308          Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                        Main Document
                                               Pg 595 of 1005


 contesting, the imposition of any Indemnified Taxes or other amounts giving rise to such payment; provided that the
 Borrower shall reimburse such Lender for its reasonable and documented out-of-pocket costs, including reasonable
 and documented attorneys’ and accountants’ fees and disbursements incurred in so cooperating with the Borrower in
 contesting the imposition of such Indemnified Taxes or other amounts.

           3.05     Compensation for Losses. Upon demand of any Lender (with a copy to the Administrative Agent)
 from time to time, the Borrower shall promptly compensate such Lender for and hold such Lender harmless from any
 loss, cost or expense incurred by it as a result of:

          (a)       any continuation, conversion, payment or prepayment of any Loan other than a Base Rate Loan on
 a day other than the last day of the Interest Period for such Loan (whether voluntary, mandatory, automatic, by reason
 of acceleration, or otherwise);

          (b)     any failure by the Borrower (for a reason other than the failure of such Lender to make a Loan) to
 prepay, borrow, continue or convert any Loan other than a Base Rate Loan on the date or in the amount notified by
 the Borrower;

          (c)      [reserved]; or

          (d)       any assignment of a Eurocurrency Rate Loan on a day other than the last day of the Interest Period
 therefor as a result of a request by the Borrower pursuant to Section 10.13;

 including any foreign exchange losses and any loss or expense arising from the liquidation or reemployment of funds
 obtained by it to maintain such Loan, from fees payable to terminate the deposits from which such funds were obtained
 or from the performance of any foreign exchange contract, but excluding any loss of anticipated profits. The Borrower
 shall also pay any customary administrative fees charged by such Lender in connection with the foregoing.

         For purposes of calculating amounts payable by the Borrower to the Lenders under this Section 3.05, each
 Lender shall be deemed to have funded each Eurocurrency Rate Loan made by it at the Eurocurrency Rate used in
 determining the Eurocurrency Rate for such Loan by a matching deposit or other borrowing in the offshore interbank
 market for such currency for a comparable amount and for a comparable period, whether or not such Eurocurrency
 Rate Loan was in fact so funded.

          3.06     Mitigation Obligations; Replacement of Lenders.

           (a)     Designation of a Different Lending Office. If any Lender requests compensation under Section
 3.04, or the Borrower is required to pay any additional amount to any Lender or any Governmental Authority for the
 account of any Lender pursuant to Section 3.01, or if any Lender gives a notice pursuant to Section 3.02, then such
 Lender shall (i) use reasonable efforts to designate a different Lending Office for funding or booking its Loans
 hereunder or to assign its rights and obligations hereunder to another of its offices, branches or affiliates, if, in the
 reasonable judgment of such Lender, such designation or assignment (A) would eliminate or reduce amounts payable
 pursuant to Section 3.01 or 3.04, as the case may be, in the future, or eliminate the need for the notice pursuant to
 Section 3.02, as applicable, and (B) in each case, would not subject such Lender to any unreimbursed cost or expense
 and would not otherwise be disadvantageous to such Lender, as applicable, and (ii) promptly inform the Borrower and
 the Administrative Agent when the circumstances giving rise to the applicability of such Sections no longer exists.
 The Borrower hereby agrees to pay all reasonable and documented costs and expenses incurred by any Lender in
 connection with any such designation or assignment.

           (b)      Replacement of Lenders. If any Lender requests compensation under Section 3.04, if the Borrower
 is required to pay any additional amount to any Lender or any Governmental Authority for the account of any Lender
 pursuant to Section 3.01, if any Lender gives a notice pursuant to Section 3.02 or if any Lender is at such time a
 Defaulting Lender, then the Borrower may replace such Lender in accordance with Section 10.13.

         3.07     Survival. The parties’ obligations under this Article III shall survive the resignation or replacement
 of any Agent or any assignment of rights by, or the replacement of, a Lender, the termination of the Commitments,



                                                            46
Case 20-41308              Doc 228     Filed 04/01/20 Entered 04/01/20 23:45:34                     Main Document
                                                Pg 596 of 1005


 the repayment, satisfaction or discharge of all obligations under any Loan Document, and the termination of this
 Agreement.

                                                 ARTICLE IV
                                            CONDITIONS PRECEDENT

           4.01     Conditions Precedent to the Closing Date. The effectiveness of this Agreement is subject to
 satisfaction of the following conditions precedent:

          (a)      Petition Date. The Petition Date shall have occurred and the Borrower and each Guarantor shall be
 a debtor and debtor-in-possession in the Chapter 11 Cases.

          (b)      Loan Documents. The Administrative Agent shall have received each Loan Document required to
 be delivered on the Closing Date, each of which shall be in form and substance reasonably acceptable to the Required
 Lenders, including:

                  (i)     this Agreement, executed and delivered by the Administrative Agent, the Borrower, each
 Guarantor and each Person that is a Lender as of the Closing Date;

                   (ii)       [reserved];

                   (iii)      the Agency Fee Letter, executed and delivered by the Agents and the Borrower;

                   (iv)       [reserved];

                   (v)        Notes, executed and delivered by the Borrower in favor of each Lender requesting any
 Note;

                    (vi)      a certificate of each Loan Party signed on behalf of such Loan Party by a Responsible
 Officer, dated the Closing Date (the statements made in which certificate shall be true on and as of the Closing Date),
 certifying as to (A) the Organizational Documents of each Loan Party, certified, to the extent applicable, by the
 applicable Governmental Authority, and the absence of any amendments to the Organizational Documents of such
 Loan Party since the date certified by such Governmental Authority, including a true and correct copy of the bylaws,
 limited liability company agreement, or partnership agreement of such Loan Party as in effect on the date on which
 the resolutions referred to in Section 4.01(b)(vi)(B) were adopted and on the Closing Date, (B) copies of resolutions
 of the board of directors and/or similar governing bodies of each Loan Party approving and authorizing the
 Transactions and the execution, delivery and performance of the Loan Documents to which it is a party, (C) the good
 standing or valid existence of such Loan Party as a corporation, limited liability company or partnership organized or
 formed under the laws of the jurisdiction of its incorporation or formation and the absence of any proceeding for the
 dissolution or liquidation of such Loan Party; and (D) the signatures and incumbency of each Responsible Officer of
 each Loan Party executing the Loan Documents to which it is a party; and

                   (vii)    a certificate signed by a Responsible Officer of the Borrower certifying (A) that the
 conditions specified in Sections 4.01 and 4.02 have been satisfied, and (B) that there has not occurred since December
 31, 2018, any Material Adverse Effect.

          (c)      Personal Property Collateral. Each Loan Party shall have delivered to the Collateral Agent:

                    (i)        evidence reasonably satisfactory to the Collateral Agent of the compliance by each Loan
 Party of their obligations under the Security Documents (including their obligations to execute or authorize, as
 applicable, and deliver UCC financing statements (including, without limitation, as-extracted financing statements),
 originals of securities, instruments and chattel paper, in each case, constituting Collateral, as provided therein);

                  (ii)     a completed Collateral Questionnaire dated the Closing Date and executed by a
 Responsible Officer of each Loan Party, together with all attachments contemplated thereby;



                                                           47
Case 20-41308              Doc 228     Filed 04/01/20 Entered 04/01/20 23:45:34                       Main Document
                                                Pg 597 of 1005


                   (iii)      [reserved]; and

                   (iv)     evidence that each Loan Party shall have taken or caused to be taken any other action,
 executed and delivered or caused to be executed and delivered any other agreement, document and instrument
 (including any intercompany notes evidencing Indebtedness permitted to be incurred pursuant to Section 7.03) and
 made or caused to be made any other filing and recording (other than as set forth herein) reasonably required by the
 Collateral Agent or the Required Lenders.

           (d)      Approvals; No Restrictions. All governmental and third party approvals necessary or required in
 connection with the Transactions and the continuing operations of the Borrower and its Subsidiaries (including
 shareholder approvals, if any) shall have been obtained and be in full force and effect. The Loan Parties and their
 Affiliates shall not be subject to contractual or other restrictions that would be violated by the execution and delivery
 of the Loan Documents or the initial extension of credit hereunder and there shall not exist any action, suit,
 investigation, litigation, proceeding or hearing, pending or threatened in any court or before any arbitrator or
 Governmental Authority that affects the Transactions or otherwise impairs the ability of the Loan Parties to
 consummate the Transactions and no preliminary or permanent injunction or order by a state or federal court shall
 have been entered, in each case that would be material and adverse to the Agents or the Lenders.

         (e)       Fees; Expenses. Any fees required to be paid on or before the Closing Date to the Agents and/or
 the Lenders under this Agreement, the Agency Fee Letter, or otherwise in connection with the Facilities shall have
 been paid and, unless waived by the Agents and/or the Lenders, as applicable, the Borrower shall have paid all
 reasonable and documented costs and expenses of the Agents and the Lenders (including the reasonable and
 documented fees and expenses of (i) Akin Gump Strauss Hauer & Feld LLP, Milbank LLP, and Bryan Cave
 Leighton Paisner LLP, counsel to the Lenders, (ii) Lazard and Perella Weinberg Partners L.P., financial advisors to
 the Lenders, and (iii) Ropes & Gray LLP, counsel to the Agents).

           (f)       No Material Adverse Effect. Since December 31 2018, no Material Adverse Effect (after giving
 effect to the qualifications set forth in such definition) shall have occurred.

           (g)      Budget and Cash Flow Forecast. The Administrative Agent shall have received (x) weekly operating
 and cash flow projections for the Debtors for the period commencing on the Petition Date and ending on July 11,
 2020, in form and substance satisfactory to the Financial Advisor (the “DIP Budget”), and (y) the Cash Flow Forecast;
 provided that such Cash Flow Forecast may be amended, replaced, supplemented or otherwise modified from time to
 time to the extent such amended, replaced, supplemented or modified Cash Flow Forecast is in form and substance
 satisfactory to the Required Lenders in their sole discretion.

          (h)     Existing Indebtedness. Borrower and its Subsidiaries shall have no outstanding Indebtedness other
 than Indebtedness permitted under this Agreement.

           (i)       Financial Statements. Administrative Agent shall have received from Borrower (i) the Historical
 Financial Statements, (ii) a pro forma consolidated balance sheet of Borrower and its Subsidiaries on a consolidated
 basis as of the last day of the most recently completely four-fiscal quarter period for which financial statements were
 delivered under clause (i) of the definition of the term “Historical Financial Statements”, reflecting the related
 financings and the other transactions contemplated by the Loan Documents to occur on or prior to the Closing Date
 as if such transactions occurred as of such date.

          (j)      Interim Order. No later than five (5) days following the Petition Date (or such later date as the
 Required Lenders may agree), the Interim Order shall have been entered by the Bankruptcy Court in form and
 substance acceptable to the Required Lenders and the Administrative Agent shall have received a certified copy
 thereof; provided that the Interim Order shall not have been vacated, reversed, modified, amended or stayed in any
 respect without the prior written consent of the Required Lenders.

         (k)       First Day Orders. All “first day” orders intended to be entered by the Bankruptcy Court at or
 immediately after the Debtors’ “first day” shall have been entered by the Bankruptcy Court in form and substance
 acceptable to the Required Lenders.



                                                            48
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                       Main Document
                                                Pg 598 of 1005


           (l)      Patriot Act. The Lenders and the Administrative Agent shall have received prior to the Closing Date
 all documentation and other information required by bank regulatory authorities under applicable “know your
 customer” and anti-money laundering rules and regulations, including the Patriot Act (which shall include, but not be
 limited to, a duly executed IRS Form W-9, or other applicable tax form); provided that such information is requested
 at least 3 Business Days prior to the Closing Date.

          Without limiting the generality of the provisions of Section 9.04, for purposes of determining compliance
 with the conditions specified in this Section 4.01 or Section 4.02, each Lender that has signed this Agreement shall be
 deemed to have consented to, approved or accepted or to be satisfied with, each document or other matter required
 thereunder to be consented to or approved by or acceptable or satisfactory to a Lender unless the Administrative Agent
 shall have received written notice from such Lender specifying its objection thereto.

          4.02      Conditions Precedent to Each Term Loan. The agreement of each Lender to make any extension
 of credit requested to be made by it on any date (including, without limitation, any Loans on the Closing Date) is
 subject to satisfaction of the following conditions precedent:

          (a)      No Default. There shall exist no Default or Event of Default under the Loan Documents.

           (b)      Representations and Warranties. The representations and warranties of the Borrower and each
 Guarantor herein and in the other Loan Documents shall be true and correct in all material respects (or in the case of
 representations and warranties with a “materiality” qualifier, true and correct in all respects) immediately prior to, and
 after giving effect to, such funding of the applicable Loans to the same extent as though made on and as of that date,
 except to the extent such representations and warranties specifically relate to an earlier date, in which case, such
 representations and warranties shall have been true and correct in all materials respects on and as of such earlier date;
 provided that in each case, such materiality qualifier shall not be applicable to any representations and warranties that
 already are qualified or modified by materiality in the text thereof. .

          (c)      Interim Order. At any time prior to the Final Order Entry Date, the Interim Order shall be in full
 force and effect and shall not have been vacated, reversed, modified, amended or stayed in any respect without the
 prior written consent of the Required Lenders.

           (d)     Final Order. With respect to any Credit Extension on or after the Final Order Entry Date, the Final
 Order shall be in full force and effect and shall not have been vacated or reversed, shall not be subject to a stay and
 shall not have been modified or amended in any respect without the prior written consent of the Required Lenders.

           (e)       Restructuring Support Agreement. The Restructuring Support Agreement (i) shall be in full force
 and effect, (ii) shall not have been amended or modified without the prior written consent of the Required Lenders,
 and (iii) no breach that would, after the expiration of any applicable notice or cure period, give rise to a right to
 terminate the Restructuring Support Agreement shall exist.

          (f)     Notice of Borrowing. The Administrative Agent shall have received a duly executed Borrowing
 Notice from the Borrower pursuant to and in accordance with Section 2.02(a).

          (g)        No Trustee. No trustee, receiver or examiner with expanded powers to operate or manage the
 financial affairs, the business, or reorganization of the Loan Parties shall have been appointed or designated.

        (h)      Dismissal; Conversion. None of the Chapter 11 Cases of any Debtors shall have been dismissed.
 The Chapter 11 Cases shall not have been converted to Chapter 7 of the Bankruptcy Code.

                                              ARTICLE V
                                    REPRESENTATIONS AND WARRANTIES

         In order to induce the Agents and the Lenders to enter into this Agreement and to make each Credit Extension
 to be made hereby, each Loan Party represents and warrants to the Agents and the Lenders that the following
 statements are true and correct:



                                                            49
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                       Main Document
                                                Pg 599 of 1005


           5.01     Existence, Qualification and Power. Each Loan Party and its Subsidiaries (a) (i) is duly organized
 or formed and validly existing and (ii) is in good standing under the Laws of the jurisdiction of its incorporation or
 organization, if such legal concept is applicable in such jurisdiction, (b) subject to any restriction arising on account
 of Borrower’s or each of its Subsidiaries’ status as a “debtor” under the Bankruptcy Code, has all requisite power and
 authority and all requisite governmental licenses, authorizations, consents and approvals to (i) own or lease its assets
 and carry on its business and (ii) subject to entry of the Orders and the terms thereof, execute, deliver and perform its
 obligations under the Loan Documents to which it is a party, and (c) is duly qualified, licensed, and in good standing
 (to the extent good standing is an applicable legal concept in the relevant jurisdiction), under the Laws of each
 jurisdiction where its ownership, lease or operation of properties or the conduct of its business requires such
 qualification or license; where the failure to so qualify or be in good standing could not reasonably be expected to
 have a Material Adverse Effect.

           5.02     Authorization; No Contravention. Subject to entry of the Orders and the terms thereof, the
 execution, delivery and performance by each Loan Party of each Loan Document to which such Person is a party, (a)
 have been duly authorized by all necessary corporate or other organizational action and (b) do not and will not (i)
 contravene the terms of any of such Person’s Organizational Documents; (ii) except to the extent excused as a result
 of the Chapter 11 Cases, conflict with or result in any breach or contravention of, or the creation of, any Lien (other
 than Permitted Liens) under, or require any payment to be made under (A) any Contractual Obligation to which such
 Person is a party or affecting such Person or the properties of such Person or any of its Subsidiaries or (B) any order,
 injunction, writ or decree of any Governmental Authority to which such Person or its property is subject or (C) any
 arbitral award to which such Person or its property is subject; or (iii) violate any Law binding on such Loan Party,
 except in each case referred to in clauses (b)(ii) or (b)(iii) to the extent that failure to do so could not reasonably be
 expected to have a Material Adverse Effect.

          5.03      Governmental Authorization. Except for the entry of the Orders, (a) no approval, consent,
 exemption, authorization, or other action by, or notice to, or filing with, any Governmental Authority and (b) no
 material approval, consent, exemption, authorization, or other action by, or notice to, or filing with any other Person,
 in each case, is necessary or required in connection with the execution, delivery or performance by, or enforcement
 against, any Loan Party of this Agreement or any other Loan Document, except for those approvals, consents,
 exemptions, authorizations or other actions which have already been obtained, taken, given or made and are in full
 force and effect.

           5.04      Binding Effect. This Agreement has been, and each other Loan Document, when delivered
 hereunder, will have been, duly executed and delivered by each Loan Party that is party thereto. Subject to the entry
 of the Orders and the terms thereof, this Agreement constitutes, and each other Loan Document when so delivered
 will constitute, a legal, valid and binding obligation of such Loan Party enforceable against each Loan Party that is
 party thereto in accordance with its terms, subject to applicable bankruptcy, insolvency, fraudulent conveyance,
 reorganization, moratorium and other Laws relating to or affecting creditors’ rights generally, general principles of
 equity, regardless of whether considered in a proceeding in equity or at law and an implied covenant of good faith and
 fair dealing.

          5.05     Financial Conditions; No Material Adverse Effect.

           (a)      The Historical Financial Statements were prepared in accordance with GAAP consistently applied
 throughout the period covered thereby, except as otherwise expressly noted therein, and fairly present in all material
 respects the financial condition of the Borrower and its Subsidiaries as of such dates and their results of operations for
 the period covered thereby, subject, in the case of any unaudited financial statements, to the absence of footnotes and
 to normal year end adjustments.

          (b)       Since December 31, 2018, there has been no event or circumstance, either individually or in the
 aggregate, that has had or could reasonably be expected to have a Material Adverse Effect (after giving effect to the
 qualifications set forth in such definition).

           (c)      The financial projections and estimates and information of a general economic nature prepared, or
 as directed by, the Loan Parties or any of their representatives and that have been made available to any Lender or its
 Related Parties in connection with the Transactions or the other transactions contemplated by this Agreement as of


                                                            50
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                        Main Document
                                                Pg 600 of 1005


 the date delivered in connection with this Agreement have been prepared in good faith on the basis of the assumptions
 stated therein, which assumptions were believed to be reasonable in light of the conditions existing at the time of
 delivery of such forecasts (it being understood that any such information is subject to significant uncertainties and
 contingencies, many of which are beyond the Borrower’s control, and that no assurance can be given that the future
 developments addressed in such information can be realized).

          5.06     Litigation.

           (a)      There are no actions, suits, proceedings, claims or disputes pending or, to the knowledge of the
 Borrower threatened, at law, in equity, by or before any Governmental Authority, by or against the Borrower or any
 of its Subsidiaries or against any of their properties or revenues that (a) purport to affect or pertain to this Agreement
 or any other Loan Document, or any of the transactions contemplated hereby, or (b) except as specifically disclosed
 in public filings prior to the date hereof, as to which there is a reasonable possibility of an adverse determination and
 that could reasonably be expected to have, individually or in the aggregate, a Material Adverse Effect.

          (b)       None of Borrower or any of its Subsidiaries or their respective properties or assets is in violation of
 (nor will the continued operation of their material properties and assets as currently conducted violate) any currently
 applicable Law (including any zoning, building or environmental law, mine safety law, ordinance, code or approval
 or any building permit) or any restriction of record or agreement affecting any Mortgaged Property, or is in default
 with respect to any judgment, writ, injunction or decree of any Governmental Authority, where such violation or
 default could reasonably be expected to have, individually or in the aggregate, a Material Adverse Effect.

           5.07     No Default. . Other than as a result of the commencement of the Chapter 11 Cases and the effects
 thereof, none of the Borrower or any of its Subsidiaries is in default under or with respect to any Contractual Obligation
 that could reasonably be expected to have a Material Adverse Effect. No Default or Event of Default has occurred
 and is continuing or would result from the consummation of the Transactions or any other transactions contemplated
 by this Agreement or any other Loan Document.

          5.08     Ownership and Identification of Property.

           (a)       The Borrower and its Subsidiaries have good record and marketable title in fee simple to, or valid
 leasehold interests in, all Real Property necessary or used in the ordinary conduct of its business, except for minor
 defects in title as could not reasonably be expected to have a Material Adverse Effect. As of the Closing Date, with
 respect to all real property listed on Schedule 5.08(c): (i) the Borrower and its Subsidiaries possess all leasehold
 interests necessary for the operation of the Mines currently being operated by each of them and included or purported
 to be included in the Collateral pursuant to the Security Documents, except where the failure to possess such leasehold
 interests could not reasonably be expected to have a Material Adverse Effect, (ii) each of their respective rights under
 the leases, contracts, rights-of-way and easements necessary for the operation of such Mines are in full force and
 effect, except to the extent that failure to maintain such leases, contracts, rights of way and easements in full force and
 effect could not reasonably be expected to have a Material Adverse Effect; and (iii) each of the Borrower and its
 Subsidiaries possesses all licenses, permits or franchises which are necessary to carry out its business as presently
 conducted at any Mine included or purported to be included in the Collateral pursuant to the Security Documents,
 except where failure to possess such licenses, permits or franchises could not, in the aggregate, be reasonably expected
 to have a Material Adverse Effect.

         (b)      Schedule 5.08(b) lists completely and correctly as of the Closing Date all Material Real Property
 fee owned by the Borrower and the other Loan Parties.

           (c)     Schedule 5.08(c) lists completely and correctly as of the Closing Date all Leasehold Properties
 constituting Material Real Property leased by the Borrower and the other Loan Parties and the lessors thereof.

         (d)       Except as could not be expected to have a Material Adverse Effect, there are no pending or, to the
 knowledge of any Loan Party, proposed special or other assessments for public improvements or otherwise affecting
 any material portion of any owned Real Property of the Loan parties, nor are there contemplated improvements to
 such owned Real Property of the Loan Parties that may result in such special or other assessments.



                                                             51
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                       Main Document
                                                Pg 601 of 1005


         5.09     Environmental Compliance. Except as disclosed on Schedule 5.09, or as otherwise could not
 reasonably be expected to have a Material Adverse Effect:

          (a)     The facilities and properties currently or formerly owned, leased or operated by the Borrower, or
 any of its respective Subsidiaries (the “Properties”) do not contain any Hazardous Materials in amounts or
 concentrations which (i) constitute a violation of, or (ii) could reasonably be expected to give rise to liability under,
 any applicable Environmental Law.

         (b)       None of the Borrower, nor any of its respective Subsidiaries has received any notice of violation,
 alleged violation, non-compliance, liability or potential liability regarding compliance with or liability under
 Environmental Laws with regard to any of the Properties or the business operated by the Borrower, or any of its
 Subsidiaries (the “Business”), or any prior business for which the Borrower has retained liability under any
 Environmental Law.

          (c)       Hazardous Materials have not been transported or disposed of from the Properties in violation of,
 or in a manner or to a location which could reasonably be expected to give rise to liability under, any applicable
 Environmental Law, nor have any Hazardous Materials been generated, treated, stored or disposed of at, or under any
 of the Properties in violation of, or in a manner that could reasonably be expected to give rise to liability under, any
 applicable Environmental Law.

          (d)      No judicial proceeding or governmental or administrative action is pending or, to the knowledge of
 the Borrower, threatened under any Environmental Law to which the Borrower, or any of its Subsidiaries is or, to the
 knowledge of the Borrower, will be named as a party or with respect to the Properties or the Business, nor are there
 any consent decrees or other decrees, consent orders, administrative orders or other orders, or other similar
 administrative or judicial requirements outstanding under any Environmental Law with respect to the Properties or
 the Business.

           (e)     There has been no release or threat of release of Hazardous Materials at or from the Properties, or
 arising from or related to the operations of the Borrower, or any of its Subsidiaries in connection with the Properties
 or otherwise in connection with the Business, in violation of or in amounts or in a manner that could reasonably be
 expected to give rise to liability under any applicable Environmental Laws.

        (f)      The Properties and all operations at the Properties are in compliance with all applicable
 Environmental Laws.

          (g)      The Borrower and each of its Subsidiaries has obtained, and is in compliance with, all
 Environmental Permits required for the conduct of its businesses and operations, and the ownership, occupation,
 operation and use of its Property, and all such Environmental Permits are in full force and effect.

          5.10     Insurance.

          (a)      The properties of the Borrower and its Subsidiaries are insured with financially sound and reputable
 insurance companies which may be Affiliates of the Borrower, in such amounts (after giving effect to any self-
 insurance compatible with the following standards), with such deductibles and covering such risks as are customarily
 carried by companies engaged in similar businesses and owning similar properties in localities where the Borrower or
 the applicable Subsidiary operates.

         (b)       As to any Building located on Material Real Property and constituting Collateral, all flood hazard
 insurance policies required hereunder have been obtained and remain in full force and effect, and the premiums thereon
 have been paid in full.

           5.11      Taxes. The Borrower and its Subsidiaries have filed or caused to be filed all applicable U.S. federal,
 state, foreign and other material Tax returns and reports required to be filed, and have paid or caused to be paid all
 U.S. federal, state, foreign and other Taxes, assessments, fees and other governmental charges levied or imposed upon
 them or their properties, income or assets otherwise due and payable, in each case, except as otherwise permitted



                                                            52
Case 20-41308          Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                       Main Document
                                               Pg 602 of 1005


 under Section 6.04. No Tax Lien has been filed which would not be permitted under Section 7.01 and, to the
 knowledge of the Borrower, no claim is being asserted, with respect to any Tax, fee or other charge which could
 reasonably be expected to result in a Material Adverse Effect. As of the Closing Date, neither Borrower nor any
 Subsidiary thereof is party to any tax sharing agreement.

          5.12     ERISA Compliance. Except as could not reasonably be expected, individually or in the aggregate,
 to have a Material Adverse Effect:

          (a)      Each Plan is in material compliance in all respects with the applicable provisions of ERISA, the
 Code and other Federal or state Laws (except that with respect to any Multiemployer Plan which is a Plan, such
 representation is deemed made only to the knowledge of the Borrower), and each Foreign Plan is in material
 compliance in all respects with the applicable provisions of Laws applicable to such Foreign Plan.

          (b)       There has been no nonexempt “prohibited transaction” (as defined in Section 406 of ERISA) or
 violation of the fiduciary responsibility rules with respect to any Plan.

           (c)      (i) As of the Closing Date, no ERISA Event has occurred or is reasonably expected to occur; (ii) no
 Pension Plan has any Unfunded Pension Liability; and (iii) neither the Borrower nor any ERISA Affiliate has engaged
 in a transaction that could be subject to Section 4069 or 4212(c) of ERISA.

          5.13    Subsidiaries. As of the Closing Date, the Borrower has no Subsidiaries other than those specifically
 disclosed in Schedule 5.13.

          5.14     Margin Regulations; Investment Company Act.

          (a)      The Borrower is not engaged and will not engage, principally or as one of its important activities,
 in the business of purchasing or carrying margin stock (within the meaning of Regulation U issued by the FRB), or
 extending credit for the purpose of purchasing or carrying margin stock.

          (b)       None of the Borrower, any Person Controlling the Borrower, nor any Subsidiary is or is required to
 be registered as an “investment company” under the Investment Company Act of 1940.

           5.15     Disclosure. No report, financial statement, certificate or other information furnished in writing by
 any Loan Party to any Agent or any Lender in connection with the transactions contemplated hereby and the
 negotiation of this Agreement or delivered hereunder or under any other Loan Document, taken as whole with any
 other information furnished or publicly available, contains any material misstatement of fact or omits to state any
 material fact necessary to make the statements therein, in the light of the circumstances under which they were made,
 not materially misleading as of the date when made or delivered; provided that, with respect to any forecast, projection
 or other statement regarding future performance, future financial results or other future developments, the Borrower
 represents only that such information was prepared in good faith based upon assumptions believed to be reasonable at
 the time of delivery of such information (it being understood that any such information is subject to significant
 uncertainties and contingencies, many of which are beyond the Borrower’s control, and that no assurance can be given
 that the future developments addressed in such information can be realized).

          5.16      Compliance with Laws. Each of Holdings and its Subsidiaries is in compliance in all material
 respects with the requirements of all Laws (including any zoning, building, ordinance, code or approval or any building
 or mining permits and all orders, writs, injunctions and decrees applicable to it or to its properties), except in such
 instances in which (a) such requirement of Law or order, writ, injunction or decree is being contested in good faith by
 appropriate proceedings diligently conducted or (b) the failure to comply therewith could not reasonably be expected
 to have a Material Adverse Effect.

          5.17     Anti-Corruption; Sanctions; Terrorism Laws.

          (a)    None of the Borrower, any Subsidiary nor, to the knowledge of the Borrower, any director, officer,
 agent, employee or Affiliate of the Borrower or any Subsidiary is (i) a person on the list of “Specially Designated



                                                           53
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                         Main Document
                                                Pg 603 of 1005


 Nationals and Blocked Persons” or (ii) subject of any active sanctions administered or enforced by the U.S.
 Department of State or the U.S. Department of Treasury (including the Office of Foreign Assets Control) or any other
 applicable Governmental Authority (collectively, “Sanctions”, and the associated laws, rules, regulations and orders,
 collectively, “Sanctions Laws”); and the Borrower will not directly or, to the knowledge of the Borrower, indirectly
 use the proceeds of the Loans for the purpose of financing the activities of any Person that is the subject of, or in any
 country or territory that at such time is the subject of, any Sanctions.

           (b)      The Borrower and each Subsidiary is in compliance, in all material respects, with the (i) Trading
 with the Enemy Act, as amended, and each of the foreign assets control regulations of the United States Treasury
 Department (31 CFR, Subtitle B, Chapter V, as amended) and any other enabling legislation or executive order relating
 thereto, (ii) the USA PATRIOT Act (Title III of Pub. L. 107-56), as amended (the “PATRIOT Act”), (iii) Sanctions
 Laws and (iv) Anti-Corruption Laws.

           (c)      No part of the proceeds of any Loan will be used, directly or, to the knowledge of the Borrower,
 indirectly, for any payments to any governmental official or employee, political party, official of a political party,
 candidate for political office, or anyone else acting in an official capacity, in order to obtain, retain or direct business
 or obtain any improper advantage, in violation of the United States Foreign Corrupt Practices Act of 1977, as amended,
 or any other applicable anti-bribery or anti-corruption laws, rules, regulations and orders (collectively, “Anti-
 Corruption Laws”).

           5.18      Intellectual Property; Licenses, Etc. The Borrower and its Subsidiaries own, or possess the right
 to use, all of the trademarks, service marks, trade names, copyrights, patents, patent rights, franchises, licenses and
 other intellectual property rights (collectively, “IP Rights”) that are reasonably necessary for the operation of their
 respective businesses, except where the failure to own or possess the right to use such IP Rights could not reasonably
 be expected to have a Material Adverse Effect. To the best knowledge of the Borrower, the use of such IP Rights by
 the Borrower or any Subsidiary does not infringe upon any rights held by any other Person except for any infringement
 that could not reasonably be expected to have a Material Adverse Effect. Except as specifically disclosed in Schedule
 5.18, no claim or litigation regarding any of the foregoing is pending or, to the best knowledge of the Borrower,
 threatened, which could reasonably be expected to have a Material Adverse Effect.

          5.19      Security Interest in Collateral. Subject to the entry of the Order and the terms thereof, the
 provisions of the Orders, this Agreement and the other Loan Documents create legal and valid Liens on all Collateral
 in favor of the Collateral Agent, for the benefit of the Secured Parties, and upon entry of the Orders, such Liens
 constitute perfected and continuing Liens on the Collateral, securing the Obligations, enforceable (except as
 enforceability may be limited by bankruptcy, insolvency, fraudulent conveyance or similar laws affecting creditors’
 rights generally and general principles of equity (regardless of whether the application of such principles is considered
 in a proceeding in equity or at law)) against the applicable Loan Party and all third parties, and having priority with
 respect to other Liens on the Collateral as contemplated by the Orders.

          5.20     Mines. Schedule 5.20 sets forth a complete and accurate list of all Mines (including addresses and
 the owner thereof) owned or operated by the Borrower or any of its Subsidiaries as of the Closing Date and included
 or purported to be included in the Collateral.

          5.21      [Reserved].

          5.22      Labor Relations. Neither the Borrower nor any of its Subsidiaries is engaged in any unfair labor
 practice that could reasonably be expected to have a Material Adverse Effect. There is (a) no unfair labor practice
 complaint pending against the Borrower or any of its Subsidiaries, or to the best knowledge of the Borrower,
 threatened against any of them before the National Labor Relations Board and no grievance or arbitration proceeding
 arising out of or under any collective bargaining agreement that is so pending against the Borrower or any of its
 Subsidiaries or to the best knowledge of the Borrower, threatened against any of them, (b) no strike or work stoppage
 in existence or threatened involving the Borrower or any of its Subsidiaries, and (c) to the best knowledge of the
 Borrower, no union representation question existing with respect to the employees of the Borrower or any of its
 Subsidiaries and, to the best knowledge of the Borrower, no union organization activity that is taking place, except
 (with respect to any matter specified in clause (a), (b) or (c) above, either individually or in the aggregate) such as is
 not reasonably likely to have a Material Adverse Effect.


                                                             54
Case 20-41308           Doc 228         Filed 04/01/20 Entered 04/01/20 23:45:34                         Main Document
                                                 Pg 604 of 1005


          5.23      Bankruptcy Related Matters.

          (a)       The Chapter 11 Cases were commenced on the Petition Date in accordance with applicable law and
 proper notice thereof was given for (i) the motion seeking approval of the Loan Documents and the Interim Order and
 Final Order, (ii) the hearing for the entry of the Interim Order, and (iii) the hearing for the entry of the Final Order
 (provided that notice of the final hearing will be given as soon as reasonably practicable after such hearing has been
 scheduled).

           (b)       After the entry of the Interim Order, and pursuant to and to the extent provided in the Interim Order
 and the Final Order, the Obligations will constitute allowed administrative expense claims in the Chapter 11 Cases
 having priority over all administrative expense claims and unsecured claims against the Debtors now existing or
 hereafter arising, of any kind whatsoever, including all administrative expense claims of the kind specified in Sections
 105, 326, 330, 331, 503(b), 506(c), 507(a), 507(b), 546(c), 726, 1114 or any other provision of the Bankruptcy Code
 or otherwise, as provided under Section 364(c)(1) of the Bankruptcy Code, subject to (i) the Carve Out and (ii) the
 priorities set forth in the Interim Order or Final Order, as applicable.

           (c)        After the entry of the Interim Order and pursuant to and to the extent provided in the Interim Order
 and the Final Order, the Obligations will be secured by a valid and perfected Lien on all of the Collateral subject, as
 to priority, to the extent set forth in the Interim Order or the Final Order, and in any case, (i) subject to Permitted Liens
 and (ii) excluding claims and causes of action under sections 502(d), 544, 545, 547, 548, 550 and 553 of the
 Bankruptcy Code (collectively, “Avoidance Actions”) (but including, upon entry of the Final Order, the proceeds
 thereof).

          (d)      The Interim Order (with respect to the period on and after entry of the Interim Order and prior to
 entry of the Final Order) or the Final Order (with respect to the period on and after entry of the Final Order, as the
 case may be), is in full force and effect and has not been reversed, stayed (whether by statutory stay or otherwise),
 vacated, or without the Required Lenders’ (and with respect to any provision that affects the rights or duties of any
 Agent, such Agent’s) consent, modified or amended. The Loan Parties are in compliance in all material respects with
 the Orders.

           (e)     The DIP Budget, the Cash Flow Forecast, and all other projected consolidated balance sheets,
 income statements and cash flow statements of Borrower and its Subsidiaries delivered to the Administrative Agent
 were prepared in good faith on the basis of the assumptions stated therein, which assumptions were believed in good
 faith by the Borrower to be fair in light of the conditions existing at the time of delivery of such report or projections
 (it being understood that any projections or estimates made in the items described in this subsection (e) are not to be
 viewed as facts and are subject to significant uncertainties and contingencies, that no assurance can be given that any
 such projections or estimates will be realized, that actual results may differ from projected results and such differences
 may be material).

                                                   ARTICLE VI
                                             AFFIRMATIVE COVENANTS

          Until Payment in Full of all Obligations, the Borrower shall, and shall cause each of its Subsidiaries to:

           6.01      Financial Statements. Deliver to the Administrative Agent and each Lender, in form and detail
 reasonably satisfactory to the Financial Advisor (which shall be entitled to deliver such information to the Lenders in
 its sole discretion):

          (a)       Annual Financial Statements. Within 90 days after the end of each fiscal year of the Borrower
 (commencing with the fiscal year in which the Closing Date occurs) a consolidated balance sheet of the Borrower and
 its Subsidiaries as at the end of such fiscal year, and the related consolidated statements of income or operations,
 changes in shareholders’ equity and cash flows for such fiscal year, setting forth in each case in comparative form the
 figures for the previous fiscal year, all in reasonable detail (together with a Narrative Report), and prepared in
 accordance with GAAP; such consolidated statements shall be audited and accompanied by a report and opinion of
 an independent certified public accountant of nationally recognized standing, which report and opinion shall be



                                                              55
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                         Main Document
                                                Pg 605 of 1005


 prepared in accordance with generally accepted auditing standards and which may contain a “going concern”
 qualification.

           (b)      Quarterly Financial Statements. Within 45 days after the end of each fiscal quarter of each fiscal
 year of the Borrower (commencing with the fiscal quarter ended March 31, 2020), a consolidated balance sheet of the
 Borrower and its Subsidiaries as at the end of such fiscal quarter, and the related consolidated statements of income
 or operations, changes in shareholders’ equity and cash flows for such fiscal quarter and for the portion of the
 Borrower’s fiscal year then ended, setting forth in each case in comparative form the figures for the corresponding
 fiscal quarter of the previous fiscal year and the corresponding portion of the previous fiscal year, all in reasonable
 detail (together with a Narrative Report) and certified by a Responsible Officer of the Borrower as fairly presenting
 in all material respects the financial condition, results of operations, changes in shareholders’ equity and cash flows
 of the Borrower and its Subsidiaries in accordance with GAAP, subject only to normal year-end audit adjustments and
 the absence of footnotes.

           (c)      Monthly Financial Statements. (i) Within 30 days after the end of each month (commencing with
 the month ending March 31, 2020), the Monthly Consolidated Financial Report, certified by a Responsible Officer of
 the Borrower as fairly presenting in all material respects the financial condition as at the dates indicated and the results
 of their operations and their cash flows for the periods indicated, and (ii) within 30 days after the end of each month
 (commencing with the month ending March 31, 2020), the Monthly Mine-Level Financial Report, certified by a
 Responsible Officer of the Borrower as fairly presenting in all material respects the financial information reported
 therein.

          (d)      Cash Flow Forecast. No later than 12:00 p.m. on the Thursday following the end of every fourth
 calendar week, commencing with the Thursday of the fourth calendar week following the week in which the Petition
 Date occurs, a Cash Flow Forecast, substantially in the form of the initial Cash Flow Forecast provided pursuant to
 Section 4.01(g) or as otherwise reasonably satisfactory to the Financial Advisor.

          (e)     Budget Variance Report. No later than 7:00 p.m. on Thursday of each week after each Reporting
 Period (commencing with the Thursday of the first full week following the Petition Date), a Budget Variance Report
 for the immediately preceding Reporting Period. Each such report shall be certified by a Responsible Officer of the
 Borrower as being prepared in good faith and fairly presenting in all material respects the information set forth therein.

           (f)      Critical Vendor Report. No later than 7:00 p.m. on the Thursday of every other week (commencing
 with the Thursday of the first full week following the Petition Date), a Critical Vendor Report. Each such report shall
 be certified by a Responsible Officer of the Borrower as being prepared in good faith and fairly presenting in all
 material respects the information set forth therein.

         6.02      Certificates; Other Information.         Deliver to the Administrative Agent, in form and detail
 reasonably satisfactory to the Financial Advisor:

         (a)     concurrently with the delivery of the financial statements referred to in Section 6.01(a) and (b)
 (commencing with the delivery of the financial statements for the first full fiscal quarter ending March 31, 2019), a
 duly completed Compliance Certificate signed by a Responsible Officer of the Borrower;

          (b)       promptly after the same are available, copies of each annual report, proxy or financial statement or
 other report sent to the holders of Equity Interests in Holdings or Borrower, and copies of all annual, regular, periodic
 and special reports and registration statements which Holdings or Borrower may file or be required to file with the
 SEC under Section 13 or 15(d) of the Exchange Act, and not otherwise required to be delivered to the Administrative
 Agent pursuant hereto; and

          (c)      promptly, such additional information regarding the business, financial or corporate affairs of
 Holdings, the Borrower or any Subsidiary, or compliance with the terms of the Loan Documents, as the Administrative
 Agent or any Lender (through the Administrative Agent) may from time to time reasonably request that is reasonably
 available without undue cost or burden.




                                                             56
Case 20-41308          Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                        Main Document
                                               Pg 606 of 1005


          Documents required to be delivered pursuant to Section 6.01(a) or 6.01(b) or Section 6.02(b) may be
 delivered electronically and if so delivered, shall be deemed to have been delivered on the date (i) on which Holdings
 or the Borrower posts such documents, or provides a link thereto on Holdings’ or the Borrower’s website on the
 Internet at the website address listed on Schedule 10.02; (ii) on which such documents are posted on the Borrower’s
 behalf on an Internet or intranet website, if any, to which each Lender and the Administrative Agent have access
 (whether a commercial, third-party website or whether sponsored by the Administrative Agent); or (iii) on which such
 documents are filed for public availability on the SEC’s Electronic Data Gathering and Retrieval system.

           In the event that Holdings or any Parent reports on a consolidated basis, such consolidated reporting at
 Holdings or such Parent’s level in a manner consistent with that described in clauses 6.01(a) and 6.01(b) of this Section
 6.01 for the Borrower will satisfy the requirements of such clauses.

           The Borrower hereby acknowledges that (a) the Administrative Agent may make available to the Lenders
 materials and/or information provided by or on behalf of the Borrower hereunder (collectively, “Borrower Materials”)
 by posting the Borrower Materials on IntraLinks or another similar electronic system (the “Platform”) and (b) certain
 of the Lenders may be “public-side” Lenders (i.e., Lenders that do not wish to receive material non-public information
 with respect to the Borrower or its securities) (each, a “Public Lender”). The Borrower hereby agrees that (a) all
 Borrower Materials that are to be made available to Public Lenders shall be clearly and conspicuously marked
 “PUBLIC” which, at a minimum, shall mean that the word “PUBLIC” shall appear prominently on the first page
 thereof; (b) by marking Borrower Materials “PUBLIC,” the Borrower shall be deemed to have authorized the
 Administrative Agent and the Lenders to treat the Borrower Materials as not containing any material non- public
 information with respect to the Borrower or its securities for purposes of United States Federal and state securities
 laws (provided, however, that to the extent the Borrower Materials constitute Information, they shall be treated as set
 forth in Section 10.07); and (c) all Borrower Materials marked “PUBLIC” or not marked as containing material non-
 public information are permitted to be made available through a portion of the Platform designated “Public Investor.”
 Notwithstanding the foregoing, the Borrower shall not be under any obligation to mark the Borrower Materials
 “PUBLIC” or as containing material non-public information; provided, however, that the following Borrower
 Materials shall be deemed to be marked “PUBLIC” unless the Borrower notifies the Administrative Agent prior to
 posting that any such document contains material non-public information: (1) the Loan Documents, and (2) any
 notification of changes in the terms of the Facilities. The Borrower acknowledges and agrees that the list of
 Disqualified Institutions does not constitute non-public information and shall be posted to all Lenders by the
 Administrative Agent. In connection with the foregoing, each party hereto acknowledges and agrees that the
 foregoing provisions are not in derogation of their confidentiality obligations under Section 10.07.

          6.03     Notices. Notify the Administrative Agent:

         (a)      Promptly upon any Responsible Officer of the Borrower obtaining knowledge thereof, of the
 occurrence of any Default or Event of Default hereunder;

         (b)      Promptly upon any Responsible Officer of the Borrower obtaining knowledge thereof, of any event
 which could reasonably be expected to have a Material Adverse Effect;

           (c)     of the occurrence of any ERISA Event that, individually or in the aggregate, would be reasonably
 likely to have a Material Adverse Effect, promptly and in any event within 30 days after any Responsible Officer of
 the Borrower knows or has obtained notice thereof;

          (d)      within 15 days of the Borrower or any Guarantor changing its legal name, jurisdiction of
 organization or the location of its chief executive office or sole place of business; and

         (e)       promptly, as to any Building located on Material Real Property and constituting Collateral, of any
 redesignation of any such property on which such Building is located into or out of a special flood hazard area.

         Each notice pursuant to Sections 6.03(a)-(c) shall be accompanied by a statement of a Responsible Officer
 of the Borrower setting forth details of the occurrence referred to therein and stating what action the Borrower has
 taken and proposes to take with respect thereto.



                                                            57
Case 20-41308          Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                       Main Document
                                               Pg 607 of 1005


           6.04      Payment of Tax Obligations. Subject to the Bankruptcy Code, the terms of the applicable Orders
 and any required approval by the Bankruptcy Court, except where failure to do so could not reasonably be expected
 to result in a Material Adverse Effect, with respect to the Borrower and each of its Subsidiaries, pay and discharge all
 Tax liabilities, assessments and governmental charges or levies upon it or its properties or assets, unless the same are
 being contested in good faith by appropriate proceedings diligently conducted and adequate reserves in accordance
 with GAAP are being maintained by the Borrower or such Subsidiary.

          6.05    Preservation of Existence, Etc.; Activities of Foresight Energy Finance Corporation. Subject
 to the Bankruptcy Code, the terms of the applicable Orders and any required approval by the Bankruptcy Court,

          (a)      Preserve, renew and maintain in full force and effect its legal existence except in a transaction
 permitted by Section 7.04.

          (b)       With respect to Foresight Energy Finance Corporation, a Delaware corporation, cause such
 Subsidiary not to hold any material assets and not engage in any material business or activity other than maintaining
 its corporate existence.

          6.06     Maintenance of Properties.

          (a)      Maintain, preserve and protect all of its material properties and material equipment, including
 Collateral, necessary in the operation of its business in good working order and condition (ordinary wear and tear and
 damage by fire or other casualty or taking by condemnation excepted), except where the failure to do so could not
 reasonably be expected to have a Material Adverse Effect.

          (b)       Keep in full force and effect all of its material leases and other material contract rights, and all
 material rights of way, easements and privileges necessary or appropriate for the proper operation of the Mines being
 operated by the Borrower or a Subsidiary and included or purported to be included in the Collateral by the Security
 Documents, except where the failure to do so could not reasonably be expected to have a Material Adverse Effect.

          6.07     Maintenance of Insurance.

          (a)      Maintain with financially sound and reputable insurance companies which may be Affiliates of the
 Borrower, insurance with respect to its properties and business against loss or damage of the kinds customarily insured
 against by Persons engaged in the same or similar business, of such types and in such amounts (after giving effect to
 any self-insurance compatible with the following standards) as are customarily carried by companies engaged in
 similar businesses and owning similar properties in localities where the Borrower or the applicable Subsidiary
 operates, except to the extent the failure to do so could not reasonably be expected to have a Material Adverse Effect.

          (b)      With respect to any Building located on Material Real Property and constituting Collateral, the
 Borrower shall and shall cause each appropriate Loan Party to (i) maintain fully paid flood hazard insurance on any
 such Building that is located in a special flood hazard area, on such terms and in such amounts as required by The
 National Flood Insurance Reform Act of 1994 and (ii) furnish to the Collateral Agent an insurance certificate
 evidencing the renewal (and payment of renewal premiums therefor) of all such policies prior to the expiration or
 lapse thereof (or at such other time acceptable to the Collateral Agent). The Borrower shall cooperate with the
 Collateral Agent’s reasonable request for any information reasonably required by the Collateral Agent to comply with
 The National Flood Insurance Reform Act of 1994, as amended.

          6.08      Compliance with Laws. Except as otherwise excused by the Bankruptcy Code, comply in all
 respects with the requirements of all Laws (including the PATRIOT Act, Sanctions Laws, the Anti-Corruption Laws
 and Environmental Laws) and all orders, writs, injunctions and decrees applicable to it or to its business or property,
 except in such instances in which (a) such requirement of law or order, writ, injunction or decree is being contested in
 good faith by appropriate proceedings diligently conducted or (b) the failure to comply therewith could not reasonably
 be expected to have, individually or in the aggregate, a Material Adverse Effect (or, in the case of compliance with
 the PATRIOT Act, Sanctions Laws and the Anti-Corruption Laws, the failure to comply therewith is not material).




                                                           58
Case 20-41308          Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                       Main Document
                                               Pg 608 of 1005


          6.09       Books and Records. (a) Maintain proper books of record and account, in which in all material
 respects full, true and correct entries in conformity with GAAP shall be made of all material financial transactions and
 matters involving the assets and business of the Borrower or such Subsidiary, as the case may be; and (b) maintain
 such books of record and account in material conformity with all material requirements of any Governmental
 Authority having regulatory jurisdiction over the Borrower or such Subsidiary, as the case may be.

           6.10     Inspection Rights. Permit representatives and independent contractors of the Administrative Agent
 and each Lender (provided that, subject to no Event of Default having occurred or be continuing, such Lender to be
 accompanied by the Administrative Agent) to visit and inspect any of its properties, to examine its corporate, financial
 and operating records, and make copies thereof or abstracts therefrom (except to the extent (a) any such access is
 restricted by a Requirement of Law or (b) any such agreements, contracts or the like are subject to a written
 confidentiality agreement with a non-Affiliate that prohibits the Borrower or any of its Subsidiaries from granting
 such access to the Administrative Agent or the Lenders; provided that, with respect to such confidentiality restrictions
 affecting the Borrower or any of its Subsidiaries, a Responsible Officer is made available to the Administrative Agent
 and such Lender (provided that, subject to no Event of Default having occurred or be continuing, such Lender to be
 accompanied by the Administrative Agent) to discuss such confidential information to the extent permitted), and to
 discuss the business, finances and accounts with its officers and independent public accountants at such reasonable
 times during normal business hours and as often as may be reasonably desired, provided that the Administrative Agent
 or such Lender shall give the Borrower reasonable advance notice prior to any contact with such accountants and give
 the Borrower the opportunity to participate in such discussions, provided further that the costs of one such visit per
 calendar year (or an unlimited amount if an Event of Default has occurred and is continuing) for the Administrative
 Agent, the Lenders and their representatives as a group shall be the responsibility of the Borrower. In no event shall
 the Administrative Agent be required to bear any cost or expense hereunder.

          6.11     Use of Proceeds. The proceeds of the Loans shall be used in accordance with the terms of the Cash
 Flow Forecast (subject to Permitted Variances), including to (i) pay for the fees, costs and expenses incurred in
 connection with the Transactions and the Chapter 11 Cases and (ii) to fund working capital of the Loan Parties
 (including, without limitation, payments of fees and expenses to professionals under Section 328 and 331 of the
 Bankruptcy Code and administrative expenses of the kind specified in Section 503(b) of the Bankruptcy Code incurred
 in the ordinary course of business of the Loan Parties or otherwise approved by the Bankruptcy Court (and not
 otherwise prohibited under this Agreement)).

          6.12      Additional Guarantors. Within 10 days (or such longer period as the Administrative Agent may
 agree in its sole discretion) of a Person becoming a Subsidiary that is required to be a Guarantor by virtue of the
 definition of a Guarantor, the Borrower shall cause any such Subsidiary to become a Guarantor by executing and
 delivering to the Administrative Agent a counterpart of the Guaranty or such other documents as the Administrative
 Agent shall deem appropriate for such purpose.

          6.13     [Reserved].

          6.14     Preparation of Environmental Reports. If an Event of Default caused by reason of a breach under
 Sections 6.08 or 5.09 with respect to compliance with Environmental Laws shall have occurred and be continuing, at
 the reasonable request of the Required Lenders through the Administrative Agent, provide, in the case of the Borrower,
 to the Lenders within 60 days after such request, at the expense of the Borrower, an environmental or mining site
 assessment or audit report for the Properties which are the subject of such breach prepared by an environmental or
 mining consulting firm reasonably acceptable to the Required Lenders and indicating the presence or absence of
 Hazardous Materials and the estimated cost of any compliance or remedial action in connection with such Properties
 and the estimated cost of curing any violation or non-compliance of any Environmental Law.

           6.15      Certain Long Term Liabilities and Environmental Reserves. To the extent required by GAAP,
 maintain adequate reserves for (a) future costs associated with any lung disease claim alleging pneumoconiosis or
 silicosis or arising out of exposure or alleged exposure to coal dust or the coal mining environment, (b) future costs
 associated with retiree and health care benefits, (c) future costs associated with reclamation of disturbed acreage,
 removal of facilities and other closing costs in connection with closing its mining operations and (d) future costs
 associated with other potential environmental liabilities.



                                                           59
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                       Main Document
                                                Pg 609 of 1005


          6.16     Covenant to Give Security.

          (a)      Personal Property including IP of New Guarantors. Concurrently with any Subsidiary becoming a
 Guarantor pursuant to Section 6.12 (or a later date to which the Collateral Agent agrees), any property of such
 Subsidiary constituting Collateral shall automatically become subject to the Lien securing the Obligations pursuant to
 the Orders, and the Borrower shall, or cause such Subsidiary to, deliver any Security Document as the Collateral Agent
 or the Required Lenders may request, including the delivery of stock certificates, if any, representing the Capital Stock
 of such Subsidiary accompanied by undated stock powers or instruments of transfer executed in blank.

          (b)      Real Property of New Guarantors.

                  (i)       New Real Property Identification. With respect to any Subsidiary becoming a Guarantor
 pursuant to Section 6.12, concurrently with such Subsidiary becoming a Guarantor (or a later date to which the
 Collateral Agent agrees), furnish to the Collateral Agent a description of all Material Real Property fee owned or
 leased by such Subsidiary.

                    (ii)     Real Property. With respect to any Subsidiary becoming a Guarantor pursuant to Section
 6.12, any Real Property of such Subsidiary shall automatically become subject to the Lien securing the Obligations as
 provided in Section 2.19, and Section 2.19(b)(iii) shall apply to such Real Property. In addition to the foregoing,
 Borrower shall, at the reasonable request of the Collateral Agent or the Required Lenders, deliver to the Collateral
 Agent such appraisals as are required by law or regulation of Real Property with respect to which Collateral Agent
 has been granted a Lien, evidence of the filing of as-extracted UCC-1 financing statements in the appropriate
 jurisdiction, and such other instruments in connection therewith as the Collateral Agent or the Required Lenders shall
 reasonably require.

                    (iii)     Consents Related to Leaseholds Concerning Material Real Property. With respect to any
 leasehold interest of any Subsidiary becoming a Guarantor pursuant to Section 6.12 that would constitute Material
 Real Property but for the need to obtain the consent of another Person (other than the Borrower or any Controlled
 Subsidiary) in order to grant a security interest therein, upon the request of Collateral Agent or the Required Lenders,
 the Borrower and its Subsidiaries shall use commercially reasonable efforts to obtain such consent for the 120 day
 period commencing after such entity becomes a Guarantor, provided that there shall be no requirement to pay any
 sums to the applicable lessor other than customary legal fees and administrative expenses (it is understood, for
 avoidance of doubt, that, without limiting the foregoing obligations of the Borrower set forth in this Section
 6.16(b)(iii), any failure to grant a security interest in any such leasehold interest as a result of a failure to obtain a
 consent shall not be a Default hereunder, and, for avoidance of doubt, the Borrower and its Subsidiaries shall no longer
 be required to use commercially reasonable efforts to obtain any such consent after such above-mentioned time period
 to obtain a consent has elapsed).

          (c)      Personal Property (including IP) Acquired by Borrower or Guarantors. If requested by the Collateral
 Agent or the Required Lenders, the Borrower shall, or shall cause any Subsidiary, (i) to the extent that any Capital
 Stock in, or owned by, a Loan Party constitutes Collateral, promptly deliver stock certificates, if any, representing
 such Capital Stock accompanied by undated stock powers or instruments of transfer executed in blank to the Collateral
 Agent and/or execute and deliver to the Collateral Agent any Security Document as any Agent or the Required Lenders
 may request to pledge any such Capital Stock and (ii) to the extent that any intellectual property owned by a Loan
 Party constitutes Collateral, promptly deliver any Security Document or supplements thereto as may be requested by
 the Collateral Agent or the Required Lenders.

          (d)      Real Property Acquired by Borrower and Guarantors.

                    (i)       New Real Property Identification. Within 10 days (or such longer period as the Collateral
 Agent may agree in its sole discretion) of any acquisition of a new Real Property by any Loan Party, such Loan Party
 shall notify the Collateral Agent of the acquisition of any such Real Property (fee owned or leased by such Loan Party.

                  (ii)    Real Property. Any Real Property acquired by the Borrower or any Guarantor shall
 automatically become subject to the Lien as provided in Section 2.19, and Section 2.19(b)(iii) shall apply to such Real



                                                            60
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                         Main Document
                                                Pg 610 of 1005


 Property. In addition to the foregoing, Borrower shall, at the reasonable request of the Collateral Agent or the Required
 Lenders, deliver to the Collateral Agent such appraisals as are required by law or regulation of Real Property with
 respect to which Collateral Agent has been granted a Lien, evidence of the filing of as-extracted UCC-1 financing
 statements in the appropriate jurisdiction, and such other instruments in connection therewith as the Collateral Agent
 or the Required Lenders shall reasonably require.

                    (iii)     Consents Related to Leaseholds Concerning Material Real Property. With respect to the
 acquisition of any leasehold interest by any Subsidiary that would constitute Material Real Property but for the need
 to obtain the consent of another Person (other than the Borrower or any Controlled Subsidiary) in order to grant a
 security interest therein, upon the request of Collateral Agent or the Required Lenders, the Borrower and its
 Subsidiaries shall use commercially reasonable efforts to obtain such consent for the 120 day period commencing on
 the date of the notification provided pursuant to Section 6.16(d)(i), provided that there shall be no requirement to pay
 any sums to the applicable lessor other than customary legal fees and administrative expenses (it is understood, for
 avoidance of doubt, that, without limiting the foregoing obligations of the Borrower set forth in this Section
 6.16(d)(iii), any failure to grant a security interest in any such leasehold interest as a result of a failure to obtain a
 consent shall not be a Default hereunder, and, for avoidance of doubt, the Borrower and its Subsidiaries shall no longer
 be required to use commercially reasonable efforts to obtain any such consent after such above-mentioned time period
 to obtain a consent has elapsed).

          (e)      Further Assurances. Subject to any applicable limitation in any Security Document and
 subparagraph (f) below, upon request of the Collateral Agent or the Required Lenders, at the expense of the Borrower,
 promptly execute and deliver any and all further instruments and documents and take all such other action as the
 Collateral Agent or the Required Lenders may deem necessary or desirable in order to effect fully the purposes of the
 Orders and the Loan Documents, including the filing of financing statements necessary or advisable in the opinion of
 the Collateral Agent or the Required Lenders to perfect any security interests created under the Orders or any other
 Security Document.

          (f)       Collateral Principles. Notwithstanding anything to the contrary in any Loan Document, (i) no
 actions in any non-U.S. jurisdiction or required by the Requirement of Law of any non-U.S. jurisdiction shall be
 required in order to create any security interests in assets located or titled outside of the U.S. (it being understood that
 there shall be no security agreements or pledge agreements governed under the laws of any non-U.S. jurisdiction), (ii)
 the Collateral Agent in its discretion may grant extensions of time for the creation or perfection of security interests
 in, and Mortgages on, or taking other actions with respect to, particular assets where it reasonably determines in
 consultation with the Borrower, that the creation or perfection of security interests and Mortgages on, or taking other
 actions, cannot be accomplished without undue delay, burden or expense by the time or times at which it would
 otherwise be required by this Agreement or the Security Documents, and (iii) any Liens required to be granted from
 time to time pursuant to Security Documents and this Agreement on assets of the Loan Parties to secure to the
 Obligations shall exclude the Excluded Assets.

          6.17      [Reserved].

          6.18      Post Closing Covenants. Cause to be delivered or performed the documents and other agreements
 and actions set forth on Schedule 6.18 within the time frame specified on such Schedule 6.18.

           6.19     ERISA. Except, in each case, to the extent that the failure to do so could not reasonably be expected
 to result in a Material Adverse Effect, comply with the provisions of ERISA, the Code, and other Laws applicable to
 the Plans.

         6.20       Lender Calls. Borrower will participate in a telephonic conference call with (x) the Administrative
 Agent and the Lenders once during each two-week period at such time as may be agreed to by Borrower and
 Administrative Agent and (y) the Financial Advisor once during each week at such time as may be agreed to by
 Borrower and Financial Advisor, in each case, to discuss cash flows and operations of the Borrower and its
 Subsidiaries; it being understood and agreed that the calls in clauses (x) and (y) shall be conducted separately.

         6.21     First and Second Day Orders. The Borrower shall cause all proposed “first day” orders, “second
 day” orders and all other orders establishing procedures for administration of the Chapter 11 Cases or approving


                                                             61
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                        Main Document
                                                Pg 611 of 1005


 significant or outside the ordinary course of business transactions submitted to the Bankruptcy Court to be in
 accordance with and permitted by the terms of this Agreement and acceptable to the Required Lenders in all material
 respects, it being understood and agreed that the forms of orders approved by the Required Lenders prior to the Petition
 Date are in accordance with and permitted by the terms of this Agreement in all respects and are acceptable.

         6.22      Milestones. Comply with the following milestones (unless extended or waived by the Required
 Lenders):

           (a)     no later than thirty-five (35) calendar days after the Petition Date, (i) the Bankruptcy Court shall
 have entered the Final Order, and (ii) the Loan Parties shall have filed the Reorganization Plan and the Disclosure
 Statement (which shall include the Valuation Analysis (as defined in the Restructuring Support Agreement), which
 shall be acceptable to the Required Lenders in their sole and absolute discretion) with the Bankruptcy Court;

         (b)      no later than fifty (50) calendar days after the Petition Date, the Loan Parties shall have entered into
 each of Renegotiated Contracts/Leases (as defined in the Restructuring Support Agreement), in form and substance
 acceptable to the Loan Parties and the Required First Lien Lenders (as defined in the Restructuring Support
 Agreement);

          (c)      no later than seventy (70) calendar days after the Petition Date, the Bankruptcy Court shall have
 entered an order approving the Disclosure Statement in form and substance reasonably acceptable to the Loan Parties
 and the Required First Lien Lenders (as defined in the Restructuring Support Agreement) and, solely with respect to
 the economic treatment provided on account of the Second Lien Claims (as defined in the Restructuring Support
 Agreement), reasonably acceptable to the Required Second Lien Lenders (as defined in the Restructuring Support
 Agreement);

          (d)      no later than one hundred fifteen (115) calendar days after the Petition Date, the Bankruptcy Court
 shall have entered the Confirmation Order (as defined in the Restructuring Support Agreement) in form and substance
 acceptable to the Loan Parties and the Required First Lien Lenders (as defined in the Restructuring Support
 Agreement) and, solely with respect to the economic treatment provided on account of the Second Lien Claims (as
 defined in the Restructuring Support Agreement), reasonably acceptable to the Required Second Lien Lenders (as
 defined in the Restructuring Support Agreement); and

          (e)      no later than one hundred thirty (130) calendar days after the Petition Date, the Plan Effective Date
 shall have occurred.

         6.23    Bankruptcy Notices. The Borrower will furnish to the Financial Advisor, the Administrative
 Agent, and Akin Gump Strauss Hauer & Feld LLP and Milbank LLP, as counsel to the Backstop Lenders:

         (a)      copies of any informational packages provided to potential bidders, draft agency agreements,
 purchase agreements, status reports, and updated information related to the sale or any other transaction and copies of
 any such bids and any updates, modifications or supplements to such information and materials; and

           (b)      use commercially reasonable efforts to provide draft copies of all definitive documents and any
 other material motions or applications or other material documents to be filed in the Chapter 11 Cases to counsel to
 the Consenting Stakeholders, if reasonably practicable at least two (2) Business Days in advance of when the Loan
 Parties intend to file such documents, and, without limiting any approval rights set forth in this Agreement or the
 Restructuring Support Agreement, consult in good faith with counsel to the Consenting Stakeholders regarding the
 form and substance of any such proposed filing.

          6.24     Bankruptcy Related Matters. The Borrower will and will cause each of the other Loan Parties to:

           (a)     cause all proposed (i) “first day” orders, (ii) “second day” orders, (iii) orders related to or affecting
 the Loans and other Obligations, the Prepetition Debt and the Loan Documents, any other financing or use of cash
 collateral, any sale or other disposition of Collateral outside the ordinary course, cash management, adequate
 protection, any plan of reorganization and/or any disclosure statement related thereto, (iv) orders concerning the



                                                             62
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                         Main Document
                                                Pg 612 of 1005


 financial condition of the Borrower or any of its Subsidiaries or other Indebtedness of the Loan Parties or seeking
 relief under section 363,364 or 365 of the Bankruptcy Code or rule 9019 of the Federal Rules of Bankruptcy Procedure,
 (v) orders authorizing additional payments to critical vendors (outside of the relief approved in the “first day” and
 “second day” orders) and (vi) orders establishing procedures for administration of the Chapter 11 Cases or approving
 significant transactions submitted to the Bankruptcy Court, in each case, proposed by the Debtors to be in accordance
 with and permitted by the terms of this Agreement and acceptable to the Required Lenders (and (i) with respect to any
 provision that affects the rights or duties of any Agent, such Agent and (ii) with respect to any orders described in
 clause (v) above, acceptable to the Required Lenders in their reasonable discretion) in all respects, it being understood
 and agreed that the forms of orders approved by the Required Lenders (and with respect to any provision that affects
 the rights or duties of any Agent, such Agent) prior to the Petition Date are in accordance with and permitted by the
 terms of this Agreement and are acceptable in all respects;

         (b)      comply in all material respects with each order entered by the Bankruptcy Court in connection with
 the Chapter 11 Cases; and

          (c)     comply in a timely manner with their obligations and responsibilities as debtors in possession under
 the Bankruptcy Code, the Bankruptcy Rules, the Interim Order and the Final Order, as applicable, and any other order
 of the Bankruptcy Court.

        6.25       Chief Executive Officer. At all times following the Closing Date, the Borrower shall cause Robert
 D. Moore to hold the position of chief executive officer of the Borrower.

                                                   ARTICLE VII
                                               NEGATIVE COVENANTS

          Until Payment in Full, the Borrower shall not, nor shall it permit any Subsidiary to, directly or indirectly:

         7.01   Liens. Create, incur, assume or permit to exist any Lien upon any of its property, assets or revenues,
 whether now owned or hereafter acquired, other than the following:

         (a)    (i) Liens in favor of the Collateral Agent for the benefit of the Secured Parties granted pursuant to
 any Loan Document and (ii) Liens securing obligations in respect of Huntington Cash Management Obligations;

          (b)       (i) Liens existing on the Petition Date and set forth on Schedule 7.01 and (ii) any Lien in favor of
 non-affiliated third party existing on the Petition Date that is not set forth on Schedule 7.01 to the extent (x) the amount
 of obligations secured by such Liens do not exceed $2,000,000 individually or $5,000,000 in the aggregate, and (y) a
 revised Schedule 7.01 including such Lien is delivered to the Administrative Agent for distribution to the Lenders;

          (c)      Liens for Taxes or for pre-petition utilities, assessments or governmental charges or levies on the
 property of the Borrower or any Subsidiary if the same shall not at the time be delinquent as of the Petition Date and
 can be paid without penalty, or are being contested in good faith and by appropriate proceedings, provided that any
 reserve or appropriate provision that shall be required in conformity with GAAP shall have been made therefor;

          (d)      Liens imposed by law, such as landlord’s, carriers’, warehousemen’s, materialmen’s, construction
 and repairmen’s, vendors’ and mechanics’ Liens and other similar Liens, with respect to amounts which are not yet
 overdue for a period of more than 60 days or are being contested in good faith and by appropriate proceedings;

          (e)       [reserved];

          (f)      (i) Liens incurred, or pledges or deposits under or to secure the performance of bids, trade contracts
 and leases (other than Indebtedness), reclamation bonds, return of money bonds, insurance bonds, Mining Financial
 Assurances, statutory obligations or bonds, government contracts, health or social security benefits, unemployment or
 other insurance obligations, workers’ compensation claims, water treatment obligations, insurance obligations,
 reclamation obligations, obligations under Mining Laws or similar legislation, stay bonds, utility bonds, surety and
 appeal bonds (including surety bonds obtained as required in connection with federal coal leases), performance bonds,



                                                             63
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                        Main Document
                                                Pg 613 of 1005


 bid bonds, performance guarantees (including, without limitation, performance guarantees pursuant to coal supply
 agreements or equipment leases), bankers acceptances, completion guarantees, bank guarantees and letters of credit,
 customs duties and other obligations, including self-bonding arrangements, of a like nature incurred in the ordinary
 course of business, or (ii) Liens on assets to secure obligations under surety bonds obtained as required in connection
 with entering into of federal coal leases; provided that no more than $7,500,000 of cash may be posted following the
 Petition Date under this Section 7.01(f)

            (g)      survey exceptions, easements, rights-of-way, zoning restrictions, leases, subleases, licenses, other
 restrictions and other similar encumbrances which do not in any case materially detract from the value of the property
 subject thereto or materially interfere with the ordinary conduct of the business of the applicable Person, Liens set
 forth as exceptions to the Borrower’s or any Subsidiary’s title insurance policies and Liens as set forth as exceptions
 to the title opinions delivered;

          (h)      Liens granted to provide adequate protection pursuant to the Interim Order or the Final Order;

           (i)      Liens (including the interest of a lessor under a Capital Lease) on property and improvements that
 secure Indebtedness incurred pursuant to Section 7.03(j) for the purpose of financing all or any part of the purchase
 price or cost of construction or improvement of such property; provided that the Lien does not (i) extend to any
 additional property and (ii) secure any additional obligations, in each case other than the initial property so subject to
 such Lien and the Indebtedness and other obligations originally so secured (other than improvements on and
 accessions to such property, proceeds and products thereof, customary security deposits and any other assets pursuant
 to after-acquired property clauses in effect with respect to such Lien at the time of acquisition on property of the type
 that would have been subject to such Lien notwithstanding the occurrence of such acquisition);

          (j)      [reserved];

          (k)      [reserved];

          (l)      Liens as a result of the filing of UCC financing statements as precautionary measure in connection
 with leases, operating leases or consignment arrangements;

          (m)      [reserved];

          (n)      [reserved];

          (o)      [reserved];

          (p)      Liens in favor of collecting or payor banks having a right of setoff, revocation, refund or chargeback
 with respect to money or instruments of the Borrower or any Subsidiary on deposit with or in possession of such bank;

          (q)      [reserved];

          (r)      [reserved];

          (s)      customary Liens in favor of trustees, paying agents and escrow agents, and netting and setoff rights,
 bankers’ liens and the like in favor of financial institutions and counterparties to financial obligations and instruments,
 including Hedging Agreements;

          (t)      [reserved];

          (u)      Permitted Real Estate Encumbrances;

          (v)      [reserved];

          (w)      [reserved];



                                                             64
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                       Main Document
                                                Pg 614 of 1005


          (x)      Coal Liens;

          (y)      [reserved];

          (z)      Liens on insurance policies and proceeds thereof, or other deposits, to secure insurance premium
 financings;

           (aa)      (x) Production Payments, royalties, dedication of reserves under supply agreements or similar or
 related rights or interests granted, taken subject to, or otherwise imposed on properties or (y) cross charges, Liens or
 security arrangements entered into in respect of a Joint Venture for the benefit of a participant, manager or operator
 of such Joint Venture, in each case, consistent with normal practices in the mining industry;

          (bb)     other Liens securing Indebtedness or obligations in an aggregate principal amount at any time
 outstanding not to exceed $500,000;

          (cc)     [reserved];

          (dd)     [reserved];

          (ee)     Liens in the ordinary course of business securing obligations in respect of trade-related letters of
 credit permitted under Section 7.03(p) covering only the goods (or the documents of title in respect of such goods)
 financed by such letters of credit and the proceeds and products thereof;

          (ff)    Liens incurred or assumed in connection with the issuance of revenue bonds the interest on which
 is tax-exempt under the Code;

          (gg)      Liens in the ordinary course of business on specific items of inventory, equipment or other goods
 and proceeds of any Person securing such Person’s obligations in respect thereof or created for the account of such
 Person to facilitate the purchase, shipment or storage of such inventory or other goods;

            (hh)     deposits made in the ordinary course of business to secure reclamation liabilities, insurance
 liabilities and/or surety liabilities;

           (ii)     (x) surface use agreements, easements, zoning restrictions, rights of way, encroachments, pipelines,
 leases (other than Capital Lease Obligations), subleases, rights of use, licenses, special assessments, trackage rights,
 transmission and transportation lines related to Mining Leases or mineral rights or constructed coal mine assets or
 other Real Property including re-conveyance obligations to a surface owner following mining, royalty payments and
 other obligations under surface owner purchase or leasehold arrangements necessary to obtain surface disturbance
 rights to access the subsurface coal deposits and similar encumbrances on Real Property imposed by law or arising in
 the ordinary course of business that do not secure any monetary obligation and do not materially detract from the value
 of the affected property or interfere with the ordinary conduct of business of the Borrower or any Subsidiary and (y)
 Liens on the property of the Borrower or any Subsidiary, as tenant under a lease or sublease entered into in the ordinary
 course of business by such Person, in favor of the landlord under such lease or sublease, securing the tenant’s
 performance under such lease or sublease, as such Liens are provided to the landlord under applicable law and not
 waived by the landlord; and

         (jj)      Liens on deposits made to cash collateralize obligations in respect of letters of credit existing on the
 Closing Date.

 For purposes of determining compliance with this Section 7.01, (A) a Lien securing an item of Indebtedness need not
 be permitted solely by reference to one category of permitted Liens (or any portion thereof) described in Sections
 7.01(a) through (jj) but may be permitted in part under any combination thereof and (B) in the event that a Lien
 securing an item of Indebtedness (or any portion thereof) meets the criteria of one or more of the categories of
 permitted Liens (or any portion thereof) described in Sections 7.01(a) through (jj), the Borrower may, in its sole
 discretion, classify or reclassify, or later divide, classify or reclassify (as if incurred at such later time), such Lien



                                                            65
Case 20-41308          Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                        Main Document
                                               Pg 615 of 1005


 securing such item of Indebtedness (or any portion thereof) in any manner that complies with this Section 7.01 and at
 the time of incurrence, classification or reclassification will be entitled to only include the amount and type of such
 Lien or such item of Indebtedness secured by such Lien (or any portion thereof) in one of the above clauses (or any
 portion thereof). In addition, with respect to any Lien securing Indebtedness that was permitted to secure such
 Indebtedness at the time of the incurrence of such Indebtedness, such Lien shall also be permitted to secure any
 Increased Amount of such Indebtedness.

          7.02     Investments. Make any Investments, except:

          (a)      Investments held by the Borrower or any Subsidiary in cash or Cash Equivalents;

          (b)      to the extent made in accordance with the Cash Flow Forecast (subject to Permitted Variance), loans
 or advances, payroll, travel and other loans or advances to current or former officers, directors, employees, managers,
 directors or consultants of the Borrower or Holdings in an aggregate amount not to exceed $100,000 at any time
 outstanding, made in the ordinary course of business;

           (c)      Investments consisting of extensions of credit in the nature of accounts receivable or notes
 receivable arising from the grant of trade credit in the ordinary course of business, and Investments received in
 satisfaction or partial satisfaction thereof from financially troubled account debtors to the extent reasonably necessary
 in order to prevent or limit loss;

          (d)      Investments (including debt obligations and Capital Stock) received in satisfaction of judgments or
 in connection with the bankruptcy or reorganization of suppliers and customers of the Borrower and its Subsidiaries
 and in settlement of delinquent obligations of, and other disputes with, such customers and suppliers arising in the
 ordinary course of business;

        (e)       Investments in the nature of Production Payments, royalties, dedication of reserves under supply
 agreements or similar or related rights or interests granted, taken subject to, or otherwise imposed on properties;

           (f)      (i) Investments in existence on the Petition Date or made pursuant to a legally binding written
 commitment in existence on the Petition Date and listed on Schedule 7.02, and (ii) any Investment existing on the
 Petition Date that is not set forth on Schedule 7.02 to the extent (x) the amount of such Investment does not exceed
 $2,000,000 individually or $5,000,000 in the aggregate, and (y) a revised Schedule 7.02 including such Investment is
 delivered to the Administrative Agent for distribution to the Lenders; provided that the amount of any such Investment
 set forth in Schedule 7.02 may be increased (x) as required by the terms of such Investment as in existence on the date
 hereof or (y) as otherwise permitted hereunder;

           (g)       Investments received in compromise or resolution of (A) obligations of trade creditors or customers
 that were incurred in the ordinary course of business of the Borrower and its Subsidiaries, including pursuant to any
 plan of reorganization or similar arrangement upon the bankruptcy or insolvency of any trade creditor or customer,
 (B) litigation, arbitration or other disputes or (C) the foreclosure with respect to any secured investment or other
 transfer of title with respect to any secured investment;

          (h)      [reserved];

          (i)      Hedging Agreements or Cash Management Obligations permitted under this Agreement;

         (j)       Investments acquired solely in exchange for management services provided by the Borrower or a
 Subsidiary;

          (k)      Investments by the Borrower or any Subsidiary in any Debtor, and Investments by any Debtor in
 the Borrower;

          (l)      [reserved];




                                                            66
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                         Main Document
                                                Pg 616 of 1005


          (m)      to the extent made in accordance with the Cash Flow Forecast (subject to Permitted Variance),
 additional Investments by the Borrower or any Debtor in an aggregate amount not to exceed $1,000,000, but without
 duplication, the cash return thereon received after the date hereof as a result of any sale for cash, repayment, return,
 redemption, liquidating distribution or other cash realization not to exceed the amount of such Investments in such
 Person made after the date hereof in reliance on this Section 7.02(m) shall be deducted in determining the amount of
 Investments outstanding pursuant to this Section 7.02(m);

          (n)       [reserved];

          (o)       [reserved];

          (p)       (i) receivables owing to the Borrower or any Subsidiary if created or acquired in the ordinary course
 of business, (ii) endorsements for collection or deposit in the ordinary course of business and (iii) securities,
 instruments or other obligations received in compromise or settlement of debts created in the ordinary course of
 business, or by reason of a composition or readjustment of debts or reorganization of another Person, or in satisfaction
 of claims or judgments;

          (q)      Investments made pursuant to surety bonds, reclamation bonds, performance bonds, bid bonds,
 appeal bonds and related letters of credit or similar obligations, in each case, to the extent such surety bonds,
 reclamation bonds, performance bonds, bid bonds, substituting appeal bonds, related letters of credit and similar
 obligations are permitted under this Agreement;

           (r)      Investments consisting of indemnification obligations in respect of performance bonds, bid bonds,
 appeal bonds, surety bonds, reclamation bonds and completion guarantees and similar obligations in respect of coal
 sales contracts (and extensions or renewals thereof on similar terms), under any Mining Law, Environmental Law or
 other applicable law or with respect to workers’ compensation benefits, unemployment insurance and other social
 security laws or regulations or similar legislation, or to secure liabilities to insurance carriers under insurance
 arrangements in respect of such obligations, or good faith deposits, prepayments or cash payments in connection with
 bids, tenders, contracts or leases or to secure public or statutory obligations, customs duties and the like, or for payment
 of rent, in each case entered into in the ordinary course of business, and pledges or deposits made in the ordinary
 course of business in support of obligations under coal sales contracts (and extensions or renewals thereof on similar
 terms) or any other Indebtedness, or Liens securing Indebtedness, of the type referred to in Section 7.03(p);

          (s)       [reserved];

          (t)       [reserved];

          (u)      to the extent substituting an Investment, purchases and acquisitions, in the ordinary course of
 business, of inventory, supplies, material or equipment;

          (v)       Investments resulting from liens, pledges and deposits permitted under Section 7.01;

          (w)       [reserved]; and

         (x)     to the extent made in accordance with the Cash Flow Forecast (subject to Permitted Variance), any
 Permitted Payments to Parent, to the extent constituting an Investment.

          7.03      Indebtedness. Create, incur, assume or suffer to exist any Indebtedness except:

          (a)       Indebtedness arising under the Loan Documents;

          (b)     (i) Indebtedness outstanding on the Petition Date and listed on Schedule 7.03, and (ii) any
 Indebtedness outstanding on the Petition Date that is not set forth on Schedule 7.03 to the extent (x) the aggregate
 principal amount of such Indebtedness does not exceed $2,000,000 individually or $5,000,000 in the aggregate, and




                                                             67
Case 20-41308          Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                       Main Document
                                               Pg 617 of 1005


 (y) a revised Schedule 7.03 including such Indebtedness is delivered to the Administrative Agent for distribution to
 the Lenders;

          (c)      [reserved];

         (d)      (i) Indebtedness of the Borrower or any Subsidiary consisting of Guarantees of Indebtedness of any
 Subsidiary otherwise permitted under this Section 7.03 and (ii) Indebtedness of any Subsidiary consisting of
 Guarantees of Indebtedness of the Borrower otherwise permitted under this Section 7.03; provided that (i) if the
 Indebtedness being guaranteed is subordinated to or pari passu with the Obligations, then the guarantee must be
 subordinated or pari passu, as applicable, to the same extent as the Indebtedness guaranteed and (ii) if incurred by the
 Borrower or a Subsidiary, such guarantee shall be permitted as an Investment pursuant to Section 7.02;

           (e)     Indebtedness in respect of (i) Cash Management Obligations incurred in the ordinary course of
 business and consistent with past practice and (ii) Hedging Agreements that are not speculative in nature and incurred
 in the ordinary course of business and consistent with past practice, in each case of the Borrower or any Subsidiary;

          (f)      Indebtedness of the Borrower and any Debtor owed to any other Debtor and of any Debtor owed to
 the Borrower;

          (g)      [reserved];

          (h)      [reserved];

          (i)      [reserved];

          (j)     to the extent incurred in accordance with the Cash Flow Forecast (subject to Permitted Variance),
 Indebtedness of the Borrower or any Subsidiary incurred to finance all or any part of the acquisition, construction,
 development or improvement of any property or assets, including purchase money obligations, Capital Lease
 Obligations and any Indebtedness assumed in connection with the acquisition of any such assets or secured by a Lien
 on any such assets before the acquisition thereof, provided that the aggregate principal amount of any Indebtedness
 Incurred pursuant to this Section 7.03(j) and outstanding at the time of Incurrence, may not exceed $1,000,000;

          (k)      [reserved];

          (l)      [reserved];

          (m)      [reserved];

          (n)      [reserved];

          (o)      additional Indebtedness of the Loan Parties in an aggregate principal amount outstanding at the time
 of Incurrence, not to exceed $500,000;

          (p)       Indebtedness of the Borrower or any Subsidiary in connection with one or more standby or trade-
 related letters of credit, performance bonds, bid bonds, stay bonds, appeal bonds, bankers acceptances, Mining
 Financial Assurances, statutory obligations or bonds, health or social security benefits, unemployment or other
 insurance obligations, workers’ compensation claims, water treatment obligations, insurance obligations, reclamation
 obligations, bank guarantees, surety bonds, utility bonds, performance guarantees (including, without limitation,
 performance guarantees pursuant to coal supply agreements or equipment leases) completion guarantees or other
 similar bonds and obligations, including self-bonding arrangements, issued by or on behalf of the Borrower or a
 Subsidiary, in each case, in the ordinary course of business or pursuant to self- insurance obligations and not in
 connection with the borrowing of money or the obtaining of advances;

          (q)      [reserved];




                                                           68
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                        Main Document
                                                Pg 618 of 1005


           (r)     Indebtedness arising from the honoring by a bank or other financial institution of a check, draft or
 similar instrument drawn against insufficient funds in the ordinary course of business; and

        (s)        Indebtedness of the Borrower or any Subsidiary consisting of (i) the financing of insurance
 premiums or (ii) take-or-pay obligations contained in supply or other arrangements.

          For purposes of determining compliance with this Section 7.03 or Section 7.01, the amount of any
 Indebtedness denominated in any currency other than Dollars shall be calculated based on customary currency
 exchange rates in effect, in the case of such Indebtedness incurred (in respect of term Indebtedness) or committed (in
 respect of revolving Indebtedness) on or prior to the Closing Date, on the Closing Date and, in the case of such
 Indebtedness incurred (in respect of term Indebtedness) or committed (in respect of revolving Indebtedness) after the
 Closing Date, on the date on which such Indebtedness was incurred (in respect of term Indebtedness) or committed
 (in respect of revolving Indebtedness); provided, that if such Indebtedness is incurred to refinance other Indebtedness
 denominated in a currency other than Dollars (or in a different currency from the Indebtedness being refinanced), and
 such refinancing would cause the applicable Dollar-denominated restriction to be exceeded if calculated at the relevant
 currency exchange rate in effect on the date of such refinancing, such Dollar-denominated restriction shall be deemed
 not to have been exceeded so long as the principal amount of such refinancing Indebtedness does not exceed (i) the
 outstanding or committed principal amount, as applicable, of such Indebtedness being refinanced plus (ii) the
 aggregate amount of fees, underwriting discounts, premiums (including tender premiums), accrued interest,
 defeasance costs and other costs and expenses incurred in connection with such refinancing.

          Further, for purposes of determining compliance with this Section 7.03, in the event that an item of
 Indebtedness (or any portion thereof) meets the criteria of more than one of the categories set forth in Sections 7.03
 (a) through (u), the Borrower will be permitted to divide and classify such item of Indebtedness (or any portion thereof)
 on the date of its Incurrence, or later re-divide and reclassify all or a portion of such item of Indebtedness in any
 manner that complies with this Section 7.03.

           In addition, with respect to any Indebtedness that was permitted to be incurred hereunder on the date of such
 incurrence, any Increased Amount of such Indebtedness shall also be permitted hereunder after the date of such
 incurrence. “Increased Amount” of any Indebtedness shall mean any increase in the amount of such Indebtedness in
 connection with any accrual of interest, the accretion of accreted value, the amortization of original issue discount,
 the payment of interest in the form of additional Indebtedness, the accretion of original issue discount, or liquidation
 preference and increases in the amount of Indebtedness outstanding solely as a result of fluctuations in the exchange
 rate of currencies.

         This Agreement will not treat (1) unsecured Indebtedness as subordinated or junior to secured Indebtedness
 merely because it is unsecured and (2) senior Indebtedness as subordinated Indebtedness or junior to any other senior
 Indebtedness merely because it has junior priority with respect to the same collateral.

           7.04      Fundamental Changes. Subject to Section 10.21, merge, dissolve, liquidate, consolidate with or
 into another Person, or Dispose of (whether in one transaction or in a series of related transactions) all or substantially
 all of the assets (whether now owned or hereafter acquired) of the Borrower and its Subsidiaries, taken as a whole, to
 or in favor of any Person, except if no Default exists or would immediately result therefrom:

          (a)      any Subsidiary may merge or consolidate with (i) the Borrower, provided that the Borrower shall
 be the continuing or surviving Person or (ii) any one or more other Subsidiaries, provided that (A) when any Wholly
 Owned Subsidiary is merging with another Subsidiary, a Wholly Owned Subsidiary shall be the continuing or
 surviving Person, (B) when any Subsidiary is merging with any other Subsidiary, the continuing or surviving Person
 shall be a Subsidiary, (C) when any Foreign Subsidiary is merging with any Domestic Subsidiary, the continuing or
 surviving Person shall be the Domestic Subsidiary and (D) when any Guarantor is merging with any other Subsidiary,
 the continuing or surviving Person shall be a Guarantor;

          (b)       any Subsidiary may Dispose of all or substantially all of its assets (upon voluntary liquidation,
 dissolution or otherwise) to the Borrower or to another Subsidiary; provided that (i) if the transferor in such a
 transaction is a Subsidiary, then the transferee must either be the Borrower or another Subsidiary, (ii) if the transferor



                                                             69
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                        Main Document
                                                Pg 619 of 1005


 is a Domestic Subsidiary, then the transferee must either be the Borrower or another Domestic Subsidiary and (iii) if
 the transferor is a Guarantor, then the transferee must either be the Borrower or another Guarantor;

         (c)       the Borrower may Dispose of all or a portion of the Equity Interests of any of its Subsidiaries to a
 Guarantor (other than Holdings or General Partner);

         (d)     the Borrower and any Subsidiary may merge or consolidate with any other Person in a transaction
 in which the Borrower or the Subsidiary, as applicable, is the surviving or continuing Person; provided that, the
 Borrower may not merge or consolidate with any Subsidiary unless the Borrower is the surviving or continuing Person;
 and

           (e)      any Subsidiary may liquidate or dissolve if the Borrower determines in good faith that such
 liquidation or dissolution is in the best interests of the Borrower and the assets, if any, of any Subsidiary so liquidated
 or dissolved are transferred (x) to another Subsidiary or the Borrower and (y) to a Guarantor or the Borrower if such
 liquidated or dissolved Subsidiary is a Guarantor.

          7.05     Dispositions. Make any Disposition (other than Dispositions permitted pursuant to Sections 7.01,
 7.02, 7.04 and 7.06), except:

          (a)       (i) the sale or Disposition of damaged, obsolete, unusable or worn out equipment or equipment that
 is no longer needed in the conduct of the business of the Borrower and its Subsidiaries, (ii) sales or Dispositions of
 inventory, used or surplus equipment or reserves and Dispositions related to the burn-off of mines or (iii) the
 abandonment or allowance to lapse or expire or other disposition of intellectual property by the Borrower and its
 Subsidiaries in the ordinary course of business;

          (b)      sales, transfers or other dispositions of assets with respect to any Debtor pursuant to any order of
 the Bankruptcy Court, in form and substance reasonably satisfactory to the Required Lenders, permitting a de minimis
 asset disposition without further order of the Bankruptcy Court, so long as the proceeds thereof are applied in
 accordance with Section 2.05, if applicable;

          (c)      [reserved];

          (d)      Dispositions of cash and Cash Equivalents;

          (e)      [reserved];

          (f)      (A) the sale of defaulted receivables in the ordinary course of business and (B) Dispositions of
 receivables in connection with the compromise, settlement or collection thereof in the ordinary course of business or
 in bankruptcy or similar proceeding;

          (g)      any transfer of property or assets that consists of grants by the Borrower or its Subsidiaries in the
 ordinary course of business of licenses or sub-licenses, including with respect to intellectual property rights;

          (h)      [reserved];

           (i)      (A) the grant in the ordinary course of business of any non-exclusive easements, permits, licenses,
 rights of way, surface leases or other surface rights or interests and (B) any lease, sublease or license of assets (with a
 Loan Party as the lessor, sublessor or licensor) in the ordinary course of business;

          (j)      Dispositions of assets resulting from condemnation or casualty events;

          (k)      [reserved];

          (l)      [reserved];




                                                             70
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                       Main Document
                                                Pg 620 of 1005


          (m)      [reserved];

          (n)      [reserved];

          (o)       (i) any surrender or waiver of contractual rights or the settlement, release, or surrender of
 contractual, tort or other claims of any kind or (ii) any settlement, discount, write off, forgiveness, or cancellation of
 any Indebtedness owing by any present or former directors, officers, or employees of the Borrower or` any Subsidiary
 or any of their successors or assigns;

          (p)      the unwinding or termination of any Hedging Agreements;

          (q)      [reserved];

          (r)      [reserved];

          (s)      [reserved];

         (t)       exchanges or relocations of easements for pipelines, oil and gas infrastructure and similar
 arrangements in the ordinary course of business; and

           (u)     Dispositions of assets acquired in connection with an acquisition by the Borrower or any Subsidiary
 that are Disposed of for fair market value (as reasonably determined by the Borrower in good faith) within 90 days of
 such acquisition.

          7.06     Restricted Payments. Declare or make, directly or indirectly, any Restricted Payment, or incur
 any obligation (contingent or otherwise) to do so, or issue or sell any Equity Interests or accept any capital
 contributions, except that:

           (a)       dividends or distributions by a Subsidiary payable, on a pro rata basis or on a basis more favorable
 to the Borrower or a Subsidiary, to all holders of any class of Equity Interests of such Subsidiary a majority of which
 is held, directly or indirectly through Subsidiaries, by the Borrower;

          (b)       the Borrower and each Subsidiary may declare and make dividend payments or other distributions
 payable solely in the common stock or other Equity Interests of such Person or another Subsidiary;

         (c)     to the extent made in accordance with the Cash Flow Forecast (subject to Permitted Variance),
 Permitted Payments to Parent;

          (d)     to the extent made in accordance with the Cash Flow Forecast (subject to Permitted Variance), so
 long as no Event of Default shall have occurred and is continuing or would result therefrom, Restricted Payments
 made pursuant to this Section 7.06(d) in an amount not to exceed $100,000 in the aggregate; and

           (e)       to the extent made in accordance with the Cash Flow Forecast (subject to Permitted Variance),
 Restricted Payments made to Holdings (or any Parent) to enable Holdings (or any Parent) to pay (i) operating costs
 and expenses and other administrative fees and costs, in each case, to the extent expressly required to be paid pursuant
 to the Management Services Agreement, and (ii) after the entry of an order by the Bankruptcy Court (which order
 shall be in full force and effect and shall not have been vacated, reversed, modified, amended or stayed in any respect
 without the prior written consent of the Required Lenders), authorizing the Debtors’ entry into, or an assumption of,
 an amendment to the Management Services Agreement, in form and substance satisfactory to the Required Lenders,
 (x) management fees, to the extent expressly required to be paid pursuant to such amended terms of the Management
 Services Agreement, and (y) minimum royalty payments to Murray Energy Group on account of any Debtor’s coal
 mine leases with Colt LLC.

          7.07     Change in Nature of Business. Engage in any business other than a Similar Business.




                                                            71
Case 20-41308          Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                        Main Document
                                               Pg 621 of 1005


          7.08     Transactions with Affiliates. Enter into, renew or extend any transaction or arrangement,
 including the purchase, sale, lease or exchange of property or assets or the rendering of any service, with any Affiliate
 of the Borrower or any Subsidiary. Notwithstanding the foregoing, the foregoing restrictions shall not apply to the
 following:

                          (A)      transactions between or among the Borrower and any of its Subsidiaries or a
 Person that becomes a Subsidiary;

                            (B)     to the extent made in accordance with the Cash Flow Forecast (subject to
 Permitted Variance), the payment of reasonable and customary (as determined in good faith by the Borrower) regular
 fees, compensation, indemnification and other benefits to current, former and future directors of the Borrower, a
 Subsidiary, or Holdings, who are not employees of the Borrower, such Subsidiary or Holdings, including
 reimbursement or advancement of reasonable and documented out-of-pocket expenses and provisions of liability
 insurance;

                             (C)     to the extent made in accordance with the Cash Flow Forecast (subject to
 Permitted Variance), loans or advances to officers, directors or employees of the Borrower or Holdings in the ordinary
 course of business of the Borrower or its Subsidiaries or Holdings or Guarantees in respect thereof or otherwise made
 on their behalf (including payment on such Guarantees) but only to the extent permitted by applicable law and Section
 7.02(b);

                            (D)      transactions arising under any contract, agreement, instrument or other
 arrangement in effect on the Closing Date and set forth on Schedule 7.08;

                           (E)    to the extent made in accordance with the Cash Flow Forecast (subject to
 Permitted Variance), intercompany Investments permitted by Section 7.02 and Restricted Payments permitted by
 Section 7.06;

                            (F)       to the extent made in accordance with the Cash Flow Forecast (subject to
 Permitted Variance), after the entry of an order by the Bankruptcy Court (which order shall be in full force and effect
 and shall not have been vacated, reversed, modified, amended or stayed in any respect without the prior written consent
 of the Required Lenders), authorizing the Debtors’ entry into, or an assumption of, an amendment to the Management
 Services Agreement, in form and substance satisfactory to the Required Lenders, minimum royalty payments to
 Murray Energy Group on account of any Debtor’s coal mine leases with Colt LLC;

                              (G)     the Management Services Agreement (and transactions arising pursuant to the
 terms thereof) as in effect on the Closing Date; provided that any payment or distribution by any Debtor to any of its
 Affiliates pursuant to the Management Services Agreement shall only be made pursuant to Section 7.06(d); and

                            (H)       any agreements entered into in connection with the Transactions.

           7.09     Permitted Activities of General Partner and Holdings. (a) General Partner and Holdings shall
 not incur or permit to exist any Lien other than (i) Liens created under the Loan Documents and (ii) Liens not
 prohibited by Section 7.01 on any of the Equity Interests issued by the Borrower held by General Partner or Holdings
 and (b) General Partner and Holdings shall do or cause to be done all thing necessary to preserve, renew and keep in
 full force and effect its legal existence; provided, that so long as no Default has occurred and is continuing or would
 result therefrom, Holdings may merge with any other Person (and if it is not the survivor of such merger, the survivor
 shall assume Holdings’ obligations, as applicable, under the Loan Documents).

          7.10    Use of Proceeds. Use the proceeds of any Credit Extension, whether directly or indirectly, and
 whether immediately, incidentally or ultimately, for any purpose that entails a violation of any regulation of the FRB,
 including Regulations T, U and X.

          7.11     [Reserved].




                                                            72
Case 20-41308          Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                       Main Document
                                               Pg 622 of 1005


           7.12      Burdensome Agreements. Enter into any Contractual Obligation (other than any Loan Document)
 that (x) limits the ability of the Borrower or any Guarantor to create, incur, assume or suffer to exist any Lien upon
 any of its property to secure the Obligations hereunder or (y) limits the ability of any Subsidiary to make Restricted
 Payments to the Borrower or any Guarantor or to otherwise transfer property to the Borrower or any Guarantor;
 provided, however, that the foregoing clause shall not apply to Contractual Obligations which:

          (a)      exist as of the Petition Date and are set forth on Schedule 7.12;

          (b)      are binding on a Subsidiary at the time such Subsidiary first becomes a Subsidiary of the Borrower,
 so long as such Contractual Obligations were not entered into solely in contemplation of such Person becoming a
 Subsidiary of the Borrower;

          (c)       customary restrictions and conditions contained in the document relating to any Lien, so long as (i)
 such Lien is permitted by Section 7.01 and such restrictions or conditions relate only to the specific asset subject to
 such Lien and (ii) such restrictions and conditions are not created for the purpose of avoiding the restrictions imposed
 by this Section 7.12;

          (d)      [reserved];

          (e)      restrictions imposed by applicable law;

          (f)        any restriction on a Subsidiary imposed pursuant to an agreement entered into for the sale or
 Disposition of the Equity Interests or assets of a Subsidiary pending the closing of such sale or Disposition to the
 extent relating to the Equity Interests or assets that are then subject to such sale or Disposition;

          (g)       are customary provisions in joint venture agreements and other similar agreements applicable to
 joint ventures or the Equity Interests therein;

          (h)     are customary restrictions contained in leases, subleases, licenses or asset sale agreements otherwise
 permitted hereby so long as such restrictions relate to the assets subject thereto;

           (i)      are customary provisions restricting subletting or assignment of any lease governing a leasehold
 interest of the Borrower or any Subsidiary;

          (j)       are customary limitations (including financial maintenance covenants) existing under or by reason
 of leases entered into in the ordinary course of business;

          (k)      are restrictions on cash or other deposits imposed under contracts entered into in the ordinary course
 of business;

          (l)      are customary provisions restricting assignment of any agreements;

          (m)      [reserved];

         (n)      any restrictions imposed by any agreement relating to secured Indebtedness permitted by Section
 7.03 of this Agreement to the extent that such restrictions apply only to the property or assets securing such
 Indebtedness;

          (o)      [reserved];

          (p)       customary net worth provisions contained in Real Property leases entered into by Subsidiaries, so
 long as the Borrower has determined in good faith that such net worth provisions would not reasonably be expected
 to impair the ability of the Borrower and its Subsidiaries to meet their ongoing obligations; or




                                                             73
Case 20-41308          Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                       Main Document
                                               Pg 623 of 1005


           (q)      are set forth in any agreement evidencing an amendment, modification, restatement, renewal,
 increase, supplement, refunding, replacement or refinancing of the Contractual Obligations referred to in Sections
 7.12(a) through 7.12(p) above; provided, that such amendment, modification, restatement, renewal, increase,
 supplement, refunding, replacement or refinancing is, in the good faith judgment of the Borrower, not materially less
 favorable to the Loan Party with respect to such limitations than those applicable pursuant to such Contractual
 Obligations prior to such amendment, modification, restatement, renewal, increase, supplement, refunding,
 replacement or refinancing (it being understood that the introduction of any such limitation in a Contractual Obligation
 that did not previously contain any such limitation shall be deemed to be adverse in a material respect to the interest
 of the Lenders unless otherwise of the type permitted by this Section 7.12).

          7.13     [Reserved].

          7.14    Maximum Capital Expenditure. Make or incur Capital Expenditures, in any period indicated
 below in an aggregate amount for Borrower and its Subsidiaries in excess of the amount set forth below opposite such
 period:

                           Period                                        Maximum Capital Expenditures
           Petition Date through March 31, 2020                                 $16,200,000
           Petition Date through April 30, 2020                                 $19,410,000
            Petition Date through May 31, 2020                                  $20,540,000
            Petition Date through June 30, 2020                                 $27,490,000
            Petition Date through July 31, 2020                                 $28,500,000


          7.15     Fiscal Year. Change its fiscal year-end from December 31.

           7.16     Sale and Lease-Backs. Other than in respect of Sale and Lease-Backs in existence on the Closing
 Date, become or remain liable as lessee or as a guarantor or other surety with respect to any lease of any property
 (whether real, personal or mixed), whether now owned or hereafter acquired, which the Borrower or such Subsidiary
 (a) has sold or transferred to any other Person (other than the Borrower or any of its Subsidiaries) and (b) thereafter
 rents or leases such property that it intends to use for substantially the same purpose as the property which has been
 sold or transferred (collectively, the “Sale and Lease- Backs”).

          7.17    Amendments or Waivers of Organizational Documents. Amend, restate, supplement, modify or
 waive any provision of any of its Organizational Documents after the Closing Date, in each case, to the extent the
 same, taken as a whole, would be material and adverse to any Secured Party (in the good faith determination of the
 Borrower).

           7.18      Budget Variance. (a) As of the last day of each applicable Two-Week Test Period commencing
 with the last day of the first Two-Week Test Period ending after the Closing Date, for such Two-Week Test Period (i)
 the negative variance (as compared to the Cash Flow Forecast) of the actual aggregate operating cash receipts of the
 Debtors shall not exceed 15%, (ii) the positive variance (as compared to the applicable Cash Flow Forecast) of the
 aggregate operating disbursements (excluding professional fees, interest payments and disbursements made by the
 Debtors set forth under “MEC Affiliate Disbursements” in the Cash Flow Forecast (including, without limitation, any
 payments pursuant to the Management Services Agreement)) made by the Debtors shall not exceed 15% and (iii) the
 positive variance (as compared to the applicable Cash Flow Forecast) of the aggregate disbursements made by the
 Debtors set forth under “MEC Affiliate Disbursements” in the Cash Flow Forecast (including, without limitation, any
 payments pursuant to the Management Services Agreement)) shall not exceed 15%, and (b) beginning with the
 delivery of the third Budget Variance Report, as of the last day of each applicable Four-Week Test Period commencing
 with the last day of the first Four-Week Test Period ending after the Closing Date, for such Four-Week Test Period,
 (i) the negative variance (as compared to the applicable Cash Flow Forecast) of the actual aggregate operating cash
 receipts of the Debtors shall not exceed 10%, (ii) the positive variance (as compared to the applicable Cash Flow
 Forecast) of the aggregate operating disbursements (excluding professional fees, interest payments and disbursements
 made by the Debtors set forth under “MEC Affiliate Disbursements” in the Cash Flow Forecast (including, without
 limitation, any payments pursuant to the Management Services Agreement) made by the Debtors shall not exceed
 10% and (iii) the positive variance (as compared to the applicable Cash Flow Forecast) of the aggregate disbursements


                                                           74
Case 20-41308          Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                       Main Document
                                               Pg 624 of 1005


 made by the Debtors set forth under “MEC Affiliate Disbursements” in the Cash Flow Forecast (including, without
 limitation, any payments pursuant to the Management Services Agreement) shall not exceed 10% (such variance that
 does not breach this covenant, the “Permitted Variance”).

         7.19    Minimum Liquidity. Permit Liquidity at any time to be less than (i) prior to the Delayed Draw
 Funding Date, $20,000,000, and (ii) on or after the Delayed Draw Funding Date, $40,000,000.

          7.20     [Reserved].

          7.21     Additional Bankruptcy Matters. Permit any of its Subsidiaries to, without the Required Lenders’
 prior written consent, do any of the following:

                 (a)       use any portion or proceeds of the Loans or the Collateral, or disbursements set forth in the
 Cash Flow Forecast, for payments or purposes that would violate the terms of the Interim Order or the Final Order;

                   (b)     incur, create, assume, suffer to exist or permit any other superpriority administrative claim
 which is pari passu with or senior to the claim of the Secured Parties against any Loan Party, except for the Carve
 Out or as otherwise expressly permitted by the Orders;

                  (c)      subject to the Orders, assert, join, investigate, support or prosecute any claim or cause of
 action against any of the Secured Parties (in their capacities as such), unless such claim or cause of action is in
 connection with the enforcement of the Loan Documents against any of the Secured Parties;

                    (d)       other than as provided in any “first day” order, enter into any agreement to return any of
 its inventory to any of its creditors for application against any pre-petition Indebtedness, pre-petition trade payables
 or other pre-petition claims under Section 546(c) of the Bankruptcy Code or allow any creditor to take any setoff or
 recoupment against any of its pre-petition Indebtedness, pre-petition trade payables or other pre-petition claims based
 upon any such return pursuant to Section 553(b)(1) of the Bankruptcy Code or otherwise if, after giving effect to any
 such agreement, setoff or recoupment, the aggregate amount applied to pre-petition Indebtedness, pre-petition trade
 payables and other pre-petition claims subject to all such agreements, setoffs and recoupments since the Petition Date
 would exceed $250,000;

                    (e)     seek, consent to, or permit to exist, without the prior written consent of the Required
 Lenders, any order granting authority to take any action that is prohibited by the terms of this Agreement, the Interim
 Order, the Final Order or the other Loan Documents or refrain from taking any action that is required to be taken by
 the terms of this Agreement, the Interim Order, the Final Order or any of the other Loan Documents;

                   (f)      subject to the terms of the Orders and subject to Article VIII, object to, contest, delay,
 prevent or interfere with in any material manner the exercise of rights and remedies by the Agents, the Lenders or
 other Secured Parties with respect to the Collateral following the occurrence of an Event of Default, including without
 limitation a motion or petition by any Secured Party to lift an applicable stay of proceedings to do the foregoing
 (provided that any Loan Party may contest or dispute whether an Event of Default has occurred in accordance with
 the terms of the Orders);

                    (g)     except as expressly provided or permitted hereunder (including, without limitation, to the
 extent pursuant to any “first day” or “second day” orders complying with the terms of this Agreement) or, with the
 prior consent of the Required Lenders, make any payment or distribution to any non-Debtor Affiliate or insider of any
 Debtor unless otherwise contemplated in the Cash Flow Forecast (subject to Permitted Variances);

                    (h)      except for the Carve Out or as otherwise expressly permitted by the Orders, incur, create,
 assume, suffer to exist or permit (or file an application for the approval of) any other Superpriority Claim which is
 pari passu with or senior to the claims of the Administrative Agent, the Collateral Agent and Lenders against the Loan
 Parties or the adequate protection Liens or claims; or




                                                           75
Case 20-41308           Doc 228         Filed 04/01/20 Entered 04/01/20 23:45:34                         Main Document
                                                 Pg 625 of 1005


                 (i)          make or permit to be made any change to the Final Order without the consent of the
 Required Lenders.

                                                ARTICLE VIII
                                      EVENTS OF DEFAULT AND REMEDIES

         8.01       Events of Default. Any of the following shall constitute an Event of Default (each, an “Event of
 Default”):

          (a)      Non-Payment. The Borrower or any other Loan Party fails to pay (i) when and as required to be
 paid herein, any amount of principal of any Loan, or (ii) within five Business Days after the same becomes due and
 payable, any interest on any Loan, , or any fee due hereunder, any other amount payable hereunder or under any other
 Loan Document; or

          (b)       Specific Covenants. The Borrower fails to perform or observe any term, covenant or agreement
 contained in any of Sections 6.01(a), 6.01(b), 6.01(c), 6.01(d), 6.01(e), 6.01(f), 6.02(a), 6.03(a), 6.05, 6.11, 6.18 6.21
 6.22, 6.23 or Article VII; or

          (c)       Other Defaults. Any Loan Party fails to perform or observe any other covenant or agreement (not
 specified in subsection (a) or (b) above) contained in any Loan Document on its part to be performed or observed and
 such failure continues for 30 days; or

          (d)    Representations and Warranties. Any representation, warranty, certification or statement of fact
 made or deemed made by or on behalf of the Borrower or any other Loan Party herein, in any other Loan Document,
 or in any document delivered in connection herewith or therewith shall be incorrect or misleading in any material
 respect when made or deemed made; or

           (e)      Cross-Default. Unless the enforcement thereof is stayed by operation of the Chapter 11 Cases, any
 Loan Party or any Subsidiary thereof (A) fails to make any payment when due (whether by scheduled maturity,
 required prepayment, acceleration, demand, or otherwise) in respect of any Indebtedness or Guarantee (other than
 Indebtedness under the Loan Documents) in each case having an aggregate principal amount of more than the
 Threshold Amount (“Material Indebtedness”), beyond the period of grace, if any, provided in the instrument or
 agreement under which such Material Indebtedness was created or (B) fails to observe or perform any other agreement
 or condition relating to any such Material Indebtedness, or contained in any instrument or agreement evidencing,
 securing or relating thereto, or any other event occurs, the effect of which default or other event is to cause or to permit
 the holder or holders of such Material Indebtedness, or the beneficiary or beneficiaries of such Material Indebtedness
 (or a trustee or agent on behalf of such holder or holders or beneficiary or beneficiaries) to cause, with the giving of
 notice if required, such Indebtedness to become due prior to its stated maturity, or such Guarantee to become due or
 payable; provided, that this clause 8.01(e) shall not apply to any secured Indebtedness that becomes due as a result of
 the voluntary sale or transfer of the property or assets securing such Indebtedness if (i) such sale or transfer is permitted
 hereunder and under the documents providing for such Indebtedness, (ii) such Indebtedness becomes due substantially
 contemporaneously with the completion and closing of such voluntary sale and transfer (and not upon entry into the
 purchase or transfer agreement related thereto) and (iii) the process of such voluntary sale or transfer are applied to
 pay in full such Indebtedness substantially contemporaneously with such sale or transfer; or

           (f)      Insolvency Proceedings, Etc. Any Loan Party or Subsidiary that is not a Debtor institutes or
 consents to the institution of any proceeding under any Debtor Relief Law, or makes an assignment for the benefit of
 creditors; or applies for or consents to the appointment of any receiver, trustee, custodian, conservator, liquidator,
 rehabilitator or similar officer for it or for all or any material part of its property; or any receiver, trustee, custodian,
 conservator, liquidator, rehabilitator or similar officer is appointed without the application or consent of such Person
 and the appointment continues undischarged or unstayed for 30 calendar days; or any proceeding under any Debtor
 Relief Law relating to any such Person or to all or any material part of its property is instituted without the consent of
 such Person and continues undismissed or unstayed for 30 calendar days, or an order for relief is entered in any such
 proceeding; or




                                                              76
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                       Main Document
                                                Pg 626 of 1005


          (g)      [Reserved].

          (h)     Judgments. There is entered against any Loan Party or any Subsidiary a final judgment or order for
 the payment of money in an aggregate amount exceeding the Threshold Amount (to the extent not covered by
 independent third party insurance), and such judgments or orders shall not have been vacated, discharged, waived,
 stayed or bonded pending appeal within 60 days from the entry thereof; or

          (i)     ERISA. The occurrence of any of the following events that, individually or in the aggregate, could
 reasonably be expected to result in a Material Adverse Effect: (i) an ERISA Event occurs with respect to a Pension
 Plan or Multiemployer Plan which has resulted or could reasonably be expected to result in an actual obligation to pay
 money of the Borrower under Title IV of ERISA to the Pension Plan, Multiemployer Plan or the PBGC, or (ii) the
 Borrower or any ERISA Affiliate fails to pay when due, after the expiration of any applicable grace period, any
 installment payment with respect to its withdrawal liability under Section 4201 of ERISA under a Multiemployer
 Plan; or

          (j)       Invalidity of Loan Documents. Any Loan Document, at any time after its execution and delivery
 and for any reason other than as expressly permitted hereunder or Payment in Full, ceases to be in full force and effect;
 or any Loan Party contests in any manner the validity or enforceability of any Loan Document; or any Loan Party
 denies that it has any or further liability or obligation under any Loan Document, or purports to revoke, terminate or
 rescind any Loan Document; or any Security Document ceases to create a valid Lien with the priority required thereby
 on the Collateral covered thereby (other than (x) as to any immaterial portion of the Collateral or (y) as expressly
 permitted thereunder or solely as a result of the acts or omissions of any Agent); or

          (k)      Change of Control. There occurs any Change of Control; or

          (l)      Restructuring Support Agreement or Backstop Commitment Agreement Termination. (i) The
 bringing of a motion or taking of any action by any of the Loan Parties or any Subsidiary to terminate the Restructuring
 Support Agreement and/or the Backstop Commitment Agreement, or (ii) the Restructuring Support Agreement and/or
 the Backstop Commitment Agreement is terminated for any reason, or modified, amended or waived in any manner
 materially adverse to the Secured Parties without the prior consent of the Required Lenders; or

          (m)      Management Services Agreement Termination. (i) The bringing of a motion or taking of any action
 by any of the Loan Parties or any Subsidiary to terminate the Management Services Agreement or (ii) the Management
 Services Agreement is terminated for any reason, or modified, amended or waived in any manner materially adverse
 to the Secured Parties without the prior consent of the Required Lenders; or

          (n)       Guarantees, Security Documents and Loan Documents. At any time after the execution and delivery
 thereof, (i) the Guaranty for any reason, other than the Payment in Full of all Obligations (other than contingent
 indemnity obligations), shall cease to be in full force and effect (other than in accordance with its terms or in
 connection with a transaction permitted by Section 7.04) or shall be declared to be null and void or any Guarantor
 shall repudiate its obligations thereunder, (ii) any Security Document shall for any reason (other than pursuant to the
 terms thereof) cease to create a valid and perfected Lien (subject to Permitted Liens) on the Collateral purported to be
 covered thereby and with the priority contemplated by the Orders, and (iii) any Loan Party shall contest the validity
 or enforceability of any Loan Document or any Order in writing or repudiate or rescind (or purport to repudiate or
 rescind) or deny in writing that it has any further liability, including with respect to future advances by Lenders, under
 any provision of any Loan Document to which it is a party or shall contest the validity or perfection of any Lien in
 any Collateral purported to be covered by any Order or any other Security Document; or

          (o)      Chapter 11 Cases. There occurs any of the following in the Chapter 11 Cases:

                    (i)      the bringing of a motion or taking of any action by any of the Loan Parties or any Subsidiary
 (A) to grant any Lien other than Liens permitted pursuant to Section 7.01 upon or affecting any Collateral, or (B) to
 use cash collateral of the Agents and the other Secured Parties under section 363(c) of the Bankruptcy Code without
 the prior written consent of the Required Lenders, except as provided in the Interim Order or Final Order;




                                                            77
Case 20-41308             Doc 228      Filed 04/01/20 Entered 04/01/20 23:45:34                       Main Document
                                                Pg 627 of 1005


                   (ii)     the entry of an order in any of the Chapter 11 Cases confirming a Reorganization Plan that
 is not an Acceptable Plan;

                   (iii)     (A) the entry of an order amending, supplementing, staying, vacating or otherwise
 modifying the Interim Order or the Final Order in any material respect without the written consent of the Required
 Lenders, or the Interim Order or the Final Order shall otherwise not be in full force and effect or (B) any Loan Party
 or any Subsidiary shall fail to comply with the Orders in any material respect;

                   (iv)    the allowance of any claim or claims under Section 506(c) of the Bankruptcy Code or
 otherwise against, any Agent, any Lender, any other Secured Party or any of the Collateral;

                    (v)       (A) the appointment of a trustee, receiver or an examiner (other than a fee examiner) in
 the Chapter 11 Cases with expanded powers to operate or manage the financial affairs, the business, or reorganization
 of the Loan Parties, or (B) the sale without the Required Lenders’ consent of any material portion of the Debtors’
 assets either through a sale under Section 363 of the Bankruptcy Code, through a confirmed plan of reorganization in
 the Chapter 11 Cases or otherwise that does not result in Payment in Full in cash of all of the Obligations under this
 Agreement at the closing of such sale or initial payment of the purchase price or effectiveness of such plan of
 reorganization, as applicable;

                   (vi)    the dismissal of any Chapter 11 Case, or the conversion of any Chapter 11 Case from one
 under Chapter 11 to one under Chapter 7 of the Bankruptcy Code or any Loan Party shall file a motion or other
 pleading seeking the dismissal of the Chapter 11 Case under Section 1112 of the Bankruptcy Code or otherwise or the
 conversion of the Chapter 11 Cases to Chapter 7 of the Bankruptcy Code;

                    (vii)    any Loan Party shall file a motion seeking, or the Bankruptcy Court shall enter an order
 granting relief from or modifying the automatic stay under Section 362 of the Bankruptcy Code (A) to allow any
 creditor (other than the Agents) to execute upon or enforce a Lien on any Collateral, (B) approving any settlement or
 other stipulation not approved by the Required Lenders (which approval shall not be unreasonably withheld) with any
 secured creditor of any Loan Party providing for payments as adequate protection or otherwise to such secured
 creditor, (C) with respect to any Lien on or the granting of any Lien on any Collateral to any federal, state or local
 environmental or regulatory agency or authority or (D) to permit other actions that would have a Material Adverse
 Effect on the Debtors or their estates (taken as a whole);

                   (viii)    [reserved];

                  (ix)    the entry of an order in the Chapter 11 Cases avoiding or permitting recovery of any portion
 of the payments made on account of the Obligations owing under this Agreement;

                  (x)        the entry of an order in the Chapter 11 Cases terminating or modifying the exclusive right
 of any Loan Party to file a Reorganization Plan pursuant to Section 1121 of the Bankruptcy Code;

                   (xi)      the failure of any Loan Party to perform in all material respects any of its obligations under
 the Orders;

                   (xii)     the existence of any claims or charges, or the entry of any order of the Bankruptcy Court
 authorizing any claims or charges, other than the Obligations in, or as otherwise permitted under the applicable Loan
 Documents or permitted under the Orders, entitled to superpriority administrative expense claim status in any Chapter
 11 Case pursuant to Section 364(c)(1) of the Bankruptcy Code pari passu with or senior to the claims of the Agents
 and the Secured Parties under this Agreement and the other Loan Documents, or there shall arise or be granted by the
 Bankruptcy Court (A) any claim having priority over any or all administrative expenses of the kind specified in clause
 (b) of Section 503 of the Bankruptcy Code or clause (b) of Section 507 of the Bankruptcy Code (other than the Carve
 Out) or (B) any Lien on the Collateral having a priority senior to or pari passu with the Liens and security interests
 granted herein, except, in each case, as expressly provided in the Loan Documents or in the Orders then in effect (but
 only in the event specifically consented to by the Administrative Agent (at the direction of the Required Lenders)),
 whichever is in effect;



                                                            78
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                         Main Document
                                                Pg 628 of 1005


                    (xiii)   the Interim Order (prior to the Final Order Entry Date) or, on and after entry thereof, the
 Final Order shall cease to create a valid and perfected Lien on the Collateral or to be in full force and effect, shall have
 been reversed, modified, amended, stayed, vacated, or subject to stay pending appeal, in the case of modification or
 amendment, without prior written consent of the Required Lenders);

                    (xiv)     an order in the Chapter 11 Cases shall be entered limiting the extension under Section
 552(b) of the Bankruptcy Code of the Liens of the Prepetition Debt on the Collateral to any proceeds, products,
 offspring, or profits of the Collateral acquired by any Loan Party after the Petition Date;

                    (xv)     an order of the Bankruptcy Court shall be entered denying or terminating use of cash
 collateral by the Loan Parties;

                  (xvi)   an order materially adversely impacting the legal rights and interests of the Agents and the
 Lenders under the Loan Documents shall have been entered by the Bankruptcy Court or any other court of competent
 jurisdiction;

                   (xvii) any Loan Party shall challenge, support or encourage a challenge of any payments made to
 any Agent, any Lender, or any Secured Party with respect to the Obligations, or without the consent of the Required
 Lenders and, if required by Section 10.01, any other Secured Party, the filing of any motion by the Loan Parties
 seeking approval of (or the entry of an order by the Bankruptcy Court approving) adequate protection to any holder
 of Prepetition Debt that is inconsistent with an Order;

                     (xviii) without the Required Lenders’ consent, the entry of any order by the Bankruptcy Court
 granting, or the filing by any Loan Party or any of its Subsidiaries of any motion or other request with the Bankruptcy
 Court (in each case, other than the Orders and motions seeking entry thereof or permitted amendments or modifications
 thereto) seeking, authority to use any cash proceeds of any of the Collateral or to obtain any financing under Section
 364 of the Bankruptcy Code other than the Loan Documents or any other financing that results in the Payment in Full
 of the Obligations;

                   (xix)    any Loan Party or any person on behalf of any Loan Party shall file any motion seeking
 authority to (A) consummate a sale of assets (constituting Collateral or otherwise) outside the ordinary course of
 business or (B) reject any executory contract or unexpired lease (relating to property that constitutes Collateral or
 otherwise) without the consent of the Required Lenders, and in each case not otherwise permitted hereunder;

                   (xx)      any Loan Party shall make any payment (whether by way of adequate protection or
 otherwise) of principal or interest or otherwise on account of any Prepetition Debt or payables other than payments
 permitted under this Agreement to the extent authorized or required by one or more “first day” or “second day” orders
 or any of the Orders (or other orders with the consent of Required Lenders) and consistent with the Cash Flow Forecast
 (subject to Permitted Variances);

                    (xxi)    without the Required Lenders’ consent or as otherwise permitted by the Orders, any Loan
 Party or any Subsidiary thereof shall file any motion or other request with the Bankruptcy Court seeking (A) to grant
 or impose, under Section 364 of the Bankruptcy Code or otherwise, liens or security interests in any Collateral, whether
 senior, equal or subordinate to the Collateral Agent’s liens and security interests; or (B) to modify or affect any of the
 rights of the Agents, the Lenders or the Secured Parties under the Orders or the Loan Documents and related documents
 by any Reorganization Plan confirmed in the Chapter 11 Cases or subsequent order entered in the Chapter 11 Cases;
 and

                    (xxii)   the filing by any of the Loan Parties of any Reorganization Plan other than an Acceptable
 Plan.

          8.02     Remedies Upon Event of Default. If any Event of Default occurs and is continuing, the
 Administrative Agent shall, at the request of, or may, with the consent of, the Required Lenders, subject to the terms
 of the Orders, take any or all of the following actions:




                                                             79
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                       Main Document
                                                Pg 629 of 1005


        (a)     declare the commitment of each Lender to make Loans to be terminated, whereupon such
 commitments and obligation shall be terminated;

          (b)       declare the unpaid principal amount of all outstanding Loans, all interest accrued and unpaid
 thereon, and all other amounts owing or payable hereunder or under any other Loan Document to be immediately due
 and payable, without presentment, demand, protest or other notice of any kind, all of which are hereby expressly
 waived by the Borrower;

          (c)      [reserved]; and

           (d)     exercise on behalf of itself and the Lenders all rights and remedies available to it and the Lenders
 under the Loan Documents, any Order or applicable Law (including, but not limited to, the Bankruptcy Code and the
 UCC), including the right to set off any amounts held as cash collateral (including, without limitation, in any cash
 collateral account held for the benefit of the Secured Parties);

 provided, however, that upon the occurrence of an actual or deemed entry of an order for relief with respect to the
 Borrower under Debtor Relief Laws of the United States or any other Event of Default under Section 8.01(f) or (g)
 hereof, the obligation of each Lender to make Loans shall automatically terminate and the unpaid principal amount of
 all outstanding Loans and all interest and other amounts as aforesaid shall automatically become due and payable
 without further act of the Administrative Agent or any Lender.

          8.03     [Reserved].

          8.04      Application of Funds. Subject to the Orders, after the exercise of remedies provided for in Section
 8.02 (or after the Loans have automatically become immediately due and payable, any amounts received on account
 of the Obligations (including proceeds of Collateral) shall be applied by the Administrative Agent in the following
 order:

          First, to payment of that portion of the Obligations constituting fees, indemnities, expenses and other amounts
 (including reasonable fees, charges and disbursements of counsel to the Agents and amounts payable under Article
 III) payable to the Agents in their capacity as such;

          Second, to payment of that portion of the Obligations constituting fees, indemnities and other amounts
 payable to the Lenders (including fees, charges and disbursements of counsel to the respective Lenders (including fees
 and time charges for attorneys who may be employees of any Lender) and amounts payable under Article III, ratably
 among the Lenders in accordance with their respective Applicable Percentages;

         Third, to payment of that portion of the Obligations constituting accrued and unpaid interest in respect of the
 Loans and other Obligations, ratably among the Lenders in accordance with their respective Applicable Percentages;

         Fourth, to payment of that portion of the Obligations constituting unpaid principal of the Loans, ratably
 among the Lenders in accordance with their respective Applicable Percentages;

          Fifth, to payment of any remaining Obligations, ratably among the Lenders and the other Secured Parties,
 ratably among the Lenders in accordance with their respective Applicable Percentages; and

          Last, the balance, if any, after all of the Obligations have been indefeasibly Paid in Full, to the Borrower or
 as otherwise required by Law;

 provided, that the application to the Obligations of amounts received in respect of the Collateral is expressly subject
 to the priorities set forth in the Interim Order (and, when entered, the Final Order), and all such amounts shall first be
 allocated in accordance with such priorities.

                                                      ARTICLE IX
                                                       AGENTS



                                                            80
Case 20-41308          Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                       Main Document
                                               Pg 630 of 1005


          9.01     Appointment and Authority.

           (a)      Each of the Lenders hereby irrevocably appoints Cortland Capital Market Services LLC to act on
 its behalf as the Administrative Agent hereunder and under the other Loan Documents, and irrevocably authorizes the
 Administrative Agent to take such actions on its behalf and to exercise such powers, rights and remedies as are
 delegated or granted to the Administrative Agent by the terms hereof or thereof, together with such actions and powers
 as are reasonably incidental thereto. Except with respect to Section 9.06 and Section 9.10, the provisions of this
 Article are solely for the benefit of the Administrative Agent and the Lenders, and neither the Borrower, nor any other
 Loan Party shall have rights as a third party beneficiary of any of such provisions. In performing its functions and
 duties hereunder, the Administrative Agent shall act solely as an agent of the Lenders and does not assume and shall
 not be deemed to have assumed any obligation towards or relationship of agency or trust with or for the Borrower or
 any of its Subsidiaries.

           (b)      Each of the Lenders hereby irrevocably appoints Cortland Capital Market Services LLC to act on
 its behalf as the Collateral Agent hereunder and under the other Loan Documents for purposes of acquiring, holding
 and enforcing any and all Liens on Collateral granted by any of the Loan Parties to secure any of the Obligations,
 together with such powers and discretion as are reasonably incidental thereto. Without limiting the generality of the
 foregoing, the Lenders, and by accepting the benefits of the Loan Documents the other Secured Parties, hereby
 expressly authorize the Collateral Agent to (i) execute any and all documents with respect to the Collateral (including
 any amendment, supplement, modification or joinder with respect thereto) and the rights of the Secured Parties with
 respect thereto, as contemplated by and in accordance with the provisions of this Agreement and the Loan Documents
 and acknowledge and agree that any such action by the Collateral Agent shall bind the Secured Parties and (ii)
 negotiate, enforce or settle any claim, action or proceeding affecting the Lenders in their capacity as such, at the
 direction of the Required Lenders, which negotiation, enforcement or settlement will be binding upon each Lender.

          9.02      Rights as a Lender. The agency hereby created shall in no way impair or affect any of the rights
 and powers of, or impose any duties or obligations upon, any Agent in its individual capacity as a Lender hereunder.
 With respect to its participation in the Loans, the Person serving as an Agent hereunder shall have the same rights and
 powers in its capacity as a Lender as any other Lender and may exercise the same as though it were not an Agent and
 the term “Lender” or “Lenders” shall, unless otherwise expressly indicated or unless the context otherwise requires,
 include the Person serving as an Agent hereunder in its individual capacity. Such Person and its Affiliates may accept
 deposits from, lend money to, own securities of, act as the financial advisor or in any other advisory capacity for and
 generally engage in any kind of business with the Borrower or any Subsidiary or other Affiliate thereof as if such
 Person were not an Agent hereunder, and may accept fees and other considerations from the Borrower for service in
 connection herewith and otherwise without any duty to account therefor to the Lenders.

          9.03      Exculpatory Provisions. No Agent shall have any duties or obligations except those expressly set
 forth herein and in the other Loan Documents. Without limiting the generality of the foregoing, no Agent:

          (a)     shall be subject to any fiduciary or other implied duties, regardless of whether a Default or Event of
 Default has occurred and is continuing;

            (b)     shall have any duty to take any discretionary action or exercise any discretionary powers, except
 discretionary rights and powers expressly contemplated hereby or by the other Loan Documents that such Agent is
 required to exercise as directed in writing by the Required Lenders (or such other number or percentage of the Lenders
 as shall be necessary, or as such Agent shall believe in good faith shall be necessary, under the circumstances as
 provided in Section 10.01), provided that no Agent shall be required to take any action that, in its opinion or the
 opinion of its counsel, may expose such Agent to liability or that is contrary to any Loan Document or applicable law,
 including, for the avoidance of doubt, any action that, in its opinion or the opinion of its counsel, may violate the
 automatic stay under any Debtor Relief Law or that may effect a forfeiture, modification or termination of property
 of a Defaulting Lender in violation of any Debtor Relief Law; provided, further, that if any Agent so requests, it shall
 first be indemnified and provided with adequate security to its sole satisfaction (including reasonable advances as may
 be requested by such Agent) by the Lenders against any and all liability and expense that may be incurred by it by
 reason of taking or continuing to take any such directed action;




                                                           81
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                        Main Document
                                                Pg 631 of 1005


           (c)       shall, except as expressly set forth herein and in the other Loan Documents, have any duty to
 disclose, and shall not be liable for the failure to disclose, any information relating to the Borrower or any of its
 Affiliates that is communicated to or obtained by the Person serving as an Agent or any of its Affiliates in any capacity;

           (d)      shall be responsible or have any liability for or in connection with, or have any duty to ascertain,
 inquire into, monitor, maintain, update or enforce, compliance with the provisions hereof relating to Disqualified
 Institutions; and without limiting the generality of the foregoing, no Agent shall (x) be obligated to ascertain, monitor
 or inquire as to whether any Lender or Participant or prospective Lender or Participant is a Disqualified Institution or
 (y) have any liability with respect to or arising out of any assignment or participation of Loans, or disclosure of
 confidential information, to any Disqualified Institution;

            (e)      neither any Agent nor any of its Related Parties shall be liable for any action taken or not taken by
 it (i) with the consent or at the request of the Required Lenders (or such other number or percentage of the Lenders as
 shall be necessary, or as such Agent shall believe in good faith shall be necessary, under the circumstances as provided
 in Section 10.01) or (ii) in the absence of its own gross negligence or willful misconduct, as determined by a final,
 non-appealable judgment of a court of competent jurisdiction (which shall not include any action taken or omitted to
 be taken in accordance with clause (i), for which such Agent shall have no liability);

          (f)      shall be deemed to have knowledge of any Default or Event of Default unless and until written
 notice describing such Default and is labeled a “Notice of Default” is given to such Agent by the Borrower or a Lender;
 or

           (g)      shall be responsible for or have any duty to ascertain or inquire into (i) any recital, statement,
 warranty or representation made in or in connection with this Agreement or any other Loan Document or made in any
 written or oral statements made in connection with the Loan Documents and the transactions contemplated thereby,
 (ii) the contents of any financial or other statements, instruments, certificate, report or other document delivered
 hereunder or thereunder or in connection herewith or therewith, whether made by such Agent to the Lenders or by or
 on behalf of any Loan Party to such Agent or any Lender in connection with the Loan Documents and the transactions
 contemplated thereby, (iii) the financial condition or business affairs of any Loan Party or any other Person liable for
 the payment of any Obligations, (iv) the performance or observance of any of the covenants, agreements or other terms
 or conditions set forth herein or therein or the use of proceeds of the Loans or the occurrence or possible occurrence
 of any Default or Event of Default or to make any disclosures with respect to the foregoing, (v) the execution, validity,
 enforceability, effectiveness, genuineness, collectability or sufficiency of this Agreement, any other Loan Document
 or any other agreement, instrument or document or the creation, preservation, perfection, maintenance of perfection,
 or priority of any Lien purported to be created by the Loan Documents, (vi) the value or the sufficiency of any
 Collateral, (vii) whether the Collateral exists, is owned by Borrower or its Subsidiaries, is cared for, protected, or
 insured or has been encumbered, or meets the eligibility criteria applicable in respect thereof, or (viii) the satisfaction
 of any condition set forth in Article IV or elsewhere herein, other than to confirm receipt of items expressly required
 to be delivered to such Agent.

         Anything contained herein to the contrary notwithstanding, no Agent shall have any liability arising from
 confirmation of the amount of outstanding Loans or the component amounts thereof.

           For the avoidance of doubt, and without limiting the other protections set forth in this Article 9, with respect
 to any determination, designation, or judgment to be made by the Administrative Agent or the Collateral Agent herein
 or in the other Loan Documents, the Administrative Agent or the Collateral Agent, as applicable, shall be entitled to
 request that the Required Lenders (or such other number or percentage of the Lenders as shall be necessary, or as such
 Agent shall believe in good faith shall be necessary, under the circumstances as provided in Section 10.01) make or
 confirm such determination, designation, or judgment.

            9.04     Reliance by Agents. Each Agent shall be entitled to rely upon, and shall not incur any liability for
 relying upon, any notice, request, certificate, consent, statement, instrument, document or other writing (including any
 electronic message, Internet or intranet website posting or other distribution) believed by it to be genuine and to have
 been signed, sent or otherwise authenticated by the proper Person. Each Agent also may rely upon any statement
 made to it orally or by telephone and believed by it to have been made by the proper Person, and shall not incur any
 liability for relying thereon. In determining compliance with any condition hereunder to the making of a Loan that by


                                                             82
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                        Main Document
                                                Pg 632 of 1005


 its terms must be fulfilled to the satisfaction of a Lender, each Agent may presume that such condition is satisfactory
 to such Lender unless such Agent shall have received written notice to the contrary from such Lender prior to the
 making of such Loan and such Lender shall have not made its ratable portion of such Loan available to the
 Administrative Agent. Each Agent shall be entitled to rely on and may consult with legal counsel (who may be counsel
 for the Borrower), independent accountants and other experts selected by it, and shall not be liable for any action taken
 or not taken by it in accordance with the advice of any such counsel, accountants or experts.

           9.05      Delegation of Duties. Each Agent may perform any and all of its duties and exercise its rights and
 powers hereunder or under any other Loan Document by or through any one or more co-agents, sub-agents and
 attorneys-in-fact appointed by such Agent. Each Agent and any such co-agent, sub-agent and attorney-in-fact may
 perform any and all of its duties and exercise its rights and powers by or through their respective Related Parties. The
 rights, privileges, protections, immunities, and indemnities of this Article and Section 10.04 shall apply to any such
 co-agent, sub-agent or attorney-in-fact and to the Related Parties of such Agent and any such co-agent, sub-agent or
 attorney-in-fact, and shall apply to each of their respective activities in such capacities as if such co-agent, sub-agent
 or attorney-in-fact and Related Parties were named herein. Notwithstanding anything herein to the contrary, with
 respect to each co-agent, sub-agent or attorney-in-fact appointed by any Agent, (i) such co-agent, sub-agent or
 attorney-in-fact shall be a third party beneficiary under this Agreement with respect to all rights, privileges,
 protections, immunities, and indemnities of this Article and Section 10.04 and shall have all of the rights and benefits
 of a third party beneficiary, including an independent right of action to enforce such rights, privileges, protections,
 immunities, and indemnities of this Article and Section 10.04 directly, without the consent or joinder of any other
 Person, against any or all Loan Parties and the Lenders, (ii) rights, privileges, protections, immunities, and indemnities
 of this Article and Section 10.04 shall not be modified or amended without the consent of such co-agent, sub-agent or
 attorney-in-fact, and (iii) such co-agent, sub-agent or attorney-in-fact shall only have obligations to such Agent and
 not to any Loan Party, Lender or any other Person, and no Loan Party, Lender or any other Person shall have any
 rights, directly or indirectly, as a third party beneficiary or otherwise, against such co-agent, sub-agent or attorney-in-
 fact. No Agent shall be responsible for the negligence or misconduct of any such co-agents, sub-agents and attorneys-
 in-fact except to the extent that a court of competent jurisdiction determines in a final and non-appealable judgment
 that such Agent acted with gross negligence or willful misconduct in the selection of such co-agents, sub-agents and
 attorneys-in-fact.

           9.06     Resignation of Agent. Each Agent may at any time give notice of its resignation to the applicable
 Lenders, and the Borrower. Upon receipt of any such notice of resignation, the Required Lenders shall have the right,
 with the approval of the Borrower unless an Event of Default under Section 8.01(f) or (g) has occurred or is continuing
 (such approval not to be unreasonably withheld), to appoint a successor, which shall be a bank with an office in the
 United States, or an Affiliate of any such bank with an office in the United States. If no such successor shall have
 been so appointed by the Required Lenders and shall have accepted such appointment within 30 days after the retiring
 Agent gives notice of its resignation, then the retiring Agent may on behalf of the Lenders, appoint a successor Agent
 meeting the qualifications set forth above; provided that (x) in no event shall any successor Agent be a Defaulting
 Lender, a Disqualified Institution or an Affiliated Lender and (y) if such Agent shall notify the Borrower and the
 applicable Lenders that no qualifying Person has accepted such appointment, then such resignation shall nonetheless
 become effective in accordance with such notice and (1) the retiring Agent shall be discharged from its duties and
 obligations hereunder and under the other Loan Documents (except that in the case of any collateral security held by
 the retiring Collateral Agent on behalf of the Lenders under any of the Loan Documents, the retiring Collateral Agent
 shall continue to hold such collateral security until such time as a successor Collateral Agent is appointed) and (2) all
 payments, communications and determinations provided to be made by, to or through such retiring Agent shall instead
 be made by or to each applicable Lender directly, until such time as the Required Lenders appoint a successor Agent
 as provided for above in this Section. Upon the acceptance of a successor’s appointment as an Agent hereunder, such
 successor shall succeed to and become vested with all of the rights, powers, privileges and duties of the retiring (or
 retired) Agent, and the retiring Agent shall be discharged from all of its duties and obligations hereunder or under the
 other Loan Documents (if not already discharged therefrom as provided above in this Section). The fees payable by
 the Borrower to a successor Agent shall be the same as those payable to its applicable predecessor unless otherwise
 agreed between the Borrower and such successor. After the retiring Agent’s resignation hereunder and under the other
 Loan Documents, the provisions of this Article, Section 10.04, and all other rights, privileges, protections, immunities,
 and indemnities granted to such Agent hereunder or the other Loan Documents shall continue in effect for the benefit
 of such retiring Agent, its co-agents, sub-agents and attorneys-in-fact and their respective Related Parties in respect
 of any actions taken or omitted to be taken by any of them while the retiring Agent was acting as Agent.


                                                             83
Case 20-41308          Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                      Main Document
                                               Pg 633 of 1005


          9.07     Non-Reliance on Agents and Other Lenders.

           (a)     Each Lender acknowledges represents and warrants that it has, independently and without reliance
 upon any Agent or any other Lender or any of their Related Parties and based on such documents and information as
 it has deemed appropriate, made its own credit analysis and decision to enter into this Agreement. Each Lender also
 acknowledges that it will, independently and without reliance upon any Agent or any other Lender or any of their
 Related Parties and based on such documents and information as it shall from time to time deem appropriate, continue
 to make its own decisions in taking or not taking action under or based upon this Agreement, any other Loan Document
 or any related agreement or any document furnished hereunder or thereunder.

           (b)      Agent shall have any duty or responsibility, either initially or on a continuing basis, to make any
 such investigation or any such analysis on behalf of the Lenders or to provide any Lender with any credit or other
 information with respect thereto, whether coming into its possession before the making of the Loans or at any time or
 times thereafter, and no Agent shall have any responsibility with respect to the accuracy of or the completeness of any
 information provided to the Lenders. Each Lender, by delivering its signature page to this Agreement or an
 Assignment and Assumption, shall be deemed to have acknowledged receipt of, and consented to and approved, each
 Loan Document and each other document required to be approved by any Agent, Required Lenders, or Lenders, as
 applicable, on the Closing Date. Each Lender acknowledges that none of the Agents or their Related Parties have
 made any representation or warranty to it, and that no act by any Agent or its Related Parties hereinafter taken shall
 be deemed to constitute any representation or warranty by any Agent or its Related Parties to any Lender. Except for
 notices, reports, and other documents expressly herein required to be furnished to the Lenders by an Agent, no Agent
 or any of its Related Parties shall have any duty or responsibility to provide any Lender with any credit or other
 information concerning the business, prospects, operations, property, financial and other condition or creditworthiness
 of the Borrower or any other Person party to a Loan Document that may come into the possession or control of such
 Agent or its Related Parties.

          9.08     No Other Duties, Etc. Each Agent shall have only those duties and responsibilities that are
 expressly specified herein for such Agent and the other Loan Documents. Each Agent may exercise such powers,
 rights and remedies and perform such duties by or through its agents or employees. The duties of each Agent shall be
 mechanical and administrative in nature; and no Agent shall have, by reason hereof or any of the other Loan
 Documents, a fiduciary relationship in respect of any Lender or any other Person; and nothing herein or any of the
 other Loan Documents, expressed or implied, is intended to or shall be so construed as to impose upon such Agent
 any obligations in respect hereof or any of the other Loan Documents except as expressly set forth herein or therein.
 Without limiting the generality of the foregoing, the use of the term “agent” in this Agreement or the other Loan
 Documents with reference to any Agent is not intended to connote any fiduciary or other implied (or express)
 obligations arising under agency doctrine of any applicable law. Instead, such term is used merely as a matter of
 market custom, and is intended to create or reflect only a representative relationship between independent contracting
 parties.

          9.09     [Reserved].

          9.10     Guaranty and Collateral Matters.

          (a)       Each Secured Party hereby and/or by accepting the benefits of the Collateral authorizes each Agent,
 on behalf of and for the benefit of Secured Parties, to be the agent for and representative of Secured Parties with
 respect to the Guaranty, the Collateral and the Security Documents, as applicable. Subject to Section 10.01, without
 further written consent or authorization from any Secured Party, each Agent may execute any documents or
 instruments necessary to (i) under the circumstances described in clause (A) of Section 10.21(a), confirm or
 acknowledge that the Liens on the Collateral no longer secure the Obligations, (ii) in connection with a sale or
 disposition of assets permitted by this Agreement, release any Liens encumbering any item of Collateral that is the
 subject of such sale or other disposition of assets or to which the Required Lenders (or such other Lenders as may be
 required to give such consent under Section 10.01) have otherwise consented, (iii) release any Guarantor from the
 Guaranty pursuant to Section 10.21 or with respect to which Required Lenders (or such other Lenders as may be
 required to give such consent under Section 10.01) have otherwise consented or (iv) acknowledge and confirm that
 specified assets of the Loan Parties are Excluded Assets.



                                                           84
Case 20-41308          Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                        Main Document
                                               Pg 634 of 1005


          (b)      The Lenders irrevocably authorize the Administrative Agent to release any Guarantor from its
 obligations under the Guaranty in accordance with the terms of Section 10.21. Upon request by the Administrative
 Agent at any time, the Required Lenders will confirm in writing the Administrative Agent’s authority to release any
 Guarantor from its obligations under the Guaranty pursuant to this Section 9.10.

          (c)       The Lenders irrevocably authorize the Collateral Agent to release any Lien on any property granted
 to or held by the Collateral Agent under any Loan Document in accordance with the terms of Section 10.21. Upon
 request by the Collateral Agent at any time, the Required Lenders will confirm in writing the Collateral Agent’s
 authority to release its interest in particular types or items of property in accordance with this Section.

          9.11      Withholding Tax. To the extent required by any applicable law, the Administrative Agent may
 withhold from any payment to any Lender an amount equivalent to any applicable withholding Tax. Without limiting
 the provisions of Section 3.01 or 3.04, each Lender shall, and does hereby, indemnify the Administrative Agent, and
 shall make payable in respect thereof within 30 days after demand therefor, against any and all Taxes and any and all
 related losses, claims, liabilities and expenses (including fees, charges and disbursements of any counsel for the
 Administrative Agent) incurred by or asserted against the Administrative Agent by the IRS or any other Governmental
 Authority as a result of the failure of such Administrative Agent to properly withhold tax from amounts paid to or for
 the account of any applicable Lender for any reason (including, without limitation, because the appropriate form was
 not delivered or not properly executed, or because such Lender failed to notify the Administrative Agent of a change
 in circumstance that rendered the exemption from, or reduction of withholding tax ineffective), whether or not such
 Taxes were correctly or legally imposed or asserted by the relevant Governmental Authority. A certificate as to the
 amount of such payment or liability delivered to any applicable Lender by the Administrative Agent shall be
 conclusive absent manifest error. Each Lender hereby authorizes the Administrative Agent to set off and apply any
 and all amounts at any time owing to such Lender under this Agreement or any other Loan Document against any
 amount due to the Administrative Agent under this Section 9.11. The agreements in this Section 9.11 shall survive
 the resignation and/or replacement of the Administrative Agent, any assignment of rights by, or the replacement of, a
 Lender, the termination of the Commitments, the repayment, satisfaction or discharge of all obligations under any
 Loan Document, and the termination of this Agreement.

          9.12      Concerning the Collateral and Related Loan Documents. Each Lender authorizes and directs
 each Agent to enter into, and agrees to be bound by, this Agreement (and to make all representations, warranties,
 covenants, and agreements on behalf of the Lenders as set forth therein), the Security Documents, and the other Loan
 Documents, including, without limitation, each Loan Document to be executed by such Agent and set forth on
 Schedule 6.18 hereto. Each Lender hereby acknowledges and agrees that (x) the foregoing instructed actions constitute
 an instruction from all the Lenders under this Section and (y) this Article 9 and Section 10.04 and any other rights,
 privileges, protections, immunities, and indemnities in favor of any Agent hereunder apply to any and all actions taken
 or not taken by such Agent in accordance with such instruction. Each Lender agrees that any action taken by the
 Collateral Agent in accordance with the terms of this Agreement or the other Loan Documents relating to the Collateral
 and the exercise by the Collateral Agent of its powers set forth therein or herein, together with such other powers that
 are reasonably incidental thereto, shall be binding upon all of the Lenders.

           9.13     Survival. The agreements in this Article 9 shall survive the resignation or replacement of any Agent
 or any assignment of rights by, or the replacement of, a Lender, the termination of the Commitments, the repayment,
 satisfaction or discharge of all obligations under any Loan Document, and the termination of this Agreement.

                                                     ARTICLE X
                                                  MISCELLANEOUS

          10.01 Amendments, Etc. No amendment or waiver of any provision of this Agreement or any other Loan
 Document, and no consent to any departure by the Borrower, or any other Loan Party therefrom, shall be effective
 unless in writing signed by the Required Lenders and the Borrower, or the applicable Loan Party (in each case with a
 copy to the Agents), as the case may be, and each such waiver or consent shall be effective only in the specific instance
 and for the specific purpose for which given; provided, however, that no such amendment, waiver or consent shall:

          (a)      extend or increase the Commitment of any Lender (or reinstate any Commitment terminated
 pursuant to Section 8.02) without the written consent of such Lender;


                                                            85
Case 20-41308          Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                       Main Document
                                               Pg 635 of 1005


          (b)        postpone any date fixed by this Agreement or any other Loan Document for any payment of
 principal, interest, fees or other amounts due to the Lenders (or any of them) (it being understood that the waiver of,
 or amendment to the terms of, any mandatory prepayment shall not constitute such a postponement) without the
 written consent of each Lender directly affected thereby;

          (c)       waive, reduce or postpone the principal of, or the stated rate of interest specified herein on, any
 Loan, or (subject to clause (y) of the first proviso after clause 10.01(h) below) any fees or premiums or other amounts
 payable hereunder without the written consent of each Lender directly affected thereby; provided, however, that,
 without limiting the effect of clauses 10.01(h) below or the proviso directly below, only the consent of the Required
 Lenders shall be necessary to amend the definition of “Default Rate” or to waive any obligation of the Borrower to
 pay interest at the Default Rate;

          (d)      change Section 2.13 or Section 8.04 in a manner that would alter the pro rata sharing of payments
 required thereby in a manner that by its terms modifies the application of such payments required thereby to be on a
 non- pro rata basis without the written consent of each Lender adversely affected thereby;

          (e)      [reserved];

          (f)      change any provision of this Section 10.01 or the definitions of “Required Lenders,” or “Applicable
 Percentage” or any other provision hereof specifying the number or percentage of Lenders required to amend, waive
 or otherwise modify any rights hereunder or make any determination or grant any consent hereunder without the
 written consent of each Lender affected thereby; provided, with the consent of the applicable Required Lenders,
 additional extensions of credit pursuant hereto may be included in the determination of “Required Lenders” or
 “Applicable Percentage” on substantially the same basis as the Term Loans and the Roll-Up Loans, as applicable, are
 included on the Closing Date.

          (g)      other than as permitted by Section 9.10 and Section 10.21, release (i) all or substantially all of the
 Guarantors from the Guaranty (as measured by value, not by number) or all or substantially all of the Collateral, except
 as expressly provided in the Loan Documents and except in connection with a “credit bid” undertaken by the Collateral
 Agent at the direction of the Required Lenders pursuant to Section 363(k), Section 1129(b)(2)(a)(ii) or otherwise of
 the Bankruptcy Code or other sale or disposition of assets in connection with an enforcement action with respect to
 the Collateral permitted pursuant to the Loan Documents (in which case only the consent of the Required Lenders will
 be needed for such release) or (ii) all or substantially all of the Collateral covered by the Security Documents without
 the written consent of each Lender, in each case unless the release is permitted hereunder pursuant to Section 10.21;
 or

          (h)      [reserved];

 provided, that (x) no amendment, waiver or consent shall, unless in writing and signed by the applicable Agent in
 addition to the Lenders required above, affect the rights or duties of such Agent under this Agreement or any other
 Loan Document; and (y) any Agency Fee Letter may be amended, or rights or privileges thereunder waived, in a
 writing executed only by the parties to such Agency Fee Letter. Notwithstanding anything to the contrary herein, no
 Defaulting Lender shall have any right to approve or disapprove any amendment, waiver or consent hereunder, except
 that (i) the Commitment of such Lender may not be increased or extended and (ii) the principal of any Loan owed to
 such Lender may not be reduced without the consent of such Lender.

           Notwithstanding the foregoing, the Borrower and the Agents may amend this Agreement and the other Loan
 Documents without the consent of any Lender (a) to cure any ambiguity, omission, mistake, error, defect or
 inconsistency (as reasonably determined by the Borrower in consultation with the Agents), so long as such
 amendment, modification or supplement does not adversely affect the rights of any Lender or the Lenders shall have
 received at least five Business Days’ prior written notice thereof and the Administrative Agent shall not have received,
 within five Business Days of the date of such notice to the Lenders, a written notice from the Required Lenders stating
 that the Required Lenders object to such amendment, (b) to add a Guarantor with respect to the Loans or collateral to
 secure the Loans, (c) to make administrative changes that do not adversely affect the rights of any Lender, (d) to
 integrate any other Funded Debt of the Borrower and its Subsidiaries that is secured by Liens on the Collateral (or any
 portion thereof) that rank pari passu in right of security with the Liens on the Collateral securing the Obligations or


                                                           86
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                       Main Document
                                                Pg 636 of 1005


 (e) to make technical, administrative or other changes that do not adversely affect the rights of any Lender in respect
 of provisions relating to the respective rights, roles or responsibilities of the Agents.

           The Administrative Agent may, but shall have no obligation to, with the concurrence of any Lender, execute
 amendments, modifications, waivers or consents on behalf of such Lender. Any waiver or consent shall be effective
 only in the specific instance and for the specific purpose for which it was given. No notice to or demand on any Loan
 Party in any case shall entitle any Loan Party to any other or further notice or demand in similar or other circumstances.

           Any such waiver and any such amendment or modification pursuant to this Section 10.01 shall apply equally
 to each of the Lenders and shall be binding upon the Borrower, the Lenders, the Agents and all future holders of the
 Loans. In the case of any waiver, the Borrower, the Lenders and the Agents shall be restored to their former positions
 and rights hereunder and under the other Loan Documents, and any Default or Event of Default that is waived pursuant
 to this Section 10.01 shall be deemed to be cured and not continuing during the period of such waiver.

          10.02    Notices; Effectiveness; Electronic Communication.

          (a)       Notices Generally. Except in the case of notices and other communications expressly permitted to
 be given by telephone, all notices and other communications provided for herein shall be in writing and shall be
 delivered by hand or overnight courier service, mailed by certified or registered mail, sent by telecopier (except for
 any notices sent to any Agent) as follows or sent by electronic communication as provided in subsection (b) below,
 and all notices and other communications expressly permitted hereunder to be given by telephone shall be made to
 the applicable telephone number, as follows:

                 (i)       if to the Borrower or any Agent to the address, telecopier number, electronic mail address
 or telephone number specified for such Person on Schedule 10.02; and

                 (ii)     if to any other Lender, to the address, telecopier number, electronic mail address or
 telephone number specified on Schedule 10.02 or in its Administrative Questionnaire.

 Notices sent by hand or overnight courier service, or mailed by certified or registered mail, shall be deemed to have
 been given when received; notices sent by telecopier shall be deemed to have been given when sent (except that, if
 not sent during normal business hours for the recipient, shall be deemed to have been sent at the opening of business
 on the next business day for the recipient). Notices delivered through electronic communications to the extent
 provided in subsection (b) below, shall be effective as provided in such subsection (b). Notwithstanding the foregoing,
 (a) no notice to any Agent shall be effective until received by such Agent and (b) any such notice or other
 communication shall at the request of such Agent be provided to any co-agent, sub-agent or attorney-in-fact appointed
 pursuant to Section 9.03(c) as designated by such Agent from time to time.

          (b)       Electronic Communications. Notices and other communications to any Agent and the Lenders
 hereunder may be delivered or furnished by electronic communication (including e-mail and Internet or intranet
 websites, including the Platform) pursuant to procedures approved by the Administrative Agent, provided that the
 foregoing shall not apply to notices to any Lender pursuant to Article II if such Lender has notified the Administrative
 Agent that it is incapable of receiving notices under such Article by electronic communication. The Agents or the
 Borrower may, in their discretion, agree to accept notices and other communications to the Agents or the Borrower
 hereunder by electronic communications pursuant to procedures approved by the Administrative Agent or the
 Borrower, as applicable, provided that approval of such procedures may be limited to particular notices or
 communications.

          Unless the Administrative Agent otherwise prescribes, (i) notices and other communications sent to an e-
 mail address shall be deemed received upon the sender’s receipt of an acknowledgment from the intended recipient
 (such as by the “return receipt requested” function, as available, return e-mail or other written acknowledgment),
 provided that if such notice or other communication is not sent during the normal business hours of the recipient, such
 notice or communication shall be deemed to have been sent at the opening of business on the next business day for
 the recipient, and (ii) notices or communications posted to an Internet or intranet website shall be deemed received




                                                            87
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                       Main Document
                                                Pg 637 of 1005


 upon the deemed receipt by the intended recipient at its e-mail address as described in the foregoing clause (i) of
 notification that such notice or communication is available and identifying the website address therefor.

           (c)      The Platform. THE PLATFORM IS PROVIDED “AS IS” AND “AS AVAILABLE”. THE
 AGENT PARTIES (AS DEFINED BELOW) DO NOT WARRANT THE ACCURACY OR COMPLETENESS OF
 THE BORROWER MATERIALS OR THE ADEQUACY OF THE PLATFORM, AND EXPRESSLY DISCLAIM
 LIABILITY FOR ERRORS IN OR OMISSIONS FROM THE BORROWER MATERIALS. NO WARRANTY OF
 ANY KIND, EXPRESS, IMPLIED OR STATUTORY, INCLUDING ANY WARRANTY OF
 MERCHANTABILITY, FITNESS FOR A PARTICULAR PURPOSE, NON-INFRINGEMENT OF THIRD PARTY
 RIGHTS OR FREEDOM FROM VIRUSES OR OTHER CODE DEFECTS, IS MADE BY ANY AGENT PARTY
 IN CONNECTION WITH THE BORROWER MATERIALS OR THE PLATFORM. Each Loan Party understands
 that the distribution of material through an electronic medium is not necessarily secure and that there are
 confidentiality and other risks associated with such distribution. In no event shall any Agent or any of its Related
 Parties (collectively, the “Agent Parties”) have any liability to the Borrower, any Lender or any other Person for losses,
 claims, damages, liabilities or expenses of any kind (whether in tort, contract or otherwise) arising out of the
 Borrower’s or the such Agent’s transmission of Borrower Materials through the Internet, except to the extent that such
 losses, claims, damages, liabilities or expenses have resulted from the gross negligence or willful misconduct of such
 Agent Party, as determined by a final non- appealable judgment of a court of competent jurisdiction; provided,
 however, that in no event shall the Borrower or any Agent Party have any liability to the Borrower, any Lender or any
 other Person for indirect, special, incidental, consequential or punitive damages (as opposed to direct or actual
 damages); provided that such waiver shall not limit any Loan Party’s reimbursement or indemnification obligations
 under Sections 10.04(a) or 10.04(b), respectively. Each Loan Party, each Lender, and each Agent agrees that any
 Agent may, but shall not be obligated to, store any electronic communication on the Platform in accordance with such
 Agent’s customary document retention procedures and policies.

         (d)       Defaults. Any notice of Default or Event of Default may be provided by telephone if confirmed
 promptly thereafter by delivery of written notice thereof.

          (e)      Change of Address, Etc. The Borrower and any Agent may change its address, electronic mail
 address, telecopier or telephone number for notices and other communications hereunder by notice to the other parties
 hereto. Each other Lender may change its address, electronic mail address, telecopier or telephone number for notices
 and other communications hereunder by notice to the Borrower and the Administrative Agent. In addition, each
 Lender agrees to notify the Administrative Agent from time to time to ensure that the Administrative Agent has on
 record (i) an effective address, contact name, telephone number, telecopier number and electronic mail address to
 which notices and other communications may be sent and (ii) accurate wire instructions for such Lender.

          (f)      Reliance by Agents and Lenders. The Agents and the Lenders shall be entitled to rely and act upon
 any notices (including telephonic Borrowing Notices) purportedly given by or on behalf of the Borrower, even if (i)
 such notices were not made in a manner specified herein, were incomplete or were not preceded or followed by any
 other form of notice specified herein, or (ii) the terms thereof, as understood by the recipient, varied from any
 confirmation thereof. All telephonic notices to and other telephonic communications with any Agent may be recorded
 by such Agent, and each of the parties hereto hereby consents to such recording.

           (g)      Private Side Information Contacts. Each Public Lender agrees to cause at least one individual at or
 on behalf of such Public Lender to at all times have selected the “Private Side Information” or similar designation on
 the content declaration screen of the Platform in order to enable such Public Lender or its delegate, in accordance with
 such Public Lender’s compliance procedures and applicable law, including United States federal and state securities
 laws, to make reference to information that is not made available through the “Public-Side Information” portion of
 the Platform and that may contain Private-Side Information. In the event that any Public Lender has determined for
 itself to not access any information disclosed through the Platform or otherwise, such Public Lender acknowledges
 that (i) other Lenders may have availed themselves of such information and (ii) neither the Borrower nor any Agent
 has any responsibility for such Public Lender’s decision to limit the scope of the information it has obtained in
 connection with this Agreement and the other Loan Documents.

         10.03 No Waiver; Cumulative Remedies. No failure by any Lender or any Agent to exercise, and no
 delay by any such Person in exercising, any right, remedy, power or privilege hereunder or under any other Loan


                                                            88
Case 20-41308          Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                       Main Document
                                               Pg 638 of 1005


 Document shall impair such right, remedy, power or privilege or be construed to be a waiver of any default or
 acquiescence therein; nor shall any single or partial exercise of any right, remedy, power or privilege hereunder or
 under any other Loan Document preclude any other or further exercise thereof or the exercise of any other right,
 remedy, power or privilege. The rights, remedies, powers and privileges herein provided and in the other Loan
 Documents are cumulative and not exclusive of any rights, remedies, powers and privileges provided by law. Any
 forbearance or failure to exercise, and any delay in exercising, any right, power or remedy hereunder shall not impair
 any such right, power or remedy or be construed to be a waiver thereof, nor shall it preclude the further exercise of
 any such right, power or remedy.

          10.04    Expenses; Indemnity; Damage Waiver.

           (a)     Costs and Expenses. The Borrower shall pay (i) all reasonable and documented out-of-pocket legal
 and other expenses incurred by the Agents and their respective Affiliates (including the reasonable and documented
 fees, charges and disbursements of (x) Ropes & Gray LLP, as primary counsel for the Agents and their Affiliates,
 (x) Akin Gump Strauss Hauer & Feld LLP and Milbank LLP and Bryan Cave Leighton Paisner LLP, as counsel to
 the Backstop Lenders, (y) a single local counsel in each relevant jurisdiction and any special counsel reasonably
 deemed necessary by the Agents, and (z) a single local counsel in each relevant jurisdiction and any special counsel
 reasonably deemed necessary by the Lenders), in each case, in connection with the preparation, due diligence,
 negotiation, execution, delivery, administration and enforcement of this Agreement and the other Loan
 Documents or any amendments, modifications, consents, or waivers of the provisions hereof or thereof (whether or
 not the transactions contemplated hereby or thereby shall be consummated), (ii) [reserved] and (iii) all reasonable
 and documented out-of-pocket legal and other expenses (including the cost of any investigation or preparation)
 incurred by any Agent or any Lender (including the reasonable fees, charges and disbursements of (x) Ropes &
 Gray LLP, as primary counsel for the Agents and their Affiliates, (y) Akin Gump Strauss Hauer & Feld LLP and
 Milbank LLP, as counsel to the Backstop Lenders, (y) a single local counsel in each relevant jurisdiction and any
 special counsel reasonably deemed necessary by the Agents, and (z) a single local counsel in each relevant
 jurisdiction and any special counsel reasonably deemed necessary by the Lenders (and, in the case of an actual or
 perceived conflict of interest where the Indemnitees affected by such conflict notifies the Borrower of the existence
 of such conflict, of another firm of counsel for such affected Indemnitees and local counsel for the conflicted
 party)), in each case, in connection with the enforcement or protection of its rights (A) in connection with this
 Agreement and the other Loan Documents, including its rights under this Section, or (B) in connection with the
 Loans made hereunder, including all such reasonable and documented out-of-pocket expenses incurred during any
 workout, restructuring or negotiations in respect of such Loans.

            (b)      Indemnification by the Borrower. The Borrower shall indemnify the Agents (and any co-agent,
 sub-agent or attorney-in-fact thereof) and each Lender, and each Related Party of any of the foregoing Persons
 (each such Person being called an “Indemnitee”) against, and hold each Indemnitee harmless from, any and all
 losses, claims, damages, liabilities (including any Environmental Liability), obligations, penalties, actions,
 judgments, and related reasonable and documented out-of-pocket costs, fees and expenses (including the
 reasonable documented out-of-pocket fees, charges and disbursements of any counsel for any Indemnitee), incurred
 by any Indemnitee or asserted against any Indemnitee (whether or not such investigation, litigation, claim or
 proceeding is brought by the Borrower, the Borrower’s equity holders, affiliates or creditors or an Indemnitee and
 whether or not any such Indemnitee is otherwise a party thereto and without regard to the exclusive or
 contributory negligence of such Indemnitee) or by the Borrower or any other Loan Party arising out of, in
 connection with, or as a result of (i) the execution or delivery of this Agreement, any other Loan Document or
 any agreement or instrument contemplated hereby or thereby, the performance by the parties hereto of their
 respective obligations hereunder or thereunder, the consummation of the transactions contemplated hereby or
 thereby, or, in the case of any Agent (and any co-agent, sub-agent or attorney-in-fact thereof) and its Related Parties
 only, the administration and enforcement of this Agreement and the other Loan Documents, (ii) any Loan or the
 use or proposed use of the proceeds therefrom and (iii) any actual or prospective claim, litigation, investigation or
 proceeding relating to any of the foregoing, whether based on contract, tort or any other theory, whether brought by
 a third party or by the Borrower or any other Loan Party, and regardless of whether any Indemnitee is a party
 thereto and without regard to the exclusive or contributory negligence of such Indemnitee; provided that such
 indemnity shall not, as to any Indemnitee, be available to the extent that such losses, claims, damages,
 liabilities or related expenses are found in a final, non-appealable judgment by a court of competent
 jurisdiction to (x) have resulted from the gross negligence or willful misconduct of such Indemnitee (or any of such
 Indemnitee’s controlled affiliates or any of its or their respective officers, directors, employees, agents, controlling
 persons or members of any of the foregoing) or (y) have arisen out of or in connection with any claim, litigation,
 loss                                                       89
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                       Main Document
                                                Pg 639 of 1005


 or proceeding not involving an act or omission of the Borrower or any of its Related Parties and that is brought by an
 Indemnitee against another Indemnitee (other than any claims against an Indemnitee in its capacity or in fulfilling its
 role as an Agent or arranger or any similar role under this Agreement or any claims arising out of any act or omission
 of the Borrower or any of its Affiliates). The Borrower also agrees that no Indemnitee shall have any liability (whether
 direct or indirect, in contract, tort or whether based on such Indemnitee’s exclusive or contributory negligence or
 otherwise) to the Borrower for or in connection with this Agreement or the other Loan Documents, any transactions
 contemplated hereby or thereby or such Indemnitees’ role or services in connection herewith or therewith, except to
 the extent that any liability for losses, claims, demands, damages, liabilities or expenses incurred by the Borrower
 resulted from the gross negligence or willful misconduct of such Indemnitee, as determined by a court of competent
 jurisdiction in a final, non-appealable judgment. This Section 10.04(b) shall not apply with respect to Taxes other
 than any taxes that represent losses, claims, damages, etc. arising from any non-Tax claim.

            (c)     Reimbursement and Indemnification by Lenders. To the extent that the Borrower for any reason
 fails to indefeasibly pay any amount required under subsection (a) or (b) of this Section to be paid by it to the Agents
 (or any such co-agent, sub-agent or attorney-in-fact thereof) or any Related Party (and without limiting its obligation
 to do so), each Lender severally agrees to reimburse and indemnify the Agents (or any such co-agent, sub-agent or
 attorney-in-fact) or such Related Party, as the case may be, with respect to such Lender’s Applicable Percentage
 (determined as of the time that such reimbursement or indemnity is sought), for and against any and all liabilities,
 obligations, losses, damages, penalties, claims, actions, judgments, costs, expenses or disbursements of whatsoever
 kind or nature which may be imposed on, asserted against or incurred by any Agent (or any Affiliate thereof) in
 performing its duties hereunder or under any other Loan Document or in any way relating to or arising out of this
 Agreement or any other Loan Document; provided that no Lender shall be liable for any portion of such liabilities,
 obligations, losses, damages, penalties, claims, actions, judgments, suits, costs, expenses or disbursements resulting
 from such Agent’s (or such Affiliate’s) gross negligence or willful misconduct (as determined by a court of competent
 jurisdiction in a final and non-appealable decision). The obligations of the Lenders under this subsection (c) are
 subject to the provisions of Section 2.12(d).

          (d)        Waiver of Consequential Damages, Etc. To the fullest extent permitted by applicable law, no party
 hereto shall assert, and each hereby waives, any claim against the Borrower and its Affiliates or any Indemnitee, on
 any theory of liability, for special, indirect, consequential or punitive damages (as opposed to direct or actual damages)
 arising out of, in connection with, or as a result of, this Agreement, any other Loan Document or any agreement or
 instrument contemplated hereby, the transactions contemplated hereby or thereby, any Loan or the use of the proceeds
 thereof; provided that such waiver shall not limit any Loan Party’s reimbursement or indemnification obligations
 under Sections 10.04(a) or 10.04(b), respectively. No Indemnitee referred to in subsection (b) above or the Borrower
 and its Affiliates shall be liable for any damages arising from the use by unintended recipients of any information or
 other materials distributed by it through telecommunications, electronic or other information transmission systems in
 connection with this Agreement or the other Loan Documents or the transactions contemplated hereby or thereby,
 except to the extent such damages result from the gross negligence or willful misconduct of such Indemnitee.

          (e)     Payments. All amounts due under this Section shall be payable not later than ten Business Days
 after written demand therefor accompanied by reasonable documentation with respect to any reimbursement,
 indemnification or other amount requested.

           (f)      Survival. The agreements in this Section shall survive the resignation or replacement of any Agent
 or any assignment of rights by, or the replacement of, a Lender, the termination of the Commitments, the repayment,
 satisfaction or discharge of all obligations under any Loan Document, and the termination of this Agreement. The
 reimbursement, indemnity and contribution obligations of the Borrower under this Section 10.04 will be in addition
 to any liability which the Borrower may otherwise have, will extend upon the same terms and conditions to any
 affiliate of any Indemnitee and the partners, members, directors, agents, employees, and controlling persons (if any),
 as the case may be, of any Indemnitee and any such affiliate, and will be binding upon and inure to the benefit of any
 successors and assigns of the Borrower, any Indemnitee, any such affiliate, and any such Person.

          10.05 Marshalling; Payments Set Aside. Neither any Agent nor any Lender shall be under any
 obligation to marshal any assets in favor of any Loan Party or any other Person or against or in payment of any or all
 of the Obligations. To the extent that any payment by or on behalf of the Borrower is made to the Agents or any
 Lender, or the Agents or any Lender enforces any security interests or exercises its right of setoff, and such payment


                                                            90
Case 20-41308              Doc 228     Filed 04/01/20 Entered 04/01/20 23:45:34                       Main Document
                                                Pg 640 of 1005


 or the proceeds of such enforcement or setoff or any part thereof is subsequently invalidated, declared to be fraudulent
 or preferential, set aside or required (including pursuant to any settlement entered into by the Agents or such Lender
 in its discretion) to be repaid to a trustee, receiver or any other party, in connection with any proceeding under any
 Debtor Relief Law or otherwise, then (a) to the extent of such recovery, the obligation or part thereof originally
 intended to be satisfied, and all Liens, rights and remedies therefor or related thereto, shall be revived and continued
 in full force and effect as if such payment had not been made or such setoff had not occurred, and (b) each Lender
 severally agrees to pay to each Agent upon demand its applicable share (without duplication) of any amount so
 recovered from or repaid by such Agent, plus interest thereon from the date of such demand to the date such payment
 is made at a rate per annum equal to the applicable Overnight Rate from time to time in effect, in the applicable
 currency of such recovery or payment. The obligations of the Lenders under clause (b) of the preceding sentence shall
 survive Payment in Full and the termination of this Agreement.

          10.06    Successors and Assigns.

           (a)      Successors and Assigns Generally. The provisions of this Agreement shall be binding upon and
 inure to the benefit of the parties hereto and their respective successors and assigns permitted hereby, except that no
 Loan Party may assign or otherwise transfer any of its rights or obligations hereunder, except through a transaction
 permitted hereunder, without the prior written consent of the Agents and each Lender, and no Lender may assign or
 otherwise transfer any of its rights or obligations hereunder except (i) to an Eligible Assignee in accordance with the
 provisions of subsection (b) of this Section, (ii) by way of participation in accordance with the provisions of subsection
 (e) of this Section, (iii) by way of pledge or assignment of a security interest subject to the restrictions of subsection
 (f) of this Section or (iv) pursuant to the syndication of Loans in accordance with the Restructuring Support
 Agreement. Nothing in this Agreement, expressed or implied, shall be construed to confer upon any Person (other
 than the parties hereto, their respective successors and assigns permitted hereby, Participants to the extent provided in
 subsection (e) of this Section and, to the extent expressly contemplated hereby, the Related Parties of each of the
 Agents and the Lenders) any legal or equitable right, remedy or claim under or by reason of this Agreement.

          (b)       Assignments by Lenders. Any Lender may at any time sell, assign or transfer to one or more Eligible
 Assignees (and any assignee pursuant to syndication of Loans in accordance with the Restructuring Agreement), upon
 the giving of notice to the Borrower and the Administrative Agent, all or a portion of its rights and obligations under
 this Agreement (including all or a portion of its Commitment(s) and the Loans at the time owing to it or other
 Obligations); provided that:

                   (i)       except (a) in the case of an assignment of the entire remaining amount of the assigning
 Lender’s Commitment and the Loans at the time owing to it, which such amount is less than the applicable minimum
 transfer amount set forth below, (b) in the case of an assignment of Loans in connection with the syndication of Loans
 contemplated in the Restructuring Support Agreement, or (c) in the case of an assignment to a Lender or an Affiliate
 of a Lender or an Approved Fund with respect to a Lender, the aggregate amount of the Commitment (which for this
 purpose includes Loans outstanding thereunder) or, if the Commitment is not then in effect, the principal outstanding
 balance of the Loans of the assigning Lender subject to each such assignment, determined as of the date the
 Assignment and Assumption with respect to such assignment is delivered to the Administrative Agent, shall not be
 less than $1,000,000 in the case of an assignment of Loans and, unless each of the Administrative Agent and, so long
 as no Event of Default under Section 8.01(a), (f) or (g) has occurred and is continuing, the Borrower otherwise consents
 (each such consent not to be unreasonably withheld or delayed); provided that the Borrower shall be deemed to have
 consented to an assignment of Loans unless it shall have objected thereto by written notice to the Administrative Agent
 within seven (7) Business Days after having received notice thereof; provided, however, that concurrent assignments
 to members of an Assignee Group and concurrent assignments from members of an Assignee Group to a single
 Eligible Assignee (or to an Eligible Assignee and members of its Assignee Group) will be treated as a single
 assignment for purposes of determining whether such minimum amount has been met;

                  (ii)      each partial assignment shall be made as an assignment of a proportionate part of all the
 assigning Lender’s rights and obligations under this Agreement with respect to the Loans or the Commitment assigned;

                   (iii)      [reserved];




                                                            91
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                        Main Document
                                                Pg 641 of 1005


                     (iv)     the parties to each assignment shall execute and deliver to the Administrative Agent an
 Assignment and Assumption, together with a processing and recordation fee in the amount of $3,500 (provided
 however, that (i) the Administrative Agent may in its sole discretion, elect to waive such processing and recordation
 fee in the case of any assignment and (ii) the Administrative Agent does hereby waive such processing and recordation
 fee in connection with an assignment to an assignee which is already a Lender or is an affiliate or Approved Fund of
 a Lender or a Person under common management with a Lender) and the Eligible Assignee, if it shall not be a Lender,
 shall deliver to the Administrative Agent an Administrative Questionnaire and to the Administrative Agent and the
 Borrower any such know-your-customer documents, forms, certificate or other evidence, if any, as the assignee under
 such Assignment and Assumption, including that as may be required to deliver pursuant to Section 3.01;

                    (v)       in connection with any assignment of rights and obligations of any Defaulting Lender
 hereunder, no such assignment shall be effective unless and until, in addition to the other conditions thereto set forth
 herein, the parties to the assignment shall make such additional payments to the Administrative Agent in an aggregate
 amount sufficient, upon distribution thereof as appropriate (which may be outright payment, purchases by the assignee
 of participations or subparticipations, or other compensating actions, including funding, with the consent of the
 Borrower and the Administrative Agent, the applicable pro rata share of Loans previously requested but not funded
 by the Defaulting Lender, to each of which the applicable assignee and assignor hereby irrevocably consent), to (x)
 pay and satisfy in full all payment liabilities then owed by such Defaulting Lender to any Agent and any Lender
 hereunder (and interest accrued thereon) and (y) acquire (and fund as appropriate) its full pro rata share of all Loans
 in accordance with its Applicable Percentage. Notwithstanding the foregoing, in the event that any assignment of
 rights and obligations of any Defaulting Lender hereunder shall become effective under applicable Laws without
 compliance with the provisions of this paragraph, then the assignee of such interest shall be deemed to be a Defaulting
 Lender for all purposes of this Agreement until such compliance occurs; and

                  (vi)    pro rata assignments shall not be required and each assignment shall be of a uniform, and
 not varying, percentage of all rights and obligations under and in respect of any applicable Loan and related
 Commitments.

 Subject to acceptance and recording thereof in the applicable Register by the Administrative Agent pursuant to
 subsection (d) of this Section, from and after the closing date specified in each Assignment and Assumption, the
 Eligible Assignee thereunder shall be a party to this Agreement and, to the extent of the interest assigned by such
 Assignment and Assumption, have the rights and obligations of a Lender under this Agreement, and the assigning
 Lender thereunder shall, to the extent of the interest assigned by such Assignment and Assumption, be released from
 its obligations under this Agreement (and, in the case of an Assignment and Assumption covering all of the assigning
 Lender’s rights and obligations under this Agreement, such Lender shall cease to be a party hereto) but shall continue
 to be entitled to the benefits of Section 3.01 (subject to the requirements and limitations therein, including the
 requirements of Section 3.01(e)), 3.04, 3.05 and 10.04 with respect to facts and circumstances occurring prior to the
 closing date of such assignment. Upon request, the Borrower (at its expense) shall execute and deliver a Note to the
 assignee Lender. Any assignment or transfer by a Lender of rights or obligations under this Agreement that does not
 comply with this subsection shall be treated for purposes of this Agreement as a sale by such Lender of a participation
 in such rights and obligations in accordance with subsection (d) of this Section.

 Each Lender, upon execution and delivery hereof or upon succeeding to an interest in the Commitments and Loans,
 as the case may be, represents and warrants as of the Closing Date or as of the effective date of such Assignment and
 Assumption that (i) it is an Eligible Assignee; (ii) it has experience and expertise in the making of or investing in
 commitments or loans such as the applicable Commitments or Loans, as the case may be and (iii) it will make or
 invest in, as the case may be, its Commitments or Loans for its own account in the ordinary course and without a view
 to distribution of such Commitments or Loans within the meaning of the Securities Act or the Exchange Act or other
 federal securities laws (it being understood that, subject to the provisions of this Section 10.06, the disposition of such
 Commitments or Loans or any interests therein shall at all times remain within its exclusive control).

          (c)      [Reserved].

          (d)       Register. The Administrative Agent, acting solely for this purpose as a non-fiduciary agent of the
 Borrower, shall maintain at the Administrative Agent’s Office a copy of each Assignment and Assumption delivered
 to it and a register for the recordation of the names and addresses of the Lenders, and the Commitments of, and


                                                             92
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                         Main Document
                                                Pg 642 of 1005


 principal amounts of (and stated interest on) the Loans owing to, each Lender pursuant to the terms hereof from time
 to time (the “Register”). The entries in the Register shall be conclusive absent manifest error, and the Borrower, the
 Administrative Agent and the Lenders shall treat each Person whose name is recorded in the Register pursuant to the
 terms hereof as a Lender hereunder for all purposes of this Agreement, notwithstanding notice to the contrary. Any
 assignment of any Loan, whether or not evidenced by a Note, shall be effective only upon appropriate entries with
 respect thereto being made in the Register (and each Note shall expressly so provide). The Register shall be available
 for inspection by the Borrower and each Lender (solely as to the amount of Loans of such Lender) at any reasonable
 time and from time to time upon reasonable prior written notice.

           (e)      Participations. Any Lender may at any time, without the consent of, or notice to, the Borrower or
 any Agent, sell participations to any Person (other than a natural person or the Borrower or any of the Borrower’s
 Affiliates or Subsidiaries) (each, a “Participant”) in all or a portion of such Lender’s rights and/or obligations under
 this Agreement (including all or a portion of its Commitment and/or the Loans owing to it); provided that (i) such
 Lender’s obligations under this Agreement shall remain unchanged, (ii) such Lender shall remain solely responsible
 to the other parties hereto for the performance of such obligations and (iii) the Borrower, the Agents and the Lenders
 shall continue to deal solely and directly with such Lender in connection with such Lender’s rights and obligations
 under this Agreement.

           Any agreement or instrument pursuant to which a Lender sells such a participation shall provide that such
 Lender shall retain the sole right to enforce this Agreement and to approve any amendment, modification or waiver
 of any provision of this Agreement; provided that such agreement or instrument may provide that such Lender, to the
 extent that it has a consent right hereunder, will not, without the consent of the Participant, agree to any amendment,
 waiver or other modification described in clauses (a), (b), (c), (g) and (h) of the first proviso to Section 10.01 that
 affects such Participant (it being understood that a waiver of any Default or Event of Default or of a mandatory
 reduction in the Commitment shall not constitute a change in the terms of such participation, and that an increase in
 any Commitment or Loan shall be permitted without the consent of any participant if the participant’s participation is
 not increased as a result thereof). Subject to subsection (e) of this Section, the Borrower agrees that each Participant
 shall be entitled to the benefits of Section 3.01, 3.04 and 3.05 to the same extent as if it were a Lender and had acquired
 its interest by assignment, provided, that in the case of Section 3.01, such Participant shall have complied with the
 requirements of such section (it being understood that the documentation required under Section 3.01(e) shall be
 delivered to the participating Lender). To the extent permitted by law, each Participant also shall be entitled to the
 benefits of Section 10.08 as though it were a Lender; such Participant agrees to be subject to Section 2.13 as though
 it were a Lender.

           Each Lender that sells a participation, acting for this purpose as a non-fiduciary agent (solely for tax purposes)
 of the Borrower, shall maintain a register for the recordation of the names and addresses of the Participants and
 principal amount of (and stated interest on) each Participant’s interest in the Loans or other obligations under this
 Agreement (the “Participant Register”); provided that no Lender shall have any obligation to disclose all or any portion
 of the Participant Register (including the identity of any Participant or any information relating to a Participant’s
 interest in any commitments, loans, letters of credit or its other obligations under any Loan Document) to any Person
 except to the extent that the relevant parties, acting reasonably and in good faith, determine that such disclosure is
 necessary to establish that such commitment, loan, letter of credit or other obligation is in registered form under
 Section 5f.103-1(c) of the United States Treasury Regulations. The entries in the Participant Register shall be
 conclusive absent manifest error, and such Lender and each Loan Party shall treat each Person whose name is recorded
 in the Participant Register pursuant to the terms hereof as the owner of such participation for all purposes of this
 Agreement, notwithstanding notice to the contrary.

          (f)       Limitation upon Participant Rights. A Participant shall not be entitled to receive any greater
 payment under Section 3.01, 3.04 or 3.05 than the applicable Lender would have been entitled to receive with respect
 to the participation sold to such Participant, except to the extent such entitlement to receive a greater payment results
 from a Change in Law that occurs after the Participant acquired the applicable participation.

          (g)        Certain Pledges. Any Lender may at any time pledge or assign a security interest in all or any
 portion of its rights under this Agreement (including under its Note(s), if any) to secure obligations of such Lender to
 secure obligations to a Federal Reserve Bank or other central bank having jurisdiction over such Lender; provided that
 no such pledge or assignment shall release such Lender from any of its obligations hereunder or substitute any such


                                                             93
Case 20-41308           Doc 228         Filed 04/01/20 Entered 04/01/20 23:45:34                         Main Document
                                                 Pg 643 of 1005


 pledgee or assignee for such Lender as a party hereto; provided further, that in no event shall the applicable Federal
 Reserve Bank, pledgee or trustee, be considered to be a “Lender” or be entitled to require the assigning Lender to take
 or omit to take any action hereunder.

           (h)      Electronic Execution of Assignments. The words “execution,” “signed,” “signature,” and words of
 like import in any Assignment and Assumption shall be deemed to include electronic signatures or the keeping of
 records in electronic form, each of which shall be of the same legal effect, validity or enforceability as a manually
 executed signature or the use of a paper-based recordkeeping system, as the case may be, to the extent and as provided
 for in any applicable law, including the Federal Electronic Signatures in Global and National Commerce Act, the New
 York State Electronic Signatures and Records Act, or any other similar state Laws based on the Uniform Electronic
 Transactions Act.

            10.07 Treatment of Certain Information; Confidentiality. Each of the Agents and the Lenders agrees
 that it will treat as confidential (to the extent clearly identified at the time of delivery as confidential) all information
 provided to it hereunder or under any other Loan Document by or on behalf of the Borrower or any of its Subsidiaries
 or Affiliates (collectively, “Information”) in accordance with the Agents’ and the Lenders’ applicable customary
 procedures for handling confidential information of such nature, except to the extent such Information (a) is publicly
 available or becomes publicly available other than by reason of disclosure by the Agents or the Lenders, any of their
 respective affiliates or representatives in violation of this Agreement or the other Loan Documents, (b) was received
 by the Agents and the Lenders from a source (other than the Borrower or any of its affiliates, advisors, members,
 directors, employees, agents or other representatives) not known by the Agents and the Lenders to be prohibited from
 disclosing such Information to such Person by a legal, contractual or fiduciary obligation to the Borrower or (c) was
 already in the Agents’ and the Lenders’ possession from a source other than the Borrower or any of its affiliates,
 advisors, members, directors, employees, agents or other representatives or is independently developed by such Person
 without the use of or reference to any such confidential information; provided, however, that nothing herein will
 prevent the Agents and the Lenders from disclosing any such Information (including Information regarding
 Disqualified Institutions) (a) pursuant to the order of any court or administrative agency or in any pending legal or
 administrative proceeding, or otherwise as required by applicable Law or compulsory legal process (in which case
 such Person agrees to inform the Borrower promptly thereof to the extent not prohibited by law), (b) upon the request
 or demand of any regulatory authority or any self-regulatory authority having jurisdiction over such Person or any of
 its affiliates, (c) to such Person’s affiliates and such Person’s and affiliates’ respective officers, directors, partners,
 members, employees, affiliated investment funds or investment vehicles, managed, advised or sub-advised accounts,
 funds or other entities, investment advisors, sub-advisors or managers, legal counsel, independent auditors and other
 experts or agents who need to know such Information and on a confidential basis and who are informed of the
 confidential nature of the Information, (d) to existing Lenders and to potential and prospective Agents, Lenders,
 assignees, participants and any direct or indirect contractual counterparties to any Hedging Agreement relating to the
 Borrower or its obligations under this Agreement, in each case, subject to such recipient’s agreement (which
 agreement (other than Disqualified Institutions) may be in writing or by “click through” agreement or other affirmative
 action on the part of the recipient to access such Information and acknowledge its confidentiality obligations in respect
 thereof pursuant to customary practice) to keep such Information confidential on substantially the terms set forth in
 this Section 10.07, (e) to ratings agencies who have agreed to keep such Information confidential on terms no less
 restrictive than this Section 10.07 in any material respect or otherwise on terms acceptable to the Borrower in
 connection with obtaining ratings of the Loans, (f) for purposes of establishing a “due diligence” defense, (g) on a
 confidential basis, to the CUSIP Service Bureau or any similar agency in connection with the issuance and monitoring
 of CUSIP numbers with respect to the Loans, (h) in connection with the exercise of any remedies hereunder or under
 any other Loan Document or any action or proceeding relating to this Agreement or any other Loan Document or the
 enforcement of rights hereunder or thereunder or (i) upon Borrower’s prior written consent (which may be by email).
 In addition, the Agents may disclose the existence of this Agreement and Information about this Agreement to market
 data collectors, similar service providers to the lending industry, and service providers to the Agents in connection
 with the administration and management of this Agreement and the other Loan Documents.

          Each of the Agents and the Lenders acknowledges that (a) the Information may include material non-public
 information concerning the Borrower or a Subsidiary, as the case may be, (b) it has developed compliance procedures
 regarding the use of material non-public information and (c) it will handle such material non-public information in
 accordance with applicable Laws, including Federal and state securities laws.



                                                              94
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                         Main Document
                                                Pg 644 of 1005


           10.08 Right of Setoff. In addition to any rights now or hereafter granted under applicable law and not by
 way of limitation of any such rights, subject to the Orders, upon the occurrence of any Event of Default or at maturity
 each Lender and its Affiliates is hereby authorized by each Loan Party at any time or from time to time subject to the
 consent of the Administrative Agent (such consent not to be unreasonably withheld or delayed), without notice to any
 Loan Party or to any other Person (other than the Administrative Agent), any such notice being hereby expressly
 waived, to set off and to appropriate and to apply any and all deposits (general or special, including Indebtedness
 evidenced by certificates of deposit, whether matured or unmatured, but not including trust accounts) and any other
 Indebtedness at any time held or owing by such Lender to or for the credit or the account of any Loan Party against
 and on account of the obligations and liabilities of any Loan Party to such Lender hereunder, including all claims of
 any nature or description arising out of or connected hereto, irrespective of whether or not (a) such Lender shall have
 made any demand hereunder or (b) the principal of or the interest on the Loans or any other amounts due hereunder
 shall have become due and payable pursuant to Article II and although such obligations and liabilities, or any of them,
 may be contingent or unmatured; provided that in the event that any Defaulting Lender shall exercise any such right
 of setoff, (x) all amounts so set off shall be paid over immediately to the Administrative Agent for further application
 in accordance with the provisions of Sections 2.18 and 8.04 and, pending such payment, shall be segregated by such
 Defaulting Lender from its other funds and deemed held in trust for the benefit of the Administrative Agent and the
 Lenders, and (y) the Defaulting Lender shall provide promptly to the Administrative Agent a statement describing in
 reasonable detail the Obligations owing to such Defaulting Lender as to which it exercised such right of setoff. The
 rights of each Lender and its Affiliates under this Section 10.08 are in addition to other rights and remedies (including
 other rights of setoff) that such Lender or its Affiliates may have. Each Lender agrees to notify the Borrower and the
 Administrative Agent promptly after any such setoff and application, provided that the failure to give such notice shall
 not affect the validity of such setoff and application.

           10.09 Usury Savings Clause. Notwithstanding any other provision herein, the aggregate interest rate
 charged with respect to any of the Obligations, including all charges or fees in connection therewith deemed in the
 nature of interest under applicable law shall not exceed the Highest Lawful Rate. If the rate of interest (determined
 without regard to the preceding sentence) under this Agreement at any time exceeds the Highest Lawful Rate, the
 outstanding amount of the Loans made hereunder shall bear interest at the Highest Lawful Rate until the total amount
 of interest due hereunder equals the amount of interest which would have been due hereunder if the stated rates of
 interest set forth in this Agreement had at all times been in effect. In addition, if when the Loans made hereunder are
 repaid in full the total interest due hereunder (taking into account the increase provided for above) is less than the total
 amount of interest which would have been due hereunder if the stated rates of interest set forth in this Agreement had
 at all times been in effect, then to the extent permitted by law, the Borrower shall pay to the Administrative Agent an
 amount equal to the difference between the amount of interest paid and the amount of interest which would have been
 paid if the Highest Lawful Rate had at all times been in effect. Notwithstanding the foregoing, it is the intention of
 Lenders and the Borrower to conform strictly to any applicable usury laws. Accordingly, if any Lender contracts for,
 charges, or receives any consideration which constitutes interest in excess of the Highest Lawful Rate, then any such
 excess shall be cancelled automatically and, if previously paid, shall at such Lender’s option be applied to the
 outstanding amount of the Loans made hereunder or be refunded to the Borrower.

           10.10 Counterparts; Integration. This Agreement may be executed in counterparts (and by different
 parties hereto in different counterparts), each of which shall constitute an original, but all of which when taken together
 shall constitute a single contract. This Agreement and the other Loan Documents constitute the entire contract among
 the parties relating to the subject matter hereof and supersede any and all previous agreements and understandings,
 oral or written, relating to the subject matter hereof. Delivery of an executed counterpart of a signature page of this
 Agreement by telecopy or other electronic imaging means (i.e., “pdf” or “tif”) shall be effective as delivery of a
 manually executed counterpart of this Agreement.

          10.11 Survival of Representations, Warranties and Agreements. All representations, warranties and
 agreements made hereunder and in any other Loan Document or other document delivered pursuant hereto or thereto
 or in connection herewith or therewith shall survive the execution and delivery hereof and thereof and the funding of
 any Borrowing. Such representations, warranties and agreements have been or will be relied upon by each Agent and
 each Lender, regardless of any investigation made by any Agent or any Lender or on their behalf and notwithstanding
 that any Agent or any Lender may have had notice or knowledge of any Default at the time of any Borrowing, and
 shall continue in full force and effect as long as any Loan or any other Obligation hereunder shall remain unpaid or
 unsatisfied. Notwithstanding anything herein or implied by law to the contrary, the agreements of each Loan Party


                                                             95
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                        Main Document
                                                Pg 645 of 1005


 set forth in Sections 3.01, 3.04, 3.05, 10.04(a), 10.04(b) and 10.08 and the agreements of Lenders set forth in Sections
 2.13, 9.03, 9.12, 10.04(c), and 10.05 shall survive the resignation or replacement of any Agent or any assignment of
 rights by, or the replacement of, a Lender, the termination of the Commitments, the repayment, satisfaction or
 discharge of all obligations under any Loan Document, and the termination of this Agreement.

          10.12 Severability. If any provision of this Agreement or the other Loan Documents or any obligation
 hereunder or under any other Loan Document is held to be illegal, invalid or unenforceable, (a) the legality, validity
 and enforceability of the remaining provisions or obligations of this Agreement and the other Loan Documents shall
 not be affected or impaired thereby and (b) the parties shall endeavor in good faith negotiations to replace the illegal,
 invalid or unenforceable provisions or obligations with valid provisions or obligations the economic effect of which
 comes as close as possible to that of the illegal, invalid or unenforceable provisions or obligations. The invalidity of
 a provision or obligation in a particular jurisdiction shall not invalidate or render unenforceable such provision or
 obligation in any other jurisdiction.

           10.13 Replacement of Lenders. If (a) any Lender requests compensation under Section 3.04, (b) the
 Borrower is required to pay any Indemnified Taxes or additional amounts to any Lender or any Governmental
 Authority for the account of any Lender pursuant to Section 3.01, (c) any Lender is at such time a Defaulting Lender
 or has given notice pursuant to Section 3.02 or (d) any Lender becomes a “Nonconsenting Lender” (hereinafter
 defined), then the Borrower may, at its sole expense and effort, upon notice to such Lender and the Administrative
 Agent, require such Lender to (and such Lender shall) assign and delegate, without recourse (in accordance with and
 subject to the restrictions contained in, and consents required by, Section 10.06), all of its interest, rights (other than
 its existing rights to payments pursuant to Section 3.01 or 3.04) and obligations under this Agreement and the related
 Loan Documents to an assignee selected by the Borrower that shall assume such obligations (which assignee may be
 another Lender, if a Lender accepts such assignment), provided that:

          (a)     the Administrative Agent shall have received the assignment fee specified in Section 10.06(b) from
 the Borrower (provided however, that the Administrative Agent may in its sole discretion elect to waive such
 processing and recordation fee in the case of any assignment);

         (b)       such Lender shall have received payment of an amount equal to the outstanding principal of its
 Loans, accrued interest thereon, accrued fees and all other amounts payable to it hereunder and under the other Loan
 Documents (including any amounts under Section 3.05) from the assignee (to the extent of such outstanding principal
 and accrued interest and fees) or the Borrower (in the case of all other amounts);

        (c)       in the case of any such assignment resulting from a claim for compensation under Section 3.04 or
 payments required to be made pursuant to Section 3.01, such assignment will result in a reduction in such
 compensation or payments thereafter;

          (d)      such assignment does not conflict with applicable Laws,

          (e)      neither any Agent nor any Lender shall be obligated to be or to find the assignee; and

          (f)      in the case of an assignment resulting from a Lender becoming a Nonconsenting Lender, the
 applicable assignee shall have consented to the applicable amendment, waiver or consent.

          A Lender shall not be required to make any such assignment or delegation if, prior thereto, as a result of a
 waiver by such Lender or otherwise, the circumstances entitling the Borrower to require such assignment and
 delegation cease to apply. In the event that (x) the Borrower or the Administrative Agent has requested the Lenders
 to consent to a departure or waiver of any provisions of the Loan Documents or to agree to any amendment thereto
 and (y) the Required Lenders or Required Facility Lenders, as applicable, have agreed to such consent, waiver or
 amendment, then any such Lender, who does not agree to such consent, waiver or amendment and whose consent
 would otherwise be required for such departure, waiver or amendment, shall be deemed a “Nonconsenting Lender.”
 Any such replacement shall not be deemed a waiver of any rights that the Borrower shall have against the replaced
 Lender.




                                                             96
Case 20-41308          Doc 228       Filed 04/01/20 Entered 04/01/20 23:45:34                     Main Document
                                              Pg 646 of 1005


          Each Lender agrees that if the Borrower exercises its option hereunder to cause an assignment by such Lender
 as a Nonconsenting Lender or otherwise pursuant to this Section 10.13, such Lender shall, promptly after receipt of
 written notice of such election, execute and deliver all documentation necessary to effectuate such assignment in
 accordance with Section 10.06. In the event that a Lender does not comply with the requirements of the immediately
 preceding sentence within one Business Day after receipt of such notice, each Lender hereby authorizes and directs
 the Borrower to execute and deliver such documentation as may be required to give effect to an assignment in
 accordance with Section 10.06 on behalf of a Nonconsenting Lender or Lender replaced pursuant to this Section 10.13,
 and any such documentation so executed by the Borrower shall be effective for purposes of documenting an
 assignment pursuant to Section 10.06.

         10.14    Governing Law; Jurisdiction; Etc.

       (a)   GOVERNING LAW. THIS AGREEMENT AND THE RIGHTS AND OBLIGATIONS OF THE
 PARTIES HEREUNDER (INCLUDING, WITHOUT LIMITATION, ANY CLAIMS SOUNDING IN CONTRACT
 LAW OR TORT LAW ARISING OUT OF THE SUBJECT MATTER HEREOF AND ANY DETERMINATIONS
 WITH RESPECT TO POST-JUDGMENT INTEREST) SHALL BE GOVERNED BY, AND SHALL BE
 CONSTRUED AND ENFORCED IN ACCORDANCE WITH, THE LAWS OF THE STATE OF NEW YORK AND
 (TO THE EXTENT APPLICABLE) THE BANKRUPTCY CODE, WITHOUT REGARD TO CONFLICT OF
 LAWS PRINCIPLES THEREOF THAT WOULD RESULT IN THE APPLICATION OF ANY LAW OTHER
 THAN THE LAW OF THE STATE OF NEW YORK AND (TO THE EXTENT APPLICABLE) THE
 BANKRUPTCY CODE.

        (b)     CONSENT TO JURISDICTION. SUBJECT TO CLAUSE (E) OF THE FOLLOWING
 SENTENCE, ALL JUDICIAL PROCEEDINGS BROUGHT AGAINST ANY PARTY ARISING OUT OF OR
 RELATING HERETO OR ANY OTHER LOAN DOCUMENTS, OR ANY OF THE OBLIGATIONS, SHALL BE
 BROUGHT IN THE BANKRUPTCY COURT AND, IF THAT COURT DOES NOT HAVE (OR ABSTAINS
 FROM) JURISDICTION, ANY FEDERAL COURT OF THE UNITED STATES SITTING IN THE BOROUGH OF
 MANHATTAN OR, IF THAT COURT DOES NOT HAVE SUBJECT MATTER JURISDICTION, IN ANY STATE
 COURT LOCATED IN THE CITY AND COUNTY OF NEW YORK. BY EXECUTING AND DELIVERING THIS
 AGREEMENT, EACH LOAN PARTY, FOR ITSELF AND IN CONNECTION WITH ITS PROPERTIES,
 IRREVOCABLY (A) ACCEPTS GENERALLY AND UNCONDITIONALLY THE EXCLUSIVE (SUBJECT TO
 CLAUSE (E) BELOW) JURISDICTION AND VENUE OF SUCH COURTS; (B) WAIVES ANY DEFENSE OF
 FORUM NON CONVENIENS; (C) AGREES THAT SERVICE OF ALL PROCESS IN ANY SUCH PROCEEDING
 IN ANY SUCH COURT MAY BE MADE BY REGISTERED OR CERTIFIED MAIL, RETURN RECEIPT
 REQUESTED, TO THE APPLICABLE LOAN PARTY AT ITS ADDRESS PROVIDED IN ACCORDANCE WITH
 SECTION 10.02; (D) AGREES THAT SERVICE AS PROVIDED IN CLAUSE (C) ABOVE IS SUFFICIENT TO
 CONFER PERSONAL JURISDICTION OVER THE APPLICABLE LOAN PARTY IN ANY SUCH
 PROCEEDING IN ANY SUCH COURT, AND OTHERWISE CONSTITUTES EFFECTIVE AND BINDING
 SERVICE IN EVERY RESPECT; AND (E) AGREES THAT THE AGENTS AND LENDERS RETAIN THE
 RIGHT TO SERVE PROCESS IN ANY OTHER MANNER PERMITTED BY LAW OR TO BRING
 PROCEEDINGS AGAINST ANY LOAN PARTY IN THE COURTS OF ANY OTHER JURISDICTION IN
 CONNECTION WITH THE EXERCISE OF ANY RIGHTS UNDER ANY LOAN DOCUMENT OR AGAINST
 ANY COLLATERAL OR THE ENFORCEMENT OF ANY JUDGMENT, AND HEREBY SUBMITS TO THE
 JURISDICTION OF, AND CONSENTS TO VENUE IN, ANY SUCH COURT.

        10.15 Waiver of Jury Trial. EACH PARTY HERETO HEREBY IRREVOCABLY WAIVES, TO THE
 FULLEST EXTENT PERMITTED BY APPLICABLE LAW, ANY RIGHT IT MAY HAVE TO A TRIAL BY JURY
 OF ANY CLAIM OR CAUSE OF ACTION BASED UPON OR ARISING HEREUNDER OR UNDER ANY OF
 THE OTHER LOAN DOCUMENTS OR ANY DEALINGS BETWEEN THEM RELATING TO THE SUBJECT
 MATTER OF THIS LOAN TRANSACTION OR THE LENDER/BORROWER RELATIONSHIP THAT IS BEING
 ESTABLISHED. THE SCOPE OF THIS WAIVER IS INTENDED TO BE ALL ENCOMPASSING OF ANY AND
 ALL DISPUTES THAT MAY BE FILED IN ANY COURT AND THAT RELATE TO THE SUBJECT MATTER
 OF THIS TRANSACTION, INCLUDING CONTRACT CLAIMS, TORT CLAIMS, BREACH OF DUTY CLAIMS
 AND ALL OTHER COMMON LAW AND STATUTORY CLAIMS.                    EACH PARTY HERETO
 ACKNOWLEDGES THAT THIS WAIVER IS A MATERIAL INDUCEMENT TO ENTER INTO A BUSINESS
 RELATIONSHIP, THAT EACH HAS ALREADY RELIED ON THIS WAIVER IN ENTERING INTO THIS


                                                          97
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                       Main Document
                                                Pg 647 of 1005


 AGREEMENT, AND THAT EACH WILL CONTINUE TO RELY ON THIS WAIVER IN ITS RELATED
 FUTURE DEALINGS. EACH PARTY HERETO FURTHER WARRANTS AND REPRESENTS THAT IT HAS
 REVIEWED THIS WAIVER WITH ITS LEGAL COUNSEL AND THAT IT KNOWINGLY AND
 VOLUNTARILY WAIVES ITS JURY TRIAL RIGHTS FOLLOWING CONSULTATION WITH LEGAL
 COUNSEL. THIS WAIVER IS IRREVOCABLE, MEANING THAT IT MAY NOT BE MODIFIED EITHER
 ORALLY OR IN WRITING (OTHER THAN BY A MUTUAL WRITTEN WAIVER SPECIFICALLY
 REFERRING TO THIS SECTION 10.15 AND EXECUTED BY EACH OF THE PARTIES HERETO), AND THIS
 WAIVER SHALL APPLY TO ANY SUBSEQUENT AMENDMENTS, RENEWALS, SUPPLEMENTS OR
 MODIFICATIONS HERETO OR ANY OF THE OTHER LOAN DOCUMENTS OR TO ANY OTHER
 DOCUMENTS OR AGREEMENTS RELATING TO THE LOANS MADE HEREUNDER. IN THE EVENT OF
 LITIGATION, THIS AGREEMENT MAY BE FILED AS A WRITTEN CONSENT TO A TRIAL BY THE COURT.

          10.16 USA PATRIOT Act Notice. Each Lender that is subject to the Act (as hereinafter defined) and
 each Agent (for itself and not on behalf of any Lender) hereby notifies each Loan Party that pursuant to the
 requirements of the PATRIOT Act, it is required to obtain, verify and record information that identifies each Loan
 Party, which information includes the name and address of such Loan Party and other information that will allow such
 Lender or such Agent, as applicable, to identify such Loan Party in accordance with the PATRIOT Act.

          10.17    Time of the Essence. Time is of the essence of the Loan Documents.

          10.18    [Reserved].

           10.19 No Advisory or Fiduciary Responsibility. Each Loan Party agrees that nothing in the Loan
 Documents or otherwise will be deemed to create an advisory, fiduciary or agency relationship or fiduciary or other
 implied duty between any Agent or Lender, on the one hand, and such Loan Party, its stockholders or its affiliates, on
 the other. In connection with all aspects of each transaction contemplated hereby (including in connection with any
 amendment, waiver or other modification hereof or of any other Loan Document), the Borrower acknowledges and
 agrees, and acknowledges its Affiliates’ understanding, that: (i) (A) the arranging and other services regarding this
 Agreement provided by the Agents and the transactions contemplated by the Loan Documents (including the exercise
 of rights and remedies hereunder and thereunder) are arm’s-length commercial transactions between the Borrower and
 their Affiliates, on the one hand, and the Agents, on the other hand, (B) the Borrower has consulted its own legal,
 accounting, regulatory and tax advisors to the extent it has deemed appropriate, and (C) the Borrower is capable of
 evaluating, and understands and accepts, the terms, risks and conditions of the transactions contemplated hereby and
 by the other Loan Documents; (ii) (A) each Agent, and each Lender is and has been acting solely as a principal and,
 except as expressly agreed in writing by the relevant parties, has not been, is not, and will not be acting as an advisor,
 agent or fiduciary for any Loan Party, its management, stockholders, creditors or any of its affiliates or any other
 Person with respect to the transactions contemplated hereby (or the exercise of rights or remedies with respect thereto)
 or the process leading thereto (irrespective of whether any Lender has advised, is currently advising or will advise any
 Loan Party, its stockholders or its Affiliates on other matters) or any other obligation to any Loan Party except the
 obligations expressly set forth in the Loan Documents and (B) neither any of the Agents nor any Lender has any
 obligation to the Borrower or any of its respective Affiliates with respect to the transactions contemplated hereby
 except those obligations expressly set forth herein and in the other Loan Documents; and (iii) the Agents and the
 Lenders and their respective Affiliates may be engaged in a broad range of transactions that involve interests that
 conflict with those of the Borrower and its respective Affiliates, and neither any of the Agents nor any Lender has any
 obligation to disclose any of such interests to the Borrower or its respective Affiliates. Each Loan Party agrees that it
 will not claim that any Lender has rendered advisory services of any nature or respect, or owes a fiduciary or similar
 duty to such Loan Party, in connection with such transaction or the process leading thereto. To the fullest extent
 permitted by law, the Borrower hereby waives and releases any claims that it may have against the Agents with respect
 to any breach or alleged breach of agency or fiduciary duty in connection with any aspect of any transaction
 contemplated hereby.

          10.20    [Reserved]

          10.21    Release of Liens and Release from Guaranty.




                                                            98
Case 20-41308          Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                        Main Document
                                               Pg 648 of 1005


           (a)      Notwithstanding anything to the contrary contained herein or in any other Loan Document, but
 subject to the Orders, the Collateral Agent is hereby irrevocably authorized by each Lender to release any Lien on any
 property granted to or held by the Collateral Agent under any Loan Document or otherwise encumbering any item of
 Collateral (and to execute any documents or instruments necessary, advisable or otherwise required or reasonably
 requested by any Loan Party to do so) (A) after Payment in Full, (B) (i) upon any sale or other transfer by any Loan
 Party of any Collateral that is permitted under this Agreement (other than a sale or other transfer to a Loan Party or
 any other Person that is required to become a Loan Party) or (ii) upon effectiveness of any written consent to the
 release of the security interest created under any Security Document in any Collateral pursuant to Section 10.01, (C)
 upon the approval, authorization or ratification in writing by the Required Lenders (or such other percentage of the
 Lenders whose consent is required by Section 10.01) with respect to the release of such Collateral, (D) upon a
 Guarantor no longer being a Guarantor by virtue of the definition thereof or a transaction permitted hereunder, with
 respect to the Collateral owned by such Guarantor or (E) if an asset becomes an Excluded Asset. After any of (v)
 Payment in Full, (w) upon any sale or other transfer of a Loan Party that is permitted under this Agreement (other than
 a sale or other transfer to a Loan Party or any other Person that is required to become a Loan Party), (x) upon the
 approval, authorization or ratification in writing by the Required Lenders (or such other percentage of the Lenders
 whose consent is required by Section 10.01) with respect to the release of any Guarantor under the terms of the
 Guaranty or (y) upon a Guarantor no longer being a Guarantor by virtue of the definition thereof or a transaction
 permitted hereunder, each applicable Guarantor (or, in the case of clause (w) above, the applicable Guarantor so sold
 or transferred) shall automatically be released from the Guaranty, all without delivery of any instrument or
 performance of any act by any Person; provided that any such release of guarantee obligations shall be deemed subject
 to the provision that such guarantee obligations shall be reinstated if after such release any portion of any payment in
 respect of the Obligations guaranteed thereby shall be rescinded or must otherwise be restored or returned upon the
 insolvency, bankruptcy, dissolution, liquidation or reorganization of the Borrower or any Guarantor, or upon or as a
 result of the appointment of a receiver, intervenor or conservator of, or trustee or similar officer for, the Borrower or
 any Guarantor or any substantial part of its property, or otherwise, all as though such payment had not been made.

           (b)       Notwithstanding anything to the contrary contained herein or in any other Loan Document, subject
 to the Orders, in connection with any termination or release pursuant to this Section 10.21, the Administrative Agent
 and/or the Collateral Agent, as applicable, shall be, and are hereby irrevocably authorized by each Lender (without
 requirement of notice to or consent of any Lender) to execute and deliver, and shall promptly execute and deliver to
 the applicable Loan Party, at such Loan Party’s expense, all documents that such Loan Party shall reasonably request
 to evidence such termination or release (including (1) UCC termination statements and (2) in the case of a release of
 Mortgages, a partial release) or to confirm that an asset of a Loan Party is not Collateral (including returning to the
 Borrower any possessory Collateral that is in the possession of the Collateral Agent and is the subject of such release);
 provided, that (1) neither Agent shall be required to execute any document or take any action necessary to evidence
 such termination or release on terms that, in its opinion or the opinion of its counsel, could expose such Agent to
 liability or create any obligation or entail any consequence other than such termination or release without recourse,
 representation, or warranty, and (2) the Loan Parties shall have provided such Agent with such certifications or
 documents as such Agent shall reasonably request in order to demonstrate that the requested termination or release is
 permitted under this Section 10.21.

           (c)      Any execution and delivery of documents, or the taking of any other action, by any Agent pursuant
 to this Section 10.21 shall be without recourse to or representation or warranty by such Agent.

          10.22 Independence of Covenants. All covenants hereunder shall be given independent effect so that if
 a particular action or condition is not permitted by any of such covenants, the fact that it would be permitted by an
 exception to, or would otherwise be within the limitations of, another covenant shall not avoid the occurrence of a
 Default or an Event of Default if such action is taken or condition exists.

           10.23 Independent Nature of Lenders’ Rights. Nothing contained herein or in any other Loan
 Document, and no action taken by Lenders pursuant hereto or thereto, shall be deemed to constitute Lenders as a
 partnership, an association, a joint venture or any other kind of entity. The amounts payable at any time hereunder to
 each Lender shall be a separate and independent debt, and each Lender shall be entitled to protect and enforce its
 rights arising out hereof and it shall not be necessary for any other Lender to be joined as an additional party in any
 proceeding for such purpose.



                                                            99
Case 20-41308            Doc 228      Filed 04/01/20 Entered 04/01/20 23:45:34                          Main Document
                                               Pg 649 of 1005


          10.24 Acknowledgment and Consent to Bail-In of EEA Financial Institutions. Notwithstanding
 anything to the contrary in any Loan Document or in any other agreement, arrangement or understanding among any
 such parties, each party hereto acknowledges that any liability of any EEA Financial Institution arising under any
 Loan Document, to the extent such liability is unsecured, may be subject to the write-down and conversion powers of
 an EEA Resolution Authority and agrees and consents to, and acknowledges and agrees to be bound by:

          (a)        the application of any Write-Down and Conversion Powers by an EEA Resolution Authority to any
 such liabilities arising hereunder which may be payable to it by any party hereto that is an EEA Financial Institution;
 and

          (b)      the effects of any Bail-in Action on any such liability, including, if applicable:

                   (i)      a reduction in full or in part or cancellation of any such liability;

                   (ii)      a conversion of all, or a portion of, such liability into shares or other instruments of
 ownership in such EEA Financial Institution, its parent undertaking, or a bridge institution that may be issued to it or
 otherwise conferred on it, and that such shares or other instruments of ownership will be accepted by it in lieu of any
 rights with respect to any such liability under this Agreement or any other Loan Document; or

                  (iii)    the variation of the terms of such liability in connection with the exercise of the write-down
 and conversion powers of any EEA Resolution Authority.

                                                     ARTICLE XI
                                                     GUARANTY

          11.01 Guaranty of the Obligations. Guarantors jointly and severally hereby irrevocably and
 unconditionally guaranty to the Administrative Agent, for the ratable benefit of the Beneficiaries, the due and punctual
 payment in full of all Obligations when the same shall become due, whether at stated maturity, by required
 prepayment, declaration, acceleration, demand or otherwise (including amounts that would become due but for the
 operation of the automatic stay under Section 362(a) of the Bankruptcy Code, 11 U.S.C. § 362(a)) (collectively, the
 “Guaranteed Obligations”).

          11.02    [Reserved].

          11.03 Payment by Guarantors. Subject to Section 11.01, Guarantors hereby jointly and severally agree,
 in furtherance of the foregoing and not in limitation of any other right which any Beneficiary may have at law or in
 equity against any Guarantor by virtue hereof, that upon the failure of Borrower to pay any of the Guaranteed
 Obligations when and as the same shall become due, whether at stated maturity, by required prepayment, declaration,
 acceleration, demand or otherwise (including amounts that would become due but for the operation of the automatic
 stay under Section 362(a) of the Bankruptcy Code, 11 U.S.C. § 362(a)), Guarantors will upon demand pay, or cause
 to be paid, in cash, to the Administrative Agent for the ratable benefit of Beneficiaries, an amount equal to the sum of
 the unpaid principal amount of all Guaranteed Obligations then due as aforesaid, accrued and unpaid interest on such
 Guaranteed Obligations (including interest which, but for Borrower’s becoming the subject of a case under the
 Bankruptcy Code, would have accrued on such Guaranteed Obligations, whether or not a claim is allowed against
 Borrower for such interest in the related bankruptcy case) and all other Guaranteed Obligations then owed to
 Beneficiaries as aforesaid.

          11.04 Liability of Guarantors Absolute. Each Guarantor agrees that its obligations hereunder are
 irrevocable, absolute, independent and unconditional and shall not be affected by any circumstance which constitutes
 a legal or equitable discharge of a guarantor or surety other than payment in full of the Guaranteed Obligations. In
 furtherance of the foregoing and without limiting the generality thereof, each Guarantor agrees as follows:

         (a)      this Guaranty is a guaranty of payment when due and not of collectability. This Guaranty is a
 primary obligation of each Guarantor and not merely a contract of surety;




                                                           100
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                        Main Document
                                                Pg 650 of 1005


         (b)       Administrative Agent may enforce this Guaranty upon the occurrence, but only during the
 continuance, of an Event of Default notwithstanding the existence of any dispute between Borrower and any
 Beneficiary with respect to the existence of such Event of Default;

          (c)      the obligations of each Guarantor hereunder are independent of the obligations of Borrower and the
 obligations of any other guarantor (including any other Guarantor) of the obligations of Borrower, and a separate
 action or actions may be brought and prosecuted against such Guarantor whether or not any action is brought against
 Borrower or any of such other guarantors and whether or not Borrower is joined in any such action or actions;

           (d)      payment by any Guarantor of a portion, but not all, of the Guaranteed Obligations shall in no way
 limit, affect, modify or abridge any Guarantor’s liability for any portion of the Guaranteed Obligations which has not
 been paid. Without limiting the generality of the foregoing, if Administrative Agent is awarded a judgment in any
 suit brought to enforce any Guarantor’s covenant to pay a portion of the Guaranteed Obligations, such judgment shall
 not be deemed to release such Guarantor from its covenant to pay the portion of the Guaranteed Obligations that is
 not the subject of such suit, and such judgment shall not, except to the extent satisfied by such Guarantor, limit, affect,
 modify or abridge any other Guarantor’s liability hereunder in respect of the Guaranteed Obligations;

            (e)      any Beneficiary, upon such terms as it deems appropriate, without notice or demand and without
 affecting the validity or enforceability hereof or giving rise to any reduction, limitation, impairment, discharge or
 termination of any Guarantor’s liability hereunder, from time to time may (i) renew, extend, accelerate, increase the
 rate of interest on, or otherwise change the time, place, manner or terms of payment of the Guaranteed Obligations;
 (ii) settle, compromise, release or discharge, or accept or refuse any offer of performance with respect to, or
 substitutions for, the Guaranteed Obligations or any agreement relating thereto and/or subordinate the payment of the
 same to the payment of any other obligations; (iii) request and accept other guaranties of the Guaranteed Obligations
 and take and hold security for the payment hereof or the Guaranteed Obligations; (iv) release, surrender, exchange,
 substitute, compromise, settle, rescind, waive, alter, subordinate or modify, with or without consideration, any security
 for payment of the Guaranteed Obligations, any other guaranties of the Guaranteed Obligations, or any other obligation
 of any Person (including any other Guarantor) with respect to the Guaranteed Obligations; (v) enforce and apply any
 security now or hereafter held by or for the benefit of such Beneficiary in respect hereof or the Guaranteed Obligations
 and direct the order or manner of sale thereof, or exercise any other right or remedy that such Beneficiary may have
 against any such security, in each case as such Beneficiary in its discretion may determine consistent herewith or any
 applicable security agreement, including foreclosure on any such security pursuant to one or more judicial or
 nonjudicial sales, whether or not every aspect of any such sale is commercially reasonable, and even though such
 action operates to impair or extinguish any right of reimbursement or subrogation or other right or remedy of any
 Guarantor against any other Loan Party or any security for the Guaranteed Obligations; and (vi) exercise any other
 rights available to it under the Loan Documents; and

            (f)     this Guaranty and the obligations of Guarantors hereunder shall be valid and enforceable and shall
 not be subject to any reduction, limitation, impairment, discharge or termination for any reason (other than payment
 in full of the Guaranteed Obligations (other than contingent indemnity obligations not then due and payable), including
 the occurrence of any of the following, whether or not any Guarantor shall have had notice or knowledge of any of
 them: (i) any failure or omission to assert or enforce or agreement or election not to assert or enforce, or the stay or
 enjoining, by order of court, by operation of law or otherwise, of the exercise or enforcement of, any claim or demand
 or any right, power or remedy (whether arising under the Loan Documents, at law, in equity or otherwise) with respect
 to the Guaranteed Obligations or any agreement relating thereto, or with respect to any other guaranty of or security
 for the payment of the Guaranteed Obligations; (ii) any rescission, waiver, amendment or modification of, or any
 consent to departure from, any of the terms or provisions (including provisions relating to events of default) hereof,
 any of the other Loan Documents, any agreement or instrument executed pursuant thereto, or of any other guaranty or
 security for the Guaranteed Obligations, in each case whether or not in accordance with the terms hereof or such Loan
 Document, or any agreement relating to such other guaranty or security; (iii) the Guaranteed Obligations, or any
 agreement relating thereto, at any time being found to be illegal, invalid or unenforceable in any respect; (iv) the
 application of payments received from any source (other than payments received pursuant to the other Loan
 Documents, or from the proceeds of any security for the Guaranteed Obligations, except to the extent such security
 also serves as collateral for indebtedness other than the Guaranteed Obligations) to the payment of indebtedness other
 than the Guaranteed Obligations, even though any Beneficiary might have elected to apply such payment to any part
 or all of the Guaranteed Obligations; (v) any Beneficiary’s consent to the change, reorganization or termination of the


                                                            101
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                        Main Document
                                                Pg 651 of 1005


 corporate structure or existence of General Partner, Holdings (or any Parent) or any of its Subsidiaries and to any
 corresponding restructuring of the Guaranteed Obligations; (vi) any failure to perfect or continue perfection of a
 security interest in any collateral which secures any of the Guaranteed Obligations (subject to the limitations set forth
 in the Security Documents); (vii) any defenses, set-offs or counterclaims which Borrower may allege or assert against
 any Beneficiary in respect of the Guaranteed Obligations, including failure of consideration, breach of warranty,
 payment, statute of frauds, statute of limitations, accord and satisfaction and usury; and (viii) any other act or thing or
 omission, or delay to do any other act or thing, which may or might in any manner or to any extent vary the risk of
 any Guarantor as an obligor in respect of the Guaranteed Obligations.

           11.05 Waivers by Guarantors. Each Guarantor hereby waives, to the extent permitted by applicable law,
 for the benefit of Beneficiaries: (a) any right to require any Beneficiary, as a condition of payment or performance by
 such Guarantor, to (i) proceed against Borrower, any other guarantor (including any other Guarantor) of the
 Guaranteed Obligations or any other Person, (ii) proceed against or exhaust any security held from Borrower, any
 such other guarantor or any other Person, (iii) proceed against or have resort to any balance of any deposit account or
 credit on the books of any Beneficiary in favor of any Loan Party or any other Person, or (iv) pursue any other remedy
 in the power of any Beneficiary whatsoever; (b) any defense arising by reason of the incapacity, lack of authority or
 any disability or other defense of Borrower or any other Guarantor including any defense based on or arising out of
 the lack of validity or the unenforceability of the Guaranteed Obligations or any agreement or instrument relating
 thereto or by reason of the cessation of the liability of Borrower or any other Guarantor from any cause other than
 payment in full of the Guaranteed Obligations; (c) any defense based upon any statute or rule of law which provides
 that the obligation of a surety must be neither larger in amount nor in other respects more burdensome than that of the
 principal; (d) any defense based upon any Beneficiary’s errors or omissions in the administration of the Guaranteed
 Obligations, except behavior which amounts to bad faith; (e) (i) any principles or provisions of law, statutory or
 otherwise, which are or might be in conflict with the terms hereof and any legal or equitable discharge of such
 Guarantor’s obligations hereunder, (ii) the benefit of any statute of limitations affecting such Guarantor’s liability
 hereunder or the enforcement hereof, (iii) any rights to set-offs, recoupments and counterclaims, and (iv) promptness,
 diligence and any requirement that any Beneficiary protect, secure, perfect or insure any security interest or lien or
 any property subject thereto; (f) notices, demands, presentments, protests, notices of protest, notices of dishonor and
 notices of any action or inaction, including acceptance hereof, notices of default hereunder, notices under any
 agreement or instrument related thereto, notices of any renewal, extension or modification of the Guaranteed
 Obligations or any agreement related thereto, notices of any extension of credit to Borrower and notices of any of the
 matters referred to in Section 11.04 and any right to consent to any thereof; and (g) any defenses or benefits that may
 be derived from or afforded by law which limit the liability of or exonerate guarantors or sureties, or which may
 conflict with the terms hereof.

           11.06 Guarantors’ Rights of Subrogation, Contribution, Etc. Until the Payment in Full of the
 Guaranteed Obligations (other than contingent obligations under general indemnification provisions as to which no
 claim is pending), each Guarantor hereby waives, to the extent permitted by law, any claim, right or remedy, direct or
 indirect, that such Guarantor now has or may hereafter have against Borrower or any other Guarantor or any of its
 assets in connection with this Guaranty or the performance by such Guarantor of its obligations hereunder, in each
 case whether such claim, right or remedy arises in equity, under contract, by statute, under common law or otherwise
 and including (a) any right of subrogation, reimbursement or indemnification that such Guarantor now has or may
 hereafter have against Borrower with respect to the Guaranteed Obligations, (b) any right to enforce, or to participate
 in, any claim, right or remedy that any Beneficiary now has or may hereafter have against Borrower, and (c) any
 benefit of, and any right to participate in, any collateral or security now or hereafter held by any Beneficiary. In
 addition, until Payment in Full of the Guaranteed Obligations (other than contingent obligations under general
 indemnification provisions as to which no claim is pending), each Guarantor shall withhold exercise of any right of
 contribution such Guarantor may have against any other guarantor (including any other Guarantor) of the Guaranteed
 Obligations. Each Guarantor further agrees that, to the extent the waiver or agreement to withhold the exercise of its
 rights of subrogation, reimbursement, indemnification and contribution as set forth herein is found by a court of
 competent jurisdiction to be void or voidable for any reason, any rights of subrogation, reimbursement or
 indemnification such Guarantor may have against Borrower or against any collateral or security, and any rights of
 contribution such Guarantor may have against any such other guarantor, shall be junior and subordinate to any rights
 any Beneficiary may have against Borrower, to all right, title and interest any Beneficiary may have in any such
 collateral or security, and to any right any Beneficiary may have against such other guarantor. If any amount shall be
 paid to any Guarantor on account of any such subrogation, reimbursement, indemnification or contribution rights at


                                                            102
Case 20-41308          Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                      Main Document
                                               Pg 652 of 1005


 any time when the Payment in Full of all Guaranteed Obligations (other than contingent obligations under general
 indemnification provisions as to which no claim is pending) shall not have occurred, such amount shall, to the extent
 possible under applicable law, be held in trust for Administrative Agent on behalf of Beneficiaries and shall forthwith
 be paid over to the Administrative Agent for the benefit of Beneficiaries to be credited and applied against the
 Guaranteed Obligations, whether matured or unmatured, in accordance with the terms hereof.

           11.07 Subordination of Other Obligations. Any Indebtedness of Borrower or any Guarantor now or
 hereafter held by any Guarantor (the “Obligee Guarantor”) is hereby subordinated in right of payment to the
 Guaranteed Obligations, and any such Indebtedness collected or received by the Obligee Guarantor after an Event of
 Default has occurred and is continuing shall, to the extent permitted by applicable law, be held in trust for
 Administrative Agent on behalf of Beneficiaries and shall forthwith be paid over to the Administrative Agent for the
 benefit of Beneficiaries to be credited and applied against the Guaranteed Obligations but without affecting, impairing
 or limiting in any manner the liability of the Obligee Guarantor under any other provision hereof.

          11.08 Continuing Guaranty. This Guaranty is a continuing guaranty and shall remain in effect until the
 Payment in Full of all of the Guaranteed Obligations (other than contingent obligations under general indemnification
 provisions as to which no claim is pending). Each Guarantor hereby irrevocably waives, to the extent permitted by
 applicable law, any right to revoke this Guaranty as to future transactions giving rise to any Guaranteed Obligations.

          11.09 Authority of Guarantors or Borrower. It is not necessary for any Beneficiary to inquire into the
 capacity or powers of any Guarantor or Borrower or the officers, directors or any agents acting or purporting to act on
 behalf of any of them.

           11.10 Financial Condition of Borrower. Any Credit Extension may be made to Borrower or continued
 from time to time without notice to or authorization from any Guarantor regardless of the financial or other condition
 of Borrower at the time of any such grant or continuation. No Beneficiary shall have any obligation to disclose or
 discuss with any Guarantor its assessment, or any Guarantor’s assessment, of the financial condition of Borrower.
 Each Guarantor has adequate means to obtain information from Borrower on a continuing basis concerning the
 financial condition of Borrower and its ability to perform its obligations under the Loan Documents, and each
 Guarantor assumes the responsibility for being and keeping informed of the financial condition of Borrower and of
 all circumstances bearing upon the risk of nonpayment of the Guaranteed Obligations. Each Guarantor hereby waives,
 to the extent permitted by applicable law, and relinquishes any duty on the part of any Beneficiary to disclose any
 matter, fact or thing relating to the business, operations or conditions of Borrower now known or hereafter known by
 any Beneficiary.

                                               [Signature pages follow]




                                                          103
                                                                                                                             1




                                                 Schedule 1.01(a)

                                                   Guarantors




                                                                                                      Case 20-41308
                                                                              Jurisdiction of Organization
Guarantor                                         Type of Entity
Adena Resources, LLC                              Limited liability company   Delaware
Akin Energy LLC                                   Limited liability company   Delaware
American Century Mineral LLC                      Limited liability company   Delaware
American Century Transport LLC                    Limited liability company   Delaware
Coal Field Construction Company LLC               Limited liability company   Delaware




                                                                                                      Doc 228
Coal Field Repair Services LLC                    Limited liability company   Delaware
Foresight Coal Sales LLC                          Limited liability company   Delaware
Foresight Energy Employee Services Corporation    Corporation                 Delaware
Foresight Energy GP LLC                           Limited liability company   Delaware




                                                                                  Filed 04/01/20 Entered 04/01/20 23:45:34
Foresight Energy Finance Corporation              Corporation                 Delaware
Foresight Energy Labor LLC                        Limited liability company   Delaware
Foresight Energy LP                               Limited partnership         Delaware
Foresight Energy Services LLC                     Limited liability company   Delaware




                                                                                           Pg 653 of 1005
Foresight Receivables LLC                         Limited Liability Company   Delaware
Hillsboro Energy LLC                              Limited liability company   Delaware
Hillsboro Transport LLC                           Limited liability company   Delaware
LD Labor Company LLC                              Limited liability company   Delaware
Logan Mining LLC                                  Limited liability company   Delaware
M-Class Mining, LLC                               Limited liability company   Delaware
Mach Mining, LLC                                  Limited liability company   Delaware
Macoupin Energy LLC                               Limited liability company   Delaware
MaRyan Mining LLC                                 Limited liability company   Delaware
Oeneus LLC (d/b/a/ Savatran LLC)                  Limited liability company   Delaware
Patton Mining LLC                                 Limited liability company   Delaware
Seneca Rebuild LLC                                Limited liability company   Delaware




                                                                                                      Main Docum
                                                     Jurisdiction of Organization
Guarantor                Type of Entity
Sitran LLC               Limited liability company   Delaware
Sugar Camp Energy, LLC   Limited liability company   Delaware
Tanner Energy LLC        Limited liability company   Delaware




                                                                             Case 20-41308
Viking Mining LLC        Limited liability company   Delaware
Williamson Energy, LLC   Limited liability company   Delaware




                                                                             Doc 228
                                                         Filed 04/01/20 Entered 04/01/20 23:45:34
                                                                  Pg 654 of 1005
                                                                             Main Docum
Case 20-41308   Doc 228    Filed 04/01/20 Entered 04/01/20 23:45:34     Main Document
                                    Pg 655 of 1005
                                                                                3



                                        Schedule 2.01

                   Commitments, Roll-Up Loans, Applicable Percentages




                          [On file with the Administrative Agent]
Case 20-41308   Doc 228   Filed 04/01/20 Entered 04/01/20 23:45:34   Main Document
                                   Pg 656 of 1005
                                                                             7



                                      Schedule 2.02

                                Backstop Commitments



                          [On File with the Administrative Agent]
                                                                                                                                                                 8




                                                            Schedule 5.08(b)

                                                   Fee Owned Material Real Property




                                                                                                                           Case 20-41308
DEBTOR/GRANTOR:

MACOUPIN ENERGY LLC
14300 Brushy Mound Road
Carlinville, Illinois 62626

Macoupin County, Illinois




                                                                                                                           Doc 228
    Description/Title of                                         Brief Legal             Recording                                Owned or          Subject to
                                Date          Parties




                                                                                                       Filed 04/01/20 Entered 04/01/20 23:45:34
        Document                                                 Description            Information                                Leased           Mortgage

                                                                Various tracts of
                                                                surface and coal




                                                                                                                Pg 657 of 1005
                                                               reserves. The coal
                                          ExxonMobil Coal    reserves were sold to
                                            USA, Inc. to        WPP or Colt and
  Special Warranty Deed       1/22/2009                                               MA-0019 493145                                        Owned      Yes
                                          Macoupin Energy       leased back. The
                                               LLC            surface not required
                                                            for operations has been
                                                               conveyed to New
                                                              River Royalty LLC




                                                                                                                           Main Docum
DEBTOR/GRANTOR:

WILLIAMSON ENERGY, LLC
16468 Liberty School Road
Marion, IL 62959




                                                                                                                                             Case 20-41308
Williamson County, Illinois

Franklin County, Illinois (Coal Reserves only)



    Description/Title of    Date                   Parties              Brief Legal Description            Recording                                                Owned or   Subject to




                                                                                                                                             Doc 228
                                                                                                          Information                                                Leased    Mortgage

           Deed              8/12/2010          Williamson
                                              Development               Surface required for




                                                                                                                         Filed 04/01/20 Entered 04/01/20 23:45:34
                                                                                                            NOT
                                            Company, LLC and           Williamson Energy, LLC                                                                        Owned        Yes
                                                                                                         RECORDED
                                            Williamson Energy,               Operations2
                                                   LLC




                                                                                                                                  Pg 658 of 1005
         Easement            8/12/2010          Williamson
                                              Development             “Snake areas” required for
                                            Company, LLC and          Williamson Energy, LLC              WC 325-899                                                 Owned        Yes
                                            Williamson Energy,               Operations
                                                   LLC




2
  This excludes the real property released pursuant to that certain Fifth Amendment and Partial Release of Fee and Leasehold Mortgage, Assignment of Rents and
Leases, Security Agreement and Fixture Filing, dated as of September 26, 2016, by and between Williamson Energy, LLC, as Mortgagor, and Citibank, N.A., in
its capacity as Agent, consisting of approximately 28.55 acres of surface land.




                                                                                                                                             Main Docum
DEBTOR/GRANTOR:

SUGAR CAMP ENERGY, LLC
11351 N. Thompsonville Road
Macedonia, Illinois 62860




                                                                                                                               Case 20-41308
Franklin County, Illinois

Hamilton County, Illinois (Coal Reserves only)

Saline County, Illinois (Coal Reserves only)




                                                                                                                               Doc 228
                                                                                                                                                      Owned
  Description/Title of                                                                                Recording                                                Subject to
                            Date               Parties               Brief Legal Description                                                            or
      Document                                                                                       Information                                               Mortgage
                                                                                                                                                      Leased




                                                                                                           Filed 04/01/20 Entered 04/01/20 23:45:34
                                     Rodney Smith and Marta
                                                                  Pt. Lot 121 and Pt. Lot 122 in   Surface WC-0152,
    Warranty Deed        1/15/2009    Smith to Sugar Camp                                                                                             Owned       Yes
                                                                        Kokopelli Estates             WC481-772




                                                                                                                    Pg 659 of 1005
                                          Energy, LLC

                                     Glendall E Johnston a.k.a
                                     Glen Johnston and Carolyn
                                                                  NW NW Sec 1-6-4 and NWNE
                                     S. Johnston, a.k.a Carolyn                                     FC-0253 2010-
       Easement          3/4/2010                                  Sec 1-6-4 Franklin County,                                                         Owned       Yes
                                       Johnston, husband and                                            1056
                                                                             Illinois
                                        Wife to Sugar Camp
                                           Energy, LLC




                                                                                                                               Main Docum
                                                                                                                                                     Owned
Description/Title of                                                                                 Recording                                                Subject to
                         Date               Parties                Brief Legal Description                                                             or
    Document                                                                                        Information                                               Mortgage
                                                                                                                                                     Leased

                                   Morris R Clark and Karan




                                                                                                                              Case 20-41308
                                                                NWNE and W2E2NE Sec 2-6-           FC-0254 2010-
     Easement          3/4/2010     S. Clark to Sugar Camp                                                                                           Owned       Yes
                                                                   4 Franklin, Illinois                1057
                                         Energy, LLC

                                   David Blood and Melanie          Pt. E2NENE Sec 2-6-4
     Easement          3/1/2010    Blood, husband and wife to   Franklin County, Illinois 2010-      FC-0255                                         Owned       Yes
                                   Sugar Camp Energy, LLC                   1058




                                                                                                                              Doc 228
                                   Roger L. Sanders and Mary
                                                                W 10 ac N3/4 of NESE Sec 6-
     Easement          6/5/2010      Ellen Sanders to Sugar                                       HC-0078 221-117                                    Owned       Yes
                                                                6-5 Hamilton County, Illinois
                                      Camp Energy, LLC




                                                                                                          Filed 04/01/20 Entered 04/01/20 23:45:34
                                   Patrick G. Mascal and Lori
                                                                 W2NESW and E2S2NWSW
  Warranty Deed        6/1/2010     S. Mascal to Sugar Camp                                       HC-0075 277/311                                    Owned       Yes
                                                                 Sec 6-6-5 Hamilton Illinois
                                          Energy, LLC




                                                                                                                   Pg 660 of 1005
                                   Williamson Development
                                                                  Surface required for Sugar          NOT
       Deed            8/12/2010   Company LLC to Sugar                                                                                              Owned       Yes
                                                                Camp Energy, LLC Operations        RECORDED
                                     Camp Energy, LLC

                                   Williamson Development        Surface in Hamilton County
                                                                                                      NOT
       Deed            8/12/2010   Company LLC to Sugar           required for Sugar Camp                                                            Owned       Yes
                                                                                                   RECORDED
                                     Camp Energy, LLC             Energy, LLC Operations




                                                                                                                              Main Docum
                                                                                                                                           Owned
Description/Title of                                                                       Recording                                                Subject to
                         Date              Parties           Brief Legal Description                                                         or
    Document                                                                              Information                                               Mortgage
                                                                                                                                           Leased

                                   Williamson Development   Surface at former Akin site




                                                                                                                    Case 20-41308
                                                                                             NOT
       Deed            8/12/2010   Company LLC to Sugar      required for Sugar Camp                                                       Owned       Yes
                                                                                          RECORDED
                                     Camp Energy, LLC        Energy, LLC Operations




                                                                                                                    Doc 228
                                                                                                Filed 04/01/20 Entered 04/01/20 23:45:34
                                                                                                         Pg 661 of 1005
                                                                                                                    Main Docum
DEBTOR/GRANTOR:

SITRAN, LLC

                                                                                                                                                     Owned    Subject




                                                                                                                              Case 20-41308
Description/Title of                                                                                   Recording                                     or       to
Document               Date         Parties                        Brief Legal Description             Information                                   Leased   Mortgage
MOORAGE
OPTIONS/LEASE
S KENTUCKY

Deed of Correction     10/22/2009   Norberta Belle Williams,       An undivided l/4th: Certain         NOT                                           Owned    No
                                    Harold Alvin Williams and      property in the Ohio River known    RECORDED




                                                                                                                              Doc 228
                                    Sitran LLC                     as Karr Island, which property
                                                                   was granted to Hopson Karr and
                                                                   N.S. Karr by a governor’s patente
                                                                   on 12/21/1960 that is recorded in




                                                                                                          Filed 04/01/20 Entered 04/01/20 23:45:34
                                                                   the Henderson Co Bk 202 Pg 266

Deed of Correction     10/22/2009   Joyce Mae Hurley and Deon      An undivided l/4th: Certain         NOT                                           Owned    No
                                    H. Hurley and Sitran LLC       property in the Ohio River known    RECORDED




                                                                                                                   Pg 662 of 1005
                                                                   as Karr Island, which property
                                                                   was granted to Hopson Karr and
                                                                   N.S. Karr by a governor’s patente
                                                                   on 12/21/1960 that is recorded in
                                                                   the Henderson Co Bk 202 Pg 266

Deed of Conveyance     10/22/2009   Lisa Michelle Karr Hughes &    An undivided 2/15th: Certain        NOT                                           Owned    No
                                    Darrell C. Hughes and Sitran   property in the Ohio River known    RECORDED
                                    LLC                            as Karr Island, which property
                                                                   was granted to Hopson Karr and
                                                                   N.S. Karr by a governor’s patente
                                                                   on 12/21/1960 that is recorded in




                                                                                                                              Main Docum
                                                                                                                                                       Owned    Subject
Description/Title of                                                                                     Recording                                     or       to
Document               Date         Parties                          Brief Legal Description             Information                                   Leased   Mortgage
                                                                     the Henderson Co Bk 202 Pg 266




                                                                                                                                Case 20-41308
Deed of Conveyance     10/22/2009   Rise Karr and Sitran LLC         An undivided 2/15th: Certain        NOT                                           Owned    No
                                                                     property in the Ohio River known    RECORDED
                                                                     as Karr Island, which property
                                                                     was granted to Hopson Karr and
                                                                     N.S. Karr by a governor’s patente
                                                                     on 12/21/1960 that is recorded in
                                                                     the Henderson Co Bk 202 Pg 266




                                                                                                                                Doc 228
Deed of Conveyance     11/20/2009   Scott A. Peck & City Peck, his   An undivided 1/20th: Certain        HC-0011                                       Owned    No
                                    wife and Sitran LLC              property in the Ohio River known    (Ky) Book
                                                                     as Karr Island, which property      572 Pg 1006
                                                                     was granted to Hopson Karr and




                                                                                                            Filed 04/01/20 Entered 04/01/20 23:45:34
                                                                     N.S. Karr by a governor’s patente
                                                                     on 12/21/1960 that is recorded in
                                                                     the Henderson Co Bk 202 Pg 266




                                                                                                                     Pg 663 of 1005
Deed of Conveyance     11/20/2009   Stephen K. Peck and Sitran       An undivided 1/20th: Certain        HC-0012                                       Owned    No
                                    LLC                              property in the Ohio River known    (Ky) Book
                                                                     as Karr Island, which property      572 Pg 1010
                                                                     was granted to Hopson Karr and
                                                                     N.S. Karr by a governor’s patente
                                                                     on 12/21/1960 that is recorded in
                                                                     the Henderson Co Bk 202 Pg 266

EASEMENTS
INDIANA

Easement               3/4/2009     Kenneth W. Burgdorf, as          4.99 acres located in part of       PC-0005                                       Owned    No
                                    Trustee of the Kenneth W.        Northeast Quarter of Section 11,




                                                                                                                                Main Docum
                                                                                                                                                      Owned    Subject
Description/Title of                                                                                    Recording                                     or       to
Document               Date         Parties                         Brief Legal Description             Information                                   Leased   Mortgage
                                    Burgdorf Revocable Trust and    Township 7 South, Range 12          (IN)
                                    Marilyn T. Burgdorf, Trustee    West in Posey County Indiana.




                                                                                                                               Case 20-41308
                                    of the Marilyn T. Burgdorf
                                    Revocable Trust and Sitran
                                    LLC

Temporary              11/20/2008   Pauline Burgdorf and Sitran     4.99 acres located in part of the   PC-0011                                       Owned    No
Easement                            LLC                             Northeast Quarter of Section 11,    (IN)
                                                                    Township 7 South, Range 12          200804978
                                                                    West in Posey County Indiana.




                                                                                                                               Doc 228
Contract To Acquire    11/20/2008   Pauline Burgdorf and Sitran     4.99 acres located in part of the   PC-0011                                       Owned    No
Easement                            LLC                             Northeast Quarter of Section 11,    (IN)
                                                                    Township 7 South, Range 12          200804978




                                                                                                           Filed 04/01/20 Entered 04/01/20 23:45:34
                                                                    West in Posey County Indiana.       closing date
                                                                                                        01/15/2012

Non-Exclusive          10/20/2009   Southern Indiana Gas and        Part of Southeast Quarter of the    PC-0018                                       Owned    No




                                                                                                                    Pg 664 of 1005
Easement and                        Electric Company an Indiana     Southwest Quarter of Section 22     (IN)
Temporary                           public utility company doing    and part of the Northeast Quarter   200904540
Construction                        business as Vectren Energy      of the Northwest Quarter of
Easement                            Delivery of Indiana, Inc. and   Section 27 all being in Township
                                    Oeneus LLC d/b/a                6 South, Range 12 West in Posey
                                    SAVATRAN LLC and Sitran         County, Indiana
                                    LLC

Quit Claim Deed                     Southern Indiana Gas and        Part of the West Half of Section    PC-00                                         Owned    No
                                    Electric Company an Indiana     23, Township 7 South, Range 12
                                    public utility company doing    West in Posey County Indiana
                                    business as Vectren Energy
                                    Delivery of Indiana, Inc. and




                                                                                                                               Main Docum
                                                                                                                                Owned    Subject
Description/Title of                                                              Recording                                     or       to
Document               Date   Parties                   Brief Legal Description   Information                                   Leased   Mortgage
                              Oeneus LLC d/b/a
                              SAVATRAN LLC and Sitran




                                                                                                         Case 20-41308
                              LLC




                                                                                                         Doc 228
                                                                                     Filed 04/01/20 Entered 04/01/20 23:45:34
                                                                                              Pg 665 of 1005
                                                                                                         Main Docum
DEBTOR/GRANTOR:

OENEUS LLC D/B/A SAVATRAN LLC




                                                                                                                            Case 20-41308
 Description/Title of                                                                              Recording                                        Owned      Subject to
                         Date               Parties                   Legal Description
     Document                                                                                     Information                                      or Leased   Mortgage

  INDIANA RAIL
    LOOP AND
      DOCK




                                                                                                                            Doc 228
                                       Alfred A. Mohr, as
                                                                 Undivided 1/2 interest in: SE
      Personal                     Personal Representative of
                                                                 NW 14-7-12 except 5 feet on      PC-0001 (IN)
   Representatives      1/9/2009    the Estate of Aurelia F.                                                                                        Owned         Yes
                                                                  north side; NESW 14-7-12         200900228




                                                                                                        Filed 04/01/20 Entered 04/01/20 23:45:34
       Deed                           Mohr, deceased and
                                                                  81.742 acres Posey Co. IN
                                       SAVATRAN LLC

                                                                 Undivided 1/2 interest in: SE




                                                                                                                 Pg 666 of 1005
                                      Alfred A. Mohr and         NW 14-7-12 except 5 feet on      PC-0001 (IN)
   Warranty Deed        1/9/2009                                                                                                                    Owned         Yes
                                      SAVATRAN LLC                north side; NESW 14-7-12         200900227
                                                                  81.742 acres Posey Co. IN

                                   Catherine B. Elbert, Linda
                                   Kay Elbert and Catherine     45.949 acres As part of the W/2   PC-0002 (IN)
   Warranty Deed        1/8/2010   Charlene Elbert as General                                                                                       Owned         Yes
                                                                    23-7-12 Posey Co. IN           201000225
                                   Partners of the Charles R.
                                     Elbert Family Limited




                                                                                                                            Main Docum
Description/Title of                                                                               Recording                                         Owned      Subject to
                         Date                Parties                  Legal Description
    Document                                                                                      Information                                       or Leased   Mortgage

                                        Partnership and
                                       SAVATRAN LLC




                                                                                                                             Case 20-41308
                                    Catherine B. Elbert, Linda                                    PC-0002 (IN)
                                    Kay Elbert and Catherine                                    201000226. This
                                    Charlene Elbert as General   Pt. SE SW 14-7-12 23 acres &      deed replaces
   Corrective
                        1/8/2010    Partners of the Charles R.   Pt. NW/4 23-7-12 16.30 acres   WD 200900675                                         Owned         Yes
  Warranty Deed




                                                                                                                             Doc 228
                                      Elbert Family Limited              Posey Co. IN               because of
                                         Partnership and                                         surveyor's error
                                       SAVATRAN LLC                                               in description.




                                                                                                         Filed 04/01/20 Entered 04/01/20 23:45:34
                                       Old National Trust
                                      Company as Successor
                                    Trustee under the James L.    Pt. W/2 Section 23-7-12 70     PC-0003 (IN)
  Trustee's Deed       12/17/2008                                                                                                                    Owned         Yes
                                     Boerner Revocable Trust          acres Posey Co. IN          200805149




                                                                                                                  Pg 667 of 1005
                                         Agreement and
                                       SAVATRAN LLC




                                                                                                                             Main Docum
Description/Title of                                                                                 Recording                                        Owned      Subject to
                         Date                 Parties                   Legal Description
    Document                                                                                        Information                                      or Leased   Mortgage

                                     Kenneth J. Juncker Mary
                                    L. Juncker Emily A Moore




                                                                                                                              Case 20-41308
                                    Robert E Moore Jr. Joseph
                                     T. Yount, Beth Ann Folz,
                                     as Guardian ad Litem for
                                       Alexander A. Moore,
                                     Dana M Junker, Rebecca
                                      A. Wildeman, Anna L




                                                                                                                              Doc 228
                                     Blankenbaker (each afore
                                     mentioned signing as an
                                    individual and as a partner
                                                                  Pt. NWNW & NENW 14-7-12
                                      in JARD Group, Allyn
                                                                  72.741 acres & 27.986 acres off    PC-0007




                                                                                                          Filed 04/01/20 Entered 04/01/20 23:45:34
  Warranty Deed        12/15/2008        Simpson, Ronald                                                                                              Owned         Yes
                                                                   N side NWNW & Pt. N/2 14-        200804974
                                        Simpson, Edward L.
                                                                      7-12 Posey Co. Indiana
                                      Thompson, as personal
                                       Representative of the




                                                                                                                   Pg 668 of 1005
                                         Estate of Marilyn
                                      Thompson, Nathalie A.
                                        Elderkin, Charles A.
                                       Thompson, L. David
                                         Allyn, Jennifer L.
                                      Velasquez, Matthew D.
                                       Allyn and Michael L.
                                     Allyn and SAVATRAN
                                               LLC




                                                                                                                              Main Docum
Description/Title of                                                                               Recording                                          Owned      Subject to
                         Date                Parties                 Legal Description
    Document                                                                                      Information                                        or Leased   Mortgage

                                     Kenneth J. Juncker Mary
                                    L. Juncker Emily A Moore




                                                                                                                              Case 20-41308
                                    Robert E Moore Jr. Joseph
                                                                                                  PC-0007 (IN)
                                    T. Yount, Beth Ann Folz,
                                                                                                200804975 This
                                     as Guardian ad Litem for   5 feet on S Line of N/2 NW/4
                                                                                                  was an access
 Quitclaim Deed        12/15/2008      Alexander A. Moore,       14-7-12 a distance of 68 1/2                                                         Owned         Yes
                                                                                                road at the top of
                                     Dana M Junker, Rebecca        rods and 5 feet in width.
                                                                                                    the Allyn
                                      A. Wildeman, Anna L
                                                                                                    Property.




                                                                                                                              Doc 228
                                    Blankenbaker (each afore
                                     mentioned signing as an
                                        individual and as a

                                                                                                 PC-0007 (IN)




                                                                                                          Filed 04/01/20 Entered 04/01/20 23:45:34
                                                                                                   200805013
                                                                                                     Edward
                                                                                                   Thompson




                                                                                                                   Pg 669 of 1005
                                                                                                 inadvertently
                                      Edward l. Thompson,       5 feet on S Line of N/2 NW/4        signed as
   Correction
                       12/17/2009       Individually and         14-7-12 a distance of 68 1/2       Personal                                          Owned         Yes
 Quitclaim Deed
                                       SAVATRAN LLC                rods and 5 feet in width.    Representative of
                                                                                                  the Estate of
                                                                                                   Marilyn K.
                                                                                                 Thompson by
                                                                                                   PRD dated
                                                                                                   10/31/2008




                                                                                                                              Main Docum
Description/Title of                                                                            Recording                                         Owned      Subject to
                         Date             Parties               Legal Description
    Document                                                                                   Information                                       or Leased   Mortgage

                                                                                             PC-0007 (IN)
                                                                                               200805012




                                                                                                                          Case 20-41308
                                                                                                 Edward
                                                                                               Thompson
                                                                                             inadvertently
                                                          Pt. NWNW & NENW 14-7-12
                                    Edward l. Thompson,                                         signed as
   Correction                                             72.741 acres & 27.986 acres off
                       12/17/2009     Individually and                                          Personal                                          Owned         Yes
  Warranty Deed                                            N side NWNW & Pt. N/2 14-
                                     SAVATRAN LLC                                           Representative of
                                                              7-12 Posey Co. Indiana




                                                                                                                          Doc 228
                                                                                              the Estate of
                                                                                               Marilyn K.
                                                                                             Thompson by
                                                                                               PRD dated




                                                                                                      Filed 04/01/20 Entered 04/01/20 23:45:34
                                                                                               10/31/2008

                                                                                                 PC-0008
                                    Gerald G. Mohr and                                       (IN)200803305




                                                                                                               Pg 670 of 1005
                                                          6.89 acres within SW/4 south
  Rec Memo &                        Esther R. Mohr and                                       Option Expires
                       7/16/2008                          of Old State Rd. Section 11-7-                                                          Owned         Yes
Option to Purchase                  Oeneus LLC d/b/a                                         07/16/2010. We
                                                                 12 Posey Co. IN
                                     SAVATAN LLC                                            do not believe we
                                                                                            will close on this.

                                    Orval Ungethum and
                                                          Pt. W/2 SW/4 Section 14-7-12        PC-0009 (IN)
  Warranty Deed        3/26/2009     Oeneus LLC d/b/a                                                                                             Owned         Yes
                                                            29.302 acres Posey Co. IN          200901384
                                     SAVATRAN LLC




                                                                                                                          Main Docum
Description/Title of                                                                                    Recording                                         Owned      Subject to
                         Date                Parties                   Legal Description
    Document                                                                                           Information                                       or Leased   Mortgage

                                      Raymond W. Boerner,
                                                                    E/2 SWNW & NENWSW
                                      Evelyn Staples, Ronald




                                                                                                                                  Case 20-41308
                                                                  Section 14-7-12 & 1/2 interest
                                     Lee Boerner & Ruben F.
                                                                  to 5 feet on S Line N/2 NW/4        PC-0010 (IN)
  Warranty Deed        12/18/2008   Roehr as Personal Rep. of                                                                                             Owned         Yes
                                                                 14-7-2 a distance of 68 1/2 rods      200805150
                                    the Estate of Dorothy Mae
                                                                  and 5 feet in width. Posey Co.
                                     Roehr and SAVATRAN
                                                                         IN.30.675 acres
                                               LLC

                                     Margie J. Angermeier




                                                                                                                                  Doc 228
                                    (Life Estate), Glenda S.
                                                                                                      PC-0012 (IN)
                                     Elpers(1/3 remainder);
                                                                                                       200804520
                                    Paul L. Angermeier (1/3
  Rec Memo &                                                        8 acres as pt of S/2 SW/4            Expires
                       10/14/2008    remainder); Glenn V.                                                                                                 Owned         Yes




                                                                                                              Filed 04/01/20 Entered 04/01/20 23:45:34
Option to Purchase                                                Section 10-7-12 Posey Co IN        10/14/2010 We
                                        Angermeier (1/3
                                                                                                    do not believe we
                                    remainder) and Oeneus
                                                                                                    will close on this.
                                    LLC d/b/a SAVATRAN




                                                                                                                       Pg 671 of 1005
                                              LLC

                                                                                                       PC-00014 (IN)
                                                                                                         200901505
                                    Arthur W. Boerner, as life                                        Arthur reserves
                                                                  S/2 NWNE 14-7-12 & all of
                                       tenant, Elizabeth A.                                             life estate in
                                                                   SWNE east of Public Road
  Warranty Deed        3/31/2009     Howery and Sharon L.                                              house and 1 ac                                     Owned         Yes
                                                                 40.843 and 1acre part of SWNE
                                    Bauman and Oenues LLC                                            tract B. Reserves
                                                                    14-7-12 Posey Co Indiana
                                    d/b/a SAVATRAN LLC                                              road easement for
                                                                                                      access to house;
                                                                                                      right to farm for




                                                                                                                                  Main Docum
Description/Title of                                                                                Recording                                         Owned      Subject to
                         Date               Parties                   Legal Description
    Document                                                                                       Information                                       or Leased   Mortgage

                                                                                                 $1.00 any portion
                                                                                                     left after




                                                                                                                              Case 20-41308
                                                                                                   construction.




                                                                                                   PC-0014 (IN)
                                   Arthur W. Boerner, as life
                                                                                                 2009-01504 this
                                      tenant, Elizabeth A.       5 feet on S Line of N/2 NW/4




                                                                                                                              Doc 228
                                                                                                 is an access road
 Quitclaim Deed        3/31/2009    Howery and Sharon L.          14-7-12 a distance of 68 1/2                                                        Owned         Yes
                                                                                                 across the top of
                                   Bauman and Oenues LLC            rods and 5 feet in width.
                                                                                                   the Alyn heirs
                                   d/b/a SAVATRAN LLC
                                                                                                      property.




                                                                                                          Filed 04/01/20 Entered 04/01/20 23:45:34
                                                                                                   PC-0014 (IN)
                                                                                                   Boerner Heirs
                                   Arthur W. Boerner, as life
                                                                 S/2 NWNE 14-7-12 & all of         own minerals




                                                                                                                   Pg 672 of 1005
                                      tenant, Elizabeth A.
 Non-Penetration                                                  SWNE east of Public Road         would not sell
                       3/31/2009    Howery and Sharon L.                                                                                              Owned         Yes
   Agreement                                                    40.843 and 1acre part of SWNE     this keeps them
                                   Bauman and Oenues LLC
                                                                   14-7-12 Posey Co Indiana      from having any
                                   d/b/a SAVATRAN LLC
                                                                                                  development of
                                                                                                   the minerals.

                                                                 S/2 NWNE 14-7-12 & all of         PC-0014 (IN)
                                   Arthur W. Boerner, as life     SWNE east of Public Road          200901506
     Easement          3/31/2009      tenant, Elizabeth A.                                       Access easement                                      Owned         Yes
                                                                40.843 and 1acre part of SWNE
                                    Howery and Sharon L.           14-7-12 Posey Co Indiana      to house and 1 ac
                                                                                                  and access to 30




                                                                                                                              Main Docum
Description/Title of                                                                               Recording                                          Owned      Subject to
                         Date               Parties                   Legal Description
    Document                                                                                      Information                                        or Leased   Mortgage

                                   Bauman and Oenues LLC                                        acres that is land
                                   d/b/a SAVATRAN LLC                                              locked after




                                                                                                                              Case 20-41308
                                                                                                  construction.


                                                                                                 PC-0014 (IN)
                                                                                                   200901507
                                                                                                Promissory note
   Real Estate                                                                                    to Elizabeth




                                                                                                                              Doc 228
Mortgage, Security                 Arthur W. Boerner, as life                                     Howery and
                                                                 S/2 NWNE 14-7-12 & all of
   Agreement,                         tenant, Elizabeth A.                                          Sharon L
                                                                  SWNE east of Public Road
    Collateral         3/31/2009    Howery and Sharon L.                                            Bauman                                            Owned         Yes
                                                                40.843 and 1acre part of SWNE
 Assignment of                     Bauman and Oenues LLC                                        1,075,000. paid
                                                                   14-7-12 Posey Co Indiana




                                                                                                          Filed 04/01/20 Entered 04/01/20 23:45:34
Rents and Leases,                  d/b/a SAVATRAN LLC                                              as follows
and Fixture Filing                                                                               287,500 yr1,
                                                                                                 275,000 yr 2




                                                                                                                   Pg 673 of 1005
                                                                                                  262500 yr 3
                                                                                                    1075000

                                    Larry E. Orth 5/12 int.
                                   Agnes L. York as Trustee
                                     of the Agnes L. York
  Rec Memo &                            Revocable Trust          Pt. SWSE 11-7-12 containing       PC-0015
                       2/27/2009                                                                                                                      Owned         Yes
Option to Purchase                 Agreement 5/12 interest;              0.90 acres               200900926
                                      Vickie L. Orth 2/12
                                   interest and Oeneus LLC
                                   d/b/a SAVATRAN LLC




                                                                                                                              Main Docum
Description/Title of                                                                                   Recording                                        Owned      Subject to
                         Date                Parties                   Legal Description
    Document                                                                                          Information                                      or Leased   Mortgage

  EASEMENTS
   INDIANA




                                                                                                                                Case 20-41308
                                     Oeneus LLC to Southern                                          PC-0017 (IN)
                                     Indiana Gas and Electric    Pt. NE/4 14-7-12 Posey Co IN        Electric power
     Easement          9/16/2009    Company and Indiana corp      containing 0.28 acres more or      line easement                                      Owned         No
                                       d/b/a Vectren Energy                   less.                 Gibson to Brown
                                     Delivery of Indiana, Inc.                                          345 line.




                                                                                                                                Doc 228
                                    Southern Indiana Gas and
                                      Electric Company an        Part of Southeast Quarter of the
  Non-Exclusive                       Indiana public utility      Southwest Quarter of Section
  Easement and                      company doing business         22 and part of the Northeast
                                                                                                     PC-0018 (IN)




                                                                                                            Filed 04/01/20 Entered 04/01/20 23:45:34
    Temporary          10/20/2009      as Vectren Energy            Quarter of the Northwest                                                            Owned         No
                                                                                                      200904540
   Construction                     Delivery of Indiana, Inc.     Quarter of Section 27 all being
    Easement                         and Oeneus LLC d/b/a        in Township 6 South, Range 12




                                                                                                                     Pg 674 of 1005
                                     SAVATRAN LLC and            West in Posey County, Indiana
                                           Sitran LLC

                                    Savatran LLC, to Southern
                                     Indiana Gas and Electric
      Electric                         Company an Indiana          Pt N2 of NW Section 14,          PC-0021 (IN)
 Distribution Line     7/13/2010      public utility company      Township 7 South, Range 12        Need Recorded                                       Owned         No
    Easement                        doing business as Vectren     West Posey County, Indiana            Copy
                                       Energy Delivery of
                                           Indiana, Inc.




                                                                                                                                Main Docum
Description/Title of                                                                             Recording                                        Owned      Subject to
                         Date                Parties                 Legal Description
    Document                                                                                    Information                                      or Leased   Mortgage

                                    Southern Indiana Gas and
                                      Electric Company an




                                                                                                                          Case 20-41308
                                      Indiana public utility
      Electric                                                    Pt. W2 NE Section 14,        PC-0022 (IN)
                                    company doing business
 Distribution Line     7/13/2010                                Township 7 South, Range 12     Need Recorded                                      Owned         No
                                       as Vectren Energy
    Easement                                                    West. Posey County, Indiana        Copy
                                    Delivery of Indiana, Inc.
                                     and Oeneus LLC d/b/a
                                       SAVATRAN LLC




                                                                                                                          Doc 228
SUGAR CAMP
     TO
McLEANSBORO
  RAIL LINE




                                                                                                      Filed 04/01/20 Entered 04/01/20 23:45:34
  ILLINOIS

                                     Kelly Markus & Gina                                      HC-0001 BK 216
                                                                 Pt. NESE 3-5-5 Hamilton




                                                                                                               Pg 675 of 1005
     Easement          10/17/2008   Markus to Oeneus LLC                                      Pg 156 Rail Road                                    Owned         Yes
                                                                   County IL 4.87 acres
                                    d/b/a SAVATRAN LLC                                           Easement.

                                    Gerald Spihlman & Judith     Pt. NESE 3-5-5 Hamilton      HC-0001 BK 216
     Easement          10/17/2008   Spihlman to Oeneus LLC         County IL 4.87 acres       Pg 147 Rail Road                                    Owned         Yes
                                    d/b/a SAVATRAN LLC                  273-252                  Easement.

                                    Thomas Markus & Jeanete                                   HC-0001 Bk 216
                                                                 Pt. NESE 3-5-5 Hamilton
     Easement          10/24/2008    Markus to Oeneus LLC                                     Pg 163 Rail Road                                    Owned         Yes
                                                                   County IL 4.87 acres
                                     d/b/a SAVATRAN LLC                                           Easement




                                                                                                                          Main Docum
Description/Title of                                                                              Recording                                         Owned      Subject to
                         Date              Parties                 Legal Description
    Document                                                                                     Information                                       or Leased   Mortgage

                                                                                               HC-0002 Bk 217
                                                                                                Pg 732 Initial




                                                                                                                            Case 20-41308
                                     White Oak Resources        Pt. SW/4 & SE/4 6-5-5
                                                                                               Option was with
     Easement          7/24/2008   Land, LLC to Oeneus LLC   Hamilton County IL containing                                                          Owned         Yes
                                                                                               Larry Myers who
                                      d/b/a SAVATRAN                  11.45 acres
                                                                                                sold to White
                                                                                                     Oak.

                                                                                               HC-0004 Taded
                                                                                                65.63 acres and




                                                                                                                            Doc 228
                                                                                               8.73 acres of the
                                                                                               W/2 NW/4 28-5-
                                                                  Pt. W/2 NW/4 28-5-5             5 to Clark.
                                   Charles R. Moore & Nani
                                                             containing 3 acres more or Less   Traded 137 acres




                                                                                                        Filed 04/01/20 Entered 04/01/20 23:45:34
  Warranty Deed        2/4/2008    Sue Moore to Oeneus LLC                                                                                          Owned         Yes
                                                             Pt. SWNE 29-5-5 containing 13      in NE/4 29-5-5
                                    d/b/a SAVATRAN LLC
                                                                   acres more or less.         Hamilton Co. IL
                                                                                                   to Burris.




                                                                                                                 Pg 676 of 1005
                                                                                                  Remaining
                                                                                               property for wet
                                                                                               lands mitigation.

                                     David Bert Lemke &
                                                                Pt. N/2 SE/4 1-T5S-R5E
                                     Shirley K. Lemke to                                       HC-0005 Bk 215
     Easement          9/24/2009                               Hamilton Co. IL containing                                                           Owned         Yes
                                      Oeneus LLC d/b/a                                             Pg 801
                                                                        10.16 ac
                                      SAVATRAN LLC




                                                                                                                            Main Docum
Description/Title of                                                                              Recording                                         Owned      Subject to
                         Date               Parties                  Legal Description
    Document                                                                                     Information                                       or Leased   Mortgage

                                   Terri S. Irvin, Successor
                                                                                               HC-0006 Bk 273
                                  Trustee to the Kenneth C.    SW NW; NW SW 1-T5S-R5E;




                                                                                                                            Case 20-41308
                                                                                                Pg 22 Traded
                                  Myers and Eula P. Myers       40 acres within E/2 NE/4 and
  Warranty Deed        12/19/2007                                                                part of this                                       Owned         Yes
                                  Revocable Trust to Oeneus        E/2 NE/4 11-T5S-R5E
                                                                                                 property to
                                   LLC d/b/a SAVATRAN                  Hamilton Co IL
                                                                                               Kenneth Willis.
                                              LLC

                                                                                               HC-0008 Bk 273
                                    Grover C. Galloway and                                     Pg 812 6.10 acres




                                                                                                                            Doc 228
                                                               W/2 SWSE; and E/2 SW/4 3-
                                    Mildred F. Galloway to                                       used for rail.
  Warranty Deed        5/28/2008                                T5S-R5E Hamilton Co IL                                                              Owned         Yes
                                      Oeneus LLC d/b/a                                             Farming
                                                                  containing 100 acres
                                      SAVATRAN LLC                                             agreement Kenny
                                                                                                    Waier.




                                                                                                        Filed 04/01/20 Entered 04/01/20 23:45:34
                                      Kenneth P. Willis &
 Special Warranty                     Wilma June Willis to     South 5 acres of NESE 2-T5S-    HC-0011 Bk 273
                       4/21/2008                                                                                                                    Owned         Yes




                                                                                                                 Pg 677 of 1005
      Deed                             Oeneus LLC d/b/a            R5E Hamilton Co. IL             Pg614
                                         SAVATRAN

                                      Wilma June Willis to        Pt. NW SE 3-T5S-R5E
                                                                                               HC-0012 Bk 273
  Warranty Deed        2/28/2008       Oeneus LLC d/b/a        Hamilton County IL containing                                                        Owned         Yes
                                                                                                   Pg 321
                                       SAVATRAN LLC                     7.02 acres

                                     Garry R. Heil & Karla       Pt. W/2 SW 16-T5S-R5E
                                                                                               HC-0014 Bk216
     Easement          11/3/2008    Heil to Oeneus LLC d/b/a    Hamilton Co. IL containing                                                          Owned         Yes
                                                                                                  Pg 221
                                          SAVATRAN                     10.08 acres




                                                                                                                            Main Docum
Description/Title of                                                                              Recording                                          Owned      Subject to
                         Date              Parties                  Legal Description
    Document                                                                                     Information                                        or Leased   Mortgage

                                                                                               HC-0015 Bk 274
                                    David Willett & Robin     Undivided 1/2 interest pt SE/4
                                                                                                Pg 445 Willett




                                                                                                                             Case 20-41308
  Warranty Deed        9/15/2009    Willett to Oeneus LLC     9-T5S-R5E Hamilton Co. IL                                                              Owned         Yes
                                                                                                 retained first
                                     d/b/a SAVATRAN               containing 40 acres
                                                                                               right of refusal.

                                                                                               HC-0016 Bk 274
                                                                                                Pg 535 The rail
                                                                                               line goes through
                                     Rickey L. Denham to
                                                              Pt. SE/4 9-T5S-R5E Hamilton        Mr. Denham's




                                                                                                                             Doc 228
  Warranty Deed        9/30/2008      Oeneus LLC d/b/a                                                                                               Owned         Yes
                                                               Co. IL containing 3.36 acres    residence we had
                                      SAVATRAN LLC
                                                                                                 to replace the
                                                                                                 residence and
                                                                                                      barn.




                                                                                                         Filed 04/01/20 Entered 04/01/20 23:45:34
                                   Melinda Hunter to Oeneus    Undivided 1/5 interest to pt    HC-0017 Bk 273
  Warranty Deed        2/5/2008    LLC d/b/a SAVATRAN         NW SE 3-T5S-R5E Hamilton          Pg 290 Bennett                                       Owned         Yes




                                                                                                                  Pg 678 of 1005
                                            LLC                Co. IL containing 7 acres.           Heirs.

                                                                                               HC-0018 Bk 273
                                                                                                Pg 293 Bennett
                                                                                                Heirs. We deed
                                   Joyce Annette Medley to    Undivided 1/20 interest to pt     her oil and gas
  Warranty Deed        2/4/2008       Oeneus LLC d/b/a        NW SE 3-T5S-R5E Hamilton          back Quitclaim                                       Owned         Yes
                                      SAVATRAN LLC            Co. IL containing 7.02 acres      Deed 273/478
                                                                                                  We did not
                                                                                               option the oil and
                                                                                                      gas.




                                                                                                                             Main Docum
Description/Title of                                                                                Recording                                         Owned      Subject to
                         Date               Parties                  Legal Description
    Document                                                                                       Information                                       or Leased   Mortgage

                                                               Pt. SW/4 31-5-5 & pt NW/4 6-     HC-0019 Bk 275
                                      Hobart J. Campbell &     T5S-R5E containing 9.27 acres;   Pg 506 Both rail




                                                                                                                              Case 20-41308
                                      Helen B. Campbell to          Pt. SW/4 31-T5S-R5E         right of way and
  Warranty Deed         5/7/2009                                                                                                                      Owned         Yes
                                       Oeneus LLC d/b/a        containing 1.84 acres; Pt NW/4    extra footage at
                                       SAVATRAN LLC              6-T5S-R5E containing 1.28      Macedonia road
                                                                    acres Hamilton Co. IL           crossing.

                                                                                                     HC-0020
                                     Daniel R. Tennyson to       Pt. NWSE 6-T5S-R6E 3.21        Retained only rail




                                                                                                                              Doc 228
  Warranty Deed        10/10/2006     Oeneus LLC d/b/a              acres Hamilton Co. IL          right of way                                       Owned         Yes
                                      SAVATRAN LLC                        270-595               traded remainder
                                                                                                     to Kirsch.




                                                                                                          Filed 04/01/20 Entered 04/01/20 23:45:34
                                       Oeneus LLC d/b/a                                         HC-0020 Bk 270
 Special Warranty                                              Pt. NEWS 6-T5S-R6E 13.003
                       05/052009    SAVATRAN LLC to Alan                                         Pg 595 Portion                                       Owned         Yes
      Deed                                                         acres Hamilton Co. IL
                                    Kirsch and Denise Kirsch                                    traded to Kirsch.




                                                                                                                   Pg 679 of 1005
                                    Wendell Myers & Judith         Pt. NESW 1-T5S-R5E           HC-0021 Bk 216
     Easement          2/17/2009     Myers to Oeneus LLC         Hamilton Co. IL containing     Pg 654 Rail right                                     Owned         Yes
                                    d/b/a SAVATRAN LLC                     5.37                 of way easement

                                      Marilyn Ann Lynn to      Undivided 1/20 interest to pt    HC-0022 Bk 273
  Warranty Deed         2/5/2008       Oeneus LLC d/b/a        NW SE 3-T5S-R5E Hamilton          Pg 287 Bennett                                       Owned         Yes
                                       SAVATRAN LLC            Co. IL containing 7.02 acres          Heirs




                                                                                                                              Main Docum
Description/Title of                                                                            Recording                                         Owned      Subject to
                         Date               Parties               Legal Description
    Document                                                                                   Information                                       or Leased   Mortgage

                                                                                             HC-0023 Bk 274
                                                                                              Pg 667 Bennett




                                                                                                                          Case 20-41308
                                                                                                Heirs; Mr.
                                                                                              Bennett refused
                                     Roy Dean Bennett to      Undivided 1/5 interest to pt
                                                                                             to close we filed
  Warranty Deed        10/25/2008     Oeneus LLC d/b/a       NW SE 3-T5S-R5E Hamilton                                                             Owned         Yes
                                                                                                  Specific
                                      SAVATRAN LLC            Co. IL containing 7 acres.
                                                                                               Performance
                                                                                              Complaint Mr.




                                                                                                                          Doc 228
                                                                                               Bennett then
                                                                                             decided to close.

                                                                                             HC-0024 Bk 273
                                                                                             Pg. 342 Bennett




                                                                                                      Filed 04/01/20 Entered 04/01/20 23:45:34
                                    Mary Ellen Tennyson to    Undivided 1/5 interest to pt
                                                                                               Heirs/ Mrs.
  Warranty Deed        2/20/2008      Oeneus LLC d/b/a       NW SE 3-T5S-R5E Hamilton                                                             Owned         Yes
                                                                                              Bennett has the
                                     SAVATRAN LLC             Co. IL containing 7 acres.
                                                                                                option to




                                                                                                               Pg 680 of 1005
                                                                                               repurchase.

                                                                                             HC-0025 Bk 273
                                                                                             Pg. 318 Bennett
                                      Robert L Bennett to     Undivided 1/5 interest to pt
                                                                                                Heirs/ Mr.
  Warranty Deed        2/20/2008      Oeneus LLC d/b/a       NW SE 3-T5S-R5E Hamilton                                                             Owned         Yes
                                                                                              Bennett has the
                                      SAVATRAN LLC            Co. IL containing 7 acres.
                                                                                                option to
                                                                                               repurchase.

                                      Joseph Rexing &        22.68 acres all in Township 5   HC-0027 Bk 276
  Warranty Deed        12/11/2009                                                                                                                 Owned         Yes
                                     Liudmyla Rexing to      S. Range 5 E Hamilton Co IL      Pg 628 Mr.




                                                                                                                          Main Docum
Description/Title of                                                                            Recording                                          Owned      Subject to
                         Date               Parties                Legal Description
    Document                                                                                   Information                                        or Leased   Mortgage

                                       Oeneus LLC d/b/a                                       Rexing Refused
                                       SAVATRAN LLC                                          to close filed suit




                                                                                                                           Case 20-41308
                                                                                              forced to close
                                                                                                    etc.

                                                                                             HC-0027 Bk Pg
                                      Oeneus LLC d/b/a       Pt. E/2 SW & pt. SENW of 20-
 Special Warranty                                                                              Remainder of
                       12/11/2009    SAVATRAN LLC to           T5S-R5E Hamilton Co. IL                                                             Owned         Yes
      Deed                                                                                    Judith Gregory
                                       Joseph Rexing             containing 112.13 acres
                                                                                             traded to Rexing.




                                                                                                                           Doc 228
                                                                                             HC-0028 Bk 271
                                                                                              Pg 93 Retained
                                                                                             only rail right of
                                                             Surface only pt W/2 NW and N




                                                                                                       Filed 04/01/20 Entered 04/01/20 23:45:34
                                     Betty Gibbs to Oeneus                                      way traded
                                                              10 Ac NWSW 10-T5S-R5E
  Warranty Deed        2/14/2007    LLC d/b/a SAVATRAN                                         remaining to                                        Owned         Yes
                                                              Hamilton Co. IL containing
                                             LLC                                               Alan Kirsch
                                                                      11.83 acres




                                                                                                                Pg 681 of 1005
                                                                                             Special Warranty
                                                                                             Deed Bk. 275 Pg
                                                                                                   503

                                                                                             HC-0029 Bk 212
                                    Jim Holms & Ruth Holms   Pt. SW/4 & pt. W/2 SE/ 2-T5S-     Pg 209 Mr.
     Easement          11/28/2006     to Oeneus LLC d/b/a         R5E Hamilton Co. IL         Holms has the                                        Owned         Yes
                                       SAVATRAN LLC               containing 13.17 acres      right to put a
                                                                                              portion of his
                                                                                              property to us




                                                                                                                           Main Docum
Description/Title of                                                                                  Recording                                        Owned      Subject to
                        Date                Parties                    Legal Description
    Document                                                                                         Information                                      or Leased   Mortgage

                                                                                                   upon completion
                                                                                                      of the rail.




                                                                                                                               Case 20-41308
                                                                                                   HC-0030 Bk 274
                                                                                                    Pg 401 Kenny
                                     Judith A. Peters and
                                                                 Undivided 1/2 interest in South    Waier has 10
                                     Charles W. Peters to
  Warranty Deed        9/5/2009                                  28.25 acres of W/2 SW 3-T5S-        year farming                                      Owned         Yes
                                      Oeneus LLC d/b/a
                                                                     R5E Hamilton Co. IL              lease. Must




                                                                                                                               Doc 228
                                      SAVATRAN LLC
                                                                                                    relocate RLC
                                                                                                     water main.

                                  Jerry L. Stiverson; Paula J.                                     HC-0032 Bk 274




                                                                                                           Filed 04/01/20 Entered 04/01/20 23:45:34
                                    Stiverson as individuals                                        Pg 463 Kenny
                                                                 Undivided 1/2 interest in South
                                    and as co-trustees of the                                      Waier has 10 yr
  Warranty Deed        9/3/2009                                  28.25 acres of W/2 SW 3-T5S-                                                          Owned         Yes
                                   Paula J Stiverson Trust to                                       farming lease.
                                                                     R5E Hamilton Co. IL




                                                                                                                    Pg 682 of 1005
                                       Oeneus LLC d/b/a                                             Must relocate
                                       SAVATRAN LLC                                                RLC water main.

                                                                                                   HC-0033 Bk 274
                                   Michael Hutchcraft and
                                                                  Undivided 1/2 interest in pt      Pg 412 Deed
Corrected Warranty                 Melissa Hutchcraft to
                       9/5/2008                                  SE/4 of 9-T5S-R5E containing        Corrected to                                      Owned         Yes
       Deed                          Oeneus LLC d/b/a
                                                                   40 acres Hamilton Co IL         waive homestead
                                    SAVATRAN LLC
                                                                                                        rights.




                                                                                                                               Main Docum
Description/Title of                                                                              Recording                                        Owned      Subject to
                         Date              Parties                  Legal Description
    Document                                                                                     Information                                      or Leased   Mortgage

                                                                                               HC-0034 Bk 271
                                                                                                 Pg 494 Rail




                                                                                                                           Case 20-41308
                                                                                                 design went
                                                                                                 through Ms.
                                                                                                Dennis house;
                                                                                               house purchased
                                   Laura Dennis f/k/a Laura
                                                              Pt NW NW 21-T5s-R5E being         and moved by
  Warranty Deed        5/17/2007   Lane to Oeneus LLC d/b/a                                                                                        Owned         Yes
                                                              300ft x 160ft. Hamilton Co. IL   Garry Heil. 0.17
                                         SAVATRAN




                                                                                                                           Doc 228
                                                                                                 acres of this
                                                                                                 property was
                                                                                                 conveyed to
                                                                                               Dennis Smith by




                                                                                                       Filed 04/01/20 Entered 04/01/20 23:45:34
                                                                                               Special Warranty
                                                                                                Deed 275/537

                                    Katherine McRoy f/k/a




                                                                                                                Pg 683 of 1005
                                   Katherine Smith; Donald
                                                              Pt. NW NW & Pt. NENW 21-
                                   McRoy; Dennis L. Smith                                      HC-0035 Bk275
  Warranty Deed        5/8/2009                               T5S-R5E 3.37 acres Hamilton                                                          Owned         Yes
                                     and Judy A. Smith to                                         Pg 541
                                                                        Co. IL
                                      Oeneus LLC d/b/a
                                      SAVATRAN LLC

                                   Michael D. Burris & Tina   Pt. SW/4 21 & Pt. SW NW 21-
                                                                                               HC-0039 Bk 274
  Warranty Deed        7/30/2008    Burris to Oeneus LLC      T5S-R5E Hamilton County IL                                                           Owned         Yes
                                                                                                   Pg237
                                   d/b/a SAVATRAN LLC              containing 15.72 acres




                                                                                                                           Main Docum
Description/Title of                                                                              Recording                                         Owned      Subject to
                         Date              Parties                  Legal Description
    Document                                                                                     Information                                       or Leased   Mortgage

                                                                                               HC-0039 Bk 274
                                      Oeneus LLC d/b/a
                                                                                               Pg234 Traded pt




                                                                                                                            Case 20-41308
 Special Warranty                   SAVATRAN LLC to           Pt. NE/4 29-T5S-R5E Hamilton
                       7/30/2008                                                                Charlie Moore                                       Owned         Yes
      Deed                         Michael D. Burris & Tina   Co. IL containing 136.17 acres
                                                                                                property HC-
                                            Burris
                                                                                                    0004

                                                                                               HC-0040 274 Pg
                                                                                                   715 Deed
                                                                                                 restriction of




                                                                                                                            Doc 228
                                    Robert J. Gray & Denise                                     single family
                                                              Pt. SE/4 9-T5S-R5E Hamilton
  Warranty Deed        11/6/2008   Gray to Oeneus LLC d/b/a                                     residence and                                       Owned         Yes
                                                                  Co. IL containing 51.93
                                      SAVATRAN LLC                                              grain farming
                                                                                               only Mr. Gray's




                                                                                                        Filed 04/01/20 Entered 04/01/20 23:45:34
                                                                                                son has a first
                                                                                               right of refusal.




                                                                                                                 Pg 684 of 1005
                                     Charles M. Bowers &
                                                               NE SE; W/2 SE NE 30-T5S-
                                   Tammy Bowers to Oeneus                                      HC-0041 Bk 272
  Warranty Deed        7/26/2007                                 R5E Hamilton Co. IL                                                                Owned         Yes
                                    LLC d/b/a SAVATRAN                                              Pg 1
                                                                  containing 60 acres.
                                             LLC

                                     Jeffrey A. Lueke and
                                                               Pt. NW/4 16-T5S-R5E 2.65
                                     Michele L. Lueke to                                       HC-0042 Bk 274
  Warranty Deed        10/2/2008                               acres; PT SWSE 9-T5S-R5E                                                             Owned         Yes
                                      Oeneus LLC d/b/a                                             Pg 587
                                                                0.02 acre Hamilton Co. IL
                                      SAVATRAN LLC




                                                                                                                            Main Docum
Description/Title of                                                                             Recording                                          Owned      Subject to
                         Date              Parties                  Legal Description
    Document                                                                                    Information                                        or Leased   Mortgage

                                     Jeffrey A. Lueke and
                                     Michele L. Lueke to       Pt. NW/4 16-T5S-R5E 8.64         HC-0042 Bk




                                                                                                                            Case 20-41308
  Warranty Deed        11/6/2007                                                                                                                    Owned         Yes
                                      Oeneus LLC d/b/a            acres Hamilton Co. IL          272/710
                                      SAVATRAN LLC

                                     Alan Kirsch & Denise      Pt. NE/4 6-T5S-R6E & PT
                                                                                                  HC-0043
  Warranty Deed        5/5/2009      Kirsch to Oeneus LLC     SESE 31-T4S-R6E 2.61 acres                                                            Owned         Yes
                                                                                                 Bk275/534
                                    d/b/a SAVATRAN LLC              Hamilton Co. IL




                                                                                                                            Doc 228
                                                                8.33 acres pt SESE and E/2
                                     Alan Kirsch & Denise     SWSE 9-T5S-R5E; 7.36 acres
                                                                                                HC-0043 Bk
     Easement          5/5/2009      Kirsch to Oeneus LLC      pt NE/4 6-T5S-R6E & SESE                                                             Owned         No
                                                                                                 217/300
                                    d/b/a SAVATRAN LLC        31-T4S-R6E; 2.70 ac pt NE 6-




                                                                                                        Filed 04/01/20 Entered 04/01/20 23:45:34
                                                                T5S-R6E Hamilton Co. IL

                                                                Pt. W/2 NW/4 10-T5S-R5E         HC-0043 Bk
                                      Oeneus LLC d/b/a         Hamilton Co. IL containing     275/503 (Traded




                                                                                                                 Pg 685 of 1005
 Special Warranty
                       5/5/2009    SAVATRAN LLC to Alan       11.51 & Pt W/2 NW/4 10-T5S-     the Betty Gibbs                                       Owned         Yes
      Deed
                                   Kirsch and Denise Kirsch     R5E containing 66.12 acres    property less rail
                                                                     Hamilton Co. IL             to Kirsch)

                                                                                                HC-0043 Bk
                                                                                              275/499 (Traded
                                      Oeneus LLC d/b/a           Pt. NW SE 6-T5S-R6E
 Special Warranty                                                                             the remainder of
                       5/5/2009    SAVATRAN LLC to Alan       Hamilton County IL containing                                                         Owned         Yes
      Deed                                                                                      the Tennyson
                                   Kirsch and Denise Kirsch            13.03 acres;
                                                                                                 property to
                                                                                                   Kirsch)




                                                                                                                            Main Docum
Description/Title of                                                                            Recording                                         Owned      Subject to
                         Date              Parties                 Legal Description
    Document                                                                                   Information                                       or Leased   Mortgage

                                                                                                HC-0044
                                                                                             274/711 (Kenny




                                                                                                                          Case 20-41308
                                    Kenneth A. Waier a/k/a
                                                             Pt SWSW & NWSW 32-T4S-          Waier has 10 yr
                                   Kenneth Waier to Oeneus
  Warranty Deed        11/6/2008                                  R6E Hamilton Co IL             farming                                          Owned         Yes
                                   LLC d/b/a SAVATRAN
                                                                 containing 18.17 acres        agreement
                                            LLC
                                                                                                Galloway
                                                                                                property)

                                                                                               HC-0045 Bk




                                                                                                                          Doc 228
                                                                                             275/462 Rail line
                                     James Lee Maller to                                     went through Mr.
                                                             Pt SW/4 31-T5S-R5E Hamilton
  Warranty Deed        4/26/2009      Oeneus LLC d/b/a                                        Mallers house                                       Owned         Yes
                                                               Co IL containing 5.11 acres
                                      SAVATRAN LLC                                            and barn both




                                                                                                      Filed 04/01/20 Entered 04/01/20 23:45:34
                                                                                                have been
                                                                                                removed.




                                                                                                               Pg 686 of 1005
                                                                                              HC-0045 Bk
                                                                                               2009-1998
                                                                                               Property to
                                     Oeneus LLC d/b/a           Pt. NE SE 36-T5S-R5E
 Special Warranty                                                                              purchase by
                       4/26/2009    SAVATRAN LLC to           Franklin Co IL containing 5                                                         Owned         Yes
      Deed                                                                                     SAVATAN
                                     James Lee Maller                    acres
                                                                                              2009-1206 to
                                                                                               replace Mr.
                                                                                             Mallers homesite.




                                                                                                                          Main Docum
Description/Title of                                                                             Recording                                          Owned      Subject to
                         Date               Parties                  Legal Description
    Document                                                                                    Information                                        or Leased   Mortgage

                                     Norman D. Melvin &
                                                                 Pt. S/2 SE/4 20-T5S-R5E
                                     Patricia K. Melvin to                                      HC-0046 Bk




                                                                                                                            Case 20-41308
  Warranty Deed        3/25/2009                                 Hamilton Co IL containing                                                          Owned         Yes
                                      Oeneus LLC d/b/a                                           275/310
                                                                         12.14 acres
                                      SAVATRAN LLC

                                   Gary Kearnery a/k/a Gary
                                                                Pt. SWSW 20-T5S-R5E & pt
                                    W. Kearnery to Oeneus                                         HC-0047
  Warranty Deed        4/3/2009                                NWNW 29-T5S-R5E Hamilton                                                             Owned         Yes
                                   LLC d/b/a SAVATRAN                                            Bk275/362
                                                                  Co. IL containing 5acres
                                            LLC




                                                                                                                            Doc 228
                                                                                                  HC-0049
                                                                                               Bk274/873 We
                                    Dale Miller & Denise        Pt. E/2 NW/4 31-T5S-R5E
                                                                                               agreed by letter
  Warranty Deed        12/8/2008    Miller to Oeneus LLC        Hamilton Co. IL containing                                                          Owned         Yes




                                                                                                        Filed 04/01/20 Entered 04/01/20 23:45:34
                                                                                               to relocate Mr.
                                   d/b/a SAVATRAN LLC                    7.51 acres
                                                                                                Millers water
                                                                                                     line.




                                                                                                                 Pg 687 of 1005
                                                                                                HC-0050 Bk
                                                                                                 275/109 We
                                                                                               agreed to build
                                   John M. Zelhart to Oeneus
                                                               Pt. NE/4 30-T5S-R5E Hamilton     him an access
  Warranty Deed        2/6/2009     LLC d/b/a SAVATRAN                                                                                              Owned         Yes
                                                                   Co IL containing 1.0 acre   road and gave
                                             LLC
                                                                                                him perpetual
                                                                                                 access to his
                                                                                                   property.




                                                                                                                            Main Docum
Description/Title of                                                                                Recording                                          Owned      Subject to
                         Date                Parties                   Legal Description
    Document                                                                                       Information                                        or Leased   Mortgage

                                      Donald G. Zelhart &
                                                                                                    HC-0051 Bk
                                    Margaret R. Zelhart as co-




                                                                                                                               Case 20-41308
                                                                  Undivided 1/2 interest to pt    275/663 Agreed
                                     Trustees of Donald G.
  Warranty Deed         3/6/2009                                  NE/4 30-T5S-R5E Hamilton        to gravel access                                     Owned         Yes
                                     Zelhart Living Trust to
                                                                  Co IL containing 4.11 acres          road &
                                       Oeneus LLC d/b/a
                                                                                                 repurchase rights
                                       SAVATRAN LLC

                                                                                                   HC-0053 Bk
                                      Judith G. Gregory to                                        274/52 Traded




                                                                                                                               Doc 228
                                                                 6 acres pt SESW 20-T5S-R5E
  Warranty Deed        6/24/2008       Oeneus LLC d/b/a                                          112 acres of this                                     Owned         Yes
                                                                        Hamilton Co IL
                                       SAVATRAN LLC                                               property to Joe
                                                                                                     Rexing.




                                                                                                           Filed 04/01/20 Entered 04/01/20 23:45:34
                                                                                                    HC-0056
                                       David Williams &                                            Bk274/141
                                      Brandee Williams to          Pt. NWNW 29-T5S-R5E           Purchased house
  Warranty Deed        7/16/2008                                                                                                                       Owned         Yes




                                                                                                                    Pg 688 of 1005
                                       Oeneus LLC d/b/a            Hamilton Co IL 0.65 acres        rail going
                                       SAVATRAN LLC                                              through garage.
                                                                                                  House rented.

                                                                                                   HC-0058 Bk
                                                                                                   274/664 Mr.
                                     Alva James Bennett to       Undivided 1/20th Pt NW SE 3-
                                                                                                  Bennett would
  Warranty Deed        10/24/2008     Oeneus LLC d/b/a            T5S-R5E Hamilton Co. IL                                                              Owned         Yes
                                                                                                 not close. Filed
                                      SAVATRAN LLC                   containing 7.02 acres
                                                                                                 partition suite to
                                                                                                  force closing.




                                                                                                                               Main Docum
Description/Title of                                                                                 Recording                                          Owned      Subject to
                         Date                Parties                  Legal Description
    Document                                                                                        Information                                        or Leased   Mortgage

                                                                                                     HC-0059 Bk
                                    Wanda G. Downs & Cecil      Undivided 1/2 interest pt NE/4     275/667 Agreed




                                                                                                                                Case 20-41308
  Warranty Deed         3/7/2009    L Downs to Oeneus LLC       30-T5S-R5E Hamilton Co IL          to gravel access                                     Owned         Yes
                                    d/b/a SAVATRAN LLC              containing 4.11 acres               road &
                                                                                                  repurchase rights.

                                     Robert A. Williams &                                          FC-0023 2008-
Corrected Warranty                   Barbara A. Williams to     Pt. SENE 1-T6S-R4E Franklin       6300 purchased
                       11/17/2008                                                                                                                       Owned         Yes
       Deed                            Oeneus LLC d/b/a             Co IL containing 4.474        house; house has




                                                                                                                                Doc 228
                                      SAVATRAN LLC                                                 been removed.

                                    James Gregory Payne, as
                                    trustee of James Gregory    Pt. E/2 NE 11-T6S-R4E & pt
                                                                                                   FC-0024 2008-




                                                                                                            Filed 04/01/20 Entered 04/01/20 23:45:34
  Warranty Deed        10/10/2008     Payne Trust to Oeneus     W/2 NW 12-T6S-R4E Franklin                                                              Owned         Yes
                                                                                                       5818
                                    LLC d/b/a SAVATRAN          Co. IL containing 15.33 acres
                                               LLC




                                                                                                                     Pg 689 of 1005
                                     James Gregory Payne, as
                                                                   Pt. SW NE 11-T6S-R4E
                                      trustee of Zulene Payne                                     FC-0025 2008-
  Warranty Deed        10/10/2008                               Franklin Co. IL containing 6.44                                                         Owned         Yes
                                    Trust to Oeneus LLC d/b/a                                         5817
                                                                             acres
                                         SAVATRAN LLC

                                    Reba L. Stokes Revocable
                                                                Pt. SW NE; NWSE;SWSE &
                                     Living Trust by Reba L.
                                                                 SESW 1-T6S-R4E NWNE;              FC-0029 2008-
  Warranty Deed        1/11/2008      Stokes & Kenneth D.                                                                                               Owned         Yes
                                                                NENW; N3/4 SE NW 12-T6S-               0603
                                      Stokes to Oeneus LLC
                                                                   R4E Franklin County IL
                                     d/b/a SAVATRAN LLC




                                                                                                                                Main Docum
Description/Title of                                                                               Recording                                        Owned      Subject to
                         Date                Parties                  Legal Description
    Document                                                                                      Information                                      or Leased   Mortgage

                                    Morris R. Clark & Karan
                                                                NE NE 1-T6S-R4E Franklin Co     FC-0031 2008-
  Warranty Deed         3/6/2008    S. Clark to Oeneus LLC                                                                                          Owned         Yes




                                                                                                                            Case 20-41308
                                                                        IL 40 acres                 1248
                                    d/b/a SAVATRAN LLC

                                    Morris R. Clark & Karan
                                                                 0.685 of the SE SE 36 T5S-     FC-0031 2008-
     Easement           3/6/2008    S. Clark to Oeneus LLC                                                                                          Owned         Yes
                                                                     R4E Franklin Co IL             1249
                                    d/b/a SAVATRAN LLC

                                                                                                    FC-0031




                                                                                                                            Doc 228
                                      Oeneus LLC d/b/a/                                            Bk273/361
                                                                 Pt. W/2 NW/4 28 T5S-R5E
 Special Warranty                    SAVATRAN LLC to                                            Traded remained
                        3/6/2008                                 Hamilton Co. IL containing                                                         Owned         Yes
      Deed                          Morris R. Clark & Karan                                     of Charlie Moore
                                                                         74.36 acres
                                            S. Clark                                               HC-0004 to




                                                                                                        Filed 04/01/20 Entered 04/01/20 23:45:34
                                                                                                     Clarks.

                                    Louise Harrison to Oeneus   Pt. NW corner SE NE 1-T6S-         FC-0134
                                                                                                  #2008-1877




                                                                                                                 Pg 690 of 1005
 Quit Claim Deed        4/7/2008     LLC d/b/a SAVATRAN         R4E Franklin Co IL containing                                                       Owned         Yes
                                              LLC                           1.26                 Rec. 4/8/2008

                                    Louise Harrison to Oeneus                                      FC-0134
                                                                Pt. SE NE 1-T6S-R4E Franklin      #2009-5371
 Quit Claim Deed       10/28/2009    LLC d/b/a SAVATRAN                                                                                             Owned         Yes
                                                                            Co IL
                                              LLC                                               Rec. 11/2/2009

    POND CREEK TO SUGAR CAMP CONNECTOR
                   ROUTE




                                                                                                                            Main Docum
Description/Title of                                                                            Recording                                         Owned      Subject to
                         Date               Parties                 Legal Description
    Document                                                                                   Information                                       or Leased   Mortgage

                                                                                                FC-0086
                                                                                              Purchase rail




                                                                                                                          Case 20-41308
 Recording Memo                      John H. Wiegand and                                      right of way.
                                                               Pt. W/2 NE 10; Pt. NE NE10
  and Option to        9/14/2007      Oeneus LLC d/b/a                                                                                            Owned         No
                                                                T7S; R4E Franklin Co. IL
    Purchase                          SAVATRAN LLC                                            #2007-5356

                                                                                             Rec. 9/21/2007

                                                                                                 FC-0086




                                                                                                                          Doc 228
                                                                                               Purchase rail
 Recording Memo                      John H. Wiegand and                                    right of way opt 2
                                                               Pt. W/2 NE 10; Pt. NE NE10       or plan B.
  and Option to        1/15/2008      Oeneus LLC d/b/a                                                                                            Owned         No
                                                                T7S; R4E Franklin Co. IL
    Purchase                          SAVATRAN LLC
                                                                                              #2008-0338




                                                                                                      Filed 04/01/20 Entered 04/01/20 23:45:34
                                                                                             Rec. 1/17/2008

                                                                                                FC-0087




                                                                                                               Pg 691 of 1005
                                     Donald L. Bennett and                                    Purchase rail
 Recording Memo                                                                               right of way.
                                   Sharla Bennett and Oeneus   Pt. W/2 NW 14; Pt NW SW 14
  and Option to        9/18/2007                                                                                                                  Owned         No
                                    LLC d/b/a SAVATRAN            T6S R4E Franklin Co. IL
    Purchase                                                                                  #2007-5293
                                             LLC
                                                                                             Rec. 9/19/2007

 Recording Memo                                                                                 FC-0106
                                   Daniel E. Harmon & Terri      Pt. W/2 NW 2 T7S R4E
  and Option to        10/8/2007                                                              Purchase rail                                       Owned         No
                                    J. Harmon and Oeneus             Franklin Co. IL
    Purchase                                                                                  right of way.




                                                                                                                          Main Docum
Description/Title of                                                                            Recording                                          Owned      Subject to
                         Date               Parties                Legal Description
    Document                                                                                   Information                                        or Leased   Mortgage

                                     LLC d/b/a SAVATRAN                                        #2007-5836
                                              LLC




                                                                                                                           Case 20-41308
                                                                                             Rec.10/11/2007

                                                                                                 FC-0108
                                      Olen Max Harmon &                                        Purchase rail
 Recording Memo                                                                                right of way.
                                      Becky J Harmon and        Pt. W/2 SW 35 T6S R4E
  and Option to        10/10/2007                                                                                                                  Owned         No
                                       Oeneus LLC d/b/a              Franklin Co IL
    Purchase                                                                                   #2007-5930
                                       SAVATRAN LLC




                                                                                                                           Doc 228
                                                                                             Rec. 10/16/2007

 Recording Memo                      Michael Pike & Brenda                                       FC-0109
                                                                Pt. SE NE 27 T7S R4E
  and Option to        10/11/2007     Pike and Oeneus LLC                                      Purchase rail                                       Owned         No
                                                                    Franklin Co. IL




                                                                                                       Filed 04/01/20 Entered 04/01/20 23:45:34
    Purchase                         d/b/a SAVATRAN LLC                                        right of way.

                                                                                             FC-110 Purchase
                                     Marion Tow, George M.                                   rail right of way.




                                                                                                                Pg 692 of 1005
 Recording Memo
                                    Tow & Karen L Tow and    Pt. SESE 27 T7S R4E Franklin
  and Option to        10/12/2007                                                                                                                  Owned         No
                                    Oeneus LLC SAVATRAN                 Co. IL                 #2007-5931
    Purchase
                                             LLC
                                                                                             Rec. 10/16/2007

                                    Marion Tow, George M.                                    FC-110 Purchase
 Recording Memo
                                    Tow & Karen L Tow and    Pt. SE SE 22 T7S R4E Franklin    of 12.1 acres in
  and Option to         7/2/2008                                                                                                                   Owned         No
                                      Oeneus LLC d/b/a                   Co. IL              addition to right
    Purchase
                                      SAVATRAN LLC                                                of way.




                                                                                                                           Main Docum
Description/Title of                                                                             Recording                                         Owned      Subject to
                         Date                Parties                 Legal Description
    Document                                                                                    Information                                       or Leased   Mortgage

                                                                                                #2008-3632
                                                                                               Rec. 7/3/2008




                                                                                                                           Case 20-41308
                                                                                                   FC-0111
                                                                                               Purchase of old
                                                                                              rail bed. Hunting
                                    Carlton Heifner and Dixie
                                                                Pt. W/2 SW SW 22-T7S-R4E      Lease to Marion
  Warranty Deed        10/26/2007   Heifner and Oeneus LLC                                                                                         Owned         Yes
                                                                    Franklin Co. IL 6 acres    Tow along rail
                                    d/b/a SAVATRAN LLC
                                                                                                     bed.




                                                                                                                           Doc 228
                                                                                               FC 2007-6200
                                                                                                Rec. 10/29/07

                                                                                                 FC-0112




                                                                                                       Filed 04/01/20 Entered 04/01/20 23:45:34
                                                                                              Purchased house
                                    Andrew C. Julian & Susan
                                                                 Pt.SW SE 10- T7S-R4E         and rail right of
  Warranty Deed        4/25/2008    E. Julian and Oeneus LLC                                                                                       Owned         Yes
                                                                Franklin Co. IL 27.72 acres     way. House
                                     d/b/a SAVATRAN LLC




                                                                                                                Pg 693 of 1005
                                                                                               Rented to Eric
                                                                                                  Smith.

                                                                                                  FC-0113
 Recording Memo                     Gary L. Manis and Sharon                                    Purchase rail
                                                                 Pt. SW NW 26-T6S-R4E
  and Option to        10/15/2007   L. Manis and Oeneus LLC                                     right of way.                                      Owned         No
                                                                 Franklin Co. IL 4.65 acres
    Purchase                         d/b/a SAVATRAN LLC                                        FC 2007-5932
                                                                                               Rec. 10/16/07




                                                                                                                           Main Docum
Description/Title of                                                                                 Recording                                         Owned      Subject to
                         Date                Parties                   Legal Description
    Document                                                                                        Information                                       or Leased   Mortgage

                                                                                                      FC-0114
 Recording Memo                      Eddie Essary and Eliane                                        Purchase rail




                                                                                                                               Case 20-41308
                                                                    Pt. NWSW 2-T7S-R4E
  and Option to        10/19/2007    Essary and Oeneus LLC                                          right of way.                                      Owned         No
                                                                   Franklin Co. IL 2.25 acres
    Purchase                         d/b/a SAVATRAN LLC                                            FC 2007-6078
                                                                                                   Rec. 10/23/07

                                                                                                      FC-0115
                                                                                                    Purchase rail
 Recording Memo                     Cora Jane Taylor & Beth       Pt. S/2 NW 1; Pt.NWSW 11-
                                                                                                  right of way and




                                                                                                                               Doc 228
  and Option to        10/22/2007   Benns and Oeneus LLC         T6S-R4E Franklin Co IL 24.86                                                          Owned         No
                                                                                                  additional acres.
    Purchase                        d/b/a SAVATRAN LLC                       acres
                                                                                                   FC 2007-6252
                                                                                                    Rec. 10/31/07




                                                                                                           Filed 04/01/20 Entered 04/01/20 23:45:34
                                                                                                      FC-0122
                                                                     Pt.NWNE 15 T7S-R4E
 Recording Memo                     David R. Payne & Rhonda                                         Purchase rail
                                                                 containing 9 ac; Pt. NW NW 26
  and Option to        11/9/2007     Payne and Oeneus d/b/a                                         right of way.                                      Owned         No
                                                                 T7S-R4E containing 4.64 acres




                                                                                                                    Pg 694 of 1005
    Purchase                           SAVATRAN LLC                                                FC 2007-6524
                                                                         Franklin Co. IL
                                                                                                   Rec. 11/14/07

                                       Robert G. Buntin and
                                       Marjorie A. Buntin as                                         FC-0123
                                     Trustees of the Robert G.     Pt. SW/4 23-6-4 Franklin
                                                                                                   Purchase rail
                                      Buntin and Marjorie A.     County IL 7.07 acres; Pt. NW/4
  Warranty Deed        4/14/2008                                                                   right of way.                                       Owned         Yes
                                    Buntin Joint Living Trust,    23 and Pt. SW/14 T64-R4E
                                                                                                  FC-2008-2074
                                      and Michael M. Buntin         Franklin Co 16.14 acres
                                                                                                  Rec. 4/17/2008
                                       and Brenda Buntin as
                                    Trustees of the Michael M.




                                                                                                                               Main Docum
Description/Title of                                                                            Recording                                         Owned      Subject to
                         Date               Parties                Legal Description
    Document                                                                                   Information                                       or Leased   Mortgage

                                    Buntin and Brenda Buntin
                                     Joint Living Trust and




                                                                                                                          Case 20-41308
                                       Oeneus LLC d/b/a
                                          SAVATRAN




                                                                                                 FC-0125




                                                                                                                          Doc 228
                                                                                             Purchase of rail
 Recording Memo                     Ruth E. Sweet & Danny                                   right of way. Will
                                                                Pt. W/2 SW 35 T7S R4E
  and Option to        11/12/2007   Sweet and Oeneus LLC                                     plant trees along                                    Owned         No
                                                               Franklin Co. IL 7.48 acres
    Purchase                        d/b/a SAVATRAN LLC                                         right of way




                                                                                                      Filed 04/01/20 Entered 04/01/20 23:45:34
                                                                                              FC-2007-6522
                                                                                              Rec. 11/14/07




                                                                                                               Pg 695 of 1005
                                                                                                FC-0126
                                                                                             Purchase of rail
                                                                                              right of way.
 Recording Memo                     Ruth E. Sweet and Oeneus                                    Purchased
                                                                Pt.SWNW 35 T7S R4E
  and Option to        11/12/2007    LLC d/b/a SAVATRAN                                      modular home                                         Owned         No
                                                               Franklin Co. IL 0.63 acres
    Purchase                                  LLC                                           and then sold and
                                                                                               had moved.
                                                                                             FC 2007-6523
                                                                                              Rec. 11/14/07




                                                                                                                          Main Docum
Description/Title of                                                                                Recording                                         Owned      Subject to
                         Date                Parties                  Legal Description
    Document                                                                                       Information                                       or Leased   Mortgage

                                    James Gregory Payne, as                                         FC-0130
                                     trustee James Gregory       Pt. E/2 SE NW & SW/4 11         Purchase of rail




                                                                                                                              Case 20-41308
  Warranty Deed        4/23/2009    Payne Trust and Oeneus      T6S-R4E Franklin Co. Il 5.83      right of way.                                       Owned         Yes
                                    LLC d/b/a SAVATRAN                      acres                FC 2009-2110
                                               LLC                                                 Rec. 5/4/09

                                                                                                     FC-0131
                                                                                                 Purchase of rail
                                    Ted Lawrence as Trustee                                      right of way and




                                                                                                                              Doc 228
 Recording Memo
                                    of the Lawrence Trust and      Pt. W/2 SW 2 T7S-R4E            isolated land.
  and Option to        11/28/2007                                                                                                                     Owned         No
                                        Oeneus LLC d/b/a          Franklin Co. IL 9.52 acres     Must plant trees
    Purchase
                                        SAVATRAN LLC                                                 along rail
                                                                                                  FC 2007-6806




                                                                                                          Filed 04/01/20 Entered 04/01/20 23:45:34
                                                                                                   Rec. 11/28/07

                                                                                                    FC-0132
                                    Robert Leon McClerren &




                                                                                                                   Pg 696 of 1005
 Recording Memo                                                 Pt. NWSW 35 1.34 acres & Pt.     Purchase of rail
                                     Cynthia McClerren and
  and Option to        11/30/2007                               W/2 NW 35 T7S-R4E Franklin        right of way.                                       Owned         No
                                       Oeneus LLC d/b/a
    Purchase                                                             Co. IL                  FC 2007-6905
                                       SAVATRAN LLC
                                                                                                  Rec.12/4/07

                                                                                                       FC-0132
                                    Robert Leon McClerren &                                         Purchase rail
 Recording Memo
                                    Robert G. McClerren and     Pt. SW/4 & Pt. NW SE 15 T7S      right of way need
  and Option to         9/5/2008                                                                                                                      Owned         No
                                       Oeneus LLC d/b/a         R4E Franklin Co. IL 8.17 acres       to go around
    Purchase
                                       SAVATRAN LLC                                                 Jason Knight.
                                                                                                   FC 2008-5188




                                                                                                                              Main Docum
Description/Title of                                                                              Recording                                         Owned      Subject to
                         Date               Parties                  Legal Description
    Document                                                                                     Information                                       or Leased   Mortgage

                                                                                                Rec. 9/18/08




                                                                                                                            Case 20-41308
                                                                                                   FC-0133
                                    Robert Shane Croslin and
 Recording Memo                                                 pt. NWNW 35 4.53 acres; Pt.      Purchase rail
                                    Jodi Croslin and Oeneus
  and Option to        11/28/2007                               SWSW 26; Pt. NESE 27 4.71        right of way.                                      Owned         No
                                    LLC d/b/a SAVATRAN
    Purchase                                                   acres T7S-R4E Franklin Co IL     FC 2007-6904
                                              LLC
                                                                                                 Rec. 12/4/07




                                                                                                                            Doc 228
                                      Anita Miller, Trustee                                        FC-0136
                                     Anita Miller Revocable                                    Purchase of rail
                                    Living Trust, and Oneida                                   right of way and
                                                                  Pt. S/2 SW 11-T6S-R4E
                                    Ann Murphy as Trustee of                                   DESIGNATED
  Warranty Deed        8/13/2008                                 Franklin Co IL containing                                                          Owned         Yes




                                                                                                        Filed 04/01/20 Entered 04/01/20 23:45:34
                                     the John Robert Miller                                     WET LANDS
                                                                         57.31 acres.
                                     Revocable Living Trust                                         BANK
                                     and Oeneus LLC d/b/a                                       FC 2008-5406




                                                                                                                 Pg 697 of 1005
                                       SAVATRAN LLC                                              Rec. 8/14/08

                                                                                                  FC-0137
                                     Stewart B Hungate and     N/2 NE 27-T7S-4E Franklin Co    Purchase of rail
  Warranty Deed        2/27/2009       Oeneus LLC d/b/a          IL containing 80 acres & a     right of way.                                       Owned         Yes
                                       SAVATRAN LLC              perpetual access easement     FC 2009-1017
                                                                                                Rec. 2/27/09

                                                                                                   FC-0139
 Recording Memo        1/18/2008      R. Ernest Payne &         Pt. W/2 E/2 Section 15 T7S-    Purchase of rail                                     Owned         No
  and Option to                      Dorothy M. Payne and       R4E containing 12 acres; Pt.   right of way and
                                                                                               rail right of way




                                                                                                                            Main Docum
Description/Title of                                                                               Recording                                          Owned      Subject to
                         Date              Parties                  Legal Description
    Document                                                                                      Information                                        or Leased   Mortgage

  Purchase and                        Oeneus LLC d/b/a             NE/4 of 22 T7S-R4E             around Jason
 Amendment One                        SAVATRAN LLC                containing 23.33 acres             Knight.




                                                                                                                              Case 20-41308
                                                                                                 FC-2017-0389
                                                                                                 Rec. 1/18/08

                                                                                                    FC-0142
 Recording Memo                     Amos Clay Ing & Jo Ann       Pt. W/2 SE 10 T7S-R4E           Purchase of rail
  and Option to        2/19/2008   Ing and Oeneus LLC d/b/a   Franklin Co. IL containing 4.64     right of way.                                       Owned         No
    Purchase                           SAVATRAN LLC                        acres                 FC 2008-1101




                                                                                                                              Doc 228
                                                                                                  Rec. 2/28/08

                                                                                                    FC-0145
                                     Donald W. Manis &
 Recording Memo                                                Pt. W/2 NW 35; Pt. W/2 SW         Purchase of rail
                                     Delores J. Manis and




                                                                                                          Filed 04/01/20 Entered 04/01/20 23:45:34
  and Option to        3/5/2008                                26 T6S-R4E Franklin Co IL          right of way.                                       Owned         No
                                      Oeneus LLC d/b/a
    Purchase                                                           18.36 acres.              FC 2008-1225
                                      SAVATRAN LLC
                                                                                                   Rec. 3/5/08




                                                                                                                   Pg 698 of 1005
                                                                                                    FC-0152
                                    Dale Wes Williford &                                        Purchased for rail
                                                              N/2 NWNE 20 ac ±; N 10 ac
                                    Melissa R Williford to                                        loop at Sugar
  Warranty Deed        5/28/2008                              NE NE T6S-R4E Franklin Co                                                               Owned         Yes
                                     Oeneus LLC d/b/a                                                Camp.
                                                                         IL
                                     SAVATRAN LLC                                                FC 2008-2907
                                                                                                  Rec. 5/28/08




                                                                                                                              Main Docum
Description/Title of                                                                               Recording                                         Owned      Subject to
                         Date               Parties                  Legal Description
    Document                                                                                      Information                                       or Leased   Mortgage

                                                                                                   FC-0159
                                                               Pt. NW SW 22-T7S-R4E 4.60
                                                                                                Purchased rail




                                                                                                                             Case 20-41308
                                     Mauris D Kern a/k/a        ac; Pt. NW SW 22 T7S-R4E
                                                                                                 right of way
                                    Mauris Kern and Oeneus      3.86 ac; Pt. S/2 S/2 22 T7S-
  Warranty Deed        11/6/2009                                                                around Jason                                         Owned         Yes
                                    LLC d/b/a SAVATRAN         R4E 39.01 ac; Pt. S/2 S/2 22 &
                                                                                                    Knight.
                                             LLC                NE NW 27 T7S-R4E 57.69
                                                                                                FC 2009-5485
                                                                    acres Franklin Co IL
                                                                                                 Rec. 11/6/09

                                                                                                   FC-0160




                                                                                                                             Doc 228
                                                                                                Purchased rail
                                    Louis S Ison & Rose Ison                                     right of way
                                                                 Pt. W/2 NW 22 T7S-R4E
  Warranty Deed        11/3/2009     and Oeneus LLC d/b/a                                        around Jason                                        Owned         Yes
                                                                 Franklin Co IL 9.26 acres
                                       SAVATRAN LLC                                                 Knight.




                                                                                                         Filed 04/01/20 Entered 04/01/20 23:45:34
                                                                                                FC 2009-6069
                                                                                                Rec. 12/14/09




                                                                                                                  Pg 699 of 1005
                                    Kenneth D. Summers &                                            FC-0161
 Recording Memo                                                Pt. NE SE 22; Pt. NWSW 23
                                    Shelia K Summers and                                          Purchase rail
  and Option to         9/8/2008                               T6S-R4E Franklin Co IL 9.31                                                           Owned         No
                                      Oeneus LLC d/b/a                                          right of way and
    Purchase                                                              acres
                                      SAVATRAN LLC                                                isolated land.

                                                                                                    WC-0106
                                                                Pt. W/2 NW 2-T8S-R4E; Pt.
 Recording Memo                     Irene Wilkas and Oeneus                                       Purchase rail
                                                               NW SW 2 T8S-R4E; Pt. NESE
  and Option to        10/25/2007   LLC d/b/a SAVATRAN                                          right of way and                                     Owned         No
                                                               3 T8S-R4E Williamson County
    Purchase                                  LLC                                                 isolated land.
                                                                      IL 15.73 acres.
                                                                                                    FC 308-59




                                                                                                                             Main Docum
Description/Title of                                                                                Recording                                        Owned      Subject to
                         Date                Parties                   Legal Description
    Document                                                                                       Information                                      or Leased   Mortgage

                                      Central Illinois Public                                     WC-0142 rail
                                      Service d/b/a Ameren         Pt. NW NW 2 T8S-R4E            easement. FC




                                                                                                                             Case 20-41308
     Easement          6/30/2008                                                                                                                     Owned         Yes
                                      CIPS and Oeneus LLC          Williamson Co IL 0.36 ac       312-800 Rec.
                                     d/b/a SAVATRAN LLC                                              7/22/08

SHAWNEETOWN RAIL LINE

                                                                  Pt. S/2 NE & Pt. N/2 SE 20
                                                                                                  SC-0009 Farm
                                    Jeffrey J. Drone & Toni L.   T9S-R7E; W/2 NW 28; E/2 NE




                                                                                                                             Doc 228
                                                                                                  Leased to Jeff
  Warranty Deed         3/1/2007      Drone to Oeneus LLC         29 & access road T9S- R7E                                                          Owned         Yes
                                                                                                 Drone. FC 1900-
                                      d/b/a SAVATAN LLC           Saline Co. IL containing 227
                                                                                                 423 Rec. 3/2/07
                                                                              acres.




                                                                                                         Filed 04/01/20 Entered 04/01/20 23:45:34
                                                                                                  SC-0017 Farm
                                     Jimmie G. Rodgers &
                                                                                                  Leased to Jeff
                                    Billie Rodgers to Oeneus     E/2 NW 4 T9S-R6E Saline Co
  Warranty Deed        11/20/2007                                                                Drone. FC 1927-                                     Owned         Yes
                                    LLC d/b/a SAVATRAN                   IL 80 acres




                                                                                                                  Pg 700 of 1005
                                                                                                    505 Rec.
                                              LLC
                                                                                                    11/27/07

                                                                                                  SC-0017 Farm
                                       Oeneus LLC d/b/a
                                                                                                  Leased to Jeff
                                     SAVATRAN to Jimmie          Pt. SE 20 T9S-R7E Saline Co
  Warranty Deed        11/20/2007                                                                Drone. FC 1927-                                     Owned         Yes
                                      G. Rodgers & Billie               IL 89.864 acres
                                                                                                    509 Rec.
                                           Rodgers
                                                                                                    11/27/07

                                    James D. Kuhlman and         NW NE 3 T9S-R6E Saline Co         SC-0018 All
  Warranty Deed        8/29/2007                                                                                                                     Owned         Yes
                                    Andrew M. Freebourn to              IL 40 acres               woods no farm




                                                                                                                             Main Docum
Description/Title of                                                                            Recording                                         Owned      Subject to
                         Date             Parties                Legal Description
    Document                                                                                   Information                                       or Leased   Mortgage

                                     Oeneus LLC d/b/a                                         lease. FC 1921-
                                     SAVATRAN LLC                                            423 Rec. 8/30/07




                                                                                                                          Case 20-41308
                                                             six parcels lying in Gallatin      GC-0004
                                                            County beginning at Equality     Abandoned Rail
                                   CST Transportation Inc   and ending at Shawneetown          Line across
 Quit Claim Deed       5/23/2007                                                                                                                  Owned         Yes
                                   and SAVATRAN LLC           individually referred to as    Gallatin County.
                                                               Tracts 1,4,5A,6,8,and 42       501-111 Rec.
                                                               containing 21.809 acres           5/24/07




                                                                                                                          Doc 228
                                                                                                      Filed 04/01/20 Entered 04/01/20 23:45:34
                                                                                                               Pg 701 of 1005
                                                                                                                          Main Docum
Debtor Grantor:

ADENA RESOURCES, LLC




                                                                                                                            Case 20-41308
Description/Title of   Date       Parties                       Brief Legal Description              Recording                                     Owned       Subject
Document                                                                                             Information                                   or Leased   to
                                                                                                                                                               Mortgage
Easement               5/6/2009   Mason, Marilyn Trustee &      Pt. SW Sec 31-5-3 & Pt. NW Sec       Water &                                       Owned       No
                                  Adena Resources               6-6-3 as described                   power lines,
                                                                                                     Complete,
                                                                                                     FC-0213,
                                                                                                     FC2009-




                                                                                                                            Doc 228
                                                                                                     2758




                                                                                                        Filed 04/01/20 Entered 04/01/20 23:45:34
Debtor/ Grantor:

AMERICAN CENTURY TRANSPORT LLC




                                                                                                                 Pg 702 of 1005
                                                                                                                                                   Owned
Description/Title of   Date       Parties                       Brief Legal Description              Recording                                     or          Subject
Document                                                                                             Information                                   Leased      to
                                                                                                                                                               Mortgage
Special Warranty       1/8/2016   American Energy Corporation   See legal description set forth in   20160000042                                   Owned       Yes
Deed                              to American Century           the deed.                            7
                                  Transport LLC




                                                                                                                            Main Docum
                                                                                                                                                                      54



                                                             Schedule 5.08(c)

                                                       Leased Material Real Property




                                                                                                                            Case 20-41308
DEBTOR/GRANTOR:

HILLSBORO ENERGY LLC
12051 N. 9th Avenue
Hillsboro, IL 62049

Montgomery County, Illinois




                                                                                                                            Doc 228
Bond County, Illinois (Coal Reserves only)



 Description/Title of   Date                 Parties            Brief Legal Description    Recording                                               Owned or   Subject to




                                                                                                        Filed 04/01/20 Entered 04/01/20 23:45:34
     Document                                                                             Information                                               Leased    Mortgage

 Coal Mining Lease      10/10/2009      WPP LLC to                 No. 6 coal seam           NOT                                                    Leased




                                                                                                                 Pg 703 of 1005
   and Sublease                        Hillsboro Energy                                   RECORDED
    Agreement                                LLC

 Short Form of Lease    10/10/2009      WPP LLC to                 No. 6 coal seam        MC 1346-428                                               Leased
     (Hillsboro)                       Hillsboro Energy
                                             LLC

Amendment No. 1 to       1/11/2010      WPP LLC to                 No. 6 coal seam           NOT                                                    Leased
 the Coal Mining                       Hillsboro Energy                                   RECORDED
Lease and Sublease                           LLC
    Agreement




                                                                                                                            Main Docum
                                                                                                                                                              55



Description/Title of    Date             Parties        Brief Legal Description    Recording                                               Owned or   Subject to
    Document                                                                      Information                                               Leased    Mortgage

Short Form of Lease     1/11/2010     WPP LLC to           No. 6 coal seam        MC 1367-226                                               Leased
    (Hillsboro)                      Hillsboro Energy




                                                                                                                    Case 20-41308
                                           LLC

Amendment No. 2 to       10/4/2010    WPP LLC to           No. 6 coal seam           NOT                                                    Leased
 the Coal Mining                     Hillsboro Energy                             RECORDED
Lease and Sublease                         LLC
    Agreement




                                                                                                                    Doc 228
   Amended and          10/4/2010     WPP LLC to           No. 6 coal seam        MC 1412-134                                               Leased
Restated Short Form                  Hillsboro Energy
   of Lease After                          LLC                                    BC 917-329
   Closing 4 and




                                                                                                Filed 04/01/20 Entered 04/01/20 23:45:34
Closing 5 (Hillsboro)

Amendment No. 3 to      1/13/2011     WPP LLC to           No. 6 coal seam           NOT                                                    Leased
 the Coal Mining                     Hillsboro Energy                             RECORDED




                                                                                                         Pg 704 of 1005
Lease and Sublease                         LLC
    Agreement

   Amended and          1/13/2011     WPP LLC to           No. 6 coal seam        MC 1426-275                                               Leased
Restated Short Form                  Hillsboro Energy
   of Lease After                          LLC
Closing 3 (Hillsboro)




                                                                                                                    Main Docum
                                                                                                                                                                 56



Description/Title of    Date            Parties          Brief Legal Description      Recording                                               Owned or   Subject to
    Document                                                                         Information                                               Leased    Mortgage

   Amended and           2/2/2012    WPP LLC to             No. 6 coal seam          MC 1477-459                                               Leased
Restated Short Form                 Hillsboro Energy




                                                                                                                       Case 20-41308
   of Lease After                         LLC                                        BC 964-143
Closing 6 (Hillsboro)

   Amended and          8/21/2012    WPP LLC to             No. 6 coal seam             NOT                                                    Leased
Restated Short Form                 Hillsboro Energy                                 RECORDED
  of Lease After                          LLC




                                                                                                                       Doc 228
   Closing 7 & 8
    (Hillsboro)

 Coal Mining Lease      9/21/2007    Montgomery             No. 6 coal seam             NOT                                                    Leased
    Agreement                       Mineral LLC to                                   RECORDED




                                                                                                   Filed 04/01/20 Entered 04/01/20 23:45:34
                                    Hillsboro Energy
                                          LLC




                                                                                                            Pg 705 of 1005
    First Partial       9/9/2009     Montgomery        Terminated leasehold rights      NOT                                                    Leased
Termination of Lease                Mineral LLC to      to certain No. 6 coal seam   RECORDED
                                    Hillsboro Energy
                                          LLC

   Second Partial       1/8/2010     Montgomery        Terminated leasehold rights      NOT                                                    Leased
Termination of Lease                Mineral LLC to      to certain No. 6 coal seam   RECORDED
                                    Hillsboro Energy
                                          LLC




                                                                                                                       Main Docum
                                                                                                                                                                57



Description/Title of   Date            Parties          Brief Legal Description      Recording                                               Owned or   Subject to
    Document                                                                        Information                                               Leased    Mortgage

   Third Partial       10/4/2010    Montgomery        Terminated leasehold rights      NOT                                                    Leased
Termination of Lease               Mineral LLC to      to certain No. 6 coal seam   RECORDED




                                                                                                                      Case 20-41308
                                   Hillsboro Energy
                                         LLC

   Fourth Partial      1/13/2011    Montgomery        Terminated leasehold rights      NOT                                                    Leased
Termination of Lease               Mineral LLC to      to certain No. 6 coal seam   RECORDED
                                   Hillsboro Energy
                                         LLC




                                                                                                                      Doc 228
 Coal Mining Lease     8/12/2010     Colt LLC to           No. 6 coal seam             NOT                                                    Leased
(For “Reserve 1” and               Hillsboro Energy                                 RECORDED
    “Reserve 3”)                         LLC




                                                                                                  Filed 04/01/20 Entered 04/01/20 23:45:34
   Short Form or       8/12/2010     Colt LLC to           No. 6 coal seam          MC 1399-176                                               Leased
  Memorandum of                    Hillsboro Energy
 Coal Mining Lease                       LLC                                        BC 910-257




                                                                                                           Pg 706 of 1005
(For “Reserve 1” and
    “Reserve 3”)


 Coal Mining Lease     8/12/2010     Colt LLC to           No. 6 coal seam             NOT                                                    Leased
 (For “Reserve 2”)                 Hillsboro Energy                                 RECORDED
                                         LLC




                                                                                                                      Main Docum
                                                                                                                                                                       58



 Description/Title of   Date                Parties            Brief Legal Description      Recording                                               Owned or   Subject to
     Document                                                                              Information                                               Leased    Mortgage

   Short Form or         8/12/2010      Colt LLC to               No. 6 coal seam         MC 1399-135                                                Leased
  Memorandum of                       Hillsboro Energy




                                                                                                                             Case 20-41308
 Coal Mining Lease                          LLC                                            BC 910-286
 (For “Reserve 2”)

First Amendment to      8/21/2012    Colt LLC to                  No. 6 coal seam            NOT                                                     Leased
Colt Coal Lease 2                    Hillsboro Energy                                     RECORDED
                                     LLC




                                                                                                                             Doc 228
Short Form or           8/21/2012    Colt LLC to                  No. 6 coal seam         MC 1508-455                                                Leased
Memorandum of First                  Hillsboro Energy
Amendment to Colt                    LLC
Coal Lease 2




                                                                                                         Filed 04/01/20 Entered 04/01/20 23:45:34
                                     Montgomery Land                 Mine Site
                                     Company to
Deed                    8/12/2010                                    RDA 1 & 2            201000059726                                               Owned




                                                                                                                  Pg 707 of 1005
                                     Hillsboro Energy
                                     LLC                     Farmland & Bleeder Site #1

                                     Montgomery Land
                                     Company to              Corridor from Mine Site to
Easement                8/12/2010                                                         201000059723                                               Owned
                                     Hillsboro Energy             Bleeder Shaft #1
                                     LLC

                                     George & Martha
                                                            Corridor from Mine Site to
Easement                5/9/2011     Spinner to Hillsboro                                 201100063970                                               Owned
                                                            Bleeder Shaft #1
                                     Energy LLC




                                                                                                                             Main Docum
                                                                                                                                                                             59



 Description/Title of      Date                  Parties         Brief Legal Description         Recording                                               Owned or   Subject to
     Document                                                                                   Information                                               Leased    Mortgage

                                           Hillsboro Energy
Deed                       8/23/2013       LLC to Hillsboro             Loadout                201300003499                                               Owned




                                                                                                                                  Case 20-41308
                                           Transport, LLC




                                                                                                                                  Doc 228
DEBTOR/GRANTOR:




                                                                                                              Filed 04/01/20 Entered 04/01/20 23:45:34
MACOUPIN ENERGY LLC
14300 Brushy Mound Road
Carlinville, Illinois 62626




                                                                                                                       Pg 708 of 1005
Macoupin County, Illinois



    Description/Title of                                            Brief Legal               Recording                                  Owned or                   Subject to
                                  Date             Parties
        Document                                                    Description              Information                                  Leased                    Mortgage

                                               WPP LLC and
                                                                Macoupin South Mine
   Short Form of Lease         1/27/2009      Macoupin Energy                              NOT RECORDED                                             Leased             Yes
                                                                    Assignment
                                                   LLC




                                                                                                                                  Main Docum
                                                                                                                                                     60



 Description/Title of                                      Brief Legal          Recording                               Owned or            Subject to
                          Date           Parties
     Document                                              Description         Information                               Leased             Mortgage

                                      Colt LLC and
Coal Mining Lease and                                  Macoupin North Mine
                        8/12/2010    Macoupin Energy                           MA 503863                                           Leased      Yes




                                                                                                                 Case 20-41308
      Sublease                                             Assignment
                                          LLC

                                      Colt LLC and
                                                       Macoupin North Mine
 Short Form of Lease    8/12/2010    Macoupin Energy                         NOT RECORDED                                          Leased      Yes
                                                           Assignment
                                          LLC

                                      Colt LLC and
 First Amendment to                                    Macoupin North Mine




                                                                                                                 Doc 228
                        2/13/2013    Macoupin Energy                         NOT RECORDED                                          Leased      Yes
 Coal Mining Lease                                         Assignment
                                          LLC

                                      Colt LLC and
                                                        East Hornsby Mine




                                                                                             Filed 04/01/20 Entered 04/01/20 23:45:34
 Short Form of Lease    8/12/2010    Macoupin Energy                         NOT RECORDED                                          Leased      Yes
                                                           Assignment
                                          LLC

                                      HOD LLC and




                                                                                                      Pg 709 of 1005
        Lease           1/27/2009    Macoupin Energy        Rail Loop        NOT RECORDED                                          Leased      Yes
                                          LLC

                                      HOD LLC and
   Short Form or
                        1/27/2009    Macoupin Energy        Rail Loop          MA 506329                                           Leased      Yes
Memorandum of Lease
                                          LLC

                                      HOD LLC and
Amendment to Lease
                        12/29/2009   Macoupin Energy        Rail Loop        NOT RECORDED                                          Leased      Yes
   Agreement
                                          LLC




                                                                                                                 Main Docum
                                                                                                                                                        61



 Description/Title of                                       Brief Legal         Recording                                  Owned or            Subject to
                          Date            Parties
     Document                                               Description        Information                                  Leased             Mortgage

                                      HOD LLC and
        Lease           1/27/2009    Macoupin Energy       Rail Load Out     NOT RECORDED                                             Leased      Yes




                                                                                                                    Case 20-41308
                                          LLC

                                      HOD LLC and
   Short Form or
                        1/27/2009    Macoupin Energy       Rail Load Out       MA 506330                                              Leased      Yes
Memorandum of Lease
                                          LLC

                                      HOD LLC and
Amendment to Lease




                                                                                                                    Doc 228
                        12/29/2009   Macoupin Energy       Rail Load Out     NOT RECORDED                                             Leased      Yes
   Agreement
                                          LLC

                                     Jet Oil Company
  Option and Lease                                                           Volume 628, Page




                                                                                                Filed 04/01/20 Entered 04/01/20 23:45:34
                        2/28/1967     and Macoupin         Coal Reserves                                                              Leased      Yes
    Agreement                                                                     456
                                       Energy LLC

                                     Macoupin Energy




                                                                                                         Pg 710 of 1005
                                     LLC, as assignor,
Assignment of Leases    1/27/2009                          Coal Reserves     NOT RECORDED                                             Leased      Yes
                                     and WPP LLC, as
                                         assignee

                                      WPP LLC and
Coal Mining Lease and
                        1/27/2009    Macoupin Energy     Macoupin Reserves   NOT RECORDED                                             Leased      Yes
 Sublease Agreement
                                          LLC




                                                                                                                    Main Docum
                                                                                                                                                       62



    Description/Title of                                      Brief Legal         Recording                               Owned or            Subject to
                             Date           Parties
        Document                                              Description        Information                               Leased             Mortgage

     Short Form or
                                         WPP LLC and
   Memorandum of Coal




                                                                                                                   Case 20-41308
                           1/27/2009    Macoupin Energy   Macoupin Reserves      MA 506328                                           Leased      Yes
    Mining Lease and
                                             LLC
   Sublease Agreement

   First Amendment to                    WPP LLC and
  Coal Mining Lease and    11/03/2010   Macoupin Energy   Macoupin Reserves    NOT RECORDED                                          Leased      Yes
   Sublease Agreement                        LLC




                                                                                                                   Doc 228
  Second Amendment to                    WPP LLC and
  Coal Mining Lease and    03/28/2010   Macoupin Energy   Macoupin Reserves    NOT RECORDED                                          Leased      Yes
   Sublease Agreement                        LLC




                                                                                               Filed 04/01/20 Entered 04/01/20 23:45:34
                                        ExxonMobil Coal
                                         USA, Inc. and      Monterey Coal
   Assignment of Leases    1/22/2009                                             MA 487734                                           Leased      Yes
                                        Macoupin Energy   Company No. 1 Mine
                                             LLC




                                                                                                        Pg 711 of 1005
Clinton County, Illinois




                                                                                                                   Main Docum
                                                                                                                                                                     63



    Description/Title of                                              Brief Legal           Recording                                   Owned or            Subject to
                                Date             Parties
        Document                                                      Description          Information                                   Leased             Mortgage

                                           Colt LLC and
                                                                  New Memphis
    Coal Mining Lease         6/1/2012    Macoupin Energy                              NOT RECORDED                                                Leased      Yes




                                                                                                                                 Case 20-41308
                                                               /Monterey 2 Reserves
                                               LLC

     Short Form or                         Colt LLC and
                                                                  New Memphis
   Memorandum of Coal         6/1/2012    Macoupin Energy                               CC 2012R04931                                              Leased      Yes
                                                               /Monterey 2 Reserves
     Mining Lease                              LLC

                                           Colt LLC and
    First Amendment to                                            New Memphis




                                                                                                                                 Doc 228
                              2/13/2013   Macoupin Energy                              NOT RECORDED                                                Leased      Yes
    Coal Mining Lease                                          /Monterey 2 Reserves
                                               LLC




                                                                                                             Filed 04/01/20 Entered 04/01/20 23:45:34
            Lease                 2/7/2019        Foresight Energy,         Methane Gas lease            Document NOT                                       Leased
                                                  LLC/Macoupin to                                         RECORDED
                                                   Keyrock, LLC




                                                                                                                      Pg 712 of 1005
DEBTOR/GRANTOR:

WILLIAMSON ENERGY, LLC
16468 Liberty School Road
Marion, IL 62959

Williamson County, Illinois

Franklin County, Illinois (Coal Reserves only)




                                                                                                                                 Main Docum
                                                                                                                                                                     64




Description/Title of   Date              Parties           Brief Legal Description       Recording                                               Owned or   Subject to
                                                                                        Information                                               Leased    Mortgage




                                                                                                                          Case 20-41308
   Amended and         8/14/2006       WPP LLC to        Coal reserves in Williamson      NOT                                                     Leased       Yes
Restated Coal Mining                Williamson Energy,    and Franklin Counties, IL    RECORDED
 Lease Agreement                           LLC

   Short Form of       8/14/2006       WPP LLC to        Coal reserves in Williamson   WC Misc 301-                                               Leased       Yes
   Amended and                      Williamson Energy,    and Franklin Counties, IL       480
Restated Coal Mining                       LLC




                                                                                                                          Doc 228
 Lease Agreement                                                                       FC #2006-6571

 First Amendment to    5/19/2008       WPP LLC to        Coal reserves in Williamson      NOT                                                     Leased       Yes
    Amended and                     Williamson Energy,    and Franklin Counties, IL    RECORDED




                                                                                                      Filed 04/01/20 Entered 04/01/20 23:45:34
Restated Coal Mining                       LLC
  Lease Agreement

   Amendment to        12/18/2009      WPP LLC to        Coal reserves in Williamson      NOT                                                     Leased       Yes




                                                                                                               Pg 713 of 1005
   Amended and                      Williamson Energy,    and Franklin Counties, IL    RECORDED
Restated Coal Mining                       LLC
 Lease Agreement

Third Amendment to     08/12/2010      WPP LLC to        Coal reserves in Williamson      NOT                                                     Leased       Yes
   Amended and                      Williamson Energy,    and Franklin Counties, IL    RECORDED
Restated Coal Mining                       LLC
 Lease Agreement




                                                                                                                          Main Docum
                                                                                                                                                                      65



 Description/Title of   Date              Parties           Brief Legal Description       Recording                                               Owned or   Subject to
                                                                                         Information                                               Leased    Mortgage

 Short Form of First,   08/12/2010      WPP LLC to        Coal reserves in Williamson   WC Misc 327-                                               Leased       Yes
  Second and Third                   Williamson Energy,    and Franklin Counties, IL       780




                                                                                                                           Case 20-41308
   Amendment to                             LLC
   Amended and                                                                           2010-6467
Restated Coal Mining
  Lease Agreement

 Fourth Amendment       6/30/2011       WPP LLC to        Coal reserves in Williamson      NOT                                                     Leased       Yes
  to Amended and        (effective   Williamson Energy,    and Franklin Counties, IL    RECORDED




                                                                                                                           Doc 228
Restated Coal Mining    4/1/2011)           LLC
  Lease Agreement

Short Form of Fourth    6/30/2011       WPP LLC to        Coal reserves in Williamson   WC Misc 331-                                               Leased       Yes




                                                                                                       Filed 04/01/20 Entered 04/01/20 23:45:34
   Amendment to         (effective   Williamson Energy,    and Franklin Counties, IL       312
   Amended and          4/1/2011)           LLC
Restated Coal Mining




                                                                                                                Pg 714 of 1005
 Lease Agreement

Fifth Amendment to      3/20/2013       WPP LLC to        Coal reserves in Williamson      NOT                                                     Leased       Yes
   Amended and          (effective   Williamson Energy,    and Franklin Counties, IL    RECORDED
Restated Coal Mining    3/1/2013)           LLC
 Lease Agreement

 Short Form of Fifth    3/20/2013       WPP LLC to        Coal reserves in Williamson   WC Misc 341-                                               Leased       Yes
   Amendment to         (effective   Williamson Energy,    and Franklin Counties, IL       659
   Amended and          3/1/2013)           LLC




                                                                                                                           Main Docum
                                                                                                                                                                      66



 Description/Title of   Date              Parties           Brief Legal Description       Recording                                               Owned or   Subject to
                                                                                         Information                                               Leased    Mortgage

Restated Coal Mining
 Lease Agreement




                                                                                                                           Case 20-41308
First Amendment to      5/19/2008       WPP LLC to        Coal reserves in Williamson      NOT                                                     Leased       Yes
Amended and Coal                     Williamson Energy,    and Franklin Counties, IL    RECORDED
   Mining Lease                             LLC
     Agreement

   Amendment to         12/18/2009      WPP LLC to        Coal reserves in Williamson      NOT                                                     Leased       Yes




                                                                                                                           Doc 228
   Amended and                       Williamson Energy,           County, IL            RECORDED
Restated Coal Mining                        LLC
 Lease Agreement




                                                                                                       Filed 04/01/20 Entered 04/01/20 23:45:34
Third Amendment to      8/12/2010       WPP LLC to        Coal reserves in Williamson      NOT                                                     Leased       Yes
   Amended and                       Williamson Energy,    and Franklin Counties, IL    RECORDED
Restated Coal Mining                        LLC
 Lease Agreement




                                                                                                                Pg 715 of 1005
   Short Form or        8/12/2010       WPP LLC to        Coal reserves in Williamson   WC Misc 327-                                               Leased       Yes
Memorandum of First                  Williamson Energy,    and Franklin Counties, IL       780
Amendment, Second                           LLC
  Amendment and                                                                         FC #2010-5467
Third Amendment to
   Amended and
Restated Coal Mining
 Lease Agreement




                                                                                                                           Main Docum
                                                                                                                                                                         67



Description/Title of    Date              Parties            Brief Legal Description         Recording                                               Owned or   Subject to
                                                                                            Information                                               Leased    Mortgage

 Fourth Amendment       6/30/2011       WPP LLC to        Coal reserves in Williamson         NOT                                                     Leased       Yes
  to Amended and        (effective   Williamson Energy,           County, IL               RECORDED




                                                                                                                              Case 20-41308
Restated Coal Mining    4/1/2011)           LLC
  Lease Agreement

   Short Form or        6/30/2011       WPP LLC to        Coal reserves in Williamson      WC Misc 331-                                               Leased       Yes
  Memorandum of         (effective   Williamson Energy,           County, IL                  312
 Fourth Amendment       4/1/2011)           LLC
  to Amended and




                                                                                                                              Doc 228
Restated Coal Mining
  Lease Agreement

  Partial Release of   6/30/2011        WPP LLC to        Releases certain coal reserves   FC #2011-3006                                              Leased       Yes




                                                                                                          Filed 04/01/20 Entered 04/01/20 23:45:34
   Leased Premises     (effective    Williamson Energy,      in Franklin County, IL
 from Amended and      4/1/2011)            LLC
Restated Coal Mining




                                                                                                                   Pg 716 of 1005
  Lease Agreement

  Partial Release of   3/20/2013        WPP LLC to        Releases certain coal reserves   FC #2013-1637                                              Leased       Yes
   Leased Premises     (effective    Williamson Energy,      in Franklin County, IL
 from Amended and      9/1/2011)            LLC
Restated Coal Mining
  Lease Agreement

 Corrective Partial    4/5/2013         WPP LLC to        Releases certain coal reserves   FC #2013-2765                                              Leased       Yes
 Release of Leased     (effective    Williamson Energy,      in Franklin County, IL
  Premises from        3/1/2013)            LLC
  Amended and




                                                                                                                              Main Docum
                                                                                                                                                                    68



Description/Title of   Date             Parties           Brief Legal Description       Recording                                               Owned or   Subject to
                                                                                       Information                                               Leased    Mortgage

Restated Coal Mining
 Lease Agreement




                                                                                                                         Case 20-41308
Short Form of Lease    5/1/2005        Williamson       Coal reserves in Williamson   WC Misc 291-                                               Leased       Yes
   and Sublease                      Development                County, IL               461
                                    Company LLC to
                                   Williamson Energy,
                                          LLC




                                                                                                                         Doc 228
                                   Independence Land
 Coal Mining Lease                 Company, LLC and     Coal Reserves in Williamson      NOT
                       3/13/2006                                                                                                                 Leased       Yes
    Agreement                      Williamson Energy,         County, Illinois        RECORDED
                                          LLC




                                                                                                     Filed 04/01/20 Entered 04/01/20 23:45:34
                                   Independence Land
                                   Company, LLC and     Coal Reserves in Williamson   Misc 301Page
Short Form of Lease    3/13/2006                                                                                                                 Leased       Yes
                                   Williamson Energy,         County, Illinois            479




                                                                                                              Pg 717 of 1005
                                          LLC

  Lease (Coal Prep     5/1/2005        Williamson       Pond Creek Processing Plant   WC Misc 291-                                               Leased       Yes
       Plant)                        Development                                         463
                                   Company, LLC and
                                   Williamson Energy,
                                          LLC




                                                                                                                         Main Docum
                                                                                                                                                                         69



Description/Title of   Date              Parties            Brief Legal Description         Recording                                                Owned or   Subject to
                                                                                           Information                                                Leased    Mortgage

 First Amended and     10/15/2006       Williamson
Restated Lease (Coal                  Development




                                                                                                                              Case 20-41308
                                                                                             NOT
     Prep Plant)                    Company, LLC and     Pond Creek Processing Plant                                                                  Leased       Yes
                                                                                          RECORDED
                                    Williamson Energy,
                                           LLC

 Short Form of First   10/15/2006       Williamson
   Amended and                        Development
                                                                                          Misc 313 Page
Restated Lease (Coal                Company, LLC and     Pond Creek Processing Plant                                                                  Leased       Yes




                                                                                                                              Doc 228
                                                                                               620
     Prep Plant)                    Williamson Energy,
                                           LLC

Coal Mining Lease      8/12/2010       Colt LLC to       Coal Reserves in Williamson,        NOT                                                      Leased       Yes




                                                                                                          Filed 04/01/20 Entered 04/01/20 23:45:34
  and Sublease                      Williamson Energy,       Franklin, and Saline         RECORDED
                                           LLC                   Counties, IL

  Short Form or        8/12/2010       Colt LLC to       Coal Reserves in Williamson,     WC Misc 325-                                                Leased       Yes




                                                                                                                   Pg 718 of 1005
 Memorandum of                      Williamson Energy,       Franklin, and Saline            897
Coal Mining Lease                          LLC                   Counties, IL
  and Sublease                                                                            FC #2010-3874

                                                                                           SC 1981-610

 Partial Release of    6/30/2011      Colt LLC and       Releases certain coal reserves   WC Misc 331-                                                Leased       Yes
Premises from Coal     (effective   Williamson Energy,    in Williamson County, IL           310
 Mining Lease and      4/1/2011)           LLC
      Sublease




                                                                                                                              Main Docum
                                                                                                                                                                      70



Description/Title of   Date              Parties           Brief Legal Description        Recording                                               Owned or   Subject to
                                                                                         Information                                               Leased    Mortgage

First Amendment to     6/30/2011      Colt LLC and       Coal reserves in Williamson,      NOT                                                     Leased       Yes
Coal Mining Lease      (effective   Williamson Energy,       Franklin, and Saline       RECORDED




                                                                                                                           Case 20-41308
    and Sublease       4/1/2011)           LLC                   Counties, IL

   Short Form or       6/30/2011      Colt LLC and       Coal reserves in Williamson,   WC Misc 331-                                               Leased       Yes
Memorandum after       (effective   Williamson Energy,       Franklin, and Saline          311
First Amendment to     4/1/2011)           LLC                   Counties, IL
Coal Mining Lease                                                                       FC #2011-3008
    and Sublease




                                                                                                                           Doc 228
                                                                                         SC 2003-978

 Partial Release of    3/20/2013      Colt LLC and       Coal reserves in Williamson,   WC Misc 341-                                               Leased       Yes
Premises from Coal     (effective   Williamson Energy,       Franklin, and Saline          658
 Mining Lease and      3/1/2013)           LLC                   Counties, IL




                                                                                                       Filed 04/01/20 Entered 04/01/20 23:45:34
      Sublease

 Second Amendment      3/20/2013      Colt LLC and       Coal reserves in Williamson,      NOT                                                     Leased       Yes




                                                                                                                Pg 719 of 1005
to Coal Mining Lease   (effective   Williamson Energy,       Franklin, and Saline       RECORDED
    and Sublease       3/1/2013)           LLC                   Counties, IL

    Short Form or      3/20/2013      Colt LLC and       Coal reserves in Williamson,   FC 2013-1639                                               Leased       Yes
 Memorandum after      (effective   Williamson Energy,       Franklin, and Saline
 Second Amendment      3/1/2013)           LLC                   Counties, IL
to Coal Mining Lease
    and Sublease

       Lease           5/1/2005        Williamson         Pond Creek Rail Load Out      WC Misc 291-                                               Leased       Yes
                                      Development                                          462




                                                                                                                           Main Docum
                                                                                                                                                                    71



Description/Title of   Date              Parties          Brief Legal Description      Recording                                                Owned or   Subject to
                                                                                      Information                                                Leased    Mortgage

                                    Company, LLC (fka
                                         Steelhead




                                                                                                                         Case 20-41308
                                      Development
                                    Company LLC) and
                                    Williamson Energy,
                                           LLC

First Amended and                       Williamson
Restated Lease (Rail                  Development




                                                                                                                         Doc 228
                                                                                        NOT
 Load Out Lease)       10/15/2006   Company, LLC and     Pond Creek Rail Load Out                                                                Leased       Yes
                                                                                     RECORDED
                                    Williamson Energy,
                                           LLC




                                                                                                     Filed 04/01/20 Entered 04/01/20 23:45:34
Short Form of First                     Williamson
   Amended and                        Development
                                                                                     Misc 313 Page
Restated Lease (Rail   10/15/2006   Company, LLC and     Pond Creek Rail Load Out                                                                Leased       Yes
                                                                                          619




                                                                                                              Pg 720 of 1005
 Load Out Lease)                    Williamson Energy,
                                           LLC

                                        Eberhart to      Ground lease required for
                                                                                        NOT
   Ground Lease          1/1/2006       Williamson       Williamson Energy, LLC                                                                  Leased       Yes
                                                                                     RECORDED
                                      Transport, LLC            Operations

                                        Eberhart to      Ground lease required for
Memorandum of the                                                                    WC Misc 296-
                        1/20/2006       Williamson       Williamson Energy, LLC                                                                  Leased       Yes
 Eberhart Lease                                                                         404
                                      Transport, LLC            Operations




                                                                                                                         Main Docum
                                                                                                                                                                  72



Description/Title of   Date             Parties         Brief Legal Description       Recording                                               Owned or   Subject to
                                                                                     Information                                               Leased    Mortgage

                                       Williamson
                                    Transport LLC to    Ground lease required for




                                                                                                                       Case 20-41308
                                                                                    WC Misc 306-
Assignment of Rights   8/24/2007       Williamson       Williamson Energy, LLC                                                                 Leased       Yes
                                                                                       996
                                      Development              Operations
                                     Company LLC

                                       Williamson
                                     Development        Ground lease required for
                                                                                    WC Misc 325-
Assignment of Rights   8/24/2007    Company LLC to      Williamson Energy, LLC                                                                 Leased       Yes




                                                                                                                       Doc 228
                                                                                       900
                                   Williamson Energy,          Operations
                                          LLC

                                       Eberhart to




                                                                                                   Filed 04/01/20 Entered 04/01/20 23:45:34
                                       Williamson
                                     Development        Ground lease required for
                                                                                       NOT
   Ground Lease        8/12/2010    Company, LLC        Williamson Energy, LLC                                                                 Leased       Yes
                                                                                    RECORDED




                                                                                                            Pg 721 of 1005
                                       assigned to             Operations
                                   Williamson Energy,
                                          LLC

                                   Clara Summers and
                                                                                    WC Misc 297-
   Surface Lease       3/22/2006   Independence Land         Surface Lease                                                                     Leased       Yes
                                                                                       626
                                     Company LLC

                                   Independence Land                                WC Misc 327-
Assignment of Lease    8/12/2010                             Surface Lease                                                                     Leased       Yes
                                    Company LLC to                                     750




                                                                                                                       Main Docum
                                                                                                                                                               73



Description/Title of   Date             Parties        Brief Legal Description     Recording                                               Owned or   Subject to
                                                                                  Information                                               Leased    Mortgage

                                   Williamson Energy
                                          LLC




                                                                                                                    Case 20-41308
                                   Clara Summers and
                                                                                 WC Misc 297-
  Surface Lease        3/22/2006   Independence Land       Surface Lease
                                                                                    626
                                     Company LLC

                                      Williamson
                                     Development
 Grant of Surface                                                                WC Misc 325-




                                                                                                                    Doc 228
                       8/12/2010   Company LLC and       Surface Easement                                                                   Leased       Yes
    Easement                                                                        899
                                   Williamson Energy
                                          LLC




                                                                                                Filed 04/01/20 Entered 04/01/20 23:45:34
                                                                                                         Pg 722 of 1005
                                                                                                                    Main Docum
                                                                                                                                                 74



                               Diana S. Dulle to
                                                    Coal Reserves for Williamson
Warranty Deed   6/14/2018    Williamson Energy,                                    WC 2018-4356                                          Owned
                                                      Energy, LLC Operations
                                     LLC
                                Linda Duncan to
                                                    Coal Reserves for Williamson
Warranty Deed   7/13/2018    Williamson Energy,                                    WC 2018-5209                                          Owned
                                                      Energy, LLC Operations
                                     LLC




                                                                                                                  Case 20-41308
                              Jeremy W. Smith to
                                                    Coal Reserves for Williamson                                                         Owned
Warranty Deed   7/20/2018    Williamson Energy,                                    WC 2018-5434
                                                      Energy, LLC Operations
                                     LLC
                                Lora L. Jones to
                                                    Coal Reserves for Williamson
Warranty Deed   8/20/2018    Williamson Energy,                                    WC 2018-6259                                          Owned
                                                      Energy, LLC Operations
                                     LLC
                              Shirley N. Smith to
                                                    Coal Reserves for Williamson
Warranty Deed   8/20/2018    Williamson Energy,                                    WC 2018-6258                                          Owned




                                                                                                                  Doc 228
                                                      Energy, LLC Operations
                                     LLC
                             Debra Ellen Moser to
                                                    Coal Reserves for Williamson
Warranty Deed   9/4/2018     Williamson Energy,                                    WC 2018-6707                                          Owned
                                                      Energy, LLC Operations
                                     LLC
                            Larry Dean Bethard to




                                                                                              Filed 04/01/20 Entered 04/01/20 23:45:34
                                                    Coal Reserves for Williamson
Warranty Deed   9/4/2018     Williamson Energy,                                    WC 2018-6706                                          Owned
                                                      Energy, LLC Operations
                                     LLC
                              Jerry R. Harpole to
                                                    Coal Reserves for Williamson
Warranty Deed                Williamson Energy,                                    WC 2018-6705                                          Owned




                                                                                                       Pg 723 of 1005
                9/4/2018                              Energy, LLC Operations
                                     LLC
                             Wilma K. Harpole to
                                                    Coal Reserves for Williamson
Warranty Deed   9/4/2018     Williamson Energy,                                    WC 2018-6704                                          Owned
                                                      Energy, LLC Operations
                                     LLC
                             Kimberly A. Smith to
                                                    Coal Reserves for Williamson
Warranty Deed   9/4/2018     Williamson Energy,                                    WC 2018-6703                                          Owned
                                                      Energy, LLC Operations
                                     LLC
                            Gerald Lee Bethard to
                                                    Coal Reserves for Williamson
Warranty Deed   9/4/2018     Williamson Energy,                                    WC 2018-6702                                          Owned
                                                      Energy, LLC Operations
                                     LLC
                             Wendall Ray Bethard
                                                    Coal Reserves for Williamson
Warranty Deed   9/4/2018    to Williamson Energy,                                  WC 2018-6701                                          Owned
                                                      Energy, LLC Operations
                                     LLC




                                                                                                                  Main Docum
                                                                                                                                                  75



                               Edward W. Sursa to
                                                     Coal Reserves for Williamson
Warranty Deed   9/24/2018      Williamson Energy,                                   WC 2018-7338                                          Owned
                                                       Energy, LLC Operations
                                       LLC
                              Barbara Jean Newton
                                                     Coal Reserves for Williamson
Warranty Deed   9/24/2018    to Williamson Energy,                                  WC 2018-7337                                          Owned
                                                       Energy, LLC Operations
                                       LLC




                                                                                                                   Case 20-41308
                               Debra L. Caplick to
                                                     Coal Reserves for Williamson
Warranty Deed   9/24/2018      Williamson Energy,                                   WC 2018-7336                                          Owned
                                                       Energy, LLC Operations
                                       LLC
                                 Don N. Sursa to
                                                     Coal Reserves for Williamson
Warranty Deed   9/24/2018      Williamson Energy,                                   WC 2018-7335                                          Owned
                                                       Energy, LLC Operations
                                       LLC
                              Jim D. Glazebrook to
                                                     Coal Reserves for Williamson
Warranty Deed   9/24/2018      Williamson Energy,                                   WC 2018-7334                                          Owned




                                                                                                                   Doc 228
                                                       Energy, LLC Operations
                                       LLC
                              Susan Elaine Bethard
                                        to           Coal Reserves for Williamson
Warranty Deed   9/24/2018                                                           WC 2018-7333                                          Owned
                              Williamson Energy,       Energy, LLC Operations
                                       LLC




                                                                                               Filed 04/01/20 Entered 04/01/20 23:45:34
                              Jerry D. Brookman to
                                                     Coal Reserves for Williamson
Warranty Deed   9/24/2018     Williamson Energy,                                    WC 2018-7332                                          Owned
                                                       Energy, LLC Operations
                                       LLC
                                Linda E. Rector to




                                                                                                        Pg 724 of 1005
                                                     Coal Reserves for Williamson
Warranty Deed   9/24/2018     Williamson Energy,                                    WC 2018-7331                                          Owned
                                                       Energy, LLC Operations
                                       LLC
                             Marion E. Glazebrook
                                        to           Coal Reserves for Williamson
Warranty Deed   9/24/2018                                                           WC 2018-7330                                          Owned
                              Williamson Energy,       Energy, LLC Operations
                                       LLC
                               Sarah J. Glazebrook
                                     Perry to        Coal Reserves for Williamson
Warranty Deed   9/24/2018                                                           WC 2018-7329                                          Owned
                              Williamson Energy,       Energy, LLC Operations
                                       LLC
                                Michelle McCabe-
                                     Doyle to        Coal Reserves for Williamson
Warranty Deed   10/16/2018                                                          WC 2018-7977                                          Owned
                              Williamson Energy,       Energy, LLC Operations
                                       LLC




                                                                                                                   Main Docum
                                                                                                                                                   76



                             Richard R. Glazebrook
                                       to             Coal Reserves for Williamson
Warranty Deed   10/16/2018                                                           WC 2018-7976                                          Owned
                              Williamson Energy,        Energy, LLC Operations
                                     LLC
                             Robert Shon Smith to
                                                      Coal Reserves for Williamson
Warranty Deed   10/16/2018    Williamson Energy,                                     WC 2018-7975                                          Owned




                                                                                                                    Case 20-41308
                                                        Energy, LLC Operations
                                     LLC
                             Elizabeth Jeanne Culli
                                       to             Coal Reserves for Williamson
Warranty Deed   10/16/2018                                                           WC 2018-7974                                          Owned
                              Williamson Energy,        Energy, LLC Operations
                                     LLC
                                 Kathy Scott to
                                                      Coal Reserves for Williamson
Warranty Deed   10/23/2018    Williamson Energy,                                     WC 2018-8178                                          Owned
                                                        Energy, LLC Operations
                                     LLC




                                                                                                                    Doc 228
                             Roger W. Glazebrook
                                       to             Coal Reserves for Williamson
Warranty Deed   11/07/2018                                                           WC 2018-8581                                          Owned
                              Williamson Energy,        Energy, LLC Operations
                                     LLC
                              Tommy R. Sursa to




                                                                                                Filed 04/01/20 Entered 04/01/20 23:45:34
                                                      Coal Reserves for Williamson
Warranty Deed   11/27/2018    Williamson Energy,                                     WC 2018-9311                                          Owned
                                                        Energy, LLC Operations
                                     LLC
                             Allen E. Heinbokel to
                                                      Coal Reserves for Williamson
Warranty Deed   12/03/2018    Williamson Energy,                                     WC 2018-9490                                          Owned




                                                                                                         Pg 725 of 1005
                                                        Energy, LLC Operations
                                     LLC
                                Jeremiah Wesley
                                   Seaman to          Coal Reserves for Williamson
Warranty Deed   12/18/2018                                                           WC 2018-9920                                          Owned
                              Williamson Energy,        Energy, LLC Operations
                                     LLC
                                Alexandra Lewis
                                  DeMarino to         Coal Reserves for Williamson
Warranty Deed   12/18/2018                                                           WC 2018-9919                                          Owned
                              Williamson Energy,        Energy, LLC Operations
                                     LLC
                             Shannon Lee Brand to
                                                      Coal Reserves for Williamson
Warranty Deed   1/07/2019     Williamson Energy,                                     WC 2019-147                                           Owned
                                                        Energy, LLC Operations
                                     LLC
                             Michael James Lewis      Coal Reserves for Williamson
Warranty Deed   1/31/2019                                                            WC 2019-727                                           Owned
                                       to               Energy, LLC Operations




                                                                                                                    Main Docum
                                                                                                                                                     77



                            Williamson Energy,
                                    LLC
                            Karolyn Kay Fullerton
                                      to            Coal Reserves for Williamson
Warranty Deed   1/31/2019                                                          WC 2019-726                                              Owned
                            Williamson Energy,        Energy, LLC Operations
                                    LLC




                                                                                                                     Case 20-41308
                             Susan E. Denton to
                                                    Coal Reserves for Williamson
Mining Lease    3/5/2019    Williamson Energy,                                     WC 2019-1569                                             Leased
                                                      Energy, LLC Operations
                                    LLC
                             Ronald L. Smith to
                                                    Coal Reserves for Williamson
Warranty Deed   3/18/2019   Williamson Energy,                                     WC 2019-1877                                             Owned
                                                      Energy, LLC Operations
                                    LLC
                             Deloris J. Hoehn to
                                                    Coal Reserves for Williamson
Warranty Deed   8/27/2019   Williamson Energy,                                     WC 2019-6215                                             Owned




                                                                                                                     Doc 228
                                                      Energy, LLC Operations
                                    LLC
                            James Walter Hoyt to
                                                    Coal Reserves for Williamson
Warranty Deed   1/26/2018   Williamson Energy,                                     FC 2018-407                                              Owned
                                                      Energy, LLC Operations
                                    LLC
                            Brenda Dora Spencer




                                                                                                 Filed 04/01/20 Entered 04/01/20 23:45:34
                                      to            Coal Reserves for Williamson
Warranty Deed   2/13/2018                                                          FC 2018-633                                              Owned
                            Williamson Energy,        Energy, LLC Operations
                                    LLC
                             Patricia K. Dyer to




                                                                                                          Pg 726 of 1005
                                                    Coal Reserves for Williamson
Warranty Deed   3/21/2018   Williamson Energy,                                     FC 2018-1127                                             Owned
                                                      Energy, LLC Operations
                                    LLC
                             Diana L. Bischler to
                                                    Coal Reserves for Williamson
Warranty Deed   3/21/2018   Williamson Energy,                                     FC 2018-1126                                             Owned
                                                      Energy, LLC Operations
                                    LLC
                             Lisa M. Engeling to
                                                    Coal Reserves for Williamson
Mining Lease    3/23/2018   Williamson Energy,                                     FC 2018-1177                                             Leased
                                                      Energy, LLC Operations
                                    LLC
                             Jeanette Fortney to
                                                    Coal Reserves for Williamson
Warranty Deed   4/19/2018   Williamson Energy,                                     FC 2018-1539                                             Owned
                                                      Energy, LLC Operations
                                    LLC
                             Jerry K. Johnson to
                                                    Coal Reserves for Williamson
Mining Lease    7/13/2018   Williamson Energy,                                     FC 2018-2781                                             Leased
                                                      Energy, LLC Operations
                                    LLC




                                                                                                                     Main Docum
                                                                                                                                                        78



                             Lorna Lynn Hines to
                                                       Coal Reserves for Williamson
Warranty Deed    8/1/2018    Williamson Energy,                                       FC 2018-3095                                             Owned
                                                         Energy, LLC Operations
                                      LLC
                              Robbie L. Osteen to
                                                       Coal Reserves for Williamson
Warranty Deed    8/1/2018    Williamson Energy,                                       FC 2018-3094                                             Owned
                                                         Energy, LLC Operations
                                      LLC




                                                                                                                        Case 20-41308
                              Brian M. Johnson to
                                                       Coal Reserves for Williamson
Warranty Deed   8/10/2018    Williamson Energy,                                       FC 2018-3251                                             Owned
                                                         Energy, LLC Operations
                                      LLC
                             Paula T. Hartzel, et al
                                        to             Coal Reserves for Williamson
Mining Lease    8/29/2018                                                             FC 2018-3551                                             Leased
                             Williamson Energy,          Energy, LLC Operations
                                      LLC
                               Janet J. Griffin to




                                                                                                                        Doc 228
                                                       Coal Reserves for Williamson
Warranty Deed    9/5/2018    Williamson Energy,                                       FC 2018-3642                                             Owned
                                                         Energy, LLC Operations
                                      LLC
                              Gary P. Johnson to
                                                       Coal Reserves for Williamson
Warranty Deed    9/5/2018    Williamson Energy,                                       FC 2018-3641                                             Owned
                                                         Energy, LLC Operations
                                      LLC




                                                                                                    Filed 04/01/20 Entered 04/01/20 23:45:34
                                Barbara Giles to
                                                       Coal Reserves for Williamson
Warranty Deed    9/5/2018    Williamson Energy,                                       FC 2018-3640                                             Owned
                                                         Energy, LLC Operations
                                      LLC
                                Katherine Ann




                                                                                                             Pg 727 of 1005
                                   Bradley to          Coal Reserves for Williamson
Warranty Deed   9/18/2018                                                             FC 2018-3870                                             Owned
                             Williamson Energy,          Energy, LLC Operations
                                      LLC
                             Shirley Whitehead to
                                                       Coal Reserves for Williamson
Warranty Deed   10/17/2018   Williamson Energy,                                       FC 2018-4400                                             Owned
                                                         Energy, LLC Operations
                                      LLC
                             Barbara Faye Sharkey
                                        to             Coal Reserves for Williamson
Warranty Deed   10/23/2018                                                            FC 2018-4481                                             Owned
                             Williamson Energy,          Energy, LLC Operations
                                      LLC
                              Emma L. Stetson to
                                                       Coal Reserves for Williamson
Warranty Deed    2/1/2019    Williamson Energy,                                       FC 2019-335                                              Owned
                                                         Energy, LLC Operations
                                      LLC




                                                                                                                        Main Docum
                                                                                                                                                 79



                            Ronald L. Johnson to
                                                    Coal Reserves for Williamson
Warranty Deed   3/26/2019   Williamson Energy,                                     FC 2019-1004                                          Owned
                                                      Energy, LLC Operations
                                    LLC
                             Sarah Greenwade to
                                                    Coal Reserves for Williamson
Warranty Deed   4/2/2019    Williamson Energy,                                     FC 2019-1134                                          Owned
                                                      Energy, LLC Operations
                                    LLC




                                                                                                                  Case 20-41308
                             Susan L. Naucke to
                                                    Coal Reserves for Williamson
Warranty Deed   4/2/2019    Williamson Energy,                                     FC 2019-1154                                          Owned
                                                      Energy, LLC Operations
                                    LLC
                              Brock D. Harris to
                                                    Coal Reserves for Williamson
Warranty Deed   4/17/2019   Williamson Energy,                                     FC 2019-1351                                          Owned
                                                      Energy, LLC Operations
                                    LLC
                            James Keith Harris to
                                                    Coal Reserves for Williamson
Warranty Deed   4/17/2019   Williamson Energy,                                     FC 2019-1352                                          Owned




                                                                                                                  Doc 228
                                                      Energy, LLC Operations
                                    LLC
                             Marilyn S. Harris to
                                                    Coal Reserves for Williamson
Warranty Deed   4/23/2019   Williamson Energy,                                     FC 2019-1419                                          Owned
                                                      Energy, LLC Operations
                                    LLC
                            Miranda B. Harris to




                                                                                              Filed 04/01/20 Entered 04/01/20 23:45:34
                                                    Coal Reserves for Williamson
Warranty Deed   5/14/2019   Williamson Energy,                                     FC 2019-1752                                          Owned
                                                      Energy, LLC Operations
                                    LLC
                              Charlotte Jean to
                                                    Coal Reserves for Williamson
Warranty Deed   5/14/2019   Williamson Energy,                                     FC 2019-1751                                          Owned




                                                                                                       Pg 728 of 1005
                                                      Energy, LLC Operations
                                    LLC
                               Debra Krantz to
                                                    Coal Reserves for Williamson
Warranty Deed   7/1/2019    Williamson Energy,                                     FC 2019-2388                                          Owned
                                                      Energy, LLC Operations
                                    LLC
                              Mary Lou Zech to
                                                    Coal Reserves for Williamson
Mining Lease    7/17/2019   Williamson Energy,                                     FC 2019-2618                                          Owned
                                                      Energy, LLC Operations
                                    LLC
                            Judith A. Woodard to
                                                    Coal Reserves for Williamson
Warranty Deed   7/17/2019   Williamson Energy,                                     FC 2019-2617                                          Owned
                                                      Energy, LLC Operations
                                    LLC
                               Debra Krantz to
                                                    Coal Reserves for Williamson
Warranty Deed   7/17/2019   Williamson Energy,                                     FC 2019-2616                                          Owned
                                                      Energy, LLC Operations
                                    LLC




                                                                                                                  Main Docum
                                                                                                                                                    80



                                 Norma Adams
                                   Johnson to         Coal Reserves for Williamson
Warranty Deed   7/24/2019                                                            FC 2019-2732                                          Owned
                             Williamson Energy,         Energy, LLC Operations
                                      LLC
                              Phillip R. Erthall to
                                                      Coal Reserves for Williamson
Warranty Deed   7/30/2019    Williamson Energy,                                      FC 2019-2832                                          Owned




                                                                                                                    Case 20-41308
                                                        Energy, LLC Operations
                                      LLC
                             Robert H. Wilmert to
                                                      Coal Reserves for Williamson
Warranty Deed   7/30/2019    Williamson Energy,                                      FC 2019-2833                                          Owned
                                                        Energy, LLC Operations
                                      LLC
                             Kenneth L. Wilmert to
                                                      Coal Reserves for Williamson
Warranty Deed   8/13/2019    Williamson Energy,                                      FC 2019-3062                                          Owned
                                                        Energy, LLC Operations
                                      LLC
                              William Wilmert to




                                                                                                                    Doc 228
                                                      Coal Reserves for Williamson
Warranty Deed   8/13/2019    Williamson Energy,                                      FC 2019-3061                                          Owned
                                                        Energy, LLC Operations
                                      LLC
                                Linda S. Lear to
                                                      Coal Reserves for Williamson
Warranty Deed    9/4/2019    Williamson Energy,                                      FC 2019-3389                                          Owned
                                                        Energy, LLC Operations
                                      LLC




                                                                                                Filed 04/01/20 Entered 04/01/20 23:45:34
                             Steven H. Machura to
                                                      Coal Reserves for Williamson
    Deed        9/16/2019    Williamson Energy,                                      FC 2019-3554                                          Owned
                                                        Energy, LLC Operations
                                      LLC
                               Sharon A. Aiken-




                                                                                                         Pg 729 of 1005
                                  Peterson to         Coal Reserves for Williamson
Warranty Deed   10/17/2019                                                           FC 2019-3990                                          Owned
                             Williamson Energy,         Energy, LLC Operations
                                      LLC
                               Raven N. Fager to
                                                      Coal Reserves for Williamson
Warranty Deed   10/30/2019   Williamson Energy,                                      FC 2019-4153                                          Owned
                                                        Energy, LLC Operations
                                      LLC
                               Mary Lou Zech to
                                                      Coal Reserves for Williamson
Mining Lease    11/05/2019   Williamson Energy,                                      FC 2019-4251                                          Leased
                                                        Energy, LLC Operations
                                      LLC
                              Daniel L. Johnson to
                                                      Coal Reserves for Williamson
Warranty Deed   11/14/2019   Williamson Energy,                                      FC 2019-4371                                          Owned
                                                        Energy, LLC Operations
                                      LLC
                              Colleen L. Taylor to    Coal Reserves for Williamson
Warranty Deed   11/26/2019                                                           FC 2019-4559                                          Owned
                             Williamson Energy,         Energy, LLC Operations




                                                                                                                    Main Docum
                                                                                                                                                    81



                                    LLC
                             Paula Kay Osteen-
                                  Cortez to         Coal Reserves for Williamson
Warranty Deed   2/25/2020                                                          FC 2020-728                                              Owned
                            Williamson Energy,        Energy, LLC Operations
                                    LLC
                            Monta Ray Jennings to




                                                                                                                     Case 20-41308
                                                    Coal Reserves for Williamson
Warranty Deed   2/25/2020   Williamson Energy,                                     FC 2020-726                                              Owned
                                                      Energy, LLC Operations
                                    LLC
                             Robbie L. Osteen to
                                                    Coal Reserves for Williamson
Warranty Deed   2/25/2020   Williamson Energy,                                     FC 2020-727                                              Owned
                                                      Energy, LLC Operations
                                    LLC




                                                                                                                     Doc 228
                                                                                                 Filed 04/01/20 Entered 04/01/20 23:45:34
                                                                                                          Pg 730 of 1005
                                                                                                                     Main Docum
                                                                                                                                                                       82



DEBTOR/GRANTOR:

SUGAR CAMP ENERGY, LLC
11351 N. Thompsonville Road
Macedonia, Illinois 62860




                                                                                                                              Case 20-41308
Franklin County, Illinois

Hamilton County, Illinois (Coal Reserves only)

Saline County, Illinois (Coal Reserves only)




                                                                                                                              Doc 228
                                                                                                                                                     Owned
  Description/Title of                                                                               Recording                                                Subject to
                            Date               Parties             Brief Legal Description                                                             or
      Document                                                                                      Information                                               Mortgage
                                                                                                                                                     Leased




                                                                                                          Filed 04/01/20 Entered 04/01/20 23:45:34
                                       USA through TVA &
                                      Illinois Fuel Company      Properties located in Franklin     #2007-5822
  TVA Illinois Coal




                                                                                                                   Pg 731 of 1005
                         7/1/2002    LLC (as assigned to Ruger     County IL as described in                                                         Leased      Yes
       Lease                                                                                      Rec. 10/11/2007
                                      Coal Company, LLC),                  Exhibit A
                                     Sugar Camp Energy, LLC

                                       USA through TVA &
   Assignment of                      Illinois Fuel Company      Properties located in Franklin     #2009-4445
  TVA Illinois Coal      8/4/2009    LLC (as assigned to Ruger     County IL as described in                                                         Leased      Yes
       Lease                          Coal Company, LLC),                  Exhibit A              Rec. 9/10/2009
                                     Sugar Camp Energy, LLC




                                                                                                                              Main Docum
                                                                                                                                                                     83



                                                                                                                                                   Owned
Description/Title of                                                                               Recording                                                Subject to
                         Date               Parties               Brief Legal Description                                                            or
    Document                                                                                      Information                                               Mortgage
                                                                                                                                                   Leased

Amendment One to                                                Properties located in Franklin




                                                                                                                            Case 20-41308
                                     USA through TVA &
TVA Illinois Coal      4/17/2012                                  County IL as described in        FC-0027                                         Leased      Yes
                                   Ruger Coal Company LLC
     Lease                                                                Exhibit A

 Amendment Two                                                  Properties located in Franklin
                                     USA through TVA &                                              NOT
  to TVA Illinois      8/30/2012                                  County IL as described in                                                        Leased      Yes
                                   Ruger Coal Company LLC                                        RECORDED
    Coal Lease                                                            Exhibit A




                                                                                                                            Doc 228
 Letter Agreement                                               Properties located in Franklin
                                     USA through TVA &                                              NOT
  regarding TVA        8/30/2012                                  County IL as described in                                                        Leased      Yes
                                   Ruger Coal Company LLC                                        RECORDED
Illinois Coal Lease                                                       Exhibit A




                                                                                                        Filed 04/01/20 Entered 04/01/20 23:45:34
                                      USA through TVA &
                                   Ruger Coal Company, Inc.     Properties located in Franklin      NOT
 Franklin County                                                                                 RECORDED
                       7/1/2002    (as assigned to Ruger Coal     County IL as described in                                                        Leased      Yes
   Coal Lease
                                     Company, LLC), Sugar                 Exhibit A




                                                                                                                 Pg 732 of 1005
                                                                                                   FC-0027
                                       Camp Energy, LLC

                                      USA through TVA &
                                   Ruger Coal Company, Inc.     Properties located in Franklin    #2007-5132
  Assignment of
                       9/10/2007   (as assigned to Ruger Coal     County IL as described in                                                        Leased      Yes
      Lease                                                                                      Rec. 9/12/2007
                                     Company, LLC), Sugar                 Exhibit A
                                       Camp Energy, LLC




                                                                                                                            Main Docum
                                                                                                                                                                    84



                                                                                                                                                  Owned
Description/Title of                                                                              Recording                                                Subject to
                         Date              Parties             Brief Legal Description                                                              or
    Document                                                                                     Information                                               Mortgage
                                                                                                                                                  Leased

                                                            Properties located in Franklin




                                                                                                                           Case 20-41308
                                   RGGS Land & Minerals &                                       FC-0083 FC
Coal Mining Lease      7/29/2005                              County IL as described in                                                           Leased      Yes
                                   Sugar Camp Energy, LLC                                        2006-6919
                                                                      Exhibit A

                                                            Properties located in Franklin
 Memorandum of                     RGGS Land & Minerals &
                       7/29/2005                              County IL as described in        FC 2006-6919                                       Leased      Yes
Coal Mining Lease                  Sugar Camp Energy, LLC
                                                                      Exhibit A




                                                                                                                           Doc 228
  Supplemental                                              Properties located in Franklin
                                   RGGS Land & Minerals &
 Memorandum of         7/29/2005                              County IL as described in        FC 2008-4441                                       Leased      Yes
                                   Sugar Camp Energy, LLC
Coal Mining Lease                                                     Exhibit A




                                                                                                       Filed 04/01/20 Entered 04/01/20 23:45:34
                                                            Properties located in Franklin       #2012-6228
                                   Sugar Camp Energy, LLC
     Sublease          3/6/2012                               County IL as described in                                                           Leased      Yes
                                         & HOD LLC                                             Rec. 12/11/2012
                                                                      Exhibit A




                                                                                                                Pg 733 of 1005
 First Amendment                                            Properties located in Franklin       #2008-4441
                                   RGGS Land & Minerals &
  to Coal Mining       8/11/2008                              County IL as described in                                                           Leased      Yes
                                   Sugar Camp Energy, LLC                                      Rec. 8/12/2008
       Lease                                                          Exhibit A

                                    Ruger Coal Company,
                                                            Consent with respect to Illinois
 Consent to Mine       1/22/2010     LLC & Sugar Camp                                             FC-0233                                         Leased      Yes
                                                                    Fuels Lease
                                       Energy, LLC




                                                                                                                           Main Docum
                                                                                                                                                                  85



                                                                                                                                                Owned
Description/Title of                                                                            Recording                                                Subject to
                         Date              Parties             Brief Legal Description                                                            or
    Document                                                                                   Information                                               Mortgage
                                                                                                                                                Leased

                                   Ruger Coal Company LLC




                                                                                                                         Case 20-41308
Overriding Royalty                                          Right to mine on Illinois Fuels      NOT
                       8/12/2010    to Sugar Camp Energy,                                                                                       Leased      Yes
Interest Agreement                                                   TVA Lease                RECORDED
                                             LLC

                                   Ruger Coal Company LLC
Overriding Royalty                                            Right to mine on Franklin          NOT
                       8/12/2010    to Sugar Camp Energy,                                                                                       Leased      No
Interest Agreement                                              County TVA Lease              RECORDED
                                             LLC




                                                                                                                         Doc 228
                                   Ruger Coal Company LLC
   Coal Mining                                                                                   NOT
                       8/12/2010    to Sugar Camp Energy,           Coal Reserves                                                               Leased      Yes
     Lease`                                                                                   RECORDED
                                             LLC




                                                                                                     Filed 04/01/20 Entered 04/01/20 23:45:34
 Memorandum of                     Ruger Coal Company LLC
  Coal Mining          8/12/2010    to Sugar Camp Energy,           Coal Reserves             FC 2010-3825                                      Leased      Yes
    Lease`                                   LLC




                                                                                                              Pg 734 of 1005
 First Amendment                   Ruger Coal Company LLC
                                                                                                 NOT
  to Coal Mining       11/4/2011    to Sugar Camp Energy,           Coal Reserves                                                               Leased      Yes
                                                                                              RECORDED
       Lease`                                LLC

     Second
                                   Ruger Coal Company LLC
  Amendment to                                                                                   NOT
                         2012       to Sugar Camp Energy,           Coal Reserves                                                               Leased      Yes
   Coal Mining                                                                                RECORDED
                                             LLC
     Lease`




                                                                                                                         Main Docum
                                                                                                                                                                   86



                                                                                                                                                 Owned
Description/Title of                                                                             Recording                                                Subject to
                         Date              Parties             Brief Legal Description                                                             or
    Document                                                                                    Information                                               Mortgage
                                                                                                                                                 Leased

Memorandum after




                                                                                                                          Case 20-41308
 First and Second                  Ruger Coal Company LLC
                                                                                                  NOT
 Amendments to           2012       to Sugar Camp Energy,           Coal Reserves                                                                Leased      Yes
                                                                                               RECORDED
   Coal Mining                               LLC
       Lease`

                                   HOD LLC to Sugar Camp                                          NOT
 Lease Agreement       3/6/2012                              Sugar Camp Rail Load Out                                                            Leased      Yes
                                       Energy, LLC                                             RECORDED




                                                                                                                          Doc 228
 Memorandum of                     HOD LLC to Sugar Camp
                       3/6/2012                              Sugar Camp Rail Load Out          FC 2012-6228                                      Leased      Yes
 Lease Agreement                       Energy, LLC




                                                                                                      Filed 04/01/20 Entered 04/01/20 23:45:34
                                    Ruger Coal Company,
                                                            Consent with respect to Illinois
 Consent to Mine       1/22/2010     LLC & Sugar Camp                                            FC-0233                                         Leased      Yes




                                                                                                               Pg 735 of 1005
                                                                    Fuels Lease
                                       Energy, LLC

                                   Ruger Coal Company LLC
Overriding Royalty                                          Right to mine on Illinois Fuels
                       8/12/2010    to Sugar Camp Energy,                                          N/A                                           Leased      Yes
Interest Agreement                                                   TVA Lease
                                             LLC




                                                                                                                          Main Docum
                                                                                                                                                      87



                                 Ruger Coal Company LLC
Overriding Royalty                                        Right to mine on Franklin
                     8/12/2010    to Sugar Camp Energy,                                   N/A                                          Leased   No
Interest Agreement                                          County TVA Lease
                                           LLC

                                 Ruger Coal Company LLC




                                                                                                                Case 20-41308
   Coal Mining                                                                           NOT
                     8/12/2010    to Sugar Camp Energy,        Coal Reserves                                                           Leased   Yes
     Lease`                                                                           RECORDED
                                           LLC

 Memorandum of                   Ruger Coal Company LLC
  Coal Mining        8/12/2010    to Sugar Camp Energy,        Coal Reserves          FC 2010-3825                                     Leased   Yes
    Lease`                                 LLC




                                                                                                                Doc 228
First Amendment                  Ruger Coal Company LLC
                                                                                         NOT
 to Coal Mining      11/4/2011    to Sugar Camp Energy,        Coal Reserves                                                           Leased   Yes
                                                                                      RECORDED
      Lease`                               LLC




                                                                                            Filed 04/01/20 Entered 04/01/20 23:45:34
     Second
                                 Ruger Coal Company LLC
  Amendment to                                                                           NOT
                       2012       to Sugar Camp Energy,        Coal Reserves                                                           Leased   Yes
   Coal Mining                                                                        RECORDED
                                           LLC
     Lease`




                                                                                                     Pg 736 of 1005
Memorandum after
 First and Second                Ruger Coal Company LLC
                                                                                         NOT
 Amendments to         2012       to Sugar Camp Energy,        Coal Reserves                                                           Leased   Yes
                                                                                      RECORDED
   Coal Mining                             LLC
       Lease`




                                                                                                                Main Docum
                                                                                                                                                    88



                              HOD LLC to Sugar Camp                                    NOT
Lease Agreement    3/6/2012                             Sugar Camp Rail Load Out                                                     Leased   Yes
                                  Energy, LLC                                       RECORDED

Memorandum of                 HOD LLC to Sugar Camp
                   3/6/2012                             Sugar Camp Rail Load Out    FC 2012-6228                                     Leased   Yes
Lease Agreement                   Energy, LLC




                                                                                                              Case 20-41308
                              Roberts, Carol Ann
Mining Lease      01/04/18                             Sugar Camp Mine Plan        HC 2018-0008                                      Leased
                              Trustee to SCELLC




                                                                                                              Doc 228
                              Engstrom, Amy to
Mining Lease      01/04/18                             Sugar Camp Mine Plan        HC 2018-0011                                      Leased
                              SCELLC
                              Hayes, Marshall Jr. to
Mining Lease      01/04/18                             Sugar Camp Mine Plan        HC 2018-0013                                      Leased
                              SCELLC
                              Blanchard, Bonnie M.




                                                                                          Filed 04/01/20 Entered 04/01/20 23:45:34
Mining Lease      01/04/18                             Sugar Camp Mine Plan        HC 2018-0016                                      Leased
                              to SCELLC
                              Palmer, James to
Mining Lease      01/04/18                             Sugar Camp Mine Plan        HC 2018-0017                                      Leased
                              SCELLC




                                                                                                   Pg 737 of 1005
                              Moxley, Linda to
Mining Lease      01/04/18                             Sugar Camp Mine Plan        HC 2018-0018                                      Leased
                              SCELLC
                              Johnson, Susan L. to
Coal Deed         01/04/18                             Sugar Camp Mine Plan        HC 2018-0019                                      Owned
                              SCELLC
                              McFarland, Carol A. to
Mining Lease      01/30/18                             Sugar Camp Mine Plan        HC 2018-0110                                      Leased
                              SCELLC
                              Bowman, Debra Kate to
Mining Lease      01/30/18                             Sugar Camp Mine Plan        HC 2018-0111                                      Leased
                              SCELLC
                              Diaz, Donna J. to
Mining Lease      01/30/18                             Sugar Camp Mine Plan        HC 2018-0112                                      Leased
                              SCELLC




                                                                                                              Main Docum
                                                                                                                                     89



                          Flannigan, James T. to
Mining Lease   01/30/18                            Sugar Camp Mine Plan   HC 2018-0113                                      Leased
                          SCELLC
                          Leslie, Janet E. to
Mining Lease   01/30/18                            Sugar Camp Mine Plan   HC 2018-0114                                      Leased
                          SCELLC
                          Reid, Jon M. to




                                                                                                     Case 20-41308
Mining Lease   01/30/18                            Sugar Camp Mine Plan   HC 2018-0115                                      Leased
                          SCELLC
                          Webster, Linda to
Mining Lease   01/30/18                            Sugar Camp Mine Plan   HC 2018-0116                                      Leased
                          SCELLC
                          Henson, William to
Mining Lease   01/30/18                            Sugar Camp Mine Plan   HC 2018-0119                                      Leased
                          SCELLC
                          Wake, Amanda to
Coal Deed      01/30/18                            Sugar Camp Mine Plan   HC 2018-0120                                      Owned
                          SCELLC




                                                                                                     Doc 228
                          Trabant, Megan to
Coal Deed      01/30/18                            Sugar Camp Mine Plan   HC 2018-0121                                      Owned
                          SCELLC
                          Metheney, Pamela S. to
Coal Deed      01/30/18                            Sugar Camp Mine Plan   HC 2018-0122                                      Owned
                          SCELLC




                                                                                 Filed 04/01/20 Entered 04/01/20 23:45:34
                          Metheney, Rochelle to
Coal Deed      01/30/18                            Sugar Camp Mine Plan   HC 2018-0123                                      Owned
                          SCELLC
                          Bloomfield, Dora to
Mining Lease   01/30/18                            Sugar Camp Mine Plan   HC 2018-0123                                      Leased




                                                                                          Pg 738 of 1005
                          SCELLC
                          Flannigan, Donald to
Mining Lease   01/30/18                            Sugar Camp Mine Plan   HC 2018-0124                                      Leased
                          SCELLC
                          Smith, Sharon to
Mining Lease   01/30/18                            Sugar Camp Mine Plan   HC 2018-0126                                      Leased
                          SCELLC
                          Wood, Betty A. to
Mining Lease   02/08/18                            Sugar Camp Mine Plan   HC 2018-0171                                      Leased
                          SCELLC
                          Irish, Carol V. to
Mining Lease   02/08/18                            Sugar Camp Mine Plan   HC 2018-0172                                      Leased
                          SCELLC
                          Wicker, Darrell to
Mining Lease   02/08/18                            Sugar Camp Mine Plan   HC 2018-0173                                      Leased
                          SCELLC




                                                                                                     Main Docum
                                                                                                                                       90



                          Kathleen M. Wright to
Mining Lease   02/08/18                              Sugar Camp Mine Plan   HC 2018-0174                                      Leased
                          SCELLC
                          Irish, Lloyd Paul to
Mining Lease   02/08/18                              Sugar Camp Mine Plan   HC 2018-0175                                      Leased
                          SCELLC
                          Patterson, Paul J. to




                                                                                                       Case 20-41308
Mining Lease   02/08/18                              Sugar Camp Mine Plan   HC 2018-0176                                      Leased
                          SCELLC
                          Wicker, Paul R. to
Mining Lease   02/08/18                              Sugar Camp Mine Plan   HC 2018-0177                                      Leased
                          SCELLC
                          Krois, Bonnie C. to
Mining Lease   02/28/18                              Sugar Camp Mine Plan   HC 2018-0270                                      Leased
                          SCELLC
                          Tabor, Stephanie to
Coal Deed      02/28/18                              Sugar Camp Mine Plan   HC 2018-0271                                      Owned
                          SCELLC




                                                                                                       Doc 228
                          Petitte, Clyda to
Mining Lease   02/28/18                              Sugar Camp Mine Plan   HC 2018-0272                                      Leased
                          SCELLC
                          Patterson, Emily Jo to
Mining Lease   02/28/18                              Sugar Camp Mine Plan   HC 2018-0273                                      Leased
                          SCELLC




                                                                                   Filed 04/01/20 Entered 04/01/20 23:45:34
Mining Lease   02/28/18   Allen, Jane to SCELLC      Sugar Camp Mine Plan   HC 2018-0274                                      Leased
                          Spaven, Laverne to
Coal Deed      02/28/18                              Sugar Camp Mine Plan   HC 2018-0276                                      Owned




                                                                                            Pg 739 of 1005
                          SCELLC
                          Jackson, Patricia Snyder
Mining Lease   02/28/18                              Sugar Camp Mine Plan   HC 2018-0277                                      Leased
                          to SCELLC
                          Gioia, Virginia M. to
Mining Lease   02/28/18                              Sugar Camp Mine Plan   HC 2018-0278                                      Leased
                          SCELLC
                          Moffett, William R. to
Mining Lease   02/28/18                              Sugar Camp Mine Plan   HC 2018-0279                                      Leased
                          SCELLC
                          O'Dell, William to
Mining Lease   02/28/18                              Sugar Camp Mine Plan   HC 2018-0280                                      Leased
                          SCELLC
                          Reid, Dennis P. to
Mining Lease   02/28/18                              Sugar Camp Mine Plan   HC 2018-0281                                      Leased
                          SCELLC




                                                                                                       Main Docum
                                                                                                                                      91



                          Griffith, Janice Sue to
Coal Deed      02/28/18                             Sugar Camp Mine Plan   HC 2018-0284                                      Owned
                          SCELLC
                          Knight, Kenneth E. to
Mining Lease   02/28/18                             Sugar Camp Mine Plan   HC 2018-0287                                      Leased
                          SCELLC
                          Metheney, Rickie W. to




                                                                                                      Case 20-41308
Coal Deed      02/28/18                             Sugar Camp Mine Plan   HC 2018-0289                                      Owned
                          SCELLC
                          Olson, Ruth E. to
Mining Lease   02/28/18                             Sugar Camp Mine Plan   HC 2018-0291                                      Leased
                          SCELLC
                          Sandy, Susan E. to
Mining Lease   02/28/18                             Sugar Camp Mine Plan   HC 2018-0293                                      Leased
                          SCELLC
                          Miller, Micah A. &
Coal Deed      02/28/18                             Sugar Camp Mine Plan   HC 2019-2023                                      Owned
                          Marietta to SCELLC




                                                                                                      Doc 228
                          Mudge, Evelyn M. to
Mining Lease   04/06/18                             Sugar Camp Mine Plan   HC 2018-0806                                      Leased
                          SCELLC
                          Higginson, Leslie K. to
Mining Lease   04/12/18                             Sugar Camp Mine Plan   HC 2018-0527                                      Leased
                          SCELLC




                                                                                  Filed 04/01/20 Entered 04/01/20 23:45:34
                          Farris, Brenda K. to
Coal Deed      04/12/18                             Sugar Camp Mine Plan   HC 2018-0528                                      Owned
                          SCELLC
                          Cook, Becky Lynn to
Mining Lease   04/12/18                             Sugar Camp Mine Plan   HC 2018-0529                                      Leased




                                                                                           Pg 740 of 1005
                          SCELLC
                          Snyder, Diane M. to
Mining Lease   04/12/18                             Sugar Camp Mine Plan   HC 2018-0530                                      Leased
                          SCELLC
                          O'Dell, Kevin J. to
Mining Lease   04/12/18                             Sugar Camp Mine Plan   HC 2018-0531                                      Leased
                          SCELLC
                          Wohlers, Karen J. to
Mining Lease   04/12/18                             Sugar Camp Mine Plan   HC 2018-0532                                      Leased
                          SCELLC
                          Heckert, Lauri to
Mining Lease   04/12/18                             Sugar Camp Mine Plan   HC 2018-0533                                      Leased
                          SCELLC




                                                                                                      Main Docum
                                                                                                                                       92



                          Page, Mary Jane by
Mining Lease   04/12/18   Sidney Bennett III AIF     Sugar Camp Mine Plan   HC 2018-0534                                      Leased
                          to SCELLC
                          Comp ton, Paulette N. to
Mining Lease   04/12/18                              Sugar Camp Mine Plan   HC 2018-0535                                      Leased
                          SCELLC




                                                                                                       Case 20-41308
                          Taylor, Jennifer to
Mining Lease   04/12/18                              Sugar Camp Mine Plan   HC 2018-0536                                      Leased
                          SCELLC
                          O'Dell, Carol Lee to
Mining Lease   04/12/18                              Sugar Camp Mine Plan   HC 2018-0537                                      Leased
                          SCELLC
                          O'Dell, Casey Joel to
Mining Lease   04/12/18                              Sugar Camp Mine Plan   HC 2018-0538                                      Leased
                          SCELLC
                          Lowman, Timothy A. to




                                                                                                       Doc 228
Mining Lease   05/08/18                              Sugar Camp Mine Plan   HC 2018-0548                                      Leased
                          SCELLC
                          Neal, Douglas Allen to
Mining Lease   05/08/18                              Sugar Camp Mine Plan   HC 2018-0754                                      Leased
                          SCELLC
                          Williams, J. Mark to




                                                                                   Filed 04/01/20 Entered 04/01/20 23:45:34
Mining Lease   05/08/18                              Sugar Camp Mine Plan   HC 2018-0755                                      Leased
                          SCELLC
                          Barker, Lynne E. to
Mining Lease   05/08/18                              Sugar Camp Mine Plan   HC 2018-0756                                      Leased
                          SCELLC




                                                                                            Pg 741 of 1005
                          Knight, Stephen L. to
Mining Lease   05/08/18                              Sugar Camp Mine Plan   HC 2018-0757                                      Leased
                          SCELLC
                          Neal, Walter Blake to
Mining Lease   05/08/18                              Sugar Camp Mine Plan   HC 2018-0759                                      Leased
                          SCELLC
Coal Deed      05/11/18   Noma, Inc to SCELLC        Sugar Camp Mine Plan   HC 2018-1036                                      Owned
                          Hake, Gary R. to
Mining Lease   05/16/18                              Sugar Camp Mine Plan   HC 2018-0807                                      Leased
                          SCELLC
                          Hosner, Irene Neal to
Mining Lease   05/16/18                              Sugar Camp Mine Plan   HC 2018-0808                                      Leased
                          SCELLC




                                                                                                       Main Docum
                                                                                                                                        93



                          Duckworth, Nina Neal
Mining Lease   05/16/18                               Sugar Camp Mine Plan   HC 2018-0811                                      Leased
                          to SCELLC
                          Bailey, Velma Neal to
Mining Lease   05/16/18                               Sugar Camp Mine Plan   HC 2018-0812                                      Leased
                          SCELLC
                          Lovan, W. Robert to




                                                                                                        Case 20-41308
Mining Lease   05/16/18                               Sugar Camp Mine Plan   HC 2018-0813                                      Leased
                          SCELLC
                          Neal, William Jerry to
Mining Lease   05/16/18                               Sugar Camp Mine Plan   HC 2018-0814                                      Leased
                          SCELLC
                          Bow ton, Barbara G. to
Coal Deed      06/27/18                               Sugar Camp Mine Plan   HC 2018-1027                                      Owned
                          SCELLC
                          Whets tone, Dennis W.
Coal Deed      06/27/18                               Sugar Camp Mine Plan   HC 2018-1028                                      Owned
                          to SCELLC




                                                                                                        Doc 228
                          Whets tone, William R.
Coal Deed      06/27/18                               Sugar Camp Mine Plan   HC 2018-1029                                      Owned
                          to SCELLC
                          Smith, Bernice to
Coal Deed      06/27/18                               Sugar Camp Mine Plan   HC 2018-1030                                      Owned
                          SCELLC




                                                                                    Filed 04/01/20 Entered 04/01/20 23:45:34
                          Thompson, Beatrice %
Coal Deed      06/27/18   Billy E. Walker AIF to      Sugar Camp Mine Plan   HC 2018-1031                                      Owned
                          SCELLC




                                                                                             Pg 742 of 1005
                          First Church of the
Coal Deed      06/27/18                               Sugar Camp Mine Plan   HC 2018-1032                                      Owned
                          Nazarene to SCELLC
                          Linn, Karen R. to
Coal Deed      06/27/18                               Sugar Camp Mine Plan   HC 2018-1034                                      Owned
                          SCELLC
                          Seibert, Charles Ellis to
Mining Lease   06/27/18                               Sugar Camp Mine Plan   HC 2018-1037                                      Leased
                          SCELLC
                          Seibert, James Thomas
Mining Lease   06/27/18                               Sugar Camp Mine Plan   HC 2018-1038                                      Leased
                          to SCELLC
                          Drake, Terry W. to
Mining Lease   06/27/18                               Sugar Camp Mine Plan   HC 2018-1041                                      Leased
                          SCELLC




                                                                                                        Main Docum
                                                                                                                                     94



                          Scott, Betsy Dawn to
Mining Lease   06/27/18                            Sugar Camp Mine Plan   HC 2018-1042                                      Leased
                          SCELLC
                          Lane, John Bradley to
Mining Lease   06/27/18                            Sugar Camp Mine Plan   HC 2018-1045                                      Leased
                          SCELLC
                          Drake, Mark W. to




                                                                                                     Case 20-41308
Mining Lease   06/27/18                            Sugar Camp Mine Plan   HC 2018-1045                                      Leased
                          SCELLC
                          Mendyk, Julie to
Coal Deed      06/27/18                            Sugar Camp Mine Plan   HC 2018-1088                                      Owned
                          SCELLC
                          Wall, Joyce Ann to
Mining Lease   07/05/18                            Sugar Camp Mine Plan   HC 2018-1086                                      Leased
                          SCELLC
                          Metheney, Donald W. to
Mining Lease   07/05/18                            Sugar Camp Mine Plan   HC 2018-1084                                      Leased
                          SCELLC




                                                                                                     Doc 228
                          Sandidge, Joyce to
Coal Deed      07/05/18                            Sugar Camp Mine Plan   HC 2018-1085                                      Owned
                          SCELLC
                          Smith, Leon to
Coal Deed      07/05/18                            Sugar Camp Mine Plan   HC 2018-1087                                      Owned
                          SCELLC




                                                                                 Filed 04/01/20 Entered 04/01/20 23:45:34
                          Smith, Richard H. to
Coal Deed      07/05/18                            Sugar Camp Mine Plan   HC 2018-1088                                      Owned
                          SCELLC
                          Wall, Ronald M. to
Mining Lease   07/05/18                            Sugar Camp Mine Plan   HC 2018-1089                                      Leased




                                                                                          Pg 743 of 1005
                          SCELLC
                          Martin, Marianne B. to
Mining Lease   07/18/18                            Sugar Camp Mine Plan   HC 2018-1157                                      Leased
                          SCELLC
                          Wilkie, Mary Jean to
Mining Lease   07/18/18                            Sugar Camp Mine Plan   HC 2018-1158                                      Leased
                          SCELLC
                          Jones, Michael J. to
Mining Lease   07/18/18                            Sugar Camp Mine Plan   HC 2018-1159                                      Leased
                          SCELLC
                          Martin, Janet J. to
Mining Lease   07/18/18                            Sugar Camp Mine Plan   HC 2018-1160                                      Leased
                          SCELLC
                          Kleber, LLC to
Mining Lease   07/30/18                            Sugar Camp Mine Plan   HC 2018-1222                                      Leased
                          SCELLC




                                                                                                     Main Docum
                                                                                                                                      95



                          Vickers, Rhonda Lee to
Mining Lease   08/08/18                             Sugar Camp Mine Plan   HC 2018-1271                                      Leased
                          SCELLC
                          Pike, Brenda L. to
Mining Lease   08/08/18                             Sugar Camp Mine Plan   HC 2018-1272                                      Leased
                          SCELLC
                          Schwenn, Carolyn S. to




                                                                                                      Case 20-41308
Mining Lease   08/08/18                             Sugar Camp Mine Plan   HC 2018-1273                                      Leased
                          SCELLC
                          Lane, Juanita Dare to
Mining Lease   08/14/18                             Sugar Camp Mine Plan   HC 2018-1302                                      Leased
                          SCELLC
                          Metheney, Miranda to
Coal Deed      08/14/18                             Sugar Camp Mine Plan   HC 2018-1301                                      Owned
                          SCELLC
                          Yancey, George to
Mining Lease   08/14/18                             Sugar Camp Mine Plan   HC 2018-1303                                      Leased
                          SCELLC




                                                                                                      Doc 228
                          Knob Prairie Baptist
Mining Lease   08/28/18   Cemetery Association to   Sugar Camp Mine Plan   HC 2018-1040                                      Leased
                          SCELLC
                          Buchanan, Cynthia E. to




                                                                                  Filed 04/01/20 Entered 04/01/20 23:45:34
Coal Deed      09/12/18                             Sugar Camp Mine Plan   HC 2018-1439                                      Owned
                          SCELLC
                          Brophy, Romaine widow
Coal Deed      09/12/18   of James Brophy to        Sugar Camp Mine Plan   HC 2018-1440                                      Owned




                                                                                           Pg 744 of 1005
                          SCELLC
                          Wright, Donald L. to
Mining Lease   09/12/18                             Sugar Camp Mine Plan   HC 2018-1441                                      Leased
                          SCELLC
                          Dorion, Rhona to
Mining Lease   09/12/18                             Sugar Camp Mine Plan   HC 2018-1442                                      Leased
                          SCELLC
                          Wright, Laura to
Mining Lease   09/12/18                             Sugar Camp Mine Plan   HC 2018-1443                                      Leased
                          SCELLC
                          Simmons, Gavin T. to
Mining Lease   10/03/18                             Sugar Camp Mine Plan   HC 2018-1523                                      Leased
                          SCELLC
                          Wright, Curtis D. to
Mining Lease   10/03/18                             Sugar Camp Mine Plan   HC 2018-1524                                      Leased
                          SCELLC




                                                                                                      Main Docum
                                                                                                                                       96



                          Lane, Riley Elizabeth to
Mining Lease   10/03/18                             Sugar Camp Mine Plan    HC 2018-1525                                      Leased
                          SCELLC
                          Winter, Carrie L Trust to
Mining Lease   10/24/18                             Sugar Camp Mine Plan    HC 2018-1662                                      Leased
                          SCELLC




                                                                                                       Case 20-41308
Mining Lease   10/24/18   Smith, Brett to SCELLC     Sugar Camp Mine Plan   HC 2018-1663                                      Leased
                          Johnson, Flora Wymond
Mining Lease   10/24/18                              Sugar Camp Mine Plan   HC 2018-1665                                      Leased
                          to SCELLC
                          Collins, Sandra Lee to
Mining Lease   10/24/18                              Sugar Camp Mine Plan   HC 2018-1666                                      Leased
                          SCELLC
                          Koptez, Steven Gerald
Mining Lease   10/24/18                              Sugar Camp Mine Plan   HC 2018-1667                                      Leased
                          to SCELLC




                                                                                                       Doc 228
                          Decker, Mary Lee to
Mining Lease   10/24/18                              Sugar Camp Mine Plan   HC 2018-1783                                      Leased
                          SCELLC
                          Jenkins, Thomas R to
Coal Deed      10/30/18                              Sugar Camp Mine Plan   HC 2018-1692                                      Owned
                          SCELLC




                                                                                   Filed 04/01/20 Entered 04/01/20 23:45:34
                          Dry, Margaret Johnson
Mining Lease   10/30/18                              Sugar Camp Mine Plan   HC 2018-1693                                      Leased
                          to SCELLC
                          Lane, Sydney Drew to
Mining Lease   10/30/18                              Sugar Camp Mine Plan   HC 2018-1694                                      Leased




                                                                                            Pg 745 of 1005
                          SCELLC
                          touma, Elizabeth
Mining Lease   10/30/18                              Sugar Camp Mine Plan   HC 2018-1695                                      Leased
                          Johnson to SCELLC
                          Myers, Phyllis Ann to
Mining Lease   10/30/18                              Sugar Camp Mine Plan   HC 2018-1696                                      Leased
                          SCELLC
                          Palmer, Gary to
Mining Lease   11/19/18                              Sugar Camp Mine Plan   HC 2018-1785                                      Leased
                          SCELLC
                          Jordon, Flora Johnson to
Mining Lease   11/19/18                              Sugar Camp Mine Plan   HC 2018-1908                                      Leased
                          SCELLC
                          Waggoner, Amanda J to
Mining Lease   11/20/18                              Sugar Camp Mine Plan   FC 2018-4821                                      Leased
                          SCELLC




                                                                                                       Main Docum
                                                                                                                                      97



                          Bohannon, Barbara Ann
Mining Lease   11/20/18                             Sugar Camp Mine Plan   FC 2018-4822                                      Leased
                          to SCELLC
                          Otterson, Lloyd L. to
Mining Lease   11/20/18                             Sugar Camp Mine Plan   FC 2018-4823                                      Leased
                          SCELLC
                          Goforth, Heather J. to




                                                                                                      Case 20-41308
Mining Lease   12/11/18                             Sugar Camp Mine Plan   HC 2018-1905                                      Leased
                          SCELLC
                          Goforth, Matthew R. to
Mining Lease   12/11/18                             Sugar Camp Mine Plan   HC 2018-1906                                      Leased
                          SCELLC
                          Smith, Kerry to
Mining Lease   12/11/18                             Sugar Camp Mine Plan   HC 2018-1907                                      Leased
                          SCELLC
                          Johnson, Katherine
Mining Lease   12/11/18                             Sugar Camp Mine Plan   HC 2018-1908                                      Leased
                          Elizabeth to SCELLC




                                                                                                      Doc 228
                          Wright, Shelia P. to
Mining Lease   12/18/18                             Sugar Camp Mine Plan   HC 2018-1974                                      Leased
                          SCELLC
                          Wright, Richard A. to
Mining Lease   12/18/18                             Sugar Camp Mine Plan   HC 2018-1975                                      Leased
                          SCELLC




                                                                                  Filed 04/01/20 Entered 04/01/20 23:45:34
                          Wright, Michael S. to
Mining Lease   12/18/18                             Sugar Camp Mine Plan   HC 2018-1976                                      Leased
                          SCELLC
                          Brown, Gary R. to
Mining Lease   12/18/18                             Sugar Camp Mine Plan   HC 2018-1977                                      Leased




                                                                                           Pg 746 of 1005
                          SCELLC
                          Jenkins, Mike to
Coal Deed      01/09/19                             Sugar Camp Mine Plan   HC 2019-0057                                      Owned
                          SCELLC
                          Jenkins, Hellen to
Mining Lease   01/09/19                             Sugar Camp Mine Plan   HC 2019-0058                                      Leased
                          SCELLC
                          Bayne, Janet Jenkins to
Mining Lease   01/09/19                             Sugar Camp Mine Plan   HC 2019-0059                                      Leased
                          SCELLC
                          Jenkins, James J. to
Mining Lease   01/09/19                             Sugar Camp Mine Plan   HC 2019-0060                                      Leased
                          SCELLC
                          Wright, Steven Ray to
Mining Lease   01/16/19                             Sugar Camp Mine Plan   HC 2019-0097                                      Leased
                          SCELLC




                                                                                                      Main Docum
                                                                                                                                      98



                          Wright, Ida Louise to
Mining Lease   01/16/19                             Sugar Camp Mine Plan   HC 2019-0098                                      Leased
                          SCELLC
                          The Bonnie Camp
Coal Deed      01/29/19                             Sugar Camp Mine Plan   HC 2019-0150                                      Owned
                          Meeting to SCELLC
                          Barnhill, Ruth Eloise




                                                                                                      Case 20-41308
Coal Deed      02/01/19                             Sugar Camp Mine Plan   HC 2019-0168                                      Owned
                          Short to SCELLC
                          Rappe, John James to
Coal Deed      02/01/19                             Sugar Camp Mine Plan   HC 2019-0169                                      Owned
                          SCELLC
                          Willis, Bruce E. to
Mining Lease   02/01/19                             Sugar Camp Mine Plan   HC 2019-0172                                      Leased
                          SCELLC
                          Knott, Elaine Mae to
Mining Lease   02/01/19                             Sugar Camp Mine Plan   HC 2019-0173                                      Leased
                          SCELLC




                                                                                                      Doc 228
                          Seibert, John Walter to
Mining Lease   02/01/19                             Sugar Camp Mine Plan   HC 2019-0174                                      Leased
                          SCELLC
Coal Deed      02/08/19   Short, Leon to SCELLC     Sugar Camp Mine Plan   HC 2019-0210                                      Owned




                                                                                  Filed 04/01/20 Entered 04/01/20 23:45:34
                          Avolt, Kathleen Eagan
Coal Deed      02/08/19                             Sugar Camp Mine Plan   HC 2019-0218                                      Owned
                          to SCELLC
                          Avolt, Donna H. to
Coal Deed      02/08/19                             Sugar Camp Mine Plan   HC 2019-0219                                      Owned




                                                                                           Pg 747 of 1005
                          SCELLC
Mining Lease   02/13/19   Wall, Letitia to SCELLC Sugar Camp Mine Plan     HC 2019-0223                                      Leased
                          Rexing, Joseph L. to                             NOT
Mining Lease   02/14/19                             Sugar Camp Mine Plan                                                     Leased
                          SCELLC                                           RECORDED
                          Rexing, Joseph L. to                             NOT
Mining Lease   02/14/19                             Sugar Camp Mine Plan                                                     Leased
                          SCELLC                                           RECORDED
                          Hoffman, Elaine W. to
Mining Lease   02/19/19                             Sugar Camp Mine Plan   HC 2019-0245                                      Leased
                          SCELLC
                          Banning, David W. to
Coal Deed      03/12/19                             Sugar Camp Mine Plan   HC 2019-0368                                      Owned
                          SCELLC




                                                                                                      Main Docum
                                                                                                                                      99



                          Kinsey, Frances E. to
Mining Lease   03/22/19                             Sugar Camp Mine Plan   HC 2019-0416                                      Leased
                          SCELLC
                          Willis, George Darin to
Mining Lease   03/22/19                             Sugar Camp Mine Plan   HC 2019-0417                                      Leased
                          SCELLC
                          Burns, Lenore E. to




                                                                                                      Case 20-41308
Mining Lease   03/22/19                             Sugar Camp Mine Plan   HC 2019-0418                                      Leased
                          SCELLC
                          Gill, Lorella E. to
Mining Lease   03/22/19                             Sugar Camp Mine Plan   HC 2019-0419                                      Leased
                          SCELLC
                          Oberreiter, Jean Ann
Mining Lease   03/22/19                             Sugar Camp Mine Plan   HC 2019-0420                                      Leased
                          (Evans) to SCELLC
                          Doyle, Kymbra Drasil
Coal Deed      03/22/19                             Sugar Camp Mine Plan   HC 2019-0421                                      Owned
                          to SCELLC




                                                                                                      Doc 228
                          Higgins, Cynthia Ann to
Coal Deed      03/27/19                             Sugar Camp Mine Plan   HC 2019-0446                                      Owned
                          Elaine May Knott
Coal Deed      03/28/19   Short, Dian to SCELLC     Sugar Camp Mine Plan   HC 2019-0463                                      Owned




                                                                                  Filed 04/01/20 Entered 04/01/20 23:45:34
                          Short, Richard to
Coal Deed      03/28/19                             Sugar Camp Mine Plan   HC 2019-0464                                      Owned
                          SCELLC
                          South Side Christian
Coal Deed      04/03/19                             Sugar Camp Mine Plan   HC 2019-0507                                      Owned




                                                                                           Pg 748 of 1005
                          Church to SCELLC
                          Yorgan, Jennifer to
Mining Lease   04/10/19                             Sugar Camp Mine Plan   HC 2019-0558                                      Leased
                          SCELLC
                          Edmonds, James G. to
Mining Lease   04/10/19                             Sugar Camp Mine Plan   HC 2019-0559                                      Leased
                          SCELLC
                          Crowder, Nancee L. to
Mining Lease   04/23/19                             Sugar Camp Mine Plan   HC 2019-0669                                      Leased
                          SCELLC
                          Gunn, Patrick L. to
Mining Lease   04/23/19                             Sugar Camp Mine Plan   HC 2019-0671                                      Leased
                          SCELLC
                          Gunn, Scott L. to
Mining Lease   04/23/19                             Sugar Camp Mine Plan   HC 2019-0672                                      Leased
                          SCELLC




                                                                                                      Main Docum
                                                                                                                                      100



                          Gunn, Kenneth to
Mining Lease   04/23/19                             Sugar Camp Mine Plan   HC 2019-0673                                      Leased
                          SCELLC
                          Foresight Energy LP to                           NOT
Mining Lease   05/01/19                             Sugar Camp Mine Plan                                                     Leased
                          SCELLC                                           RECORDED
                          Camden, Randy to




                                                                                                      Case 20-41308
Mining Lease   05/08/19                             Sugar Camp Mine Plan   HC 2019-0750                                      Leased
                          SCELLC
                          Davis, Tamera L. to
Mining Lease   05/08/19                             Sugar Camp Mine Plan   HC 2019-0751                                      Leased
                          SCELLC
                          Fitts, David F. to
Mining Lease   05/30/19                             Sugar Camp Mine Plan   HC 2019-0851                                      Leased
                          SCELLC
                          Avolt, Geoffrey Barth
Coal Deed      06/03/19                             Sugar Camp Mine Plan   HC 2019-0870                                      Owned
                          to SCELLC




                                                                                                      Doc 228
                          Buchman, Diana Sue
Mining Lease   06/10/19                             Sugar Camp Mine Plan   HC 2019-0896                                      Leased
                          Wright to SCELLC
                          Willis, Robert James to
Mining Lease   06/10/19                             Sugar Camp Mine Plan   HC 2019-0897                                      Leased
                          SCELLC




                                                                                  Filed 04/01/20 Entered 04/01/20 23:45:34
                          Sears, James R. &
Mining Lease   06/10/19                             Sugar Camp Mine Plan   HC 2019-0898                                      Leased
                          Gloria to SCELLC
                          Wise, Melodie Lea to
Mining Lease   06/19/19                             Sugar Camp Mine Plan   HC 2019-0962                                      Leased




                                                                                           Pg 749 of 1005
                          SCELLC
                          Walker, Edwin N. to
Mining Lease   06/19/19                             Sugar Camp Mine Plan   HC 2019-0963                                      Leased
                          SCELLC
                          O'Dell, Paula J. to
Mining Lease   07/17/19                             Sugar Camp Mine Plan   HC 2019-1079                                      Leased
                          SCELLC
                          Walker, Ivan W. to
Mining Lease   07/17/19                             Sugar Camp Mine Plan   HC 2019-1080                                      Leased
                          SCELLC
                          Hut ton, Catherine Ann
Mining Lease   07/25/19                             Sugar Camp Mine Plan   HC 2019-1118                                      Leased
                          to SCELLC
                          Nuss, Richard E. Sr. to
Coal Deed      07/25/19                             Sugar Camp Mine Plan   HC 2019-1120                                      Owned
                          SCELLC




                                                                                                      Main Docum
                                                                                                                                        101



                          Miltenberger, Cheryl G.
Mining Lease   08/01/19                               Sugar Camp Mine Plan   HC 2019-1162                                      Leased
                          to SCELLC
                          Lohman, Sandra E. to
Mining Lease   08/01/19                               Sugar Camp Mine Plan   HC 2019-1163                                      Leased
                          SCELLC
                          Entwistle, Craig W. to




                                                                                                        Case 20-41308
Mining Lease   08/01/19                               Sugar Camp Mine Plan   HC 2019-1164                                      Leased
                          SCELLC
                          Society of St. Vincent de
Coal Deed      08/28/19   Paul Archdiocesan           Sugar Camp Mine Plan   HC 2019-1317                                      Owned
                          Council toSCELLC
                          Entwistle, Jacquelyn
Mining Lease   08/28/19                               Sugar Camp Mine Plan   HC 2019-1318                                      Leased
                          Marie to SCELLC
                          Oliver, Mil ton Donald




                                                                                                        Doc 228
Mining Lease   08/28/19                               Sugar Camp Mine Plan   HC 2019-1318                                      Leased
                          to SCELLC
                          Prusha, Thomas M. to
Mining Lease   09/24/19                               Sugar Camp Mine Plan   HC 2019-1584                                      Leased
                          SCELLC
                          Lowe, Debra Short to




                                                                                    Filed 04/01/20 Entered 04/01/20 23:45:34
Coal Deed      10/09/19                               Sugar Camp Mine Plan   HC 2019-1697                                      Owned
                          SCELLC
                          Lewis, Phyllis Ann to
Coal Deed      11/14/19                               Sugar Camp Mine Plan   HC 2019-1869                                      Owned
                          SCELLC




                                                                                             Pg 750 of 1005
                          Duncan, Barbara Joan
Coal Deed      11/14/19                               Sugar Camp Mine Plan   HC 2019-1870                                      Owned
                          to SCELLC
                          McKinney, Marsha to
Coal Deed      11/14/2019                             Sugar Camp Mine Plan   HC 2019-1871                                      Owned
                          SCELLC
                          Kniffen, Susan to
Coal Deed      11/14/2019                             Sugar Camp Mine Plan   HC 2019-1872                                      Owned
                          SCELLC
                          Blackwell, William
Coal Deed      11/14/19                               Sugar Camp Mine Plan   HC 2019-1873                                      Owned
                          Loyd to SCELLC
                          Flannigan, Monty D. to
Mining Lease   11/14/19                               Sugar Camp Mine Plan   HC 2019-1874                                      Leased
                          SCELLC




                                                                                                        Main Docum
                                                                                                                                          102



                             Irish, Wilmot Wheeler to
 Mining Lease     11/20/19                              Sugar Camp Mine Plan   HC 2019-1903                                      Leased
                             SCELLC
                             McIntosh, Mark E. to
 Coal Deed        11/26/19                              Sugar Camp Mine Plan   HC 2019-1945                                      Owned
                             SCELLC
                             Bergen County Animal




                                                                                                          Case 20-41308
 Mining Lease     12/10/19                              Sugar Camp Mine Plan   FC 2019-4869                                      Leased
                             Shelter to SCELLC
                             Moore, Carolyn F. to
 Mining Lease     01/16/20                              Sugar Camp Mine Plan   HC 2020-0098                                      Leased
                             SCELLC
                             Rucker, Lezlie J. to
 Mining Lease     01/16/20                              Sugar Camp Mine Plan   HC 2020-0099                                      Leased
                             SCELLC
                             Cooper, Rene F. to
 Mining Lease     01/16/20                              Sugar Camp Mine Plan   HC 2020-0100                                      Leased
                             SCELLC




                                                                                                          Doc 228
                             Drake, Roger to
 Coal Deed        01/21/20                              Sugar Camp Mine Plan   HC 2020-0109                                      Owned
                             SCELLC
                             Debow, Carolyn S. to
 Mining Lease     01/21/20                              Sugar Camp Mine Plan   HC 2020-0110                                      Leased
                             SCELLC




                                                                                      Filed 04/01/20 Entered 04/01/20 23:45:34
                             Drake, Daphne to
 Mining Lease     01/21/20                              Sugar Camp Mine Plan   HC 2020-0111                                      Leased
                             SCELLC
                             Rocky Mountain Lions




                                                                                               Pg 751 of 1005
                             Eye Institute
 Mining Lease     02/18/20                              Sugar Camp Mine Plan   HC 2020-0319                                      Leased
                             Foundation, Inc. to
                             SCELLC
                             Hoppe, Judy H. to
 Mining Lease     02/18/20                              Sugar Camp Mine Plan   HC 2020-0320                                      Leased
                             SCELLC
                             Musselman, James Jay
 Mining Lease     02/27/20                              Sugar Camp Mine Plan   HC 2020-0378                                      Leased
                             to SCELLC
DEBTOR/GRANTOR:

SITRAN, LLC




                                                                                                          Main Docum
                                                                                                                                                                       103



                                                                                                                                                                  Subject
Description/Title of                                                                                    Recording                                     Owned       to
Document               Date        Parties                          Brief Legal Description             Information                                   or Leased   Mortgage
MOORAGE
OPTIONS/LEASE




                                                                                                                               Case 20-41308
S KENTUCKY

Option To Lease        4/10/2009   Kay Karr Brooks and Sitran       An undivided 2/15th: Certain        NOT                                           Lease       No
                                   LLC                              property in the Ohio River known    RECORDE
                                                                    as Karr Island, which property      D
                                                                    was granted to Hopson Karr and
                                                                    N.S. Karr by a governor’s patente
                                                                    on 12/21/1960 that is recorded in




                                                                                                                               Doc 228
                                                                    the Henderson Co Bk 202 Pg 266

Option To Lease        4/10/2009   Robert Karr & Rebecca S.         An undivided 2/15th: Certain        NOT                                           Lease       No
                                   Karr, his wife, and Sitran LLC   property in the Ohio River known    RECORDE




                                                                                                           Filed 04/01/20 Entered 04/01/20 23:45:34
                                                                    as Karr Island, which property      D
                                                                    was granted to Hopson Karr and
                                                                    N.S. Karr by a governor’s patente
                                                                    on 12/21/1960 that is recorded in




                                                                                                                    Pg 752 of 1005
                                                                    the Henderson Co Bk 202 Pg 266




                                                                                                                               Main Docum
                                                                                                                                                      104



DEBTOR/GRANTOR:

OENEUS LLC D/B/A SAVATRAN LLC




                                                                                                             Case 20-41308
 Description/Title of                                                               Recording                                        Owned      Subject to
                          Date           Parties          Legal Description
     Document                                                                      Information                                      or Leased   Mortgage

 SUGAR CAMP TO McLEANSBORO RAIL LINE ILLINOIS

                                    SAVATRAN LLC to   Pt. NWNW 29-T5S-R5E         HC-57 Rented
  Rental Agreement      9/12/2008                                                                                                    Leased




                                                                                                             Doc 228
                                      William Webb    Hamilton Co IL 0.65 acres      house.




                                                                                         Filed 04/01/20 Entered 04/01/20 23:45:34
                                                                                                  Pg 753 of 1005
                                                                                                             Main Docum
Case 20-41308    Doc 228     Filed 04/01/20 Entered 04/01/20 23:45:34            Main Document
                                      Pg 754 of 1005
                                                                                           105



                                          Schedule 5.09

                                     Environmental Matters


       1. Macoupin Energy, Inc. entered into a Consent Order with the Illinois
          Environmental Protection Agency on September 14, 2015 requiring the
          implementation of a Groundwater Monitoring Zone to address groundwater
          contamination caused by the previous owner. This work is ongoing.

       2. Except as set out in the chart attached hereto as Annex I, none of the Borrower, nor
          any of its respective Subsidiaries has received any notice of violation, alleged
          violation, non-compliance, liability or potential liability regarding compliance with
          or liability under Environmental Laws with regard to any of the Properties or the
          business operated by the Borrower, or any of its Subsidiaries, or any prior business
          for which the Borrower has retained liability under any Environmental Law.

       3. Except as set out in the list attached hereto as Annex II, no judicial proceeding or
          governmental or administrative action is pending or, to the knowledge of the
          Borrower, threatened under any Environmental Law to which the Borrower, or any
          of its Subsidiaries is or, to the knowledge of the Borrower, will be named as a party
          or with respect to the Properties or the Business, nor are there any consent decrees
          or other decrees, consent orders, administrative orders or other orders, or other
          similar administrative or judicial requirements outstanding under any
          Environmental Law with respect to the Properties or the Business.

       4. Except as set out in the list attached hereto as Annex II, the Properties and all
          operations at the Properties are in compliance with all applicable Environmental
          Laws.

       5. Except as set out in the chart attached hereto as Annex III, the Borrower and each
          of its Subsidiaries has obtained, and is in compliance with, all Environmental
          Permits required for the conduct of its businesses and operations, and the
          ownership, occupation, operation and use of its Property, and all such
          Environmental Permits are in full force and effect.
    Case 20-41308                           Doc 228           Filed 04/01/20 Entered 04/01/20 23:45:34                                            Main Document
                                                                       Pg 755 of 1005
Schedule 5.09 (2)
FORESIGHT ENERGY
As of 3/6/20

    State               Company            Permit Number   Agency     Type       NOV Number       Issued     Status                              NOV Description

                                                                                                                       Permittee constructed a concrete foundation for a back-up
     IL            Hillsboro Energy, LLC        399        IDNR        NOV         78-02-20     2/20/2020    Issued    ventilation fan and concrete pilings with prior approval

                                                                                                                       The permitted conducted surface coal mining operations without
                                                                                                                       requesting or obtaining approval from the Department authorized
                                                                                                                       such operations to be conducted. The Permittee is disposing
                                                                                                                       underground mine water into the sealed Viking District #1. The
                                                                                                                       underground mine water is only approved to be disposed at Pond
     IL        Sugar Camp Energy, LLC           382        IDNR        NOV         85-03-20     2/18/2020    Issued    No. 1, RDA No. 1, and/or the RO plant on Permit 382.
                                                                                                                       On August 29, 2019, IEPA conducted compliance sampling inspection
                                                                                                                       at Pond Creek #1 Mine. At the time of inspection, water quality
     IL        Williamson Energy, LLC.       IL0077666      IEPA       NOV       W-2019-50223    2/6/2020    Issued    standard violations were noted

                                                                                                                       Water pumped from underground works escaped from Sugar Camp
                                                                                                                       support facilities at three separate locations. The mine water flows
     IL        Sugar Camp Energy, LLC           382        IDNR        NOV         85-02-20      2/5/2020    Issued    off-permit, contaminated nearby water and soils resources.

                                                                                                                       Failure to remove and segregate topsoil prior to disturbance. Topsoil
                                                                                                                       was not removed prior to placement of road construction material
                                                                                                                       for the trencher platform road. Failure to protect topsoil from
                                                                                                                       contamination. Operator's amd commutator's trucks were allowed to
                                                                                                                       drive across topsoil stockpile. Failure to follow the approved
                                                                                                                       operations plan. Alternate sediment control measures were not used
                                                                                                                       during installation of the groundwater migration control system.
                                                                                                                       Failure to conduct surface mining and reclamation operations only
                                                                                                                       within the approved permit area. Surface disturbance occurred
                                                                                                                       approximately sixty (60) feet outside of the approved permit area
     IL            Macoupin Energy, LLC      56 and 209    IDNR        NOV        38-04-2019     9/9/2019    Abated    (IBR No. 14).

                                                                                                                       Failure to follow the correct procedures for stockpiling and storing
                                                                                                                       topsoil, failure to protect a topsoil stockpile from contamination, and
                                                                                                                       failure to follow the permitted plan in the placement of a topsoil
                                                                                                                       stockpile. Specifically, the operator placed a topsoil stockpile in an
                                                                                                                       unapproved location on the south side of the IBR No 83; then,
                                                                                                                       improperly moved a portion of the stockpile to complete installation
                                                                                                                       of a utility borehole, and spilled concrete associated with the
     IL        Williamson Energy, LLC.          375        IDNR        NOV        67-04-2019     9/4/2019    Abated    borehole construction on the topsoil stockpile.
     IL        Sugar Camp Energy, LLC           382        IDNR     Show Cause     2019-02       8/6/2019    Settled   Pattern of Violations

                                                                                                                       Failure to notify Dept of the following surface water discharge
                                                                                                                       excursions within five days of receiving analytical results of water
     IL        Williamson Energy, LLC.          375        IDNR        NOV        67-03-2019     8/2/2019    Abated    sample: a) Outfall 002: Cl 690 mg/L; b) Outfall 002: SO4 1040 mg/L.
                                                                                                                       Water pumped from underground works escaped from a buried
     IL        Sugar Camp Energy, LLC           382        IDNR        NOV        63-06-2019     8/8/2019    Abated    pipeline and contaminated soil resources.
                                                                                                                       FAILURE TO INSTALL PIPELINE ON PERMITTED AREA. SECTIONS OF
                                                                                                                       UNDERGROUND, BURIED PIPELINE, IBR38 WERE INSTALLED OUTSIDE
     IL        Sugar Camp Energy, LLC           382        IDNR        NOV        63-05-2019     7/9/2019    Abated    APPROVED PERMIT AREA.
                                                                                                                       Non-compliant water was discharged from Outfall 013 into Middle
                                                                                                                       Fork Big Muddy River. Lab analysis of the discharge indicated pH
     IL        Sugar Camp Energy, LLC           434        IDNR        NOV        63-04-2019     7/1/2019    Abated    reading of 4.68.

                                                                                                                       Water pumped from underground works escaped from Sugar Camp
                                                                                                                       support facilities at three separate locations. The mine water flowed
     IL        Sugar Camp Energy, LLC           382        IDNR        NOV        63-03-2019    6/21/2019    Abated    off-permit, contaminating nearby water and soil resources.
                                                                                                                       Water pumped from underground works escaped from a buried
     IL        Sugar Camp Energy, LLC           382        IDNR        NOV        63-02-2019     6/4/2019    Abated    pipeline and contaminated soil resources.

                                                                                                                       Failure to report a surface water discharge excursion within five days
                                                                                                                       of receiving analytical results of the water sample from the Shay No.
     IL            Macoupin Energy, LLC         56         IDNR        NOV         38-03-19     4/16/2019    Abated    1 Mine, as outlined in 62 Ill. Adm. Code 1817.41€(2).
                                                                                                                       Failure to report surface water discharge excursion within five days
     IL            Macoupin Energy, LLC         56         IDNR        NOV        38-03-2019    4/16/2019    Abated    of receiving analytical results of the water sample.
                                                                                                                       IEPA site investigation regarding a spill of high chloride water. A
                                                                                                                       transmission line to RDA ruptured. Several violations noted during
     IL        Sugar Camp Energy, LLC        IL0078565      IEPA       NOV       W-2019-50002   3/25/2019    Issued    investigation.
                                                                                                                       Failed to follow the approved plan. Operator failed to remove
                                                                                                                       saturated clay prior to placement of coarse refuse material as
     IL        Williamson Energy, LLC.          417        IDNR        NOV        67-01-2019    3/13/2019    Abated    specified in Permit No. 471.

                                                                                                                       The Operator failed to publish a renewal application public notice
                                                                                                                       within the time frame to conduct an informal conference and allow
     IL            Hillsboro Energy, LLC        399        IDNR        NOV        38-02-2019    2/11/2019    Abated    time for issuance of the renewal decision prior to permit expiration.
                                                                                                                       Failure to report surface water discharge excursion within five days
     IL            Hillsboro Energy, LLC        399        IDNR        NOV        38-01-2019    1/16/2019    Abated    of receiving analytical results of the water sample.
                                                                                                                       Water from underground works escaped from a buried pipeline,
     IL        Sugar Camp Energy, LLC           382        IDNR        NOV        63-07-2018    10/24/2018   Abated    flowed off-permit and into a drainage ditch.
                                                                                                                       Water pumped from underground works escaped from a buried
                                                                                                                       pipeline, flowed off-permit and into a stream, contaminating
     IL        Sugar Camp Energy, LLC           382        IDNR        NOV        63-05-2018    10/18/2018   Abated    downstream water and soil resources.
                                                                                                                       Water pumped from underground works escaped from a buried
                                                                                                                       pipeline, flowed off-permit and into a stream, contaminating
     IL        Sugar Camp Energy, LLC           382        IDNR        NOV        63-06-2018    10/18/2018   Abated    downstream water and soil resources.
                                                                                                                       Failure to report surface water discharge excursion within five days
     IL            Hillsboro Energy, LLC        399        IDNR        NOV        38-01-2018    10/15/2018   Abated    of receiving analytical results of the water sample.
                                                                                                                       Failure to submit the required ownership and control information for
                                                                                                                       the permit renewal application to Permit No. 209 in a timely
     IL            Macoupin Energy, LLC         209        IDNR        NOV        78-01-2018    8/13/2018    Abated    manner.




                                                                                                                                                                                                 1
    Case 20-41308                           Doc 228           Filed 04/01/20 Entered 04/01/20 23:45:34                                           Main Document
                                                                       Pg 756 of 1005
Schedule 5.09 (2)
FORESIGHT ENERGY
As of 3/6/20

    State               Company            Permit Number   Agency     Type       NOV Number       Issued     Status                              NOV Description

                                                                                                                      The permittee conducted surface coal mining operations without
                                                                                                                      first obtaining a permit from the Department authorizing such
     IL        Sugar Camp Energy, LLC           382        IDNR        NOV        63-03-2018    8/10/2018    Abated   operations to be conducted upon the acreage involved.

                                                                                                                      High chloride mine water flowed approximately 200 feet down grade
     IL        Sugar Camp Energy, LLC           382        IDNR        NOV        63-02-2018    3/20/2018    Abated   from the source of the spill and off permit. (pipeline leak)
                                                                                                                      FAILED TO PROTECT SURFACE WATER AND FAILED TO MAINTAIN
     IL        Williamson Energy, LLC.          375        IDNR        NOV        67-01-2018    2/20/2018    Abated   SUPPORT FACILITIES.
                                                                                                                      Failure to follow approved plan for IBR No. 80 of Permit No. 382 by
     IL        Sugar Camp Energy, LLC           382        IDNR        NOV        63-01-2018     2/5/2018    Abated   affecting stream buffer zone with vehicular traffic.
                                                                                                                      Failure to notify the surface owner with a description of measures
                                                                                                                      that would be taken to prevent subsidence and/or to mitigate
     IL        Williamson Energy, LLC.          375        IDNR        NOV        67-04-2017    12/15/2017   Abated   subsidence damages which may occur.
                                                                                                                      Mining related materials (sodium silicate) were deposited within and
                                                                                                                      outside the permitted area in an uncontrolled manner, impacting an
                                                                                                                      adjacent road side drainage ditch and unnamed tributaries to Akin
     IL        Sugar Camp Energy, LLC           382        IDNR        NOV        63-05-2017    10/30/2017   Abated   Creek.

                                                                                                                      The permittee failed to properly plug and abandon groundwater
                                                                                                                      monitoring well MW-I as required and described under Condition I(a)
     IL        Sugar Camp Energy, LLC           382        IDNR        NOV        63-04-2017    10/3/2017    Abated   of the Department's June 8,2017 approval letter for IPR #50.

                                                                                                                      The permittee failed to follow the approved plan (lPR No. 50,
                                                                                                                      Condition 5(a)) by plugging groundwater monitoring wells MW-3 and
     IL        Sugar Camp Energy, LLC           382        IDNR        NOV        63-03-2017    9/11/2017    Abated   MW-47 without first obtaining Department approval to do so.

                                                                                                                      Failure to follow the approved plan; specifically, the operator
                                                                                                                      implemented a relocation of the specific areas where planned
                                                                                                                      subsidence was approved to occur prior to that plan change being
     IL        Williamson Energy, LLC.          375        IDNR        NOV        67-03-2017     9/6/2017    Abated   submitted to and approved by the Department.
                                                                                                                      Unauthorized surface area disturbance within 100' (in disaccord with
                                                                                                                      IBR No. 66) of the top of the bank of the normal channel of the
     IL        Sugar Camp Energy, LLC           382        IDNR        NOV        63-02-2017    7/11/2017    Abated   stream.
                                                                                                                      Failure to submit ground water monitoring data from wells MW-31
     IL        Sugar Camp Energy, LLC           434        IDNR        NOV        63-01-2017     5/5/2017    Abated   through MW-38R.
                                                                                                                      Failure to report flow from Smith Reservoir (NPDES Outfall 007) for
                                                                                                                      the month of November 2016 in the quarterly discharge monitoring
                                                                                                                      reports. (The Department documented flow during the Nov. 7, 2016
     IL            Macoupin Energy, LLC         56         IDNR        NOV        72-01-2017     3/7/2017    Abated   inspection.)
                                                                                                                      Failure to report flow from Sediment Basin 002 (NPDES Outfall 002)
                                                                                                                      for the month of November 2016 in the quarterly discharge
                                                                                                                      monitoring reports. (The Department documented flow during the
     IL            Hillsboro Energy, LLC        399        IDNR        NOV         38-01-17      3/3/2017    Abated   Nov. 10, 2016 inspection.)
                                                                                                                      2016 regarding discharge of contaminants that “cause or tend to
                                                                                                                      cause water pollution in Illinois, either alone or in combination with
     IL        Williamson Energy, LLC.       IL0077666     IEPA        NOV       W-2016-50022   8/18/2016    Abated   matter from other sources
     IL        Williamson Energy, LLC.          375        IDNR        NOV          62-3-16      5/3/2016    Abated   failure to follow approved drainage control plan
                                                                                                                      discharge at NPDES point 002 and 007 exceeding the daily maximum
     IL        Williamson Energy, LLC.          375        IDNR        NOV          62-2-16     4/18/2016    Abated   of 500 mg/L for Sulfate and Chloride
     IL        Sugar Camp Energy, LLC           382        IDNR        NOV          63-2-16      2/9/2016    Abated   failure to follow approved pre-plan
                                                                                                                      failure to notify department within five (5) days of surface water
     IL        Williamson Energy, LLC.          375        IDNR        NOV          62-1-16     1/26/2016    Abated   sample noncompliance
                                                                                                                      failure to pass affected area through a siltation structure before
     IL        Sugar Camp Energy, LLC           382        IDNR        NOV          63-1-16      1/7/2016    Abated   leaving the permit area
                                                                                                                      violations of permit conditions and failure to apply for and obtain
                                                                                                                      construction permit to allow for modification of crushing and
     IL            Hillsboro Energy, LLC     IL0078727      IEPA    Show Cause   A-2014-00319   1/14/2015    Abated   screening operations
                                                                                                                      failure to comply with effluent conditions of NPDES permit, discharge
     IL        Sugar Camp Energy, LLC        IL0078565      IEPA    Show Cause   M-2014-02002   10/23/2014   Abated   of contaminants and offensive conditions
                                                                                                                      discharging water in excess of NPDES limits for chlorides and sulfates
     IL         Hillsboro Energy, LLC           399        IDNR        NOV         38-04-14     9/12/2014    Abated   – corrective action was taken
     IL         Hillsboro Energy, LLC           424        IDNR        NOV         38-03-14     8/28/2014    Abated   failure to remove topsoil prior to disturbance
     IL        Sugar Camp Energy, LLC           382        IDNR        NOV         57-04-14     8/23/2014    Abated
     IL         Hillsboro Energy, LLC           424        IDNR        NOV         68-02-14      8/5/2014    Abated   failure to pass drainage through a sediment pond
     IL         Hillsboro Energy, LLC           424        IDNR        NOV         68-02-14      8/5/2014    Abated   failure to remove topsoil prior to disturbance

     IL        Sugar Camp Energy, LLC        IL0078565      IEPA    Show Cause   A-2014-00284   7/31/2014    Abated   failure to submit an Annual Emissions Report for calendar year 2013

                                                                                                                      failure to submit an Annual Emissions Report (“AER”) to the Illinois
     IL        Williamson Energy, LLC.       IL0077666      IEPA       NOV        A214-00285    7/31/2014    Abated   Environmental Protection Agency for calendar year 2013
                                                                                                                      failure to follow approved plan, placement of coal slurry in
     IL        Sugar Camp Energy, LLC           382        IDNR        NOV         57-02-14      7/9/2014    Abated   experimental Geotubes in an unapproved location
     IL        Williamson Energy, LLC.          375        IDNR        NOV          62-2-14      5/1/2014    Abated   failure to report a non-compliant discharge

                                                                                                                      failure to follow approved plan, failure to protect topsoil from
     IL            Hillsboro Energy, LLC        399        IDNR        NOV         38-02-14     4/28/2014    Abated   contamination and route all drainage to a sediment pond




                                                                                                                                                                                               2
    Case 20-41308                           Doc 228           Filed 04/01/20 Entered 04/01/20 23:45:34                                             Main Document
                                                                       Pg 757 of 1005
Schedule 5.09 (2)
FORESIGHT ENERGY
As of 3/6/20

    State               Company            Permit Number   Agency     Type       NOV Number      Issued      Status                                 NOV Description
                                                                                                                        failure to report discharge excursions to the Department and failure
                                                                                                                        to submit DMR’s and groundwater reports for the 3rd and 4th
     IL        Williamson Energy, LLC.          375        IDNR        NOV          62-1-14     3/20/2014    Abated     quarters of 2013
                                                                                                                        violation of Chloride water quality standards on September 18, 2013
     IL        Sugar Camp Energy, LLC        IL0078565      IEPA       NOV       W-2014-50014   3/14/2014    Abated     and November 26, 2013
                                                                                                                        failure to file renewal application within time frame required by the
     IL            Hillsboro Energy, LLC        399        IDNR        NOV         38-01-14     2/21/2014    Abated     regulations
                                                                                                                        Failure to get an approved UIC Permit prior to installation of injection
     IL        Sugar Camp Energy, LLC       UIC-016-SCM     IEPA       NOV       L-2014-01003   1/29/2014    Abated     boreholes.

                                                                                                                        Discharge of contaminants, offensive conditions, unauthorized
                                                                                                                        discharge, creating a water pollution hazard, failure to apply for a
                                                                                                                        construction permit and failure to comply with NPDES permit – all
     IL            Hillsboro Energy, LLC     IL0078727      IEPA       NOV       W-2014-50161   1/1/2014     Abated     water based issues have been corrected.
                                                                                                                        failed to report surface water discharge excursions within five days of
     IL            Hillsboro Energy, LLC        399        IDNR        NOV         38-07-13     11/1/2013    Abated     receiving analytical results

                                                                                                                        failure to notify Department of noncompliance surface water sample
     IL        Sugar Camp Energy, LLC           382        IDNR        NOV         57-03-13     7/25/2013    Abated     with five-day reporting period. Required letter submitted
                                                                                                                        failure to conduct surface coal mining and reclamation operation as
                                                                                                                        described in the approved application. The operator installed an
                                                                                                                        access road on the permit area without obtaining approval from the
     IL        Macoupin Energy, LLC              ?         IDNR        NOV         38-06-13      7/1/2013    Abated     Department
     IL        Williamson Energy, LLC.          375        IDNR        NOV         47-06-11     6/12/2013    Abated     failed to maintain adequate freeboard in a sediment basin
                                                                                                                        exceeding effluent limits and unpermitted mixing, dilution and
     IL        Sugar Camp Energy, LLC        IL0078565      IEPA       NOV       W-2013-50008   4/25/2013    Abated     discharge
                                                                                                                        exceeding effluent limits and unpermitted mixing, dilution and
     IL        Sugar Camp Energy, LLC        IL0078565      IEPA       NOV       W-2013-50133   4/5/2013     Abated     discharge
                                                                                                                        – discharging water from Outfall 008 with a chloride excursion of
     IL        Sugar Camp Energy, LLC           382        IDNR        NOV         57-01-13     3/5/2013     Abated     874.6 mg/L
                                                                                                                        failure to follow approved plan – clean coal stockpile expanded
     IL            Hillsboro Energy, LLC        399        IDNR        NOV         34-01-13     2/27/2013    Abated     beyond approved protective base

     IL            Macoupin Energy, LLC          ?         IDNR        NOV         38-05-12     7/2/2012     Abated     failed to conduct non-MSHA quarterly exam for sediment pond 003

                                                                                                                        failed to file renewal application public notice within the timeframe
     IL            Macoupin Energy, LLC          ?         IDNR        NOV         38-03-12     4/16/2012    Abated     to conduct a hearing and allow for issuance of renewal decision


     IL         Macoupin Energy, LLC         IL0056022     IEPA        NOV       W-2011-00040   9/12/2011    Abated     Exceed ground water standards
     IL        Sugar Camp Energy, LLC           382        IDNR        NOV         57-03-11     8/25/2011    Abated     failed to follow approved plan

     IL        Sugar Camp Energy, LLC           382        IDNR        NOV         57-02-11     7/27/2011    Abated     failed to notify IDNR of non-compliant surface water samples
     IL         Hillsboro Energy, LLC           399        IDNR        NOV         38-12-11     6/30/2011    Abated     Fail to construct and maintain sediment control
                                                                                                                        petroleum based contaminant observed on water surface in
     IL        Williamson Energy, LLC.          375        IDNR        NOV          47-2-11     4/27/2011    Abated     sediment basin 004

     IL        Williamson Energy, LLC.          375        IDNR        NOV          43-3-11     4/27/2011    Abated     failed to maintain adequate freeboard in a sediment basin 004

     IL        Sugar Camp Energy, LLC           382        IDNR        NOV          19-1-11     3/9/2011     Abated     failed to comply with required surface water sampling parameters

     IL        Sugar Camp Energy, LLC           382        IDNR        NOV          19-2-11      3/9/2011    Abated     failed to comply with required ground water sampling parameters
     IL         Hillsboro Energy, LLC           399        IDNR        NOV         38-04-11     2/10/2011    Abated     failed to follow approved mining plan
     IL         Hillsboro Energy, LLC           399        IDNR        NOV         38-05-11     2/10/2011    Abated     Failed to report impoundment exam report
     IL         Hillsboro Energy, LLC           399        IDNR        NOV         38-06-11     2/10/2011    Abated     Failed to complete field density testing
     IL         Hillsboro Energy, LLC           399        IDNR        NOV         38-03-11     2/10/2011    Abated     Failed to maintain ditch 7b
                                                                                                                        surface drainage flowing off permit without reporting to a sediment
     IL        Williamson Energy, LLC.          375        IDNR        NOV          47-6-10     11/8/2010    Abated     control structure
     IL        Williamson Energy, LLC.          375        IDNR        NOV          47-5-10     5/13/2010    Abated     failed to maintain freeboard in sediment basin
                                                                                                                        discharge from disturbed area did not pass through a siltation
     IL        Williamson Energy, LLC.          375        IDNR        NOV          47-4-10     5/13/2010    Abated     structure before leaving the permit
     IL        Williamson Energy, LLC.          375        IDNR        NOV          47-2-10      3/9/2010    Abated     disturbed within 100 feet of cemetery
     IL         Hillsboro Energy, LLC        IL0078727     IEPA        NOV       W-2010-30248    1/1/2010    Abated     failed to submit DMR’s at the required frequency
     IL         Hillsboro Energy, LLC           399        IDNR        NOV         38-04-09     9/14/2009    Abated     failed to follow approved mining plan
                                                                                                                        drainage leaving permit without passing through a sediment control
     IL        Williamson Energy, LLC.          375        IDNR        NOV         28-01-09      9/9/2009    Abated     structure
     IL        Sugar Camp Energy, LLC           382        IDNR        NOV         19-02-09      6/2/2009    Abated     failed to follow approved operations plan
     IL        Sugar Camp Energy, LLC           382        IDNR        NOV         19-01-09     4/27/2009    Abated     failed to construct siltation structure prior to disturbance

     IL        Williamson Energy, LLC.          375        IDNR        NOV          26-3-09     4/17/2009    Abated     failed to provide survey for buildings greater than 40 years old

     IL        Williamson Energy, LLC.          375        IDNR        NOV         26-2-09       4/8/2009    Abated     failed to submit fourth quarter subsidence control plan report
     IL        Williamson Energy, LLC.          375        IDNR        NOV         26-1-09       4/3/2009    Abated     failed to follow approve plan
     IL        Williamson Energy, LLC.          375        IDNR     Show Cause     2009-01      1/16/2009   Dismissed




                                                                                                                                                                                                   3
Case 20-41308       Doc 228     Filed 04/01/20 Entered 04/01/20 23:45:34              Main Document
                                         Pg 758 of 1005


                                       SCHEDULE 5.09(4)
                                   ENVIRONMENTAL MATTERS


 Consent Orders (Show Cause Orders):


 1.    IDNR – Office of Mines and Minerals – Williamson Energy, LLC Pond Creek Mine
       Permit No. 375 – Show Cause Order No. 2009-01 dated Jan. 16, 2009; Order dismissing
       Show Cause Order entered by Hearing Officer Michael O’Hara on June 8, 2009

 2.    People of the State of Illinois, ex rel. Lisa Madigan, Attorney General of the State of
       Illinois v. Macoupin Energy LLC, Circuit Court of the Seventh Judicial Circuit,
       Macoupin County, Illinois – Consent Order was signed and entered on September 14,
       2015

 3.    IDNR – Office of Mines & Minerals, Land Reclamation Division, In Re Sugar Camp
       Energy, LLC Permit No. 382 – Show Cause Order No. 2019-02 dated August 6, 2019;
       Settlement Agreement was entered into on Dec. 10, 2019; Agreed Order Approving
       Settlement Agreement with Modifications was entered on December 17, 2019 by ALJ
       Schuering

 4.    Pollution Control Board re Sugar Camp Energy PCB 2016-095 – Consent Order
       resolving allegations related to Underground Injection Control.

 Active Cases:

 1.    Mitchell/Roberts Partnership v. Williamson Energy, LLC, Case No. 14-MR-285; Circuit
       Court of the First Judicial District, Williamson County, IL

 2.    Jackson, et al. v. Williamson Energy, LLC, at al. Case No. 2016-CH-50, in the Circuit Court of
       the First Judicial District, Williamson County, IL

 3.    Williamson Energy and Mach Mining LLC/Noise Complaints – 15 separate Complaints, all
       pending in the Circuit Court of the First Judicial Circuit, Williamson County, IL:

       1.        James Turner v. Williamson Energy, LLC, et al., 2016-C-108;
       2.        Wayne Thompson v. Williamson Energy, LLC, et al., 2016-C-109;
       3.        Michael Ladd v. Williamson Energy, LLC, et al., 2016-C-110;
       4.        John Kibodeaux v. Williamson Energy, LLC, et al., 2016-C-111;
       5.        Allen Brown v. Williamson Energy, LLC, et al., 2016-C-112;
       6.        Tina Franklin v. Williamson Energy, LLC, et al., 2016-C-113;
       7.        Brenda Fleming v. Williamson Energy, LLC, et al., 2016-C-114;
       8.        John Howat v. Williamson Energy, LLC, et al., 2016-C-115;
       9.        Yuba Hunt v. Williamson Energy, LLC, et al., 2016-C-116;
       10.       Betty Jacobs v. Williamson Energy, LLC, et al., 2016-C-117;
       11.       Richard Jordan v. Williamson Energy, LLC, et al., 2016-C-118;
       12.       Scott Lee v. Williamson Energy, LLC, et al., 2016-C-119;
Case 20-41308    Doc 228      Filed 04/01/20 Entered 04/01/20 23:45:34             Main Document
                                       Pg 759 of 1005


      13.    Claude Vodrazka v. Williamson Energy, LLC, et al., 2016-C-120;
      14.    Brian Wolfe v. Williamson Energy, LLC, et al., 2016-C-121; and
      15.    Danny York v. Williamson Energy, LLC, et al., 2016-C-122

 4.   Reba L. Mitchell v. Williamson Energy, LLC, Case No. 2019-L-00030, Circuit Court of the First
      Judicial Circuit, Williamson County, IL

 5.   The Estate of Russell J. Inman, Deceased, by Carl R. Inman, Independent Executor v. Williamson
      Energy, LLC, Case No. 2018-L-129, Circuit Court of the First Judicial Circuit, Williamson
      County, IL
Case 20-41308              Doc 228      Filed 04/01/20 Entered 04/01/20 23:45:34                                   Main Document
                                                 Pg 760 of 1005
        FELP Permit List
        Schedule 5.09(7)
        as of 3/1/2020


                         Company            Mine/Operation   State     Permit #      Permit Type    Issuance Date Expiration Date

                     Foresight Energy          Hillsboro      IL       IL0078727       NPDES          12/13/14       05/13/23
                     Foresight Energy          Hillsboro      IL          399            UG           02/10/09       02/10/24
                     Foresight Energy          Hillsboro      IL          424           CRDA          05/19/14       05/19/24

                     Foresight Energy          Hillsboro      IL        8020066       Air Quality     02/25/09        Lifetime

                     Foresight Energy          Hillsboro      IL       C-0080-08         401          12/12/09          NA
                     Foresight Energy          Hillsboro      IL        P-2664           404          09/02/09          NA
                     Foresight Energy          Hillsboro      IL      DS2012025          Dam          04/18/12          NA
                     Foresight Energy          Hillsboro      IL      DS2013085          Dam          11/06/13          NA

                     Foresight Energy          Hillsboro      IL      ID#1211IL08        Dam          01/30/12          NA
                     Foresight Energy          Hillsboro      IL     IL08-03216-03       Dam          01/15/14          NA
                     Foresight Energy          Hillsboro      IL       IL0080039       NPDES          02/05/15        pending
                     Foresight Energy          Hillsboro      IL       IL0080039        CRDA          02/03/15        pending
                     Foresight Energy         Macoupin        IL       IL0056022       NPDES          08/18/15       09/30/21

                     Foresight Energy         Macoupin        IL          209           CRDA          07/09/09       03/05/25
                     Foresight Energy         Macoupin        IL          419          SMCRA          05/16/17       03/05/25
                     Foresight Energy         Macoupin        IL          265          SMCRA          07/18/17       03/05/25
                     Foresight Energy         Macoupin        IL          291          SMCRA          07/18/17       03/05/25
                     Foresight Energy         Macoupin        IL          56         UG and CRDA      07/19/09       03/05/25

                     Foresight Energy         Macoupin        IL      117803AAA       Air Quality     06/17/09        Lifetime

                     Foresight Energy         Macoupin        IL      DS2010040          Dam          04/29/10          NA
                     Foresight Energy           Sitran        IN       IN0063738       NPDES          03/15/11       03/09/24

                     Foresight Energy           Sitran        IN     129-29270-000    Air Quality     08/13/10        Lifetime
                     Foresight Energy        Sugar Camp       IL       IL0078565       NPDES          05/24/16       04/30/21

                     Foresight Energy        Sugar Camp       IL        P-2866           404          12/04/14       12/31/25
                     Foresight Energy        Sugar Camp       IL       18050018       Air Quality     10/23/18        Lifetime

                     Foresight Energy        Sugar Camp       IL       17110053       Air Quality     09/30/08        Lifetime
                     Foresight Energy        Sugar Camp       IL       C-0222-08         401          12/12/09          NA
                     Foresight Energy        Sugar Camp       IL       C-0719-13         401          09/03/15          NA

                     Foresight Energy        Sugar Camp       IL        P-2674           404          12/15/09          NA
                     Foresight Energy        Sugar Camp       IL      DS2012018          Dam          03/13/12          NA

                     Foresight Energy        Sugar Camp       IL       03189-03          Dam          01/06/12          NA
                     Foresight Energy        Sugar Camp       IL          460          SMCRA           pending          NA
                     Foresight Energy        Sugar Camp       IL     UIC-012-SCM         UIC          05/20/14          NA

                     Foresight Energy        Sugar Camp       IL      UIC-06-15EE        UIC          05/20/14          NA
                     Foresight Energy        Sugar Camp       IL          434            UG           08/26/15        pending

                     Foresight Energy        Sugar Camp       IL          382            UG           09/09/08        pending

                     Foresight Energy         Williamson      IL        P-2905           404          12/14/15       12/31/26
                     Foresight Energy         Williamson      IL        1790048       Air Quality     04/07/05        Lifetime

                     Foresight Energy         Williamson      IL       C-0202-13         401          01/19/16          NA
                     Foresight Energy         Williamson      IL     MVS-2005-4660       404          07/21/06          NA

                     Foresight Energy         Williamson      IL      DS2008111          Dam          11/25/08          NA
                     Foresight Energy         Williamson      IL      DS2010047          Dam          01/21/14          NA
                     Foresight Energy         Williamson      IL     IL08-03141-01       Dam          06/26/07          NA

                     Foresight Energy         Williamson      IL     IL08-03141-02       Dam          12/03/10          NA
                     Foresight Energy         Williamson      IL     IL08-03141-02       Dam          01/03/14          NA

                     Foresight Energy         Williamson      IL          456          SMCRA          12/05/19       12/04/24
                     Foresight Energy         Williamson      IL          375            UG           07/07/05        pending
                     Foresight Energy         Williamson      IL          417           CRDA          12/09/15        pending

                     Foresight Energy         Williamson      IL       IL0077666       NPDES          12/13/71        pending




                                                                                                                                    1
Case 20-41308     Doc 228      Filed 04/01/20 Entered 04/01/20 23:45:34            Main Document
                                        Pg 761 of 1005
                                                                                             106


                                             Schedule 5.13

                                              Subsidiaries

    (*)= indicates which Subsidiaries are Loan Parties as of the Closing Date.

     Issuer                     Juris. of    Address of               Taxpayer   Type of           % of
                                Org./For     Chief Executive          ID         Organization      Interest
                                m.           Office                   Number                       Owned
                                                                                                   by Loan
                                                                                                   Parties
     Adena Resources, LLC*      Delaware       211 North              20-        Limited           100
                                               Broadway               5004649    Liability
                                               Suite 2600                        Company
                                               St. Louis, MO
                                               63102
     Akin Energy LLC*           Delaware       211 North              20-        Limited           100
                                               Broadway               5231648    Liability
                                               Suite 2600                        Company
                                               St. Louis, MO
                                               63102
     American Century           Delaware       211 North              N/A        Limited           100
     Mineral LLC*                              Broadway                          Liability
                                               Suite 2600                        Company
                                               St. Louis, MO
                                               63102
     American Century           Delaware       211 North              N/A        Limited           100
     Transport LLC*                            Broadway                          Liability
                                               Suite 2600                        Company
                                               St. Louis, MO
                                               63102
     Coal Field Construction    Delaware       211 North              26-        Limited           100
     Company LLC*                              Broadway               3795694    Liability
                                               Suite 2600                        Company
                                               St. Louis, MO
                                               63102
     Coal Field Repair          Delaware       211 North              46-        Limited           100
     Services LLC*                             Broadway               2249179    Liability
                                               Suite 2600                        Company
                                               St. Louis, MO
                                               63102
     Foresight Coal Sales       Delaware       211 North              26-        Limited           100
     LLC*                                      Broadway               3318620    Liability
                                               Suite 2600                        Company
                                               St. Louis, MO
                                               63102
Case 20-41308     Doc 228     Filed 04/01/20 Entered 04/01/20 23:45:34     Main Document
                                       Pg 762 of 1005



     Issuer                   Juris. of   Address of        Taxpayer     Type of        % of
                              Org./For    Chief Executive   ID           Organization   Interest
                              m.          Office            Number                      Owned
                                                                                        by Loan
                                                                                        Parties
     Foresight Energy         Delaware     211 North        38-          Corporation    100
     Employee Services                     Broadway         3957023
     Corporation *                         Suite 2600
                                           St. Louis, MO
                                           63102
     Foresight Energy         Delaware     211 North        27-          Corporation    100
     Finance Corporation *                 Broadway         3135321
                                           Suite 2600
                                           St. Louis, MO
                                           63102
     Foresight Energy Labor   Delaware     211 North        32-          Limited        100
     LLC*                                  Broadway         0504176      Liability
                                           Suite 2600                    Company
                                           St. Louis, MO
                                           63102
     Foresight Energy         Delaware     211 North        90-          Limited        100
     Services LLC*                         Broadway         0776204      Liability
                                           Suite 2600                    Company
                                           St. Louis, MO
                                           63102
     Foresight Receivables    Delaware     211 North        38-          Limited        100
     LLC*                                  Broadway         3952250      Liability
                                           Suite 2600                    Company
                                           St. Louis, MO
                                           63102
     Hillsboro Energy LLC*    Delaware     211 North        20-          Limited        100
                                           Broadway         5231639      Liability
                                           Suite 2600                    Company
                                           St. Louis, MO
                                           63102
     Hillsboro Transport      Delaware     211 North        38-          Limited        100
     LLC*                                  Broadway         3916881      Liability
                                           Suite 2600                    Company
                                           St. Louis, MO
                                           63102
     LD Labor Company         Delaware     211 North        45-          Limited        100
     LLC*                                  Broadway         3848454      Liability
                                           Suite 2600                    Company
                                           St. Louis, MO
                                           63102
Case 20-41308    Doc 228    Filed 04/01/20 Entered 04/01/20 23:45:34     Main Document
                                     Pg 763 of 1005



     Issuer                 Juris. of   Address of        Taxpayer     Type of        % of
                            Org./For    Chief Executive   ID           Organization   Interest
                            m.          Office            Number                      Owned
                                                                                      by Loan
                                                                                      Parties
     Logan Mining LLC*      Delaware     211 North        47-          Limited        100
                                         Broadway         1762361      Liability
                                         Suite 2600                    Company
                                         St. Louis, MO
                                         63102
     M-Class Mining, LLC*   Delaware     211 North        26-          Limited        100
                                         Broadway         0645272      Liability
                                         Suite 2600                    Company
                                         St. Louis, MO
                                         63102
     Mach Mining LLC*       Delaware     211 North        73-          Limited        100
                                         Broadway         1734826      Liability
                                         Suite 2600                    Company
                                         St. Louis, MO
                                         63102
     Macoupin Energy LLC*   Delaware     211 North        26-          Limited        100
                                         Broadway         2809005      Liability
                                         Suite 2600                    Company
                                         St. Louis, MO
                                         63102
     MaRyan Mining, LLC*    Delaware     211 North        26-          Limited        100
                                         Broadway         4027085      Liability
                                         Suite 2600                    Company
                                         St. Louis, MO
                                         63102
     Oeneus LLC d/b/a       Delaware     211 North        30-          Limited        100
     Savatran LLC*                       Broadway         0306007      Liability
                                         Suite 2600                    Company
                                         St. Louis, MO
                                         63102
     Patton Mining LLC*     Delaware     211 North        26-          Limited        100
                                         Broadway         4027251      Liability
                                         Suite 2600                    Company
                                         St. Louis, MO
                                         63102
     Seneca Rebuild LLC*    Delaware     211 North        46-          Limited        100
                                         Broadway         3150958      Liability
                                         Suite 2600                    Company
                                         St. Louis, MO
                                         63102
Case 20-41308      Doc 228   Filed 04/01/20 Entered 04/01/20 23:45:34     Main Document
                                      Pg 764 of 1005



     Issuer                  Juris. of   Address of        Taxpayer     Type of        % of
                             Org./For    Chief Executive   ID           Organization   Interest
                             m.          Office            Number                      Owned
                                                                                       by Loan
                                                                                       Parties
     Sitran LLC*             Delaware     211 North        26-          Limited        100
                                          Broadway         1369962      Liability
                                          Suite 2600                    Company
                                          St. Louis, MO
                                          63102
     Sugar Camp Energy,      Delaware     211 North        41-          Limited        100
     LLC*                                 Broadway         2178049      Liability
                                          Suite 2600                    Company
                                          St. Louis, MO
                                          63102
     Tanner Energy LLC*      Delaware     211 North        38-          Limited        100
                                          Broadway         3940409      Liability
                                          Suite 2600                    Company
                                          St. Louis, MO
                                          63102
     Viking Mining LLC*      Delaware     211 North        46-          Limited        100
                                          Broadway         1264981      Liability
                                          Suite 2600                    Company
                                          St. Louis, MO
                                          63102
     Williamson Energy,      Delaware     211 North        81-          Limited        100
     LLC*                                 Broadway         0669143      Liability
                                          Suite 2600                    Company
                                          St. Louis, MO
                                          63102
Case 20-41308   Doc 228   Filed 04/01/20 Entered 04/01/20 23:45:34   Main Document
                                   Pg 765 of 1005
                                                                           110


                                    Schedule 5.18

                                 Intellectual Property
    None.
                                                                                                                                                               111




                                                        Schedule 5.20

                                                           Mines




                                                                                                                     Case 20-41308
Hillsboro Energy LLC

Deer Run Mine
12051 County Road 900 N.
Hillsboro, Illinois 62049

Material Properties:




                                                                                                                     Doc 228
 Description/Title of   Date             Parties        Brief Legal Description    Recording                                                Owned or   Subject to
     Document                                                                     Information                                                Leased    Mortgage




                                                                                                 Filed 04/01/20 Entered 04/01/20 23:45:34
 Coal Mining Lease      10/10/2009    WPP LLC to            No. 6 coal seam       Not recorded                                               Leased       NO
   and Sublease                      Hillsboro Energy
    Agreement                              LLC




                                                                                                          Pg 766 of 1005
 Short Form of Lease    10/10/2009    WPP LLC to            No. 6 coal seam       MC 1346-428                                                Leased       NO
     (Hillsboro)                     Hillsboro Energy
                                           LLC

Amendment No. 1 to       1/11/2010    WPP LLC to            No. 6 coal seam       Not recorded                                               Leased       NO
 the Coal Mining                     Hillsboro Energy
Lease and Sublease                         LLC
    Agreement




                                                                                                                     Main Docum
Description/Title of    Date             Parties        Brief Legal Description    Recording                                                Owned or   Subject to
    Document                                                                      Information                                                Leased    Mortgage

Short Form of Lease     1/11/2010     WPP LLC to           No. 6 coal seam        MC 1367-226                                                Leased       NO
    (Hillsboro)                      Hillsboro Energy




                                                                                                                     Case 20-41308
                                           LLC

Amendment No. 2 to       10/4/2010    WPP LLC to           No. 6 coal seam        Not recorded                                               Leased       NO
 the Coal Mining                     Hillsboro Energy
Lease and Sublease                         LLC
    Agreement




                                                                                                                     Doc 228
   Amended and          10/4/2010     WPP LLC to           No. 6 coal seam        MC 1412-134                                                Leased       NO
Restated Short Form                  Hillsboro Energy
   of Lease After                          LLC                                    BC 917-329
   Closing 4 and




                                                                                                 Filed 04/01/20 Entered 04/01/20 23:45:34
Closing 5 (Hillsboro)

Amendment No. 3 to      1/13/2011     WPP LLC to           No. 6 coal seam        Not recorded                                               Leased       NO
 the Coal Mining                     Hillsboro Energy




                                                                                                          Pg 767 of 1005
Lease and Sublease                         LLC
    Agreement

   Amended and          1/13/2011     WPP LLC to           No. 6 coal seam        MC 1426-275                                                Leased       NO
Restated Short Form                  Hillsboro Energy
   of Lease After                          LLC
Closing 3 (Hillsboro)




                                                                                                                     Main Docum
Description/Title of    Date            Parties          Brief Legal Description      Recording                                                Owned or   Subject to
    Document                                                                         Information                                                Leased    Mortgage

   Amended and           2/2/2012    WPP LLC to             No. 6 coal seam          MC 1477-459                                                Leased       NO
Restated Short Form                 Hillsboro Energy




                                                                                                                        Case 20-41308
   of Lease After                         LLC                                        BC 964-143
Closing 6 (Hillsboro)

   Amended and          8/21/2012    WPP LLC to             No. 6 coal seam          Not recorded                                               Leased       NO
Restated Short Form                 Hillsboro Energy
  of Lease After                          LLC                                        Not recorded




                                                                                                                        Doc 228
   Closing 7 & 8
    (Hillsboro)

 Coal Mining Lease      9/21/2007    Montgomery             No. 6 coal seam          Not recorded                                               Leased       NO
    Agreement                       Mineral LLC to




                                                                                                    Filed 04/01/20 Entered 04/01/20 23:45:34
                                    Hillsboro Energy
                                          LLC




                                                                                                             Pg 768 of 1005
    First Partial       9/9/2009     Montgomery        Terminated leasehold rights   Not recorded                                               Leased       NO
Termination of Lease                Mineral LLC to      to certain No. 6 coal seam
                                    Hillsboro Energy
                                          LLC

   Second Partial       1/8/2010     Montgomery        Terminated leasehold rights   Not recorded                                               Leased       NO
Termination of Lease                Mineral LLC to      to certain No. 6 coal seam
                                    Hillsboro Energy
                                          LLC




                                                                                                                        Main Docum
Description/Title of   Date            Parties          Brief Legal Description      Recording                                                Owned or   Subject to
    Document                                                                        Information                                                Leased    Mortgage

   Third Partial       10/4/2010    Montgomery        Terminated leasehold rights   Not recorded                                               Leased       NO
Termination of Lease               Mineral LLC to      to certain No. 6 coal seam




                                                                                                                       Case 20-41308
                                   Hillsboro Energy
                                         LLC

   Fourth Partial      1/13/2011    Montgomery        Terminated leasehold rights   Not recorded                                               Leased       NO
Termination of Lease               Mineral LLC to      to certain No. 6 coal seam
                                   Hillsboro Energy
                                         LLC




                                                                                                                       Doc 228
 Coal Mining Lease     8/12/2010     Colt LLC to           No. 6 coal seam          Not recorded                                               Leased       NO
(For “Reserve 1” and               Hillsboro Energy
    “Reserve 3”)                         LLC




                                                                                                   Filed 04/01/20 Entered 04/01/20 23:45:34
   Short Form or       8/12/2010     Colt LLC to           No. 6 coal seam          MC 1399-176                                                Leased       NO
  Memorandum of                    Hillsboro Energy
 Coal Mining Lease                       LLC                                        BC 910-257




                                                                                                            Pg 769 of 1005
(For “Reserve 1” and
    “Reserve 3”)


 Coal Mining Lease     8/12/2010     Colt LLC to           No. 6 coal seam          Not recorded                                               Leased       NO
 (For “Reserve 2”)                 Hillsboro Energy
                                         LLC




                                                                                                                       Main Docum
 Description/Title of   Date                Parties            Brief Legal Description      Recording                                               Owned or   Subject to
     Document                                                                              Information                                               Leased    Mortgage

   Short Form or         8/12/2010      Colt LLC to               No. 6 coal seam         MC 1399-135                                                Leased         NO
  Memorandum of                       Hillsboro Energy




                                                                                                                             Case 20-41308
 Coal Mining Lease                          LLC                                            BC 910-286
 (For “Reserve 2”)

First Amendment to      8/21/2012    Colt LLC to                  No. 6 coal seam         Not recorded                                               Leased         NO
Colt Coal Lease 2                    Hillsboro Energy
                                     LLC




                                                                                                                             Doc 228
Short Form or           8/21/2012    Colt LLC to                  No. 6 coal seam         MC 1508-455                                                Leased    NO
Memorandum of First                  Hillsboro Energy
Amendment to Colt                    LLC
Coal Lease 2




                                                                                                         Filed 04/01/20 Entered 04/01/20 23:45:34
                                     Montgomery Land                 Mine Site                                                                                 NO
                                     Company to
Deed                    8/12/2010                                    RDA 1 & 2            201000059726                                               Owned




                                                                                                                  Pg 770 of 1005
                                     Hillsboro Energy
                                     LLC                     Farmland & Bleeder Site #1

                                     Montgomery Land                                                                                                           NO
                                     Company to              Corridor from Mine Site to
Easement                8/12/2010                                                         201000059723                                               Owned
                                     Hillsboro Energy             Bleeder Shaft #1
                                     LLC

                                     George & Martha                                                                                                           NO
                                                            Corridor from Mine Site to
Easement                5/9/2011     Spinner to Hillsboro                                 201100063970                                               Owned
                                                            Bleeder Shaft #1
                                     Energy LLC




                                                                                                                             Main Docum
 Description/Title of    Date                Parties           Brief Legal Description           Recording                                               Owned or       Subject to
     Document                                                                                   Information                                               Leased        Mortgage

                                      Hillsboro Energy                                                                                                                     NO
Deed                     8/23/2013    LLC to Hillsboro                Loadout                 201300003499                                                Owned




                                                                                                                                  Case 20-41308
                                      Transport, LLC




Macoupin Energy LLC




                                                                                                                                  Doc 228
Shay No. 1 Mine
14300 Brushy Mound Road
Carlinville, Illinois 62626

Material Properties:




                                                                                                              Filed 04/01/20 Entered 04/01/20 23:45:34
  Description/Title of                                                                                     Recording                                         Owned      Subject to
                            Date                 Parties                 Brief Legal Description
      Document                                                                                            Information                                       or Leased   Mortgage
                                      WPP LLC and Macoupin Energy                                             NOT




                                                                                                                       Pg 771 of 1005
  Short Form of Lease      1/27/10                                   Macoupin South Mine Assignment                                                           Leased       Yes
                                                  LLC                                                     RECORDED
                                      Colt LLC and Macoupin Energy                                            NOT
  Short Form of Lease     8/12/2010                                  Macoupin North Mine Assignment                                                           Leased       Yes
                                                  LLC                                                     RECORDED
                                      Colt LLC and Macoupin Energy                                            NOT
  Short Form of Lease     8/12/2010                                   East Hornsby Mine Assignment                                                            Leased       Yes
                                                  LLC                                                     RECORDED
                                                                     Various tracts of surface and coal
                                                                      reserves. The coal reserves were
   Special Warranty                   ExxonMobil Coal USA, Inc and     sold to WPP or Colt and leased      MA-0019
                          1/22/2009                                                                                                                          Owned         Yes
        Deed                             Macoupin Energy LLC         back. The surface not required for     493145
                                                                      operations has been conveyed to
                                                                          New River Royalty LLC
                                      HOD LLC and Macoupin Energy                                            NOT
         Lease             1/27/10                                               Rail Loop                                                                    Leased       Yes
                                                 LLC                                                      RECORDED




                                                                                                                                  Main Docum
  Description/Title of                                                                                               Recording                                     Owned       Subject to
                           Date                   Parties                      Brief Legal Description
      Document                                                                                                      Information                                   or Leased    Mortgage
                                      HOD LLC and Macoupin Energy                                                       NOT
         Lease            1/27/10                                                    Rail Load Out                                                                 Leased         Yes
                                                   LLC                                                              RECORDED
   Option and Lease                   Jet Oil Company and Macoupin                                                  Volume 628,
                         2/28/1967                                                  Coal Reserves                                                                  Leased         Yes
     Agreement                                  Energy LLC                                                            Page 456




                                                                                                                                           Case 20-41308
Sugar Camp Energy, LLC

M-Class Mine
11351 N Thompsonville Road
Macedonia, Illinois 62860




                                                                                                                                           Doc 228
Material Properties:

  Description/Title of                                                                                                Recording                                     Owned or     Subject to
                            Date                   Parties                       Brief Legal Description
      Document                                                                                                       Information                                     Leased      Mortgage




                                                                                                                       Filed 04/01/20 Entered 04/01/20 23:45:34
                                      RGGS Land & Minerals & Sugar         Properties located in Franklin County     FC-0083 FC
   Coal Mining Lease      7/29/2005                                                                                                                                  Leased         Yes
                                            Camp Energy, LLC                   IL as described in Exhibit A           2006-6919
                                       Ruger Coal Company, LLC &           Consent with respect to Illinois Fuels
    Consent to Mine       1/22/2010                                                                                     FC-0233                                      Leased         Yes
                                        Sugar Camp Energy, LLC                             Lease




                                                                                                                                Pg 772 of 1005
                                                                                                                     Surface WC-
                                      Rodney Smith and Marta Smith to         PT Lot 121 and PT Lot 122 in
     Warranty Deed        1/15/2009                                                                                     0152,                                        Leased         Yes
                                         Sugar Camp Energy, LLC                    Kokopelli Estates
                                                                                                                     WC481-772
                                       Glendall E Johnston a.k.a. Glen
                                          Johnston and Carolyn S.
                                                                           NW NW Sec 1-6-4 and NWNE Sec                FC-0253
        Easement          3/4/2010    Johnston, a.k.a. Carolyn Johnston,                                                                                             Owned          Yes
                                                                            1-6-4 Franklin County, Illinois           2010-1056
                                      husband and Wife to Sugar Camp
                                                Energy, LLC
                                        Morris R. Clark and Karan S.
                                                                             NWNE and W2E2NE Sec 2-6-4                 FC-0254
        Easement          3/4/2010      Clark to Sugar Camp Energy,                                                                                                  Owned          Yes
                                                                                 Franklin, Illinois                   2010-1057
                                                     LLC




                                                                                                                                           Main Docum
 Description/Title of                                                                                          Recording                                   Owned or   Subject to
                           Date                  Parties                    Brief Legal Description
     Document                                                                                                 Information                                   Leased    Mortgage
                                     David Blood and Melanie Blood,
                                                                         Pt E2NENE Sec 2-6-4 Franklin
      Easement           3/1/2010    husband and wife to Sugar Camp                                              FC-0255                                    Owned        Yes
                                                                           County, Illinois 2010-1058
                                               Energy, LLC
                                     Roger L. Sanders and Mary Ellen




                                                                                                                                    Case 20-41308
                                                                        W 10 ac N3/4 of NESE Sec 6-6-5         HC-0078
      Easement           6/5/2010    Sanders to Sugar Camp Energy,                                                                                          Owned        Yes
                                                                           Hamilton County, Illinois           221-117
                                                  LLC
                                       Patrick G Mascal and Lori S.
                                                                       W2NESW and E2S2NWSW Sec 6-              HC-0075
   Warranty Deed         6/1/2010     Mascal to Sugar Camp Energy,                                                                                          Owned        Yes
                                                                           6-5 Hamilton Illinois               277/311
                                                  LLC
  Overriding Royalty                  Ruger Coal Company LLC to        Right to mine on Illinois Fuels TVA
                         8/12/2010                                                                                              N/A                         Leased       Yes
  Interest Agreement                    Sugar Camp Energy, LLC                        Lease
  Overriding Royalty                  Ruger Coal Company LLC to         Right to Mine on Franklin County




                                                                                                                                    Doc 228
                         8/12/2010                                                                                              N/A                         Leased       No
  Interest Agreement                    Sugar Camp Energy, LLC                     TVA Lease
                                        Williamson Development
                                                                        Surface required for Sugar Camp          NOT
        Deed             8/12/2010    Company LLC to Sugar Camp                                                                                             Owned        Yes
                                                                            Energy, LLC Operations            RECORDED
                                               Energy, LLC
                                        Williamson Development         Surface in Hamilton County required




                                                                                                                Filed 04/01/20 Entered 04/01/20 23:45:34
                                                                                                                 NOT
        Deed             8/12/2010    Company LLC to Sugar Camp           for Sugar Camp Energy, LLC                                                        Owned        Yes
                                                                                                              RECORDED
                                               Energy, LLC                          Operations
                                        Williamson Development         Surface at former Akin site required
                                                                                                                 NOT
        Deed             8/12/2010    Company LLC to Sugar Camp           for Sugar Camp Energy, LLC                                                        Owned        Yes




                                                                                                                         Pg 773 of 1005
                                                                                                              RECORDED
                                               Energy, LLC                          Operations
                                      Ruger Coal Company LLC to                                                  NOT
  Coal Mining Lease      8/12/2010                                                Coal Reserves                                                             Leased       Yes
                                        Sugar Camp Energy, LLC                                                RECORDED


Mining Lease            01/04/18     Roberts, Carol Ann Trustee to     Sugar Camp Mine Plan                   HC 2018-                                     Leased
                                     SCELLC                                                                   0008
Mining Lease            01/04/18     Engstrom, Amy to SCELLC           Sugar Camp Mine Plan                   HC 2018-                                     Leased
                                                                                                              0011
Mining Lease            01/04/18     Hayes, Marshall Jr. to SCELLC     Sugar Camp Mine Plan                   HC 2018-                                     Leased
                                                                                                              0013
Mining Lease            01/04/18     Blanchard, Bonnie M. to           Sugar Camp Mine Plan                   HC 2018-                                     Leased
                                     SCELLC                                                                   0016




                                                                                                                                    Main Docum
Mining Lease   01/04/18   Palmer, James to SCELLC         Sugar Camp Mine Plan   HC 2018-                                     Leased
                                                                                 0017
Mining Lease   01/04/18   Moxley, Linda to SCELLC         Sugar Camp Mine Plan   HC 2018-                                     Leased
                                                                                 0018
Coal Deed      01/04/18   Johnson, Susan L. to SCELLC     Sugar Camp Mine Plan   HC 2018-                                     Owned
                                                                                 0019




                                                                                                       Case 20-41308
Mining Lease   01/30/18   McFarland, Carol A. to SCELLC   Sugar Camp Mine Plan   HC 2018-                                     Leased
                                                                                 0110
Mining Lease   01/30/18   Bowman, Debra Kate to           Sugar Camp Mine Plan   HC 2018-                                     Leased
                          SCELLC                                                 0111
Mining Lease   01/30/18   Diaz, Donna J. to SCELLC        Sugar Camp Mine Plan   HC 2018-                                     Leased
                                                                                 0112
Mining Lease   01/30/18   Flannigan, James T. to SCELLC   Sugar Camp Mine Plan   HC 2018-                                     Leased
                                                                                 0113




                                                                                                       Doc 228
Mining Lease   01/30/18   Leslie, Janet E. to SCELLC      Sugar Camp Mine Plan   HC 2018-                                     Leased
                                                                                 0114
Mining Lease   01/30/18   Reid, Jon M. to SCELLC          Sugar Camp Mine Plan   HC 2018-                                     Leased
                                                                                 0115
Mining Lease   01/30/18   Webster, Linda to SCELLC        Sugar Camp Mine Plan   HC 2018-                                     Leased




                                                                                   Filed 04/01/20 Entered 04/01/20 23:45:34
                                                                                 0116
Mining Lease   01/30/18   Henson, William to SCELLC       Sugar Camp Mine Plan   HC 2018-                                     Leased
                                                                                 0119
Coal Deed      01/30/18   Wake, Amanda to SCELLC          Sugar Camp Mine Plan   HC 2018-                                     Owned




                                                                                            Pg 774 of 1005
                                                                                 0120
Coal Deed      01/30/18   Trabant, Megan to SCELLC        Sugar Camp Mine Plan   HC 2018-                                     Owned
                                                                                 0121
Coal Deed      01/30/18   Metheney, Pamela S. to SCELLC   Sugar Camp Mine Plan   HC 2018-                                     Owned
                                                                                 0122
Coal Deed      01/30/18   Metheney, Rochelle to SCELLC    Sugar Camp Mine Plan   HC 2018-                                     Owned
                                                                                 0123
Mining Lease   01/30/18   Bloomfield, Dora to SCELLC      Sugar Camp Mine Plan   HC 2018-                                     Leased
                                                                                 0123
Mining Lease   01/30/18   Flannigan, Donald to SCELLC     Sugar Camp Mine Plan   HC 2018-                                     Leased
                                                                                 0124
Mining Lease   01/30/18   Smith, Sharon to SCELLC         Sugar Camp Mine Plan   HC 2018-                                     Leased
                                                                                 0126




                                                                                                       Main Docum
Mining Lease   02/08/18   Wood, Betty A. to SCELLC        Sugar Camp Mine Plan   HC 2018-                                     Leased
                                                                                 0171
Mining Lease   02/08/18   Irish, Carol V. to SCELLC       Sugar Camp Mine Plan   HC 2018-                                     Leased
                                                                                 0172
Mining Lease   02/08/18   Wicker, Darrell to SCELLC       Sugar Camp Mine Plan   HC 2018-                                     Leased
                                                                                 0173




                                                                                                       Case 20-41308
Mining Lease   02/08/18   Kathleen M. Wright to SCELLC    Sugar Camp Mine Plan   HC 2018-                                     Leased
                                                                                 0174
Mining Lease   02/08/18   Irish, Lloyd Paul to SCELLC     Sugar Camp Mine Plan   HC 2018-                                     Leased
                                                                                 0175
Mining Lease   02/08/18   Patterson, Paul J. to SCELLC    Sugar Camp Mine Plan   HC 2018-                                     Leased
                                                                                 0176
Mining Lease   02/08/18   Wicker, Paul R. to SCELLC       Sugar Camp Mine Plan   HC 2018-                                     Leased
                                                                                 0177




                                                                                                       Doc 228
Mining Lease   02/28/18   Krois, Bonnie C. to SCELLC      Sugar Camp Mine Plan   HC 2018-                                     Leased
                                                                                 0270
Coal Deed      02/28/18   Tabor, Stephanie to SCELLC      Sugar Camp Mine Plan   HC 2018-                                     Owned
                                                                                 0271
Mining Lease   02/28/18   Petitte, Clyda to SCELLC        Sugar Camp Mine Plan   HC 2018-                                     Leased




                                                                                   Filed 04/01/20 Entered 04/01/20 23:45:34
                                                                                 0272
Mining Lease   02/28/18   Patterson, Emily Jo to SCELLC   Sugar Camp Mine Plan   HC 2018-                                     Leased
                                                                                 0273
Mining Lease   02/28/18   Allen, Jane to SCELLC           Sugar Camp Mine Plan   HC 2018-                                     Leased




                                                                                            Pg 775 of 1005
                                                                                 0274
Coal Deed      02/28/18   Spaven, Laverne to SCELLC       Sugar Camp Mine Plan   HC 2018-                                     Owned
                                                                                 0276
Mining Lease   02/28/18   Jackson, Patricia Snyder to     Sugar Camp Mine Plan   HC 2018-                                     Leased
                          SCELLC                                                 0277
Mining Lease   02/28/18   Gioia, Virginia M. to SCELLC    Sugar Camp Mine Plan   HC 2018-                                     Leased
                                                                                 0278
Mining Lease   02/28/18   Moffett, William R. to SCELLC   Sugar Camp Mine Plan   HC 2018-                                     Leased
                                                                                 0279
Mining Lease   02/28/18   O'Dell, William to SCELLC       Sugar Camp Mine Plan   HC 2018-                                     Leased
                                                                                 0280
Mining Lease   02/28/18   Reid, Dennis P. to SCELLC       Sugar Camp Mine Plan   HC 2018-                                     Leased
                                                                                 0281




                                                                                                       Main Docum
Coal Deed      02/28/18   Griffith, Janice Sue to SCELLC   Sugar Camp Mine Plan   HC 2018-                                     Owned
                                                                                  0284
Mining Lease   02/28/18   Knight, Kenneth E. to SCELLC     Sugar Camp Mine Plan   HC 2018-                                     Leased
                                                                                  0287
Coal Deed      02/28/18   Metheney, Rickie W. to           Sugar Camp Mine Plan   HC 2018-                                     Owned
                          SCELLC                                                  0289




                                                                                                        Case 20-41308
Mining Lease   02/28/18   Olson, Ruth E. to SCELLC         Sugar Camp Mine Plan   HC 2018-                                     Leased
                                                                                  0291
Mining Lease   02/28/18   Sandy, Susan E. to SCELLC        Sugar Camp Mine Plan   HC 2018-                                     Leased
                                                                                  0293
Coal Deed      02/28/18   Miller, Micah A. & Marietta to   Sugar Camp Mine Plan   HC 2019-                                     Owned
                          SCELLC                                                  2023
Mining Lease   04/06/18   Mudge, Evelyn M. to SCELLC       Sugar Camp Mine Plan   HC 2018-                                     Leased
                                                                                  0806




                                                                                                        Doc 228
Mining Lease   04/12/18   Higginson, Leslie K. to SCELLC   Sugar Camp Mine Plan   HC 2018-                                     Leased
                                                                                  0527
Coal Deed      04/12/18   Farris, Brenda K. to SCELLC      Sugar Camp Mine Plan   HC 2018-                                     Owned
                                                                                  0528
Mining Lease   04/12/18   Cook, Becky Lynn to SCELLC       Sugar Camp Mine Plan   HC 2018-                                     Leased




                                                                                    Filed 04/01/20 Entered 04/01/20 23:45:34
                                                                                  0529
Mining Lease   04/12/18   Snyder, Diane M. to SCELLC       Sugar Camp Mine Plan   HC 2018-                                     Leased
                                                                                  0530
Mining Lease   04/12/18   O'Dell, Kevin J. to SCELLC       Sugar Camp Mine Plan   HC 2018-                                     Leased




                                                                                             Pg 776 of 1005
                                                                                  0531
Mining Lease   04/12/18   Wohlers, Karen J. to SCELLC      Sugar Camp Mine Plan   HC 2018-                                     Leased
                                                                                  0532
Mining Lease   04/12/18   Heckert, Lauri to SCELLC         Sugar Camp Mine Plan   HC 2018-                                     Leased
                                                                                  0533
Mining Lease   04/12/18   Page, Mary Jane by Sidney        Sugar Camp Mine Plan   HC 2018-                                     Leased
                          Bennett III AIF to SCELLC                               0534
Mining Lease   04/12/18   Comp ton, Paulette N. to         Sugar Camp Mine Plan   HC 2018-                                     Leased
                          SCELLC                                                  0535
Mining Lease   04/12/18   Taylor, Jennifer to SCELLC       Sugar Camp Mine Plan   HC 2018-                                     Leased
                                                                                  0536
Mining Lease   04/12/18   O'Dell, Carol Lee to SCELLC      Sugar Camp Mine Plan   HC 2018-                                     Leased
                                                                                  0537




                                                                                                        Main Docum
Mining Lease   04/12/18   O'Dell, Casey Joel to SCELLC    Sugar Camp Mine Plan   HC 2018-                                     Leased
                                                                                 0538
Mining Lease   05/08/18   Lowman, Timothy A. to SCELLC    Sugar Camp Mine Plan   HC 2018-                                     Leased
                                                                                 0548
Mining Lease   05/08/18   Neal, Douglas Allen to SCELLC   Sugar Camp Mine Plan   HC 2018-                                     Leased
                                                                                 0754




                                                                                                       Case 20-41308
Mining Lease   05/08/18   Williams, J. Mark to SCELLC     Sugar Camp Mine Plan   HC 2018-                                     Leased
                                                                                 0755
Mining Lease   05/08/18   Barker, Lynne E. to SCELLC      Sugar Camp Mine Plan   HC 2018-                                     Leased
                                                                                 0756
Mining Lease   05/08/18   Knight, Stephen L. to SCELLC    Sugar Camp Mine Plan   HC 2018-                                     Leased
                                                                                 0757
Mining Lease   05/08/18   Neal, Walter Blake to SCELLC    Sugar Camp Mine Plan   HC 2018-                                     Leased
                                                                                 0759




                                                                                                       Doc 228
Coal Deed      05/11/18   Noma, Inc to SCELLC             Sugar Camp Mine Plan   HC 2018-                                     Owned
                                                                                 1036
Mining Lease   05/16/18   Hake, Gary R. to SCELLC         Sugar Camp Mine Plan   HC 2018-                                     Leased
                                                                                 0807
Mining Lease   05/16/18   Hosner, Irene Neal to SCELLC    Sugar Camp Mine Plan   HC 2018-                                     Leased




                                                                                   Filed 04/01/20 Entered 04/01/20 23:45:34
                                                                                 0808
Mining Lease   05/16/18   Duckworth, Nina Neal to         Sugar Camp Mine Plan   HC 2018-                                     Leased
                          SCELLC                                                 0811
Mining Lease   05/16/18   Bailey, Velma Neal to SCELLC    Sugar Camp Mine Plan   HC 2018-                                     Leased




                                                                                            Pg 777 of 1005
                                                                                 0812
Mining Lease   05/16/18   Lovan, W. Robert to SCELLC      Sugar Camp Mine Plan   HC 2018-                                     Leased
                                                                                 0813
Mining Lease   05/16/18   Neal, William Jerry to SCELLC   Sugar Camp Mine Plan   HC 2018-                                     Leased
                                                                                 0814
Coal Deed      06/27/18   Bow ton, Barbara G. to SCELLC   Sugar Camp Mine Plan   HC 2018-                                     Owned
                                                                                 1027
Coal Deed      06/27/18   Whets tone, Dennis W. to        Sugar Camp Mine Plan   HC 2018-                                     Owned
                          SCELLC                                                 1028
Coal Deed      06/27/18   Whets tone, William R. to       Sugar Camp Mine Plan   HC 2018-                                     Owned
                          SCELLC                                                 1029
Coal Deed      06/27/18   Smith, Bernice to SCELLC        Sugar Camp Mine Plan   HC 2018-                                     Owned
                                                                                 1030




                                                                                                       Main Docum
Coal Deed      06/27/18   Thompson, Beatrice % Billy E.      Sugar Camp Mine Plan   HC 2018-                                    Owned
                          Walker AIF to SCELLC                                      1031
Coal Deed      06/27/18   First Church of the Nazarene to    Sugar Camp Mine Plan   HC 2018-                                    Owned
                          SCELLC                                                    1032
Coal Deed      06/27/18   Linn, Karen R. to SCELLC           Sugar Camp Mine Plan   HC 2018-                                    Owned
                                                                                    1034




                                                                                                         Case 20-41308
Mining Lease   06/27/18   Seibert, Charles Ellis to SCELLC   Sugar Camp Mine Plan   HC 2018-                                    Leased
                                                                                    1037
Mining Lease   06/27/18   Seibert, James Thomas to           Sugar Camp Mine Plan   HC 2018-                                    Leased
                          SCELLC                                                    1038
Mining Lease   06/27/18   Drake, Terry W. to SCELLC          Sugar Camp Mine Plan   HC 2018-                                    Leased
                                                                                    1041
Mining Lease   06/27/18   Scott, Betsy Dawn to SCELLC        Sugar Camp Mine Plan   HC 2018-                                    Leased
                                                                                    1042




                                                                                                         Doc 228
Mining Lease   06/27/18   Lane, John Bradley to SCELLC       Sugar Camp Mine Plan   HC 2018-                                    Leased
                                                                                    1045
Mining Lease   06/27/18   Drake, Mark W. to SCELLC           Sugar Camp Mine Plan   HC 2018-                                    Leased
                                                                                    1045
Coal Deed      06/27/18   Mendyk, Julie to SCELLC            Sugar Camp Mine Plan   HC 2018-                                    Owned




                                                                                     Filed 04/01/20 Entered 04/01/20 23:45:34
                                                                                    1088
Mining Lease   07/05/18   Wall, Joyce Ann to SCELLC          Sugar Camp Mine Plan   HC 2018-                                    Leased
                                                                                    1086
Mining Lease   07/05/18   Metheney, Donald W. to             Sugar Camp Mine Plan   HC 2018-                                    Leased




                                                                                              Pg 778 of 1005
                          SCELLC                                                    1084
Coal Deed      07/05/18   Sandidge, Joyce to SCELLC          Sugar Camp Mine Plan   HC 2018-                                    Owned
                                                                                    1085
Coal Deed      07/05/18   Smith, Leon to SCELLC              Sugar Camp Mine Plan   HC 2018-                                    Owned
                                                                                    1087
Coal Deed      07/05/18   Smith, Richard H. to SCELLC        Sugar Camp Mine Plan   HC 2018-                                    Owned
                                                                                    1088
Mining Lease   07/05/18   Wall, Ronald M. to SCELLC          Sugar Camp Mine Plan   HC 2018-                                    Leased
                                                                                    1089
Mining Lease   07/18/18   Martin, Marianne B. to SCELLC      Sugar Camp Mine Plan   HC 2018-                                    Leased
                                                                                    1157
Mining Lease   07/18/18   Wilkie, Mary Jean to SCELLC        Sugar Camp Mine Plan   HC 2018-                                    Leased
                                                                                    1158




                                                                                                         Main Docum
Mining Lease   07/18/18   Jones, Michael J. to SCELLC       Sugar Camp Mine Plan   HC 2018-                                    Leased
                                                                                   1159
Mining Lease   07/18/18   Martin, Janet J. to SCELLC        Sugar Camp Mine Plan   HC 2018-                                    Leased
                                                                                   1160
Mining Lease   07/30/18   Kleber, LLC to SCELLC             Sugar Camp Mine Plan   HC 2018-                                    Leased
                                                                                   1222




                                                                                                        Case 20-41308
Mining Lease   08/08/18   Vickers, Rhonda Lee to SCELLC     Sugar Camp Mine Plan   HC 2018-                                    Leased
                                                                                   1271
Mining Lease   08/08/18   Pike, Brenda L. to SCELLC         Sugar Camp Mine Plan   HC 2018-                                    Leased
                                                                                   1272
Mining Lease   08/08/18   Schwenn, Carolyn S. to SCELLC     Sugar Camp Mine Plan   HC 2018-                                    Leased
                                                                                   1273
Mining Lease   08/14/18   Lane, Juanita Dare to SCELLC      Sugar Camp Mine Plan   HC 2018-                                    Leased
                                                                                   1302




                                                                                                        Doc 228
Coal Deed      08/14/18   Metheney, Miranda to SCELLC       Sugar Camp Mine Plan   HC 2018-                                    Owned
                                                                                   1301
Mining Lease   08/14/18   Yancey, George to SCELLC          Sugar Camp Mine Plan   HC 2018-                                    Leased
                                                                                   1303
Mining Lease   08/28/18   Knob Prairie Baptist Cemetery     Sugar Camp Mine Plan   HC 2018-                                    Leased




                                                                                    Filed 04/01/20 Entered 04/01/20 23:45:34
                          Association to SCELLC                                    1040
Coal Deed      09/12/18   Buchanan, Cynthia E. to           Sugar Camp Mine Plan   HC 2018-                                    Owned
                          SCELLC                                                   1439
Coal Deed      09/12/18   Brophy, Romaine widow of          Sugar Camp Mine Plan   HC 2018-                                    Owned




                                                                                             Pg 779 of 1005
                          James Brophy to SCELLC                                   1440
Mining Lease   09/12/18   Wright, Donald L. to SCELLC       Sugar Camp Mine Plan   HC 2018-                                    Leased
                                                                                   1441
Mining Lease   09/12/18   Dorion, Rhona to SCELLC           Sugar Camp Mine Plan   HC 2018-                                    Leased
                                                                                   1442
Mining Lease   09/12/18   Wright, Laura to SCELLC           Sugar Camp Mine Plan   HC 2018-                                    Leased
                                                                                   1443
Mining Lease   10/03/18   Simmons, Gavin T. to SCELLC       Sugar Camp Mine Plan   HC 2018-                                    Leased
                                                                                   1523
Mining Lease   10/03/18   Wright, Curtis D. to SCELLC       Sugar Camp Mine Plan   HC 2018-                                    Leased
                                                                                   1524
Mining Lease   10/03/18   Lane, Riley Elizabeth to SCELLC   Sugar Camp Mine Plan   HC 2018-                                    Leased
                                                                                   1525




                                                                                                        Main Docum
Mining Lease   10/24/18   Winter, Carrie L Trust to       Sugar Camp Mine Plan   HC 2018-                                     Leased
                          SCELLC                                                 1662
Mining Lease   10/24/18   Smith, Brett to SCELLC          Sugar Camp Mine Plan   HC 2018-                                     Leased
                                                                                 1663
Mining Lease   10/24/18   Johnson, Flora Wymond to        Sugar Camp Mine Plan   HC 2018-                                     Leased
                          SCELLC                                                 1665




                                                                                                       Case 20-41308
Mining Lease   10/24/18   Collins, Sandra Lee to SCELLC   Sugar Camp Mine Plan   HC 2018-                                     Leased
                                                                                 1666
Mining Lease   10/24/18   Koptez, Steven Gerald to        Sugar Camp Mine Plan   HC 2018-                                     Leased
                          SCELLC                                                 1667
Mining Lease   10/24/18   Decker, Mary Lee to SCELLC      Sugar Camp Mine Plan   HC 2018-                                     Leased
                                                                                 1783
Coal Deed      10/30/18   Jenkins, Thomas R to SCELLC     Sugar Camp Mine Plan   HC 2018-                                     Owned
                                                                                 1692




                                                                                                       Doc 228
Mining Lease   10/30/18   Dry, Margaret Johnson to        Sugar Camp Mine Plan   HC 2018-                                     Leased
                          SCELLC                                                 1693
Mining Lease   10/30/18   Lane, Sydney Drew to SCELLC     Sugar Camp Mine Plan   HC 2018-                                     Leased
                                                                                 1694
Mining Lease   10/30/18   touma, Elizabeth Johnson to     Sugar Camp Mine Plan   HC 2018-                                     Leased




                                                                                   Filed 04/01/20 Entered 04/01/20 23:45:34
                          SCELLC                                                 1695
Mining Lease   10/30/18   Myers, Phyllis Ann to SCELLC    Sugar Camp Mine Plan   HC 2018-                                     Leased
                                                                                 1696
Mining Lease   11/19/18   Palmer, Gary to SCELLC          Sugar Camp Mine Plan   HC 2018-                                     Leased




                                                                                            Pg 780 of 1005
                                                                                 1785
Mining Lease   11/19/18   Jordon, Flora Johnson to        Sugar Camp Mine Plan   HC 2018-                                     Leased
                          SCELLC                                                 1908
Mining Lease   11/20/18   Waggoner, Amanda J to SCELLC    Sugar Camp Mine Plan   FC 2018-                                     Leased
                                                                                 4821
Mining Lease   11/20/18   Bohannon, Barbara Ann to        Sugar Camp Mine Plan   FC 2018-                                     Leased
                          SCELLC                                                 4822
Mining Lease   11/20/18   Otterson, Lloyd L. to SCELLC    Sugar Camp Mine Plan   FC 2018-                                     Leased
                                                                                 4823
Mining Lease   12/11/18   Goforth, Heather J. to SCELLC   Sugar Camp Mine Plan   HC 2018-                                     Leased
                                                                                 1905
Mining Lease   12/11/18   Goforth, Matthew R. to SCELLC   Sugar Camp Mine Plan   HC 2018-                                     Leased
                                                                                 1906




                                                                                                       Main Docum
Mining Lease   12/11/18   Smith, Kerry to SCELLC            Sugar Camp Mine Plan   HC 2018-                                     Leased
                                                                                   1907
Mining Lease   12/11/18   Johnson, Katherine Elizabeth to   Sugar Camp Mine Plan   HC 2018-                                     Leased
                          SCELLC                                                   1908
Mining Lease   12/18/18   Wright, Shelia P. to SCELLC       Sugar Camp Mine Plan   HC 2018-                                     Leased
                                                                                   1974




                                                                                                         Case 20-41308
Mining Lease   12/18/18   Wright, Richard A. to SCELLC      Sugar Camp Mine Plan   HC 2018-                                     Leased
                                                                                   1975
Mining Lease   12/18/18   Wright, Michael S. to SCELLC      Sugar Camp Mine Plan   HC 2018-                                     Leased
                                                                                   1976
Mining Lease   12/18/18   Brown, Gary R. to SCELLC          Sugar Camp Mine Plan   HC 2018-                                     Leased
                                                                                   1977
Coal Deed      01/09/19   Jenkins, Mike to SCELLC           Sugar Camp Mine Plan   HC 2019-                                     Owned
                                                                                   0057




                                                                                                         Doc 228
Mining Lease   01/09/19   Jenkins, Hellen to SCELLC         Sugar Camp Mine Plan   HC 2019-                                     Leased
                                                                                   0058
Mining Lease   01/09/19   Bayne, Janet Jenkins to SCELLC    Sugar Camp Mine Plan   HC 2019-                                     Leased
                                                                                   0059
Mining Lease   01/09/19   Jenkins, James J. to SCELLC       Sugar Camp Mine Plan   HC 2019-                                     Leased




                                                                                     Filed 04/01/20 Entered 04/01/20 23:45:34
                                                                                   0060
Mining Lease   01/16/19   Wright, Steven Ray to SCELLC      Sugar Camp Mine Plan   HC 2019-                                     Leased
                                                                                   0097
Mining Lease   01/16/19   Wright, Ida Louise to SCELLC      Sugar Camp Mine Plan   HC 2019-                                     Leased




                                                                                              Pg 781 of 1005
                                                                                   0098
Coal Deed      01/29/19   The Bonnie Camp Meeting to        Sugar Camp Mine Plan   HC 2019-                                     Owned
                          SCELLC                                                   0150
Coal Deed      02/01/19   Barnhill, Ruth Eloise Short to    Sugar Camp Mine Plan   HC 2019-                                     Owned
                          SCELLC                                                   0168
Coal Deed      02/01/19   Rappe, John James to SCELLC       Sugar Camp Mine Plan   HC 2019-                                     Owned
                                                                                   0169
Mining Lease   02/01/19   Willis, Bruce E. to SCELLC        Sugar Camp Mine Plan   HC 2019-                                     Leased
                                                                                   0172
Mining Lease   02/01/19   Knott, Elaine Mae to SCELLC       Sugar Camp Mine Plan   HC 2019-                                     Leased
                                                                                   0173
Mining Lease   02/01/19   Seibert, John Walter to SCELLC    Sugar Camp Mine Plan   HC 2019-                                     Leased
                                                                                   0174




                                                                                                         Main Docum
Coal Deed      02/08/19   Short, Leon to SCELLC             Sugar Camp Mine Plan   HC 2019-                                    Owned
                                                                                   0210
Coal Deed      02/08/19   Avolt, Kathleen Eagan to          Sugar Camp Mine Plan   HC 2019-                                    Owned
                          SCELLC                                                   0218
Coal Deed      02/08/19   Avolt, Donna H. to SCELLC         Sugar Camp Mine Plan   HC 2019-                                    Owned
                                                                                   0219




                                                                                                        Case 20-41308
Mining Lease   02/13/19   Wall, Letitia to SCELLC           Sugar Camp Mine Plan   HC 2019-                                    Leased
                                                                                   0223
Mining Lease   02/14/19   Rexing, Joseph L. to SCELLC       Sugar Camp Mine Plan   NOT                                         Leased
                                                                                   RECORDED
Mining Lease   02/14/19   Rexing, Joseph L. to SCELLC       Sugar Camp Mine Plan   NOT                                         Leased
                                                                                   RECORDED
Mining Lease   02/19/19   Hoffman, Elaine W. to SCELLC      Sugar Camp Mine Plan   HC 2019-                                    Leased
                                                                                   0245




                                                                                                        Doc 228
Coal Deed      03/12/19   Banning, David W. to SCELLC       Sugar Camp Mine Plan   HC 2019-                                    Owned
                                                                                   0368
Mining Lease   03/22/19   Kinsey, Frances E. to SCELLC      Sugar Camp Mine Plan   HC 2019-                                    Leased
                                                                                   0416
Mining Lease   03/22/19   Willis, George Darin to SCELLC    Sugar Camp Mine Plan   HC 2019-                                    Leased




                                                                                    Filed 04/01/20 Entered 04/01/20 23:45:34
                                                                                   0417
Mining Lease   03/22/19   Burns, Lenore E. to SCELLC        Sugar Camp Mine Plan   HC 2019-                                    Leased
                                                                                   0418
Mining Lease   03/22/19   Gill, Lorella E. to SCELLC        Sugar Camp Mine Plan   HC 2019-                                    Leased




                                                                                             Pg 782 of 1005
                                                                                   0419
Mining Lease   03/22/19   Oberreiter, Jean Ann (Evans) to   Sugar Camp Mine Plan   HC 2019-                                    Leased
                          SCELLC                                                   0420
Coal Deed      03/22/19   Doyle, Kymbra Drasil to           Sugar Camp Mine Plan   HC 2019-                                    Owned
                          SCELLC                                                   0421
Coal Deed      03/27/19   Higgins, Cynthia Ann to Elaine    Sugar Camp Mine Plan   HC 2019-                                    Owned
                          May Knott                                                0446
Coal Deed      03/28/19   Short, Dian to SCELLC             Sugar Camp Mine Plan   HC 2019-                                    Owned
                                                                                   0463
Coal Deed      03/28/19   Short, Richard to SCELLC          Sugar Camp Mine Plan   HC 2019-                                    Owned
                                                                                   0464
Coal Deed      04/03/19   South Side Christian Church to    Sugar Camp Mine Plan   HC 2019-                                    Owned
                          SCELLC                                                   0507




                                                                                                        Main Docum
Mining Lease   04/10/19   Yorgan, Jennifer to SCELLC       Sugar Camp Mine Plan   HC 2019-                                    Leased
                                                                                  0558
Mining Lease   04/10/19   Edmonds, James G. to SCELLC      Sugar Camp Mine Plan   HC 2019-                                    Leased
                                                                                  0559
Mining Lease   04/23/19   Crowder, Nancee L. to SCELLC     Sugar Camp Mine Plan   HC 2019-                                    Leased
                                                                                  0669




                                                                                                       Case 20-41308
Mining Lease   04/23/19   Gunn, Patrick L. to SCELLC       Sugar Camp Mine Plan   HC 2019-                                    Leased
                                                                                  0671
Mining Lease   04/23/19   Gunn, Scott L. to SCELLC         Sugar Camp Mine Plan   HC 2019-                                    Leased
                                                                                  0672
Mining Lease   04/23/19   Gunn, Kenneth to SCELLC          Sugar Camp Mine Plan   HC 2019-                                    Leased
                                                                                  0673
Mining Lease   05/01/19   Foresight Energy LP to SCELLC    Sugar Camp Mine Plan   NOT                                         Leased
                                                                                  RECORDED




                                                                                                       Doc 228
Mining Lease   05/08/19   Camden, Randy to SCELLC          Sugar Camp Mine Plan   HC 2019-                                    Leased
                                                                                  0750
Mining Lease   05/08/19   Davis, Tamera L. to SCELLC       Sugar Camp Mine Plan   HC 2019-                                    Leased
                                                                                  0751
Mining Lease   05/30/19   Fitts, David F. to SCELLC        Sugar Camp Mine Plan   HC 2019-                                    Leased




                                                                                   Filed 04/01/20 Entered 04/01/20 23:45:34
                                                                                  0851
Coal Deed      06/03/19   Avolt, Geoffrey Barth to         Sugar Camp Mine Plan   HC 2019-                                    Owned
                          SCELLC                                                  0870
Mining Lease   06/10/19   Buchman, Diana Sue Wright to     Sugar Camp Mine Plan   HC 2019-                                    Leased




                                                                                            Pg 783 of 1005
                          SCELLC                                                  0896
Mining Lease   06/10/19   Willis, Robert James to SCELLC   Sugar Camp Mine Plan   HC 2019-                                    Leased
                                                                                  0897
Mining Lease   06/10/19   Sears, James R. & Gloria to      Sugar Camp Mine Plan   HC 2019-                                    Leased
                          SCELLC                                                  0898
Mining Lease   06/19/19   Wise, Melodie Lea to SCELLC      Sugar Camp Mine Plan   HC 2019-                                    Leased
                                                                                  0962
Mining Lease   06/19/19   Walker, Edwin N. to SCELLC       Sugar Camp Mine Plan   HC 2019-                                    Leased
                                                                                  0963
Mining Lease   07/17/19   O'Dell, Paula J. to SCELLC       Sugar Camp Mine Plan   HC 2019-                                    Leased
                                                                                  1079
Mining Lease   07/17/19   Walker, Ivan W. to SCELLC        Sugar Camp Mine Plan   HC 2019-                                    Leased
                                                                                  1080




                                                                                                       Main Docum
Mining Lease   07/25/19     Hut ton, Catherine Ann to        Sugar Camp Mine Plan   HC 2019-                                     Leased
                            SCELLC                                                  1118
Coal Deed      07/25/19     Nuss, Richard E. Sr. to SCELLC   Sugar Camp Mine Plan   HC 2019-                                     Owned
                                                                                    1120
Mining Lease   08/01/19     Miltenberger, Cheryl G. to       Sugar Camp Mine Plan   HC 2019-                                     Leased
                            SCELLC                                                  1162




                                                                                                          Case 20-41308
Mining Lease   08/01/19     Lohman, Sandra E. to SCELLC      Sugar Camp Mine Plan   HC 2019-                                     Leased
                                                                                    1163
Mining Lease   08/01/19     Entwistle, Craig W. to SCELLC    Sugar Camp Mine Plan   HC 2019-                                     Leased
                                                                                    1164
Coal Deed      08/28/19     Society of St. Vincent de Paul   Sugar Camp Mine Plan   HC 2019-                                     Owned
                            Archdiocesan Council                                    1317
                            toSCELLC
Mining Lease   08/28/19     Entwistle, Jacquelyn Marie to    Sugar Camp Mine Plan   HC 2019-                                     Leased




                                                                                                          Doc 228
                            SCELLC                                                  1318
Mining Lease   08/28/19     Oliver, Mil ton Donald to        Sugar Camp Mine Plan   HC 2019-                                     Leased
                            SCELLC                                                  1318
Mining Lease   09/24/19     Prusha, Thomas M. to SCELLC      Sugar Camp Mine Plan   HC 2019-                                     Leased
                                                                                    1584




                                                                                      Filed 04/01/20 Entered 04/01/20 23:45:34
Coal Deed      10/09/19     Lowe, Debra Short to SCELLC      Sugar Camp Mine Plan   HC 2019-                                     Owned
                                                                                    1697
Coal Deed      11/14/19     Lewis, Phyllis Ann to SCELLC     Sugar Camp Mine Plan   HC 2019-                                     Owned
                                                                                    1869




                                                                                               Pg 784 of 1005
Coal Deed      11/14/19     Duncan, Barbara Joan to          Sugar Camp Mine Plan   HC 2019-                                     Owned
                            SCELLC                                                  1870
Coal Deed      11/14/2019   McKinney, Marsha to SCELLC       Sugar Camp Mine Plan   HC 2019-                                     Owned
                                                                                    1871
Coal Deed      11/14/2019   Kniffen, Susan to SCELLC         Sugar Camp Mine Plan   HC 2019-                                     Owned
                                                                                    1872
Coal Deed      11/14/19     Blackwell, William Loyd to       Sugar Camp Mine Plan   HC 2019-                                     Owned
                            SCELLC                                                  1873
Mining Lease   11/14/19     Flannigan, Monty D. to SCELLC    Sugar Camp Mine Plan   HC 2019-                                     Leased
                                                                                    1874
Mining Lease   11/20/19     Irish, Wilmot Wheeler to         Sugar Camp Mine Plan   HC 2019-                                     Leased
                            SCELLC                                                  1903




                                                                                                          Main Docum
Coal Deed      11/26/19   McIntosh, Mark E. to SCELLC       Sugar Camp Mine Plan   HC 2019-                                     Owned
                                                                                   1945
Mining Lease   12/10/19   Bergen County Animal Shelter to   Sugar Camp Mine Plan   FC 2019-                                     Leased
                          SCELLC                                                   4869
Mining Lease   01/16/20   Moore, Carolyn F. to SCELLC       Sugar Camp Mine Plan   HC 2020-                                     Leased
                                                                                   0098




                                                                                                         Case 20-41308
Mining Lease   01/16/20   Rucker, Lezlie J. to SCELLC       Sugar Camp Mine Plan   HC 2020-                                     Leased
                                                                                   0099
Mining Lease   01/16/20   Cooper, Rene F. to SCELLC         Sugar Camp Mine Plan   HC 2020-                                     Leased
                                                                                   0100
Coal Deed      01/21/20   Drake, Roger to SCELLC            Sugar Camp Mine Plan   HC 2020-                                     Owned
                                                                                   0109
Mining Lease   01/21/20   Debow, Carolyn S. to SCELLC       Sugar Camp Mine Plan   HC 2020-                                     Leased
                                                                                   0110




                                                                                                         Doc 228
Mining Lease   01/21/20   Drake, Daphne to SCELLC           Sugar Camp Mine Plan   HC 2020-                                     Leased
                                                                                   0111
Mining Lease   02/18/20   Rocky Mountain Lions Eye          Sugar Camp Mine Plan   HC 2020-                                     Leased
                          Institute Foundation, Inc. to                            0319
                          SCELLC




                                                                                     Filed 04/01/20 Entered 04/01/20 23:45:34
Mining Lease   02/18/20   Hoppe, Judy H. to SCELLC          Sugar Camp Mine Plan   HC 2020-                                     Leased
                                                                                   0320
Mining Lease   02/27/20   Musselman, James Jay to           Sugar Camp Mine Plan   HC 2020-                                     Leased
                          SCELLC                                                   0378




                                                                                              Pg 785 of 1005
                                                                                                         Main Docum
Williamson Energy, LLC

Pond Creek No. 1 Mine
16468 Liberty School Road
Marion, IL 62959




                                                                                                                             Case 20-41308
Material Properties:

 Description/Title of                                                                             Recording                                         Owned or   Subject to
                           Date               Parties            Brief Legal Description
     Document                                                                                    Information                                         Leased    Mortgage
                                                                                               Franklin County:
                                                                                                Doc 2006-6571
Short Form of Lease as                WPP LLC and Williamson    Coal Reserves in Williamson
                         8/14/2006                                                                                                                   Leased       Yes




                                                                                                                             Doc 228
       amended                             Energy, LLC                County, Illinois
                                                                                              Williamson County:
                                                                                              Misc. 301 page 480
                                      Williamson Development
 Short Form of Lease                                            Coal Reserves in Williamson
                          5/1/2005      Company LLC and                                       Misc 291 page 461                                      Leased       Yes
    and Sublease                                                      County, Illinois
                                      Williamson Energy LLC




                                                                                                         Filed 04/01/20 Entered 04/01/20 23:45:34
                                         Independence Land
                                                                Coal Reserves in Williamson
 Short Form of Lease     3/13/2006       Company, LLC and                                     Misc 301 Page 479                                      Leased       Yes
                                                                      County, Illinois
                                      Williamson Energy, LLC
  First Amended and                   Williamson Development




                                                                                                                  Pg 786 of 1005
 Restated Lease (Coal    10/15/2006     Company, LLC and        Pond Creek Processing Plant   Misc 313 Page 620                                      Leased       Yes
      Prep Plant)                     Williamson Energy, LLC
Coal Mining Lease and                 Colt LLC and Williamson   Coal Reserves in Williamson
                          8/12/10                                                                  325-897                                           Leased       Yes
        Sublease                            Energy, LLC                 County, Il
  First Amended and                   Williamson Development
 Restated Lease (Rail    10/15/2006     Company, LLC and         Pond Creek Rail Load Out     Misc 313 Page 619                                      Leased       Yes
   Load Out Lease)                    Williamson Energy, LLC




                                                                                                                             Main Docum
    Description/Title of                                                                                         Recording                                          Owned or   Subject to
                             Date                  Parties                 Brief Legal Description
        Document                                                                                                Information                                          Leased    Mortgage
                                         Williamson Development
                                                                       Surface required for Williamson
           Deed             8/12/10        Company, LLC and                                                     WC 486-333                                           Owned        Yes
                                                                          Energy, LLC Operations3
                                         Williamson Energy, LLC
                                         Williamson Development           “Snake areas” required for




                                                                                                                                             Case 20-41308
         Easement           8/12/10        Company, LLC and               Williamson Energy, LLC                WC 325-899                                           Owned        Yes
                                         Williamson Energy, LLC                  Operations
                                          Eberhart to Williamson
                                                                           Ground lease required for
                                         Development Company,
       Ground Lease         8/12/10                                        Williamson Energy, LLC               WC 325-900                                           Leased       Yes
                                             LLC assigned to
                                                                                  Operations
                                         Williamson Energy, LLC
                                         Summers to Independence           Ground lease required for
       Ground Lease         8/12/10       Land Company, LLC to             Williamson Energy, LLC               WC 327-750                                           Leased       Yes




                                                                                                                                             Doc 228
                                         Williamson Energy, LLC                   Operations


       Warranty Deed        6/14/2018         Diana S. Dulle to          Coal Reserves for Williamson           WC 2018-4356                                          Owned
                                           Williamson Energy, LLC          Energy, LLC Operations




                                                                                                                         Filed 04/01/20 Entered 04/01/20 23:45:34
       Warranty Deed        7/13/2018          Linda Duncan to           Coal Reserves for Williamson           WC 2018-5209                                          Owned
                                           Williamson Energy, LLC          Energy, LLC Operations
       Warranty Deed        7/20/2018        Jeremy W. Smith to          Coal Reserves for Williamson           WC 2018-5434                                          Owned
                                           Williamson Energy, LLC          Energy, LLC Operations




                                                                                                                                  Pg 787 of 1005
       Warranty Deed        8/20/2018          Lora L. Jones to          Coal Reserves for Williamson           WC 2018-6259                                          Owned
                                           Williamson Energy, LLC          Energy, LLC Operations
       Warranty Deed        8/20/2018        Shirley N. Smith to         Coal Reserves for Williamson           WC 2018-6258                                          Owned
                                           Williamson Energy, LLC          Energy, LLC Operations
       Warranty Deed         9/4/2018       Debra Ellen Moser to         Coal Reserves for Williamson           WC 2018-6707                                          Owned
                                           Williamson Energy, LLC          Energy, LLC Operations
       Warranty Deed         9/4/2018       Larry Dean Bethard to        Coal Reserves for Williamson           WC 2018-6706                                          Owned
                                           Williamson Energy, LLC          Energy, LLC Operations


3
  This excludes the real property released pursuant to that certain Fifth Amendment and Partial Release of Fee and Leasehold Mortgage, Assignment of Rents and
Leases, Security Agreement and Fixture Filing, dated as of September 26, 2016, by and between Williamson Energy, LLC, as Mortgagor, and Citibank, N.A., in
its capacity as Agent, consisting of approximately 28.55 acres of surface land.




                                                                                                                                             Main Docum
Warranty Deed                   Jerry R. Harpole to      Coal Reserves for Williamson   WC 2018-6705                                      Owned
                 9/4/2018    Williamson Energy, LLC        Energy, LLC Operations
Warranty Deed    9/4/2018      Wilma K. Harpole to       Coal Reserves for Williamson   WC 2018-6704                                      Owned
                             Williamson Energy, LLC        Energy, LLC Operations
Warranty Deed    9/4/2018      Kimberly A. Smith to      Coal Reserves for Williamson   WC 2018-6703                                      Owned
                             Williamson Energy, LLC        Energy, LLC Operations




                                                                                                                   Case 20-41308
Warranty Deed    9/4/2018      Gerald Lee Bethard to     Coal Reserves for Williamson   WC 2018-6702                                      Owned
                             Williamson Energy, LLC        Energy, LLC Operations
Warranty Deed    9/4/2018     Wendall Ray Bethard to     Coal Reserves for Williamson   WC 2018-6701                                      Owned
                             Williamson Energy, LLC        Energy, LLC Operations
Warranty Deed   9/24/2018       Edward W. Sursa to       Coal Reserves for Williamson   WC 2018-7338                                      Owned
                             Williamson Energy, LLC        Energy, LLC Operations
Warranty Deed   9/24/2018     Barbara Jean Newton to     Coal Reserves for Williamson   WC 2018-7337                                      Owned
                             Williamson Energy, LLC        Energy, LLC Operations




                                                                                                                   Doc 228
Warranty Deed   9/24/2018       Debra L. Caplick to      Coal Reserves for Williamson   WC 2018-7336                                      Owned
                             Williamson Energy, LLC        Energy, LLC Operations
Warranty Deed   9/24/2018         Don N. Sursa to        Coal Reserves for Williamson   WC 2018-7335                                      Owned
                             Williamson Energy, LLC        Energy, LLC Operations
Warranty Deed   9/24/2018      Jim D. Glazebrook to      Coal Reserves for Williamson   WC 2018-7334                                      Owned




                                                                                               Filed 04/01/20 Entered 04/01/20 23:45:34
                             Williamson Energy, LLC        Energy, LLC Operations
Warranty Deed   9/24/2018     Susan Elaine Bethard to    Coal Reserves for Williamson   WC 2018-7333                                      Owned
                             Williamson Energy, LLC        Energy, LLC Operations
Warranty Deed   9/24/2018      Jerry D. Brookman to      Coal Reserves for Williamson   WC 2018-7332                                      Owned




                                                                                                        Pg 788 of 1005
                             Williamson Energy, LLC        Energy, LLC Operations
Warranty Deed   9/24/2018        Linda E. Rector to      Coal Reserves for Williamson   WC 2018-7331                                      Owned
                             Williamson Energy, LLC        Energy, LLC Operations
Warranty Deed   9/24/2018     Marion E. Glazebrook to    Coal Reserves for Williamson   WC 2018-7330                                      Owned
                             Williamson Energy, LLC        Energy, LLC Operations
Warranty Deed   9/24/2018    Sarah J. Glazebrook Perry   Coal Reserves for Williamson   WC 2018-7329                                      Owned
                                         to                Energy, LLC Operations
                             Williamson Energy, LLC
Warranty Deed   10/16/2018   Michelle McCabe-Doyle to    Coal Reserves for Williamson   WC 2018-7977                                      Owned
                             Williamson Energy, LLC        Energy, LLC Operations
Warranty Deed   10/16/2018   Richard R. Glazebrook to    Coal Reserves for Williamson   WC 2018-7976                                      Owned
                             Williamson Energy, LLC        Energy, LLC Operations
Warranty Deed   10/16/2018     Robert Shon Smith to      Coal Reserves for Williamson   WC 2018-7975                                      Owned




                                                                                                                   Main Docum
                              Williamson Energy, LLC         Energy, LLC Operations
Warranty Deed   10/16/2018     Elizabeth Jeanne Culli to   Coal Reserves for Williamson   WC 2018-7974                                      Owned
                              Williamson Energy, LLC         Energy, LLC Operations
Warranty Deed   10/23/2018          Kathy Scott to         Coal Reserves for Williamson   WC 2018-8178                                      Owned
                              Williamson Energy, LLC         Energy, LLC Operations
Warranty Deed   11/07/2018     Roger W. Glazebrook to      Coal Reserves for Williamson   WC 2018-8581                                      Owned




                                                                                                                     Case 20-41308
                              Williamson Energy, LLC         Energy, LLC Operations
Warranty Deed   11/27/2018        Tommy R. Sursa to        Coal Reserves for Williamson   WC 2018-9311                                      Owned
                              Williamson Energy, LLC         Energy, LLC Operations
Warranty Deed   12/03/2018      Allen E. Heinbokel to      Coal Reserves for Williamson   WC 2018-9490                                      Owned
                              Williamson Energy, LLC         Energy, LLC Operations
Warranty Deed   12/18/2018   Jeremiah Wesley Seaman to     Coal Reserves for Williamson   WC 2018-9920                                      Owned
                              Williamson Energy, LLC         Energy, LLC Operations
Warranty Deed   12/18/2018   Alexandra Lewis DeMarino      Coal Reserves for Williamson   WC 2018-9919                                      Owned




                                                                                                                     Doc 228
                               to Williamson Energy,         Energy, LLC Operations
                                         LLC
Warranty Deed   1/07/2019       Shannon Lee Brand to       Coal Reserves for Williamson   WC 2019-147                                       Owned
                              Williamson Energy, LLC         Energy, LLC Operations
Warranty Deed   1/31/2019      Michael James Lewis to      Coal Reserves for Williamson   WC 2019-727                                       Owned




                                                                                                 Filed 04/01/20 Entered 04/01/20 23:45:34
                              Williamson Energy, LLC         Energy, LLC Operations
Warranty Deed   1/31/2019     Karolyn Kay Fullerton to     Coal Reserves for Williamson   WC 2019-726                                       Owned
                              Williamson Energy, LLC         Energy, LLC Operations
Mining Lease     3/5/2019         Susan E. Denton to       Coal Reserves for Williamson   WC 2019-1569                                      Leased




                                                                                                          Pg 789 of 1005
                              Williamson Energy, LLC         Energy, LLC Operations
Warranty Deed   3/18/2019         Ronald L. Smith to       Coal Reserves for Williamson   WC 2019-1877                                      Owned
                              Williamson Energy, LLC         Energy, LLC Operations
Warranty Deed   8/27/2019         Deloris J. Hoehn to      Coal Reserves for Williamson   WC 2019-6215                                      Owned
                              Williamson Energy, LLC         Energy, LLC Operations
Warranty Deed   1/26/2018       James Walter Hoyt to       Coal Reserves for Williamson   FC 2018-407                                       Owned
                              Williamson Energy, LLC         Energy, LLC Operations
Warranty Deed   2/13/2018      Brenda Dora Spencer to      Coal Reserves for Williamson   FC 2018-633                                       Owned
                              Williamson Energy, LLC         Energy, LLC Operations
Warranty Deed   3/21/2018         Patricia K. Dyer to      Coal Reserves for Williamson   FC 2018-1127                                      Owned
                              Williamson Energy, LLC         Energy, LLC Operations
Warranty Deed   3/21/2018        Diana L. Bischler to      Coal Reserves for Williamson   FC 2018-1126                                      Owned
                              Williamson Energy, LLC         Energy, LLC Operations




                                                                                                                     Main Docum
Mining Lease    3/23/2018      Lisa M. Engeling to        Coal Reserves for Williamson   FC 2018-1177                                      Leased
                             Williamson Energy, LLC         Energy, LLC Operations
Warranty Deed   4/19/2018       Jeanette Fortney to       Coal Reserves for Williamson   FC 2018-1539                                      Owned
                             Williamson Energy, LLC         Energy, LLC Operations
Mining Lease    7/13/2018       Jerry K. Johnson to       Coal Reserves for Williamson   FC 2018-2781                                      Leased
                             Williamson Energy, LLC         Energy, LLC Operations




                                                                                                                    Case 20-41308
Warranty Deed    8/1/2018      Lorna Lynn Hines to        Coal Reserves for Williamson   FC 2018-3095                                      Owned
                             Williamson Energy, LLC         Energy, LLC Operations
Warranty Deed    8/1/2018      Robbie L. Osteen to        Coal Reserves for Williamson   FC 2018-3094                                      Owned
                             Williamson Energy, LLC         Energy, LLC Operations
Warranty Deed   8/10/2018      Brian M. Johnson to        Coal Reserves for Williamson   FC 2018-3251                                      Owned
                             Williamson Energy, LLC         Energy, LLC Operations
Mining Lease    8/29/2018    Paula T. Hartzel, et al to   Coal Reserves for Williamson   FC 2018-3551                                      Leased
                             Williamson Energy, LLC         Energy, LLC Operations




                                                                                                                    Doc 228
Warranty Deed    9/5/2018        Janet J. Griffin to      Coal Reserves for Williamson   FC 2018-3642                                      Owned
                             Williamson Energy, LLC         Energy, LLC Operations
Warranty Deed    9/5/2018       Gary P. Johnson to        Coal Reserves for Williamson   FC 2018-3641                                      Owned
                             Williamson Energy, LLC         Energy, LLC Operations
Warranty Deed    9/5/2018         Barbara Giles to        Coal Reserves for Williamson   FC 2018-3640                                      Owned




                                                                                                Filed 04/01/20 Entered 04/01/20 23:45:34
                             Williamson Energy, LLC         Energy, LLC Operations
Warranty Deed   9/18/2018    Katherine Ann Bradley to     Coal Reserves for Williamson   FC 2018-3870                                      Owned
                             Williamson Energy, LLC         Energy, LLC Operations
Warranty Deed   10/17/2018    Shirley Whitehead to        Coal Reserves for Williamson   FC 2018-4400                                      Owned




                                                                                                         Pg 790 of 1005
                             Williamson Energy, LLC         Energy, LLC Operations
Warranty Deed   10/23/2018   Barbara Faye Sharkey to      Coal Reserves for Williamson   FC 2018-4481                                      Owned
                             Williamson Energy, LLC         Energy, LLC Operations
Warranty Deed    2/1/2019      Emma L. Stetson to         Coal Reserves for Williamson   FC 2019-335                                       Owned
                             Williamson Energy, LLC         Energy, LLC Operations
Warranty Deed   3/26/2019     Ronald L. Johnson to        Coal Reserves for Williamson   FC 2019-1004                                      Owned
                             Williamson Energy, LLC         Energy, LLC Operations
Warranty Deed    4/2/2019      Sarah Greenwade to         Coal Reserves for Williamson   FC 2019-1134                                      Owned
                             Williamson Energy, LLC         Energy, LLC Operations
Warranty Deed    4/2/2019       Susan L. Naucke to        Coal Reserves for Williamson   FC 2019-1154                                      Owned
                             Williamson Energy, LLC         Energy, LLC Operations
Warranty Deed   4/17/2019       Brock D. Harris to        Coal Reserves for Williamson   FC 2019-1351                                      Owned
                             Williamson Energy, LLC         Energy, LLC Operations




                                                                                                                    Main Docum
Warranty Deed   4/17/2019      James Keith Harris to    Coal Reserves for Williamson   FC 2019-1352                                      Owned
                             Williamson Energy, LLC       Energy, LLC Operations
Warranty Deed   4/23/2019       Marilyn S. Harris to    Coal Reserves for Williamson   FC 2019-1419                                      Owned
                             Williamson Energy, LLC       Energy, LLC Operations
Warranty Deed   5/14/2019       Miranda B. Harris to    Coal Reserves for Williamson   FC 2019-1752                                      Owned
                             Williamson Energy, LLC       Energy, LLC Operations




                                                                                                                  Case 20-41308
Warranty Deed   5/14/2019        Charlotte Jean to      Coal Reserves for Williamson   FC 2019-1751                                      Owned
                             Williamson Energy, LLC       Energy, LLC Operations
Warranty Deed    7/1/2019         Debra Krantz to       Coal Reserves for Williamson   FC 2019-2388                                      Owned
                             Williamson Energy, LLC       Energy, LLC Operations
Mining Lease    7/17/2019        Mary Lou Zech to       Coal Reserves for Williamson   FC 2019-2618                                      Owned
                             Williamson Energy, LLC       Energy, LLC Operations
Warranty Deed   7/17/2019      Judith A. Woodard to     Coal Reserves for Williamson   FC 2019-2617                                      Owned
                             Williamson Energy, LLC       Energy, LLC Operations




                                                                                                                  Doc 228
Warranty Deed   7/17/2019         Debra Krantz to       Coal Reserves for Williamson   FC 2019-2616                                      Owned
                             Williamson Energy, LLC       Energy, LLC Operations
Warranty Deed   7/24/2019    Norma Adams Johnson to     Coal Reserves for Williamson   FC 2019-2732                                      Owned
                             Williamson Energy, LLC       Energy, LLC Operations
Warranty Deed   7/30/2019       Phillip R. Erthall to   Coal Reserves for Williamson   FC 2019-2832                                      Owned




                                                                                              Filed 04/01/20 Entered 04/01/20 23:45:34
                             Williamson Energy, LLC       Energy, LLC Operations
Warranty Deed   7/30/2019      Robert H. Wilmert to     Coal Reserves for Williamson   FC 2019-2833                                      Owned
                             Williamson Energy, LLC       Energy, LLC Operations
Warranty Deed   8/13/2019      Kenneth L. Wilmert to    Coal Reserves for Williamson   FC 2019-3062                                      Owned




                                                                                                       Pg 791 of 1005
                             Williamson Energy, LLC       Energy, LLC Operations
Warranty Deed   8/13/2019       William Wilmert to      Coal Reserves for Williamson   FC 2019-3061                                      Owned
                             Williamson Energy, LLC       Energy, LLC Operations
Warranty Deed    9/4/2019         Linda S. Lear to      Coal Reserves for Williamson   FC 2019-3389                                      Owned
                             Williamson Energy, LLC       Energy, LLC Operations
    Deed        9/16/2019      Steven H. Machura to     Coal Reserves for Williamson   FC 2019-3554                                      Owned
                             Williamson Energy, LLC       Energy, LLC Operations
Warranty Deed   10/17/2019   Sharon A. Aiken-Peterson   Coal Reserves for Williamson   FC 2019-3990                                      Owned
                              to Williamson Energy,       Energy, LLC Operations
                                        LLC
Warranty Deed   10/30/2019       Raven N. Fager to      Coal Reserves for Williamson   FC 2019-4153                                      Owned
                             Williamson Energy, LLC       Energy, LLC Operations
Mining Lease    11/05/2019       Mary Lou Zech to       Coal Reserves for Williamson   FC 2019-4251                                      Leased




                                                                                                                  Main Docum
                             Williamson Energy, LLC         Energy, LLC Operations
Warranty Deed   11/14/2019      Daniel L. Johnson to      Coal Reserves for Williamson   FC 2019-4371                                      Owned
                             Williamson Energy, LLC         Energy, LLC Operations
Warranty Deed   11/26/2019      Colleen L. Taylor to      Coal Reserves for Williamson   FC 2019-4559                                      Owned
                             Williamson Energy, LLC         Energy, LLC Operations
Warranty Deed   2/25/2020    Paula Kay Osteen-Cortez to   Coal Reserves for Williamson   FC 2020-728                                       Owned




                                                                                                                    Case 20-41308
                             Williamson Energy, LLC         Energy, LLC Operations
Warranty Deed   2/25/2020      Monta Ray Jennings to      Coal Reserves for Williamson   FC 2020-726                                       Owned
                             Williamson Energy, LLC         Energy, LLC Operations
Warranty Deed   2/25/2020       Robbie L. Osteen to       Coal Reserves for Williamson   FC 2020-727                                       Owned
                             Williamson Energy, LLC         Energy, LLC Operations




                                                                                                                    Doc 228
                                                                                                Filed 04/01/20 Entered 04/01/20 23:45:34
                                                                                                         Pg 792 of 1005
                                                                                                                    Main Docum
Case 20-41308   Doc 228   Filed 04/01/20 Entered 04/01/20 23:45:34   Main Document
                                   Pg 793 of 1005
                                                                           138




                                    Schedule 6.18

                                Post-Closing Covenants

    None.
Case 20-41308       Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34        Main Document
                                            Pg 794 of 1005



                                                 Schedule 7.01

                                           Existing Liens
       1. Liens pursuant to items 1 and 2 on Schedule 7.03.

       2. Liens as set forth in the below chart:

       FILING                         FILE                        DEBTOR (as       SECURED
                       TYPE                          FILE #
       OFFICE                         DATE                          found)           PARTY
                                                                                DEPARTMENT
       St. Louis                                                                     OF THE
                                                                  COAL FIELD
         City        Federal Tax                   11042019-                     TREASURY -
                                     11/4/2019                   CONSTRUCTION
      Recorder of       Lien                         0184                         INTERNAL
                                                                 COMPANY LLC
      Deeds, MO                                                                    REVENUE
                                                                                    SERVICE
                                                                                DEPARTMENT
       St. Louis                                                                     OF THE
                                                                  COAL FIELD
         City        Federal Tax                   03252019-                     TREASURY -
                                     3/25/2019                   CONSTRUCTION
      Recorder of       Lien                         0090                         INTERNAL
                                                                 COMPANY LLC
      Deeds, MO                                                                    REVENUE
                                                                                    SERVICE
                                                                                  U.S. BANK
                       UCC-1                         2014          FORESIGHT
       DE SOS                        6/3/2014                                    EQUIPMENT
                       Initial                      2161685       ENERGY LLC
                                                                                   FINANCE
                                                                                  U.S. BANK
                       UCC-1                         2014          FORESIGHT
       DE SOS                        6/3/2014                                    EQUIPMENT
                       Initial                      2161685       ENERGY LLC
                                                                                   FINANCE
                                                                                  U.S. BANK
                       UCC-1                         2014          FORESIGHT
       DE SOS                        6/3/2014                                    EQUIPMENT
                       Initial                      2161685       ENERGY LLC
                                                                                   FINANCE
                                                                                CATERPILLAR
                                                                  FORESIGHT
                       UCC-1                         2014                         FINANCIAL
       DE SOS                        11/7/2014                     ENERGY
                       Initial                      4513891                        SERVICES
                                                                 SERVICES LLC
                                                                                CORPORATION
                                                                   FORESIGHT          PNC
                       UCC-1                         2014
       DE SOS                       11/13/2014                      ENERGY       EQUIPMENT
                       Initial                      4575627
                                                                 SERVICES LLC   FINANCE, LLC
                                                                   FORESIGHT     FIRSTMERIT
                       UCC-1                         2014
       DE SOS                       11/18/2014                      ENERGY       EQUIPMENT
                       Initial                      4648655
                                                                 SERVICES LLC    FINANCE INC
                                                                  HILLSBORO
                                                                 ENERGY LLC;
                                                                                WELLS FARGO
                       UCC-1                         2012        WILLIAMSON
       DE SOS                        3/29/2012                                   EQUIPMENT
                       Initial                      1213901      ENERGY, LLC;
                                                                                FINANCE, INC.
                                                                 SUGAR CAMP
                                                                 ENERGY, LLC
                                                                  HILLSBORO
                                                                 ENERGY LLC;
                                                                                WELLS FARGO
                       UCC-1                         2012        WILLIAMSON
       DE SOS                        3/29/2012                                   EQUIPMENT
                       Initial                      1213943      ENERGY, LLC;
                                                                                FINANCE, INC.
                                                                 SUGAR CAMP
                                                                 ENERGY, LLC
                       UCC-1                         2012         HILLSBORO     CATERPILLAR
       DE SOS                        9/13/2012
                       Initial                      3528744       ENERGY LLC     FINANCIAL
Case 20-41308       Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34       Main Document
                                            Pg 795 of 1005


       FILING                         FILE                       DEBTOR (as      SECURED
                       TYPE                        FILE #
       OFFICE                         DATE                         found)         PARTY
                                                                                 SERVICES
                                                                               CORPORATION
                                                                 HILLSBORO
                                                                                JOY GLOBAL
                       UCC-1                        2013        ENERGY LLC;
       DE SOS                        4/11/2013                                 UNDERGROUND
                       Initial                     1400705        PATTON
                                                                                MINING LLC
                                                                MINING LLC
                                                                 HILLSBORO
                                                                                JOY GLOBAL
                       UCC-1                        2013        ENERGY LLC;
       DE SOS                        4/11/2013                                 UNDERGROUND
                       Initial                     1401034        PATTON
                                                                                MINING LLC
                                                                MINING LLC
                                                                 HILLSBORO
                                                                                JOY GLOBAL
                       UCC-1                        2013        ENERGY LLC;
       DE SOS                        4/11/2013                                 UNDERGROUND
                       Initial                     1401661        PATTON
                                                                                MINING LLC
                                                                MINING LLC
                                                                                DEPARTMENT
                                                 07172019-
       St. Louis                                                MACH MINING,        OF THE
                                                    0125
         City        Federal Tax                                 LLC; CLINE      TREASURY -
                                     7/17/2019    (Amount
      Recorder of       Lien                                    CHRISTOPHER       INTERNAL
                                                    owed
      Deeds, MO                                                     MBR            REVENUE
                                                 $55,530.03)
                                                                                   SERVICE
                                                                                    STRATA
                       UCC-1                        2018         MACOUPIN
       DE SOS                        11/5/2018                                      SAFETY
                       Initial                     7646793      ENERGY LLC
                                                                               PRODUCTS, LLC
                                                                                DEPARTMENT
                                                  12062019-
       St. Louis                                                  M-CLASS           OF THE
                                                     0063
         City        Federal Tax                                MINING LLC;      TREASURY -
                                     12/6/2019     (Amount
      Recorder of       Lien                                    DAVID JUDE        INTERNAL
                                                     owed
      Deeds, MO                                                  SOLE MBR          REVENUE
                                                 $38,2441.13)
                                                                                   SERVICE
                                                                                DEPARTMENT
                                                 01142020-
       St. Louis                                                  M-CLASS           OF THE
                                                    0113
         City        Federal Tax                                MINING LLC;      TREASURY -
                                     1/14/2020    (Amount
      Recorder of       Lien                                    DAVID JUDE        INTERNAL
                                                    owed
      Deeds, MO                                                  SOLE MBR          REVENUE
                                                 $60,037.65)
                                                                                   SERVICE

                                                                                JOY GLOBAL
                       UCC-1                        2015        SUGAR CAMP
       DE SOS                        5/18/2015                                 UNDERGROUND
                       Initial                     2109279      ENERGY, LLC
                                                                                MINING LLC

                                                                                JOY GLOBAL
                       UCC-1                        2015        SUGAR CAMP
       DE SOS                        5/18/2015                                 UNDERGROUND
                       Initial                     2109378      ENERGY, LLC
                                                                                MINING LLC
                                                                                JOY GLOBAL
                       UCC-1                        2015        SUGAR CAMP
       DE SOS                        5/18/2015                                 UNDERGROUND
                       Initial                     2109584      ENERGY, LLC
                                                                                MINING LLC
                                                                                  MOTION
                       UCC-1                        2017        SUGAR CAMP
       DE SOS                       11/16/2017                                  INDUSTRIES,
                       Initial                     7614433      ENERGY, LLC
                                                                                    INC.
                                                                                  MOTION
                       UCC-1                        2016        WILLIAMSON
       DE SOS                        8/3/2016                                   INDUSTRIES,
                       Initial                     4714489      ENERGY, LLC
                                                                                    INC.
Case 20-41308   Doc 228     Filed 04/01/20 Entered 04/01/20 23:45:34   Main Document
                                     Pg 796 of 1005


       FILING                  FILE                 DEBTOR (as      SECURED
                  TYPE                    FILE #
       OFFICE                  DATE                   found)         PARTY
                                                                     MOTION
                  UCC-1                    2016     WILLIAMSON
       DE SOS                 9/27/2016                            INDUSTRIES,
                  Initial                 5932171   ENERGY, LLC
                                                                      INC.
Case 20-41308     Doc 228      Filed 04/01/20 Entered 04/01/20 23:45:34           Main Document
                                        Pg 797 of 1005



                                             Schedule 7.02

                                        Existing Investments


       1. Investments in the entities listed on Schedule 5.13.

       2. Financing provided by American Century Transport LLC and American Century Minerals
          LLC pursuant to (i) the Lease Agreement between American Century Transport LLC and
          American Energy Corporation dated as of April 16, 2015 and (ii) the Overriding Royalty
          Agreement among American Century Minerals LLC, American Energy Corporation and
          Consolidated Land Company dated as of April 16, 2015.
Case 20-41308    Doc 228      Filed 04/01/20 Entered 04/01/20 23:45:34               Main Document
                                       Pg 798 of 1005



                                            Schedule 7.03

                                       Existing Indebtedness



       1. Indebtedness in respect of the Prepetition First Lien Credit Agreement.
       2. Indebtedness in respect of the Indenture, dated as of March 28, 2017 (as amended,
          supplemented or otherwise modified), among Foresight Energy LLC (the “Company”) and
          Foresight Energy Finance Corporation, the guarantors from time to time parties thereto and
          Wilmington Trust, National Association, as trustee (the “Trustee”), governing the 11.50%
          Second Lien Senior Secured Notes due 2023.
       3. All surety bonds with third parties to secure reclamation and other performance
          commitments by Foresight Energy LLC set out in the chart attached hereto as Annex I.
       4. Indebtedness in respect of the sale-leaseback financing arrangements in connection with
          (1) the sales agreement entered into by Macoupin Energy, WPP, LLC and HOD, LLC
          (subsidiaries of Natural Resource Partners LP) and (2) the sales agreement entered into by
          Sugar Camp Energy, LLC and HOD, LLC.
       5. Indebtedness in respect of the commercial insurance premium finance and security
          agreement with BankDirect Capital Finance with an outstanding balance of $2,543,480.
                                                                                      FORESIGHT ENERGY LP
                                                                              ARGO SURETY rewritten to INIC 12/10/2019
                                                                                      Bond List as 2/26/2020

                                                                                                                                Bond                                                            Effective Expiration
Foresight Company        Obligee                                                   Bond Type                    Grouped As:    Amount                                            Premium          Date      Date               Permit #
Hillsboro Energy, LLC    IL DOT                                                    Road                         Reclamation     $157,150.00                                            $3,929   12/10/2019   12/10/2020
Hillsboro Energy, LLC    IL DNR, Office of Mines and Minerals                      Reclamation                  Reclamation    $6,701,424.00                                         $167,536   12/10/2019   12/10/2020          424
Hillsboro Energy, LLC    IL DNR, Office of Mines and Minerals                      Reclamation                  Reclamation       $28,500.00                                            $613    12/10/2019   12/10/2020     399 Revision #7
Hillsboro Energy, LLC    IL DNR, Office of Mines and Minerals                      Reclamation                  Reclamation       $80,750.00                                           $2,019   12/10/2019   12/10/2020     399 Revision #8
Hillsboro Energy, LLC    IL DNR, Office of Mines and Minerals                      Reclamation                  Reclamation       $16,150.00                                            $404    12/10/2019   12/10/2020     399 Revision #9
Hillsboro Energy, LLC    IL DOT                                                    Road                         Reclamation     $408,590.00                                           $10,215   12/10/2019   12/10/2020
Hillsboro Energy, LLC    IL DNR, Office of Mines and Minerals                      Reclamation                  Reclamation        $5,500.00                                            $138    12/10/2019   12/10/2020     399 Revision #11
Hillsboro Energy, LLC    IL DNR, Office of Mines and Minerals                      Reclamation                  Reclamation        $2,330.00                                            $125    12/10/2019   12/10/2020     399 Revision #10
Hillsboro Energy, LLC    IL DNR, Office of Mines and Minerals                      Reclamation                  Reclamation       $33,200.00                                            $830    12/10/2019   12/10/2020     399 Revision #14
Hillsboro Energy, LLC    IL DNR, Office of Mines and Minerals                      Reclamation                  Reclamation       $25,200.00                                            $630    12/10/2019   12/10/2020     399 Revision #16
Hillsboro Energy, LLC    IL DOT                                                    Reclamation                  Reclamation        $5,000.00                                            $125    12/10/2019   12/10/2020         6-33621
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals                      Reclamation                  Reclamation       $33,900.00                                            $848    12/10/2019   12/10/2020     382 Revision #35
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals                      Reclamation                  Reclamation    $7,125,800.00                                         $178,145   12/10/2019   12/10/2020           382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals                      Reclamation                  Reclamation    $1,015,423.00                                          $25,386   12/10/2019   12/10/2020           382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals                      Reclamation                  Reclamation       $40,600.00                                           $1,015   12/10/2019   12/10/2020           382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals                      Reclamation                  Reclamation     $161,900.00                                            $4,048   12/10/2019   12/10/2020           382
Sugar Camp Energy, LLC   IL EPA                                                    Financial Guarantee                          $462,786.00                                           $11,570   12/10/2019   12/10/2020
Sugar Camp Energy, LLC   IL EPA                                                    Financial Guarantee                          $462,786.00                                            $9,256    8/25/2019    8/25/2020
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals                      Reclamation                  Reclamation       $70,200.00                                           $1,755   12/10/2019   12/10/2020       382 IBR #33




                                                                                                                                                              Case 20-41308
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals                      Reclamation                  Reclamation       $70,400.00                                           $1,760   12/10/2019   12/10/2020
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals                      Reclamation                  Reclamation       $19,760.00                                            $494    12/10/2019   12/10/2020           382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals                      Reclamation                  Reclamation       $57,800.00                                           $1,445   12/10/2019   12/10/2020           382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals                      Reclamation                  Reclamation       $49,003.00                                           $1,225   12/10/2019   12/10/2020           382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals                      Reclamation                  Reclamation    $1,460,400.00                                          $36,510   12/10/2019   12/10/2020           382
Sugar Camp Energy, LLC   IL EPA                                                    Financial Guarantee                          $462,786.00                                           $11,570   12/10/2019   12/10/2020
Sugar Camp Energy, LLC   IL EPA                                                    Financial Guarantee                          $462,786.00                                            $9,256    1/21/2019    1/21/2020
Sugar Camp Energy, LLC   IL, DNR, Office of Mines and Minerals                     Reclamation                  Reclamation       $17,300.00                                            $433    12/10/2019   12/10/2020           382




                                                                                                                                                              Doc 228
Sugar Camp Energy, LLC   IL, DNR, Office of Mines and Minerals                     Reclamation                  Reclamation        $5,400.00                                            $135    12/10/2019   12/10/2020     382 Revision #41
Sugar Camp Energy, LLC   IL, DNR, Office of Mines and Minerals                     Reclamation                  Reclamation       $33,670.00                                            $842    12/10/2019   12/10/2020       382 IBR #42
Sugar Camp Energy, LLC   IL, DNR, Office of Mines and Minerals                     Reclamation                  Reclamation       $26,200.00                                            $655    12/10/2019   12/10/2020       382 IPR #43
Sugar Camp Energy, LLC   IL, DNR, Office of Mines and Minerals                     Reclamation                  Reclamation       $38,800.00                                            $970    12/10/2019   12/10/2020       382 IBR #43
                                                                                                                                  $11,340.00                                                    12/10/2019




                                                                                                                                          Filed 04/01/20 Entered 04/01/20 23:45:34
Sugar Camp Energy, LLC   IL, DNR, Office of Mines and Minerals                     Reclamation                  Reclamation                                                             $284                 12/10/2020       382 IBR #35
Sugar Camp Energy, LLC   IL, DNR, Office of Mines and Minerals                     Reclamation                  Reclamation       $46,300.00                                           $1,158   12/10/2019   12/10/2020       382 IBR #36
Sugar Camp Energy, LLC   IL, DNR, Office of Mines and Minerals                     Reclamation                  Reclamation       $35,800.00                                            $895    12/10/2019   12/10/2020       382 IBR #37
Sugar Camp Energy, LLC   IL, DNR, Office of Mines and Minerals                     Reclamation                  Reclamation       $39,600.00                                            $990    12/10/2019   12/10/2020       382 IPR #39




                                                                                                                                                   Pg 799 of 1005
Sugar Camp Energy, LLC   IL, DNR, Office of Mines and Minerals                     Reclamation                  Reclamation     $233,380.00                                            $5,835   12/10/2019   12/10/2020     382 Revision #44
Sugar Camp Energy, LLC   IL, DNR, Office of Mines and Minerals                     Reclamation                  Reclamation       $50,600.00                                           $1,265   12/10/2019   12/10/2020       382 IBR #45
Sugar Camp Energy, LLC   IL, DNR, Office of Mines and Minerals                     Reclamation                  Reclamation       $15,600.00                                            $390    12/10/2019   12/10/2020       382 IBR #46
Sugar Camp Energy, LLC   IL, DNR, Office of Mines and Minerals                     Reclamation                  Reclamation   $16,481,266.00                                         $412,032   12/10/2019   12/10/2020           434
Sugar Camp Energy, LLC   IL, DNR, Office of Mines and Minerals                     Reclamation                  Reclamation     $251,200.00                                            $6,280   12/10/2019   12/10/2020           382
Sugar Camp Energy, LLC   IL, DNR, Office of Mines and Minerals                     Reclamation                  Reclamation       $23,800.00                                            $595    12/10/2019   12/10/2020           382
Sugar Camp Energy, LLC   Dept of the Army, St. Louis District Corps of Engineers   Reclamation                  Reclamation     $467,485.00                                           $11,687   12/10/2019   12/10/2020   P-2866 MVS-2013-724
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals                      Reclamation                  Reclamation        $7,000.00                                            $175    12/10/2019   12/10/2020           382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals                      Reclamation                  Reclamation       $50,100.00                                           $1,253   12/10/2019   12/10/2020           382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals                      Reclamation                  Reclamation     $101,470.00                                            $2,537   12/10/2019   12/10/2020           382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals                      Reclamation                  Reclamation       $13,300.00                                            $333    12/10/2019   12/10/2020           382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals                      Reclamation                  Reclamation     $288,377.00                                            $7,209   12/10/2019   12/10/2020           382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals                      Reclamation                  Reclamation       $43,100.00                                           $1,078   12/10/2019   12/10/2020           382


                                                                                                                                                              Main
                                                                                                                                    Bond                                                            Effective Expiration
Foresight Company        Obligee                                                   Bond Type                        Grouped As:    Amount                                            Premium          Date      Date               Permit #
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals                      Reclamation                      Reclamation       $46,200.00                                           $1,155   12/10/2019   12/10/2020            382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals                      Reclamation                      Reclamation       $80,240.00                                           $2,006   12/10/2019   12/10/2020            382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals                      Reclamation                      Reclamation       $58,500.00                                           $1,463   12/10/2019   12/10/2020            382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals                      Reclamation                      Reclamation       $23,500.00                                            $588    12/10/2019   12/10/2020            382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals                      Reclamation                      Reclamation       $69,840.00                                           $1,746   12/10/2019   12/10/2020            382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals                      Reclamation                      Reclamation       $68,860.00                                           $1,722   12/10/2019   12/10/2020            382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals                      Reclamation                      Reclamation       $22,800.00                                            $570    12/10/2019   12/10/2020            434
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals                      Reclamation                      Reclamation       $66,420.00                                           $1,661   12/10/2019   12/10/2020            382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals                      Reclamation                      Reclamation        $7,900.00                                            $198    12/10/2019   12/10/2020            382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals                      Reclamation                      Reclamation       $49,000.00                                           $1,225   12/10/2019   12/10/2020            382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals                      Reclamation                      Reclamation       $48,080.00                                           $1,202   12/10/2019   12/10/2020            382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals                      Reclamation                      Reclamation       $12,900.00                                            $323    12/10/2019   12/10/2020            382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals                      Reclamation                      Reclamation     $147,800.00                                            $3,695   12/10/2019   12/10/2020            382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals                      Reclamation                      Reclamation       $38,600.00                                            $965    12/10/2019   12/10/2020            382
Williamson Energy, LLC   IL DNR, Office of Mines and Minerals                      Reclamation                      Reclamation    $4,623,100.00                                         $115,578   12/10/2019   12/10/2020            375
Williamson Energy, LLC   IL DNR, Office of Mines and Minerals                      Reclamation                      Reclamation    $1,858,337.00                                          $46,458   12/10/2019   12/10/2020            375
Williamson Energy, LLC   IL DNR, Office of Mines and Minerals                      Reclamation                      Reclamation       $28,220.00                                            $706    12/10/2019   12/10/2020            375
Williamson Energy, LLC   IL DNR, Office of Mines and Minerals                      Reclamation                      Reclamation        $3,690.00                                            $125    12/10/2019   12/10/2020      375 Revision #56
Williamson Energy, LLC   IL DNR, Office of Mines and Minerals                      Reclamation                      Reclamation       $37,600.00                                            $940    12/10/2019   12/10/2020            375
Williamson Energy, LLC   IL DNR, Office of Mines and Minerals                      Reclamation                      Reclamation     $368,992.00                                            $9,225   12/10/2019   12/10/2020      375 Revision #47
Williamson Energy, LLC   IL DNR, Office of Mines and Minerals                      Reclamation                      Reclamation       $53,600.00                                           $1,340   12/10/2019   12/10/2020      375 Revision #45
Williamson Energy, LLC   IL DNR, Office of Mines and Minerals                      Reclamation                      Reclamation       $26,800.00                                            $670    12/10/2019   12/10/2020      375 Revision #58
Williamson Energy, LLC   IL DNR, Office of Mines and Minerals                      Reclamation                      Reclamation        $5,300.00                                            $133    12/10/2019   12/10/2020      375 Revision #48
Williamson Energy, LLC   IL DNR, Office of Mines and Minerals                      Reclamation                      Reclamation        $8,300.00                                            $208    12/10/2019   12/10/2020            375




                                                                                                                                                                  Case 20-41308
Williamson Energy, LLC   IL DNR, Office of Mines and Minerals                      Reclamation                      Reclamation       $10,620.00                                            $266    12/10/2019   12/10/2020            375
Williamson Energy, LLC   IL DNR, Office of Mines and Minerals                      Reclamation                      Reclamation       $21,700.00                                            $543    12/10/2019   12/10/2020            375
Williamson Energy, LLC   IL DNR, Office of Mines and Minerals                      Reclamation                      Reclamation    $6,013,494.00                                         $150,337   12/10/2019   12/10/2020            417
Williamson Energy, LLC   IL DNR, Office of Mines and Minerals                      Reclamation                      Reclamation       $95,840.00                                           $2,396   12/10/2019   12/10/2020            375
Williamson Energy, LLC   IL DNR, Office of Mines and Minerals                      Reclamation                      Reclamation       $33,100.00                                            $828    12/10/2019   12/10/2020            375
Williamson Energy, LLC   IL DNR, Office of Mines and Minerals                      Reclamation                      Reclamation        $8,300.00                                            $208    12/10/2019   12/10/2020            375
Williamson Energy, LLC   IL DNR, Office of Mines and Minerals                      Reclamation                      Reclamation       $19,400.00                                            $485    12/10/2019   12/10/2020            375
Williamson Energy, LLC   IL DNR, Office of Mines and Minerals                      Reclamation                      Reclamation       $72,500.00                                           $1,813   12/10/2019   12/10/2020            375




                                                                                                                                                                  Doc 228
Williamson Energy, LLC   IL DNR, Office of Mines and Minerals                      Reclamation                      Reclamation        $5,500.00                                            $138    12/10/2019   12/10/2020            375
Williamson Energy, LLC   Dept of the Army, St. Louis District Corps of Engineers   Performance Bond                                 $274,898.00                                            $6,872   12/10/2019   12/10/2020   P-2905-MVS-2013-315
Williamson Energy, LLC   IL DOT                                                    Utility Bond                                     $175,000.00                                            $4,375   12/10/2019   12/10/2020        9U-2609-17
Williamson Energy, LLC   IL DOT                                                    Utility Bond                                       $75,000.00                                           $1,875   12/10/2019   12/10/2020        9U-2610-17




                                                                                                                                              Filed 04/01/20 Entered 04/01/20 23:45:34
Adena Resources, LLC     IL DOT                                                    Individual Utility Permit Bond                     $50,000.00                                           $1,250   12/10/2019   12/10/2020        9U-1751-11
Adena Resources, LLC     IL DOT                                                    Individual Utility Permit Bond                     $25,000.00                                            $625    12/10/2019   12/10/2020        9U-1738-11
Adena Resources, LLC     IL DOT                                                    Individual Utility Permit Bond                     $25,000.00                                            $625    12/10/2019   12/10/2020        9U-1737-11
Hillsboro Energy, LLC    IL DNR, Office of Mines and Minerals                      Reclamation                      Reclamation   $10,375,000.00                                         $259,375   12/10/2019   12/10/2020            399




                                                                                                                                                       Pg 800 of 1005
Hillsboro Energy, LLC    IL DNR, Office of Mines and Minerals                      Reclamation                      Reclamation     $251,440.00                                            $6,286   12/10/2019   12/10/2020            399
Hillsboro Energy, LLC    IL DNR, Office of Mines and Minerals                      Reclamation                      Reclamation     $503,500.00                                           $12,588   12/10/2019   12/10/2020            399
Hillsboro Energy, LLC    IL DNR, Office of Mines and Minerals                      Reclamation                      Reclamation       $92,350.00                                           $2,309   12/10/2019   12/10/2020            399
Hillsboro Energy, LLC    IL DNR, Office of Mines and Minerals                      Reclamation                      Reclamation       $29,800.00                                            $745    12/10/2019   12/10/2020            399
Hillsboro Energy, LLC    IL DNR, Office of Mines and Minerals                      Reclamation                      Reclamation       $65,340.00                                           $1,634   12/10/2019   12/10/2020            399
Hillsboro Energy, LLC    IL DNR, Office of Mines and Minerals                      Reclamation                      Reclamation     $694,458.00                                           $17,361   12/10/2019   12/10/2020            424
Hillsboro Energy, LLC    IL DNR, Office of Mines and Minerals                      Reclamation                      Reclamation     $218,340.00                                            $5,459   12/10/2019   12/10/2020            399
Hillsboro Energy, LLC    IL DNR, Office of Mines and Minerals                      Reclamation                      Reclamation        $5,900.00                                            $148    12/10/2019   12/10/2020            399
Hillsboro Energy, LLC    IL DNR                                                    Financial Security Bond                            $25,000.00                                            $625    12/10/2019   12/10/2020            399
Hillsboro Energy, LLC    City of Hillsboro, IL                                     Performance Bond                                 $100,000.00                                            $2,500   12/10/2019   12/10/2020
Hillsboro Energy, LLC    East Fork Township, IL                                    Performance Bond                                 $100,000.00                                            $2,500   12/10/2019   12/10/2020
Hillsboro Energy, LLC    East Fork Township, IL                                    Performance Bond                                 $100,000.00                                            $2,000     6/5/2019     6/5/2020
Hillsboro Energy, LLC    EJ Water Company, LLC                                     Performance Bond                                   $25,000.00                                            $625    12/10/2019   12/10/2020


                                                                                                                                                                  Main
                                                                                                                Bond                                                            Effective Expiration
Foresight Company        Obligee                                Bond Type                        Grouped As:   Amount                                            Premium          Date      Date          Permit #
Hillsboro Energy, LLC    IL DNR                                 Reclamation                      Reclamation   $2,617,318.00                                          $65,433   12/10/2019   12/10/2020     424
Hillsboro Energy, LLC    IL DNR                                 Reclamation                      Reclamation   $1,723,050.00                                          $43,076   12/10/2019   12/10/2020     399
Macoupin Energy, LLC     IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation      $57,600.00                                           $1,440   12/10/2019   12/10/2020      56
Macoupin Energy, LLC     IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation   $5,256,500.00                                         $131,413   12/10/2019   12/10/2020      56
Macoupin Energy, LLC     IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation   $5,932,800.00                                         $148,320   12/10/2019   12/10/2020     209
Macoupin Energy, LLC     IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation      $36,310.00                                            $908    12/10/2019   12/10/2020     209
Macoupin Energy, LLC     IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation      $23,860.00                                            $597    12/10/2019   12/10/2020     291
Macoupin Energy, LLC     IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation       $8,600.00                                            $215    12/10/2019   12/10/2020     302
Macoupin Energy, LLC     IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation    $339,910.00                                            $8,498   12/10/2019   12/10/2020     419
Macoupin Energy, LLC     IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation      $22,580.00                                            $565    12/10/2019   12/10/2020     291
Macoupin Energy, LLC     IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation       $8,680.00                                            $217    12/10/2019   12/10/2020      56
Macoupin Energy, LLC     IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation   $1,833,850.00                                          $45,846   12/10/2019   12/10/2020      56
Macoupin Energy, LLC     IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation    $356,280.00                                            $8,907   12/10/2019   12/10/2020      56
Macoupin Energy, LLC     IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation      $13,900.00                                            $348    12/10/2019   12/10/2020   56 & 209
Macoupin Energy, LLC     IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation      $36,100.00                                            $903    12/10/2019   12/10/2020     291
Macoupin Energy, LLC     IL DNR                                 Financial Security Bond                           $25,000.00                                            $625    12/10/2019   12/10/2020
Macoupin Energy, LLC     IL DNR, Office of Mines and Minerals   Surety Bond                                       $55,160.00                                           $1,379   12/10/2019   12/10/2020     209
Macoupin Energy, LLC     IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation   $2,346,260.00                                          $58,657   12/10/2019   12/10/2020     209
Macoupin Energy, LLC     IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation      $68,916.00                                           $1,723   12/10/2019   12/10/2020     56
Macoupin Energy, LLC     IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation      $48,600.00                                           $1,215   12/10/2019   12/10/2020     56
Macoupin Energy, LLC     IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation      $50,400.00                                           $1,260   12/10/2019   12/10/2020
Macoupin Energy, LLC     IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation      $64,080.00                                           $1,602   12/10/2019   12/10/2020     56
Savatran, LLC            Eastern Township                       Performance Bond                                $160,000.00                                            $4,000   12/10/2019   12/10/2020
Savatran, LLC            IL DOT                                 Individual Utility Permit Bond                    $50,000.00                                           $1,250   12/10/2019   12/10/2020   6-31336




                                                                                                                                              Case 20-41308
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation      $23,700.00                                            $593    12/10/2019   12/10/2020     382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation      $17,700.00                                            $443    12/10/2019   12/10/2020     382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation      $28,500.00                                            $713    12/10/2019   12/10/2020     382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation      $40,600.00                                           $1,015   12/10/2019   12/10/2020     382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation       $5,600.00                                            $140    12/10/2019   12/10/2020     382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation       $8,100.00                                            $203    12/10/2019   12/10/2020     382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation       $2,100.00                                            $125    12/10/2019   12/10/2020     382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation      $22,900.00                                            $573    12/10/2019   12/10/2020     382




                                                                                                                                              Doc 228
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation       $2,218.00                                            $125    12/10/2019   12/10/2020     382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation       $3,500.00                                            $125    12/10/2019   12/10/2020     382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation    $353,180.00                                            $8,830   12/10/2019   12/10/2020     382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation       $3,200.00                                            $125    12/10/2019   12/10/2020     382




                                                                                                                          Filed 04/01/20 Entered 04/01/20 23:45:34
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation       $5,879.00                                            $147    12/10/2019   12/10/2020     382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation    $107,632.00                                            $2,691   12/10/2019   12/10/2020     382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation       $2,200.00                                            $125    12/10/2019   12/10/2020     382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation       $2,200.00                                            $125    12/10/2019   12/10/2020     382




                                                                                                                                   Pg 801 of 1005
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation      $12,120.00                                            $303    12/10/2019   12/10/2020     382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation       $8,500.00                                            $213    12/10/2019   12/10/2020     382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation      $25,500.00                                            $638    12/10/2019   12/10/2020     382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation      $26,820.00                                            $671    12/10/2019   12/10/2020     382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation      $24,370.00                                            $609    12/10/2019   12/10/2020     382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation      $49,870.00                                           $1,247   12/10/2019   12/10/2020     382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation       $3,800.00                                            $125    12/10/2019   12/10/2020     382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation      $71,400.00                                           $1,785   12/10/2019   12/10/2020     382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation    $135,200.00                                            $3,380   12/10/2019   12/10/2020     382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation      $25,180.00                                            $630    12/10/2019   12/10/2020     382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation      $62,960.00                                           $1,574   12/10/2019   12/10/2020     382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation      $13,670.00                                            $342    12/10/2019   12/10/2020     382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation      $28,880.00                                            $722    12/10/2019   12/10/2020     382


                                                                                                                                              Main
                                                                                                                Bond                                                           Effective Expiration
Foresight Company        Obligee                                Bond Type                        Grouped As:   Amount                                            Premium         Date      Date           Permit #
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation    $161,900.00                                           $4,048   12/10/2019   12/10/2020       382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation       $6,180.00                                           $155    12/10/2019   12/10/2020       382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation      $33,960.00                                           $849    12/10/2019   12/10/2020       382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation      $11,700.00                                           $293    12/10/2019   12/10/2020       382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation      $48,200.00                                          $1,205   12/10/2019   12/10/2020       382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation      $15,040.00                                           $376    12/10/2019   12/10/2020       382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation      $78,800.00                                          $1,970   12/10/2019   12/10/2020       382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation       $7,320.00                                           $183    12/10/2019   12/10/2020       382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation      $29,650.00                                           $741    12/10/2019   12/10/2020       382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation    $139,420.00                                           $3,486   12/10/2019   12/10/2020       382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation      $66,100.00                                          $1,653   12/10/2019   12/10/2020       382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation    $377,000.00                                           $9,425   12/10/2019   12/10/2020       382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation      $65,600.00                                          $1,640   12/10/2019   12/10/2020       382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation      $70,800.00                                          $1,770   12/10/2019   12/10/2020       382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation      $19,700.00                                           $493    12/10/2019   12/10/2020       382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation      $72,620.00                                          $1,816   12/10/2019   12/10/2020       382
Sugar Camp Energy, LLC   IL DNR, Division of Oil and Gas        Financial Security Bond                           $25,000.00                                           $625    12/10/2019   12/10/2020
Sugar Camp Energy, LLC   IL DOT                                 Continuous Highway Permit Bond                    $50,000.00                                          $1,250   12/10/2019   12/10/2020   RR-D9-09-001
Sugar Camp Energy, LLC   IL DOT                                 Continuous Highway Permit Bond                    $50,000.00                                          $1,250   12/10/2019   12/10/2020   RR-D9-09-002
Sugar Camp Energy, LLC   Hamilton County Highway Department     Highway                                         $100,000.00                                           $2,500   12/10/2019   12/10/2020       N/A
Sugar Camp Energy, LLC   People of the State of Illinois        Reclamation                      Reclamation    $252,930.00                                           $6,323   12/10/2019   12/10/2020       382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation      $12,200.00                                           $305    12/10/2019   12/10/2020       382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation    $361,600.00                                           $9,040   12/10/2019   12/10/2020       382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation      $95,500.00                                          $2,388   12/10/2019   12/10/2020       382




                                                                                                                                              Case 20-41308
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation      $23,100.00                                           $578    12/10/2019   12/10/2020       382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation       $1,369.00                                           $125    12/10/2019   12/10/2020       382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation      $15,800.00                                           $395    12/10/2019   12/10/2020       382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation    $100,470.00                                           $2,512   12/10/2019   12/10/2020       382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation    $105,720.00                                           $2,643   12/10/2019   12/10/2020       382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation      $44,280.00                                          $1,107   12/10/2019   12/10/2020       382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation      $21,330.00                                           $533    12/10/2019   12/10/2020       382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation       $2,600.00                                           $125    12/10/2019   12/10/2020       382




                                                                                                                                              Doc 228
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation    $147,800.00                                           $3,695   12/10/2019   12/10/2020       382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation       $3,290.00                                           $125    12/10/2019   12/10/2020       382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation      $77,280.00                                          $1,932   12/10/2019   12/10/2020       382
Sugar Camp Energy, LLC   IL DOT                                 Subsidence                       Subsidence     $250,000.00                                           $6,250   12/10/2019   12/10/2020




                                                                                                                          Filed 04/01/20 Entered 04/01/20 23:45:34
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation      $78,860.00                                          $1,972   12/10/2019   12/10/2020       382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation      $99,905.00                                          $2,498   12/10/2019   12/10/2020       382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation      $49,300.00                                          $1,233   12/10/2019   12/10/2020       382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation    $267,348.00                                           $6,684   12/10/2019   12/10/2020       382




                                                                                                                                   Pg 802 of 1005
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation      $23,600.00                                           $590    12/10/2019   12/10/2020       382
Sugar Camp Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation      $10,960.00                                           $274     10/4/2019     10/04/20       382
Williamson Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation   $3,090,379.00                                         $77,259   12/10/2019   12/10/2020       375
Williamson Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation       $4,200.00                                           $125    12/10/2019   12/10/2020       375
Williamson Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation       $1,908.00                                           $125    12/10/2019   12/10/2020       375
Williamson Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation      $35,449.00                                           $886    12/10/2019   12/10/2020       375
Williamson Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation      $55,387.00                                          $1,385   12/10/2019   12/10/2020       375
Williamson Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation    $287,500.00                                           $7,188   12/10/2019   12/10/2020       375
Williamson Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation       $9,900.00                                           $248    12/10/2019   12/10/2020       375
Williamson Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation      $17,754.00                                           $444    12/10/2019   12/10/2020       375
Williamson Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation      $31,384.00                                           $785    12/10/2019   12/10/2020       375
Williamson Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation      $11,548.00                                           $289    12/10/2019   12/10/2020       375
Williamson Energy, LLC   IL DNR, Office of Mines and Minerals   Reclamation                      Reclamation      $27,595.00                                           $690    12/10/2019   12/10/2020       375


                                                                                                                                              Main
                                                                                                                   Bond                                                          Effective Expiration
Foresight Company              Obligee                                   Bond Type                 Grouped As:    Amount                                           Premium         Date      Date          Permit #
Williamson Energy, LLC         IL DNR, Office of Mines and Minerals      Reclamation               Reclamation      $46,000.00                                          $1,150   12/10/2019   12/10/2020     375
Williamson Energy, LLC         IL DNR, Office of Mines and Minerals      Reclamation               Reclamation       $6,128.00                                           $153    12/10/2019   12/10/2020     375
Williamson Energy, LLC         IL DNR, Office of Mines and Minerals      Reclamation               Reclamation       $7,440.00                                           $186    12/10/2019   12/10/2020     375
Williamson Energy, LLC         IL DNR, Office of Mines and Minerals      Reclamation               Reclamation       $2,807.00                                           $125    12/10/2019   12/10/2020     375
Williamson Energy, LLC         IL DNR, Office of Mines and Minerals      Reclamation               Reclamation      $10,080.00                                           $252    12/10/2019   12/10/2020     375
Williamson Energy, LLC         IL DNR, Office of Mines and Minerals      Reclamation               Reclamation      $32,760.00                                           $819    12/10/2019   12/10/2020     375
Williamson Energy, LLC         IL DNR, Office of Mines and Minerals      Reclamation               Reclamation      $28,264.00                                           $707    12/10/2019   12/10/2020     375
Williamson Energy, LLC         IL DNR, Office of Mines and Minerals      Reclamation               Reclamation      $25,840.00                                           $646    12/10/2019   12/10/2020     375
Williamson Energy, LLC         IL DNR, Office of Mines and Minerals      Reclamation               Reclamation       $5,300.00                                           $133    12/10/2019   12/10/2020     375
Williamson Energy, LLC         IL DNR, Office of Mines and Minerals      Reclamation               Reclamation      $15,960.00                                           $399    12/10/2019   12/10/2020     375
Williamson Energy, LLC         IL DNR, Office of Mines and Minerals      Reclamation               Reclamation      $37,537.00                                           $938    12/10/2019   12/10/2020     375
Williamson Energy, LLC         IL DNR                                    Financial Security Bond                    $25,000.00                                           $625    12/10/2019   12/10/2020
Williamson Energy, LLC         County of Williamson, State of Illinois   Performance Bond                         $150,000.00                                           $3,750   12/10/2019   12/10/2020
Williamson Energy, LLC         County of Williamson, State of Illinois   Performance Bond                        $1,050,000.00                                         $26,250   12/10/2019   12/10/2020
Williamson Energy, LLC         IL DNR, Office of Mines and Minerals      Reclamation               Reclamation      $87,200.00                                          $2,180   12/10/2019   12/10/2020     375
Williamson Energy, LLC         IL DNR, Office of Mines and Minerals      Reclamation               Reclamation      $11,000.00                                           $275    12/10/2019   12/10/2020     375
Williamson Energy, LLC         IL DNR, Office of Mines and Minerals      Reclamation               Reclamation       $8,100.00                                           $203    12/10/2019   12/10/2020     375
Williamson Energy, LLC         IL DNR, Office of Mines and Minerals      Reclamation               Reclamation      $79,430.00                                          $1,986   12/10/2019   12/10/2020     375
Williamson Energy, LLC         IL DNR, Office of Mines and Minerals      Reclamation               Reclamation      $26,500.00                                           $663    12/10/2019   12/10/2020     375
Williamson Energy, LLC         IL DNR, Office of Mines and Minerals      Reclamation               Reclamation    $258,830.00                                           $6,471   12/10/2019   12/10/2020     375
Williamson Energy, LLC         IL DNR, Office of Mines and Minerals      Reclamation               Reclamation       $2,100.00                                           $125    12/10/2019   12/10/2020     375
Williamson Energy, LLC         IL DNR, Office of Mines and Minerals      Reclamation               Reclamation      $21,200.00                                           $530    12/10/2019   12/10/2020     375
Williamson Energy, LLC         IL DNR, Office of Mines and Minerals      Reclamation               Reclamation      $29,630.00                                           $741    12/10/2019   12/10/2020     375
Williamson Energy, LLC         IL DNR, Office of Mines and Minerals      Reclamation               Reclamation      $19,316.00                                           $483    12/10/2019   12/10/2020     375




                                                                                                                                                Case 20-41308
Williamson Energy, LLC         IL DNR, Office of Mines and Minerals      Reclamation               Reclamation    $253,500.00                                           $6,338   12/10/2019   12/10/2020     375
Williamson Energy, LLC         IL DNR, Office of Mines and Minerals      Reclamation               Reclamation       $8,876.00                                           $222    12/10/2019   12/10/2020     375
M Class Mining Health Protecti Jeffrey Watkins and Katelynn Watkins      Appeal Bond               Other         $1,310,958.00                                         $32,774   12/10/2019   12/10/2020
M Class Mining Health Protecti Jeffrey Watkins and Katelynn Watkins      Appeal Bond               Other         $1,310,958.00                                         $32,774    8/10/2019    8/10/2020
Williamson Energy, LLC         IL DNR, Office of Mines and Minerals      Reclamation               Reclamation      $13,300.00                                           $333    12/10/2019   12/10/2020     375
Williamson Energy, LLC         IL DNR, Office of Mines and Minerals      Reclamation               Reclamation      $79,540.00                                          $1,989   12/10/2019   12/10/2020     375
Williamson Energy, LLC         IL DNR, Office of Mines and Minerals      Reclamation               Reclamation    $488,440.00                                          $12,211    12/4/2019    12/4/2020     456
Sugar Camp Energy, LLC         IL DNR, Office of Mines and Minerals      Reclamation               Reclamation      $29,910.00                                           $748     12/4/2019    12/4/2020     382




                                                                                                                                                Doc 228
                                                                                                                            Filed 04/01/20 Entered 04/01/20 23:45:34
                                                                                                                 $99,729,644 $2,488,963




                                                                                                                                     Pg 803 of 1005
                                                                                                                                                Main
Case 20-41308   Doc 228   Filed 04/01/20 Entered 04/01/20 23:45:34   Main Document
                                   Pg 804 of 1005



                                    Schedule 7.05

                                Specified Dispositions
    None.
Case 20-41308    Doc 228     Filed 04/01/20 Entered 04/01/20 23:45:34             Main Document
                                      Pg 805 of 1005



                                          Schedule 7.08

                                   Transactions With Affiliates


       1. Coal Mining Lease and Sublease (Unassigned Reserves) dated August 12, 2010 by and
          between Colt LLC as lessor and Macoupin Energy LLC as lessee, as amended.
       2. Coal Mining Lease and Sublease (Macoupin North Mine Assignment) dated August 12,
          2010 by and between Colt LLC as lessor and Macoupin Energy LLC as lessee, as
          amended.
       3. Coal Mining Lease and Sublease dated August 12, 2010 by and between Colt LLC as
          lessor and Williamson Energy, LLC as lessee, as amended.
       4. Coal Mining Lease (New Memphis/Monterey 2 Reserves) between Colt LLC and
          Macoupin Energy LLC dated June 1, 2012, as amended.
       5. Coal Mining Lease dated August 12, 2010 by and between Ruger Coal Company LLC as
          lessor and Sugar Camp Energy, LLC as lessee.
       6. Contract Mining and Overriding Royalty Agreement dated August 12, 2010 by and
          between Ruger Coal Company LLC and Sugar Camp Energy, LLC, as amended.
       7. Coal Mining Lease (For “Reserve 2”) dated August 12, 2010 by and between Colt LLC
          as lessor and Hillsboro Energy LLC as lessee, as amended.
       8. Coal Mining Lease (For “Reserve 1” and “Reserve 3”) dated August 12, 2010 by and
          between Colt LLC as lessor and Hillsboro Energy LLC as lessee, as amended.
       9. Amended and Restated Coal Mining Lease Agreement dated August 14, 2006 between
          WPP LLC, Lessor and Williamson Energy, LLC, Lessee, as amended.
       10. Partial Release of Premises from Coal Mining Lease and Sublease dated March 20, 2013
           between Williamson Energy, LLC and Colt LLC.
       11. Coal Mining Lease Agreement between Independence Land Company, LLC and
           Williamson Energy, LLC (5000-Foot Extension) dated March 13, 2006, as amended.
       12. First Amended and Restated Lease (Rail Load Out Lease) dated October 15, 2006
           between Williamson Development Company LLC, Lessor and Williamson Transport
           LLC, Lessee.
       13. First Amended and Restated Lease (Coal Prep Plant) dated October 15, 2006 between
           Williamson Energy, LLC and Williamson Development Company LLC.
       14. Amended and Restated Surface Sublease and Operation Agreement dated October 15,
           2006 between Williamson Energy, LLC and Williamson Transport, LLC.
       15. Amended and Restated Surface Sublease and Operation Agreement dated October 15,
           2006 between Williamson Energy, LLC and Williamson Track LLC.
Case 20-41308    Doc 228     Filed 04/01/20 Entered 04/01/20 23:45:34            Main Document
                                      Pg 806 of 1005



       16. Overriding Royalty Agreement (except 5000-Foot Extension) between Independence
           Land Co. and Williamson Energy, LLC dated March 13, 2006, as amended.
       17. Coal Mining Lease and Sublease Agreement dated January 27, 2009 between WPP, LLC,
           Lessor and Macoupin Energy LLC, Lessee.
       18. Lease Agreement dated January 27, 2009 between HOD, LLC, Lessor and Macoupin
           Energy LLC (Macoupin Rail Loop Lease), as amended.
       19. Lease Agreement dated January 27, 2009 between HOD, LLC, Lessor and Macoupin
           Energy LLC, Lessee (Macoupin Rail Loadout), as amended.
       20. Coal Mining Lease and Sublease Agreement dated September 10, 2009 between WPP
           LLC, Lessor and Hillsboro Energy LLC, Lessee, as amended.
       21. Assignment of Service Agreement by and among Foresight Reserves, LP, Foresight
           Energy LLC and FRLP No. 2 LLC dated January 14, 2013.
       22. Mitigation Agreement between Hillsboro Energy LLC and New River Royalty, LLC
           dated August 12, 2010.
       23. Mitigation Agreement between New River Royalty, LLC and Sugar Camp Energy, LLC
           dated August 12, 2010.
       24. Mitigation Agreement between Williamson Energy, LLC and New River Royalty, LLC
           dated August 12, 2010.
       25. Surface Lease and Operation Agreement between Oeneus LLC d/b/a Savatran LLC and
           Sitran LLC dated January 1, 2011.
       26. Lease Agreement between HOD LLC and Sugar Camp Energy, LLC dated March 6,
           2012, as amended.
       27. Surface Sublease between HOD LLC and Sugar Camp Energy, LLC dated March 6,
           2012.
       28. Overriding Royalty Agreement between Sugar Camp Energy, LLC and Ruger Coal
           Company, LLC (TVA Franklin County) dated August 12, 2010.
       29. Overriding Royalty Agreement between Sugar Camp Energy, LLC and Ruger Coal
           Company, LLC (TVA Illinois) dated August 12, 2010.
       30. Development Agreement between Hillsboro Energy LLC and Colt LLC dated as of
           August 23, 2013.
       31. Development Agreement between Macoupin Energy LLC and Colt LLC dated as of
           August 23, 2013.
       32. Development Agreement between Sugar Camp Energy, LLC and Ruger Coal Company,
           LLC dated as of August 23, 2013.
       33. Lease Agreement between American Century Transport LLC and American Energy
           Corporation dated as of April 16, 2015.
Case 20-41308    Doc 228     Filed 04/01/20 Entered 04/01/20 23:45:34          Main Document
                                      Pg 807 of 1005



       34. Overriding Royalty Agreement among American Century Minerals LLC, American
           Energy Corporation and Consolidated Land Company dated as of April 16, 2015.
Case 20-41308     Doc 228      Filed 04/01/20 Entered 04/01/20 23:45:34   Main Document
                                        Pg 808 of 1005



                                            Schedule 7.12

                                      Burdensome Agreements


    Agreements relating to items disclosed on Schedules 7.01 and 7.03.
Case 20-41308    Doc 228    Filed 04/01/20 Entered 04/01/20 23:45:34             Main Document
                                     Pg 809 of 1005



                                        Schedule 10.02

                  Administrative Agent’s Office; Certain Addresses for Notices


     Party:                  Address:                                  Payment Instructions (if
                                                                       applicable)
     Borrower                Foresight Energy LLC                      N/A
                             211 North Broadway, Suite 2600
                             St. Louis, Missouri 63102
                             Attention: Cody E. Nett
                             Telephone: (314) 932-6103
                             codynett@coalsource.com


    Borrower’s website: www.foresight.com

     Party:                  Address:                                  Payment Instructions (if
                                                                       applicable)
     Administrative Agent    Cortland Capital Market Services LLC      N/A
     and Collateral Agent    225 W Washington Street, 9th Floor
                             Chicago, IL 60606
                             Attn: Legal Department & CPC Agency
                             E-mail: legal@cortlandglobal.com;
                             cpcagency@cortlandglobal.com
                             Telephone: 312-564-5100
                             Telecopier: 312-376-0751
Case 20-41308              Doc 228         Filed 04/01/20 Entered 04/01/20 23:45:34 Main Document
                                                    Pg 810 of 1005
                                                                             EXECUTION VERSION

                                                                                                              EXHIBIT A

                                            FORM OF BORROWING NOTICE

 Date:    ,
 To:      Cortland Capital Market Services LLC, as Administrative Agent

 Ladies and Gentlemen:

          Reference is made to that certain Senior Secured Superpriority Debtor-in-Possession Credit and Guaranty
 Agreement, dated as of March 11, 2020 (as it may be amended, restated, supplemented or otherwise modified from
 time to time, the “Credit Agreement”; the terms defined therein being used herein as therein defined), among
 FORESIGHT ENERGY LLC, a Delaware limited liability company, as a debtor and debtor-in-possession, as borrower
 (the “Borrower”), FORESIGHT ENERGY GP LLC, a Delaware limited liability company, as a debtor and debtor-in-
 possession (the “General Partner”), FORESIGHT ENERGY LP, a Delaware limited partnership, as a debtor and
 debtor-in-possession (“Holdings”), CERTAIN SUBSIDIARIES OF BORROWER, each as a debtor and debtor-in-
 possession, as Guarantors, each lender from time to time party hereto (collectively, the “Lenders” and, individually, a
 “Lender”) and Cortland Capital Market Services LLC, as Administrative Agent and Collateral Agent

          The Borrower hereby requests (select one):

  ☐ A Borrowing of [Initial Term Loan][Delayed Draw Term Loan].

  ☐ Initial election of Type of Loan with respect to Roll-Up Loans.

  ☐ A continuation of Eurocurrency Rate Loans.

  ☐ A conversion of [Term Loans] [Roll-Up Loans].
  1.          On                                                             (a Business Day).

  2.          In the principal amount of                                     .1

  3.          Comprised of                                                   .
                                [Type of Loan requested2]

  4.          For Eurocurrency Rate Loans: with an Interest Period of                   one (1) month

  5.          Wire instructions for the account into which funds are to be disbursed (if applicable):

              [        ]

           [The representations and warranties of the Borrower and each Guarantor herein and in the other Loan
 Documents shall be true and correct in all material respects (or in the case of representations and warranties with a
 “materiality” qualifier, true and correct in all respects) immediately prior to, and after giving effect to, such funding
 of the applicable Loans to the same extent as though made on and as of that date, except to the extent such
 representations and warranties specifically relate to an earlier date, in which case, such representations and warranties
 shall have been true and correct in all materials respects on and as of such earlier date; provided that in each case, such
 materiality qualifier shall not be applicable to any representations and warranties that already are qualified or modified




          1
                   Each Borrowing of, conversion to or continuation of Eurocurrency Rate Loans shall be in a principal
 amount of $1,000,000 or a whole multiple of $500,000 in excess thereof. Each Borrowing of or conversion to Base
 Rate Loans shall be in a principal amount of $500,000 or a whole multiple of $250,000 in excess thereof.
         2
                   “Eurocurrency Rate Loan” or “Base Rate Loan.”
Case 20-41308         Doc 228       Filed 04/01/20 Entered 04/01/20 23:45:34                    Main Document
                                             Pg 811 of 1005


 by materiality in the text thereof. No Default or Event of Default exists, or would result immediately, from the
 proposed Borrowing or the application of proceeds thereof.]3

                                            [Signature page to follow]




           3
                    Each Request for Borrowing (other than a Borrowing Notice requesting only a conversion of Loans
 to the other Type or a continuation of Eurocurrency Rate Loans) submitted by the Borrower shall be deemed to be a
 representation and warranty that the conditions specified in Sections 4.02(a) and (b) of the Credit Agreement have
 been satisfied on and as of the date of the applicable Borrowing.


                                                       A- 2
Case 20-41308   Doc 228   Filed 04/01/20 Entered 04/01/20 23:45:34       Main Document
                                   Pg 812 of 1005


                                      FORESIGHT ENERGY LLC


                                      By:      __________________________________________
                                      Name:    __________________________________________
                                      Title:   __________________________________________




                                       A- 3
Case 20-41308   Doc 228   Filed 04/01/20 Entered 04/01/20 23:45:34   Main Document
                                   Pg 813 of 1005


                                                                        EXHIBIT B

                           COLLATERAL QUESTIONNAIRE

                                    [See attached]




                                        B-1
Case 20-41308          Doc 228    Filed 04/01/20 Entered 04/01/20 23:45:34 Main Document
                                           Pg 814 of 1005
                                                                   EXECUTION VERSION


                                 COLLATERAL QUESTIONNAIRE

                                         Dated: March 11, 2020

                 Reference is made to the Senior Secured Superpriority Debtor-in-Possession Credit
 and Guaranty Agreement, dated as of the date hereof (the “Credit Agreement”), among Foresight
 Energy LLC, a Delaware limited liability company (the “Company”), Foresight Energy GP LLC,
 a Delaware limited liability company (“General Partner”), Foresight Energy LP, a Delaware
 limited partnership (“Holdings”), each subsidiary guarantor party thereto (collectively, the
 “Guarantors” and, together with the Company, the “Grantors”), each lender party thereto
 (collectively, the “Lenders” and, individually, a “Lender”), and Cortland Capital Market Services
 LLC, as Administrative Agent and Collateral Agent. Capitalized terms used but not defined herein
 shall have the meanings set forth in the Credit Agreement.

                 Unless otherwise defined in this Certificate or in the Credit Agreement, terms
 defined in Article 8 or 9 of the Uniform Commercial Code as in effect in the State of New York
 are used in this Certificate as such terms are defined in such Article 8 or 9.

                  Each Grantor hereby certifies as follows as of the date hereof:

                 1.      Investment Property. Set forth on Schedule I hereto is a true and correct list
 of all shares of stock and other Pledged Equity Interests owned by such Grantor, all Pledged Debt
 owed to such Grantor and all other investment property (including, without limitation, all (A)
 securities, whether certificated or uncertificated, (B) security entitlements and commodity
 contracts having a value in excess of $100,000 that are not held in securities accounts or
 commodity accounts, (C) securities accounts having a value in excess of $100,000 and (D)
 commodity accounts having a value in excess of $100,000 of such Grantor), setting forth (i) in
 Part I of Schedule I all shares of stock or other Pledged Equity Interests owned by such Grantor,
 the issuer thereof, class of equity interest and percentage of the issued and outstanding Pledged
 Equity Interests of the issuers thereof, (ii) in Part II of Schedule I all such indebtedness having a
 value in excess of (x) $500,000 individually and (y) $5,000,000 in the aggregate owed to such
 Grantor, the issuer thereof, description thereof, debt certificate number(s), final maturity and
 outstanding principal amount of such indebtedness, (iii) in Part III of Schedule I, all other
 investment property having a value in excess of (x) $500,000 individually and (y) $5,000,000 in
 the aggregate owned by such Grantor, the issuer thereof, name of investment, certificate
 number(s), amount and other identification of such investment property and (iv) in Part IV of
 Schedule I, a true and correct list of all securities accounts and commodities accounts, in each case,
 having a value in excess of $100,000 (consistent with clauses (C) and (D) above).

                2.     Deposit Accounts. Set forth on Schedule II hereto is a true and correct list
 of all deposit accounts of such Grantor existing on the date hereof setting forth for each such
 deposit account the type of account, name and address of the depositary bank and the account
 number.

                  3.      Intellectual Property. Set forth on Schedule III hereto is a true and correct
 list of:




 US-DOCS\81066853.3
Case 20-41308          Doc 228    Filed 04/01/20 Entered 04/01/20 23:45:34             Main Document
                                           Pg 815 of 1005


                (i)       all registered patents and patent applications of such Grantor;

                (ii)      all registered trademarks and trademark applications of such Grantor;

                (iii)     all registered copyrights and copyright applications of such Grantor; and

                (iv)    all material agreements, permits, consents, orders and franchises relating to
        the license, development, use or disclosure of any intellectual property to which such
        Grantor is a party or a beneficiary.

                4.      Commercial Tort Claims. Set forth on Schedule IV hereto is a true and
 correct description of all commercial tort claims with a value in excess of $1,000,000 of such
 Grantor.

                 5.     Identity, Etc. of Grantors. Set forth on Schedule V hereto is a true and
 correct list showing such Grantor’s exact legal name (as it appears in its certificate or articles of
 incorporation, limited liability membership agreement or similar organizational document, in each
 case as amended to the date hereof), location, address of chief executive office (and, if different,
 principal place of business), type of organization, jurisdiction of organization and organizational
 I.D. number (including taxpayer identification number).

                 6.     Changes in Name, Location Etc. Set forth on Schedule VI hereto is a true
 and correct description of any changes in the name of such Grantor, changes in location or
 jurisdiction, changes in corporate structure (including by way of merger or consolidation) or in
 any other information as to such Grantor reflected on Schedule VI hereto during the five years
 preceding the date hereof.

                7.       Location of Equipment and Inventory. Set forth on Schedule VII hereto is
 a true and correct list of the locations of such Grantor’s equipment and inventory with a value in
 excess of $1,000,000 individually and $3,000,000 in the aggregate, other than such Grantor’s
 equipment or inventory that may be in transit, with a third party in connection with preparation for
 shipment or for rehabilitation or refurbishment.

                 8.       Letters of Credit. Set forth on Schedule VIII hereto is a true and correct list
 of all letters of credit with a value in excess of $1,000,000 individually and $3,000,000 in the
 aggregate of which such Grantor is a beneficiary or assignee, showing for each such letter of credit
 the issuer thereof, nominated person (if any), account party, number, maximum available amount
 and date.

                  9.     Warehousemen and Bailees. Set forth on Schedule IX hereto is a true and
 correct list of all warehousemen and bailees that have possession of any assets with a fair market
 value in excess of $1,000,000 individually and $3,000,000 in the aggregate of such Grantor,
 showing as to each warehouseman and bailee the assets so held, fair market value and address.

                10.     Location of Books and Records. Set forth on Schedule X hereto is a list of
 all locations where the Grantors maintain any books or records relating to Accounts Receivable
 (with each location at which chattel paper, if any, is kept being indicated by an “*”).


                                                    2
Case 20-41308       Doc 228     Filed 04/01/20 Entered 04/01/20 23:45:34             Main Document
                                         Pg 816 of 1005


                  11.     Real Property. Set forth on Schedule XI hereto is a true and correct list of
 all interests in material owned real property of such Grantor or any of its subsidiaries, showing as
 to each such real property the record owner, record information, acquisition date, brief legal
 description of the property and mortgagee (if any) and lessee (if any).

                12.     Leaseholds. Set forth on Schedule XII hereto is a true and correct list of all
 interests in material leased real property of such Grantor as lessee, showing as to each such
 leasehold a description of the lease and premises, date of and parties to the lease, record
 information and mortgage (if any).

                13.     Mining Facilities; Mining Leases. Set forth on Schedule XIII-A hereto is a
 true and correct list of (a) the locations of such Grantor’s Mining Facilities owned, leased or
 operated by such Grantor and (b) all material related or ancillary properties that are required for
 the business and operations of such Grantor, including a brief legal description of the lease, record
 information and mortgage (if any). Schedule XIII-B hereto sets forth a true and correct list of all
 Mining Leases to which Grantor is a party.

                  14.    Schedule of Filings. Attached as Schedule XIV hereto is a true and correct
 list of each Uniform Commercial Code filing office in the jurisdiction in which each Grantor is
 located and, to the extent any of the collateral located at Material Owned Real Property, Material
 Leased Real Property or Mining Facility is comprised of fixtures, timber to be cut or as extracted
 collateral from the wellhead or minehead, the appropriate local jurisdiction in which financing
 statements with respect to such collateral comprised of fixtures, timber to cut or as extracted
 collateral that is not covered by the applicable mortgage that serves as a fixture filing should be
 filed.

               15.     Railcars. Set forth on Schedule XV hereto is a true and correct list of all
 railcars owned by such Grantor and registered or to be registered with any Governmental
 Authority, showing as to each such item a description thereof, fair market value and mortgagee (if
 any) and mortgage description (if any) (including mortgage amount) thereof.

                16.    Unusual Transactions. Except as set forth on Schedule XVI, no unusual
 transactions have occurred in the past five years, all Accounts have been originated by such
 Grantor and all Inventory or Equipment has been acquired by Grantor in the ordinary course of
 business.




                                                  3
Case 20-41308   Doc 228    Filed 04/01/20 Entered 04/01/20 23:45:34             Main Document
                                    Pg 817 of 1005



               IN WITNESS WHEREOF, the undersigned have caused this Collateral
 Questionnaire to be executed by their officers thereunto duly authorized.



                                    FORESIGHT ENERGY LLC
                                    FORESIGHT ENERGY FINANCE CORPORATION
                                    FORESIGHT ENERGY GP LLC
                                    ADENA RESOURCES, LLC
                                    AKIN ENERGY LLC
                                    AMERICAN CENTURY MINERAL LLC
                                    AMERICAN CENTURY TRANSPORT LLC COAL
                                    FIELD CONSTRUCTION COMP ANY LLC COAL
                                    FIELD REPAIR SERVICES LLC FORESIGHT
                                    COAL SALES LLC
                                    FORESIGHT ENERGY EMPLOYEE SERVICES
                                    CORPORATION
                                    FORESIGHT ENERGY LABOR LLC FORESIGHT
                                    ENERGY SERVICES LLC FORESIGHT
                                    RECEIVABLES LLC HILLSBORO ENERGY LLC
                                    HILLSBORO TRANSPORT LLC
                                    LD LABOR COMPANY LLC
                                    LOGAN MINING LLC
                                    M-CLASS MINING, LLC
                                    MACH MINING, LLC
                                    MACOUPIN ENERGY LLC
                                    MARY AN MINING LLC
                                    OENEUS LLC d/b/a SAVA TRAN LLC PATTON
                                    MINING LLC
                                    SENECA REBUILD LLC
                                    SITRAN LLC
                                    SUGAR CAMP ENERGY, LLC
                                    TANNER ENERGY LLC
                                    VIKING MINING LLC
                                    WILLIAMSON ENER , LLC
                                                      \\

                                    By:�\\-
                                       Name: Robert D. Moore
                                       Title: President and Chief Executive Officer




                          [Signature Page to Collateral Questionnaire]
Case 20-41308           Doc 228         Filed 04/01/20 Entered 04/01/20 23:45:34                      Main Document
                                                 Pg 818 of 1005


                                                                                                     Schedule I to
                                                                                         Collateral Questionnaire

                                          INVESTMENT PROPERTY
                                                         Part I
                                         Initial Pledged Equity Interests


          Grantor              Issuer         Juris. of            Address of              Taxpayer         Type of           % of
                                               Org/          Chief Executive Office       ID Number          Org. 1          Interest
                                             Formation
     Foresight Energy      Adena             Delaware         211 North Broadway         XX-XXXXXXX       Limited            100
     LLC                   Resources,                         Suite 2600                                  Liability
                           LLC                                St. Louis, MO                               Company
                                                              63102
     Foresight Energy      Akin Energy       Delaware         211 North Broadway         XX-XXXXXXX       Limited            100
     LLC                   LLC                                Suite 2600                                  Liability
                                                              St. Louis, MO 63102                         Company

     Foresight Energy      American          Delaware         211 North Broadway         N/A              Limited            100
     LLC                   Century                            Suite 2600                                  Liability
                           Mineral LLC                        St. Louis, MO                               Company
                                                              63102
     Foresight Energy      American          Delaware         211 North Broadway         N/A              Limited            100
     LLC                   Century                            Suite 2600                                  Liability
                           Transport LLC                      St. Louis, MO                               Company
                                                              63102
     Foresight Energy      Foresight Coal    Delaware         211 North Broadway         XX-XXXXXXX       Limited            100
     LLC                   Sales LLC                          Suite 2600                                  Liability
                                                              St. Louis, MO 63102                         Company

     Foresight Energy      Foresight         Delaware         211 North Broadway         XX-XXXXXXX       Corporation        100
     LLC                   Energy                             Suite 2600
                           Employee                           St. Louis, MO 63102
                           Services
                           Corporation

     Foresight Energy      Foresight         Delaware         211 North Broadway         XX-XXXXXXX       Corporation        100
     LLC                   Energy                             Suite 2600
                           Finance                            St. Louis, MO 63102
                           Corporation

     Foresight Energy      Foresight         Delaware         211 North Broadway         XX-XXXXXXX       Limited            100
     LP                    Energy LLC                         Suite 2600                                  Liability
                                                              St. Louis, MO 63102                         Company




 1
  Indicate each limited liability company or limited partnership that has opted into Article 8 of the UCC with an asterisk
 (“*”)
Case 20-41308         Doc 228       Filed 04/01/20 Entered 04/01/20 23:45:34           Main Document
                                             Pg 819 of 1005


       Grantor             Issuer        Juris. of         Address of          Taxpayer      Type of     % of
                                          Org/       Chief Executive Office   ID Number       Org. 1    Interest
                                        Formation
  Foresight Energy                                                                         Limited      99.99
  LLC                                                                                      Liability
                       Foresight
                                                       211 North Broadway                  Company
                       Energy Labor      Delaware                             XX-XXXXXXX
  Foresight Energy                                          Suite 2600                                  0.01
                       LLC
  Employee Services                                    St. Louis, MO 63102
  Corporation

  Foresight Energy                                                                                      99.99
  LLC
                          Foresight                                                          Limited
                                                       211 North Broadway
                           Energy        Delaware                             XX-XXXXXXX    Liability
  Foresight Energy                                          Suite 2600                                  0.01
                        Services LLC                                                        Company
  Employee Services                                    St. Louis, MO 63102
  Corporation

  Foresight Energy     Hillsboro        Delaware      211 North Broadway      XX-XXXXXXX   Limited      100
  LLC                  Energy LLC                     Suite 2600                           Liability
                                                      St. Louis, MO 63102                  Company

  Foresight Energy     Hillsboro        Delaware      211 North Broadway      XX-XXXXXXX   Limited      100
  LLC                  Transport LLC                  Suite 2600                           Liability
                                                      St. Louis, MO 63102                  Company

  Foresight Energy     Macoupin         Delaware      211 North Broadway      XX-XXXXXXX   Limited      100
  LLC                  Energy LLC                     Suite 2600                           Liability
                                                      St. Louis, MO 63102                  Company

  Foresight Energy     Oeneus LLC       Delaware      211 North Broadway      XX-XXXXXXX   Limited      100
  LLC                  d/b/a Savatran                 Suite 2600                           Liability
                       LLC                            St. Louis, MO 63102                  Company

  Foresight Energy     Seneca           Delaware      211 North Broadway      XX-XXXXXXX   Limited      100
  LLC                  Rebuild LLC                    Suite 2600                           Liability
                                                      St. Louis, MO 63102                  Company

  Foresight Energy     Sitran LLC       Delaware      211 North Broadway      XX-XXXXXXX   Limited      100
  LLC                                                 Suite 2600                           Liability
                                                      St. Louis, MO 63102                  Company

  Foresight Energy     Sugar Camp       Delaware      211 North Broadway      XX-XXXXXXX   Limited      100
  LLC                  Energy, LLC                    Suite 2600                           Liability
                                                      St. Louis, MO 63102                  Company

  Foresight Energy     Tanner Energy    Delaware      211 North Broadway      XX-XXXXXXX   Limited      100
  LLC                  LLC                            Suite 2600                           Liability
                                                      St. Louis, MO                        Company
                                                      63102
  Foresight Energy     Williamson       Delaware      211 North Broadway      XX-XXXXXXX   Limited      100
  LLC                  Energy, LLC                    Suite 2600                           Liability
                                                      St. Louis, MO 63102                  Company
Case 20-41308        Doc 228      Filed 04/01/20 Entered 04/01/20 23:45:34           Main Document
                                           Pg 820 of 1005


       Grantor           Issuer        Juris. of         Address of          Taxpayer      Type of    % of
                                        Org/       Chief Executive Office   ID Number       Org. 1   Interest
                                      Formation
  Foresight Energy    Foresight       Delaware      211 North Broadway      XX-XXXXXXX   Limited     100
  LLC                 Receivables                   Suite 2600                           Liability
                      LLC                           St. Louis, MO 63102                  Company

  Foresight Energy    Coal Field      Delaware      211 North Broadway      XX-XXXXXXX   Limited     100
  Labor LLC           Construction                  Suite 2600                           Liability
                      Company LLC                   St. Louis, MO 63102                  Company

  Foresight Energy    Coal Field      Delaware      211 North Broadway      XX-XXXXXXX   Limited     100
  Labor LLC           Repair                        Suite 2600                           Liability
                      Services LLC                  St. Louis, MO 63102                  Company

  Foresight Energy    LD Labor        Delaware      211 North Broadway      XX-XXXXXXX   Limited     100
  Labor LLC           Company LLC                   Suite 2600                           Liability
                                                    St. Louis, MO 63102                  Company

  Foresight Energy    Logan Mining    Delaware      211 North Broadway      XX-XXXXXXX   Limited     100
  Labor LLC           LLC                           Suite 2600                           Liability
                                                    St. Louis, MO 63102                  Company

  Foresight Energy    M-Class         Delaware      211 North Broadway      XX-XXXXXXX   Limited     100
  Labor LLC           Mining, LLC                   Suite 2600                           Liability
                                                    St. Louis, MO 63102                  Company

  Foresight Energy    Mach Mining,    Delaware      211 North Broadway      XX-XXXXXXX   Limited     100
  Labor LLC           LLC                           Suite 2600                           Liability
                                                    St. Louis, MO 63102                  Company

  Foresight Energy    MaRyan          Delaware      211 North Broadway      XX-XXXXXXX   Limited     100
  Labor LLC           Mining LLC                    Suite 2600                           Liability
                                                    St. Louis, MO 63102                  Company

  Foresight Energy    Patton Mining   Delaware      211 North Broadway      XX-XXXXXXX   Limited     100
  Labor LLC           LLC                           Suite 2600                           Liability
                                                    St. Louis, MO 63102                  Company

  Foresight Energy    Viking Mining   Delaware      211 North Broadway      XX-XXXXXXX   Limited     100
  Labor LLC           LLC                           Suite 2600                           Liability
                                                    St. Louis, MO 63102                  Company
Case 20-41308   Doc 228   Filed 04/01/20 Entered 04/01/20 23:45:34   Main Document
                                   Pg 821 of 1005


                                      Part II

                                Initial Pledged Debt


                                       None.



                                      Part III

                             Other Investment Property

                                       None.
Case 20-41308    Doc 228   Filed 04/01/20 Entered 04/01/20 23:45:34   Main Document
                                    Pg 822 of 1005


                                      Part IV

                SECURITY ACCOUNTS AND COMMODITY ACCOUNTS

 Security Accounts:
 None.



 Commodity Accounts:
 None.
Case 20-41308    Doc 228      Filed 04/01/20 Entered 04/01/20 23:45:34     Main Document
                                       Pg 823 of 1005


                                                                             Schedule II to
                                                                  Collateral Questionnaire

                                  DEPOSIT ACCOUNTS

                                                                             Account No.
  No.          Entity              Bank Name             Account Type
                                                                              (Ending)

        Foresight Energy       The Huntington
 1.                                                  Concentration          9601
        LLC                    National Bank

        Foresight              The Huntington
 2.                                                  Receipts               6973
        Receivables LLC        National Bank

        Foresight Energy       The Huntington
 3.                                                  Receipts               6694
        LLC                    National Bank

        Foresight Energy       The Huntington        Disbursements –
 4.                                                                         6681
        LLC                    National Bank         Accounts Payable

        Foresight Energy       The Huntington        Disbursements –
 5.                                                                         8214
        LLC                    National Bank         Payroll

        Foresight Energy       The Huntington        Disbursements –
 6.                                                                         6539
        Services LLC           National Bank         Payroll

                               CNB Bank & Trust,
 7.     MaRyan Mining LLC                            Petty Cash             4605
                               N.A.

 8.     Mach Mining LLC        First Southern Bank   Petty Cash             4129

        Hillsboro Energy       The Huntington
 9.                                                  Operating              5031
        LLC                    National Bank

                               CNB Bank & Trust,
 10.    Patton Mining LLC                            Petty Cash             6394
                               N.A.

                               F.N.B. Wealth
 11.    Foresight Energy LP                          Collateral             7011
                               Management
Case 20-41308     Doc 228   Filed 04/01/20 Entered 04/01/20 23:45:34   Main Document
                                     Pg 824 of 1005


                                                                       Schedule III to
                                                             Collateral Questionnaire

                            INTELLECTUAL PROPERTY



 I. Patents

 None.

 II. Domain Names and Trademarks

 None.

 III. Trade Names

 None.

 IV. Copyrights

 None.

 V. IP Agreements

 None.
Case 20-41308   Doc 228   Filed 04/01/20 Entered 04/01/20 23:45:34   Main Document
                                   Pg 825 of 1005


                                                                     Schedule IV to
                                                           Collateral Questionnaire

                          COMMERCIAL TORT CLAIMS


                                      None.
Case 20-41308            Doc 228     Filed 04/01/20 Entered 04/01/20 23:45:34                 Main Document
                                              Pg 826 of 1005


                                                                                             Schedule V to
                                                                                  Collateral Questionnaire

      LOCATION, CHIEF EXECUTIVE OFFICE, TYPE OF ORGANIZATION,
 JURISDICATION OF ORGANIZATION AND ORGANIZATIONAL IDENTIFICATION
                             NUMBER 2

                          Jurisdiction of       Type of                                     Chief Executive
         Grantor           Organization       Organization        Organizational I.D.           Office
     Foresight Energy       Delaware        Limited Liability          4214815            211 North Broadway,
           LLC                                 Company                                         Suite 2600
                                                                                          St. Louis, MO 63102

     Foresight Energy       Delaware        Limited Liability          5100772            211 North Broadway,
         GP LLC                                Company                                         Suite 2600
                                                                                          St. Louis, MO 63102

     Adena Resources,       Delaware        Limited Liability          4113123            211 North Broadway,
          LLC                                  Company                                         Suite 2600
                                                                                          St. Louis, MO 63102

     Akin Energy LLC        Delaware        Limited Liability          4191654            211 North Broadway,
                                               Company                                         Suite 2600
                                                                                          St. Louis, MO 63102

     American Century       Delaware        Limited Liability          5725788            211 North Broadway,
      Mineral LLC                              Company                                         Suite 2600
                                                                                          St. Louis, MO 63102

     American Century       Delaware        Limited Liability          5725786            211 North Broadway,
      Transport LLC                            Company                                         Suite 2600
                                                                                          St. Louis, MO 63102

        Coal Field          Delaware        Limited Liability          4628487            211 North Broadway,
       Construction                            Company                                         Suite 2600
      Company LLC                                                                         St. Louis, MO 63102

     Coal Field Repair      Delaware        Limited Liability          5299754            211 North Broadway,
      Services LLC                             Company                                         Suite 2600
                                                                                          St. Louis, MO 63102

      Foresight Coal        Delaware        Limited Liability          4591069            211 North Broadway,
        Sales LLC                              Company                                         Suite 2600
                                                                                          St. Louis, MO 63102

     Foresight Energy       Delaware           Corporation             5528848            211 North Broadway,
        Employee                                                                               Suite 2600
         Services                                                                         St. Louis, MO 63102
       Corporation



 2
         The taxpayer identification number of (i) Foresight Energy LLC is XX-XXXXXXX (ii) Foresight Energy GP
 LLC is XX-XXXXXXX, and (ii) each other Grantor, if any, is set forth on Schedule I.
Case 20-41308        Doc 228     Filed 04/01/20 Entered 04/01/20 23:45:34            Main Document
                                          Pg 827 of 1005


                      Jurisdiction of      Type of                                  Chief Executive
     Grantor           Organization      Organization       Organizational I.D.         Office
  Foresight Energy      Delaware          Corporation            4853884          211 North Broadway,
      Finance                                                                          Suite 2600
    Corporation                                                                   St. Louis, MO 63102

  Foresight Energy      Delaware        Limited Liability        5810632          211 North Broadway,
    Labor LLC                              Company                                     Suite 2600
                                                                                  St. Louis, MO 63102

  Foresight Energy      Delaware           Limited               5100773          211 North Broadway,
         LP                               Partnership                                  Suite 2600
                                                                                  St. Louis, MO 63102

  Foresight Energy      Delaware        Limited Liability        5065292          211 North Broadway,
   Services LLC                            Company                                     Suite 2600
                                                                                  St. Louis, MO 63102

     Foresight          Delaware        Limited Liability        5665546          211 North Broadway,
  Receivables LLC                          Company                                     Suite 2600
                                                                                  St. Louis, MO 63102

  Hillsboro Energy      Delaware        Limited Liability        4191652          211 North Broadway,
        LLC                                Company                                     Suite 2600
                                                                                  St. Louis, MO 63102

     Hillsboro          Delaware        Limited Liability        5373240          211 North Broadway,
   Transport LLC                           Company                                     Suite 2600
                                                                                  St. Louis, MO 63102

     LD Labor           Delaware        Limited Liability        5068132          211 North Broadway,
   Company LLC                             Company                                     Suite 2600
                                                                                  St. Louis, MO 63102

   Logan Mining         Delaware        Limited Liability        5582699          211 North Broadway,
       LLC                                 Company                                     Suite 2600
                                                                                  St. Louis, MO 63102

  M-Class Mining,       Delaware        Limited Liability        4388185          211 North Broadway,
       LLC                                 Company                                     Suite 2600
                                                                                  St. Louis, MO 63102

   Mach Mining,         Delaware        Limited Liability        3960666          211 North Broadway,
      LLC                                  Company                                     Suite 2600
                                                                                  St. Louis, MO 63102

  Macoupin Energy       Delaware        Limited Liability        4562185          211 North Broadway,
       LLC                                 Company                                     Suite 2600
                                                                                  St. Louis, MO 63102

  MaRyan Mining         Delaware        Limited Liability        4642527          211 North Broadway,
      LLC                                  Company                                     Suite 2600
                                                                                  St. Louis, MO 63102
Case 20-41308        Doc 228     Filed 04/01/20 Entered 04/01/20 23:45:34            Main Document
                                          Pg 828 of 1005


                      Jurisdiction of      Type of                                  Chief Executive
      Grantor          Organization      Organization       Organizational I.D.         Office
  Oeneus LLC d/b/a      Delaware        Limited Liability        3943786          211 North Broadway,
   Savatran LLC                            Company                                     Suite 2600
                                                                                  St. Louis, MO 63102

   Patton Mining        Delaware        Limited Liability        4643432          211 North Broadway,
        LLC                                Company                                     Suite 2600
                                                                                  St. Louis, MO 63102

   Seneca Rebuild       Delaware        Limited Liability        5354365          211 North Broadway,
        LLC                                Company                                     Suite 2600
                                                                                  St. Louis, MO 63102

     Sitran LLC         Delaware        Limited Liability        4450382          211 North Broadway,
                                           Company                                     Suite 2600
                                                                                  St. Louis, MO 63102

    Sugar Camp          Delaware        Limited Liability        3982892          211 North Broadway,
    Energy, LLC                            Company                                     Suite 2600
                                                                                  St. Louis, MO 63102

   Tanner Energy        Delaware        Limited Liability        5582701          211 North Broadway,
       LLC                                 Company                                     Suite 2600
                                                                                  St. Louis, MO 63102

   Viking Mining        Delaware        Limited Liability        5153856          211 North Broadway,
        LLC                                Company                                     Suite 2600
                                                                                  St. Louis, MO 63102

     Williamson         Delaware        Limited Liability        3953041          211 North Broadway,
    Energy, LLC                            Company                                     Suite 2600
                                                                                  St. Louis, MO 63102
Case 20-41308      Doc 228      Filed 04/01/20 Entered 04/01/20 23:45:34                     Main Document
                                         Pg 829 of 1005


                                                                                         Schedule VI to
                                                                               Collateral Questionnaire

                           CHANGES IN NAME, LOCATION, ETC.



    Grantor                         Nature of Change                      Issue Date
    Akin Energy LLC                 Akin Energy LLC merged with and       February 8, 2013
                                    into FRLP 2008 No. 1 LLC and
                                    Locust Grove Energy LLC, each a
                                    Delaware limited liability company,
                                    with Akin Energy LLC as the
                                    surviving company
    Foresight Energy Services LLC   Foresight Energy Supply LLC           December 31, 2013
                                    merged with and into Foresight
                                    Energy Services LLC with
                                    Foresight Energy Services LLC as
                                    the surviving company
    Patton Mining LLC               Principal place of business changed   August 1, 2016
                                    from Beckley, West Virginia to St.
                                    Louis, Missouri
    Foresight Receivables LLC       Corporation Structure. Per terms of   December 2017 / September 27,
                                    the LLC Agreement, which              2019
                                    required one Independent Director
                                    until the Final Payment under the
                                    Financing Agreement was made.

                                    Mr. Burns resigned September 27,
                                    2019.
    Viking Mining LLC               • Viking Coal Mining LLC              • November 13, 2012
                                      changed its name to Drott
                                      Mining Company LLC
                                    • Drott Mining Company LLC            • February 14, 2013
                                      changed its name to Viking Coal
                                      Mining LLC
                                    • Viking Coal Mining LLC              • May 8, 2013
                                      changed its name to Viking
                                      Mining LLC
                                    • Principal place of business         • August 1, 2016
                                      changed from Beckley, West
                                      Virginia to St. Louis, Missouri
Case 20-41308      Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34             Main Document
                                           Pg 830 of 1005


                                                                                  Schedule VII to
                                                                         Collateral Questionnaire

                     LOCATION OF EQUIPMENT AND COLLATERAL


           Name of Grantor                  Location of Inventory, Equipment, Other Collateral
         Adena Resources, LLC                         211 North Broadway, Suite 2600
                                                           St. Louis, MO 63102

           Akin Energy LLC                            211 North Broadway, Suite 2600
                                                           St. Louis, MO 63102

  Coal Field Construction Company LLC                  11351 N. Thompsonville Road
                                                           Macedonia, IL 62860

     Foresight Energy Services LLC                    211 North Broadway, Suite 2600
                                                           St. Louis, MO 63102

         Hillsboro Energy LLC                           12051 County Road 900 N.
                                                           Hillsboro, IL 62049

                                                               Sitran LLC
                                                         10016 Darnell School Rd
                                                         Mount Vernon, IN 47620

        Hillsboro Transport LLC                         12051 County Road 900 N.
                                                           Hillsboro, IL 62049

         Macoupin Energy LLC                            14300 Brushy Mound Road
                                                           Carlinville, IL 62626

                                                               Sitran LLC
                                                         10016 Darnell School Rd
                                                         Mount Vernon, IN 47620

    Oeneus LLC d/b/a Savatran LLC                     211 North Broadway, Suite 2600
                                                           St. Louis, MO 63102

          Seneca Rebuild LLC                           11550 N. Thompsonville Road
                                                           Macedonia, IL 62860

              Sitran LLC                                 10016 Darnell School Rd
                                                         Mount Vernon, IN 47620

       Sugar Camp Energy, LLC                          11351 N. Thompsonville Road
                                                           Macedonia, IL 62860

                                                       13643 N. Thompsonville Road
                                                           Macedonia, IL 62860

                                                               Sitran LLC
                                                         10016 Darnell School Rd
Case 20-41308    Doc 228       Filed 04/01/20 Entered 04/01/20 23:45:34          Main Document
                                        Pg 831 of 1005


         Name of Grantor                 Location of Inventory, Equipment, Other Collateral
                                                      Mount Vernon, IN 47620


      Williamson Energy, LLC                         16468 Liberty School Road
                                                         Marion, IL 62959

                                                            Sitran LLC
                                                      10016 Darnell School Rd
                                                      Mount Vernon, IN 47620

                                                      Convent Marine Terminal
                                                       7790 LA Highway 44
                                                      Convent, Louisiana 70723
Case 20-41308          Doc 228       Filed 04/01/20 Entered 04/01/20 23:45:34                              Main Document
                                              Pg 832 of 1005


                                                                                                  Schedule VIII to
                                                                                          Collateral Questionnaire
                                                  LETTERS OF CREDIT




                                                                                               Original
                                                                                     Issue     Expiry
     Beneficiary       LC Number        Amount           Purpose         Location    Date       Date          Renewals       Notification

                                                                                                            Automatic
  Rockwood                                             Workers          Credit      4/18/201                successive one
  Casualty            OSB.009726     $ 4,500,000.00    Compensation     Facility           7   6/30/2018    year periods     60 days
                                                                                                            Automatic
  Argonaut                                                              Credit      7/28/201                successive one
  Insurance Co.       OSB.009853     $ 4,500,000.00    Surety Bonds     Facility           7   7/31/2018    year periods     60 days
                                                                                                            Automatic
  Argonaut                                                              Credit      8/10/201                successive one
  Insurance Co.       OSB.010277     $ 1,310,958.39    Appeal Bond      Facility           8   8/10/2019    year periods     60 days
                                                                                                            Amendment
  Canadian National                                                     Credit      5/29/201                needed to
  Railway             OSB.010199-1   $ 2,000,000.00    Transportation   Facility           8    6/1/2019    extend           15 days



                      Total          $ 12,310,958.39
Case 20-41308      Doc 228    Filed 04/01/20 Entered 04/01/20 23:45:34               Main Document
                                       Pg 833 of 1005


                                                                                 Schedule IX to
                                                                       Collateral Questionnaire

                             WAREHOUSEMEN AND BAILEES



 Grantor                  Warehouseman/Bailee and Location   Assets and Value (as of1/31/2020)

 Hillsboro Energy LLC                Sitran LLC              Clean Coal $106,655
                               10016 Darnell School Rd
                               Mount Vernon, IN 47620

 Macoupin Energy LLC                 Sitran LLC              Clean Coal $1,621,205
                               10016 Darnell School Rd
                               Mount Vernon, IN 47620

 Sugar Camp Energy, LLC              Sitran LLC              Clean Coal $26,372,171
                               10016 Darnell School Rd
                               Mount Vernon, IN 47620
Case 20-41308      Doc 228   Filed 04/01/20 Entered 04/01/20 23:45:34            Main Document
                                      Pg 834 of 1005


                                                                               Schedule X to
                                                                    Collateral Questionnaire

                        LOCATION OF BOOKS AND RECORDS

                       RELATING TO ACCOUNTS RECEIVABLE




                                           Location of Books and Records Relating to
 Name of Grantor                                      Accounts Receivable
 All Grantors                                   211 North Broadway, Suite 2600
                                                   St. Louis, Missouri 63102
                   Case 20-41308          Doc 228   Filed 04/01/20 Entered 04/01/20 23:45:34           Main Document
                                                             Pg 835 of 1005




                                                                                                               Schedule XI and XII to
                                                                                                              Collateral Questionnaire

DEBTOR/GRANTOR:

MACOUPIN ENERGY LLC
14300 Brushy Mound Road
Carlinville, Illinois 62626

Macoupin County, Illinois


     Description/Title of                                                                Recording                          Subject to
                                Date            Parties       Brief Legal Description                     Owned or Leased
         Document                                                                       Information                         Mortgage
                                             WPP LLC and
                                                              Macoupin South Mine
    Short Form of Lease       1/27/2009     Macoupin Energy                             Not Recorded          Leased           Yes
                                                                  Assignment
                                                 LLC
                                             Colt LLC and
   Coal Mining Lease and                                      Macoupin North Mine
                              8/12/2010     Macoupin Energy                             MA 503863             Leased           Yes
         Sublease                                                 Assignment
                                                 LLC
                                             Colt LLC and
                                                              Macoupin North Mine
    Short Form of Lease       8/12/2010     Macoupin Energy                             Not Recorded          Leased           Yes
                                                                  Assignment
                                                 LLC
                                             Colt LLC and
  First Amendment to Coal                                     Macoupin North Mine
                              2/13/2013     Macoupin Energy                             Not Recorded          Leased           Yes
        Mining Lease                                              Assignment
                                                 LLC
                                             Colt LLC and
                                                                East Hornsby Mine
    Short Form of Lease       8/12/2010     Macoupin Energy                             Not Recorded          Leased           Yes
                                                                   Assignment
                                                 LLC
                Case 20-41308        Doc 228     Filed 04/01/20 Entered 04/01/20 23:45:34                 Main Document
                                                          Pg 836 of 1005




 Description/Title of                                                                       Recording                          Subject to
                          Date               Parties         Brief Legal Description                         Owned or Leased
     Document                                                                              Information                         Mortgage
                                                             Various tracts of surface
                                                               and coal reserves. The
                                                              coal reserves were sold
                                        ExxonMobil Coal
                                                                to WPP or Colt and
                                          USA, Inc. to
Special Warranty Deed   1/22/2009                            leased back. The surface    MA-0019 493145          Owned            Yes
                                        Macoupin Energy
                                                                  not required for
                                             LLC
                                                                operations has been
                                                              conveyed to New River
                                                                   Royalty LLC
                                          HOD LLC and
        Lease           1/27/2009        Macoupin Energy            Rail Loop             Not Recorded           Leased           Yes
                                                LLC
                                          HOD LLC and
   Short Form or
                        1/27/2009        Macoupin Energy            Rail Loop              MA 506329             Leased           Yes
Memorandum of Lease
                                                LLC
                                          HOD LLC and
Amendment to Lease
                        12/29/2009       Macoupin Energy            Rail Loop             Not Recorded           Leased           Yes
   Agreement
                                                LLC
                                          HOD LLC and
        Lease           1/27/2009        Macoupin Energy          Rail Load Out           Not Recorded           Leased           Yes
                                                LLC
                                          HOD LLC and
   Short Form or
                        1/27/2009        Macoupin Energy          Rail Load Out            MA 506330             Leased           Yes
Memorandum of Lease
                                                LLC
                                          HOD LLC and
Amendment to Lease
                        12/29/2009       Macoupin Energy          Rail Load Out           Not Recorded           Leased           Yes
   Agreement
                                                LLC
                                       Jet Oil Company and
  Option and Lease                                                                       Volume 628, Page
                        2/28/1967        Macoupin Energy          Coal Reserves                                  Leased           Yes
    Agreement                                                                                 456
                                                LLC
                                         Macoupin Energy
                                         LLC, as assignor,
Assignment of Leases    1/27/2009                                 Coal Reserves           Not Recorded           Leased           Yes
                                         and WPP LLC, as
                                              assignee
                  Case 20-41308          Doc 228   Filed 04/01/20 Entered 04/01/20 23:45:34            Main Document
                                                            Pg 837 of 1005




    Description/Title of                                                                 Recording                          Subject to
                              Date             Parties       Brief Legal Description                      Owned or Leased
        Document                                                                        Information                         Mortgage
                                            WPP LLC and
   Coal Mining Lease and
                            1/27/2009      Macoupin Energy    Macoupin Reserves         Not Recorded          Leased           Yes
    Sublease Agreement
                                                LLC
        Short Form or
                                            WPP LLC and
   Memorandum of Coal
                            1/27/2009      Macoupin Energy    Macoupin Reserves         MA 506328             Leased           Yes
      Mining Lease and
                                                LLC
    Sublease Agreement
  First Amendment to Coal                   WPP LLC and
      Mining Lease and      11/03/2010     Macoupin Energy    Macoupin Reserves         Not Recorded          Leased           Yes
    Sublease Agreement                          LLC
   Second Amendment to                      WPP LLC and
   Coal Mining Lease and    03/28/2010     Macoupin Energy    Macoupin Reserves         Not Recorded          Leased           Yes
    Sublease Agreement                          LLC
                                           ExxonMobil Coal
                                            USA, Inc. and      Monterey Coal
   Assignment of Leases     1/22/2009                                                   MA 487734             Leased           Yes
                                           Macoupin Energy   Company No. 1 Mine
                                                LLC



Clinton County, Illinois

    Description/Title of                                                                 Recording                          Subject to
                              Date             Parties       Brief Legal Description                      Owned or Leased
        Document                                                                        Information                         Mortgage
                                            Colt LLC and
                                                                New Memphis
     Coal Mining Lease       6/1/2012      Macoupin Energy                              Not Recorded          Leased           Yes
                                                             /Monterey 2 Reserves
                                                LLC
     Short Form or                          Colt LLC and
                                                                New Memphis
   Memorandum of Coal        6/1/2012      Macoupin Energy                             CC 2012R04931          Leased           Yes
                                                             /Monterey 2 Reserves
     Mining Lease                               LLC
                                            Colt LLC and
  First Amendment to Coal                                       New Memphis
                            2/13/2013      Macoupin Energy                              Not Recorded          Leased           Yes
        Mining Lease                                         /Monterey 2 Reserves
                                                LLC
                   Case 20-41308      Doc 228     Filed 04/01/20 Entered 04/01/20 23:45:34                Main Document
                                                           Pg 838 of 1005




DEBTOR/GRANTOR:

WILLIAMSON ENERGY, LLC
16468 Liberty School Road
Marion, IL 62959
Williamson County, Illinois
Franklin County, Illinois (Coal Reserves only)

  Description/Title of   Date               Parties             Brief Legal Description          Recording       Owned or   Subject to
                                                                                                Information       Leased    Mortgage
 Amended and Restated    8/14/2006        WPP LLC to        Coal reserves in Williamson and     Not recorded      Leased      Yes
  Coal Mining Lease                    Williamson Energy,        Franklin Counties, IL
     Agreement                                LLC

     Short Form of       8/14/2006        WPP LLC to        Coal reserves in Williamson and   WC Misc 301-480     Leased       Yes
 Amended and Restated                  Williamson Energy,        Franklin Counties, IL         FC #2006-6571
   Coal Mining Lease                          LLC
       Agreement
  First Amendment to     5/19/2008        WPP LLC to        Coal reserves in Williamson and     Not recorded      Leased       Yes
 Amended and Restated                  Williamson Energy,        Franklin Counties, IL
   Coal Mining Lease                          LLC
       Agreement
     Amendment to        12/18/2009       WPP LLC to        Coal reserves in Williamson and     Not recorded      Leased       Yes
 Amended and Restated                  Williamson Energy,        Franklin Counties, IL
   Coal Mining Lease                          LLC
       Agreement
  Third Amendment to     08/12/2010       WPP LLC to        Coal reserves in Williamson and     Not recorded      Leased       Yes
 Amended and Restated                  Williamson Energy,        Franklin Counties, IL
   Coal Mining Lease                          LLC
       Agreement
  Short Form of First,   08/12/2010       WPP LLC to        Coal reserves in Williamson and   WC Misc 327-780     Leased       Yes
   Second and Third                    Williamson Energy,        Franklin Counties, IL          2010-6467
     Amendment to                             LLC
 Amended and Restated
   Coal Mining Lease
       Agreement
                  Case 20-41308      Doc 228     Filed 04/01/20 Entered 04/01/20 23:45:34                Main Document
                                                          Pg 839 of 1005




 Description/Title of   Date               Parties             Brief Legal Description          Recording       Owned or   Subject to
                                                                                               Information       Leased    Mortgage
Fourth Amendment to     6/30/2011        WPP LLC to        Coal reserves in Williamson and     Not recorded      Leased      Yes
Amended and Restated    (effective    Williamson Energy,        Franklin Counties, IL
 Coal Mining Lease      4/1/2011)            LLC
      Agreement
Short Form of Fourth    6/30/2011        WPP LLC to        Coal reserves in Williamson and   WC Misc 331-312     Leased       Yes
    Amendment to        (effective    Williamson Energy,        Franklin Counties, IL
Amended and Restated    4/1/2011)            LLC
 Coal Mining Lease
      Agreement
 Fifth Amendment to     3/20/2013        WPP LLC to        Coal reserves in Williamson and     Not recorded      Leased       Yes
Amended and Restated    (effective    Williamson Energy,        Franklin Counties, IL
 Coal Mining Lease      3/1/2013)            LLC
      Agreement
 Short Form of Fifth    3/20/2013        WPP LLC to        Coal reserves in Williamson and   WC Misc 341-659     Leased       Yes
    Amendment to        (effective    Williamson Energy,        Franklin Counties, IL
Amended and Restated    3/1/2013)            LLC
 Coal Mining Lease
      Agreement
 First Amendment to     5/19/2008        WPP LLC to        Coal reserves in Williamson and     Not recorded      Leased       Yes
 Amended and Coal                     Williamson Energy,        Franklin Counties, IL
     Mining Lease                            LLC
      Agreement

  Amendment to          12/18/2009       WPP LLC to          Coal reserves in Williamson       Not recorded      Leased       Yes
Amended and Restated                  Williamson Energy,             County, IL
 Coal Mining Lease                           LLC
    Agreement

 Third Amendment to      8/12/2010       WPP LLC to        Coal reserves in Williamson and     Not recorded      Leased       Yes
Amended and Restated                  Williamson Energy,        Franklin Counties, IL
  Coal Mining Lease                          LLC
      Agreement
                  Case 20-41308        Doc 228     Filed 04/01/20 Entered 04/01/20 23:45:34                  Main Document
                                                            Pg 840 of 1005




 Description/Title of    Date                Parties             Brief Legal Description            Recording       Owned or   Subject to
                                                                                                   Information       Leased    Mortgage
   Short Form or          8/12/2010        WPP LLC to        Coal reserves in Williamson and     WC Misc 327-780     Leased      Yes
Memorandum of First                     Williamson Energy,        Franklin Counties, IL           FC #2010-5467
 Amendment, Second                             LLC
Amendment and Third
   Amendment to
Amended and Restated
 Coal Mining Lease
    Agreement

Fourth Amendment to       6/30/2011        WPP LLC to          Coal reserves in Williamson         Not recorded      Leased       Yes
Amended and Restated      (effective    Williamson Energy,             County, IL
 Coal Mining Lease        4/1/2011)            LLC
     Agreement

   Short Form or          6/30/2011        WPP LLC to          Coal reserves in Williamson       WC Misc 331-312     Leased       Yes
Memorandum of Fourth      (effective    Williamson Energy,             County, IL
   Amendment to           4/1/2011)            LLC
Amended and Restated
 Coal Mining Lease
    Agreement

  Partial Release of    6/30/2011          WPP LLC to        Releases certain coal reserves in    FC #2011-3006      Leased       Yes
Leased Premises from    (effective      Williamson Energy,        Franklin County, IL
Amended and Restated    4/1/2011)              LLC
 Coal Mining Lease
     Agreement
  Partial Release of    3/20/2013          WPP LLC to        Releases certain coal reserves in    FC #2013-1637      Leased       Yes
Leased Premises from    (effective      Williamson Energy,        Franklin County, IL
Amended and Restated    9/1/2011)              LLC
 Coal Mining Lease
     Agreement
  Corrective Partial    4/5/2013           WPP LLC to        Releases certain coal reserves in    FC #2013-2765      Leased       Yes
 Release of Leased      (effective      Williamson Energy,        Franklin County, IL
   Premises from        3/1/2013)              LLC
Amended and Restated
                   Case 20-41308       Doc 228     Filed 04/01/20 Entered 04/01/20 23:45:34            Main Document
                                                            Pg 841 of 1005




 Description/Title of     Date               Parties           Brief Legal Description        Recording       Owned or   Subject to
                                                                                             Information       Leased    Mortgage
  Coal Mining Lease
     Agreement

 Short Form of Lease       5/1/2005         Williamson       Coal reserves in Williamson   WC Misc 291-461     Leased       Yes
    and Sublease                          Development                County, IL
                                         Company LLC to
                                        Williamson Energy,
                                               LLC

                                        Independence Land
  Coal Mining Lease                     Company, LLC and     Coal Reserves in Williamson
                          3/13/2006                                                          Not recorded      Leased       Yes
     Agreement                          Williamson Energy,         County, Illinois
                                               LLC
                                        Independence Land
                                        Company, LLC and     Coal Reserves in Williamson
 Short Form of Lease      3/13/2006                                                        Misc 301Page 479    Leased       Yes
                                        Williamson Energy,         County, Illinois
                                               LLC

Lease (Coal Prep Plant)    5/1/2005         Williamson       Pond Creek Processing Plant   WC Misc 291-463     Leased       Yes
                                          Development
                                        Company, LLC and
                                        Williamson Energy,
                                               LLC
  First Amended and       10/15/2006        Williamson
 Restated Lease (Coal                     Development
      Prep Plant)                       Company, LLC and     Pond Creek Processing Plant     Not recorded      Leased       Yes
                                        Williamson Energy,
                                               LLC
  Short Form of First     10/15/2006        Williamson
Amended and Restated                      Development
                                                                                            Misc 313 Page
Lease (Coal Prep Plant)                 Company, LLC and     Pond Creek Processing Plant                       Leased       Yes
                                                                                                 620
                                        Williamson Energy,
                                               LLC
                  Case 20-41308      Doc 228     Filed 04/01/20 Entered 04/01/20 23:45:34                  Main Document
                                                          Pg 842 of 1005




 Description/Title of   Date               Parties             Brief Legal Description            Recording       Owned or   Subject to
                                                                                                 Information       Leased    Mortgage
Coal Mining Lease and   8/12/2010        Colt LLC to        Coal Reserves in Williamson,         WC 325-897        Leased      Yes
      Sublease                        Williamson Energy,    Franklin, and Saline Counties,
                                             LLC                          IL

  Short Form or         8/12/2010        Colt LLC to        Coal Reserves in Williamson,       WC Misc 325-897     Leased       Yes
Memorandum of Coal                    Williamson Energy,    Franklin, and Saline Counties,      FC #2010-3874
 Mining Lease and                            LLC                          IL                     SC 1981-610
     Sublease

  Partial Release of    6/30/2011       Colt LLC and       Releases certain coal reserves in   WC Misc 331-310     Leased       Yes
 Premises from Coal     (effective    Williamson Energy,       Williamson County, IL
  Mining Lease and      4/1/2011)            LLC
      Sublease

 First Amendment to     6/30/2011       Colt LLC and        Coal reserves in Williamson,         Not recorded      Leased       Yes
Coal Mining Lease and   (effective    Williamson Energy,    Franklin, and Saline Counties,
       Sublease         4/1/2011)            LLC                          IL

    Short Form or       6/30/2011       Colt LLC and        Coal reserves in Williamson,       WC Misc 331-311     Leased       Yes
 Memorandum after       (effective    Williamson Energy,    Franklin, and Saline Counties,      FC #2011-3008
 First Amendment to     4/1/2011)            LLC                          IL                     SC 2003-978
Coal Mining Lease and
       Sublease
  Partial Release of    3/20/2013       Colt LLC and        Coal reserves in Williamson,       WC Misc 341-658     Leased       Yes
 Premises from Coal     (effective    Williamson Energy,    Franklin, and Saline Counties,
  Mining Lease and      3/1/2013)            LLC                          IL
       Sublease
Second Amendment to     3/20/2013       Colt LLC and        Coal reserves in Williamson,         Not recorded      Leased       Yes
Coal Mining Lease and   (effective    Williamson Energy,    Franklin, and Saline Counties,
       Sublease         3/1/2013)            LLC                          IL
    Short Form or       3/20/2013       Colt LLC and        Coal reserves in Williamson,        FC 2013-1639       Leased       Yes
 Memorandum after       (effective    Williamson Energy,    Franklin, and Saline Counties,
Second Amendment to     3/1/2013)            LLC                          IL
                    Case 20-41308          Doc 228       Filed 04/01/20 Entered 04/01/20 23:45:34                    Main Document
                                                                  Pg 843 of 1005




  Description/Title of      Date                   Parties               Brief Legal Description            Recording           Owned or         Subject to
                                                                                                           Information           Leased          Mortgage
 Coal Mining Lease and
       Sublease
        Lease                5/1/2005           Williamson             Pond Creek Rail Load Out        WC Misc 291-462           Leased             Yes
                                              Development
                                            Company, LLC (fka
                                                 Steelhead
                                              Development
                                            Company LLC) and
                                            Williamson Energy,
                                                   LLC

  First Amended and                              Williamson
  Restated Lease (Rail                         Development
   Load Out Lease)         10/15/2006        Company, LLC and          Pond Creek Rail Load Out           Not recorded           Leased             Yes
                                             Williamson Energy,
                                                    LLC
  Short Form of First                            Williamson
 Amended and Restated                          Development
                                                                                                         Misc 313 Page
 Lease (Rail Load Out      10/15/2006        Company, LLC and          Pond Creek Rail Load Out                                  Leased             Yes
                                                                                                              619
        Lease)                               Williamson Energy,
                                                    LLC

          Deed               8/12/2010           Williamson
                                               Development
                                                                     Surface required for Williamson
                                             Company, LLC and                                             WC 486-333             Owned              Yes
                                                                        Energy, LLC Operations 3
                                             Williamson Energy,
                                                    LLC




3
         This excludes the real property released pursuant to that certain Fifth Amendment and Partial Release of Fee and Leasehold Mortgage, Assignment of
Rents and Leases, Security Agreement and Fixture Filing, dated as of September 26, 2016, by and between Williamson Energy, LLC, as Mortgagor, and
Citibank, N.A., in its capacity as Agent, consisting of approximately 28.55 acres of surface land.
                   Case 20-41308     Doc 228      Filed 04/01/20 Entered 04/01/20 23:45:34           Main Document
                                                           Pg 844 of 1005




Description/Title of    Date                Parties           Brief Legal Description        Recording      Owned or   Subject to
                                                                                            Information      Leased    Mortgage
     Easement            8/12/2010        Williamson
                                        Development          “Snake areas” required for
                                      Company, LLC and        Williamson Energy, LLC        WC 325-899       Owned        Yes
                                      Williamson Energy,             Operations
                                             LLC

                                          Eberhardt to       Ground lease required for
   Ground Lease          1/1/2006    Williamson Transport,   Williamson Energy, LLC        Not Recorded      Leased       Yes
                                              LLC                   Operations
                                           Eberhart to       Ground lease required for
Memorandum of the
                         1/20/2006   Williamson Transport,   Williamson Energy, LLC       WC Misc 296-404    Leased       Yes
 Eberhardt Lease
                                              LLC                   Operations
                                     Williamson Transport
                                                             Ground lease required for
                                      LLC to Williamson
Assignment of Rights     8/24/2007                           Williamson Energy, LLC       WC Misc 306-996    Leased       Yes
                                         Development
                                                                    Operations
                                        Company LLC
                                          Williamson
                                         Development         Ground lease required for
Assignment of Rights     8/24/2007     Company LLC to        Williamson Energy, LLC          WC Misc         Leased       Yes
                                      Williamson Energy,            Operations
                                              LLC
                                           Eberhart to
                                          Williamson
                                         Development         Ground lease required for
   Ground Lease          8/12/2010      Company, LLC         Williamson Energy, LLC         WC 325-900       Leased       Yes
                                           assigned to              Operations
                                      Williamson Energy,
                                              LLC

                                      Clara Summers and
   Surface Lease        3/22/2006     Independence Land            Surface Lease          WC Misc 297-626    Leased       Yes
                                        Company LLC
                                      Independence Land
Assignment of Lease     8/12/2010                                  Surface Lease          WC Misc 327-750    Leased       Yes
                                       Company LLC to
                  Case 20-41308     Doc 228     Filed 04/01/20 Entered 04/01/20 23:45:34        Main Document
                                                         Pg 845 of 1005




Description/Title of   Date               Parties          Brief Legal Description      Recording      Owned or   Subject to
                                                                                       Information      Leased    Mortgage
                                     Williamson Energy
                                            LLC
                                     Clara Summers and
  Surface Lease        3/22/2006     Independence Land         Surface Lease         WC Misc 297-626
                                       Company LLC

                                        Williamson
                                       Development
 Grant of Surface
                        8/12/2010    Company LLC and         Surface Easement        WC Misc 325-899    Leased       Yes
    Easement
                                     Williamson Energy
                                            LLC
                    Case 20-41308      Doc 228       Filed 04/01/20 Entered 04/01/20 23:45:34             Main Document
                                                              Pg 846 of 1005




DEBTOR/GRANTOR:

SUGAR CAMP ENERGY, LLC
11351 N. Thompsonville Road
Macedonia, Illinois 62860
Franklin County, Illinois
Hamilton County, Illinois (Coal Reserves only)
Saline County, Illinois (Coal Reserves only)


                                                                                                                      Owned
   Description/Title of                                                                                  Recording             Subject to
                            Date                Parties                Brief Legal Description                          or
       Document                                                                                         Information            Mortgage
                                                                                                                      Leased
                                      USA through TVA & Illinois
                                        Fuel Company LLC (as        Properties located in Franklin
   TVA Illinois Coal
                          7/1/2002      assigned to Ruger Coal     County IL as described in Exhibit   FC 2007-5822   Leased      Yes
        Lease
                                      Company, LLC), Sugar Camp                   A
                                             Energy, LLC
                                      USA through TVA & Illinois
                                        Fuel Company LLC (as        Properties located in Franklin
  Assignment of TVA
                          8/4/2009      assigned to Ruger Coal     County IL as described in Exhibit   FC 2009-4445   Leased      Yes
  Illinois Coal Lease
                                      Company, LLC), Sugar Camp                   A
                                             Energy, LLC
   Amendment One to                                                 Properties located in Franklin
                                      USA through TVA & Ruger
   TVA Illinois Coal      4/17/2012                                County IL as described in Exhibit     FC-0027      Leased      Yes
                                        Coal Company LLC
        Lease                                                                     A
  Amendment Two to                                                  Properties located in Franklin
                                      USA through TVA & Ruger
   TVA Illinois Coal      8/30/2012                                County IL as described in Exhibit   Not recorded   Leased      Yes
                                        Coal Company LLC
        Lease                                                                     A
    Letter Agreement                                                Properties located in Franklin
                                      USA through TVA & Ruger
     regarding TVA        8/30/2012                                County IL as described in Exhibit   Not recorded   Leased      Yes
                                        Coal Company LLC
   Illinois Coal Lease                                                            A
                                      USA through TVA & Ruger       Properties located in Franklin
    Franklin County
                          7/1/2002     Coal Company, Inc. (as      County IL as described in Exhibit   Not recorded   Leased      Yes
      Coal Lease
                                        assigned to Ruger Coal                    A
                 Case 20-41308      Doc 228       Filed 04/01/20 Entered 04/01/20 23:45:34                Main Document
                                                           Pg 847 of 1005




                                                                                                                        Owned
Description/Title of                                                                                    Recording                Subject to
                         Date                Parties                 Brief Legal Description                              or
    Document                                                                                           Information               Mortgage
                                                                                                                        Leased
                                   Company, LLC), Sugar Camp
                                         Energy, LLC

                                    USA through TVA & Ruger
                                     Coal Company, Inc. (as       Properties located in Franklin
Assignment of Lease    9/10/2007      assigned to Ruger Coal     County IL as described in Exhibit    FC 2007-5132      Leased      Yes
                                   Company, LLC), Sugar Camp                    A
                                           Energy, LLC
                                                                  Properties located in Franklin
                                    RGGS Land & Minerals &
Coal Mining Lease      7/29/2005                                 County IL as described in Exhibit       FC-0083        Leased      Yes
                                    Sugar Camp Energy, LLC
                                                                                A
                                                                  Properties located in Franklin
 Memorandum of                      RGGS Land & Minerals &
                       7/29/2005                                 County IL as described in Exhibit    FC 2006-6919      Leased      Yes
Coal Mining Lease                   Sugar Camp Energy, LLC
                                                                                A
  Supplemental                                                    Properties located in Franklin
                                    RGGS Land & Minerals &
 Memorandum of         7/29/2005                                 County IL as described in Exhibit    FC 2008-4441      Leased      Yes
                                    Sugar Camp Energy, LLC
Coal Mining Lease                                                               A
                                                                  Properties located in Franklin
                                   Sugar Camp Energy, LLC &
     Sublease          3/6/2012                                  County IL as described in Exhibit    FC 2012-6228      Leased      Yes
                                           HOD LLC
                                                                                A
                                                                  Properties located in Franklin
First Amendment to                  RGGS Land & Minerals &
                       8/11/2008                                 County IL as described in Exhibit    FC 2008-4441      Leased      Yes
Coal Mining Lease                   Sugar Camp Energy, LLC
                                                                                A
                                   Ruger Coal Company, LLC &      Consent with respect to Illinois
  Consent to Mine      1/22/2010                                                                         FC-0233        Leased      Yes
                                    Sugar Camp Energy, LLC                Fuels Lease
                                     Rodney Smith and Marta
                                                                  Pt. Lot 121 and Pt. Lot 122 in     Surface WC-0152,
  Warranty Deed        1/15/2009   Smith to Sugar Camp Energy,                                                          Owned       Yes
                                                                        Kokopelli Estates               WC481-772
                                               LLC
                 Case 20-41308      Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                   Main Document
                                                            Pg 848 of 1005




                                                                                                                             Owned
Description/Title of                                                                                         Recording                Subject to
                         Date                 Parties                   Brief Legal Description                                or
    Document                                                                                                Information               Mortgage
                                                                                                                             Leased
                                     Glendall E Johnston a.k.a
                                   Glen Johnston and Carolyn S.
                                                                    NW NW Sec 1-6-4 and NWNE
     Easement          3/4/2010       Johnston, a.k.a Carolyn                                            FC-0253 2010-1056   Owned       Yes
                                                                   Sec 1-6-4 Franklin County, Illinois
                                   Johnston, husband and Wife
                                   to Sugar Camp Energy, LLC
                                   Morris R Clark and Karan S.
                                                                    NWNE and W2E2NE Sec 2-6-4
     Easement          3/4/2010    Clark to Sugar Camp Energy,                                           FC-0254 2010-1057   Owned       Yes
                                                                        Franklin, Illinois
                                               LLC
                                     David Blood and Melanie
                                                                    Pt. E2NENE Sec 2-6-4 Franklin
     Easement          3/1/2010     Blood, husband and wife to                                               FC-0255         Owned       Yes
                                                                      County, Illinois 2010-1058
                                    Sugar Camp Energy, LLC
                                    Roger L. Sanders and Mary
                                                                   W 10 ac N3/4 of NESE Sec 6-6-5
     Easement          6/5/2010    Ellen Sanders to Sugar Camp                                           HC-0078 221-117     Owned       Yes
                                                                      Hamilton County, Illinois
                                           Energy, LLC
                                   Patrick G. Mascal and Lori S.
                                                                   W2NESW and E2S2NWSW Sec
  Warranty Deed        6/1/2010       Mascal to Sugar Camp                                               HC-0075 277/311     Owned       Yes
                                                                      6-6-5 Hamilton Illinois
                                           Energy, LLC
Overriding Royalty                 Ruger Coal Company LLC to        Right to mine on Illinois Fuels
                       8/12/2010                                                                           Not Recorded      Leased      Yes
Interest Agreement                  Sugar Camp Energy, LLC                    TVA Lease
Overriding Royalty                 Ruger Coal Company LLC to       Right to mine on Franklin County
                       8/12/2010                                                                           Not Recorded      Leased      No
Interest Agreement                  Sugar Camp Energy, LLC                    TVA Lease
                                     Williamson Development
                                                                   Surface required for Sugar Camp
       Deed            8/12/2010      Company LLC to Sugar                                                 Not Recorded      Owned       Yes
                                                                       Energy, LLC Operations
                                        Camp Energy, LLC
                                     Williamson Development           Surface in Hamilton County
       Deed            8/12/2010      Company LLC to Sugar         required for Sugar Camp Energy,         Not Recorded      Owned       Yes
                                        Camp Energy, LLC                   LLC Operations
                                     Williamson Development           Surface at former Akin site
       Deed            8/12/2010      Company LLC to Sugar         required for Sugar Camp Energy,         Not Recorded      Owned       Yes
                                        Camp Energy, LLC                   LLC Operations
                                   Ruger Coal Company LLC to
Coal Mining Lease`     8/12/2010                                             Coal Reserves                 Not Recorded      Leased      Yes
                                    Sugar Camp Energy, LLC
                 Case 20-41308      Doc 228      Filed 04/01/20 Entered 04/01/20 23:45:34     Main Document
                                                          Pg 849 of 1005




                                                                                                          Owned
Description/Title of                                                                         Recording             Subject to
                         Date               Parties             Brief Legal Description                     or
    Document                                                                                Information            Mortgage
                                                                                                          Leased
  Memorandum of                    Ruger Coal Company LLC to
                       8/12/2010                                    Coal Reserves         FC 2010-3825    Leased      Yes
Coal Mining Lease`                  Sugar Camp Energy, LLC
First Amendment to                 Ruger Coal Company LLC to
                       11/4/2011                                    Coal Reserves         Not Recorded    Leased      Yes
Coal Mining Lease`                  Sugar Camp Energy, LLC
Second Amendment
                                   Ruger Coal Company LLC to
   to Coal Mining        2012                                       Coal Reserves         Not Recorded    Leased      Yes
                                    Sugar Camp Energy, LLC
        Lease`
 Memorandum after
  First and Second                 Ruger Coal Company LLC to
                         2012                                       Coal Reserves         Not Recorded    Leased      Yes
Amendments to Coal                  Sugar Camp Energy, LLC
   Mining Lease`
                                    HOD LLC to Sugar Camp
 Lease Agreement       3/6/2012                                Sugar Camp Rail Load Out   Not Recorded    Leased      Yes
                                        Energy, LLC
 Memorandum of                      HOD LLC to Sugar Camp
                       3/6/2012                                Sugar Camp Rail Load Out   FC 2012-6228    Leased      Yes
 Lease Agreement                        Energy, LLC
                  Case 20-41308     Doc 228       Filed 04/01/20 Entered 04/01/20 23:45:34                    Main Document
                                                           Pg 850 of 1005




DEBTOR/GRANTOR:

SITRAN, LLC

Description/Title of                                                                                           Recording    Owned or   Subject to
    Document             Date                   Parties                     Brief Legal Description           Information    Leased    Mortgage
  MOORAGE
OPTIONS/LEASES
  KENTUCKY


 Deed of Correction    10/22/2009   Norberta Belle Williams, Harold    An undivided l/4th: Certain property      Not         Owned        No
                                    Alvin Williams and Sitran LLC        in the Ohio River known as Karr       Recorded
                                                                      Island, which property was granted to
                                                                          Hopson Karr and N.S. Karr by a
                                                                         governor’s patente on 12/21/1960
                                                                       that is recorded in the Henderson Co
                                                                                   Bk 202 Pg 266

 Deed of Correction    10/22/2009   Joyce Mae Hurley and Deon H.      An undivided l/4th: Certain property       Not         Owned        No
                                        Hurley and Sitran LLC            in the Ohio River known as Karr       Recorded
                                                                      Island, which property was granted to
                                                                          Hopson Karr and N.S. Karr by a
                                                                         governor’s patente on 12/21/1960
                                                                       that is recorded in the Henderson Co
                                                                                   Bk 202 Pg 266

Deed of Conveyance     10/22/2009    Lisa Michelle Karr Hughes &          An undivided 2/15th: Certain           Not         Owned        No
                                     Darrell C. Hughes and Sitran     property in the Ohio River known as      Recorded
                                                 LLC                    Karr Island, which property was
                                                                        granted to Hopson Karr and N.S.
                                                                        Karr by a governor’s patente on
                                                                       12/21/1960 that is recorded in the
                                                                         Henderson Co Bk 202 Pg 266
                    Case 20-41308     Doc 228      Filed 04/01/20 Entered 04/01/20 23:45:34                  Main Document
                                                            Pg 851 of 1005




Description/Title of                                                                                          Recording    Owned or   Subject to
    Document               Date                  Parties                     Brief Legal Description         Information    Leased    Mortgage
Deed of Conveyance      10/22/2009      Rise Karr and Sitran LLC           An undivided 2/15th: Certain          Not        Owned        No
                                                                       property in the Ohio River known as    Recorded
                                                                         Karr Island, which property was
                                                                         granted to Hopson Karr and N.S.
                                                                         Karr by a governor’s patente on
                                                                        12/21/1960 that is recorded in the
                                                                          Henderson Co Bk 202 Pg 266

  Option To Lease       4/10/2009    Kay Karr Brooks and Sitran LLC        An undivided 2/15th: Certain         Not         Lease        No
                                                                       property in the Ohio River known as    Recorded
                                                                         Karr Island, which property was
                                                                         granted to Hopson Karr and N.S.
                                                                         Karr by a governor’s patente on
                                                                        12/21/1960 that is recorded in the
                                                                          Henderson Co Bk 202 Pg 266

  Option To Lease       4/10/2009    Robert Karr & Rebecca S. Karr,        An undivided 2/15th: Certain         Not         Lease        No
                                        his wife, and Sitran LLC       property in the Ohio River known as    Recorded
                                                                         Karr Island, which property was
                                                                         granted to Hopson Karr and N.S.
                                                                         Karr by a governor’s patente on
                                                                        12/21/1960 that is recorded in the
                                                                          Henderson Co Bk 202 Pg 266

Deed of Conveyance      11/20/2009    Scott A. Peck & City Peck, his       An undivided 1/20th: Certain        HC-0011      Owned        No
                                           wife and Sitran LLC         property in the Ohio River known as    (Ky) Book
                                                                         Karr Island, which property was     572 Pg 1006
                                                                         granted to Hopson Karr and N.S.
                                                                         Karr by a governor’s patente on
                                                                        12/21/1960 that is recorded in the
                                                                          Henderson Co Bk 202 Pg 266

Deed of Conveyance      11/20/2009   Stephen K. Peck and Sitran LLC       An undivided 1/20th: Certain         HC-0012      Owned        No
                                                                       property in the Ohio River known as    (Ky) Book
                                                                         Karr Island, which property was
                    Case 20-41308     Doc 228       Filed 04/01/20 Entered 04/01/20 23:45:34                     Main Document
                                                             Pg 852 of 1005




 Description/Title of                                                                                             Recording     Owned or   Subject to
     Document             Date                    Parties                     Brief Legal Description            Information     Leased    Mortgage
                                                                          granted to Hopson Karr and N.S.        572 Pg 1010
                                                                           Karr by a governor’s patente on
                                                                          12/21/1960 that is recorded in the
                                                                            Henderson Co Bk 202 Pg 266


   EASEMENTS
    INDIANA


      Easement           3/4/2009    Kenneth W. Burgdorf, as Trustee        4.99 acres located in part of        PC-0005 (IN)    Owned        No
                                        of the Kenneth W. Burgdorf         Northeast Quarter of Section 11,
                                     Revocable Trust and Marilyn T.      Township 7 South, Range 12 West in
                                     Burgdorf, Trustee of the Marilyn          Posey County Indiana.
                                     T. Burgdorf Revocable Trust and
                                                Sitran LLC

Temporary Easement      11/20/2008   Pauline Burgdorf and Sitran LLC       4.99 acres located in part of the     PC-0011 (IN)    Owned        No
                                                                           Northeast Quarter of Section 11,       200804978
                                                                         Township 7 South, Range 12 West in
                                                                               Posey County Indiana.

 Contract To Acquire    11/20/2008   Pauline Burgdorf and Sitran LLC       4.99 acres located in part of the     PC-0011 (IN)    Owned        No
      Easement                                                             Northeast Quarter of Section 11,       200804978
                                                                         Township 7 South, Range 12 West in      Closing date
                                                                               Posey County Indiana.              01/15/2012

   Non-Exclusive        10/20/2009   Southern Indiana Gas and Electric     Part of Southeast Quarter of the      PC-0018 (IN)    Owned        No
    Easement and                     Company an Indiana public utility   Southwest Quarter of Section 22 and      200904540
     Temporary                           company doing business as        part of the Northeast Quarter of the
Construction Easement                   Vectren Energy Delivery of       Northwest Quarter of Section 27 all
                                       Indiana, Inc. and Oeneus LLC       being in Township 6 South, Range
                                        d/b/a SAVATRAN LLC and            12 West in Posey County, Indiana
                   Case 20-41308    Doc 228       Filed 04/01/20 Entered 04/01/20 23:45:34                     Main Document
                                                           Pg 853 of 1005




Description/Title of                                                                                            Recording    Owned or   Subject to
    Document             Date                   Parties                      Brief Legal Description           Information    Leased    Mortgage
                                              Sitran LLC

 Quit Claim Deed                   Southern Indiana Gas and Electric    Part of the West Half of Section 23,     PC-00        Owned        No
                                   Company an Indiana public utility   Township 7 South, Range 12 West in
                                       company doing business as               Posey County Indiana
                                      Vectren Energy Delivery of
                                     Indiana, Inc. and Oeneus LLC
                                      d/b/a SAVATRAN LLC and
                                               Sitran LLC
                  Case 20-41308      Doc 228       Filed 04/01/20 Entered 04/01/20 23:45:34                  Main Document
                                                            Pg 854 of 1005




DEBTOR/GRANTOR:

OENEUS LLC D/B/A SAVATRAN LLC


 Description/Title of                                                                                     Recording          Owned or   Subject to
                         Date                 Parties                     Legal Description
     Document                                                                                            Information          Leased    Mortgage
  INDIANA RAIL
 LOOP AND DOCK


                                   Alfred A. Mohr, as Personal     Undivided 1/2 interest in: SE NW
       Personal                     Representative of the Estate     14-7-12 except 5 feet on north     PC-0001 (IN)
                        1/9/2009                                                                                              Owned        Yes
 Representatives Deed              of Aurelia F. Mohr, deceased    side; NESW 14-7-12 81.742 acres       200900228
                                      and SAVATRAN LLC                       Posey Co. IN

                                                                   Undivided 1/2 interest in: SE NW
                                       Alfred A. Mohr and            14-7-12 except 5 feet on north     PC-0001 (IN)
    Warranty Deed       1/9/2009                                                                                              Owned        Yes
                                       SAVATRAN LLC                side; NESW 14-7-12 81.742 acres       200900227
                                                                             Posey Co. IN

                                    Catherine B. Elbert, Linda
                                     Kay Elbert and Catherine
                                    Charlene Elbert as General
                                                                    45.949 acres As part of the W/2      PC-0002 (IN)
    Warranty Deed       1/8/2010     Partners of the Charles R.                                                               Owned        Yes
                                                                        23-7-12 Posey Co. IN              201000225
                                       Elbert Family Limited
                                   Partnership and SAVATRAN
                                                LLC
                                    Catherine B. Elbert, Linda
                                                                                                         PC-0002 (IN)
                                     Kay Elbert and Catherine
                                                                                                        201000226. This
                                    Charlene Elbert as General     Pt. SE SW 14-7-12 23 acres & Pt.
  Corrective Warranty                                                                                  deed replaces WD
                        1/8/2010     Partners of the Charles R.    NW/4 23-7-12 16.30 acres Posey                             Owned        Yes
         Deed                                                                                         200900675 because
                                       Elbert Family Limited                   Co. IN
                                                                                                       of surveyor's error
                                   Partnership and SAVATRAN
                                                                                                         in description.
                                                LLC
                 Case 20-41308        Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34               Main Document
                                                              Pg 855 of 1005




Description/Title of                                                                                      Recording     Owned or   Subject to
                         Date                  Parties                      Legal Description
    Document                                                                                             Information     Leased    Mortgage
                                    Old National Trust Company
                                     as Successor Trustee under
                                                                     Pt. W/2 Section 23-7-12 70 acres    PC-0003 (IN)
  Trustee's Deed       12/17/2008       the James L. Boerner                                                             Owned        Yes
                                                                              Posey Co. IN                200805149
                                     Revocable Trust Agreement
                                       and SAVATRAN LLC
                                     Kenneth J. Juncker Mary L.
                                      Juncker Emily A Moore
                                    Robert E Moore Jr. Joseph T.
                                      Yount, Beth Ann Folz, as
                                       Guardian ad Litem for
                                     Alexander A. Moore, Dana
                                        M Junker, Rebecca A.
                                         Wildeman, Anna L
                                      Blankenbaker (each afore
                                      mentioned signing as an
                                                                       Pt. NWNW & NENW 14-7-12
                                    individual and as a partner in
                                                                     72.741 acres & 27.986 acres off N     PC-0007
  Warranty Deed        12/15/2008        JARD Group, Allyn                                                               Owned        Yes
                                                                      side NWNW & Pt. N/2 14-7-12         200804974
                                     Simpson, Ronald Simpson,
                                                                             Posey Co. Indiana
                                      Edward L. Thompson, as
                                     personal Representative of
                                        the Estate of Marilyn
                                       Thompson, Nathalie A.
                                         Elderkin, Charles A.
                                     Thompson, L. David Allyn,
                                       Jennifer L. Velasquez,
                                       Matthew D. Allyn and
                                        Michael L. Allyn and
                                          SAVATRAN LLC
                 Case 20-41308        Doc 228      Filed 04/01/20 Entered 04/01/20 23:45:34                   Main Document
                                                            Pg 856 of 1005




Description/Title of                                                                                        Recording        Owned or   Subject to
                         Date                 Parties                      Legal Description
    Document                                                                                               Information        Leased    Mortgage
                                    Kenneth J. Juncker Mary L.
                                      Juncker Emily A Moore
                                    Robert E Moore Jr. Joseph T.
                                     Yount, Beth Ann Folz, as                                             PC-0007 (IN)
                                       Guardian ad Litem for       5 feet on S Line of N/2 NW/4 14-      200804975 This
  Quitclaim Deed       12/15/2008    Alexander A. Moore, Dana      7-12 a distance of 68 1/2 rods and   was an access road    Owned        Yes
                                       M Junker, Rebecca A.                  5 feet in width.            at the top of the
                                        Wildeman, Anna L                                                 Allyn Property.
                                     Blankenbaker (each afore
                                      mentioned signing as an
                                         individual and as a
                                                                                                           PC-0007 (IN)
                                                                                                        200805013 Edward
                                                                                                             Thompson
                                                                                                           inadvertently
                                       Edward l. Thompson,         5 feet on S Line of N/2 NW/4 14-
Correction Quitclaim                                                                                    signed as Personal
                       12/17/2009        Individually and          7-12 a distance of 68 1/2 rods and                         Owned        Yes
        Deed                                                                                             Representative of
                                        SAVATRAN LLC                         5 feet in width.
                                                                                                            the Estate of
                                                                                                             Marilyn K.
                                                                                                        Thompson by PRD
                                                                                                         dated 10/31/2008
                                                                                                           PC-0007 (IN)
                                                                                                        200805012 Edward
                                                                                                             Thompson
                                                                     Pt. NWNW & NENW 14-7-12               inadvertently
                                       Edward l. Thompson,
Correction Warranty                                                72.741 acres & 27.986 acres off N    signed as Personal
                       12/17/2009        Individually and                                                                     Owned        Yes
       Deed                                                         side NWNW & Pt. N/2 14-7-12          Representative of
                                        SAVATRAN LLC
                                                                           Posey Co. Indiana                the Estate of
                                                                                                             Marilyn K.
                                                                                                        Thompson by PRD
                                                                                                         dated 10/31/2008
                 Case 20-41308        Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                      Main Document
                                                              Pg 857 of 1005




Description/Title of                                                                                             Recording         Owned or   Subject to
                         Date                  Parties                       Legal Description
    Document                                                                                                    Information         Leased    Mortgage
                                                                                                                  PC-0008
                                                                                                             (IN)200803305
                                     Gerald G. Mohr and Esther        6.89 acres within SW/4 south of
Rec Memo & Option                                                                                             Option Expires
                       7/16/2008     R. Mohr and Oeneus LLC            Old State Rd. Section 11-7-12                                Owned        Yes
    to Purchase                                                                                             07/16/2010. We do
                                      d/b/a SAVATAN LLC                        Posey Co. IN
                                                                                                            not believe we will
                                                                                                               close on this.
                                    Orval Ungethum and Oeneus
                                                                       Pt. W/2 SW/4 Section 14-7-12           PC-0009 (IN)
  Warranty Deed        3/26/2009      LLC d/b/a SAVATRAN                                                                            Owned        Yes
                                                                         29.302 acres Posey Co. IN             200901384
                                               LLC

                                       Raymond W. Boerner,
                                                                     E/2 SWNW & NENWSW Section
                                     Evelyn Staples, Ronald Lee
                                                                     14-7-12 & 1/2 interest to 5 feet on
                                    Boerner & Ruben F. Roehr as                                               PC-0010 (IN)
  Warranty Deed        12/18/2008                                    S Line N/2 NW/4 14-7-2 a distance                              Owned        Yes
                                    Personal Rep. of the Estate of                                             200805150
                                                                      of 68 1/2 rods and 5 feet in width.
                                      Dorothy Mae Roehr and
                                                                          Posey Co. IN.30.675 acres
                                         SAVATRAN LLC

                                     Margie J. Angermeier (Life
                                    Estate), Glenda S. Elpers(1/3                                             PC-0012 (IN)
                                         remainder); Paul L.                                                200804520 Expires
Rec Memo & Option                                                     8 acres as pt of S/2 SW/4 Section
                       10/14/2008   Angermeier (1/3 remainder);                                             10/14/2010 We do        Owned        Yes
    to Purchase                                                             10-7-12 Posey Co IN
                                     Glenn V. Angermeier (1/3                                               not believe we will
                                    remainder) and Oeneus LLC                                                  close on this.
                                      d/b/a SAVATRAN LLC
                                                                                                               PC-00014 (IN)
                                                                                                            200901505 Arthur
                                     Arthur W. Boerner, as life                                             reserves life estate
                                                                        S/2 NWNE 14-7-12 & all of
                                    tenant, Elizabeth A. Howery                                              in house and 1 ac
                                                                     SWNE east of Public Road 40.843
  Warranty Deed        3/31/2009     and Sharon L. Bauman and                                                tract B. Reserves      Owned        Yes
                                                                      and 1acre part of SWNE 14-7-12
                                         Oenues LLC d/b/a                                                   road easement for
                                                                             Posey Co Indiana
                                         SAVATRAN LLC                                                         access to house;
                                                                                                              right to farm for
                                                                                                            $1.00 any portion
                 Case 20-41308      Doc 228       Filed 04/01/20 Entered 04/01/20 23:45:34                   Main Document
                                                           Pg 858 of 1005




Description/Title of                                                                                      Recording          Owned or   Subject to
                         Date                Parties                    Legal Description
    Document                                                                                             Information          Leased    Mortgage
                                                                                                           left after
                                                                                                         construction.




                                                                                                          PC-0014 (IN)
                                    Arthur W. Boerner, as life
                                                                                                       2009-01504 this is
                                   tenant, Elizabeth A. Howery   5 feet on S Line of N/2 NW/4 14-
                                                                                                         an access road
 Quitclaim Deed        3/31/2009    and Sharon L. Bauman and     7-12 a distance of 68 1/2 rods and                           Owned        Yes
                                                                                                        across the top of
                                        Oenues LLC d/b/a                   5 feet in width.
                                                                                                          the Alyn heirs
                                        SAVATRAN LLC
                                                                                                             property.
                                                                                                          PC-0014 (IN)
                                    Arthur W. Boerner, as life                                        Boerner Heirs own
                                                                    S/2 NWNE 14-7-12 & all of
                                   tenant, Elizabeth A. Howery                                        minerals would not
 Non-Penetration                                                 SWNE east of Public Road 40.843
                       3/31/2009    and Sharon L. Bauman and                                          sell this keeps them    Owned        Yes
   Agreement                                                      and 1acre part of SWNE 14-7-12
                                        Oenues LLC d/b/a                                                from having any
                                                                         Posey Co Indiana
                                        SAVATRAN LLC                                                  development of the
                                                                                                             minerals.
                                                                                                          PC-0014 (IN)
                                    Arthur W. Boerner, as life                                        200901506 Access
                                                                    S/2 NWNE 14-7-12 & all of
                                   tenant, Elizabeth A. Howery                                         easement to house
                                                                 SWNE east of Public Road 40.843
     Easement          3/31/2009    and Sharon L. Bauman and                                          and 1 ac and access     Owned        Yes
                                                                  and 1acre part of SWNE 14-7-12
                                        Oenues LLC d/b/a                                               to 30 acres that is
                                                                         Posey Co Indiana
                                        SAVATRAN LLC                                                    land locked after
                                                                                                           construction.
                  Case 20-41308       Doc 228       Filed 04/01/20 Entered 04/01/20 23:45:34                    Main Document
                                                             Pg 859 of 1005




 Description/Title of                                                                                          Recording        Owned or   Subject to
                          Date                 Parties                      Legal Description
     Document                                                                                                 Information        Leased    Mortgage
                                                                                                            PC-0014 (IN)
                                                                                                              200901507
                                                                                                          Promissory note to
    Real Estate
                                     Arthur W. Boerner, as life                                           Elizabeth Howery
 Mortgage, Security                                                    S/2 NWNE 14-7-12 & all of
                                    tenant, Elizabeth A. Howery                                              and Sharon L
Agreement, Collateral                                               SWNE east of Public Road 40.843
                        3/31/2009    and Sharon L. Bauman and                                             Bauman 1,075,000.      Owned        Yes
Assignment of Rents                                                  and 1acre part of SWNE 14-7-12
                                         Oenues LLC d/b/a                                                   paid as follows
  and Leases, and                                                           Posey Co Indiana
                                         SAVATRAN LLC                                                        287,500 yr1,
   Fixture Filing
                                                                                                             275,000 yr 2
                                                                                                              262500 yr 3
                                                                                                                1075000
                                    Larry E. Orth 5/12 int. Agnes
                                      L. York as Trustee of the
                                     Agnes L. York Revocable
Rec Memo & Option                                                   Pt. SWSE 11-7-12 containing 0.90           PC-0015
                        2/27/2009       Trust Agreement 5/12                                                                     Owned        Yes
    to Purchase                                                                  acres                        200900926
                                    interest; Vickie L. Orth 2/12
                                      interest and Oeneus LLC
                                      d/b/a SAVATRAN LLC

   EASEMENTS
    INDIANA

                                      Oeneus LLC to Southern
                                                                                                             PC-0017 (IN)
                                      Indiana Gas and Electric
                                                                      Pt. NE/4 14-7-12 Posey Co IN        Electric power line
      Easement          9/16/2009    Company and Indiana corp                                                                    Owned        No
                                                                    containing 0.28 acres more or less.   easement Gibson to
                                        d/b/a Vectren Energy
                                                                                                            Brown 345 line.
                                      Delivery of Indiana, Inc.
                 Case 20-41308         Doc 228       Filed 04/01/20 Entered 04/01/20 23:45:34                   Main Document
                                                              Pg 860 of 1005




Description/Title of                                                                                          Recording       Owned or   Subject to
                          Date                  Parties                      Legal Description
    Document                                                                                                 Information       Leased    Mortgage

                                       Southern Indiana Gas and
                                                                       Part of Southeast Quarter of the
                                     Electric Company an Indiana
  Non-Exclusive                                                       Southwest Quarter of Section 22
                                     public utility company doing
  Easement and                                                        and part of the Northeast Quarter
                                      business as Vectren Energy                                            PC-0018 (IN)
    Temporary           10/20/2009                                       of the Northwest Quarter of                           Owned        No
                                     Delivery of Indiana, Inc. and                                           200904540
   Construction                                                      Section 27 all being in Township 6
                                          Oeneus LLC d/b/a
    Easement                                                           South, Range 12 West in Posey
                                     SAVATRAN LLC and Sitran
                                                                               County, Indiana
                                                  LLC

                                      Savatran LLC, to Southern
                                       Indiana Gas and Electric
                                                                        Pt N2 of NW Section 14,
Electric Distribution                 Company an Indiana public                                           PC-0021 (IN) Need
                        7/13/2010                                    Township 7 South, Range 12 West                           Owned        No
  Line Easement                         utility company doing                                              Recorded Copy
                                                                         Posey County, Indiana
                                      business as Vectren Energy
                                       Delivery of Indiana, Inc.
                                       Southern Indiana Gas and
                                     Electric Company an Indiana
                                     public utility company doing    Pt. W2 NE Section 14, Township 7
Electric Distribution                                                                                     PC-0022 (IN) Need
                        7/13/2010     business as Vectren Energy        South, Range 12 West. Posey                            Owned        No
  Line Easement                                                                                            Recorded Copy
                                     Delivery of Indiana, Inc. and            County, Indiana
                                          Oeneus LLC d/b/a
                                          SAVATRAN LLC

SUGAR CAMP TO
 McLEANSBORO
   RAIL LINE
   ILLINOIS

                                       Kelly Markus & Gina                                                HC-0001 BK 216
                                                                     Pt. NESE 3-5-5 Hamilton County
     Easement           10/17/2008   Markus to Oeneus LLC d/b/a                                           Pg 156 Rail Road     Owned        Yes
                                                                              IL 4.87 acres
                                         SAVATRAN LLC                                                        Easement.
                 Case 20-41308       Doc 228       Filed 04/01/20 Entered 04/01/20 23:45:34                Main Document
                                                            Pg 861 of 1005




Description/Title of                                                                                    Recording          Owned or   Subject to
                         Date                 Parties                    Legal Description
    Document                                                                                           Information          Leased    Mortgage
                                     Gerald Spihlman & Judith                                        HC-0001 BK 216
                                                                  Pt. NESE 3-5-5 Hamilton County
     Easement          10/17/2008    Spihlman to Oeneus LLC                                          Pg 147 Rail Road       Owned        Yes
                                                                           IL 4.87 acres
                                     d/b/a SAVATRAN LLC                                                 Easement.
                                     Thomas Markus & Jeanete                                          HC-0001 Bk 216
                                                                  Pt. NESE 3-5-5 Hamilton County
     Easement          10/24/2008   Markus to Oeneus LLC d/b/a                                        Pg 163 Rail Road      Owned        Yes
                                                                           IL 4.87 acres
                                        SAVATRAN LLC                                                      Easement
                                                                                                      HC-0002 Bk 217
                                    White Oak Resources Land,                                            Pg 732 Initial
                                                                  Pt. SW/4 & SE/4 6-5-5 Hamilton
     Easement          7/24/2008    LLC to Oeneus LLC d/b/a                                           Option was with       Owned        Yes
                                                                  County IL containing 11.45 acres
                                          SAVATRAN                                                    Larry Myers who
                                                                                                     sold to White Oak.
                                                                                                      HC-0004 Traded
                                                                                                       65.63 acres and
                                                                                                      8.73 acres of the
                                                                                                     W/2 NW/4 28-5-5
                                                                  Pt. W/2 NW/4 28-5-5 containing 3    to Clark. Traded
                                    Charles R. Moore & Nani
                                                                  acres more or Less Pt. SWNE 29-    137 acres in NE/4
  Warranty Deed         2/4/2008    Sue Moore to Oeneus LLC                                                                 Owned        Yes
                                                                   5-5 containing 13 acres more or    29-5-5 Hamilton
                                     d/b/a SAVATRAN LLC
                                                                                less.                 Co. IL to Burris.
                                                                                                          Remaining
                                                                                                       property for wet
                                                                                                       lands mitigation
                                                                                                           273-252
                                    David Bert Lemke & Shirley
                                                                  Pt. N/2 SE/4 1-T5S-R5E Hamilton    HC-0005 Bk 215
     Easement          9/24/2009     K. Lemke to Oeneus LLC                                                                 Owned        Yes
                                                                       Co. IL containing 10.16 ac        Pg 801
                                      d/b/a SAVATRAN LLC
                                      Terri S. Irvin, Successor
                                     Trustee to the Kenneth C.                                       HC-0006 Bk 273
                                                                  SW NW; NW SW 1-T5S-R5E; 40
                                      Myers and Eula P. Myers                                        Pg 22 Traded part
  Warranty Deed        12/19/2007                                  acres within E/2 NE/4 and E/2                            Owned        Yes
                                     Revocable Trust to Oeneus                                       of this property to
                                                                  NE/4 11-T5S-R5E Hamilton Co IL
                                      LLC d/b/a SAVATRAN                                              Kenneth Willis.
                                                 LLC
                 Case 20-41308       Doc 228       Filed 04/01/20 Entered 04/01/20 23:45:34                    Main Document
                                                            Pg 862 of 1005




Description/Title of                                                                                        Recording           Owned or   Subject to
                         Date                 Parties                      Legal Description
    Document                                                                                               Information           Leased    Mortgage
                                                                                                         HC-0008 Bk 273
                                     Grover C. Galloway and
                                                                   W/2 SWSE; and E/2 SW/4 3-T5S-         Pg 812 6.10 acres
                                     Mildred F. Galloway to
  Warranty Deed        5/28/2008                                    R5E Hamilton Co IL containing          used for rail.        Owned        Yes
                                       Oeneus LLC d/b/a
                                                                             100 acres                  Farming agreement
                                       SAVATRAN LLC
                                                                                                          Kenny Waier.
                                    Kenneth P. Willis & Wilma
 Special Warranty                                                  South 5 acres of NESE 2-T5S-R5E       HC-0011 Bk 273
                       4/21/2008    June Willis to Oeneus LLC                                                                    Owned        Yes
      Deed                                                                  Hamilton Co. IL                  Pg614
                                        d/b/a SAVATRAN
                                   Wilma June Willis to Oeneus
                                                                    Pt. NW SE 3-T5S-R5E Hamilton         HC-0012 Bk 273
  Warranty Deed        2/28/2008    LLC d/b/a SAVATRAN                                                                           Owned        Yes
                                                                    County IL containing 7.02 acres          Pg 321
                                              LLC
                                   Garry R. Heil & Karla Heil to
                                                                   Pt. W/2 SW 16-T5S-R5E Hamilton        HC-0014 Bk216
     Easement          11/3/2008        Oeneus LLC d/b/a                                                                         Owned        Yes
                                                                      Co. IL containing 10.08 acres         Pg 221
                                          SAVATRAN
                                                                                                         HC-0015 Bk 274
                                     David Willett & Robin          Undivided 1/2 interest pt SE/4 9-
                                                                                                           Pg 445 Willett
  Warranty Deed        9/15/2009   Willett to Oeneus LLC d/b/a        T5S-R5E Hamilton Co. IL                                    Owned        Yes
                                                                                                         retained first right
                                           SAVATRAN                       containing 40 acres
                                                                                                             of refusal.
                                                                                                         HC-0016 Bk 274
                                                                                                          Pg 535 The rail
                                   Rickey L. Denham to Oeneus                                            line goes through
                                                                   Pt. SE/4 9-T5S-R5E Hamilton Co.
  Warranty Deed        9/30/2008     LLC d/b/a SAVATRAN                                                    Mr. Denham's          Owned        Yes
                                                                        IL containing 3.36 acres
                                              LLC                                                       residence we had to
                                                                                                             replace the
                                                                                                        residence and barn.

                                    Melinda Hunter to Oeneus        Undivided 1/5 interest to pt NW      HC-0017 Bk 273
  Warranty Deed        2/5/2008     LLC d/b/a SAVATRAN              SE 3-T5S-R5E Hamilton Co. IL          Pg 290 Bennett         Owned        Yes
                                             LLC                          containing 7 acres.                 Heirs.
                 Case 20-41308       Doc 228       Filed 04/01/20 Entered 04/01/20 23:45:34                 Main Document
                                                            Pg 863 of 1005




Description/Title of                                                                                      Recording         Owned or   Subject to
                         Date                 Parties                    Legal Description
    Document                                                                                             Information         Leased    Mortgage
                                                                                                       HC-0018 Bk 273
                                                                                                        Pg 293 Bennett
                                                                                                      Heirs. We deed her
                                     Joyce Annette Medley to     Undivided 1/20 interest to pt NW
                                                                                                       oil and gas back
  Warranty Deed         2/4/2008        Oeneus LLC d/b/a         SE 3-T5S-R5E Hamilton Co. IL                                Owned        Yes
                                                                                                        Quitclaim Deed
                                        SAVATRAN LLC                  containing 7.02 acres
                                                                                                       273/478 We did
                                                                                                       not option the oil
                                                                                                            and gas.

                                                                   Pt. SW/4 31-5-5 & pt NW/4 6-        HC-0019 Bk 275
                                                                 T5S-R5E containing 9.27 acres; Pt.    Pg 506 Both rail
                                    Hobart J. Campbell & Helen
                                                                 SW/4 31-T5S-R5E containing 1.84       right of way and
  Warranty Deed         5/7/2009    B. Campbell to Oeneus LLC                                                                Owned        Yes
                                                                     acres; Pt NW/4 6-T5S-R5E           extra footage at
                                      d/b/a SAVATRAN LLC
                                                                 containing 1.28 acres Hamilton Co.    Macedonia road
                                                                                 IL                        crossing.

                                                                                                      HC-0020 Retained
                                       Daniel R. Tennyson to     Pt. NW SE 6-T5S-R6E 3.21 acres        only rail right of
  Warranty Deed        10/10/2006       Oeneus LLC d/b/a                Hamilton Co. IL                   way traded         Owned        Yes
                                        SAVATRAN LLC                        270-595                      remainder to
                                                                                                            Kirsch.
                                        Oeneus LLC d/b/a                                              HC-0020 Bk 270
 Special Warranty                                                  Pt. NEWS 6-T5S-R6E 13.003
                       05/052009     SAVATRAN LLC to Alan                                               Pg 595 Portion       Owned        Yes
      Deed                                                             acres Hamilton Co. IL
                                     Kirsch and Denise Kirsch                                          traded to Kirsch.
                                     Wendell Myers & Judith                                           HC-0021 Bk 216
                                                                  Pt. NESW 1-T5S-R5E Hamilton
     Easement          2/17/2009    Myers to Oeneus LLC d/b/a                                         Pg 654 Rail right      Owned        Yes
                                                                       Co. IL containing 5.37
                                       SAVATRAN LLC                                                   of way easement

                                    Marilyn Ann Lynn to Oeneus   Undivided 1/20 interest to pt NW      HC-0022 Bk 273
  Warranty Deed         2/5/2008     LLC d/b/a SAVATRAN          SE 3-T5S-R5E Hamilton Co. IL           Pg 287 Bennett       Owned        Yes
                                               LLC                    containing 7.02 acres                 Heirs
                 Case 20-41308       Doc 228      Filed 04/01/20 Entered 04/01/20 23:45:34                  Main Document
                                                           Pg 864 of 1005




Description/Title of                                                                                        Recording        Owned or   Subject to
                         Date                Parties                     Legal Description
    Document                                                                                               Information        Leased    Mortgage
                                                                                                       HC-0023 Bk 274
                                                                                                        Pg 667 Bennett
                                                                                                     Heirs; Mr. Bennett
                                    Roy Dean Bennett to Oeneus    Undivided 1/5 interest to pt NW    refused to close we
  Warranty Deed        10/25/2008    LLC d/b/a SAVATRAN           SE 3-T5S-R5E Hamilton Co. IL            filed Specific      Owned        Yes
                                              LLC                       containing 7 acres.               Performance
                                                                                                         Complaint Mr.
                                                                                                          Bennett then
                                                                                                       decided to close.
                                                                                                       HC-0024 Bk 273
                                      Mary Ellen Tennyson to      Undivided 1/5 interest to pt NW       Pg. 342 Bennett
  Warranty Deed        2/20/2008        Oeneus LLC d/b/a          SE 3-T5S-R5E Hamilton Co. IL       Heirs/ Mrs. Bennett      Owned        Yes
                                       SAVATRAN LLC                     containing 7 acres.            has the option to
                                                                                                           repurchase.
                                                                                                       HC-0025 Bk 273
                                    Robert L Bennett to Oeneus    Undivided 1/5 interest to pt NW       Pg. 318 Bennett
  Warranty Deed        2/20/2008     LLC d/b/a SAVATRAN           SE 3-T5S-R5E Hamilton Co. IL       Heirs/ Mr. Bennett       Owned        Yes
                                              LLC                       containing 7 acres.            has the option to
                                                                                                           repurchase.
                                                                                                       HC-0027 Bk 276
                                    Joseph Rexing & Liudmyla                                         Pg 628 Mr. Rexing
                                                                  22.68 acres all in Township 5 S.
  Warranty Deed        12/11/2009   Rexing to Oeneus LLC d/b/a                                          Refused to close      Owned        Yes
                                                                    Range 5 E Hamilton Co IL
                                        SAVATRAN LLC                                                 filed suit forced to
                                                                                                             close etc.
                                                                                                      HC-0027 Bk Pg
                                       Oeneus LLC d/b/a           Pt. E/2 SW & pt. SENW of 20-
 Special Warranty                                                                                         Remainder of
                       12/11/2009   SAVATRAN LLC to Joseph          T5S-R5E Hamilton Co. IL                                   Owned        Yes
      Deed                                                                                               Judith Gregory
                                           Rexing                     containing 112.13 acres
                                                                                                       traded to Rexing.
                                                                                                       HC-0028 Bk 271
                                                                                                        Pg 93 Retained
                                                                 Surface only pt W/2 NW and N 10
                                    Betty Gibbs to Oeneus LLC                                           only rail right of
  Warranty Deed        2/14/2007                                 Ac NWSW 10-T5S-R5E Hamilton                                  Owned        Yes
                                     d/b/a SAVATRAN LLC                                                     way traded
                                                                   Co. IL containing 11.83 acres
                                                                                                      remaining to Alan
                                                                                                         Kirsch Special
                 Case 20-41308        Doc 228       Filed 04/01/20 Entered 04/01/20 23:45:34                    Main Document
                                                             Pg 865 of 1005




Description/Title of                                                                                        Recording           Owned or   Subject to
                         Date                  Parties                      Legal Description
    Document                                                                                               Information           Leased    Mortgage
                                                                                                         Warranty Deed Bk.
                                                                                                            275 Pg 503




                                                                                                          HC-0029 Bk 212
                                                                                                         Pg 209 Mr. Holms
                                    Jim Holms & Ruth Holms to        Pt. SW/4 & pt. W/2 SE/ 2-T5S-       has the right to put
     Easement          11/28/2006        Oeneus LLC d/b/a            R5E Hamilton Co. IL containing        a portion of his      Owned        Yes
                                        SAVATRAN LLC                          13.17 acres                property to us upon
                                                                                                          completion of the
                                                                                                                 rail.
                                                                                                          HC-0030 Bk 274
                                                                                                           Pg 401 Kenny
                                    Judith A. Peters and Charles      Undivided 1/2 interest in South
                                                                                                          Waier has 10 year
  Warranty Deed         9/5/2009     W. Peters to Oeneus LLC        28.25 acres of W/2 SW 3-T5S-R5E                              Owned        Yes
                                                                                                           farming lease.
                                      d/b/a SAVATRAN LLC                     Hamilton Co. IL
                                                                                                         Must relocate RLC
                                                                                                             water main.
                                     Jerry L. Stiverson; Paula J.                                         HC-0032 Bk 274
                                    Stiverson as individuals and                                           Pg 463 Kenny
                                                                      Undivided 1/2 interest in South
                                    as co-trustees of the Paula J                                          Waier has 10 yr
  Warranty Deed         9/3/2009                                    28.25 acres of W/2 SW 3-T5S-R5E                              Owned        Yes
                                     Stiverson Trust to Oeneus                                             farming lease.
                                                                             Hamilton Co. IL
                                      LLC d/b/a SAVATRAN                                                 Must relocate RLC
                                                 LLC                                                         water main.
                                       Michael Hutchcraft and                                             HC-0033 Bk 274
                                                                     Undivided 1/2 interest in pt SE/4
Corrected Warranty                  Melissa Hutchcraft to Oeneus                                            Pg 412 Deed
                        9/5/2008                                    of 9-T5S-R5E containing 40 acres                             Owned        Yes
       Deed                           LLC d/b/a SAVATRAN                                                 Corrected to waive
                                                                            Hamilton Co IL
                                                 LLC                                                      homestead rights.
                 Case 20-41308      Doc 228       Filed 04/01/20 Entered 04/01/20 23:45:34               Main Document
                                                           Pg 866 of 1005




Description/Title of                                                                                  Recording           Owned or   Subject to
                         Date                Parties                   Legal Description
    Document                                                                                         Information           Leased    Mortgage
                                                                                                   HC-0034 Bk 271
                                                                                                  Pg 494 Rail design
                                                                                                  went through Ms.
                                                                                                    Dennis house;
                                                                                                   house purchased
                                    Laura Dennis f/k/a Laura                                        and moved by
                                                                 Pt NW NW 21-T5s-R5E being
  Warranty Deed        5/17/2007    Lane to Oeneus LLC d/b/a                                       Garry Heil. 0.17        Owned        Yes
                                                                 300ft x 160ft. Hamilton Co. IL
                                          SAVATRAN                                                   acres of this
                                                                                                     property was
                                                                                                     conveyed to
                                                                                                   Dennis Smith by
                                                                                                   Special Warranty
                                                                                                    Deed 275/537
                                     Katherine McRoy f/k/a
                                    Katherine Smith; Donald
                                   McRoy; Dennis L. Smith and   Pt. NW NW & Pt. NENW 21-T5S-       HC-0035 Bk275
  Warranty Deed        5/8/2009                                                                                            Owned        Yes
                                    Judy A. Smith to Oeneus      R5E 3.37 acres Hamilton Co. IL       Pg 541
                                    LLC d/b/a SAVATRAN
                                              LLC

                                    Michael D. Burris & Tina     Pt. SW/4 21 & Pt. SW NW 21-
                                                                                                   HC-0039 Bk 274
  Warranty Deed        7/30/2008   Burris to Oeneus LLC d/b/a    T5S-R5E Hamilton County IL                                Owned        Yes
                                                                                                       Pg237
                                       SAVATRAN LLC                   containing 15.72 acres

                                       Oeneus LLC d/b/a                                            HC-0039 Bk 274
 Special Warranty                    SAVATRAN LLC to             Pt. NE/4 29-T5S-R5E Hamilton       Pg234 Traded pt
                       7/30/2008                                                                                           Owned        Yes
      Deed                          Michael D. Burris & Tina     Co. IL containing 136.17 acres      Charlie Moore
                                             Burris                                                property HC-0004
                                                                                                    HC-0040 274 Pg
                                                                                                        715 Deed
                                     Robert J. Gray & Denise
                                                                Pt. SE/4 9-T5S-R5E Hamilton Co.   restriction of single
  Warranty Deed        11/6/2008    Gray to Oeneus LLC d/b/a                                                               Owned        Yes
                                                                       IL containing 51.93          family residence
                                       SAVATRAN LLC
                                                                                                   and grain farming
                                                                                                    only Mr. Gray's
                 Case 20-41308       Doc 228      Filed 04/01/20 Entered 04/01/20 23:45:34                  Main Document
                                                           Pg 867 of 1005




Description/Title of                                                                                     Recording           Owned or   Subject to
                         Date                Parties                     Legal Description
    Document                                                                                            Information           Leased    Mortgage
                                                                                                     son has a first right
                                                                                                         of refusal.




                                      Charles M. Bowers &
                                                                  NE SE; W/2 SE NE 30-T5S-R5E
                                    Tammy Bowers to Oeneus                                            HC-0041 Bk 272
  Warranty Deed        7/26/2007                                   Hamilton Co. IL containing 60                              Owned        Yes
                                     LLC d/b/a SAVATRAN                                                    Pg 1
                                                                              acres.
                                              LLC

                                   Jeffrey A. Lueke and Michele   Pt. NW/4 16-T5S-R5E 2.65 acres;
                                                                                                      HC-0042 Bk 274
  Warranty Deed        10/2/2008     L. Lueke to Oeneus LLC        PT SWSE 9-T5S-R5E 0.02 acre                                Owned        Yes
                                                                                                          Pg 587
                                      d/b/a SAVATRAN LLC                  Hamilton Co. IL

                                   Jeffrey A. Lueke and Michele
                                                                  Pt. NW/4 16-T5S-R5E 8.64 acres        HC-0042 Bk
  Warranty Deed        11/6/2007     L. Lueke to Oeneus LLC                                                                   Owned        Yes
                                                                         Hamilton Co. IL                 272/710
                                      d/b/a SAVATRAN LLC
                                   Alan Kirsch & Denise Kirsch    Pt. NE/4 6-T5S-R6E & PT SESE
                                                                                                          HC-0043
  Warranty Deed        5/5/2009        to Oeneus LLC d/b/a        31-T4S-R6E 2.61 acres Hamilton                              Owned        Yes
                                                                                                         Bk275/534
                                        SAVATRAN LLC                          Co. IL

                                                                  8.33 acres pt SESE and E/2 SWSE
                                   Alan Kirsch & Denise Kirsch    9-T5S-R5E; 7.36 acres pt NE/4 6-
                                                                                                        HC-0043 Bk
     Easement          5/5/2009        to Oeneus LLC d/b/a         T5S-R6E & SESE 31-T4S-R6E;                                 Owned        No
                                                                                                         217/300
                                        SAVATRAN LLC                  2.70 ac pt NE 6-T5S-R6E
                                                                           Hamilton Co. IL

                                                                    Pt. W/2 NW/4 10-T5S-R5E              HC-0043 Bk
                                       Oeneus LLC d/b/a           Hamilton Co. IL containing 11.51    275/503 (Traded
 Special Warranty
                       5/5/2009     SAVATRAN LLC to Alan           & Pt W/2 NW/4 10-T5S-R5E            the Betty Gibbs        Owned        Yes
      Deed
                                    Kirsch and Denise Kirsch      containing 66.12 acres Hamilton    property less rail to
                                                                              Co. IL                       Kirsch)
                 Case 20-41308       Doc 228      Filed 04/01/20 Entered 04/01/20 23:45:34                 Main Document
                                                           Pg 868 of 1005




Description/Title of                                                                                       Recording       Owned or   Subject to
                         Date                Parties                     Legal Description
    Document                                                                                              Information       Leased    Mortgage
                                                                                                         HC-0043 Bk
                                       Oeneus LLC d/b/a                                                275/499 (Traded
 Special Warranty                                                Pt. NW SE 6-T5S-R6E Hamilton
                       5/5/2009     SAVATRAN LLC to Alan                                               the remainder of     Owned        Yes
      Deed                                                       County IL containing 13.03 acres;
                                    Kirsch and Denise Kirsch                                             the Tennyson
                                                                                                     property to Kirsch)
                                                                                                      HC-0044 274/711
                                     Kenneth A. Waier a/k/a
                                                                 Pt SWSW & NWSW 32-T4S-R6E            (Kenny Waier has
                                    Kenneth Waier to Oeneus
  Warranty Deed        11/6/2008                                 Hamilton Co IL containing 18.17         10 yr farming      Owned        Yes
                                    LLC d/b/a SAVATRAN
                                                                              acres                        agreement
                                             LLC
                                                                                                     Galloway property)
                                                                                                         HC-0045 Bk
                                                                                                       275/462 Rail line
                                   James Lee Maller to Oeneus
                                                                 Pt SW/4 31-T5S-R5E Hamilton Co       went through Mr.
  Warranty Deed        4/26/2009     LLC d/b/a SAVATRAN                                                                     Owned        Yes
                                                                      IL containing 5.11 acres        Mallers house and
                                              LLC
                                                                                                        barn both have
                                                                                                        been removed.
                                                                                                     HC-0045 Bk 2009-
                                                                                                       1998 Property to
                                      Oeneus LLC d/b/a
 Special Warranty                                                 Pt. NE SE 36-T5S-R5E Franklin           purchase by
                       4/26/2009   SAVATRAN LLC to James                                                                    Owned        Yes
      Deed                                                            Co IL containing 5 acres        SAVATAN 2009-
                                         Lee Maller
                                                                                                     1206 to replace Mr.
                                                                                                      Mallers homesite.
                                   Norman D. Melvin & Patricia      Pt. S/2 SE/4 20-T5S-R5E
                                                                                                        HC-0046 Bk
  Warranty Deed        3/25/2009    K. Melvin to Oeneus LLC      Hamilton Co IL containing 12.14                            Owned        Yes
                                                                                                         275/310
                                     d/b/a SAVATRAN LLC                       acres

                                   Gary Kearnery a/k/a Gary W.     Pt. SWSW 20-T5S-R5E & pt
                                                                                                          HC-0047
  Warranty Deed        4/3/2009     Kearnery to Oeneus LLC        NWNW 29-T5S-R5E Hamilton                                  Owned        Yes
                                                                                                         Bk275/362
                                     d/b/a SAVATRAN LLC              Co. IL containing 5acres

                                                                                                          HC-0049
                                   Dale Miller & Denise Miller      Pt. E/2 NW/4 31-T5S-R5E           Bk274/873 We
  Warranty Deed        12/8/2008      to Oeneus LLC d/b/a         Hamilton Co. IL containing 7.51    agreed by letter to    Owned        Yes
                                       SAVATRAN LLC                           acres                     relocate Mr.
                                                                                                     Millers water line.
                 Case 20-41308       Doc 228       Filed 04/01/20 Entered 04/01/20 23:45:34                 Main Document
                                                            Pg 869 of 1005




Description/Title of                                                                                       Recording        Owned or   Subject to
                         Date                 Parties                    Legal Description
    Document                                                                                              Information        Leased    Mortgage
                                                                                                         HC-0050 Bk
                                                                                                      275/109 We agreed
                                    John M. Zelhart to Oeneus                                           to build him an
                                                                   Pt. NE/4 30-T5S-R5E Hamilton
  Warranty Deed         2/6/2009     LLC d/b/a SAVATRAN                                                 access road and      Owned        Yes
                                                                       Co IL containing 1.0 acre
                                              LLC                                                     gave him perpetual
                                                                                                          access to his
                                                                                                            property.
                                       Donald G. Zelhart &
                                     Margaret R. Zelhart as co-                                          HC-0051 Bk
                                                                  Undivided 1/2 interest to pt NE/4
                                      Trustees of Donald G.                                           275/663 Agreed to
  Warranty Deed         3/6/2009                                   30-T5S-R5E Hamilton Co IL                                 Owned        Yes
                                      Zelhart Living Trust to                                         gravel access road
                                                                       containing 4.11 acres
                                        Oeneus LLC d/b/a                                              & repurchase rights
                                       SAVATRAN LLC
                                                                                                         HC-0053 Bk
                                    Judith G. Gregory to Oeneus                                       274/52 Traded 112
                                                                   6 acres pt SESW 20-T5S-R5E
  Warranty Deed        6/24/2008      LLC d/b/a SAVATRAN                                                  acres of this      Owned        Yes
                                                                          Hamilton Co IL
                                                LLC                                                     property to Joe
                                                                                                            Rexing.
                                                                                                            HC-0056
                                                                                                           Bk274/141
                                    David Williams & Brandee
                                                                  Pt. NWNW 29-T5S-R5E Hamilton         Purchased house
  Warranty Deed        7/16/2008     Williams to Oeneus LLC                                                                  Owned        Yes
                                                                         Co IL 0.65 acres             rail going through
                                     d/b/a SAVATRAN LLC
                                                                                                        garage. House
                                                                                                             rented.
                                       SAVATRAN LLC to            Pt. NWNW 29-T5S-R5E Hamilton          HC-57 Rented
Rental Agreement       9/12/2008                                                                                             Leased       No
                                         William Webb                    Co IL 0.65 acres                    house.
                                                                                                         HC-0058 Bk
                                                                                                          274/664 Mr.
                                      Alva James Bennett to        Undivided 1/20th Pt NW SE 3-
                                                                                                      Bennett would not
  Warranty Deed        10/24/2008      Oeneus LLC d/b/a             T5S-R5E Hamilton Co. IL                                  Owned        Yes
                                                                                                          close. Filed
                                       SAVATRAN LLC                    containing 7.02 acres
                                                                                                       partition suite to
                                                                                                         force closing.
                 Case 20-41308        Doc 228       Filed 04/01/20 Entered 04/01/20 23:45:34                   Main Document
                                                             Pg 870 of 1005




Description/Title of                                                                                         Recording        Owned or   Subject to
                         Date                  Parties                      Legal Description
    Document                                                                                                Information        Leased    Mortgage
                                                                                                            HC-0059 Bk
                                    Wanda G. Downs & Cecil L        Undivided 1/2 interest pt NE/4 30-   275/667 Agreed to
  Warranty Deed         3/7/2009    Downs to Oeneus LLC d/b/a          T5S-R5E Hamilton Co IL            gravel access road    Owned        Yes
                                       SAVATRAN LLC                       containing 4.11 acres             & repurchase
                                                                                                               rights.
                                         Robert A. Williams &                                              FC-0023 2008-
Corrected Warranty                      Barbara A. Williams to      Pt. SENE 1-T6S-R4E Franklin Co        6300 purchased
                       11/17/2008                                                                                              Owned        Yes
       Deed                                Oeneus LLC d/b/a                IL containing 4.474            house; house has
                                          SAVATRAN LLC                                                     been removed.
                                       James Gregory Payne, as
                                                                    Pt. E/2 NE 11-T6S-R4E & pt W/2
                                       trustee of James Gregory                                           FC-0024 2008-
  Warranty Deed        10/10/2008                                   NW 12-T6S-R4E Franklin Co. IL                              Owned        Yes
                                     Payne Trust to Oeneus LLC                                                5818
                                                                          containing 15.33 acres
                                       d/b/a SAVATRAN LLC
                                       James Gregory Payne, as
                                    trustee of Zulene Payne Trust   Pt. SW NE 11-T6S-R4E Franklin         FC-0025 2008-
  Warranty Deed        10/10/2008                                                                                              Owned        Yes
                                         to Oeneus LLC d/b/a           Co. IL containing 6.44 acres           5817
                                          SAVATRAN LLC
                                     Reba L. Stokes Revocable
                                                                     Pt. SW NE; NWSE;SWSE &
                                      Living Trust by Reba L.
                                                                      SESW 1-T6S-R4E NWNE;                FC-0029 2008-
  Warranty Deed        1/11/2008    Stokes & Kenneth D. Stokes                                                                 Owned        Yes
                                                                     NENW; N3/4 SE NW 12-T6S-                 0603
                                       to Oeneus LLC d/b/a
                                                                        R4E Franklin County IL
                                        SAVATRAN LLC
                                    Morris R. Clark & Karan S.
                                                                    NE NE 1-T6S-R4E Franklin Co IL        FC-0031 2008-
  Warranty Deed         3/6/2008    Clark to Oeneus LLC d/b/a                                                                  Owned        Yes
                                                                              40 acres                        1248
                                        SAVATRAN LLC
                                    Morris R. Clark & Karan S.
                                                                     0.685 of the SE SE 36 T5S-R4E        FC-0031 2008-
     Easement           3/6/2008    Clark to Oeneus LLC d/b/a                                                                  Owned        Yes
                                                                             Franklin Co IL                   1249
                                        SAVATRAN LLC
                                                                                                              FC-0031
                                        Oeneus LLC d/b/a/             Pt. W/2 NW/4 28 T5S-R5E            Bk273/361 Traded
 Special Warranty
                        3/6/2008    SAVATRAN LLC to Morris          Hamilton Co. IL containing 74.36        remained of        Owned        Yes
      Deed
                                     R. Clark & Karan S. Clark                   acres                   Charlie Moore HC-
                                                                                                          0004 to Clarks.
                 Case 20-41308        Doc 228      Filed 04/01/20 Entered 04/01/20 23:45:34                Main Document
                                                            Pg 871 of 1005




Description/Title of                                                                                     Recording         Owned or   Subject to
                         Date                 Parties                     Legal Description
    Document                                                                                            Information         Leased    Mortgage
                                     Louise Harrison to Oeneus
                                                                   Pt. NW corner SE NE 1-T6S-R4E
  Quit Claim Deed       4/7/2008      LLC d/b/a SAVATRAN                                               FC 2008-1877         Owned        Yes
                                                                    Franklin Co IL containing 1.26
                                               LLC
                                     Louise Harrison to Oeneus
                                                                   Pt. SE NE 1-T6S-R4E Franklin Co
  Quit Claim Deed                     LLC d/b/a SAVATRAN                                               FC 2009-5371         Owned        Yes
                                                                                 IL
                                               LLC



 POND CREEK TO SUGAR CAMP CONNECTOR ROUTE

                                    John H. Wiegand and Oeneus                                       FC-0086 Purchase
Recording Memo and                                                 Pt. W/2 NE 10; Pt. NE NE10 T7S;
                       9/14/2007      LLC d/b/a SAVATRAN                                              rail right of way.    Owned        No
 Option to Purchase                                                      R4E Franklin Co. IL
                                               LLC                                                       2007-5356
                                                                                                     FC-0086 Purchase
                                    John H. Wiegand and Oeneus
Recording Memo and                                                 Pt. W/2 NE 10; Pt. NE NE10 T7S;    rail right of way
                       1/15/2008      LLC d/b/a SAVATRAN                                                                    Owned        No
 Option to Purchase                                                      R4E Franklin Co. IL           opt 2 or plan B.
                                               LLC
                                                                                                         2008-0338
                                    Donald L. Bennett and Sharla                                     FC-0087 Purchase
Recording Memo and                                                  Pt. W/2 NW 14; Pt NW SW 14
                       9/18/2007     Bennett and Oeneus LLC                                           rail right of way.    Owned        No
 Option to Purchase                                                    T6S R4E Franklin Co. IL
                                      d/b/a SAVATRAN LLC                                                 2007-5293
                                    Daniel E. Harmon & Terri J.                                      FC-0106 Purchase
Recording Memo and                                                 Pt. W/2 NW 2 T7S R4E Franklin
                       10/8/2007     Harmon and Oeneus LLC                                            rail right of way.    Owned        No
 Option to Purchase                                                           Co. IL
                                     d/b/a SAVATRAN LLC                                                  2007-5836
                                    Olen Max Harmon & Becky                                          FC-0108 Purchase
Recording Memo and                                                 Pt. W/2 SW 35 T6S R6E Franklin
                       10/10/2007   J Harmon and Oeneus LLC                                           rail right of way.    Owned        No
 Option to Purchase                                                            Co IL
                                      d/b/a SAVATRAN LLC                                                 2007-5930
                                    Michael Pike & Brenda Pike
Recording Memo and                                                  Pt. SE NE 27 T7S R4E Franklin    FC-0109 Purchase
                       10/11/2007     and Oeneus LLC d/b/a                                                                  Owned        No
 Option to Purchase                                                             Co. IL                rail right of way.
                                        SAVATRAN LLC
                 Case 20-41308        Doc 228      Filed 04/01/20 Entered 04/01/20 23:45:34                 Main Document
                                                            Pg 872 of 1005




Description/Title of                                                                                      Recording         Owned or   Subject to
                         Date                 Parties                    Legal Description
    Document                                                                                             Information         Leased    Mortgage
                                    Marion Tow, George M. Tow                                         FC-110 Purchase
Recording Memo and                                                Pt. SESE 22 T7S R4E Franklin Co.
                       10/12/2007   & Karen L Tow and Oeneus                                          rail right of way.     Owned        No
 Option to Purchase                                                              IL
                                     LLC SAVATRAN LLC                                                     2007-5931
                                                                                                      FC-110 Purchase
                                    Marion Tow, George M. Tow
                                                                                                       of 12.1 acres in
Recording Memo and                  & Karen L Tow and Oeneus       Pt. SE SE 22 T7S R4E Franklin
                        7/2/2008                                                                     addition to right of    Owned        No
 Option to Purchase                  LLC d/b/a SAVATRAN                        Co. IL
                                                                                                             way.
                                              LLC
                                                                                                          2008-3632
                                                                                                     FC-0111 Purchase
                                                                                                       of old rail bed.
                                     Carlton Heifner and Dixie
                                                                    Pt. W/2 SW SW 22-T7S-R4E          Hunting Lease to
  Warranty Deed        10/26/2007    Heifner and Oeneus LLC                                                                  Owned        Yes
                                                                        Franklin Co. IL 6 acres      Marion Tow along
                                     d/b/a SAVATRAN LLC
                                                                                                           rail bed.
                                                                                                          2007-6200
                                                                                                     FC-0112 Purchased
                                    Andrew C. Julian & Susan E.                                      house and rail right
                                                                   Pt.SW SE 10- T7S-R4E Franklin
  Warranty Deed        4/25/2008    Julian and Oeneus LLC d/b/a                                        of way. House         Owned        Yes
                                                                         Co. IL 27.72 acres
                                         SAVATRAN LLC                                                  Rented to Eric
                                                                                                            Smith.
                                    Gary L. Manis and Sharon L.                                      FC-0113 Purchase
Recording Memo and                                                Pt. SW NW 26-T6S-R4E Franklin
                       10/15/2007   Manis and Oeneus LLC d/b/a                                        rail right of way.     Owned        No
 Option to Purchase                                                      Co. IL 4.65 acres
                                        SAVATRAN LLC                                                      2007-5932
                                      Eddie Essary and Eliane                                        FC-0114 Purchase
Recording Memo and                                                 Pt. NWSW 2-T7S-R4E Franklin
                       10/19/2007     Essary and Oeneus LLC                                           rail right of way.     Owned        No
 Option to Purchase                                                      Co. IL 2.25 acres
                                      d/b/a SAVATRAN LLC                                                 2007-6073
                                                                                                     FC-0115 Purchase
                                      Cora Jane Taylor & Beth                                         rail right of way
Recording Memo and                                                Pt. S/2 NW 1; Pt.NWSW 11-T6S-
                       10/22/2007   Benns and Oeneus LLC d/b/a                                         and additional        Owned        No
 Option to Purchase                                                R4E Franklin Co IL 24.86 acres
                                        SAVATRAN LLC                                                         acres.
                                                                                                         2007-6252
                 Case 20-41308       Doc 228       Filed 04/01/20 Entered 04/01/20 23:45:34                    Main Document
                                                            Pg 873 of 1005




Description/Title of                                                                                         Recording          Owned or   Subject to
                         Date                 Parties                      Legal Description
    Document                                                                                                Information          Leased    Mortgage
                                                                   Pt.NWNE 15 T7S-R4E containing
                                     David R. Payne & Rhonda                                            FC-0122 Purchase
Recording Memo and                                                   9 ac; Pt. NW NW 26 T7S-R4E
                       11/9/2007      Payne and Oeneus d/b/a                                             rail right of way.      Owned        No
 Option to Purchase                                                containing 4.64 acres Franklin Co.
                                        SAVATRAN LLC                                                        2007-6524
                                                                                   IL
                                        Robert G. Buntin and
                                        Marjorie A. Buntin as
                                      Trustees of the Robert G.
                                       Buntin and Marjorie A.
                                                                    Pt. SW/4 23-6-4 Franklin County
                                      Buntin Joint Living Trust,                                        FC-0123 Purchase
                                                                   IL 7.07 acres; Pt. NW/4 23 and Pt.
  Warranty Deed        4/14/2008    and Michael M. Buntin and                                            rail right of way.      Owned        Yes
                                                                      SW/14 T64-R4E Franklin Co
                                    Brenda Buntin as Trustees of                                            2008-2074
                                                                              16.14 acres
                                     the Michael M. Buntin and
                                     Brenda Buntin Joint Living
                                    Trust and Oeneus LLC d/b/a
                                            SAVATRAN
                                                                                                        FC-0125 Purchase
                                      Ruth E. Sweet & Danny                                             of rail right of way.
Recording Memo and                                                 Pt. W/2 SW 35 T7S R4E Franklin
                       11/12/2007   Sweet and Oeneus LLC d/b/a                                            Will plant trees       Owned        No
 Option to Purchase                                                        Co. IL 7.48 acres
                                        SAVATRAN LLC                                                    along right of way
                                                                                                             2007-6522
                                                                                                        FC-0126 Purchase
                                                                                                        of rail right of way.
                                     Ruth E. Sweet and Oeneus
Recording Memo and                                                 Pt.SWNW 35 T7S R4E Franklin          Purchased modular
                       11/12/2007     LLC d/b/a SAVATRAN                                                                         Owned        No
 Option to Purchase                                                      Co. IL 0.63 acres              home and then sold
                                               LLC
                                                                                                          and had moved.
                                                                                                             2007-6523
                                      James Gregory Payne, as
                                                                                                        FC-0130 Purchase
                                    trustee James Gregory Payne    Pt. E/2 SE NW & SW/4 11 T6S-
  Warranty Deed        4/23/2009                                                                        of rail right of way.    Owned        Yes
                                    Trust and Oeneus LLC d/b/a      R4E Franklin Co. Il 5.83 acres
                                                                                                             2009-2110
                                          SAVATRAN LLC
                                     Ted Lawrence as Trustee of                                         FC-0131 Purchase
Recording Memo and                     the Lawrence Trust and      Pt. W/2 SW 2 T7S-R4E Franklin        of rail right of way
                       11/28/2007                                                                                                Owned        No
 Option to Purchase                       Oeneus LLC d/b/a                Co. IL 9.52 acres              and isolated land.
                                          SAVATRAN LLC                                                    Must plant trees
                 Case 20-41308        Doc 228      Filed 04/01/20 Entered 04/01/20 23:45:34                    Main Document
                                                            Pg 874 of 1005




Description/Title of                                                                                         Recording          Owned or   Subject to
                         Date                 Parties                     Legal Description
    Document                                                                                                Information          Leased    Mortgage
                                                                                                              along rail
                                                                                                             2007-6806

                                     Robert Leon McClerren &
                                                                   Pt. NWSW 35 1.34 acres & Pt.         FC-0132 Purchase
Recording Memo and                    Cynthia McClerren and
                       11/30/2007                                  W/2 NW 35 T7S-R4E Franklin           of rail right of way.    Owned        No
 Option to Purchase                     Oeneus LLC d/b/a
                                                                            Co. IL                           2007-6905
                                        SAVATRAN LLC
                                                                                                        FC-0132 Purchase
                                     Robert Leon McClerren &
                                                                                                         rail right of way
Recording Memo and                   Robert G. McClerren and       Pt. SW/4 & Pt. NW SE 15 T7S
                        9/5/2008                                                                        need to go around        Owned        No
 Option to Purchase                     Oeneus LLC d/b/a           R4E Franklin Co. IL 7.42 acres
                                                                                                          Jason Knight.
                                        SAVATRAN LLC
                                                                                                            2008-5188

                                      Robert Shane Croslin and      pt. NWNW 35 4.53 acres; Pt.         FC-0133 Purchase
Recording Memo and
                       11/28/2007   Jodi Croslin and Oeneus LLC   SWSW 26; Pt. NESE 27 4.71 acres        rail right of way.      Owned        No
 Option to Purchase
                                      d/b/a SAVATRAN LLC              T7S-R4E Franklin Co IL                2007-6904

                                    Anita Miller, Trustee Anita
                                                                                                        FC-0136 Purchase
                                     Miller Revocable Living
                                                                                                        of rail right of way
                                      Trust, and Oneida Ann
                                                                                                                 and
                                     Murphy as Trustee of the     Pt. S/2 SW 11-T6S-R4E Franklin
  Warranty Deed        8/13/2008                                                                         DESIGNATED              Owned        Yes
                                        John Robert Miller          Co IL containing 57.31 acres.
                                                                                                          WET LANDS
                                    Revocable Living Trust and
                                                                                                               BANK
                                        Oeneus LLC d/b/a
                                                                                                            2008-5406
                                        SAVATRAN LLC

                                      Stewart B Hungate and       N/2 NE 27-T7S-4E Franklin Co IL       FC-0137 Purchase
  Warranty Deed        2/27/2009        Oeneus LLC d/b/a          containing 80 acres & a perpetual     of rail right of way.    Owned        Yes
                                        SAVATRAN LLC                      access easement                    2009-1017

                                                                                                        FC-0139 Purchase
                                                                                                        of rail right of way
Recording Memo and                   R. Ernest Payne & Dorothy     Pt. W/2 E/2 Section 15 T7S-R4E
                                                                                                         and rail right of
 Option to Purchase    1/18/2008     M. Payne and Oeneus LLC      containing 12 acres; Pt. NE/4 of 22                            Owned        No
                                                                                                        way around Jason
and Amendment One                     d/b/a SAVATRAN LLC           T7S-R4E containing 23.33 acres
                                                                                                              Knight.
                                                                                                            2008-0389
                 Case 20-41308       Doc 228       Filed 04/01/20 Entered 04/01/20 23:45:34                Main Document
                                                            Pg 875 of 1005




Description/Title of                                                                                     Recording          Owned or   Subject to
                         Date                 Parties                   Legal Description
    Document                                                                                            Information          Leased    Mortgage
                                    Amos Clay Ing & Jo Ann Ing                                      FC-0142 Purchase
Recording Memo and                                               Pt. W/2 SE 10 T7S-R4E Franklin
                       2/19/2008      and Oeneus LLC d/b/a                                          of rail right of way.    Owned        No
 Option to Purchase                                                 Co. IL containing 4.64 acres
                                        SAVATRAN LLC                                                   FC 2008-1101
                                    Donald W. Manis & Delores    Pt. W/2 NW 35; Pt. W/2 SW 26       FC-0145 Purchase
Recording Memo and
                        3/5/2008     J. Manis and Oeneus LLC     T6S-R4E Franklin Co IL 18.36       of rail right of way.    Owned        No
 Option to Purchase
                                      d/b/a SAVATRAN LLC                    acres.                     FC 2008-1225
                                        Dale Wes Williford &                                        FC-0152 Purchased
                                       Melissa R Williford to    N/2 NWNE 20 ac ±; N 10 ac NE          for rail loop at
  Warranty Deed        5/28/2008                                                                                             Owned        Yes
                                         Oeneus LLC d/b/a         NE T6S-R4E Franklin Co IL             Sugar Camp.
                                         SAVATRAN LLC                                                  FC 2008-2907

                                                                 Pt. NW SW 22-T7S-R4E 4.60 ac;      FC-0159 Purchased
                                    Mauris D Kern a/k/a Mauris   Pt. NW SW 22 T7S-R4E 3.86 ac;       rail right of way
  Warranty Deed        11/6/2009    Kern and Oeneus LLC d/b/a    Pt. S/2 S/2 22 T7S-R4E 39.01 ac;      around Jason          Owned        Yes
                                        SAVATRAN LLC             Pt. S/2 S/2 22 & NE NW 27 T7S-           Knight.
                                                                  R4E 57.69 acres Franklin Co IL      FC 2009-5485

                                                                                                    FC-0160 Purchased
                                     Louis S Ison & Rose Ison                                         rail right of way
                                                                 Pt. W/2 NW 22 T7S-R4E Franklin
  Warranty Deed        11/3/2009      and Oeneus LLC d/b/a                                              around Jason         Owned        Yes
                                                                         Co IL 9.26 acres
                                        SAVATRAN LLC                                                       Knight.
                                                                                                       FC 2009-6069
                                      Kenneth D. Summers &                                          FC-0161 Purchase
Recording Memo and                    Shelia K Summers and       Pt. NE SE 22; Pt. NWSW 23 T6S-       rail right of way
                        9/8/2008                                                                                             Owned        No
 Option to Purchase                     Oeneus LLC d/b/a           R4E Franklin Co IL 9.31 acres     and isolated land.
                                        SAVATRAN LLC                                                   FC 2008-5187

                                                                 Pt. W/2 NW 2-T8S-R4E; Pt. NW       WC-0106 Purchase
                                     Irene Wilkas and Oeneus
Recording Memo and                                               SW 2 T8S-R4E; Pt. NESE 3 T8S-       rail right of way
                       10/25/2007    LLC d/b/a SAVATRAN                                                                      Owned        No
 Option to Purchase                                              R4E Williamson County IL 15.73     and isolated land.
                                               LLC
                                                                             acres.                        308-59
                 Case 20-41308       Doc 228      Filed 04/01/20 Entered 04/01/20 23:45:34                 Main Document
                                                           Pg 876 of 1005




Description/Title of                                                                                     Recording       Owned or   Subject to
                         Date                Parties                    Legal Description
    Document                                                                                            Information       Leased    Mortgage
                                      Central Illinois Public
                                                                                                       WC-0142 rail
                                    Service d/b/a Ameren CIPS       Pt. NW NW 2 T8S-R4E
     Easement          6/30/2008                                                                        easement.         Owned        Yes
                                      and Oeneus LLC d/b/a          Williamson Co IL 0.28 ac
                                                                                                         312-800
                                        SAVATRAN LLC

SHAWNEETOWN RAIL LINE


                                                                 Pt. S/2 NE & Pt. N/2 SE 20 T9S-      SC-0009 Farm
                                    Jeffrey J. Drone & Toni L.
                                                                 R7E; W/2 NW 28; E/2 NE 29 &          Leased to Jeff
  Warranty Deed         3/1/2007    Drone to Oeneus LLC d/b/a                                                             Owned        Yes
                                                                 access road T9S- R7E Saline Co.         Drone.
                                         SAVATAN LLC
                                                                      IL containing 227 acres.          1900-923

                                                                                                      SC-0017 Farm
                                    Jimmie G. Rodgers & Billie
                                                                 E/2 NW 4 T9S-R6E Saline Co IL        Leased to Jeff
  Warranty Deed        11/20/2007     Rodgers to Oeneus LLC                                                               Owned        Yes
                                                                           80 acres                      Drone.
                                      d/b/a SAVATRAN LLC
                                                                                                        1927-505
                                                                                                      SC-0017 Farm
                                       Oeneus LLC d/b/a
                                                                 Pt. SE 20 T9S-R7E Saline Co IL       Leased to Jeff
  Warranty Deed        11/20/2007   SAVATRAN to Jimmie G.                                                                 Owned        Yes
                                                                           89.864 acres                  Drone.
                                    Rodgers & Billie Rodgers
                                                                                                        1927-508
                                     James D. Kuhlman and                                              SC-0018 All
                                     Andrew M. Freebourn to      NW NE 3 T9S-R6E Saline Co IL         woods no farm
  Warranty Deed        8/29/2007                                                                                          Owned        Yes
                                       Oeneus LLC d/b/a                   40 acres                        lease.
                                       SAVATRAN LLC                                                     1921-463

                                                                    six parcels lying in Gallatin
                                                                                                         GC-0004
                                                                 County beginning at Equality and
                                                                                                      Abandoned Rail
                                    CSX Transportation Inc and        ending at Shawneetown
 Quit Claim Deed       5/23/2007                                                                        Line across       Owned        Yes
                                       SAVATRAN LLC              individually referred to as Tracts
                                                                                                      Gallatin County.
                                                                   1,4,5A,6,8,and 42 containing
                                                                                                          501-111
                                                                            21.809 acres
Case 20-41308   Doc 228   Filed 04/01/20 Entered 04/01/20 23:45:34   Main Document
                                   Pg 877 of 1005
                    Case 20-41308    Doc 228      Filed 04/01/20 Entered 04/01/20 23:45:34                    Main Document
                                                           Pg 878 of 1005




Debtor Grantor:

ADENA RESOURCES, LLC


 Description/Title of     Date                  Parties                    Brief Legal Description              Recording     Owned or   Subject to
     Document                                                                                                  Information     Leased    Mortgage
     Easement            5/6/2009   Mason, Marilyn Trustee & Adena   Pt. SW Sec 31-5-3 & Pt. NW Sec 6-           Water &       Owned        No
                                              Resources                       6-3 as described                 power lines,
                                                                                                                Complete,
                                                                                                                FC-0213,
                                                                                                              FC2009-2758


Debtor/ Grantor:

AMERICAN CENTURY TRANSPORT LLC

                                                                                                                               Owned
 Description/Title of     Date                  Parties                    Brief Legal Description              Recording        or      Subject to
      Document                                                                                                 Information     Leased    Mortgage
Special Warranty Deed    1/8/2016   American Energy Corporation to   See legal description set forth in the   201600000427     Owned       Yes
                                    American Century Transport LLC                  deed.
                  Case 20-41308      Doc 228       Filed 04/01/20 Entered 04/01/20 23:45:34     Main Document
                                                            Pg 879 of 1005




DEBTOR/GRANTOR:

HILLSBORO ENERGY LLC
12051 N. 9th Avenue
Hillsboro, IL 62049

Montgomery County, Illinois

Bond County, Illinois (Coal Reserves only)



 Description/Title of   Date                 Parties         Brief Legal Description    Recording     Owned or   Subject to
     Document                                                                          Information     Leased    Mortgage

 Coal Mining Lease      10/10/2009      WPP LLC to              No. 6 coal seam        Not recorded    Leased
   and Sublease                        Hillsboro Energy
    Agreement                                LLC

 Short Form of Lease    10/10/2009      WPP LLC to              No. 6 coal seam        MC 1346-428     Leased
     (Hillsboro)                       Hillsboro Energy
                                             LLC

Amendment No. 1 to       1/11/2010      WPP LLC to              No. 6 coal seam        Not recorded    Leased
 the Coal Mining                       Hillsboro Energy
Lease and Sublease                           LLC
    Agreement

 Short Form of Lease     1/11/2010      WPP LLC to              No. 6 coal seam        MC 1367-226     Leased
     (Hillsboro)                       Hillsboro Energy
                                             LLC
                 Case 20-41308       Doc 228    Filed 04/01/20 Entered 04/01/20 23:45:34     Main Document
                                                         Pg 880 of 1005




Description/Title of    Date              Parties         Brief Legal Description    Recording     Owned or   Subject to
    Document                                                                        Information     Leased    Mortgage

Amendment No. 2 to       10/4/2010     WPP LLC to            No. 6 coal seam        Not recorded    Leased
 the Coal Mining                      Hillsboro Energy
Lease and Sublease                          LLC
    Agreement

   Amended and          10/4/2010      WPP LLC to            No. 6 coal seam        MC 1412-134     Leased
Restated Short Form                   Hillsboro Energy
   of Lease After                           LLC                                     BC 917-329
   Closing 4 and
Closing 5 (Hillsboro)

Amendment No. 3 to      1/13/2011      WPP LLC to            No. 6 coal seam        Not recorded    Leased
 the Coal Mining                      Hillsboro Energy
Lease and Sublease                          LLC
    Agreement

   Amended and          1/13/2011      WPP LLC to            No. 6 coal seam        MC 1426-275     Leased
Restated Short Form                   Hillsboro Energy
   of Lease After                           LLC
Closing 3 (Hillsboro)

   Amended and           2/2/2012      WPP LLC to            No. 6 coal seam        MC 1477-459     Leased
Restated Short Form                   Hillsboro Energy
   of Lease After                           LLC                                     BC 964-143
Closing 6 (Hillsboro)
                 Case 20-41308     Doc 228    Filed 04/01/20 Entered 04/01/20 23:45:34        Main Document
                                                       Pg 881 of 1005




Description/Title of   Date             Parties          Brief Legal Description      Recording     Owned or   Subject to
    Document                                                                         Information     Leased    Mortgage

   Amended and         8/21/2012     WPP LLC to             No. 6 coal seam          Not recorded    Leased
Restated Short Form                 Hillsboro Energy
  of Lease After                          LLC
   Closing 7 & 8
    (Hillsboro)

 Coal Mining Lease     9/21/2007     Montgomery             No. 6 coal seam          Not recorded    Leased
    Agreement                       Mineral LLC to
                                    Hillsboro Energy
                                          LLC

    First Partial      9/9/2009      Montgomery        Terminated leasehold rights   Not recorded    Leased
Termination of Lease                Mineral LLC to      to certain No. 6 coal seam
                                    Hillsboro Energy
                                          LLC

   Second Partial      1/8/2010      Montgomery        Terminated leasehold rights   Not recorded    Leased
Termination of Lease                Mineral LLC to      to certain No. 6 coal seam
                                    Hillsboro Energy
                                          LLC

   Third Partial       10/4/2010     Montgomery        Terminated leasehold rights   Not recorded    Leased
Termination of Lease                Mineral LLC to      to certain No. 6 coal seam
                                    Hillsboro Energy
                                          LLC
                 Case 20-41308     Doc 228    Filed 04/01/20 Entered 04/01/20 23:45:34        Main Document
                                                       Pg 882 of 1005




Description/Title of   Date             Parties          Brief Legal Description      Recording     Owned or   Subject to
    Document                                                                         Information     Leased    Mortgage

   Fourth Partial      1/13/2011     Montgomery        Terminated leasehold rights   Not recorded    Leased
Termination of Lease                Mineral LLC to      to certain No. 6 coal seam
                                    Hillsboro Energy
                                          LLC

 Coal Mining Lease     8/12/2010      Colt LLC to           No. 6 coal seam          Not recorded    Leased
(For “Reserve 1” and                Hillsboro Energy
    “Reserve 3”)                          LLC

   Short Form or       8/12/2010      Colt LLC to           No. 6 coal seam          MC 1399-176     Leased
  Memorandum of                     Hillsboro Energy
 Coal Mining Lease                        LLC                                        BC 910-257
(For “Reserve 1” and
    “Reserve 3”)


 Coal Mining Lease     8/12/2010      Colt LLC to           No. 6 coal seam          Not recorded    Leased
 (For “Reserve 2”)                  Hillsboro Energy
                                          LLC

   Short Form or       8/12/2010      Colt LLC to           No. 6 coal seam          MC 1399-135     Leased
  Memorandum of                     Hillsboro Energy
 Coal Mining Lease                        LLC                                        BC 910-286
 (For “Reserve 2”)
                  Case 20-41308     Doc 228     Filed 04/01/20 Entered 04/01/20 23:45:34           Main Document
                                                         Pg 883 of 1005




 Description/Title of   Date              Parties             Brief Legal Description      Recording     Owned or   Subject to
     Document                                                                             Information     Leased    Mortgage

First Amendment to      8/21/2012   Colt LLC to                  No. 6 coal seam                          Leased
Colt Coal Lease 2                   Hillsboro Energy
                                    LLC

Short Form or       8/21/2012       Colt LLC to                  No. 6 coal seam         MC 1508-455      Leased
Memorandum of First                 Hillsboro Energy
Amendment to Colt                   LLC
Coal Lease 2

                                    Montgomery Land                 Mine Site
                                    Company to
Deed                    8/12/2010                                  RDA 1 & 2             201000059726     Owned
                                    Hillsboro Energy
                                    LLC                     Farmland & Bleeder Site #1

                                    Montgomery Land
                                    Company to              Corridor from Mine Site to
Easement                8/12/2010                                                        201000059723     Owned
                                    Hillsboro Energy             Bleeder Shaft #1
                                    LLC

                                    George & Martha
                                                           Corridor from Mine Site to
Easement                5/9/2011    Spinner to Hillsboro                                 201100063970     Owned
                                                           Bleeder Shaft #1
                                    Energy LLC

                                    Hillsboro Energy
Deed                    8/23/2013   LLC to Hillsboro                 Loadout             201300003499     Owned
                                    Transport, LLC
                       Case 20-41308      Doc 228     Filed 04/01/20 Entered 04/01/20 23:45:34                Main Document
                                                               Pg 884 of 1005




                                                                                                                                  Schedule XIII-A to
                                                                                                                            Collateral Questionnaire
                                                LOCATIONS OF MINES AND MINING FACILITIES

ALL MATERIAL RENTS ARE DISCLOSED IN COMBINED SCHEDULES XI AND XII


Macoupin Energy LLC

Say No. 1 Mine
14300 Brushy Mound Road
Carlinville, Illinois 62626


Material Properties:

  Description/Title of                                                                                         Recording     Owned      Subject to
                                Date                Parties                  Brief Legal Description
      Document                                                                                                Information   or Leased   Mortgage
                                          WPP LLC and Macoupin Energy
  Short Form of Lease          1/27/10                                   Macoupin South Mine Assignment                       Leased        Yes
                                                      LLC
                                          Colt LLC and Macoupin Energy                                           Not
  Short Form of Lease         8/12/2010                                  Macoupin North Mine Assignment                       Leased        Yes
                                                      LLC                                                      Recorded
                                          Colt LLC and Macoupin Energy                                           Not
  Short Form of Lease         8/12/2010                                   East Hornsby Mine Assignment                        Leased        Yes
                                                      LLC                                                      Recorded
                                                                         Various tracts of surface and coal
                                                                          reserves. The coal reserves were
    Special Warranty                      ExxonMobil Coal USA, Inc and     sold to WPP or Colt and leased      MA-0019
                              1/22/2009                                                                                       Owned         Yes
         Deed                                Macoupin Energy LLC         back. The surface not required for     493145
                                                                          operations has been conveyed to
                                                                              New River Royalty LLC
                                          HOD LLC and Macoupin Energy                                            Not
         Lease                 1/27/10                                               Rail Loop                                Leased        Yes
                                                       LLC                                                     Recorded
                                          HOD LLC and Macoupin Energy
         Lease                 1/27/10                                            Rail Load Out                  Not          Leased        Yes
                                                       LLC
    Option and Lease                      Jet Oil Company and Macoupin                                        Volume 628,
                              2/28/1967                                           Coal Reserves                               Leased        Yes
      Agreement                                     Energy LLC                                                 Page 456
                       Case 20-41308    Doc 228       Filed 04/01/20 Entered 04/01/20 23:45:34                        Main Document
                                                               Pg 885 of 1005




  Description/Title of                                                                                                 Recording       Owned      Subject to
                             Date                   Parties                      Brief Legal Description
      Document                                                                                                        Information     or Leased   Mortgage
                                             Foresight Energy,                                                         Document
         Lease              2/7/2019                                                Methane Gas lease                                  Leased
                                        LLC/Macoupin to Keyrock, LLC                                                  not recorded


Sugar Camp Energy, LLC

M-Class Mine
11351 N Thompsonville Road
Macedonia, Illinois 62860

Material Properties:

   Description/Title of       Date                   Parties                       Brief Legal Description                Recording        Owned     Subject to
       Document                                                                                                          Information         or      Mortgage
                                                                                                                                           Leased
    Coal Mining Lease       7/29/2005      RGGS Land & Minerals &            Properties located in Franklin County        2006-6919        Leased       Yes
                                                  SCELLC                         IL as described in Exhibit A
     Consent to Mine        1/22/2010    Ruger Coal Company, LLC &           Consent with respect to Illinois Fuels        FC-0233         Leased       Yes
                                                  SCELLC                                     Lease
      Warranty Deed         1/15/2009   Rodney Smith and Marta Smith to         PT Lot 121 and PT Lot 122 in             Surface WC-       Leased       Yes
                                                  SCELLC                               Kokopelli Estates                0152, WC481-
                                                                                                                              772
        Easement             3/4/2010    Glendall E Johnston a.k.a. Glen     NW NW Sec 1-6-4 and NWNE Sec               FC-0253 2010-      Owned        Yes
                                             Johnston and Carolyn S.          1-6-4 Franklin County, Illinois                1056
                                        Johnston, a.k.a. Carolyn Johnston,
                                          husband and Wife to SCELLC
        Easement             3/4/2010     Morris R. Clark and Karan S.        NWNE and W2E2NE Sec 2-6-4                 FC-0254 2010-      Owned        Yes
                                                 Clark to SCELLC                     Franklin, Illinois                     1057
        Easement             3/1/2010   David Blood and Melanie Blood,        Pt E2NENE Sec 2-6-4 Franklin                FC-0255          Owned        Yes
                                          husband and wife to SCELLC            County, Illinois 2010-1058
        Easement             6/5/2010   Roger L. Sanders and Mary Ellen      W 10 ac N3/4 of NESE Sec 6-6-5             HC-0078 221-       Owned        Yes
                                               Sanders to SCELLC                 Hamilton County, Illinois                  117
      Warranty Deed          6/1/2010      Patrick G Mascal and Lori S.      W2NESW and E2S2NWSW Sec 6-                  HC-0075           Owned        Yes
                                                Mascal to SCELLC                   6-5 Hamilton Illinois                  277/311
                  Case 20-41308    Doc 228      Filed 04/01/20 Entered 04/01/20 23:45:34                   Main Document
                                                         Pg 886 of 1005




Description/Title of     Date                 Parties                    Brief Legal Description              Recording    Owned    Subject to
    Document                                                                                                 Information     or     Mortgage
                                                                                                                           Leased
Overriding Royalty     8/12/2010    Ruger Coal Company LLC to       Right to mine on Illinois Fuels TVA     Not Recorded   Leased      Yes
Interest Agreement                           SCELLC                                Lease
Overriding Royalty     8/12/2010    Ruger Coal Company LLC to        Right to Mine on Franklin County       Not Recorded   Leased      No
Interest Agreement                           SCELLC                              TVA Lease
       Deed            8/12/2010      Williamson Development           Surface required for SCELLC          Not Recorded   Owned       Yes
                                     Company LLC to SCELLC                       Operations
       Deed            8/12/2010      Williamson Development        Surface in Hamilton County required     Not Recorded   Owned       Yes
                                     Company LLC to SCELLC                for SCELLC Operations
       Deed            8/12/2010      Williamson Development        Surface at former Akin site required    Not Recorded   Owned       Yes
                                     Company LLC to SCELLC                for SCELLC Operations
Coal Mining Lease      8/12/2010    Ruger Coal Company LLC to                  Coal Reserves                Not Recorded   Leased      Yes
                                             SCELLC

   Mining Lease         01/04/18    Roberts, Carol Ann Trustee to         Sugar Camp Mine Plan              HC 2018-0008   Leased
                                              SCELLC
   Mining Lease         01/04/18     Engstrom, Amy to SCELLC              Sugar Camp Mine Plan              HC 2018-0011   Leased
   Mining Lease         01/04/18   Hayes, Marshall Jr. to SCELLC          Sugar Camp Mine Plan              HC 2018-0013   Leased
   Mining Lease         01/04/18      Blanchard, Bonnie M. to             Sugar Camp Mine Plan              HC 2018-0016   Leased
                                              SCELLC
   Mining Lease         01/04/18     Palmer, James to SCELLC              Sugar Camp Mine Plan              HC 2018-0017   Leased
   Mining Lease         01/04/18     Moxley, Linda to SCELLC              Sugar Camp Mine Plan              HC 2018-0018   Leased
    Coal Deed           01/04/18    Johnson, Susan L. to SCELLC           Sugar Camp Mine Plan              HC 2018-0019   Owned
   Mining Lease         01/30/18   McFarland, Carol A. to SCELLC          Sugar Camp Mine Plan              HC 2018-0110   Leased
   Mining Lease         01/30/18      Bowman, Debra Kate to               Sugar Camp Mine Plan              HC 2018-0111   Leased
                                             SCELLC
   Mining Lease         01/30/18     Diaz, Donna J. to SCELLC             Sugar Camp Mine Plan              HC 2018-0112   Leased
   Mining Lease         01/30/18   Flannigan, James T. to SCELLC          Sugar Camp Mine Plan              HC 2018-0113   Leased
   Mining Lease         01/30/18     Leslie, Janet E. to SCELLC           Sugar Camp Mine Plan              HC 2018-0114   Leased
   Mining Lease         01/30/18      Reid, Jon M. to SCELLC              Sugar Camp Mine Plan              HC 2018-0115   Leased
   Mining Lease         01/30/18     Webster, Linda to SCELLC             Sugar Camp Mine Plan              HC 2018-0116   Leased
                  Case 20-41308    Doc 228     Filed 04/01/20 Entered 04/01/20 23:45:34      Main Document
                                                        Pg 887 of 1005




Description/Title of     Date                 Parties              Brief Legal Description      Recording    Owned    Subject to
    Document                                                                                   Information     or     Mortgage
                                                                                                             Leased
   Mining Lease         01/30/18    Henson, William to SCELLC      Sugar Camp Mine Plan       HC 2018-0119   Leased
    Coal Deed           01/30/18     Wake, Amanda to SCELLC        Sugar Camp Mine Plan       HC 2018-0120   Owned
    Coal Deed           01/30/18     Trabant, Megan to SCELLC      Sugar Camp Mine Plan       HC 2018-0121   Owned
    Coal Deed           01/30/18   Metheney, Pamela S. to SCELLC   Sugar Camp Mine Plan       HC 2018-0122   Owned
    Coal Deed           01/30/18   Metheney, Rochelle to SCELLC    Sugar Camp Mine Plan       HC 2018-0123   Owned
   Mining Lease         01/30/18    Bloomfield, Dora to SCELLC     Sugar Camp Mine Plan       HC 2018-0123   Leased
   Mining Lease         01/30/18    Flannigan, Donald to SCELLC    Sugar Camp Mine Plan       HC 2018-0124   Leased
   Mining Lease         01/30/18     Smith, Sharon to SCELLC       Sugar Camp Mine Plan       HC 2018-0126   Leased
   Mining Lease         02/08/18     Wood, Betty A. to SCELLC      Sugar Camp Mine Plan       HC 2018-0171   Leased
   Mining Lease         02/08/18     Irish, Carol V. to SCELLC     Sugar Camp Mine Plan       HC 2018-0172   Leased
   Mining Lease         02/08/18     Wicker, Darrell to SCELLC     Sugar Camp Mine Plan       HC 2018-0173   Leased
   Mining Lease         02/08/18   Kathleen M. Wright to SCELLC    Sugar Camp Mine Plan       HC 2018-0174   Leased
   Mining Lease         02/08/18    Irish, Lloyd Paul to SCELLC    Sugar Camp Mine Plan       HC 2018-0175   Leased
   Mining Lease         02/08/18    Patterson, Paul J. to SCELLC   Sugar Camp Mine Plan       HC 2018-0176   Leased
   Mining Lease         02/08/18     Wicker, Paul R. to SCELLC     Sugar Camp Mine Plan       HC 2018-0177   Leased
   Mining Lease         02/28/18     Krois, Bonnie C. to SCELLC    Sugar Camp Mine Plan       HC 2018-0270   Leased
    Coal Deed           02/28/18    Tabor, Stephanie to SCELLC     Sugar Camp Mine Plan       HC 2018-0271   Owned
   Mining Lease         02/28/18      Petitte, Clyda to SCELLC     Sugar Camp Mine Plan       HC 2018-0272   Leased
   Mining Lease         02/28/18   Patterson, Emily Jo to SCELLC   Sugar Camp Mine Plan       HC 2018-0273   Leased
   Mining Lease         02/28/18       Allen, Jane to SCELLC       Sugar Camp Mine Plan       HC 2018-0274   Leased
    Coal Deed           02/28/18    Spaven, Laverne to SCELLC      Sugar Camp Mine Plan       HC 2018-0276   Owned
   Mining Lease         02/28/18     Jackson, Patricia Snyder to   Sugar Camp Mine Plan       HC 2018-0277   Leased
                                               SCELLC
   Mining Lease         02/28/18    Gioia, Virginia M. to SCELLC   Sugar Camp Mine Plan       HC 2018-0278   Leased
   Mining Lease         02/28/18   Moffett, William R. to SCELLC   Sugar Camp Mine Plan       HC 2018-0279   Leased
   Mining Lease         02/28/18     O'Dell, William to SCELLC     Sugar Camp Mine Plan       HC 2018-0280   Leased
                  Case 20-41308    Doc 228      Filed 04/01/20 Entered 04/01/20 23:45:34       Main Document
                                                         Pg 888 of 1005




Description/Title of     Date                  Parties               Brief Legal Description      Recording    Owned    Subject to
    Document                                                                                     Information     or     Mortgage
                                                                                                               Leased
   Mining Lease         02/28/18     Reid, Dennis P. to SCELLC       Sugar Camp Mine Plan       HC 2018-0281   Leased
    Coal Deed           02/28/18   Griffith, Janice Sue to SCELLC    Sugar Camp Mine Plan       HC 2018-0284   Owned
   Mining Lease         02/28/18    Knight, Kenneth E. to SCELLC     Sugar Camp Mine Plan       HC 2018-0287   Leased
    Coal Deed           02/28/18       Metheney, Rickie W. to        Sugar Camp Mine Plan       HC 2018-0289   Owned
                                              SCELLC
   Mining Lease         02/28/18      Olson, Ruth E. to SCELLC       Sugar Camp Mine Plan       HC 2018-0291   Leased
   Mining Lease         02/28/18     Sandy, Susan E. to SCELLC       Sugar Camp Mine Plan       HC 2018-0293   Leased
    Coal Deed           02/28/18    Miller, Micah A. & Marietta to   Sugar Camp Mine Plan       HC 2019-2023   Owned
                                               SCELLC
   Mining Lease         04/06/18    Mudge, Evelyn M. to SCELLC       Sugar Camp Mine Plan       HC 2018-0806   Leased
   Mining Lease         04/12/18   Higginson, Leslie K. to SCELLC    Sugar Camp Mine Plan       HC 2018-0527   Leased
    Coal Deed           04/12/18    Farris, Brenda K. to SCELLC      Sugar Camp Mine Plan       HC 2018-0528   Owned
   Mining Lease         04/12/18    Cook, Becky Lynn to SCELLC       Sugar Camp Mine Plan       HC 2018-0529   Leased
   Mining Lease         04/12/18    Snyder, Diane M. to SCELLC       Sugar Camp Mine Plan       HC 2018-0530   Leased
   Mining Lease         04/12/18     O'Dell, Kevin J. to SCELLC      Sugar Camp Mine Plan       HC 2018-0531   Leased
   Mining Lease         04/12/18    Wohlers, Karen J. to SCELLC      Sugar Camp Mine Plan       HC 2018-0532   Leased
   Mining Lease         04/12/18      Heckert, Lauri to SCELLC       Sugar Camp Mine Plan       HC 2018-0533   Leased
   Mining Lease         04/12/18   Page, Mary Jane by Sidney         Sugar Camp Mine Plan       HC 2018-0534   Leased
                                   Bennett III AIF to SCELLC
   Mining Lease         04/12/18       Comp ton, Paulette N. to      Sugar Camp Mine Plan       HC 2018-0535   Leased
                                                SCELLC
   Mining Lease         04/12/18     Taylor, Jennifer to SCELLC      Sugar Camp Mine Plan       HC 2018-0536   Leased
   Mining Lease         04/12/18    O'Dell, Carol Lee to SCELLC      Sugar Camp Mine Plan       HC 2018-0537   Leased
   Mining Lease         04/12/18    O'Dell, Casey Joel to SCELLC     Sugar Camp Mine Plan       HC 2018-0538   Leased
   Mining Lease         05/08/18   Lowman, Timothy A. to SCELLC      Sugar Camp Mine Plan       HC 2018-0548   Leased
   Mining Lease         05/08/18   Neal, Douglas Allen to SCELLC     Sugar Camp Mine Plan       HC 2018-0754   Leased
   Mining Lease         05/08/18    Williams, J. Mark to SCELLC      Sugar Camp Mine Plan       HC 2018-0755   Leased
   Mining Lease         05/08/18     Barker, Lynne E. to SCELLC      Sugar Camp Mine Plan       HC 2018-0756   Leased
                  Case 20-41308    Doc 228      Filed 04/01/20 Entered 04/01/20 23:45:34        Main Document
                                                         Pg 889 of 1005




Description/Title of     Date                  Parties                Brief Legal Description      Recording    Owned    Subject to
    Document                                                                                      Information     or     Mortgage
                                                                                                                Leased
   Mining Lease         05/08/18    Knight, Stephen L. to SCELLC      Sugar Camp Mine Plan       HC 2018-0757   Leased
   Mining Lease         05/08/18   Neal, Walter Blake to SCELLC       Sugar Camp Mine Plan       HC 2018-0759   Leased
    Coal Deed           05/11/18       Noma, Inc to SCELLC            Sugar Camp Mine Plan       HC 2018-1036   Owned



   Mining Lease         05/16/18      Hake, Gary R. to SCELLC         Sugar Camp Mine Plan       HC 2018-0807   Leased
   Mining Lease         05/16/18    Hosner, Irene Neal to SCELLC      Sugar Camp Mine Plan       HC 2018-0808   Leased
   Mining Lease         05/16/18      Duckworth, Nina Neal to         Sugar Camp Mine Plan       HC 2018-0811   Leased
                                              SCELLC
   Mining Lease         05/16/18   Bailey, Velma Neal to SCELLC       Sugar Camp Mine Plan       HC 2018-0812   Leased
   Mining Lease         05/16/18    Lovan, W. Robert to SCELLC        Sugar Camp Mine Plan       HC 2018-0813   Leased
   Mining Lease         05/16/18   Neal, William Jerry to SCELLC      Sugar Camp Mine Plan       HC 2018-0814   Leased
    Coal Deed           06/27/18   Bow ton, Barbara G. to SCELLC      Sugar Camp Mine Plan       HC 2018-1027   Owned
    Coal Deed           06/27/18      Whets tone, Dennis W. to        Sugar Camp Mine Plan       HC 2018-1028   Owned
                                              SCELLC
    Coal Deed           06/27/18     Whets tone, William R. to        Sugar Camp Mine Plan       HC 2018-1029   Owned
                                              SCELLC
    Coal Deed           06/27/18     Smith, Bernice to SCELLC         Sugar Camp Mine Plan       HC 2018-1030   Owned
    Coal Deed           06/27/18   Thompson, Beatrice % Billy E.      Sugar Camp Mine Plan       HC 2018-1031   Owned
                                       Walker AIF to SCELLC
    Coal Deed           06/27/18   First Church of the Nazarene to    Sugar Camp Mine Plan       HC 2018-1032   Owned
                                              SCELLC
    Coal Deed           06/27/18     Linn, Karen R. to SCELLC         Sugar Camp Mine Plan       HC 2018-1034   Owned
   Mining Lease         06/27/18   Seibert, Charles Ellis to SCELLC   Sugar Camp Mine Plan       HC 2018-1037   Leased
   Mining Lease         06/27/18      Seibert, James Thomas to        Sugar Camp Mine Plan       HC 2018-1038   Leased
                                               SCELLC
   Mining Lease         06/27/18     Drake, Terry W. to SCELLC        Sugar Camp Mine Plan       HC 2018-1041   Leased
   Mining Lease         06/27/18    Scott, Betsy Dawn to SCELLC       Sugar Camp Mine Plan       HC 2018-1042   Leased
   Mining Lease         06/27/18   Lane, John Bradley to SCELLC       Sugar Camp Mine Plan       HC 2018-1045   Leased
                  Case 20-41308    Doc 228      Filed 04/01/20 Entered 04/01/20 23:45:34      Main Document
                                                         Pg 890 of 1005




Description/Title of     Date                 Parties               Brief Legal Description      Recording    Owned    Subject to
    Document                                                                                    Information     or     Mortgage
                                                                                                              Leased
   Mining Lease         06/27/18     Drake, Mark W. to SCELLC       Sugar Camp Mine Plan       HC 2018-1045   Leased
    Coal Deed           06/27/18     Mendyk, Julie to SCELLC        Sugar Camp Mine Plan       HC 2018-1088   Owned
   Mining Lease         07/05/18    Wall, Joyce Ann to SCELLC       Sugar Camp Mine Plan       HC 2018-1086   Leased
   Mining Lease         07/05/18      Metheney, Donald W. to        Sugar Camp Mine Plan       HC 2018-1084   Leased
                                             SCELLC
    Coal Deed           07/05/18    Sandidge, Joyce to SCELLC       Sugar Camp Mine Plan       HC 2018-1085   Owned
    Coal Deed           07/05/18      Smith, Leon to SCELLC         Sugar Camp Mine Plan       HC 2018-1087   Owned
    Coal Deed           07/05/18    Smith, Richard H. to SCELLC     Sugar Camp Mine Plan       HC 2018-1088   Owned
   Mining Lease         07/05/18    Wall, Ronald M. to SCELLC       Sugar Camp Mine Plan       HC 2018-1089   Leased
   Mining Lease         07/18/18   Martin, Marianne B. to SCELLC    Sugar Camp Mine Plan       HC 2018-1157   Leased
   Mining Lease         07/18/18    Wilkie, Mary Jean to SCELLC     Sugar Camp Mine Plan       HC 2018-1158   Leased
   Mining Lease         07/18/18    Jones, Michael J. to SCELLC     Sugar Camp Mine Plan       HC 2018-1159   Leased
   Mining Lease         07/18/18     Martin, Janet J. to SCELLC     Sugar Camp Mine Plan       HC 2018-1160   Leased
   Mining Lease         07/30/18      Kleber, LLC to SCELLC         Sugar Camp Mine Plan       HC 2018-1222   Leased
   Mining Lease         08/08/18   Vickers, Rhonda Lee to SCELLC    Sugar Camp Mine Plan       HC 2018-1271   Leased
   Mining Lease         08/08/18     Pike, Brenda L. to SCELLC      Sugar Camp Mine Plan       HC 2018-1272   Leased
   Mining Lease         08/08/18   Schwenn, Carolyn S. to SCELLC    Sugar Camp Mine Plan       HC 2018-1273   Leased
   Mining Lease         08/14/18    Lane, Juanita Dare to SCELLC    Sugar Camp Mine Plan       HC 2018-1302   Leased
    Coal Deed           08/14/18   Metheney, Miranda to SCELLC      Sugar Camp Mine Plan       HC 2018-1301   Owned
   Mining Lease         08/14/18     Yancey, George to SCELLC       Sugar Camp Mine Plan       HC 2018-1303   Leased
   Mining Lease         08/28/18    Knob Prairie Baptist Cemetery   Sugar Camp Mine Plan       HC 2018-1040   Leased
                                      Association to SCELLC
    Coal Deed           09/12/18      Buchanan, Cynthia E. to       Sugar Camp Mine Plan       HC 2018-1439   Owned
                                              SCELLC
    Coal Deed           09/12/18     Brophy, Romaine widow of       Sugar Camp Mine Plan       HC 2018-1440   Owned
                                     James Brophy to SCELLC
                  Case 20-41308    Doc 228      Filed 04/01/20 Entered 04/01/20 23:45:34       Main Document
                                                         Pg 891 of 1005




Description/Title of     Date                  Parties               Brief Legal Description      Recording     Owned    Subject to
    Document                                                                                     Information      or     Mortgage
                                                                                                                Leased
   Mining Lease         09/12/18    Wright, Donald L. to SCELLC      Sugar Camp Mine Plan       HC 2018-1441    Leased
   Mining Lease         09/12/18      Dorion, Rhona to SCELLC        Sugar Camp Mine Plan       HC 2018-1442    Leased
   Mining Lease         09/12/18      Wright, Laura to SCELLC        Sugar Camp Mine Plan       HC 2018-1443    Leased
   Mining Lease         10/03/18   Simmons, Gavin T. to SCELLC       Sugar Camp Mine Plan       HC 2018-1523    Leased
   Mining Lease         10/03/18    Wright, Curtis D. to SCELLC      Sugar Camp Mine Plan       HC 2018-1524    Leased
   Mining Lease         10/03/18   Lane, Riley Elizabeth to SCELLC   Sugar Camp Mine Plan       HC 2018-1525    Leased
   Mining Lease         10/24/18       Winter, Carrie L Trust to     Sugar Camp Mine Plan       HC 2018-1662    Leased
                                              SCELLC
   Mining Lease         10/24/18       Smith, Brett to SCELLC        Sugar Camp Mine Plan       HC 2018-1663    Leased
   Mining Lease         10/24/18     Johnson, Flora Wymond to        Sugar Camp Mine Plan       HC 2018-1665    Leased
                                              SCELLC
   Mining Lease         10/24/18   Collins, Sandra Lee to SCELLC     Sugar Camp Mine Plan       HC 2018-1666    Leased
   Mining Lease         10/24/18      Koptez, Steven Gerald to       Sugar Camp Mine Plan       HC 2018-1667    Leased
                                             SCELLC
   Mining Lease         10/24/18    Decker, Mary Lee to SCELLC       Sugar Camp Mine Plan       HC 2018-1783    Leased
    Coal Deed           10/30/18   Jenkins, Thomas R to SCELLC       Sugar Camp Mine Plan       HC 2018-1692    Owned
   Mining Lease         10/30/18      Dry, Margaret Johnson to       Sugar Camp Mine Plan       HC 2018-1693    Leased
                                             SCELLC
   Mining Lease         10/30/18   Lane, Sydney Drew to SCELLC       Sugar Camp Mine Plan       HC 2018-1694    Leased
   Mining Lease         10/30/18    touma, Elizabeth Johnson to      Sugar Camp Mine Plan       HC 2018-1695    Leased
                                             SCELLC
   Mining Lease         10/30/18   Myers, Phyllis Ann to SCELLC      Sugar Camp Mine Plan       HC 2018-1696    Leased
   Mining Lease         11/19/18      Palmer, Gary to SCELLC         Sugar Camp Mine Plan       HC 2018-1785    Leased
   Mining Lease         11/19/18      Jordon, Flora Johnson to       Sugar Camp Mine Plan       HC 2018-1908    Leased
                                             SCELLC
   Mining Lease         11/20/18   Waggoner, Amanda J to SCELLC      Sugar Camp Mine Plan        FC 2018-4821   Leased
   Mining Lease         11/20/18     Bohannon, Barbara Ann to        Sugar Camp Mine Plan        FC 2018-4822   Leased
                                               SCELLC
   Mining Lease         11/20/18    Otterson, Lloyd L. to SCELLC     Sugar Camp Mine Plan        FC 2018-4823   Leased
                  Case 20-41308    Doc 228      Filed 04/01/20 Entered 04/01/20 23:45:34       Main Document
                                                         Pg 892 of 1005




Description/Title of     Date                 Parties                Brief Legal Description      Recording    Owned    Subject to
    Document                                                                                     Information     or     Mortgage
                                                                                                               Leased
   Mining Lease         12/11/18   Goforth, Heather J. to SCELLC     Sugar Camp Mine Plan       HC 2018-1905   Leased
   Mining Lease         12/11/18   Goforth, Matthew R. to SCELLC     Sugar Camp Mine Plan       HC 2018-1906   Leased
   Mining Lease         12/11/18      Smith, Kerry to SCELLC         Sugar Camp Mine Plan       HC 2018-1907   Leased
   Mining Lease         12/11/18   Johnson, Katherine Elizabeth to   Sugar Camp Mine Plan       HC 2018-1908   Leased
                                             SCELLC
   Mining Lease         12/18/18    Wright, Shelia P. to SCELLC      Sugar Camp Mine Plan       HC 2018-1974   Leased
   Mining Lease         12/18/18   Wright, Richard A. to SCELLC      Sugar Camp Mine Plan       HC 2018-1975   Leased
   Mining Lease         12/18/18    Wright, Michael S. to SCELLC     Sugar Camp Mine Plan       HC 2018-1976   Leased
   Mining Lease         12/18/18     Brown, Gary R. to SCELLC        Sugar Camp Mine Plan       HC 2018-1977   Leased
    Coal Deed           01/09/19      Jenkins, Mike to SCELLC        Sugar Camp Mine Plan       HC 2019-0057   Owned
   Mining Lease         01/09/19     Jenkins, Hellen to SCELLC       Sugar Camp Mine Plan       HC 2019-0058   Leased
   Mining Lease         01/09/19   Bayne, Janet Jenkins to SCELLC    Sugar Camp Mine Plan       HC 2019-0059   Leased
   Mining Lease         01/09/19    Jenkins, James J. to SCELLC      Sugar Camp Mine Plan       HC 2019-0060   Leased
   Mining Lease         01/16/19   Wright, Steven Ray to SCELLC      Sugar Camp Mine Plan       HC 2019-0097   Leased
   Mining Lease         01/16/19    Wright, Ida Louise to SCELLC     Sugar Camp Mine Plan       HC 2019-0098   Leased
    Coal Deed           01/29/19    The Bonnie Camp Meeting to       Sugar Camp Mine Plan       HC 2019-0150   Owned
                                               SCELLC
    Coal Deed           02/01/19    Barnhill, Ruth Eloise Short to   Sugar Camp Mine Plan       HC 2019-0168   Owned
                                               SCELLC
    Coal Deed           02/01/19   Rappe, John James to SCELLC       Sugar Camp Mine Plan       HC 2019-0169   Owned
   Mining Lease         02/01/19     Willis, Bruce E. to SCELLC      Sugar Camp Mine Plan       HC 2019-0172   Leased
   Mining Lease         02/01/19    Knott, Elaine Mae to SCELLC      Sugar Camp Mine Plan       HC 2019-0173   Leased
   Mining Lease         02/01/19   Seibert, John Walter to SCELLC    Sugar Camp Mine Plan       HC 2019-0174   Leased
    Coal Deed           02/08/19      Short, Leon to SCELLC          Sugar Camp Mine Plan       HC 2019-0210   Owned

    Coal Deed           02/08/19      Avolt, Kathleen Eagan to       Sugar Camp Mine Plan       HC 2019-0218   Owned
                                              SCELLC
                  Case 20-41308    Doc 228      Filed 04/01/20 Entered 04/01/20 23:45:34       Main Document
                                                         Pg 893 of 1005




Description/Title of     Date                 Parties                Brief Legal Description      Recording     Owned    Subject to
    Document                                                                                     Information      or     Mortgage
                                                                                                                Leased
    Coal Deed           02/08/19    Avolt, Donna H. to SCELLC        Sugar Camp Mine Plan       HC 2019-0219    Owned

   Mining Lease         02/13/19      Wall, Letitia to SCELLC        Sugar Camp Mine Plan       HC 2019-0223    Leased
   Mining Lease         02/14/19    Rexing, Joseph L. to SCELLC      Sugar Camp Mine Plan        not recorded   Leased
   Mining Lease         02/14/19    Rexing, Joseph L. to SCELLC      Sugar Camp Mine Plan        not recorded   Leased
   Mining Lease         02/19/19   Hoffman, Elaine W. to SCELLC      Sugar Camp Mine Plan       HC 2019-0245    Leased
    Coal Deed           03/12/19   Banning, David W. to SCELLC       Sugar Camp Mine Plan       HC 2019-0368    Owned
   Mining Lease         03/22/19   Kinsey, Frances E. to SCELLC      Sugar Camp Mine Plan       HC 2019-0416    Leased
   Mining Lease         03/22/19   Willis, George Darin to SCELLC    Sugar Camp Mine Plan       HC 2019-0417    Leased
   Mining Lease         03/22/19    Burns, Lenore E. to SCELLC       Sugar Camp Mine Plan       HC 2019-0418    Leased
   Mining Lease         03/22/19     Gill, Lorella E. to SCELLC      Sugar Camp Mine Plan       HC 2019-0419    Leased
   Mining Lease         03/22/19   Oberreiter, Jean Ann (Evans) to   Sugar Camp Mine Plan       HC 2019-0420    Leased
                                               SCELLC
    Coal Deed           03/22/19      Doyle, Kymbra Drasil to        Sugar Camp Mine Plan       HC 2019-0421    Owned
                                               SCELLC
    Coal Deed           03/27/19   Higgins, Cynthia Ann to Elaine    Sugar Camp Mine Plan       HC 2019-0446    Owned
                                             May Knott
    Coal Deed           03/28/19      Short, Dian to SCELLC          Sugar Camp Mine Plan       HC 2019-0463    Owned
    Coal Deed           03/28/19     Short, Richard to SCELLC        Sugar Camp Mine Plan       HC 2019-0464    Owned
    Coal Deed           04/03/19   South Side Christian Church to    Sugar Camp Mine Plan       HC 2019-0507    Owned
                                              SCELLC
   Mining Lease         04/10/19    Yorgan, Jennifer to SCELLC       Sugar Camp Mine Plan       HC 2019-0558    Leased
   Mining Lease         04/10/19   Edmonds, James G. to SCELLC       Sugar Camp Mine Plan       HC 2019-0559    Leased
   Mining Lease         04/23/19   Crowder, Nancee L. to SCELLC      Sugar Camp Mine Plan       HC 2019-0669    Leased
   Mining Lease         04/23/19    Gunn, Patrick L. to SCELLC       Sugar Camp Mine Plan       HC 2019-0671    Leased
   Mining Lease         04/23/19     Gunn, Scott L. to SCELLC        Sugar Camp Mine Plan       HC 2019-0672    Leased
   Mining Lease         04/23/19     Gunn, Kenneth to SCELLC         Sugar Camp Mine Plan       HC 2019-0673    Leased
   Mining Lease         05/01/19   Foresight Energy LP to SCELLC     Sugar Camp Mine Plan        not recorded   Leased
                  Case 20-41308    Doc 228      Filed 04/01/20 Entered 04/01/20 23:45:34       Main Document
                                                         Pg 894 of 1005




Description/Title of     Date                 Parties                Brief Legal Description      Recording    Owned    Subject to
    Document                                                                                     Information     or     Mortgage
                                                                                                               Leased
   Mining Lease         05/08/19     Camden, Randy to SCELLC         Sugar Camp Mine Plan       HC 2019-0750   Leased
   Mining Lease         05/08/19    Davis, Tamera L. to SCELLC       Sugar Camp Mine Plan       HC 2019-0751   Leased
   Mining Lease         05/30/19     Fitts, David F. to SCELLC       Sugar Camp Mine Plan       HC 2019-0851   Leased
    Coal Deed           06/03/19      Avolt, Geoffrey Barth to       Sugar Camp Mine Plan       HC 2019-0870   Owned
                                              SCELLC
   Mining Lease         06/10/19   Buchman, Diana Sue Wright to      Sugar Camp Mine Plan       HC 2019-0896   Leased
                                              SCELLC
   Mining Lease         06/10/19   Willis, Robert James to SCELLC    Sugar Camp Mine Plan       HC 2019-0897   Leased
   Mining Lease         06/10/19    Sears, James R. & Gloria to      Sugar Camp Mine Plan       HC 2019-0898   Leased
                                             SCELLC
   Mining Lease         06/19/19   Wise, Melodie Lea to SCELLC       Sugar Camp Mine Plan       HC 2019-0962   Leased
   Mining Lease         06/19/19    Walker, Edwin N. to SCELLC       Sugar Camp Mine Plan       HC 2019-0963   Leased
   Mining Lease         07/17/19     O'Dell, Paula J. to SCELLC      Sugar Camp Mine Plan       HC 2019-1079   Leased
   Mining Lease         07/17/19    Walker, Ivan W. to SCELLC        Sugar Camp Mine Plan       HC 2019-1080   Leased
   Mining Lease         07/25/19      Hut ton, Catherine Ann to      Sugar Camp Mine Plan       HC 2019-1118   Leased
                                              SCELLC
    Coal Deed           07/25/19   Nuss, Richard E. Sr. to SCELLC    Sugar Camp Mine Plan       HC 2019-1120   Owned
   Mining Lease         08/01/19     Miltenberger, Cheryl G. to      Sugar Camp Mine Plan       HC 2019-1162   Leased
                                             SCELLC
   Mining Lease         08/01/19   Lohman, Sandra E. to SCELLC       Sugar Camp Mine Plan       HC 2019-1163   Leased
   Mining Lease         08/01/19   Entwistle, Craig W. to SCELLC     Sugar Camp Mine Plan       HC 2019-1164   Leased
    Coal Deed           08/28/19    Society of St. Vincent de Paul   Sugar Camp Mine Plan       HC 2019-1317   Owned
                                       Archdiocesan Council
                                             toSCELLC
   Mining Lease         08/28/19    Entwistle, Jacquelyn Marie to    Sugar Camp Mine Plan       HC 2019-1318   Leased
                                              SCELLC
   Mining Lease         08/28/19      Oliver, Mil ton Donald to      Sugar Camp Mine Plan       HC 2019-1318   Leased
                                              SCELLC
   Mining Lease         09/24/19   Prusha, Thomas M. to SCELLC       Sugar Camp Mine Plan       HC 2019-1584   Leased
    Coal Deed           10/09/19   Lowe, Debra Short to SCELLC       Sugar Camp Mine Plan       HC 2019-1697   Owned
                  Case 20-41308     Doc 228      Filed 04/01/20 Entered 04/01/20 23:45:34       Main Document
                                                          Pg 895 of 1005




Description/Title of     Date                   Parties               Brief Legal Description      Recording     Owned    Subject to
    Document                                                                                      Information      or     Mortgage
                                                                                                                 Leased
    Coal Deed           11/14/19    Lewis, Phyllis Ann to SCELLC      Sugar Camp Mine Plan       HC 2019-1869    Owned
    Coal Deed           11/14/19      Duncan, Barbara Joan to         Sugar Camp Mine Plan       HC 2019-1870    Owned
                                              SCELLC
    Coal Deed          11/14/2019   McKinney, Marsha to SCELLC        Sugar Camp Mine Plan       HC 2019-1871    Owned
    Coal Deed          11/14/2019     Kniffen, Susan to SCELLC        Sugar Camp Mine Plan       HC 2019-1872    Owned
    Coal Deed           11/14/19      Blackwell, William Loyd to      Sugar Camp Mine Plan       HC 2019-1873    Owned
                                               SCELLC
   Mining Lease         11/14/19    Flannigan, Monty D. to SCELLC     Sugar Camp Mine Plan       HC 2019-1874    Leased
   Mining Lease         11/20/19      Irish, Wilmot Wheeler to        Sugar Camp Mine Plan       HC 2019-1903    Leased
                                              SCELLC
    Coal Deed           11/26/19    McIntosh, Mark E. to SCELLC       Sugar Camp Mine Plan       HC 2019-1945    Owned
   Mining Lease         12/10/19    Bergen County Animal Shelter to   Sugar Camp Mine Plan        FC 2019-4869   Leased
                                              SCELLC
   Mining Lease         01/16/20     Moore, Carolyn F. to SCELLC      Sugar Camp Mine Plan       HC 2020-0098    Leased
   Mining Lease         01/16/20     Rucker, Lezlie J. to SCELLC      Sugar Camp Mine Plan       HC 2020-0099    Leased
   Mining Lease         01/16/20      Cooper, Rene F. to SCELLC       Sugar Camp Mine Plan       HC 2020-0100    Leased
    Coal Deed           01/21/20       Drake, Roger to SCELLC         Sugar Camp Mine Plan       HC 2020-0109    Owned
   Mining Lease         01/21/20    Debow, Carolyn S. to SCELLC       Sugar Camp Mine Plan       HC 2020-0110    Leased
   Mining Lease         01/21/20      Drake, Daphne to SCELLC         Sugar Camp Mine Plan       HC 2020-0111    Leased
   Mining Lease         02/18/20      Rocky Mountain Lions Eye        Sugar Camp Mine Plan       HC 2020-0319    Leased
                                      Institute Foundation, Inc. to
                                                SCELLC
   Mining Lease         02/18/20      Hoppe, Judy H. to SCELLC        Sugar Camp Mine Plan       HC 2020-0320    Leased
   Mining Lease         02/27/20       Musselman, James Jay to        Sugar Camp Mine Plan       HC 2020-0378    Leased
                                             SCELLC
                       Case 20-41308       Doc 228       Filed 04/01/20 Entered 04/01/20 23:45:34                    Main Document
                                                                  Pg 896 of 1005




Williamson Energy, LLC

Pond Creek No. 1 Mine
16468 Liberty School Road
Marion, IL 62959

Material Properties:

    Description/Title of                                                                                         Recording           Owned or      Subject to
                              Date                 Parties                 Brief Legal Description
        Document                                                                                                Information           Leased       Mortgage
                                                                                                              Franklin County:
                                                                                                               Doc 2006-6571
Short Form of Lease as                   WPP LLC and Williamson          Coal Reserves in Williamson
                            8/14/2006                                                                                                  Leased         Yes
       amended                                Energy, LLC                      County, Illinois
                                                                                                            Williamson County:
                                                                                                            Misc. 301 page 480
                                         Williamson Development
    Short Form of Lease                                                  Coal Reserves in Williamson
                            5/1/2005       Company LLC and                                                   Misc 291 page 461         Leased         Yes
       and Sublease                                                            County, Illinois
                                         Williamson Energy LLC
                                            Independence Land
                                                                         Coal Reserves in Williamson
    Short Form of Lease     3/13/2006       Company, LLC and                                                 Misc 301 Page 479         Leased         Yes
                                                                               County, Illinois
                                         Williamson Energy, LLC
  First Amended and                      Williamson Development
 Restated Lease (Coal      10/15/2006      Company, LLC and              Pond Creek Processing Plant         Misc 313 Page 620         Leased         Yes
      Prep Plant)                        Williamson Energy, LLC
Coal Mining Lease and                    Colt LLC and Williamson         Coal Reserves in Williamson
                             8/12/10                                                                                TBD                Leased         Yes
        Sublease                               Energy, LLC                       County, Il
  First Amended and                      Williamson Development
 Restated Lease (Rail      10/15/2006      Company, LLC and               Pond Creek Rail Load Out           Misc 313 Page 619         Leased         Yes
   Load Out Lease)                       Williamson Energy, LLC
                                         Williamson Development
                                                                        Surface required for Williamson
           Deed              8/12/10       Company, LLC and                                                         TBD                Owned          Yes
                                                                           Energy, LLC Operations 4
                                         Williamson Energy, LLC


4
  This excludes the real property released pursuant to that certain Fifth Amendment and Partial Release of Fee and Leasehold Mortgage, Assignment of Rents and
Leases, Security Agreement and Fixture Filing, dated as of September 26, 2016, by and between Williamson Energy, LLC, as Mortgagor, and Citibank, N.A., in
its capacity as Agent, consisting of approximately 28.55 acres of surface land.
                  Case 20-41308     Doc 228      Filed 04/01/20 Entered 04/01/20 23:45:34       Main Document
                                                          Pg 897 of 1005




Description/Title of                                                                         Recording     Owned or   Subject to
                         Date              Parties             Brief Legal Description
    Document                                                                                Information     Leased    Mortgage
                                   Williamson Development      “Snake areas” required for
     Easement           8/12/10      Company, LLC and           Williamson Energy, LLC      Not Recorded    Owned        Yes
                                   Williamson Energy, LLC              Operations
                                    Eberhart to Williamson
                                                               Ground lease required for
                                   Development Company,
   Ground Lease         8/12/10                                Williamson Energy, LLC       WC 325-900      Leased       Yes
                                       LLC assigned to
                                                                      Operations
                                   Williamson Energy, LLC
                                   Summers to Independence     Ground lease required for
   Ground Lease         8/12/10     Land Company, LLC to       Williamson Energy, LLC       WC 327-750      Leased       Yes
                                   Williamson Energy, LLC             Operations
                                       Diana S. Dulle to     Coal Reserves for Williamson
  Warranty Deed        6/14/2018                                                            WC 2018-4356    Owned
                                   Williamson Energy, LLC      Energy, LLC Operations
                                        Linda Duncan to      Coal Reserves for Williamson
  Warranty Deed        7/13/2018                                                            WC 2018-5209    Owned
                                   Williamson Energy, LLC      Energy, LLC Operations
                                      Jeremy W. Smith to     Coal Reserves for Williamson                   Owned
  Warranty Deed        7/20/2018                                                            WC 2018-5434
                                   Williamson Energy, LLC      Energy, LLC Operations
                                        Lora L. Jones to     Coal Reserves for Williamson
  Warranty Deed        8/20/2018                                                            WC 2018-6259    Owned
                                   Williamson Energy, LLC      Energy, LLC Operations
                                      Shirley N. Smith to    Coal Reserves for Williamson
  Warranty Deed        8/20/2018                                                            WC 2018-6258    Owned
                                   Williamson Energy, LLC      Energy, LLC Operations
                                     Debra Ellen Moser to    Coal Reserves for Williamson
  Warranty Deed        9/4/2018                                                             WC 2018-6707    Owned
                                   Williamson Energy, LLC      Energy, LLC Operations
                                    Larry Dean Bethard to    Coal Reserves for Williamson
  Warranty Deed        9/4/2018                                                             WC 2018-6706    Owned
                                   Williamson Energy, LLC      Energy, LLC Operations
                                      Jerry R. Harpole to    Coal Reserves for Williamson
  Warranty Deed                                                                             WC 2018-6705    Owned
                       9/4/2018    Williamson Energy, LLC      Energy, LLC Operations
                                     Wilma K. Harpole to     Coal Reserves for Williamson
  Warranty Deed        9/4/2018                                                             WC 2018-6704    Owned
                                   Williamson Energy, LLC      Energy, LLC Operations
                                     Kimberly A. Smith to    Coal Reserves for Williamson
  Warranty Deed        9/4/2018                                                             WC 2018-6703    Owned
                                   Williamson Energy, LLC      Energy, LLC Operations
                                     Gerald Lee Bethard to   Coal Reserves for Williamson
  Warranty Deed        9/4/2018                                                             WC 2018-6702    Owned
                                   Williamson Energy, LLC      Energy, LLC Operations
                                    Wendall Ray Bethard to   Coal Reserves for Williamson
  Warranty Deed        9/4/2018                                                             WC 2018-6701    Owned
                                   Williamson Energy, LLC      Energy, LLC Operations
                  Case 20-41308       Doc 228       Filed 04/01/20 Entered 04/01/20 23:45:34          Main Document
                                                             Pg 898 of 1005




Description/Title of                                                                               Recording     Owned or   Subject to
                         Date                 Parties                Brief Legal Description
    Document                                                                                      Information     Leased    Mortgage
                                        Edward W. Sursa to         Coal Reserves for Williamson
  Warranty Deed        9/24/2018                                                                  WC 2018-7338    Owned
                                     Williamson Energy, LLC          Energy, LLC Operations
                                      Barbara Jean Newton to       Coal Reserves for Williamson
  Warranty Deed        9/24/2018                                                                  WC 2018-7337    Owned
                                     Williamson Energy, LLC          Energy, LLC Operations
                                        Debra L. Caplick to        Coal Reserves for Williamson
  Warranty Deed        9/24/2018                                                                  WC 2018-7336    Owned
                                     Williamson Energy, LLC          Energy, LLC Operations
                                          Don N. Sursa to          Coal Reserves for Williamson
  Warranty Deed        9/24/2018                                                                  WC 2018-7335    Owned
                                     Williamson Energy, LLC          Energy, LLC Operations
                                       Jim D. Glazebrook to        Coal Reserves for Williamson
  Warranty Deed        9/24/2018                                                                  WC 2018-7334    Owned
                                     Williamson Energy, LLC          Energy, LLC Operations
                                      Susan Elaine Bethard to      Coal Reserves for Williamson
  Warranty Deed        9/24/2018                                                                  WC 2018-7333    Owned
                                     Williamson Energy, LLC          Energy, LLC Operations
                                       Jerry D. Brookman to        Coal Reserves for Williamson
  Warranty Deed        9/24/2018                                                                  WC 2018-7332    Owned
                                     Williamson Energy, LLC          Energy, LLC Operations
                                         Linda E. Rector to        Coal Reserves for Williamson
  Warranty Deed        9/24/2018                                                                  WC 2018-7331    Owned
                                     Williamson Energy, LLC          Energy, LLC Operations
                                     Marion E. Glazebrook to       Coal Reserves for Williamson
  Warranty Deed        9/24/2018                                                                  WC 2018-7330    Owned
                                     Williamson Energy, LLC          Energy, LLC Operations
                                    Sarah J. Glazebrook Perry to   Coal Reserves for Williamson
  Warranty Deed        9/24/2018                                                                  WC 2018-7329    Owned
                                     Williamson Energy, LLC          Energy, LLC Operations
                                    Michelle McCabe-Doyle to       Coal Reserves for Williamson
  Warranty Deed        10/16/2018                                                                 WC 2018-7977    Owned
                                     Williamson Energy, LLC          Energy, LLC Operations
                                     Richard R. Glazebrook to      Coal Reserves for Williamson
  Warranty Deed        10/16/2018                                                                 WC 2018-7976    Owned
                                     Williamson Energy, LLC          Energy, LLC Operations
                                       Robert Shon Smith to        Coal Reserves for Williamson
  Warranty Deed        10/16/2018                                                                 WC 2018-7975    Owned
                                     Williamson Energy, LLC          Energy, LLC Operations
                                     Elizabeth Jeanne Culli to     Coal Reserves for Williamson
  Warranty Deed        10/16/2018                                                                 WC 2018-7974    Owned
                                     Williamson Energy, LLC          Energy, LLC Operations
                                           Kathy Scott to          Coal Reserves for Williamson
  Warranty Deed        10/23/2018                                                                 WC 2018-8178    Owned
                                     Williamson Energy, LLC          Energy, LLC Operations
                                      Roger W. Glazebrook to       Coal Reserves for Williamson
  Warranty Deed        11/07/2018                                                                 WC 2018-8581    Owned
                                     Williamson Energy, LLC          Energy, LLC Operations
                                        Tommy R. Sursa to          Coal Reserves for Williamson
  Warranty Deed        11/27/2018                                                                 WC 2018-9311    Owned
                                     Williamson Energy, LLC          Energy, LLC Operations
                  Case 20-41308       Doc 228      Filed 04/01/20 Entered 04/01/20 23:45:34        Main Document
                                                            Pg 899 of 1005




Description/Title of                                                                            Recording     Owned or   Subject to
                         Date                Parties              Brief Legal Description
    Document                                                                                   Information     Leased    Mortgage
                                       Allen E. Heinbokel to    Coal Reserves for Williamson
  Warranty Deed        12/03/2018                                                              WC 2018-9490    Owned
                                     Williamson Energy, LLC       Energy, LLC Operations
                                    Jeremiah Wesley Seaman to   Coal Reserves for Williamson
  Warranty Deed        12/18/2018                                                              WC 2018-9920    Owned
                                     Williamson Energy, LLC       Energy, LLC Operations
                                    Alexandra Lewis DeMarino
                                                                Coal Reserves for Williamson
  Warranty Deed        12/18/2018     to Williamson Energy,                                    WC 2018-9919    Owned
                                                                  Energy, LLC Operations
                                                LLC
                                       Shannon Lee Brand to     Coal Reserves for Williamson
  Warranty Deed        1/07/2019                                                               WC 2019-147     Owned
                                     Williamson Energy, LLC       Energy, LLC Operations
                                      Michael James Lewis to    Coal Reserves for Williamson
  Warranty Deed        1/31/2019                                                               WC 2019-727     Owned
                                     Williamson Energy, LLC       Energy, LLC Operations
                                     Karolyn Kay Fullerton to   Coal Reserves for Williamson
  Warranty Deed        1/31/2019                                                               WC 2019-726     Owned
                                     Williamson Energy, LLC       Energy, LLC Operations
                                        Susan E. Denton to      Coal Reserves for Williamson
   Mining Lease         3/5/2019                                                               WC 2019-1569    Leased
                                     Williamson Energy, LLC       Energy, LLC Operations
                                        Ronald L. Smith to      Coal Reserves for Williamson
  Warranty Deed        3/18/2019                                                               WC 2019-1877    Owned
                                     Williamson Energy, LLC       Energy, LLC Operations
                                        Deloris J. Hoehn to     Coal Reserves for Williamson
  Warranty Deed        8/27/2019                                                               WC 2019-6215    Owned
                                     Williamson Energy, LLC       Energy, LLC Operations
                                       James Walter Hoyt to     Coal Reserves for Williamson
  Warranty Deed        1/26/2018                                                               FC 2018-407     Owned
                                     Williamson Energy, LLC       Energy, LLC Operations
                                      Brenda Dora Spencer to    Coal Reserves for Williamson
  Warranty Deed        2/13/2018                                                               FC 2018-633     Owned
                                     Williamson Energy, LLC       Energy, LLC Operations
                                         Patricia K. Dyer to    Coal Reserves for Williamson
  Warranty Deed        3/21/2018                                                               FC 2018-1127    Owned
                                     Williamson Energy, LLC       Energy, LLC Operations
                                        Diana L. Bischler to    Coal Reserves for Williamson
  Warranty Deed        3/21/2018                                                               FC 2018-1126    Owned
                                     Williamson Energy, LLC       Energy, LLC Operations
                                        Lisa M. Engeling to     Coal Reserves for Williamson
   Mining Lease        3/23/2018                                                               FC 2018-1177    Leased
                                     Williamson Energy, LLC       Energy, LLC Operations
                                         Jeanette Fortney to    Coal Reserves for Williamson
  Warranty Deed        4/19/2018                                                               FC 2018-1539    Owned
                                     Williamson Energy, LLC       Energy, LLC Operations
                                        Jerry K. Johnson to     Coal Reserves for Williamson
   Mining Lease        7/13/2018                                                               FC 2018-2781    Leased
                                     Williamson Energy, LLC       Energy, LLC Operations
                  Case 20-41308      Doc 228       Filed 04/01/20 Entered 04/01/20 23:45:34         Main Document
                                                            Pg 900 of 1005




Description/Title of                                                                             Recording     Owned or   Subject to
                         Date                Parties               Brief Legal Description
    Document                                                                                    Information     Leased    Mortgage
                                      Lorna Lynn Hines to        Coal Reserves for Williamson
  Warranty Deed         8/1/2018                                                                FC 2018-3095    Owned
                                    Williamson Energy, LLC         Energy, LLC Operations
                                      Robbie L. Osteen to        Coal Reserves for Williamson
  Warranty Deed         8/1/2018                                                                FC 2018-3094    Owned
                                    Williamson Energy, LLC         Energy, LLC Operations
                                      Brian M. Johnson to        Coal Reserves for Williamson
  Warranty Deed        8/10/2018                                                                FC 2018-3251    Owned
                                    Williamson Energy, LLC         Energy, LLC Operations
                                    Paula T. Hartzel, et al to   Coal Reserves for Williamson
   Mining Lease        8/29/2018                                                                FC 2018-3551    Leased
                                    Williamson Energy, LLC         Energy, LLC Operations
                                        Janet J. Griffin to      Coal Reserves for Williamson
  Warranty Deed         9/5/2018                                                                FC 2018-3642    Owned
                                    Williamson Energy, LLC         Energy, LLC Operations
                                       Gary P. Johnson to        Coal Reserves for Williamson
  Warranty Deed         9/5/2018                                                                FC 2018-3641    Owned
                                    Williamson Energy, LLC         Energy, LLC Operations
                                         Barbara Giles to        Coal Reserves for Williamson
  Warranty Deed         9/5/2018                                                                FC 2018-3640    Owned
                                    Williamson Energy, LLC         Energy, LLC Operations
                                    Katherine Ann Bradley to     Coal Reserves for Williamson
  Warranty Deed        9/18/2018                                                                FC 2018-3870    Owned
                                    Williamson Energy, LLC         Energy, LLC Operations
                                     Shirley Whitehead to        Coal Reserves for Williamson
  Warranty Deed        10/17/2018                                                               FC 2018-4400    Owned
                                    Williamson Energy, LLC         Energy, LLC Operations
                                    Barbara Faye Sharkey to      Coal Reserves for Williamson
  Warranty Deed        10/23/2018                                                               FC 2018-4481    Owned
                                    Williamson Energy, LLC         Energy, LLC Operations
                                      Emma L. Stetson to         Coal Reserves for Williamson
  Warranty Deed         2/1/2019                                                                FC 2019-335     Owned
                                    Williamson Energy, LLC         Energy, LLC Operations
                                     Ronald L. Johnson to        Coal Reserves for Williamson
  Warranty Deed        3/26/2019                                                                FC 2019-1004    Owned
                                    Williamson Energy, LLC         Energy, LLC Operations
                                      Sarah Greenwade to         Coal Reserves for Williamson
  Warranty Deed         4/2/2019                                                                FC 2019-1134    Owned
                                    Williamson Energy, LLC         Energy, LLC Operations
                                       Susan L. Naucke to        Coal Reserves for Williamson
  Warranty Deed         4/2/2019                                                                FC 2019-1154    Owned
                                    Williamson Energy, LLC         Energy, LLC Operations
                                       Brock D. Harris to        Coal Reserves for Williamson
  Warranty Deed        4/17/2019                                                                FC 2019-1351    Owned
                                    Williamson Energy, LLC         Energy, LLC Operations
                                     James Keith Harris to       Coal Reserves for Williamson
  Warranty Deed        4/17/2019                                                                FC 2019-1352    Owned
                                    Williamson Energy, LLC         Energy, LLC Operations
                                      Marilyn S. Harris to       Coal Reserves for Williamson
  Warranty Deed        4/23/2019                                                                FC 2019-1419    Owned
                                    Williamson Energy, LLC         Energy, LLC Operations
                  Case 20-41308      Doc 228      Filed 04/01/20 Entered 04/01/20 23:45:34        Main Document
                                                           Pg 901 of 1005




Description/Title of                                                                           Recording     Owned or   Subject to
                         Date               Parties              Brief Legal Description
    Document                                                                                  Information     Leased    Mortgage
                                       Miranda B. Harris to    Coal Reserves for Williamson
  Warranty Deed        5/14/2019                                                              FC 2019-1752    Owned
                                    Williamson Energy, LLC       Energy, LLC Operations
                                        Charlotte Jean to      Coal Reserves for Williamson
  Warranty Deed        5/14/2019                                                              FC 2019-1751    Owned
                                    Williamson Energy, LLC       Energy, LLC Operations
                                         Debra Krantz to       Coal Reserves for Williamson
  Warranty Deed         7/1/2019                                                              FC 2019-2388    Owned
                                    Williamson Energy, LLC       Energy, LLC Operations
                                        Mary Lou Zech to       Coal Reserves for Williamson
   Mining Lease        7/17/2019                                                              FC 2019-2618    Owned
                                    Williamson Energy, LLC       Energy, LLC Operations
                                      Judith A. Woodard to     Coal Reserves for Williamson
  Warranty Deed        7/17/2019                                                              FC 2019-2617    Owned
                                    Williamson Energy, LLC       Energy, LLC Operations
                                         Debra Krantz to       Coal Reserves for Williamson
  Warranty Deed        7/17/2019                                                              FC 2019-2616    Owned
                                    Williamson Energy, LLC       Energy, LLC Operations
                                    Norma Adams Johnson to     Coal Reserves for Williamson
  Warranty Deed        7/24/2019                                                              FC 2019-2732    Owned
                                    Williamson Energy, LLC       Energy, LLC Operations
                                       Phillip R. Erthall to   Coal Reserves for Williamson
  Warranty Deed        7/30/2019                                                              FC 2019-2832    Owned
                                    Williamson Energy, LLC       Energy, LLC Operations
                                      Robert H. Wilmert to     Coal Reserves for Williamson
  Warranty Deed        7/30/2019                                                              FC 2019-2833    Owned
                                    Williamson Energy, LLC       Energy, LLC Operations
                                      Kenneth L. Wilmert to    Coal Reserves for Williamson
  Warranty Deed        8/13/2019                                                              FC 2019-3062    Owned
                                    Williamson Energy, LLC       Energy, LLC Operations
                                       William Wilmert to      Coal Reserves for Williamson
  Warranty Deed        8/13/2019                                                              FC 2019-3061    Owned
                                    Williamson Energy, LLC       Energy, LLC Operations
                                         Linda S. Lear to      Coal Reserves for Williamson
  Warranty Deed         9/4/2019                                                              FC 2019-3389    Owned
                                    Williamson Energy, LLC       Energy, LLC Operations
                                      Steven H. Machura to     Coal Reserves for Williamson
       Deed            9/16/2019                                                              FC 2019-3554    Owned
                                    Williamson Energy, LLC       Energy, LLC Operations
                                    Sharon A. Aiken-Peterson
                                                               Coal Reserves for Williamson
  Warranty Deed        10/17/2019    to Williamson Energy,                                    FC 2019-3990    Owned
                                                                 Energy, LLC Operations
                                               LLC
                                        Raven N. Fager to      Coal Reserves for Williamson
  Warranty Deed        10/30/2019                                                             FC 2019-4153    Owned
                                    Williamson Energy, LLC       Energy, LLC Operations
                                        Mary Lou Zech to       Coal Reserves for Williamson
   Mining Lease        11/05/2019                                                             FC 2019-4251    Leased
                                    Williamson Energy, LLC       Energy, LLC Operations
                       Case 20-41308      Doc 228      Filed 04/01/20 Entered 04/01/20 23:45:34                      Main Document
                                                                Pg 902 of 1005




 Description/Title of                                                                                            Recording          Owned or   Subject to
                             Date                Parties                 Brief Legal Description
     Document                                                                                                   Information          Leased    Mortgage
                                           Daniel L. Johnson to      Coal Reserves for Williamson
    Warranty Deed          11/14/2019                                                                          FC 2019-4371          Owned
                                        Williamson Energy, LLC         Energy, LLC Operations
                                           Colleen L. Taylor to      Coal Reserves for Williamson
    Warranty Deed          11/26/2019                                                                          FC 2019-4559          Owned
                                        Williamson Energy, LLC         Energy, LLC Operations
                                        Paula Kay Osteen-Cortez to   Coal Reserves for Williamson
    Warranty Deed          2/25/2020                                                                           FC 2020-728           Owned
                                        Williamson Energy, LLC         Energy, LLC Operations
                                          Monta Ray Jennings to      Coal Reserves for Williamson
    Warranty Deed          2/25/2020                                                                           FC 2020-726           Owned
                                        Williamson Energy, LLC         Energy, LLC Operations
                                           Robbie L. Osteen to       Coal Reserves for Williamson
    Warranty Deed          2/25/2020                                                                           FC 2020-727           Owned
                                        Williamson Energy, LLC         Energy, LLC Operations


American Century Transport LLC

Preparation Plant
43521 Mayhugh Hill Rd, Beallsville
OH 43716

Material Properties:

 Description/Title of        Date                    Parties                     Brief Legal Description              Recording       Owned    Subject to
     Document                                                                                                        Information        or     Mortgage
                                                                                                                                      Leased
Special Warranty Deed       1/8/2016    American Energy Corporation to      See legal description set forth in the   201600000427     Owned       Yes
                                        American Century Transport LLC                     deed.
Case 20-41308      Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                     Main Document
                                           Pg 903 of 1005



                                                               Schedule XIII-B to Collateral Questionnaire


                                              MINING LEASES


    WILLIAMSON ENERGY, LLC:

       1.   Amended and Restated Coal Mining Lease Agreement dated August 14, 2006 between WPP LLC,
            Lessor and Williamson Energy, LLC, Lessee, as amended.

       2.   Coal Mining Lease and Sublease between Steelhead Development Company LLC (n/k/a
            Williamson Development Company LLC) and Williamson Energy, LLC dated May 1, 2005, as
            amended.

       3.   Coal Mining Lease Agreement between Independence Land Company, LLC and Williamson
            Energy, LLC (5000-Foot Extension) dated March 13, 2006, as amended.

       4.   First Amended and Restated Lease (Coal Prep Plant) dated October 15, 2006 between Williamson
            Energy, LLC and Williamson Development Company LLC.

       5.   Amended and Restated Surface Sublease and Operation Agreement dated October 15, 2006
            between Williamson Energy, LLC and Williamson Transport, LLC.

       6.   Amended and Restated Surface Sublease and Operation Agreement dated October 15, 2006
            between Williamson Energy, LLC and Williamson Track LLC.

       7.   Coal Mining Lease and Sublease dated August 12, 2010 by and between Colt LLC as lessor and
            Williamson Energy, LLC as lessee, as amended.

    SUGAR CAMP ENERGY, LLC:

       1.   Coal Mining Lease dated July 29, 2005 between RGGS Land & Minerals LTD., L.P., Lessor and
            Sugar Camp Energy, LLC, Lessee, as amended. FC 2006-6919

       2.   First Amendment to Coal Mining Lease dated August 11, 2008 between RGGS Land & Minerals,
            LTD, L.P. and Sugar Camp Energy, LLC. FC 2008-4441

       3.   Illinois Coal Lease dated July 1, 2002 between United States of America, acting through its legal
            agent, the Tennessee Valley Authority, Lessor, and Illinois Fuel Company, LLC, Lessee (as
            assigned to Ruger Coal Company, LLC under that Assignment and Assumption Agreement
            dated August 4, 2009 by and among the United States of America, acting through its legal
            agent, the Tennessee Valley Authority, Lessor, Illinois Fuel Company, LLC, Assignor, and
            Ruger Coal Company, LLC, Assignee, and expressly granting Sugar Camp Energy LLC the
            right to mine the reserves subject to the Lease). FC 2007-5822

       4.   Coal Mining Lease dated August 12, 2010 by and between Ruger Coal Company LLC as
            lessor and Sugar Camp Energy, LLC as lessee. FC 0283

       5.   Contract Mining and Overriding Royalty Agreement dated August 12, 2010 by and between
            Ruger Coal Company LLC and Sugar Camp Energy, LLC (related to Illinois Fuels lease). FC
            0290
Case 20-41308      Doc 228      Filed 04/01/20 Entered 04/01/20 23:45:34                Main Document
                                         Pg 904 of 1005


       6.   Contract Mining and Overriding Royalty Agreement dated August 12, 2010 by and between
            Ruger Coal Company LLC and Sugar Camp Energy, LLC, as amended (related to Franklin
            County lease). FC 0283

       7.   Franklin County Coal Lease dated July 1, 2002 between United States of America, acting
            through its legal agent, the Tennessee Valley Authority, Lessor, and Ruger Coal Company,
            Inc., Lessee, as assigned by Ruger Coal Company, Inc. to Ruger Coal Company, LLC, as
            amended. FC 2007-5132

    MACOUPIN ENERGY LLC:

       1.   Coal Mining Lease and Sublease Agreement dated January 27, 2009 between WPP, LLC,
            Lessor and Macoupin Energy LLC, Lessee.

       2.   Lease Agreement dated January 27, 2009 between HOD, LLC, Lessor and Macoupin Energy
            LLC (Macoupin Rail Loop Lease), as amended.

       3.   Lease Agreement dated January 27, 2009 between HOD, LLC, Lessor and Macoupin Energy
            LLC, Lessee (Macoupin Rail Loadout), as amended.

       4.   Option and Lease Agreement made and entered into as of February 28, 1967, by and between
            Jet Oil Company, as Lessor, and James F. Gatewood, Trustee, under trust established by an
            agreement dated January 13, 1967 and known as the Gatewood-J Trust, as Lessee, a short
            form of which was recorded in Volume 628, Page 456 of the Macoupin County, Illinois
            Miscellaneous Records, as amended and/or assigned (the “SEIP Lease” or “Jet Lease”).

       5.   Assignment of Leases dated January 27, 2009 between Macoupin Energy LLC, Assignor and
            WPP LLC, Assignee.

       6.   Corrective Assignment of Leases dated August 12, 2010 between Macoupin Energy LLC,
            Assignor and WPP LLC, Assignee.

       7.   Coal Mining Lease and Sublease (Unassigned Reserves) dated August 12, 2010 by and
            between Colt LLC as lessor and Macoupin Energy LLC as lessee, as amended.

       8.   Coal Mining Lease and Sublease (Macoupin North Mine Assignment) dated August 12, 2010
            by and between Colt LLC as lessor and Macoupin Energy LLC as lessee.
Case 20-41308      Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34           Main Document
                                           Pg 905 of 1005


                                                                                    Schedule XIV to
                                                                            Collateral Questionnaire
                                    FILINGS AND JURISDICTION

                                                                                        Filing
               Grantor                      Collateral             Instrument        Jurisdiction
         Foresight Energy LLC            Personal Property       UCC-1 Financing      Delaware
                                                                    Statement        Secretary of
                                                                                        State
       Foresight Energy GP LLC           Personal Property       UCC-1 Financing      Delaware
                                                                   Statement         Secretary of
                                                                                        State
        Adena Resources, LLC           Owned and Leased Real     Fee and Leasehold     Franklin
                                             Property            Mortgage/Deed of      County,
                                                                 Trust and Fixture     Illinois
                                                                       Filing
        Adena Resources, LLC           As-Extracted Collateral    UCC-1 Fixture        Franklin
                                                                       Filing          County,
                                                                                        Illinois
        Adena Resources, LLC             Personal Property       UCC-1 Financing      Delaware
                                                                   Statement         Secretary of
                                                                                         State
           Akin Energy LLC               Personal Property       UCC-1 Financing      Delaware
                                                                   Statement         Secretary of
                                                                                         State
      American Century Mineral           Personal Property       UCC-1 Financing      Delaware
               LLC                                                 Statement         Secretary of
                                                                                         State
      American Century Transport        Owned Real Property             Fee            Belmont
                LLC                                              Mortgage/Deed of    County, Ohio
                                                                 Trust and Fixture
                                                                       Filing
      American Century Transport         Personal Property       UCC-1 Financing       Delaware
                LLC                                                 Statement         Secretary of
                                                                                         State
        Coal Field Construction          Personal Property       UCC-1 Financing       Delaware
            Company LLC                                            Statement          Secretary of
                                                                                         State
       Coal Field Repair Services        Personal Property       UCC-1 Financing       Delaware
                  LLC                                              Statement          Secretary of
                                                                                         State
       Foresight Coal Sales LLC          Personal Property.      UCC-1 Financing       Delaware
                                                                   Statement          Secretary of
                                                                                         State
      Foresight Energy Employee          Personal Property.      UCC-1 Financing       Delaware
         Services Corporation                                      Statement          Secretary of
                                                                                         State
       Foresight Energy Finance          Personal Property.      UCC-1 Financing       Delaware
             Corporation                                           Statement          Secretary of
                                                                                         State
      Foresight Energy Labor LLC         Personal Property.      UCC-1 Financing       Delaware
                                                                   Statement          Secretary of
                                                                                         State
Case 20-41308    Doc 228         Filed 04/01/20 Entered 04/01/20 23:45:34           Main Document
                                          Pg 906 of 1005


                                                                                       Filing
              Grantor                      Collateral             Instrument        Jurisdiction
      Foresight Energy Services         Personal Property       UCC-1 Financing      Delaware
                 LLC                                               Statement        Secretary of
                                                                                       State
      Foresight Receivables LLC         Personal Property       UCC-1 Financing     Secretary of
                                                                  Statement            State
        Hillsboro Energy LLC            Personal Property       UCC-1 Financing      Delaware
                                                                  Statement         Secretary of
                                                                                       State
       Hillsboro Transport LLC          Personal Property       UCC-1 Financing      Delaware
                                                                  Statement         Secretary of
                                                                                       State
       LD Labor Company LLC             Personal Property       UCC-1 Financing      Delaware
                                                                  Statement         Secretary of
                                                                                       State
         Logan Mining LLC               Personal Property       UCC-1 Financing      Delaware
                                                                  Statement         Secretary of
                                                                                       State
        M-Class Mining, LLC             Personal Property       UCC-1 Financing      Delaware
                                                                  Statement         Secretary of
                                                                                       State
         Mach Mining, LLC               Personal Property       UCC-1 Financing      Delaware
                                                                  Statement         Secretary of
                                                                                       State
        Macoupin Energy LLC           Owned and Leased Real     Fee and Leasehold    Macoupin
                                            Property            Mortgage/Deed of      County,
                                                                Trust and Fixture     Illinois
                                                                      Filing
        Macoupin Energy LLC           As-Extracted Collateral    UCC-1 Fixture       Macoupin
                                                                      Filing          County,
                                                                                      Illinois
        Macoupin Energy LLC             Personal Property       UCC-1 Financing      Delaware
                                                                  Statement         Secretary of
                                                                                       State
        MaRyan Mining LLC               Personal Property       UCC-1 Financing      Delaware
                                                                  Statement         Secretary of
                                                                                       State
      Oeneus LLC d/b/a Savatran       Owned and Leased Real     Fee and Leasehold    Hamilton,
               LLC                          Property            Mortgage/Deed of     Franklin,
                                                                Trust and Fixture   Williamson,
                                                                      Filing        Gallatin and
                                                                                       Saline
                                                                                     Counties,
                                                                                      Illinois
      Oeneus LLC d/b/a Savatran         Personal Property       UCC-1 Financing      Delaware
               LLC                                                Statement         Secretary of
                                                                                       State
         Patton Mining LLC              Personal Property       UCC-1 Financing      Delaware
                                                                  Statement         Secretary of
                                                                                       State
         Seneca Rebuild LLC             Personal Property       UCC-1 Financing      Delaware
                                                                  Statement         Secretary of
                                                                                       State
             Sitran LLC                 Personal Property       UCC-1 Financing      Delaware
Case 20-41308    Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34           Main Document
                                         Pg 907 of 1005


                                                                                       Filing
              Grantor                      Collateral             Instrument       Jurisdiction
                                                                   Statement       Secretary of
                                                                                       State
       Sugar Camp Energy, LLC        Owned and Leased Real     Fee and Leasehold   Franklin and
                                           Property            Mortgage/Deed of        Saline
                                                               Trust and Fixture    Counties,
                                                                     Filing           Illinois
       Sugar Camp Energy, LLC        As-Extracted Collateral    UCC-1 Fixture      Franklin and
                                                                     Filing            Saline
                                                                                    Counties,
                                                                                      Illinois
       Sugar Camp Energy, LLC          Personal Property       UCC-1 Financing      Delaware
                                                                 Statement         Secretary of
                                                                                       State
         Tanner Energy LLC             Personal Property       UCC-1 Financing      Delaware
                                                                 Statement         Secretary of
                                                                                       State
         Viking Mining LLC             Personal Property       UCC-1 Financing      Delaware
                                                                 Statement         Secretary of
                                                                                       State
       Williamson Energy, LLC        Owned and Leased Real     Fee and Leasehold   Williamson
                                           Property            Mortgage/Deed of    Franklin and
                                                               Trust and Fixture       Saline
                                                                     Filing         Counties,
                                                                                      Illinois
       Williamson Energy, LLC        As-Extracted Collateral    UCC-1 Fixture      Williamson
                                                                   Filing          Franklin and
                                                                                       Saline
                                                                                    Counties,
                                                                                      Illinois
       Williamson Energy, LLC          Personal Property       UCC-1 Financing      Delaware
                                                                 Statement         Secretary of
                                                                                       State
Case 20-41308      Doc 228     Filed 04/01/20 Entered 04/01/20 23:45:34                   Main Document
                                        Pg 908 of 1005


                                                                                            Schedule XV
                                                                             to Collateral Questionnaire

                                             RAILCARS




                                                                                               Owned
      Description/                                                         Brief Legal
                                           Parties                                               or
   Title of Document                                                       Description
                                                                                               Leased
                           THE AMERICAN COAL COMPANY to
    Rental Agreement                                                       220 railcars        Leased
                                      SAVATRAN LLC
                        RLH1LLC to OENEUS LLC d/b/a SAVATRAN               98 railcars -
    Rental Agreement                                                                           Leased
                                             LLC                         expired/returning
                             ALF P-I, Inc. to OENEUS LLC d/b/a
    Rental Agreement                                                       113 railcars        Leased
                                      SAVATRAN LLC
   Rental Agreement -   CIT RAILCAR FUNDING COMPANY, LLC to                296 railcars -
                                                                                               Leased
    Schedule No. 2                    SAVATRAN LLC                       expired/returning
   Rental Agreement -      INFINITY TRANSPORT 2018-1, LLC to
                                                                            90 railcars        Leased
    Schedule No. 3                    SAVATRAN LLC
   Rental Agreement -   THE CIT GROUP/EQUIPMENT FINANCING,
                                                                           115 railcars        Leased
    Schedule No. 5               INC to SAVATRAN LLC
   Rental Agreement -   CIT RAILCAR FUNDING COMPANY, LLC to
                                                                            11 railcars        Leased
    Schedule No. 6                    SAVATRAN LLC
   Rental Agreement -
                             CIT BANK, N.A. to SAVATRAN LLC                 27 railcars        Leased
    Schedule No. 7
   Rental Agreement -   THE CIT GROUP/EQUIPMENT FINANCING,
                                                                            40 railcars        Leased
    Schedule No. 8                INC to SAVATRAN LLC
   Rental Agreement -   THE CIT GROUP/EQUIPMENT FINANCING,
                                                                            25 railcars        Leased
    Schedule No. 9                INC to SAVATRAN LLC
   Rental Agreement -   CIT RAILCAR FUNDING COMPANY, LLC to
                                                                            80 railcars        Leased
    Schedule No. 10                   SAVATRAN LLC
   Rental Agreement -   CIT RAILCAR FUNDING COMPANY, LLC to
                                                                           150 railcars        Leased
    Schedule No. 13                   SAVATRAN LLC
   Rental Agreement -   THE CIT GROUP/EQUIPMENT FINANCING,
                                                                           108 railcars        Leased
    Schedule No. 14               INC to SAVATRAN LLC
   Rental Agreement -   CIT RAILCAR FUNDING COMPANY, LLC to
                                                                            42 railcars        Leased
    Schedule No. 15                   SAVATRAN LLC
                          Riverside Rail ILLC, as ultimate assignee of
    Rental Agreement                                                       119 railcars        Leased
                               BBRX Five LLC to Savatan LLC
                         NBinv Riverside Cars 1, LLC, CCIX LLC and
    Rental Agreement     DCM RAIL LLC and Riverside Rail I LLC to          124 railcars        Leased
                                        Savatran LLC
Case 20-41308       Doc 228       Filed 04/01/20 Entered 04/01/20 23:45:34                 Main Document
                                           Pg 909 of 1005


                                                                                               Schedule XVI
                                                                                 To Collateral Questionnaire

                                       UNUSUAL TRANSACTIONS


   1.   On August 23, 2013, the Company distributed 100% of its ownership interest in Adena Resources, LLC,
        Sitran LLC and Hillsboro Energy LLC to its members. During the first quarter of 2015, Foresight
        Reserves, LP and a member of the Company’s management contributed their 100% equity interest in
        Adena Resources, LLC, Akin Energy LLC, Hillsboro Transport LLC and Sitran LLC to the Company.
Case 20-41308          Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                        Main Document
                                               Pg 910 of 1005


                                                                                                          EXHIBIT C-1

                                           FORM OF TERM LOAN NOTE

          FOR VALUE RECEIVED, FORESIGHT ENERGY LLC, a Delaware limited liability company (the
 “Borrower”), hereby promises to pay to [ ] or registered assigns (the “Lender”), in accordance with the provisions
 of the Credit Agreement (as hereinafter defined), the principal amount of $[ ] or so much thereof as shall constitute
 the aggregate principal amount of Term Loans made by the Lender to the Borrower under that certain Senior Secured
 Superpriority Debtor-in-Possession Credit and Guaranty Agreement, dated as of March 11, 2020 (as it may be
 amended, restated, supplemented or otherwise modified from time to time, the “Credit Agreement”; the terms defined
 therein being used herein as therein defined), among FORESIGHT ENERGY LLC, a Delaware limited liability
 company, as a debtor and debtor-in-possession, as borrower (the “Borrower”), FORESIGHT ENERGY GP LLC, a
 Delaware limited liability company, as a debtor and debtor-in-possession (the “General Partner”), FORESIGHT
 ENERGY LP, a Delaware limited partnership, as a debtor and debtor-in-possession (“Holdings”), CERTAIN
 SUBSIDIARIES OF BORROWER, each as a debtor and debtor-in-possession, as Guarantors, each lender from time
 to time party hereto (collectively, the “Lenders” and, individually, a “Lender”) and Cortland Capital Market Services
 LLC, as Administrative Agent and Collateral Agent.

           The Borrower promises to pay interest on the unpaid principal amount of each Term Loan from the date of
 such Term Loan until such principal amount is paid in full, at such interest rates and at such times as provided in the
 Credit Agreement. All payments of principal and interest shall be made to the Administrative Agent for the account
 of the Lender in Dollars and in Same Day Funds at the Administrative Agent’s Office. If any amount is not paid in
 full when due hereunder, such unpaid amount shall bear interest, to be paid upon demand, from the due date thereof
 until the date of actual payment (and before as well as after judgment) computed at the per annum rate set forth in the
 Credit Agreement.

          This Note is one of the Term Loan Notes (as defined in the Credit Agreement) referred to in the Credit
 Agreement, is entitled to the benefits thereof and may be prepaid in whole or in part subject to the terms and conditions
 provided therein. This Note is also entitled to the benefits of the Guaranty. Upon the occurrence and continuation of
 one or more of the Events of Default specified in the Credit Agreement, all amounts then remaining unpaid on this
 Note may either become or be declared to be immediately due and payable all as provided in the Credit Agreement.
 Term Loans made by the Lender shall be evidenced by one or more loan accounts or records maintained by the Lender
 in the ordinary course of business. The Lender may also attach schedules to this Note and endorse thereon the date,
 amount, currency and maturity of its Term Loans and payments with respect thereto.

        The Borrower, for itself, its successors and assigns, hereby waives diligence, presentment, protest and
 demand and notice of protest, demand, dishonor and non-payment of this Note.

       THIS NOTE SHALL BE GOVERNED BY AND CONSTRUED IN ACCORDANCE WITH THE LAWS
 OF THE STATE OF NEW YORK.




                                                         C-1 - 1
Case 20-41308   Doc 228   Filed 04/01/20 Entered 04/01/20 23:45:34        Main Document
                                   Pg 911 of 1005


                                      FORESIGHT ENERGY LLC



                                      By:       __________________________________________
                                      Name:     __________________________________________
                                      Title:    __________________________________________




                                      C-1 - 2
Case 20-41308   Doc 228    Filed 04/01/20 Entered 04/01/20 23:45:34    Main Document
                                    Pg 912 of 1005


                   LOANS AND PAYMENTS WITH RESPECT THERETO

                                                 Amount of      Outstandi
                                                 Principal or      ng
                          Amount of    End of      Interest     Principal
            Type of         Loan      Interest    Paid This      Balance    Notation
 Date      Loan Made       Made        Period       Date        This Date   Made By




                                       C-1 - 3
Case 20-41308          Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                        Main Document
                                               Pg 913 of 1005


                                                                                                          EXHIBIT C-2

                                         FORM OF ROLL-UP LOAN NOTE

           FOR VALUE RECEIVED, FORESIGHT ENERGY LLC, a Delaware limited liability company (the
 “Borrower”), hereby promises to pay to [ ] or registered assigns (the “Lender”), in accordance with the provisions
 of the Credit Agreement (as hereinafter defined), the principal amount of $[ ] or so much thereof as shall constitute
 the aggregate principal amount of Roll-Up Loans made by the Lender to the Borrower under that certain Senior
 Secured Superpriority Debtor-in-Possession Credit and Guaranty Agreement, dated as of March 11, 2020 (as it may
 be amended, restated, supplemented or otherwise modified from time to time, the “Credit Agreement”; the terms
 defined therein being used herein as therein defined), among FORESIGHT ENERGY LLC, a Delaware limited
 liability company, as a debtor and debtor-in-possession, as borrower (the “Borrower”), FORESIGHT ENERGY GP
 LLC, a Delaware limited liability company, as a debtor and debtor-in-possession (the “General Partner”),
 FORESIGHT ENERGY LP, a Delaware limited partnership, as a debtor and debtor-in-possession (“Holdings”),
 CERTAIN SUBSIDIARIES OF BORROWER, each as a debtor and debtor-in-possession, as Guarantors, each lender
 from time to time party hereto (collectively, the “Lenders” and, individually, a “Lender”) and Cortland Capital Market
 Services LLC, as Administrative Agent and Collateral Agent.

           The Borrower promises to pay interest on the unpaid principal amount of each Roll-Up Loan from the date
 of such Roll-Up Loan until such principal amount is paid in full, at such interest rates and at such times as provided
 in the Credit Agreement. All payments of principal and interest shall be made to the Administrative Agent for the
 account of the Lender in Dollars and in Same Day Funds at the Administrative Agent’s Office. If any amount is not
 paid in full when due hereunder, such unpaid amount shall bear interest, to be paid upon demand, from the due date
 thereof until the date of actual payment (and before as well as after judgment) computed at the per annum rate set
 forth in the Credit Agreement.

          This Note is one of the Roll-Up Loan Notes (as defined in the Credit Agreement) referred to in the Credit
 Agreement, is entitled to the benefits thereof and may be prepaid in whole or in part subject to the terms and conditions
 provided therein. This Note is also entitled to the benefits of the Guaranty. Upon the occurrence and continuation of
 one or more of the Events of Default specified in the Credit Agreement, all amounts then remaining unpaid on this
 Note may either become or be declared to be immediately due and payable all as provided in the Credit Agreement.
 Roll-Up Loans made by the Lender shall be evidenced by one or more loan accounts or records maintained by the
 Lender in the ordinary course of business. The Lender may also attach schedules to this Note and endorse thereon the
 date, amount, currency and maturity of its Roll-Up Loans and payments with respect thereto.

        The Borrower, for itself, its successors and assigns, hereby waives diligence, presentment, protest and
 demand and notice of protest, demand, dishonor and non-payment of this Note.

       THIS NOTE SHALL BE GOVERNED BY AND CONSTRUED IN ACCORDANCE WITH THE LAWS
 OF THE STATE OF NEW YORK.




                                                         C-2 - 1
Case 20-41308   Doc 228   Filed 04/01/20 Entered 04/01/20 23:45:34        Main Document
                                   Pg 914 of 1005


                                      FORESIGHT ENERGY LLC


                                      By:       __________________________________________
                                      Name:     __________________________________________
                                      Title:    __________________________________________




                                      C-2 - 2
Case 20-41308   Doc 228    Filed 04/01/20 Entered 04/01/20 23:45:34    Main Document
                                    Pg 915 of 1005


                   LOANS AND PAYMENTS WITH RESPECT THERETO

                                                 Amount of      Outstandi
                                                 Principal or      ng
                          Amount of    End of      Interest     Principal
            Type of         Loan      Interest    Paid This      Balance    Notation
 Date      Loan Made       Made        Period       Date        This Date   Made By




                                       C-2 - 3
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                        Main Document
                                                Pg 916 of 1005


                                                                                                              EXHIBIT D



                                     FORM OF COMPLIANCE CERTIFICATE



 To:      Cortland Capital Market Services LLC, as Administrative Agent

 Ladies and Gentlemen:

          Reference is made to that certain Senior Secured Superpriority Debtor-in-Possession Credit and Guaranty
 Agreement, dated as of March 11, 2020 (as it may be amended, restated, supplemented or otherwise modified from
 time to time, the “Credit Agreement”; the terms defined therein being used herein as therein defined), among
 FORESIGHT ENERGY LLC, a Delaware limited liability company, as a debtor and debtor-in-possession, as borrower
 (the “Borrower”), FORESIGHT ENERGY GP LLC, a Delaware limited liability company, as a debtor and debtor-in-
 possession (the “General Partner”), FORESIGHT ENERGY LP, a Delaware limited partnership, as a debtor and
 debtor-in-possession (“Holdings”), CERTAIN SUBSIDIARIES OF BORROWER, each as a debtor and debtor-in-
 possession, as Guarantors, each lender from time to time party hereto (collectively, the “Lenders” and, individually, a
 “Lender”) and Cortland Capital Market Services LLC, as Administrative Agent and Collateral Agent.

          The undersigned Responsible Officer hereby certifies as of the date hereof that he/she is the       of   the
 Borrower, and that, as such, he/she is authorized to execute and deliver this Certificate to the Administrative Agent
 on the behalf of the Borrower, and that:

                          [Use following paragraph 1 for fiscal year-end financial statements]

          1.       Attached hereto as Schedule 1 are the year-end audited financial statements required by Section
 6.01(a) of the Credit Agreement for the fiscal year of the Borrower ended as of the above date, together with the report
 and opinion of an independent certified public accountant required by such section.4

                        [Use following paragraph 1 for fiscal quarter-end financial statements]

           2.        Attached hereto as Schedule 1 are the unaudited financial statements required by Section 6.01(b) of
 the Credit Agreement for the fiscal quarter of the Borrower ended as of the above date. Such financial statements
 fairly present in all material respects the financial condition, results of operations, changes in shareholders’ equity and
 cash flows of the Borrower and its Subsidiaries in accordance with GAAP as at such date and for such period, subject
 only to normal year-end audit adjustments and the absence of footnotes.

          3.       The undersigned has reviewed and is familiar with the terms of the Credit Agreement and has made,
 or has caused to be made under his/her supervision, a review of the financial condition of the Borrower during the
 accounting period covered by the attached financial statements.

          4.       A review of the activities of the Borrower during such fiscal period has been made under the
 supervision of the undersigned with a view to determining whether during such fiscal period the Borrower performed
 and observed all of its Obligations under the Loan Documents, and

                                                       [select one:]




          4
                   In the event that Holdings or any Parent reports on a consolidated basis, such consolidated reporting
 at Holdings or such Parent’s level in a manner consistent with that described in clauses (a) and (b) of this Section 6.01
 for the Borrower will satisfy the requirements of such clauses.


                                                           D-1
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                       Main Document
                                                Pg 917 of 1005


          [to the best knowledge of the undersigned during such fiscal period, the Borrower performed and
 observed each covenant of the Loan Documents applicable to it and no Default or Event of Default has occurred
 and is continuing.]

                                                          —or—

         [the following covenants have not been performed or observed and the following is a list of each such
 Default or Event of Default and its nature and status:]

           [5.      Except for the following Subsidiaries which are in the process of complying with the requirements
 of Section 6.12 of the Credit Agreement, as of the date hereof, there is no Subsidiary that is required to be a Guarantor,
 by virtue of the definition of Guarantor.]5

          [[6].    Since the [Closing Date][date of the last Compliance Certificate delivered by the Borrower pursuant
 to Section 6.02(a)], the Loan Parties have acquired the following Material Real Property:]6

         [7].     Unless as stated otherwise in a certificate of a Responsible Officer attached hereto, there has been
 no material change in accounting policies or financial reporting practices by the Borrower or any Subsidiary.




          5
                    To include only if any Subsidiary that is not a Guarantor is required to become a Guarantor by virtue
 of the definition thereof as of the date of the Compliance Certificate.
          6
                    To be included if any Material Real Property is acquired during the period specified, listing
 applicable Loan Party, nature of interest, location and, if leased, name and address of lessor.


                                                          D-2
Case 20-41308     Doc 228      Filed 04/01/20 Entered 04/01/20 23:45:34             Main Document
                                        Pg 918 of 1005


      IN WITNESS WHEREOF, the undersigned has executed this Certificate as of   ,   .

                                               FORESIGHT ENERGY LLC


                                               By:      __________________________________________

                                               Name:    __________________________________________

                                               Title:   __________________________________________




                                                D-3
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                        Main Document
                                                Pg 919 of 1005


                                                        For the Quarter/Year ended                     (“Statement Date”)

                                                     SCHEDULE 1
                                              to the Compliance Certificate

                                                       [See attached]

                                                                                                              EXHIBIT E

                                  FORM OF ASSIGNMENT AND ASSUMPTION

          This Assignment and Assumption Agreement (this “Assignment”) is dated as of the Closing Date set forth
 below and is entered into by and between [Insert name of Assignor] (the “Assignor”) and [Insert name of Assignee]
 (the “Assignee”). Capitalized terms used but not defined herein shall have the meanings given to them in the Credit
 Agreement identified below (as it may be amended, restated, supplemented or otherwise modified from time to time,
 the “Credit Agreement”), receipt of a copy of which is hereby acknowledged by the Assignee. The Standard Terms
 and Conditions set forth in Annex 1 attached hereto (the “Standard Terms and Conditions”) are hereby agreed to and
 incorporated herein by reference and made a part of this Assignment as if set forth herein in full.

           For an agreed consideration, the Assignor hereby irrevocably sells and assigns to the Assignee, and the
 Assignee hereby irrevocably purchases and assumes from the Assignor, subject to and in accordance with the Standard
 Terms and Conditions and the Credit Agreement, as of the Closing Date inserted by the Administrative Agent as
 contemplated below (i) all of the Assignor’s rights and obligations in its capacity as a Lender under the Credit
 Agreement and any other documents or instruments delivered pursuant thereto to the extent related to the amount and
 percentage interest identified below of all of the outstanding rights and obligations of the Assignor under the respective
 facilities identified below (including, without limitation, guarantees included in such facility) and (ii) to the extent
 permitted to be assigned under applicable law, all claims, suits, causes of action and any other right of the Assignor
 (in its capacity as a Lender) against any Person, whether known or unknown, arising under or in connection with the
 Credit Agreement, any other documents or instruments delivered pursuant thereto or the loan transactions governed
 thereby or in any way based on or related to any of the foregoing, including, but not limited to, contract claims, tort
 claims, malpractice claims, statutory claims and all other claims at law or in equity related to the rights and obligations
 sold and assigned pursuant to clause (i) above (the rights and obligations sold and assigned by the Assignor to the
 Assignee pursuant to clauses (i) and (ii) above being referred to herein collectively as, the “Assigned Interest”). Such
 sale and assignment is without recourse to the Assignor and, except as expressly provided in this Assignment and the
 Credit Agreement, without representation or warranty by the Assignor.

 1.       Assignor:

 2.       Assignee:                             [and is an Affiliate/Approved Fund of [identify Lender]7]

 3.       Borrower:                             FORESIGHT ENERGY LLC

 4.       Administrative Agent: Cortland Capital Market Services LLC, as the Administrative Agent under the
          Credit Agreement

 5.       Credit Agreement:                  Senior Secured Superpriority Debtor-in-Possession Credit and Guaranty
          Agreement, dated as of March [ ], 2020 (as amended, restated, supplemented, or otherwise modified from
          time to time, the “Credit Agreement”; the terms defined therein being used herein as therein defined), among
          FORESIGHT ENERGY LLC, a Delaware limited liability company, as a debtor and debtor-in-possession,
          as borrower (the “Borrower”), FORESIGHT ENERGY GP LLC, a Delaware limited liability company, as a
          debtor and debtor-in-possession (the “General Partner”), FORESIGHT ENERGY LP, a Delaware limited
          partnership, as a debtor and debtor-in-possession (“Holdings”), CERTAIN SUBSIDIARIES OF
          BORROWER, each as a debtor and debtor-in-possession, as Guarantors, each lender from time to time party



          7
                   Select as applicable.



                                                           E-1
Case 20-41308               Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                     Main Document
                                                    Pg 920 of 1005


              hereto (collectively, the “Lenders” and, individually, a “Lender”) and Cortland Capital Market Services LLC,
              as Administrative Agent and Collateral Agent.

              1.            Assigned Interest:

                                               Aggregate Amount of        Amount of              Percentage Assigned
                                                Commitment/Loans       Commitment/Loans                  of
 Facility Assigned                                for all Lenders          Assigned              Commitment/Loans8
                                          9
                                              $                        $                         $                   %
                                              $                        $                         $                   %
                                              $                        $                         $                   %

 [7.          Trade Date:                          ]10

 Closing Date: , 20 [TO BE INSERTED BY ADMINISTRATIVE AGENT AND WHICH SHALL BE THE
 CLOSING DATE OF RECORDATION OF TRANSFER IN THE REGISTER THEREFOR.]

              The terms set forth in this Assignment and Assumption are hereby agreed to:

                                                           ASSIGNOR
                                                           [NAME OF ASSIGNOR]
                                                           By:
                                                                 Title:

                                                           ASSIGNEE
                                                           [NAME OF ASSIGNEE]
                                                           By:
                                                                 Title:

 [Consented to and]11 Accepted:

 Cortland Capital Market Services LLC, as the Administrative Agent under the Credit Agreement]

 By: ______________________________________________
     Title:

 [Consented to:

 FORESIGHT ENERGY LLC


 By:
 Title: ]12


              8
                    Set forth, to at least 10 decimals, as a percentage of the Commitment/Loans of all Lenders thereunder.
              9
                    Fill in the appropriate terminology for the types of facilities under the Credit Agreement that are being
 assigned under this Assignment (e.g. “Initial Term Loan”, “Delayed Draw Term Loan Commitment”, “Delayed Draw Term
 Loan”, “Roll-Up Loan”, etc.)
           10
                    To be completed if the Assignor and the Assignee intend that the minimum assignment amount is to be
 determined as of the Trade Date.
           11
                    To be added only if the consent of the Administrative Agent is required by the terms of the Credit
 Agreement.
           12
                    To be added only if the consent of the Borrower is required by the terms of the Credit Agreement. Note
 that the Borrower shall be deemed to have consented to an assignment unless it shall have objected thereto by written notice
 to the Administrative Agent within three (3) Business Days after having received notice thereof.



                                                            E-2
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                        Main Document
                                                Pg 921 of 1005


                                                                   ANNEX 1 TO ASSIGNMENT AND ASSUMPTION

                                                CREDIT AGREEMENT

                                   STANDARD TERMS AND CONDITIONS FOR

                                         ASSIGNMENT AND ASSUMPTION

                   1.        Representations and Warranties.

                      1.1.     Assignor. The Assignor (a) represents and warrants that (i) it is the legal and beneficial
 owner of the Assigned Interest, (ii) the Assigned Interest is free and clear of any lien, encumbrance or other adverse
 claim and (iii) it has full power and authority, and has taken all action necessary, to execute and deliver this Assignment
 and Assumption and to consummate the transactions contemplated hereby; and (b) assumes no responsibility with
 respect to (i) any statements, warranties or representations made in or in connection with the Credit Agreement or any
 other Loan Document, (ii) the execution, legality, validity, enforceability, genuineness, sufficiency or value of the
 Loan Documents or any collateral thereunder, (iii) the financial condition of the Borrower, any of its Subsidiaries or
 Affiliates or any other Person obligated in respect of any Loan Document or (iv) the performance or observance by
 the Borrower, any of its Subsidiaries or Affiliates or any other Person of any of their respective obligations under any
 Loan Document.

                    1.2.     Assignee. The Assignee (a) represents and warrants that (i) it has full power and authority,
 and has taken all action necessary, to execute and deliver this Assignment and Assumption and to consummate the
 transactions contemplated hereby and to become a Lender under the Credit Agreement, (ii) it meets all requirements
 of an Eligible Assignee under the Credit Agreement (subject to receipt of such consents as may be required under the
 Credit Agreement) and is not a Defaulting Lender, Disqualified Institution, a Loan Party or Affiliated Lender,
 (iii) from and after the Closing Date, it shall be bound by the provisions of the Credit Agreement as a Lender
 thereunder and, to the extent of the Assigned Interest, shall have the obligations of a Lender thereunder, (iv) it has
 received a copy of the Credit Agreement, together with copies of the most recent financial statements delivered
 pursuant to Section 6.01 thereof, as applicable, and such other documents and information as it has deemed appropriate
 to make its own credit analysis and decision to enter into this Assignment and Assumption and to purchase the
 Assigned Interest on the basis of which it has made such analysis and decision independently and without reliance on
 any Agent or any other Lender, and (v) if it is not an existing Lender, attached hereto is any documentation required
 to be delivered by it pursuant to the terms of the Credit Agreement, duly completed and executed by the Assignee
 (including an Administrative Questionnaire, all documentation and other information required by bank regulatory
 authorities under applicable “know your customer” and anti-money laundering rules and regulations, and all applicable
 tax forms); and (b) agrees that (i) it will, independently and without reliance on the Administrative Agent, the Assignor
 or any other Lender, and based on such documents and information as it shall deem appropriate at the time, continue
 to make its own credit decisions in taking or not taking action under the Loan Documents, and (ii) it will perform in
 accordance with their terms all of the obligations which by the terms of the Loan Documents are required to be
 performed by it as a Lender.

                  2.        Payments. From and after the Closing Date, the Administrative Agent shall make all
 payments in respect of the Assigned Interest (including payments of principal, interest, fees and other amounts) to the
 Assignor for amounts which have accrued to but excluding the Closing Date and to the Assignee for amounts which
 have accrued from and after the Closing Date.

                    3.        General Provisions. This Assignment and Assumption shall be binding upon, and inure to
 the benefit of, the parties hereto and their respective successors and assigns. This Assignment and Assumption may
 be executed in any number of counterparts, which together shall constitute one instrument. Delivery of an executed
 counterpart of a signature page of this Assignment and Assumption by telecopy shall be effective as delivery of a
 manually executed counterpart of this Assignment and Assumption. This Assignment and Assumption shall be
 governed by, and construed in accordance with, the law of the State of New York.




                                                           E-3
Case 20-41308   Doc 228   Filed 04/01/20 Entered 04/01/20 23:45:34   Main Document
                                   Pg 922 of 1005


                                                                         EXHIBIT F



                                   [RESERVED]
Case 20-41308   Doc 228   Filed 04/01/20 Entered 04/01/20 23:45:34   Main Document
                                   Pg 923 of 1005


                                                                        EXHIBIT G



                                   [RESERVED]
Case 20-41308   Doc 228    Filed 04/01/20 Entered 04/01/20 23:45:34   Main Document
                                    Pg 924 of 1005


                                                                         EXHIBIT H

                          FORM OF CRITICAL VENDOR REPORT



                                    [See Attached]




                                        H-1
Foresight Energy LP
Postpetition Payments of Prepetition Liabilities
Summary

                                                                                                    Amount Paid                                                                                                               Estimated
                                                                                                    Week Ending                                                                                            Cumulative         Prepetition
FDM Categories                                         14‐Mar         21‐Mar         28‐Mar         4‐Apr         11‐Apr         18‐Apr         25‐Apr         2‐May                                         Total             Liability       Motion Cap
Employee Wage & Benefits                                        ‐              ‐              ‐             ‐              ‐              ‐              ‐                                          ‐                   ‐        17,065,000             N/A
Customer Obligations                                            ‐              ‐              ‐             ‐              ‐              ‐              ‐                                          ‐                   ‐           360,000             N/A

  Shippers, Warehousemen and Service Providers                  ‐              ‐              ‐             ‐              ‐              ‐              ‐                                          ‐                   ‐       12,800,000             N/A
  Critical Vendor                                               ‐              ‐              ‐             ‐              ‐              ‐              ‐                                          ‐                   ‐       27,400,000             N/A




                                                                                                                                                                                    Case 20-41308
  503(b)(9)                                                     ‐              ‐              ‐             ‐              ‐              ‐              ‐                                          ‐                   ‐        2,900,000             N/A
Trade                                                                                                                                                                                                                           43,100,000       43,100,000

Royalty and Leasehold Claims                                    ‐              ‐              ‐             ‐              ‐              ‐              ‐                                          ‐                   ‐       14,500,000       14,500,000
Taxes                                                           ‐              ‐              ‐             ‐              ‐              ‐              ‐                                          ‐                   ‐       13,085,000       13,085,000
Insurance Programs                                              ‐              ‐              ‐             ‐              ‐              ‐              ‐                                          ‐                   ‐             N/A              N/A
Cash Management                                                 ‐              ‐              ‐             ‐              ‐              ‐              ‐                                          ‐                   ‐             N/A              N/A
Executory Contracts                                             ‐              ‐              ‐             ‐              ‐              ‐              ‐                                          ‐                   ‐                ‐
Surety Bonds ‐ Premiums / Fees                                  ‐              ‐              ‐             ‐              ‐              ‐              ‐                                          ‐                   ‐             N/A              N/A
Surety Bonds ‐ Collateral                                       ‐              ‐              ‐             ‐              ‐              ‐              ‐                                          ‐                   ‐        2,000,000        2,000,000
Total                                              $            ‐ $            ‐ $            ‐ $           ‐ $            ‐ $            ‐ $            ‐ $                                        ‐ $                 ‐ $     90,110,000 $     72,685,000




                                                                                                                                                                                    Doc 228
                                                                                                                                                                Filed 04/01/20 Entered 04/01/20 23:45:34
                                                                                                                                                                         Pg 925 of 1005
                                                                                                                                                                                    Main Docum
Case 20-41308   Doc 228   Filed 04/01/20 Entered 04/01/20 23:45:34   Main Document
                                   Pg 926 of 1005


                                                                         EXHIBIT I

                 FORM OF MONTHLY MINE-LEVEL FINANCIAL REPORT

                                   [See Attached]




                                       I-1
Case 20-41308                    Doc 228                Filed 04/01/20 Entered 04/01/20 23:45:34                                                       Main Document
                                                                 Pg 927 of 1005

                                           [TBD] Mine 1
                           Statement of Operations / Operating Cash Flow
                                          March 31, 2020

                                                                            MONTH‐TO‐DATE

                                                                      DOLLARS                 PER TON

   Operational Statistics
    Ton produced                                                                      ‐                   NA
    Tons sold                                                                         ‐                   NA

   Revenues
     Coal sales                                                  $                ‐       $               ‐
     Other revenue                                                                    ‐                       ‐
       Total revenues                                                                 ‐                       ‐

   Operating Expenses
    Cost of coal sales
      Labor ‐ salary                                                                  ‐                       ‐
      Labor ‐ hourly                                                                  ‐                       ‐
      Supplies                                                                        ‐                       ‐
      Repairs & maintenance                                                           ‐                       ‐
      Power & utilities                                                               ‐                       ‐
      Property & subsidence                                                           ‐                       ‐
      Temporary mine closure costs                                                    ‐                       ‐
      Longwall panel amortization                                                     ‐                       ‐
      Allocations and Other Expenses                                                  ‐                       ‐
      Overhead                                                                        ‐                       ‐
      Inventory change                                                                ‐                       ‐
      Capitalized costs ‐ cost of coal sales                                          ‐                       ‐
        Total cost of coal sales                                                      ‐                       ‐
       Cost of coal purchased                                                         ‐                       ‐
       Depreciation, depletion & amortization                                         ‐                       ‐
       Accretion on asset retirement obligations                                      ‐                       ‐
       Amortization of sales contracts, net                                           ‐                       ‐
       Transportation expense                                                         ‐                       ‐
       Other (income) / expense                                                       ‐                       ‐
       Selling, general & administrative expenses                                     ‐                       ‐
         Total Operating Expenses                                                     ‐                       ‐

   Operating income                                                                   ‐                       ‐
    Interest expense, net                                                             ‐                       ‐
      Net income (loss)                                                               ‐                       ‐

   Add:
     DD&A                                                                             ‐                       ‐
     Amortization of sales contracts, net                                             ‐                       ‐
     Accretion on AROs                                                                ‐                       ‐
       Operating cash flow                                                            ‐                       ‐
   Less:
     Capital expenditures                                                             ‐                       ‐
       Operating cash flow less capital                                               ‐                       ‐
     Debt service (principal)                                                         ‐                       ‐
       Net cash flow                                                                  ‐                       ‐

   Adjusted EBITDA
    Net income (loss)                                                                 ‐                       ‐
    DD&A                                                                              ‐                       ‐
    Accretion on AROs                                                                 ‐                       ‐
    Amortization of sales contracts, net                                              ‐                       ‐
    Equity‐based compensation‐salary                                                  ‐                       ‐
    Non‐controlling interest                                                          ‐                       ‐
    Interest expense, net                                                             ‐                       ‐
       Adjusted EBITDA                                           $                ‐       $               ‐

   1
    Represents Statement of Operations / Operating Cash Flow template that will be provided monthly for the following six locations: (i) Williamson
   Mine, (ii) Sugar Camp Complex ‐ M Class Mine, (iii) Sugar Camp Complex ‐ Viking Mine, (iv) Hillsboro Mine, (v) Macoupin Mine, and (vi) the Sitran
   Dock/Terminal.
Case 20-41308   Doc 228   Filed 04/01/20 Entered 04/01/20 23:45:34   Main Document
                                   Pg 928 of 1005


                                                                         EXHIBIT J

                FORM OF MONTHLY CONSOLIDATED FINANCIAL REPORT

                                   [See Attached]




                                       J-1
Case 20-41308         Doc 228       Filed 04/01/20 Entered 04/01/20 23:45:34   Main Document
                                             Pg 929 of 1005


                                             Foresight Energy LP
                                   Unaudited Consolidated Balance Sheets
                                                (In Thousands)


                                                                               March 31,
                                                                                 2020
 Assets
 Current assets:
   Cash and cash equivalents                                               $               —
   Accounts receivable                                                                     —
   Due from affiliates                                                                     —
   Financing receivables - affiliate                                                       —
   Inventories, net                                                                        —
   Prepaid royalties                                                                       —
   Deferred longwall costs                                                                 —
   Other prepaid expenses and current assets                                               —
   Contract-based intangibles                                                              —
     Total current assets                                                                  —
 Property, plant, equipment, and development, net                                          —
 Due from affiliates                                                                       —
 Financing receivables - affiliate                                                         —
 Prepaid royalties                                                                         —
 Other assets                                                                              —
 Contract-based intangibles                                                                —
          Total assets                                                     $               —
 Liabilities and partners’ capital
 Current liabilities:
   Current portion of long-term debt and finance lease obligations         $               —
   Current portion of sale-leaseback financing arrangements                                —
   Accrued interest                                                                        —
   Accounts payable                                                                        —
   Accrued expenses and other current liabilities                                          —
   Asset retirement obligations                                                            —
   Due to affiliates                                                                       —
   Contract-based intangibles                                                              —
     Total current liabilities                                                             —
 Long-term debt and finance lease obligations                                              —
 Sale-leaseback financing arrangements                                                     —
 Asset retirement obligations                                                              —
 Other long-term liabilities                                                               —
 Contract-based intangibles                                                                —
     Total liabilities not subject to compromise                                           —
     Liabilities subject to compromise                                                     —
        Total liabilities                                                                  —
 Limited partners' capital:
        Total limited partners' capital                                                    —
          Total liabilities and partners' capital                          $               —
             Case 20-41308                Doc 228          Filed 04/01/20 Entered 04/01/20 23:45:34               Main Document
                                                                    Pg 930 of 1005


                                                      Foresight Energy LP
                                       Unaudited Consolidated Statements of Operations
                                                         (In Thousands)


                                                                                             Month Ended
                                                                                             March 31, 2020

Revenues
    Coal sales                                                                           $                    —
    Other revenues                                                                                            —
Total revenues                                                                                                —

Costs and expenses
    Cost of coal produced (excluding depreciation, depletion and amortization)                                —
    Cost of coal purchased                                                                                    —
    Transportation                                                                                            —
    Depreciation, depletion and amortization                                                                  —
    Contract amortization                                                                                     —
    Accretion and changes in estimates on asset retirement obligations                                        —
    Selling, general and administrative                                                                       —
    Long-lived asset impairments                                                                              —
    Other operating (income) expense, net                                                                     —
Operating income                                                                                              —
Other expenses
    Interest expense, net                                                                                     —
    Interest (benefit) expense, net - sale-leaseback financing arrangements                                   —
    Reorganization items, net                                                                                 —
Net loss                                                                                 $                    —
Case 20-41308   Doc 228   Filed 04/01/20 Entered 04/01/20 23:45:34   Main Document
                                   Pg 931 of 1005


                                                                         EXHIBIT K

                                 INTERIM ORDER

                                    [See attached]




                                       K-1
Case 20-41308          Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                        Main Document
                                               Pg 932 of 1005


                               UNITED STATES BANKRUPTCY COURT
                                 EASTERN DISTRICT OF MISSOURI
                                       EASTERN DIVISION

  In re:                                                    )    Chapter 11
                                                            )
  FORESIGHT ENERGY LP, et al.,                              )    Case No. 20-41308-659
                                                            )
                              Debtors. 1                    )    (Joint Administration Requested)
                                                            )

    INTERIM ORDER (I) AUTHORIZING THE DEBTORS TO (A) OBTAIN POST-
   PETITION FINANCING, (B) GRANT SENIOR SECURED PRIMING LIENS AND
 SUPERPRIORITY ADMINISTRATIVE EXPENSE CLAIMS, AND (C) UTILIZE CASH
 COLLATERAL; (II) GRANTING ADEQUATE PROTECTION TO THE PREPETITION
       SECURED PARTIES; (III) MODIFYING THE AUTOMATIC STAY; (IV)
     SCHEDULING FINAL HEARING; AND (V) GRANTING RELATED RELIEF

           Upon the motion, dated March 10, 2020 (the “Motion”), of Foresight Energy L.P.

 (“FELP”) and its affiliated debtors and debtors in possession (collectively, the “Debtors”) in the

 above-captioned chapter 11 cases (the “Cases”) commenced on March 10, 2020 (the “Petition

 Date”) for interim (this “Interim Order”) and final orders under sections 105, 361, 362, 363, 364,

 503, 506(c) and 507 of title 11 of the United States Code, 11 U.S.C. §§ 101, et seq. (as amended,

 the “Bankruptcy Code”), Rules 2002, 4001, 6003, 6004 and 9014 of the Federal Rules of

 Bankruptcy Procedure (as amended, the “Bankruptcy Rules”), and the Local Bankruptcy Rules for




 1
           The Debtors in these cases are each incorporated or organized in the state of Delaware, and along with the
 last four digits of each Debtor’s federal tax identification number (or SEC filing number if unavailable), are: Foresight
 Energy LP (8894); Foresight Energy GP LLC (8332); Foresight Energy LLC (7685); Foresight Energy Employee
 Services Corporation (7023); Foresight Energy Services LLC (6204); Foresight Receivables LLC (2250); Sugar Camp
 Energy, LLC (8049); Macoupin Energy LLC (9005); Williamson Energy, LLC (9143); Foresight Coal Sales LLC
 (8620); Tanner Energy LLC (0409); Sitran LLC (9962); Seneca Rebuild LLC (0958); Oeneus LLC (6007); Adena
 Resources, LLC (4649); Hillsboro Transport LLC (6881); American Century Transport LLC (SEC No. 5786); Akin
 Energy LLC (1648); American Century Mineral LLC (SEC No. 5788); Foresight Energy Finance Corporation (5321);
 Foresight Energy Labor LLC (4176); Viking Mining LLC (4981); M-Class Mining, LLC (5272); MaRyan Mining
 LLC (7085); Mach Mining, LLC (4826); Logan Mining LLC (2361); LD Labor Company LLC (8454); Coal Field
 Repair Services LLC (9179); Coal Field Construction Company LLC (5694); Hillsboro Energy LLC (1639); and
 Patton Mining LLC (7251). The address of the Debtors’ corporate headquarters is One Metropolitan Square, 211
 North Broadway, Suite 2600, St. Louis, Mirepossouri 63102.
Case 20-41308     Doc 228     Filed 04/01/20 Entered 04/01/20 23:45:34             Main Document
                                       Pg 933 of 1005


 the United States Bankruptcy Court for the Eastern District of Missouri (this “Court”) seeking,

 among other things,

        (a)    authorization for Foresight Energy LLC, in its capacity as borrower (the
               “Borrower”), to obtain postpetition financing, and for each of the other Debtors to
               guarantee unconditionally (the “Guarantors”), on a joint and several basis, the
               Borrower’s obligations in connection with a debtor-in-possession financing,
               comprising a superpriority senior secured multiple-draw term loan facility in an
               aggregate principal amount of up to $175,000,000.00 (the “DIP Facility”), which
               consists of, (i) new money multi-draw term loan facility in an aggregate principal
               amount of $100,000,000.00 (the commitments thereunder, the “New Money DIP
               Commitments” and the loans advanced thereunder, the “New Money DIP Loans”)
               to be funded by certain Prepetition First Lien Lenders (as defined herein) and
               Prepetition Second Lien Noteholders (as defined herein), and (ii) a term loan
               facility in an aggregate principal amount of $75,000,000.00, which shall (A) roll-
               up the Prepetition First Lien Debt (as defined herein), as further described in the
               DIP Facility and the Restructuring Support Agreement (as defined below), held by
               the participating Prepetition First Lien Lenders (or one or more of their respective
               affiliates or any investment advisory client managed or advised by such
               participating Prepetition First Lien Lenders) into the DIP Facility on a pro rata
               basis based on each such participating Prepetition First Lien Lender’s New Money
               DIP Commitments (such rolled-up debt, the “Roll-Up Loans” and, together with
               the New Money DIP Loans, the “DIP Loans”), (C) be issued under the DIP Facility
               on a pari passu basis with the New Money DIP Loans, and (D) be approved in its
               entirety upon entry of and pursuant to the Final Order;

        (b)    authorization for the Debtors to enter into that certain Senior Secured Superpriority
               Debtor-In-Possession Credit and Guaranty Agreement among the Borrower, the
               Guarantors, the lenders from time to time party thereto (collectively, the “DIP
               Lenders”), and Cortland Capital Market Services LLC, as administrative agent and
               collateral agent (in such capacities, the “DIP Agent” and, together with the DIP
               Lenders, the “DIP Parties”) (as amended, restated or otherwise modified from time
               to time in accordance with the terms thereof, the “DIP Credit Agreement,” together
               with all agreements, documents, and instruments delivered or executed in
               connection therewith, including, without limitation, that certain Restructuring
               Support Agreement, dated as of March 10, 2020 (the “Restructuring Support
               Agreement”), as it relates to the commitments of the Backstop Parties (as defined
               herein) to fund the New Money DIP Commitments, the “DIP Documents”), which
               shall be in substantially the same form attached hereto as Exhibit 2, and to perform
               their respective obligations thereunder and all such other and further acts as may be
               necessary, appropriate, or desirable in connection with the DIP Documents;

        (c)    authorization for the Debtors (x) to use the proceeds of the New Money DIP Loans
               and the Prepetition Collateral (as defined herein), including Cash Collateral (as
               defined herein), in accordance with the terms hereof, including pursuant to the Cash
               Flow Forecast (as defined herein) as further described herein, to pay fees and



                                                 2
Case 20-41308   Doc 228     Filed 04/01/20 Entered 04/01/20 23:45:34              Main Document
                                     Pg 934 of 1005


            interest under the DIP Facility, to cash collateralize certain letters of credit issued
            and outstanding under the Prepetition First Lien Credit Documents (as defined
            herein) to provide working capital for, and for other general corporate purposes of,
            the Debtors, including for payment of any Adequate Protection Obligations (as
            defined herein) and (y) to effectuate the Roll-Up Loans;

      (d)   the granting of adequate protection to (x) the term lenders (the “Prepetition First
            Lien Term Loan Lenders”) and revolving lenders (the “Prepetition First Lien
            Revolving Lenders” and, collectively with the Prepetition First Lien Term Loan
            Lenders, the “Prepetition First Lien Lenders”) under the Credit and Guaranty
            Agreement, dated as of March 28, 2017 (as amended, restated, amended and
            restated, waived, supplemented, or otherwise modified, the “Prepetition First Lien
            Credit Agreement” and, all security, pledge and guaranty agreements and all other
            documentation executed in connection with the foregoing, each as amended,
            supplemented or otherwise modified, the “Prepetition First Lien Credit
            Documents”), by and among Foresight Energy LLC, as borrower, the guarantors
            party thereto, (collectively with the borrower, the “Obligors”), The Huntington
            National Bank, as facilities administrative agent (in such capacity, the “Prepetition
            First Lien Administrative Agent”), Lord Securities Corporation, as term
            administrative agent (in such capacity, the “Prepetition First Lien Term Loan
            Agent,” and together with Lord Securities Corporation in its capacity as collateral
            trustee under the Collateral Trust Agreement (as defined below), the “Prepetition
            Collateral Trustee” and the Prepetition First Lien Administrative Agent, the
            “Prepetition First Lien Agents”; and the Prepetition First Lien Agents, together with
            the Prepetition First Lien Lenders, the “Prepetition First Lien Parties”), and the
            Prepetition First Lien Lenders and (y) the noteholders (collectively, the “Prepetition
            Second Lien Noteholders”) under the Indenture, dated as of March 28, 2017 (as
            amended, supplemented or otherwise modified, the “Prepetition Second Lien
            Indenture” and, together with all security, pledge and guaranty agreements and all
            other documentation executed in connection with the foregoing, each as amended,
            supplemented or otherwise modified, the “Prepetition Second Lien Documents”
            and, together with the First Lien Credit Documents, the “Prepetition Credit
            Documents”) among Foresight Energy LLC and Foresight Energy Finance
            Corporation, as co-issuers, the guarantors party thereto and Wilmington Trust,
            National Association as trustee for the Prepetition Second Lien Noteholders
            (together with the collateral agent for the Prepetition Second Lien Noteholders, the
            “Prepetition Second Lien Indenture Trustee” and together with the Prepetition
            Second Lien Noteholders, the “Prepetition Second Lien Parties,” and the
            Prepetition Second Lien Indenture Trustee, together with the Prepetition First Lien
            Agents, the “Prepetition Agents”; and the Prepetition Agents collectively with the
            Prepetition First Lien Lenders, and the Prepetition Second Lien Noteholders, the
            “Prepetition Secured Parties”);

      (e)   granting of adequate protection to the Prepetition Secured Parties with respect to,
            among other things, the use of their Cash Collateral and the Prepetition Collateral
            (as defined below);




                                              3
Case 20-41308   Doc 228     Filed 04/01/20 Entered 04/01/20 23:45:34               Main Document
                                     Pg 935 of 1005


      (f)   authorization for the Debtors to pay, on a final and irrevocable basis, the principal,
            interest, fees, expenses, and other amounts payable under the DIP Documents as
            such become earned, due and payable, including, without limitation, the Upfront
            Fee (as defined herein), the Put Option Premium (as defined herein), the Exit
            Premium (as defined herein), the Delayed Draw Term Loan Commitment Fee (as
            defined herein), letter of credit fees, agency fees, audit fees, appraisal fees,
            valuation fees, administrative and collateral agents’ fees, and the reasonable fees
            and disbursements of the DIP Agents’ and DIP Lenders’ attorneys, advisors,
            accountants, appraisers, bankers and other consultants, all to the extent provided in,
            and in accordance with, the DIP Documents;

      (g)   the granting of valid, enforceable, non-avoidable and fully perfected first priority
            liens on and senior security interests in all of the property, assets and other interests
            in property and assets of the Debtors that is not subject to a valid and perfected lien
            on the Petition Date (such property and assets, the “Unencumbered Assets”), except
            as otherwise specifically provided herein, whether such property is presently owned
            or after-acquired, and all other “property of the estate” (within the meaning of the
            Bankruptcy Code) of the Debtors, of any kind or nature whatsoever, real or
            personal, tangible, intangible or mixed, now existing or hereafter acquired or
            created, whether existing prior to or arising after the Petition Date, including, upon
            entry of the Final Order, the proceeds of Avoidance Actions (as defined herein),
            subject only to the Carve Out (as defined herein) and, if any, the Permitted Liens
            (as defined herein) on the terms and conditions set forth herein and in the DIP
            Documents;

      (h)   the granting of valid, enforceable, non-avoidable and fully perfected first priority
            priming liens on and senior security interests in all of the property, assets and other
            interests in property and assets of the Debtors, except as otherwise specifically
            provided herein, whether such property is presently owned or after-acquired, and
            all other “property of the estate” (within the meaning of the Bankruptcy Code) of
            the Debtors, of any kind or nature whatsoever, real or personal, tangible, intangible
            or mixed, now existing or hereafter acquired or created, whether existing prior to
            or arising after the Petition Date, subject only to the Carve Out and, if any, the
            Permitted Liens on the terms and conditions set forth herein and in the DIP
            Documents;

      (i)   the granting of valid, enforceable, non-avoidable and fully perfected liens on and
            junior security interests in all of the property, assets and other interests in property
            and assets of the Debtors, except as otherwise specifically provided herein, whether
            such property is presently owned or after-acquired, and all other “property of the
            estate” (within the meaning of the Bankruptcy Code) of the Debtors, of any kind or
            nature whatsoever, real or personal, tangible, intangible or mixed, now existing or
            hereafter acquired or created, whether existing prior to or arising after the Petition
            Date, that is subject to valid and perfected security interests in and liens on such
            property in favor of third parties existing on the Petition Date, excluding the
            Prepetition Liens, subject only to the Carve Out and, if any, the Permitted Liens on
            the terms and conditions set forth herein and in the DIP Documents;



                                               4
Case 20-41308          Doc 228       Filed 04/01/20 Entered 04/01/20 23:45:34                   Main Document
                                              Pg 936 of 1005


          (j)      the granting of superpriority administrative expense claims against each of the
                   Debtors’ estates to the DIP Agent and the DIP Lenders, with respect to the DIP
                   Obligations (as defined herein) with priority over any and all administrative
                   expenses of any kind or nature subject and subordinate only to the Carve Out on
                   the terms and conditions set forth herein and in the DIP Documents;

          (k)      the waiver of the Debtors’ and the estates’ right to surcharge against the Prepetition
                   Collateral pursuant to Bankruptcy Code section 506(c), subject to entry of the Final
                   Order (but retroactive to the Petition Date);

          (l)      authorization for the DIP Agent and the DIP Lenders to exercise remedies under
                   the DIP Documents on the terms described herein upon the occurrence and during
                   the continuance of a Termination Event (as defined herein);

          (m)      the modification of the automatic stay imposed pursuant to Bankruptcy Code
                   section 362 to the extent necessary to implement and effectuate the terms of this
                   Interim Order;

          (n)      pursuant to Bankruptcy Rule 4001, that an interim hearing (the “Interim Hearing”)
                   on the Motion be held before this Court to consider entry of this Interim Order,
                   among other things, (1) authorizing the Borrower, on an interim basis, to borrow
                   from the DIP Lenders under the DIP Documents in a single draw up to an aggregate
                   principal amount not to exceed $55,000,000.00 in New Money DIP Loans (subject
                   to any limitations of borrowing under the DIP Documents) (the “Initial DIP Term
                   Loans”); (2) upon entry of the Final Order (as defined below), to borrow from the
                   DIP Lenders under the DIP Documents (x) in a single draw New Money DIP Loans,
                   in an aggregate principal amount, not to exceed $100,000,000.00 (less the Initial
                   DIP Loans) (the “Delayed Draw DIP Term Loans”), and (y) the Roll-Up Loans for
                   a total aggregate principal amount not to exceed $175,000,000.00; (3) authorizing
                   the Guarantors to guaranty the DIP Obligations, (4) authorizing the Debtors’ use of
                   Cash Collateral, and (5) granting the adequate protection described in this Interim
                   Order; and

          (o)      that this Court schedule a final hearing (the “Final Hearing”) to consider entry of a
                   final order (the “Final Order”) authorizing and approving, on a final basis, among
                   other things, the Borrower’s borrowing from the DIP Lenders under the DIP
                   Documents up to an aggregate principal amount of $100,000,000.00 in New Money
                   DIP Loans, the Roll-Up Loans and the continued use of Cash Collateral and
                   granting adequate protection, in each case, as described in the Motion and set forth
                   in the DIP Documents.

          The Court having considered the Motion, the Herman Declaration, 2 the evidence submitted

 or proffered and the arguments of counsel made at Interim Hearing; and proper and sufficient


 2
     Declaration of Seth Herman in Support of Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing
     the Debtors to (A) Obtain Post-Petition Financing, (B) Grant Senior Secured Priming Liens and Superpriority



                                                         5
Case 20-41308          Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                      Main Document
                                               Pg 937 of 1005


 notice of the Motion and the Interim Hearing having been given in accordance with Bankruptcy

 Rules 2002, 4001(b), (c) and (d), and 9014; and the Interim Hearing to consider the relief requested

 in the Motion having been held and concluded; and all objections, if any, to the relief requested in

 the Motion and to the entry of this Order having been withdrawn, resolved, or overruled by the

 Court; and it appearing to the Court that granting the relief requested is fair and reasonable and in

 the best interests of the Debtors, their estates, creditors and parties in interest; and after due

 deliberation and consideration, and for good and sufficient cause appearing therefor;

 IT IS FOUND, DETERMINED, ORDERED AND ADJUDGED, that: 3

          1.       Disposition. The Motion is GRANTED on an interim basis in accordance with the

 terms of this Interim Order. Any objections to the Motion with respect to the entry of this Interim

 Order that have not been withdrawn, waived, or settled, and all reservation of rights included

 therein, are hereby denied and overruled.

          2.       Jurisdiction. This Court has core jurisdiction over the Cases commenced on

 Petition Date, the Motion, and the parties and property affected hereby pursuant to 28 U.S.C.

 §§ 157 and 1334. Venue is proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

          3.       Notice. Under the circumstances, the notice given by the Debtors of, and as

 described in, the Motion, the relief requested therein, and the Interim Hearing constitutes due and

 sufficient notice thereof and complies with Bankruptcy Rules 4001(b) and (c) and the Local Rules,

 and no further notice of the relief sought at the Interim Hearing and the relief granted herein is

 necessary or required.


     Administrative Expense Claims, and (C) Utilize Cash Collateral; (II) Granting Adequate Protection to the
     Prepetition Secured Parties; (III) Modifying the Automatic Stay; (IV) Scheduling Final Hearing; and (V) Granting
     Related Relief (the “Herman Declaration”)
 3
     Findings of fact shall be construed as conclusions of law, and conclusions of law shall be construed as findings of
     fact.




                                                            6
Case 20-41308       Doc 228     Filed 04/01/20 Entered 04/01/20 23:45:34             Main Document
                                         Pg 938 of 1005


        4.      Debtors’ Stipulations. Without prejudice to the rights of any other party, but

 subject to the limitations thereon contained in paragraphs 29 and 30 of this Interim Order, the

 Debtors represent, admit, stipulate, and agree as follows:

        (a)     Prepetition First Lien Obligations. As of the Petition Date, the Obligors, without

 defense, counterclaim, or offset of any kind, were jointly and severally indebted and liable to the

 Prepetition First Lien Parties under the Prepetition First Lien Credit Documents in the aggregate

 amount of not less than $900,285,564.62, which consists of (x) approximately $157,000,000 in

 principal amount of revolving loans and $743,285,564.62 in principal amounts of term loans

 advanced under the Prepetition First Lien Credit Agreement, plus (y) no less than approximately

 $18,644,570.84 on account of accrued and unpaid interest thereon as of the Petition Date ((x) and

 (y) together, the “Prepetition First Lien Obligations Amount”), plus all other fees, costs, expenses,

 indemnification obligations, reimbursement obligations (including on account of issued and

 undrawn letters of credit), charges, premiums, if any, additional interest, any other “Obligations”

 (as defined on the Prepetition First Lien Credit Agreement) and all other obligations of whatever

 nature owing, whether or not contingent, whenever arising, accrued, accruing, due, owing or

 chargeable under the Prepetition First Lien Credit Documents (collectively, including the

 Prepetition First Lien Obligations Amount, the “Prepetition First Lien Obligations”).           The

 Prepetition First Lien Obligations constitute legal, valid, binding and non-avoidable obligations

 against each of the Debtors and are not subject to any avoidance, recharacterization, effect,

 counterclaim, defense, offset, subordination, other claim, cause of action or other challenge of any

 kind under the Bankruptcy Code, under applicable non-bankruptcy law or otherwise. No payments

 or transfers made to or for the benefit of (or obligations incurred to or for the benefit of) the

 Prepetition First Lien Agents or Prepetition First Lien Parties by or on behalf of any of the Debtors




                                                  7
Case 20-41308       Doc 228      Filed 04/01/20 Entered 04/01/20 23:45:34              Main Document
                                          Pg 939 of 1005


 prior to the Petition Date under or in connection with any of the Petition First Lien Credit

 Documents is subject to avoidance, recharacterization, effect, counterclaim, defense, offset,

 subordination, other claim, cause of action or other challenge of any kind or nature under the

 Bankruptcy Code, under applicable non-bankruptcy law or otherwise.

        (b)     Prepetition First Liens. Pursuant to the Prepetition First Lien Credit Documents,

 the Prepetition First Lien Obligations are secured by valid, binding, perfected and enforceable first

 priority liens on and security interests in (the “Prepetition First Liens”) the “Collateral” (as defined

 in the Prepetition First Lien Credit Documents) (the “Prepetition Collateral”), subject only to

 certain Permitted Liens as permitted under the Prepetition First Lien Credit Documents. The

 Prepetition First Liens (i) are valid, binding, perfected, and enforceable first priority liens and

 security interests in the Prepetition Collateral, (ii) are not subject, pursuant to the Bankruptcy Code

 or other applicable law, to avoidance, recharacterization, recovery, subordination, attack, offset,

 counterclaim, defense, or “claim” (as defined in the Bankruptcy Code) of any kind, (iii) as of the

 Petition Date are subject and/or subordinate only to certain Permitted Liens (if any) as permitted

 by the terms of the Prepetition First Lien Credit Documents and (iv) constitute the legal, valid, and

 binding obligation of the Loan Parties (as defined in the Prepetition First Lien Credit Documents),

 enforceable in accordance with the terms of the applicable Prepetition First Lien Credit

 Documents.

        (c)     Prepetition Second Lien Obligations. As of the Petition Date, the Obligors, without

 defense, counterclaim, or offset of any kind, were jointly and severally indebted and liable to the

 Prepetition Second Lien Parties under the Prepetition Second Lien Documents in the aggregate

 amount of not less than approximately $472,121,609.38, which consists of (x) $425,000,000 in

 principal amount outstanding under the Prepetition Second Lien Indenture, plus (y) no less than




                                                    8
Case 20-41308       Doc 228     Filed 04/01/20 Entered 04/01/20 23:45:34              Main Document
                                         Pg 940 of 1005


 approximately $47,121,609.38 on account of accrued and unpaid interest thereon as of the Petition

 Date ((x) and (y) together, the “Prepetition Second Lien Obligations Amount”), plus all other fees,

 costs, expenses, indemnification obligations, charges, premiums, if any, additional interest, any

 other “Obligations” as defined in the Prepetition Second Lien Indenture and all other obligations

 of whatever nature owing, whether or not contingent, whenever arising, accrued, accruing, due,

 owing or chargeable under the Prepetition Second Lien Documents (collectively, including the

 Prepetition Second Lien Obligations Amount, the “Prepetition Second Lien Obligations” and,

 together with the Prepetition First Lien Obligations, the “Prepetition Secured Obligations”). The

 Prepetition Second Lien Obligations constitute legal, valid, binding and non-avoidable obligations

 against each of the Obligors and are not subject to any avoidance, recharacterization, effect,

 counterclaim, defense, offset, subordination, other claim, cause of action or other challenge of any

 kind under the Bankruptcy Code, under applicable non-bankruptcy law or otherwise. No payments

 or transfers made to or for the benefit of (or obligations incurred to or for the benefit of) the

 Prepetition Second Lien Indenture Trustee or Prepetition Second Lien Parties by or on behalf of

 any of the Debtors prior to the Petition Date under or in connection with any of the Prepetition

 Second Lien Documents is subject to avoidance, recharacterization, effect, counterclaim, defense,

 offset, subordination, other claim, cause of action or other challenge of any kind or nature under

 the Bankruptcy Code, under applicable non-bankruptcy law or otherwise.

        (d)     Prepetition Second Liens. Pursuant to the Prepetition Second Lien Documents, the

 Prepetition Second Lien Obligations are secured by valid, binding, perfected and enforceable

 second priority liens on and security interests in the Prepetition Collateral (the “Prepetition Second

 Liens” and, together with the Prepetition First Liens, the “Prepetition Liens”), which Prepetition

 Second Liens are subject and subordinate only to the Prepetition First Liens and certain Permitted




                                                   9
Case 20-41308        Doc 228      Filed 04/01/20 Entered 04/01/20 23:45:34               Main Document
                                           Pg 941 of 1005


 Liens. The Prepetition Second Liens (i) are valid, binding, perfected, and enforceable second

 priority liens and security interests in the Prepetition Collateral, (ii) are not subject, pursuant to the

 Bankruptcy Code or other applicable law, to avoidance, recharacterization, recovery,

 subordination, attack, offset, counterclaim, defense, or “claim” (as defined in the Bankruptcy

 Code) of any kind, (iii) as of the Petition Date are subject and/or subordinate only to the Prepetition

 First Liens and certain Permitted Liens (if any) as permitted by the terms of the Prepetition Second

 Lien Documents and (iv) constitute the legal, valid, and binding obligation of the Grantors (as

 defined in the Prepetition Second Lien Documents), enforceable in accordance with the terms of

 the applicable Prepetition Second Lien Documents.

         (e)     Collateral Trust Agreement. As of the Petition Date, the Borrower was party to that

 certain Collateral Trust Agreement, dated as of March 28, 2017 (as amended, supplemented,

 amended and restated or otherwise modified from time to time prior to the date of this Interim

 Order, the “Collateral Trust Agreement”) among the Prepetition First Lien Administrative Agent,

 the Prepetition Collateral Trustee and the Prepetition Second Lien Indenture Trustee. The

 Collateral Trust Agreement governs the respective rights, interests, obligations, priority, and

 positions of the Prepetition Secured Parties with respect to the Prepetition Collateral. The Obligors

 have acknowledged and agreed to, and are bound by, the Collateral Trust Agreement.

         (f)     Cash Collateral. Any and all of the Debtors’ cash, including cash and other

 amounts on deposit or maintained in any account or accounts by the Debtors, and any amounts

 generated by the collection of accounts receivable or other disposition of the Prepetition Collateral

 (as defined herein) existing as of the Petition Date or from time to time, and the proceeds of any




                                                    10
Case 20-41308          Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                     Main Document
                                               Pg 942 of 1005


 of the foregoing, is the Prepetition Secured Parties’ cash collateral within the meaning of

 Bankruptcy Code section 363(a) (the “Cash Collateral”). 4

          5.       Findings Regarding the DIP Facility and Use of Cash Collateral.

          (a)      Good cause has been shown for the entry of this Interim Order.

          (b)      As set forth in the Herman Declaration, the Debtors have an immediate need to

 obtain the DIP Facility and to use the Cash Collateral in each case on an interim basis, in order to,

 among other things: (i) permit the orderly continuation of their respective businesses; (ii) maintain

 business relationships with their vendors, suppliers, customers, and other parties; (iii) make

 payroll; (iv) make capital expenditures; (v) make adequate protection payments; and (vi) pay the

 costs of the administration of the Cases and satisfy other working capital and general corporate

 purposes of the Debtors. The Debtors require immediate access to sufficient working capital and

 liquidity through the incurrence of the new indebtedness for borrowed money and other financial

 accommodations to avoid irreparable harm by, among other things, preserving and maintaining

 the going concern value of the Debtors’ business. The Debtors will not have sufficient sources of

 working capital and financing to operate their business or maintain their properties in the ordinary

 course of business throughout the Cases without the DIP Facility and authorized use of Cash

 Collateral.

          (c)      As set forth in the Herman Declaration, the Debtors are unable to obtain financing

 on more favorable terms from sources other than the DIP Lenders under the DIP Documents and


 4
     As noted in the Debtors’ Motion for Entry of Interim and Final Orders (A) Authorizing Continued Use of the
     Debtors’ Existing Cash Management System; (B) Authorizing Use of Existing Bank Accounts and Business Forms;
     (C) Granting A Limited Waiver of Requirements of Section 345(b) of the Bankruptcy Code; (D) Authorizing
     Continuation of Ordinary Course Intercompany Transactions; (E) Granting Administrative Expense Priority
     Status to Postpetition Intercompany Claims; and (F) Granting Related Relief (the “Cash Management Motion”),
     the Debtors receive coal sale proceeds into an account maintained by Foresight Receivable LLC with the
     Prepetition First Lien Administrative Agent, which proceeds are then swept into a concentration account on a daily
     basis.




                                                          11
Case 20-41308      Doc 228      Filed 04/01/20 Entered 04/01/20 23:45:34            Main Document
                                         Pg 943 of 1005


 are unable to obtain adequate unsecured credit allowable under Bankruptcy Code section 503(b)(1)

 as an administrative expense. Other than with respect to the Unencumbered Assets, the Debtors

 are also unable to obtain secured credit allowable under Bankruptcy Code sections 364(c)(1),

 364(c)(2), and 364(c)(3) for the purposes set forth in the DIP Documents without the Debtors

 granting to the DIP Agent, for the benefit of itself and the DIP Lenders, subject to the Carve Out

 as provided for herein and the Permitted Liens (if any), the DIP Liens (as defined herein) and the

 DIP Superpriority Claims (as defined herein) and, subject to the Carve Out, incurring the Adequate

 Protection Obligations (as defined herein), in each case, under the terms and conditions set forth

 in this Interim Order and the DIP Documents. For the avoidance of doubt, the DIP Liens include

 liens on and security interests in the Unencumbered Assets pursuant to Bankruptcy Code section

 364(c)(2).

        (d)     The terms of the DIP Facility, the DIP Documents, and the use of Cash Collateral

 are fair and reasonable, reflect the Debtors’ exercise of prudent business judgment consistent with

 their fiduciary duties and constitute reasonably equivalent value and fair consideration.

        (e)     The DIP Facility has been negotiated in good faith and at arm’s length among the

 Debtors, the DIP Agent and the DIP Lenders (including the Backstop Parties (as defined herein)),

 and all of the Debtors’ obligations and indebtedness arising under, in respect of, or in connection

 with the DIP Facility and the DIP Documents including, without limitation, all loans (including,

 upon entry of the Final Order, the Roll-Up Loans) made to and guarantees issued by the Debtors

 pursuant to the DIP Documents and all other Obligations (as defined in the DIP Credit Agreement)

 (collectively, the “DIP Obligations”) shall be deemed to have been extended by the DIP Agent and

 the DIP Lenders in good faith as that term is used in Bankruptcy Code section 364(e) and in express

 reliance upon the protections offered by Bankruptcy Code section 364(e). The DIP Obligations,




                                                 12
Case 20-41308       Doc 228     Filed 04/01/20 Entered 04/01/20 23:45:34             Main Document
                                         Pg 944 of 1005


 the DIP Liens and the DIP Superpriority Claims shall be entitled to the full protection of

 Bankruptcy Code section 364(e) in the event that this Interim Order or any provision hereof is

 vacated, reversed, or modified on appeal or otherwise and any liens or claims granted to the DIP

 Agent or the DIP Lenders hereunder arising prior to the effective date of any such vacatur, reversal

 or modification of this Interim Order shall be governed in all respects by the original provisions

 of this Interim Order, including entitlement to all rights, remedies, privileges and benefits granted

 herein.

           (f)   Subject to entry of the Final Order, the Roll-Up Loans as provided for under the

 DIP Facility are appropriate and the DIP Lenders would not be willing to provide the New Money

 DIP Loans or extend credit to the Debtors thereunder without the inclusion of the Roll-Up Loans

 within the DIP Facility.

           (g)   The Debtors have requested entry of this Interim Order pursuant to Bankruptcy

 Rules 4001(b)(2) and 4001(c)(2) and the Local Rules. For the reasons set forth in the Motion, the

 declarations filed in support of the Motion, and the record presented to the Court at the Interim

 Hearing, absent granting the relief sought by this Interim Order, the Debtors’ estates will be

 immediately and irreparably harmed. Consummation of the DIP Facility and authorization of the

 use of the Prepetition Collateral (including the Cash Collateral) in accordance with this Interim

 Order and the DIP Documents are, therefore, in the best interests of the Debtors’ estates and are

 consistent with the Debtors’ fiduciary duties.

           (h)   Pursuant to section 2.8 of the Collateral Trust Agreement and as set forth in the

 Restructuring Support Agreement, (x) the Prepetition Second Lien Noteholders have consented or

 are deemed to have consented to the terms of the DIP Facility and this Interim Order, (y) the

 Prepetition Second Liens and the Second Lien Adequate Protection Liens are subordinate to the




                                                  13
Case 20-41308      Doc 228     Filed 04/01/20 Entered 04/01/20 23:45:34            Main Document
                                        Pg 945 of 1005


 Carve Out, the Permitted Liens, the DIP Liens, the First Lien Adequate Protection Liens (as

 defined herein) and Prepetition First Liens, and (z) the Prepetition Second Lien Obligations are

 subject to the Carve Out and the Permitted Liens and the prior payment in full of the DIP

 Obligations, the First Lien Adequate Protection Obligations and, solely as provided in the

 Collateral Trust Agreement, the Prepetition First Lien Obligations.

        6.      Authorization of the DIP Facility and the DIP Documents.

        (a)     The Debtors are hereby expressly authorized and empowered to execute and deliver

 and, on such execution and delivery, directed to perform under the DIP Documents, including the

 DIP Credit Agreement, which is hereby approved and incorporated herein by reference.

        (b)     Upon entry of this Interim Order, the Borrower is hereby authorized to borrow, and

 the Guarantors are hereby authorized to guaranty, borrowings up to an aggregate principal amount

 of $55,000,000.00 in New Money DIP Loans (plus interest, fees, indemnities, and other expenses

 and other amounts provided for in the DIP Credit Agreement), subject to and in accordance with

 this Interim Order and the DIP Documents.

        (c)     Proceeds of the DIP Loans and Cash Collateral shall be used solely for the purposes

 permitted under the DIP Credit Agreement, this Interim Order and in accordance with the Cash

 Flow Forecast (as defined below), the DIP Documents, and this Interim Order.

        (d)     In furtherance of the foregoing and without further approval of this Court, each

 Debtor is authorized, and the automatic stay imposed by Bankruptcy Code section 362 is hereby

 lifted to the extent necessary and applicable, to perform all acts and to make, execute and deliver

 all instruments and documents (including, without limitation, the DIP Credit Agreement and any

 collateral documents contemplated thereby), and to pay all fees, expenses, indemnities, and other




                                                 14
Case 20-41308      Doc 228     Filed 04/01/20 Entered 04/01/20 23:45:34             Main Document
                                        Pg 946 of 1005


 amounts contemplated thereby or that may be reasonably required or necessary for the Debtors’

 performance of their obligations under the DIP Facility including, without limitation:

        (i)     the execution, delivery, and performance of the DIP Documents, including, without

                limitation, the DIP Credit Agreement and any collateral documents contemplated

                thereby;

        (ii)    the execution, delivery and performance of one or more amendments, waivers,

                consents or other modifications to and under the DIP Documents (in each case in

                accordance with the terms of the DIP Documents and in such form as the Debtors,

                the DIP Agent and the Required Lenders (as defined in the DIP Credit Agreement)

                may agree), it being understood that no further approval of the Court shall be

                required for any amendments, waivers, consents or other modifications to and under

                the DIP Documents or the Cash Flow Forecast, except that any modifications or

                amendments to the DIP Documents that shorten the maturity thereof or increase the

                aggregate commitments thereunder or the rate of interest payable with respect

                thereto shall be on notice and subject to a hearing and Court approval, as necessary;

        (iii)   the non-refundable and, upon entry of this Interim Order, irrevocable payment to

                each of the DIP Lenders or the DIP Agent, as applicable, of the fees referred to in

                the DIP Documents (which fees, in each case, shall be, and shall be deemed to have

                been, approved upon entry of this Interim Order, and which fees shall not be subject

                to any challenge, contest, attack, rejection, recoupment, reduction, defense,

                counterclaim, offset, subordination, recharacterization, avoidance or other claim,

                cause of action or other challenge of any nature under the Bankruptcy Code, under

                applicable non-bankruptcy law or otherwise) and any amounts due (or that may




                                                 15
Case 20-41308   Doc 228    Filed 04/01/20 Entered 04/01/20 23:45:34          Main Document
                                    Pg 947 of 1005


            become due) in respect of any indemnification obligations under the DIP

            Documents, including:

                   •   an upfront fee of 3.0% of the aggregate principal amount of New Money
                       DIP Commitments (the “Upfront Fee”), which shall be structured as
                       original issue discount against the New Money DIP Loans when
                       advanced;

                   •   an exit premium of 1.0% of the aggregate principal amount of the New
                       Money DIP Commitments (the “Exit Premium”), payable in the form of
                       equity in reorganized FELP upon the Plan Effective Date (as defined in
                       the DIP Credit Agreement) pursuant to the terms and conditions set
                       forth in the DIP Credit Agreement and the Restructuring Support
                       Agreement; provided, however, that upon the occurrence of an Event of
                       Default under the DIP Credit Agreement or upon repayment of the DIP
                       Loans in full and termination of all New Money DIP Commitments
                       without the occurrence of the Plan Effective Date, the Exit Premium
                       shall be immediately payable in cash in an amount equal to
                       $2,000,000.00;

                   •   a put option premium of 5.0% of the aggregate principal amount of the
                       New Money DIP Commitments of the Backstop Parties (as defined
                       herein) (the “Put Option Premium”), payable in the form of equity in
                       the reorganized FELP upon the Plan Effective Date pursuant to the
                       terms and conditions set forth in the DIP Credit Agreement, the
                       Restructuring Support Agreement and related backstop commitment
                       arrangements; provided, however, that upon the occurrence of an Event
                       of Default under the DIP Credit Agreement or upon repayment of the
                       DIP Loans in full and termination of all New Money DIP Commitments
                       without the occurrence of the Plan Effective Date, the Put Option
                       Premium shall be immediately payable in cash in an amount equal to
                       $10,000,000.00;

                   •   a commitment fee on each DIP Lender’s commitment to fund the
                       Delayed Draw DIP Term Loans (the “Delayed Draw Term Loan
                       Commitment Fee”) at a rate per annum equal to 1.00%, payable
                       pursuant to the terms and conditions set forth in the DIP Credit
                       Agreement; and

                   •   all reasonable costs and expenses as may be due from time to time under
                       the DIP Documents, the Restructuring Support Agreement and this
                       Interim Order, including, without limitation, fees and expenses of
                       counsel, financial advisors and other professionals retained by the DIP
                       Agent and the DIP Lenders as provided for in the DIP Documents and
                       this Interim Order, subject to the provisions of paragraph 28 hereof;




                                            16
Case 20-41308       Doc 228     Filed 04/01/20 Entered 04/01/20 23:45:34           Main Document
                                         Pg 948 of 1005


        (iv)     make the payments on account of the First Lien Adequate Protection Obligations

                 provided for in this Interim Order; and

        (v)      the performance of all other acts required under or in connection with the DIP

                 Documents.

        (e)      Upon execution and delivery of the DIP Credit Agreement and the other DIP

 Documents, such DIP Documents shall constitute valid, binding, and non-avoidable obligations of

 the Debtors enforceable against each Debtor party thereto in accordance with their respective terms

 and the terms of this Interim Order for all purposes during the Cases, any subsequently converted

 Case of any Debtor to a case under chapter 7 of the Bankruptcy Code, or after the dismissal of any

 Case. No obligation, payment, transfer, or grant of security under the DIP Credit Agreement, the

 other DIP Documents or this Interim Order shall be stayed, restrained, voidable, avoidable or

 recoverable under the Bankruptcy Code or under any applicable law (including without limitation,

 under Bankruptcy Code sections 502(d), 548 or 549 or under any applicable state Uniform

 Fraudulent Transfer Act, Uniform Fraudulent Conveyance Act, Uniform Voidable Transaction Act

 or similar statute or common law), or subject to any defense, reduction, setoff, recoupment or

 counterclaim.

        (f)      The Guarantors hereby are authorized and directed to jointly, severally and

 unconditionally guarantee in full all of the DIP Obligations of the Borrower and to incur any DIP

 Obligations and DIP Liens in connection therewith.

        7.       The Backstop DIP Parties and Syndication Procedures.

        (a)      Funds and/or accounts affiliated with, or managed and/or advised by, Benefit Street

 Partners, LLC, DoubleLine Capital LP, GoldenTree Asset Management LP, Ivy Investments

 Management Company, KKR Credit Advisors (US) LLC, and Davidson Kempner Capital




                                                 17
Case 20-41308      Doc 228      Filed 04/01/20 Entered 04/01/20 23:45:34            Main Document
                                         Pg 949 of 1005


 Management LP (together with their respective successors and permitted assignees, each a

 “Backstop Party” and collectively, the “Backstop Parties”) will, severally and not jointly, backstop

 the DIP Facility in the amounts set forth in the DIP Documents and the Restructuring Support

 Agreement. Subject to entry of this Interim Order, (i) all eligible Prepetition First Lien Lenders

 (which, for the avoidance of doubt, includes any Backstop Party) shall be offered the right to

 participate in funding up to 46.375% of the New Money DIP Commitments based ratably on each

 such lender’s holdings of Prepetition First Lien Debt and (ii) all eligible Prepetition Second Lien

 Noteholders (which, for the avoidance of doubt, includes any Backstop Party) shall be offered the

 right to participate in funding up to 3.625% of the New Money DIP Commitments based ratably

 on such noteholder’s holdings of Prepetition Second Lien Debt, all as further set forth in the DIP

 Documents, the Restructuring Support Agreement and procedures satisfactory to the DIP Agent

 and the Backstop Parties, which shall include, among other things, a provision that any such

 participating Prepetition First Lien Lender or Prepetition Second Lien Noteholder agree to be

 bound by the Restructuring Support Agreement.

        8.      Budget.

        (a)     Except as otherwise provided herein or in the DIP Documents, the Debtors may
                only use Cash Collateral and the proceeds of the DIP Facility in accordance with a
                projected statement of sources and uses of cash for the Debtors for the current and
                following 13 calendar weeks (but not any preceding weeks) attached hereto as
                Exhibit 1 (as may be amended, replaced, supplemented or otherwise modified in
                accordance with the terms of this Interim Order and the DIP Documents, the “Cash
                Flow Forecast”), including without limitation, for: (A) working capital
                requirements; (B) general corporate purposes; (C) to cash collateralize existing
                letters of credit; and (D) the costs and expenses (including making payments on
                account of the Adequate Protection Obligations hereunder and payment of the
                allowed fees and expenses of professionals retained by the Debtors’ estates) of
                administering the Cases (including payments under the Carve Out as provided
                herein). On the Thursday of the fourth calendar week following the week in which
                the Petition Date occurs, and thereafter on the Thursday following the end of every
                fourth calendar week, the Debtors shall deliver an updated Cash Flow Forecast, in
                each case substantially in the form attached hereto as Exhibit 1 (with only such




                                                 18
Case 20-41308         Doc 228       Filed 04/01/20 Entered 04/01/20 23:45:34                  Main Document
                                             Pg 950 of 1005


                  changes thereto as the Required Lenders shall agree in their sole discretion) or is
                  otherwise in form and substance satisfactory to the Required Lenders in their sole
                  discretion.

         (b)      On the first Thursday of the first full week following the Petition Date, and every
                  Thursday thereafter, the Debtors shall deliver to (i) the DIP Agent, (ii) Akin Gump
                  Strauss Hauer & Feld LLP (“Akin Gump”) and Lazard Frères & Co. LLC (“Lazard”
                  and, together with Akin Gump, the “Ad Hoc First Lien Advisors”), and (iii)
                  Milbank LLP (“Milbank”) and Perella Weinberg Partners L.P. (“Perella” and,
                  together with Milbank, the “Ad Hoc Crossover Advisors”), a weekly variance
                  report for the one week period following the Closing Date, the two week period
                  following the Closing Date, the three week period following the Closing Date and
                  the four week period following the Closing Date, and thereafter, a weekly variance
                  report for the one week period following the most recently delivered Cash Flow
                  Forecast, the two week period following the most recently delivered Cash Flow
                  Forecast, the three week period following the most recently delivered Cash Flow
                  Forecast and the four week period following the most recently delivered Cash Flow
                  Forecast, with the report for each week in a four week period including an
                  individual report for such week and a cumulative report to date for such four week
                  period (each such one week, two week, three week or four week cumulative period,
                  a “Reporting Period”), in each case, setting forth for the applicable Reporting
                  Period, ended on the immediately preceding Friday prior to the delivery thereof, (i)
                  the negative variance (as compared to the applicable Cash Flow Forecast and the
                  Budget 5) of the operating cash receipts (on a line item by line item basis and an
                  aggregate basis for all line items) of the Debtors for the applicable Reporting Period
                  and for the last week of the applicable Reporting Period, (2) the positive variance
                  (as compared to the applicable Cash Flow Forecast and the Budget) of the
                  disbursements (on a line item by line item basis and an aggregate basis for all line
                  items) made by the Debtors set forth under “MEC Affiliate Disbursements” in the
                  Cash Flow Forecast (including, without limitation, any payments pursuant to the
                  Management Services Agreement (as defined in the DIP Credit Agreement)) for
                  the applicable Reporting Period and for the last week of the applicable Reporting
                  Period, (3) the positive variance (as compared to the applicable Cash Flow Forecast
                  and the Budget) of the total disbursements (on a line item by line item basis and an
                  aggregate basis for all line items) (excluding professional fees, interest payments
                  and disbursements made by the Debtors set forth under “MEC Affiliate
                  Disbursements” in the Cash Flow Forecast (including, without limitation, any
                  payments pursuant to the Management Services Agreement)) made by the Debtors
                  for the applicable Reporting Period and for the last week of the applicable
                  Reporting Period and (4) an explanation, in reasonable detail, for any material
                  negative variance (in the case of receipts) or material positive variance (in the case
                  of disbursements) set forth in such variance report, certified by an Authorized
                  Officer of the Borrower (the “Budget Variance Report”). Without giving effect to
                  the making of DIP Loans or the repayments or prepayments of DIP Loans, in no

 5
         As used herein, the term “Budget” shall have the meaning assigned to the term “DIP Budget” in the DIP
 Credit Agreement



                                                       19
Case 20-41308      Doc 228     Filed 04/01/20 Entered 04/01/20 23:45:34          Main Document
                                        Pg 951 of 1005


               event shall (a) beginning with the delivery of the initial Budget Variance Report
               and tested, as of the last day of each applicable two-week period commencing with
               the last day of the first two-week period ending after the Closing Date, for such
               two-week period (i) the negative variance (as compared to the applicable Cash Flow
               Forecast) of the actual aggregate operating cash receipts of the Debtors exceed 15%
               and (ii) the positive variance (as compared to the applicable Cash Flow Forecast)
               of the aggregate operating disbursements (excluding professional fees, interest
               payments and disbursements made by the Debtors set forth under “MEC Affiliate
               Disbursements” in the Cash Flow Forecast (including, without limitation, any
               payments pursuant to the Management Services Agreement)) made by the Debtors
               shall exceed 15%, and (iii) the positive variance (as compared to the applicable
               Cash Flow Forecast) of the aggregate disbursements made by the Debtors set forth
               under “MEC Affiliate Disbursements” in the Cash Flow Forecast (including,
               without limitation, any payments pursuant to the Management Services
               Agreement)) exceed 15%, and (b) beginning with the delivery of the third Budget
               Variance Report, as of the last day of each applicable four-week period
               commencing with the last day of the first four-week period ending after the Closing
               Date, for such four-week period, (i) the negative variance (as compared to the
               applicable Cash Flow Forecast) of the actual aggregate operating cash receipts of
               the Debtors exceed 10%, (ii) the positive variance (as compared to the applicable
               Cash Flow Forecast) of the aggregate operating disbursements (excluding
               professional fees, interest payments and disbursements made by the Debtors set
               forth under “MEC Affiliate Disbursements” in the Cash Flow Forecast (including,
               without limitation, any payments pursuant to the Management Services Agreement)
               made by the Debtors exceed 10%, and (iii) the positive variance (as compared to
               the applicable Cash Flow Forecast) of the aggregate disbursements made by the
               Debtors set forth under “MEC Affiliate Disbursements” in the Cash Flow Forecast
               (including, without limitation, any payments pursuant to the Management Services
               Agreement) exceed 10%.

        (c)    The consent of the DIP Lenders to the Budget or any applicable Cash Flow Forecast
               shall not be construed as consent to the use of any Cash Collateral or DIP Loans
               after the occurrence of an Event of Default (as defined in the DIP Credit
               Agreement), regardless of whether the aggregate funds shown on the Budget or any
               applicable Cash Flow Forecast have been expended.

        9.     Reporting Requirements/Access to Records. The Debtors shall provide the DIP

 Lenders, the Ad Hoc First Lien Advisors, and the Ad Hoc Crossover Advisors with all reporting

 and other information required to be provided to the DIP Agent under the DIP Documents. In

 addition to, and without limiting, whatever rights to access the DIP Agent and the DIP Lenders

 have under the DIP Documents, upon reasonable notice, at reasonable times during normal

 business hours, the Debtors shall permit representatives, agents, and employees of the DIP Agent



                                               20
Case 20-41308       Doc 228     Filed 04/01/20 Entered 04/01/20 23:45:34             Main Document
                                         Pg 952 of 1005


 and the DIP Lenders to: (i) have access to and inspect the Debtors’ assets; (ii) examine the Debtors’

 books and records; and (iii) discuss the Debtors’ affairs, finances, and condition with the Debtors’

 officers and financial advisors.

        10.     DIP Superpriority Claims. Pursuant to Bankruptcy Code section 364(c)(1), all of

 the DIP Obligations shall constitute allowed senior administrative expense claims of the DIP Agent

 and the DIP Lenders, against each of the Debtors’ estates (the “DIP Superpriority Claims”),

 without the need to file any proof of claim or request for payment of administrative expenses, with

 priority over any and all administrative expenses, adequate protection claims, diminution claims

 and all other claims against the Debtors, now existing or hereafter arising, of any kind whatsoever,

 including, without limitation, all administrative expenses of the kind specified in Bankruptcy Code

 sections 503(b) and 507(b), and over any and all administrative expenses or other claims arising

 under Bankruptcy Code sections 105, 326, 328, 330, 331, 503(b), 506(c), 507(a), 507(b), 726,

 1113, or 1114 or otherwise, whether or not such expenses or claims may become secured by a

 judgment lien or other non-consensual lien, levy or attachment, which allowed claims shall for the

 purposes of Bankruptcy Code section 1129(a)(9)(A) be considered administrative expenses

 allowed under Bankruptcy Code section 503(b) and which shall be payable from and have recourse

 to all prepetition and postpetition property of the Debtors and all proceeds thereof, including, upon

 entry of the Final Order, the proceeds of any claims or causes of action arising under chapter 5 of

 the Bankruptcy Code (the “Avoidance Actions”), subject only to the payment of the Carve Out to

 the extent specifically provided for herein. Except as set forth in, or permitted by, this Interim

 Order, no other superpriority claims shall be granted or allowed in these Cases.

        11.     DIP Liens. As security for the DIP Obligations, effective and automatically

 perfected upon the date of this Interim Order, and without the necessity of the execution,




                                                  21
Case 20-41308       Doc 228      Filed 04/01/20 Entered 04/01/20 23:45:34               Main Document
                                          Pg 953 of 1005


 recordation of filings by the Debtors of mortgages, security agreements, control agreements,

 pledge agreements, financing statements or other similar documents, or the possession or control

 by the DIP Agent or any DIP Lender of, or over, any DIP Collateral (as defined herein), the

 following security interests and liens are hereby granted by the Debtors to the DIP Agent, for the

 benefit of the DIP Agent and the DIP Lenders (all property identified in clauses (a), (b) and (c)

 below being collectively referred to as the “DIP Collateral”), subject only to the payment of the

 Carve Out to the extent specifically provided for herein and the Permitted Liens (if any) (all such

 liens and security interests granted to the DIP Agent, for the benefit of the DIP Agent and the DIP

 Lenders, pursuant to this Interim Order and the DIP Documents, the “DIP Liens”):

         (a)     First Lien on Unencumbered Property. Pursuant to Bankruptcy Code section

 364(c)(2), a valid, binding, continuing, enforceable, fully-perfected first priority senior security

 interest in and lien upon all prepetition and postpetition property of the Debtors, whether existing

 on the Petition Date or thereafter acquired, that, on or as of the Petition Date is not subject to valid,

 perfected and non-avoidable liens (or perfected after the Petition Date to the extent permitted by

 Bankruptcy Code section 546(b)), including, without limitation, any unencumbered cash of the

 Debtors (whether maintained with the DIP Agent or otherwise) and any investment of such cash,

 accounts, inventory, goods, contract rights, mineral rights, instruments, documents, chattel paper,

 patents, trademarks, copyrights, and licenses therefor, accounts receivable, receivables and

 receivables records, general intangibles, payment intangibles, tax or other refunds, insurance

 proceeds, letters of credit, intercompany claims, contracts, owned real estate, real property

 leaseholds, fixtures, deposit accounts, commercial tort claims, securities accounts, instruments,

 investment property, letter-of-credit rights, supporting obligations, vehicles, machinery and

 equipment, real property, leases (and proceeds from the disposition thereof), all of the issued and




                                                    22
Case 20-41308       Doc 228     Filed 04/01/20 Entered 04/01/20 23:45:34              Main Document
                                         Pg 954 of 1005


 outstanding capital stock of each Debtor, other equity or ownership interests, including equity

 interests in subsidiaries and non-wholly-owned subsidiaries, money, investment property, causes

 of action (including, upon entry of the Final Order, the proceeds of Avoidance Actions), and all

 cash and non-cash proceeds, rents, products, substitutions, accessions, profits and supporting

 obligations of any of the collateral described above, whether in existence on the Petition Date or

 thereafter created, acquired, or arising and wherever located.

        (b)     Liens Priming the Prepetition Liens.        Pursuant to Bankruptcy Code section

 364(d)(1), a valid, binding, continuing, enforceable, fully-perfected first priority senior priming

 security interest in and lien upon all prepetition and postpetition property of the Debtors including,

 without limitation, the Prepetition Collateral, Cash Collateral, and any investment of such cash,

 accounts, inventory, goods, contract rights, mineral rights, instruments, documents, chattel paper,

 patents, trademarks, copyrights, and licenses therefor, accounts receivable, receivables and

 receivables records, general intangibles, payment intangibles, tax or other refunds, insurance

 proceeds, letters of credit, intercompany claims, contracts, owned real estate, real property

 leaseholds, fixtures, deposit accounts, commercial tort claims, securities accounts, instruments,

 investment property, letter-of-credit rights, supporting obligations, vehicles, machinery and

 equipment, real property, leases (and proceeds from the disposition thereof), all of the issued and

 outstanding capital stock of each Debtor, other equity or ownership interests, including equity

 interests in subsidiaries and non-wholly-owned subsidiaries, money, investment property, causes

 of action, and all cash and non-cash proceeds, rents, products, substitutions, accessions, profits and

 supporting obligations of any of the collateral described above, whether in existence on the Petition

 Date or thereafter created, acquired, or arising and wherever located, that is subject to any of the

 Prepetition Liens securing the Prepetition Secured Obligations.




                                                  23
Case 20-41308         Doc 228       Filed 04/01/20 Entered 04/01/20 23:45:34                   Main Document
                                             Pg 955 of 1005


          (c)      Liens Junior to Certain Other Liens.                   Pursuant to Bankruptcy Code

 section 364(c)(3), a valid, binding, continuing, enforceable, fully-perfected security interest in and

 lien upon all prepetition and postpetition property of the Debtors (other than the property described

 in clauses (a) or (b) of this paragraph 11, as to which the liens and security interests in favor of the

 DIP Agent will be as described in such clauses), whether now existing or hereafter acquired, that

 is subject to valid, perfected and unavoidable liens in existence immediately prior to the Petition

 Date, if any, that are senior to the liens securing the Prepetition First Lien Obligations or to valid

 and unavoidable liens in existence immediately prior to the Petition Date, if any, that are perfected

 subsequent to the Petition Date as permitted by Bankruptcy Code section 546(b) that are senior to

 the liens securing the Prepetition First Lien Obligations, which security interests and liens in favor

 of the DIP Agent and the DIP Lenders are junior only to such valid, perfected and unavoidable

 liens (collectively, the “Permitted Liens”). 6

          12.      Carve Out.

          (a)      Carve Out. As used in this Interim Order, the “Carve Out” means the sum of (i) all

 fees required to be paid to the Clerk of the Court and to the Office of the U.S. Trustee under section

 1930(a) of title 28 of the United States Code plus interest at the statutory rate (without regard to

 the notice set forth in (iii) below); (ii) all reasonable fees and expenses up to $25,000.00 incurred

 by a trustee under Bankruptcy Code section 726(b) (without regard to the notice set forth in

 (iii) below); (iii) to the extent allowed, whether by interim order, procedural order, or otherwise,

 all unpaid fees and expenses (the “Allowed Professional Fees”) incurred by persons or firms

 retained by the Debtors pursuant to section 327, 328, or 363 of the Bankruptcy Code (the “Debtor


 6
     For the avoidance of doubt, “Permitted Liens” shall also include liens securing all pre and postpetition Cash
     Management Obligations (as defined in the DIP Credit Agreement) of the Debtors.




                                                        24
Case 20-41308       Doc 228     Filed 04/01/20 Entered 04/01/20 23:45:34             Main Document
                                         Pg 956 of 1005


 Professionals”) and, subject to the Committee Monthly Cap, an official committee of unsecured

 creditors (the “Creditors’ Committee”) pursuant to Bankruptcy Code section 328 or 1103

 (the “Committee Professionals” and, together with the Debtor Professionals, the “Professional

 Persons”) at any time before or on the first business day following delivery by the DIP Agent or

 the Required Lenders of a Carve Out Trigger Notice (as defined herein), whether allowed by the

 Court prior to or after delivery of a Carve Out Trigger Notice; and (iv) Allowed Professional Fees

 of Professional Persons, in an aggregate amount not to exceed an amount to be agreed prior to the

 Final Hearing between the Debtors and the Required Lenders, incurred after the first business day

 following delivery by the DIP Agent or the Required Lenders of the Carve Out Trigger Notice, to

 the extent allowed, whether by interim order, procedural order, or otherwise (the amounts set forth

 in this clause (iv) being the “Post-Carve Out Trigger Notice Cap”). For purposes of the foregoing,

 “Carve Out Trigger Notice” shall mean a written notice delivered by email (or other electronic

 means) by the DIP Agent or the Required Lenders to the Debtors, their lead restructuring counsel,

 the U.S. Trustee, and lead counsel to the Creditors’ Committee providing that a Termination Event

 (as defined herein) has occurred and stating that the Post-Carve Out Trigger Notice Cap has been

 invoked.

        (b)     Carve Out Reserves. On the day on which a Carve Out Trigger Notice is delivered

 (the “Termination Declaration Date”), the Carve Out Trigger Notice shall constitute a demand to

 the Debtors to utilize all cash on hand as of such date and any available cash thereafter held by any

 Debtor to fund a reserve in an amount equal to the then unpaid amounts of (i) the Allowed

 Professional Fees of Debtor Professionals, (ii) subject to the Committee Monthly Cap, the Allowed

 Professionals Fees of the Committee Professionals, and (iii) the obligations accrued as of the

 Termination Declaration Date with respect to clauses (i) and (ii) of the definition of Carve Out set




                                                  25
Case 20-41308       Doc 228     Filed 04/01/20 Entered 04/01/20 23:45:34             Main Document
                                         Pg 957 of 1005


 forth in paragraph 12(a) (the “Additional Carve Out Obligations”). The Debtors shall deposit and

 hold such amounts in a segregated account in a manner reasonably acceptable to the Required

 Lenders in trust to pay such then unpaid Allowed Professional Fees and Additional Carve Out

 Obligations (the “Pre-Carve Out Trigger Notice Reserve”) prior to the use of such reserve to pay

 any other claims. On the Termination Declaration Date, after funding the Pre-Carve Out Trigger

 Notice Reserve, the Debtors shall utilize all remaining cash on hand as of such date and any

 available cash thereafter held by any Debtor to fund a reserve in an amount equal to the Post-Carve

 Out Trigger Notice Cap (the “Post-Carve Out Trigger Notice Reserve” and, together with the Pre-

 Carve Out Trigger Notice Reserve, the “Carve Out Reserves”) prior to the use of such reserve to

 pay any other claims. All funds in the Pre-Carve Out Trigger Notice Reserve shall be used first to

 pay the obligations set forth in clauses (i) through (iii) of the definition of Carve Out set forth

 above in paragraph 12(a) (the “Pre-Carve Out Amounts”), but not, for the avoidance of doubt, the

 Post-Carve Out Trigger Notice Cap, until paid in full, and then, to the extent the Pre-Carve Out

 Trigger Notice Reserve has not been reduced to zero, to pay the DIP Agent for the benefit of itself

 and the DIP Lenders, unless the DIP Obligations have been indefeasibly paid in full, in cash, and

 all commitments under the DIP Facility have been terminated, in which case any such excess shall

 be paid to the Prepetition Secured Parties in accordance with their rights and priorities as provided

 in the Prepetition Credit Documents, the Collateral Trust Agreement, and this Interim Order. All

 funds in the Post-Carve Out Trigger Notice Reserve shall be used first to pay the obligations set

 forth in clause (iv) of the definition of Carve Out set forth above (the “Post-Carve Out Amounts”),

 and then, to the extent the Post-Carve Out Trigger Notice Reserve has not been reduced to zero, to

 pay the DIP Agent for the benefit of itself and the DIP Lenders, unless the DIP Obligations have

 been indefeasibly paid in full, in cash, and all commitments under the DIP Facility have been




                                                  26
Case 20-41308       Doc 228      Filed 04/01/20 Entered 04/01/20 23:45:34              Main Document
                                          Pg 958 of 1005


 terminated, in which case any such excess shall be paid to the Prepetition Secured Parties in

 accordance with their rights and priorities as provided in the Prepetition Credit Documents, the

 Collateral Trust Agreement, and this Interim Order. Notwithstanding anything to the contrary in

 the DIP Documents, or this Interim Order, if either of the Carve Out Reserves is not funded in full

 in the amounts set forth in this paragraph 12, then, any excess funds in one of the Carve Out

 Reserves following the payment of the Pre-Carve Out Amounts and Post-Carve Out Amounts,

 respectively, shall be used to fund the other Carve Out Reserve, up to the applicable amount set

 forth in this paragraph 12, prior to making any payments to the DIP Agent or the Prepetition

 Secured Parties, as applicable. Notwithstanding anything to the contrary in the DIP Documents or

 this Interim Order, following delivery of a Carve Out Trigger Notice, the DIP Agent and the

 Prepetition First Lien Agents shall not sweep or foreclose on cash (including cash received as a

 result of the sale or other disposition of any assets) of the Debtors until the Carve Out Reserves

 have been fully funded, but shall have a valid and perfected security interest in any residual interest

 in the Carve Out Reserves, with any excess paid to the DIP Agent for application in accordance

 with the DIP Documents and this Interim Order. Further, notwithstanding anything to the contrary

 in this Interim Order, (i) disbursements by the Debtors from the Carve Out Reserves shall not

 increase or reduce the DIP Obligations, or constitute additional DIP Loans (unless, for the

 avoidance of doubt, additional DIP Loans are used to fund the Carve Out Reserves), (ii) the failure

 of the Carve Out Reserves to satisfy in full the Allowed Professional Fees shall not affect the

 priority of the Carve Out, and (iii) in no way shall the Cash Flow Forecast, Carve Out, Post-Carve

 Out Trigger Notice Cap or the Carve Out Reserves, or any of the foregoing, be construed as a cap

 or limitation on the amount of the Allowed Professional Fees due and payable by the Debtors to

 the Debtors’ Professionals. For the avoidance of doubt and notwithstanding anything to the




                                                   27
Case 20-41308      Doc 228     Filed 04/01/20 Entered 04/01/20 23:45:34             Main Document
                                        Pg 959 of 1005


 contrary in this Interim Order, the DIP Facility or in any Prepetition Credit Document, the Carve

 Out shall be senior to all liens and claims securing the DIP Facility, the First Lien Adequate

 Protection Liens, the Second Lien Adequate Protection Liens, the First Lien Adequate Protection

 Superpriority Claim, the Second Lien Adequate Protection Superpriority Claim, the Prepetition

 Liens, the Prepetition Secured Obligations and any and all other forms of adequate protection,

 liens, or claims securing the DIP Obligations or the Prepetition Secured Obligations.

        (c)     Payment of Allowed Professional Fees Prior to the Termination Declaration

 Date. Any payment or reimbursement made prior to the occurrence of the Termination Declaration

 Date in respect of any Allowed Professional Fees shall not reduce the Carve Out.

        (d)     No Direct Obligation To Pay Allowed Professional Fees. None of the DIP Agent,

 DIP Lenders, or the Prepetition Secured Parties shall be responsible for the payment or

 reimbursement of any fees or disbursements of any Professional Person incurred in connection

 with the Cases or any successor cases under any chapter of the Bankruptcy Code. Nothing in this

 Interim Order or otherwise shall be construed to obligate the DIP Agent, the DIP Lenders, or the

 Prepetition Secured Parties, in any way, to pay compensation to, or to reimburse expenses of, any

 Professional Person or to guarantee that the Debtors have sufficient funds to pay such

 compensation or reimbursement.

        (e)     Payment of Carve Out On or After the Termination Declaration Date. Any

 payment or reimbursement made on or after the occurrence of the Termination Declaration Date

 in respect of any Allowed Professional Fees shall permanently reduce the Carve Out on a dollar-

 for-dollar basis. Any funding of the Carve Out under the DIP Facility shall be added to, and made

 a part of, the DIP Obligations secured by the DIP Collateral and shall be otherwise entitled to the




                                                 28
Case 20-41308       Doc 228     Filed 04/01/20 Entered 04/01/20 23:45:34              Main Document
                                         Pg 960 of 1005


 protections granted under this Interim Order, the DIP Documents, the Bankruptcy Code, and

 applicable law.

        13.     Limitation on Charging Expenses Against Collateral. Subject to entry of the Final

 Order (but retroactive to the Petition Date), no expenses of administration of the Cases or any

 future proceeding that may result therefrom, including liquidation in bankruptcy or other

 proceedings under the Bankruptcy Code, shall be charged against or recovered from the Prepetition

 Collateral or the DIP Collateral (except to the extent of the Carve Out), the DIP Agent, the DIP

 Lenders, or the Prepetition Secured Parties pursuant to Bankruptcy Code sections 105(a) or 506(c)

 or any similar principle of law or equity, without the prior written consent of the DIP Agent, the

 DIP Lenders, and the Prepetition Secured Parties, as applicable, and no such consent shall be

 implied from any other action, inaction, or acquiescence by the DIP Agent, the DIP Lenders, or

 the Prepetition Secured Parties.      Notwithstanding the foregoing, nothing contained in this

 paragraph shall affect or otherwise impact the charging lien available to the Prepetition First Lien

 Agents with respect to the Prepetition Collateral or any additional collateral subject to First Lien

 Adequate Protection Liens (as defined below) or funds or other property otherwise subject to

 distribution to recover payment of any unpaid fees, expenses or other amounts to which it is

 entitled under the Prepetition First Lien Credit Documents or the Collateral Trust Agreement,

 subject to the priority of the DIP Liens and DIP Claims in accordance with this Order.

        14.     No Marshaling/Application of Proceeds. Subject to entry of the Final Order (but

 retroactive to the Petition Date), the DIP Agent and the Prepetition Agents shall be entitled to apply

 the payments or proceeds of the DIP Collateral and the Prepetition Collateral in accordance with

 the provisions of the Interim Order or Final Order, as applicable, the DIP Documents and the

 Prepetition Credit Documents, as applicable, and in no event shall the DIP Agent, the DIP Lenders,




                                                  29
Case 20-41308       Doc 228       Filed 04/01/20 Entered 04/01/20 23:45:34            Main Document
                                           Pg 961 of 1005


 or any of the Prepetition Secured Parties be subject to the equitable doctrine of “marshaling” or

 any other similar doctrine with respect to any of the DIP Collateral or Prepetition Collateral.

        15.     Equities of the Case. Subject to entry of the Final Order (but retroactive to the

 Petition Date), (i) the DIP Agent, the DIP Lenders, and the Prepetition Secured Parties shall be

 entitled to all of the rights and benefits of Bankruptcy Code section 552(b) and (ii) the “equities of

 the case” exception under Bankruptcy Code section 552(b) shall not apply to such parties with

 respect to the proceeds, products, offspring or profits of any of the Prepetition Collateral or the

 DIP Collateral, as applicable.

        16.     Use of Cash Collateral. The Debtors are hereby authorized to use all Cash

 Collateral solely in accordance with this Interim Order, the DIP Documents and the Cash Flow

 Forecast including, without limitation, to make payments on account of the Adequate Protection

 Obligations provided for in this Interim Order, from the date of this Interim Order through and

 including the date of the Final Hearing. Except on the terms and conditions of this Interim Order,

 the Debtors shall be enjoined and prohibited from at any time using the Cash Collateral.

        17.     Adequate Protection for the Prepetition First Lien Parties. Subject only to the

 Carve Out and the terms of this Interim Order, pursuant to Bankruptcy Code sections 361, 363(e),

 and 364, and in consideration of the stipulations and consents set forth herein, as adequate

 protection of their interests in the Prepetition Collateral (including Cash Collateral), for and equal

 in amount to the aggregate postpetition diminution in value of such interests (each such diminution,

 a “Diminution in Value”), resulting from the imposition of the priming DIP Liens on the

 Prepetition Collateral, the Carve Out, the Debtors’ sale, lease or use of the Prepetition Collateral

 (including Cash Collateral), the imposition of the automatic stay, and/or any other reason for which

 adequate protection may be granted under the Bankruptcy Code, the Prepetition First Lien Agents,




                                                  30
Case 20-41308       Doc 228     Filed 04/01/20 Entered 04/01/20 23:45:34             Main Document
                                         Pg 962 of 1005


 for the benefit of themselves and the Prepetition First Lien Lenders, are hereby granted the

 following (collectively, the “First Lien Adequate Protection Obligations”):

        (a)     First Lien Adequate Protection Liens. As security for and solely to the extent of

 any Diminution in Value, additional and replacement valid, binding, enforceable non-avoidable,

 and effective and automatically perfected postpetition security interests in, and liens on, as of the

 date of this Interim Order (the “First Lien Adequate Protection Liens”), without the necessity of

 the execution by the Debtors (or recordation or other filing) of security agreements, control

 agreements, pledge agreements, financing statements, mortgages, or other similar documents, all

 DIP Collateral. Subject to the terms of this Interim Order, the First Lien Adequate Protection

 Liens shall be subordinate only to the (A) Carve Out, (B) the DIP Liens and (C) the Permitted

 Liens (if any). The First Lien Adequate Protection Liens shall otherwise be senior to all other

 security interests in, liens on, or claims against any of the DIP Collateral (including, for the

 avoidance of doubt, the Prepetition Liens, the Second Lien Adequate Protection Liens and any lien

 or security interest that is avoided and preserved for the benefit of the Debtors and their estates

 under Bankruptcy Code section 551).

        (b)     First Lien Adequate Protection Superpriority Claim.            As further adequate

 protection, and to the extent provided by Bankruptcy Code sections 503(b) and 507(b), an allowed

 administrative expense claim in the Cases to the extent of any postpetition Diminution in Value

 ahead of and senior to any and all other administrative expense claims in such Cases, except the

 Carve Out and the DIP Superpriority Claims (the “First Lien Adequate Protection Superpriority

 Claim”). The First Lien Adequate Protection Superpriority Claim shall be payable from and have

 recourse to all prepetition and postpetition property of the Debtors and all proceeds thereof

 (excluding Avoidance Actions, but including, subject to entry of the Final Order, the Avoidance




                                                  31
Case 20-41308       Doc 228     Filed 04/01/20 Entered 04/01/20 23:45:34              Main Document
                                         Pg 963 of 1005


 Proceeds). Subject to the Carve Out and the DIP Superpriority Claims in all respects, the First

 Lien Adequate Protection Superpriority Claim will not be junior to any claims and shall have

 priority over all administrative expense claims against each of the Debtors, now existing or

 hereafter arising, of any kind or nature whatsoever, including, without limitation, administrative

 expense claims of the kinds specified in or ordered pursuant to Bankruptcy Code sections 105,

 326, 328, 330, 331, 365, 503(a), 503(b), 506(c) (subject to entry of the Final Order), 507(a), 507(b),

 546(d), 726, 1113 and 1114. The Prepetition First Lien Parties shall not receive or retain any

 payments, property or other amounts in respect of the First Lien Adequate Protection Superpriority

 Claims under Bankruptcy Code section 507(b) granted hereunder unless and until the DIP

 Obligations have been indefeasibly paid in full, in cash, or satisfied in a manner otherwise agreed

 to by the Required Lenders, in each case as provided in the DIP Documents.

        (c)     Fees and Expenses. As further adequate protection, the Debtors are authorized and

 directed to pay, without further Court order, reasonable and documented fees and expenses (the

 “First Lien Adequate Protection Fees”), whether incurred before or after the Petition Date, of the

 Prepetition First Lien Agents, and the Ad Hoc First Lien Group (as defined below), and the Ad

 Hoc Crossover Group (as defined below), including, without limitation, the reasonable and

 documented fees and expenses of (a) Sullivan & Worcester LLP, counsel to the Prepetition First

 Lien Term Loan Agent and the Prepetition Collateral Trustee, (b) Buchanan Ingersoll & Rooney

 PC, counsel to the Prepetition First Lien Administrative Agent, together with one local counsel to

 the Prepetition First Lien Agents, (c) in accordance with its engagement letter, Conway McKenzie,

 Inc., as financial advisor to the Prepetition First Lien Administrative Agent, (d) one local counsel,

 Thompson Coburn LLP, and one lead counsel, Akin Gump, as counsel to the ad hoc group of

 certain Prepetition First Lien Lenders (the “Ad Hoc First Lien Group”), (e) in accordance with its




                                                  32
Case 20-41308      Doc 228      Filed 04/01/20 Entered 04/01/20 23:45:34           Main Document
                                         Pg 964 of 1005


 engagement letter, one financial advisor, Lazard, as financial advisors to Ad Hoc First Lien Group,

 (f) one local counsel, Bryan Cave Leighton Paisner LLP, and one lead counsel, Milbank LLP, as

 counsel to the ad hoc group of certain Prepetition First Lien Lenders and Prepetition Second Lien

 Noteholders (the “Ad Hoc Crossover Group”), and (g) in accordance with its engagement letter,

 one financial advisor, Perella Weinberg Partners LP, as financial advisor Ad Hoc Crossover

 Group. The invoices for such fees and expenses shall not be required to comply with any particular

 format, may be in summary form only, and may include redactions. The applicable professional

 shall serve copies of the invoices supporting the First Lien Adequate Protection Fees on counsel

 to the Debtors, the U.S. Trustee and counsel to the Creditors’ Committee (if any), and any First

 Lien Adequate Protection Fees shall be subject to prior ten day review by the Debtors, the U.S.

 Trustee and the Creditors’ Committee (if any), and in the event the Debtors, the U.S. Trustee or

 the Creditors’ Committee shall file with this Court an objection to any such legal invoice, the

 portion of such legal invoice subject to such objection shall not be paid until resolution of such

 objection by this Court. If no objection is filed within such ten day review period, such invoice

 shall be paid without further order of the Court within five days following the expiration of the

 foregoing review period and shall not be subject to any further review, challenge, or disgorgement.

 For the avoidance doubt, the provision of such invoices shall not constitute a waiver of attorney-

 client privilege or any benefits of the attorney work product doctrine.

        (d)     First Lien Accrued Adequate Protection Payments. As further adequate protection,

 the Prepetition First Lien Agents, on behalf of the Prepetition First Lien Lenders, shall receive,

 upon entry of this Interim Order, monthly adequate protection payments (the “First Lien Accrued

 Adequate Protection Payments”) payable in-kind on the thirtieth day of each month equal to the

 interest at the Applicable Rate (as defined in the Prepetition First Lien Credit Agreement) that




                                                 33
Case 20-41308        Doc 228    Filed 04/01/20 Entered 04/01/20 23:45:34             Main Document
                                         Pg 965 of 1005


 would otherwise be owed to the Prepetition First Lien Lenders under the Prepetition First Lien

 Credit Agreement during such monthly period in respect of the Prepetition First Lien Obligations

 that are not Roll-Up Loans, until such time as the full Prepetition First Lien Obligations Amount

 is paid in full, in cash.

         (e)     Information Rights. The Debtors shall promptly provide the Prepetition First Lien

 Agents and the Ad Hoc First Lien Advisors, respectively, as well as the Ad Hoc Crossover

 Advisors, with all required financial reporting and other periodic reporting that is required to be

 provided to the DIP Agent or the DIP Lenders under the DIP Documents.

         18.     Adequate Protection for the Prepetition Second Lien Noteholders. Subject only to

 the Carve Out, the Permitted Liens, the DIP Liens, the Prepetition First Liens, the First Lien

 Adequate Protection Liens, and the terms of this Interim Order, pursuant to Bankruptcy Code

 sections 361, 363(e) and 364, and in consideration of the stipulations and consents set forth herein,

 as adequate protection of their interests in the Prepetition Collateral (including Cash Collateral),

 for and equal in amount to the aggregate postpetition Diminution in Value of such interests,

 resulting from the imposition of the priming DIP Liens on the Prepetition Collateral, the Carve

 Out, the Debtors’ sale, lease or use of the Prepetition Collateral (including Cash Collateral), the

 imposition of the automatic stay and/or any other reason for which adequate protection may be

 granted under the Bankruptcy Code, the Prepetition Second Lien Noteholders are hereby granted

 the following (collectively, the “Second Lien Adequate Protection Obligations” and, together with

 the First Lien Adequate Protection Obligations, the “Adequate Protection Obligations”):

         (a)     Second Lien Adequate Protection Liens. As security for and solely to the extent of

 any Diminution in Value, additional and replacement valid, binding, enforceable non-avoidable,

 and effective and automatically perfected postpetition security interests in, and liens on, as of the




                                                  34
Case 20-41308       Doc 228     Filed 04/01/20 Entered 04/01/20 23:45:34              Main Document
                                         Pg 966 of 1005


 date of this Interim Order (the “Second Lien Adequate Protection Liens” and, together with the

 First Lien Adequate Protection Liens, the “Adequate Protection Liens”), without the necessity of

 the execution by the Debtors (or recordation or other filing) of security agreements, control

 agreements, pledge agreements, financing statements, mortgages, or other similar documents, all

 DIP Collateral. Subject to the terms of this Interim Order, the Second Lien Adequate Protection

 Liens shall be subordinate only to the (A) Carve Out, (B) the DIP Liens, (C) the First Lien

 Adequate Protection Liens, (D) the Prepetition First Liens and (E) the Permitted Liens (if any).

 The Second Lien Adequate Protection Liens shall otherwise be senior to all other security interests

 in, liens on, or claims against any of the DIP Collateral.

        (b)     Second Lien Adequate Protection Superpriority Claim.            As further adequate

 protection, and to the extent provided by Bankruptcy Code sections 503(b) and 507(b), an allowed

 administrative expense claim in the Cases ahead of and senior to any and all other administrative

 expense claims in such Cases to the extent of any postpetition Diminution in Value (the “Second

 Lien Adequate Protection Superpriority Claim” and, together with the First Lien Adequate

 Protection Superpriority Claim, the “Adequate Protection Superpriority Claims”), except the

 Carve Out, the DIP Superpriority Claims and the First Lien Adequate Protection Superpriority

 Claim. Subject to the Carve Out, the DIP Superpriority Claims, the First Lien Adequate Protection

 Superpriority Claims, and the Prepetition First Lien Obligations in all respects, the Second Lien

 Adequate Protection Superpriority Claim will not be junior to any other claims and shall have

 priority over all administrative expense claims against each of the Debtors, now existing or

 hereafter arising, of any kind or nature whatsoever, including, without limitation, administrative

 expense claims of the kinds specified in or ordered pursuant to Bankruptcy Code sections 105,

 326, 328, 330, 331, 365, 503(a), 503(b), 506(c) (subject to entry of the Final Order), 507(a), 507(b),




                                                  35
Case 20-41308       Doc 228      Filed 04/01/20 Entered 04/01/20 23:45:34               Main Document
                                          Pg 967 of 1005


 546(d), 726, 1113 and 1114. The Prepetition Second Lien Noteholders shall not receive or retain

 any payments, property or other amounts in respect of the Second Lien Adequate Protection

 Superpriority Claim under Bankruptcy Code section 507(b) granted hereunder unless and until the

 DIP Obligations, the Prepetition First Lien Obligations and the First Lien Adequate Protection

 Obligations have been indefeasibly paid in full, in cash, in each case as provided in the DIP

 Documents.

         19.     Section 507(b) Reservation. Subject in all respects to the terms of the Collateral

 Trust Agreement, nothing herein shall impair or modify the application of Bankruptcy Code

 section 507(b) in the event that the adequate protection provided to the Prepetition Secured Parties

 is insufficient to compensate for any Diminution in Value of their interests in the Prepetition

 Collateral during the Cases. Nothing contained herein shall be deemed a finding by the Court, or

 an acknowledgment by any of the Prepetition Secured Parties that the adequate protection granted

 herein does in fact adequately protect any of the Prepetition Secured Parties against any diminution

 in value of their respective interests in the Prepetition Collateral (including the Cash Collateral).

         20.     Restrictions on Disposition of Material Assets Outside the Ordinary Course of

 Business. Except as expressly permitted under the “first day” pleadings or the DIP Documents,

 the Debtors shall not use, sell or lease any material assets outside the ordinary course of business,

 or seek authority of this Court to the extent required by Bankruptcy Code section 363, without

 obtaining the prior written consent of the Required Lenders at least five days (or such shorter

 period as the DIP Agent, at the direction of the Required Lenders, may agree) prior to the date on

 which the Debtors seek the Court’s authority for such use, sale, or lease. Except as otherwise

 provided under the DIP Documents, subject to the Carve Out and Permitted Liens, in the event of

 any such sale, lease, transfer, license, or other disposition of property of the Debtors that constitutes




                                                    36
Case 20-41308       Doc 228      Filed 04/01/20 Entered 04/01/20 23:45:34              Main Document
                                          Pg 968 of 1005


 DIP Collateral outside the ordinary course of business (to the extent permitted by the DIP

 Documents and this Interim Order), the Debtors are authorized and shall promptly pay, without

 further notice or order of this Court, the DIP Agent, for the benefit of the DIP Parties, 100% of the

 net cash proceeds resulting therefrom no later than the second business day following receipt of

 such proceeds. Upon payment in full of the DIP Obligations, subject to the Carve Out and

 Permitted Liens, the Debtors are authorized and shall promptly pay, without further notice or order

 of this Court, the Prepetition First Lien Agents, for the benefit of the Prepetition First Lien Lenders,

 100% of the net cash proceeds resulting from any such sale, lease, transfer, license, or other

 disposition of property of the Debtors that constitutes DIP Collateral outside the ordinary course

 of business (to the extent permitted by the DIP Documents and this Interim Order) no later than

 the second business day following receipt of such proceeds. Except as otherwise provided under

 the DIP Documents, subject to the Carve Out and Permitted Liens, in the event of any casualty,

 condemnation, or similar event with respect to property that constitutes DIP Collateral, the Debtors

 are authorized and shall promptly pay to the DIP Agent, for the benefit of the DIP Parties, any

 insurance proceeds, condemnation award, or similar payment (excluding any amounts on account

 of any D&O policies) no later than the second business day following receipt of payment by the

 Debtors, unless the Required Lenders consent, each in its sole discretion, in writing, to the funds

 being reinvested by the Debtors.

         21.     Insurance. At all times the Debtors shall maintain casualty and loss insurance

 coverage for the Prepetition Collateral and the DIP Collateral on substantially the same basis as

 maintained prior to the Petition Date. Upon entry of this Interim Order, the DIP Agent shall be,

 and shall be deemed to be, without any further action or notice, named as additional insured and




                                                   37
Case 20-41308       Doc 228     Filed 04/01/20 Entered 04/01/20 23:45:34              Main Document
                                         Pg 969 of 1005


 lender’s loss payee on each insurance policy maintained by the Debtors which in any way relates

 to the DIP Collateral.

        22.     Reservation of Rights of the DIP Agent, DIP Lenders, and Prepetition Secured

 Parties. Notwithstanding any other provision in this Interim Order to the contrary, the entry of

 this Interim Order is without prejudice to, and does not constitute a waiver of, expressly or

 implicitly, or otherwise impair: (a) any of the rights of any of the Prepetition Secured Parties to

 seek any other or supplemental relief in respect of the Debtors including the right to seek additional

 adequate protection in all respects subject to the Collateral Trust Agreement; provided that any

 such further or different adequate protection shall at all times be subordinate and junior to the

 claims and liens of the DIP Agent and the DIP Lenders granted under this Interim Order and the

 DIP Documents; (b) any of the rights of the DIP Agent, the DIP Lenders, or the Prepetition Secured

 Parties under the Bankruptcy Code or under non-bankruptcy law, including, without limitation,

 the right of any of the DIP Agent, the DIP Lenders, or the Prepetition First Lien Parties to (i)

 request modification of the automatic stay of Bankruptcy Code section 362, (ii) request dismissal

 of any of the Cases, conversion of any of the Cases to cases under chapter 7, or appointment of a

 chapter 11 trustee or examiner with expanded powers in any of the Cases, (iii) seek to propose,

 subject to the provisions of Bankruptcy Code section 1121, a chapter 11 plan or plans; or (c) any

 other rights, claims, or privileges (whether legal, equitable, or otherwise) of any of the DIP Agent,

 the DIP Lenders, or the Prepetition Secured Parties (in the case of the Prepetition Secured Parties,

 in all respects subject to the Collateral Trust Agreement). The delay in or failure of the DIP Agent,

 the DIP Lenders and/or the Prepetition Secured Parties to seek relief or otherwise exercise their

 rights and remedies shall not constitute a waiver of any of the DIP Agent’s, the DIP Lenders’ or

 the Prepetition First Lien Parties’ rights and remedies.




                                                  38
Case 20-41308      Doc 228      Filed 04/01/20 Entered 04/01/20 23:45:34            Main Document
                                         Pg 970 of 1005


        23.     Termination Event. Subject to paragraph 24, the Debtors’ authorization to use Cash

 Collateral and the proceeds of the DIP Facility pursuant to this Interim Order shall automatically

 terminate, and the DIP Obligations shall become due and payable, without further notice or action

 by the Court following the earliest to occur of any of the following (each a “Termination Event”):

 (a) the occurrence of an Event of Default (as defined in the DIP Credit Agreement), which are

 explicitly incorporated by reference into this Interim Order; (b) the Debtors’ failure to (i) comply

 with any provision of this Interim Order, (ii) comply with any other covenant or agreement

 specified in this Interim Order or the DIP Credit Agreement (which covenants and agreements,

 together with any applicable grace periods, are explicitly incorporated by reference into this

 Interim Order), or (iii) comply with any of the Milestones (as defined in, and as set forth in, the

 DIP Credit Agreement); (c) termination of the Restructuring Support Agreement or the Backstop

 Commitment Agreement (as defined in the DIP Credit Agreement), in either case, other than as a

 result of a breach by the DIP Lenders thereunder; or (d) the occurrence of the Maturity Date (as

 defined in the DIP Credit Agreement).

        24.     Remedies Upon a Termination Event. The Debtors shall immediately provide

 notice to counsel to the DIP Agent, the DIP Lenders, the Prepetition First Lien Agents, the Ad Hoc

 First Lien Group, and the Ad Hoc Crossover Group (with a copy to counsel to the Creditors’

 Committee (if any)), of the occurrence of any Termination Event, at which time the Debtors’

 ability to use Cash Collateral hereunder shall terminate (subject to the proviso at the end of this

 paragraph 24) and the DIP Obligations shall become due and payable. Upon the occurrence of a

 Termination Event and following the giving of not less than three business days’ advance written

 notice, which may be by email (the “Enforcement Notice”), to counsel to the Debtors, the U.S.

 Trustee, and counsel to the Creditors’ Committee (if any) (the “Notice Period”), (a) the DIP Agent




                                                 39
Case 20-41308       Doc 228     Filed 04/01/20 Entered 04/01/20 23:45:34              Main Document
                                         Pg 971 of 1005


 and the DIP Lenders may exercise any rights and remedies against the DIP Collateral available to

 them under this Interim Order, the DIP Documents, and applicable non-bankruptcy law, including

 but not limited to terminating all commitments to extend credit under the DIP Facility and (b) the

 Prepetition First Lien Parties may exercise any rights and remedies to satisfy the Prepetition First

 Lien Obligations, the First Lien Adequate Protection Superpriority Claims and any other First Lien

 Adequate Protection Obligations, subject to the DIP Obligations, the DIP Superpriority Claims,

 Permitted Liens and, in each case, the Carve Out. The only permissible basis for the Debtors, the

 Prepetition Second Lien Noteholders, the Creditors’ Committee (if any), or any other party to

 contest, challenge or object to an Enforcement Notice shall be solely with respect to the validity

 of the Termination Event(s) giving rise to such Enforcement Notice (i.e., whether such

 Termination Event validly occurred and has not been cured or waived in accordance with this

 Interim Order).     The automatic stay pursuant to Bankruptcy Code section 362 shall be

 automatically terminated with respect to the DIP Agent, the DIP Lenders, and the Prepetition First

 Lien Parties at the end of the Notice Period, without further notice or order of the Court, unless the

 DIP Agent, the DIP Lenders, the Prepetition First Lien Agents, and the Prepetition First Lien

 Lenders elect otherwise in a written notice to the Debtors, which may be by email. Upon

 termination of the automatic stay, the DIP Agent, the DIP Lenders, and the Prepetition First Lien

 Parties shall be permitted to exercise all rights and remedies set forth herein, in the DIP Documents,

 and the Prepetition First Lien Credit Documents, as applicable, and as otherwise available at law

 against the DIP Collateral and/or Prepetition Collateral, without any further order of or application

 or motion to the Court, and without restriction or restraint imposed by any stay under Bankruptcy

 Code sections 362 or 105, or otherwise, against (x) the enforcement of the liens and security

 interests in the DIP Collateral or the Prepetition Collateral, or (y) the pursuit of any other rights




                                                  40
Case 20-41308      Doc 228      Filed 04/01/20 Entered 04/01/20 23:45:34           Main Document
                                         Pg 972 of 1005


 and remedies granted to the DIP Agent, the DIP Lenders, or the Prepetition First Lien Parties

 pursuant to the DIP Documents, the Prepetition First Lien Credit Documents, or this Interim Order;

 provided that during the Notice Period the Debtors may use the proceeds of the DIP Facility (to

 the extent drawn prior to the occurrence of a Termination Event) or Cash Collateral only to (i)

 fund operations in accordance with the DIP Credit Agreement and the Cash Flow Forecast and (ii)

 to fund the Carve Out Reserves; provided further that during the Notice Period the Debtors, the

 DIP Lenders, and the DIP Agent consent to a hearing on an expedited basis to consider whether a

 Termination Event has occurred; provided further, that if a hearing to consider the foregoing is

 requested to be heard before the end of the Notice Period but is scheduled for a later date by the

 Court, the Notice Period shall be automatically extended to the date of such hearing, but in no

 event later than five business days after delivery of the Enforcement Notice; provided further that

 any fees and expenses incurred by the Debtors or the Committee during the Notice Period shall

 permanently reduce the Post-Carve Out Trigger Notice Cap. Any party in interest shall be entitled

 to seek an emergency hearing for the purpose of contesting whether assets constitute assets of the

 Debtors’ estates and nothing in this Interim Order shall affect any party in interest’s rights or

 positions at such hearing.

        25.     No Waiver for Failure to Seek Relief. The failure or delay of the DIP Agent, the

 DIP Lenders or any of the Prepetition Secured Parties to exercise rights and remedies under this

 Interim Order, the DIP Documents, the Prepetition First Lien Credit Documents, the Prepetition

 Second Lien Documents, or applicable law, as the case may be, shall not constitute a waiver of

 their respective rights hereunder, thereunder or otherwise.

        26.     Perfection of the DIP Liens and Adequate Protection Liens.




                                                 41
Case 20-41308       Doc 228      Filed 04/01/20 Entered 04/01/20 23:45:34              Main Document
                                          Pg 973 of 1005


        (a)     Subject to the limitations in paragraph 27(a) of this Interim Order, the DIP Agent

 and the Prepetition Agents are hereby authorized, but not required, to file or record (and to execute

 in the name of the Debtors, as their true and lawful attorneys, with full power of substitution, to

 the maximum extent permitted by law) financing statements, intellectual property filings,

 mortgages, depository account control agreements, notices of lien, or similar instruments in any

 jurisdiction in order to validate and perfect the liens and security interests granted hereunder.

 Whether or not the DIP Agent or the Prepetition Agents shall, in their sole discretion, choose to

 file such financing statements, intellectual property filings, mortgages, notices of lien, or similar

 instruments, such liens and security interests shall be deemed valid, automatically perfected,

 allowed, enforceable, non-avoidable and not subject to challenge, dispute or subordination (subject

 to the priorities set forth in this Interim Order), at the time and on the date of entry of this Interim

 Order. Upon the request of the DIP Agent, the Prepetition Collateral Trustee, or the Prepetition

 Second Lien Indenture Trustee, as applicable, each of the Prepetition Secured Parties and the

 Debtors, without any further consent of any party, is authorized to take, execute, deliver, and file

 such instruments (in the case of the Prepetition Secured Parties, without representation or warranty

 of any kind) to enable the DIP Agent, the Prepetition Collateral Trustee, or the Prepetition Second

 Lien Indenture Trustee to further validate, perfect, preserve, and enforce the DIP Liens and the

 applicable Adequate Protection Liens, respectively. All such documents will be deemed to have

 been recorded and filed as of the Petition Date.

        (b)     A certified copy of this Interim Order may, in the discretion of the DIP Agent or

 the applicable Prepetition Agents, be filed with or recorded in filing or recording offices in addition

 to or in lieu of such financing statements, mortgages, notices of lien or similar instruments, and all

 filing offices are hereby authorized to accept such certified copy of this Interim Order for filing




                                                    42
Case 20-41308       Doc 228     Filed 04/01/20 Entered 04/01/20 23:45:34              Main Document
                                         Pg 974 of 1005


 and recording; provided, however, that notwithstanding the date of any such filing, the date of such

 perfection shall be the date of this Interim Order.

        (c)     Effective upon entry of the Final Order, any provision of any lease or other license,

 contract or other agreement that requires (i) the consent or approval of one or more landlords or

 other parties or (ii) the payment of any fees or obligations to any governmental entity, in order for

 any Debtor to pledge, grant, sell, assign, or otherwise transfer any such leasehold interest, or the

 proceeds thereof, or other collateral related thereto, is hereby deemed to be inconsistent with the

 applicable provisions of the Bankruptcy Code. Thereupon, any such provision shall have no force

 and effect with respect to the granting of the DIP Liens and the Adequate Protection Liens on such

 leasehold interest or the proceeds of any assignment, and/or sale thereof by any Debtor in

 accordance with the terms of the DIP Credit Agreement or this Interim Order.

        27.     Preservation of Rights Granted Under this Interim Order.

        (a)     Unless and until all DIP Obligations, Prepetition First Lien Obligations, and First

 Lien Adequate Protection Obligations are indefeasibly paid in full, in cash, and all commitments

 to extend credit under the DIP Facility are terminated, the Prepetition Second Lien Noteholders

 shall, in each case solely to the extent provided for in the Collateral Trust Agreement and

 applicable law: (i) take no action to foreclose upon, or recover in connection with, the liens granted

 thereto pursuant to the Prepetition Second Lien Documents or this Interim Order, or otherwise

 seek to exercise or enforce any rights or remedies against such DIP Collateral; and (ii) be restricted

 from exercising any rights and remedies or taking any other actions in respect of the DIP Collateral

 to the extent provided by the Collateral Trust Agreement and applicable law.

        (b)     Subject to the Carve Out, other than as set forth in this Interim Order, neither the

 DIP Liens nor the First Lien Adequate Protection Liens shall be made subject to or pari passu with




                                                  43
Case 20-41308       Doc 228     Filed 04/01/20 Entered 04/01/20 23:45:34              Main Document
                                         Pg 975 of 1005


 any lien or security interest granted in any of the Cases or arising after the Petition Date, and

 neither the DIP Liens nor the First Lien Adequate Protection Liens shall be subject or junior to any

 lien or security interest that is avoided and preserved for the benefit of the Debtors’ estates under

 Bankruptcy Code section 551.

        (c)     In the event this Interim Order or any provision hereof is vacated, reversed, or

 modified on appeal or otherwise, any liens or claims granted to the Prepetition Secured Parties

 hereunder arising prior to the effective date of any such vacatur, reversal, or modification of this

 Interim Order shall be governed in all respects by the original provisions of this Interim Order,

 including entitlement to all rights, remedies, privileges, and benefits granted herein, and the

 Prepetition Secured Parties shall be entitled to the protections afforded in Bankruptcy Code section

 363(m) with respect to all uses of the Prepetition Collateral (including the Cash Collateral) and all

 Adequate Protection Obligations.

        (d)     Subject to the Carve Out, unless and until all DIP Obligations, Prepetition First

 Lien Obligations, Prepetition Second Lien Obligations, and Adequate Protection Obligations are

 indefeasibly paid in full, in cash, and all commitments to extend credit under the DIP Facility are

 terminated, the Debtors irrevocably waive the right to seek and shall not seek or consent to, directly

 or indirectly (i) except as permitted under the DIP Documents and with the prior written consent

 of the DIP Agent and the Required Lenders (x) any modification, stay, vacatur, or amendment of

 this Interim Order, (y) a priority claim for any administrative expense, secured claim or unsecured

 claim against any of the Debtors (now existing or hereafter arising of any kind or nature

 whatsoever, including, without limitation, any administrative expense of the kind specified in

 Bankruptcy Code sections 503(b), 507(a) or 507(b)) in any of the Cases, equal or superior to the

 DIP Superpriority Claims, the Adequate Protection Superpriority Claims, the Prepetition First Lien




                                                  44
Case 20-41308       Doc 228      Filed 04/01/20 Entered 04/01/20 23:45:34             Main Document
                                          Pg 976 of 1005


 Obligations, and the Prepetition Second Lien Obligations (or the liens and security interests

 securing such claims and obligations), or (z) any other order allowing use of the DIP Collateral;

 (ii) except as permitted under the DIP Documents, any lien on any of the DIP Collateral or the

 Prepetition Collateral with priority equal or superior to the DIP Liens, the Adequate Protection

 Liens, the Prepetition First Liens, or the Prepetition Second Liens, as the case may be; (iii) the use

 of Cash Collateral for any purpose other than as permitted in the DIP Documents and this Interim

 Order; (iv) except as set forth in the DIP Documents, the return of goods pursuant to section 546(h)

 of the Bankruptcy Code (or other return of goods on account of any prepetition indebtedness) to

 any creditor of any Debtor; (v) an order converting or dismissing any of the Cases; (vi) an order

 appointing a chapter 11 trustee in any of the Cases; or (vii) an order appointing an examiner with

 enlarged powers in any of the Cases.

        (e)     Notwithstanding any order dismissing any of the Cases under Bankruptcy Code

 section 1112 or otherwise entered at any time, (x) the DIP Liens, the DIP Superpriority Claims,

 the Adequate Protection Liens, the Adequate Protection Superpriority Claims, and the other

 administrative claims granted pursuant to this Interim Order, shall continue in full force and effect

 and shall maintain their priorities as provided in this Interim Order until all DIP Obligations and

 Adequate Protection Obligations are indefeasibly paid in full, in cash (and such DIP Liens, DIP

 Superpriority Claims, Adequate Protection Liens, Adequate Protection Superpriority Claims, and

 the other administrative claims granted pursuant to this Interim Order, shall, notwithstanding such

 dismissal, remain binding on all parties in interest); and (y) the Court shall retain jurisdiction,

 notwithstanding such dismissal, for the purposes of enforcing the claims, liens and security

 interests referred to in clause (x) above.




                                                  45
Case 20-41308       Doc 228     Filed 04/01/20 Entered 04/01/20 23:45:34             Main Document
                                         Pg 977 of 1005


        (f)     Except as expressly provided in this Interim Order or in the DIP Documents, the

 DIP Liens, the DIP Superpriority Claims, the Adequate Protection Liens, the Adequate Protection

 Superpriority Claims, and all other rights and remedies of the DIP Agent, the DIP Lenders, the

 Prepetition First Lien Agents, and the Prepetition First Lien Lenders granted by the provisions of

 this Interim Order and the DIP Documents shall survive, shall maintain their priority as provided

 in this Interim Order, and shall not be modified, impaired or discharged by (i) the entry of an order

 converting any of the Cases to a case under chapter 7, dismissing any of the Cases, terminating the

 joint administration of these Cases or by any other act or omission, (ii) the entry of an order

 approving the sale of any Prepetition Collateral or DIP Collateral pursuant to Bankruptcy Code

 section 363(b) or (iii) the entry of an order confirming a plan of reorganization in any of the Cases

 and, pursuant to Bankruptcy Code section 1141(d)(4), the Debtors have waived any discharge as

 to any remaining DIP Obligations or Adequate Protection Obligations. The terms and provisions

 of this Interim Order and the DIP Documents shall continue in these Cases, in any successor cases

 if these Cases cease to be jointly administered, or in any superseding chapter 7 cases under the

 Bankruptcy Code. The DIP Liens, the DIP Superpriority Claims, the Adequate Protection Liens

 and Adequate Protection Superpriority Claims and all other rights and remedies of the DIP Parties

 and the Prepetition Secured Parties granted by the provisions of this Interim Order shall continue

 in full force and effect until the DIP Obligations and the Adequate Protection Obligations are

 indefeasibly paid in full, in cash (or, with respect to the DIP Obligations, otherwise satisfied in a

 manner agreed to by the Required Lenders).

        28.     Expenses and Indemnification.

        (a)     All (i) reasonable and documented out-of-pocket fees and expenses incurred by

 professionals or consultants retained by the DIP Agent and the DIP Lenders, including (x) the Ad




                                                  46
Case 20-41308       Doc 228      Filed 04/01/20 Entered 04/01/20 23:45:34              Main Document
                                          Pg 978 of 1005


 Hoc First Lien Advisors and (z) the Ad Hoc Crossover Group Advisors (collectively, the “DIP

 Professionals”), incurred in connection with the Cases (in any capacity) and the DIP Facility,

 whether or not the DIP Facility is successfully consummated, and (ii) reasonable and documented

 out-of-pocket expenses (including, without limitation, fees, disbursements and other charges of

 DIP Professionals) of the DIP Agent and the DIP Lenders, for enforcement costs and documentary

 taxes associated with the DIP Facility and the transactions contemplated thereby, are to be paid by

 the Debtors. All fees and expenses described above shall be payable by the Debtors (whether

 accrued or incurred prior to, on, or after the Petition Date) within ten calendar days after the

 delivery of invoices (which invoices shall not be required to comply with any particular format

 and may be in summary form only and may be in redacted form to protect privileged and

 confidential information) to the Debtors, the U.S. Trustee, and the Creditors’ Committee (if any),

 without the necessity of filing motions or fee applications and such fees and expenses shall not be

 subject to any further review, challenge, or disgorgement following the expiration of such period.

        (b)     As set forth in the DIP Facility, the Debtors will, jointly and severally, indemnify

 the DIP Lenders, the DIP Agent, and their respective affiliates, successors and assigns and the

 officers, directors, employees, agents, advisors, controlling persons, and members of each of the

 foregoing (each an “Indemnified Person”), and hold them harmless from and against any and all

 losses, claims, damages, costs, expenses (including but not limited to reasonable and documented

 legal fees and expenses), and liabilities arising out of or relating to the execution or delivery of the

 DIP Credit Agreement and other DIP Documents, transactions contemplated hereby and thereby,

 and any actual or proposed use of the proceeds of any loans made under the DIP Facility in

 accordance with the terms of the DIP Credit Agreement; provided that no such person will be

 indemnified for costs, expenses, or liabilities to the extent determined by a final, non-appealable




                                                   47
Case 20-41308       Doc 228      Filed 04/01/20 Entered 04/01/20 23:45:34              Main Document
                                          Pg 979 of 1005


 judgment of a court of competent jurisdiction to have been incurred solely by reason of the actual

 fraud, gross negligence, or willful misconduct of such person (or their related persons). No

 Indemnified Person shall have any liability (whether direct or indirect, in contract, tort or

 otherwise) to the Debtors or any shareholders or creditors of the Debtors for or in connection with

 the transactions contemplated hereby, except to the extent such liability is found in an final non-

 appealable judgment by a court of competent jurisdiction to have resulted solely from such

 Indemnified Person’s actual fraud, gross negligence or willful misconduct, and in no event shall

 any Indemnified Person be liable on any theory of liability for any special, indirect, consequential,

 or punitive damages.

         29.     Limitation on Use of DIP Facility Proceeds, DIP Collateral, and Cash Collateral

         (a)     Notwithstanding anything to the contrary set forth in this Interim Order or in any

 other order of this Court to the contrary, none of the DIP Facility, the DIP Collateral, the

 Prepetition Collateral or the proceeds thereof, including Cash Collateral, shall be used to pay fees

 or expenses in excess of $150,000.00 per month in the aggregate on account of all Committee

 Professionals (the “Committee Monthly Cap”); provided that any unused amounts may be carried

 forward to a subsequent month.

         (b)     Notwithstanding anything to the contrary set forth in this Interim Order, none of

 the DIP Facility, the DIP Collateral, the Prepetition Collateral or the proceeds thereof, including

 Cash Collateral, or the Carve Out may be used: (a) to investigate (except as expressly provided

 herein), initiate, prosecute, join, or finance the initiation or prosecution of any claim, counterclaim,

 action, suit, arbitration, proceeding, application, motion, objection, defense, or other litigation of

 any type (i) against any of the DIP Agent, the DIP Lenders, or the Prepetition Secured Parties

 (each in their capacities as such) or seeking relief that would impair the rights and remedies of the




                                                   48
Case 20-41308       Doc 228     Filed 04/01/20 Entered 04/01/20 23:45:34              Main Document
                                         Pg 980 of 1005


 DIP Agent, the DIP Lenders, or the Prepetition Secured Parties (each in their capacities as such)

 under the DIP Documents, this Interim Order, or the Prepetition Credit Documents to the extent

 permitted or provided hereunder, including, without limitation, for the payment of any services

 rendered by the professionals retained by the Debtors or any Creditors’ Committee in connection

 with the assertion of or joinder in any claim, counterclaim, action, proceeding, application, motion,

 objection, defense, or other contested matter, the purpose of which is to seek, or the result of which

 would be to obtain, any order, judgment, determination, declaration, or similar relief that would

 impair the ability of any of the DIP Agent, the DIP Lenders, or the Prepetition Secured Parties to

 recover on the DIP Collateral or the Prepetition Collateral, as provided for herein, or seeking

 affirmative relief against any of the DIP Agent, the DIP Lenders, or the Prepetition Secured Parties

 related to the DIP Obligations, or the Prepetition Secured Obligations, (ii) seeking to invalidate,

 set aside, avoid, or subordinate, in whole or in part, the DIP Obligations, the DIP Superpriority

 Claims, or the DIP Agent’s and the DIP Lenders’ liens or security interests in the DIP Collateral,

 the Prepetition Secured Obligations or the Prepetition Liens, or (iii) for monetary, injunctive, or

 other affirmative relief against the DIP Agent, the DIP Lenders, or the Prepetition Secured Parties

 (each in their capacities as such), or their respective liens on or security interests in the DIP

 Collateral or the Prepetition Collateral, or the DIP Superpriority Claims, that would impair the

 ability of any of the DIP Agent, the DIP Lenders, or the Prepetition Secured Parties to assert or

 enforce any lien, claim, right, or security interest or to realize or recover on the DIP Obligations

 or the Prepetition Secured Obligations to the extent permitted or provided hereunder; (b) for

 objecting to or challenging in any way the legality, validity, priority, perfection, or enforceability

 of the claims, liens, or interests (including the Prepetition Liens) held by or on behalf of each of

 the Prepetition Secured Parties related to the Prepetition Secured Obligations, or by or on behalf




                                                  49
Case 20-41308       Doc 228      Filed 04/01/20 Entered 04/01/20 23:45:34              Main Document
                                          Pg 981 of 1005


 of the DIP Agent and the DIP Lenders related to the DIP Obligations; (c) for asserting,

 commencing, or prosecuting any claims or causes of action whatsoever, including, without

 limitation, any Avoidance Actions (as defined herein) related to the DIP Obligations, the DIP

 Superpriority Claims, the DIP Liens, the Prepetition Secured Obligations, or the Prepetition Liens;

 (d) for prosecuting an objection to, contesting in any manner, or raising any defenses to, the

 validity, extent, amount, perfection, priority, or enforceability of: (x) any of the DIP Liens, the DIP

 Superpriority Claims, or any other rights or interests of the DIP Agent or the DIP Lenders related

 to the DIP Obligations or the DIP Liens, or (y) any of the Prepetition Liens or any other rights or

 interests of any of the Prepetition Secured Parties related to the Prepetition Secured Obligations or

 the Prepetition Liens; and (e) assert any claims, defenses, or any other causes of action any non-

 Debtor affiliates with respect to prepetition relationships with the Debtors; provided that (i) no

 more than $25,000.00 of the proceeds of the DIP Facility, the DIP Collateral, or the Prepetition

 Collateral, including the Cash Collateral, in the aggregate, may be used by the Creditors’

 Committee, if appointed, solely to investigate the foregoing matters with respect to the Prepetition

 Secured Obligations, and the Prepetition Liens within the Challenge Period (as defined herein);

 and (ii) no more than $25,000.00 of the proceeds of the DIP Facility, the DIP Collateral, or the

 Prepetition Collateral, including the Cash Collateral, in the aggregate, may be used by the

 Creditors’ Committee, if appointed, solely to investigate the any claims or causes of action against




                                                   50
Case 20-41308       Doc 228      Filed 04/01/20 Entered 04/01/20 23:45:34              Main Document
                                          Pg 982 of 1005


 non-Debtor affiliates within the Challenge Period (clauses (i) and (ii), collectively, the “Challenge

 Budget”).

        (c)     All fees and expenses of the Committee Professionals in excess of (i) the

 Committee Monthly Cap and/or (ii) the Challenge Budget, as applicable, shall not be entitled to

 administrative expense priority pursuant to section 503(b) of the Bankruptcy Code or otherwise.

        30.     Effect of Stipulations on Third Parties.

        (a)     The Debtors’ acknowledgments, stipulations, admissions, waivers, and releases set

 forth in this Interim Order shall be binding on the Debtors, their respective representatives,

 successors and assigns upon entry of this Interim Order. The acknowledgments, stipulations,

 admissions, waivers, and releases contained in this Interim Order shall also be binding upon the

 Debtors’ estate and all other parties in interest, including the Creditors’ Committee (if any), or any

 chapter 7 or chapter 11 trustee appointed or elected for any of the Debtors (a “Trustee”), unless (a)

 such party with requisite standing, has duly filed an adversary proceeding challenging the validity,

 perfection, priority, extent, or enforceability of the Prepetition Liens, or the Prepetition Secured

 Obligations, or otherwise asserting or prosecuting any Avoidance Actions or any other claims,

 counterclaims or causes of action, objections, contests, or defenses (collectively, the “Claims and

 Defenses”) against the Prepetition Secured Parties in connection with any matter related to the

 Prepetition Collateral, the Prepetition Liens or the Prepetition Secured Obligations by no later than

 (i) with respect to any Creditors’ Committee, the date that is 60 days after the Creditors’

 Committee’s formation or (ii) with respect to other parties in interest, no later than the date that is

 75 days after the entry of this Interim Order (the time period established by the later of the

 foregoing clauses (i) and (ii), the “Challenge Period”); provided that in the event that, prior to the

 expiration of the Challenge Period, (x) these chapter 11 cases are converted to chapter 7 or (y) a




                                                   51
Case 20-41308       Doc 228     Filed 04/01/20 Entered 04/01/20 23:45:34             Main Document
                                         Pg 983 of 1005


 chapter 11 trustee is appointed in these chapter 11 cases, then, in each such case, the Challenge

 Period shall be extended for a period of 60 days solely with respect to any Trustee, commencing

 on the occurrence of either of the events described in the foregoing clauses (x) and (y); and (b) an

 order is entered by a court of competent jurisdiction and becomes final and non-appealable in favor

 of the plaintiff sustaining any such challenge or claim in any such duly filed adversary proceeding.

 If no such adversary proceeding is timely filed prior to the expiration of the Challenge Period,

 without further order of this Court: (x) the Prepetition Secured Obligations shall constitute allowed

 claims, not subject to any Claims and Defenses (whether characterized as a counterclaim, setoff,

 subordination, recharacterization, defense, avoidance, contest, attack, objection, recoupment,

 reclassification, reduction, disallowance, recovery, disgorgement, attachment, “claim” (as defined

 by Bankruptcy Code section 101(5)), impairment, subordination (whether equitable, contractual

 or otherwise), or other challenge of any kind pursuant to the Bankruptcy Code or applicable non-

 bankruptcy law), for all purposes in these Cases and any subsequent chapter 7 cases, if any; (y) the

 Prepetition Liens shall be deemed to have been, as of the Petition Date, legal, valid, binding,

 perfected and of the priority specified in paragraphs 4(b) and 4(d), not subject to setoff,

 subordination, defense, avoidance, impairment, disallowance, recharacterization, reduction,

 recoupment, or recovery; and (z) the Prepetition Secured Obligations, the Prepetition Liens on the

 Prepetition Collateral and the Prepetition Secured Parties (in their capacities as such) shall not be

 subject to any other or further challenge and any party in interest shall be forever enjoined and

 barred from seeking to exercise the rights of the Debtors’ estates or taking any such action,

 including any successor thereto (including any estate representative or a Trustee, whether such

 Trustee is appointed or elected prior to or following the expiration of the Challenge Period). If

 any such adversary proceeding is timely filed prior to the expiration of the Challenge Period, (a)




                                                  52
Case 20-41308       Doc 228      Filed 04/01/20 Entered 04/01/20 23:45:34             Main Document
                                          Pg 984 of 1005


 the stipulations and admissions contained in this Interim Order shall nonetheless remain binding

 and preclusive on the Creditors’ Committee (if any) and any other party in these cases, including

 any Trustee, except as to any stipulations or admissions that are specifically and expressly

 challenged in such adversary proceeding and (b) any Claims and Defenses not brought in such

 adversary proceeding shall be forever barred; provided that, if and to the extent any challenges to

 a particular stipulation or admission are withdrawn, denied or overruled by a final non-appealable

 order, such stipulation also shall be binding on the Debtors’ estates and all parties in interest.

        (b)     Nothing in this Interim Order vests or confers on any person (as defined in the

 Bankruptcy Code), including any Creditors’ Committee, standing or authority to pursue any cause

 of action belonging to the Debtors or their estates, including, without limitation, any challenge

 with respect to the Prepetition Credit Documents or the Prepetition Secured Obligations.

        31.     Release. Subject to the rights and limitations set forth in paragraphs 29 and 30 of

 this Interim Order, each of the Debtors and the Debtors’ estates, on its own behalf and on behalf

 of each of their predecessors, their successors, and assigns shall to the maximum extent permitted

 by applicable law, unconditionally, irrevocably and fully forever release, remise, acquit,

 relinquish, irrevocably waive and discharge each of the DIP Lenders, the DIP Agent, the

 Prepetition Secured Parties, and each of their respective former, current or future officers,

 employees, directors, agents, representatives, owners, members, partners, affiliated investment

 funds or investment vehicles, managed, advised or sub-advised accounts, funds or other entities,

 investment advisors, sub-advisors or managers, financial advisors, legal advisors, shareholders,

 managers, consultants, accountants, attorneys, affiliates, and predecessors in interest, each in their

 capacity as such, of and from any and all claims, demands, liabilities, responsibilities, disputes,

 remedies, causes of action, indebtedness and obligations, rights, assertions, allegations, actions,




                                                   53
Case 20-41308       Doc 228     Filed 04/01/20 Entered 04/01/20 23:45:34              Main Document
                                         Pg 985 of 1005


 suits, controversies, proceedings, losses, damages, injuries, attorneys’ fees, costs, expenses, or

 judgments of every type, whether known, unknown, asserted, unasserted, suspected, unsuspected,

 accrued, unaccrued, fixed, contingent, pending, or threatened including, without limitation, all

 legal and equitable theories of recovery, arising under common law, statute or regulation or by

 contract, of every nature and description that exist on the date hereof with respect to or relating to

 the DIP Obligations, the DIP Superpriority Claims, the DIP Liens, the Prepetition Secured

 Obligations or the Prepetition Liens, as applicable, including, without limitation, (i) any so-called

 “lender liability” or equitable subordination claims or defenses, (ii) any and all claims and causes

 of action arising under the Bankruptcy Code, and (iii) any and all claims and causes of action

 regarding the validity, priority, extent, enforceability, perfection or avoidability of the liens or

 claims of the DIP Agent, the DIP Lenders, and the Prepetition Secured Parties.

        32.     Collateral Trust Agreement. The rights of the Prepetition Secured Parties shall at

 all times remain subject to the Collateral Trust Agreement.

        33.     Credit Bidding. (a) The DIP Agent, or any assignee or designee of the DIP Agent,

 acting at the direction of the Required Lenders and on behalf of the DIP Parties, shall have the

 unqualified right to credit bid up to the full amount of any DIP Obligations in the sale of any of

 the Debtors’ assets, including pursuant to (i) Bankruptcy Code section 363, (ii) a plan of

 reorganization or a plan of liquidation under Bankruptcy Code section 1129, or (iii) a sale or

 disposition by a chapter 7 trustee for any Debtor under Bankruptcy Code section 725, and (b)

 subject to the indefeasible payment in full in cash of the DIP Obligations, the Prepetition First Lien

 Agents (on behalf of the Prepetition First Lien Lenders) shall have the right to credit bid (x) up to

 the full amount of the Prepetition First Lien Obligations and (y) the First Lien Adequate Protection

 Obligations in the sale of any of the Debtors’ assets, including, but not limited to, pursuant to (i)




                                                  54
Case 20-41308       Doc 228     Filed 04/01/20 Entered 04/01/20 23:45:34              Main Document
                                         Pg 986 of 1005


 Bankruptcy Code section 363, (ii) a plan of reorganization or a plan of liquidation under

 Bankruptcy Code section 1129, or (iii) a sale or disposition by a chapter 7 trustee for any Debtor

 under Bankruptcy Code section 725. The DIP Agent, at the direction of the Required Lenders,

 and on behalf of the DIP Parties, shall have the absolute right to assign, sell, or otherwise dispose

 of its right to credit bid in connection with any credit bid by or on behalf of the DIP Parties to any

 acquisition entity or joint venture formed in connection with such bid.

        34.     Prepetition Undrawn Letter of Credit. Subject to the Cash Flow Forecast in all

 respects, (i) within ten (10) days from entry of this Interim Order, the Debtors shall (i) post cash

 collateral with the Prepetition First Lien Administrative Agent equal to 103% of the face amount

 of that issued and undrawn letter of credit in favor of Rockwood Insurance (relating to the Debtors’

 workers’ compensation program) (the “Prepetition Undrawn Letter of Credit”) and (ii) within

 thirty (30) days from entry of this Interim Order, provide the Prepetition First Lien Administrative

 Agent with evidence of the release and/or cancellation of all other issued and undrawn letters of

 credit in existence as of the Petition Date. Notwithstanding anything to the contrary set forth in

 this Interim Order or in the Final Order, the Prepetition First Lien Administrative Agent (for the

 benefit of the Prepetition First Lien Revolving Lenders) shall have a first priority lien and security

 interest in and to such cash collateral as security for any unreimbursed obligations owing to the

 Prepetition First Lien Revolving Lenders on account of any draws or presentments on such letters

 of credit. In the event of any presentment of the Prepetition Undrawn Letter of Credit which are

 not immediately reimbursed by the Debtors pursuant to the terms of the Prepetition First Lien

 Credit Agreement, the Prepetition First Lien Administrative Agent is authorized to apply such cash

 collateral to the payment of such unreimbursed obligations.




                                                  55
Case 20-41308       Doc 228      Filed 04/01/20 Entered 04/01/20 23:45:34              Main Document
                                          Pg 987 of 1005


        35.     Interim Order Governs. In the event of any inconsistency between the provisions

 of this Interim Order or the DIP Documents, the provisions of this Interim Order shall govern.

        36.     Binding Effect; Successors and Assigns. The DIP Documents and the provisions

 of this Interim Order, including all findings herein, shall be binding upon all parties in interest in

 these Cases, including without limitation, the DIP Agent, the DIP Lenders, the Prepetition Secured

 Parties, any Creditors’ Committee appointed in these Cases, and the Debtors and their respective

 successors and assigns (including any chapter 7 or chapter 11 trustee hereinafter appointed or

 elected for the estate of any of the Debtors, an examiner appointed pursuant to Bankruptcy Code

 section 1104, or any other fiduciary appointed as a legal representative of any of the Debtors or

 with respect to the property of the estate of any of the Debtors) and shall inure to the benefit of the

 DIP Agent, the DIP Lenders, and the Prepetition First Lien Parties, provided that, except to the

 extent expressly set forth in this Interim Order, the Prepetition First Lien Parties shall have no

 obligation to permit the use of Cash Collateral or to extend any financing to any chapter 7 trustee

 or similar responsible person appointed for the estates of the Debtors.

        37.     Limitation of Liability. In determining to make any loan under the DIP Documents,

 permitting the use of Cash Collateral, or exercising any rights or remedies as and when permitted

 pursuant to this Interim Order, the DIP Documents, the Prepetition First Lien Credit Documents,

 or the Prepetition Second Lien Documents, the DIP Agent, the DIP Lenders, and the Prepetition

 Secured Parties shall not be deemed to be in control of the operations of the Debtors or to be acting

 as a “responsible person” or “owner or operator” with respect to the operation or management of

 the Debtors or their respective business (as such terms, or any similar terms, are used in the United

 States Comprehensive Environmental Response, Compensation and Liability Act, 42 U.S.C.

 §§ 9601 et seq. as amended, or any similar federal or state statute), nor shall they owe any fiduciary




                                                   56
Case 20-41308       Doc 228      Filed 04/01/20 Entered 04/01/20 23:45:34              Main Document
                                          Pg 988 of 1005


 duty to any of the Debtors, their creditors or estates, or constitute or be deemed to constitute a joint

 venture or partnership with any of the Debtors. Furthermore, nothing in this Interim Order, the

 DIP Documents or the Prepetition Credit Documents shall in any way be construed or interpreted

 to impose or allow the imposition upon the DIP Agent, the DIP Lenders or the Prepetition Secured

 Parties of any liability for any claims arising from the prepetition or postpetition activities of any

 of the Debtors and their respective affiliates (as defined in Bankruptcy Code section 101(2)).

        38.     Effectiveness. This Interim Order shall constitute findings of fact and conclusions

 of law and shall take effect and be fully enforceable nunc pro tunc to the Petition Date immediately

 upon entry hereof. Notwithstanding Bankruptcy Rules 4001(a)(3), 6004(h), 6006(d), 7062 or 9024

 or any other Bankruptcy Rule, or Rule 62(a) of the Federal Rules of Civil Procedure, this Interim

 Order shall be immediately effective and enforceable upon its entry and there shall be no stay of

 execution or effectiveness of this Interim Order.

        39.     Final Hearing. The Final Hearing is scheduled for [___] at [___], prevailing

 Central time, before this Court. The Debtors shall promptly transmit copies of this Interim Order

 (which shall constitute adequate notice of the Final Hearing) to the parties having been given notice

 of the Interim Hearing, to any party that has filed a request for notices with this Court and to any

 Creditors’ Committee after the same has been appointed, or Creditors’ Committee counsel, if the

 same shall have been appointed. Any party in interest objecting to the relief sought at the Final

 Hearing shall serve and file a written objection thereto, which shall be served upon the Notice

 Parties, and shall also be filed with the Clerk of the United States Bankruptcy Court, Eastern

 District of Missouri, in each case to allow actual receipt by the foregoing no later than [___] at

 [___], prevailing Central Time.

 Dated: _________________, 2020




                                                   57
Case 20-41308   Doc 228   Filed 04/01/20 Entered 04/01/20 23:45:34   Main Document
                                   Pg 989 of 1005



                                      THE HONORABLE KATHY SURRATT-STATES
                                      UNITED STATES BANKRUPTCY JUDGE




                                        58
Case 20-41308   Doc 228   Filed 04/01/20 Entered 04/01/20 23:45:34   Main Document
                                   Pg 990 of 1005



                                     Exhibit 1

                                Cash Flow Forecast
Case 20-41308   Doc 228   Filed 04/01/20 Entered 04/01/20 23:45:34   Main Document
                                   Pg 991 of 1005


                                      Exhibit 2

                               DIP Credit Agreement
Case 20-41308   Doc 228   Filed 04/01/20 Entered 04/01/20 23:45:34   Main Document
                                   Pg 992 of 1005


                                                                         EXHIBIT L

                                   [RESERVED]




                                       L- 1
Case 20-41308          Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                        Main Document
                                               Pg 993 of 1005




                                                                                                          EXHIBIT M-1

                             FORM OF U.S. TAX COMPLIANCE CERTIFICATE
               (For Foreign Lenders That Are Not Partnerships For U.S. Federal Income Tax Purposes)

          Reference is hereby made to the Senior Secured Superpriority Debtor-in-Possession Credit and Guaranty
 Agreement, dated as of March 11, 2020 (as it may be amended, restated, supplemented or otherwise modified from
 time to time, the “Credit Agreement”; the terms defined therein being used herein as therein defined), among
 FORESIGHT ENERGY LLC, a Delaware limited liability company, as a debtor and debtor-in-possession, as borrower
 (the “Borrower”), FORESIGHT ENERGY GP LLC, a Delaware limited liability company, as a debtor and debtor-in-
 possession (the “General Partner”), FORESIGHT ENERGY LP, a Delaware limited partnership, as a debtor and
 debtor-in-possession (“Holdings”), CERTAIN SUBSIDIARIES OF BORROWER, each as a debtor and debtor-in-
 possession, as Guarantors, each lender from time to time party hereto (collectively, the “Lenders” and, individually, a
 “Lender”) and Cortland Capital Market Services LLC, as Administrative Agent and Collateral Agent.

             Pursuant to the provisions of Section 3.01 of the Credit Agreement, the undersigned hereby certifies that (i)
 it is the sole record and beneficial owner of the Loan(s) (as well as any Note(s) evidencing such Loan(s)) in respect
 of which it is providing this certificate, (ii) it is not a bank within the meaning of Section 881(c)(3)(A) of the Code,
 (iii) it is not a ten percent shareholder of the Borrower within the meaning of Section 871(h)(3)(B) of the Code and
 (iv) it is not a controlled foreign corporation related to the Borrower as described in Section 881(c)(3)(C) of the Code.

           The undersigned has furnished the Administrative Agent and the Borrower with a certificate of its non-U.S.
 Person status on IRS Form W-8BEN or W-8BENE-E. By executing this certificate, the undersigned agrees that (1)
 if the information provided on this certificate changes, the undersigned shall promptly so inform the Borrower and the
 Administrative Agent, and (2) the undersigned shall have at all times furnished the Borrower and the Administrative
 Agent with a properly completed and currently effective certificate in either the calendar year in which each payment
 is to be made to the undersigned, or in either of the two calendar years preceding such payments.

        Unless otherwise defined herein, terms defined in the Credit Agreement and used herein shall have the
 meanings given to them in the Credit Agreement.

 [NAME OF LENDER]



 By: ______________________________________________
     Name:
     Title:

 Date: , 20[ ]




                                                         M-1-1
Case 20-41308           Doc 228         Filed 04/01/20 Entered 04/01/20 23:45:34                         Main Document
                                                 Pg 994 of 1005


                                                                                                             EXHIBIT M-2

                              FORM OF U.S. TAX COMPLIANCE CERTIFICATE
              (For Foreign Participants That Are Not Partnerships For U.S. Federal Income Tax Purposes)

          Reference is hereby made to the Senior Secured Superpriority Debtor-in-Possession Credit and Guaranty
 Agreement, dated as of March 11, 2020 (as amended, restated, supplemented or otherwise modified from time to time)
 (the “Credit Agreement”; the terms defined therein being used herein as therein defined), among FORESIGHT
 ENERGY LLC, a Delaware limited liability company, as a debtor and debtor-in-possession, as borrower (the
 “Borrower”), FORESIGHT ENERGY GP LLC, a Delaware limited liability company, as a debtor and debtor-in-
 possession (the “General Partner”), FORESIGHT ENERGY LP, a Delaware limited partnership, as a debtor and
 debtor-in-possession (“Holdings”), CERTAIN SUBSIDIARIES OF BORROWER, each as a debtor and debtor-in-
 possession, as Guarantors, each lender from time to time party hereto (collectively, the “Lenders” and, individually, a
 “Lender”) and Cortland Capital Market Services LLC, as Administrative Agent and Collateral Agent.

            Pursuant to the provisions of Section 3.01 of the Credit Agreement, the undersigned hereby certifies that (i)
 it is the sole record and beneficial owner of the participation in respect of which it is providing this certificate, (ii) it
 is not a bank within the meaning of Section 881(c)(3)(A) of the Code, (iii) it is not a ten percent shareholder of the
 Borrower within the meaning of Section 871(h)(3)(B) of the Code, and (iv) it is not a controlled foreign corporation
 related to the Borrower as described in Section 881(c)(3)(C) of the Code.

           The undersigned has furnished its participating Lender with a certificate of its non-U.S. Person status on IRS
 Form W-8BEN or W-8BEN-E. By executing this certificate, the undersigned agrees that (1) if the information
 provided on this certificate changes, the undersigned shall promptly so inform such Lender in writing, and (2) the
 undersigned shall have at all times furnished such Lender with a properly completed and currently effective certificate
 in either the calendar year in which each payment is to be made to the undersigned, or in either of the two calendar
 years preceding such payments.

        Unless otherwise defined herein, terms defined in the Credit Agreement and used herein shall have the
 meanings given to them in the Credit Agreement.

 [NAME OF PARTICIPANT]



 By: ______________________________________________
     Name:
     Title:

 Date: , 20[ ]




                                                           M-2-1
Case 20-41308            Doc 228         Filed 04/01/20 Entered 04/01/20 23:45:34                            Main Document
                                                  Pg 995 of 1005


                                                                                                                 EXHIBIT M-3

                               FORM OF U.S. TAX COMPLIANCE CERTIFICATE
                 (For Foreign Participants That Are Partnerships For U.S. Federal Income Tax Purposes)

          Reference is hereby made to the Senior Secured Superpriority Debtor-in-Possession Credit and Guaranty
 Agreement, dated as of March 11, 2020 (as amended, restated, supplemented or otherwise modified from time to time)
 (the “Credit Agreement”; the terms defined therein being used herein as therein defined), among FORESIGHT
 ENERGY LLC, a Delaware limited liability company, as a debtor and debtor-in-possession, as borrower (the
 “Borrower”), FORESIGHT ENERGY GP LLC, a Delaware limited liability company, as a debtor and debtor-in-
 possession (the “General Partner”), FORESIGHT ENERGY LP, a Delaware limited partnership, as a debtor and
 debtor-in-possession (“Holdings”), CERTAIN SUBSIDIARIES OF BORROWER, each as a debtor and debtor-in-
 possession, as Guarantors, each lender from time to time party hereto (collectively, the “Lenders” and, individually, a
 “Lender”) and Cortland Capital Market Services LLC, as Administrative Agent and Collateral Agent.

            Pursuant to the provisions of Section 3.01 of the Credit Agreement, the undersigned hereby certifies that (i)
 it is the sole record owner of the participation in respect of which it is providing this certificate, (ii) its direct or indirect
 partners/members are the sole beneficial owners of such participation, (iii) with respect such participation, neither the
 undersigned nor any of its direct or indirect partners/members is a bank extending credit pursuant to a loan agreement
 entered into in the ordinary course of its trade or business within the meaning of Section 881(c)(3)(A) of the Code,
 (iv) none of its direct or indirect partners/members is a ten percent shareholder of the Borrower within the meaning of
 Section 871(h)(3)(B) of the Code and (v) none of its direct or indirect partners/members is a controlled foreign
 corporation related to the Borrower as described in Section 881(c)(3)(C) of the Code.

           The undersigned has furnished its participating Lender with IRS Form W-8IMY accompanied by one of the
 following forms from each of its partners/members that is claiming the portfolio interest exemption: (i) an IRS Form
 W-8BEN or W-8BEN-E or (ii) an IRS Form W-8IMY accompanied by an IRS Form W-8BEN or W-8BEN-E from
 each of such partner’s/member’s beneficial owners that is claiming the portfolio interest exemption. By executing
 this certificate, the undersigned agrees that (1) if the information provided on this certificate changes, the undersigned
 shall promptly so inform such Lender and (2) the undersigned shall have at all times furnished such Lender with a
 properly completed and currently effective certificate in either the calendar year in which each payment is to be made
 to the undersigned, or in either of the two calendar years preceding such payments.

        Unless otherwise defined herein, terms defined in the Credit Agreement and used herein shall have the
 meanings given to them in the Credit Agreement.

 [NAME OF PARTICIPANT]



 By: ______________________________________________
     Name:
     Title:

 Date: , 20[ ]




                                                             M-3-1
Case 20-41308           Doc 228        Filed 04/01/20 Entered 04/01/20 23:45:34                        Main Document
                                                Pg 996 of 1005


                                                                                                           EXHIBIT M-4

                              FORM OF U.S. TAX COMPLIANCE CERTIFICATE
                  (For Foreign Lenders That Are Partnerships For U.S. Federal Income Tax Purposes)

          Reference is hereby made to the Senior Secured Superpriority Debtor-in-Possession Credit and Guaranty
 Agreement, dated as of March 11, 2020 (as amended, restated, supplemented or otherwise modified from time to time)
 (the “Credit Agreement”; the terms defined therein being used herein as therein defined), among FORESIGHT
 ENERGY LLC, a Delaware limited liability company, as a debtor and debtor-in-possession, as borrower (the
 “Borrower”), FORESIGHT ENERGY GP LLC, a Delaware limited liability company, as a debtor and debtor-in-
 possession (the “General Partner”), FORESIGHT ENERGY LP, a Delaware limited partnership, as a debtor and
 debtor-in-possession (“Holdings”), CERTAIN SUBSIDIARIES OF BORROWER, each as a debtor and debtor-in-
 possession, as Guarantors, each lender from time to time party hereto (collectively, the “Lenders” and, individually, a
 “Lender”) and Cortland Capital Market Services LLC, as Administrative Agent and Collateral Agent.

            Pursuant to the provisions of Section 3.01 of the Credit Agreement, the undersigned hereby certifies that (i)
 it is the sole record owner of the Loan(s) (as well as any Note(s) evidencing such Loan(s)) in respect of which it is
 providing this certificate, (ii) its direct or indirect partners/members are the sole beneficial owners of such Loan(s) (as
 well as any Note(s) evidencing such Loan(s)), (iii) with respect to the extension of credit pursuant to this Credit
 Agreement or any other Loan Document, neither the undersigned nor any of its direct or indirect partners/members is
 a bank extending credit pursuant to a loan agreement entered into in the ordinary course of its trade or business within
 the meaning of Section 881 (c)(3)(A) of the Code, (iv) none of its direct or indirect partners/members is a ten percent
 shareholder of the Borrower within the meaning of Section 871(h)(3)(B) of the Code and (v) none of its direct or
 indirect partners/members is a controlled foreign corporation related to the Borrower as described in Section
 881(c)(3)(C) of the Code.

         The undersigned has furnished the Administrative Agent and the Borrower with IRS Form W-8IMY
 accompanied by one of the following forms from each of its partners/members that is claiming the portfolio interest
 exemption: (i) an IRS Form W-8BEN or W-8BEN-E or (ii) an IRS Form W-8IMY accompanied by an IRS

           Form W-8BEN or W-8BEN-E from each of such partner’s/member’s beneficial owners that is claiming the
 portfolio interest exemption. By executing this certificate, the undersigned agrees that (1) if the information provided
 on this certificate changes, the undersigned shall promptly so inform the Borrower and the Administrative Agent, and
 (2) the undersigned shall have at all times furnished the Borrower and the Administrative Agent with a properly
 completed and currently effective certificate in either the calendar year in which each payment is to be made to the
 undersigned, or in either of the two calendar years preceding such payments.

        Unless otherwise defined herein, terms defined in the Credit Agreement and used herein shall have the
 meanings given to them in the Credit Agreement.

 [NAME OF LENDER]



 By: ______________________________________________
 Name:
 Title:

 Date: , 20[ ]




                                                          M-4-1
Case 20-41308   Doc 228   Filed 04/01/20 Entered 04/01/20 23:45:34   Main Document
                                   Pg 997 of 1005


                                    Exhibit G
                            Case 20-41308   Doc 228   Filed 04/01/20 Entered 04/01/20 23:45:34        Main Document
                                                               Pg Exhibit G
                                                                  998 of 1005
                                                      Depositories and Nominees Service List
                                                                 Served via Email

                             Name                                                             Email
 Broadridge                                       SpecialProcessing@broadridge.com; BankruptcyJobs@broadridge.com
                                                  nathalie.chataigner@clearstream.com; cherifa.maameri@clearstream.com;
                                                  CA_Luxembourg@clearstream.com; david.mccauley@clearstream.com;
 Clearstream                                      ca_mandatory.events@clearstream.com; hulya.din@clearstream.com

                                               MandatoryReorgAnnouncements@dtcc.com; voluntaryreorgannouncements@dtcc.com;
 DTC                                           LegalAndTaxNotices@dtcc.com; rgiordano@dtcc.com;
 Euro Clear                                    drit@euroclear.com; 'JPMorganInformation.Services@jpmorgan.com'; eb.ca@euroclear.com
                                               darchangel@mediantonline.com'; mtaylor@mediantonline.com; mdickens@mediantonline.com;
                                               'mhamdan@mediantonline.com' 'mkoester@mediantonline.com';
 Mediant                                       'documents@mediantonline.com'
 SIS                                           ca.notices@six-securities-services.com
 Ameriprise Financial (0216)                   Email Redacted
 Bank of America Corporate Actions             Email Redacted
 Bank of America (0955)                        Email Redacted
 BANK OF NEW YORK MELLON (0901/2510/8320)      Email Redacted
 BARCLAYS CAPITAL /BARCLAYS BANK (0229/7254/510Email Redacted
 BB & T SECURITIES(0702)                       Email Redacted
 BMO NSBT BURNS (5043)                         Email Redacted
 BNP PARIBAS (2787/1569/2154)                  Email Redacted
 BNY MELLON/ NE TRUST (0954/2485)              Email Redacted
 BROWN BROTHERS HARRIMAN & CO. (0010)          Email Redacted
 CANTOR FITZGERALD (7311/0197)                 Email Redacted
 CAVALI ICLV S.A. (2011)                       Email Redacted
 CHARLES SCHWAB & CO., INC. (0164)             Email Redacted
 CIBC Mellon (0954/5030)                       Email Redacted
 CITIBANK, N.A. (0908/0418/0505/0274)          Email Redacted
 COMERICA BANK (2108)                          Email Redacted
 CREDIT SUISSE SECURITIES USA LLC - (0355)     Email Redacted
 CREST INTL NOMINEES LIMITED (2012)            Email Redacted
 DAVENPORT & COMPANY LLC (0715)                Email Redacted
 DESERET TRUST COMPANY - I (2497)              Email Redacted
In re: Foresight Energy LP, et al.
Case No. 20-41308-659                                              Page 1 of 3
                            Case 20-41308   Doc 228   Filed 04/01/20 Entered 04/01/20 23:45:34         Main Document
                                                               Pg Exhibit G
                                                                  999 of 1005
                                                      Depositories and Nominees Service List
                                                                 Served via Email

                        Name                                                                   Email
 DEUTSCHE BANK SECURITIES (0573)                    Email Redacted
 E*TRADE /RIDGE CLEARING (0158/0358)                Email Redacted
 EDWARD JONES (0057)                                Email Redacted
 FIRST CLEARING, LLC (0141)                         Email Redacted
 FIRST SOUTHWEST COMPANY (0309)                     Email Redacted
 GOLDMAN SACHS (0005 / 5208 / 2941)                 Email Redacted
 HSBC (8396)                                        Email Redacted
 Huntington (2305)                                  Email Redacted
 INGALLS & SNYDER, L.L.C. (0124)                    Email Redacted
 INTERACTIVE BROKERS/TH (0534)                      Email Redacted
 INTL FCSTONE, INC.f.k.a STERNE, AGEE & LEACH, INC. Email Redacted
 J.P. MORGAN CLEARING CORP. (0352/2035/0902)        Email Redacted
 JANNEY MONTGOMERY SCOTT INC. (0374)                Email Redacted
 JEFFERIES (0019)                                   Email Redacted
 JPMorgan (2424)                                    Email Redacted
 JPMorgan (8187)                                    Email Redacted
 JPMs LLC (187)                                     Email Redacted
 KEYBANK NA/FBO TREASURER OF OHIO (2769)            Email Redacted
 LPL FINANCIAL CORPORATION (0075)                   Email Redacted
 M&I MARSHALL & ILSLEY BANK (0992)                  Email Redacted
 MERRILL LYNCH (0161/5198/0773)                     Email Redacted
 MITSUB UFJ (2932)                                  Email Redacted
 Morgan Stanley (0050)                              Email Redacted
 MORGAN STANLEY SMITH BARNEY LLC (0015)             Email Redacted
 MUFG (2145)                                        Email Redacted
 NATIONAL FINANCIAL SERVICES LLC (0226)             Email Redacted
 NOMURA SECURITIES/FIXED INCOME (5222)              Email Redacted
 NORTHERN TRUST CO (2669)                           Email Redacted
 OPPENHEIMER & CO. INC. (0571)                      Email Redacted
 PERSHING LLC (0443)                                Email Redacted
 RAYMOND JAMES & ASSOCIATES, INC. (0725)            Email Redacted
 REGIONS BANK (0971)                                Email Redacted
In re: Foresight Energy LP, et al.
Case No. 20-41308-659                                                Page 2 of 3
                            Case 20-41308   Doc 228   Filed 04/01/20 Entered 04/01/20 23:45:34         Main Document
                                                                  Exhibit
                                                              Pg 1000     G
                                                                       of 1005
                                                      Depositories and Nominees Service List
                                                                 Served via Email

                        Name                                                                   Email
 ROBERT W. BAIRD & CO. (0547)                     Email Redacted
 SCOTIA CAPITAL INC. /CDS (5011/4812)             Email Redacted
 Scottrade (0705)                                 Email Redacted
 SEI PRIVATE (2039/2663)                          Email Redacted
 SOUTHWEST SECURITIES, INC. (0279)                Email Redacted
 STATE STREET BANK AND TRUST (0997/2319/2950)     Email Redacted
 STIFEL, NICOLAUS & CO (0793)                     Email Redacted
 TD AMERITRADE CLEARING, INC. (0188)              Email Redacted
 TD Waterhouse /CDS ( 5036)                       Email Redacted
 TRADESTATION                                     Email Redacted
 U.S. BANK N.A. (2803)                            Email Redacted
 UBS FINANCIAL SERVICES LLC (0221)                Email Redacted
 US Bank (2803)                                   Email Redacted
 VANGUARD (0062)                                  Email Redacted
 WEDBUSH MORGAN SECURITIES (0103)                 Email Redacted
 WELLS FARGO (0250/2027)                          Email Redacted
 CDS                                              Email Redacted
 DESJARDINS(5028)                                 Email Redacted
 Cor Clearing LLC(0052)                           Email Redacted




In re: Foresight Energy LP, et al.
Case No. 20-41308-659                                              Page 3 of 3
Case 20-41308   Doc 228   Filed 04/01/20 Entered 04/01/20 23:45:34   Main Document
                                  Pg 1001 of 1005


                                     Exhibit H
                          Case 20-41308   Doc 228   Filed 04/01/20 Entered 04/01/20 23:45:34    Main Document
                                                                Exhibit
                                                            Pg 1002   of H
                                                                         1005
                                                           Lenders Service List
                                                             Served via Email
                                                        NAME                          EMAIL
                                      BANK OF AMERICA N.A                         Emails Redacted
                                      BARCLAYS BANK PLC NY                        Emails Redacted
                                      BLUEMOUNTAIN CLO 2013-1 LTD                 Emails Redacted
                                      BLUEMOUNTAIN CLO 2014-2 LTD                 Emails Redacted
                                      BLUEMOUNTAIN CLO 2015-1 LTD                 Emails Redacted
                                      BLUEMOUNTAIN CLO 2015-2 LTD                 Emails Redacted
                                      BLUEMOUNTAIN CLO 2015-3 LTD                 Emails Redacted
                                      BLUEMOUNTAIN CLO 2015-4 LTD                 Emails Redacted
                                      BLUEMOUNTAIN CLO 2016-1 LTD                 Emails Redacted
                                      BLUEMOUNTAIN CLO 2016-3 LTD                 Emails Redacted
                                      BLUEMOUNTAIN CLO 2018-1 LTD                 Emails Redacted
                                      BLUEMOUNTAIN CLO 2018-2 LTD                 Emails Redacted
                                      BLUEMOUNTAIN CLO 2018-3 LTD                 Emails Redacted
                                      BLUEMOUNTAIN FUJI US CLO II                 Emails Redacted
                                      VENTURE XXVIII CLO                          Emails Redacted
                                      CENT CLO 19 LIMITED                         Emails Redacted
                                      CENT CLO 21 LIMITED                         Emails Redacted
                                      CENT CLO 24 LIMITED                         Emails Redacted
                                      COLUMBIA CENT CLO 27 LTD                    Emails Redacted
                                      COLUMBIA CENT CLO 28 LIMITED                Emails Redacted
                                      COLUMBIA FLOATING RATE FUND                 Emails Redacted
                                      CORBIN ERISA OPPORTUNITY FUND               Emails Redacted
                                      CORBIN OPPORTUNITY FUND LP                  Emails Redacted
                                      CREDIT SUISSE LOAN FUNDING LLC              Emails Redacted
                                      CVP CLO 2017-2 LTD                          Emails Redacted
                                      CVP CLO 2017-1 LTD                          Emails Redacted
                                      DEUTSCHE BANK AG CAYMAN ISLAND              Emails Redacted
                                      ELLINGTON CLO I                             Emails Redacted
                                      ELLINGTON CLO II LTD                        Emails Redacted

In re: Foresight Energy LLC, et al.
Case No. 20-41308-659                                          Page 1 of 4
                          Case 20-41308   Doc 228    Filed 04/01/20 Entered 04/01/20 23:45:34    Main Document
                                                                 Exhibit
                                                             Pg 1003   of H
                                                                          1005
                                                            Lenders Service List
                                                              Served via Email
                                                          NAME                         EMAIL
                                      ELLINGTON CLO III LTD                        Emails Redacted
                                      ELLINGTON CLO IV LTD                         Emails Redacted
                                      NEWSTAR FAIRFIELD FUND CLO LTD               Emails Redacted
                                      NEWSTAR EXETER FUND CLO LLC                  Emails Redacted
                                      GOLDMAN SACHS LENDING PTNRS                  Emails Redacted
                                      MARATHON CLO IX LTD                          Emails Redacted
                                      MARATHON CLO V LTD                           Emails Redacted
                                      MARATHON CLO VI, LTD                         Emails Redacted
                                      MARATHON CLO VII, LTD                        Emails Redacted
                                      MARATHON CLO VIII, LTD                       Emails Redacted
                                      MARATHON CLO X LTD                           Emails Redacted
                                      MARATHON CLO XI LTD                          Emails Redacted
                                      QUAMVIS SCA SICAV-FIS: CMAB                  Emails Redacted
                                      MEADOWVEST FUNDING LLC                       Emails Redacted
                                      VENTURE 28A CLO LIMITED                      Emails Redacted
                                      VENTURE 35 CLO LIMITED                       Emails Redacted
                                      VENTURE 36 CLO                               Emails Redacted
                                      VENTURE XII CLO LIMITED                      Emails Redacted
                                      VENTURE XIII CLO LIMITED                     Emails Redacted
                                      VENTURE XIV CLO LIMITED                      Emails Redacted
                                      VENTURE XIX CLO LIMITED                      Emails Redacted
                                      VENTURE XV CLO LIMITED                       Emails Redacted
                                      VENTURE XVI CLO LIMITED                      Emails Redacted
                                      VENTURE XVII CLO LIMITED                     Emails Redacted
                                      VENTURE XVIII CLO LIMITED                    Emails Redacted
                                      VENTURE XX CLO LIMITED                       Emails Redacted
                                      VENTURE XXI CLO LIMITED                      Emails Redacted
                                      VENTURE XXII CLO LIMITED                     Emails Redacted
                                      VENTURE XXIII CLO LIMITED                    Emails Redacted

In re: Foresight Energy LLC, et al.
Case No. 20-41308-659                                            Page 2 of 4
                          Case 20-41308   Doc 228   Filed 04/01/20 Entered 04/01/20 23:45:34    Main Document
                                                                Exhibit
                                                            Pg 1004   of H
                                                                         1005
                                                           Lenders Service List
                                                             Served via Email
                                                        NAME                          EMAIL
                                      VENTURE XXIV CLO LIMITED                    Emails Redacted
                                      VENTURE XXIX CLO LIMITED                    Emails Redacted
                                      VENTURE XXV CLO LIMITED                     Emails Redacted
                                      VENTURE XXVI CLO LIMITED                    Emails Redacted
                                      VENTURE XXVII CLO LIMITED                   Emails Redacted
                                      OAKTREE CLO 2014-1 LTD.                     Emails Redacted
                                      OAKTREE CLO 2015-1 LTD                      Emails Redacted
                                      OAKTREE CLO 2018-1 LTD                      Emails Redacted
                                      OAKTREE CLO 2019-1 LTD                      Emails Redacted
                                      OAKTREE EIF III SERIES I, LTD               Emails Redacted
                                      OAKTREE EIF III SERIES II                   Emails Redacted
                                      OAKTREE SENIOR LOAN FUND                    Emails Redacted
                                      OAKTREE CLO 2019-2 LTD                      Emails Redacted
                                      THE MANGROVE PARTNERS MST FD                Emails Redacted
                                      B&M CLO 2014-1 LTD                          Emails Redacted
                                      TICP CLO VI 2016-2 FUNDING LTD              Emails Redacted
                                      AIG SENIOR FLOAT RATE                       Emails Redacted
                                      BRITISH COAL STAFF SUP ANN SCH              Emails Redacted
                                      HARTFORD TOTAL RETURN BOND ETF              Emails Redacted
                                      HARTFORD TOTAL RETURN BOND HLS              Emails Redacted
                                      METROPOLITAN SERIES FUND - MET              Emails Redacted
                                      MINEWORKERS PENSION SCHEME                  Emails Redacted
                                      SAEV MASTERFONDS WELLINGTON GL              Emails Redacted
                                      SAFETY INSURANCE COMPANY                    Emails Redacted
                                      SEASONS SERIES TRUST-SA MULTI               Emails Redacted
                                      THE HARTFORD FLOAT RATE FUND                Emails Redacted
                                      THE HARTFORD FLOAT RATE HIGH                Emails Redacted
                                      THE HARTFORD STRATEGIC INC FD               Emails Redacted
                                      THE HARTFORD TOTAL RETURN BOND              Emails Redacted

In re: Foresight Energy LLC, et al.
Case No. 20-41308-659                                          Page 3 of 4
                          Case 20-41308   Doc 228   Filed 04/01/20 Entered 04/01/20 23:45:34    Main Document
                                                                Exhibit
                                                            Pg 1005   of H
                                                                         1005
                                                           Lenders Service List
                                                             Served via Email
                                                         NAME                         EMAIL
                                      WCF MUTUAL INSURANCE COMPANY                Emails Redacted
                                      WELLINGTON MULTI-SECTOR CR FD               Emails Redacted
                                      WELLINGTON TS CO MULSEC CRD II              Emails Redacted
                                      WELLINGTON TST CO NAMCIF TSTII              Emails Redacted
                                      WELLINGTON TST CO NAMCTFT CBP               Emails Redacted
                                      WELLINGTON TST CO NAMCTFT OFIA              Emails Redacted
                                      WELLINGTON TST CO NAMCTFT OISB              Emails Redacted
                                      WELLINGTON WORLD BOND FUND                  Emails Redacted
                                      JOHN HANCOCK VARIABLE INS TST               Emails Redacted
                                      ZAIS CLO 1 LTD                              Emails Redacted
                                      ZAIS CLO 11 LTD                             Emails Redacted
                                      ZAIS CLO 13 LTD                             Emails Redacted
                                      ZAIS CLO 2 LTD                              Emails Redacted
                                      ZAIS CLO 3 LTD                              Emails Redacted
                                      ZAIS CLO 5 LTD                              Emails Redacted
                                      ZAIS CLO 6 LTD                              Emails Redacted
                                      ZAIS CLO 7 LTD                              Emails Redacted
                                      ZAIS CLO 8 LIMITED                          Emails Redacted
                                      ZAIS CLO 9 LTD                              Emails Redacted




In re: Foresight Energy LLC, et al.
Case No. 20-41308-659                                           Page 4 of 4
